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               IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT

STATES OF TEXAS, ARKANSAS,               )
INDIANA, KENTUCKY,                       )
LOUISIANA, MISSISSIPPI,                  )
MONTANA, NEBRASKA, OHIO,                 )
SOUTH CAROLINA, and UTAH,                )
                                         )
Petitioners,                             )
                                         )
v.                                       )
                                         )
NATIONAL HIGHWAY                         )
TRAFFIC SAFETY                           )
ADMINISTRATION; STEVEN                   )
CLIFF, in his official capacity as       )        No. _____________
                                                      22-1144
Administrator of the                     )
National Highway Traffic Safety          )
Administration; U.S.                     )
DEPARTMENT OF                            )
TRANSPORTATION;                          )
and PETE                                 )
BUTTIGIEG, in his official               )
Capacity as Secretary of the U.S.        )
Department of Transportation,            )
                                         )
Respondents.                             )

                           PETITION FOR REVIEW

      In accordance with 49 U.S.C. § 32909(a)(1), Federal Rule of Appellate

Procedure 15, and D.C. Circuit Rule 15(a)(1), Petitioners the States of Texas,

Arkansas, Indiana, Kentucky, Louisiana, Mississippi, Montana, Nebraska, Ohio,

South Carolina, and Utah hereby petition this Court for review of the final action

taken by Respondents National Highway Traffic Safety Administration entitled
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“Corporate Average Fuel Economy Standards for Model Years 2024–2026

Passenger Cars and Light Trucks” (attached hereto), published at 87 Fed. Reg. 25710

(May 2, 2022).




                                                 Respectfully submitted.

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                                                                                            .




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                             Certificate of Service
    I hereby certify that I caused a true and correct copy of this Petition for Review
to be served on June 30, 2022, by United States first-class mail on the following:

      Steven Cliff, Administrator
      National Highway Traffic Safety Administration
      1200 New Jersey Avenue SE
      West Building
      Washington DC 20590

      Pete Buttigieg, Secretary
      Office of the Secretary
      U.S. Department of Transportation
      1200 New Jersey Avenue SE
      Washington, DC 20590

      Office of General Counsel
      U.S. Department of Transportation
      1200 New Jersey Avenue SE
      Washington, DC 20590

      The Honorable Merrick B. Garland
      Attorney General of the United States
      U.S. Department of Justice
      950 Pennsylvania Avenue, NW
      Washington, DC 20530

                                       /s/ Ryan S. Baasch
                                       Ryan S. Baasch




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                                             DEPARTMENT OF TRANSPORTATION                            affected vehicles that provide                        DATES: This rule is effective July 1,
                                                                                                     consumers hundreds of dollars in net                  2022.
                                             National Highway Traffic Safety                         savings. These standards are directly
                                             Administration                                                                                                ADDRESSES: For access to the dockets or
                                                                                                     responsive to the agency’s statutory
                                                                                                                                                           to read background documents or
                                                                                                     mandate to improve energy
                                             49 CFR Parts 531, 533, 536, and 537                                                                           comments received, please visit https://
                                                                                                     conservation and reduce the Nation’s
                                                                                                                                                           www.regulations.gov, and/or Docket
                                             [NHTSA–2021–0053]                                       energy dependence on foreign sources.
                                                                                                                                                           Management Facility, M–30, U.S.
                                                                                                     This final rule fulfills NHTSA’s
                                             RIN 2127–AM34                                                                                                 Department of Transportation, West
                                                                                                     obligation to revisit the standards set
                                                                                                                                                           Building, Ground Floor, Room W12–
                                                                                                     forth in ‘‘The Safer Affordable Fuel                  140, 1200 New Jersey Avenue SE,
                                             Corporate Average Fuel Economy
                                                                                                     Efficient (SAFE) Vehicles Rule for                    Washington, DC 20590. The Docket
                                             Standards for Model Years 2024–2026
                                                                                                     Model Years 2021–2026 Passenger Cars                  Management Facility is open between 9
                                             Passenger Cars and Light Trucks
                                                                                                     and Light Trucks,’’ as directed by                    a.m. and 4 p.m. Eastern Time, Monday
                                             AGENCY: National Highway Traffic                        President Biden’s January 20, 2021,                   through Friday, except Federal holidays.
                                             Safety Administration (NHTSA).                          Executive order ‘‘Protecting Public
                                                                                                     Health and the Environment and                        FOR FURTHER INFORMATION CONTACT: For
                                             ACTION: Final rule.
                                                                                                     Restoring Science To Tackle the Climate               technical and policy issues, Greg
                                             SUMMARY: NHTSA, on behalf of the                        Crisis.’’ The revised standards set forth             Powell, CAFE Program Division Chief,
                                             Department of Transportation, is                        in this final rule are consistent with the            Office of Rulemaking, National Highway
                                             finalizing revised fuel economy                         policy direction in the order, to among               Traffic Safety Administration, 1200 New
                                             standards for passenger cars and light                  other things, listen to the science,                  Jersey Avenue SE, Washington, DC
                                             trucks for model years (MYs) 2024–2025                  improve public health and protect our                 20590; email: gregory.powell@dot.gov.
                                             that increase at a rate of 8 percent per                environment, and to prioritize both                   For legal issues, Rebecca Schade,
                                             year, and increase at a rate of 10 percent              environmental justice and the creation                NHTSA Office of Chief Counsel,
                                             per year for MY 2026 vehicles. NHTSA                    of the well paying union jobs necessary               National Highway Traffic Safety
                                             currently projects that the revised                     to deliver on these goals. This final rule            Administration, 1200 New Jersey
                                             standards would require an industry                     addresses public comments to the notice               Avenue SE, Washington, DC 20590;
                                             fleet-wide average of roughly 49 mpg in                 of proposed rulemaking and also makes                 email: rebecca.schade@dot.gov.
                                             MY 2026, and would reduce average                       certain minor changes to fuel economy                 SUPPLEMENTARY INFORMATION:
                                             fuel outlays over the lifetimes of                      reporting requirements.                               BILLING CODE 4910–59–P
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                                             Does this action apply to me?                              automobiles (passenger cars) and non-               regulations.1 Regulated categories and
                                               This action affects companies that                       passenger automobiles (light trucks) as             entities include:
                                             manufacture or sell new passenger                          defined under NHTSA’s CAFE




                                             BILLING CODE 4910–59–C                                     Safer Affordable Fuel-Efficient (SAFE)              2021–2026, statutory lead time
                                               This list is not intended to be                          Vehicles Rule for Model Years 2021–                 requirements 2 mean that MY 2024 is
                                             exhaustive, but rather provides a guide                    2026 Passenger Cars and Light Trucks’’              the earliest model year that can
                                             regarding entities likely to be regulated                  (2020 final rule, SAFE rule, or SAFE 2              currently be amended in the CAFE
                                             by this action. To determine whether                       final rule) (85 FR 24174, April 30, 2020)           program.3 The standards remain
                                             particular activities may be regulated by                  be immediately reviewed for                         vehicle-footprint-based, like the CAFE
                                             this action, you should carefully                          consistency with NHTSA’s statutory                  standards in effect since MY 2011.
                                             examine the regulations. You may direct                    obligation and our Nation’s abiding                 Recognizing that many readers think
                                             questions regarding the applicability of                   commitment to promote and protect our               about CAFE standards in terms of the
                                             this action to the persons listed in FOR                   public health and the environment,                  miles per gallon (mpg) values that the
                                             FURTHER INFORMATION CONTACT.                               among other things. NHTSA undertook                 standards are projected to eventually
                                             Executive Summary                                          that review immediately, and this final             require, NHTSA currently projects that
                                                                                                        rule is the result of that review,                  the standards will require, on an average
                                               NHTSA, on behalf of the Department                       conducted with reference to NHTSA’s
                                             of Transportation, is amending                                                                                 industry fleet-wide basis, roughly 49
                                                                                                        statutory obligations.
                                             standards regulating corporate average                                                                         mpg in MY 2026. NHTSA notes both
                                                                                                           The amended CAFE standards
                                             fuel economy (CAFE) for passenger cars                     increase in stringency for both                     that real-world fuel economy is
                                             and light trucks for MYs 2024–2026.                        passenger cars and light trucks, by 8               generally 20–30 percent lower than the
                                             This final rule responds to NHTSA’s                        percent per year for MYs 2024–2025,                 estimated required CAFE level stated
                                             statutory obligation to set CAFE                           and by 10 percent per year for MY 2026.             above, and also that the actual CAFE
                                             standards at the maximum feasible level                    The agency calls the amended standards              standards are the footprint target curves
                                             that the agency determines vehicle                         Alternative 2.5. NHTSA concludes that               for passenger cars and light trucks,
                                             manufacturers can achieve in each                          these levels are the maximum feasible               meaning that ultimate fleet-wide levels
                                             model year, in order to improve energy                     for these model years as discussed in               will vary depending on the mix of
                                             conservation. NHTSA’s review of the                        more detail in Section VI. The final rule           vehicles that industry produces for sale
                                             prior standards was instigated in                          considers a range of regulatory                     in those model years. Table I–1 shows
                                             response to President Biden’s directive                    alternatives, consistent with NHTSA’s               the incremental differences in
                                             in Executive Order 13990 of January 20,                    obligations under the National                      stringency levels for passenger cars and
                                             2021, ‘‘Protecting Public Health and the                   Environmental Policy Act (NEPA) and                 light trucks, by the different regulatory
                                             Environment and Restoring Science To                       E.O. 12866. While E.O. 13990 directed               alternatives considered, in the model
                                             Tackle the Climate Crisis,’’ that ‘‘The                    the review of CAFE standards for MYs                years subject to regulation.
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                                               1 ‘‘Passenger car’’ and ‘‘light truck’’ are defined in    2 49 U.S.C. 32902(a) and (g).                        3 49 U.S.C. 32902(a).
                                                                                                                                                                                                        ER02MY22.009</GPH>




                                             49 CFR part 523.



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                                                This final rule reflects a conclusion                motor vehicle standards of the                        corroborating evidence of the
                                             significantly different from the                        Government that are simultaneously                    practicability of more stringent
                                             conclusion that NHTSA reached in the                    applicable during MYs 2024–2026.                      standards. Additionally, more stringent
                                             2020 final rule, but this is because                       Moreover, at least part of the                     CAFE standards can improve equity, by
                                             important facts have changed, and                       automobile industry is increasingly                   encouraging industry to continue
                                             because NHTSA has reconsidered how                      demonstrating that improving fuel                     improving the fuel economy of all
                                             to balance the relevant statutory                       economy and reducing GHG emissions                    vehicles, so that all Americans can
                                             considerations in light of those facts. In              is a growth market for them, and that                 benefit from higher fuel economy and
                                             this document, NHTSA concludes that                     the market rewards investment in                      save money on fuel. While NHTSA does
                                             significantly more stringent standards                  advanced technology. Nearly all auto                  not consider the fuel economy of
                                             are the maximum feasible that the                       manufacturers have rolled out new                     electric vehicles in setting CAFE
                                             agency determines that vehicle                          higher fuel economy and electric                      standards, consistent with Congress’
                                             manufacturers can achieve in the                        vehicle models since MY 2020, and                     direction in 49 U.S.C. 32902(h), using
                                             rulemaking time frame. Standards that                   continue to announce even more models                 electric vehicles to meet the standards is
                                             are more stringent than those that were                 forthcoming during the rulemaking time                a compliance option that many
                                             finalized in 2020 appear economically                   frame. Five major manufacturers                       automakers are pursuing. Further,
                                             practicable, based on manageable                        voluntarily bound themselves to stricter              NHTSA is setting these CAFE standards
                                             average per-vehicle cost increases, large               GHG requirements than set forth by the                in the context of a much larger
                                             consumer fuel savings, minimal effects                  U.S. Environmental Protection Agency                  conversation about the future of the U.S.
                                             on sales, and estimated increases in                    (EPA) in 2020 through contractual                     light-duty vehicle fleet, the increasing
                                             employment, among other things.                         agreements with the State of California.4             and obvious need to move away from
                                             Additionally, and importantly, contrary                 Some of the technologies that                         fossil fuels for reasons of national and
                                             to the 2020 final rule, NHTSA                           automakers will deploy to meet those                  energy security, and the evidence of a
                                             recognizes that the need of the United                  standards will both reduce emissions                  changing climate that is emerging on an
                                             States to conserve energy must include                  and improve fuel economy. These                       almost daily basis.
                                             serious consideration of the energy                     companies (including both those who                      NHTSA concludes, as we will explain
                                             security risks, as well as environmental                joined the Framework Agreements with                  in more detail below, that Alternative
                                             and public health implications, of                      California and those that have not) are               2.5 is the maximum feasible alternative
                                             continuing to consume oil, which more                   sophisticated, for-profit enterprises. If             that manufacturers can achieve for MYs
                                             stringent fuel economy standards can                    they are taking these steps, rolling out              2024–2026, based on its significant fuel
                                             reduce. By increasing fuel economy,                     these new models, and making these                    savings benefits to consumers and its
                                             more stringent standards can also                       announcements, NHTSA can now be                       environmental and energy security
                                             protect consumers from oil market                       more confident than the agency was in                 benefits relative to all other alternatives
                                             volatility from global events outside the               2020 that the market is getting ready to              except Alternative 3. Although
                                             borders of the U.S. that can result in                  make the leap to significantly higher                 Alternative 3 would provide greater fuel
                                             rapid fuel price increases domestically.                                                                      savings benefits, NHTSA estimates that
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                                                                                                     fuel economy. The California
                                             Through greater energy conservation,                    Framework Agreements and the clear                    Alternative 3 would result in a large
                                             more stringent standards also reduce                    planning by industry to migrate toward                average per-vehicle cost increase
                                             climate impacts to our Nation, which                    more advanced technologies provide                    compared to the price of vehicles under
                                             further benefit our national security.                                                                        Alternative 2.5, which for many
                                             NHTSA also believes that the final                        4 https://ww2.arb.ca.gov/news/framework-            automakers could exceed $2,000. In
                                                                                                                                                                                                         ER02MY22.010</GPH>




                                             standards are complementary to other                    agreements-clean-cars (accessed: March 23, 2022).     contrast to Alternative 3, Alternative 2.5


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                                             comes at a cost we believe the market                   EPA’s standards achieve at least as                    importantly, NHTSA has also
                                             can bear, and NHTSA believes it is the                  stringent levels as NHTSA’s Alternative                considered and accounted for
                                             appropriate choice given this record. We                2.5 by MY 2026.6 NHTSA emphasizes,                     California’s Zero Emission Vehicle
                                             believe that providing the greatest                     however, that the new standards are                    (ZEV) program (and its adoption by a
                                             amount of lead time for the biggest                     what NHTSA believes best fulfill our                   number of other states) in developing
                                             stringency increase of 10 percent for MY                statutory directive of energy                          the baseline for this final rule, and has
                                             2026, the last of three years covered in                conservation. Additionally, in the                     also accounted in the baseline for the
                                             the rule, is reasonable and appropriate,                context of the EPA standards, the                      aforementioned ‘‘Framework
                                             particularly given the ongoing rapid                    analysis we have done tackles the core                 Agreements’’ between California and
                                             changes in the auto industry. Choosing                  question of whether compliance with                    BMW, Ford, Honda, VWA, and Volvo,
                                             Alternative 3 would require industry to                 both standards should be achievable                    which are national-level GHG emission
                                             ramp up even faster, and thus provide                   with the same vehicle fleet, after                     reduction agreements to which these
                                             less lead time, with consequences for                   manufacturers fully understand the                     companies committed for several model
                                             economic practicability. With relatively                requirements from both sets of                         years. NHTSA reasonably assumes that
                                             small sales effects and positive effects                standards, and NHTSA believes that, as                 automakers will meet other regulatory
                                             on employment, we are confident that                    always, compliance with both standards                 requirements that apply to them, and
                                             Alternative 2.5 is feasible, and that                   will be achievable with the same vehicle               commitments that they have made
                                             industry can rise to meet these                         fleet. It is also worth noting that the                through the Framework Agreements.
                                             standards.                                              differences in what the two agencies’                  Reflecting these in the analysis
                                                For all of these reasons, and based on               standards require become smaller each                  improves the accuracy of the baseline in
                                             consideration of the comments received,                 year, until near alignment is achieved in              reflecting the state of the world without
                                             NHTSA concludes that Alternative 2.5,                   2026.                                                  the revised CAFE standards, and thus
                                             with standards that increase at 8 percent                  While NHTSA recognizes that the last                the information available to the
                                             per year for MYs 2024 and 2025, and a                   three CAFE standard rulemakings have                   decision-makers.
                                             10-percent increase in MY 2026, is                      been issued jointly with EPA, and that
                                             maximum feasible.                                                                                                 A number of other improvements and
                                                                                                     issuing separate rules represents a                    updates have been made to the analysis
                                                This action is also different from the               change in regulatory approach, NHTSA
                                             2020 final rule in that it is issued by                                                                        since the 2020 final rule based on
                                                                                                     coordinated with EPA to avoid                          NHTSA analysis, new data, and public
                                             NHTSA alone, and EPA has issued a                       inconsistencies and produce
                                             separate final rule.5 EPA’s revised                                                                            comments to the NPRM (86 FR 49602,
                                                                                                     requirements that are consistent with                  Sept. 3, 2021) as described in Section
                                             standards apply to MY 2023 as well as                   the agencies’ respective statutory
                                             MYs 2024–2026. NHTSA’s 18-month                                                                                III. Table I–2 summarizes these, and
                                                                                                     authorities.7 Additionally, and                        they are discussed in much more detail
                                             lead time requirement precludes
                                             amendment of the MY 2023 CAFE                             6 EPA projected a fleet average fuel economy
                                                                                                                                                            below and in the documents
                                             standards. An important consequence of                  value of about 52 mpg associated with its MY 2026
                                                                                                                                                            accompanying this preamble.
                                             this is that EPA’s rate of stringency                   standards (assuming full use of air conditioning
                                             increase, after increasing in MY 2023,                  refrigerant credits). See Table 4–43, ‘‘Revised 2023   the statutory directive in EPCA, requiring the
                                                                                                     and Later Model Year Light-Duty Vehicle GHG            agency to exercise its discretionary authority to set
                                             looks slower than NHTSA’s over the                      Emissions Standards: Regulatory Impact Analysis,’’     CAFE standards at the ‘‘maximum feasible average
                                             same time period, although collectively                 EPA–420–R–21–028, December 2021.                       fuel economy level that the Secretary decides the
                                                                                                       7 Throughout this preamble, NHTSA uses the           manufacturers can achieve in that model year.’’ 49
                                               5 86 FR 74434 (Dec. 30, 2021).                        term ‘‘maximum feasible’’ as shorthand to refer to     U.S.C. 32902(a).
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                                             BILLING CODE 4910–59–C
                                                                                                                                                                                                ER02MY22.011</GPH>




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                                                NHTSA estimates that this action                      ‘‘adopting, employing, treating as                   conservation and reduce the Nation’s
                                             could reduce average fuel outlays over                   binding, or relying upon the work                    energy dependence on foreign sources.
                                             the lifetimes of MY 2029 vehicles by                     product of the [IWG].’’ 9                            The cost-benefit analysis is not one of
                                             about $1,387, while increasing the                          Although the injunction was stayed                those statutory factors. While NHTSA’s
                                             average cost of those vehicles by about                  by the United States Court of Appeals                estimates of costs and benefits are
                                             $1,087 over the baseline described                       for the Fifth Circuit on March 16,                   important considerations and are
                                             above, at a 3-percent discount rate. With                2022,10 prior to the stay, in order to               directed by E.O. 12866, again, it is the
                                             the social cost of greenhouse gases (SC–                 comply with this prohibition, NHTSA                  balancing required by statute—that is,
                                             GHG) 8 and all other benefits and costs                  conducted a cost-benefit analysis based              the requirement to set CAFE standards
                                             discounted at 3 percent, when                            on the SC–GHG values presented in the                at ‘‘the maximum feasible average fuel
                                             considering the entire fleet for MYs                     2020 final rule. In DOT’s judgment,                  economy level that the Secretary
                                             1981–2029, NHTSA estimates $128                          those values do not reflect the best                 decides the manufacturers can achieve
                                             billion in monetized costs and $145                      available science and economics for                  in that model year’’ 49 U.S.C.
                                             billion in monetized benefits                            estimating climate effects in the analysis           32902(a)—that is the basis for the setting
                                             attributable to the new standards, such                  of this rule. As detailed more                       of CAFE standards. Cost-benefit analysis
                                             that the present value of aggregate net                  thoroughly elsewhere in this rule and                provides only one informative data
                                             monetized benefits to society would be                   the supporting Technical Support                     point in addition to the host of
                                             over $16 billion, not including other                    Document (TSD) and Final Regulatory                  considerations that NHTSA must
                                             important unquantified effects, such as                  Impact Analysis (FRIA), the only way to              balance by statute when determining
                                             energy security benefits, distributional                 achieve an efficient allocation of
                                             effects, and certain air quality benefits                                                                     maximum feasible standards. As such,
                                                                                                      resources for greenhouse gas emissions
                                             from the reduction of toxic air                                                                               any changes in the monetized climate
                                                                                                      reduction on a global basis—and so
                                             pollutants and other emissions, among                                                                         benefit figures that resulted from using
                                                                                                      benefit the United States and its
                                             other things.                                                                                                 the SC–GHG value from the 2020 final
                                                                                                      citizens—is for all countries to consider
                                                These cost and benefit estimates are                                                                       rule did not justify disrupting the
                                                                                                      global estimates of climate damages. To
                                             based on many different and uncertain                                                                         overall balance of other significant
                                                                                                      correctly assess the total climate
                                             inputs. One of the inputs informing the                  damages to U.S. citizens and residents,              qualitative and quantitative
                                             benefits estimates is the SC–GHG. In                     an analysis must account for all climate             considerations and factors that support
                                             this final rule, NHTSA employed the                      impacts that directly and indirectly                 the selection of the Preferred
                                             SC–GHG values from the Interim                           affect the welfare of U.S. citizens and              Alternative—as described at length
                                             Revised Estimates developed by the                       residents, how U.S. greenhouse gas                   throughout this final rule. When the 5th
                                             Interagency Working Group on the                         mitigation activities affect mitigation              Circuit stayed the injunction, NHTSA
                                             Social Cost of Greenhouse Gases (IWG),                   activities by other countries, and                   returned to using the Interim SC–GHG
                                             and discounted it at values                              spillover effects from climate action                developed by the IWG, discounted at 3
                                             recommended by the IWG for its main                      elsewhere. The estimates used in the                 percent, because we believe it to be the
                                             analysis. Those values are based on the                  2020 rule, therefore, severely                       more accurate and reasonable value.
                                             best available science and economics                     underestimate climate damages.                          It is worth emphasizing that CAFE
                                             and are the most appropriate values to                   Nevertheless, even if NHTSA’s cost-                  standards apply only to new vehicles.
                                             focus on in the analysis of this rule,                   benefit analysis applied the                         The costs attributable to new CAFE
                                             though DOT also affirms that, in its                     misleadingly low SC–GHG estimates                    standards are thus ‘‘front-loaded,’’
                                             expert judgment, those values are                        from the 2020 rule, which severely                   because they result primarily from the
                                             conservative estimates that likely                       underestimate the impacts of climate                 application of fuel-saving technology to
                                             significantly underestimate the full                     effects on U.S. citizens, NHTSA would                new vehicles. By contrast, the impact of
                                             benefits to social welfare of reducing                   still conclude in this rule that                     new CAFE standards on fuel
                                             greenhouse gas pollution. NHTSA also                     Alternative 2.5 is maximum feasible                  consumption and energy savings, air
                                             explored in its sensitivity analyses                     under its statutory authority. Notably,              pollution, and greenhouse gases—and
                                             values based on other assumptions,                       for example, net consumer benefits from              the associated benefits to society—occur
                                             including values calculated at different                 significant fuel savings remained                    over an extended time, as drivers buy,
                                             discount rates, Furthermore, in light of                 positive for Alternative 2.5 independent             use, and eventually scrap these new
                                             pending litigation, NHTSA also                           of any estimate of climate benefits.                 vehicles. By accounting for many model
                                             explored an analysis that used the same                     Moreover, NHTSA is required to                    years and extending well into the future
                                             SC–GHG value employed in the 2020                        consider four statutory factors—                     (2050), our analysis accounts for these
                                             final rule. Specifically, on February 11,                technological feasibility, economic                  differing patterns in impacts, benefits,
                                             2022, the United States District Court                   practicability, the effect of other motor            and costs. Given the front-loaded costs
                                             for the Western District of Louisiana                    vehicle standards of the Government on               versus longer-term benefits, it is likely
                                             issued a preliminary injunction that                     fuel economy, and the need of the                    that an analysis extending even further
                                             enjoined NHTSA from, among other                         United States to conserve energy—to                  into the future would reveal at least
                                             activities, ‘‘[a]dopting, employing,                     determine whether the standards it                   some additional net present benefits.
                                             treating as binding, or relying upon any                 adopts are maximum feasible,11 and                   Our analysis also accounts for the
                                             Social Cost of Greenhouse Gas estimates                  NHTSA finds that Alternative 2.5 is the              potential that, by changing new vehicle
                                             based on global effects,’’ as well as from               maximum feasible on the basis of these               prices and fuel economy levels, CAFE
                                                                                                      factors, and particularly considering the            standards could indirectly impact the
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                                                8 The ‘‘social cost of greenhouse gases’’ or ‘‘SC–
                                                                                                      statutory mandate to improve energy                  operation of vehicles produced before or
                                             GHG’’ refers to the combination of the social costs
                                             of carbon dioxide (CO2), methane (CH4), and nitrous                                                           after the MYs 2024–2026 for which we
                                                                                                        9 Louisiana v. Biden, Order, No. 2:21–CV–01074,
                                             oxide (N2O) emissions. In this preamble, and in the                                                           are finalizing new CAFE standards. This
                                             TSD, FRIA, and Final SEIS, NHTSA may                     ECF No. 99 (W.D. La. Feb. 11, 2022).
                                             occasionally use the term ‘‘social cost of carbon’’ or     10 Louisiana v. Biden, Order, No. 22–30087, Doc.   means that some of the final rule’s
                                             ‘‘SCC’’ to refer to the SC–GHG, and means no             No. 00516242341 (5th Cir. Mar. 16, 2022).            impacts and corresponding benefits and
                                             substantive difference between them.                       11 49 U.S.C. 32902(g).                             costs are actually attributable to indirect


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                                             impacts on vehicles produced before                     changes in the operation of vehicles                   beyond those model years for which
                                             and after MYs 2024–2026.                                produced prior to MY 2024, for                         standards are currently being
                                                The bulk of our analysis considers a                 example, some individuals might                        promulgated. Table I–3 summarizes
                                             ‘‘model year’’ perspective that considers               choose to keep older vehicles in                       estimates of selected impacts viewed
                                             the lifetime impacts attributable to all                operation, rather than purchase new                    from each of these two perspectives, for
                                             vehicles produced prior to MY 2030,                     ones.                                                  each of the regulatory alternatives
                                             accounting for the operation of these                                                                          considered in this final rule.14
                                                                                                        Our analysis also considers a
                                             vehicles over their entire lives (with
                                                                                                     ‘‘calendar year’’ (CY) perspective that                BILLING CODE 4910–59–P
                                             some MY 2029 vehicles estimated to be
                                                                                                     includes the annual impacts attributable
                                             in service as late as 2068). This
                                             approach emphasizes the role of MYs                     to all vehicles estimated to be in service               14 As discussed at length below, Alternative 0 is


                                             2024–2026, while accounting for the                     in each calendar year for which our                    the set of CAFE standards promulgated in 2020, and
                                                                                                     analysis includes a representation of the              thus constitutes the ‘‘No-Action Alternative.’’
                                             potential that it may take manufacturers                                                                       Impacts of the four ‘‘Action Alternatives’’ are
                                             a few additional years to produce fleets                entire registered light-duty fleet. For this
                                                                                                                                                            measured relative to this baseline. Alternatives 1, 2,
                                             fully responsive to the final MY 2026                   final rule, this calendar year perspective             2.5, and 3 specify passenger car and light truck
                                             standards,12 and for the potential that                 covers each of CYs 2021–2050, with                     standards for each of MYs 2024–2026 that NHTSA
                                             the final standards could induce some                   differential impacts accruing as early as              estimates will, taken together, increase overall
                                                                                                     MY 2023.13 Compared to the ‘‘model                     CAFE requirements in MY 2026 by about 14, 22, 25,
                                                                                                     year’’ perspective, this calendar year                 and 30 percent, respectively, although actual
                                                12 The fact that manufacturers have up to three
                                                                                                                                                            average requirements will ultimately depend on the
                                             model years to ‘‘settle’’ compliance for a given        perspective emphasizes model years of                  future composition of the fleet, which NHTSA
                                             model year is a function of statutory flexibilities—    vehicles produced in the longer term,                  cannot predict with certainty. Above, Table I–1
                                             namely, that overcompliance credits may be
                                             ‘‘carried back’’ up to three model years—and does                                                              shows corresponding projected increases in average
                                             not in any way imply that NHTSA believes that the         13 For a presentation of effects by calendar year,   requirements for each fleet in each model year.
                                             MY 2026 standards are not feasible in MY 2026.          please see FRIA Chapter 6.5 and Chapter 6.6.           Below, Section IV.B discusses the specific
                                                                                                                                                            definitions of each of these regulatory alternatives.
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                                               Additional important health,                          comparing the benefits and costs of new                computed ‘‘annualized’’ benefits and
                                             environmental, and energy security                      CAFE standards to the benefits and                     costs.
                                             benefits could not be fully quantified or               costs of other Federal regulations,
                                             monetized. Finally, for purposes of                     policies, and programs, we have




                                               15 Climate benefits are based on reductions in        percent discount rate, but the agency does not have    used in the underlying SC–GHG values for internal
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                                             CO2, CH4, and N2O emissions and are calculated          a single central SC–GHG point estimate. We             consistency.
                                                                                                                                                                                                                  ER02MY22.014</GPH>




                                             using four different estimates of the global social     emphasize the importance and value of considering        16 To be clear, monetized values do not include
                                             cost of each greenhouse gas (SC–GHG model               the benefits calculated using all four SC–GHG          other important unquantified effects, such as
                                             average at 2.5 percent, 3 percent, and 5 percent        estimates. See Section III.G.2 for more information.
                                                                                                                                                            certain climate benefits, certain energy security
                                             discount rates; 95th percentile at 3 percent discount   Where percent discount rate values are reported in
                                                                                                                                                            benefits, distributional effects, and certain air
                                             rate), which each increase over time. For the           this table, the social benefits of avoided climate
                                                                                                     damages are discounted at 3 percent. The climate       quality benefits from the reduction of toxic air
                                             presentational purposes of this table and other
                                                                                                                                                                                                                  ER02MY22.013</GPH>




                                                                                                     benefits are discounted at the same discount rate as   pollutants and other emissions, among other things.
                                             similar summary tables, we show the benefits
                                             associated with the average global SC–GHG at a 3


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                                                                                                                                                                                                ER02MY22.019</GPH>
                                                                                                                                                                                                ER02MY22.018</GPH>
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                                               Again, and as discussed in detail                     although NHTSA does consider net                      assumptions for the monetization of
                                             below, the monetized estimated costs                    benefits pursuant to E.O. 12866) that                 climate benefits.
                                             and benefits of this final rule are                     provides the basis for setting CAFE                      It is also worth emphasizing that,
                                             relevant to and inform the agency’s                     standards. Notably, NHTSA confirms                    although NHTSA is prohibited from
                                             conclusion regarding which levels of                    that on the basis of its four statutory               considering the availability of certain
                                             CAFE standards are maximum feasible                     factors, and particularly considering the             flexibilities in making our
                                             for MYs 2024–2026, but they do not                      statutory mandate to improve energy                   determination about the levels of CAFE
                                             fully capture the total benefits of the                 conservation and reduce the Nation’s                  standards that would be maximum
                                             standards and are not part of the factors               energy dependence on foreign sources,                 feasible,17 manufacturers have a variety
                                             contained in the governing statute. It is               NHTSA would select Alternative 2.5 as                 of flexibilities available to them to aid
                                             the balancing of the four statutory                     the maximum feasible even if the cost-                their compliance. Table I–12 through
                                             factors (none of which expressly                        benefit analysis had adopted different                Table I–15 below summarize available
                                             requires maximization of net benefits,                                                                        compliance flexibilities.




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                                               17 49 U.S.C. 32902(h).




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                                             BILLING CODE 4910–59–C                                  considerations in mind, NHTSA is                      statute.’’ 18 Nonetheless, ‘‘[w]hen an
                                                NHTSA recognizes that the lead time                  amending the CAFE standards for MYs                   Agency adopts a materially changed
                                             for this final rule is shorter than some                2024–2026, and believes that                          interpretation of a statute, it must in
                                             past rulemakings have provided, and                     Alternative 2.5 is maximum feasible and               addition provide a ‘reasoned analysis’
                                             that the economy and the country are in                 represents the best balancing of multiple             supporting its decision to revise its
                                             the process of recovering from a global                 statutory and policy goals for these                  interpretation.’’ 19 The analysis
                                             pandemic and the resulting economic
                                                                                                     model years. NHTSA, like any other                    presented in this preamble and in the
                                             distress. At the same time, NHTSA also
                                                                                                     Federal agency, is afforded an                        accompanying TSD, FRIA, Final
                                             recognizes that at least parts of the
                                                                                                     opportunity to reconsider prior views                 Supplemental Environmental Impact
                                             industry are nonetheless stepping up
                                             their product offerings and releasing                   and, when warranted, to adopt new                     Statement (Final SEIS), CAFE Model
                                                                                                                                                                                                                    ER02MY22.025</GPH>




                                             more and more high-fuel-economy                         positions. Indeed, as a matter of good                Documentation, and extensive
                                             vehicle models, and many companies                      governance, agencies should revisit
                                             did not deviate significantly over the                  their positions when appropriate,                        18 Phoenix Hydro Corp. v. FERC, 775 F.2d 1187,

                                                                                                     especially to ensure that their actions               1191 (D.C. Cir. 1985).
                                             past ten years from product plans
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                                                                                                                                                              19 Alabama Educ. Ass’n v. Chao, 455 F.3d 386,
                                             established in response to the EPA and                  and regulations reflect legally sound
                                                                                                                                                                                                                    ER02MY22.024</GPH>




                                                                                                                                                           392 (D.C. Cir. 2006) (quoting Motor Vehicle Mfrs.
                                             NHTSA standards set forth in the 2012                   interpretations of the agency’s statutory             Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
                                             final rule (77 FR 62624, Oct. 15, 2012)                 authority and remain consistent with                  463 U.S. 29, 57 (1983)); see also Encino Motorcars,
                                                                                                     the agency’s policy views and practices.              LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016)
                                             and the EPA standards confirmed by                                                                            (‘‘Agencies are free to change their existing policies
                                             EPA in its January 2017 Final                           As a matter of law, ‘‘an Agency is                    as long as they provide a reasoned explanation for
                                                                                                     entitled to change its interpretation of a
                                                                                                                                                                                                                    ER02MY22.023</GPH>




                                             Determination. With these and other                                                                           the change.’’) (citations omitted).



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                                             rulemaking docket fully supports the                      when the amendment makes an average                   what levels of CAFE stringency would
                                             agency’s decision and revised balancing                   fuel economy standard more stringent, it              be maximum feasible for those model
                                             of the statutory factors for MYs 2024–                    must be prescribed at least 18 months                 years, after reviewing the standards in
                                             2026 standards.                                           before the beginning of the model year                response to the President’s direction in
                                                                                                       to which the amendment applies.                       E.O. 13990. NHTSA discussed the
                                             II. Overview of the Final Rule
                                                                                                       NHTSA generally calculates the 18-                    differences between the proposal and
                                                In this final rule, NHTSA is revising                  month lead time requirement as April of               the 2020 final rule, including NHTSA’s
                                             CAFE standards for MYs 2024–2026. On                      the calendar year prior to the start of the           tentative conclusion that significantly
                                             January 20, 2021, the President signed                    model year. Thus, 18 months before MY                 more stringent standards would be
                                             E.O. 13990, ‘‘Protecting Public Health                    2023 would be April 2021, because MY                  maximum feasible, based on a
                                             and the Environment and Restoring                         2023 begins in October 2022. Because of               reconsideration of how to balance the
                                             Science To Tackle the Climate                             this lead time requirement, NHTSA is                  relevant statutory considerations and
                                             Crisis.’’ 20 In it, the President directed                not amending the CAFE standards for                   updated technical information. NHTSA
                                             that the 2020 final rule must be                          MYs 2021–2023, even though the 2020                   also discussed the fact that it was
                                             immediately reviewed for consistency                      final rule also covered those model                   issuing the proposal independently,
                                             with the policy commitments in that                       years. For purposes of the CAFE                       unlike several past rulemakings in
                                             E.O., including listening to the science;                 program, the 2020 final rule’s standards              which NHTSA and EPA had issued joint
                                             improving public health and protect our                   for MYs 2021–2023 will remain in                      proposals. NHTSA explained that EPA’s
                                             environment; ensuring access to clean                     effect.                                               revised standards apply to MY 2023 as
                                             air and water; limiting exposure to                          For the model years for which there                well as MYs 2024–2026, while NHTSA’s
                                             dangerous chemicals and pesticides;                       is statutory lead time to amend the                   18-month lead time requirement
                                             holding polluters accountable,                            standards, however, NHTSA is                          precluded amendment of the MY 2023
                                             including those who disproportionately                    amending the currently applicable fuel                CAFE standards. An important
                                             harm communities of color and low-                        economy standards. Although only two                  consequence of this was that EPA’s
                                             income communities; reducing                              years have passed since the 2020 final                proposed rate of stringency increase,
                                             greenhouse gas emissions; bolstering                      rule, the agency believes it is reasonable            after taking a big leap in MY 2023,
                                             resilience to the impacts of climate                      and appropriate to revisit the CAFE                   looked slower than NHTSA’s over the
                                             change; restoring and expanding our                       standards for MYs 2024–2026. In                       same time period. NHTSA emphasized,
                                             national treasures and monuments; and                     particular, the agency has further                    however, that the proposed standards
                                             prioritizing both environmental justice                   considered the serious adverse effects                were what NHTSA believed best
                                             and the creation of the well-paying                       on energy conservation that the                       fulfilled our statutory directive of
                                             union jobs necessary to deliver on these                  standards finalized in 2020 would cause               energy conservation, and that the
                                             goals.21 E.O. 13990 states expressly that                 as compared to the final standards. The               agencies had worked closely together in
                                             the Administration prioritizes listening                  need of the U.S. to conserve energy is                developing their respective proposals,
                                             to the science, improving public health                   greater than understood in the 2020                   and that by the end of the rulemaking
                                             and protecting the environment,                           final rule. In addition, informed by an               time frame, alignment would be
                                             reducing greenhouse gas emissions, and                    updated technical analysis, standards                 achieved between the two agencies’
                                             improving environmental justice while                     that are more stringent than those that               standards. NHTSA also explained that it
                                             creating well-paying union jobs.22 The                    were finalized in 2020 appear                         had employed an analytical baseline for
                                             E.O. thus directs that the 2020 final rule                economically practicable, based on
                                                                                                                                                             the NPRM that included both a
                                             be reviewed at once and that (in this                     manageable average per-vehicle cost
                                                                                                                                                             representation of the California ZEV
                                             case) the Secretary of Transportation                     increases, minimal effects on sales, and
                                                                                                                                                             program (and its adoption in a number
                                             consider ‘‘suspending, revising, or                       estimated increases in employment, as
                                                                                                                                                             of states) and the California ‘‘Framework
                                             rescinding’’ it, via an NPRM, by July                     well as higher (and increasing)
                                                                                                                                                             Agreements’’ between that state and
                                             2021.23 On September 3, 2021, NHTSA                       consumer demand for more fuel
                                                                                                                                                             BMW, Ford, Honda, Volkswagen of
                                             published an NPRM to revise these                         economy, among other considerations.
                                                                                                                                                             America (VWA), and Volvo. NHTSA
                                             requirements, which are being finalized,                  NHTSA also believes that the final
                                                                                                                                                             also described other analytical
                                             with changes in response to public                        standards are complementary to other
                                                                                                                                                             improvements made for the NPRM since
                                             comments and additional analysis, in                      motor vehicle standards of the
                                                                                                                                                             the 2020 final rule.
                                             this final rule.                                          Government that affect fuel economy
                                                Section 32902(g)(1) of title 49, United                that are simultaneously applicable                       NHTSA proposed CAFE standards for
                                             States Code allows the Secretary (by                      during MYs 2024–2026. The renewed                     MYs 2024–2026 that would increase at
                                             delegation to NHTSA) to prescribe                         focus on addressing energy conservation               a rate of 8 percent per year, for both
                                             regulations amending an average fuel                      and the industry’s apparent ability to                passenger cars and light trucks, and also
                                             economy standard prescribed under 49                      meet more stringent standards show that               took comment on a wide range of
                                             U.S.C. 32902(a), like those prescribed in                 a rebalancing of the EPCA factors, and                alternatives, including retaining the
                                             the 2020 final rule, if the amended                       a corresponding issuance of more                      2020 standards and returning to levels
                                             standard meets the requirements of                        stringent standards, is appropriate for               consistent with what was set forth in the
                                             section 32902(a). The Secretary’s                         MYs 2024–2026.                                        2012 final rule. Table II–1 and Table
                                             authority to set fuel economy standards                      The following sections introduce the               II–2 below contain descriptions of the
                                             is delegated to NHTSA at 49 CFR                           action in more detail.                                regulatory alternatives on which
                                             1.95(a); therefore, NHTSA is revising                                                                           comment was sought, and the estimated
                                                                                                       Summary of NPRM                                       translation of those alternatives into
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                                             fuel economy standards for MYs 2024–
                                             2026. Section 32902(g)(2) states that                        In the NPRM, NHTSA proposed to                     mpg levels, respectively, for the reader’s
                                                                                                       revise the existing CAFE standards for                reference. The proposal was
                                               20 84 FR 7037 (Jan. 25, 2021).                          MYs 2024–2026. NHTSA explained that                   accompanied by a Preliminary
                                               21 Id., sections 1, 2.                                  it was proposing to revise those                      Regulatory Impact Analysis (PRIA), a
                                               22 Id., section 1.                                      standards because it had reconsidered                 Draft Supplemental Environmental
                                               23 Id., section 2(a)(ii).                               its determination made in 2020 about                  Impact Statement (Draft SEIS), and the


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                                             CAFE Model software source code and                     all of which received significant
                                             documentation, all of which were also                   comments.
                                             subject to comment in their entirety and




                                               NHTSA also sought comment on                          emissions by about 465 million metric                 society could be approximately $15
                                             another potential alternative, the effects              tons of carbon dioxide, about 500                     billion.
                                             of which were not expressly quantified,                 thousand metric tons of methane, and                     NHTSA explained that it tentatively
                                             under which MYs 2024–2025 would                         about 12 thousand metric tons of nitrous              concluded that Alternative 2 was
                                             increase at 8 percent per year, but MY                  oxide. NHTSA also estimated that                      maximum feasible for MYs 2024–2026
                                             2026 would increase at 10 percent per                   emissions of criteria pollutants would                based on new information and a
                                             year. NHTSA explained that average                      generally decline dramatically over                   reconsideration of how to interpret and
                                             requirements and achieved CAFE levels                   time.                                                 balance the statutory factors, as
                                             would ultimately depend on                                 In terms of economic effects, NHTSA                compared to the decision made in the
                                             manufacturers’ and consumers’                           estimated that for an average MY 2029                 2020 final rule. The 2020 rule had
                                             responses to standards, technology                      vehicle subject to the proposed                       prioritized industry concerns and
                                             developments, economic conditions,                      standards, consumers could see a price                sought to reduce new vehicle costs to
                                             fuel prices, and other factors. NHTSA                   increase of $960, but would gain                      consumers, based on assumptions about
                                             estimated that over the lives of vehicles               lifetime fuel savings of $1,280. With the             low consumer demand for higher fuel
                                             produced prior to MY 2030, the                          SC–GHG discounted at 2.5 percent and                  economy vehicles and a discounting of
                                             proposal would save about 50 billion                    other benefits and costs discounted at 3              the need of the U.S. to conserve energy.
                                             gallons of gasoline and increase                        percent, NHTSA estimated that costs                   In the NPRM, NHTSA recognized the
                                             electricity consumption (as the                         and benefits could be approximately                   importance of the need of the U.S. to
                                             percentage of electric vehicles increased               $120 billion and $121 billion,                        conserve energy, and tentatively
                                             over time) by about 275 terawatts                       respectively, such that the present value             concluded that ongoing manufacturer
                                             (TWh), compared to the levels of                        of aggregate net benefits to society could            announcements and rollouts of new
                                             gasoline and electricity consumption                    be somewhat less than $1 billion. With                higher-fuel-economy vehicles indicated
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                                             that NHTSA projected would occur                        the SC–GHG discounted at 3 percent                    industry expectation of growing
                                                                                                                                                                                                         ER02MY22.027</GPH>




                                             under the baseline standards.                           and other benefits and costs discounted               consumer demand for those vehicles,
                                             Accounting for emissions from both                      at 7 percent, NHTSA estimated                         such that more stringent standards
                                             vehicles and upstream energy sector                     approximately $90 billion in costs and                could be economically practicable.
                                             processes, NHTSA estimated that the                     $76 billion in benefits, such that the                NHTSA underscored that ‘‘an [a]gency
                                                                                                                                                           is entitled to change its interpretation of
                                                                                                                                                                                                         ER02MY22.026</GPH>




                                             proposal would reduce greenhouse gas                    present value of aggregate net costs to


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                                             a statute,’’ 24 even though ‘‘[w]hen an                 also published on September 14, 2021                        Nearly every aspect of the NPRM’s
                                             [a]gency adopts a materially changed                    (86 FR 51092), announced a virtual                        analysis and discussion received some
                                             interpretation of a statute, it must in                 public hearing taking place on October                    level of comment by at least one
                                             addition provide a ‘reasoned analysis’                  13th and 14th of 2021. Approximately                      commenter. The comments received, as
                                             supporting its decision to revise its                   77 individuals and organizations signed                   a whole, were both broad and deep, and
                                             interpretation.’’ 25                                    up to participate in the hearing. The                     the agency appreciates the level of
                                                NHTSA also addressed the question                    hearing started at 9:30 a.m. EDT on                       engagement of commenters in the public
                                             of harmonization with other motor                       October 13th and ended at                                 comment process and the information
                                             vehicle standards of the Government                     approximately 5:30 p.m., completing the                   and opinions provided.
                                             that affect fuel economy. Even though                   entire list of participants within a single
                                             NHTSA and EPA issued separate rather                                                                              C. Changes in Light of Public Comments
                                                                                                     day, resulting in a 58-page transcript.27
                                             than joint notices, NHTSA explained                                                                               and New Information
                                                                                                     The hearing also collected many pages
                                             that it had worked closely with EPA in                  of comments from participants, in                            Comments received to the NPRM
                                             developing the respective proposals,                    addition to the hearing transcript, all of                were considered carefully, because they
                                             and that the agencies had sought to                     which were submitted to the docket for                    are critical for understanding
                                             minimize inconsistency between the                      the rule.                                                 stakeholders’ positions, as well as for
                                             programs where doing so was consistent                     Besides the comments submitted as                      gathering additional information that
                                             with the agencies’ respective statutory                 part of the public hearings, NHTSA’s                      can help to inform the agency about
                                             mandates. NHTSA emphasized that                         docket received a total of 67,256 form                    aspects or effects of the proposal that
                                             differences between the proposals,                      letters, 1,636 individual comments from                   the agency may not have considered at
                                             especially as regards programmatic                      stakeholder organizations, and 693                        the time of the proposal. The views,
                                             flexibilities, were not new in the                      attachments in response to the proposal,                  data, requests, and suggestions
                                             proposal, and that differences were                     for an overall total of 69,585                            contained in the comments help us to
                                             often a result of the different statutory               submissions. NHTSA also received                          form solutions and make appropriate
                                             frameworks. NHTSA reminded readers                      several hundred comments on its Draft                     adjustments to our proposals so that we
                                             that since the agencies had begun                       SEIS to the separate Draft SEIS docket                    may be better assured that the final
                                             regulating concurrently under President                 (NHTSA–2021–0054). While the                              standards we set are, indeed, maximum
                                             Obama, these differences have meant                     majority of individual comments were                      feasible for the rulemaking time frame.
                                             that manufacturers have had (and will                   form letters, the agency received over                       For this final rule, the agency made
                                             have) to plan their compliance strategies               6,000 pages of substantive comments on                    substantive changes resulting directly
                                             considering both the CAFE standards                     the proposal.                                             from the suggestions and
                                             and the GHG standards and assure that                      Many commenters generally                              recommendations from commenters, as
                                             they are in compliance with both.                       supported the proposal. Commenters                        well as new information obtained from
                                             NHTSA explained that it was proposing                   supporting the proposal tended to cite                    the time the proposal was developed,
                                             CAFE standards that would increase at                   concerns about climate change, which                      and corrections both highlighted by
                                             8 percent per year over MYs 2024–2026                   are relevant to the need of the United                    commenters and discovered internally.
                                             because that was what NHTSA had                         States to conserve energy, and the need                   These changes reflect DOT’s long-
                                             tentatively concluded was maximum                       for Federal programs to continue or                       standing commitment to ongoing
                                             feasible during those model years, under                expand for a carbon-neutral, carbon-free                  refinement of its approach to estimating
                                             the EPCA factors.                                       future. Commenters also expressed the                     the potential impacts of new CAFE
                                                NHTSA was also confident that                        need for NHTSA and EPA                                    standards. Through further
                                             industry would still be able to build a                 harmonization and close coordination                      consideration and deliberation, and also
                                             single fleet of vehicles to meet both the               for their respective programs. Citizens                   in response to many public comments
                                             NHTSA and EPA standards, even if it                     and environmental groups demonstrated                     received since then, NHTSA has made
                                             required them to be slightly more                       strong support for pushing the proposed                   a number of changes to the CAFE Model
                                             strategic than they might otherwise have                standard to Alternative 3 or beyond,                      since the 2020 final rule, including
                                             preferred. NHTSA sought comment                         while closing potential loopholes in the                  those that are listed in the Executive
                                             broadly on all aspects of the proposal.                 program. There were mixed views on                        Summary and detailed in Section III, as
                                             B. Public Participation Opportunities                   NHTSA’s inclusion of battery electric                     well as in the TSD and FRIA that
                                             and Summary of Comments                                 vehicles in NHTSA’s modeling analysis.                    accompany this final rule.
                                                                                                     Many manufacturers supported
                                               The NPRM was published on                                                                                       D. Final Standards—Stringency
                                                                                                     alignment with EPA’s proposed
                                             NHTSA’s website on August 10, 2021,                     standards, while electric vehicle                           NHTSA is setting CAFE standards for
                                             and published in the Federal Register                   manufacturers such as Tesla and Rivian                    passenger cars and light trucks
                                             on September 3, 2021,26 beginning a 60-                                                                           manufactured for sale in the United
                                                                                                     supported NHTSA’s Alternative 3.
                                             day comment period. The agency left                        In other areas, commenters expressed                   States in MYs 2024–2026. Passenger
                                             the docket open for considering late                    mixed views on the statutorily                            cars are generally sedans, station
                                             comments to the extent practicable. A                   mandated Petroleum Equivalency Factor                     wagons, and two-wheel drive crossovers
                                             separate Federal Register notification,                 (PEF) used to calculate mpg values for                    and sport utility vehicles (CUVs and
                                               24 Phoenix Hydro Corp. v. FERC, 775 F.2d 1187,
                                                                                                     electrified vehicles and the disclosure of                SUVs), while light trucks are generally
                                             1191 (D.C. Cir. 1985).                                  credit trading information in NHTSA’s                     4WD sport utility vehicles, pickups,
                                               25 Alabama Educ. Ass’n. v. Chao, 455 F.3d 386,        revised reporting templates.                              minivans, and passenger/cargo vans.28
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                                             392 (D.C. Cir. 2006) (quoting Motor Vehicle Mfrs.          Discussion and responses to                            The final standards, represented by
                                             Ass’n. of U.S., Inc. v. State Farm Mut. Auto. Ins.      comments can be found throughout this                     Alternative 2.5 in NHTSA’s analysis,
                                             Co., 463 U.S. 29, 57 (1983)); see also Encino           preamble in areas applicable to the                       increase at a rate of 8 percent per year
                                             Motorcars, LLC v. Navarro, 136 S. Ct. 2117, 2125
                                             (2016) (‘‘Agencies are free to change their existing    comment received.                                         for both cars and trucks for MYs 2024–
                                             policies as long as they provide a reasoned
                                             explanation for the change.’’) (citations omitted).       27 The transcript is available in the docket for this      28 ‘‘Passenger car’’ and ‘‘light truck’’ are defined
                                               26 86 FR 49602 (Sept. 3, 2021).                       rule.                                                     at 49 CFR part 523.



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                                             2025, and at a rate of 10 percent for MY                   The target curves for passenger cars                estimates could result from
                                             2026 cars and trucks. The final                         and light trucks are as follows; curves                manufacturers complying with the
                                             standards, like the proposed standards,                 for MYs 2020–2023 are included in the                  curves. Because the estimated mpg
                                             are defined by a mathematical equation                  figures for context. NHTSA underscores                 numbers are an effect of the final
                                             that represents a constrained linear                    that the equations and coefficients                    standards, they are presented in Section
                                             function relating vehicle footprint to                  defining the curves are, in fact, the                  II.E.
                                             fuel economy targets for both cars and                  CAFE standards, and not the mpg                        BILLING CODE 4910–59–P
                                             trucks.29                                               numbers that the agency currently
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                                               29 Vehicle footprint is roughly measured as the       trucks regardless of footprint, and smaller vehicles   compliance is determined by how its average fleet
                                             rectangle that is made by the four points where the     will have more stringent targets than larger           fuel economy compares to the average fuel economy
                                             vehicle’s tires touch the ground. Generally,            vehicles. No individual vehicle or vehicle model       of the targets of the vehicles it manufactures.
                                                                                                                                                                                                                ER02MY22.028</GPH>




                                             passenger cars have more stringent targets than light   need meet its target exactly, but a manufacturer’s



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                                               NHTSA has also amended the                            standard when it promulgates passenger                the 2020 final rule, such that the
                                             minimum domestic passenger car CAFE                     car standards for a model year, so the                minimum domestic passenger car
                                             standards for MYs 2024–2026. Section                    minimum standards are established as                  standard is as shown in Table II–3.
                                             32902(b)(4) of 49 U.S.C. requires                       specific mpg values at this time. NHTSA
                                             NHTSA to project the minimum                            retained the 1.9-percent offset used in
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                                                                                                                                                                                                 ER02MY22.030</GPH>
                                                                                                                                                                                                 ER02MY22.029</GPH>




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                                               The next section describes some of                    Energy Modeling System (NEMS), and                     Considering that all of this is, to some
                                             the effects that NHTSA estimates would                  EPA’s ‘‘MOVES’’ vehicle emissions                      extent, uncertain from a current vantage
                                             follow from the final standards for                     model. Especially given the scope of the               point, NHTSA underscores that all
                                             passenger cars and light trucks for MYs                 NHTSA’s analysis (through MY 2050,                     results of this analysis are, in turn,
                                             2024–2026, including how the curves                     with driving of MY 2029 vehicles                       uncertain, and simply represent the
                                             shown above translate to estimated                      accounted for through CY 2068), these                  agency’s best estimates based on the
                                             average mile per gallon requirements for                inputs involve a multitude of                          information currently before us and on
                                             the industry.                                           uncertainties. For example, a set of                   the agency’s reasonable judgment.
                                             Final Standards—Impacts                                 inputs with significant uncertainty                      NHTSA estimates that this final rule
                                                As for past CAFE rulemakings,                        could include future population and                    would increase the eventual 30 average
                                             NHTSA has used the CAFE Model to                        economic growth, future gasoline and                   of manufacturers’ CAFE requirements to
                                             estimate the effects of this final rule’s               electricity prices, future petroleum                   about 49 mpg by 2026 rather than,
                                             CAFE standards, and of other regulatory                 market characteristics (e.g., imports and              under the No-Action Alternative (i.e.,
                                             alternatives under consideration. Some                  exports), future battery costs,                        the baseline standards issued in 2020),
                                             inputs to the CAFE Model are derived                    manufacturers’ future responses to                     about 40 mpg. For passenger cars, the
                                             from other models, such as Argonne                      standards and fuel prices, buyers’ future              average in 2026 is estimated to reach
                                             National Laboratory’s ‘‘Autonomie’’                     responses to changes in vehicle prices                 just over 59 mpg, and for light trucks,
                                             vehicle simulation tool and Argonne’s                   and fuel economy levels, and future                    just over 42 mpg. This compares with 47
                                             ‘‘GREET’’ fuel-cycle emissions analysis                 emission rates for ‘‘upstream’’ processes              mpg and 34 mpg for cars and trucks,
                                             model, the U.S. Energy Information                      (e.g., refining, finished fuel                         respectively, under the No-Action
                                             Administration’s (EIA’s) National                       transportation, electricity generation).               Alternative.




                                               Because manufacturers do not comply                   achieved’’ fuel economy levels differ                  MY 2029 could increase from about 44
                                             exactly with each standard in each                      somewhat from ‘‘estimated required’’                   mpg under the No-Action Alternative to
                                             model year, but rather focus their                      levels for each fleet, for each year.                  50 mpg under the final rule’s standards.
                                             compliance efforts when and where it is                 NHTSA estimates that the industry-
                                             most cost-effective to do so, ‘‘estimated               wide average fuel economy achieved in




                                               As discussed above, NHTSA’s                           aforementioned regulatory programs are                 overcompliance is highly manufacturer-
                                             analysis—unlike its CAFE analyses for                   more binding (i.e., require more of                    dependent.
                                             previous rulemakings—estimates                          manufacturers) than any single program                   The estimated average CO2 levels
                                             manufacturers’ potential responses to                   considered in isolation, and this                      equivalent to the above required and
                                             the combined effect of CAFE standards                   analysis, like past analyses, shows some               achieved CAFE levels (using 8,887
                                             and separate CO2 standards (including                   estimated overcompliance with the final
                                                                                                                                                            grams of CO2 per gallon of gasoline
                                             agreements some manufacturers have                      CAFE standards, albeit by much less
                                                                                                                                                            vehicle certification fuel) are provided
                                             reached with California), ZEV mandates,                 than what was shown in the NPRM that
                                             and fuel prices. Together, the                          preceded the 2020 final rule, and any                  in Table II–6 and Table II–7.
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                                                                                                                                                                                                              ER02MY22.032</GPH>




                                               30 Here, ‘‘eventual’’ means by MY 2029, after most    continue working out compliance solutions for the      fact that manufacturers do not comply perfectly
                                             of the fleet will have been redesigned under the MY     regulated model years for three model years after      with CAFE standards in each model year.
                                                                                                                                                                                                              ER02MY22.031</GPH>




                                             2026 standards. NHTSA allows the CAFE Model to          the last regulated model year, in recognition of the



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                                               Average requirements and achieved                       NHTSA estimates that over the lives                 over time) by about 180 terawatts
                                             CAFE levels would ultimately depend                     of vehicles produced prior to MY 2030,                (TWh), compared to levels of gasoline
                                             on manufacturers’ and consumers’                        the final standards would save about 60               and electricity consumption NHTSA
                                             responses to standards, technology                      billion gallons of gasoline and increase              projects would occur under the baseline
                                             developments, economic conditions,                      electricity consumption (as the                       standards (i.e., the No-Action
                                             fuel prices, and other factors.                         percentage of electric vehicles increases             Alternative) as shown in Table II–8.31




                                               NHTSA’s analysis also estimates total                 light-duty vehicle fleet evolves as                   Alternative 2, Alternative 2.5 (the
                                             annual consumption of fuel by the                       shown in Figure II–3 and Figure II–4,                 Preferred Alternative), and Alternative
                                             entire on-road fleet from CY 2020                       each of which shows projections for the               3.
                                             through CY 2050. On this basis, gasoline                No-Action Alternative (Alternative 0,
                                             and electricity consumption by the U.S.                 i.e., the baseline), Alternative 1,




                                                                                                                                                                                                             ER02MY22.035</GPH>
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                                                                                                                                                                                                             ER02MY22.034</GPH>




                                               31 While NHTSA does not consider electrification      vehicles in the baseline fleet and during the model   increases in NHTSA’s analysis even though NHTSA
                                             in its analysis during the rulemaking time frame,       years after the rulemaking time frame, such that      is not considering it in our decision-making.
                                                                                                                                                                                                             ER02MY22.033</GPH>




                                             the analysis still reflects application of electric     electrification (and thus, electricity consumption)



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                                                                                                                                                                                                ER02MY22.036</GPH>




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                                               Accounting for emissions from both                    need of the United States to conserve                 thousand metric tons of methane (CH4),
                                             vehicles and upstream energy sector                     energy, NHTSA estimates that the final                and about 17 thousand tons of nitrous
                                             processes (e.g., petroleum refining and                 rule would reduce greenhouse gas                      oxide (N2O).
                                             electricity generation), which are                      emissions by about 607 million metric                 BILLING CODE 4910–59–P
                                             relevant to NHTSA’s evaluation of the                   tons of carbon dioxide (CO2), about 733




                                                As for fuel consumption, NHTSA’s                     accounting for both vehicles and                      accounts for both emissions from both
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                                             analysis also estimates annual emissions                upstream processes, NHTSA estimates                   vehicles and upstream processes.
                                             attributable to the entire on-road fleet                that CO2 emissions could evolve over
                                                                                                                                                                                                    ER02MY22.038</GPH>




                                             from CY 2020 through CY 2050. Also                      time as shown in Figure II–5, which
                                                                                                                                                                                                    ER02MY22.037</GPH>




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                                             BILLING CODE 4910–59–C                                  on an ‘‘unconstrained’’ analysis, which               regulatory alternative, annual emissions
                                                Estimated emissions of methane and                   does not set aside these potential                    of carbon monoxide (CO), volatile
                                             nitrous oxides follow similar trends. As                manufacturer actions. The Final SEIS                  organic compounds (VOC), nitrogen
                                             discussed in the TSD, FRIA, and this                    presents much more information                        oxide (NOX), and particulate matter
                                             preamble, NHTSA has performed two                       regarding projected GHG emissions, as                 with a diameter equal to or less than 2.5
                                             types of supporting analysis. This                      well as model-based estimates of                      microns (PM2.5) attributable to the light-
                                             document and FRIA focus on the                          corresponding impacts on several                      duty on-road fleet will decline
                                             ‘‘standard setting’’ analysis, which sets               measures of global climate change.                    dramatically between 2020 and 2050,
                                             aside the potential that manufacturers                    Also accounting for vehicular and                   and that emissions in any given year
                                             could respond to standards by using                     upstream emissions, NHTSA has                         could be very nearly the same under
                                             compliance credits or introducing new                   estimated annual emissions of most                    each regulatory alternative. For
                                             alternative fuel vehicle (including BEVs)               criteria pollutants (i.e., pollutants for             example, Figure II–6 shows NHTSA’s
                                             models during the ‘‘decision years’’ (for               which EPA has issued National                         estimate of future NOX emissions under
                                             this document, 2024, 2025, and 2026).                   Ambient Air Quality Standards).                       each alternative.
                                             The accompanying Final SEIS focuses                     NHTSA estimates that under each                       BILLING CODE 4910–59–P
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                                                                                                                                                                                                        ER02MY22.039</GPH>




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                                             BILLING CODE 4910–59–C                                     For the ‘‘standard setting’’ analysis,             analysis involves a multitude of
                                                On the other hand, as discussed in the               the FRIA accompanying this document                   uncertainties. Therefore, actual criteria
                                             FRIA and Final SEIS, NHTSA projects                     provides additional detail regarding                  pollutant emissions could ultimately be
                                             that annual SO2 emissions attributable                  projected criteria pollutant emissions                different from NHTSA’s current
                                             to the light-duty on-road fleet could                   and health effects, as well as the                    estimates.
                                             increase modestly under the action                      inclusion of these impacts in this
                                             alternatives, because, as discussed                                                                              To illustrate the effectiveness of the
                                                                                                     benefit-cost analysis. For the
                                             above, NHTSA projects that each of the                                                                        technology added in response to this
                                                                                                     ‘‘unconstrained’’ or ‘‘EIS’’ type of
                                             action alternatives could lead to greater               analysis, the Final SEIS accompanying                 final rule, Table II–10 presents NHTSA’s
                                             use of electricity (for PHEVs and BEVs).                this document presents much more                      estimates for increased vehicle cost and
                                             The adoption of actions—such as                         information regarding projected criteria              lifetime fuel expenditures if we
                                             actions prompted by President Biden’s                   pollutant emissions, as well as model-                assumed the behavioral response to the
                                             Executive order directing agencies to                   based estimates of corresponding                      lower cost of driving were zero.33 These
                                             develop a Federal Clean Electricity and                 impacts on several measures of urban                  numbers are presented in lieu of
                                             Vehicle Procurement Strategy—to                         air quality and public health. As                     NHTSA’s primary estimate of lifetime
                                             reduce electricity generation emission                  mentioned above, these estimates of                   fuel savings, which would give an
                                             rates beyond projections underlying                     criteria pollutant emissions are based on             incomplete picture of technological
                                             NHTSA’s analysis (discussed in Chapter                  a complex analysis involving interacting              effectiveness because the analysis
                                             5 of the TSD) could dramatically reduce                 simulation techniques and a myriad of                 accounts for consumers’ behavioral
                                             SO2 emissions under all regulatory                      input estimates and assumptions.                      response to the lower cost-per-mile of
                                             alternatives considered here.32                         Especially extending well past 2040, the              driving a more fuel-efficient vehicle.
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                                               32 https://www.whitehouse.gov/briefing-room/             33 While this comparison illustrates the           mile of driving, as well as a variety of other benefits
                                             presidential-actions/2021/01/27/executive-order-        effectiveness of the technology added in response     and costs they will experience. The agency’s
                                             on-tackling-the-climate-crisis-at-home-and-abroad/      to this final rule, it does not represent a full      complete analysis of the final rule’s likely impacts
                                             (accessed February 11, 2022).                           consumer welfare analysis, which would account        on passenger car and light truck buyers appears in
                                                                                                                                                                                                                     ER02MY22.040</GPH>




                                                                                                     for drivers’ likely response to the lower cost-per-   the FRIA, Appendix I, Table A–23–1.



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                                               With the SC–GHG discounted at 3                       monetized net benefits to society could               benefits could be attributable to vehicles
                                             percent and other benefits and costs                    be approximately $16 billion. With the                produced prior to MY 2030 over the
                                             discounted at 3 percent, NHTSA                          SC–GHG discounted at 3 percent and                    course of their lives, such that the
                                             estimates that monetized costs and                      other benefits and costs discounted at 7              present value of aggregate net monetized
                                             benefits could be approximately $128                    percent, NHTSA estimates                              benefits to society could be
                                             billion and $145 billion, respectively,                 approximately $96 billion in monetized                approximately $4 billion.
                                             such that the present value of aggregate                costs and $100 billion in monetized




                                               The following two tables provides a                   the social cost of carbon with all other              benefits discounted at 3 percent and 7
                                             range of benefits and net benefits                                                                            percent, respectively.
                                             representing varying discount rates for                                                                       BILLING CODE 4910–59–P




                                                                                                                                                                                                        ER02MY22.043</GPH>
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                                                                                                                                                                                                        ER02MY22.042</GPH>
                                                                                                                                                                                                        ER02MY22.041</GPH>




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                                             BILLING CODE 4910–59–C                                  those model years nearest to those                    each of some range of future calendar
                                               Model results can be viewed many                      (2024–2026) for which NHTSA is                        years. NHTSA’s presentation of results
                                             different ways, and NHTSA’s                             finalizing new standards. NHTSA’s                     from this perspective considers CYs
                                             rulemaking considers both ‘‘model                       analysis also presents some results                   2021–2050, because the model’s
                                             year’’ and ‘‘calendar year’’ perspectives.              focused only on MYs 2024–2026, setting                representation of the full on-road fleet
                                             The ‘‘model year’’ perspective, above,
                                                                                                     aside the estimated indirect impacts on               extends through 2050. Unlike the model
                                             considers vehicles projected to be
                                                                                                     earlier model years, and the impacts                  year perspective, this perspective
                                             produced in some range of model years,
                                                                                                     estimated to occur during MYs 2027–                   includes vehicles projected to be
                                             and accounts for impacts, benefits, and
                                                                                                     2029, as some manufacturers and                       produced during MYs 2021–2050. This
                                             costs attributable to these vehicles from
                                             the present (from the model year’s                      products ‘‘catch up’’ to the standards.               perspective emphasizes longer-term
                                             perspective, 2020) until they are                          Another way to present the benefits                impacts that could accrue if standards
                                             projected to be scrapped. The bulk of                   and costs of the final rule is the                    were to continue without change. Under
                                             NHTSA’s analysis considers vehicles                     ‘‘calendar year’’ perspective shown in                the calendar year perspective, net
                                             produced prior to MY 2030, accounting                   Table II–14, which is similar to how                  benefits for the standards are estimated
                                             for the estimated indirect impacts new                  EPA presents benefits and costs in its                to be nearly $112 billion by 2050 at a
                                             standards could have on the remaining                   final analysis for GHG standards. The                 3 percent discount rate, and over $73
                                             operation of vehicles already in service.               calendar year perspective considers all               billion by 2050 at a 7 percent discount
                                             This perspective emphasizes impacts on                  vehicles projected to be in service in                rate.
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                                                                                                                                                                                                      ER02MY22.045</GPH>
                                                                                                                                                                                                      ER02MY22.044</GPH>




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                                               Finally, Table II–15 shows costs and                  while Table II–11 shows a wider                         over the remaining lives of all vehicles
                                             benefits over the narrow perspective of                 perspective of the costs and benefits                   produced through MY 2029.
                                             the lives of MY 2023–2026 vehicles




                                                Though based on the exact same                       complete its Final SEIS using an                        associated with energy use. NHTSA
                                             model results, these two perspectives                   identical accounting approach. This is                  agrees with many public comments
                                             provide considerably different views of                 because the statutory limitations                       suggesting that the need of the United
                                             estimated costs and benefits. Because                   constraining NHTSA’s standard setting                   States to conserve energy and protect
                                             technology costs account for a large                    analysis, such as those in 49 U.S.C.                    the environment compels more stringent
                                             share of overall estimated costs, and are               32902(h), do not similarly apply to its                 standards than those set in 2020 if they
                                             also projected to decline over time (as                 ‘‘unconstrained’’ analysis, some effects                appear to be consistent with the other
                                             manufacturers gain more experience                      of which are used in NHTSA’s Final                      factors that NHTSA must consider.
                                             with new technologies), costs tend to be                SEIS.35 NHTSA’s ‘‘unconstrained’’                       NHTSA has concluded that Alternative
                                             ‘‘front loaded’’—occurring early in a                   analysis estimates $312 billion in                      2.5 is technologically feasible, is
                                             vehicle’s life and tending to be higher in              monetized costs, $443 billion in                        economically practicable (based on
                                             earlier model years than in later model                 monetized benefits, and $132 billion in                 manageable average per-vehicle cost
                                             years. Conversely, because social                       monetized net benefits using a 3-percent                increases, minimal effects on sales, and
                                             benefits of standards occur as vehicles                 discount rate over CYs 2021 through                     estimated increases in employment,
                                             are driven, and because both fuel prices                2050, with the social cost of carbon                    among other considerations), and is
                                             and the social cost of CO2 emissions are                discounted at 3 percent.36 NHTSA                        complementary to other motor vehicle
                                             projected to increase in the future,                    describes its cost and benefit accounting               standards of the Government on fuel
                                             benefits tend to be ‘‘back loaded.’’ As a               approach in Section V of this preamble.                 economy that are simultaneously
                                             result, estimates of future fuel savings,               Final Standards Are the Maximum                         applicable during MYs 2024–2026, as
                                             CO2 reductions, and net social benefits                 Feasible                                                described in more detail below. Despite
                                             are higher under the calendar year                                                                              only 2 years having passed since the
                                             perspective than under the model year                     NHTSA’s conclusion, after                             2020 final rule, enough has changed in
                                             perspective. On the other hand, with                    consideration of the factors described                  the United States and the world,
                                             longer-term impacts playing a greater                   below and information in the                            including as reflected in the technical
                                             role, the calendar year perspective is                  administrative record for this action, is               analysis, that revisiting the CAFE
                                             more subject to uncertainties regarding,                that 8-percent increases in stringency                  standards for MYs 2024–2026, and
                                             for example, future technology costs and                for MYs 2024–2025 and a 10-percent                      raising their stringency considerably, is
                                             fuel prices.                                            increase for MY 2026 for both passenger                 both appropriate and reasonable.
                                                Even though NHTSA and EPA                            cars and light trucks (Alternative 2.5 of
                                                                                                     this analysis) are maximum feasible.                      The 2020 final rule set CAFE
                                             estimate benefits, costs, and net benefits                                                                      standards that increased at 1.5 percent
                                             using similar methodologies and                         The Department of Transportation is
                                                                                                     deeply committed to working                             per year for cars and trucks for MYs
                                             achieve similar results, different                                                                              2021–2026, in large part because it
                                             approaches to accounting may give the                   aggressively to improve energy
                                                                                                     conservation and reduce environmental                   prioritized industry concerns and
                                             false appearance of significant                                                                                 reducing upfront costs to consumers
                                             divergences. Table II–13 above presents                 harms and economic and security risks
                                                                                                                                                             and manufacturers—even at the expense
                                             NHTSA’s results using comparable                                                                                of longer-term net savings to consumers.
                                                                                                       35 As the Final SEIS analysis contains information
                                             accounting to EPA’s preamble Table 4.                   that NHTSA is statutorily prevented from                This final rule reflects greater emphasis
                                             EPA also presents cost and benefit                      considering, the agency is limited on the extent this   on the statutory priority of energy
                                             information in its RIA over CYs 2021                    analysis is used in regulatory decision-making.         conservation, while also taking into
                                             through 2050.34 The numbers most                        Additionally, the Final SEIS includes no cost and
                                                                                                                                                             account other statutory requirements.
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                                                                                                     benefit analysis, and does not rely in any way on
                                             comparable to those presented in EPA’s                  the social cost of greenhouse gas emissions.            Moreover, NHTSA is also legally
                                             RIA are those NHTSA developed to                          36 See FRIA Chapter 6.5 for more information          required to consider the environmental
                                                                                                     regarding NHTSA’s estimates of annual benefits and      implications of this action under NEPA,
                                               34 EPA’s RIA is available at https://www.epa.gov/     costs using NHTSA’s standard setting analysis. See
                                             regulations-emissions-vehicles-and-engines/final-       Tables B–7–25 through B–7–30 in Appendix II of
                                                                                                                                                             and while the 2020 final rule did
                                             rule-revise-existing-national-ghg-emissions             the FRIA for a more detailed breakdown of               undertake a NEPA analysis, it did not
                                                                                                                                                                                                         ER02MY22.046</GPH>




                                             (accessed: March 24, 2022).                             NHTSA’s Final SEIS analysis.                            prioritize the environmental


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                                             considerations encompassed within the                    development of each agency’s                           this final rule, as additional legal
                                             statutory mandate to set ‘‘maximum                       independent rulemaking to revise their                 obligations that automakers will be
                                             feasible’’ fuel economy standards to                     respective standards set forth in the                  meeting during this time frame, and has
                                             conserve energy. This rule also reflects                 2020 final rule. The NHTSA CAFE and                    also accounted for the Framework
                                             NHTSA’s updated technical analysis.                      EPA CO2 standards for MY 2026                          Agreements between California and
                                                NHTSA recognizes that the amount of                   represent roughly equivalent levels of                 BMW, Ford, Honda, VWA, and Volvo,
                                             lead time available before MY 2024 is                    stringency. While the rates of increase                as those companies have committed to
                                             less than what was provided in the 2012                  for the final CAFE and CO2 standards                   meeting those Agreements. NHTSA
                                             rule. The amount of lead time is                         for MYs 2024–2026 are different, the                   believes that it is appropriate to include
                                             nevertheless consistent with the                         specific differences in what the two                   ZEV in the baseline for this final rule
                                             agency’s statutory requirements. As will                 agencies’ standards require become                     because EPA has granted a waiver of
                                             be discussed further in Section VI,                      smaller each year, until near alignment                Clean Air Act preemption to California
                                             NHTSA believes that the evidence                         is achieved in 2026. NHTSA                             for its Clean Cars Program,40 and it is
                                             suggests that the final standards are                    nevertheless coordinated closely with                  appropriate for the baseline to reflect
                                             economically practicable as explained                    EPA to minimize inconsistency between                  other legal obligations that automakers
                                             above and as discussed in Section VI.                    the programs while still ensuring that                 will be meeting during this time period.
                                                We note further that while this final                 NHTSA’s standards were maximum                         The baseline should reflect the state of
                                             rule is different from the 2020 final rule               feasible for MYs 2024–2026.                            the world without the CAFE standards
                                             (and also from the 2012 final rule),                        While NHTSA’s and EPA’s programs                    so that the regulatory analysis can
                                             NHTSA, like any other Federal agency,                    differ in certain other respects, like                 identify the distinct effects of the CAFE
                                             is afforded an opportunity to reconsider                 programmatic flexibilities, those                      standards. In addition, according to
                                             prior views and, when warranted, to                      differences are not new in this final                  information provided by California,41
                                             adopt new positions. Indeed, as a matter                 rule. Some parts of the programs are                   there has been extensive industry
                                             of good governance, agencies should                      harmonized, and others differ, often as                overcompliance with the ZEV
                                             revisit their positions when appropriate,                a result of the respective statutory                   standards, which suggests that
                                             especially to ensure that their actions                  frameworks. Since NHTSA and EPA                        regardless of the waiver, many
                                             and regulations reflect legally sound                    began coordinating their regulations                   companies intend to produce ZEVs in
                                             interpretations of the agency’s statutory                under President Obama, differences in                  volumes comparable to what the current
                                             authority and remain consistent with                     programmatic flexibilities have meant                  ZEV mandate would require. Thus,
                                             the agency’s policy views and practices.                 that manufacturers have had (and will                  including state ZEV mandates in the
                                             As a matter of law, ‘‘an [a]gency is                     have) to plan their compliance strategies              regulatory baseline for this final rule is
                                             entitled to change its interpretation of a               considering both the CAFE standards                    consistent with guidance in OMB
                                             statute.’’ 37 Nonetheless, ‘‘[w]hen an                   and the GHG standards and assure that                  Circular A–4 directing agencies to
                                             [a]gency adopts a materially changed                     they are in compliance with both.                      develop analytical baselines that are as
                                             interpretation of a statute, it must in                  NHTSA is finalizing CAFE standards                     accurate as possible regarding the state
                                             addition provide a ‘reasoned analysis’                   that increase at 8 percent per year over               of the world in the absence of the
                                             supporting its decision to revise its                    MYs 2024–2025 and at 10 percent per                    regulatory action being evaluated.
                                             interpretation.’’ 38 This preamble and                   year for MY 2026 because that is what                  However, because modeling a
                                             the accompanying TSD and FRIA all                        NHTSA has concluded is maximum                         subnational fleet is not currently an
                                             provide extensive detail on the agency’s                 feasible in those model years, under the               analytical option for NHTSA, NHTSA
                                             updated analysis, and Section VI                         EPCA factors. Auto manufacturers are                   has not expressly accounted for
                                             contains the agency’s explanation of                     extremely sophisticated companies,                     California GHG standards in the
                                             how the agency has considered that                       well able to manage compliance                         analysis for this final rule. Chapter 6 of
                                             analysis and other relevant information                  strategies that account for multiple                   the accompanying FRIA shows the
                                             in determining that the standards                        regulatory programs concurrently. Past                 estimated effects of all of these programs
                                             represented by Alternative 2.5 are                       experience with these programs                         simultaneously.
                                             maximum feasible for MY 2024–2026                        indicates that each manufacturer will
                                             passenger cars and light trucks.                                                                                III. Technical Foundation for Final
                                                                                                      optimize its compliance strategy around                Rule Analysis
                                             Final Standards Are Feasible in the                      whichever standard is most binding for
                                                                                                      its fleet of vehicles. If different agencies’             Why does NHTSA conduct this
                                             Context of EPA’s Final Standards and
                                                                                                      standards are more binding for some                    analysis?
                                             California’s Programs                                                                                              NHTSA is establishing revised CAFE
                                               The NHTSA and EPA final rules                          companies in certain years, this does
                                                                                                                                                             standards for passenger cars and light
                                             remain coordinated despite being issued                  not mean that manufacturers must build
                                                                                                                                                             trucks produced for MYs 2024–2026.
                                             as separate regulatory actions. Because                  multiple fleets of vehicles, simply that
                                                                                                                                                             NHTSA establishes CAFE standards
                                             NHTSA and EPA are regulating the                         they will have to be more strategic about
                                                                                                                                                             under the Energy Policy and
                                             exact same vehicles and manufacturers                    how they build their fleet. NHTSA
                                                                                                                                                             Conservation Act, as amended, and this
                                             will use many of the same technologies                   discusses this issue in greater detail in
                                                                                                                                                             final rule is undertaken pursuant to that
                                             to meet both sets of standards, NHTSA                    Section VI.A of this preamble. Critically,
                                                                                                                                                             authority. This final rule would require
                                             coordinated with EPA during the                          NHTSA has concluded that it is feasible
                                                                                                      for manufacturers to meet both the EPA                   40 87 FR 14332 (Mar. 14, 2022).

                                               37 Phoenix Hydro Corp. v. FERC, 775 F.2d 1187,         and the NHTSA standards.39                                41 See, e.g., https://ww2.arb.ca.gov/sites/default/

                                             1191 (D.C. Cir. 1985).                                      NHTSA has also considered and                       files/2020-01/appendix_a_minimum_zev_
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                                                38 Alabama Educ. Ass’n v. Chao, 455 F.3d 386,         accounted for California’s ZEV mandate                 regulation_compliance_scenarios_formatted_ac.pdf
                                             392 (D.C. Cir. 2006) (quoting Motor Vehicle Mfrs.        (and its adoption by a number of other                 (accessed: March 24, 2022) (stating that ‘‘Since the
                                             Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,                                                          2012 adoption of the ACC requirements, vehicle
                                             463 U.S. 29, 57 (1983)); see also Encino Motorcars,
                                                                                                      states) in developing the baseline for                 technology has advanced faster and developed more
                                             LLC v. Navarro, 136 S. Ct. 2117, 2125 (2016)                                                                    broadly than originally anticipated, and the
                                             (‘‘Agencies are free to change their existing policies      39 This is consistent with NHTSA’s and EPA joint    assumptions used in the original rulemaking
                                             as long as they provide a reasoned explanation for       finding in the 2012 final rule, as discussed further   scenario no longer reflect vehicles expected in the
                                             the change.’’) (citations omitted).                      in Section VI below.                                   2018 through 2025 timeframe.’’).



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                                             CAFE stringency for both passenger cars                 consideration. Along with this                        vehicle sales volumes and (2) the ‘‘retail
                                             and light trucks to increase at a rate of               preamble, a TSD, a FRIA, and a Final                  price equivalent’’ (RPE) factor used to
                                             8 percent, 8 percent, and 10 percent per                SEIS, together provide an extensive and               estimate the ultimate cost to consumers
                                             year annually during MY 2024, MY                        detailed enumeration of related                       of a given fuel-saving technology, given
                                             2025, and MY 2026, respectively.                        methods, estimates, assumptions, and                  accompanying estimates of the
                                             NHTSA estimates that over the useful                    results. These additional analyses can                technology’s ‘‘direct cost,’’ as adjusted
                                             lives of vehicles produced prior to MY                  be found in the rulemaking docket for                 to account for estimated ‘‘cost learning
                                             2030, these standards would save about                  this final rule 42 and on NHTSA’s                     effects’’ (i.e., the tendency that it will
                                             60 billion gallons of gasoline and                      website.43 NHTSA’s analysis has been                  cost a manufacturer less to apply a
                                             increase electricity consumption by                     constructed specifically to reflect                   technology as the manufacturer gains
                                             about 180 TWh. Accounting for                           various aspects of governing law                      more experience doing so).
                                             emissions from both vehicles and                        applicable to CAFE standards and has                     NHTSA uses the CAFE Compliance
                                             upstream energy sector processes (e.g.,                 been expanded and improved in                         and Effects Modeling System (usually
                                             petroleum refining and electricity                      response to comments received to the                  shortened to the ‘‘CAFE Model’’) to
                                             generation), NHTSA estimates that these                 prior rulemaking and to the proposal, as              estimate manufacturers’ potential
                                             standards would reduce greenhouse gas                   well as additional work conducted over                responses to new CAFE and CO2
                                             emissions by about 605 million metric                   the last year or two. Further                         standards and to estimate various
                                             tons of carbon dioxide (CO2), about 730                 improvements may be made in the                       impacts of those responses. DOT’s
                                             thousand metric tons of methane (CH4),                  future based on comments received to                  Volpe National Transportation Systems
                                             and about 17 thousand tons of N2O.                      the proposal, which were either out of                Center (often simply referred to as the
                                                When NHTSA promulgates new                           scope for this rulemaking or for which                ‘‘Volpe Center’’) develops, maintains,
                                             regulations, it generally presents an                   the improvements were too extensive or                and applies the model for NHTSA.
                                             analysis that estimates the impacts of                  complex to implement in the available                 NHTSA has used the CAFE Model to
                                             such regulations, and the impacts of                    time, on the 2021 NAS Report,44 and on                perform analyses supporting every
                                             other regulatory alternatives. These                    other additional work generally                       CAFE rulemaking since 2001. The 2016
                                             analyses derive from statutes such as the               previewed in these rulemaking                         rulemaking regarding heavy-duty
                                             Administrative Procedure Act (APA),                     documents. The analysis for this final
                                                                                                                                                           pickup and van fuel consumption and
                                             National Environmental Policy Act                       rule aided NHTSA in implementing its
                                                                                                                                                           CO2 emissions also used the CAFE
                                             (NEPA), Executive orders (such as E.O.                  statutory obligations, including the
                                             12866 and E.O. 13653), and from other                                                                         Model for analysis.
                                                                                                     weighing of various considerations, by
                                             administrative guidance (e.g., Office of                reasonably informing decision-makers                     The basic design of the CAFE Model
                                             Management Budget Circular A–4). For                    about the estimated effects of choosing               is as follows: The system first estimates
                                             CAFE, the Energy Policy and                             different regulatory alternatives.                    how vehicle manufacturers might
                                             Conservation Act (EPCA), as amended                        NHTSA’s analysis makes use of a                    respond to a given regulatory scenario,
                                             by the Energy Independence and                          range of data (i.e., observations of things           and from that potential compliance
                                             Security Act (EISA), contains a variety                 that have occurred), estimates (i.e.,                 solution, the system estimates what
                                             of provisions that require NHTSA to                     things that may occur in the future), and             impact that response will have on fuel
                                             consider certain compliance elements in                 models (i.e., methods for making                      consumption, emissions, and economic
                                             certain ways and avoid considering                      estimates). Two examples of data                      externalities. In a highly summarized
                                             other things, in determining maximum                    include (1) records of actual odometer                form, Figure III–1 shows the basic
                                             feasible CAFE standards. Collectively,                  readings used to estimate annual                      categories of CAFE Model procedures
                                             capturing all of these requirements and                 mileage accumulation at different                     and the sequential flow between
                                             guidance elements analytically means                    vehicle ages and (2) CAFE compliance                  different stages of the modeling. The
                                             that, at least for CAFE, NHTSA presents                 data used as the foundation for the                   diagram does not present specific model
                                             an analysis that spans a meaningful                     ‘‘analysis fleet’’ containing, among other            inputs or outputs, as well as many
                                             range of regulatory alternatives, that                  things, production volumes and fuel                   specific procedures and model
                                             quantifies a range of technological,                    economy levels of specific                            interactions. The model documentation
                                             economic, and environmental impacts,                    configurations of specific vehicle                    accompanying this preamble presents
                                             and that does so in a manner that                       models produced for sale in the U.S.                  these details, and Chapter 1 of the TSD
                                             accounts for EPCA’s express                             Two examples of estimates include (1)                 contains a more detailed version of this
                                             requirements for the CAFE program                       forecasts of future GDP growth used,                  flow diagram for readers who are
                                             (e.g., passenger cars and light trucks are              with other estimates, to forecast future              interested.
                                             regulated separately, and the standard                                                                        BILLING CODE 4910–59–P
                                             for each fleet must be set at the                         42 Docket No. NHTSA–2021–0053, which can be

                                             maximum feasible level in each model                    accessed at https://www.regulations.gov.              National Academies Press (hereafter, ‘‘2021 NAS
                                                                                                       43 See https://www.nhtsa.gov/laws-regulations/
                                             year).                                                                                                        Report’’). Available at https://
                                                NHTSA’s decision regarding the final                 corporate-average-fuel-economy.                       www.nationalacademies.org/our-work/assessment-
                                                                                                       44 National Academies of Sciences, Engineering,     of-technologies-for-improving-fuel-economy-of-
                                             standards is thus supported by                          and Medicine, 2021. Assessment of Technologies        light-duty-vehicles-phase-3 (accessed: February 11,
                                             extensive analysis of potential impacts                 for Improving Fuel Economy of Light-Duty              2022) and for hard-copy review at DOT
                                             of the regulatory alternatives under                    Vehicles—2025–2035, Washington, DC: The               headquarters.
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                                             BILLING CODE 4910–59–C                                  potential stringencies. A regulatory                  simulation begins with a detailed user-
                                                More specifically, the model may be                  scenario, meanwhile, involves                         provided initial forecast of the vehicle
                                             characterized as an integrated system of                specification of the form, or shape, of               models offered for sale during the
                                             models. For example, one model                          the standards (e.g., flat standards, or               simulation period.45 The compliance
                                             estimates manufacturers’ responses,                     linear or logistic attribute-based                    simulation then attempts to bring each
                                             another estimates resultant changes in                  standards), scope of passenger car and                manufacturer into compliance with the
                                             total vehicle sales, and still another                  truck regulatory classes, and stringency              standards defined by the regulatory
                                             estimates resultant changes in fleet                    of the CAFE standards for each model
                                             turnover (i.e., scrappage). Additionally,               year to be analyzed. For example, a
                                             and importantly, the model does not                     regulatory scenario may define CAFE
                                             determine the form or stringency of the                 standards that increase in stringency by                45 Because the CAFE Model is publicly available,

                                             standards. Instead, the model applies                   a given percent per year for a given                  anyone can develop their own initial forecast (or
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                                             inputs specifying the form and                                                                                other inputs) for the model to use. The DOT-
                                                                                                     number of consecutive years.
                                                                                                                                                           developed Market Data file that contains the
                                             stringency of standards to be analyzed                     Manufacturer compliance simulation
                                                                                                                                                           forecast used for this final rule is available on
                                             and produces outputs showing the                        and the ensuing effects estimation,                   NHTSA’s website at https://www.nhtsa.gov/
                                             impacts of manufacturers working to                     collectively referred to as compliance                corporate-average-fuel-economy/cafe-compliance-
                                             meet those standards, which become the                  modeling, encompass numerous                          and-effects-modeling-systems. (Accessed: March 22,
                                                                                                                                                                                                                ER02MY22.047</GPH>




                                             basis for comparing between different                   subsidiary elements. Compliance                       2022).



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                                             scenario contained within an input file                 TSD and FRIA describe details of the                        • Procedures to ensure that modeled
                                             developed by the user.46                                agency’s use of these models. In                         technology application and production
                                                Estimating impacts involves                          addition, as discussed in the Final SEIS                 volumes are the same across all
                                             calculating resultant changes in new                    accompanying this final rule, DOT                        regulatory alternatives in the earliest
                                             vehicle costs, estimating a variety of                  relied on a range of climate models to                   model years; and
                                             costs (e.g., for fuel) and effects (e.g., CO2           estimate impacts on climate, air quality,                   • Procedures to more precisely focus
                                             emissions from fuel combustion)                         and public health. The Final SEIS                        application of the EPCA’s ‘‘standard
                                             occurring as vehicles are driven over                   discusses and describes the use of these                 setting constraints’’ (i.e., regarding the
                                             their lifetimes before eventually being                 models.                                                  consideration of compliance credits and
                                             scrapped, and estimating the monetary                      To prepare for analysis supporting                    additional dedicated alternative fueled
                                             value of these effects. Estimating                      this final rule, DOT has refined and                     vehicles) to only those model years for
                                             impacts also involves consideration of                  expanded the CAFE Model through                          which NHTSA is proposing or finalizing
                                             consumer responses—e.g., the impact of                  ongoing development. Examples of such                    new standards.
                                             vehicle fuel economy, operating costs,                  changes, some informed by past external                     These changes reflect DOT’s long-
                                             and vehicle price on consumer demand                    comments, made since early 2020                          standing commitment to ongoing
                                             for passenger cars and light trucks. Both               include:                                                 refinement of its approach to estimating
                                             basic analytical elements involve the                      • Inclusion of 400- and 500-mile                      the potential impacts of new CAFE
                                             application of many analytical inputs.                  BEVs;                                                    standards. Following the proposal
                                             Many of these inputs are developed                         • Inclusion of high compression ratio                 preceding this document, NHTSA made
                                             outside of the model and not by the                     (HCR) engines with cylinder                              several further changes to the CAFE
                                             model. For example, the model applies                   deactivation;                                            Model, including:
                                             fuel prices; it does not estimate fuel                     • Accounting for manufacturers’                          • New options for applying a
                                             prices.                                                 responses to both CAFE and CO2                           dynamic fleet share model (of the
                                                NHTSA also uses EPA’s MOVES                          standards jointly (rather than only                      relative shares passenger cars and light
                                             model to estimate ‘‘tailpipe’’ (a.k.a.                  separately);                                             trucks comprise of the total U.S. new
                                             ‘‘vehicle’’ or ‘‘downstream’’) emission                    • Accounting for the ZEV mandates                     vehicle market);
                                             factors for criteria pollutants,47 and uses             applicable in California and the                            • Provisions allowing direct input of
                                             four DOE and DOE-sponsored models to                    ‘‘Section 177’’ states;                                  the number of miles to be included
                                             develop inputs to the CAFE Model,                          • Accounting for some vehicle                         when valuing avoided fuel outlays in
                                             including three developed and                           manufacturers’ (BMW, Ford, Honda,                        the models used to estimate impacts on
                                             maintained by DOE’s Argonne National                    VW, and Volvo) voluntary agreement                       the total sales of new vehicles and the
                                             Laboratory. The agency uses the DOE                     with the state of California to continued                scrappage of used vehicles;
                                             Energy Information Administration’s                     annual national-level reductions of                         • Expanded model output reporting
                                             (EIA’s) National Energy Modeling                        vehicle greenhouse gas emissions                         to include all estimates (for this
                                             System (NEMS) to estimate fuel                          through MY 2026, with greater rates of                   analysis) of the social cost of carbon
                                             prices,48 and uses Argonne’s                            electrification than would have been                     dioxide emissions (i.e., the SCC) when
                                             Greenhouse gases, Regulated Emissions,                  required under the 2020 final rule; 52                   reporting total and net benefits to
                                             and Energy use in Transportation                           • Inclusion of CAFE civil penalties in                society;
                                             (GREET) model to estimate emissions                     the ‘‘effective cost’’ metric used when                     • Procedures to calculate and report
                                             rates from fuel production and                          simulating manufacturers’ potential                      the value of miles reallocated between
                                             distribution processes.49 DOT also                      application of fuel-saving technologies;                 new and used vehicles (when holding
                                             sponsored DOE/Argonne to use                               • Refined procedures to estimate                      overall travel demand before accounting
                                             Argonne’s Autonomie full-vehicle                        health effects and corresponding                         for the rebound effect constant between
                                             modeling and simulation system to                       monetized damages attributable to                        regulatory alternatives);
                                             estimate the fuel economy impacts for                   criteria pollutant emissions;                               • Adjustments to reduce exclude
                                             over a million combinations of                             • New procedures to estimate the                      finance costs from reported incremental
                                             technologies and vehicle types.50 51 The                impacts and corresponding monetized                      costs to consumers, and reduce reported
                                                                                                     damages of highway vehicle crashes that                  insurance costs by 20 percent (to
                                               46 With appropriate inputs, the model can also be     do not result in fatalities;                             prevent double-counting of the costs to
                                             used to estimate impacts of manufacturers’                                                                       replace totaled vehicles); and
                                             potential responses to new CO2 standards and to         characteristics of the simulated vehicle and its level      • Revisions to allow direct
                                             California’s ZEV program.                               of electrification. Information regarding Argonne’s
                                               47 See https://www.epa.gov/moves. This final rule
                                                                                                                                                              specification of total VMT even in years
                                                                                                     BatPaC model is available at https://www.anl.gov/
                                             uses version MOVES3, available at https://              cse/batpac-model-software. (Accessed: February 16,
                                                                                                                                                              for which the CAFE Model estimates
                                             www.epa.gov/moves/latest-version-motor-vehicle-         2022).                                                   new vehicle sales (in particular, for this
                                             emission-simulator-moves. (Accessed: February 16,         51 In addition, the impact of engine technologies      analysis, 2021, to account for VMT
                                             2022).                                                  on fuel consumption, torque, and other metrics was       recovering rapidly following the decline
                                               48 See https://www.eia.gov/outlooks/archive/
                                                                                                     characterized using GT–POWER simulation                  in the early months of the COVID–19
                                             aeo21. (Accessed: February 16, 2022) This final rule    modeling in combination with other engine
                                             uses fuel prices estimated using the Annual Energy      modeling that was conducted by IAV Automotive            pandemic.
                                             Outlook (AEO) 2021 version of NEMS (see https://        Engineering, Inc. (IAV). The engine characterization        The TSD accompanying this
                                             www.eia.gov/outlooks/aeo/pdf/                           ‘‘maps’’ resulting from this analysis were used as       document elaborates on these changes
                                             02%20AEO2021%20Petroleum.pdf). (Accessed:               inputs for the Autonomie full-vehicle simulation         to the CAFE Model, as well as changes
                                             February 16, 2022).                                     modeling. Information regarding GT–POWER is
                                               49 Information regarding GREET is available at        available at https://www.gtisoft.com/gt-suite-
                                                                                                                                                              to input to the model for this analysis.
                                                                                                                                                                 NHTSA underscores that this analysis
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                                             https://greet.es.anl.gov/index.php. (Accessed:          applications/propulsion-systems/gt-power-engine-
                                             February 16, 2022) This final rule uses the 2021        simulation-software. (Accessed: February 16, 2022).      exercises the CAFE Model in a manner
                                             version of GREET.                                         52 For more information on the Framework               that explicitly accounts for the fact that
                                               50 As part of the Argonne simulation effort,          Agreements for Clean Cars, including the specific        in producing a single fleet of vehicles
                                             individual technology combinations simulated in         agreements signed by individual manufacturers, see
                                             Autonomie were paired with Argonne’s BatPaC             https://ww2.arb.ca.gov/news/framework-
                                                                                                                                                              for sale in the United States,
                                             model to estimate the battery cost associated with      agreements-clean-cars. (Accessed: February 16,           manufacturers face the combination of
                                             each technology combination based on                    2022).                                                   CAFE standards, EPA CO2 standards,


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                                             and ZEV mandates, and for five                          regulatory class and model year, the                    which the Secretary is to levy civil
                                             manufacturers, the voluntary agreement                  applicable minimum CAFE requirement                     penalties if a manufacturer fails to
                                             with California to more stringent GHG                   (i.e., the numerical value of the                       comply with a CAFE standard for a
                                             reduction requirements (also applicable                 requirement) is computed based on the                   given fleet in a given model year, after
                                             to these manufacturers’ total production                applicable mathematical function, and                   considering available credits. Some
                                             for the U.S. market) through MY 2026.                   the mix and attributes of vehicles in the               manufacturers have historically
                                             These regulations and contracts have                    manufacturer’s fleet. The CAFE Model                    demonstrated a willingness to pay civil
                                             important structural and other                          accounts for such functions and vehicle                 penalties rather than achieving full
                                             differences that affect the strategy a                  attributes explicitly.                                  numerical compliance across all fleets.
                                             manufacturer could use to comply with                      Separately Defined Standards for                     The CAFE Model calculates civil
                                             each of the above.                                      Each Model Year: Section 32902 of 49                    penalties (adjusted for inflation) for
                                                As explained, the analysis is designed               U.S.C. requires the Secretary to set                    CAFE shortfalls and provides means to
                                             to reflect a number of statutory and                    CAFE standards (separately for                          estimate that a manufacturer might stop
                                             regulatory requirements applicable to                   passenger cars and light trucks 54) at the              adding fuel-saving technologies once
                                             CAFE and tailpipe CO2 standard-setting.                 maximum feasible levels in each model                   continuing to do so would be effectively
                                             EPCA contains a number of                               year. The CAFE Model represents each                    more ‘‘expensive’’ (after accounting for
                                             requirements governing the scope and                    model year explicitly, and accounts for                 fuel prices and buyers’ willingness to
                                             nature of CAFE standard setting. Among                  the production relationships between                    pay for fuel economy) than paying civil
                                             these, some have been in place since                    model years.55                                          penalties. The CAFE Model does not
                                             EPCA was first signed into law in 1975,                    Separate Compliance for Domestic                     allow civil penalty payment as an
                                             and some were added in 2007, when                       and Imported Passenger Car Fleets:                      option for CO2 standards.
                                             Congress passed EISA and amended                        Section 32904 of 49 U.S.C. requires the
                                             EPCA. EPCA/EISA requirements                            EPA Administrator to determine CAFE                        Dual-Fueled and Dedicated
                                             regarding the technical characteristics of              compliance separately for each                          Alternative Fuel Vehicles: For purposes
                                             CAFE standards and the analysis thereof                 manufacturers’ fleets of domestic                       of calculating CAFE levels used to
                                             include, but are not limited to, the                    passenger cars and imported passenger                   determine compliance, 49 U.S.C. 32905
                                             following, and the analysis reflects these              cars, which manufacturers must                          and 32906 specify methods for
                                             requirements as summarized:                             consider as they decide how to improve                  calculating the fuel economy levels of
                                                Corporate Average Standards: Section                 the fuel economy of their passenger car                 vehicles operating on alternative fuels to
                                             32902 of 49 U.S.C. requires standards                   fleets. The CAFE Model accounts                         gasoline or diesel through MY 2020.
                                             that apply to the average fuel economy                  explicitly for this requirement when                    After MY 2020, methods for calculating
                                             levels achieved by each corporation’s                   simulating manufacturers’ potential                     alternative fuel vehicle (AFV) fuel
                                             fleets of vehicles produced for sale in                 responses to CAFE standards, and                        economy are governed by regulation.
                                             the U.S.53 The CAFE Model calculates                    combines any given manufacturer’s                       The CAFE Model is able to account for
                                             the CAFE and CO2 levels of each                         domestic and imported cars into a single                these requirements explicitly for each
                                             manufacturer’s fleets based on estimated                fleet when simulating that                              vehicle model. However, 49 U.S.C.
                                             production volumes and characteristics,                 manufacturer’s potential response to                    32902 prohibits consideration of the
                                             including fuel economy levels, of                       CO2 standards (because EPA does not                     fuel economy of dedicated alternative
                                             distinct vehicle models that could be                   have separate standards for domestic                    fuel vehicle (AFV) models when
                                             produced for sale in the U.S.                           and imported passenger cars).                           NHTSA determines what levels of CAFE
                                                Separate Standards for Passenger                        Minimum CAFE Standards for                           standards are maximum feasible. The
                                             Cars and Light Trucks: Section 32902 of                 Domestic Passenger Car Fleets: Section                  CAFE Model therefore has an option to
                                             49 U.S.C. requires the Secretary of                     32902 of 49 U.S.C. requires that                        be run in a manner that excludes the
                                             Transportation to set CAFE standards                    domestic passenger car fleets meet a                    additional application of dedicated AFV
                                             separately for passenger cars and light                 minimum standard, which is calculated                   technologies in model years for which
                                             trucks. The CAFE Model accounts                         as 92 percent of the industry-wide                      maximum feasible standards are under
                                             separately for passenger cars and light                 average level required under the                        consideration. As allowed under NEPA
                                             trucks when it analyzes CAFE or CO2                     applicable attribute-based CAFE                         for analysis appearing in EISs informing
                                             standards, including differentiated                     standard, as projected by the Secretary                 decisions regarding CAFE standards, the
                                             standards and compliance.                               at the time the standard is promulgated.                CAFE Model can also be run without
                                                Attribute-Based Standards: Section                   The CAFE Model accounts explicitly for                  this analytical constraint. The CAFE
                                             32902 of 49 U.S.C. requires the                         this requirement for CAFE standards                     Model does account for dual- and
                                             Secretary of Transportation to define                   and sets this requirement aside for CO2                 alternative fuel vehicles when
                                             CAFE standards as mathematical                          standards.                                              simulating manufacturers’ potential
                                             functions expressed in terms of one or                     Civil Penalties for Noncompliance:                   responses to CO2 standards. For natural
                                             more vehicle attributes related to fuel                 Section 32912 of 49 U.S.C. (and                         gas vehicles, both dedicated and dual-
                                             economy. This means that for a given                    implementing regulations) prescribes a                  fueled, EPA has a multiplier of 2.0 for
                                             manufacturer’s fleet of vehicles                        rate (in dollars per tenth of a mpg) at                 MY 2022.56
                                             produced for sale in the U.S. in a given
                                                                                                       54 Chapter 329 of title 49 of the U.S. Code uses         56 That said, the CAFE Model reflects the EPA
                                               53 This differs from safety standards and             the term ‘‘non-passenger automobiles,’’ while           regulatory flexibilities in place when the NHTSA
                                             traditional emissions standards, which apply            NHTSA uses the term ‘‘light trucks’’ in its CAFE        began work on this rulemaking to reconsider CAFE
                                             separately to each vehicle. For example, every          regulations. The terms’ meanings are identical.         standards previously issued for MYs 2024–2026,
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                                             vehicle produced for sale in the U.S. must, on its        55 For example, a new engine first applied to         including a multiplier of 2.0 for natural gas
                                             own, meet all applicable Federal motor vehicle          given vehicle model/configuration in MY 2020 will       vehicles, both dedicated and dual-fueled, for MYs
                                             safety standards (FMVSS), but no vehicle produced       most likely be ‘‘carried forward’’ to MY 2021 of that   2022–2026, although EPA’s recent final rule
                                             for sale must, on its own, meet Federal fuel            same vehicle model/configuration, in order to           eliminated this multiplier after MY 2022. As
                                             economy standards. Rather, each manufacturer is         reflect the fact that manufacturers do not apply        explained elsewhere in this preamble, the effect of
                                             required to produce a mix of vehicles that, taken       brand-new engines to a given vehicle model every        this particular difference between the modeling and
                                             together, achieve an average fuel economy level no      single year. The CAFE Model is designed to account      EPA’s final requirements is not significant, given
                                             less than the applicable minimum level.                 for these real-world factors.                           the lack of NGVs in the analysis.



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                                                ZEV Mandates: The CAFE Model can                      U.S.C. prohibits consideration of                          configurations into myriad versions
                                             simulate manufacturers’ compliance                       manufacturers’ potential application of                    each optimized to a single vehicle
                                             with ZEV mandates applicable in                          CAFE compliance credits when setting                       model/configuration.
                                             California and ‘‘Section 177’’ 57 states.                maximum feasible CAFE standards. The                          National Environmental Policy Act: In
                                             The approach involves identifying                        CAFE Model can be operated in a                            addition, NEPA requires the Secretary to
                                             specific vehicle model/configurations                    manner that excludes the application of                    issue an EIS that documents the
                                             that could be replaced with PHEVs or                     CAFE credits for a given model year                        estimated impacts of regulatory
                                             BEVs, and immediately making these                       under consideration for standard                           alternatives under consideration. The
                                             changes in each model year, before                       setting. For modeling CO2 standards,                       Final SEIS accompanying this final rule
                                             beginning to consider the potential that                 the CAFE Model does not limit                              documents changes in emission
                                             other technologies could be applied                      transfers. Insofar as the CAFE Model can                   inventories as estimated using the CAFE
                                             toward compliance with CAFE or CO2                       be exercised in a manner that simulates                    Model, but also documents
                                             standards.                                               trading of CO2 compliance credits, such                    corresponding estimates—based on the
                                                Creation and Use of Compliance                        simulations treat trading as unlimited.59                  application of other models documented
                                             Credits: Section 32903 of 49 U.S.C.                         Statutory Basis for Stringency: Section                 in the Final SEIS, of impacts on the
                                             provides that manufacturers may earn                     32902 of 49 U.S.C. requires the                            global climate, on tropospheric air
                                             CAFE ‘‘credits’’ by achieving a CAFE                     Secretary to set CAFE standards at the                     quality, and on human health.
                                             level beyond that required of a given                    maximum feasible levels, considering                          Other Aspects of Compliance: Beyond
                                             fleet in a given model year, and                         technological feasibility, economic                        these statutory requirements applicable
                                             specifies how these credits may be used                  practicability, the need of the United                     to DOT, EPA, or both are a number of
                                             to offset the amount by which a                          States to conserve energy, and the                         specific technical characteristics of
                                             different fleet falls short of its                       impact of other motor vehicle standards                    CAFE and/or CO2 regulations that are
                                             corresponding requirement. These                         of the Government on fuel economy.                         also relevant to the construction of this
                                             provisions allow credits to be ‘‘carried                 EPCA/EISA authorizes the Secretary to                      analysis. For example, EPA has defined
                                             forward’’ and ‘‘carried back’’ between                   interpret these factors, and as the                        procedures for calculating average CO2
                                             model years, transferred between                         Department’s interpretation has                            levels, and has revised procedures for
                                             regulated classes (domestic passenger                    evolved, NHTSA has continued to                            calculating CAFE levels, to reflect
                                             cars, imported passenger cars, and light                 expand and refine its qualitative and                      manufacturers’ application of ‘‘off-
                                             trucks), and traded between                              quantitative analysis to account for                       cycle’’ technologies that increase fuel
                                             manufacturers. However, credit use is                    these statutory factors. For example, one                  economy (and reduce CO2 emissions).
                                             also subject to specific statutory limits.               of the ways that economic practicability                   Although too little information is
                                             For example, CAFE compliance credits                     considerations are incorporated into the                   available to account for these provisions
                                                                                                      analysis is through the technology                         explicitly in the same way that the
                                             can be carried forward a maximum of
                                                                                                      effectiveness determinations: the                          agency has accounted for other
                                             five model years and carried back a
                                                                                                      Autonomie simulations reflect the                          technologies, the CAFE Model includes
                                             maximum of three model years. Also,
                                                                                                      agency’s judgment that it would not be                     and makes use of inputs reflecting the
                                             EPCA/EISA caps the amount of credit
                                                                                                      economically practicable for a                             agency’s expectations regarding the
                                             that can be transferred between
                                                                                                      manufacturer to ‘‘split’’ an engine                        extent to which manufacturers may earn
                                             passenger car and light truck fleets and
                                                                                                      shared among many vehicle model/                           such credits, along with estimates of
                                             prohibits manufacturers from applying
                                                                                                                                                                 corresponding costs. Similarly, the
                                             traded or transferred credits to offset a
                                                                                                      credits with market competitors rather than making         CAFE Model includes and makes use of
                                             failure to achieve the applicable                        their own technology investments. Historically,            inputs regarding credits EPA has elected
                                             minimum standard for domestic                            carry-back and trading have been much less utilized
                                                                                                                                                                 to allow manufacturers to earn toward
                                             passenger cars. The CAFE Model                           than carry-forward, for a variety of reasons
                                                                                                      including higher risk and preference not to ‘pay           CO2 levels (not CAFE) based on the use
                                             explicitly simulates manufacturers’                      competitors to make fuel economy improvements              of air conditioner refrigerants with
                                             potential use of credits carried forward                 we should be making’ (to paraphrase one                    lower global warming potential (GWP),
                                             from prior model years or transferred                    manufacturer), although NHTSA recognizes that
                                                                                                                                                                 or on the application of technologies to
                                             from other fleets.58 Section 32902 of 49                 carry-back and trading are used more frequently
                                                                                                      when standards increase in stringency more                 reduce refrigerant leakage. In addition,
                                                57 The term ‘‘Section 177’’ states refers to states
                                                                                                      rapidly. Given the uncertainty just discussed, and         the CAFE Model accounts for EPA
                                                                                                      given also the fact that the agency has yet to resolve     ‘‘multipliers’’ for certain alternative
                                             which have elected to adopt California’s standards       some of the analytical challenges associated with
                                             in lieu of Federal requirements, as allowed under        simulating use of these flexibilities, the agency
                                                                                                                                                                 fueled vehicles, based on current
                                             Section 177 of the CAA.                                  considers borrowing and trading to involve                 regulatory provisions or on alternative
                                                58 The CAFE Model does not explicitly simulate
                                                                                                      sufficient risk that it is prudent to support this final   approaches. Although these are
                                             the potential that manufacturers would carry CAFE        rule with analysis that sets aside the potential that      examples of regulatory provisions that
                                             or CO2 credits back (i.e., borrow) from future model     manufacturers could come to depend widely on
                                             years, or acquire and use CAFE compliance credits        borrowing and trading. While compliance costs in           arise from the exercise of discretion
                                             from other manufacturers. At the same time,              real life may be somewhat different from what is           rather than specific statutory mandate,
                                             because EPA has currently elected not to limit           modeled in this document as a result of this               they can materially impact outcomes.
                                             credit trading, the CAFE Model can be exercised in       analytical decision, that is broadly true no matter           Besides the updates to the model
                                             a manner that simulates unlimited (a.k.a. ‘‘perfect’’)   what, and the agency does not believe that the
                                             CO2 compliance credit trading throughout the             difference would be so great that it would change
                                                                                                                                                                 described above, any analysis of
                                             industry (or, potentially, within discrete trading       the policy outcome. Furthermore, a manufacturer            regulatory actions that will be
                                             ‘‘blocs’’). NHTSA believes there is significant          employing a trading strategy would presumably do           implemented several years in the future,
                                             uncertainty in how manufacturers may choose to           so because it represents a lower-cost compliance           and whose benefits and costs accrue
                                             employ these particular flexibilities in the future:     option. Thus, the estimates derived from this
                                                                                                                                                                 over decades, requires a large number of
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                                             for example, while it is reasonably foreseeable that     modeling approach are likely to be conservative in
                                             a manufacturer who over-complies in one year may         this respect, with real-world compliance costs             assumptions. Over such time horizons,
                                             ‘‘coast’’ through several subsequent years relying on    possibly being lower.                                      many, if not most, of the relevant
                                             those credits rather than continuing to make               59 To avoid making judgments about possible
                                                                                                                                                                 assumptions in such an analysis are
                                             technology improvements, it is harder to assume          future trading activity, the model simulates trading
                                             with confidence that manufacturers will rely on          by combining all manufacturers into a single entity,
                                                                                                                                                                 inevitably uncertain. Each successive
                                             future technology investments to offset prior-year       so that the most cost-effective choices are made for       CAFE analysis seeks to update
                                             shortfalls, or whether/how manufacturers will trade      the fleet as a whole.                                      assumptions to reflect better the current


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                                             state of the world and the best current                 the best available science and                        performance target for each unique
                                             estimates of future conditions.                         economics and are the most appropriate                footprint combination within a car or
                                                A number of assumptions have been                    estimates to use in the analysis of this              truck model type. Using the functions,
                                             updated since the 2020 final rule for                   rule. Those estimates of costs per ton of             each manufacturer thus will have a
                                             this final rule, and some of these                      emissions (or benefits per ton of                     CAFE average standard for each year
                                             assumptions have been further updated                   emissions reductions) are considerably                that is almost certainly unique to each
                                             since the proposal preceding this                       greater than those applied in the                     of its fleets,61 based upon the footprints
                                             document. As discussed below, NHTSA                     analysis supporting the 2020 final rule.              and production volumes of the vehicle
                                             has updated its ‘‘analysis fleet’’ from a               Even still, the estimates NHTSA is now                models produced by that manufacturer.
                                             MY 2017 reference to a MY 2020                          using are not able to fully quantify and              A manufacturer will have separate
                                             reference, updated estimates of                         monetize a number of important                        footprint-based standards for cars and
                                             manufacturers’ compliance credit                        categories of climate damages; because                for trucks, consistent with 49 U.S.C.
                                             ‘‘holdings,’’ updated fuel price                        of those omitted damages and other
                                             projections to reflect the U.S. Energy                                                                        32902(b)’s direction that NHTSA must
                                                                                                     methodological limits, DOT believes its
                                             Information Administration’s (EIA’s)                                                                          set separate standards for cars and for
                                                                                                     values for SC–GHG are conservative
                                             2021 Annual Energy Outlook (AEO),                       underestimates. These and other                       trucks. The functions are mostly sloped,
                                             updated projections of GDP and related                  updated analytical inputs are discussed               so that generally, larger vehicles (i.e.,
                                             macroeconomic measures, and updated                     in detail in the TSD. NHTSA addresses                 vehicles with larger footprints) will be
                                             projections of future highway travel.                   comments about these assumptions later                subject to lower mpg targets than
                                             While NHTSA would have made these                       in this preamble.                                     smaller vehicles. This is because,
                                             updates as a matter of course, we note                                                                        generally speaking, smaller vehicles are
                                             that that the COVID–19 pandemic                         What is NHTSA analyzing?                              more capable of achieving higher levels
                                             impacted major analytical inputs such                     As in the CAFE and CO2 rulemakings                  of fuel economy, mostly because they
                                             as fuel prices, gross domestic product                  in 2010, 2012, and 2020, NHTSA is                     tend not to have to work as hard (and
                                             (GDP), vehicle production and sales,                    establishing attribute-based CAFE                     therefore require as much energy) to
                                             and highway travel. However, while                      standards defined by a mathematical                   perform their driving task. Although a
                                             NHTSA was able to further update                        function of vehicle footprint, which has              manufacturer’s fleet average standards
                                             forecasts of GDP and related                            observable correlation with fuel                      could be estimated throughout the
                                             macroeconomic measures after the 2021                   economy. EPCA, as amended by EISA,                    model year based on the projected
                                             proposal to reflect a more rapid                        expressly requires that CAFE standards                production volume of its vehicle fleet
                                             economic recovery from the pandemic                     for passenger cars and light trucks be                (and are estimated as part of EPA’s
                                             than anticipated in early 2021, EIA did                 based on one or more vehicle attributes               certification process), the standards
                                             not publish AEO 2022 early enough for                   related to fuel economy and be                        with which the manufacturer must
                                             NHTSA to include a correspondingly                      expressed in the form of a mathematical               comply are determined by its final
                                             updated fuel price forecast in this                     function.60 Thus, the final standards                 model year production figures. A
                                             analysis, so this analysis retains the fuel             (and regulatory alternatives) take the                manufacturer’s calculation of its fleet
                                             price forecasts from AEO 2021. E.O.                     form of fuel economy targets expressed                average standards, as well as its fleets’
                                             13990 required the formation of an                      as functions of vehicle footprint (the                average performance at the end of the
                                             Interagency Working Group (IWG) on                      product of vehicle wheelbase and                      model year, will thus be based on the
                                             the Social Cost of Greenhouse Gases and                 average track width) that are separate for            production-weighted average target and
                                             charged this body with updating                         passenger cars and light trucks. Chapter              performance of each model in its fleet.62
                                             estimates of the social costs of carbon,                1.2.3 of the TSD discusses in detail
                                             nitrous oxide, and methane. As                          NHTSA’s continued reliance on                           For passenger cars, consistent with
                                             discussed in the TSD, NHTSA has                         footprint as the relevant attribute on                prior rulemakings, NHTSA is defining
                                             followed DOT’s determination that the                   which these standards are based.                      fuel economy targets as shown in
                                             values developed in the IWG’s interim                     Under the footprint-based standards,                Equation III–1.
                                             guidance are the most consistent with                   the function defines a fuel economy                   BILLING CODE 4910–59–P




                                             Where:                                                       model type with a unique footprint               c is the slope (in gallons per mile per square
                                             TARGETFE is the fuel economy target (in                      combination,                                           foot, or gpm, per square foot) of a line
                                                mpg) applicable to a specific vehicle                a is a minimum fuel economy target (in mpg),                relating fuel consumption (the inverse of
                                                                                                     b is a maximum fuel economy target (in                      fuel economy) to footprint, and
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                                                                                                          mpg),                                            d is an intercept (in gpm) of the same line.

                                               60 49 U.S.C. 32902(a)(3)(A).                          passenger cars into one fleet for GHG compliance      determined by comparing the fleet average standard
                                               61 EPCA/EISA requires NHTSA and EPA to                purposes.                                             (based on the production-weighted average of the
                                                                                                       62 As discussed in prior rulemakings, a
                                             separate passenger cars into domestic and import                                                              target levels for each model) with fleet average
                                             passenger car fleets for CAFE compliance purposes       manufacturer may have some vehicle models that        performance (based on the production-weighted
                                                                                                     exceed their target and some that are below their     average of the performance of each model).
                                             (49 U.S.C. 32904(b)), whereas EPA combines all
                                                                                                                                                                                                                ER02MY22.048</GPH>




                                                                                                     target. Compliance with a fleet average standard is



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                                               Here, MIN and MAX are functions                       included values. For example, MIN[40,                   For the Preferred Alternative, this
                                             that take the minimum and maximum                       35] = 35 and MAX(40, 25) = 40, such                   equation is represented graphically as
                                             values, respectively, of the set of                     that MIN[MAX(40, 25), 35] = 35.                       the curves in Figure III–2.




                                               For light trucks, also consistent with                fuel economy targets as shown in
                                             prior rulemakings, NHTSA is defining                    Equation III–2.
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                                                                                                                                                                                                    ER02MY22.050</GPH>
                                                                                                                                                                                                    ER02MY22.049</GPH>




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                                             Where:                                                  e is a second minimum fuel economy target             h is an intercept (in gpm) of the same second
                                             TARGETFE is the fuel economy target (in                       (in mpg),                                            line.
                                                                                                     f is a second maximum fuel economy target
                                                  mpg) applicable to a specific vehicle
                                                  model type with a unique footprint
                                                                                                           (in mpg),                                         For the Preferred Alternative, this
                                                                                                     g is the slope (in gpm per square foot) of a          equation is represented graphically as
                                                  combination,                                             second line relating fuel consumption
                                             a, b, c, and d are as for passenger cars, but                                                                 the curves in Figure III–3.
                                                                                                           (the inverse of fuel economy) to
                                                  taking values specific to light trucks,                  footprint, and




                                                Although the general model of the                    because compliance with CAFE                          vehicle produced for sale in the U.S.
                                             target function equation is the same for                standards is determined based on                      must, on its own, comply with
                                             each vehicle category (passenger cars                   corporate average fuel economy. In this               minimum FMVSS. When first
                                             and light trucks) and each model year,                  respect, CAFE standards are unlike, for               mandating CAFE standards in the
                                             the parameters of the function equation                 example, Federal Motor Vehicle Safety                 1970s, Congress specified a more
                                             differ for cars and trucks. The actual                  Standards (FMVSS) and certain vehicle                 flexible averaging-based approach that
                                             parameters for both the Preferred                       criteria pollutant emissions standards                inherently allows some vehicles to
                                             Alternative and the other regulatory                    where each car must meet the                          ‘‘under comply’’ (i.e., fall short of the
                                             alternatives are presented in Section                   requirements. CAFE standards apply to
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                                                                                                                                                           overall flat standard, or fall short of
                                             IV.B of this preamble.                                  the average fuel economy levels                       their target under attribute-based
                                                As has been the case since NHTSA                     achieved by manufacturers’ entire fleets              standards), as long as a manufacturer’s
                                             began establishing attribute-based                      of vehicles produced for sale in the U.S.             overall fleet is in compliance.
                                             standards, no vehicle need meet the                     Safety standards apply on a vehicle-by-
                                             specific applicable fuel economy target,                vehicle basis, such that every single
                                                                                                                                                                                                           ER02MY22.051</GPH>




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                                               The required CAFE level applicable to                 production-weighted harmonic average                    specific vehicle model configurations in
                                             a given fleet in a given model year is                  of fuel economy targets applicable to                   the fleet, as shown in Equation III–3.
                                             determined by calculating the




                                             BILLING CODE 4910–59–C                                  footprint-based standards are not                       misplaced, because ‘‘[l]arge vehicles
                                             Where:                                                  leading to ‘‘gaming’’ by manufacturers                  provide safety benefits to their
                                             CAFErequired is the CAFE level the fleet is             seeking a less-stringent standard by                    occupants at the expense of people
                                                  required to achieve,                               increasing their vehicles’ footprints.67                occupying small vehicles.’’ 73
                                             i refers to specific vehicle model/                                                                                NHTSA appreciates these comments
                                                  configurations in the fleet,
                                                                                                     The Aluminum Association suggested
                                             PRODUCTIONi is the number of model                      that footprint-based standards could be                 but is continuing to rely on footprint as
                                                  configuration i produced for sale in the           beneficial for safety, because they                     the attribute for the final standards for
                                                  U.S., and                                          incentivize weight reduction in larger                  MYs 2024–2026. NHTSA notes that the
                                             TARGETFE,I is the fuel economy target (as               footprint vehicles, which make up an                    first issue that Mr. Douglas raised is due
                                                  defined above) for model configuration i.          increasing portion of the fleet.68                      to the fact that the standards are, by law,
                                                Chapter 1 of the TSD describes the                   NADA 69 and International Union,                        corporate average standards, and that
                                             use of attribute-based standards,                       United Automobile, Aerospace &                          ‘‘wasteful models [being] compensated
                                             generally, and explains the specific                    Agricultural Implement Workers of                       for by more efficient models’’ is difficult
                                             decision, in past rules and for the                     America (UAW) 70 both stated that                       to avoid when standards are corporate
                                             current rule, to continue to use vehicle                footprint-based standards supported                     averages—by their nature, they enable
                                             footprint as the attribute over which to                manufacturers continuing to provide a                   averaging across a manufacturer’s fleet.
                                             vary stringency. That chapter also                      wide range of vehicles from which                       The comments from the Aluminum
                                             discusses the policy in selecting the                   consumers could choose, with UAW                        Association comments, Auto Innovators,
                                             specific mathematical function; the                     stating that ‘‘[s]imply put, to do                      and Mr. Douglas’ further comments on
                                             methodologies used to develop the                       otherwise undermines domestic                           the topic of footprint seem to address
                                             current attribute-based standards; and                  manufacturing, workers’ living                          one another. As Auto Innovators notes,
                                             methodologies previously used to                        standards, and communities well-being.                  the most recent EPA Trends Report
                                             reconsider the mathematical function                    All vehicles do not have the same                       appears to suggest that, on average,
                                             for CAFE standards. NHTSA refers                        function and surely our rules need to                   vehicle upsizing has been minimal at
                                             readers to the TSD for a full discussion                continue to reflect this reality.’’ 71                  the industry (fleet) level. While
                                             of these topics.                                           One citizen commenter, Doug                          footprint may not encourage vehicle
                                                Several commenters supported the                     Peterson (Peter Douglas), objected to the               downsizing, it does reward vehicle
                                             continued use of footprint as the                       use of footprint as the attribute on                    downweighting, which NHTSA
                                             attribute on which to base fuel economy                 which to base fuel economy standards,                   typically refers to as ‘‘mass reduction.’’
                                             standards. Consumer Reports,63                          stating that a consequence of using                     A lighter vehicle saves fuel compared to
                                             Alliance for Automotive Innovation                      footprint is that ‘‘[w]asteful models are               a heavier vehicle of the same footprint,
                                             (Auto Innovators),64 the Aluminum                       simply compensated for by more                          and thus performs better against its
                                             Association,65 and National Automobile                  efficient models that outperform their                  footprint target. NHTSA addresses
                                             Dealers Association (NADA) 66 all                       footprint targets, and this will become a               safety comments in Section V of this
                                             agreed that footprint-based standards                   huge problem as more and more ZEVs                      preamble.
                                             continue to incentivize improvements                    enter the marketplace.’’ 72 Mr. Douglas                    While Chapter 1 of the TSD explains
                                             in fuel economy across all companies                    further commented that discouraging                     why the final standards for MYs 2024–
                                             and across all market segments/vehicle                  vehicle downsizing (as footprint-based                  2026 continue to be footprint-based, the
                                             classes. Auto Innovators pointed to the                 standards can do) was an inappropriate                  question has arisen periodically of
                                             most recent EPA Trends Report as                        policy goal, because downsizing can be                  whether NHTSA should instead
                                             indicating that any change in average                   a good way to reduce fuel consumption                   consider multi-attribute standards, such
                                             vehicle footprint has been minimal at                   and the current upsizing trend in the                   as those that also depend on weight,
                                             the industry level, implying that                       fleet is not mitigated by footprint-based               torque, power, towing capability, off-
                                                                                                     standards. He also commented that the                   road capability, or a combination of
                                                63 Consumer Reports, Docket No. NHTSA–2021–          safety concern that footprint-based                     such attributes. To date, every time
                                             0053–1576–A9, at p. 7.                                  standards can address is in fact                        NHTSA has considered options for
                                                64 Auto Innovators, Docket No. NHTSA–2021–
                                                                                                                                                             which attribute(s) to select, the agency
                                             0053–1492, at p. 47.                                      67 Auto Innovators, at p. 48.
                                                                                                                                                             has concluded that a properly designed
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                                                65 The Aluminum Association (Aluminum
                                                                                                       68 Aluminum Association, at p. 3.
                                             Association), Docket No. NHTSA–2021–0053–1518,                                                                  footprint-based approach provides the
                                                                                                       69 NADA, at p. 3.
                                             at p. 3; Arconic Corporation (Arconic), Docket No.
                                                                                                       70 UAW, Docket No. NHTSA–2021–0053–0931, at
                                                                                                                                                             best means of achieving the basic policy
                                             NHTSA–2021–0053–1560, at p. 2 (Arconic, an                                                                      goals (i.e., by increasing the likelihood
                                             individual aluminum producer, also supported            p. 2.
                                             footprint-based standards).                               71 UAW, at p. 4.                                      of improved fuel economy across the
                                                66 NADA, Docket No. NHTSA–2021–0053–1471,              72 Peter Douglas, Docket No. NHTSA–2021–0053–
                                                                                                                                                                                                           ER02MY22.052</GPH>




                                             at p. 3.                                                0085, at pp. 12–13, p. 19.                                73 Id.




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                                             entire fleet of vehicles, as noted by                   that ‘‘[i]t is likely infeasible and                   applied in the proposal is a fleet level
                                             commenters) involved in applying an                     inappropriate to implement such a                      of electrification selected as a policy
                                             attribute-based standard. At the same                   change in time for any of the model                    goal rather than an attribute of a
                                             time, footprint-based standards need                    years subject to this rulemaking, but                  particular vehicle (like footprint) as
                                             also to be structured in a way that                     Rivian believes development, review,                   intended by the statute.’’ 86 NADA
                                             furthers the energy and environmental                   and implementation of a newly                          argued that ‘‘[f]leet-wide standards
                                             policy goals of EPCA without creating                   conceived multi-attribute function                     should be technologically neutral and
                                             inappropriate incentives to increase                    could take effect in the second half of                set at levels that are achievable without
                                             vehicle size in ways that could increase                this decade, coinciding with a post-MY                 ZEVs so as not to penalize those OEMs
                                             fuel consumption or compromise safety.                  2027 rule, and provide industry with                   (and their dealers) that choose not to
                                             That said, as NHTSA moves forward                       appropriate lead-time given typical                    aggressively develop, produce, and push
                                             with the CAFE program, and continues                    product development lifecycles.’’ 77                   ZEVs to market.’’ 87 And finally,
                                             to refine our understanding of the light-                  Other commenters disagreed with                     Securing America’s Future Energy
                                             duty vehicle market and trends in                       adding electrification as an attribute.                commented that adding electrification
                                             vehicle and highway safety, NHTSA                       Several opined that adding                             as an attribute just makes the program
                                             will also continue to revisit whether                   electrification as an attribute seemed                 more complicated, and NHTSA should
                                             other approaches (or other ways of                      impermissible under 49 U.S.C.                          be looking for ways to simplify it
                                             applying the same basic approaches)                     32902(h).78 Auto Innovators argued that                instead, perhaps via a legislative
                                             could provide better means of achieving                 it could create battery supply chain                   solution.88
                                             policy goals.                                           risks as an unintended consequence,                       As explained above, for this final rule,
                                                For example, in the 2021 NAS Report,                 and that ‘‘. . . including electrification             NHTSA is continuing to base the MY
                                             the committee recommended that if                       as a fuel economy attribute could be                   2024–2026 standards on footprint.
                                             Congress does not act to remove the                     solidifying a dependence on foreign                    NHTSA is not adding electrification as
                                             prohibition at 49 U.S.C. 32902(h) on                    supply chains that might not be reliable               an attribute at this time, based in part
                                             considering the fuel economy of                         or have shared interests with our                      on comments that raised concerns with
                                             dedicated alternative fuel vehicles (like               country.’’ 79 American Honda Motor Co.,                how to implement such an approach
                                             BEVs) in determining maximum feasible                   Inc. (Honda) 80 and Kia Corporation                    practically, in a way that would further
                                             CAFE standards, then NHTSA should                       (Kia) 81 also raised the possibility of                EPCA’s overarching goal of energy
                                             account for the fuel economy benefits of                unintended consequences and                            conservation, while providing industry
                                             ZEVs by ‘‘setting the standard as a                     externalities. Kia further suggested that              with appropriate lead time to make
                                             function of a second attribute in                       ‘‘[i]n the same manner that the footprint              changes to their fleet. NHTSA is also
                                             addition to footprint—for example, the                  curves include many of the weight,                     mindful of introducing further
                                             expected market share of ZEVs in the                    technology cost, and engineering                       uncertainty to the standards during this
                                             total U.S. fleet of new light-duty                      analyses that go in to bringing these                  time of rapid change in the stringency
                                             vehicles—such that the standards                        vehicles online, electrification would                 of the standards. Therefore, while
                                             increase as the share of ZEVs in the total              need to have similar considerations                    NHTSA agrees with comments
                                             U.S. fleet increases.’’ 74 DOE seconded                 accounted for in the modeling                          suggesting that the recommendation
                                             this suggestion in its comments during                  assumptions,’’ 82 while Honda stated                   from the NAS committee merits further
                                             interagency review of the proposal.                     that the agency should provide ‘‘more                  consideration, NHTSA also agrees with
                                             NHTSA sought comment on whether                         than a full product cycle (5–6 year[s]) of             other commenters who suggested that
                                             and how NHTSA might consider adding                     lead time’’ to give industry time to plan              this rulemaking is not the proper one in
                                             electrification as an attribute on which                for any changes.83 Auto Innovators                     which to implement such a change,
                                             to base CAFE standards, and specifically                commented that it could be permissible                 given the available lead time for
                                             on the NAS committee                                    to limit consideration of electrification              manufacturers to adjust their
                                             recommendation.                                         to HEVs, but ‘‘[t]he existing approach                 compliance approaches.
                                                Two electric vehicle manufacturers                   with footprint-based curves does not
                                             supported the addition of electrification               need to be modified if one simply wants                C. What inputs does the compliance
                                             as an attribute on which fuel economy                   to require a more efficient gasoline-                  analysis require?
                                             standards could be based. Lucid USA,                    powered fleet—whether through                             The CAFE Model applies various
                                             Inc. (Lucid) stated that, in setting                    increased electrification or some other                technologies to different vehicle models
                                             standards based on electrification as                   means.’’ 84 Jaguar Land Rover NA, LLC                  in each manufacturer’s product line to
                                             well as footprint, NHTSA should                         (JLR) offered a similar comment.85                     simulate how each manufacturer might
                                             ‘‘consider the battery efficiency of the                   Stellantis commented that ‘‘the                     make progress toward compliance with
                                             electric vehicles manufactured by each                  ‘percent of work’ metric as ultimately                 the specified standard. Subject to a
                                             automaker, as well as the market                                                                               variety of user-controlled constraints,
                                             penetration of electric vehicles in the                   77 Id.
                                                                                                                                                            the model applies technologies based on
                                             fleet.’’ 75 Rivian Automotive, LLC                         78 Auto Innovators, at 48; Stellantis, Docket No.
                                                                                                                                                            their relative cost-effectiveness, as
                                             (Rivian) stated that such ‘‘[a]pproaches                NHTSA–2021–0053–1527, at 12; NADA, at p. 4;
                                                                                                     Valero Energy Corporation (Valero), Docket No.         determined by several input
                                             . . . merit further study and eventual                  NHTSA–2021–0053–1541, at pp. 3–4; Peter                assumptions regarding the cost and
                                             implementation.’’ 76 With regard to the                 Douglas, at p. 25.                                     effectiveness of each technology, the
                                             timing of making such a change, a                          79 Auto Innovators, at p. 50.
                                                                                                                                                            cost of compliance (determined by the
                                             question on which NHTSA specifically                       80 Honda, Docket No. NHTSA–2021–0053–1501,
                                                                                                                                                            change in CAFE or CO2 credits, CAFE-
                                             sought comment, Rivian commented                        at p. 4.
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                                                                                                        81 Kia, Docket No. NHTSA–2021–0053–1525, at p.      related civil penalties, or value of CO2
                                                74 2021 NAS Report, at Summary                       10.                                                    credits, depending on the compliance
                                                                                                        82 Id.
                                             Recommendation p. 5.
                                                75 Lucid, Docket No. NHTSA–2021–0053–1584, at           83 Honda, at p. 4.                                    86 Stellantis, at p. 12.

                                             p. 5.                                                      84 Auto Innovators, at p. 50.                         87 NADA, at pp. 3–4.

                                                76 Rivian, Docket No. NHTSA–2021–0053–1562,             85 JLR, Docket No. NHTSA–2021–0053–1505, at          88 Securing America’s Future Energy, Docket No.

                                             at p. 5.                                                p. 4.                                                  NHTSA–2021–0053–1513, at pp. 18–19.



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                                             program being evaluated), and the value                  Autonomie full vehicle simulation                     and provides some of the inputs
                                             of avoided fuel expenses. For a given                    model and BatPaC battery cost model.                  involved in estimating impacts on
                                             manufacturer, the compliance                             Other inputs are derived from other                   vehicle fuel consumption and weight.
                                             simulation algorithm applies                             models, such as the U.S. Energy                         The CAFE Model also makes use of
                                             technologies either until the                            Information Administration’s (EIA’s)                  databases of estimates of fuel
                                             manufacturer runs out of cost-effective                  National Energy Modeling System                       consumption impacts and, as
                                             technologies,89 until the manufacturer                   (NEMS), Argonne’s ‘‘GREET’’ fuel-cycle                applicable, battery costs for different
                                             exhausts all available technologies, or, if              emissions analysis model, and U.S.                    combinations of fuel-saving
                                             the manufacturer is assumed to be                        EPA’s ‘‘MOVES’’ vehicle emissions                     technologies.90 These databases are
                                             willing to pay civil penalties or acquire                analysis model. As NHTSA and Volpe                    termed the FE1 and FE2 Adjustments
                                             credits from another manufacturer, until                 are both organizations within DOT, we                 databases (the main database and the
                                             paying civil penalties or purchasing                     use DOT throughout these sections to                  database specific to plug-in hybrid
                                             credits becomes more cost-effective than                 refer to the collaborative work                       electric vehicles, applicable to those
                                             increasing vehicle fuel economy. At this                 performed for this analysis.                          vehicles’ operation on electricity) and
                                             stage, the system assigns an incurred                       This section and Section III.D                     the Battery Costs database. DOT
                                             technology cost and updated fuel                         describe the inputs that the compliance               developed these databases using a large
                                             economy to each vehicle model, as well                   simulation requires, including an in-                 set of full vehicle and accompanying
                                             as any civil penalties incurred/credits                  depth discussion of the technologies                  battery cost model simulations
                                             purchased by each manufacturer. This                     used in the analysis, how they are                    developed by Argonne National
                                             compliance simulation process is                         defined in the CAFE Model, how they                   Laboratory. The Argonne simulation
                                             repeated for each model year included                    are characterized for vehicles that                   outputs, battery costs, and other
                                             in the study period (through MY 2050                     already exist in the market, and how                  reference materials are also discussed in
                                             in this analysis).                                       they can be applied to realistically                  the following sections.91
                                                At the conclusion of the compliance                   simulate manufacturers’ decisions, their                The following discussion in this
                                             simulation for a given regulatory                        effectiveness, and their cost. The inputs             section and in Section III.D expands on
                                             scenario, the system transitions between                 and analyses for the effects calculations,            the inputs used in the compliance
                                             compliance simulation and effects                        including economic, safety, and                       analysis. Further detail is included in
                                             calculations. This is the point where the                environmental effects, are discussed                  Chapters 2 and 3 of the TSD
                                             system produces a full representation of                 later in Sections III.C through III.H.                accompanying this notice, and all input
                                             the registered light-duty vehicle                                                                              values relevant to the compliance
                                                                                                      1. Overview of Inputs to the Analysis                 analysis can be seen in the Market Data,
                                             population in the United States. The
                                             CAFE Model then uses this fleet to                          As discussed above, the current                    Technologies, fuel consumption and
                                             generate estimates of the following (for                 analysis involves estimating four major               battery cost database files, and Argonne
                                             each model year and calendar year                        swaths of effects. First, the analysis                summary files included in the docket
                                             included in the analysis): Lifetime                      estimates how the application of various              for this notice. As previously
                                             travel, fuel consumption, carbon                         combinations of technologies could                    mentioned, other model input files
                                             dioxide and criteria pollutant emissions,                impact vehicles’ costs and fuel economy               underlie the effects analysis, and these
                                             the magnitude of various economic                        levels (and CO2 emission rates). Second,              are discussed in detail in Sections III.C
                                             externalities related to vehicular travel                the analysis estimates how vehicle                    through III.H.
                                             (e.g., congestion and noise), and energy                 manufacturers might respond to
                                                                                                      standards by adding fuel-saving                       2. The Market Data File
                                             consumption (e.g., the economic costs of
                                             short-term increases in petroleum                        technologies to new vehicles. Third, the                 The Market Data file contains the
                                             prices, or social damages associated                     analysis estimates how changes in new                 detailed description of the vehicle
                                             with GHG emissions). The system then                     vehicles might impact vehicle sales and               models and model configurations each
                                             uses these estimates to measure the                      operation. Finally, the analysis                      manufacturer produces for sale in the
                                             benefits and costs associated with each                  estimates how the combination of these                U.S. This snapshot of the recent light
                                             regulatory alternative (relative to the                  changes might impact national-scale                   duty vehicle market, termed the analysis
                                             No-Action Alternative).                                  energy consumption, emissions,                        fleet, or baseline fleet, is the starting
                                                To perform this analysis, the CAFE                    highway safety, and public health.                    point for the evaluation of different
                                             Model uses millions of data points                          There are several CAFE Model input                 stringency levels for future fuel
                                             contained in several input files that                    files important to the discussion of these            economy standards. The analysis fleet
                                             have been populated by engineers,                        first two steps, and these input files are            provides a reference from which to
                                             economists, and safety and                               discussed in detail later in this section             project how manufacturers could apply
                                             environmental program analysts at both                   and in Section III.D. The Market Data                 additional technologies to vehicles to
                                             NHTSA and the DOT’s Volpe National                       file contains the detailed description of
                                             Transportations Systems Center (Volpe).                  the vehicle models and model                             90 To be used as files provided separately from the

                                             In addition, some of the input data come                 configurations each manufacturer                      model and loaded every time the model is executed,
                                                                                                      produces for sale in the United States.               these databases are prohibitively large, spanning
                                             from modeling and simulation analysis                                                                          more than a million records and more than half a
                                             performed by experts at Argonne                          The file also contains a range of other               gigabyte. To conserve memory and speed model
                                             National Laboratory using their                          inputs that, though not specific to                   operation, DOT has integrated the databases into
                                                                                                      individual vehicle models, may be                     the CAFE Model executable file. When the model
                                                89 Generally, the model considers a technology        specific to individual manufacturers.                 is run, however, the databases are extracted and
                                             cost-effective if it pays for itself in fuel savings                                                           placed in an accessible location on the user’s disk
                                                                                                      The Technologies file identifies about
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                                             within a ‘‘payback period’’ specified as a model                                                               drive.
                                             input (for this analysis, 30 months). Depending on       six dozen technologies to be included in                 91 The Argonne workbooks included in the docket

                                             the settings applied, the model can continue to          the analysis, indicates when and how                  for this notice include 10 databases that contain the
                                             apply technologies that are not cost-effective rather    widely each technology can be applied                 outputs of the Autonomie full vehicle simulations,
                                             than choosing other compliance options; if it does                                                             two summary workbooks of assumptions used for
                                             so, it will apply those additional technologies in
                                                                                                      to specific types of vehicles, provides               the full vehicle simulations, a data dictionary, and
                                             order of cost-effectiveness (i.e., most cost-effective   most of the inputs involved in                        the lookup tables for battery costs generated using
                                             first).                                                  estimating what costs will be incurred,               the BatPaC battery cost model.



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                                             cost-effectively improve vehicle fuel                   noncompliance with CAFE standards,                    specification sheets, usually from the
                                             economy, in response to regulatory                      among other inputs.                                   manufacturer media website, or from
                                             action and market conditions.92 For this                   New inputs have been added for this                online marketing brochures.94 For
                                             analysis, the MY 2020 light duty fleet                  analysis in the Vehicles worksheet and                additional information about how
                                             was selected as the baseline for further                Manufacturers worksheet. The new                      specification sheets inform MY 2020
                                             evaluation of the effects of different fuel             inputs indicate which vehicles a                      vehicle technology assignments, see the
                                             economy standards. The Market Data                      manufacturer may reasonably be                        technology specific assignments
                                             file also contains a range of other inputs              expected to convert to a zero emissions               sections in Section III.D.
                                             that, though not specific to individual                 vehicle (ZEV) at first redesign
                                                                                                                                                              DOT uses the mid-MY 2020
                                             vehicle models, may be specific to                      opportunity, to comply with several
                                                                                                                                                           compliance data to create a row on the
                                             individual manufacturers.                               states’ ZEV program provisions. The
                                                                                                                                                           Vehicles worksheet in the Market Data
                                                                                                     new inputs also indicate if a
                                                The Market Data file is an Excel                                                                           file for each vehicle (or vehicle
                                                                                                     manufacturer has entered into an
                                             spreadsheet that contains five                                                                                variant 95) that lists a certification fuel
                                                                                                     agreement with California to achieve
                                             worksheets. Three worksheets, the                                                                             economy, sales volume, regulatory class,
                                                                                                     more stringent GHG emissions
                                             Vehicles worksheet, Engines worksheet,                                                                        and footprint. DOT identifies which
                                                                                                     reductions targets than those
                                             and Transmissions worksheet,                            promulgated in the 2020 final rule.                   combination of modeled technologies
                                             characterize the baseline fleet for this                   The following sections discuss how                 reasonably represents the fuel saving
                                             analysis. The three worksheets contain                  we built the Market Data file, including              technologies already on each vehicle,
                                             a characterization of every vehicle sold                characterizing vehicles sold in MY 2020               and assigns those technologies to each
                                             in MY 2020 and their relevant                           and their technology content, and                     vehicle, either on the Vehicles
                                             technology content, including the                       baseline safety, economic, and                        worksheet, the Engines worksheet, or
                                             engines and transmissions that a                        manufacturer compliance positions. A                  the Transmissions worksheet. The fuel
                                             manufacturer uses in its vehicle                        detailed discussion of the Market Data                saving technologies considered in this
                                             platforms and how those technologies                    file development process is in TSD                    analysis are listed in Table III–1.
                                                                                                     Chapter 2.2.                                          BILLING CODE 4910–59–P
                                             are shared across platforms. In addition,
                                             the Vehicles worksheet includes                         (a) Characterizing Vehicles and Their                    94 The catalogue of reference specification sheets
                                             baseline economic and safety inputs                     Technology Content                                    (broken down by manufacturer, by nameplate) used
                                             linked to each vehicle that allow the                                                                         to populate information in the Market Data file is
                                             CAFE Model to estimate economic and                        The Market Data file integrates                    available in the docket.
                                             safety impacts resulting from any                       information from many sources,                           95 The Market Data file often includes a few rows

                                             simulated compliance pathway. The                       including manufacturer compliance                     for vehicles that may have identical certification
                                             remaining two worksheets, the                           submissions, publicly available                       fuel economies, regulatory classes, and footprints
                                                                                                     information, and confidential business                (with compliance sales volumes divided out among
                                             Manufacturers worksheet and Credits                                                                           rows), because other pieces of information used in
                                             and Adjustments worksheet, include                      information. At times, DOT must                       the CAFE Model may be dissimilar. For instance,
                                                                                                     populate inputs using analyst judgment,               in the reference materials used to create the Market
                                             baseline compliance positions for each
                                                                                                     either because information is still                   Data file, for a nameplate curb weight may vary by
                                             manufacturer, including each                                                                                  trim level (with premium trim levels often weighing
                                                                                                     incomplete or confidential, or because
                                             manufacturer’s starting CAFE credit                                                                           more on account of additional equipment on the
                                                                                                     the information does not yet exist.93 For
                                             banks and whether the manufacturer is                                                                         vehicle), or a manufacturer may provide consumers
                                                                                                     this analysis DOT uses mid-MY 2020                    the option to purchase a larger fuel tank size for
                                             willing to pay civil penalties for
                                                                                                     compliance data as the basis of the                   their vehicle. These pieces of information may not
                                                                                                     analysis fleet. The compliance data are               impact the observed compliance position directly,
                                                92 The CAFE Model does not generate compliance                                                             but curb weight (in relation to other vehicle
                                                                                                     supplemented for each vehicle
                                             paths a manufacturer should, must, or will deploy.                                                            attributes) is important to assess mass reduction
                                             It is intended as a tool to demonstrate a compliance    nameplate with manufacturer                           technology already used on the vehicle, and fuel
                                             pathway a manufacturer could choose. It is almost                                                             tank size is directly relevant to saving time at the
                                             certain all manufacturers will make compliance            93 Forward looking refresh/redesign cycles are      gas pump, which the CAFE Model uses when
                                             choices differing from those projected by the CAFE      one example of when analyst judgement is              calculating the value of avoided time spent
                                             Model.                                                  necessary.                                            refueling.
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                                             BILLING CODE 4910–59–P
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                                                For additional information on the                    code,97 vehicle model/configurations                     manufacturers already relying heavily
                                             characterization of these technologies                  that share transmissions have the same                   on these adjustments would continue do
                                             (including the cost, prevalence in the                  transmission code, and vehicles that                     so, and that other manufacturers would,
                                             2020 fleet, effectiveness estimates, and                adopt mass reduction technologies                        over time, also approach the limits on
                                             considerations for their adoption) see                  together share the same platform. For                    adjustments allowed for such
                                             the appropriate technology section in                   more information about engine codes,                     improvements.
                                             Section III.D or TSD Chapter 3.                         transmission codes, and mass reduction
                                                                                                                                                              (b) Characterizing Baseline Safety,
                                                DOT also assigns each vehicle a                      platforms see TSD Chapter 3.
                                                                                                                                                              Economic, and Compliance Positions
                                             technology class. The CAFE Model uses                      Manufacturers often introduce fuel
                                             the technology class (and engine class,                 saving technologies at a major redesign                     In addition to characterizing vehicles
                                             discussed below) in the Market Data file                of their product or adopt technologies at                and their technology content, the
                                             to reference the most relevant                          minor refreshes in between major                         Market Data file contains a range of
                                             technology costs for each vehicle, and                  product redesigns. To support the CAFE                   other inputs that, though not specific to
                                             fuel saving technology combinations.                    Model accounting for new fuel saving                     individual vehicle models, may be
                                             We assign each vehicle in the fleet a                   technology introduction as it relates to                 specific to individual manufacturers, or
                                             technology class using a two-step                       product lifecycle, the Market Data file                  that characterize baseline safety or
                                             algorithm that takes into account key                   includes a projection of redesign and                    economic information.
                                             characteristics of vehicles in the fleet                refresh years for each vehicle. DOT                         First, the CAFE Model considers the
                                             compared to the baseline characteristics                projects future redesign years and                       potential safety effect of mass reduction
                                             of each technology class.96 As discussed                refresh years based on the historical                    technologies and crash compatibility of
                                             further in Section III.C.4.b), there are ten            cadence of that vehicle’s product                        different vehicle types. Mass reduction
                                             technology classes used in the CAFE                     lifecycle. For new nameplates, DOT                       technologies lower the vehicle’s curb
                                             analysis that span five vehicle types and               considers the manufacturer’s treatment                   weight, which may improve crash
                                             two performance variants. The                           of product lifecycles for past products in               compatibility and safety, or not,
                                             technology class algorithm and                          similar market segments. When                            depending on the type of vehicle. DOT
                                             assignment process is discussed in more                 considering year-by-year analysis of                     assigns each vehicle in the Market Data
                                             detail in TSD Chapter 2.4.2.                            standards, the sizing of redesign and                    file a safety class that best aligns with
                                                We also assign each vehicle an engine                refresh intervals will affect projected                  the mass-size-safety analysis. This
                                             technology class so that the CAFE                       compliance pathways and how quickly                      analysis is discussed in more detail in
                                             Model can reference the powertrain                      manufacturers can respond to standards.                  Section III.H of this action and TSD
                                             costs in the Technologies file that most                TSD Chapter 2.2.1.7 includes additional                  Chapter 7.
                                                                                                     information about the product design                        The CAFE Model also includes
                                             reasonably align with the observed
                                                                                                     cycles assumed for this action based on                  procedures to consider the direct labor
                                             vehicle. DOT assigns engine technology
                                                                                                     historical manufacturer product design                   impacts of manufacturer’s response to
                                             classes for all vehicles, including
                                                                                                     cycles.                                                  CAFE regulations, considering the
                                             electric vehicles. If an electric
                                                                                                        The Market Data file also includes                    assembly location of vehicles, engines,
                                             powertrain replaces an internal
                                                                                                     information about air conditioning (AC)                  and transmissions, the percent U.S.
                                             combustion engine, the electric motor
                                                                                                     and off-cycle technologies, but the                      content (that reflects percent U.S. and
                                             specifications may be different (and
                                                                                                     information is not currently broken out                  Canada content),99 and the dealership
                                             hence costs may be different) depending
                                             on the capabilities of the internal                     at a row level, vehicle by vehicle.98                    employment associated with new
                                             combustion engine it is replacing, and                  Instead, historical data (and forecast                   vehicle sales. The Market Data file
                                             the costs in the technologies file (on the              projections, which are used for analysis                 therefore includes baseline labor
                                             engine tab) account for the power                       regardless of regulatory scenario) are                   information, by vehicle. Sales volumes
                                             output and capability of the gasoline or                listed by manufacturer, by fleet on the                  also influence total estimated direct
                                             electric drivetrain.                                    Credits and Adjustments worksheet of                     labor projections in the analysis.
                                                                                                     the Market Data file. Section III.D.8                       We hold the percent U.S. content
                                                Parts sharing helps manufacturers                                                                             constant for each vehicle row for the
                                             achieve economies of scale, deploy                      shows model inputs specifying
                                                                                                     estimated adjustments (all in grams/                     duration of the analysis. In practice, this
                                             capital efficiently, and make the most of                                                                        may not be the case. Changes to trade
                                             shared research and development                         mile) for improvements to air
                                                                                                     conditioner efficiency and other off-                    policy and tariff policy may affect
                                             expenses, while still presenting a wide                                                                          percent U.S. content in the future. Also,
                                             array of consumer choices to the market.                cycle energy consumption, and for
                                                                                                     reduced leakage of air conditioner                       some technologies may be more or less
                                             The CAFE Model simulates part sharing                                                                            likely to be produced in the U.S., and
                                             by implementing shared engines, shared                  refrigerants with high global warming
                                                                                                     potential (GWP). DOT estimated future                    if that is the case, their adoption could
                                             transmissions, and shared mass                                                                                   affect future U.S. content. NHTSA does
                                             reduction platforms. Vehicles sharing a                 values based on an expectation that
                                                                                                                                                              not have data at this time to support
                                             part (as recognized in the CAFE Model),                   97 Engines (or transmissions) may not be exactly       varying the percent U.S. content.
                                             will adopt fuel saving technologies                     identical, as specifications or vehicle integration         We also hold the labor hours
                                             affecting that part together. To account                features may be different. However, the                  projected in the Market Data file per
                                             for parts sharing across products,                      architectures are similar enough that it is likely the
                                                                                                                                                              unit transacted at dealerships, per unit
                                             vehicle model/configurations that share                 powertrain systems share R&D, tooling, and
                                                                                                     production resources in a meaningful way.                produced for final assembly, per unit
                                             engines are assigned the same engine                      98 Regulatory provisions regarding off-cycle           produced for engine assembly, and per
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                                                                                                     technologies are new, and manufacturers have only        unit produced for transmission
                                               96 Baseline 0 to 60 mph accelerations times are       recently begun including related detailed                assembly constant for the duration of
                                             assumed for each technology class as part of the        information in compliance reporting data. For this
                                             Autonomie full vehicle simulations. DOT calculates      analysis, though, such information was not               the analysis, and project that the origin
                                             class baseline curb weights and footprints by           sufficiently complete to support a detailed
                                             averaging the curb weights and footprints of            representation of the application of off-cycle             99 Percent U.S. content was informed by the 2020

                                             vehicles within each technology class as assigned       technology to specific vehicle model/configurations      Part 583 American Automobile Labeling Act
                                             in previous analyses.                                   in the MY 2020 fleet.                                    Reports, appearing on NHTSA’s website.



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                                             of these activities to remain unchanged.                assembly labor hours. NHTSA does not                    As observed from Table III–2,
                                             In practice, it is reasonable to expect                 have data at this time to support varying             manufacturers employ U.S. labor with
                                             that plants could move locations, or                    labor hours projected in the Market Data              varying intensity. In many cases,
                                             engine and transmission technologies                    file, but we will continue to explore                 vehicles certifying in the light truck (LT)
                                             are replaced by another fuel saving                     methods to estimate the direct labor                  regulatory class have a larger percent
                                             technology (like electric motors and                    impacts of manufacturer’s responses to                U.S. content than vehicles certifying in
                                             fixed gear boxes) that could require a                  CAFE standards in future analyses.                    the passenger car (PC) regulatory class.
                                             meaningfully different amount of                                                                              BILLING CODE 4910–59–P




                                             BILLING CODE 4910–59–C                                  manufacturers, but staff have adjusted                volume vehicles with fuel saving
                                                Next, manufacturers may over-comply                  starting credit banks in the Market Data              technologies in earlier model years. This
                                             with CAFE standards and bank so-called                  file to reflect trades that are likely to             also avoids the unrealistic application of
                                             over compliance credits. As discussed                   happen when the simulation begins (in                 technologies for manufacturers in early
                                             further in Section III.C.7, manufacturers               MY 2020). Considering information                     analysis years that typically rely on
                                             may use these credits later, sell them to               manufacturers have reported regarding                 credits. For a complete discussion about
                                             other manufacturers, or let them expire.                compliance credits, and considering                   how these data are collected and
                                             The CAFE Model does not explicitly                      recent manufacturers’ compliance                      assigned in the Market Data file, see
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                                             trade credits between and among                         positions, DOT estimates manufacturers’               TSD Chapter 2.2.2.3.
                                                                                                     potential use of compliance credits in                  The Market Data file also includes
                                                100 Tesla does not have internal combustion
                                                                                                     earlier model years. This aligns to an                assumptions about a vehicle
                                             engines, or multi-speed transmissions, even thought
                                             they are identified as producing engine and
                                                                                                     extent that represents how                            manufacturer’s preferences towards
                                             transmission systems in the United States in the        manufacturers could deplete their credit              civil penalty payments. EPCA requires
                                                                                                                                                                                                         ER02MY22.056</GPH>




                                             Market Data file.                                       banks rather than producing high                      that if a manufacturer does not achieve


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                                             compliance with a CAFE standard in a                    outlays over a ‘‘payback period’’                     with the ZEV program with their own
                                             given model year and cannot apply                       representing the manufacturer’s                       portfolio in the rulemaking timeframe.
                                             credits sufficient to cover the                         expectation that the market will be                   These new procedures are described in
                                             compliance shortfall, the manufacturer                  willing to pay for some portion of fuel               detail below and in TSD Chapter 2.3.
                                             must pay civil penalties (i.e., fines) to               savings achieved through higher fuel
                                             the Federal Government. If inputs                       economy. Once the model has applied                   3. Simulating the Zero Emissions
                                             indicate that a manufacturer treats civil               enough technology to a manufacturer’s                 Vehicle Program
                                             penalty payment as an economic choice                   fleet to achieve compliance with CAFE                   California’s Zero Emissions Vehicle
                                             (i.e., one to be taken if doing so would                standards (and CO2 standards and ZEV                  (ZEV) program is one part of a program
                                             be economically preferable to applying                  mandates) in a given model year, the                  of coordinated standards that the
                                             further technology toward compliance),                  model will apply any further fuel
                                                                                                                                                           California Air Resources Board (CARB)
                                             the CAFE Model, when evaluating the                     economy improvements estimated to
                                                                                                                                                           has enacted to control emissions of
                                             manufacturer’s response to CAFE                         produce a negative effective cost (i.e.,
                                                                                                                                                           criteria pollutants and greenhouse gas
                                             standards in a given model year, will                   any technology applications for which
                                                                                                                                                           emissions from vehicles. The program
                                             apply fuel-saving technology only up to                 avoided fuel outlays during the payback
                                             the point beyond which doing so would                   period are larger than the corresponding              began in 1990 with the low-emission
                                             be more expensive (after subtracting the                technology costs). As discussed above in              vehicle (LEV) regulation,101 and has
                                             value of avoided fuel outlays) than                     Section III.A and below in Section III.C,             since expanded to include eleven other
                                             paying civil penalties.                                 DOT anticipates that manufacturers are                states.102 103 These states may be referred
                                                For this analysis, DOT exercises the                 likely to act as if the market is willing             to as Section 177 states, in reference to
                                             CAFE Model with inputs treating all                     to pay for avoided fuel outlays expected              Section 177 of the Clean Air Act’s grant
                                             manufacturers as treating civil penalty                 during the first 30 months of vehicle                 of authority to allow these states to
                                             payment as an economic choice through                   operation.                                            adopt California’s air quality
                                             MY 2023. While DOT expects that only                       In addition, the Market Data file                  standards,104 but it is important to note
                                             manufacturers with some history of                      includes two new sets of inputs for this              that not all Section 177 states have
                                             paying civil penalties would actually                   analysis. In 2020, five vehicle                       adopted the ZEV program
                                             treat civil penalty payment as an                       manufacturers reached a voluntary                     component.105 In the following
                                             acceptable option, the CAFE Model does                  commitment with the state of California               discussion of the incorporation of the
                                             not currently simulate compliance                       to improve the emissions levels of their              ZEV program into the CAFE Model, any
                                             credit trading between manufacturers,                   future nationwide fleets above levels                 reference to the Section 177 states refers
                                             and DOT expects that this treatment of                  required by the 2020 final rule. For this             to those states that have adopted
                                             civil penalty payment will serve as a                   analysis, compliance with this                        California’s ZEV program requirements.
                                             reasonable proxy for compliance credit                  agreement is in the baseline case for                   In their comments on the NPRM,
                                             purchases some manufacturers might                      designated manufacturers. The Market                  Rivian stated that our ZEV program
                                             actually make through MY 2023. These                    Data file contains inputs indicating                  modeling should include Minnesota,
                                             input assumptions for model years                       whether each manufacturer has                         Virginia, and Nevada as ZEV states, as
                                             through 2023 reduce the potential that                  committed to exceed Federal                           those states have recently adopted the
                                             the model will overestimate technology                  requirements per this agreement.
                                             application in the model years leading                     Finally, when considering other                       101 California Air Resource Board (CARB), Zero-
                                             up to those for which the agency is                     standards that may affect fuel economy                Emission Vehicle Program. California Air Resources
                                             finalizing new standards. As in past                    compliance pathways, DOT includes                     Board. https://ww2.arb.ca.gov/our-work/programs/
                                             CAFE rulemaking analyses (except that                   projected zero emissions vehicles (ZEV)               zero-emission-vehicle-program/about. (Accessed:
                                             supporting the 2020 final rule), DOT has                that would be required for                            February 16, 2022)
                                                                                                                                                              102 Through 2020, the Section 177 states that had
                                             treated manufacturers with some history                 manufacturers to meet standards in
                                                                                                                                                           adopted the ZEV program included Colorado,
                                             of civil penalty payment (i.e., BMW,                    California and Section 177 states, per                Connecticut, Maine, Maryland, Massachusetts, New
                                             Daimler, FCA, Jaguar-Land Rover,                        the waiver granted under the Clean Air                Jersey, New York, Oregon, Rhode Island, Vermont,
                                             Volvo, and Volkswagen) as continuing                    Act. To support the inclusion of the                  and Washington. See Vermont Department of
                                                                                                     ZEV program in the analysis, DOT                      Environmental Conservation, Zero Emission
                                             to treat civil penalty payment as an                                                                          Vehicles. https://dec.vermont.gov/air-quality/
                                             acceptable option beyond MY 2023, but                   identifies specific vehicle model/                    mobile-sources/zev. (Accessed: February 16, 2022)
                                             has treated all other manufacturers as                  configurations that could adopt BEV                      103 The states of Minnesota, Nevada, and Virginia

                                             unwilling to do so beyond MY 2023.                      technology in response to the ZEV                     have recently adopted ZEV standards, which will
                                             DOT believes it is more accurate, as in                 program, independent of CAFE                          go into effect for MY 2025. As discussed in this
                                                                                                     standards, at the first redesign                      section, reflecting these three states’ adoption of
                                             past analyses besides the 2020 final                                                                          ZEV mandates would have only negligibly
                                             rule, to reflect the possibility that these             opportunity. These ZEVs are identified                impacted the agency’s national-scale modeling. See
                                             historical payers of civil penalties may                in the Market Data file as future                     Green Car Reports, Minnesota adopts California EV
                                             continue to do so in the future.                        BEV200s, BEV300s, or BEV400s. Not all                 mandate, https://www.greencarreports.com/news/
                                                Next, the CAFE Model uses an                         announced BEV nameplates appear in                    1133027_minnesota-adopts-california-ev-mandate-
                                                                                                                                                           makes-it-tougher-for-plug-in-compliance-cars
                                             ‘‘effective cost’’ metric to evaluate                   the MY 2020 Market Data file; in these                (accessed: February 16, 2022); State of Nevada
                                             options to apply specific technologies to               cases, in consultation with CARB, DOT                 Climate Initiative, Adopt Low-and Zero-Emissions
                                             specific engines, transmissions, and                    used the volume from a comparable                     Passenger Vehicle Standards, https://
                                             vehicle model configurations. Expressed                 vehicle in the manufacturer’s Market                  climateaction.nv.gov/policies/lev-zev (accessed:
                                                                                                                                                           February 16, 2022); Green Car Reports, Virginia
                                             on a $/gallon basis, the analysis                       Data file portfolio as a proxy. The                   becomes 15th Clean Cars State, https://
                                             computes this metric by subtracting the                 Market Data file also includes
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                                                                                                                                                           www.greencarcongress.com/2021/03/20210330-
                                             estimated values of avoided fuel outlays                information about the portion of each                 virginia.html (accessed: February 16, 2022).
                                             and civil penalties from the                            manufacturer’s sales that occur in                       104 Section 177 of the Clean Air Act allows other

                                             corresponding technology costs, and                     California and Section 177 states, which              states to adopt California’s new motor vehicle
                                                                                                                                                           emission standards, if specified criteria are met.
                                             then dividing the result by the quantity                is helpful for determining how many                      105 At the time of writing, Delaware and
                                             of avoided fuel consumption. The                        ZEV credits each manufacturer will                    Pennsylvania are the two states that have adopted
                                             analysis computes the value of fuel                     need to generate in the future to comply              the LEV standards, but not the ZEV portion.



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                                             regulation.106 We have not included                     meet their ZEV credit requirements                    state in which each vehicle is sold,
                                             those states as part of the ZEV program                 through PHEV production.109                           which allows staff to identify the
                                             in the modeling, but have ascertained                      DOT’s method for simulating the ZEV                different types of ZEVs manufacturers
                                             that reflecting these three states’                     program involves several steps; first,                sell in the Section 177 state group.
                                             adoption of ZEV mandates would have                     DOT calculates an approximate ZEV                        We calculate sales volumes for the
                                             only negligibly impacted the agency’s                   credit target for each manufacturer                   ZEV credit requirement based on each
                                             national-scale modeling. Furthermore,                   based on the manufacturer’s national                  manufacturer’s future assumed market
                                             the ZEV standards for these states go                   sales volumes, share of sales in Section              share in Section 177 states. DOT
                                             into effect only beginning in MY 2025,                  177 states, and the CARB credit                       decided to carry each manufacturer’s
                                             which created an inconsistency with                     requirements. Next, DOT identifies a                  ZEV market shares forward to future
                                             our current modeling approach.                          general pathway to compliance that                    years, after examination of past market
                                                To account for the ZEV program, and                  involves accounting for manufacturers’                share data from MY 2016, from the 2017
                                             particularly as other states have recently              potential use of ZEV overcompliance                   version of the NVPP.111 Comparison of
                                             adopted California’s ZEV standards,                     credits or other credit mechanisms, and               these data to the 2020 version showed
                                             DOT includes the main provisions of                     the likelihood that manufacturers would               that manufacturers’ market shares
                                             the ZEV program in the CAFE Model’s                     choose to comply with the requirements                remain fairly constant in terms of
                                             analysis of compliance pathways. As                     with BEVs rather than PHEVs or other                  geographic distribution. Therefore, we
                                             explained below, incorporating the ZEV                  types of compliant vehicles, in addition              determined that it was reasonable to
                                             program into the model includes                         to other factors. For this analysis, as               carry forward the recently calculated
                                             converting vehicles that have been                      discussed further below, DOT consulted                market shares to future years.
                                             identified as potential ZEV candidates                  with CARB to determine reasonable                        We calculate total credits required for
                                             into battery-electric vehicles (BEVs) at                assumptions for this compliance                       ZEV compliance by multiplying the
                                             the first redesign opportunity, so that a               pathway. Finally, DOT identifies                      percentages from CARB’s ZEV
                                             manufacturer’s fleet meets calculated                   vehicles in the MY 2020 analysis fleet                requirement schedule by the Section
                                             ZEV credit requirements. Since ZEV                      that manufacturers could reasonably                   177 state volumes. CARB’s credit
                                             program compliance pathways happen                      adapt to comply with the ZEV standards                percentage requirement schedule for the
                                             independently from the adoption of fuel                 at the first opportunity for vehicle                  years covered in this analysis begins at
                                             saving technology in response to                        redesign, based on publicly announced                 9.5 percent in 2020 and ramps up in
                                             increasing CAFE standards, the ZEV                      product plans and other information.                  increments to 22 percent by 2025.112
                                             program is considered in the baseline of                Each of these steps is discussed in turn,             Note that the requirements do not
                                             the analysis, and in all other regulatory               below, and a more detailed description                currently change after 2025.113
                                             alternatives.                                           of DOT’s simulation of the ZEV program                   We generate national sales volume
                                                Through its ZEV program, California                  is included in TSD Chapter 2.3.                       predictions for future years using the
                                             requires that all manufacturers that sell                  The CAFE Model is designed to                      Compliance Report, a CAFE Model
                                             cars within the state meet ZEV credit                   present outcomes at a national scale, so              output file that includes simulated sales
                                             standards. The current credit                           the ZEV analysis considers the Section                by manufacturer, fleet, and model year.
                                             requirements are calculated based on                    177 states as a group as opposed to                   We use a Compliance Report that
                                             manufacturers’ California sales volumes.                estimating each state’s ZEV credit                    corresponds to the baseline scenario of
                                             Manufacturers primarily earn ZEV                        requirements individually. To capture                 1.5 percent per year increases in
                                             credits through the production of BEVs,                 the appropriate volumes subject to the                standards for both passenger car and
                                             fuel cell vehicles (FCVs), and                          ZEV requirement, DOT calculates each                  light truck fleets. The resulting national
                                             transitional zero-emissions vehicles                    manufacturer’s total market share in                  sales volume predictions by
                                             (TZEVs), which are vehicles with partial                Section 177 states. DOT also calculates               manufacturer are then multiplied by
                                             electrification, namely plug-in hybrids                 the overall market share of ZEVs in                   each manufacturer’s total market share
                                             (PHEVs). Total credits are calculated by                Section 177 states, in order to estimate              in the Section 177 states to capture the
                                             multiplying the credit value each ZEV                   as closely as possible, the number of                 appropriate volumes in the ZEV credits
                                             receives by the vehicle’s volume.                       predicted ZEVs we expect all                          calculation. Required credits by
                                                The ZEV and PHEV/TZEV credit                         manufacturers to sell in those states.                manufacturer, per year, are determined
                                             value per vehicle is calculated based on                These shares are then used to scale                   by multiplying the Section 177 state
                                             the vehicle’s range; ZEVs may earn up                   down national-level information in the                volumes by CARB’s ZEV credit
                                             to four credits each and PHEVs with a                   CAFE Model to ensure that we represent                percentage requirement. These required
                                             US06 all-electric range capability of 10                only Section 177 states in the final                  credits are subsequently added to the
                                             mi or higher receive an additional 0.2                  calculation of ZEV credits that we                    CAFE Model inputs as targets for
                                             credits on top of the credits received                  project each manufacturer to earn in                  manufacturer compliance with ZEV
                                             based on all-electric range.107 The                     future years.                                         standards in the CAFE baseline.
                                             maximum PHEV credit amount                                 DOT uses MY 2019 National Vehicle                     The estimated ZEV credit
                                             available per vehicle is 1.10.108 Note                  Population Profile (NVPP) from IHS                    requirements serve as a target for
                                             however that CARB only allows                           Markit—Polk to calculate these                        simulating ZEV compliance in the
                                             intermediate-volume manufacturers to                    percentages.110 These data include                    baseline. To achieve this, DOT
                                                                                                     vehicle characteristics such as                       determines a modeling philosophy for
                                                106 Rivian, Docket ID No. NHTSA–2021–0053–
                                                                                                     powertrain, fuel type, manufacturer,                  ZEV pathways, reviews various sources
                                             1562, at p. 2.
                                                107 US06 is one of the drive cycles used to test
                                                                                                     nameplate, and trim level, as well as the
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                                                                                                                                                             111 National Vehicle Population Profile (NVPP)
                                             fuel economy and all-electric range, specifically for
                                             the simulation of aggressive driving. See https://        109 13 CCR 1962.2(c)(3).                            2017, IHS Markit—Polk.
                                                                                                                                                             112 See 13 CCR 1962.2(b). The percentage credit
                                             www.epa.gov/vehicle-and-fuel-emissions-testing/           110 National Vehicle Population Profile (NVPP)

                                             dynamometer-drive-schedules for more                    2020, IHS Markit—Polk. At the time of the analysis,   requirements are as follows: 9.5 percent in 2020, 12
                                             information, as well as Section III.C.4 and Section     MY 2019 data from the NVPP contained the most         percent in 2021, 14.5 percent in 2022, 17 percent
                                             III.D.3.d). (Accessed: March 6, 2022)                   current estimate of market shares by manufacturer,    in 2023, 19.5 percent in 2024, and 22 percent in
                                                108 13 California Code of Regulations (CCR)          and best represented the registered vehicle           2025 and onward.
                                             1962.2(c)(3).                                           population on January 1, 2020.                          113 13 CCR 1962.2(b).




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                                             for information regarding upcoming                      production of BEVs. As discussed                        production.118 Some manufacturers
                                             ZEV programs, and inserts those                         above, manufacturers may choose to                      have not yet released details of future
                                             programs into the analysis fleet inputs.                build PHEVs or FCVs to earn some                        electric vehicle programs at the time of
                                             As manufacturers can meet ZEV                           portion of their required ZEV credits.                  writing, but have indicated goals of
                                             standards in a variety of different ways,               However, DOT projected that                             reaching certain percentages of electric
                                             using various technology combinations,                  manufacturers would rely on BEVs to                     vehicles in their portfolios by a
                                             the analysis must include certain                       meet their credit requirements, based on                specified year. In these cases, DOT
                                             simplifying assumptions in choosing                     reviews of press releases and industry                  reviewed the manufacturer’s current
                                             ZEV pathways. We made these                             news, as well as discussion with CARB.                  fleet characteristics as well as the
                                             assumptions in conjunction with                         Since nearly all manufacturers have                     aspirational information in press
                                             guidance from CARB staff. The                           announced some plans to produce BEVs                    releases and other news in order to
                                             following sections discuss the approach                 at a scale meaningful to future ZEV                     make reasonable assumptions about the
                                             used to simulate a pathway to ZEV                       requirements, DOT agreed that this was                  vehicle segment and range of those
                                             program compliance in this analysis.                    a reasonable assumption.116                             future BEVs. No changes in BEV
                                               First, DOT targeted 2025 compliance,                                                                          program assumptions were made
                                                                                                     Furthermore, as CARB only allows
                                             as opposed to assuming manufacturers                                                                            between the NPRM and this document.
                                                                                                     intermediate-volume manufacturers to
                                             would perfectly comply with their                                                                                  Overall, analysts assumed that
                                             credit requirements in each year prior to               meet their ZEV credit requirements                      manufacturers would lean towards
                                             2025. This simplifying assumption was                   through the production of PHEVs, and                    producing BEV300s rather than
                                             made upon review of past history of                     the volume status of these few                          BEV200s, based on the information
                                             ZEV credit transfers, existing ZEV credit               manufacturers could change over the                     reviewed and an initial conversation
                                             banks, and redesign schedules. DOT                      years, assuming BEV production for                      with CARB.119 Phase-in caps were also
                                             focused on integrating ZEV technology                   ZEV compliance is the most                              considered, especially for BEV200, with
                                             throughout that timeline with the target                straightforward path.                                   the understanding that the CAFE Model
                                             of meeting 2025 obligations; thus, some                    Fourth, to account for the new BEV                   will always pick BEV200 before BEV300
                                             manufacturers are estimated to over-                    programs announced by some                              or BEV400, until the quantity of
                                             comply or under-comply, depending on                    manufacturers, DOT identified vehicles                  BEV200s is exhausted. See Section
                                             their individual situations, in the years               in the 2020 fleet that closely matched                  III.D.3.c) for details regarding BEV
                                             2021–2024.                                              the upcoming BEVs, by regulatory class,                 phase-in caps.
                                               Second, DOT determined that the                       market segment, and redesign schedule.                     BEVs with smaller battery packs and
                                             most reasonable way to model ZEV                        DOT made an effort to distribute ZEV                    less range are less likely to meet all the
                                             compliance would be to allow under-                     candidate vehicles by CAFE regulatory                   performance needs of traditional pickup
                                             compliance in certain cases and assume                  class (light truck, passenger car), by                  truck owners today, such as long-range
                                             that some manufacturers would not                       manufacturer, in a manner consistent                    towing. However, longer-range BEV
                                             meet their ZEV obligation on their own                  with the 2020 manufacturer fleet mix.                   pickups are being introduced, and may
                                             in 2025. Instead, these manufacturers                                                                           be joined by new markets in the form of
                                                                                                     Since passenger car and light truck
                                             were assumed to prefer to purchase                                                                              electric delivery trucks and some light-
                                                                                                     mixes by manufacturer could change in
                                             credits from another manufacturer with                                                                          duty electric truck applications in state
                                                                                                     response to the CAFE policy alternative
                                             a credit surplus. Reviews of past ZEV                                                                           and local government. The extent to
                                             credit transfers between manufacturers                  under consideration, this effort was                    which BEVs will be used in these and
                                             informed the decision to make this                      deemed necessary in order to avoid                      other new markets is difficult to project.
                                             simplifying assumption.114 CARB                         redistributing the fleet mix in an                      DOT did identify certain trucks as
                                             advised that for these manufacturers,                   unrealistic manner. However, there                      upcoming BEVs for ZEV compliance,
                                             the CAFE Model should still project that                were some exceptions to this                            and these BEVs were expected to have
                                             each manufacturer meet approximately                    assumption, as some manufacturers are                   higher ranges, due to the specific
                                             80 percent of their ZEV requirements                    already closer to meeting their ZEV                     performance needs associated with
                                             with technology included in their own                   obligation through 2025 with BEVs                       these vehicles. Outside of the ZEV
                                             portfolio. Manufacturers that were                      currently produced, and some                            inputs described here, the CAFE Model
                                             observed to have generated many ZEV                     manufacturers underperform their                        does not handle the application of BEV
                                             credits in the past or had announced                    compliance targets more so in one fleet                 technology with any special
                                             major upcoming BEV initiatives were                     than another. In these cases, DOT                       considerations as to whether the vehicle
                                             projected to meet 100 percent of their                  deviated from keeping the LT/PC mix of                  is a pickup truck or not.
                                             ZEV requirements on their own, without                  BEVs evenly distributed across the                         Finally, in order to simulate
                                             purchasing ZEV credits from other                       manufacturer’s portfolio.117                            manufacturers’ compliance with their
                                             manufacturers.115                                          DOT then identified future ZEV                       particular ZEV credits target, 142 rows
                                               Third, DOT agreed that manufacturers                  programs that could plausibly                           in the analysis fleet were identified as
                                             would meet their ZEV credit                             contribute towards the ZEV                              substitutes for future ZEV programs. As
                                             requirements in 2025 though the                         requirements for each manufacturer by                   discussed above, the analysis fleet
                                                                                                     2025. To obtain this information, DOT                   summarizes the roughly 13.6 million
                                               114 See https://ww2.arb.ca.gov/our-work/
                                                                                                     examined various sources, including                     light-duty vehicles produced and sold
                                             programs/advanced-clean-cars-program/zev-                                                                       in the United States in MY 2020 with
                                             program/zero-emission-vehicle-credit-balances for       trade press releases, industry
                                             past credit balances and transfer information.          announcements, and investor reports. In                 more than 3,500 rows, each reflecting
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                                             (Accessed: February 16, 2022)                           many cases, these BEV programs are in
                                               115 The following manufacturers were assumed to                                                                 118 Examples of BEV programs already in
                                                                                                     addition to programs already in
                                             meet 100-percent ZEV compliance: Ford, General                                                                  production include the Nissan Leaf and the
                                             Motors, Hyundai, Kia, Jaguar Land Rover, and                                                                    Chevrolet Bolt.
                                                                                                       116 See TSD Chapter 2.3 for a list of potential BEV
                                             Volkswagen Automotive. Tesla was also assumed to                                                                  119 BEV300s are 300-mile range battery-electric

                                             meet 100 percent of its required standards, but the     programs recently announced by manufacturers.           vehicles. See Section III.D.3.b) for further
                                             analyst team did not need to add additional ZEV           117 The GM light truck and passenger car              information regarding electrification fleet
                                             substitutes to the baseline for this manufacturer.      distribution is one such example.                       assignments.



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                                             information for one vehicle type                        CAFE Model Documentation for a                        developed and maintained by the U.S.
                                             observed. Each row includes the                         detailed description of how the model                 Department of Energy’s Argonne
                                             vehicle’s nameplate and trim level, the                 applied these ZEV technologies and any                National Laboratory.121
                                             sales volume, engine, transmission,                     changes made to the model’s                              A model is a mathematical
                                             drive configuration, regulatory class,                  programming for the incorporation of                  representation of a system, and
                                             projected redesign schedule, and fuel                   the ZEV program into the baseline.                    simulation is the behavior of that
                                             saving technologies, among other                           As discussed above, DOT made an                    mathematical representation over time.
                                             attributes.                                             effort to distribute the newly identified             In this analysis, the model is a
                                                As the goal of the ZEV analysis is to                ZEV candidates between CAFE                           mathematical representation of an entire
                                             simulate compliance with the ZEV                        regulatory classes (light truck and                   vehicle,122 including its individual
                                             program in the baseline, and the                        passenger car) in a manner consistent                 components such as the engine and
                                             analysis fleet only contains vehicles                   with the proportions seen in the 2020                 transmission, overall vehicle
                                             produced during MY 2020, DOT                            analysis fleet, by manufacturer. As                   characteristics such as mass and
                                             identified existing models in the                       mentioned previously, there were a few                aerodynamic drag, and the
                                             analysis fleet that shared certain                      exceptions to this assumption in cases                environmental conditions, such as
                                             characteristics with upcoming BEVs.                     where manufacturers’ regulatory class                 ambient temperature and barometric
                                             DOT also focused on identifying                         distribution of current or planned ZEV                pressure. We simulate the model’s
                                             substitute vehicles with redesign years                 programs clearly differed from their                  behavior over test cycles, including the
                                             similar to the future BEV’s introduction                regulatory class distribution as a whole.             2-cycle laboratory compliance tests (or
                                             year. The sales volumes of those                           In some instances, the regulatory                  2-cycle tests),123 to determine how the
                                             existing models, as predicted for 2025,                 distribution of flagged ZEV candidates                individual components interact.
                                             were then used to simulate production                   leaned towards a higher portion of PCs.                  Using full-vehicle modeling and
                                             of the upcoming BEVs. DOT identified                    The reasoning behind this differs in                  simulation to estimate technology
                                             a combination of rows that would meet                   each case, but there is an observed                   efficiency improvements has two
                                             the ZEV target, could contribute                        pattern in the 2020 analysis fleet of                 primary advantages over using single or
                                             productively towards CAFE program                       fewer BEVs being light trucks,                        limited point estimates. An analysis
                                             obligations (by manufacturer and by                     especially pickups. The 2020 analysis                 using single or limited point estimates
                                             fleet), and would introduce BEVs in                     fleet contains no BEV pickups in the                  may assume that, for example, one fuel
                                             each manufacturer’s portfolio in a way                  light truck segment. The slow                         economy-improving technology with an
                                             that reasonably aligned with projections                emergence of electric pickups could be                effectiveness value of 5 percent by itself
                                             and announcements. DOT tagged each                      linked to the specific performance needs              and another technology with an
                                             of these rows with information in the                   associated with pickup trucks. However,               effectiveness value of 10 percent by
                                             Market Data file, instructing the CAFE                  the market for BEVs may emerge in                     itself, when applied together achieve an
                                             Model to apply the specified BEV                        unexpected ways that are difficult to                 additive improvement of 15 percent.
                                             technology to the row at the first                      project. Examples of this include                     Single point estimates generally do not
                                             redesign year, regardless of the scenario               anticipated electric delivery trucks and              provide accurate effectiveness values
                                             or type of CAFE or GHG simulation.                      light-duty electric trucks used by state              because they do not capture complex
                                                The CAFE Model does not optimize                     and local governments. Due to these                   relationships among technologies.
                                             compliance with the ZEV mandate; it                     considerations, DOT tagged some trucks                Technology effectiveness often differs
                                             relies upon the inputs described in this                as BEVs for ZEV, and expected that                    significantly depending on the vehicle
                                             section in order to estimate each                       these would generally be of higher                    type (e.g., sedan versus pickup truck)
                                             manufacturer’s resulting ZEV credits.                   ranges.                                               and the way in which the technology
                                             The resulting amount of ZEV credits                        TSD Chapter 2.3 includes more                      interacts with other technologies on the
                                             earned by manufacturer for each model                   information about the process we use to               vehicle, as different technologies may
                                             year can be found in the CAFE Model’s                   simulate ZEV program compliance in                    provide different incremental levels of
                                             Compliance file.                                        this analysis.                                        fuel economy improvement if
                                                Not all ZEV-qualifying vehicles in the                                                                     implemented alone or in combination
                                             U.S. earn ZEV credits, as they are not all              4. Technology Effectiveness Values
                                                                                                                                                           with other technologies. Any
                                             sold in states that have adopted ZEV                       The next input we use to simulate
                                             regulations. In order to reflect this in the            manufacturers’ decision-making                           121 Islam, E.S., A. Moawad, N. Kim, R.
                                             CAFE Model, which only estimates                        processes for the year-by-year                        Vijayagopal, and A. Rousseau. A Detailed Vehicle
                                             sales volumes at the national level, the                application of technologies to specific               Simulation Process to Support CAFE Standards for
                                             percentages calculated for each                         vehicles are estimates of how effective               the MY 2024–2026 Analysis. ANL/ESD–21/9
                                                                                                                                                           (hereinafter, Autonomie model documentation).
                                             manufacturer are used to scale down the                 each technology would be at reducing                     122 Each full vehicle model in this analysis is
                                             national-level volumes. Multiplying                     fuel consumption. For this analysis, we               composed of sub-models, which is why the full
                                             national-level ZEV sales volumes by                     use full-vehicle modeling and                         vehicle model could also be referred to as a full
                                             these percentages ensures that only the                 simulation to estimate the fuel economy               system model, composed of sub-system models.
                                                                                                                                                              123 EPA’s compliance test cycles are used to
                                             ZEVs sold in Section 177 states count                   improvements manufacturers could
                                                                                                                                                           measure the fuel economy of a vehicle. For readers
                                             towards the ZEV credit targets of each                  make to a fleet of vehicles, considering              unfamiliar with this process, it is like running a car
                                             manufacturer.120 See Section 5.8 of the                 the vehicles’ technical specifications                on a treadmill following a program—or more
                                                                                                     and how combinations of technologies                  specifically, two programs. The ‘‘programs’’ are the
                                               120 The single exception to this assumption is
                                                                                                     interact. Full-vehicle modeling and                   ‘‘urban cycle,’’ or Federal Test Procedure
                                             Mazda, as Mazda has not yet produced any ZEV-                                                                 (abbreviated as ‘‘FTP’’), and the ‘‘highway cycle,’’
                                                                                                     simulation uses physics-based models
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                                             qualifying vehicles at the time of writing. Thus, the                                                         or Highway Fuel Economy Test (abbreviated as
                                             percentage of ZEVs sold in Section 177 states           to predict how combinations of                        ‘‘HFET’’), and they have not changed substantively
                                             cannot be calculated from existing data. However,       technologies perform as a full system                 since 1975. Each cycle is a designated speed trace
                                             Mazda has indicated its intention to produce ZEV-       under defined conditions. We use full                 (of vehicle speed versus time) that all certified
                                             qualifying vehicles in the future, so DOT assumed                                                             vehicles must follow during testing. The FTP is
                                             that 100 percent of future ZEVs would be sold in
                                                                                                     vehicle simulations performed in                      meant roughly to simulate stop and go city driving,
                                             Section 177 states for the purposes of estimating       Autonomie, a physics-based full-vehicle               and the HFET is meant roughly to simulate steady
                                             ZEV credits in the CAFE Model.                          modeling and simulation software                      flowing highway driving at about 50 mph.



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                                             oversimplification of these complex                           We determine the incremental                       documentation that accompanies this
                                             interactions leads to less accurate and                    effectiveness of technologies as applied              analysis. The 50 individual
                                             often overestimated effectiveness                          to the thousands of unique vehicle and                technologies, when considered with the
                                             estimates.                                                 technology combinations in the analysis               ten vehicle technology classes, result in
                                                In addition, because manufacturers                      fleet. Although, as mentioned above,                  over 1 million individual vehicle
                                             often implement several fuel-saving                        full-vehicle modeling and simulation                  technology combination models. For
                                             technologies simultaneously when                           reduces the work and time required to                 additional discussion on the full vehicle
                                             redesigning a vehicle, it is difficult to                  assess the impact of moving a vehicle                 modeling used in this analysis see TSD
                                             isolate the effect of individual                           from one technology state to another, it              Chapter 2.
                                             technologies using laboratory                              would be impractical—if not                              While Argonne built full-vehicle
                                             measurement of production vehicles                         impossible—to build a unique vehicle                  models and ran simulations for many
                                             alone. Modeling and simulation offer                       model for every individual vehicle in                 combinations of technologies, it did not
                                             the opportunity to isolate the effects of                  the analysis fleet. Therefore, as                     simulate literally every single vehicle
                                             individual technologies by using a                         discussed in the following sections, the              model/configuration in the analysis
                                             single or small number of baseline                         Autonomie analysis relies on ten                      fleet. Not only would it be impractical
                                             vehicle configurations and                                 vehicle technology class models that are              to assemble the requisite detailed
                                             incrementally adding technologies to                       representative of large portions of the               information specific to each vehicle/
                                             those baseline configurations. This                        analysis fleet vehicles. The vehicle                  model configuration, much of which
                                             provides a consistent reference point for                  technology classes ensure that key                    would likely only be provided on a
                                             the incremental effectiveness estimates                    vehicle characteristics are reasonably                confidential basis, doing so would
                                             for each technology and for                                represented in the full vehicle models.               increase the scale of the simulation
                                             combinations of technologies for each                         We sought comment on the full                      effort by orders of magnitude. Instead,
                                             vehicle type. Vehicle modeling also                        vehicle modeling and simulation                       Argonne simulated ten different vehicle
                                             reduces the potential for overcounting                     assumptions used for this analysis and                types, corresponding to the five
                                             or undercounting technology                                received some comments specific to                    ‘‘technology classes’’ generally used in
                                             effectiveness.                                             individual technologies, which are                    CAFE analysis over the past several
                                                                                                        discussed further in the individual                   rulemakings, each with two
                                                An important feature of this analysis
                                                                                                        technology subsections in final rule                  performance levels and corresponding
                                             is that the incremental effectiveness of
                                                                                                        Section III.D. However, we did not                    vehicle technical specifications (e.g.,
                                             each technology and combinations of                                                                              small car, small performance car,
                                             technologies should be accurate and                        receive any comments on our use of
                                                                                                        Autonomie itself. The next sections                   pickup truck, performance pickup truck,
                                             relative to a consistent baseline vehicle.                                                                       etc.).
                                             For this analysis, the baseline absolute                   discuss the details of the technology
                                                                                                        effectiveness analysis input                             Technology classes are a means of
                                             fuel economy value for each vehicle in                                                                           specifying common technology input
                                             the analysis fleet is based on CAFE                        specifications and assumptions that we
                                                                                                        continued to use for this final rule                  assumptions for vehicles that share
                                             compliance data for each make and                                                                                similar characteristics. Because each
                                             model.124 The absolute fuel economy                        analysis.
                                                                                                                                                              vehicle technology class has unique
                                             values of the full vehicle simulations are                 (a) Full Vehicle Modeling and                         characteristics, the effectiveness of
                                             used only to determine incremental                         Simulation                                            technologies and combinations of
                                             effectiveness and are never used directly                     As discussed above, for this analysis              technologies is different for each
                                             to assign an absolute fuel economy                         we use Argonne’s full vehicle modeling                technology class. Conducting
                                             value to any vehicle model or                              tool, Autonomie, to build vehicle                     Autonomie simulations uniquely for
                                             configuration. For subsequent                              models with different technology                      each technology class provides a
                                             technology changes, we apply the                           combinations and simulate the                         specific set of simulations and
                                             incremental effectiveness values of one                    performance of those models over                      effectiveness data for each technology
                                             or more technologies to the baseline fuel                  regulatory test cycles. The difference in             class. In this analysis the technology
                                             economy value to determine the                             the simulated performance between full                classes are compact cars, midsize cars,
                                             absolute fuel economy achieved for                         vehicle models, with differing                        small SUVs, large SUVs, and pickup
                                             applying the technology change.                            technology combination, is used to                    trucks. In addition, for each vehicle
                                                As an example, if a Ford F-150 2-                       determine effectiveness values. We                    class there are two levels of performance
                                             wheel drive crew cab and short bed in                      consider over 50 individual                           attributes (for a total of 10 technology
                                             the analysis fleet has a fuel economy                      technologies as inputs to the Autonomie               classes). The high performance and low
                                             value of 30 mpg for CAFE compliance,                       modeling.125 These inputs consist of                  performance vehicles classifications
                                             30 mpg will be considered the reference                    engine technologies, transmission                     allow for better diversity in estimating
                                             absolute fuel economy value. A similar                     technologies, powertrain electrification,             technology effectiveness across the fleet.
                                             full vehicle model node in the                             light-weighting, aerodynamic                             For additional discussion on the
                                             Autonomie simulation may begin with                        improvements, and tire rolling                        development of the vehicle technology
                                             an average fuel economy value of 32                        resistance improvements. Section III.D                classes used in this analysis and the
                                             mpg, and with incremental addition of                      broadly discusses each of the                         attributes used to characterize each
                                             a specific technology X its fuel economy                   technology groupings definitions,                     vehicle technology class, see TSD
                                             improves to 35 mpg, a 9.3 percent                          inputs, and assumptions. A deeper                     Chapter 2.4 and the Autonomie model
                                             improvement. In this example, the                          discussion of the Autonomie modeled                   documentation.
                                                                                                                                                                 Before any simulation is initiated in
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                                             incremental fuel economy improvement                       subsystems, and how inputs feed the
                                             (9.3 percent) from technology X would                                                                            Autonomie, Argonne must ‘‘build’’ a
                                                                                                        sub models resulting in outputs, is
                                             be applied to the F-150’s 30 mpg                                                                                 vehicle by assigning reference
                                                                                                        contained in the Autonomie model
                                             absolute value.                                                                                                  technologies and initial attributes to the
                                                                                                          125 See Autonomie model documentation; ANL—         components of the vehicle model
                                               124 See Section III.C.2 for further discussion of        All Assumptions_Summary_NPRM_022021.xlsx;             representing each technology class. The
                                             CAFE compliance data in the Market Data file.              ANL—Data Dictionary January 2021.xlsx.                reference technologies are baseline


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                                             technologies that represent the first step              database were analyzed to develop a                   when and how to downsize engines for
                                             on each technology pathway used in the                  regression curve of electric motor peak               the variety of vehicles, the only
                                             analysis. For example, a compact car is                 power versus electric motor weight.126                acceptable solution is to always model
                                             built by assigning it a baseline engine                   We maintain performance neutrality                  the appropriate amount of engine
                                             (DOHC, VVT, PFI), a baseline                            in the full vehicle simulations by                    downsizing to maintain
                                             transmission (AT5), a baseline level of                 resizing engines, electric machines, and              performance.’’ 130
                                             aerodynamic improvement (AERO0), a                      hybrid electric vehicle battery packs at                 We disagree with the comment
                                             baseline level of rolling resistance                    specific incremental technology steps.                implying that engine resizing is required
                                             improvement (ROLL0), a baseline level                   To address product complexity and                     for every technology change on a
                                             of mass reduction technology (MR0),                     economies of scale, engine resizing is                vehicle platform. We believe that this
                                             and corresponding attributes from the                   limited to specific incremental                       would artificially inflate effectiveness
                                             Argonne vehicle assumptions database                    technology changes that would typically               relative to cost. Manufacturers have
                                             like individual component weights. A                    be associated with a major vehicle or                 repeatedly and consistently conveyed
                                             baseline vehicle will have a unique                     engine redesign. This is intended to                  that the costs for redesign and the
                                             starting point for the simulation and a                 reflect manufacturers’ comments to DOT                increased manufacturing complexity
                                             unique set of assigned inputs and                       on how they consider engine resizing                  resulting from continual resizing engine
                                             attributes, based on its technology class.              and product complexity, and DOT’s                     displacement for small technology
                                             Argonne collected over a hundred                        observations on industry product                      changes preclude them from doing so.
                                             baseline vehicle attributes to build the                complexity. A detailed discussion on                  NHTSA believes that it would not be
                                             baseline vehicle for each technology                    powertrain sizing can be found in TSD                 reasonable or cost-effective to expect
                                             class. In addition, to account for the                  Chapter 2.4 and in the Autonomie                      resizing powertrains for every unique
                                             weight of different engine sizes, like 4-               model documentation.                                  combination of technologies, and even
                                             cylinder versus 8-cylinder or                             After all vehicle class and technology              less reasonable and cost-effective for
                                             turbocharged versus naturally aspirated                 combination models have been built,                   every unique combination of
                                             engines, Argonne developed a                            Autonomie simulates the vehicles’                     technologies across every vehicle model
                                             relationship curve between peak power                   performance on test cycles to calculate               due to the extreme manufacturing
                                             and engine weight based on the A2Mac1                   the effectiveness improvement of adding               complexity that would be required to do
                                             benchmarking data. Argonne uses the                     fuel-economy-improving technologies to                so.131 In addition, a 2011 NAS report
                                             developed relationship to estimate mass                 the vehicle. Simulating vehicles’                     stated that ‘‘[f]or small (under 5 percent
                                             for all engines. For additional                         performance using tests and procedures                [of curb weight]) changes in mass,
                                             discussion on the development and                       specified by Federal law and regulations              resizing the engine may not be justified,
                                             optimization of the baseline vehicle                    minimizes the potential variation in                  but as the reduction in mass increases
                                             models and the baseline attributes used                 determining technology effectiveness.                 (greater than 10 percent [of curb
                                             in this analysis see TSD Chapter 2.4 and                  For vehicles with conventional                      weight]), it becomes more important for
                                             the Autonomie model documentation.                      powertrains and micro hybrids,                        certain vehicles to resize the engine and
                                                The next step in the process is to run               Autonomie simulates the vehicles per                  seek secondary mass reduction
                                             a powertrain sizing algorithm that                      EPA 2-cycle test procedures and                       opportunities.’’ 132
                                             ensures the built vehicle meets or                      guidelines.127 For mild and full hybrid                  We also believe that ICCT’s comment
                                             exceeds defined performance metrics,                    electric vehicles and FCVs, Autonomie                 regarding Autonomie’s engine resizing
                                             including low-speed acceleration (time                  simulates the vehicles using the same                 process is further addressed by the
                                             required to accelerate from 0–60 mph),                  EPA 2-cycle test procedure and                        Autonomie’s powertrain calibration
                                             high-speed passing acceleration (time                   guidelines, and the drive cycles are                  process. We do agree that the
                                             required to accelerate from 50–80 mph),                 repeated until the initial and final state            powertrain should be re-calibrated for
                                             gradeability (the ability of the vehicle to             of charge are within a SAE J1711                      every unique technology combination
                                             maintain constant 65 miles per hour                     tolerance. For PHEVs, Autonomie                       and this calibration is performed as part
                                             speed on a six percent upgrade), and                    simulates vehicles per similar                        of the transmission shift initializer
                                             towing capacity. Together, these                        procedures and guidelines as prescribed               routine.133 Autonomie runs the shift
                                             performance criteria are widely used by                 in SAE J1711.128 For BEVs Autonomie                   initializer routine for every unique
                                             the automotive industry as metrics to                   simulates vehicles per similar                        Autonomie full vehicle model
                                             quantify vehicle performance attributes                 procedures and guidelines as prescribed               configuration and generates customized
                                             that consumers observe and that are                     in SAE J1634.129                                      transmission shift maps. The
                                             important for vehicle utility and                         We received comments from The                       algorithms’ optimization is designed to
                                             customer satisfaction.                                  International Council on Clean                        balance minimization of energy
                                                As with conventional vehicle models,                 Transportation (ICCT) regarding the                   consumption and vehicle performance.
                                             electrified vehicle models were also                    application of the engine sizing                      (b) Performance Neutrality
                                             built from the ground up. For MY 2020,                  algorithm, and when it is applied in
                                             the U.S. market has an expanded                                                                                 The purpose of the CAFE analysis is
                                                                                                     relation to vehicle road load                         to examine the impact of technology
                                             number of available hybrid and electric
                                                                                                     improvement technologies. ICCT stated
                                             vehicle models. To capture
                                                                                                     that, ‘‘[d]ue to the large uncertainties in             130 ICCT, Docket No. NHTSA–2021–0053–1581–
                                             improvements for electrified vehicles
                                                                                                                                                           A1, at p. 5.
                                             for this analysis, DOT applied a mass                     126 See Autonomie model documentation,                131 For more details, see comments and
                                             regression analysis process that                        Chapter 5.2.10, Electric Machines System Weight.      discussion in the 2020 Rulemaking Preamble
                                             considers electric motor weight versus
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                                                                                                       127 40 CFR part 600.                                Section VI.B.3.a)(6) Performance Neutrality.
                                             electric motor power (similar to the                      128 PHEV testing is broken into several phases        132 National Research Council 2011. Assessment

                                             regression analysis for internal                        based on SAE J1711: Charge-sustaining on the city     of Fuel Economy Technologies for Light-Duty
                                             combustion engine weights) for vehicle                  cycle and HWFET cycle, and charge-depleting on        Vehicles. Washington, DC: The National Academies
                                                                                                     the city and HWFET cycles.                            Press. https://doi.org/10.17226/12924 (hereinafter,
                                             models that have adopted electric                         129 SAE J1634. ‘‘Battery Electric Vehicle Energy    2011 NAS Report), at 107.
                                             motors. Benchmarking data for hybrid                    Consumption and Range Test Procedure.’’ July 12,        133 See FRM ANL Model Documentation at

                                             and electric vehicles from the A2Mac1                   2017.                                                 Paragraph 4.4.5.2.



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                                             application that can improve fuel                       60 mph acceleration time than under                   limit HCR engine technologies and
                                             economy. When the fuel economy-                         the Preferred Alternative; in other                   power-split strong hybrid powertrains.
                                             improving technology is applied,                        words, the alternative with the higher                For more details on these limitations,
                                             frequently the manufacturer must                        fuel economy standards also showed                    see Section III.D.1.c) of this preamble for
                                             choose how the technology will affect                   greater acceleration and performance.                 each technology pathway.
                                             the vehicle. The advantages of the new                  For the final rule analysis, using the                  For this final rule analysis, we
                                             technology can either be completely                     similar approach yielded a 0.0615                     continued to use the same methodology
                                             applied to improving fuel economy or                    percent better (as compared to the                    for modeling full vehicles and
                                             be used to increase vehicle performance                 baseline) 0–60 mph acceleration time,                 maintaining performance neutrality. As
                                             while maintaining the existing fuel                     indicating there is minimal difference in             such, the estimated compliance costs
                                             economy, or some mix of the two                         performance between the alternatives.                 reflect the assumption that
                                             effects. Historically, vehicle                          This assessment shows that for this                   manufacturers will resize powertrains or
                                             performance, historically equated with                  analysis, the performance difference is               make other adjustments to maintain
                                             horsepower, has improved over the                       minimal across regulatory alternatives                performance while increasing fuel
                                             years as more technology is applied to                  and across the simulated model years,                 economy. We will continue to monitor
                                             the fleet. The average horsepower is the                which allows for fair, direct comparison              performance neutrality metrics and their
                                             highest that it has ever been; all vehicle              among the alternatives. Further details               incorporation as part of future analyses.
                                             types have improved horsepower by at                    about this assessment can be found in                 (c) Implementation in the CAFE Model
                                             least 43 percent compared to the 1978                   TSD Chapter 2.4.5.
                                             model year, and pickup trucks have                         Overall, commenters were supportive                   The CAFE Model uses two elements
                                             improved by 49 percent.134 Fuel                         of our approach to maintaining                        of information from the large amount of
                                             economy has also improved, but the                      performance neutrality and the metrics                data generated by the Autonomie
                                             horsepower and acceleration trends                      we use to accomplish this. Commenters                 simulation runs: Battery costs, and fuel
                                             show that not 100 percent of                            said we should continue to improve our                consumption on the city and highway
                                             technological improvements have been                    methodologies for maintaining                         cycles. We combine the fuel economy
                                             applied to fuel savings. While future                   performance neutrality.135 Auto                       information from the two cycles to
                                             trends are uncertain, the past trends                   Innovators stated that ‘‘[t]he [a]gencies             produce a composite fuel economy for
                                             suggest that vehicle performance is                     have historically sought to maintain the              each vehicle, and for each fuel used in
                                             unlikely to decrease, as it seems                       performance characteristics of vehicles               dual fuel vehicles. The fuel economy
                                             reasonable to assume that customers                     modeled with fuel economy-improving                   information for each simulation run is
                                             will, at a minimum, demand vehicles                     technologies.’’ They added that they                  converted into a single value for use in
                                             that offer the same utility as today’s                  ‘‘appreciate that the [a]gencies continue             the CAFE Model.
                                             fleet.                                                                                                           In addition to the technologies in the
                                                                                                     to consider high- speed acceleration,
                                                For this rulemaking analysis, we                                                                           Autonomie simulation, the CAFE Model
                                                                                                     gradeability, towing, range, traction, and
                                             analyzed technology pathways                                                                                  also incorporated a handful of
                                                                                                     interior room (including headroom) in
                                             manufacturers could use for compliance                                                                        technologies not explicitly simulated in
                                                                                                     the analysis when sizing powertrains
                                             that attempt to maintain vehicle                                                                              Autonomie. These technologies’
                                                                                                     and evaluating pathways for road-load
                                             attributes, utility, and performance.                                                                         performance either could not be
                                                                                                     reductions.’’ Finally, they stated that
                                             Using this approach allows us to assess                                                                       captured on the 2-cycle test, or there
                                                                                                     ‘‘[a]ll of these parameters should be
                                             the costs and benefits of potential                                                                           were no robust data usable as an input
                                                                                                     considered separately, not just in
                                             standards under a scenario where                                                                              for full-vehicle modeling and
                                                                                                     combination. (For example, we do not
                                             consumers continue to get the similar                                                                         simulation. The specific technologies
                                                                                                     support an approach where various
                                             vehicle attributes and features, other                                                                        are discussed in the individual
                                                                                                     acceleration times are added together to
                                             than changes in fuel economy. The                                                                             technology sections below and in TSD
                                                                                                     create a single ‘performance’ statistic.
                                             purpose of constraining vehicle                                                                               Chapter 3. To calculate fuel economy
                                                                                                     Manufacturers must provide all types of
                                             attributes is to simplify the analysis and                                                                    improvements attributable to these
                                                                                                     performance, not just one or two to the
                                             reduce variance in other attributes that                                                                      additional technologies, estimates of
                                                                                                     detriment of others.).’’
                                             consumers may value across the                                                                                fuel consumption improvement factors
                                                                                                        The RV Industry Association
                                             analyzed regulatory alternatives. This                                                                        were developed and scale
                                                                                                     commented that the agency should
                                             allows for a streamlined accounting of                                                                        multiplicatively when applied together.
                                                                                                     include towing capacity considerations
                                             costs and benefits by not requiring the                                                                       See TSD Chapter 3 for a complete
                                                                                                     for large SUVs because of the public’s
                                             values of other vehicle attributes.                                                                           discussion on how these factors were
                                                                                                     reliance on large SUVs for RV towing.136
                                                To confirm minimal differences in                                                                          developed. The Autonomie-simulated
                                                                                                     Currently, our analysis assumes that
                                             performance metrics across regulatory                                                                         results and additional technologies are
                                                                                                     SUVs are primarily used for carrying
                                             alternatives, we analyzed the sales-                                                                          combined, forming a single dataset used
                                                                                                     passengers and cargo and towing is not
                                             weighted average 0–60 mph acceleration                                                                        by the CAFE Model.
                                                                                                     their primary function, in contrast to                   Each line in the CAFE Model dataset
                                             performance of the entire simulated                     how full-size pickups are characterized
                                             vehicle fleet for MYs 2020 and 2029.                                                                          represents a unique combination of
                                                                                                     in the analysis. Other aspects of the                 technologies. We organize the records
                                             The analysis compared performance
                                                                                                     analysis capture potential performance                using a unique technology state vector,
                                             under the baseline standards and
                                                                                                     limitations for SUVs such as limiting                 or technology key (tech key), that
                                             Preferred Alternative. For the NPRM,
                                                                                                     the adoption of technologies that could               describes the technology content
                                             this analysis identified that the analysis
                                                                                                     be considered less practical for SUVs.                associated with each unique record. The
                                             fleet under the No-Action Alternative in
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                                                                                                     For example, for some larger SUVs with                modeled 2-cycle fuel economy (miles
                                             MY 2029 had a 0.77 percent worse 0–
                                                                                                     higher power density requirements, we                 per gallon) of each combination is
                                               134 ‘‘The 2021 EPA Automotive Trends Report,
                                                                                                       135 RV Industry Association, Docket No. NHTSA–
                                                                                                                                                           converted into fuel consumption
                                             Greenhouse Gas Emissions, Fuel Economy, and                                                                   (gallons per mile) and then normalized
                                             Technology since 1975,’’ EPA–420–R–21–023,              2021–0053–0053, at 4; Auto Innovators, Docket No.
                                             November 2021, at pp. 20–7 (hereinafter, 2021 EPA       NHTSA–2021–0053–1492, at p. 62.                       relative to a baseline tech key. The
                                             Automotive Trends Report).                                136 RV Industry Association, at p. 4.               improvement factors used by the model


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                                             are a given combination’s fuel                          determined, in the simulation, by                     present in the analysis fleet; inputs
                                             consumption improvement relative to                     adding a new technology to the                        directing the model to ‘‘skip’’ specific
                                             the baseline tech key in its technology                 combination represented by the                        technologies for specific vehicle model/
                                             class.                                                  previous state vector while                           configurations in the analysis fleet (e.g.,
                                                The tech key format was developed by                 simultaneously removing any                           because secondary axle disconnect
                                             recognizing that most of the technology                 technologies that are superseded by the               cannot be applied to 2-wheel-drive
                                             pathways are unrelated and are only                     newly added one.                                      vehicles, and because manufacturers
                                             logically linked to designate the                          For example, start with a vehicle with             already heavily invested in engine
                                             direction in which technologies are                     the tech key: SOHC; VVT; AT6; BISG;                   turbocharging and downsizing are
                                             allowed to progress. As a result, it is                 ROLL10; AERO20; MR1; EPS; LDB.                        unlikely to abandon this approach in
                                             possible to condense the paths into                     Assume the simulation is evaluating                   favor of using high compression ratios);
                                             groups based on the specific technology.                PHEV20 as a candidate technology for                  inputs defining the sharing of engines,
                                             These groups are used to define the                     application on this vehicle. The new                  transmissions, and vehicle platforms in
                                             technology vector, or tech key. The                     tech key for this vehicle is computed by              the analysis fleet; the model’s logical
                                             following technology groups defined the                 removing SOHC, VVT, AT6, and BISG                     approach to preserving this sharing;
                                             tech key: Engine cam configuration                      technologies from the previous state                  inputs defining each regulatory
                                             (CONFIG), VVT engine technology                         vector,138 and adding PHEV20, resulting               alternative’s specific requirements;
                                             (VVT), VVL engine technology (VVL),                     a tech key that looks like this: PHEV20;              inputs defining expected future fuel
                                             SGDI engine technology (SGDI), DEAC                     ROLL10; AERO20; MR1; EPS; LDB.                        prices, annual mileage accumulation,
                                             engine technology (DEAC), non-basic                        From here, the simulation obtains a                and valuation of avoided fuel
                                             engine technologies (ADVENG),                           fuel economy improvement factor for                   consumption; inputs defining the
                                             transmission technologies (TRANS),                      the new combination of technologies                   estimated efficacy and future cost
                                             electrification and hybridization (ELEC),               and applies that factor to the fuel                   (accounting for projected future
                                             low rolling resistance tires (ROLL),                    economy of a vehicle in the analysis                  ‘‘learning’’ effects) of included
                                             aerodynamic improvements (AERO),                        fleet. The resulting improvement is                   technologies; inputs controlling the
                                             mass reduction levels (MR), EFR engine                  applied to the original compliance fuel               maximum pace the simulation is to
                                             technology (EFR), electric accessory                    economy value for a discrete vehicle in               ‘‘phase in’’ each technology; and inputs
                                             improvement technologies (ELECACC),                     the analysis fleet.                                   further defining the availability of each
                                             LDB technology (LDB), and SAX                                                                                 technology to specific technology
                                                                                                     5. Defining Technology Adoption in the                classes.
                                             technology (SAX). This summarizes to a                  Rulemaking Timeframe
                                             tech key with the following fields:                                                                              Two of these inputs—the ‘‘phase-in
                                             CONFIG; VVT; VVL; SGDI; DEAC;                              As discussed in Section III.C.2,                   cap’’ and the ‘‘phase-in start year’’—
                                             ADVENG; TRANS; ELEC; ROLL; AERO;                        starting with a fixed analysis fleet (for             apply to the manufacturer’s entire
                                             MR; EFR; ELECACC; LDB; SAX. It                          this analysis, the MY 2020 fleet                      estimated production and, for each
                                             should be noted that some of the fields                 indicated in manufacturers’ early CAFE                technology, define a share of production
                                             may be blank for some tech key                          compliance data), the CAFE Model                      in each model year that, once exceeded,
                                             combinations. These fields will be left                 estimates ways each manufacturer could                will stop the model from further
                                             visible for the examples below, but                     potentially apply specific fuel-saving                applying that technology to that
                                             blank fields may be omitted from tech                   technologies to specific vehicle model/               manufacturer’s fleet in that model year.
                                             keys shown elsewhere in the                             configurations in response to, among                  The influence of these inputs varies
                                             documentation.                                          other things (such as fuel prices), CAFE              with regulatory stringency and other
                                                As an example, a technology state                    standards, CO2 standards, commitments                 model inputs. For example, setting the
                                             vector describing a vehicle with a SOHC                 some manufacturers have made to                       inputs to allow immediate 100 percent
                                             engine, variable valve timing (only), a 6-              CARB’s ‘‘Framework Agreements,’’ and                  penetration of a technology will not
                                             speed automatic transmission, a belt-                   ZEV mandates imposed by California                    guarantee any application of the
                                             integrated starter generator, rolling                   and several other states. The CAFE                    technology if stringency increases are
                                             resistance (level 1), aerodynamic                       Model follows a year-by-year approach                 low and the technology is not at all cost
                                             improvements (level 2), mass reduction                  to simulating manufacturers’ potential                effective. Also, even if these are set to
                                             (level 1), electric power steering, and                 decisions to apply technology,                        allow only very slow adoption of a
                                                                                                     accounting for multiyear planning                     technology, other model aspects and
                                             low drag brakes, would be specified as
                                                                                                     within the context of estimated                       inputs may nevertheless force more
                                             ‘‘SOHC; VVT; ; ; ; ; AT6; BISG; ROLL10;
                                                                                                     schedules for future vehicle redesigns                rapid application than these inputs,
                                             AERO20; MR1; ; EPS; LDB ; .’’ 137
                                                Once a vehicle is assigned (or                       and refreshes during which significant                alone, would suggest (e.g., because an
                                                                                                     technology changes may most                           engine technology propagates quickly
                                             mapped) to an appropriate tech key,
                                                                                                     practicably be implemented.                           due to sharing across multiple vehicles,
                                             adding a new technology to the vehicle
                                                                                                        The modeled technology adoption for                or because BEV application must
                                             simply represents progress from a
                                                                                                     each manufacturer under each                          increase quickly in response to ZEV
                                             previous tech key to a new tech key.
                                                                                                     regulatory alternative depends on this                requirements). For this analysis, nearly
                                             The previous tech key refers to the
                                                                                                     representation of multiyear planning,                 all of these inputs are set at levels that
                                             technologies that are currently in use on
                                                                                                     and on a range of other factors                       do not limit the simulation at all.
                                             a vehicle. The new tech key is                                                                                   As discussed below, for the most
                                                                                                     represented by other model
                                               137 In the example tech key, the series of            characteristics and inputs, such as the               advanced engines (advanced cylinder
                                                                                                                                                           deactivation, variable compression ratio,
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                                             semicolons between VVT and AT6 correspond to            logical progression of technologies
                                             the engine technologies which are not included as       defined by the model’s technology                     variable turbocharger geometry, and
                                             part of the combination, while the gap between
                                                                                                     pathways; the technologies already                    turbocharging with cylinder
                                             MR1 and EPS corresponds to EFR and the omitted                                                                deactivation), we have specified phase-
                                             technology after LDB is SAX. The extra semicolons
                                             for omitted technologies are preserved in this            138 For more discussion of how the CAFE Model       in caps and phase-in start years that
                                             example for clarity and emphasis and will not be        handles technology supersession, see S4.5 of the      limit the pace at which the analysis
                                             included in future examples.                            CAFE Model Documentation.                             shows the technology being adopted in


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                                             the rulemaking timeframe. For example,                  generally do not include the indirect                 confidential business information to
                                             this analysis applies a 34-percent phase-               costs of tools, capital equipment,                    estimate costs. The agency and the
                                             in cap and MY 2019 phase-in start year                  financing costs, engineering, sales,                  source may have had incongruent or
                                             for advanced cylinder deactivation                      administrative support or return on                   incompatible definitions of ‘‘baseline.’’
                                             (ADEAC), meaning that in MY 2021                        investment. DOT accounts for these                    The source may have provided DMCs at
                                             (using a MY 2020 fleet, the analysis                    indirect costs via a scalar markup of                 a date many years in the future, and
                                             begins simulating further technology                    direct manufacturing costs (the retail                assumed very high production volumes,
                                             application in MY 2021), the model will                 price equivalent, or RPE). Finally, costs             important caveats to consider for agency
                                             stop adding ADEAC to a manufacturer’s                   for technologies may change over time                 analysis. In addition, a source, under no
                                             MY 2021 fleet once ADEAC reaches                        as industry streamlines design and                    contractual obligation to DOT, may
                                             more than 68-percent penetration,                       manufacturing processes. To reflect this,             provide incomplete and/or misleading
                                             because 34% × (2021¥2019) = 34% × 2                     DOT estimates potential cost                          information. In other cases, intellectual
                                             = 68%.                                                  improvements with learning effects                    property considerations and strategic
                                               We apply phase-in caps and                            (LE). The retail cost of equipment in any             business partnerships may have
                                             corresponding start years to prevent the                future year is estimated to be equal to               contributed to a manufacturer’s cost
                                             simulation from showing unlikely rates                  the product of the DMC, RPE, and LE.                  information and could be difficult to
                                             of applying battery-electric vehicles                   Considering the retail cost of                        account for in the CAFE Model as not
                                             (BEVs), such as showing that a                          equipment, instead of merely direct                   all manufacturers may have access to
                                             manufacturer producing very few BEVs                    manufacturing costs, is important to                  proprietary technologies at stated costs.
                                             in MY 2020 could plausibly replace                      account for the real-world price effects              The agency carefully evaluates new
                                             every product with a 300- or 400-mile                   of a technology, as well as market                    information in light of these common
                                             BEV by MY 2025. Also, as discussed in                   realities.                                            pitfalls, especially regarding emerging
                                             Section III.D.4, we apply phase-in caps                                                                       technologies.
                                                                                                     (a) Direct Manufacturing Costs
                                             and corresponding start years intended                                                                           While costs for fuel-saving
                                             to ensure that the simulation’s plausible                 Direct manufacturing costs (DMCs)                   technologies reflect the best estimates
                                             application of the highest included                     are the component and assembly costs                  available today, technology cost
                                             levels of mass reduction (20 and 28.2                   of the physical parts and systems that                estimates will likely change in the
                                             percent reductions of vehicle ‘‘glider’’                make up a complete vehicle. The                       future as technologies are deployed and
                                             weight) do not, for example, outpace                    analysis uses agency-sponsored tear-                  as production is expanded. For
                                             plausible supply of raw materials and                   down studies of vehicles and parts to                 emerging technologies, DOT uses the
                                             development of entirely new                             estimate the DMCs of individual                       best information available at the time of
                                             manufacturing facilities.                               technologies, in addition to                          the analysis and will continue to update
                                               These model logical structures and                    independent tear-down studies, other                  cost assumptions for any future
                                             inputs act together to produce estimates                publications, and confidential business               analysis. The discussion of each
                                             of ways each manufacturer could                         information. In the simplest cases, the               category of technologies in Section III.D
                                             potentially shift to new fuel-saving                    agency-sponsored studies produce                      (e.g., engines, transmissions,
                                             technologies over time, reflecting some                 results that confirm third-party industry             electrification) and corresponding TSD
                                             measure of protection against rates of                  estimates and align with confidential                 Chapter 3 summarizes the specific cost
                                             change not reflected in, for example,                   information provided by manufacturers                 estimates DOT applied for this analysis.
                                             technology cost inputs. This does not                   and suppliers. In cases with a large
                                                                                                     difference between the tear-down study                (b) Indirect Costs (Retail Price
                                             mean that every modeled solution
                                                                                                     results and credible independent                      Equivalent)
                                             would necessarily be economically
                                             practicable. Using technology adoption                  sources, DOT scrutinized the study                       As discussed above, direct costs
                                             features like phase-in caps and phase-in                assumptions, and sometimes revised or                 represent the cost associated with
                                             start years is one mechanism that can be                updated the analysis accordingly.                     acquiring raw materials, fabricating
                                             used so that the analysis better                          Due to the variety of technologies and              parts, and assembling vehicles with the
                                             represents the potential costs and                      their applications, and the cost and time             various technologies manufacturers are
                                             benefits of technology application in the               required to conduct detailed tear-down                expected to use to meet future CAFE
                                             rulemaking timeframe.                                   analyses, the agency did not sponsor                  standards. They include materials,
                                                                                                     teardown studies for every technology.                labor, and variable energy costs required
                                             6. Technology Costs                                     In addition, we consider some fuel-                   to produce and assemble the vehicle.
                                               DOT estimates present and future                      saving technologies that are pre-                     However, they do not include overhead
                                             costs for fuel-saving technologies taking               production or are sold in very small                  costs required to develop and produce
                                             into consideration the type of vehicle, or              pilot volumes. For those technologies,                the vehicle, costs incurred by
                                             type of engine if technology costs vary                 DOT could not conduct a tear-down                     manufacturers or dealers to sell
                                             by application. These cost estimates are                study to assess costs because the                     vehicles, or the profit manufacturers
                                             based on three main inputs. First, we                   product is not yet in the marketplace for             and dealers make from their
                                             estimate direct manufacturing costs                     evaluation. In these cases, DOT relied                investments. All of these items
                                             (DMCs), or the component and labor                      upon third-party estimates and                        contribute to the price consumers
                                             costs of producing and assembling the                   confidential information from suppliers               ultimately pay for the vehicle. These
                                             physical parts and systems, assuming                    and manufacturers; however, there are                 components of retail prices are
                                             high volume production. DMCs                            some common pitfalls with relying on                  illustrated in Table III–3 below.
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                                               To estimate the impact of higher                      costs of all activities that manufacturers               An RPE of 1.5 does not imply that
                                             vehicle prices on consumers, both direct                engage in.                                            manufacturers automatically mark up
                                             and indirect costs must be considered.                    Figure III–4 indicates that for more                each vehicle by exactly 50 percent.
                                             To estimate total consumer costs, DOT                   than three decades, the retail price of               Rather, it means that, over time, the
                                             multiplies direct manufacturing costs by                motor vehicles has been, on average,                  competitive marketplace has resulted in
                                             an indirect cost factor to represent the                roughly 50 percent above the direct cost              pricing structures that average out to
                                             average price for fuel-saving                           expenditures of manufacturers. This                   this relationship across the entire
                                             technologies at retail.                                 ratio has been remarkably consistent,                 industry. Prices for any individual
                                                                                                     averaging roughly 1.5 with minor                      model may be marked up at a higher or
                                               Historically, the method most                         variations from year to year over this
                                             commonly used to estimate indirect                                                                            lower rate depending on market
                                                                                                     period. At no point has the RPE markup                demand. The consumer who buys a
                                             costs of producing a motor vehicle has                  exceeded 1.6 or fallen below 1.4.139
                                             been the retail price equivalent (RPE).                                                                       popular vehicle may, in effect, subsidize
                                                                                                     During this time frame, the average
                                             The RPE markup factor is based on an                                                                          the installation of a new technology in
                                                                                                     annual increase in real direct costs was
                                             examination of historical financial data                                                                      a less marketable vehicle. But, on
                                                                                                     2.5 percent, and the average annual
                                             contained in 10–K reports filed by                      increase in real indirect costs was also              average, over time and across the
                                             manufacturers with the Securities and                   2.5 percent. Figure III–4 illustrates the             vehicle fleet, the retail price paid by
                                             Exchange Commission (SEC). It                           historical relationship between retail                consumers has risen by about $1.50 for
                                             represents the ratio between the retail                 prices and direct manufacturing                       each dollar of direct costs incurred by
                                             price of motor vehicles and the direct                  costs.140                                             manufacturers.
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                                               139 Based on data from 1972–1997 and 2007. Data       and Indirect Cost Multipliers. Report by RTI          Systems Cost, Weight, and Lead Time analysis
                                             were not available for intervening years, but results   International to Office of Transportation Air         Summary Report, Contract NO. DTNH22–96–0–
                                             for 2007 seem to indicate no significant change in      Quality. U.S. Environmental Protection Agency, RTI    12003, Task Orders—001, 003, and 005.
                                             the historical trend.                                   Project Number 0211577.002.004, February,             Washington, DC, U.S. Department of
                                               140 Rogozhin, A., Gallaher, M., & McManus, W.,        Research Triangle Park, N.C. Spinney, B.C., Faigin,   Transportation.
                                                                                                                                                                                                          ER02MY22.057</GPH>




                                             2009, Automobile Industry Retail Price Equivalent       B., Bowie, N., & S. Kratzke, 1999, Advanced Air Bag



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                                                It is also important to note that direct             costs. The RPE for any given year is                  Manufacturers, also advocated these
                                             costs associated with any specific                      based on direct costs of technologies at              values as appropriate markup factors for
                                             technology will change over time as                     different stages in their learning cycles,            estimating costs of technology
                                             some combination of learning and                        and that may have different implied                   changes.142 In their 2015 report, NAS
                                             resource price changes occurs. Resource                 RPEs than they did in previous years.                 recommended 1.5 as an overall RPE
                                             costs, such as the price of steel, can                  The RPE averages 1.5 across the lifetime              markup.143 An RPE of 2.0 has also been
                                             fluctuate over time and can experience                  of technologies of all ages, with a lower             adopted by a coalition of environmental
                                             real long-term trends in either direction,              average in earlier years of a technology’s            and research groups (NESCCAF, ICCT,
                                             depending on supply and demand.                         life, and, because of learning effects on             Southwest Research Institute, and
                                             However, the normal learning process                    direct costs, a higher average in later               TIAX–LLC) in a report on reducing
                                             generally reduces direct production                     years.                                                heavy truck emissions, and 2.0 is
                                             costs as manufacturers refine                              The RPE has been used in all NHTSA
                                                                                                                                                           recommended by the U.S. Department
                                             production techniques and seek out less                 safety and most previous CAFE
                                             costly parts and materials for increasing               rulemakings to estimate costs. In 2011,               of Energy for estimating the cost of
                                             production volumes. By contrast, this                   the National Academy of Sciences                      hybrid-electric and automotive fuel cell
                                             learning process does not generally                     (NAS) recommended RPEs of 1.5 for                     costs (see Vyas et al. (2000) in Table III–
                                             influence indirect costs. The implied                   suppliers and 2.0 for in-house                        4 below). Table III–4 below also lists
                                             RPE for any given technology would                      production be used to estimate total                  other estimates of the RPE. Note that all
                                             thus be expected to grow over time as                   costs.141 Auto Innovators, formerly                   RPE estimates vary between 1.4 and 2.0,
                                             direct costs decline relative to indirect               known as the Alliance of Automobile                   with most in the 1.4 to 1.7 range.
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                                               141 Effectiveness and Impact of Corporate Average     Tamm (NHTSA), http://www.regulations.gov Docket       Technologies for Light Duty Vehicles. Washington,
                                             Fuel Economy Standards, Washington, DC—The              ID Nos. NHTSA–2018–0067; EPA–HQ–OAR–2018–             DC: The National Academies Press. https://doi.org/
                                             National Academies Press; NRC, 2011.                    0283, p .143.                                         10.17226/21744 (hereafter, ‘‘2015 NAS Report’’).
                                               142 Communication from Chris Nevers (Auto               143 National Research Council 2015. Cost,
                                                                                                                                                           (Accessed: February 16, 2022)
                                                                                                                                                                                                                ER02MY22.058</GPH>




                                             Innovators) to Christopher Lieske (EPA) and James       Effectiveness, and Deployment of Fuel Economy



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                                                The RPE has thus enjoyed widespread                  our use of the RPE to reflect these costs             and engines have been a decade or
                                             use and acceptance by a variety of                      is available in the FRIA for the 2020                 longer. If a manufacturer launches or
                                             governmental, academic, and industry                    final rule.145                                        updates a product with fuel-saving
                                             organizations.                                             The Consumer Federation of America                 technology, and then later replaces that
                                                In past rulemakings, a second type of                (CFA) noted that the inputs we use for                technology with an unrelated or
                                             indirect cost multiplier has also been                  indirect costs produce less optimistic                different fuel-saving technology before
                                             examined. Known as the ‘‘Indirect Cost                  results than those used by EPA. They                  the equipment and research and
                                             Multiplier’’ (ICM) approach, ICMs were                  cite these differing results as evidence              development investments have been
                                             first examined alongside the RPE                        that our analysis should use the EPA                  fully paid off, there will be unrecouped,
                                             approach in the 2010 rulemaking                         values. CFA states that, ‘‘EPA’s benefit              or stranded, capital costs. Quantifying
                                             regarding standards for MYs 2012–2016.                  cost ratios are much higher affirming                 stranded capital costs accounts for such
                                             Both methods have been examined in                      that their analysis is more                           lost investments.
                                             subsequent rulemakings.                                 appropriate.’’ 146 CFA provided no new                   As DOT has observed previously,
                                                Consistent with the 2020 final rule,                 data or discussion to justify a                       manufacturers may be shifting their
                                             we continue to employ the RPE                           conclusion that their preferred values                investment strategies in ways that may
                                             approach to account for indirect                        are justified empirically, and NHTSA                  alter how stranded capital could be
                                             manufacturing costs. The RPE accounts                   continues to believe that an RPE of 1.5               considered. For example, some
                                             for indirect costs like engineering, sales,             is the most justified by empirical                    suppliers sell similar transmissions to
                                             and administrative support, as well as                  evidence and research, without regard                 multiple manufacturers. Such
                                             other overhead costs, business expenses,                to the outcomes that a different RPE                  arrangements allow manufacturers to
                                             warranty costs, and return on capital                   would produce. We have provided a full                share in capital expenditures or
                                             considerations. A detailed discussion of                description of the basis for choosing the             amortize expenses more quickly.
                                             indirect cost methods and the basis for                 indirect cost values that we use in                   Manufacturers share parts on vehicles
                                                                                                     Chapter 2.6.2 of the TSD accompanying                 around the globe, achieving greater scale
                                               144 Duleep, K.G. ‘‘2008 Analysis of Technology
                                                                                                     this final rule, as well as in the FRIA               and greatly affecting tooling strategies
                                             Cost and Retail Price.’’ Presentation to Committee      accompanying the 2020 final rule. In
                                             on Assessment of Technologies for Improving Light                                                             and costs.
                                             Duty Vehicle Fuel Economy, January 25, Detroit,         addition, we note that the RPE value of                  As a proxy for stranded capital in
                                             MI.; Jack Faucett Associates, September 4, 1985.        1.5 was also used by EPA in its                       recent CAFE analyses, the CAFE Model
                                             Update of EPA’s Motor Vehicle Emission Control          regulatory impact analysis to calculate               has accounted for platform and engine
                                             Equipment Retail Price Equivalent (RPE)                 RPE-inclusive vehicle manufacturer
                                             Calculation Formula. Chevy Chase, MD—Jack
                                                                                                                                                           sharing and includes redesign and
                                             Faucett Associates; McKinsey & Company, October         costs.147                                             refresh cycles for significant and less
                                             2003. Preface to the Auto Sector Cases. New             (c) Stranded Capital Costs                            significant vehicle updates. This
                                             Horizons—Multinational Company Investment in                                                                  analysis continues to rely on the CAFE
                                             Developing Economies, San Francisco, CA.; NRC              The idea behind stranded capital is                Model’s explicit year-by-year
                                             (National Research Council), 2002. Effectiveness        that manufacturers amortize research,
                                             and Impact of Corporate Average Fuel Economy                                                                  accounting for estimated refresh and
                                             Standards, Washington, DC—The National                  development, and tooling expenses over                redesign cycles, and shared vehicle
                                             Academies Press; NRC, 2011. Assessment of Fuel          many years, especially for engines and                platforms and engines, to moderate the
                                             Economy Technologies for Light Duty Vehicles.           transmissions. The traditional                        cadence of technology adoption and
                                             Washington, DC—The National Academies Press;            production life-cycles for transmissions
                                             Cost, Effectiveness, and Deployment of Fuel                                                                   thereby limit the implied occurrence of
                                             Economy Technologies in Light Duty Vehicles.
                                                                                                       145 FRIA, The Safer Affordable Fuel-Efficient
                                                                                                                                                           stranded capital and the need to account
                                             Washington, DC—The National Academies Press,                                                                  for it explicitly. In addition, confining
                                             2015; Sierra Research, Inc., November 21, 2007,         (SAFE) Vehicles Rule for Model Year 2021–2026
                                                                                                                                                           some manufacturers to specific
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                                             Study of Industry-Average Mark-Up Factors used to       Passenger Cars and Light Trucks, USDOT, EPA,
                                             Estimate Changes in Retail Price Equivalent (RPE)       March 2020, at pp. 354–76.                            advanced technology pathways through
                                             for Automotive Fuel Economy and Emissions                 146 CFA, Docket No. NHTSA–2021–0053–1535, at
                                                                                                                                                           technology adoption features acts as a
                                             Control Systems, Sacramento, CA—Sierra Research,        p. 5.                                                 proxy to indirectly account for stranded
                                             Inc.; Vyas, A. Santini, D., & Cuenca, R. 2000.            147 FRIA, Revised 2023 and Later Model Year

                                             Comparison of Indirect Cost Multipliers for Vehicle     Light-Duty Vehicle GHG Emissions Standards:
                                                                                                                                                           capital. Adoption features specific to
                                             Manufacturing. Center for Transportation Research,      Regulatory Impact Analysis, US EPA, December          each technology, if applied on a
                                                                                                                                                                                                       ER02MY22.059</GPH>




                                             Argonne National Laboratory, April. Argonne, Ill.       2021, at pp. 4–8.                                     manufacturer-by-manufacturer basis, are


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                                             discussed in each technology section.                   by slower learning as additional                      learning curve theory to develop a
                                             The agency will monitor these trends to                 improvements are made and production                  single unit cost model, which estimates
                                             assess the role of stranded capital                     efficiency peaks. This eventually                     the cost of the nth unit produced given
                                             moving forward.                                         produces an asymptotic shape to the                   the following information is known: (1)
                                                                                                     learning curve, as small percent                      Cost to produce the first unit; (2)
                                             (d) Cost Learning
                                                                                                     decreases are applied to gradually                    cumulative production of n units; and
                                               Manufacturers make improvements to                    declining cost levels. These learning                 (3) the progress ratio.
                                             production processes over time, which                   curve estimates are applied to various                   As pictured in Figure III–5, Wright’s
                                             often result in lower costs. ‘‘Cost                     technologies that are used to meet CAFE               learning curve shows the first unit is
                                             learning’’ reflects the effect of                       standards.                                            produced at a cost of $1,000. Initially
                                             experience and volume on the cost of                       We estimate cost learning by                       cost per unit falls rapidly for each
                                             production, which generally results in                  considering methods established by T.P.               successive unit produced. However, as
                                             better utilization of resources, leading to             Wright and later expanded upon by J.R.                production continues, cost falls more
                                             higher and more efficient production.                   Crawford.148 149 Wright, examining                    gradually at a decreasing rate. For each
                                             As manufacturers gain experience                        aircraft production, found that every                 doubling of cumulative production at
                                             through production, they refine                         doubling of cumulative production of                  any level, cost per unit declines 20
                                             production techniques, raw material                     airplanes resulted in decreasing labor                percent, so that 80 percent of cost is
                                             and component sources, and assembly                     hours at a fixed percentage. This fixed               retained. The CAFE Model uses the
                                             methods to maximize efficiency and                      percentage is commonly referred to as                 basic approach by Wright, where cost
                                             reduce production costs. Typically, a                   the progress rate or progress ratio, where            reduction is estimated by applying a
                                             representation of this cost learning, or                a lower rate implies faster learning as               fixed percentage to the projected
                                             learning curves, reflects initial learning              cumulative production increases. J.R.                 cumulative production of a given fuel
                                             rates that are relatively high, followed                Crawford expanded upon Wright’s                       economy technology.




                                                The analysis accounts for learning                   learning forecasts for this analysis,                 (l) Time Versus Volume-Based Learning
                                             effects with model year-based cost                      including how the approach has
                                             learning forecasts for each technology                  evolved from the 2012 rulemaking for                    For the 2012 joint CAFE and GHG
                                             that reduces direct manufacturing costs                 MY 2017–2025 vehicles, and how the                    rulemaking, DOT developed learning
                                             over time. We evaluate the historical use               progress ratios were developed for                    curves as a function of vehicle model
                                             of technologies, and reviews industry                                                                         year.150 Although the concept of this
                                                                                                     different technologies considered in the
                                                                                                                                                           methodology is derived from Wright’s
                                             forecasts to estimate future volumes to                 analysis. Finally, we discuss how these
                                                                                                                                                           cumulative production volume-based
                                             develop the model year-based                            learning effects are applied in the CAFE
                                                                                                                                                           learning curve, its application for CAFE
                                             technology cost learning curves.                        Model.
                                                                                                                                                           technologies was more of a function of
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                                                The following section discusses the                                                                        time. More than a dozen learning curve
                                             development of model year-based cost                                                                          schedules were developed, varying
                                               148 Wright, T. P., Factors Affecting the Cost of      1936/wright1936a.pdf. (Accessed: February 16,           149 Crawford, J.R., Learning Curve, Ship Curve,

                                             Airplanes. Journal of Aeronautical Sciences, Vol. 3     2022)                                                 Ratios, Related Data, Burbank, California-Lockheed
                                             (1936), at pp. 124–25. Available at https://                                                                  Aircraft Corporation (1944).
                                                                                                                                                                                                                ER02MY22.060</GPH>




                                             www.uvm.edu/pdodds/research/papers/others/                                                                      150 77 FR 62624 (Oct. 15, 2012).




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                                             between fast and slow learning, and                     sold in the U.S. to establish a starting                EPA’s literature review examined and
                                             assigned to each technology                             point for learning schedules. Groups of               summarized 20 studies related to
                                             corresponding to its level of complexity                similar technologies or technologies of               learning in manufacturing industries
                                             and maturity. The schedules were                        similar complexity may share identical                and mobile source manufacturing.153
                                             applied to the base year of direct                      learning schedules.                                   The studies focused on many industries,
                                             manufacturing cost and incorporate a                       The slope of the learning curve,                   including motor vehicles, ships,
                                             percentage of cost reduction by model                   which determines the rate at which cost               aviation, semiconductors, and
                                             year, declining at a decreasing rate                    reductions occur, has been estimated                  environmental energy. Based on several
                                             through the technology’s production                     using research from an extensive                      criteria, EPA selected five studies
                                             life. Some newer technologies                           literature review and automotive cost                 providing quantitative analysis from the
                                             experience 20 percent cost reductions                                                                         mobile source sector (progress ratio
                                                                                                     tear-down reports (see below). The slope
                                             for introductory model years, while                                                                           estimates from each study are
                                                                                                     of the learning curve is derived from the
                                             mature or less complex technologies                                                                           summarized in Table III–5, below).
                                                                                                     progress ratio of manufacturing
                                             experience 0–3 percent cost reductions                                                                        Further, those studies expand on
                                                                                                     automotive and other mobile source
                                             over a few years.                                                                                             Wright’s learning curve function by
                                                                                                     technologies.
                                                In their 2015 report to Congress, NAS                                                                      using cumulative output as a predictor
                                             recommended NHTSA should                                (2) Deriving the Progress Ratio Used in               variable, and unit cost as the response
                                             ‘‘continue to conduct and review                        This Analysis                                         variable. As a result, EPA determined a
                                             empirical evidence for the cost                                                                               best estimate of 84 percent as the
                                             reductions that occur in the automobile                    Learning curves vary among different               progress ratio in mobile source
                                             industry with volume, especially for                    types of manufactured products.                       industries. However, of those five
                                             large-volume technologies that will be                  Progress ratios can range from 70 to 100              studies, EPA at the time placed less
                                             relied on to meet the CAFE/GHG                          percent, where 100 percent indicates no               weight on the Epple et al. (1991) study,
                                             standards.’’ 151                                        learning can be achieved.152 Learning                 because of a disruption in learning due
                                                In response, we incorporated                         effects tend to be greatest in operations             to incomplete knowledge transfer from
                                             statically projected cumulative volume                  where workers often touch the product,                the first shift to introduction of a second
                                             production data of fuel economy-                        while effects are less substantial in                 shift at a North American truck plant.
                                             improving technologies, representing an                 operations consisting of more automated               While learning may have decelerated
                                             improvement over the previously used                    processes. As automotive manufacturing                immediately after adding a second shift,
                                             time-based method. Dynamic                              plant processes become increasingly                   we note that unit costs continued to fall
                                             projections of cumulative production                    automated, a progress ratio towards the               as the organization gained experience
                                             are not feasible with current CAFE                      higher end would seem more suitable.                  operating with both shifts. We recognize
                                             Model capabilities, so one set of                       We incorporated findings from                         that disruptions are an essential part of
                                             projected cumulative production data                    automotive cost-teardown studies with                 the learning process and should not, in
                                             for most vehicle technologies was                       EPA’s 2015 literature review of learning-             and of themselves, be discredited. For
                                             developed for the purpose of                            related studies to estimate a progress                this reason, the analysis uses a re-
                                             determining cost impact. We obtained                    ratio used to determine learning                      estimated average progress ratio of 85
                                             historical cumulative production data                   schedules of fuel economy-improving                   percent from those five studies (equally
                                             for many technologies produced and/or                   technologies.                                         weighted).




                                               151 2015 NAS Report.                                  files/2016-11/documents/420r16018.pdf. (Accessed:     Investigating Intra-Plant Transfer of Knowledge
                                               152 Martin, J., ‘‘What is a Learning Curve?’’         February 16, 2022)                                    Acquired through Learning by Doing, Organization
                                                                                                        154 Argote, L., Epple, D., Rao, R. D., & Murphy,
                                             Management and Accounting Web, University of                                                                  Science, Vol. 2(1), at 58–70 (1991).
                                             South Florida, available at: https://www.maaw.info/     K., The acquisition and depreciation of knowledge        157 Epple, D., Argote, L., & Murphy, K., An
                                                                                                     in a manufacturing organization—Turnover and
                                             LearningCurveSummary.htm. (Accessed: February                                                                 Empirical Investigation of the Microstructure of
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                                                                                                     plant productivity, Working paper, Graduate School
                                             16, 2022)                                               of Industrial Administration, Carnegie Mellon         Knowledge Acquisition and Transfer through
                                               153 Cost Reduction through Learning in
                                                                                                     University (1997).                                    Learning by Doing, Operations Research, Vol. 44(1),
                                             Manufacturing Industries and in the Manufacture of         155 Benkard, C. L., Learning and Forgetting—The    at 77–86 (1996).
                                             Mobile Sources, U.S. Environmental Protection           Dynamics of Aircraft Production, The American            158 Levitt, S. D., List, J. A., & Syverson, C., Toward

                                             Agency (2015). Prepared by ICF International and        Economic Review, Vol. 90(4), at 1034–54 (2000).       an Understanding of Learning by Doing—Evidence
                                             available at https://                                      156 Epple, D., Argote, L., & Devadas, R.,          from an Automobile Assembly Plant, Journal of
                                                                                                                                                                                                                       ER02MY22.061</GPH>




                                             19january2017snapshot.epa.gov/sites/production/         Organizational Learning Curves—A Method for           Political Economy, Vol. 121 (4), at 643–81 (2013).



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                                               In addition to EPA’s literature review,               samples of vehicles, to estimate how                  Vehicle Safety Standards for MY 1968–
                                             this progress ratio estimate was                        much specific FMVSS add to the weight                 2012 passenger cars and LTVs (2017).159
                                             informed based on findings from                         and retail price of a vehicle. As part of               We chose five vehicle safety
                                             automotive cost-teardown studies.                       the effort, the agency examines cost and              technologies with sufficient data to
                                             NHTSA routinely performs evaluations                    production volume for automotive                      estimate progress ratios of each, because
                                             of costs of previously issued Federal                   safety technologies. In particular, we                these technologies are large-volume
                                             Motor Vehicle Safety Standards                          estimated costs from multiple cost tear-              technologies and are used by almost all
                                             (FMVSS) for new motor vehicles and                      down studies for technologies with                    vehicle manufacturers. Table III–6
                                             equipment. NHTSA engages contractors                    actual production data from the Cost                  includes these five technologies and
                                             to perform detailed engineering ‘‘tear-                 and weight added by the Federal Motor                 yields an average progress rate of 92
                                             down’’ analyses for representative                                                                            percent.




                                                For the final progress ratio used in the             ratio for all automotive technologies, we             carefully examined direct costs with
                                             CAFE Model, the five progress rates                     can solve for an implied cost for the first           learning, and made adjustments to the
                                             from EPA’s literature review and five                   unit produced. For some technologies,                 starting point for those technologies on
                                             progress rates from NHTSA’s evaluation                  we used modestly different progress                   the learning curve to better align with
                                             of automotive safety technologies results               ratios to match detailed cost projections             the assumptions used for the initial
                                             were averaged. This resulted in an                      if available from another source (for                 direct cost estimate.
                                             average progress rate of approximately                  instance, batteries for plug-in hybrids               (4) Cost Learning Applied in the CAFE
                                             89 percent. We placed equal weight on                   and battery electric vehicles).                       Model
                                             progress ratios from all 10 sources. More                  This approach produces reasonable
                                             specifically, we placed equal weight on                                                                          For this analysis, we apply learning
                                                                                                     estimates for technologies already in                 effects to the incremental cost over the
                                             the Epple et al. (1991) study, because                  production, and some additional steps
                                             disruptions have more recently been                                                                           null technology state on the applicable
                                                                                                     are required to set appropriate learning              technology tree. After this step, we
                                             recognized as an essential part in the                  rates for technologies not yet in
                                             learning process, especially in an effort                                                                     calculate year-by-year incremental costs
                                                                                                     production. Specifically, for                         over preceding technologies on the tech
                                             to increase the rate of output.                         technologies not yet in production in                 tree to create the CAFE Model inputs.160
                                             (3) Obtaining Appropriate Baseline                      MY 2017, the cumulative production                    The shift from incremental cost
                                             Years for Direct Manufacturing Costs                    volume in MY 2017 is zero, because                    accounting to absolute cost accounting
                                                                                                     manufacturers have not yet produced                   in recent CAFE analyses made cost
                                                DOT obtained direct manufacturing                    the technologies. For pre-production                  inputs more transparently relatable to
                                             costs for each fuel economy-improving                   cost estimates in previous CAFE                       detailed model output, and relevant to
                                             technology from various sources, as                     rulemakings, we often relied on                       this discussion, made it easier to apply
                                             discussed above. To establish a                         confidential business information                     learning curves in the course of
                                             consistent basis for direct                             sources to predict future costs. Many                 developing inputs to the CAFE Model.
                                             manufacturing costs in the rulemaking                   sources for pre-production cost                          We group certain technologies, such
                                             analysis, we adjusted each technology                   estimates include significant learning                as advanced engines, advanced
                                             cost to MY 2018 dollars. For each                       effects, often providing cost estimates               transmissions, and non-battery electric
                                             technology, the DMC is associated with                  assuming high volume production, and                  components and assign them to the
                                             a specific model year, and sometimes a                  often for a timeframe late in the first               same learning schedule. While these
                                             specific production volume, or                          production generation or early in the                 grouped technologies differ in operating
                                             cumulative production volume. The                       second generation of the technology.                  characteristics and design, we chose to
                                             base model year is established as the                   Rapid doubling and re-doubling of a low               group them based on their complexity,
                                             model year in which direct                              cumulative volume base with Wright’s                  technology integration, and economies
                                             manufacturing costs were assessed (with                 learning curves can provide unrealistic               of scale across manufacturers. The low
                                             learning factor of 1.00). With the                      cost estimates. In addition, direct                   volume of certain advanced
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                                             aforementioned data on cumulative                       manufacturing cost projections can vary               technologies, such as hybrid and
                                             production volume for each technology                   depending on the initial production                   electric technologies, poses a significant
                                             and the assumption of a 0.89 progress                   volume assumed. Accordingly, we                       issue for suppliers and prevents them
                                               159 Simons, J. F., Cost and weight added by the       DOT HS 812 354). Washington, DC—National                160 These costs are located in the CAFE Model

                                             Federal Motor Vehicle Safety Standards for MY           Highway Traffic Safety Administration (November       Technologies file.
                                                                                                                                                                                                             ER02MY22.062</GPH>




                                             1968–2012 Passenger Cars and LTVs (Report No.           2017), at pp. 30–33.



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                                             from producing components needed for                    economy-improving technologies                        for many years), we estimate that
                                             advanced transmissions and other                        considered in this rule will approach a               significant opportunities to reduce the
                                             technologies at more efficient high scale               flat learning level by the early 2030s.               cost of the greatest levels of mass
                                             production. The technology groupings                    Specifically, older, and less complex                 reduction (e.g., MR5) remain, and even
                                             consider market availability, complexity                internal combustion engine technologies               greater opportunities remain to reduce
                                             of technology integration, and                          and transmissions will reach a flat                   the cost of batteries for HEVs, PHEVs,
                                             production volume of the technologies                   learning curve sooner when compared                   BEVs. In fact, for certain advanced
                                             that can be implemented by                              to electrification technologies, which                technologies, we determined that the
                                             manufacturers and suppliers. The                        have more opportunity for                             results predicted by the standard
                                             details of these technologies are                       improvement. For batteries and non-                   learning curves progress ratio was not
                                             discussed in Section III.D.                             battery electrification components, we                realistic, based on unusual market price
                                                In addition, we expanded model                       estimated a steeper learning curve that               and production relationships. For these
                                             inputs to extend the explicit simulation                will gradually flatten after MY 2040. For
                                             of technology application through MY                                                                          technologies, we developed specific
                                                                                                     a more detailed discussion of the
                                             2050. Accordingly, we updated the                                                                             learning estimates that may diverge
                                                                                                     electrification learning curves, see
                                             learning curves for each technology                     Section III.D.3.                                      from the 0.89 progress rate. As shown in
                                             group to cover MYs through 2050. For                       Each technology in the CAFE Model                  Figure III–6, these technologies include:
                                             MYs 2017–2032, we expect incremental                    is assigned a learning schedule                       Turbocharging and downsizing level 1
                                             improvements in all technologies,                       developed from the methodology                        (TURBO1), variable turbo geometry
                                             particularly in electrification                         explained previously. For example, the                electric (VTGE), aerodynamic drag
                                             technologies because of increased                       following chart shows learning rates for              reduction by 15 percent (AERO15), mass
                                             production volumes, labor efficiency,                   several technologies applicable to                    reduction level 5 (MR5), 20 percent
                                             improved manufacturing methods,                         midsize sedans, demonstrating that                    improvement in low-rolling resistance
                                             specialization, network building, and                   while we estimate that such learning                  tire technology (ROLL20) over the
                                             other factors. While these and other                    effects have already been almost entirely             baseline, and belt integrated starter/
                                             factors contribute to continual cost                    realized for engine turbocharging (a                  generator (BISG).
                                             learning, we believe that many fuel                     technology that has been in production                BILLING CODE 4910–59–P
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                                                                                                                                                                                                       ER02MY22.063</GPH>




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                                             BILLING CODE 4910–59–C                                   manufacturer to earn ‘‘credits’’ that will            exist as part of the program and, while
                                                CFA noted that the inputs we use for                  be counted toward a vehicle’s rated CO2               not considered by NHTSA in setting
                                             learning rates produce less optimistic                   emissions level, or toward a fleet’s rated            standards, are nevertheless important to
                                             results than those used by EPA. They                     average CO2 or CAFE level, without                    consider when attempting to estimate
                                             cite these differing results as evidence                 reference to required levels for these                the real impact of any alternative. Under
                                             that NHTSA should use the EPA values.                    average levels of performance. Such                   the ‘‘unconstrained’’ perspective, credits
                                             CFA states that, ‘‘EPA’s benefit cost                    flexibilities effectively modify emissions            may be earned, transferred, and applied
                                             ratios are much higher affirming that                    and fuel economy test procedures or                   to deficits in the CAFE program
                                             their analysis is more appropriate.’’ 161                methods for calculating fleets’ CAFE                  throughout the full range of model years
                                             CFA provided no new data or                              and average CO2 levels. Other                         in the analysis. The Final SEIS
                                             discussion to justify a conclusion that                  provisions (for CAFE, statutory                       accompanying this rule presents
                                             their preferred values are justified                     provisions) allow manufacturers to earn               ‘‘unconstrained’’ modeling results. Also,
                                             empirically, and NHTSA continues to                      credits by achieving CAFE or average                  consistent with the program EPA
                                             believe that the appropriate values to                   CO2 levels beyond required levels; these              established under the CAA, this analysis
                                             use in estimating the impacts of CAFE                    provisions may hence more                             includes simulation of carried-forward
                                             standards are those most justified by                    appropriately be termed ‘‘compliance                  and transferred CO2 credits in all model
                                             empirical evidence and research,                         credits.’’ We described in the 2020 final             years.
                                             consistent with E.O. 12866, without                      rule how the CAFE Model simulates                        The CAFE Model, therefore, does
                                             reference to the outcomes they produce.                  these compliance credit provisions for                provide means to simulate
                                             We have provided a full description of                   both the CAFE program and for EPA’s                   manufacturers’ potential application of
                                             the basis for choosing the learning                      CO2 standards.163 For this analysis, we               some compliance credits, and both the
                                             values that we use in Chapter 2.6.4 of                   modeled the No-Action and Action                      analysis of CO2 standards and the NEPA
                                             the TSD accompanying this final rule, as                 Alternatives as a set of CAFE standards               analysis of CAFE standards do make use
                                             well as in the FRIA accompanying the                     in place simultaneously with EPA’s                    of this aspect of the model. On the other
                                             2020 final rule.                                         2020 final rule CO2 standards,164 related             hand, 49 U.S.C. 32902(h) prevents
                                                                                                      CARB agreements with five                             NHTSA from, in its standard setting
                                             (e) Cost Accounting
                                                                                                      manufacturers, and ZEV mandates in                    analysis, considering the potential that
                                                To facilitate specification of detailed                                                                     manufacturers could use compliance
                                                                                                      place in California and some other
                                             model inputs and review of detailed                                                                            credits in model years for which the
                                                                                                      states. The modeling of CO2 standards
                                             model outputs, the CAFE Model                                                                                  agency is establishing maximum
                                                                                                      and standard-like contractual
                                             continues to use absolute cost inputs                                                                          feasible CAFE standards. Further, as
                                                                                                      obligations includes our representation
                                             relative to a known base component                                                                             discussed below, we also continue to
                                                                                                      of applicable credit provisions.
                                             cost, such that the estimated cost of                                                                          find it appropriate for the analysis
                                                                                                         EPCA has long provided that, by
                                             each technology is specified relative to                                                                       largely to refrain from simulating two of
                                                                                                      exceeding the CAFE standard applicable
                                             a common reference point for the                                                                               the mechanisms allowing the use of
                                                                                                      to a given fleet in a given model year,
                                             relevant technology pathway. For                                                                               compliance credits.
                                                                                                      a manufacturer may earn corresponding
                                             example, the cost of a 7-speed                                                                                    The CAFE Model’s approach to
                                                                                                      ‘‘credits’’ that the same manufacturer
                                             transmission is specified relative to a 5-                                                                     simulating compliance decisions
                                                                                                      may, within the same regulatory class,
                                             speed transmission, as is the cost of                                                                          accounts for the potential to earn and
                                                                                                      apply toward compliance in a different
                                             every other transmission technology.                                                                           use CAFE credits as provided by EPCA/
                                                                                                      model year. EISA amended these
                                             Conversely, in some earlier versions of                                                                        EISA. The model similarly accumulates
                                                                                                      provisions by providing that
                                             the CAFE Model, incremental cost                                                                               and applies CO2 credits when
                                                                                                      manufacturers may, subject to specific
                                             inputs were estimated relative to the                                                                          simulating compliance with EPA’s
                                                                                                      statutory limitations, transfer
                                             technology immediately preceding on                                                                            standards. Like past versions, the
                                                                                                      compliance credits between regulatory
                                             the relevant technology pathway. For                                                                           current CAFE Model can simulate credit
                                                                                                      classes and trade compliance credits
                                             our 7-speed transmission example, the                                                                          carry-forward (i.e., banking) between
                                                                                                      with other manufacturers. Under the
                                             incremental cost would be relative to a                                                                        model years and transfers between the
                                                                                                      CAA, EPA has broad standard-setting                   passenger car and light truck fleets but
                                             6-speed transmission. This change in
                                                                                                      authority and has long provided for                   not credit carry-back (i.e., borrowing)
                                             the structure of cost inputs does not, by
                                                                                                      averaging, banking, and trading                       from future model years or trading
                                             itself, change model results, but it does
                                                                                                      programs in certain circumstances, and                between manufacturers.
                                             make the connection between these
                                                                                                      in particular for GHGs.                                  While NHTSA’s ‘‘unconstrained’’
                                             inputs and corresponding outputs more                       EPCA also specifies that NHTSA may
                                             transparent. The CAFE Model                                                                                    evaluation can consider the potential to
                                                                                                      not consider the availability of CAFE                 carry back compliance credits from later
                                             Documentation accompanying our                           credits (for transfer, trade, or direct
                                             analysis presents details of the structure                                                                     to earlier model years, past examples of
                                                                                                      application) toward compliance with                   failed attempts to carry back CAFE
                                             for model cost inputs.162 The individual                 new standards when establishing the
                                             technology sections in Section III.D                                                                           credits (e.g., a MY 2014 carry back
                                                                                                      standards themselves.165 Therefore, this              default leading to a civil penalty
                                             provide a detailed discussion of cost                    analysis excludes MYs 2024–2026 from
                                             accounting for each technology.                                                                                payment) underscore the riskiness of
                                                                                                      those in which carried-forward or                     such ‘‘borrowing.’’ Recent evidence
                                             7. Manufacturer’s Credit Compliance                      transferred credits can be applied for the            indicates manufacturers are disinclined
                                             Positions                                                CAFE program.                                         to take such risks, and we find it
                                                                                                         The ‘‘unconstrained’’ perspective                  reasonable and prudent to refrain from
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                                                This rule involves a variety of
                                                                                                      acknowledges that these flexibilities                 attempting to simulate such
                                             provisions regarding ‘‘credits’’ and other
                                             compliance flexibilities. Some                             163 See 85 FR 24174, 24303 (April 30, 2020).
                                                                                                                                                            ‘‘borrowing’’ in rulemaking analysis.
                                             regulatory provisions allow a                              164 The baseline for this analysis is the set of
                                                                                                                                                               Like the previous version, the current
                                                                                                      standards in place when NHTSA initiated this          CAFE Model provides a basis to specify
                                               161 CFA, at p. 5.                                      rulemaking.                                           (in model inputs) CAFE credits
                                               162 CAFE Model Documentation, S4.7.                      165 49 U.S.C. 32902(h)(3).                          available from model years earlier than


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                                             those being explicitly simulated. For                   but also on manufacturer B being                      the time of application rather than at the
                                             example, with this analysis representing                willing to trade with manufacturer A,                 time the credits are traded. This means
                                             MYs 2020–2050 explicitly, credits                       and on potential interest by other                    that a manufacturer who has acquired
                                             earned in the MY 2015 are made                          manufacturers. Manufacturers’                         credits through trade, but has not yet
                                             available for use through the MY 2020                   compliance plans have already                         applied them, may show a credit
                                             (given the current five-year limit on                   evidenced cases of compliance credit                  balance that is either considerably
                                             carry-forward of credits). The banked                   trades that were planned and                          higher or lower than the real value of
                                             credits are specific to both the model                  subsequently aborted, reinforcing our                 the credits when they are applied. For
                                             year and fleet in which they were                       judgment that, like credit borrowing,                 example, a manufacturer that buys 40
                                             earned.                                                 credit trading involves too much risk to              million credits from Tesla may show a
                                                To increase the realism with which                   be included in an analysis that informs               credit balance in excess of 40 million.
                                             the model transitions between the early                 decisions about the stringency of future              However, when those credits are
                                             model years (MYs 2020–2023) and the                     standards. NHTSA will continue to                     applied, they may be worth only 1⁄10 as
                                             later years that are the subject of this                carefully monitor manufacturers’                      much—making that manufacturer’s true
                                             action, we have accounted for the                       practices regarding use of credit trading             credit balance closer to 4 million than
                                             potential that some manufacturers might                 and other flexibilities to ensure that                40 million (e.g., when another
                                             trade credits earned prior to 2020 to                   future analyses appropriately account                 manufacturer uses credits acquired from
                                             other manufacturers. However, the                       for realistic market conditions and                   Tesla, the manufacturer may only be
                                             analysis refrains from simulating the                   statutory requirements as applicable.                 able to offset a 1 mpg compliance
                                             potential that manufacturers might                         As discussed in the CAFE Model                     shortfall, even though the credits’ ‘‘face
                                             continue to trade credits during and                    Documentation, the model’s default                    value’’ suggests the manufacturer could
                                             beyond the model years covered by this                  logic attempts to maximize credit carry-              offset a 10-mpg compliance shortfall).
                                             action. In 2018 and 2020, the analysis                  forward—that is, to ‘‘hold on’’ to credits               Specific inputs accounting for
                                             included idealized cases simulating                     for as long as possible. If a manufacturer            manufacturers’ accumulated compliance
                                             ‘‘perfect’’ (i.e., wholly unrestricted)                 needs to cover a shortfall that occurs                credits are discussed in TSD Chapter 2.
                                             trading of CO2 compliance credits by                    when insufficient opportunities exist to
                                             treating all vehicles as being produced                                                                          In addition to the inclusion of these
                                                                                                     add technology to achieve compliance                  existing credit banks, the CAFE Model
                                             by a single manufacturer. Even for CO2                  with a standard, the model will apply
                                             compliance credit trading, these                                                                              also updated its treatment of credits in
                                                                                                     credits. Otherwise, the manufacturer                  the rulemaking analysis. EPCA requires
                                             scenarios were not plausible, because it                carries forward credits until they are
                                             is exceedingly unlikely that some pairs                                                                       that NHTSA set CAFE standards at
                                                                                                     about to expire, at which point it will               maximum feasible levels for each model
                                             of manufacturers would trade                            use them before adding technology that
                                             compliance credits. NHTSA did not                                                                             year without consideration of the
                                                                                                     is not considered cost-effective. The                 program’s credit mechanisms. However,
                                             include such cases for CAFE                             model attempts to use credits that will
                                             compliance credits, because EPCA                                                                              as recent CAFE rulemakings have
                                                                                                     expire within the next three years as a               evaluated the effects of standards over
                                             provisions (such as the minimum                         means to smooth out technology
                                             domestic passenger car standard                                                                               longer time periods, the early actions
                                                                                                     applications over time to avoid both                  taken by manufacturers required more
                                             requirement) make such scenarios                        compliance shortfalls and high levels of
                                             impossible. At this time, we remain                                                                           nuanced representation. Accordingly,
                                                                                                     over-compliance that can result in a                  the CAFE Model now provides means to
                                             concerned that any realistic simulation
                                                                                                     surplus of credits. Although it remains               exclude the simulated application of
                                             of such trading would require
                                                                                                     impossible precisely to predict the                   CAFE compliance credits only from
                                             assumptions regarding which specific
                                                                                                     manufacturer’s actual earning and use of              specific model years for which
                                             pairs of manufacturers might trade
                                                                                                     compliance credits, and this aspect of                standards are being set (for this analysis,
                                             compliance credits, and the evidence to
                                                                                                     the model may benefit from future                     2024–2026), while allowing CAFE
                                             date makes it clear that the credit
                                                                                                     refinement as manufacturers and                       credits to be applied in other model
                                             market is far from fully ‘‘open.’’ 166
                                                                                                     regulators continue to gain experience                years.
                                                We also remain concerned that to set
                                                                                                     with these provisions, this approach is
                                             standards based on an analysis that                                                                              In addition to more rigorous
                                                                                                     generally consistent with
                                             presumes the use of program                                                                                   accounting of CAFE and CO2
                                                                                                     manufacturers’ observed practices.
                                             flexibilities risks making the                                                                                compliance credits, the model also
                                                                                                        NHTSA introduced the CAFE Public
                                             corresponding actions mandatory. Some                                                                         accounts for air conditioning efficiency
                                                                                                     Information Center (PIC) to provide
                                             flexibilities—credit carry-forward                                                                            and off-cycle adjustments. NHTSA’s
                                                                                                     public access to a range of information
                                             (banking) and transfers between fleets in                                                                     program considers those adjustments in
                                                                                                     regarding the CAFE program,167
                                             particular—involve little risk because                                                                        a manufacturer’s compliance calculation
                                             they are internal to a manufacturer and                 including manufacturers’ credit
                                                                                                                                                           starting in MY 2017, and specific
                                             known in advance. As discussed above,                   balances. However, there is a data lag in
                                                                                                                                                           estimates of each manufacturer’s
                                             credit carry-back involves significant                  the information presented on the CAFE
                                                                                                                                                           reliance on these adjustments are
                                             risk because it amounts to borrowing                    PIC that may not capture credit actions
                                                                                                                                                           discussed above in Section III.C.2.a).
                                             against future improvements, standards,                 across the industry for as much as
                                                                                                                                                           Because air conditioning efficiency and
                                             and production volume and mix.                          several months. Furthermore, CAFE
                                                                                                                                                           off-cycle adjustments are not credits in
                                             Similarly, credit trading may also                      credits that are traded between
                                                                                                                                                           NHTSA’s program, but rather
                                             involve significant risk, because the                   manufacturers are adjusted to preserve
                                                                                                                                                           adjustments to compliance fuel
                                                                                                     the gallons saved that each credit
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                                             ability of manufacturer A to acquire                                                                          economy, they may be included under
                                             credits from manufacturer B depends                     represents.168 The adjustment occurs at
                                                                                                                                                           either a ‘‘standard setting’’ or
                                             not just on manufacturer B actually                       167 CAFE Public Information Center, https://        ‘‘unconstrained’’ analysis perspective.
                                             earning the expected amount of credit,                  one.nhtsa.gov/cafe_pic/home (accessed: March 6,
                                                                                                     2022).                                                gram/mile compliance credits and require no
                                               166 See, Automotive Innovators, NHTSA–2021–             168 CO credits for EPA’s program are                adjustment when traded between manufacturers or
                                                                                                             2
                                             0053–1492, at p. 73.                                    denominated in metric tons of CO2 rather than         fleets.



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                                                The manner in which the CAFE                         AFVs that could be produced in                        cost assumptions used in successive
                                             Model treats the EPA and CAFE AC                        response to CAFE standards outside the                CAFE Model analyses. We discussed
                                             efficiency and off-cycle credit programs                model years for which standards are                   developing guiding principles to ensure
                                             is similar, but the model also accounts                 being set, or for other reasons (e.g., ZEV            the CAFE Model reasonably simulates
                                             for AC leakage (which is not part of                    mandates, as accounted for in this                    manufacturers’ possible real-world
                                             NHTSA’s program). When determining                      analysis).                                            compliance behavior. These guiding
                                             the compliance status of a                                EPCA also provides that CAFE levels                 principles are as follows:
                                             manufacturer’s fleet (in the case of                    may, subject to limitations, be adjusted                 The fuel economy improvement from
                                             EPA’s program, PC and LT are the only                   upward to reflect the sale of flexible fuel           any individual technology must be
                                             fleet distinctions), the CAFE Model                     vehicles (FFVs). Because these                        considered in conjunction with any
                                             weighs future compliance actions                        adjustments ended in MY 2020, this                    other fuel-economy-improving
                                             against the presence of existing (and                   analysis assumes no manufacturer will                 technologies applied to the vehicle.
                                             expiring) CO2 credits resulting from                    earn FFV credits within the modeling                  Certain technologies will have
                                             over-compliance with earlier years’                     horizon.                                              complementary or non-complementary
                                             standards, AC efficiency credits, AC                      In contrast, the CAA allows                         interactions with the full vehicle
                                             leakage credits, and off-cycle credits.                 consideration of alternative fuels, and               technology system. For example, there
                                                The model currently accounts for any                 EPA has provided that manufacturers                   is an obvious fuel economy benefit that
                                             off-cycle adjustments associated with                   selling PHEVs, BEVs, and FCVs may,                    results from converting a vehicle with a
                                             technologies that are included in the set               when calculating fleet average CO2                    traditional internal combustion engine
                                             of fuel-saving technologies simulated                   levels, ‘‘count’’ each unit of production             to a battery electric vehicle; however,
                                             explicitly (for example, start-stop                     as more than a single unit. The CAFE                  the benefit of the electrification
                                             systems that reduce fuel consumption                    Model accounts for these ‘‘multipliers.’’             technology depends on the other road
                                             during idle or active grille shutters that                There were no natural gas vehicles in               load reducing technologies (i.e., mass
                                             improve aerodynamic drag at highway                     the baseline fleet, and the analysis did              reduction, aerodynamic, and rolling
                                             speeds) and accumulates these                           not apply natural gas technology due to               resistance) on the vehicle.
                                                                                                     cost effectiveness. The application of                   Technologies added in combination to
                                             adjustments up to levels defined in the
                                                                                                     production multipliers for natural gas                a vehicle will not result in a simply
                                             Market Data file. As discussed further in
                                                                                                     vehicles for MY 2022 would have no                    additive fuel economy improvement
                                             Section III.D.8, this analysis considers
                                                                                                     impact on the analysis because given                  from each individual technology. As
                                             that some manufacturers may apply up
                                                                                                     the state of natural gas vehicle refueling            discussed in Section III.C.4, full vehicle
                                             to 15.0 g/mi of off-cycle credit by MY
                                                                                                     infrastructure, the cost to equip vehicles            modeling and simulation provides the
                                             2032. We considered the potential to
                                                                                                     with natural gas tanks, the outlook for               required degree of accuracy to project
                                             model the application of off-cycle
                                                                                                     petroleum prices, and the outlook for                 how different technologies will interact
                                             technologies explicitly. However, doing
                                                                                                     battery prices, we have little basis to               in the vehicle system. For example, as
                                             so would require data regarding which
                                                                                                     project more than an inconsequential                  discussed further in Sections III.D.1 and
                                             vehicle models already possess these
                                                                                                     response to this incentive in the                     III.D.3, a parallel hybrid architecture
                                             improvements as well as the cost and
                                                                                                     foreseeable future.                                   powertrain improves fuel economy, in
                                             expected value of applying them to
                                                                                                                                                           part, by allowing the internal
                                             other models in the future. Such data                   D. Technology Pathways, Effectiveness,
                                                                                                                                                           combustion engine to spend more time
                                             are currently too limited to support                    and Cost
                                                                                                                                                           operating at efficient engine speed and
                                             explicit modeling of these technologies                   Vehicle manufacturers meet                          load conditions. This reduces the
                                             and adjustments.                                        increasingly stringent fuel economy                   advantage of adding advanced internal
                                                When establishing maximum feasible                   standards by applying additional fuel-                combustion engine technologies, which
                                             fuel economy standards, NHTSA is                        economy-improving technologies to                     also improve fuel economy, by
                                             prohibited from considering the                         their vehicles. To assess what increases              broadening the range of speed and load
                                             availability of alternatively fueled                    in fuel economy standards could be                    conditions for the engine to operate at
                                             vehicles,169 and credit provisions                      achievable at what cost, we first need                high efficiency. This redundancy in fuel
                                             related to AFVs that significantly                      accurate characterizations of fuel-                   savings mechanism results in a reduced
                                             increase their fuel economy for CAFE                    economy-improving technologies. We                    effectiveness improvement when the
                                             compliance purposes. Under the                          collected data on over 50 fuel-economy-               technologies are added to each other.
                                             ‘‘standard setting’’ perspective, these                 improving technologies that                              The effectiveness of a technology
                                             technologies (pure battery electric                     manufacturers could apply to their                    depends on the type of vehicle the
                                             vehicles and fuel cell vehicles 170) are                vehicles to meet future stringency                    technology is being applied to. For
                                             not available in the compliance                         levels. This includes determining                     example, applying mass reduction
                                             simulation to improve fuel economy.                     technology effectiveness values,                      technology results in varying
                                             Under the ‘‘unconstrained’’ perspective,                technology costs, and how we                          effectiveness as the absolute mass
                                             such as is documented in the Final                      realistically expect manufacturers could              reduced is a function of the starting
                                             SEIS, the CAFE Model considers these                    apply the technologies in the                         vehicle mass, which varies across
                                             technologies in the same manner as                      rulemaking timeframe. The                             vehicle technology classes. See Section
                                             other available technologies and may                    characterizations of these fuel-economy-              III.D.4 for more details.
                                             apply them if they represent cost-                      improving technologies are built on                      The cost and effectiveness values for
                                             effective compliance pathways.                          work performed by DOT, EPA, NAS,                      each technology should be reasonably
                                             However, under both perspectives, the                   and other Federal and state government                representative of what can be achieved
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                                             analysis continues to include dedicated                 agencies including the Department of                  across the entire industry. Each
                                                                                                     Energy’s Argonne National Laboratory                  technology model employed in the
                                               169 49 U.S.C. 32902(h).
                                               170 Dedicated compressed natural gas (CNG)
                                                                                                     and the California Air Resources Board.               analysis is designed to be representative
                                             vehicles should also be excluded in this perspective
                                                                                                       In the NPRM we described spending                   of a wide range of specific technology
                                             but are not considered as a compliance strategy         approximately a decade refining the                   applications used in industry. Some
                                             under any perspective in this analysis.                 technology pathways, effectiveness, and               vehicle manufacturer’s systems may


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                                             perform better and cost less than our                   technologies will wane with a point in                improvements in those vehicles for
                                             modeled systems and some may                            the next several years where there will               years to come; however, we also
                                             perform worse and cost more. However,                   be no new combustion engine families                  acknowledge that many manufacturers
                                             employing this approach will ensure                     developed for the Group. Volkswagen                   have announced significant shifts in
                                             that, on balance, the analysis captures a               recognizes that remaining combustion                  product line-up, moving toward
                                             reasonable level of costs and benefits                  models will continue to be sold in high               electrification technologies and likely
                                             that would result from any                              volume for the next several years and                 slowing the rate of new ICE technology
                                             manufacturer applying the technology.                   that it is important to preserve the fuel             introduction.178 That said, we agree
                                                The baseline for cost and effectiveness              economy of remaining ICEs as                          with comments urging us to staying
                                             values must be identified before                        electrification volumes increase. As                  abreast of the feasibility of advanced
                                             assuming that a cost or effectiveness                   noted earlier, Volkswagen’s remaining                 engine and other powertrain
                                             value could be employed for any                         ICE engines will [sic]primary focus on                technologies. For this analysis we
                                             individual technology. For example, as                  evolutions of existing downsized,                     evaluated over 50 different technologies
                                             discussed further in Section III.D.1.d)                 charged engines to incorporate                        for effectiveness and cost and continue
                                             below, this analysis uses a set of engine               incremental hardware and software                     to research the feasibility of additional
                                             map models that were developed by                       improvements.’’ 173 Toyota Motor North                technology models. However, we also
                                             starting with a small number of baseline                America, Inc. (Toyota) also commented                 agree with comments regarding
                                             engine configurations, and then, in a                   that ‘‘data has consistently documented               constraining some advanced technology
                                             very systematic and controlled process,                 that even advanced ICE-only                           options as an acknowledgment of the
                                             adding specific well-defined                            powertrains will fall short of the                    realities of limited investment
                                             technologies to create a new map for                    proposed standards and that while                     resources. Accordingly, we expect an
                                             each unique technology combination.                     future advancements are possible, a                   actual pathway to compliance in the
                                                Historically, we have received                       point of diminishing returns is in part               rulemaking timeframe to fall somewhere
                                             comments concerned with specific                        driving the transition to electrified
                                             technology assumptions, such as                                                                               between the extremes suggested by the
                                                                                                     powertrains, including conventional                   commenters above. This expectation is
                                             technology effectiveness or cost, or how                hybrids.’’ 174
                                             we applied adoption features. In                                                                              discussed further in the results/legal
                                                                                                        In contrast, Union of Concerned                    justification section 179 and in the
                                             response to this proposal, however,                     Scientists (UCS) acknowledged that
                                             commenters instead focused on broader                                                                         engine technology section.180
                                                                                                     ‘‘given automaker investments and
                                             portions of our modeling approach.                      future product plans, it is likely that                 As a result, we believe the range of
                                             Specifically, we received comments                      manufacturers’ compliance strategies                  technologies modeled on the advanced
                                             about the range of technologies                         will include increased electrification.               engine technologies and hybrid/electric
                                             considered on the advanced engine                       However, there are significant                        pathways appropriately represent the
                                             technology pathway and hybrid/electric                  opportunities for improvements to                     range of technologies that will be
                                             pathway, considering the potential                      internal combustion engine vehicles as                available in the rulemaking time frame.
                                             future of light duty vehicle fuel                       well.’’ 175 Similarly, ICCT provided                  The technologies in our analysis are
                                             economy and greenhouse gas emissions                    examples of vehicle technologies that
                                             regulations. We did still receive some                  can ‘‘boost ICE efficiency well beyond                   178 ‘‘Mercedes-Benz Prepares to Go All-Electric,’’

                                             comments regarding specific technology                  even HCR2 efficiency levels,’’ including              Mercedes-Benz Media Newsroom USA (Jul. 22,
                                             values, but fewer than previous rules.171                                                                     2021), https://media.mbusa.com/releases/release-
                                                                                                     technologies that are not modeled in the              ee5a810c1007117e79e1c871354679e4-mercedes-
                                                Vehicle manufacturers emphasized                     analysis like negative valve overlap                  benz-prepares-to-go-all-electric (accessed: February
                                             the diminishing returns to investing in                 (NVO) fuel reforming, passive                         16, 2022). ‘‘Investments into combustion engines
                                             advanced internal combustion engine                     prechamber engines, and high energy                   and plug-in hybrid technologies will drop by 80%
                                             technologies, and a current trend of                                                                          between 2019 and 2026.’’; Hannah Lutz, ‘‘Shifting
                                                                                                     ignition systems.176 Borg Warner also                 into E,’’ Automotive News (Jul. 26, 2021). ‘‘Some
                                             shifting resources from ICE                             provided hydrogen combustion as ‘‘an                  existing vehicles, such as the Chevy Malibu and
                                             development into electrification                        advanced technology that has been                     Camaro, won’t stick to the standard cadence of face-
                                             technologies. Ford Motor Company                        under development for some time and                   lifts and redesigns. Instead, they’ll ride out the
                                             (Ford) commented that ‘‘[t]he                                                                                 current generation before making way for EVs.’’
                                                                                                     could be more rapidly deployed in high                Jordyn Grzelewski, ‘‘Ford Slated to Spend More On
                                             transformation of the light-duty fleet                  volumes to make an impact.’’ 177                      EVs Than On Internal Combustion Engine Vehicles
                                             toward electrification will require                        First and foremost, we want to                     in 2023,’’ The Detroit News (Aug. 2, 2021).; Lindsay
                                             unprecedented levels of ingenuity and                   emphasize that the purpose of this                    Chappell, ‘‘All-In On EVs,’’ Automotive News (May
                                             investment to succeed. Over the last 10                                                                       17, 2021). ‘‘Mini will become an all-electric brand
                                                                                                     regulation is to set maximum feasible                 by early 2030, and the British marque will roll out
                                             years, rapid improvements in internal                   CAFE standards for passenger cars and                 its last new combustion engine variant in 2025.’’
                                             combustion engine (ICE) fuel efficiency                 light trucks that improve energy                      (Emphasis added); Bibhu Pattnaik, ‘‘Audi Will Not
                                             and criteria emissions performance have                 conservation, and not to advocate for                 Introduce ICE Vehicles After 2026, No Hybrid
                                             been accomplished. Further                                                                                    Vehicles Either,’’ Benzinga (Jun. 19, 2021), https://
                                                                                                     specific technology solutions. We                     finance.yahoo.com/news/audi-not-introduce-ice-
                                             improvements are possible, but will be                  acknowledge that the industry is not                  vehicles-160320055.html (accessed February 16,
                                             marginal, and will come at high                         going to quickly abandon ICE                          2022); Mike Colias, ‘‘Gas Engines, and the People
                                             cost.’’ 172 Similarly, Volkswagen Group                 technologies and we anticipate                        Behind Them, Are Cast Aside for Electric
                                             of America (Volkswagen) commented                                                                             Vehicles,’’ The Wall Street Journal (Jul. 23, 2021).
                                                                                                                                                           ‘‘Auto executives have concluded, to varying
                                             that they have ‘‘publicly stated that                      173 Volkswagen, Docket No. NHTSA–2021–0053–
                                                                                                                                                           degrees, that they can’t meet tougher tailpipe-
                                             investments into combustion                             1548–A1, at pp. 21–22.                                emission rules globally by continuing to improve
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                                                                                                        174 Toyota, Docket No. NHTSA–2021–0053–1568,
                                                                                                                                                           gas or diesel engines . . . Over the past several
                                               171 Comments regarding specific technology            at p. 2.                                              decades, auto makers in most years rolled out
                                                                                                        175 UCS, Docket No. NHTSA–2021–0053–1567–          between 20 and 70 new engines globally, according
                                             modeling values, such as battery cost, strong hybrid
                                             electric vehicle costs, and high compression ratio      A1, at p. 6.                                          to research firm IHS Markit. That number will fall
                                             engine adoptions features are addressed under their        176 ICCT, Docket No. NHTSA–2021–0053–1581–         below 10 this year, and then essentially go to zero,
                                             respective paragraphs below.                            A1, at p. 2.                                          the research firm said.’’
                                               172 Ford, Docket No. NHTSA–2021–0053–1545–               177 BorgWarner Inc. (BorgWarner), Docket No.          179 See Section VI.

                                             A1, at p. 1.                                            NHTSA–2021–0053–1473, at p. 2.                           180 See Section III.D.1.




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                                             based on guidance from NAS 181 and                          • Decreased eCVT and cable costs                     of the fuel-economy improving
                                             align with technologies considered by                    associated with strong hybrid electric                  technologies likely available during the
                                             the EPA as part of their final rulemaking                vehicle technologies;                                   rulemaking time frame. It is our intent
                                             for MYs 2023–2026.182                                       • Decreased start/stop micro hybrid                  that the technology paths be
                                                However, the CAFE Model is a tool                     battery costs; and                                      representative of the range of potential
                                             that offers many ways to evaluate a cost-                   • Correction of the high compression                 performance levels for each of the
                                             effective technology pathway for vehicle                 ratio with cylinder deactivations setting               technologies. We also acknowledge that
                                             manufacturers to reach given levels of                   in the Technologies input file.                         some new and pre-production
                                             CAFE standards, based on user-                              The following sections discuss the                   technologies are not part of this analysis
                                             provided inputs and constraints. As a                    engine, transmission, electrification,                  because of uncertainties in the cost and
                                             result of the concerns expressed in the                  mass reduction, aerodynamic, tire                       capabilities of these emerging
                                             comments above, we included a                            rolling resistance, and other vehicle                   technologies. As a result, we did not
                                             sensitivity analysis with inputs                         technologies considered in this analysis.               include technologies unlikely to be
                                             assuming that vehicle manufacturers                      Each section discusses how we define                    feasible in the rulemaking timeframe,
                                             would no longer deploy advanced                          the technology in the CAFE Model,186                    technologies unlikely to be compatible
                                             engine technologies.183 The sensitivity                  how we assign the technology to                         with U.S. fuels, or technologies where
                                             analysis demonstrates a technology path                  vehicles in the MY 2020 analysis fleet                  there were not appropriate data
                                             where manufacturers choose to stop                       used as a starting point for this analysis,             available to allow the simulation of
                                             applying additional ICE improvements                     any adoption features that we apply to                  effectiveness across all vehicle
                                             and only invest in partial or full                       the technology so the analysis better                   technology classes in this analysis.
                                             electrification technologies going                       represents manufacturers’ real-world                       We briefly discuss IC engine
                                             forward.184 Our ‘‘no advanced engines’’                  decisions, the technology effectiveness                 technologies considered in this analysis,
                                             sensitivity analysis shows a modest                      values, and technology cost. In addition,               the CAFE Model’s general engine
                                             increase in strong hybrid (SHEV) and                     each section discusses the comments                     technology categories, and how we
                                             plug-in hybrid (PHEV) technology                         received for that technology pathway,                   assign engine technologies in the
                                             adoption compared to the reference                       and the changes made to input values                    analysis fleet in the following sections.
                                             analysis. This modest increase, about 5–                 because of comments.                                    We also touch on engine technologies’
                                             6 percent increased technology                              Please note that the following                       adoption features, costs, and
                                             penetration of SHEVs and PHEVs,                          technology effectiveness sections                       effectiveness when used as part of a full
                                             enables the manufacturers to meet more                   provide examples of the range of                        vehicle model. For a complete
                                             stringent standards without the                          effectiveness values that a technology                  discussion on all of these topics please
                                             adoption of additional advanced ICE                      could achieve when applied to the                       see the TSD.189
                                             technology. The ‘‘no advanced engine’’                   entire vehicle system, in conjunction
                                                                                                      with the other fuel-economy-improving                   (a) Engine Modeling in the CAFE Model
                                             technology pathway increases the
                                             estimated average vehicle costs by $25                   technologies already in use on the                         Engine modeling in the CAFE Model
                                             over the reference analysis by MY                        vehicle.187 To see the incremental                      involves the application of internal
                                             2029.185                                                 effectiveness values for any particular                 combustion engine technologies that
                                                In consideration of comments                          vehicle moving from one technology key                  manufacturers use to improve fuel
                                             received on the NPRM analysis and the                    to a more advanced technology key, see                  economy. Of the engine technologies we
                                             results of additional sensitivity analysis,              the FE_1 and FE_2 Adjustments files                     model, some can be incorporated into
                                             we believe that the technologies                         that are integrated in the CAFE Model                   existing engines with minor or moderate
                                             included in the CAFE Model’s                             executable file. Similarly, the                         changes, but many require an entirely
                                             technology tree are currently                            technology costs provided in each                       new engine architecture. As a result, we
                                             appropriate, and we have made no                         section are examples of absolute costs                  divide engine technologies into two
                                             changes in the technology tree for the                   seen in specific model years (MYs 2020,                 categories, ‘‘basic engine technologies’’
                                             analysis supporting this final rule. We                  2025, and 2030 for most technologies),                  and ‘‘advanced engine technologies.’’
                                             believe the selected technologies                        for specific vehicle classes.188 Please                 ‘‘Basic engine technologies’’ refer to
                                             provide a realistic representation of                    refer to the Technologies file to see all               technologies adaptable to an existing
                                             options that manufacturers have to                       absolute technology costs used in the                   engine with minor or moderate changes
                                             comply with standards in the                             analysis across all model years.                        to the engine. ‘‘Advanced engine
                                             rulemaking timeframe.                                    1. Engine Paths                                         technologies’’ refer to technologies that
                                                We made changes to just three                                                                                 generally require significant changes or
                                             technology inputs from the NPRM to                          We classified the extensive variety of               an entirely new engine architecture.
                                             this final rule. The changes are                         light duty vehicle internal combustion                     We do not intend for the words
                                             discussed in detail in the respective                    (IC) engine technologies into discrete                  ‘‘basic’’ and ‘‘advanced’’ to confer any
                                             technology sections, and include:                        engine technology paths for this                        information about the level of
                                                                                                      analysis. These engine technology paths                 sophistication of the technology or to
                                               181 2021 NAS Report.                                   model the most representative                           indicate relative cost. Many advanced
                                                182 For detailed discussions on all the               characteristics, costs, and performance                 engine technology definitions include
                                             technologies used in this analysis see TSD Chapter                                                               some basic engine technologies in their
                                             3, For more detailed discussion of the comments             186 Note, due to the diversity of definitions
                                             discussed here see Section III.D.1.
                                                                                                                                                              design, and these basic technologies are
                                                                                                      industry uses for technology terms, or in describing
                                                183 See TSD Chapter 3.1 for a definition of           the specific application of technology, the terms       accounted for in the costs and
                                                                                                                                                              effectiveness values of the advance
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                                             advanced engine technologies.                            defined here may differ from how the technology
                                                184 See FRIA Chapter 7.1 for more details; the        is defined in the industry.                             engine. Figure III–7 shows how we
                                             sensitivity case ‘‘conv-tech-imprlimited’’ is referred      187 This serves as a visual example of the
                                                                                                                                                              organize the engine technologies
                                             to as ‘‘no advanced engine’’ in this discussion.         conditional effectiveness of adding ‘one technology
                                                185 Effects of standards on the fleet out to MY       at a time’ discussed in the guiding principles above.
                                                                                                                                                              pathways evaluated in the compliance
                                             2029 are considered to account for years the                188 The values shown serve as examples of cost       simulation. We briefly describe each
                                             regulation covers, and years of potential carry back     origins and how cost values were treated to account
                                             credit use.                                              for changes due to learning or time value of money.      189 See TSD Chapter 3.1.




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                                             engine technology below. It is important                that every engine starts with VVT and                  technologies in the dotted box, as
                                             to note the ‘‘Basic Engine Path’’ shows                 can add one, some, or all of the                       discussed in Section III.D.1.a)(1).




                                               In response to our proposal, some                     have been accomplished. Further                        consistently documented that even advanced
                                             commenters, particularly in the                         improvements are possible, but will be                 ICE-only powertrains will fall short of the
                                             automotive industry, commented in                       marginal, and will come at high cost. Ford             proposed standards and that while future
                                                                                                     requests that the agencies carefully weigh             advancements are possible, a point of
                                             support of the number of advanced
                                                                                                     these considerations in the current and future         diminishing returns is in part driving the
                                             engine technologies in the engine tree                  rulemakings to ensure that resources and               transition to electrified powertrains,
                                             especially in light of forthcoming                      investment are not diverted from our primary           including conventional hybrids. EPA notes
                                             electrification investments. Other                      objective: Fulfilling President Biden’s goal of        manufacturer plans and announcements of ‘‘a
                                             commenters, in particular some                          achieving 40–50 [percent] ZEV sales by                 rapidly growing shift in investment away
                                             environmental groups, commented with                    2030.190                                               from internal-combustion technologies and
                                             examples of advanced engine                                   Toyota stated:                                   toward high levels of electrification.’’ 192 193
                                             technologies that they believed we                                                                                Volkswagen stated:
                                                                                                       Toyota has provided extensive
                                             should consider in the analysis.                        information, in public comments and under
                                               More specifically, the automotive                                                                               As noted earlier, Volkswagen has
                                                                                                     CBI, on the effectiveness of [CO2] reduction           implemented a capital spending plan and
                                             industry believes that the future of ICE                technologies including those for advanced              technology roadmap that primary focuses on
                                             technology is very limited, as                          gasoline engines.191 The data has                      electrification as our main pathway for
                                             manufacturers turn their focus to the                                                                          achieving deep decarbonization and
                                             electrification of the fleet. The new                     190 Ford, Docket No. NHTSA–2021–0053–1545–           petroleum reduction goals. In parallel with
                                             focus would result in limitation or even                A1, at p. 1.                                           increasing consumer demand for
                                                                                                       191 Toyota comments on: Draft Technical
                                             removal of resources dedicated to                                                                              electrification, the increase in States with
                                                                                                     Assessment Report on 2022–2025 Model Year              ZEV mandates and the emergence and recent
                                             further ICE development. Major                          Light-Duty Vehicle Greenhouse Gas Emission
                                             manufacturers provided information                                                                             passage of State legislation banning
                                                                                                     Standards and Corporate Average Fuel Economy
                                                                                                                                                            combustion, it is unlikely that OEMs will
                                             indicating that they will not develop                   Standards, EPA–420–D–16–900 pp. 2–5 and
                                                                                                     Appendix 1; Proposed Determination on the              invest significant resources in researching
                                             advanced engine technologies beyond                                                                            new combustion technologies or developing
                                                                                                     Appropriateness of the Model Year 2022–2025
                                             the current generation. Commenters                      Light-Duty Vehicle Greenhouse Gas Emissions            all new powertrains.
                                             who provided information suggesting                     Standards under the Midterm Evaluation, EPA–              Engine development programs are long-
                                             engine technology may stagnate as                       420–R–16–020, pp. 3–8; Request for Comment on          lead time, often requiring 5 years to fully
                                             manufacturers dedicate resources to                     Reconsideration of the Final Determination of the      design and validate new engines. Powertrain
                                                                                                     Mid-Term Evaluation of Greenhouse Gas Emissions        production is also capital intensive, and the
                                             electrification technology included
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                                                                                                     Standards for Model Year 2022–2025 Light-Duty
                                             Ford, Toyota, Volkswagen, and the Auto                  Vehicles; Request for Comment on Model Year 2021
                                             Innovators.                                             Greenhouse Gas Emissions Standards, EPA–HQ–               192 U.S. EPA. Revised 2023 and Later Model Year

                                               Ford stated:                                          OAR–2015–0827, pp. 3–9; Safer Affordable Fuel-         Light-Duty Vehicle GHG Emissions Standards,
                                                                                                     Efficient (SAFE) Vehicles Rule For Model Years         EPA–HQ–OAR–2021–0208, August 2021, at p.
                                                Over the last 10 years, rapid improvements           2020–2026 Model Year Passenger Cars and Light          43766.
                                             in internal combustion engine (ICE) fuel                Trucks, NHTSA–2018–0067; EPA–HQ–OAR–2018–                 193 Toyota, Docket No. NHTSA–2021–0053–1568,
                                                                                                                                                                                                                 ER02MY22.064</GPH>




                                             efficiency and criteria emissions performance           0283, pp. 2–9 and Appendices A–C.                      at p. 2.



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                                             high upfront costs often consider 10 plus                  These comments reflect an increasing                compliance strategies will include increased
                                             years of steady volume to amortize the                  industry trend to divest from internal                 electrification. However, there are significant
                                             production and development costs. The                   combustion engine technology, to                       opportunities for improvements to internal
                                             effects have been studied extensively by                                                                       combustion engine vehicles as well. The
                                                                                                     increase investments in alternative                    importance of both strategies is evident in
                                             NHTSA and the National Academies and are
                                             reflected in such factors as Retail Price
                                                                                                     powertrains such as electrification or                 our own modeling. Internal combustion
                                             Equivalency (RPE) values. However, with the             fuel cells. The provided comments also                 engine vehicles will continue to improve in
                                             shift to legislative and regulatory programs            support NAS’s finding: ICE technology                  the timeframe considered under this rule and
                                             that are reducing and eliminating future                advancements are seeing diminishing                    show no sign of exhausting their potential.
                                             market volumes for combustion technologies,             returns, with future gains requiring                   While our modeling suggests that
                                             it is unlikely that OEMs will make significant          significant investment, driving                        manufacturers will deploy a significant
                                             investments in this space.                              manufacturers to alternative technology                number of EVs due to the improvement they
                                                Volkswagen has publicly stated that                                                                         can make in a fleet’s performance, this is by
                                                                                                     development in place of further ICE                    no means the only path available, as
                                             investments into combustion technologies                development, such as electrification.196
                                             will wane with a point in the next several                                                                     indicated by the relatively low levels of
                                                                                                        On the other hand, some commenters                  vehicle technology modeled as being
                                             years where there will be no new combustion
                                                                                                     were concerned that our modeled                        deployed in the remaining gasoline-powered
                                             engine families developed for the Group.
                                             Volkswagen recognizes that remaining                    technology paths do not adequately                     fleet, which leave many other options
                                             combustion models will continue to be sold              keep pace with potential significant                   open.198
                                             in high volume for the next several years and           improvements in ICE technologies that                     For this final rule analysis, the agency
                                             that it is important to preserve the fuel               manufacturers will continue to make.                   has made no changes to the Engine
                                             economy of remaining ICEs as electrification            ICCT and UCS suggested that additional                 technology pathway.199 While we agree
                                             volumes increase. As noted earlier,                     advanced versions of modeled                           with the potential of the technologies as
                                             Volkswagen’s remaining ICE engines will                 technologies as well as additional                     they are described in the provided
                                             primarily focus on evolutions of existing               technologies should be added to the
                                             downsized, charged engines to incorporate                                                                      comments,200 we do not believe that the
                                                                                                     engine technology paths. Both                          application of the technologies is
                                             incremental hardware and software
                                                                                                     commenters provided information on                     feasible in the rulemaking timeframe. As
                                             improvements.194
                                                                                                     emerging technologies currently in the                 stated in the NPRM and discussed
                                                Auto Innovators stated:                              research phase, and the commenters                     above, we did not include technologies
                                               Manufacturers are also already announcing             stated these new technologies should be                unlikely to be feasible in the rulemaking
                                             plans to reduce or eliminate investments in             included in the engine technology path                 timeframe, technologies unlikely to be
                                             ICEs. Some automotive executives are saying             options.                                               compatible with U.S. fuels, or
                                             that they no longer intend to develop new                  ICCT stated, ‘‘two recent reports                   technologies for which there were not
                                             ICEs, are no longer setting aside significant           demonstrate that further technology
                                             money for new ICEs, or that ICEs will only                                                                     appropriate data available to allow the
                                                                                                     improvements are coming that can boost                 simulation of effectiveness across all
                                             get incremental work. Others, such as                   ICE efficiency well beyond even HCR2
                                             policymakers, may suggest that little or no                                                                    vehicle technology classes used in the
                                                                                                     efficiency levels.’’ 197 ICCT further                  analysis. For example, ICCT
                                             investment is needed in ICE technologies
                                             because they are ‘‘off-the-shelf’’ or present in        stated, ‘‘Indeed, it appears that no                   recommended the inclusion of passive
                                             the fleet today. This view ignores that                 technology improvements or cost                        prechamber combustion in our analysis.
                                             technologies can’t simply be ‘‘bolted on’’ to           reductions from EPA’s independent                      Currently, the technology is under
                                             existing engines. Instead, they must be                 evaluations or from any comments                       development by two vendors, but
                                             carefully integrated into existing designs,             submitted to NHTSA or new studies                      neither vendor has indicated the system
                                             requiring engineering resources, and in many            over the last 5 years were included in                 has progressed past the technology
                                             cases, new engine designs. A new engine                 the proposed rule, beyond the
                                             design can cost as much as $1 billion.195                                                                      demonstration phase, or the technology
                                                                                                     additional of DEAC to HCR1. This basis                 is currently only used for specialty
                                                                                                     for NHTSA’s analysis is an overly                      purposes.201 202
                                                194 Volkswagen, Docket No. NHTSA–2021–0053–
                                                                                                     conservative assessment of the costs of                   In light of the comments provided by
                                             1548–A1, at pp. 21–22.
                                                195 Auto Innovators, Docket No. NHTSA–2021–          the standards.’’                                       manufacturers, such as Volkswagen’s
                                             0053–0021–A1, at 8 (citing ‘‘Mercedes-Benz                 UCS also provided a comment
                                                                                                                                                            comment above, it is very unlikely that
                                             Prepares to Go All-Electric,’’ Mercedes-Benz Media      suggesting the need for more advanced
                                                                                                                                                            major manufacturers will introduce
                                             Newsroom USA (Jul. 22, 2021), https://                  engine technology models:
                                             media.mbusa.com/releases/release-                                                                              these technologies in the time frame of
                                             ee5a810c1007117e79e1c871354679e4-mercedes-                Given automaker investments and future               the regulation.203 204 We also believe this
                                             benz-prepares-to-go-all-electric (accessed: February    product plans, it is likely that manufacturers’
                                             16, 2022). ‘‘Investments into combustion engines                                                                 198 UCS, Docket No. NHTSA–2021–0053–1567–
                                             and plug-in hybrid technologies will drop by 80%        Vehicles,’’ The Wall Street Journal (Jul. 23, 2021).   A1, at 6 (citing Murphy, John. 2021. ‘‘US
                                             between 2019 and 2026.’’; Hannah Lutz, ‘‘Shifting       ‘‘Auto executives have concluded, to varying           Automotive Product Pipeline: Car Wars 2022–2025
                                             into E,’’ Automotive News (Jul. 26, 2021). ‘‘Some       degrees, that they can’t meet tougher tailpipe-        (Electric Vehicles shock the product pipeline).’’
                                             existing vehicles, such as the Chevy Malibu and         emission rules globally by continuing to improve       Media briefing, June 10, 2021, on behalf of Bank of
                                             Camaro, won’t stick to the standard cadence of face-    gas or diesel engines . . . Over the past several      America Securities. https://s3-prod.autonews.com/
                                             lifts and redesigns. Instead, they’ll ride out the      decades, auto makers in most years rolled out          2021-06/BofA%20Global%20Research%20Car
                                             current generation before making way for EVs.’’;        between 20 and 70 new engines globally, according      %20Wars.pdf).
                                             Jordyn Grzelewski, ‘‘Ford Slated to Spend More On       to research firm IHS Markit. That number will fall       199 See TSD Chapter 3.1 for a detailed discussion
                                             EVs Than On Internal Combustion Engine Vehicles         below 10 this year, and then essentially go to zero,
                                                                                                                                                            of the engine technology pathways used in the final
                                             in 2023,’’ The Detroit News (Aug. 2, 2021).; Lindsay    the research firm said.’’).
                                                                                                                                                            rule analysis.
                                             Chappell, ‘‘All-In On EVs,’’ Automotive News (May          196 2021 NAS Report, Finding 4.7, at p. 70.
                                                                                                                                                              200 ICCT comments at pp. 8–10.
                                             17, 2021). ‘‘Mini will become an all-electric brand        197 ICCT, Docket No. NHTSA–2021–0053–1581–
                                                                                                                                                              201 https://www.iav.com/en/what-moves-us/pre-
                                             by early 2030, and the British marque will roll out     A1, at 2 (citing AVL Webinar on Passenger Car
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                                             its last new combustion engine variant in 2025.’’       powertrain 4.x—Fuel Consumption, Emissions, and        chamber-ignition-small-spark-great-effect/—
                                             (Emphasis added.); Bibhu Pattnaik, ‘‘Audi Will Not      Cost on June 2, 2020 https://www.avl.com/-/            Accessed 10DEC2021.
                                                                                                                                                              202 https://www.mahle-powertrain.com/en/
                                             Introduce ICE Vehicles After 2026, No Hybrid            passenger-car-powertrain-4.x-fuel-consumption-
                                             Vehicles Either,’’ Benzinga (Jun. 19, 2021), https://   emissions-and-cost plus slides are attached to these   experience/mahle-jet-ignition/—Accessed
                                             finance.yahoo.com/news/audi-not-introduce-ice-          comments (AVL 2020); Roush report on Gasoline          10DEC2021.
                                             vehicles-160320055.html (accessed: February 16,         Engine Technologies for Improved Efficiency              203 Volkswagen, at 21–22 (‘‘Engine development

                                             2022), Mike Colias, ‘‘Gas Engines, and the People       (Roush 2021 LDV) https://www.regulations.gov/          programs are long-lead time, often requiring 5 years
                                             Behind Them, Are Cast Aside for Electric                comment/EPA-HQ-OAR-2021-0208-0210).                    to fully design and validate new engines.



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                                             approach is in agreement with the                           compression ratio, and internal exhaust             (2) Advanced Engines
                                             assessments on ICE technologies                             gas recirculation (iEGR) can all be
                                             provided by NAS, discussed above.205                        enabled and controlled by a VVT                        We define advanced engine
                                                                                                         system.                                             technologies in the analysis as
                                             (1) Basic Engines                                                                                               technologies that require significant
                                                                                                            VVL: Variable valve lift dynamically
                                               We applied basic engine technologies                                                                          changes in engine structure, or an
                                                                                                         adjusts the distance a valve travels from
                                             individually or in combination with                                                                             entirely new engine architecture.210
                                                                                                         the valve seat. The dynamic adjustment
                                             other basic engine technologies in the                                                                          Currently there are two types of
                                                                                                         can optimize airflow over a broad range
                                             CAFE Model. The basic engine                                                                                    advanced engine technologies, the
                                                                                                         of engine operating conditions. The
                                             technologies we used include variable                                                                           application of alternate combustion
                                                                                                         technology can increase effectiveness by
                                             valve timing (VVT), variable valve lift                                                                         cycles or application of forced induction
                                                                                                         reducing pumping losses and by
                                             (VVL), stoichiometric gasoline direct                       affecting the fuel and air mixture motion           to the engine. Each advanced engine
                                             injection (SGDI), and cylinder                              and combustion in-cylinder.207 VVL is               technology has a discrete pathway for
                                             deactivation. The cylinder deactivation                     less common in the MY 2020 fleet than               progression to improved versions of the
                                             technologies we used includes a basic                       VVT, but still prevalent. Some                      technology, as seen above in Figure III–
                                             level (DEAC) and an advanced level                          manufacturers have implemented a                    7. The advanced engine technology
                                             (ADEAC). DOT applies the basic engine                       limited, discrete approach to VVL. The              pathways include a turbocharged
                                             technologies across two engine                              discrete approach allows only limited               pathway, a high compression ratio
                                             architectures: Dual over-head camshaft                      (e.g., two) valve lift profiles versus              (Atkinson) engine pathway, a variable
                                             (DOHC) engine architecture and single                       allowing a continuous range of lift                 turbo geometry (Miller Cycle) engine
                                             over-head camshaft (SOHC) engine                            profiles.                                           pathway, a variable compression ratio
                                             architecture.                                                                                                   pathway, and a diesel engine pathway.
                                               VVT: Variable valve timing is a family                       SGDI: Stoichiometric gasoline direct             Although the CAFE Model includes a
                                             of valve-train designs that dynamically                     injection sprays fuel at high pressure              compressed natural gas (CNG) pathway,
                                             adjusts the timing of the intake valves,                    directly into the combustion chamber,               that technology is a baseline-only
                                             exhaust valves, or both, in relation to                     which provides cooling of the in-                   technology and was not included in the
                                             piston position. VVT can reduce                             cylinder charge via in-cylinder fuel                analysis; there are no dedicated CNG
                                             pumping losses, provide increased                           vaporization to improve spark knock                 vehicles in the MY 2020 analysis fleet.
                                             engine torque and horsepower over a                         tolerance and enable an increase in
                                                                                                         compression ratio and/or more optimal                  TURBO: Forced induction engines, or
                                             broad engine operating range, and allow
                                                                                                         spark timing for improved efficiency.208            turbocharged downsized engines, are
                                             unique operating modes, such as
                                             Atkinson cycle operation, to further                        SGDI is common in the MY 2020 fleet,                characterized by technology that can
                                             enhance efficiency.206 VVT is nearly                        and the technology is used in many                  create greater-than-atmospheric pressure
                                             universally used in the MY 2020 fleet.                      advanced engines as well.                           in the engine intake manifold when
                                             VVT enables more control of in-cylinder                        DEAC: Basic cylinder deactivation                higher output is needed. The raised
                                             air flow for exhaust scavenging and                         disables intake and exhaust valves and              pressure results in an increased amount
                                             combustion relative to fixed valve                          turns off fuel injection for the                    of airflow into the cylinder supporting
                                             timing engines. Engine parameters such                      deactivated cylinders during light load             combustion, increasing the specific
                                             as volumetric efficiency, effective                         operation. DEAC is characterized by a               power of the engine. Increased specific
                                                                                                         small number of discrete operating                  power means the engine can generate
                                             Powertrain production is also capital intensive and         configurations.209 The engine runs                  more power per unit of cylinder
                                             the high upfront costs often consider 10 plus years         temporarily as though it were a smaller             volume. The higher power per cylinder
                                             of steady volume to amortize the production and
                                                                                                         engine, reducing pumping losses and                 volume allows the overall engine
                                             development costs.’’).                                                                                          volume to be reduced, while
                                                204 Auto Innovators, at 8 (‘‘Others, such as             improving efficiency. DEAC is present
                                             policymakers, may suggest that little or no                 in the MY 2020 baseline fleet.                      maintaining performance. The overall
                                             investment is needed in ICE technologies because                                                                engine volume decrease results in an
                                             they are ‘‘off-the-shelf’’ or present in the fleet today.
                                                                                                            ADEAC: Advanced cylinder                         increase in fuel efficiency by reducing
                                             This view ignores that technologies can’t simply be         deactivation systems, also known as                 parasitic loads associated with larger
                                             ‘‘bolted on’’ to existing engines. Instead, they must       rolling or dynamic cylinder deactivation            engine volumes.211
                                             be carefully integrated into existing designs,              systems, allow a further degree of
                                             requiring engineering resources, and in many cases,
                                                                                                         cylinder deactivation than the base                    Cooled exhaust gas recirculation is
                                             new engine designs. A new engine design can cost                                                                also part of the advanced forced
                                             as much as $1 billion.’’).                                  DEAC. ADEAC allows the engine to vary
                                                205 2021 NAS Report, at 369 (‘‘Internal                  the percentage of cylinders deactivated             induction technology path. The basic
                                             combustion engines (ICEs) will continue to play a           and the sequence in which cylinders are             recycling of exhaust gases using VVT is
                                             significant role in the new vehicle fleet in MY             deactivated, essentially providing                  called internal EGR (iEGR) and is
                                             2025–2035 in ICE-only vehicles, as well as in                                                                   included as part of the performance
                                             hybrid electric vehicles (HEVs) from mild hybrids           ‘‘displacement on demand’’ for low load
                                             to plug-in hybrids, but will decrease in number             operations. A small number of vehicles              improvements provided by the VVT
                                             with increasing battery electric vehicle (BEV) and          have ADEAC in the MY 2020 baseline                  basic engine technology. Cooled EGR
                                             fuel cell electric vehicle penetration. In this period,     fleet.                                              (cEGR) is a second method for diluting
                                             manufacturers will continue to develop and deploy                                                               the incoming air that takes exhaust
                                             technologies to further improve the efficiency of              Section III.D.1.d) contains additional           gases, passes them through a heat
                                             conventional powertrains, for ICE-only vehicles and         information about each basic engine
                                             as implemented in HEVs. Developments in the ICE                                                                 exchanger to reduce their temperature,
                                             for hybrids will advance toward engines optimized
                                                                                                         technology used in this analysis,                   and then mixes them with incoming air
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                                             for a limited range of engine operating conditions,         including information about the engine              in the intake manifold.212 As discussed
                                             with associated efficiency benefits. Major                  map models used in the full vehicle
                                             automakers are on differing paths, with some                technology effectiveness modeling.                    210 Examples of this include but are not limited
                                             focusing their research and development and
                                             advanced technology deployment more squarely on                                                                 to changes in cylinder count, block geometry or
                                                                                                          207 2015 NAS Report, at p. 32.                     combustion cycle changes.
                                             BEVs, and others more focused on advanced HEVs
                                             to maximize ICE efficiency.’’).                              208 2015 NAS Report, at p. 34.                       211 2015 NAS Report, at p. 34.
                                                206 2015 NAS Report, at p. 31.                            209 2015 NAS Report, at p. 33.                       212 2015 NAS Report, at p. 35.




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                                             in Section III.D.1.d), many advanced                     cycle like behavior (very little                     vehicle.217 The Toyota Prius is an
                                             engine maps include EGR.                                 expansion over-stroke) to a more                     example of a vehicle that uses an
                                                Five levels of turbocharged engine                    Atkinson cycle intensive behavior (large             Atkinson engine. The 2017 Toyota Prius
                                             downsizing technologies are considered                   expansion over-stroke) based on engine               achieved a peak thermal efficiency of 40
                                             in this analysis: A ‘basic’ level of                     demand. During high loads the engine                 percent.218
                                             turbocharged downsized technology                        will reduce the Atkinson level behavior                 VTG: The Miller cycle is another type
                                             (TURBO1), an advanced turbocharged                       by increasing the dynamic compression                of overexpansion combustion cycle,
                                             downsized technology (TURBO2), an                        ratio, reducing over-stroke, sacrificing             similar to the Atkinson cycle. The
                                             advanced turbocharged downsized                          efficiency for increased power density.              Miller cycle, however, operates in
                                             technology with cooled exhaust gas                       While at low loads the engine will                   combination with a forced induction
                                             recirculation applied (cEGR), a                          increase the Atkinson level behavior by              system that helps address the impacts of
                                             turbocharged downsized technology                        reducing the dynamic compression                     reduced power density during high load
                                             with basic cylinder deactivation applied                 ratio, increasing the over-stroke,                   operating conditions. Miller cycle-
                                             (TURBOD), and a turbocharged                             improve efficiency but reduce power                  enabled engines use a similar
                                             downsized technology with advanced                       density. The hybrid combustion cycle                 technology approach as seen in
                                             cylinder deactivation applied                            can be used to address, but not                      Atkinson-enabled engines to effectively
                                             (TURBOAD).                                               eliminate, the low power density issues              create an expanded expansion stroke of
                                                HCR: Atkinson engines, or high                        that can constrain the application of an             the combustion cycle.
                                             compression ratio engines, represent a                   Atkinson-only engine and allow for a                    In the analysis, the baseline Miller
                                             class of engines that achieve a higher                   wider application of the technology.                 cycle-enabled engine includes the
                                             level of fuel efficiency by implementing                                                                      application of a variable turbo geometry
                                                                                                         The level of efficiency improvement               technology (VTG). The advanced Miller
                                             an alternate combustion cycle.213
                                                                                                      experienced by a vehicle employing an                cycle enabled system includes the
                                             Historically, the Otto combustion cycle
                                                                                                      Atkinson-enabled engine is directly                  application of a 48V-based electronic
                                             has been used by most gasoline-based
                                                                                                      related to how much of the engine’s                  boost system (VTGE). VTG technology
                                             spark ignition engines. Increased
                                                                                                      operation time is spent at high Atkinson             allows the system to vary boost level
                                             research into improving fuel economy
                                                                                                      levels. Vehicles that must maintain a                based on engine operational needs. The
                                             has resulted in the application of
                                                                                                      high level of torque reserve, that                   use of a variable geometry turbocharger
                                             alternate combustion cycles that allow
                                                                                                      experience operation at a high load for              also supports the use of cooled exhaust
                                             for greater levels of thermal efficiency.
                                                                                                      long portions of their operating cycle, or           gas recirculation.219 An electronic boost
                                             One such alternative combustion cycle
                                                                                                      that have high base road loads, will see             system has an electric motor added to
                                             is the Atkinson cycle. Atkinson cycle
                                                                                                      little to no benefit from this technology            assist a turbocharger at low engine
                                             operation is achieved by allowing the
                                                                                                      compared with other advanced engine                  speeds. The motor assist mitigates
                                             expansion stroke of the engine to
                                                                                                      technologies. This power density                     turbocharger lag and low boost pressure
                                             overextend, allowing the combustion
                                                                                                      constraint results in manufacturers                  at low engine speeds. The electronic
                                             products to achieve the lowest possible
                                                                                                      typically limiting the application of this           assist system can provide extra boost
                                             pressure before the exhaust
                                                                                                      technology to vehicles with a lower road             needed to overcome the torque deficits
                                             stroke.214 215 216
                                                                                                      load, and lower relative need for torque             at low engine speeds.220
                                                Descriptions of Atkinson cycle
                                                                                                      reserves.                                               ICCT provided comments regarding
                                             engines and Atkinson mode or
                                             Atkinson-enabled engine technologies                        Three HCR or Atkinson-enabled                     Miller Cycle technology as part of its
                                             have been used interchangeably in                        engines are available in the analysis: (1)           comments about technologies that may
                                             association with high compression ratio                  The baseline Atkinson-enabled engine                 not have been incorporated in NHTSA’s
                                             (HCR) engines, for past rulemaking                       (HCR0), (2) the enhanced Atkinson                    proposal, stating that, ‘‘VW is already
                                             analyses. Both technologies achieve a                    enabled engine (HCR1), and finally, (3)              using Miller Cycle engines as the base
                                                                                                      the enhanced Atkinson enabled engine                 engine in the Passat, Arteon, Atlas, and
                                             higher thermal efficiency than
                                                                                                      with cylinder deactivation (HCR1D).                  Tiguan and a hybrid-specific version of
                                             traditional Otto cycle-only engines,
                                                                                                                                                           this engine with cEGR and VGT is under
                                             however, the two engine types operate                       Next, Atkinson engines (as opposed to             development by VW that demonstrates
                                             differently. For purposes of this                        Atkinson-enabled engines, discussed                  a peak BTE of 41.5 percent. The fact that
                                             analysis, Atkinson technologies can be                   above) in this analysis are defined as               Miller cycle is already included on the
                                             categorized into two groups to reduce                    engines that operate full-time in                    standard engine for many of VW’s most
                                             confusion: (1) Atkinson-enabled engines                  Atkinson cycle. The most common                      popular vehicles supports that Miller
                                             and (2) Atkinson engines.                                method of achieving Atkinson operation               cycle is a cost-effective addition to
                                                Atkinson-enabled engines, or high                     is the use of late intake valve closing.             turbocharged engines. Yet there are no
                                             compression ratio (HCR) engines,                         This method allows backflow from the                 Miller cycle applications in 2026
                                             dynamically swing between an Otto                        combustion chamber into the intake                   beyond the specific Mazda and Volvo
                                                                                                      manifold, reducing the dynamic                       models that already had Miller cycle in
                                                213 See the 2015 NAS Report, Appendix D, for a
                                                                                                      compression ratio, and providing a                   2017.’’ 221
                                             short discussion on thermodynamic engine cycles.
                                                214 Otto cycle is a four-stroke cycle that has four   higher over-expansion ratio during the
                                             piston movements over two engine revolutions for         expansion stroke. The higher expansion                  217 Toyota. ‘‘Under the Hood of the All-new

                                             each cycle. First stroke: Intake or induction;           ratio improves thermal efficiency but                Toyota Prius.’’ Oct. 13, 2015. Available at https://
                                             seconds stroke: Compression; third stroke:               reduces power density. The low power                 global.toyota/en/detail/9827044. (Accessed:
                                             Expansion or power stroke; and finally, fourth                                                                February 17, 2022)
                                                                                                      density relegates these engines to hybrid
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                                             stroke: Exhaust.                                                                                                 218 Matsuo, S., Ikeda, E., Ito, Y., and Nishiura, H.,

                                                215 Compression ratio is the ratio of the maximum     vehicle (SHEVPS) applications only in                ‘‘The New Toyota Inline 4 Cylinder 1.8L ESTEC
                                             to minimum volume in the cylinder of an internal         this analysis. Coupling the engines to               2ZR–FXE Gasoline Engine for Hybrid Car,’’ SAE
                                             combustion engine.                                       electric motors and significantly                    Technical Paper 2016–01–0684, 2016, https://
                                                216 Expansion ratio is the ratio of maximum to                                                             doi.org/10.4271/2016-01-0684.
                                                                                                      reducing road loads compensates for the                 219 2015 NAS Report, at p. 116.
                                             minimum volume in the cylinder of an IC engine
                                             when the valves are closed (i.e., the piston is
                                                                                                      lower power density and maintains                       220 2015 NAS Report, at p. 62.

                                             traveling from top to bottom to produce work).           desired performance levels for the                      221 ICCT, at p. 4.




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                                                NHTSA’s NPRM used a MY 2020 fleet                    ability to define a VCR hardware system                    improved materials, or improved
                                             that appropriately characterized                        that could be widely adopted across the                    geometry.
                                             Volkswagen, Volvo, and Mazda engines                    industry. Because of these issues,
                                                                                                                                                                (b) Engine Analysis Fleet Assignments
                                             with VTG and VTGe technology.222 We                     adoption of the VCR engine technology
                                             believe our use of the MY 2020 baseline                 is limited to specific OEMs only.                             As a first step in assigning baseline
                                             fleet addresses some of the concerns                       ADSL: Diesel engines have several                       levels of engine technologies in the
                                             expressed by ICCT. As far as additional                 characteristics that result in superior                    analysis fleet, DOT uses data for each
                                             application of the technology in the MY                 fuel efficiency over traditional gasoline                  manufacturer to determine which
                                             2026 fleet results, we did not place any                engines. These advantages include                          platforms share engines. Within each
                                             adoption restrictions on the use of VTG                 reduced pumping losses due to lack of                      manufacturer’s fleet, DOT assigns
                                             and VTGe technology and it can be                       (or greatly reduced) throttling, high                      unique identification designations
                                             applied to any basic and turbocharged                   pressure direct injection of fuel, a more                  (engine codes) based on configuration,
                                             engine. This means that while VTG and                   efficient combustion cycle,224 and a                       technologies applied, displacement,
                                             VTGe may be a cost-effective technology                 very lean air/fuel mixture relative to an                  compression ratio, and power output.
                                             for some manufacturers in the real                      equivalent-performance gasoline                            DOT uses power output to distinguish
                                             world—particularly for Volkswagen, a                    engine.225 However, diesel technologies                    between engines that might have the
                                             manufacturer that already has the                       require additional enablers, such as a                     same displacement and configuration
                                             technology refined for use on its                       NOX adsorption catalyst system or a                        but significantly different horsepower
                                             vehicles—the CAFE Model did not                         urea/ammonia selective catalytic                           ratings.
                                             consider it to be a cost-effective                      reduction system, for control of NOX                          The CAFE Model identifies leaders
                                             pathway to compliance for                                                                                          and followers for a manufacturer’s
                                                                                                     emissions.
                                             manufacturers in the analysis, that did                                                                            vehicles that use the same engine,
                                             not already use the technology in MY                       DOT considered three levels of diesel                   indicated by sharing the same engine
                                             2020. NHTSA does not have any                           engine technology: The baseline diesel                     code. The model automatically
                                             alternative relative effectiveness 223 data             engine technology (ADSL) is based on a                     determines which engines are leaders by
                                             or cost estimates to consider that would                standard 2.2L turbocharged diesel                          using the highest sales volume row of
                                             affect the CAFE Model’s compliance                      engine; the more advanced diesel engine                    the highest sales volume nameplate that
                                             pathway. Therefore, we have made no                     (DSLI) starts with the ADSL system and                     is assigned an engine code. This leader-
                                             changes to this engine technology’s                     incorporates a combination of low                          follower relationship allows the CAFE
                                             inputs in the final rule analysis from                  pressure and high pressure EGR,                            Model simulation to maintain engine
                                             what was used in the NPRM. We will                      reduced parasitic loss, friction                           sharing as more technology is applied to
                                             continue to follow any updates on the                   reduction, a highly integrated exhaust                     engines.
                                             effectiveness and cost of VTG and VTGe                  catalyst with low temp light off                              DOT accurately represents each
                                             technology for future actions.                          temperatures, and closed loop                              engine using engine technologies and
                                                VCR: Variable compression ratio                      combustion control; and finally the                        engine technology classes. The first step
                                             (VCR) engines work by changing the                      most advanced diesel system (DSLIAD)                       is to assign engine technologies to each
                                             length of the piston stroke of the engine               is the DSLI system with advanced                           engine code. Technology assignment is
                                             to optimize the compression ratio and                   cylinder deactivation technology added.                    based on the identified characteristics of
                                             improve thermal efficiency over the full                   EFR: Engine friction reduction                          the engine being modeled, and based on
                                             range of engine operating conditions.                   technology is a general engine                             technologies assigned, the engine will
                                             Engines using VCR technology are                        improvement meant to represent future                      be aligned with a technology key that
                                             currently in production, but appear to                  technologies that reduce the internal                      most closely corresponds.
                                             be targeted primarily towards limited                   friction of an engine. EFR technology is                      The engine technology classes are a
                                             production, high performance                            not available for application until MY                     second identifier used to accurately
                                             applications. Nissan is the only                        2023. The future technologies do not                       account for engine costs. The engine
                                             manufacturer to use this technology in                  significantly change the function or                       technology class is formatted as number
                                             the MY 2020 baseline fleet. Few                         operation of the engine but reduce the                     of cylinders followed by the letter C,
                                             manufacturers and suppliers provided                    energy loss due to the rotational or                       number of banks followed by the letter
                                             information about VCR technologies,                     rubbing friction experienced in the                        B, and an engine head configuration
                                             and we reviewed several design                          bearings or cylinder during normal                         designator, which is _SOHC for single
                                             concepts that could achieve a similar                   operation. These technologies can                          overhead cam, _ohv for overhead valve,
                                             functional outcome. In addition to                      include improved surface coatings,                         or blank for dual overhead cam. As an
                                             design concept differences, intellectual                lower-tension piston rings, roller cam                     example, one variant of the GMC Acadia
                                             property ownership complicates the                      followers, optimal thermal management                      has a naturally aspirated DOHC inline 4-
                                                                                                     and piston surface treatments, improved                    cylinder engine, so DOT assigned the
                                               222 See Section III.C.2, The Market Data File.
                                                223 As a reminder, our analysis considers the
                                                                                                     bearing design, reduced inertial loads,                    vehicle to the ‘4C1B’ engine technology
                                             relative technology effectiveness improvement from                                                                 class and assigned the technology VVT
                                             a previously applied technology. Therefore, while          224 Diesel cycle is also a four-stroke cycle like the   and SGDI. Table III–7 shows examples
                                             VW may be developing a hybrid version of its            Otto Cycle, except in the intake stroke no fuel is         of observed engines with their
                                             Miller engine technology with a peak BTE of 41.5        injected and fuel is injected late in the compression
                                                                                                     stroke at higher pressure and temperature.
                                                                                                                                                                corresponding assigned engine
                                             percent, the relevant data point for our analysis
                                             would be the relative effectiveness improvement            225 See the 2015 NAS Report, Appendix D, for a          technologies as well as engine
                                             from the previous version of the technology.            short discussion on thermodynamic engine cycles.           technology classes.
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                                               The cost tables for a given engine                    as indicated above, the TURBO1 I3 in                  new category of low output naturally
                                             class include downsizing (to an engine                  the Ford Escape maps to the 4C1B_L (I4)               aspirated engines, which is only applied
                                             architecture with fewer cylinders) when                 engine class, because the turbo costs on              to 4-cylinder engines in the MY 2020
                                             turbocharging technology is applied,                    the 4C1B_L engine class worksheet                     fleet. These engines use the costing tabs
                                             and therefore, the turbocharged engines                 assume a I3 (3C1B) engine architecture.               in the Technologies file with the ‘L’
                                             observed in the 2020 fleet (that have                   Some instances can be more complex,                   designation and are assumed to
                                             already been downsized) often map to                    including low horsepower variants for 4               downsize to turbocharged 3-cylinder
                                             an engine class with more cylinders. For                cylinder engines, and are shown in                    engines for costing purposes. We sought
                                             instance, an observed TURBO1 V6                         Table III–8.                                          comment regarding the expected further
                                                                                                       For this analysis, we allow additional
                                             engine would map to an 8C2B (V8)                                                                              application of this technology to larger
                                                                                                     downsizing beyond what has been
                                             engine class, because the turbo costs on                previously modeled in prior rulemaking                cylinder count engines, such as 8-
                                             the 8C2B engine class worksheet assume                  analyses. We allow enhanced                           cylinder engines that may be turbo
                                             a V6 (6C2B) engine architecture. Diesel                 downsizing because manufacturers have                 downsized to 4-cylinder engines. We
                                             engines map to engine technology                        downsized low output naturally                        also sought comment on how to define
                                             classes that match the observed cylinder                aspirated engines to turbo engines with               the characteristic of an engine that may
                                             count since naturally aspirated diesel                  smaller architectures than traditionally              be targeted for enhanced downsizing.
                                             engines are not found in new light duty                 observed.226 227 228 To capture this new              We received no additional comments
                                             vehicles in the U.S. market. Similarly,                 level of turbo downsizing we created a                regarding enhanced downsizing.
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                                               226 Richard Truett, ‘‘GM Bringing 3-Cylinder back       227 Stoklosa, Alexander, ‘‘2021 Mini Cooper           228 Leanse, Alex, ‘‘2020 For Escape Options:

                                             to North America.’’ Automotive News, December           Hardtop.’’ Car and Driver, December 2, 2014.          Hybrid vs. 3-Cylinder EcoBoost vs. 4-Cylinder
                                             01, 2019. https://www.autonews.com/cars-                https://www.caranddriver.com/reviews/a15109143/       EcoBoost.’’ MotorTrend, Sept 24, 2019. https://
                                             concepts/gm-bringing-3-cylinder-back-na.                2014-mini-cooper-hardtop-manual-test-review/.         www.motortrend.com/news/2020-ford-escape-
                                             (Accessed: February 17, 2022)                           (Accessed: February 17, 2022)                         engine-options-pros-and-cons-comparison/.
                                                                                                                                                                                                             ER02MY22.065</GPH>




                                                                                                                                                           (Accessed: February 17, 2022)



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                                               TSD Chapter 3.1.2 includes more                       refresh and redesign schedules.229 For                lower load conditions, such as driving
                                             details about baseline engine technology                engine technologies, DOHC, OHV, VVT,                  around a city or steady state highway
                                             assignment logic, and details about the                 and CNG engine technologies are                       driving without large payloads. As a
                                             levels of engine technology penetration                 baseline only, while all other engine                 result, their adoption is more limited
                                             in the MY 2020 fleet.                                   technologies can only be applied at a                 than some other technologies. We
                                                                                                     vehicle redesign.                                     expanded the availability of HCR
                                             (c) Engine Adoption Features                               Basic engine technologies in the                   technology compared to the 2020 final
                                                                                                     CAFE Model are represented by four                    rule because of new observed
                                               We defined engine adoption features
                                                                                                     technologies: VVT, VVL, SGDI, and                     applications in the market.230 However,
                                             through a combination of (1) refresh and
                                                                                                     DEAC. DOT assumes that 100 percent of                 there are three categories of adoption
                                             redesign cycles, (2) technology path                                                                          features specific to the HCR engine
                                                                                                     basic engine platforms use VVT as a
                                             logic, (3) phase-in capacity limits, and                                                                      pathway: 231
                                                                                                     baseline, based on wide proliferation of
                                             (4) SKIP logic. Figure III–7 above shows                                                                         • We currently do not allow vehicles
                                                                                                     the technology in the U.S. fleet. The
                                             the technology paths available for                      remaining three technologies, VVL,                    with 405 or more horsepower to adopt
                                             engines in the CAFE Model. Engine                       SGDI, and DEAC, can all be applied                    HCR engines due to their prescribed
                                             technology development and                              individually or in any combination of                 duty cycle being more demanding and
                                             application typically results in an                     the three. An engine can jump from the                likely not supported by the lower power
                                             engine design moving from the basic                     basic engines path to any other engine                density found in HCR-based engines.232
                                             engine tree to one of the advanced                      path except the Alternative Fuel Engine                  • Pickup trucks and vehicles that
                                             engine trees. Once an engine design                     Path.                                                 share engines with pickup trucks are
                                             moves to the advanced engine tree it is                    Turbo downsizing allows                            currently excluded from receiving HCR
                                             not allowed to move to alternate                        manufacturers to maintain vehicle                     engines; the duty cycle for these heavy
                                             advanced engine trees. Specific path                    performance characteristics while                     vehicles, particularly the need for large
                                             logic, phase-in caps, and SKIP logic                    reducing engine displacement and                      torque reserves, results in an engine
                                             applied to each engine technology are                   cylinder count. Any basic engine can                  calibration that minimizes the
                                             discussed by engine technology, in turn.                adopt one of the turbo engine                         advantage of Atkinson cycle use.233
                                                                                                                                                              • HCR engine application is also
                                               Refresh and redesign cycles dictate                   technologies (TURBO1, TURBO2, and
                                                                                                                                                           currently restricted for some
                                             when we apply engine technology.                        CEGR1). Vehicles that have
                                                                                                                                                           manufacturers that are heavily
                                             Technologies applicable only during a                   turbocharged engines in the baseline
                                             platform redesign can be applied during                 fleet will stay on the turbo engine path                230 For example, the Hyundai Palisade and Kia

                                             a platform refresh if another vehicle                   to prevent unrealistic engine technology              Telluride have a 291 hp V6 HCR1 engine. The
                                             platform that shares engine codes (uses                 change in the short timeframe                         specification sheets for these vehicles are located in
                                                                                                     considered in the rulemaking analysis.                the docket for this action.
                                             the same engine) has already applied                                                                            231 See Section III.D.1.d)(1) (Engine Maps), for a
                                             the technology during a redesign. For                   Turbo technology is a mutually
                                                                                                                                                           discussion of why HCR2 and P2HCR2 were not
                                             example, models of the GMC Acadia                       exclusive technology in that it cannot be             used in the central analysis. ‘‘SKIP’’ logic was used
                                             and the Cadillac XT4 use the same                       adopted for HCR, diesel, ADEAC, or                    to remove this engine technology from application,
                                                                                                     CNG engines.                                          however as discussed below, we maintain HCR2
                                             engine (assigned engine code 112011 in                                                                        and P2HCR2 in the model architecture for
                                                                                                        Non-HEV Atkinson enabled engines
                                             the Market Data file); if the XT4 adds a                                                                      sensitivity analysis and for future engine map
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                                                                                                     are a collection of engines in the HCR                model updates.
                                             new engine technology during a
                                                                                                     engine pathway (HCR0, HCR1, HCR1D,                      232 Heywood, John B. Internal Combustion Engine
                                             redesign, then the Acadia may also add                                                                        Fundamentals. McGraw-Hill Education, 2018.
                                                                                                     and HCR2). Atkinson enabled engines
                                             the same engine technology during the                                                                         Chapter 5.
                                                                                                     excel in lower power applications for
                                             next refresh or redesign. This allows the                                                                       233 This is based on CBI conversation with

                                             model to maintain engine sharing                                                                              manufacturers that currently employ HCR-based
                                                                                                       229 See Section III.C.2.a) for more discussion on   technology but saw no benefit when the technology
                                             relationships while also maintaining
                                                                                                                                                                                                                    ER02MY22.066</GPH>




                                                                                                     platform refresh and redesign cycles.                 was applied to truck platforms in their fleet.



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                                             performance-focused and have                            found mostly on medium and heavy-                     very effective. Thus, all restrictions on HCR
                                             demonstrated a significant commitment                   duty vehicles.                                        engines should be removed.241
                                             to power dense technologies such as                       Finally, we allow the CAFE Model to                   We disagree with ICCT’s and other
                                             turbocharged downsizing.234                             apply EFR to any engine technology                    comments regarding the appropriateness
                                                Advanced cylinder deactivation                       except for DSLI and DSLIAD. DSLI and                  of the HCR technology constraints.
                                             technology (ADEAC), or dynamic                          DSLIAD inherently have incorporated                   Current HCR engines achieve the effects
                                             cylinder deactivation (e.g., Dynamic                    engine friction technologies from ADSL.               of a longer expansion stroke, necessary
                                             Skip Fire), can be applied to any engine                In addition, friction reduction                       for Atkinson operation, using
                                             with basic technology. This technology                  technologies that apply to gasoline                   continuous variable valve timing. The
                                             represents a naturally aspirated engine                 engines cannot necessarily be applied to              timing of the intake valve closure is
                                             with ADEAC. Additional technology                       diesel engines due to the higher                      based on the current load demand on
                                             can be applied to these engines by                      temperature and pressure operation in                 the engine. Under higher loads, the
                                             moving to the Advanced Turbo Engine                     diesel engines.                                       intake values will close sooner in the
                                             Path.                                                     We sought comment on the
                                                                                                                                                           cycle, increasing the dynamic
                                                Miller cycle (VTG and VTGe) engines                  appropriateness of engine adoption
                                                                                                                                                           compression ratio and decreasing the
                                             can be applied to any basic and                         features, specifically for the HCR
                                                                                                                                                           over-stroke of the expansion cycle,
                                             turbocharged engine. VTGe technology                    engines, and received feedback. Some
                                                                                                                                                           decreasing thermal efficiency, and
                                             is enabled by the use of a 48V system                   commenters felt the constraints on
                                                                                                                                                           increasing torque. This causes the
                                             that presents an improvement from                       application of HCR technology in the
                                                                                                                                                           engine to operate closer to an Otto
                                             traditional turbocharged engines, and                   CAFE Model were too strict.
                                                                                                                                                           combustion cycle than an Atkinson
                                             accordingly VTGe includes the                           Specifically, comments on this issue
                                                                                                                                                           cycle. However, under these conditions,
                                             application of a mild hybrid (BISG)                     were received from ICCT, California Air
                                                                                                                                                           the engine is not able to completely
                                             system.                                                 Resources Board (CARB), a coalition of
                                                                                                                                                           achieve a traditional Otto cycle due to
                                                VCR engines can be applied to basic                  States and Cities, and a joint group of
                                                                                                                                                           knock limitations and maintains a
                                             and turbocharged engines, but the                       non-governmental
                                                                                                                                                           minimum of over-expansion behavior.
                                             technology is limited to specific                       organizations.236 237 238 239 240 ICCT
                                                                                                                                                           While under lower loads the engine
                                             OEMs.235 VCR technology requires a                      described NHTSA’s characterization of
                                                                                                                                                           decreases the dynamic compression
                                             complete redesign of the engine, and in                 HCR with respect to the duty cycle
                                                                                                                                                           ratio, closing the intake valve later, and
                                             the analysis fleet, only two platforms                  requirements of high horsepower or
                                                                                                                                                           increasing the over-stroke of the
                                             had incorporated this technology. The                   high towing vehicles as ‘‘backwards and
                                                                                                                                                           expansion stroke reducing torque while
                                             agency does not believe any other                       wrong,’’ stating that:
                                                                                                                                                           increasing efficiency. Having the ability
                                             manufacturers will invest to develop                    engines in pickup trucks and high-                    to continuously adjust the shape of the
                                             and market this technology in their fleet               performance vehicles are sized and powered            combustion cycle significantly improves
                                             in the rulemaking time frame.                           to handle higher peak loads and, thus,
                                                Advanced turbo engines are becoming                                                                        the engine efficiency but does not give
                                                                                                     operate at lower loads relative to their
                                             more prevalent as the technologies                      maximum capacity. According to                        the engine the functional flexibility
                                             mature. TURBOD combines TURBO1                          supplemental tables for the 2020 EPA FE               suggested by ICCT’s interpretation of the
                                             and DEAC technologies and represents                    Trends report found online, pickups have 18           technology description.
                                             the first advanced turbo. TURBOAD
                                                                                                     [percent] to 19 [percent] higher power to               This is exemplified by Toyota’s
                                                                                                     weight than both cars and truck SUVs, which           comment to the 2018 CAFE NPRM on
                                             combines TURBO1 and ADEAC                               means that pickup trucks and high-
                                             technologies and is the second and last                                                                       the application of the HCR-based engine
                                                                                                     performance vehicles will spend more time             to the Tacoma platform, where Toyota
                                             level of advanced turbos. Engines from                  in Atkinson Cycle operation than lower
                                             either the Turbo Engine Path or the                     performance vehicles on both the test cycles          stated that:
                                             ADEAC Engine Path can adopt these                       and in the real world, not less. Any need for            Tacoma has a greater coefficient of drag
                                             technologies.                                           ‘‘additional torque reserve’’ is met by               from a larger frontal area, greater tire rolling
                                                Any basic engine technologies (VVT,                  switching to Otto cycle. The one exception is         resistance from larger tires with a more
                                                                                                     towing, which does impose constant high               aggressive tread, and higher driveline losses
                                             VVL, SGDI, and DEAC) can adopt ADSL                     loads on the engine. However, Strategic               from 4WD. Similarly, the towing, payload,
                                             and DSLI engine technologies. Any                       Vision data finds that ‘‘percent of [pickup]          and off-road capability of pick-up trucks
                                             basic engine and diesel engine can                      truck owners use their truck for towing one           necessitate greater emphasis on engine torque
                                             adopt DSLIAD technology in this                         time a year or less’’. The large majority of          and horsepower over fuel economy. This
                                             analysis; however, we applied a phase                   pickup trucks spend the vast majority of              translates into engine specifications such as
                                             in cap and year for this technology at 34               driving at low loads relative to the engine’s         a larger displacement and a higher stroke-to-
                                             percent and MY 2023, respectively. In                   capability, where Atkinson Cycle engines are          bore ratio. Tacoma’s higher road load and
                                             our engineering judgement, this is a                                                                          more severe utility requirements push engine
                                                                                                       236 ICCT, at p. 11.
                                             rather complex and costly technology to                                                                       operation more frequently to the less efficient
                                                                                                        237 CARB, Docket No. NHTSA–2021–0053–1521–
                                             adopt and it would take significant                                                                           regions of the engine map and limit the level
                                                                                                     A2, at pp. 6–8.                                       of Atkinson operation.242
                                             investment for a manufacturer to                           238 States of California, Colorado, Connecticut,

                                             develop. For more than a decade, diesel                 Delaware, Hawaii, Illinois, Maine, Maryland,            In addition to operating issues,
                                             engine technologies have been used in                   Michigan, Minnesota, Nevada, New Jersey, New          comments such as those provided by the
                                                                                                     Mexico, New York, North Carolina, Oregon, Rhode       Auto Innovators, also to the 2018 NPRM
                                             less than one percent of the total light-               Island, Vermont, Washington, and Wisconsin; the
                                             duty fleet production and have been                     Commonwealths of Massachusetts and                    (83 FR 42986, Aug. 24, 2018), highlight
                                                                                                     Pennsylvania; the District of Columbia; the Cities    packaging issues that make the
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                                               234 There are three manufacturers that met the        and Counties of Denver and San Francisco; and the     application of HCR in high horsepower/
                                             criteria (near 100 percent turbo downsized fleet,       Cities of Los Angeles, New York, Oakland, and San     high torque applications less practical.
                                             and future hybrid systems are based on turbo-           Jose (NHTSA–2021–0053–1499) (California
                                             downsized engines) described and were excluded:         Attorney General et al.), Docket No. NHTSA–2021–      Specifically, the Alliance of Automobile
                                             BMW, Daimler, and Jaguar Land Rover.                    0053–1499–A1, at p. 33.
                                               235 Nissan and Mitsubishi are strategic partners         239 Natural Resources Defense Council (NRDC),        241 ICCT, at p. 11.

                                             and members of the Renault-Nissan-Mitsubishi            Docket No. NHTSA–2021–0053–1572–A1, at p. 7.            242 Toyota, Docket No. NHTSA–2018–0067–

                                             Alliance.                                                  240 NRDC, A2, at pp. 46–47.                        12376–A1, at pp. 8–9.



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                                             Manufacturer’s 243 comments to the                      (1) Engine Maps                                        manufacturers’ specific engines.
                                             2018 NPRM stated that ‘‘[t]he Alliance                     Effectiveness values used as inputs for             However, we intend and expect that the
                                             agrees with the more restrained                         the CAFE Model are determined by                       incremental changes in performance
                                             application of HCR1 in the Proposed                     comparing results of full vehicle                      modeled for this analysis, due to
                                             Rule,’’ and agreed with the agencies’                   simulations using the Autonomie                        changes in technologies or technology
                                             rationale for the restrictions that                     simulation tool. For a full discussion                 combinations, will be similar to the
                                             included ‘‘[p]ackaging and emission                     about how Autonomie was used, see                      incremental changes in performance
                                             constraints associated with intricate                   Section III.C.4 and TSD Chapter 2.4, in                observed in manufacturers’ engines for
                                             exhaust manifolds needed to mitigate                    addition to the Autonomie model                        the same changes in technologies or
                                             high load/low revolutions per minute                    documentation. Engine map models are                   technology combinations.
                                             knock’’ and ‘‘Inherent performance                      the primary inputs used to simulate the                   The analysis never applies absolute
                                             limitations of Atkinson cycle                           effects of different engine technologies               BSFC levels from the engine maps to
                                             engines.’’ 244 Ford echoed this concern,                in the Autonomie full vehicle                          any vehicle model or configuration for
                                             stating that ‘‘Ford supports the more                   simulations.                                           the rulemaking analysis. The absolute
                                             restrained application of HCR1 in the                      Engine maps provide a three-                        fuel economy values from the full
                                             Proposed Rule, an approach that                         dimensional representation of engine                   vehicle Autonomie simulations are used
                                             recognizes the investment, packaging,                   performance characteristics at each                    only to determine incremental
                                             performance and emissions factors that                  engine speed and load point across the                 effectiveness for switching from one
                                             will limit penetration of this                          operating range of the engine. Engine                  technology to another technology. The
                                             technology.’’ 245                                       maps have the appearance of                            incremental effectiveness is applied to
                                                Based on this discussion, and                        topographical maps, typically with                     the absolute fuel economy of vehicles in
                                             previously provided data, we have kept                  engine speed on the horizontal axis and                the analysis fleet, which are based on
                                             the HCR adoptions features used in the                  engine torque, power, or brake mean                    CAFE compliance data. For subsequent
                                             NPRM for the final rule, except for a                   effective pressure (BMEP) 248 on the                   technology changes, incremental
                                             correction to the HCR1D application.                    vertical axis. A third engine                          effectiveness is applied to the absolute
                                             Keeping the constraints in place also                   characteristic, such as brake-specific                 fuel economy level of the previous
                                             aligns us with the most recent EPA                      fuel consumption (BSFC),249 is                         technology configuration. Therefore, for
                                             rulemaking analysis.246 We do intend to                 displayed using contours overlaid                      a technically sound analysis, it is most
                                             continue research into the                              across the speed and load map. The                     important that the differences in BSFC
                                             appropriateness of HCR technology                       contours provide the values for the third              among the engine maps be accurate, and
                                             applications in future analysis, as we                  characteristic in the regions of operation             not the absolute values of the individual
                                             look at timeframes beyond the current                   covered on the map. Other                              engine maps.
                                             rulemaking.                                             characteristics typically overlaid on an                  For this analysis, we use a small
                                                                                                     engine map include engine emissions,                   number of baseline engine
                                               Regarding the application of the                                                                             configurations with well-defined BSFC
                                             HCR1D technology, a joint group of                      engine efficiency, and engine power.
                                                                                                     The engine maps developed to model                     maps, and then, in a very systematic
                                             NGO comments, and others, pointed out                                                                          and controlled process, add specific
                                             an error in the CAFE Model input files                  the behavior of the engines used in this
                                                                                                     analysis are referred to as engine map                 well-defined technologies to create a
                                             used in the NPRM. The HCR1D                                                                                    BSFC map for each unique technology
                                             technology was not set to ‘true’ for the                models.
                                                                                                        The engine map models used in this                  combination. This can theoretically be
                                             central analysis.247 We agree the setting                                                                      done using engine or vehicle testing, but
                                             was left blank in error and is correctly                analysis are representative of
                                                                                                     technologies that are currently in                     testing would need to be conducted on
                                             assigned a ‘true’ value in the technology                                                                      a single engine, and each configuration
                                             input file for the final rule analysis.                 production or are expected to be
                                                                                                     available in the rulemaking timeframe.                 would require physical parts and
                                             (d) Engine Effectiveness Modeling                       The engine map models are developed                    associated engine calibrations to assess
                                                                                                     to be representative of the performance                the impact of each technology
                                                Engine effectiveness values used for                 achievable across industry for a given                 configuration, which is impractical for
                                             engine technologies in two ways. The                    technology and are not intended to                     the rulemaking analysis because of the
                                             values are either calculated based on the               represent the performance of a single                  extensive design, prototype part
                                             difference in full vehicle simulation                   manufacturer’s specific engine. The                    fabrication, development, and
                                             results created using the Autonomie                     broadly representative performance                     laboratory resources that are required to
                                             modeling tool, or determined by the                     level was targeted because the same                    evaluate each unique configuration.
                                             effectiveness values using an alternate                 combination of technologies produced                   Modeling is an approach used by
                                             calculation method, including                           by different manufacturers will have                   industry to assess an array of
                                             analogous improvement or fuel                           differences in performance, due to                     technologies with more limited testing.
                                             economy improvement factors.                            manufacturer-specific designs for engine               Modeling offers the opportunity to
                                                                                                     hardware, control software, and                        isolate the effects of individual
                                               243 Now Alliance for Automotive Innovation, also
                                                                                                     emissions calibration.                                 technologies by using a single or small
                                             referred to as Auto Innovators.                                                                                number of baseline engine
                                               244 Auto Innovators, Docket No. NHTSA–2018–
                                                                                                        Accordingly, we expect that the
                                                                                                     engine maps developed for this analysis                configurations and incrementally
                                             0067–12073–A1, at p. 139.
                                               245 Ford, Docket No. NHTSA–2018–0067–11928–           will differ from engine maps for                       adding technologies to those baseline
                                                                                                                                                            configurations. This provides a
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                                             A1, at p. 8.
                                               246 See U.S. EPA, ‘‘Revised 2023 and Later Model        248 Brake mean effective pressure is an              consistent reference point for the BSFC
                                             Year Light-Duty Vehicle GHG Emissions Standards:        engineering measure, independent of engine             maps for each technology and for
                                             Regulatory Impact Analysis.’’ December 2021. EPA–       displacement, which indicates the actual work an       combinations of technologies that
                                             420–R–21–028. https://nepis.epa.gov/Exe/                engine performs.
                                             ZyPDF.cgi?Dockey=P1013ORN.pdf. (Accessed:                 249 Brake-specific fuel consumption is the rate of   enables the differences in effectiveness
                                             March 9, 2022)                                          fuel consumption divided by the power being            among technologies to be carefully
                                               247 NRDC, at pp. 46–47.                               produced.                                              identified and quantified.


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                                                The Autonomie model documentation                      We agree with the data provided;                    operating characteristics of engines
                                             provides a detailed discussion on how                   however, we simulate the use of Tier 3                equipped with specific technologies.
                                             the engine map models were used as                      fuel in our engine technology models to                 The generated engine maps are
                                             inputs to the full vehicle simulations                  represent the fuel available and most                 validated against IAV’s global database
                                             performed using the Autonomie tool.                     commonly used by consumers.254 If we                  of benchmarked data, engine test data,
                                             The Autonomie model documentation                       assumed that high octane fuel was used                single cylinder test data, prior modeling
                                             contains the engine map model                           in the engine map models, we would be                 studies, technical studies, and
                                             topographic figures, and additional                     assuming a greater fuel economy benefit               information presented at conferences.256
                                             engine map model data can be found in                   than would actually be achieved in the                The effectiveness values from the
                                             the Autonomie input files.250                           real world, which would overestimate                  simulation results are also validated
                                                We received a comment from the High                  the benefits of more stringent standards.             against detailed engine maps produced
                                             Octane Low Carbon Fuel Alliance                         Moreover, to date, vehicle                            from Argonne engine benchmarking
                                             regarding the potential use of high                     manufacturers do not appear to be                     programs, as well as published
                                             octane fuels. The High Octane Low                       pursuing this technology path. As we                  information from industry and
                                             Carbon Fuel Alliance stated, ‘‘Higher                   have stated previously, regulation of                 academia, ensuring reasonable
                                             octane enables greater engine efficiency                fuels is also outside of the scope of                 representation of simulated engine
                                             and improved vehicle performance                        NHTSA’s authority. Accordingly, we                    technologies.257 The engine map models
                                             through higher compression ratios and/                  made no updates to the fuel assumed                   used in this analysis and their
                                             or more aggressive turbocharging and                    used in the engine map models.                        specifications are shown in Table III–9.
                                             downsizing—also facilitated by                                                                                BILLING CODE 4910–59–P
                                             ethanol’s cylinder ‘‘charge cooling’’                   (a) IAV Engine Map Models
                                             effect due to its high heat of                            Most of the engine map models used                     256 Friedrich, I., Pucher, H., and Offer, T.,

                                             vaporization.251 Raising the engine’s                   in this analysis were developed by IAV                ‘‘Automatic Model Calibration for Engine-Process
                                             compression ratio from 10:1 to 12:1                                                                           Simulation with Heat-Release Prediction,’’ SAE
                                                                                                     GmbH (IAV) Engineering. IAV is one of                 Technical Paper 2006–01–0655, 2006, https://
                                             could increase vehicle efficiency by 5 to               the world’s leading automotive industry               doi.org/10.4271/2006-01-0655. (Accessed: February
                                             7 percent.’’ 252 253                                    engineering service partners with an                  17, 2022) Rezaei, R., Eckert, P., Seebode, J., and
                                                                                                     over 35-year history of performing                    Behnk, K., ‘‘Zero-Dimensional Modeling of
                                               250 See additional Autonomie supporting                                                                     Combustion and Heat Release Rate in DI Diesel
                                                                                                     research and development for                          Engines,’’ SAE Int. J. Engines 5(3):874–885, 2012,
                                             materials in docket number NHTSA–2021–0053 for
                                             this rule.                                              powertrain components, electronics,                   https://doi.org/10.4271/2012-01-1065. (Accessed:
                                               251 J.E. Anderson et al., ‘‘High octane number        and vehicle design.255 The primary                    February 17, 2022) Multistage Supercharging for
                                             ethanol-gasoline blends: Quantifying the potential      outputs of IAV’s work for this analysis               Downsizing with Reduced Compression Ratio
                                             benefits in the United States,’’ Fuel (2012): 97: pp.                                                         (2015). MTZ Rene Berndt, Rene Pohlke, Christopher
                                                                                                     are engine maps that model the                        Severin and Matthias Diezemann IAV GmbH.
                                             585–594: https://www.sciencedirect.com/science/
                                             article/pii/S0016236112002268. (Accessed:                                                                     Symbiosis of Energy Recovery and Downsizing
                                             February 17, 2022)                                      Ethanol Content on Spark- Ignition Engine             (2014). September 2014 MTZ Publication Heiko
                                               252 David S. Hirshfeld et al., ‘‘Refining Economics   Efficiency,’’ Environmental Science & Technology      Neukirchner, Torsten Semper, Daniel Luederitz and
                                             of U.S. Gasoline: Octane Ratings and Ethanol            (2015): 49(18): pp. 10778–10789: https://             Oliver Dingel IAV GmbH.
                                             Content,’’ Environmental Science & Technology           pubs.acs.org/doi/abs/10.1021/acs.est.5b01420.            257 Bottcher, L., Grigoriadis, P. ‘‘ANL—BSFC map

                                             (2014): 48(19): pp. 11064–11071: https://               (Accessed: February 17, 2022)                         prediction Engines 22–26.’’ IAV (April 30, 2019).
                                                                                                       254 See TSD Chapter 3.1 for a detailed discussion
                                             pubs.acs.org/doi/pdf/10.1021/es5021668.                                                                       https://lindseyresearch.com/wp-content/uploads/
                                             (Accessed: February 17, 2022)                           on engine map model assumptions.                      2021/09/NHTSA-2021-0053-0002-20190430_ANL_
                                               253 Thomas G. Leone et al., ‘‘The Effect of             255 IAV Automotive Engineering, https://            Eng-22-26-20190430_ANL_Eng22-26Updated_
                                             Compression Ratio, Fuel Octane Rating, and              www.iav.com/en/. (Accessed: February 17, 2022)        Docket.pdf. (Accessed: February 17, 2022)
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                                             BILLING CODE 4910–59–C                                    We received a comment from ICCT                     use of the IAV engine map models. ICCT
                                                                                                     regarding the validity of the continued               stated that ‘‘[t]he engine maps that are
                                                                                                                                                                                                      ER02MY22.067</GPH>




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                                             included in the agency modeling are                      so many vehicle and engine changes are                  constraints for the whole vehicle
                                             severely outdated. For example, all base                 involved, it is not possible to attribute               system.
                                             naturally aspirated engine maps are                      effectiveness improvements accurately                      ICCT further stated: ‘‘As just two
                                             based on an unidentified 2013 or older                   for benchmarked engines to specific                     examples of how absurd it is to assume
                                             vehicle, all turbo (non-Miller cycle)                    technology changes. Further, while two                  no improvements in any of these engine
                                             maps are based on a vehicle whose                        or more different manufacturers may                     technologies for at least 12 years, the
                                             specifications match that of the 2011                    produce engines with the same high                      turbocharged engine introduced by
                                             MINI R56 N18/BMW N13 engine, the                         level technologies (such as a DOHC                      Honda in 2016 was significantly more
                                             hybrid Atkinson cycle map (for PS and                    engine with VVT and SGDI), each                         efficient than the engine used to
                                             PHEV) is based on the 2010 Toyota                        manufacturer’s engine will have unique                  generate all the turbocharged maps in
                                             Prius, and the HCR1 map is based on                      component designs that cause its                        the proposed rule and the 2018 Camry
                                             the 2014 Mazda SkyActiv 2.0L engine.                     version of the engine to have a unique                  hybrid improved fuel economy by 15
                                             Essentially, NHTSA is assuming there                     engine map. For example, engines with                   (XLE/SE) to 25 percent (LE) compared to
                                             will be no efficiency improvements in                    the same high level technologies have                   the 2017 Camry hybrid. And these
                                             any of these technologies through at                     unique intake manifold and exhaust                      (unincorporated) improvements were
                                             least 2026, or for 12 to 16 years from the               manifold runners, cylinder head ports                   already in the market by 2016 and
                                             model year of the vehicle used to                        and combustion chamber geometry that                    2018—still 8 to 10 years before 2026.
                                             generate the maps.’’ 258                                 impact charge motion, combustion and                    For additional information see UCS
                                                We disagree with statements that the                  efficiency, as well as unique valve                     Reconsideration Petition pages 68–
                                             IAV engine maps are outdated. Many of                    control, compression ratios, engine                     72.’’ 261 ICCT also stated ‘‘EPA added a
                                             the engine maps were developed                           friction, cooling systems, and fuel                     2nd generation turbocharged downsized
                                             specifically to support analysis for the                 injector spray characteristics, among                   engine package based on EPA
                                             current rulemaking time frame. The                       other factors. All of these differences                 benchmark testing of the Honda L15B7
                                             engine map models encompass engine                       lead to potential overcounting or                       1.5L turbocharged, direct-injection
                                             technologies that are present in the                     undercounting technology effectiveness                  engine to its 2018 MTE, which was not
                                             analysis fleet and technologies that                     per cost. As described above, our                       used in NHTSA’s proposed rule.’’ 262
                                             could be applied in the rulemaking                       approach allows the analysis to isolate                    Our effectiveness data, including
                                             timeframe. In many cases those engine                    the effects of individual technologies by               engine map models, is not used in the
                                             technologies are mainstream today and                    incrementally adding individual                         rulemaking analysis in the manner
                                             will continue to be during the                           technologies to baseline engine                         described in ICCT’s comments. Our
                                             rulemaking timeframe. For example, the                   configurations. We selected this                        analysis does not apply absolute BSFC
                                             engines on some MY 2020 vehicles in                      approach for the NPRM and final rule                    levels from the engine maps to any
                                             the analysis fleet have technologies that                and discuss it in detail in the TSD.260                 vehicle model or configuration for the
                                             were initially introduced ten or more                       As a result, it should not be expected               rulemaking analysis. The absolute fuel
                                             years ago. Having engine maps                            that any of our engine maps would                       economy values from the full vehicle
                                             representative of those technologies is                  necessarily align with a specific                       Autonomie simulations are used only to
                                             important for the analysis. The most                     manufacturer’s engine, unless of course                 determine incremental effectiveness for
                                             basic engine technology levels also                      the engine map was developed from that                  switching from one technology to
                                             provide a useful baseline for the                        specific engine. We do not agree that                   another technology. The incremental
                                             incremental improvements for other                       comparing an engine map used for the                    effectiveness is applied to the absolute
                                             engine technologies. The timeframe for                   rulemaking analysis to a single specific                fuel economy of vehicles in the analysis
                                             the testing or modeling is unimportant                   benchmarked engine has technical                        fleet, which are based on CAFE
                                             because time by itself doesn’t impact                    relevance, beyond serving as a general                  compliance data. For subsequent
                                             engine map data. A given engine or                       corroboration for the engine map. When                  technology changes, incremental
                                             model will produce the same BSFC map                     a vehicle is benchmarked, the resulting                 effectiveness is applied to the absolute
                                             regardless of when testing or modeling                   data are dictated by the unique                         fuel economy level of the previous
                                             is conducted. Simplistic discounting of                  combination of technologies and design                  technology configuration. Therefore, for
                                             engine maps based on temporal                                                                                    a technically sound analysis, it is most
                                             considerations alone could result in                     12431 (‘‘Atkinson-cycle operation is just one of        important that the differences in BSFC
                                             discarding useful technical information.                 several measures responsible for the 2.5L Dynamic       among the engine maps be accurate, and
                                                If we did use a mix of engine maps                    Force engine achieving a world-best 40 percent          not the absolute values of the individual
                                             from engine modeling and from                            thermal efficiency. The Late Intake Valve Closing
                                                                                                      (LIVC) of the Atkinson cycle reduces low-load
                                                                                                                                                              engine maps.
                                             benchmarking data, no common                             pumping losses and supports the 13:1 CR by                 This comment also mirrors a similar
                                             reference for measuring impacts of                       suppressing engine knock. However, the engine’s         ICCT comment to the 2018 NPRM.263 In
                                             adding specific technological                            increased stroke-to-bore ratio (S/B ratio) and          the 2020 final rule, we compared two
                                             improvements would exist.                                improved cooling, engine warmup, friction
                                                                                                      reduction, and exhaust system play an equally
                                                                                                                                                              IAV engine maps to the EPA’s
                                             Additionally, manufacturers often                        important role. For example, the 1.18 S/B ratio         benchmarked Toyota 2017 2.5L
                                             implement multiple fuel-saving                           preserves stable combustion under high EGR flow         naturally aspirated engine and Honda’s
                                             technologies simultaneously when                         rates which improves thermal efficiency as much as      2016 1.5L turbocharged downsized
                                             redesigning a vehicle and it is not                      the longer effective expansion ratio from the
                                                                                                      Atkinson cycle. The increased S/B ratio also
                                                                                                                                                              engine for predicted effectiveness
                                             possible to isolate the effect of                        compliments intake port, valve timing (VVT–iE)          improvements. The IAV engines were
                                             individual technologies by using                         and piston enhancements resulting in greater            modeled and simulated in a midsize
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                                             laboratory measurements of a single                      tumble intensity of the charge-air intake, higher       non-performance vehicle with an
                                             production engine or vehicle with a                      speed combustion, and increased thermal
                                                                                                      efficiency. Greater detail on factors contributing to
                                                                                                                                                              automatic transmission and the same
                                             combination of technologies.259 Because                  the thermal efficiency of the 2018 Camry 2.5L
                                                                                                                                                               261 ICCT, at p. 4.
                                                                                                      engine can be found in Toyota SAE paper 2017–01–
                                               258 ICCT, at p. 3.                                     1021 contained in Appendix 1 of this                     262 Id.
                                               259 See e.g., Toyota Supplemental Comments to          submission.’’).                                           263 ICCT, Attachment 3, Docket No. NHTSA–

                                             the 2018 NPRM, Docket No. NHTSA–2018–0067–                  260 See TSD Chapter 3.1.                             2018–0067–11741, at p. I–49.



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                                             road load technologies, MR0, ROLL0                      EFR technologies were applied to the                  methodology used in this analysis, and
                                             and AERO0, to isolate for the benefits                  IAV engine maps. IACC technology                      the engine maps and incremental
                                             associated with the specific engine                     provides an additional 3.6 percent                    effectiveness values used, are in line
                                             maps.264 Eng 12, a 1.6L, 4-cylinder,                    incremental improvement and EFR                       with benchmarking data and are
                                             turbocharged, SGDI, DOHC, dual cam                      provides an additional 1.4 percent                    reasonable for the rulemaking analysis.
                                             VVT, VVL engine was selected as the                     incremental improvement beyond the                    We believe the approach used in this
                                             closest engine configuration to the                     IAV engine maps for midsize non-                      rulemaking analysis appropriately
                                             Honda 1.5L.265 Eng 22b, a 2.5L, 4                       performance vehicles.                                 allows us to account for a wide array of
                                             cylinder, VVT Atkinson cycle engine,                       The comparison shows that the
                                                                                                                                                           engine technologies that could be
                                             was selected as the closest engine                      relative effectiveness of the IAV engine
                                                                                                                                                           adopted during the rulemaking
                                             configuration to the Toyota 2.5L.266                    maps are in line with the Honda 1.5L
                                                                                                     and the Toyota 2.5L benchmarked                       timeframe. Declining to use
                                             Both the Toyota 2.5L naturally aspirated
                                             engine and Honda’s 1.5L engine have                     engines. Figure III–8 below shows the                 manufacturer-specific engines allows us
                                             incorporated a number of fuel saving                    effectiveness improvements for the EPA                to ensure that all effectiveness and cost
                                             technologies, including improved                        benchmarked engines and the                           improvements due to the incremental
                                             accessories and engine friction                         corresponding IAV engine maps                         addition of fuel economy improving
                                             reduction. To assure an ‘‘apples-to-                    incremental to a baseline vehicle.                    technologies are appropriately
                                             apples’’ comparison, both IACC and                      Accordingly, we believe that the                      accounted for.




                                             (b) Other Engine Map Models                             model is based directly on the 2.0L 2014              agency believes the use of HCR0, HCR1,
                                                                                                     Mazda SkyActiv-G (ATK) engine. The                    and the new addition of HCR1D
                                               Two of the engine map models we                       ATK2 represents an Atkinson engine                    reasonably represents the application of
                                             show in Table III–9, Eng24 and Eng25,                   concept based on the Mazda engine,                    Atkinson Cycle engine technologies
                                             were not developed as part of the IAV                   adding cEGR, cylinder deactivation, and               within the current light-duty fleet and
                                             modeling effort and we only used Eng24                  an increased compression ratio (14:1). In             the anticipated applications of Atkinson
                                             in this analysis. The Eng24 and Eng25                   this analysis, Eng24 and Eng25                        Cycle technology in the MY 2024–2026
                                             engine maps are equivalent to the ATK                   correspond to the HCR1 and HCR2                       timeframe. We sought comment on
                                             and ATK2 engine map models                              technologies.                                         whether and how to change our engine
                                             developed for the 2016 Draft TAR, EPA                     We used the same HCR2 engine map                    maps for HCR2 in the analysis for the
                                             Proposed Determination, and Final                       model application in this analysis as we              final rule.
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                                             Determination.267 The ATK1 engine                       used in the 2020 final rule.268 The
                                               264 See TSD Chapter 3.4, TSD Chapter 3.5, and            266 See TSD Chapter 3.1 for more discussion on     Compression Ratio Engine,’’ SAE Technical Paper
                                             TSD Chapter 3.6 for more information on road load       modeled engine technologies.                          2016–01–1007, 2016, doi:10.4271/2016–01–1007.
                                             modeling.                                                  267 Ellies, B., Schenk, C., and Dekraker, P.,        268 85 FR 24425–27 (April 30, 2020).
                                               265 See TSD Chapter 3.1 for more discussion on        ‘‘Benchmarking and Hardware-in-the-Loop
                                                                                                                                                                                                             ER02MY22.068</GPH>




                                             modeled engine technologies.                            Operation of a 2014 MAZDA SkyActiv 2.0L 13:1



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                                               ICCT, among others supported the use                    efficiency. The modeled [CO2] and fuel                   While some organizations have asserted
                                             of the HCR2 engine map model stating                      economy are closer to hybrid Camry                    that EPA’s 2016 characterization of HCR2 is
                                             that: 269 270 271 272                                     performance and are unreasonably large for            a reasonable characterization of engines in
                                                                                                       the technologies involved. First, cylinder            the market today, like Toyota’s 2.5L on the
                                                Not only does EPA’s proposed rule allow                deactivation is the only practical distinction        Camry and RAV4, or Mazda’s 2.5L on the CX-
                                             HCR2 technology to be used in their                       between HCR2 and Toyota’s 2.5L Dynamic                5, history has shown that the HCR2
                                             modeling, but comments previously                         Force Atkinson engine. NHTSA’s evaluation             assumptions used in EPA’s analysis
                                             submitted and previous EPA documentation                  has determined applying only cylinder                 significantly and unreasonably overestimate
                                             provide extensive justification for HCR                   deactivation to Atkinson cycle engines                the real-world fuel saving capability of state-
                                             technology benefits beyond just HCR1D.                    (HCR1) nets an incremental improvement of             of-the-art Atkinson engine technology in
                                             Also, both cooled EGR and cylinder                        roughly 2 percent. Second, the 2.5L Dynamic           these applications. The EPA HCR2 engine
                                             deactivation have been in production since                Force engine already encompasses EFR as               map assumes engine accessory drive
                                             2018. Thus, it is not credible to assume no               explained in past comments under CBI.                 improvements (‘‘IACC’’) and engine friction
                                             further advances in HCR technology prior to               Finally, IACC and EFR benefits appear to be           reduction (‘‘EFR’’) have already been used to
                                             2027. Further, the manufacturer claim of                  double counted on top of ERF already being            the maximum extent possible, so reapplying
                                             ‘‘diminishing returns to additional                       included in the Camry 2.5L Atkinson engine.           these technologies again in the modeling (as
                                             conventional engine technology                            This is because IACC and EFR are both fully           the EPA analysis does) incorrectly double
                                             improvements’’ is also not credible, given the            included in the simulated HCR2 engine map,            counts the potential effectiveness of these
                                             discussion in the Appendix Section 1 of                   yet both technologies are added again in the          technologies. EPA incorrectly states that
                                             extensive engine technologies under                       CAFE Model runs.                                      HCR2 technology, as modeled, exists in the
                                             development that can reduce GHG emissions                    EPA modeling sequentially adds enhanced            fleet and is widely available for adoption.275
                                             by over 30 [percent]. ICCT certainly supports             technology to a 2017 baseline fleet until
                                                                                                       compliance with the proposed standards is
                                                                                                                                                               After review of the comments
                                             developing an updated family of HCR engine
                                             map models that incorporate many of the                   achieved. The 2017 model year fleet is                provided, we continue to believe HCR
                                             technologies discussed in Section 1 for future            outdated because it fails to capture more             engine technology shows promise for
                                             rulemakings. But in the interim, HCR2                     recent state-of-the-art technologies in the U.S.      future ICE fuel economy improvements
                                             should be allowed in the Final Rule using                 fleet and requires the [CO2] reduction                and we continue with testing and
                                             EPA’s engine map for HCR2 developed in the                effectiveness of those technologies to be             validation for the IAV-generated HCR
                                             Technical Support Documents for EPA’s                     assumed or simulated. An example is                   engine map model family so that those
                                             Proposed and 2017 Final Determination.273                 Toyota’s 2.5L Atkinson engine technology              engine map models can be used in
                                                                                                       which has been in the market since 2018
                                               Other commenters were opposed to                        model year. The Camry example above could
                                                                                                                                                             future analyses. However, we also
                                             the use of the HCR2 engine map model                      largely be avoided using a more recent                believe that this specific engine map
                                             in the analysis. Toyota provided                          baseline. A 2020 model year baseline fleet is         model presents several problems when
                                             comment on both the NHTSA and EPA                         more appropriate and provides a more                  considered in the context of this
                                             analysis, stating that:                                   accurate performance assessment, and with             analysis. First, we believe that the
                                                                                                       fewer product redesign cycles available, there        technology combination modeled by the
                                                HCR2 Atkinson engine technology has                    is less chance for technology effectiveness
                                             returned to EPA’s compliance modeling. EPA                                                                      HCR2 engine map is unlikely to be
                                                                                                       errors to propagate through the fleet. The            utilized in the rulemaking timeframe
                                             now defines HCR2 as ‘‘the addition of                     2017 baseline has resulted in more Atkinson
                                             dynamic cylinder deactivation and cooled                  technology being assumed in the 2018
                                                                                                                                                             based on comments received from the
                                             EGR within non-HEV Atkinson Cycle engine                  through 2021 model year fleets than really            industry leaders in HCR technology
                                             applications’’. However, the cost, technology             exists in the market.                                 application. Second, as illustrated by
                                             effectiveness, and underlying engine map                                                                        the Auto Innovators, this specific engine
                                             used for modeling HCR2 technology appears                      Toyota further stated,                           map model provides an excessive jump
                                             identical to that used for the SAFE 2 Final                 For compliance modeling of gasoline                 in effectiveness when compared to the
                                             Rule which is represented by the simulated                powertrains, EPA is extensively relying on
                                             and experimental effectiveness of the 2014
                                                                                                                                                             other IAV-based engine map models
                                                                                                       the HCR2 classification of Atkinson engine            used in this analysis. As a result, we
                                             2.0L SKYACTIV engine with the addition of                 technology for which the assumed efficacy
                                             cooled Exhaust Gas Recirculation (cEGR),                  remains unproven and highly unlikely as
                                                                                                                                                             have decided to continue to exclude the
                                             14:1 compression ratio (CR), and cylinder                 previously explained. NHTSA effectively               HCR2 engine map model from our
                                             deactivation. There is still no U.S.                      deploys only to the HCR1 level of Atkinson            central analysis. We will continue to
                                             production vehicle that incorporates this                 engines which better reflects the state of            expand the HCR engine map model
                                             definition of HCR2 technology because the                 technology in the fleet today and identifies          family of technologies in future
                                             14:1 CR requires higher octane than currently             HCR1D as a more advanced future pathway               analyses. This is consistent with EPA’s
                                             available in U.S. regular grade gasoline.                 that while not cost-effective has a                   current assessment of their own model
                                             Further, there are more cost-effective                    considerably more reasonable assumed
                                             pathways than combining cylinder                                                                                and choice to exclude the HCR2 engine
                                                                                                       technology effectiveness than HCR2.274
                                             deactivation with Atkinson cycle engines                                                                        in their final rule analysis.276
                                             which have inherently low pumping loss
                                                                                                         The Auto Innovators also provided
                                                                                                       information and comment on the HCR2                   (2) Analogous Engine Effectiveness
                                             characteristics.                                                                                                Improvements and Fuel Economy
                                                EPA compliance modeling applies HCR2                   engine map model:
                                             engine technology to over 40 percent of
                                                                                                                                                             Improvement Values
                                                                                                          In the GHG NPRM [86 FR 43726, August
                                             Toyota’s fleet by 2026 model year. For                    10, 2021], EPA resurrected highly optimistic             For some technologies, the
                                             example, Camry receives HCR2 along with                   effectiveness estimates for future Atkinson           effectiveness for applying an
                                             engine friction reduction (EFR) in 2024                   cycle engines based on a speculative engine           incremental engine technology is
                                             model year. The resulting 51.7 mpg fuel                   map, and used the results as ‘‘HCR2’’                 determined by using the effectiveness
                                             economy is about a 9 [percent] improvement                technology. The use of this technology                values for applying the same engine
                                             over Toyota’s current generation Camry                    package can diminish the integrity of the
                                             powered by a 2.5L Atkinson engine which                   analysis and distort discussions of
                                                                                                                                                             technology to a reasonably similar base
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                                             has a world-best 40 [percent] thermal                     technological feasibility and economic
                                                                                                                                                               275 Auto Innovators, at pp. 49–51.
                                                                                                       practicability of future standards. We
                                                                                                                                                               276 See U.S. EPA, ‘‘Revised 2023 and Later Model
                                               269 NRDC, at p. 47.                                     recommend against the inclusion of this
                                                                                                                                                             Year Light-Duty Vehicle GHG Emissions Standards:
                                               270 UCS, at p. 6.                                       technology package in the CAFE Model at
                                                                                                                                                             Regulatory Impact Analysis.’’ December 2021. EPA–
                                               271 CARB, at p. 4.                                      this time.                                            420–R–21–028. https://nepis.epa.gov/Exe/
                                               272 California Attorney General et al., A2, at p. 33.
                                                                                                                                                             ZyPDF.cgi?Dockey=P1013ORN.pdf. (Accessed:
                                               273 ICCT, at p. 11.                                       274 Toyota, at pp. 3–4.                             March 9, 2022)



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                                             engine. An example of this can be seen                  conducted. Then, the results of that                  analogous technology (e.g., Eng18). The
                                             in the determination of the application                 comparison were used to generate a data               individual changes in performance
                                             of SGDI to the baseline SOHC engine.                    set of emulated performance values for                between all the technology
                                             Currently there is no engine map model                  adding the SGDI technology to the                     configurations are then added to the
                                             for the SOHC+VVT+SGDI engine                            SOHC+VVT engine (Eng5b) systems.                      same technology configurations that use
                                             configuration. To create the                              The pairwise comparison is                          the new base technology (e.g., Eng5b) to
                                             effectiveness data required as an input                 performed by finding the difference in                create a new set of performance values
                                             to the CAFE Model, first, a pairwise                    fuel consumption performance between                  for the new technology (e.g.,
                                             comparison between technology                           every technology configuration using                  SOHC+VVT+SGDI). Table III–10 shows
                                             configurations that included the                        the analogous base technology (e.g.,                  the engine technologies where
                                             DOHC+VVT engine (Eng1) and the                          Eng1) and every technology                            analogous effectiveness values were
                                             DOHC+VVT+SGDI (Eng18) engine was                        configuration that only changes to the                used.




                                               The agency received a comment about                   in Chapter 3.1.3.2.1 of the TSD, the                  DSLIAD), advanced diesel engines
                                             the use of analogous estimation from                    HCR1D effectiveness values are based                  (DSLIA) and engine friction reduction
                                             ICCT. ICCT stated,                                      on application of the DEAC technology                 (EFR) are the three technologies
                                                The modeled benefit of adding cylinder               to a similar technology model                         modeled using improvement factors.
                                             deactivation to turbocharged and HCR1                   (TURBO1) where there is a reduced                       The application of the advanced
                                             vehicles is only about 25 [percent] of the              pumping loss benefit. Additionally,                   cylinder deactivation is responsible for
                                             benefit from adding DEAC or ADEAC to a                  commenters did not indicate what                      three of the five technologies using an
                                             basic engine. While adding DEAC to a                    effectiveness values they would                       improvement factor in this analysis. The
                                             turbocharged or HCR1 engine has smaller                 consider reasonable or plausible, and                 initial review of the advanced cylinder
                                             pumping loss reductions than for base                   NHTSA has no new data to support the                  deactivation technology is based on a
                                             naturally aspirated engines, DEAC still has             ICCT position. As a result, we will                   technical publication that used a MY
                                             significant pumping loss reductions and has
                                             the additional benefit of enabling the engine
                                                                                                     continue to use the effectiveness values              2010 SOHC VVT basic engine.278
                                             to operate in a more thermal efficient region           from the NPRM for the final rule                      Additional information about the
                                             of the engine fuel map. The agencies also               analysis.                                             technology effectiveness came from a
                                             failed to provide even the most basic                      We also developed a static fuel                    benchmarking analysis of pre-
                                             information supporting their effectiveness              efficiency improvement factor to                      production 8-cylinder OHV prototype
                                             estimates for TURBOD. Further                           simulate applying an engine technology                systems.279 However, at the time of the
                                             compounding the problem, NHTSA based the                for some technologies where there is
                                             effectiveness of adding DEAC to HCR engines             either, no appropriate analogous                        278 Wilcutts, M., Switkes, J., Shost, M., and
                                             on the TURBOD estimate, without any                     technology, or there are not enough data              Tripathi, A., ‘‘Design and Benefits of Dynamic Skip
                                             further justification.277                                                                                     Fire Strategies for Cylinder Deactivated Engines,’’
                                                                                                     to create a full engine map model. The                SAE Int. J. Engines 6(1):278–288, 2013, available at
                                               We disagree with ICCT’s                               improvement factors are developed                     https://doi.org/10.4271/2013-01-0359 (Accessed:
                                             characterization of the TURBOD engine                   based on a literature review or                       February 17, 2022); Eisazadeh-Far, K. and
                                             map model as ‘‘not having information                   confidential business information (CBI)               Younkins, M., ‘‘Fuel Economy Gains through
                                                                                                                                                           Dynamic-Skip-Fire in Spark Ignition Engines,’’ SAE
                                             supporting its creation.’’ A discussion of              provided by stakeholders. Table III–11
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                                                                                                                                                           Technical Paper 2016–01–0672, 2016, available at
                                             the creation of the TURBOD engine map                   provides a summary of the technology                  https://doi.org/10.4271/2016-01-0672. (Accessed:
                                             model, along with all the engine map                    effectiveness values simulated using                  February 17, 2022).
                                             models, is provided in Chapter 3.1.3.1                  improvement factors, and the value and                  279 EPA, 2018. ‘‘Benchmarking and

                                             of the TSD. Furthermore, as discussed                                                                         Characterization of a Full Continuous Cylinder
                                                                                                     rules for how the improvement factors                 Deactivation System.’’ Presented at the SAE World
                                                                                                     are applied. Advanced cylinder                        Congress, April 10–12, 2018. Retrieved from https://
                                                                                                                                                                                                                  ER02MY22.069</GPH>




                                               277 ICCT, at pp. 4–5.                                 deactivation (ADEAC, TURBOAD,                                                                    Continued




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                                             analysis no studies of production                       TURBOD engine and adding 1.5 percent                    of a combination of low pressure and
                                             versions of the technology are available,               or 3 percent improvement based on                       high pressure EGR, reduced parasitic
                                             and the only available technology                       engine cylinder count: 1.5 percent for                  loss, advanced friction reduction,
                                             effectiveness came from existing                        engines with 4 cylinders or less and 3                  incorporation of highly integrated
                                             studies, not operational information.                   percent for all other engines. For diesel               exhaust catalyst with low temp light off
                                             Thus, only estimates of effect can be                   engines, effectiveness values are                       temperatures, and closed loop
                                             developed and not a full model of                       predicted by using the DSLI                             combustion control.280 281 282 283
                                             operation. No engine map model can be                   effectiveness values and adding 4.5                        As discussed above, the application of
                                             developed, and no other technology                      percent or 7.5 percent improvement                      the EFR technology does not simulate
                                             pairs are analogous.                                    based on vehicle technology class: 4.5                  the application of a specific technology,
                                                To model the effects of advanced                     percent improvement is applied to small                 but the application of an array of
                                             cylinder deactivation, an improvement                   and medium non-performance cars,                        potential improvements to an engine.
                                             factor is determined based on the                       small performance cars, and small non-                  All reciprocating and rotating
                                             information referenced above and                        performance SUVs. 7.5 percent                           components in the engine are potential
                                             applied across the engine technologies.                 improvement is applied to all other                     candidates for friction reduction, and
                                             The effectiveness values for naturally                  vehicle technology classes.                             small improvements in several
                                             aspirated engines are predicted by using                   The analysis models advanced engine                  components can add up to a measurable
                                             full vehicle simulations of a basic                     technology application to the baseline                  fuel economy improvement.284 285 286 287
                                             engine with DEAC, SGDI, VVL, and                        diesel engine by applying an                            Because of the incremental nature of
                                             VVT, and adding 3 percent or 6 percent                  improvement factor to the ADSL engine                   this analysis, a range of 1–2 percent
                                             improvement based on engine cylinder                    technology combinations. A 12.8                         improvement was identified initially,
                                             count: 3 percent for engines with 4                     percent improvement factor is applied                   and narrowed further to a specific 1.39
                                             cylinders or less and 6 percent for all                 to the ADSL technology combinations to                  percent improvement. The final value is
                                             other engines. Effectiveness values for                 create the DSLI technology                              likely representative of a typical value
                                             turbocharged engines are predicted                      combinations. The improvement in                        industry may be able to achieve in
                                             using full vehicle simulations of the                   performance is based on the application                 future years.




                                             (3) Engine Effectiveness Values                         the listed engine technology for a given                select the addition of TURBO1. See
                                                The effectiveness values for the                     combination of other technologies. In                   Table III–12 for several specific
                                             engine technologies, for all ten vehicle                other words, the range of effectiveness                 examples. It must be emphasized, the
                                             technology classes, are shown in Figure                 values seen for each specific technology                change in fuel consumption values
                                             III–8. Each of the effectiveness values                 (e.g., TURBO1) represents the addition                  between entire technology keys are
                                             shown are representative of the                         of the TURBO1 technology to every
                                             improvements seen for upgrading only                    technology combination that could

                                             www.regulations.gov/document?D=EPA-HQ-OAR-                283 Eder, T., Weller, R., Spengel, C., Böhm, J.,     Gangopadhay, A. Erdemir, A. https://energy.gov/
                                             2018-0283-0029. (Accessed: February 17, 2022).          Herwig, H., Sass, H. Tiessen, J., Knauel, P. ‘‘Launch   sites/prod/files/2017/06/f34/ft050_gangopadhyay_
                                               280 2015 NAS Report, at p. 104.                       of the New Engine Family at Mercedes-Benz.’’ 24th       2017_o.pdf. (Accessed: February 17, 2022).
                                               281 Hatano, J., Fukushima, H., Sasaki, Y.,            Aachen Colloquium—Automobile and Engine                    286 ‘‘Nissan licenses energy-efficient engine
                                                                                                     Technology 2015.
                                             Nishimori, K., Tabuchi, T., Ishihara, Y. ‘‘The New        284 ‘‘Polyalkylene Glycol (PAG) Based Lubricant
                                                                                                                                                             technology to HELLER,’’ https://newsroom.nissan-
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                                             1.6L 2-Stage Turbo Diesel Engine for HONDA CR–                                                                  global.com/releases/170914-01-e?lang=en-
                                                                                                     for Light- & Medium-Duty Axles,’’ 2017 DOE
                                             V.’’ 24th Aachen Colloquium—Automobile and                                                                      US&rss&la=1&downloadUrl=
                                                                                                     Annual Merit Review. Ford Motor Company,
                                             Engine Technology 2015.                                 Gangopadhyay, A., Ved, C., Jost, N. https://            %2Freleases%2F170914-01-e%2Fdownload
                                               282 Steinparzer, F., Nefischer, P., Hiemesch, D.,
                                                                                                     energy.gov/sites/prod/files/2017/06/f34/ft023_          (accessed: February 17, 2022).
                                             Kaufmann, M., Steinmayr, T. ‘‘The New Six-                                                                         287 ‘‘Infiniti’s Brilliantly Downsized V–6 Turbo
                                                                                                     gangopadhyay_2017_o.pdf.
                                             Cylinder Diesel Engines from the BMW In-Line              285 ‘‘Power-Cylinder Friction Reduction through       Shines,’’ https://wardsauto.com/engines/infiniti-s-
                                             Engine Module.’’ 24th Aachen Colloquium—                Coatings, Surface Finish, and Design,’’ 2017 DOE        brilliantly-downsized-v-6-turbo-shines (accessed:
                                                                                                                                                                                                                   ER02MY22.070</GPH>




                                             Automobile and Engine Technology 2015.                  Annual Merit Review. Ford Motor Company.                February 17, 2022).



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                                             used,288 and not the individual                         the change between whole technology                   non-complementary interactions among
                                             technology effectiveness values. Using                  keys captures the complementary or                    technologies.




                                               Some of the advanced 289 engine                       capture interactions between                          advantage of adding advanced engine
                                             technologies have values that indicate                  technologies and capture instances of                 technologies, which also improve fuel
                                             seemingly low effectiveness.                            both complimentary technologies and                   economy, by broadening the range of
                                             Investigation of these values shows the                 non-complimentary technologies. In this               speed and load conditions for the
                                             low effectiveness is a result of applying               instance, the SHEVP2 powertrain                       engine to operate at high efficiency.
                                             the advanced engines to existing                        improves fuel economy, in part, by                    This redundancy in fuel savings
                                             SHEVP2 architectures. This effect is                    allowing the engine to spend more time                mechanism results in a lower
                                             expected and illustrates the importance                 operating at efficient engine speed and               effectiveness when the technologies are
                                             of using the full vehicle modeling to                   load conditions. This reduces the                     added to each other.
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                                               288 Technology key is the unique collection of           289 The full data set we used to generate this

                                             technologies that constitutes a specific vehicle, see   example can be found in the FE_1 Improvements
                                                                                                                                                                                                     ER02MY22.071</GPH>




                                             Section III.C.4.c).                                     file.



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                                             (e) Engine 290 Costs                                    ensure the full cost of the IC engine is                  the number of cylinders in the engine
                                                We consider both cost and                            removed when electrification                              and whether the engine is naturally
                                             effectiveness in the CAFE Model when                    technologies are applied, specifically for                aspirated or turbocharged and
                                             selecting any technology changes. As                    transition to BEVs. In this analysis, we                  downsized. Table III–13 below shows an
                                             discussed in detail in TSD Chapter                      model the cost of adopting BEV                            example of absolute costs for engine
                                             3.1.8, the engine costs we use in this                  technology by first removing the costs                    technologies in 2018$. The example
                                             analysis build on estimates from the                    associated with IC powertrain systems,                    costs are shown for a straight 4-cylinder
                                             2015 NAS Report, from agency-funded                     then applying the BEV systems costs.                      DOHC engine and V–6-cylinder DOHC
                                             teardown studies, and from work                         Relative costs can still be determined                    engine. The table shows costs declining
                                             performed by non-government                             through comparison of the absolute                        across successive years due to the
                                             organizations.291                                       costs for the initial technology                          learning rate we applied to each engine
                                                We use the absolute costs of the                     combination and the new technology                        technology. For a full list of all absolute
                                             engine technology in this analysis,                     combination.                                              engine costs we used in the analysis
                                             instead of relative costs used prior to the                As discussed in detail in TSD Chapter                  across all model years, see the
                                             2020 final rule. We use absolute costs to               3.1.8, we assigned engine costs based on                  Technologies file.
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                                                290 The box shows the inner quartile range (IQR)     data used to create this figure can be found in the       systems. NHTSA contracted Electricore, EDAG, and
                                             of the effectiveness values and whiskers extend out     FE_1 Improvements file.                                   Southwest Research for teardown studies evaluating
                                             1.5 x IQR. The dots outside this range show                291 FEV prepared several cost analysis studies for     mass reduction and transmissions. The 2015 NAS
                                             effectiveness values outside those thresholds. The      EPA on subjects ranging from advanced 8-speed             Report also evaluated technology costs developed
                                                                                                                                                                                                                    ER02MY22.072</GPH>




                                                                                                     transmissions to belt alternator starters or start/stop   based on these teardown studies.



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                                               We received several comments                          alternate constraints from parts                      costs in many scenarios were developed
                                             regarding engine technology costs. ICCT                 designed for use in the U.S., such as                 since no teardowns were used. Note that
                                             provided several cost comments for                      octane limits, which can result in                    for this final rule analysis, we used
                                             technologies including direct injection,                different designs and costs. This final               previously conducted FEV cost
                                             cool exhaust gas recirculation, cylinder                rule analysis specifically considered the             teardown studies and the referenced
                                             deactivation and turbo charging, that all               U.S. automotive market during the                     2015 NAS costs that also references FEV
                                             took issue with the agency for not using                rulemaking timeframe based on U.S.-                   teardowns. As a result of this
                                             cost data from a 2015 FEV teardown                      specific regulatory test cycles.                      assessment we are not concluding that
                                             study.292                                               Accordingly, the costs reflect                        FEV as a whole is a source on which
                                               As we explained in the 2020 final                     incremental technology effectiveness for              NHTSA should not rely, but we do want
                                             rule, we do not believe that the FEV                    achieving improvements as measured                    to make sure the baseline assumptions
                                             report referenced by ICCT is an                         through U.S. regulatory test methods.                 of costing data, and how they are
                                             appropriate source to use for this                      We discuss these test cycles and                      collected, are consistent with the
                                             analysis for a few reasons. First, the                  methods further in Section III.C.4.                   baseline assumptions of our analysis.
                                             primary focus of the FEV study ‘‘is the                    Second, FEV did not conduct original                  Finally, the cost for different vehicle
                                             European Market according to the EU6b                   teardown studies for this report, as                  classes identified by the FEV study does
                                             regulation as well as the consideration                 indicated by project tasks, but rather                not line up with the vehicle classes
                                             of emissions under both the NEDC and                    used engineering judgement and                        discussed in the NPRM and this final
                                             WLTP test procedures.’’ Components                      external studies in assessing                         rule analysis. FEV stated specifically,
                                             designed for use in Europe will have                    incremental costs.293 The FEV report                  ‘‘the configuration of the vehicles has
                                                                                                     did not provide sources for each                      not been optimized for the [U.S.] market
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                                                292 FEV 2015—David Blanco-Rodriguez, 2025            individual cost and it is unclear how                 and may not be representative of this
                                             Passenger car and light commercial vehicle                                                                    market.’’ 294 We have discussed the
                                             powertrain technology analysis. FEV GmbH.                 293 FEV EU Costs Tasks: ‘‘Definition of reference
                                                                                                                                                           importance of aligning the CAFE vehicle
                                             September 2015. https://theicct.org/sites/default/      hardware or description made by experience of         models with the U.S. market earlier in
                                             files/publications/PV-LCV-Powertrain-Tech-              development and design engineers as well as
                                             Analysis_FEV-ICCT_2015.pdf. (Accessed: February         additional research as base for cost analysis (no
                                                                                                                                                                                                        ER02MY22.073</GPH>




                                             16, 2022).                                              purchase of hardware).’’                                294 Id. at p. 141.




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                                             Sections III.C.2 and III.C.4. All of these              features, we apply to the transmission                technology; for example, the baseline 8-
                                             factors make it difficult to compare                    technologies.                                         speed automatic transmission is termed
                                             directly our estimates and estimates                       We only received comments regarding                ‘‘AT8’’, while an AT8 with level 2 HEG
                                             presented in the FEV report cited by                    the costs assigned to eCVT technology                 technology is ‘‘AT8L2’’ and an AT8
                                             ICCT in their comments.                                 for power-split strong hybrid (i.e.,                  with level 3 HEG technology is
                                                ICCT’s comment regarding the cost of                 SHEVPS) systems. Our model only uses                  ‘‘AT8L3.’’
                                             the HCR engine technology costs, unlike                 the eCVT technology as part of the                       AT: Conventional planetary gear
                                             the costs discussed above, did not                      SHEVPS technology package, and the                    automatic transmissions are the most
                                             originate with the 2015 FEV report.                     eCVT is not modeled as a standalone                   popular transmission.296 ATs typically
                                             ICCT stated that ‘‘DMC costs for HCR in                 transmission technology. As a result, we              contain three or four planetary gear sets
                                             the SAFE rule, which are unchanged in                   have responded to comments on eCVT                    that provide the various gear ratios. Gear
                                             NHTSA’s proposed rule, were about                       costs in Section III.D.3. For all other               ratios are selected by activating
                                             $200 more than in EPA’s 2016 TAR.                       transmission technologies, we use the                 solenoids which engage or release
                                             This is a clear case where the agencies                 same NPRM transmission technologies                   multiple clutches and brakes as needed.
                                             appear to have not used the best                        inputs and costs for the final rule                   ATs are packaged with torque
                                             available data from EPA.’’                              analysis.                                             converters, which provide a fluid
                                                We used the same DMCs established                                                                          coupling between the engine and the
                                             by the 2015 NAS Report for the                          (a) Transmission Modeling in the CAFE
                                                                                                     Model                                                 driveline and provide a significant
                                             Atkinson cycle technologies in both the                                                                       increase in launch torque. When
                                             NPRM analysis and the final rule                           We model two categories of
                                                                                                                                                           transmitting torque through this fluid
                                             analysis. However, because there are                    transmissions for this analysis:
                                                                                                                                                           coupling, energy is lost due to the
                                             many various engine configurations in                   Automatic and manual. We characterize
                                                                                                                                                           churning fluid. These losses can be
                                             the market, we do not use the same                      automatic transmissions as
                                                                                                                                                           eliminated by engaging the torque
                                             fixed costs that were set for each type                 transmissions that automatically select
                                                                                                     and shift between transmission gears for              convertor clutch to directly connect the
                                             of vehicle described in the 2015 NAS                                                                          engine and transmission (‘‘lockup’’). For
                                             Report, such as pickup and sedan. We                    the driver during vehicle operation. We
                                                                                                     further subdivide automatic                           the Draft TAR and 2020 final rule, EPA
                                             have expanded costs by considering the
                                                                                                     transmissions into four subcategories:                and DOT surveyed automatic
                                             type of technology in the baseline, like
                                                                                                     Traditional automatic transmissions                   transmissions in the market to assess
                                             SGDI, and the configuration of the
                                                                                                     (AT), dual clutch transmissions (DCT),                trends in gear count and purported fuel
                                             engine, such as SOHC versus DOHC. In
                                                                                                     continuously variable transmissions                   economy improvements.297 Based on
                                             addition, the cost used in the NPRM
                                                                                                     (CVT), and direct drive transmissions                 that survey, and also EPA’s 2021
                                             also included updated dollar year,
                                                                                                     (DD).                                                 Automotive Trends Report,298 we
                                             learning rate, and RPE in comparison to
                                                                                                        We model both the DD transmission                  concluded that modeling ATs with a
                                             the 2016 TAR. Although EPA also used
                                                                                                     and eCVT as part of electrified                       range of 5 to 10 gears, with three levels
                                             costs from the 2015 NAS Report for the
                                                                                                     powertrain technology packages, and                   of HEG technology for this analysis was
                                             Proposed Determination analysis, they
                                                                                                     not as independently selectable                       reasonable.
                                             used a different approach to account for
                                             components.                                             technologies. As a result, we do not                     CVT: Conventional continuously
                                                After review of the provided                         explicitly include either technology in               variable transmissions consist of two
                                             comments, we continue to rely on the                    the transmission paths, and the                       cone-shaped pulleys, connected with a
                                             costs developed from the data provided                  technologies are discussed further in                 belt or chain. Moving the pulley halves
                                             by NAS and used for the NPRM                            Section III.D.3.                                      allows the belt to ride inward or
                                             analysis. Engine technology costs often                    We employ different levels of high                 outward radially on each pulley,
                                             exist as a range of values across                       efficiency gearbox (HEG) technology in                effectively changing the speed ratio
                                             manufacturers, and we work to try and                   the ATs and CVTs. HEG improvements                    between the pulleys. This ratio change
                                             find the best representative value of that              for transmissions represent incremental               is smooth and continuous, unlike the
                                             range, avoiding either maximum or                       advancement in technology that                        step changes of other transmission
                                             minimum values.                                         improve efficiency, such as reduced                   varieties.299 We include two types of
                                                                                                     friction seals, bearings and clutches,                CVT systems in the selectable
                                             Transmission Paths                                      super finishing of gearbox parts, and                 transmission paths, the baseline CVT
                                                For this analysis, we classify all light             improved lubrication. These                           and a CVT with HEG technology
                                             duty vehicle transmission technologies                  advancements are aimed at reducing                    applied.
                                             into discrete transmission technology                   frictional and other parasitic loads in                  DCT: Dual clutch transmissions, like
                                             paths. We use these paths to model the                  transmissions, to improve efficiency.                 automatic transmissions, automate shift
                                             most representative characteristics,                    We consider three levels of HEG                       and launch functions. DCTs use
                                             costs, and performance of the fuel-                     improvements in this analysis, based on               separate clutches for even-numbered
                                             economy improving transmissions most                    2015 NAS Report and CBI data.295 We                   and odd-numbered gears, allowing the
                                             likely available during the rulemaking                  apply HEG efficiency improvements to                  next gear needed to be pre-selected,
                                             time frame, MYs 2024–2026.                              ATs and CVTs, because those                           resulting in faster shifting. The use of
                                                In the following sections we discuss                 transmissions inherently have higher                  multiple clutches in place of a torque
                                             how we define transmission                              friction and parasitic loads related to               converter results in lower parasitic
                                             technologies in this analysis, the general              hydraulic control systems and greater
                                             technology categories we use in the                     component complexity, compared to
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                                                                                                                                                              296 2021 EPA Automotive Trends Report, at pp.

                                             CAFE Model, and the transmission                        MTs and DCTs. We note HEG                             62–66.
                                                                                                                                                              297 Draft TAR at 5–50, 5–51; Final Regulatory
                                             technologies’ relative effectiveness and                technology improvements in the
                                                                                                                                                           Impact Analysis accompanying the 2020 final rule,
                                             costs. In the following sections we also                transmission technology pathways by                   at 549.
                                             provide an overview of how we assign                    increasing ‘‘levels’’ of a transmission                  298 2021 EPA Automotive Trends Report, at pp.
                                             transmission technologies to the                                                                              62–66.
                                             baseline fleet, as well as the adoption                   295 2015 NAS Report, at p. 191.                        299 2015 NAS Report, at p. 171.




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                                             losses than ATs.300 Because of a history                engaged. Gears are selected via a shift               reduced market presence, we only
                                             of limited appeal,301 302 we constrain                  lever, operated by the driver. The lever              include three variants of manual
                                             application of additional DCT                           operates synchronizers, which speed                   transmissions in the analysis.
                                             technology to vehicles already using                    match the output shaft and the selected                  The transmission model paths used in
                                             DCT technology, and only model two                      gear before engaging the gear with the                this analysis are shown in Figure III–10.
                                             types of DCTs in this analysis.                         shaft. During shifting operations (and                Baseline-only technologies (MT5, AT5,
                                                MT: Manual transmissions are                         during idle), a clutch between the                    AT7L2, AT9L2, and CVT) are grayed
                                             transmissions that require direct control               engine and transmission is disengaged                 and can only be assigned as initial
                                             by the driver to operate the clutch and                 to decouple engine output from the                    vehicle transmission configurations.
                                             shift between gears. In a manual                        transmission. Automakers today offer a                Further details about transmission path
                                             transmission, gear pairs along an output                minimal selection of new vehicles with                modeling can be found in TSD Chapter
                                             shaft and parallel layshaft are always                  manual transmissions.303 As a result of               3.2.




                                             (b) Transmission Analysis Fleet                         assignments for automatic and manual                  incorporated and used the information
                                             Assignments                                             transmissions usually match the number                obtained to assign an HEG level. No
                                                                                                     of gears listed by the data sources, with             automatic transmissions in the analysis
                                                The wide variety of transmissions on                 some exceptions. We did not model                     fleet were determined to be at HEG
                                             the market are classified into discrete                 four-speed transmissions in Autonomie                 Level 3. In addition, no six-speed
                                             transmission technology paths for this                  for this analysis due to their rarity and             automatic transmissions were assigned
                                             analysis. These paths are used to model                 low likelihood of being used in the                   HEG Level 2. However, we found all 7-
                                             the most representative characteristics,                future, so we assigned MY 2020 vehicles               speed, all 9-speed, all 10-speed, and
                                             costs, and performance of the fuel                      with an AT4 or MT4 to an AT5 or MT5                   some 8-speed automatic transmissions
                                             economy-improving technologies most                     baseline, respectively. Some dual-clutch              to be advanced transmissions operating
                                             likely available during the rulemaking                  transmissions were also an exception;                 at HEG Level 2 equivalence. Eight-speed
                                             time frame.                                             dual-clutch transmissions with seven                  automatic transmissions developed after
                                                To generate the analysis fleet, we                   gears were assigned to DCT6.                          MY 2017 are assigned HEG Level 2. All
                                             gather data on transmissions from                          For automatic and continuously                     other transmissions are assigned to their
                                             manufacturer mid-model year CAFE                        variable transmissions, the                           respective transmission’s baseline level.
                                             compliance submissions and publicly                     identification of the most appropriate                The baseline (HEG level 1) technologies
                                             available manufacturer specification                    transmission path model required                      available include AT6, AT8, and CVT.
                                             sheets. We use the data to assign                       additional steps; this is because high-                  We assigned any vehicle in the
                                             transmissions in the analysis fleet and                 efficiency gearboxes are considered in                analysis fleet with an electric
                                             determine which platforms share                         the analysis but identifying HEG level                powertrain a direct drive (DD)
                                             transmissions.                                          from specification sheets alone was not               transmission. This designation is for
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                                                We specify transmission type, number                 always straightforward. We conducted a                informational purposes; if specified, the
                                             of gears, and high-efficiency gearbox                   review of the age of the transmission                 transmission will not be replaced or
                                             (HEG) level for the baseline fleet                      design, relative performance versus                   updated by the model. Similarly, we
                                             assignment. The number of gears in the                  previous designs, and technologies                    assigned any power-split hybrid vehicle
                                               300 2015 NAS Report, at p. 170.                         302 2021 NAS Report, at 56.
                                                                                                                                                                                                       ER02MY22.074</GPH>




                                               301 2020 EPA Automotive Trends Report, at p. 57.        303 2020 EPA Automotive Trends Report, at p. 61.




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                                             an eCVT transmission. As with the                          Note that when we determine the                       We preclude adoption of other
                                             direct drive (DD) transmission, this                    drive type of a transmission, the                     transmission types once a platform
                                             designation is for informational                        assignment of all-wheel drive (AWD)                   progresses past an AT6 on the automatic
                                             purposes.                                               versus four-wheel drive (4WD) is                      transmission path. We use this
                                                In addition to technology type, gear                 determined by vehicle architecture. Our               restriction to avoid the significant level
                                             count, and HEG level, transmissions are                 assignment does not necessarily match                 of stranded capital loss that could result
                                             characterized in the analysis fleet by                  the drive type used by the manufacturer               from adopting a completely different
                                             drive type and vehicle architecture.                    in specification sheets and marketing                 transmission type shortly after adopting
                                             Drive types considered in the analysis                  materials. We assigned vehicles with a                an advanced transmission, which would
                                             include front-, rear-, all-, and four-wheel             powertrain capable of providing power                 occur if a different transmission type
                                             drive. Our definition of drive types in                 to all wheels and a transverse engine                 were adopted after AT6 in the
                                             the analysis does not always align with                 (front-wheel drive architecture), AWD.                rulemaking timeframe.
                                             manufacturers’ drive type designations;                 We assigned vehicles with power to all                   We do not allow vehicles that do not
                                             see the end of this subsection for further              four wheels and a longitudinal engine                 start with AT7L2 or AT9L2
                                             discussion. These characteristics,                      (rear-wheel drive architecture), 4WD.                 transmissions to adopt those
                                             supplemented by information such as                     (c) Transmission Adoption Features                    technologies during simulation. We
                                             gear ratios and production locations,                                                                         observed that MY 2020 vehicles with
                                             showed that manufacturers use                              We designated transmission
                                                                                                                                                           those technologies were primarily
                                             transmissions that are the same or                      technology pathways to prevent ‘‘branch
                                                                                                                                                           luxury performance vehicles and
                                             similar on multiple vehicle models.                     hopping’’—changes in transmission
                                                                                                                                                           concluded that other vehicles would
                                             Manufacturers have told the agency they                 type that would correspond to
                                                                                                                                                           likely not adopt those technologies. We
                                             do this to control component                            significant changes in transmission
                                                                                                                                                           concluded that this was also a
                                             complexity and associated costs for                     architecture—for vehicles that are
                                                                                                                                                           reasonable assumption for the analysis
                                             development, manufacturing, assembly,                   relatively advanced on a given pathway.
                                                                                                                                                           fleet because vehicles that have moved
                                             and service. If multiple vehicle models                 The CAFE Model prevents ‘‘branch
                                                                                                                                                           to more advanced automatic
                                             share technology type, gear count, drive                hopping’’ recognizing that stranded
                                                                                                                                                           transmissions have overwhelmingly
                                             configuration, internal gear rations, and               capital associated with moving from one
                                                                                                                                                           moved to 8-speed and 10-speed
                                             production location, the transmissions                  transmission architecture to another is
                                                                                                                                                           transmissions.304
                                             are treated as a single group for the                   relevant and not entirely feasible when
                                             analysis. Vehicles in the analysis fleet                making technology selections. Stranded                   We limited CVT adoption by
                                             with the same transmission                              capital is discussed in Section III.C.6.              technology path logic. We do not allow
                                             configuration adopt additional fuel-                    For example, a vehicle with an                        CVTs to be adopted by vehicles that do
                                             saving transmission technology                          automatic transmission with more than                 not originate with a CVT or by vehicles
                                             together, as described in Section                       five gears cannot adopt a dual-clutch                 with multispeed transmissions beyond
                                             III.C.2.a).                                             transmission. For a more detailed                     AT6 in the baseline fleet. Once on the
                                                Shared transmissions are designated                  discussion of path logic applied in the               CVT path, we only allow the platform
                                             and tracked in the CAFE Model input                     analysis, including technology                        to apply improved CVT technologies.
                                             files using transmission codes.                         supersession logic and technology                     We restrict application of CVT
                                             Transmission codes are six-digit                        mutual exclusivity logic, please see                  technology on larger vehicles because of
                                             numbers that are assigned to each                       CAFE Model Documentation S4.5                         the higher torque (load) demands of
                                             transmission and encode information                     Technology Constraints (Supersession                  those vehicles and CVT torque
                                             about them. This information includes                   and Mutual Exclusivity).                              limitations based on durability
                                             the manufacturer, drive configuration,                     Some technologies modeled in the                   constraints. Additionally, we use this
                                             transmission type, and number of gears.                 analysis are not yet in production, and               restriction to avoid the loss of
                                             TSD Chapter 3.2.4 includes more                         therefore are not assigned in the                     significant level of stranded capital.
                                             information on the transmission codes                   baseline fleet. Nonetheless, we made                     We allow vehicles in the baseline fleet
                                             designated in the analysis fleet.                       these technologies available for future               that have DCTs to apply an improved
                                                We assigned different transmission                   adoption because, they are projected to               DCT and allows vehicles with an AT5
                                             codes to variants of a transmission that                be available in the analysis timeframe.               to consider DCTs. Drivability and
                                             may have appeared to be similar based                   For instance, we did not observe an                   durability issues with some DCTs have
                                             on the characteristics considered in the                AT10L3 in the baseline fleet, but it is               resulted in a low relative adoption rate
                                             analysis but are not mechanically                       plausible that manufacturers that                     over the last decade; this is also broadly
                                             identical. We distinguish among                         employ AT10L2 technology may                          consistent with manufacturers’
                                             transmission variants by comparing                      improve the efficiency of those AT10L2s               technology choices.305
                                             their internal gear ratios and production               in the rulemaking timeframe.                             We only allow vehicles with MTs to
                                             locations. For example, several Ford                       In the following sections we discuss               adopt more advanced manual
                                             nameplates carry a rear-wheel drive, 10-                specific adoption features applied to                 transmissions for this analysis, because
                                             speed automatic transmission. These                     each type of transmission technology.                 other transmission types do not provide
                                             nameplates comprise a wide variety of                      When we adopt electrification                      a similar driver experience (utility). We
                                             body styles and use cases, and so we                    technologies, the transmissions                       do not allow vehicles with MTs to adopt
                                             assigned different transmission codes to                associated with those technologies will               ATs, CVTs, or DCT technologies under
                                             these different nameplates. Because we                  supersede the existing transmission on
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                                                                                                                                                           any circumstance. We do not allow
                                             assigned different transmission codes,                  a vehicle. We superseded the                          vehicles with other transmissions to
                                             we are not treating them as ‘‘shared’’ for              transmission technology when P2                       adopt MTs in recognition of the low
                                             the purposes of the analysis and the                    hybrids, plug-in hybrids, or battery
                                             transmission models have the                            electric vehicle technologies are                        304 2020 EPA Automotive Trends Report, at 64,
                                             opportunity to adopt transmission                       applied. For more information, see                    figure 4.18.
                                             technologies independently.                             Section III.D.3.c).                                      305 Ibid.




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                                             customer demand for manual                                 The only technology effectiveness                  values shown is representative of the
                                             transmissions.306                                       results that were not directly calculated             improvements seen for upgrading only
                                                                                                     using the Autonomie simulation results                the listed transmission technology for a
                                             (d) Transmission Effectiveness                          were for the AT6L2. We determined the                 given combination of other
                                             Modeling                                                model for this specific technology was                technologies. In other words, the range
                                                For this analysis, we use the                        inconsistent with the other transmission              of effectiveness values we show for each
                                             Autonomie full vehicle simulation tool                  models and overpredicted effectiveness                specific technology, e.g., AT10L3,
                                                                                                     results. Evaluation of the AT6L2                      represents the addition of the AT10L3
                                             to model the interaction between
                                                                                                     transmission model revealed an                        technology to every technology
                                             transmissions and the full vehicle
                                                                                                     overestimated efficiency map was                      combination that could select the
                                             system to improve fuel economy, and
                                                                                                     developed for the AT6L2 model. The                    addition of AT10L3. We must
                                             how changes to the transmission                         high level of efficiency assigned to the              emphasize that the graph shows the
                                             subsystem influence the performance of                  transmission surpassed benchmarked                    change in fuel consumption values
                                             the full vehicle system. Our full vehicle               advanced transmissions.308 To address                 between entire technology keys,309 and
                                             simulation approach clearly defines the                 the issue, we replaced the effectiveness              not the individual technology
                                             contribution of individual transmission                 values of the AT6L2 model. We                         effectiveness values. Using the change
                                             technologies and separates those                        replaced the effectiveness for the AT6L2              between whole technology keys
                                             contributions from other technologies in                technology with analogous effectiveness               captures the complementary or non-
                                             the full vehicle system. Our modeling                   values from the AT7L2 transmission                    complementary interactions among
                                             approach follows the recommendations                    model. For additional discussion on                   technologies. In the graph, the box
                                             of the 2015 NAS Report to use full                      how analogous effectiveness values are                shows the inner quartile range (IQR) of
                                             vehicle modeling supported by                           determined please see Section                         the effectiveness values and whiskers
                                             application of collected improvements                   III.D.1.d)(2).                                        extend out 1.5 × IQR. The dots outside
                                             at the sub-model level.307 See TSD                         The effectiveness values for the                   of the whiskers show values for
                                             Chapter 3.2.4 for more details on                       transmission technologies, for all ten                effectiveness that are outside these
                                             transmission modeling inputs and                        vehicle technology classes, are shown in              bounds.
                                             results.                                                Figure III–11. Each of the effectiveness              BILLING CODE 4510–59–P
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                                               306 Ibid.                                               308 Autonomie model documentation, Chapter            309 Technology key is the unique collection of

                                               307 2015 NAS Report, at p. 292.                       5.3.4, Transmission Performance Data.                 technologies that constitutes a specific vehicle, see
                                                                                                                                                                                                                   ER02MY22.075</GPH>




                                                                                                                                                           Section III.C.4.c).



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                                                We also want to note the effectiveness               (e) Transmission Costs                                across select model years, which
                                             for the MT5, AT5, eCVT and DD                                                                                 demonstrates how we applied cost
                                             technologies are not shown. The DD and                     We use transmission costs drawn                    learning to the transmission
                                             eCVT do not have standalone                             from several sources, including the 2015              technologies over time. Note, because
                                             effectiveness values because they are                   NAS Report and NAS-cited studies for                  transmission hardware is often shared
                                             only implemented as part of electrified                 this analysis. TSD Chapter 3.2.7                      across vehicle classes, transmission
                                             powertrains. The MT5 and AT5 also                       provides a detailed description of the                costs are the same for all vehicle classes.
                                             have no effectiveness values because                    cost sources used for each transmission               For a full list of all absolute
                                             both technologies are baseline                          technology. In Table III–14 we show an                transmission costs used in the analysis
                                             technologies against which all other                    example of absolute costs for                         across all model years, see the
                                             technologies are compared.                              transmission technologies in 2018$                    Technologies file.




                                             3. Electrification Paths                                electrification pathways down which a                 powertrains.311 In contrast, we received
                                                The electric paths include a large set               vehicle can travel in the compliance                  several comments indicating that we
                                             of technologies that share the common                   simulation. The subsections also discuss              overstated the cost for hybrid vehicles
                                             element of using electrical power for                   how we assigned electrified vehicle                   and batteries,312 in particular due to
                                             certain vehicle functions that were                     technologies to vehicles in the analysis              non-battery electrification component
                                             traditionally powered mechanically by                   fleet, any limitations on electrification             costs. These comments and our
                                             IC engines. Electrification technologies                technology adoption, and the specific                 approach to addressing them for this
                                             thus can range from electrification of                  effectiveness and cost assumptions that               final rule are discussed in the following
                                             specific accessories (for example,                      we use in the Autonomie and CAFE                      sections.
                                             electric power steering to reduce engine                Model analysis.                                          Electrification technologies are a
                                             loads by eliminating parasitic losses) to                  We received many comments on                       complex set of systems that each
                                             electrification of the entire powertrain                electrification technologies, and                     manufacturer individually optimizes
                                             (as in the case of a battery electric                   specifically on technology costs.                     based on cost, performance, reliability,
                                             vehicle).                                               Commenters were generally supportive                  durability, customer acceptance and
                                                The following subsections discuss                    of our use of Argonne’s BatPaC battery                other metrics. We attempted to capture
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                                             how we define each electrification                      cost model to determine costs of                      these complexities to provide a
                                             technology in the CAFE Model and the                    batteries for different electrified                   reasonable assessment of the costs and
                                               310 The data used to create this figure can be          311 Auto Innovators, Docket No. NHTSA–2021–           312 Tesla, Inc. (Tesla), Docket No. NHTSA–2021–

                                             found the FE_1 Improvements file.                       0053–0021, at 55; Kia, Docket No. NHTSA–2021–         0053–1480, at 9–10; Toyota, Docket No. NHTSA–
                                                                                                     0053–1525, at p. 5.                                   2021–0053–1568, at 7; ICCT, Docket No. NHTSA–
                                                                                                                                                                                                               ER02MY22.076</GPH>




                                                                                                                                                           2021–0053–1581, at p. 10.



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                                             benefits of more stringent fuel economy                 are mutually exclusive and are                        CONV technology is grayed out. This
                                             standards. We expect that there will be                 evaluated in parallel. For example, the               technology is used to denote whether a
                                             future opportunities to improve upon                    model may evaluate PHEV20 technology                  vehicle comes in with a conventional
                                             this work as more substantiated data on                 prior to having to apply SS12V or strong              powertrain (i.e., a vehicle that does not
                                             electrification technologies becomes                    hybrid technology. The specific set of                include any level of hybridization) and
                                             available.                                              algorithms and rules are discussed                    to allow the model to properly map to
                                                                                                     further in the sections below, and more               the Autonomie vehicle simulation
                                             (a) Electrification Modeling in the CAFE                detailed discussions are included in the
                                             Model                                                                                                         database results. If multiple
                                                                                                     CAFE Model Documentation. The                         technologies from different pathways
                                                The CAFE Model defines the                           specifications for each electrification
                                             technology pathway for each type of                                                                           come together on single technology set,
                                                                                                     technology that we include in the
                                             electrification grouping in a logical                                                                         then those previous technology
                                                                                                     analysis is discussed below.
                                             progression. Whenever the CAFE Model                      The technologies that we include on                 pathways are disabled. This avoids
                                             converts a vehicle model to one of the                  the three vehicle-level paths pertaining              unrealistic adoption of legacy
                                             available electrified systems, both                     to the electrification and electric                   technologies as the simulation
                                             effectiveness and costs are updated                     improvements defined within the                       progresses from model year to model
                                             according to the specific components’                   modeling system are illustrated in                    year. For example, in the Figure III–12
                                             modeling algorithms. Additionally, all                  Figure III–12. As shown in the                        PHEVs converge on to BEVs then all the
                                             technologies on the electrification paths               Electrification path, the baseline-only               PHEVs are disabled from adoption.
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                                                SS12V: 12-volt stop-start (SS12V),                   efficiency. Like micro hybrids, BISG can              functionality, regenerative braking
                                             sometimes referred to as start-stop, idle-              be applied to all vehicles in the analysis            capability, and vehicle launch assist. A
                                             stop, or a 12-volt micro hybrid system,                 except for Engine 26a (VCR). We assume                SHEVPS has a higher potential for fuel
                                             is the most basic hybrid system that                    all mild hybrids are fixed battery                    economy improvement than a SHEVP2,
                                             facilitates idle-stop capability. In this               capacity 48-volt systems with engine                  although it costs more and has a lower
                                             system, the integrated starter generator                belt-driven motor/generators.                         power density.316
                                             is coupled to the internal combustion                      ICCT commented that we should                         P2 parallel hybrids (SHEVP2) are a
                                             (IC) engine. When the vehicle comes to                  consider another type of mild hybrid                  type of hybrid vehicle that use a
                                             an idle-stop the IC engine completely                   system that has a higher power output,                transmission-integrated electric motor
                                             shuts off, and, with the help of the 12-                which leads to an increased efficiency                placed between the engine and a
                                             volt battery, the engine cranks and starts              compared to the 48V mild hybrid                       gearbox or CVT, with a clutch that
                                             again in response to throttle to move the               assumed in the NPRM analysis. The                     allows decoupling of the motor/
                                             vehicle, application or release of the                  increased benefit from this higher power              transmission from the engine.
                                             brake pedal to move the vehicle. The 12-                output mild hybrids is due to its                     Disengaging the clutch allows all-
                                             volt battery used for the start-stop                    placement in the powertrain in P1 and                 electric operation and more efficient
                                             system is an improved unit compared to                  P2 positions rather than P0.313 314                   brake-energy recovery. Engaging the
                                             a traditional 12-volt battery, and is                      We agree with ICCT that mild hybrids               clutch allows coupling of the engine
                                             capable of higher power, increased life                 in configurations other than the P0                   and electric motor and, when combined
                                             cycle, and capable of minimizing                        position offer higher improvements                    with a transmission, reduces gear-train
                                             voltage drop on restart. This technology                compared to mild hybrids configured in                losses relative to power-split or 2-mode
                                             is beneficial to reduce fuel consumption                the P0 position. However, this                        hybrid systems. P2 hybrid systems
                                             and emissions when the vehicle                          inherently increases the cost of the                  typically rely on the internal
                                             frequently stops, such as in city driving               system and makes the system less cost                 combustion engine to deliver high,
                                             conditions or in stop and go traffic.                   effective compared to traditional strong              sustained power levels. Electric-only
                                             SS12V can be applied to all vehicle                     hybrids for a few reasons. First, like a              mode is used when power demands are
                                             technology classes. As discussed further                mild hybrid CISG system,315 non-P0                    low or moderate.
                                             below, for this final rule analysis we                  mild hybrid architecture requires                        An important feature of the SHEVP2
                                             lowered the cost of the battery used in                 significant changes to the area of the                system is that it can be applied in
                                             the SS12V system to reflect a more                      powertrain where the electric machine                 conjunction with most engine
                                             widely utilized SS12V battery                           components are installed compared to                  technologies. Accordingly, once a
                                             chemistry.                                              P0 BISG systems. Second, these                        vehicle is converted to a SHEVP2
                                                Next, mild and strong hybrid systems,                system’s higher power output will also                powertrain in the compliance
                                             discussed in the following paragraphs,                  require a higher battery pack capacity,               simulation, the CAFE Model allows the
                                             can be classified based on the location                 which could also increase costs.                      vehicle to adopt the conventional
                                             of the electric motor in the system.                    Separately, no manufacturer has                       engine technology that is most cost
                                             Depending on the location of the                        indicated that they will adopt this type              effective, regardless of relative location
                                             electric machine, the hybrid                            of mild hybrid configuration in the                   of the existing engine on the engine
                                             technologies are classified as follows:                 rulemaking time frame. For MYs 2024–                  technology path. This means a vehicle
                                                • P0: Motor located at the primary                   2026, the CAFE Model estimates that a                 could adopt a lower technology engine
                                             side of the engine,                                     significant penetration of strong hybrids             when the CAFE Model converts it to a
                                                • P1: Motor located at the flywheel                  and plug-in hybrids is required to meet               SHEVP2 strong hybrid. For example, a
                                             side of the engine,                                     the analyzed alternatives. Similar to                 vehicle in the analysis fleet that starts
                                                • P2: Motor located between engine                   what we observed in past rulemakings                  with a TURBO2 engine could adopt a
                                             and transmission,                                       with the CISG system, the non-P0 mild                 TURBO1 engine with the SHEVP2
                                                • P3: Motor located at the                           hybrid is not a cost-effective way for                system, if that TURBO1 engine allows
                                             transmission output, and                                manufacturers to meet standards in the                the vehicle to meet fuel economy
                                                • P4: Motor located on the axle.                     rulemaking time frame. Accordingly, we                standards more cost effectively.
                                                BISG: The belt integrated starter                    did not add an additional mild hybrid                    The power-split hybrid (SHEVPS) is a
                                             generator, sometimes referred to as a                   technology for this final rule.                       more advanced electrified system than
                                             mild hybrid system or P0 hybrid,                           SHEVP2/SHEVPS: A strong hybrid                     SHEVP2 hybrid. The SHEVPS electric
                                             provides idle-stop capability and uses a                vehicle is a vehicle that combines two                drive replaces the traditional
                                             higher voltage battery with increased                   or more propulsion systems, where one                 transmission with a single planetary
                                             energy capacity over conventional                       uses gasoline (or diesel), and the other              gear set (the power-split device) and a
                                             automotive batteries. These higher                      captures energy from the vehicle during               motor/generator.317
                                             voltages allow the use of a smaller, more               deceleration or braking, or from the                     Table III–15 below shows the
                                             powerful, and efficient electric motor/                 engine and stores that energy for later               configuration of conventional engines
                                             generator to replace the standard                       used by the vehicle. This analysis                    and transmissions used with strong
                                             alternator. In BISG systems, the motor/                 evaluated the following strong hybrid                 hybrids for this analysis. The SHEVPS
                                             generator is coupled to the engine via                  systems: hybrids with P2 parallel                     powertrain configuration is paired with
                                             belt (similar to a standard alternator). In             drivetrain architectures (SHEVP2), and                a planetary transmission (eCVT) and
                                             addition, these motor/generators can                    hybrids with power-split architectures                Atkinson engine (Eng26). This
                                             assist vehicle braking and recover                      (SHEVPS). Both strong hybrid types                    configuration is designed to maximize
                                             braking energy while the vehicle slows                  provide start-stop or idle-stop                       efficiency at the cost of reduced towing
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                                             down (regenerative braking) and in turn
                                             can propel the vehicle at the beginning                   313 ICCT, at p. 2.                                     316 Kapadia, J., Kok, D., Jennings, M., Kuang, M.

                                             of launch, allowing the engine to be                      314 Autonomie assumes a P0 position for mild        et al., ‘‘Powersplit or Parallel—Selecting the Right
                                                                                                     hybrid 48-volt systems.                               Hybrid Architecture,’’ SAE Int. J. Alt. Power.
                                             restarted later. Some limited electric                    315 We discuss challenges with CISG mild            6(1):2017, doi:10.4271/2017–01–1154.
                                             assist is also provided during                          hybrids, a system that is similar to the P2 hybrid       317 For more discussion of SHEVPS operation and

                                             acceleration to improve engine                          system, further in TSD Chapter 3.3.1.2.               characteristics, see TSD Section 3.3.



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                                             capability and real-world acceleration                  powertrains are paired with an                        transmission (AT8L2) and can be paired
                                             performance.318 In contrast, SHEVP2                     advanced 8-speed automatic                            with most conventional engines.319




                                                PHEV: Plug-in hybrid electric vehicles               range (AER) and two engine types. We                  electric vehicle (EREV) that can travel in
                                             are hybrid electric vehicles with the                   use 20 miles AER and 50 miles AER to                  all-electric mode even at higher speeds
                                             means to charge their battery packs from                reasonably span the various PHEV AERs                 and loads. Engine sizing, batteries, and
                                             an outside source of electricity (usually               in the market, and their effectiveness                motors for these PHEVs are discussed
                                             the electric grid). These vehicles have                 and cost. We use an Atkinson engine                   further in Section III.D.3.d).
                                             larger battery packs than strong HEVs                   and a turbocharged downsized engine to
                                                                                                                                                              PHEV20T and PHEV50T are 20 mile
                                             with more energy storage and a greater                  span the variety of engines available in
                                             capability to be discharged than other                  the market.                                           and 50 mile AER vehicles based on the
                                             non-plug-in hybrid electric vehicles.                     PHEV20/PHEV20H and PHEV50/                          SHEVP2 engine architecture. The PHEV
                                             PHEVs also generally use a control                      PHEV50H are essentially a SHEVPS                      versions of these architectures include
                                             system that allows the battery pack to be               with a larger battery and the ability to              larger batteries and motors to meet
                                             substantially depleted under electric-                  drive with the engine turned off. In the              performance metrics in charge
                                             only or blended mechanical/electric                     CAFE Model, the designation ‘‘H’’ in                  sustaining mode at higher speeds and
                                             operation and batteries that can be                     PHEVxH could represent another type                   loads as well as similar performance
                                             cycled in charge-sustaining operation at                of engine configuration, but for this                 and range in all electric mode in city
                                             a lower state of charge than non-plug-in                analysis we use the same effectiveness                driving and at higher speeds and loads.
                                             hybrid electric vehicles. These vehicles                values as PHEV20 and PHEV50 to                        For this analysis, the CAFE Model
                                             generally have a greater all-electric                   represent PHEV20H and PHEV50H,                        considers these PHEVs to have an
                                             range than typical strong HEVs.                         respectively. The PHEV20/PHEV20H                      advanced 8-speed automatic
                                             Depending on how these vehicles are                     represents a ‘‘blended-type’’ plug-in                 transmission (AT8L2) and TURBO1
                                             operated, they can use electricity                      hybrid that can operate in all-electric               (Eng12) in the powertrain configuration.
                                             exclusively, operate like a conventional                (engine off) mode only at light loads and             Further discussion of engine sizing,
                                             hybrid, or operate in some combination                  low speeds, and must blend electric                   batteries, and motors for these PHEVs is
                                             of these two modes.                                     motor and engine power together to                    discussed in Section III.D.3.d).
                                                There are four PHEV architectures                    propel the vehicle at medium or high
                                             included in this analysis that reflect                  loads and speeds. The PHEV50/                            Table III–16 shows the different PHEV
                                             combinations of two levels of all-electric              PHEV50H represents an extended range                  configurations used in this analysis.
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                                               318 Kapadia, J., D, Kok, M. Jennings, M. Kuang, B.    Powertrains 6 (1): 68–76. https://doi.org/10.4271/      320 Twenty-one different engines are evaluated

                                             Masterson, R. Isaacs, A. Dona. 2017. Powersplit or      2017-01-1154 (accessed: Feb. 11, 2022).               with SHEVP2 hybrid architecture: Engine 01, 02,
                                             Parallel—Selecting the Right Hybrid Architecture.         319 We did not model SHEVP2s with VTGe              03, 04, 5b, 6a, 7a, 8a, 12, 12–DEAC, 13, 14, 17, 18,
                                             SAE International Journal of Alternative                (Eng23c) and VCR (Eng26a).                            19, 20, 21, 22b, 23b, 24, 24–Deac. See Section III.D.1
                                                                                                                                                                                                                    ER02MY22.078</GPH>




                                                                                                                                                           for these engine specifications.



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                                                BEV: Battery electric vehicles are                   cars. Manufacturers have told us that                  miles. Any powertrain type can adopt a
                                             equipped with all-electric drive systems                greater range is important for meeting                 FCEV powertrain; however, to account
                                             powered by energy-optimized batteries                   the needs of broader range of consumers                for limited market penetration and
                                             charged primarily by electricity from the               and to increase consumer demand. More                  unlikely increased adoption in the
                                             grid. BEVs do not have a combustion                     recently, there has been a trend towards               rulemaking timeframe, technology
                                             engine or traditional transmission.                     manufacturers building higher range                    phase in caps are used to control how
                                             Instead, BEVs rely on all electric                      BEVs in the market, and manufacturers                  many FCEVs a manufacturer can build.
                                             powertrains with a single speed gear                    building CUV/SUV and pickup truck                      The details of this concept are further
                                             reduction in place of an advanced                       BEVs.323 To simulate the potential                     discussed in Section III.D.3.c).
                                             transmission. Battery electric vehicle                  relationship of BEV range to consumer
                                             range varies by vehicle and battery pack                demand, we have included several                       (b) Electrification Analysis Fleet
                                             size.                                                   adoption features for BEVs. These are                  Assignments
                                                We simulate BEVs with ranges of 200,                 discussed further in Section III.D.3.c).
                                             300, 400 and 500 miles in the CAFE                        FCEV: Fuel cell electric vehicles are                   We use electrification technologies
                                             Model. BEV range is measured pursuant                   equipped with an all-electric drivetrain,              assigned in the baseline fleet as the
                                             to EPA test procedures and guidance.321                 but unlike BEVs, FCEVs do not solely                   starting point for regulatory analysis.
                                             The CAFE Model assumes a BEV direct                     rely on batteries; rather, electricity to              These assignments are based on
                                             drive transmission is unique to each                    run the FCEV electric motor is mainly                  manufacturer-submitted CAFE
                                             vehicle (i.e., the transmissions are not                generated by an onboard fuel cell                      compliance information, publicly
                                             shared by any other vehicle) and that no                system. FCEV architectures are similar                 available technical specifications,
                                             further improvements to the                             to series hybrids,324 but with the engine              marketing brochures, articles from
                                             transmission are available.                             and generator replaced by a fuel cell.                 reputable media outlets, and data from
                                                An important note about the BEVs                     Commercially available FCEVs consume                   Wards Intelligence.328
                                             offered in this analysis is that the CAFE               hydrogen to generate electricity for the
                                             Model does not account for vehicle                      fuel cell system, with most automakers                    Table III–17 gives the penetration
                                             range when considering additional BEV                   using high pressure gaseous hydrogen                   rates of electrification technologies
                                             technology adoption. That is, the CAFE                  storage tanks. FCEVs are currently                     eligible to be assigned in the baseline
                                             Model does not have an incentive to                     produced in limited numbers and are                    fleet. Over half of the fleet had some
                                             build BEV 300, 400, and 500s, because                   available in limited geographic areas                  level of electrification, with the vast
                                             the BEV200 is just as efficient as those                where hydrogen refueling stations are                  majority of these being micro hybrids.
                                             vehicles and counts the same toward                     accessible. For reference, in MY 2020,                 PHEVs represented 0.5 percent of the
                                             compliance, but at a significantly lower                only four FCEV models were offered for                 MY 2020 baseline fleet. BEVs
                                             cost because of the smaller battery.322                 sale, and since 2014 only 12,081 FCEVs                 represented less than 2 percent of MY
                                             While manufacturers have been                           have been sold.325 326 327                             2020 baseline fleet; BEV300 was the
                                             building 200-mile range BEVs, those                       For this analysis, the CAFE Model                    most common BEV technology, while
                                             vehicles have generally been passenger                  simulates a FCEV with a range of 320                   no BEV500s were observed.

                                               321 BEV electric ranges are determined per EPA           324 Series hybrid architecture is a strong hybrid     326 See the MY 2020 Market Data file. The four

                                             guidance Document. ‘‘EPA Test Procedure for             that has the engine, electric motor and transmission   vehicles are the Honda Clarity, Hyundai Nexo and
                                             Electric Vehicles and Plug-in Hybrids.’’ https://       in series. The engine in a series hybrid drives a      Nexo Blue, and Toyota Mirai.
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                                             fueleconomy.gov/feg/pdfs/EPA%20test%                    generator that charges the battery.                      327 These are majority leased vehicles that are
                                             20procedure%20for%20EVs-PHEVs-11-14-                       325 Argonne National Laboratory, ‘‘Light Duty       returned back to the manufacturer rather than
                                             2017.pdf. November 14, 2017. (Accessed: May 3,                                                                 resold as a used vehicle.
                                                                                                     Electric Drive Vehicles Monthly Sales Update.’’
                                             2021)                                                                                                            328 ‘‘U.S. Car and Light Truck Specifications and
                                               322 See section III.D.3.d Electrification             Energy Systems Division, https://www.anl.gov/es/
                                                                                                                                                            Prices, ’20 Model Year.’’ Wards Intelligence, 3 Aug.
                                             Effectiveness Modeling for effectiveness of different   light-duty-electric-drive-vehicles-monthly-sales-
                                                                                                                                                            2020, wardsintelligence.informa.com/WI964244/
                                             rage BEVs.                                              updates. (Accessed: Dec. 15, 2021)                     US-Car-and-Light-Truck-Specifications-and-Prices-
                                                                                                                                                                                                                   ER02MY22.079</GPH>




                                               323 2021 EPA Automotive Trends Report, at p. 58.                                                             20-Model-Year (accessed: Feb. 11, 2022).



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                                             BILLING CODE 4910–59–C                                  only range of 40 miles or less are                    technologies within each level being
                                                Micro and mild hybrids refer to the                  assigned PHEV20; vehicles with a range                mutually exclusive.
                                             presence of SS12V and BISG,                             above 40 miles are assigned PHEV50.                      As discussed further below, SKIP
                                             respectively. The data sources discussed                They are respectively assigned                        logic—restrictions on the adoption of
                                             above are used to identify the presence                 PHEV20T/50T if the engine is                          certain technologies—apply to plug-in
                                             of these technologies on vehicles in the                turbocharged (i.e., if it would qualify for           (PHEV) and strong hybrid vehicles
                                             fleet. Vehicles are assigned one of these               one of technologies on the turbo engine               (SHEV). Some technologies on these
                                             technologies only if its presence can be                technology pathway). We also calculate                pathways are ‘‘skipped’’ if a vehicle is
                                             confirmed with manufacturer brochures                   baseline fuel economy values for PHEV                 high performance, requires high towing
                                             or technical specifications.
                                                                                                     technologies as part of the PHEV                      capabilities as a pickup truck, or
                                                Strong hybrid technologies include
                                                                                                     analysis fleet assignments; that process              belongs to certain manufacturers who
                                             SHEVPS and SHEVP2. Note that
                                             P2HCR0, P2HCR1, P2HCR1D, and                            is described in detail in TSD Chapter                 have demonstrated that their future
                                             P2HCR2 are not assigned in the fleet                    3.3.2.                                                product plans will more than likely not
                                             and are only available to be applied by                    Battery electric vehicle and fuel cell             include the technology. The specific
                                             the model. When possible, manufacturer                  technologies include BEV200/300/400/                  criteria for SKIP logic for each
                                             specifications are used to identify the                 500 and FCEV with a 320-mile range.                   applicable electrification technology is
                                             strong hybrid architecture type. In the                 The BEV technologies are assigned to                  expanded on later in this section.
                                             absence of more sophisticated                           vehicles based on range thresholds that                  This section also discusses the
                                             information, hybrid architecture is                     best account for vehicles’ existing range             supersession of engines and
                                             determined by number of motors.                         capabilities while allowing room for the              transmissions on vehicles that adopt
                                             Hybrids with one electric motor are                     model to potentially apply more                       SHEV or PHEV powertrains. To manage
                                             assigned P2, and those with two motors                  advanced electrification technologies.                the complexity of the analysis, these
                                             are assigned PS. We sought comment in                   Vehicles with all-electric powertrains                types of hybrid powertrains are modeled
                                             the NPRM on additional ways the                         that use hydrogen fuel are assigned                   with several specific engines and
                                             agency could perform initial hybrid                     FCEV.                                                 transmissions, rather than in multiple
                                             assignments based on publicly available                    For more detail about the                          configurations. Therefore, the cost and
                                             information or technical publications.                  electrification analysis fleet assignment             effectiveness values SHEV and PHEV
                                             We did not receive any substantive                      process, see TSD Chapter 3.3.2.                       technologies consider these specific
                                             comments regarding baseline fleet                                                                             engines and transmissions.
                                                                                                     (c) Electrification Adoption Features
                                             strong hybrid assignments. Accordingly,                                                                          Finally, phase-in caps limit the
                                             this final rule analysis uses the same                    Multiple types of adoption features                 adoption rates of battery electric (BEV)
                                             approach to assigning SHEVPS and                        apply to the electrification technologies.            and fuel cell electric vehicles (FCEV).
                                                                                                     The hybrid/electric technology path                   We set the phase-in caps to account for
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                                             SHEVP2 in the baseline fleet.
                                                Plug-in hybrid technologies PHEV20/                  logic dictates how different vehicle                  current market share, scalability, and
                                             20T and PHEV50/50T are assigned in                      types can adopt different levels of                   reasonable consumer adoption rates of
                                             the baseline fleet. PHEV20H and                         electrification technology. Broadly                   each technology. TSD Chapter 3.3.3
                                             PHEV50H are not assigned in the fleet                   speaking, more advanced levels of                     discusses the electrification phase-in
                                             and are only available to be applied by                 hybridization or electrification                      caps and the reasoning behind them in
                                                                                                                                                                                                      ER02MY22.080</GPH>




                                             the model. Vehicles with an electric-                   supersede all prior levels, with certain              detail.


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                                                The only adoption feature applicable                    The engine belongs to an excluded                  a full Atkinson cycle engine, Eng26, and
                                             to micro and mild hybrid technologies                   manufacturer; 330                                     for PHEV20T/50T, the vehicle receives
                                             is path logic. The pathway consists of a                   The engine belongs to a pickup truck               a TURBO1 engine, Eng12.
                                             linear progression starting with a                      (i.e., the engine is on a vehicle assigned               SKIP logic applies to PHEV20/20H
                                             conventional powertrain with no                         the ‘‘pickup’’ body style);                           and PHEV50/50H under the same four
                                             electrification at all, which is                           The engine’s peak horsepower is more               conditions listed for the strong hybrid
                                             superseded by SS12V, which in turn is                   than 405 HP; or if                                    technologies in the previous section, for
                                             superseded by BISG. Vehicles can only                      The engine is on a non-pickup vehicle              the same reasons previously discussed.
                                             adopt micro and mild hybrid technology                  but is shared with a pickup.                             The adoption of BEVs and FCEVs is
                                             if the vehicle does not already have a                     No SKIP logic is applied to SHEVP2,
                                                                                                                                                           limited by both path logic and phase in
                                             more advanced level of electrification.                 however P2HCR2 is not used in this
                                                                                                                                                           caps. BEV200/300/400/500 and FCEV
                                                                                                     analysis, as discussed further in Section
                                                The adoption features that apply to                                                                        are applied as end-of-path technologies
                                                                                                     III.D.1.
                                             strong hybrid technologies include path                    The reasons for these conditions are               that superseded previous levels of
                                             logic, powertrain substitution, and                     similar to those applied to HCR engine                electrification.
                                             vehicle class restrictions. Per the                     technologies, discussed in more detail                   The main adoption feature applicable
                                             defined technology pathways, SHEVPS,                    above. In the real world, pickups and                 to BEVs and FCEVs is phase-in caps,
                                             SHEVP2, and the P2HCR technologies                      performance vehicles with certain                     which are defined in the CAFE Model
                                             are considered mutually exclusive. In                   powertrain configurations cannot adopt                input files as percentages that represent
                                             other words, when the model applies                     the technologies listed above and                     the maximum rate of increase in
                                             one of these technologies, the others are               maintain vehicle performance without                  penetration rate for a given technology.
                                             immediately disabled from future                        redesigning the entire powertrain. SKIP               They are accompanied by a phase-in
                                             application. However, all vehicles on                   logic is put in place to prevent the                  start year, which determines the first
                                             the strong hybrid pathways can still                    model from pursuing compliance                        year the phase-in cap applies. Together,
                                             advance to one or more of the plug-in                   pathways that are ultimately unrealistic.             the phase-in cap and start year
                                             hybrid technologies.                                       Auto Innovators in their comments for              determine the maximum penetration
                                                When the model applies any strong                    the NPRM, also to the 2018 NPRM,                      rate for a given technology in a given
                                             hybrid technology to a vehicle, the                     discussed issues with HCR                             year; the maximum penetration rate
                                             transmission technology on the vehicle                  technologies.331 Ford had similarly                   equals the phase-in cap times the
                                             is superseded. Regardless of the                        provided comments in opposition of                    number of years elapsed since the
                                             transmission originally present, P2                     high dependency on HCR                                phase-in start year. Note that phase-in
                                             hybrids adopt an 8-speed automatic                      technologies.332 For further discussion               caps do not inherently dictate how
                                             transmission (AT8L2), and PS hybrids                    of HCR, see Section III.D.1.c).                       much a technology is applied by the
                                             adopt an electronic continuously                           PHEV technologies supersede the                    model. Rather, they represent how
                                             variable transmission (eCVT).                           micro, mild, and strong hybrids, and                  much of the fleet could have a given
                                                When the model applies SHEVP2                        can only be replaced by full electric                 technology by a given year. Because
                                             technology, the model can consider                      technologies. Plug-in hybrid technology               BEV200 costs less and has higher
                                             various engine options to pair with the                 paths are also mutually exclusive, with               effectiveness values than other
                                             SHEVP2 architecture according to                        the PHEV20 technologies able to                       advanced electrification
                                             existing engine path constraints,                       progress to the PHEV50 technologies.                  technologies,333 the model will have
                                             considering relative cost effectiveness.                   The engine and transmission                        vehicles adopt it first, until it is
                                             For SHEVPS technology, the existing                     technologies on a vehicle are                         restricted by the phase-in cap.
                                             engine is replaced with Eng26, which is                 superseded when PHEV technologies                        Table III–18 shows the phase-in caps,
                                             a full Atkinson cycle engine.                           are applied to a vehicle. For all plug-in             phase-in year, and maximum
                                                SKIP logic is also used to constrain                 technologies, the model applies an                    penetration rate through 2050 for BEV
                                             adoption for SHEVPS, P2HCR0,                            AT8L2 transmission. For PHEV20/50                     and FCEV technologies. For
                                             P2HCR1, and P2HCR1D. These                              and PHEV20H/50H, the vehicle receives                 comparison, the actual penetration rate
                                             technologies are ‘‘skipped’’ for vehicles                                                                     of each technology in the baseline fleet
                                                                                                       330 Excluded manufacturers included BMW,
                                             with engines 329 that met one of the                                                                          is also listed in the fourth column from
                                                                                                     Daimler, and Jaguar Land Rover.
                                             following conditions:                                     331 Auto Innovators, Docket No. NHTSA–2018–         the left.
                                                                                                     0067–12073–A1, at p. 139.
                                               329 This refers to the engine assigned to the           332 Ford, Docket No. NHTSA–2018–0067–11928–           333 This is because BEV200 uses fewer batteries

                                             vehicle in the 2020 baseline fleet.                     A1, at p. 8.                                          and weighs less than BEVs with greater ranges.
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                                                The BEV200 phase-in cap is informed                   significantly lower than that of the other              set the phase-in cap accordingly.339 As
                                             by manufacturers’ tendency to move                       BEV technologies, the BEV200 phase-in                   with BEV200, however, the phase-in cap
                                             away from low-range vehicle offerings,                   cap allows the penetration rate of low-                 still allows for the market share of
                                             in part because of consumer hesitancy                    range BEVs to grow by a multiple of                     FCEVs to grow several times over.
                                             to adopt this technology. The advertised                 what is currently observed in the                          We received limited comments on the
                                             range on most electric vehicles does not                 market.                                                 NPRM referring to how we apply
                                             reflect extreme cold and hot real-world                     For BEV300, 400, and 500, phase-in                   electrification adoption features for the
                                             driving conditions that affect the utility               caps are intended to conservatively                     analysis. In its comments to EPA’s
                                             of already low-range vehicles.334 Many                   reflect potential challenges in the                     NPRM, submitted to our docket as a
                                             manufacturers have told us that the                      scalability of BEV manufacturing, and                   courtesy, Auto Innovators stated they
                                             portion of consumers willing to accept                   implementing BEV technology on many                     expect that consumers are likely to be
                                             a vehicle with our lowest range model                    vehicle configurations, including larger                more accepting of longer BEV ranges,340
                                             which is less than 250 miles of electric                 vehicles. In the short term, the                        which generally agrees with our
                                             range is small, and many manufacturers                   penetration of BEVs is largely limited by               expectations and reasoning in support
                                             do not plan to offer vehicles with less                  battery availability. For example, Tesla                of why we set the BEV200 phase-in cap.
                                             250 miles of electric range.335                          is not yet producing electric vans                         In contrast, ICCT stated that ‘‘there is
                                                Furthermore, the average BEV range                    because of cell production constraints,                 no engineering or technical reason to
                                             has steadily increased over the past                     and it remains a bottleneck in the                      limit application of strong hybrids in
                                             decade,336 perhaps in part as batteries                  company’s expansion into new product                    the fleet. Powersplit hybrids may have
                                             have become more cost effective. EPA                     lines.338 Incorporating battery packs that              torque limits, but there is no limitation
                                             observed in its 2021 Automotive Trends                   provide greater amounts of electric                     for parallel hybrid systems, whether P0,
                                             Report that ‘‘the average range of new                   range into vehicles also poses its own                  P1, P2, P3, or P4 architecture, as the
                                             EVs has climbed substantially. In model                  engineering challenges. Heavy batteries                 engine output is routed separately from
                                             year 2020 the average new EV is                          and large packs may be difficult to                     the motor output. This is demonstrated
                                             projected to have a 286-mile range, or                   integrate for many vehicle                              by the 2021 Ford F150 pickup truck
                                             about four times the range of an average                 configurations, and require structural                  with a P2 strong hybrid and the
                                             EV in 2011. This difference is largely                   vehicle modifications. Pickup trucks                    upcoming 2022 Toyota Tundra full-size
                                             attributable to higher production of new                 and large SUVs, in particular, require                  pickup truck with a strong hybrid and
                                             EVs with much longer ranges.’’ 337 The                   higher levels of energy as the number of                a conventional 10-speed automatic.’’ 341
                                             maximum growth rate for BEV200 in the                    passengers and/or payload increases, for                ICCT also included examples of hybrid
                                             model is set accordingly low to less than                towing and other high-torque                            applications in support of its comment
                                             0.1 percent per year. While this rate is                 applications. The BEV400 and 500                        that all vehicles can benefit from hybrid
                                                                                                      phase-in caps reflect these transitional                technology that included the Porsche
                                                334 AAA. ‘‘AAA Electric Vehicle Range Testing.’’
                                                                                                      challenges.                                             918 plug-in hybrid, 2019 Dodge Ram
                                             February 2019. https://www.aaa.com/AAA/
                                             common/AAR/files/AAA-Electric-Vehicle-Range-                The phase-in cap for FCEVs is based                  1500 pickup truck, and 2021 Ford F150
                                             Testing-Report.pdf (accessed: Feb. 11, 2022).            on existing market share as well as                     pickup truck. Similarly, Tesla stated
                                                335 See also, e.g., Baldwin, Roberto. ‘‘Tesla Model
                                                                                                      historical trends in FCEV production.                   that we artificially constrained the level
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                                             Y Standard Range Discontinued; CEO Musk Tweets           FCEV production share in the past five                  of electrification, pointing to the phase-
                                             Explanation.’’ Car and Driver, 30 Apr. 2021,                                                                     in caps placed on BEVs.
                                             www.caranddriver.com/news/a35602581/elon-                years has been extremely low, and we
                                             musk-model-y-discontinued-explanation.
                                             (Accessed: May 20, 2020)                                   338 Hyatt, Kyle. ‘‘Tesla Will Build an Electric Van      339 2020 EPA Automotive Trends Report, at 52,
                                                336 2021 EPA Automotive Trends Report, at 56,
                                                                                                      Eventually, Elon Musk Says.’’ Roadshow, CNET, 28        figure 4.13.
                                             figure 4.17.                                             Jan. 2021, www.cnet.com/roadshow/news/tesla-               340 Auto Innovators, at p. 56.
                                                                                                                                                                                                                 ER02MY22.081</GPH>




                                                337 2021 EPA Automotive Trends Report, at p. 58.      electric-van-elon-musk/. (Accessed May 20, 2021)           341 ICCT, at p. 10.




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                                                Regarding ICCT’s comment, the                         and up will most likely become the                   each electrified powertrain architecture
                                             NPRM analysis only limited adoption of                   status quo for the fleet in the rulemaking           and provides an effectiveness value for
                                             SHEVPS and P2HCR combinations for a                      time frame.347 In addition, the BEV300               each. For example, Autonomie
                                             small number of applications like                        and BEV400 caps were not met in either               determines a BEV’s overall efficiency by
                                             pickups, large SUVs that shared pickup                   the NPRM or this final rule analysis for             considering the efficiencies of the
                                             engines, and performance-oriented                        any of the alternatives considered. This             battery, the electric traction drive
                                             vehicles. All other conventional                         means that even with the market caps in              system (the electric machine and power
                                             vehicles can adopt P2 hybrid                             place, the alternatives did not require              electronics), and mechanical power
                                             powertrains; for example, the Toyota                     manufacturers to increase BEV                        transmission devices. Or, for a SHEVP2,
                                             Tundra, which has a turbocharged                         production because the standards were                Autonomie combines a very similar set
                                             engine paired with a 10-speed automatic                  met with other cost-effective                        of components to model the electric
                                             transmission is allowed to adopt P2                      technologies. Accordingly, for the final             portion of the hybrid powertrain, and
                                             hybrid. Additionally, most vehicles can                  rule analysis, we continued to use the               then also includes the combustion
                                             adopt a PS hybrid system, like the                       same adoption features as used in the                engine and related power for
                                             Toyota Highlander. ICCT’s other                          NPRM to reflect what we believe will                 transmission components. See TSD
                                             example, the Porsche 918, an $845,000                    foreseeably occur in the market in the               Chapter 3.3.4 and the Autonomie model
                                             4.6 liter V8 plug-in P2 hybrid with total                rulemaking time frame.                               documentation for a complete
                                             887 hp and 944 lb.-ft of torque, is an                                                                        discussion of electrification component
                                                                                                      (d) Electrification Effectiveness
                                             example of a vehicle that we could                                                                            modeling.
                                                                                                      Modeling
                                             model in our analysis as a SHEVP2                                                                                As discussed earlier in Section III.C.4,
                                             plug-in hybrid.342 However, it is unclear                   For this analysis, we consider a range            Autonomie applies different powertrain
                                             to what extent the hybrid technology on                  of electrification technologies which,               sizing algorithms depending on the type
                                             the Porsche 918 could apply to the mass                  when modeled, result in varying levels               of vehicle considered because different
                                             market fleet. Other U.S. market Porsche                  of effectiveness at reducing fuel                    types of vehicles not only contain
                                             plug-in hybrids, like the Cayenne E-                     consumption. As discussed above, the                 different powertrain components to be
                                             Hybrid and Panamera E-Hybrid, are                        modeled electrification technologies                 optimized, but they must also operate in
                                             modeled as SHEVP2 plug-hybrids in our                    include micro hybrids, mild hybrids,                 different driving modes. While the
                                             analysis.343 In all cases, the examples                  two different strong hybrids, two                    conventional powertrain sizing
                                             provided by ICCT were modeled in                         different plug-in hybrids with two                   algorithm must consider only the power
                                             accordance with their comments.344 345                   separate all electric ranges, full battery           of the engine, the more complex
                                                For both the NPRM and the final rule                  electric vehicles, and fuel cell electric            algorithm for electrified powertrains
                                             analysis, BEVs have phase-in cap                         vehicles. Each electrification technology            must simultaneously consider multiple
                                             limitations applied based on an analysis                 consists of many complex sub-systems                 factors, which could include the engine
                                             market availability, battery costs, and                  with unique component characteristics                power, electric machine power, battery
                                             consumer acceptance in the rule making                   and operational modes. As discussed                  power, and battery capacity. Also, while
                                             time frame.346 The BEV200 is limited to                  further below, the systems that                      the resizing algorithm for all vehicles
                                             a greater extent than the BEV300 and                     contribute to the effectiveness of an                must satisfy the same performance
                                             BEV400 to account for anticipated                        electrified powertrain in the analysis               criteria, the algorithm for some electric
                                             market demand for shorter-range BEVs.                    include the vehicle’s battery, electric              powertrains must also allow those
                                             As discussed earlier, the 2021 EPA                       motors, power electronics, and                       electrified vehicles to operate in certain
                                             Trends Report that showed that the                       accessory loads. Procedures for                      driving cycles, like the US06 cycle,
                                             average range of BEVs has increased                      modeling each of these sub-systems are               without assistance of the combustion
                                             beyond 200 miles to an average of 286                    broadly discussed in this section and                engine, and ensure the electric motor/
                                             miles. As such, 300-mile range BEVs                      the Autonomie model documentation.                   generator and battery can handle the
                                                                                                         Argonne uses data from their
                                                                                                                                                           vehicle’s regenerative braking power,
                                                342 Porsche. ‘‘The Super Sportscar.’’ https://
                                                                                                      Advanced Mobility Technology
                                             newsroom.porsche.com/en/products/918-spyder-                                                                  all-electric mode operation, and
                                                                                                      Laboratory (AMTL) to develop
                                             10713.html. (Accessed: Dec. 17, 2021); Cnet Road                                                              intended range of travel.
                                             and Show. ‘‘Porsche 918 Spyder: Plug-in hybrid           Autonomie’s electrified powertrain
                                                                                                      models. The modeled powertrains are                     To establish the effectiveness of the
                                             does 94mpg, 198mph.’’ https://www.cnet.com/
                                             roadshow/pictures/porsche-918-spyder-plug-in-            not intended to represent any specific               technology packages, Autonomie
                                             hybrid-does-94mpg-198mph/. (Accessed: Dec. 17,           manufacturer’s architecture but are                  simulates the vehicles’ performance on
                                             2021)
                                                                                                      intended to act as surrogates predicting             compliance test cycles, as discussed in
                                                343 See the market_data file vehicle codes
                                                                                                      representative levels of effectiveness for           Section III.C.4.348 349 350 The range of
                                             4212003, 4212004, 4212009, 4212010, 4222003,
                                             4222004, 4222005, 4222015, 4222016, and 4222017          each electrification technology.                     effectiveness for the electrification
                                             in the vehicles tab.                                        Autonomie determines the                          technologies in this analysis is a result
                                                344 2022 Toyota Tundra Product Information.
                                                                                                      effectiveness of each electrified                    of the interactions between the
                                             2022_Toyota_Tundra_Product_Information_
                                                                                                      powertrain type by modeling the basic                components listed above and how the
                                             FINAL.pdf; Buchholz, K., ‘‘2022 Toyota Tundra: V8                                                             modeled vehicle operates on its
                                             out, twin-turbo hybrid takes over’’, SAE. September      components, or building blocks, for
                                             22, 2021. https://www.sae.org/news/2021/09/2022-         each powertrain, and then combining                  respective test cycle.
                                             toyota-tundra-gains-twin-turbo-hybrid-power.             the components modularly to determine
                                             (Accessed: Dec. 20, 2021); Macaulay, S.,                                                                        348 See U.S. EPA, ‘‘How Vehicles are Tested.’’

                                             ‘‘Engineering the 2022 Toyota Tundra’’, SAE.             the overall efficiency of the entire                 https://www.fueleconomy.gov/feg/how_
                                             October 10, 2021. https://www.sae.org/news/2021/         powertrain. Autonomie identifies                     tested.shtml. (Accessed: May 6, 2021)
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                                             10/engineering-the-2022-toyota-tundra. (Accessed:        components for each electrified                        349 See Autonomie model documentation,
                                             Dec. 20, 2021)                                           powertrain type, and then interlinks
                                                345 ICCT, at p. 8.
                                                                                                                                                           Chapter 6, Test Procedures and Energy
                                                346 John Elkin, MIT finds that it might take a long
                                                                                                      those components to create a powertrain              Consumption Calculations.
                                             time for EVs to be as affordable as you want, Digital    architecture. Autonomie then models                    350 EPA Guidance Letter. ‘‘EPA Test Procedures

                                             Trends (November 23, 2019), https://                                                                          for Electric Vehicles and Plug-in Hybrids.’’ Nov. 14,
                                             www.digitaltrends.com/cars/mit-study-finds-ev-              347 20210 EPA Automotive Trends Report, at 536,   2017. https://www.fueleconomy.gov/feg/pdfs/EPA%
                                             market-will-stall-in-the-2020s/.                         figure 4.174.                                        20test%20procedure%20for%20EVs-PHEVs-11-14-
                                                                                                                                                           2017.pdf. (Accessed: May 6, 2021)


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                                             This range of values will result in some                 modeling. Specifically, Mr. Kreucher                   changes to the electric machine
                                             modeled effectiveness values being                       stated that extreme cold, hot, and                     efficiency maps for this final rule
                                             close to real-world measured values,                     aggressive driving conditions have                     analysis.
                                             and some modeled values that will                        reduced all-electric range anywhere                       We agree with Mr. Kreucher that
                                             depart from real-world measured values,                  from 39 to 51 percent, based on a study                extreme cold and hot conditions impact
                                             depending on the level of similarity                     from AAA.355
                                                                                                         We disagree with ICCT that the                      electrified vehicle range. We use the
                                             between the modeled hardware
                                                                                                      electrification technology represented in              latest compliance testing procedures to
                                             configuration and the real-world
                                                                                                      this analysis is outdated. The majority                appropriately evaluate the effectiveness
                                             hardware and software configurations.
                                                                                                      of the technologies were developed                     and range of electrified technologies, as
                                             This modeling approach comports with
                                             NAS’s 2015 recommendation to use full                    specifically to support analysis for this              discussed earlier in this section.
                                             vehicle modeling supported by                            rulemaking time frame. For example,                    However, there are some extreme
                                             application of lumped improvements at                    the hybrid Atkinson engine peak                        conditions, which may impact electric
                                             the sub-model level.351 In addition, the                 thermal efficiency was updated based                   vehicle range, which may not be
                                             more recent 2021 NAS Report modeled                      on 2017 Toyota Prius engine data.356 357               captured by the Federal test cycle. The
                                             electrification technologies with                        Toyota stated that their current hybrid                selection of a phase-in cap for BEV200
                                             Argonne’s Autonomie model using a                        engines achieve 41 percent thermal                     is based in part on consideration of
                                             similar approach to our analysis.352                     efficiency for their current product line              differences in utility, including the
                                                                                                      up which aligns with our modeling.358                  potential for temperature-based (among
                                                We received limited comments
                                                                                                      Similarly, the electric machine peak                   other things) variations in driving range,
                                             regarding electrification effectiveness
                                                                                                      efficiency for FCEVs and BEVs is 98                    that may affect consumer adoption of
                                             modeling. ICCT commented that the
                                                                                                      percent and based on the 2016 Chevy                    shorter-range BEVs. For more details,
                                             agency’s strong hybrid effectiveness
                                                                                                      Bolt.359 Accordingly, we have made no                  see Section III.D.3.c) of this preamble,
                                             data are outdated, because we rely on
                                             older powertrain data like engine maps                                                                          Electrification Adoption Features.
                                                                                                         355 Walt Kreucher, Docket No. NHTSA–2021–
                                             from the 2010 Toyota Prius, and we do                    0053–0015, at p. 6.                                       The range of effectiveness values for
                                             not allow this engine and other hybrid                      356 Atkinson Engine Peak Efficiency is based on
                                                                                                                                                             the electrification technologies, for all
                                             technologies to improve.353 Similarly,                   2017 Prius Peak Efficiency and scaled up to 41         ten vehicle technology classes, is shown
                                                                                                      percent. Autonomie Model Documentation at p.
                                             ICCT recommended that further                            138.                                                   in Figure III–13. In the graph, the box
                                             research should be considered to                            357 Docketed supporting material. ANL—All           shows the inner quartile range (IQR) of
                                             improve hybrid power management and                      Assumptions_Summary_NPRM_022021.xlsx,                  the effectiveness values and whiskers
                                             engines for strong hybrids.354 Another                   ANL—Summary of Main Component Performance
                                                                                                      Assumptions_NPRM_022021.xlsx, Argonne
                                                                                                                                                             extend out 1.5 x IQR. The dots outside
                                             commenter, Walter Kreucher, stated that                  Autonomie Model Documentation_NPRM.pdf and             of the whiskers show values outside
                                             the electric ranges for electrified                      ANL—Data Dictionary_NPRM_022021.XLSX.                  these bounds.
                                             vehicles are lower than what we are                         358 Carney, D. ‘‘Toyota unveils more new gasoline
                                                                                                                                                             BILLING CODE 4910–59–P
                                                                                                      ICEs with 40% thermal efficiency’’. SAE. April 4,
                                                                                                      2018. https://www.sae.org/news/2018/04/toyota-
                                               351 2015 NAS Report, at p. 292.
                                                                                                      unveils-more-new-gasoline-ices-with-40-thermal-        Chevrolet Bolt battery electric vehicle,’’ 2016 IEEE
                                               352 2021 NAS Report, at p. 189.
                                                                                                      efficiency. (Accessed Dec. 21, 2021)                   Energy Conversion Congress and Exposition
                                               353 ICCT, at p. 5.                                        359 F. Momen, K. Rahman, Y. Son and P.              (ECCE), 2016, pp. 1–8, doi: 10.1109/
                                               354 ICCT, in Appendices at p. 2.                       Savagian, ‘‘Electrical propulsion system design of     ECCE.2016.7855076.
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                                             BILLING CODE 4910–59–C                                                                                            cost of a more common battery
                                                                                                     MY 2020 and employ a widely utilized
                                             (e) Electrification Costs                               cell chemistry (NMC622),361 average                       chemistry. Specifically, absorbed-glass-
                                                                                                     estimated battery pack production                         mat (AGM) batteries are more common
                                                The total cost to electrify a vehicle in
                                                                                                     volume per plant (25,000), and a plant                    in SS12V systems than the Li-ion-based
                                             this analysis is based on the battery the
                                                                                                     efficiency or plant cell yield value of 95                chemistry used in the NPRM
                                             vehicle requires, the non-battery
                                                                                                     percent.                                                  analysis.362 363 364 The battery pack
                                             electrification component costs the
                                                                                                        For this final rule, we use a lower                    direct manufacturing cost for SS12V
                                             vehicle requires, and the traditional
                                                                                                     SS12V micro hybrid battery cost that                      systems is now $113, across all vehicle
                                             powertrain components that must be
                                                                                                     was not developed in BatPaC. The                          classes. This cost also more closely
                                             added or removed from the vehicle to
                                                                                                     NPRM SS12V fixed battery pack direct                      aligns with the estimated cost of the
                                             build the electrified powertrain.
                                                                                                     manufacturing cost was $237, across all                   SS12V system presented in the 2015
                                                We work collaboratively with the
                                                                                                     vehicle classes. For this final rule                      NAS Report.365
                                             experts at Argonne National Laboratory
                                                                                                     analysis, the agency conducted                               For BEV400 and BEV500, we did not
                                             to generate battery costs using BatPaC,
                                                                                                     additional research regarding battery                     use BatPaC to generate battery pack
                                             which is a model designed to calculate
                                                                                                     types used in typical SS12V systems                       costs. Rather, we scaled the BatPaC-
                                             the cost of a vehicle battery for a
                                                                                                     yielding a battery cost that reflects the                 generated BEV300 costs to match the
                                             specified battery power, energy, and
                                                                                                                                                               range of BEV400 and BEV500 vehicles
                                             type. For this analysis, Argonne used
                                                                                                        361 Autonomie model documentation, Chapter             to compute a direct manufacturing cost
                                             BatPaC v4.0 (October 2020 release) to
                                                                                                     5.9. Argonne surveyed A2Mac1 and TBS teardown             for those vehicles’ batteries. We
                                             create lookup tables for battery cost and               reports for electrified vehicle batteries and of the      explained in the NPRM that we initially
                                             mass that the Autonomie simulations                     five fully electrified vehicles surveyed, four of those   examined using BatPaC to model the
                                             reference when a vehicle receives an                    vehicles used NMC622 and one used NMC532. See
                                             electrified powertrain. The BatPaC                      also Georg Bieker, A Global Comparison of the Life-
                                                                                                                                                                 362 EPA–HQ–OAR–2021–0208–0144, p. 5–73.
                                             battery cost estimates for mild hybrids,                Cycle Greenhouse Gas Emissions of Combustion
                                                                                                                                                                  363 USABC, ‘‘United States Advanced Battery
                                                                                                     Engine and Electric Passenger Cars, International
                                             strong hybrids, plug-in hybrids, and full               Council on Clean Transportation (July 2021),              Consortium Battery Test Manual For 12 Volt Start/
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                                             battery electric vehicles are generated                 https://theicct.org/sites/default/files/publications/     Stop Vehicles.’’ January 2018. Revision 2. Contract
                                             for a base year, in this case for MY 2020.              Global-LCA-passenger-cars-jul2021_0.pdf (‘‘For cars       DE–AC07–05ID14517.
                                                                                                                                                                  364 H. Tataria; O. Gross; C. Bae; B. Cunningham;
                                             Accordingly, our BatPaC inputs                          registered in 2021, the GHG emission factors of the
                                                                                                     battery production are based on the most common           J.A. Barnes; J. Deppe; J. Neubauer. ‘‘USABC
                                             characterize the state of the market in                 battery chemistry, NMC622-graphite batteries              Development of 12 Volt Battery for Start-Stop
                                                                                                     . . . .’’); 2021 NAS Report, at 87 (‘‘. . . NMC622 is     Application: Preprint’’: 10 pp. 2015. https://
                                               360 The data used to create this figure can be        the most common cathode chemistry in                      www.nrel.gov/docs/fy15osti/62680.pdf.
                                                                                                                                                                                                                     ER02MY22.082</GPH>




                                             found in the FE_1 Adjustments file.                     2019. . . .’’).                                              365 2015 NAS Report, at 158.




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                                             cost and weight of BEV400 and BEV500                    represent the manufacturing costs for                  projections presenting the highest year-
                                             packs, however, initial values from the                 any future pack, regardless of cell                    over-year cost reductions, and one
                                             model could not be validated and were                   chemistry, cell format, or production                  scenario in MIT’s Insights into Future
                                             based on assumptions for smaller sized                  volume.                                                Mobility report providing an upper
                                             battery packs. We stated that the initial                  Unlike the rest of the electrification              bound of potential future costs of the
                                             results provided cost and weight                        technologies, however, the SS12V micro                 studies surveyed to create this
                                             estimates for BEV400 battery packs out                  hybrid system uses a shallower learning                comparison.371 372 ICCT presented a
                                             of alignment with current examples of                   curve, as shown in TSD Chapter 3.3.5.2.                similar comparison of costs from several
                                             BEV400s in the market, and there are                    This shallow curve reflects the maturity               sources in its 2019 working paper and
                                             currently no examples of BEV500                         of the technology; as we discuss in TSD                predicted battery pack costs in 2025 and
                                             battery packs in the market against                     Chapter 3.3.2, 50 percent of the MY                    2030 would drop to approximately
                                             which to validate the pack results.                     2020 fleet utilizes a SS12V micro hybrid               $104/kWh and $72/kWh, respectively,
                                                Although one example of a BEV500                     system.                                                which put their projections slightly
                                             has entered the market since publication                   TSD Chapter 3.3.5.1 includes more                   higher than BNEF’s 2019 projections.373
                                             of the NPRM, it is for a low volume                     detail about the process to develop                    BNEF’s 2020 Electric Vehicle Outlook
                                             passenger vehicle, and it is not                        battery costs for this analysis. In                    projected average pack cost to fall below
                                             representative of some pack                             addition, all BatPaC-generated direct                  $100/kWh by 2024, while the 2021 NAS
                                             characteristics and costs for vehicles in               manufacturing costs for all technology                 Report projected pack costs to reach
                                             this analysis.366 367 In particular, BatPaC             keys can be found in the CAFE Model’s                  $90–115/kWh by 2025.374 375 Since the
                                             weights for the BEV400 and BEV500                       Battery Costs file, and the Argonne                    NPRM, BNEF released its 2021 Electric
                                             pickup truck classes often made the                     BatPaC Assumptions file includes the                   Vehicle Outlook, which estimated
                                             vehicle exceed the light duty 8,500 lb.                 assumptions used to generate the costs,                average pack prices in 2021 at $132/
                                             curb weight threshold for light duty                    pack costs, pack mass, cell capacity, $/               kwh.376 In addition, Bloomberg weighed
                                             vehicles, pushing the vehicles into the                 kW at the pack level, and W/kg at the                  in on recent supply chain impacts on
                                             next weight class. While this may be                    pack level for all vehicle classes.                    battery materials availability, which is
                                             representative of what could happen                        A range of parameters can ultimately                discussed in more detail below.
                                             with vehicles that have more significant                influence battery pack manufacturing                     We concluded in the NPRM that our
                                             range and towing requirements (for                      costs, including other vehicle                         projected costs seemed to fall between
                                             example, the 2022 GMC Hummer EV                         improvements (e.g., mass reduction                     several projections, giving confidence
                                             will be a class 2b vehicle 368), we also                technology, aerodynamic                                that the costs used in the analysis could
                                             believe that manufacturers will employ                  improvements, or tire rolling resistance               reasonably represent future battery pack
                                             different weight saving strategies to                   improvements all affect the size and                   costs across the industry during the
                                                                                                     energy of a battery required to propel a               rulemaking time frame. We emphasized
                                             keep heavier vehicles in the light-duty
                                                                                                     vehicle where all else is equal), and the              that battery technology is currently
                                             fleet. For this final rule analysis, we
                                                                                                     availability of materials required to                  under intensive development, and that
                                             determined that keeping the battery
                                                                                                     manufacture the battery.369 370 Or, if                 characteristics such as cost, and
                                             pack mass a more consistent percentage
                                                                                                     manufacturers adopt more                               capability are rapidly changing. These
                                             of vehicle curb weight using the scaling
                                                                                                     electrification technology than projected              advances are reflected in recent
                                             method was a reasonable assumption,
                                                                                                     in this analysis, increases in battery                 aggressive projections, like those from
                                             and we will explore how to model this
                                                                                                     pack production volume will likely                     ICCT, BNEF, and the 2021 NAS Report.
                                             concept more in future analyses.
                                                Finally, we apply a learning rate to                 lower actual battery pack costs.                         We sought comment on several
                                                                                                        In the NPRM, we compared our                        elements of the battery modeling
                                             the direct manufacturing cost to reflect
                                                                                                     battery pack costs in future years to                  analysis in the NPRM, including on
                                             how we expect battery costs could fall
                                                                                                     battery pack costs from a non-                         battery direct manufacturing costs, or
                                             over the timeframe considered in the
                                                                                                     exhaustive list of other sources that may              DMCs (and inputs and assumptions
                                             analysis. For most electrification
                                                                                                     or may not account for some of these
                                             technologies, the learning rate that we
                                                                                                     additional parameters, including                          371 See Logan Goldie-Scot, A Behind the Scenes
                                             apply reflects ‘‘midrange’’ year-over-                                                                         Take on Lithium-ion Battery Prices, Bloomberg New
                                                                                                     varying potential future battery
                                             year improvements until MY 2032. Post                                                                          Energy Finance (March 5, 2019), https://
                                                                                                     chemistry and learning rates. As
                                             2032, the learning rates incrementally                                                                         about.bnef.com/blog/behind-scenes-take-lithium-
                                                                                                     discussed in TSD Chapter 3.3.5.1.4, our                ion-battery-prices/.
                                             become shallower as battery technology
                                                                                                     battery pack costs in 2025 and 2030 fell                  372 MIT Energy Initiative. 2019. Insights into
                                             is expected to mature in MY 2033 and
                                                                                                     fairly well in the middle of other                     Future Mobility. Cambridge, MA: MIT Energy
                                             beyond. Applying learning curves to the                                                                        Initiative. Available at http://energy.mit.edu/
                                                                                                     sources’ cost projections, with
                                             battery pack DMC in subsequent                                                                                 insightsintofuturemobility.
                                                                                                     Bloomberg New Energy Finance (BNEF)                       373 Nic Lutsey and Michael Nicholas, ‘‘Update on
                                             analysis years reduces costs such that
                                                                                                                                                            electric vehicle costs in the United States through
                                             battery pack costs are believed to                        369 The cost of raw material also has a meaningful   2030’’, ICCT (April 2, 2019), available at https://
                                                                                                     influence on the future cost of the battery pack. As   theicct.org/publications/update-US-2030-electric-
                                               366 CarAndDriver. ‘‘2022 Lucid Air Lucid Air EV’s                                                            vehicle-cost.
                                                                                                     the production volume goes up, the demand for
                                             Battery Will Be a Big 113.0 kWh, Topping Tesla’s        battery critical raw materials also goes up, which        374 Bloomberg New Energy Finance (BNEF),
                                             Best.’’ September 2, 2020. https://                     has an offsetting impact on the efficiency gains       ‘‘Electric Vehicle Outlook 2020,’’ https://
                                             www.caranddriver.com/news/a33797162/2021-               achieved through economies of scale, improved          about.bnef.com/electric-vehicle-outlook/, last
                                             lucid-air-517-mile-range-113-kwh-battery. Last          plant efficiency, and advanced battery cell            accessed July 29, 2021.
                                             accessed March 28, 2022.                                chemistries, at least while supply is readjusting to      375 2021 NAS Report, at 114. The 2021 NAS
                                               367 Fueleconomy.gov, 2022 Lucid Air. https://         demand. We do not consider future battery raw          Report assumed a 7 percent cost reduction per year
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                                             www.fueleconomy.gov/feg/                                material price fluctuations for this analysis,         from 2018 through 2030.
                                             Find.do?action=sbs&id=44495&id=44493 (last              however that may be an area for further exploration       376 BloombergNEF. ‘‘Battery Pack Prices Fall to an
                                             accessed: January 23, 2022).                            in future analyses.                                    Average of $132/kWh, But Rising Commodity Prices
                                               368 CarAndDriver. ‘‘2022 GMC Hummer EV EPA              370 See, e.g., Jacky Wong, EV Batteries: The Next    Start to Bite.’’ November 30, 2021. https://
                                             Documents Reveal MPGe, Weight, Other Details.’’         Victim of High Commodity Prices?, The Wall Street      about.bnef.com/blog/battery-pack-prices-fall-to-an-
                                             Feb 15, 2022. https://www.caranddriver.com/news/        Journal (July 22, 2021), https://www.wsj.com/          average-of-132-kwh-but-rising-commodity-prices-
                                             a39049358/2022-gmc-hummer-ev-pickup-epa-                articles/ev-batteries-the-next-victim-of-high-         start-to-bite/#_ftn1. (Last accessed: January 10,
                                             specs. Last accessed March 28, 2022.                    commodity-prices-11626950276.                          2022)



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                                             used in BatPaC to estimate those costs),                 thoroughly explained the basis for any                   battery pack DMCs have decreased since
                                             battery learning curves, and other                       recommended learning rates, including                    the 2020 final rule, our projected costs
                                             battery-related materials. More                          references to publicly available data or                 are still higher than the sources that
                                             specifically, we first sought comments                   models (and if such models are peer                      Tesla identifies. In the NPRM, we
                                             on DMC assumptions, including                            reviewed) where appropriate. We also                     provided a detailed explanation of how
                                             comments supported by data elements                      noted that it would be helpful for                       we developed those costs using the
                                             on different assumptions for battery                     commenters to note where external                        BatPaC model and the specific inputs
                                             chemistry, plant manufacturing volume,                   analyses may or may not take into                        and assumptions used to do so. We
                                             or plant efficiency in MY 2020.377 To                    account certain parameters in their                      explained that we also expected those
                                             align with our guiding principle that                    battery pack cost projections, and                       costs to represent the range of costs
                                             each technology model employed in the                    whether we should attempt to                             across the industry. We acknowledged
                                             analysis be representative of a wide                     incorporate those parameters in our                      that each manufacturer has different
                                             range of specific technology                             analysis. For example, as discussed                      strategies associated with each vehicle
                                             applications used in the industry, we                    above, our analysis does not consider                    line based on several factors such as
                                             requested that commenters explain how                    long-term trends in raw material prices;                 performance, costs, technology class,
                                             these assumptions reasonably represent                   however, the price of raw materials may                  utility among others, and this affects
                                             applications across the industry in MY                   put a lower bound on NMC-based                           manufacturers strategy on sourcing only
                                             2020.378 This is important to ensure that                battery prices.379                                       certain components of battery pack or
                                             the CAFE Model’s simulation of                             We also stated that it would also be                   the complete battery pack. We
                                             manufacturer compliance pathways                         helpful if commenters explained how                      acknowledge that the cost of the battery
                                             results in impacts that we would                         learning rates or future cost projections                pack as measured in $/kWh can vary for
                                             reasonably expect to see in the real                     could represent the state of battery                     each manufacturer with different form,
                                             world. In addition, we sought comment                    technology across the industry. Like                     fit, and function requirements.382
                                             on the scaling used to generate direct                   other technologies considered in this                    BatPaC’s inputs and assumptions,
                                             manufacturing costs for BEV400 and                       analysis, some battery and vehicle                       including those developed specifically
                                             BEV500 technologies; in particular, we                   manufacturers have more experience                       to support this rule,383 are based on
                                             were interested in any additional data or                manufacturing electric vehicle battery                   various and extended teardown reports
                                             information on the relationship between                  packs, and some have less, meaning that                  available to the public for predominant
                                             cost and weight for heavier battery                      different manufacturers will be at                       batteries that use robust and safe battery
                                             packs used for these higher-range BEV                    different places along the learning curve                chemistries.384 We understand that
                                             applications, particularly in light truck                in future years. We also stated that                     some mass market and premium luxury
                                             vehicle segments.                                        comments should specify whether their                    BEVs have already achieved $/kWh
                                                We also sought comment on the                         referenced costs, either for MY 2020 or                  values that are lower than our projected
                                             learning rates applied to battery pack                   for future years, are for the battery cell               costs, however others have not. To
                                             costs and on battery pack costs in future                or the battery pack. We requested the                    investigate the sensitivity of our
                                             years. We recognized that any battery                    information to ensure our learning rates                 analysis to this cost we performed
                                             pack cost projections for future years                   encompass these diverse parameters and                   additional analyses considering a 20
                                             from our analysis or external analyses                   to ensure that the analysis best predicts                percent reduction in battery direct
                                             will involve assumptions that may or                     the costs and benefits associated with                   manufacturing costs. And as discussed
                                             may not come to pass and stated that it                  standards.                                               further below, this additional cost
                                             would be most helpful if commenters                        Tesla commented that the battery                       reduction had a minimal impact on the
                                                                                                      pack costs we projected in the SAFE                      overall vehicle cost and increased
                                               377 Note that stakeholders had commented on the
                                                                                                      rule were too high, citing lower                         electrification technology penetration.
                                             2020 final rule that batteries using NMC811
                                             chemistry had either recently come into the market
                                                                                                      estimates published in the UBS-                          Therefore, we believe the cost estimates
                                             or was imminently coming into the market, and            sponsored Volkswagen ID 3 teardown                       from the BatPaC model represent a
                                             therefore DOT should have selected NMC811 as the         report, among other studies.380 Tesla                    reasonable average across all
                                             appropriate chemistry for modeling battery pack          also commented that we unnecessarily
                                             costs. Similar to the other technologies considered                                                               manufacturers for all vehicle technology
                                             in this analysis, DOT endeavors to use technology
                                                                                                      constrained the analysis by assuming                     classes.
                                             that is a reasonable representation of what the          that the drivetrain and other                               In contrast, the Auto Innovators
                                             industry could achieve in the model year or years        components are unique to each vehicle                    submitted extensive comments on our
                                             under consideration, in this case the base DMC year      and not shared by another vehicle.381
                                             of 2020, as discussed above. At the time of this                                                                  assumptions that the costs of battery
                                             current analysis, the referenced A2Mac1 teardown
                                                                                                        To be clear, the battery pack DMCs                     electric vehicles will continue to
                                             reports and other reports provided the best              used in our 2021 proposal and this final                 decline because of decreases in costs to
                                             available information about the range of battery         rule are different than the battery pack                 produce battery packs and other non-
                                             chemistry actually employed in the industry. At the      DMCs used in the SAFE rule that Tesla
                                             time of writing for this final rule, DOT still has not                                                            battery electrification components.385
                                             found examples of NMC811 in commercial
                                                                                                      refers to in their comments. While our                   Auto Innovators stated that ‘‘the
                                             application across the industry in a way that DOT
                                                                                                        379 See, e.g., MIT Energy Initiative. 2019. Insights
                                                                                                                                                               traditional method of accounting for
                                             believes selecting NMC811 would have represented                                                                  possible future changes in battery-pack
                                             industry average performance in MY 2020. As              into Future Mobility. Cambridge, MA: MIT Energy
                                             discussed in TSD Chapter 3.3.5.1.4, DOT did              Initiative. Available at http://energy.mit.edu/
                                                                                                                                                                 382 Form, fit, and function is the identification
                                             analyze the potential future cost of NMC811 in the       insightsintofuturemobility, at pp. 78–79.
                                             composite learning curve generated to ensure the           380 Tesla, at p. 9; DNV–GL, Tesla’s Battery Day        and description of characteristics of a part or
                                             battery learning curve projections are reasonable.       and the Energy Transition (Oct. 26, 2020); BNEF,         assembly. Each defines a specific aspect of the part
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                                               378 Again, some vehicle manufacturer’s systems         Electric Vehicle Outlook 2021 (June 9, 2021).;           to help engineers match parts to needs.
                                                                                                                                                                 383 See Autonomie Model Documentation.
                                             may perform better and cost less than our modeled        BNEF, Hitting the Inflection Point: Electric Vehicle
                                             systems and some may perform worse and cost              Price Parity and Phasing Out Combustion Vehicle            384 Ahmed, S., Nelson, P., Kubal, J., Liu, Z.,

                                             more. However, employing this approach will              Sales in Europe (May 5, 2021); 2021 NAS Report;          Knehr, K. Dees, D., ‘‘Estimated cost of EV
                                             ensure that, on balance, the analysis captures a         UBS, EVs Shifting into Overdrive: VW ID.3                Batteries.’’ Argonne. August 12, 2021. https://
                                             reasonable level of costs and benefits that would        teardown—How will electric cars re-shape the auto        www.anl.gov/cse/batpac-model-software. Last
                                             result from any manufacturer applying the                industry? (March 2, 2021).                               accessed January 20, 2022.
                                             technology.                                                381 Tesla, at p. 10.                                     385 Auto Innovators, at pp. 94–121.




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                                             costs is to apply a learning curve in                    2021 surge in raw material prices. Auto               manufacturing plant efficiency—would
                                             future years based on production                         Innovators stated that the MIT’s Insights             result in a slightly shallower learning
                                             volume, and then make a somewhat                         into Future Mobility report took an                   curve (3.26 and 3.5 percent near-term,
                                             arbitrary assumption about when the                      important step to forecasting battery                 year-over-year reductions in cost), while
                                             rate of decline decelerates or stops                     pack costs by using a two-stage model,                changing battery chemistry by itself
                                             (technological maturity).’’ Auto                         one for the cost of materials and the                 would result in a steeper learning curve
                                             Innovators identified that we                            second for the costs to manufacture the               (5.15 percent near-term, year-over-year
                                             characterized our learning curve as a                    battery pack.390 However, Auto                        cost reductions). Constructing a
                                             proxy for changes in battery chemistry,                  Innovators stated that we erroneously                 composite learning curve to consider
                                             changes in energy density, further gains                 characterized MIT’s estimate as an
                                                                                                                                                            these three factors in tandem, assuming
                                             in plant efficiency, and additional                      ‘‘upper bound’’ of battery pack costs,
                                                                                                                                                            that the predominant battery chemistry
                                             economies of scale in production due to                  while the report actually provides best
                                                                                                                                                            will change over the course of this
                                             higher production volumes, but stated                    estimates based on different scenarios.
                                             that we and NAS do not ‘‘confront the                       Auto Innovators made three explicit                decade, and also that battery
                                             real possibility that counteracting,                     requests in regards to future battery                 manufacturing plants will become better
                                             unanalyzed factors could work to                         materials costs and chemistry impacts;                at producing battery cells—two widely
                                             restrain the future decline in battery-                  first, Auto Innovators stated that we                 accepted assumptions—confirmed that
                                             pack costs.’’ 386                                        should work with National Laboratories,               our original learning curve based on
                                                Auto Innovators and also the Alliance                 DOE, and others to produce sensitivity                year-over-year production volume
                                             for Vehicle Efficiency (AVE) requested                   cases for raw and processed material                  increases could reasonably encompass
                                             that we consider potential impacts to                    costs, material efficiency in battery                 these changes.391 Furthermore, while
                                             battery raw materials costs in the                       construction, and other considerations;               Auto Innovators asserted that our
                                             analysis.387 Auto Innovators provided a                  next, Auto Innovators stated that we                  production-based learning curve could
                                             lengthy qualitative survey of the state of               should remove changes in battery                      miss several important factors, as
                                             raw materials extraction issues,                         chemistry from the near-term learning                 discussed in Section III.C.6 above and in
                                             including their perspective on political                 factor and analyze it separately and                  recent literature,392 a production-
                                             and environmental obstacles to further                   explicitly in our RIA; and finally, Auto              volume-based learning curve is an
                                             supply development. Auto Innovators                      Innovators stated that ‘‘instead of                   accepted and reasonable method for
                                             also provided estimates of battery                       choosing one battery chemistry as                     projecting future costs.
                                             materials costs that assumed a doubling                  representative of the entire industry, as
                                             of raw materials prices and stated that                  the [a]gencies do with the Argonne                       Regarding Auto Innovators’ extensive
                                             ‘‘a pre-2032 doubling of raw material                    battery model, the [a]gencies should                  comments about the impact of materials
                                             prices could substantially erode the                     forecast the penetration of different                 availability on battery costs, we are
                                             ‘learning-curve’ cost reductions                         battery chemistries in the fleet from                 aware that the outlook for battery
                                             assumed in the RIAs.’’ Auto Innovators                   2021 to 2032 and estimate applicable                  materials has remained uncertain since
                                             stated that the battery sensitivity cases                costs for each of them.’’                             we released the NPRM. At this time,
                                             presented in the PRIA are not large                         As a reminder, the learning rate that              studies and organizations have provided
                                             enough to account for simultaneous                       we used in the NPRM and this final                    projections about the impact of battery
                                             increases in several raw materials                       rule, carried forward from work done for              materials price increases due to supply
                                             prices, and that ‘‘there is no basis for                 the 2018 NPRM, is based on an                         chain factors and the consensus seems
                                             believing that raw material prices will                  assessment of cost reductions due to                  to be that the overall impact on prices
                                             decline for a sustained period prior to                  production volume increases. As we                    will be minimal for the predominant
                                             2032.’’ Accordingly, Auto Innovators                     described in the TSD, we identified the               battery chemistries.393 Our estimated
                                             stated that much more careful analysis                   change in cost for the estimated changes              future battery costs are fairly
                                             of raw material prices is necessary in                   in production volumes linked to model                 conservative compared to leading
                                             the final RIAs.                                          years and used this rate to develop the               analysis firms, even accounting for
                                                With respect to analytical tools                      learning curves used out to MY 2032,                  materials price impacts since the
                                             available to perform such an analysis,                   which resulted in an approximately 4.5
                                             Auto Innovators stated that ‘‘less than a                percent year over year cost reduction.                   391 See, e.g., MIT Insights into Future Mobility

                                             handful of the dozens of published                       For MYs 2033 to 2050, we scaled down                  Report, at 77 (‘‘A clear trend within the EV LIB
                                             battery-forecasting models include any                   the learning rate in steps based on                   industry is to increase nickel content to boost
                                                                                                      literature values and market research.                energy density (for increased driving range) while
                                             formal analysis of global trends in raw                                                                        reducing the amount of expensive cobalt
                                             material prices’’ and stated that ‘‘none                    The parametric analysis presented in
                                                                                                                                                            required.’’).
                                             of the published battery-forecasting                     the NPRM TSD was meant to confirm                        392 Lukas Mauler, Fabian Duffner, Wolfgang G

                                             models have accounted for the surge in                   that looking at any one potential factor              Zeier, Jens Leker, ‘‘Battery Cost Forecasting: A
                                             material price experienced in 2021.’’ 388                that could have an impact on the battery              Review of Methods and Results with an Outlook to
                                             Auto Innovators stated that ‘‘BatPaC                     pack direct manufacturing costs would                 2050,’’ Energy and Environmental Science, 14
                                                                                                      not have significantly changed this                   (2021) at p. 4724.
                                             does not include a formal global model                                                                            393 Lukas Mauler, Fabian Duffner, Wolfgang G

                                             of the market for each raw material used                 original near-term (i.e., through MY                  Zeier, Jens Leker, ‘‘Battery Cost Forecasting: A
                                             in battery packs,’’ and instead provides                 2032) 4.5 percent production-volume-                  Review of Methods and Results with an Outlook to
                                             a best estimate of raw materials prices                  based learning rate. The parametric                   2050,’’ Energy and Environmental Science, 14
                                                                                                      analysis showed that considering two                  (2021) at p. 4734 (‘‘Every single study that provides
                                             at the time of version release.389 Auto                                                                        time-based projections expects LIB cost to fall, even
                                                                                                      factors by themselves—increasing
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                                             Innovators stated that the version of                                                                          if increasing raw and battery material prices are
                                             BatPaC we used did not account for the                   production volume and improving                       taken into account.’’); Henze, V., ‘‘Battery Pack
                                                                                                                                                            Prices Fall to an Average of $132/kWh, But Rising
                                               386 Id., at pp. 94–95.
                                                                                                        390 Insights into Future Mobility, MIT Energy       Commodity Prices Start to Bite’’. BloombergNEF.
                                                                                                      Initiative (2019), Cambridge, MA: MIT Energy          November 30, 2021. https://about.bnef.com/blog/
                                               387 AVE, NHTSA–2021–0053–1488, at pp. 6–7.
                                                                                                      Initiative, https://energy.mit.edu/research/          battery-pack-prices-fall-to-an-average-of-132-kwh-
                                               388 Auto Innovators, at pp. 97–98.
                                                                                                      mobilityofthefuture/ at p. 76. Accessed January 19,   but-rising-commodity-prices-start-to-bite/. Last
                                               389 Id., at pp. 119–121.                               2022.                                                 accessed January 23, 2022.



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                                             NPRM.394 395 This makes us confident                    available model and the inputs and                    information on a CBI or public basis on
                                             that our projected battery costs,                       assumptions used to develop and                       the impact of long-term supply contracts
                                             presented in this final rule, still fall                populate BatPaC are publicly available.               on battery costs.400 In particular, we
                                             within the scope of reasonable                          More specifically, we included detailed               would be interested in more information
                                             projections for the near-term model                     data from teardown reports that we used               on whether manufacturers that had
                                             years covered by this analysis.                         to generate the battery pack inputs for               contracted for battery packs prior to the
                                                Nonetheless, we do appreciate Auto                   this analysis in the TSD and Argonne                  2021 materials supply chain disruptions
                                             Innovators’ data and analysis submitted                 Model Documentation. The battery pack                 were insulated from materials cost
                                             on raw materials cost impacts on battery                designs and cell chemistry that we                    increases and if there is a contractual or
                                             pack costs. We also appreciate the                      modeled in BatPaC represented the most                other mechanism within the vehicle
                                             enormity of the task of integrating                     common battery pack parameters in the                 manufacturer’s control through which
                                             forecasts of global trends in raw                       market in MY 2020, our base year for                  vehicle manufacturers could insulate
                                             materials prices in our analysis, given                 calculating direct manufacturing costs.               themselves from such disruptions
                                             that only a minority of the dozens of                   This approach reflects the same                       moving forward.401
                                             published battery-forecasting models                    approach we use across our analysis; we                  As in any large-scale analysis,
                                             include any formal analysis of global                   do not currently model, for example, the              uncertainties exist. Recognizing that
                                             trends in raw materials prices and none                 penetration rate of Toyota’s HCR engine               there could be additional factors that
                                             of the published forecasting models                     separately from Mazda’s HCR engine.                   constrain battery learning rates, as Auto
                                             have accounted for the increase in                      Again, modeling an industry-average                   Innovators suggests, we performed four
                                             material price experienced in 2021.                     system will ensure that, on balance, the              sensitivity studies around battery pack
                                             MIT’s two-stage model, and                              analysis captures a reasonable level of               costs that are described in FRIA Chapter
                                             multidimensional mathematical models                    costs and benefits that would result                  7.2.2.3. The sensitivity studies
                                             are more refined than single                            from any manufacturer applying the                    examined the impacts of increasing and
                                             dimensional models due to the use of                    technology. In addition, while Auto                   decreasing the direct cost of batteries
                                             numerous parameters. However, this                      Innovators presents important points                  and battery learning costs by 20 percent
                                             comes at the expense of needing to                      about the uncertainty regarding the                   from central analysis levels, based on
                                             obtain high quality and accurate data for               predominant battery chemistry beyond                  our survey of external analyses’ battery
                                             these parameters, potentially at the cost               MY 2027, the battery chemistries that                 pack cost projections that fell generally
                                             of reduced transparency. For example,                   we analyzed—NMC622 and NMC811—                        within ±20 percent of our central
                                             MIT’s two-stage model requires data                     are still expected to be the dominant                 analysis costs. The average difference in
                                             from mining companies, materials                        chemistries in this rulemaking                        vehicle cost between the reference case
                                             producers, cell producers, and battery                  timeframe. The sensitivity analyses                   and four battery sensitivity cases ranged
                                             pack producers.396 However, detailed                    presented in the TSD accompanying the                 from ¥$52 to $128. This means that,
                                             data on these specifics are not readily                 NPRM and this final rule show that                    even accounting for potential
                                             publicly available.397 398 399                          analyzing both chemistries separately                 unanalyzed factors related to battery
                                                Developing a multi-stage model that                  results in only a small difference in cost            prices, we expect battery electric vehicle
                                             can perform the calculations we need                    between the two options. We see only                  prices to remain within a fairly narrow
                                             for the number of large-scale                           a small difference in costs because we                range in the rulemaking timeframe.
                                             simulations required by our analysis,                   consider a narrow range of battery pack               These sensitivity outcomes are similar
                                             with data and assumptions that are                      power and energy sizes in the respective
                                             transparent and can be made publicly                    vehicle technology classes.                              400 C. Xu, et al., Future material demand for
                                             available, would be a difficult task. As                   At this time, we believe that our                  automotive lithium-based batteries, Commun.
                                             discussed above, BatPaC is a publicly                   battery pack costs in this final rule still           Mater., 2020, 1, 99.; H. Hao, et al., Impact of
                                                                                                     could reasonably represent costs to the               transport electrification on critical metal
                                                                                                                                                           sustainability with a focus on the heavy-duty
                                               394 See NPRM TSD at 296, Table 3–86—Battery           industry during the model years under                 segment, Nat. Commun., 2019, 10, 5398.; Reuters.
                                             Cost Estimates from Other Sources.                      consideration taking into account the
                                               395 Henze, V., ‘‘Battery Pack Prices Fall to an
                                                                                                                                                           ‘‘Stellantis, LG Energy Solution to form battery JV
                                                                                                     factors mentioned by Auto Innovators.                 for North America.’’ Automotive News. October 18,
                                             Average of $132/kWh, But Rising Commodity Prices                                                              2021. https://www.autonews.com/manufacturing/
                                             Start to Bite’’. BloombergNEF. November 30, 2021.       In addition, as discussed further below,
                                                                                                                                                           stellantis-lg-energy-solution-form-battery-jv-north-
                                             https://about.bnef.com/blog/battery-pack-prices-        our sensitivity cases show that BEV                   america. Last accessed 01/20/2022.; ‘‘Daimler,
                                             fall-to-an-average-of-132-kwh-but-rising-               prices remain within a fairly narrow                  Stellantis enter agreement with battery maker
                                             commodity-prices-start-to-bite/. Last accessed          range in the rulemaking timeframe                     Factorial Energy.’’ Automotive News. November 30,
                                             January 23, 2022.
                                               396 Insights into Future Mobility, MIT Energy
                                                                                                     considering potentially higher direct                 2021. https://www.autonews.com/suppliers/why-
                                                                                                     manufacturing costs or shallower                      daimler-stellantis-are-investing-battery-maker. Last
                                             Initiative (2019), Cambridge, MA: MIT Energy                                                                  accessed January 20, 2022.; ‘‘FORD COMMITS TO
                                             Initiative, https://energy.mit.edu/research/            learning rates.                                       MANUFACTURING BATTERIES, TO FORM NEW
                                             mobilityofthefuture/ at p. 77. Accessed January 19,        We will continue to investigate                    JOINT VENTURE WITH SK INNOVATION TO
                                             2022.                                                   further refinements to input data and                 SCALE NA BATTERY DELIVERIES.’ Ford Media
                                               397 S. Matteson and E. Williams, Learning
                                                                                                     models that we use to assess battery                  Center. May 20, 2021. https://media.ford.com/
                                             dependent subsidies for lithium-ion electric vehicle                                                          content/fordmedia/fna/us/en/news/2021/05/20/
                                             batteries, Technol. Forecast. Soc. Change, 2015, 92,    costs as the input data and models                    ford-commits-to-manufacturing-batteries.html. Last
                                             322–331.                                                continue to develop. We understand                    accessed January 20, 2022.; ‘‘Toyota Selects North
                                               398 B. Nykvist, F. Sprei and M. Nilsson, Assessing    that battery technologies and                         Carolina for New U.S. Automotive Battery Plant.’’
                                             the progress toward lower priced long range battery     manufacturing processes are undergoing                Toyota Newsroom. December 7, 2021. https://
                                             electric vehicles, Energy Policy, 2019, 124, 144–                                                             global.toyota/en/newsroom/corporate/
                                             155.
                                                                                                     significant development and we will                   36418723.html. Last accessed January 20, 2022.
                                                                                                     continue to monitor and evaluate
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                                               399 Lukas Mauler, Fabian Duffner, Wolfgang G                                                                   401 See, e.g., Lukas Mauler, Fabian Duffner,

                                             Zeier, Jens Leker, ‘‘Battery Cost Forecasting: A        battery cost and performance, and how                 Wolfgang G Zeier, Jens Leker, ‘‘Battery Cost
                                             Review of Methods and Results with an Outlook to        to reflect those trends in our modeling.              Forecasting: A Review of Methods and Results with
                                             2050,’’ Energy and Environmental Science, 14               For future actions, we would welcome               an Outlook to 2050,’’ Energy and Environmental
                                             (2021) at p. 4715 (‘‘However, details on company-                                                             Science, 14 (2021) at p. 4724; (‘‘In the battery
                                             specific prices, costs and profit margins are not
                                                                                                     any additional information on the                     industry-prices are further influenced by strategic
                                             publicly available and differences are difficult to     impact of raw materials prices on                     pricing, long-term contracts and rebates to utilize
                                             assess.’’).                                             battery pack costs, including                         excess production capacity.’’).



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                                             to those we showed in the NPRM                              We applaud Auto Innovators                         factor is based on an examination of
                                             sensitivity analysis. Although Auto                      members for including serious ESG                     historical financial data contained in
                                             Innovators showed how an increase in                     considerations in their planning for                  10–K reports filed by manufacturers
                                             individual raw material cost could                       developing battery supply chains.                     with the Securities and Exchange
                                             impact the final cost, we believe that at                However, like the issues surrounding                  Commission. It represents the ratio
                                             the total pack level the 20 percent high                 raw materials impacts discussed above,                between the retail price of motor
                                             sensitivity case encompasses these                       we currently do not have a specific                   vehicles and the direct costs of all
                                             situations in the rulemaking time frame.                 mechanism to account for the cost of                  activities that manufacturers engage in,
                                             Again, these results, in addition to the                 supply chains that pass basic ESG tests,              including the design, development,
                                             consensus in literature regarding the                    as Auto Innovators suggests. To the                   manufacturing, assembly, and sales of
                                             impact of rising materials prices on                     extent that Auto Innovators members                   new vehicles, refreshed vehicle designs,
                                             future costs described above, make us                    have already entered into contracts with              and modifications to meet safety or fuel
                                             comfortable that our approach to                         battery suppliers and have included                   economy standards. An RPE of 1.5 does
                                             estimating battery costs is a reasonable                 ESG terms in those contracts, and have                not imply that manufacturers
                                             approach for this final rule analysis.                   data or other information on how that                 automatically mark up each vehicle by
                                                After pointing out the BatPaC model’s                 increases the costs for EV production                 exactly 50 percent. Rather, it means
                                             limitations regarding future potential                   over and above an industry average that               that, over time, the competitive
                                             increases in materials costs, Auto                       we would project quantitatively, we                   marketplace has resulted in pricing
                                             Innovators commented that we should                      welcome that information for future                   structures that average out to this
                                             use BatPaC to estimate battery pack                      analysis. We will continue to research                relationship across the entire industry.
                                             costs for BEV400 and BEV500                              these factors and consider whether to                 Prices for any individual model may be
                                             technologies instead of scaling up                       include them in the cost-benefit                      marked up at a higher or lower rate
                                             BEV300 battery pack costs.402 Beyond                     analysis. We support Auto Innovators                  depending on market demand. The
                                             the request to do so, we received no                     and any individual component or                       consumer who buys a popular vehicle
                                             updated real-world data on the cost and                  vehicle manufacturer providing the                    may, in effect, subsidize the installation
                                             weight of battery packs used in 400- and                 agency with supporting material for                   of a new technology in a less marketable
                                             500-mile range electric vehicles. As                     these specific topics.                                vehicle. But, on average, over time and
                                             discussed above, and as originally stated                   As a reminder, our analysis considers              across the vehicle fleet, the retail price
                                                                                                      technology costs that vehicle                         paid by consumers has risen by about
                                             in the NPRM, initial values from BatPaC
                                                                                                      manufacturers ultimately pass to the                  $1.50 for each dollar of direct costs
                                             could not be validated by real-world
                                                                                                      buyer separately from the user costs for              incurred by manufacturer.
                                             data, leading us to continue using the
                                                                                                      a technology, like fueling from either                   The direct costs associated with any
                                             scaled values for the final rule.
                                                                                                      gasoline or electricity. We consider                  specific technology will change over
                                                Auto Innovators identified other costs                many externalities that accrue cost for               time as some combination of learning
                                             related to electric vehicles (EVs) that                  the consumer in the analysis, and these               and resource price changes occurs.
                                             they stated our analysis does not                        are discussed in Section III.E. We                    Resource costs, such as the price of
                                             consider; specifically, they stated that                 specifically identified a cost to the user            steel, can fluctuate over time and can
                                             our battery-price estimates are industry                 for time spent charging an EV, which is               experience real long-term trends in
                                             averages that do not exclude supply                      discussed further in that section.                    either direction, depending on supply
                                             chains that fail environmental, social,                  However, regardless of where we                       and demand. However, the normal
                                             and governance (ESG) tests. Auto                         account for those costs in the analysis,              learning process generally reduces
                                             Innovators stated that ‘‘for the major                   we believe those costs would be                       direct production costs as
                                             global automakers that operate in the                    minimal in the timeframe of this                      manufacturers refine production
                                             [U.S.] auto market, the RIAs should not                  rulemaking considering the standard-                  techniques and seek out less costly parts
                                             assume that low-cost suppliers with                      setting projections of EV and PHEV                    and materials for increasing production
                                             poor ESG profiles can be utilized in EV                  penetration rates, which are discussed                volumes. By contrast, this learning
                                             supply chains.’’ Auto Innovators also                    further in FRIA Chapter 6.3.1. That said,             process does not generally influence
                                             identified the shift from recycling                      for future rules we appreciate any new                indirect costs. To be consistent with the
                                             engines and transmissions to recycling                   data Auto Innovators and other                        basis for the RPE multiplier, we apply
                                             EV batteries, as well as the price of                    stakeholders can provide to develop                   learning to direct costs, and then mark
                                             electricity to produce EV batteries, as                  more precise electric vehicle user costs.             up the resulting learned direct costs
                                             costs that we do not currently account                      Next, ICCT commented that we                       using the RPE multiplier.
                                             for. In addition, Auto Innovators stated                 ‘‘erroneously inflated battery costs by                  We consulted Argonne and the
                                             that the BEVs and PHEVs are a new                        applying the retail price equivalent                  BatPaC manual and as shown in the
                                             technology type for many drivers and,                    (RPE) markup to base costs that already               BatPaC documentation, the final cost
                                             as a result, drivers may incur some costs                include indirect costs.’’ 404 We disagree.            provided by the BatPaC model includes
                                             and inconveniences that we should                        The indirect costs represented in BatPaC              two-part variable costs (what we
                                             consider as part of our analysis.403 They                output are those that apply to the                    consider direct costs) and fixed
                                             provided three examples of costs to the                  battery supplier, and do not represent                expenses (what we consider indirect
                                             user beyond the purchase price: (1)                      the indirect costs experienced by the                 costs). Table 8.7 in the BatPaC Model
                                             Costs of charging stations for BEVs and                  OEM who purchases the battery and                     Documentation shows the breakdown of
                                             PHEVs; (2) costs to the user of a vehicle                integrates it into the vehicle. NHTSA                 the costs and the approximate
                                             that has a shorter driving range than the                                                                      percentage of each cost.
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                                                                                                      has always considered RPE markup to
                                             typical conventional IC engine and that                  be applicable to purchased items.                        These costs combine to provide the
                                             requires a long time to charge, and (3)                     We also believe that the warranty                  overall cost of the battery pack from the
                                             the time spent charging.                                 costs are appropriately marked up with                supplier to the OEM. The cost of the
                                                                                                      the BatPaC outputs. The RPE markup                    battery pack from the supplier to the
                                               402 Auto Innovators, at p. 119.                                                                              OEM is considered a direct cost to the
                                               403 Id., at pp. 119–121.                                 404 ICCT, at p. 8.                                  OEM, like any other part that an OEM


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                                             acquires from other suppliers. In turn,                 report.406 This approach captures                     higher than P2 system costs for the same
                                             while using the battery pack in the                     components in some manufacturer’s                     vehicle class. Toyota’s experience is that
                                             finished vehicle, the OEM will incur                    systems, but not all systems; however,                the relative cost of the power split and
                                             indirect costs including research and                   we believe this is a reasonable metric                P2 systems depends on vehicle class
                                             development (R&D), general sales and                    and approach to use for this analysis                 and operational requirements, and that
                                             administrative costs (GSA), as well as                  given the differences and complexities                for many applications power split and
                                             warranty and profit. Thus, the indirect                 in non-battery electrification systems.               P2 system costs are much more similar
                                             costs associated with components or                     This approach allows us to scale the                  than NHTSA’s estimates suggest.’’ They
                                             subsystems incurred by the automotive                   cost of non-battery electrification                   further added ‘‘Once adjusted for future
                                             suppliers should not be conflated with                  components based on the requirements                  cost savings, NHTSA’s 2020 hybrid
                                             vehicle manufacturer indirect costs.                    of the system to meet vehicle utility and             costs are still typically double the
                                                                                                     performance requirements. We also rely                NASEM estimates. Further, the NASEM
                                                Supplier warranty costs should reflect
                                                                                                     on a MY 2016 Chevrolet Bolt teardown                  committee estimates the incremental
                                             losses they experience to replace                       study for some categories of strong                   cost of midsize and crossover strong
                                             defective battery packs or parts.                       hybrid component costs and all other                  hybrids in 2020 model year to be $2,000
                                             Likewise, OEM warranty costs should                     PHEV and BEV non-battery component                    to 3,000 more than a conventional
                                             reflect actual losses they incur in                     costs that were not explicitly estimated              vehicle which is well below NHTSA’s
                                             replacing defective parts. OEM losses                   in the EETT Roadmap report.407                        2020 power split estimate,’’ and ‘‘Toyota
                                             are partially reimbursed by supplier                      We received several comments                        believes the NASEM 2025 model year
                                             warranties. Both OEM warranty costs                     specific to strong hybrid non-battery                 cost values are more representative of
                                             and supplier warranty costs should thus                 electrification technology costs, in                  hybrid vehicle costs through the 2026
                                             represent the net loss to each business                 particular regarding the costs of eCVTs               model year, including any
                                             due to warranty coverage. OEM                           and high voltage cables.                              accompanying engine developments
                                             warranty costs should thus already                        Tesla stated that it believes that non-             and normalization for differences in
                                             reflect reimbursement to OEMs from                      battery electrification components that               component sizes and assessment
                                             supplier warranties, implying that                      add to the total cost required to electrify           methodologies. We disagree that engine
                                             reflecting warranty costs within the                    a vehicle continue to decrease in price               upgrades should account for a large
                                             direct cost of the product and separate                 and are utilized across vehicle types and             portion of the difference between the
                                             warranty costs at the OEM level is not                  EVs are rapidly approaching price parity              NASEM and NHTSA cost estimates.
                                             double counting. Accordingly, we did                    with ICE technology.408                               Such a significant cost difference does
                                             not make any changes to how indirect                      American Council for an Energy-                     not exist for Toyota’s 2.5L Dynamic
                                             cost markups are applied to the BatPaC                  Efficient Economy (ACEEE) commented                   Force engine used in the hybrid and
                                             costs for this final rule.                              that the cost to manufacture hybrid                   non-hybrid versions of the 2021 model
                                                                                                     vehicles has fallen significantly in                  year Camry referenced by NHTSA.’’
                                                In sum, after considering the
                                                                                                     recent years, more so than NHTSA’s                      ICCT also commented on cost
                                             comments received on how we modeled
                                                                                                     analysis assumes.409 They stated that                 estimates for the power-split hybrid,
                                             battery pack costs, we determined that
                                                                                                     the incremental hybridization costs                   stating that ‘‘NHTSA has substantially
                                             it was appropriate to use the same
                                                                                                     used in this rule are significantly higher            overestimated the costs of full hybrid
                                             battery costs for this final rule. We will              than those assessed by the 2021 NAS
                                             perform additional research and update                                                                        vehicles, as eCVT costs are far lower
                                                                                                     Report. Specifically, they stated that                than the CVTL2 costs assumed by
                                             our analysis accordingly for future                     when accounting for differing                         NHTSA; NHTSA’s high-voltage cable
                                             analyses.                                               assumptions, the costs assumed by this                cost is more than twice that of both NAS
                                                Turning to electrification costs that                rule are 20 percent higher.                           and FEV; NHTSA’s battery size and cost
                                             are non-battery related, each vehicle                     Toyota commented that ‘‘NHTSA’s                     are overstated, as they do not take into
                                             powertrain type receives different non-                 estimated costs are significantly higher              account power density improvements
                                             battery electrification components.                     than Toyota’s understanding based on                  that cut the size and cost of strong
                                             When researching costs for different                    our current products and experience                   hybrid battery packs in half; and
                                             non-battery electrification components,                 developing and marketing hybrids                      NHTSA’s analysis has $432 for power
                                             we found that different reports vary in                 systems over the last two decades. The                electronics and thermal management
                                             components considered and cost                          estimated costs for power split hybrids               that appear to be already be included in
                                             breakdown. This is not surprising, as                   used as an input to compliance                        motor/inverter/generator/regen brake
                                             vehicle manufacturers use different non-                modeling for the proposed standards are               costs for NAS and FEV.’’ 411
                                             battery electrification components in                   more than twice the cost estimates in                   We agree with Tesla that there are
                                             different vehicle’s systems, or even in                 the National Academies of Science                     many non-battery components that are
                                             the same vehicle type, depending on the                 Engineering and Medicine (NASEM)                      shared across different vehicle lines,
                                             application.405 We use costs for the                    2025–2035 CAFE Study.’’ 410 They                      and this provides an opportunity for
                                             major non-battery electrification                       added ‘‘NHTSA’s projected power split                 cost reductions over time from
                                             components on a dollar per kilowatt                     system costs are always significantly                 economies of scale. We capture cost
                                             basis based on the costs presented in                                                                         reductions for non-battery electrification
                                                                                                        406 U.S. DRIVE, Electrical and Electronics
                                             two reports. We use a $/kW cost metric                                                                        components through a learning curve
                                                                                                     Technical Team Roadmap (Oct. 2017), available at
                                             for non-battery components to align                     https://www.energy.gov/sites/prod/files/2017/11/      Section III.C.6. We will continue to
                                             with the normalized costs for a system’s                f39/EETT%20Roadmap%2010-27-17.pdf.                    monitor trends and other information
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                                             peak power rating as presented in U.S.                     407 Hummel et al., UBS Evidence Lab Electric Car   related to non-battery components.
                                             DRIVE’s Electrical and Electronics                      Teardown—Disruption Ahead?, UBS (May 18,                Based on the comments specific to
                                                                                                     2017), https://neo.ubs.com/shared/                    hybrid vehicle non-battery component
                                             Technical Team (EETT) Roadmap                           d1wkuDlEbYPjF/ (accessed: Feb. 11, 2022).
                                                                                                        408 Tesla, at pp. 9–10.                            costs, as well as data from the 2021 NAS
                                               405 For example, the MY 2020 Nissan Leaf does            409 ACEEE, Docket No. NHTSA–2021–0053–0074,        Report, we reexamined the costs for
                                             not have an active cooling system whereas Chevy         at p. 5.
                                             Bolt uses an active cooling system.                        410 Toyota, at pp. 7–8.                              411 ICCT, at p. 10.




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                                             non-battery components. For this final                  to as advanced as VCR. In some cases,                 report.415 The report provided estimated
                                             rule, we updated the cost of an eCVT for                a vehicle that starts with a basic                    cost projections from the 2010 lab year
                                             SHEVPS vehicles, as well as the costs of                conventional engine that adopts                       to the 2045 lab year for individual
                                             high voltage cables for all strong hybrid               SHEVP2 system could also adopt a more                 vehicle components.416 417 We
                                             vehicles.                                               advanced engine. For example, the 2022                considered the component costs used in
                                                Previously, we had used the cost of a                Hyundai Tucson base engine is a 2.5L                  electrified vehicles, and determined the
                                             CVTL2 as a proxy for the eCVT; for this                 naturally aspirated engine and its                    learning curve by evaluating the year
                                             final rule, the eCVT cost comes from                    hybrid version engine is a downsized                  over year cost change for those
                                             data in the EPA-sponsored teardown                      turbocharged engine.413 We allow the                  components. Argonne published a 2020
                                             study of a 2011 Ford Fusion strong                      CAFE Model to both upgrade and                        version of the same report that included
                                             hybrid,412 and has been adjusted to                     downgrade the engine associated with                  high and low-cost estimates for many of
                                             2018$. This cost also aligns with the                   SHEVP2 powertrains to apply the ICE                   the same components, that also
                                             eCVT cost presented in the 2021 NAS                     engine that is most cost effective with               included a learning rate.418 Our learning
                                             Report.                                                 the hybrid system. The details of these               estimates generated using the 2016
                                                We also used data from the 2011 Ford                 scenarios discussed further in Sections               report fall fairly well in the middle of
                                             Fusion teardown study to adjust the cost                III.D.3.a) and III.D.3.c) for SHEVs.                  these two ranges, and therefore we
                                             of SHEVP2 and SHEVPS high voltage                                                                             decided that continuing to apply the
                                             cables. This adjustment brought our                        Finally, we use Autonomie and
                                                                                                     BatPaC to model the size and cost of                  learning curve estimates based on the
                                             high voltage cable costs in closer                                                                            2016 report was reasonable. There are
                                             proximity to the 2021 NAS Report high                   batteries used in strong hybrid vehicles.
                                                                                                     More details on the sizing algorithm and              many sources that we could have picked
                                             voltage cable costs. More details about                                                                       to develop learning curves for non-
                                             the updated costs can be found in TSD                   battery costs can be found in the
                                                                                                     Argonne model documentation as well                   battery electrification component costs,
                                             Chapter 3.3.5.3. The resulting cost                                                                           however given the uncertainty
                                             differences between the SHEVP2 and                      as in TSD Chapter 3.3.5.1.
                                                                                                                                                           surrounding the complexity of the
                                             SHEVPS hybrid systems is mainly                            We received another comment from                   systems and extrapolating costs out to
                                             associated with the fact that our analysis              ICCT stating that ‘‘for 2018 Mid Term                 MY 2050, we believe these learning
                                             considers two motors/generators for                     Evaluation, non-battery BEV and PHEV                  curves provide a reasonable estimate.
                                             SHEVPS and one motor/generator for                      costs were updated based on more                        Table III–19 shows an example of how
                                             SHEVP2. We discuss how SHEVPS and                       recent teardown data from California                  the non-battery electrification
                                             SHEVP2 are characterized in our                         Air Resources Board, UBS, and other                   component costs are computed for the
                                             analysis in Section III.D.3.a).                         references, but these updated costs were              Medium Car and Medium SUV non-
                                                As a reminder, the assumptions that                  not used in the proposed NHTSA                        performance vehicle classes for the final
                                             we use to model and simulate strong                     rule.’’ 414                                           rule analysis.
                                             hybrid vehicles in Autonomie are not
                                                                                                        Although ICCT references multiple                  BILLING CODE 4910–59–P
                                             specific to any one manufacturer’s
                                                                                                     studies in their comment, they do not
                                             vehicle type. The engines and/or
                                                                                                     provide any specific BEV and PHEV                        415 Moawad, Ayman, Kim, Namdoo, Shidore,
                                             electric motors are sized to meet                                                                             Neeraj, and Rousseau, Aymeric. Assessment of
                                                                                                     component costs that they believe are
                                             different characteristics like utility,                                                                       Vehicle Sizing, Energy Consumption and Cost
                                                                                                     estimated incorrectly in our analysis. As
                                             performance, and other key designs to                                                                         Through Large Scale Simulation of Advanced
                                             provide the highest system efficiency.                  discussed earlier and in TSD Chapter                  Vehicle Technologies (ANL/ESD–15/28). United
                                             These key characteristics and attributes                3.3.5.2, we have used the most recent                 States (2016). Available at https://www.autonomie.
                                                                                                     public data available to estimate the cost            net/pdfs/Report%20ANL%20ESD-1528%20-
                                             are discussed in detail in Section III.C.4.                                                                   %20Assessment%20of%20Vehicle%20Sizing,
                                             This results in costs that may not match                of non-battery electrification                        %20Energy%20Consumption%20and%20Cost%20
                                             one specific vehicle teardown. However,                 components. In particular, we rely on                 through%20Large%20Scale%20Simulation%20of
                                             we still believe that on average the                    the UBS teardown study that ICCT                      %20Advanced%20Vehicle%20Technologies%20-
                                                                                                     references for some BEV and PHEV                      %201603.pdf, (accessed: Feb. 11, 2022).
                                             system cost estimates are appropriate.                                                                           416 ANL/ESD–15/28, at p. 116.
                                                We agree with Toyota that in some                    components.                                              417 DOE’s lab year equates to five years after a

                                             cases a vehicle’s engine does not change                   To develop the learning curves for                 model year, e.g., DOE’s 2010 lab year equates to MY
                                             when going from a conventional                          non-battery electrification components,               2015.
                                                                                                                                                              418 Islam, E., Kim, N., Moawad, A., Rousseau, A.
                                             powertrain to hybrid powertrain, like                   we used cost information from
                                                                                                                                                           ‘‘Energy Consumption and Cost Reduction of Future
                                             Toyota’s example of the 2.5L naturally                  Argonne’s 2016 Assessment of Vehicle                  Light-Duty Vehicles through Advanced Vehicle
                                             aspirated engine in the RAV4 and RAV4                   Sizing, Energy Consumption, and Cost                  Technologies: A Modeling Simulation Study
                                             hybrid. However, the analysis fleet                     through Large-Scale Simulation of                     Through 2050’’, Report to the U.S. Department of
                                             consists of vehicles with an assortment                 Advanced Vehicle Technologies                         Energy, Contract ANL/ESD–19/10, June 2020
                                                                                                                                                           https://www.autonomie.net/pdfs/ANL%20-
                                             of engines that are as basic as VVT-only                                                                      %20Islam%20-%202020%20-%20Energy%20
                                                                                                       413 Lorio, J., ’’Tested: 2022 Hyundai Tucson
                                                                                                                                                           Consumption%20and%20Cost%20
                                               412 EPA. ‘‘Light Duty Technology Cost Analysis,       Hybrid Aids Mileage and Performance.’’ Car and        Reduction%20of%20Future%20Light-
                                             Power-Split and P2 HEV Case Studies.’ November          Driver. December 22, 2021. https://                   Duty%20Vehicles%20through%20Advanced%
                                             2011. EPA–420–R–11–015. https://nepis.epa.gov/          www.caranddriver.com/reviews/a38591574/2022-          20Vehicle%20Technologies%20A
                                             Exe/ZyPDF.cgi/                                          hyundai-tucson-hybrid-by-the-numbers/. (Accessed:     %20Modeling%20Simulation%20
                                             P100EG1R.PDF?Dockey=P100EG1R.PDF. (Accessed:            Dec. 29, 2021)                                        Study%20Through%202050.pdf, (accessed: Feb. 11,
                                             Dec. 3, 2021)                                             414 ICCT, at pp. 7–8.                               2022).
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                                                                                                                                                                                               ER02MY22.083</GPH>




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                                               TSD Chapter 3.3.5.2 contains more                       Finally, the cost of electrifying a                 a breakdown of each electrification
                                             information about the non-battery                       vehicle depends on the other powertrain               component included for each
                                             electrification components relevant to                  components that must be added or                      electrification technology type, as well
                                             each specific electrification technology                removed from a vehicle with the                       as where to find the costs in each CAFE
                                             and the sources used to develop these                   addition of the electrification                       Model input file.
                                             costs.                                                  technology. Table III–20 below provides




                                               The following example in Table III–21                 Acadia progresses from a MY 2024                      electric technology tree path. For the
                                             shows how the costs are computed for                    vehicle with only SS12V electrification               final rule analysis, the cost of the SS12V
                                             a vehicle that progresses from a lower                  technology to a BEV300 in MY 2025.420                 battery was updated as discussed
                                             level to a higher level of electrified                  The total cost in MY 2025 is a net cost               earlier, and this example has been
                                             powertrain. The table shows the                         addition to the vehicle. The same                     updated to show the new cost.
                                             components that are removed and the                     methodology could be used for any
                                             components that are added as a GMC                      other technology advancement in the
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                                               419 As discussed in section 3.3.5.3 of the TSD, we    updated cost is reflected in the batterylcosts.csv      420 Vehicle code 11001008 in the Vehicle Report

                                             no longer use the BatPaC SS12V battery cost and         file.                                                 output file.
                                                                                                                                                                                                               ER02MY22.084</GPH>




                                             use a cheaper AGM battery instead, and the



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                                                TSD Chapter 3.3.5.3 includes more                    including carbon fiber reinforced                     in the mass reduction pathways for this
                                             details about how the costs associated                  plastics).                                            analysis.
                                             with the internal combustion engine,                                                                            The automotive industry uses
                                                                                                        The cost for mass reduction depends
                                             transmission, electric machine(s), non-                                                                       different metrics to measure vehicle
                                                                                                     on the type and amount of materials
                                             battery electrification components, and                                                                       weight. Some commonly used
                                                                                                     used, the manufacturing and assembly                  measurements are vehicle curb
                                             battery pack for each electrified
                                                                                                     processes required, and the degree to                 weight,422 gross vehicle weight
                                             technology type are combined to create
                                             a full electrification system cost.                     which changes to plants and new                       (GVW),423 gross vehicle weight rating
                                                                                                     manufacturing and assembly equipment                  (GVWR),424 gross combined weight
                                             Mass Reduction                                          is needed. In addition, manufacturers                 (GCVW),425 and equivalent test weight
                                                Mass reduction is a relatively cost-                 may develop expertise and invest in                   (ETW),426 among others. The vehicle
                                             effective means of improving fuel                       certain mass reduction strategies that                curb weight is the most commonly used
                                             economy, and vehicle manufacturers are                  may affect the approaches for mass
                                             expected to apply various mass                          reduction they consider and the                          422 This is the weight of the vehicle with all fluids

                                             reduction technologies to meet fuel                     associated costs. Manufacturers may                   and components but without the drivers,
                                             economy standards. Reducing vehicle                                                                           passengers, and cargo.
                                                                                                     also consider vehicle attributes like                    423 This weight includes all cargo, extra added
                                             mass is accomplished through several                    noise-vibration-harshness (NVH), ride                 equipment, and passengers aboard.
                                             different techniques, such as modifying                 quality, handling, crash safety and                      424 This is the maximum total weight of the

                                             and optimizing vehicle component and                    various acceleration metrics when                     vehicle, passengers, and cargo to avoid damaging
                                             system designs, part consolidation, and                 considering how to implement any mass                 the vehicle or compromising safety.
                                                                                                                                                              425 This weight includes the vehicle and a trailer
                                             adopting lighter weight materials                       reduction strategy. These are considered              attached to the vehicle, if used.
                                             (advanced high strength steel,                          to be aspects of performance, and for                    426 For the EPA two-cycle regulatory test on a
                                             aluminum, magnesium, and plastics                       this analysis any identified pathways to              dynamometer, an additional weight of 300 lbs. is
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                                                                                                                                                           added to the vehicle curb weight. This additional
                                               421 Please note that in this calculation the CAFE
                                                                                                     compliance are intended to maintain                   300 lbs. represents the weight of the driver,
                                             Model accounts for the air conditioning and off-        performance neutrality. Therefore, mass               passenger, and luggage. Depending on the final test
                                             cycle technologies (g/mile) applied to each vehicle     reduction via elimination of, for                     weight of the vehicle (vehicle curb weight plus 300
                                             model. The cost for the AC/OC adjustments are           example, luxury items such as climate                 lbs.), a test weight category is identified using the
                                             located in the CAFE Model Scenarios file. The air                                                             table published by EPA according to 40 CFR
                                             conditioning and off-cycle cost values are discussed    control, or interior vanity mirrors,                  1066.805. This test weight category is called
                                                                                                                                                                                                                      ER02MY22.085</GPH>




                                             further in TSD Chapter 3.8.                             leather padding, etc., is not considered              ‘‘Equivalent Test Weight’’ (ETW).



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                                             measurement when comparing vehicles.                     powertrains including motors, batteries,               used to assign initial analysis fleet mass
                                             A vehicle’s curb weight is the weight of                 inverters, etc. become a greater percent               reduction assignments, the effectiveness
                                             the vehicle including fluids, but without                of the fleet, glider weight percentage                 for applying mass reduction technology,
                                             a driver, passengers, and cargo. A                       will change compared to earlier fleets                 and mass reduction costs.
                                             vehicle’s glider weight, which is vehicle                with higher dominance of ICE
                                             curb weight minus the powertrain                         powertrains.                                           (a) Mass Reduction in the CAFE Model
                                             weight, is used to track the potential                     For this analysis, NHTSA considers
                                                                                                                                                               The CAFE Model considers six levels
                                             opportunities for weight reduction not                   six levels of mass reduction technology
                                                                                                      that include increasing amounts of                     of mass reduction technologies that
                                             including the powertrain. A glider’s
                                             subsystems may consist of the vehicle                    advanced materials and mass reduction                  manufacturers could use to comply with
                                             body, chassis, interior, steering,                       techniques applied to the glider.                      CAFE standards. The magnitude of mass
                                             electrical accessory, brake, and wheels                  NHTSA accounts for changes in mass                     reduction in percent for each of these
                                             systems. The percentage of weight                        associated with powertrain changes                     levels is shown in Table III–22 for mass
                                             assigned to the glider will remain                       separately. The following sections                     reductions for light trucks, passenger
                                             constant for any given rule but may                      discuss the assumptions for the six mass               cars and for gliders.
                                             change overall. For example, as electric                 reduction technology levels, the process               BILLING CODE 4910–59–C




                                                For this analysis, NHTSA considers                       NHTSA uses glider weight to apply                   In going from MR1 to MR3, expect that
                                             mass reduction opportunities from the                    non-powertrain mass reduction                          mild steel to be replaced by high
                                             glider subsystems of a vehicle first, and                technology in the CAFE Model and use                   strength and then advanced high
                                             then consider associated opportunities                   Autonomie simulations to determine the                 strength steels. In going from MR3 to
                                             to downsize the powertrain, which are                    size of the powertrain and                             MR4 aluminum is required. This will
                                             accounted for separately.427 As                          corresponding powertrain weight for the                start at using aluminum closure panels
                                             explained below, in the Autonomie                        respective glider weight. The                          and then to get to MR4 the vehicle’s
                                             simulations, the glider system includes                  combination of glider weight (after mass               primary structure will need to be mostly
                                             both primary and secondary systems                       reduction) and re-sized powertrain                     made from aluminum. In the vast
                                             from which a percentage of mass is                       weight equal the vehicle curb weight.                  majority of cases, carbon fiber
                                             reduced for different glider weight                         While there are a range of specific                 technology is necessary to reach MR5,
                                             reduction levels; specifically, the glider               mass reduction technologies that may be                perhaps with a mix of some aluminum.
                                             includes the body, chassis, interior,                    applied to vehicles to achieve each of                 MR6 requires nearly every primary
                                             electrical accessories, steering, brakes                 the six mass reduction levels, there are               structural component of the vehicle, like
                                             and wheels. In this analysis, NHTSA                      some general trends that are helpful to                body structure and closure panels, be
                                             assumes the glider share is 71 percent                   illustrate some of the more widely used                made from carbon fiber. There may be
                                             of vehicle curb weight. The Autonomie                    approaches. Typically, MR0 reflects
                                             model sizes the powertrain based on the                                                                         some use of aluminum in the
                                                                                                      vehicles with widespread use of mild
                                             glider weight and the mass of some of                                                                           suspension components. TSD Chapter
                                                                                                      steel structures and body panels, and
                                             the powertrain components in an                                                                                 3.4 includes more discussion of the
                                                                                                      very little or no use of high strength
                                             iterative process. The mass of the                       steel or aluminum. MR0 reflects                        challenges involved with adopting large
                                             powertrain depends on the powertrain                     materials applied to average vehicles in               amounts of carbon fiber in the vehicle
                                             size. Therefore, the weight of the glider                the MY 2008 timeframe. MR1–MR3 can                     fleet.
                                             impacts the weight of the powertrain.428                 be achieved with a steel body structure.                  Arconic Corporation commented that
                                                                                                                                                             ‘‘the NPRM makes specific references to
                                                427 When the mass of the vehicle is reduced by
                                                                                                      application of any type of powertrain. A               aluminum, which are accurate and
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                                             an appropriate amount, the engine may be                 conventional powertrain consists of an engine,
                                             downsized to maintain performance. See Section
                                                                                                                                                             consistent with practical automotive
                                                                                                      transmission, exhaust system, fuel tank, radiator,
                                             III.C.4 for more details.                                and associated components. A hybrid powertrain         industry experience and future program
                                                428 Since powertrains are sized based on the          also includes a battery pack, electric motor(s),       expectations. Mass reduction utilizing
                                             glider weight for the analysis, glider weight            generator, high voltage wiring harness, high voltage   advanced materials like aluminum is
                                             reduction beyond a threshold amount during a             connectors, inverter, battery management system(s),
                                             redesign will lead to re-sizing of the powertrain. For   battery pack thermal system, and electric motor
                                                                                                                                                             recognized as one of the technology
                                                                                                                                                             options to achieve safe, fuel-efficient
                                                                                                                                                                                                          ER02MY22.086</GPH>




                                             the analysis, the glider was used as a base for the      thermal system.



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                                             and cost-effective vehicles that meet or                cost-effective for the industry to apply              weight variations that might exist for
                                             exceed consumer demands.’’ 429                          to meet more stringent fuel economy                   specific vehicle models, as all the
                                                The American Chemistry Council                       standards. This fact is corroborated by               individual vehicle models are
                                             (ACC) commented on the agency’s                         the 2021 NAS Report, which provided                   aggregated into the platform group, and
                                             statements about vehicle light-weighting                updated data for carbon fiber composite               are effectively averaged using sales
                                             in several respects, but particularly                   costs that show the technology has not                weighting, which minimizes the impact
                                             disagreeing with our analysis of mass                   yet dropped to a price that would make                of any outlier vehicle configurations.
                                             reduction technology levels.430                         it cost-effective for the industry to apply
                                                                                                                                                           (c) Mass Reduction Adoption Features
                                             Specifically, ACC stated that ‘‘as                      to meet more stringent fuel economy
                                             written, the NPRM could be construed                    standards. This is discussed further in                  Given the degree of commonality
                                             as NHTSA discouraging the use of                        Section III.D.4.c) below. We also                     among the vehicle models built on a
                                             carbon fiber composites as well as an                   appreciate ACC’s inclusion of the DOE                 single platform, manufacturers do not
                                             endorsement for utilizing steel and                     ORNL technoeconomic analysis on                       have complete freedom to apply unique
                                             aluminum-based designs to achieve                       carbon fiber and discuss the study                    mass reduction technologies to each
                                             mass reduction.’’ 431 ACC also provided                 further in Section III.D.4.e) below.                  vehicle model that shares the platform.
                                             updated data on carbon fiber costs from                    As discussed further below, the cost               While some technologies (e.g., low
                                             DOE ORNL studies that they asked the                    studies used to generate the cost curves              rolling resistance tires) are very nearly
                                             agency to consider in the final rule.                   assume mass can be reduced in levels                  ‘‘bolt-on’’ technologies, others involve
                                                To be clear, our analysis does not                   that require utilizing different materials            substantial changes to the structure and
                                             endorse any specific technology                         and modifying different components, in                design of the vehicle, and therefore
                                             solution or pathway over another.                       a specific order. NHTSA’s mass                        affect all vehicle models that share a
                                             However, our analysis does need to                      reduction levels are loosely based on                 platform. In most cases, mass reduction
                                             accurately reflect trends that are                      what materials and component                          technologies are applied to platform
                                             developing in the real-world automotive                 modifications are required for each                   level components and therefore the
                                             marketplace and potential fuel economy                  percent of mass reduction, based on the               same design and components are used
                                             improving technology to appropriately                   conclusions of those studies.                         on all vehicle models that share the
                                             estimate the costs and benefits of more                                                                       platform.
                                                                                                     (b) Mass Reduction Analysis Fleet                        Each vehicle in the analysis fleet is
                                             stringent standards. It also does need to               Assignments
                                             consider what could reasonably occur in                                                                       associated with a specific platform.
                                             the future of the market given                             To assign baseline mass reduction                  Similar to the application of engine and
                                             automotive development timelines for                    levels (MR0 through MR6) for vehicles                 transmission technologies, the CAFE
                                                                                                     in the MY 2020 analysis fleet, NHTSA                  Model defines a platform ‘‘leader’’ as
                                             implementing new technology into real
                                                                                                     uses previously developed regression                  the vehicle variant of a given platform
                                             passenger vehicles. Precursor materials
                                                                                                     models to estimate curb weight for each               that has the highest level of observed
                                             technologies that potentially offer game-
                                                                                                     vehicle based on observable vehicle                   mass reduction present in the analysis
                                             changing dry carbon fiber cost
                                                                                                     attributes. NHTSA uses these models to                fleet. If there is a tie, the CAFE Model
                                             reductions are still under development
                                                                                                     establish a baseline (MR0) curb weight                begins mass reduction technology on
                                             and therefore we would not expect them
                                                                                                     for each vehicle, and then determines                 the vehicle with the highest sales
                                             to end up in a production vehicle
                                                                                                     the existing mass reduction technology                volume in MY 2020. If there remains a
                                             program beyond what our adoption
                                                                                                     level by finding the difference between               tie, the model begins by choosing the
                                             features allow in the rulemaking
                                                                                                     the vehicles actual curb weight to the                vehicle with the highest manufacturer
                                             timeframe.                                                                                                    suggested retail price (MSRP) in MY
                                                                                                     estimated regression-based value, and
                                                In addition, while carbon fiber
                                                                                                     comparing the difference to the values                2020. As the model applies
                                             composites are considered a potential
                                                                                                     in Table III–22. NHTSA originally                     technologies, it effectively levels up all
                                             pathway to compliance, wholly carbon
                                                                                                     developed the mass reduction                          variants on a platform to the highest
                                             fiber primary structure, which is what is
                                                                                                     regression models using MY 2015 fleet                 level of mass reduction technology on
                                             necessary to reduce mass enough to                                                                            the platform. For example, if the
                                                                                                     data; for this analysis, NHTSA used MY
                                             achieve the highest mass reduction                                                                            platform leader model is already at MR3
                                                                                                     2016 and 2017 analysis fleet data to
                                             levels in the analysis, simply have not                                                                       in MY 2020, and a ‘‘follower’’ platform
                                                                                                     update the models.
                                             materialized. While the number and                         NHTSA believes the regression                      model starts at MR0 in MY 2020, the
                                             mass of discrete applications of carbon                 methodology is a technically sound                    follower platform model will get MR3 at
                                             fiber has expanded the fleet—for                        approach for estimating mass reduction                its next redesign, assuming no further
                                             example, adding carbon fiber decorative                 levels in the analysis fleet. For a                   mass reduction technology is applied to
                                             interior trim pieces or carbon fiber roof               detailed discussion about the regression              the leader model before the follower
                                             panels to medium and high-end luxury                    development and use please see TSD                    model’s next redesign.
                                             cars—these discrete applications do not                 Chapter 3.4.2.                                           In addition to the platform-sharing
                                             contribute to substantial mass reduction                   Manufacturers generally apply mass                 logic employed in the model, NHTSA
                                             required to meet the highest levels of                  reduction technology at a vehicle                     applies phase-in caps for MR5 and MR6
                                             mass reduction in this analysis. The                    platform level (i.e., using the same                  (15 percent and 20 percent reduction of
                                             price to apply carbon fiber technology to               components across multiple vehicle                    a vehicle’s curb weight, respectively),
                                             produce wholly carbon fiber composite                   models that share a common platform)                  based on the current state of mass
                                             primary structure with the precursor                    to leverage economies of scale and to                 reduction technology. As discussed
                                             material available today has not yet                    manage component and manufacturing                    above, for nearly every type of vehicle,
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                                             dropped to a price that would make it                   complexity, so conducting the                         a manufacturer’s strategy to achieve
                                               429 Arconic, Docket No. NHTSA–2021–0053–
                                                                                                     regression analysis at the platform level             mass reduction consistent with MR5
                                             1560, at p. 1.
                                                                                                     leads to more accurate estimates for the              and MR6 will require extensive use of
                                               430 ACC, Docket No. NHTSA–2021–0053–1564, at          real-world vehicle platform mass                      carbon fiber technologies in the
                                             p. 5.                                                   reduction levels. The platform approach               vehicles’ primary structures. For
                                               431 Id.                                               also addresses the impact of potential                example, one way of using carbon fiber


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                                             technology to achieve MR6 is to develop                  are more expensive for manufacturing                  metal construction to molded composite
                                             a carbon fiber monocoque structure.432                   carbon fiber components than for                      materials construction. For decades, or
                                                High CAFE stringency levels will                      manufacturing metal components. Next,                 in some cases half-centuries, car
                                             push the CAFE Model to select                            as of yet, no one has found an effective              manufacturers have invested billions of
                                             compliance pathways that include these                   way to recycle carbon fiber composites,               dollars in capital for equipment that
                                             higher levels of mass reduction for                      which means there saving money                        supports the industry’s sheet metal
                                             vehicles produced in the mid and high                    through re-using material is a challenge.             forming paradigm. A paradigm change
                                             hundreds of thousands of vehicles per                    In addition, R&D overhead will also                   to tooling and equipment developed to
                                             year. NHTSA assumes, based on                            increase because of the knowledge base                support molding carbon fiber panels
                                             material costs and availability, that                    for composite materials in automotive                 and monocoque chassis structures
                                             achieving MR6 levels of mass reduction                   applications is simply not as deep as it              would leave that capital stranded in
                                             will cost over ten thousand dollars per                  is for steel and aluminum.                            equipment that would be rendered
                                             car. The cost of achieving MR6 in the                       ACC commented on this                              obsolete. Doing this is possible, but the
                                             CAFE Model is consistent with our                        characterization of potential costs for               financial ramifications are not currently
                                             understanding of the real-world costs to                 carbon fiber technology, using it as an               reflected in the CAFE Model for MR5
                                             produce a carbon fiber monocoque                         example of where, as discussed above,                 and MR6 compliance pathways.
                                             structure.433 Therefore, application of                  they believed the NPRM could be                          Financial matters aside, carbon fiber
                                             such technology to high volume                           construed as NHTSA discouraging the                   technology and how it is best used to
                                             vehicles is unrealistic today and will,                  use of carbon fiber composites.434                    produce light-weight primary
                                             with certainty, remain so for the next                   However, the views stated in the                      automotive structures is far from
                                             several years.                                           previous paragraph explaining why                     mature. In fact, no car company knows
                                                The CAFE Model applies technologies                   carbon fiber technologies are not                     for sure the best way to use carbon fiber
                                             to vehicles that provide a cost-effective                widespread are not indicative of                      to make a passenger car’s primary
                                             pathway to compliance. In some cases,                    NHTSA discouraging the use of or                      structure. Using this technology in
                                             the direct manufacturing cost, indirect                  further development carbon fiber                      passenger cars is far more complex than
                                             costs, and applied learning factor do not                technologies. Rather, they reflect what               using it in racing cars where passenger
                                             capture all the considerations that make                 has actually occurred in the automotive               egress, longevity, corrosion protection,
                                             a technology more or less costly for                     market and views shared by others. In                 crash protection, etc. are lower on the
                                             manufacturers to apply in the real                       fact, BMW decided that a mixed                        list of priorities for the design team.
                                             world. For example, there are direct                     materials solution is a more financially              BMW may be the one manufacturer
                                             labor, R&D overhead, manufacturing                       effective way to reduce mass and will                 most able accurately opine on the
                                             overhead and tooling costs. Due to the                   not build a wholly carbon fiber                       viability of carbon fiber technology for
                                             complexities of manufacturing                            composite successor to the                            primary structure on high-volume
                                             composite components, many of these                      i3.435 436 437 438 439                                passenger cars, and even it decided to
                                                                                                         Indeed, the intrinsic anisotropic                  use a mixed materials solution for their
                                                432 A monocoque structure is one where the outer
                                                                                                      mechanical properties of composite                    next generation of EVs (the iX and i4)
                                             most skins support the primary loads of the vehicle.
                                             For example, they do not have separate non-load          materials compared to the isotropic                   after the i3, thus eschewing a wholly
                                             bearing aero surfaces. All of the vehicle’s primary      properties of metals complicates the                  carbon fiber monocoque structure.
                                             loads are supported by the monocoque. In the most        design process. Added testing of these                   Another factor limiting the
                                             structurally efficient automotive versions, the                                                                application of carbon fiber technology to
                                             monocoque is made from multiple well-
                                                                                                      novel anisotropic structures and their
                                             consolidated plies of carbon fiber infused with          associated costs will be necessary for                mass volume passenger vehicles is
                                             resin. Such structures would likely require a few        decades. Adding up all these                          indeed the availability of dry carbon
                                             hundred kilograms of carbon fiber for most               contributing costs, the price tag for a               fibers. There is high global demand from
                                             passenger vehicles.
                                                433 In simplest terms, the cost to produce a
                                                                                                      passenger car or truck monocoque                      a variety of industries for a limited
                                             component made from carbon fiber composite               would likely be multiple tens of                      supply of carbon fibers. Aerospace,
                                             materials is the sum of the cost of dry carbon fiber,    thousands of dollars per vehicle. This                military/defense, and industrial
                                             resin, amortized tooling, direct labor, and factor       would be significantly more expensive                 applications demand most of the carbon
                                             overhead. A BMW i3 monocoque contains between                                                                  fiber currently produced. Today, only
                                             100 and 150 kg of carbon fiber composite material
                                                                                                      than transitioning to hybrid or fully
                                             depending on source (see article on https://             electric powertrains and potentially less             roughly 10 percent of the global dry
                                             www.marklines.com/en/report_all/rep1419_201506,          effective at achieving CAFE compliance.               fiber supply goes to the automotive
                                             (accessed: Feb. 11, 2022). ‘‘Recent Trends in CFRP          In addition, the CAFE Model does not               industry, which translates to the global
                                             Development: Increased Usage in European                                                                       supply base only being able to support
                                             Vehicles, July 2015, and see book: ‘‘Lightweight and
                                                                                                      currently enable direct accounting for
                                             Sustainable Materials for Automotive                     the stranded capital associated with a                approximately 80,000 cars.440
                                             Applications,’’ Chapter 8, 2017, CRC Press).             transition away from stamped sheet                       To account for these cost and
                                             Assuming a very typical 60/40 mix of carbon fiber                                                              production considerations, including
                                             to resin, and assuming the price of dry carbon fiber       434 ACC, at p. 5.                                   the limited global supply of dry carbon
                                             is $20–$40 per kilogram and the price of resin is
                                             $5–$10 per kilogram, the cost of direct materials
                                                                                                        435 Brosius, Dale, ‘‘Carbon Fiber in Automotive:
                                                                                                                                                            fiber, NHTSA applied phase-in caps that
                                                                                                      At a Dead End?’’ Composites World, December 20,       limited the number of vehicles that can
                                             alone in an i3’s carbon fiber monocoque is already
                                                                                                      2021.
                                             approaching $4,200. Adding direct labor, factory           436 Sloan, Jeff, ‘‘AutoComposites and the Myth of
                                                                                                                                                            achieve MR5 and M6 levels of mass
                                             overhead (which scales with cycle time) and the                                                                reduction in the CAFE Model. NHTSA
                                             amortized cost of tooling can easily bring the cost      $5/lb. Carbon Fiber,’’ Composites World, February
                                             for components made from composite materials in          24, 2017.                                             applied a phase-in cap for MR5 level
                                             the i3 to a higher level. Note that the BMW i3 is
                                                                                                        437 Taylor, Edward and Sage, Alexandria, ‘‘BMW
                                                                                                                                                            technology so that 75 percent of the
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                                             on the small end of the size spectrum in the 2020        Limits Lightweight Carbon Fibre Use to Juice          vehicle fleet starting in 2020 could
                                             fleet and these costs would increase faster than         Profits,’’ Reuters, October 2016.
                                                                                                        438 Bunkley, Nick, ‘‘BMW Limits Carbon Fiber
                                                                                                                                                            employ the technology, and the
                                             proportional to vehicle footprint because of the
                                             mass compounding effect. Therefore, the cost of a        Use to Protect Profits,’’ Autonews Gasgoo, October    technology could be applied to 100
                                             monocoque for a large sedan (the current BMW 7-          31, 2016.
                                             series has a foot-print that is 30 percent higher than     439 Schlosser, Andreas, Coskun Baban, Samith,         440 J. Sloan, ‘‘Carbon Fiber Suppliers Gear up for

                                             that of the i3) could easily cost over ten thousand      and Siedel Phillipp, ‘‘After the Hype: Where is the   Next Generation Growth,’’ compositesworld.com,
                                             dollars.                                                 Carbon Car?’’ Arthur D. Little, January 2019.         February 11, 2020.



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                                             percent of the fleet by MY 2022. NHTSA                     Given the uncertainty and fluid                    construction. The i3 was replaced with
                                             also applied a phase-in cap for MR6                     nature of knowledge around higher                     a vehicle containing only a small
                                             technology so that five percent of the                  levels of mass reduction technology, we               fraction of the amount carbon fiber
                                             vehicle fleet starting in MY 2020 could                 welcomed comments on how to most                      composite materials as its predecessor.
                                             employ the technology, and the                          cost effectively use carbon fiber                     BMW decided a multi-materials
                                             technology could be applied to 10                       technology in high-volume passenger                   solution was more cost effective.446 447
                                             percent of the fleet by MY 2025.                        cars. We also stated that financial                   Currently, the few vehicles that
                                                To develop these phase-in caps,                      implementation estimates for this                     continue to use carbon fiber do so in
                                             NHTSA chose a 40,000-unit threshold                     technology are equally as welcome.                    only small fractions or they are not
                                             for both MR5 and MR6 technology                            NHTSA received comment involving                   mass-market vehicles.448 We are not
                                             (80,000 units total), because it roughly                the ability of auto industry suppliers to             currently aware of any high-volume cars
                                             reflects the number of BMW i3 cars                      procure dry carbon fiber materials in                 planned for the near future with nearly
                                             produced per year worldwide.441 As                      quantities consistent with supplying                  full carbon fiber construction. If that
                                             discussed above, the BMW i3 is the only                 high-volume platforms. Commenters                     remains the case, there is no incentive
                                             high-volume vehicle currently produced                  suggested that the industry that                      to dramatically boost production of dry
                                             with a primary structure mostly made                    produces dry carbon fiber could readily               carbon fiber to support the auto
                                             from carbon fiber (except the                           ramp-up fiber production at a rate fast               industry.
                                             skateboard, which is aluminum).                         enough to accommodate the demands of                     There may be some emerging methods
                                             Because mass reduction is applied at the                multiple high volume automotive                       to provide a lower cost pathway to MR6,
                                             platform level (meaning that every car of               platforms such as the Chevrolet                       like selectively applying high-modulus
                                             a given platform would receive the                      Traverse or Volvo XC90, all within the                carbon fiber tapes to lower cost
                                             technology, not just special low volume                 time frame in which this rule applies.443             structures primarily made from
                                             versions of that platform), only                        Commenters did not mention specific                   fiberglass composites.449 Although these
                                             platforms representing 40,000 vehicles                  achievable production volumes or detail               methods may reduce the cost of direct
                                             or less are eligible to apply MR5 and                   a production volume trajectory as a                   materials, the do not alleviate slow
                                             MR6 toward CAFE compliance.                             function of time. In addition, ACC                    production cycle times and the costs
                                             Platforms representing high volume                      commented that it was misleading for                  associated with them.
                                             sales, like a Chevrolet Traverse, for                   NHTSA to state that only roughly 10                      The analysis herein uses the 2020
                                             example, where hundreds of thousands                    percent of the global dry fiber supply                fleet to evaluate the level of mass
                                             are sold per year, are therefore blocked                goes to the automotive industry, that 10              reduction (MR0–MR6) achieved by
                                             from access to MR5 and MR6                              percent would only be enough for                      individual vehicle platforms. In total, a
                                             technology. There are no phase in caps                  roughly 70,000 vehicles and that                      little more than 25,000 vehicles of a
                                             for mass reduction levels MR1, MR2,                     producers of dry carbon fiber would not               fleet containing roughly 16 million
                                             MR3 or MR4.                                             scale their output to support high                    vehicles achieved MR5 and MR6. It is
                                                In addition to determining that the                  volume production automotive                          expected that achieving MR5 will
                                             caps were reasonable based on current                   programs. Based on available literature,              require at least some carbon fiber
                                             global carbon fiber production, NHTSA                   engineering judgment and the                          technology and achieving MR6 will
                                             determined that the MR5 phase-in cap                    composition of the current fleet, we                  require nearly full carbon fiber
                                             is consistent with the NHTSA light-                     continue to believe that MR5 or MR6                   construction. Of the 25,000 vehicles,
                                                                                                     will not be achievable for large volume
                                             weighting study that found that a 15                                                                          about 5,000 vehicles have nearly full
                                                                                                     platforms in the rulemaking
                                             percent curb weight reduction for the                                                                         carbon fiber construction. These
                                                                                                     timeframe.444 Sources in the literature
                                             fleet is possible within the rulemaking                                                                       vehicles are produced by BMW (the i3
                                                                                                     indicate that if only three mass volume
                                             timeframe.442                                                                                                 and i8), the VW Group (Bugatti and
                                                                                                     auto makers used 8–9 kg of carbon fiber
                                                These phase-in caps appropriately                                                                          Lamborghini) and few others that are
                                                                                                     (which would not meet MR5 or MR6
                                             function as a proxy for the cost and                                                                          not big enough to be included in the
                                                                                                     levels) in each of their vehicles, the
                                             complexity currently required (and that                                                                       2020 fleet. Noteworthy is that there are
                                                                                                     carbon fiber industry would need to
                                             likely will continue to be required until                                                                     service vans in the fleet that achieve the
                                                                                                     double its output. Using only 8–9 kg of
                                             manufacturing processes evolve) to                                                                            highest MR levels, but only for the
                                                                                                     carbon fiber per vehicle will never
                                             produce carbon fiber components.                        enable mass reduction consistent with                 reason that they have large footprints
                                             Again, MR6 technology in this analysis                  MR5 or MR6. The amount of carbon                      (wheelbase times average track) and do
                                             reflects the use of a significant share of              fiber required for this would require at              not include interior trim and luxury
                                             carbon fiber content, as seen through the               least an order of magnitude more than                 items. Given this small representation of
                                             BMW i3 and Alfa Romeo 4c as                             8–9 kg. Fiber producers cannot double                 vehicles with nearly full carbon fiber
                                             discussed above.                                        their output in the rulemaking                        construction, and current trends in
                                                                                                     timeframe let alone increase it by                      446 Taylor, Edward and Sage, Alexandria, ‘‘BMW
                                                441 However, even this number is optimistic
                                                                                                     twenty-fold within the same                           Limits Lightweight Carbon Fibre Use to Juice
                                             because only a small fraction of i3 cars are sold in
                                             the U.S. market, and combining MR5 and MR6              timeframe.445                                         Profits,’’ Reuters, October 2016.
                                             allocations equates to 80k vehicles, not 40k.              In addition, since publication of the                447 Bunkley, Nick, ‘‘BMW Limits Carbon Fiber

                                             Regardless, if the auto industry ever seriously         NPRM, BMW stopped producing its i3                    Use to Protect Profits,’’ Autonews Gasgoo, October
                                             committed to using carbon fiber in mainstream           vehicle, the only mass-volume vehicle                 31, 2016.
                                             high-volume vehicles, competition with the other                                                                448 See, e.g., the BMW iX and i4, and some

                                             industries would rapidly result in a dramatic
                                                                                                     built with nearly full carbon fiber                   Lamborghini vehicles.
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                                             increase in price for dry fiber. This would further                                                             449 By strategic application of carbon fiber in
                                                                                                       443 ACC, at p. 5.
                                             stymie the deployment of this technology in the                                                               areas of highest stress in a given structure, it is often
                                             automotive industry.                                      444 Bill, Bregar, ‘‘Prices Keep Carbon Fiber from
                                                                                                                                                           possible to achieve sufficient structural
                                                442 Singh, Harry. (2012, August). Mass Reduction     Mass Adoption,’’ Plastic News, August 5, 2014.        performance at a lower cost. However, this strategy
                                             for Light-Duty Vehicles for Model Years 2017–2025.        445 ‘‘How to Turn Pitch into Carbon Fiber for       does not solve the aforementioned issues
                                             (Report No. NHTSA HS 811 666). Program                  Automotive Applications,’’ https://www.azom.com/      surrounding the high costs associated with the
                                             Reference: NHTSA Contract DTNH22–11–C–00193.            article.aspx?ArticleID=19200 (accessed: Feb. 11,      relatively long production cycle times of composite
                                             Contract Prime: Electricore, Inc, at 356, Figure 397.   2022).                                                materials composites.



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                                             automotive carbon fiber application,                    Autonomie also accounts for battery and               was applied to the glider mass, or when
                                             discussed above, we do not believe that                 motor mass used in hybrid and electric                one powertrain architecture was
                                             multiple large-volume platforms would                   vehicles separately. This secondary                   replaced with another architecture.
                                             be able to reach MR6 in the rulemaking                  mass reduction is discussed further                      Specifically, we allow engine resizing
                                             timeframe.                                              below.                                                upon adoption of 7.1, 10.7, 14.2, and 20
                                                We will continue to monitor carbon                      Accordingly, in the Autonomie                      percent curb weight reduction, but not
                                             fiber investments from the automotive                   simulations, mass reduction technology                at 3.6 and 5.3 percent.453 Resizing is
                                             sector, whether for full carbon fiber                   is simulated as a percentage of mass                  also allowed upon changes in
                                             construction bodies or carbon fiber                     removed from the specific subsystems                  powertrain type or the inheritance of a
                                             parts, and on the implications of such                  that make up the glider, as defined for               powertrain from another vehicle in the
                                             investments for automotive application                  that set of simulations (including the                same platform. The increments of these
                                             carbon fiber demand, capacity, and                      non-powertrain secondary mass systems                 higher levels of mass reduction, or
                                             supply. Based on these observations,                    such as the brake system). For the                    complete powertrain changes, more
                                             however, we declined to update any of                   purposes of determining a reasonable                  appropriately match the typical engine
                                             our mass reduction adoption features for                percentage for the glider, NHTSA in                   displacement increments that are
                                             this final rule.                                        consultation with Argonne examined                    available in a manufacturer’s engine
                                                                                                     glider weight data available in the                   portfolio.
                                             (d) Mass Reduction Effectiveness                        A2Mac1 database,451 in addition to the                   Argonne performed a regression
                                             Modeling                                                NHTSA MY 2014 Chevrolet Silverado                     analysis of engine peak power versus
                                                As discussed in Section III.C.4,                     light-weighting study (discussed further              weight for a previous analysis based on
                                             Argonne developed a database of                         below). Based on these studies, NHTSA                 attribute data taken from the A2Mac1
                                             vehicle attributes and characteristics for              assumes that the glider weight                        benchmarking database, to account for
                                             each vehicle technology class that                      comprised 71 percent of the vehicle                   the difference in weight for different
                                             included over 100 different attributes.                 curb weight. TSD Chapter 3.4.4 includes               engine types. For example, to account
                                             Some examples from these 100                            a detailed breakdown of the components                for weight of different engine sizes like
                                             attributes include frontal area, drag                   that NHTSA considered to arrive at the                4-cylinder versus 8-cylinder, Argonne
                                             coefficient, fuel tank weight,                          conclusion that a glider, on average,                 developed a relationship curve between
                                             transmission housing weight,                            represents 71 percent of a vehicle’s curb             peak power and engine weight based on
                                             transmission clutch weight, hybrid                      weight.                                               the A2Mac1 benchmarking data. We use
                                             vehicle components, and weights for                        Any mass reduction due to                          this relationship to estimate mass for all
                                             components that comprise engines and                    powertrain improvements is accounted                  engine types regardless of technology
                                             electric machines, tire rolling resistance,             for separately from glider mass                       type (e.g., variable valve lift and direct
                                             transmission gear ratios, and final drive               reduction. Autonomie considers several                injection). NHTSA applies weight
                                             ratio. Argonne used these attributes to                 components for powertrain mass                        associated with changes in engine
                                             ‘‘build’’ each vehicle that it used for the             reduction, including engine downsizing,               technology by using this linear
                                             effectiveness modeling and simulation.                  and transmission, fuel tank, exhaust                  relationship between engine power and
                                             Important for precisely estimating the                  systems, and cooling system light-                    engine weight from the A2Mac1
                                             effectiveness of different levels of mass               weighting.                                            benchmarking database. When a vehicle
                                             reduction is an accurate list of initial                   The 2015 NAS Report suggested an                   in the analysis fleet with an 8-cylinder
                                             component weights that make up each                     engine downsizing opportunity exists                  engine adopts a more fuel-efficient 6-
                                             vehicle subsystem, from which                           when the glider mass is light-weighted                cylinder engine, the total vehicle weight
                                             Autonomie considered potential mass                     by at least 10 percent. The 2015 NAS                  reflects the updated engine weight with
                                                                                                     Report also suggested that 10 percent                 two less cylinders based on the peak
                                             reduction opportunities.
                                                                                                     light-weighting of the glider mass alone              power versus engine weight
                                                As stated above, NHTSA uses glider
                                                                                                     would boost fuel economy by 3 percent                 relationship.
                                             weight, or the vehicle curb weight                                                                               When Autonomie selects a powertrain
                                             minus the powertrain weight, to                         and any engine downsizing following
                                                                                                     the 10 percent glider mass reduction                  combination for a light-weighted glider,
                                             determine the potential opportunities                                                                         the engine and transmission are selected
                                             for weight reduction irrespective of the                would provide an additional 3 percent
                                                                                                     increase in fuel economy.452 The 2011                 such that there is no degradation in the
                                             type of powertrain.450 This is because                                                                        performance of the vehicle relative to
                                             weight reduction can vary depending on                  Honda Accord and 2014 Chevrolet
                                                                                                     Silverado light-weighting studies                     the baseline vehicle. The resulting curb
                                             the type of powertrain. For example, an                                                                       weight is a combination of the mass
                                             8-speed transmission may weigh more                     applied engine downsizing (for some
                                                                                                     vehicle types but not all) when the                   reduced glider with the resized and
                                             than a 6-speed transmission, and a basic                                                                      potentially new engine and
                                             engine without variable valve timing                    glider weight was reduced by 10
                                                                                                     percent. Accordingly, this analysis                   transmission. This methodology also
                                             may weigh more than an advanced                                                                               helps in accurately accounting for the
                                             engine with variable valve timing.                      limited engine resizing to several
                                                                                                     specific incremental technology steps as              cost of the glider and cost of the engine
                                             Autonomie simulations account for the                                                                         and transmission in the CAFE Model.
                                             weight of the powertrain system                         in the 2018 NPRM and 2020 final rule;
                                                                                                     important for this discussion, engines in                Secondary mass reduction is possible
                                             inherently as part of the analysis, and                                                                       from some of the components in the
                                             the powertrain mass accounting is                       the analysis were only resized when
                                                                                                     mass reduction of 10 percent or greater               glider after mass reduction is applied to
                                             separate from the application and                                                                             the primary subsystems (body, chassis,
                                             accounting for mass reduction                                                                                 and interior). Similarly, engine
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                                                                                                       451 A2Mac1: Automotive Benchmarking, https://
                                             technology levels that are applied to the               a2mac1.com.
                                             glider in the simulations. Similarly,                     452 2015 NAS Report. National Research Council.       453 These curb weight reductions equate to the

                                                                                                     2015. Cost, Effectiveness, and Deployment of Fuel     following levels of mass reduction as defined in the
                                               450 Depending on the powertrain combination, the      Economy Technologies for Light-Duty Vehicles.         analysis: MR3, MR4, MR5 and MR6, but not MR1
                                             total curb weight of the vehicle includes glider,       Washington, DC—The National Academies Press.          and MR2; additional discussion of engine resizing
                                             engine, transmission and/or battery pack and            https://doi.org/10.17226/21744, (accessed: Feb. 11,   for mass reduction can be found in Section III.C.4
                                             motor(s).                                               2022).                                                and TSD Chapter 2.4.



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                                             downsizing and powertrain secondary                     performance and to maintain                           weight of the turbocharging
                                             mass reduction is possible after certain                mechanical functionality.                             components, and the lower weight of
                                             level of mass reduction is incorporated                   NHTSA enhances the accuracy of                      fewer cylinders.
                                             in the glider. For the analysis, the                    estimated engine weights by using two                    The range of effectiveness values for
                                             agencies include both primary mass                      curves to represent separately naturally              the mass reduction technologies, for all
                                             reduction, and when there is sufficient                 aspirated engine designs and                          ten vehicle technology classes are
                                             primary mass reduction, additional                      turbocharged engine designs.454 This                  shown in Figure III–14. In the graph, the
                                             secondary mass reduction. The                           achieves two benefits. First, small                   box shows the inner quartile range (IQR)
                                                                                                     naturally aspirated 4-cylinder engines                of the effectiveness values and whiskers
                                             Autonomie simulations account for the
                                                                                                     that adopt turbocharging technology                   extend out 1.5 x IQR. The NHTSAs
                                             aggregate of both primary and secondary
                                                                                                     reflects the increased weight of                      outside of the whiskers show a few
                                             glider mass reduction, and separately                   associated components like ducting,
                                             for powertrain mass.                                                                                          values outside these ranges. As
                                                                                                     clamps, the turbocharger itself, a                    discussed earlier, Autonomie simulates
                                                Note that secondary mass reduction is                charged air cooler, wiring, fasteners, and            all possible combinations of
                                             integrated into the mass reduction cost                 a modified exhaust manifold. Second,                  technologies for fuel consumption
                                             curves. Specifically, the NHTSA                         larger cylinder count engines like                    improvements. For a few technology
                                             studies, upon which the cost curves                     naturally aspirated 8-cylinder and 6-                 combinations mass reduction has
                                             depend, first generated costs for light-                cylinder engines that adopt                           minimal impact on effectiveness on the
                                             weighting the vehicle body, chassis,                    turbocharging and downsizing                          regulatory 2-cycle test. For example, if
                                             interior, and other primary components,                 technologies have lower weight due to                 an engine is operating in an efficient
                                             and then calculated costs for light-                    having fewer engine cylinders. For this               region of the fuel map on the 2-cycle
                                             weighting secondary components.                         analysis, a naturally aspirated 8-                    test further reduction of mass may have
                                             Accordingly, the cost curves reflect that,              cylinder engine that adopts                           smaller improvement on the regulatory
                                                                                                     turbocharging technology and is                       cycles. Figure III–14 shows the range
                                             for example, secondary mass reduction
                                                                                                     downsized to a 6-cylinder turbocharged                improvements based on the full range of
                                             for the brake system is only applied
                                                                                                     engine appropriately reflects the added               other technology combinations
                                             after there has been sufficient primary
                                             mass reduction to allow the smaller                       454 See Autonomie model documentation,
                                                                                                                                                           considered in the analysis.
                                             brake system to provide safe braking                    Chapter 5.2.9, Engine Weight Determination.           BILLING CODE 4910–59–P
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                                             (e) Mass Reduction Costs                                include the mass reduction associated                 share (= [3,000 lbs. × 50% × 20%]), and
                                                The CAFE Model analysis handles                      with engine downsizing. The mass                      426 lbs. for 71 percent glider share (=
                                             mass reduction technology costs                         reduction and costs associated with                   [3,000 lbs. × 71% × 20%]). The mass
                                             differently than all other technology                   engine downsizing are accounted for                   reduction cost studies that NHTSA
                                             costs. Mass reduction costs are                         separately.                                           relies on to develop mass reduction
                                             calculated as an average cost per pound                    A second reason for using glider share             costs for this analysis show that the cost
                                             over the baseline (MR0) for a vehicle’s                 instead of curb weight is that it affects             for mass reduction varies with the
                                             glider weight. While the definitions of                 the absolute amount of curb weight                    amount of mass reduction. Therefore,
                                             glider may vary, NHTSA uses the same                    reduction applied, and therefore cost                 for a fixed glider mass reduction
                                             dollar per pound of curb weight to                      per pound for the mass reduction                      percentage, different glider share
                                             develop costs for different glider                      changes with the change in the glider                 assumptions will have different costs.
                                             definitions. In translating these values,               share. The cost for removing 20 percent                 NHTSA considered several sources to
                                             NHTSA takes care to track units ($/kg                   of the glider weight when the glider                  develop the mass reduction technology
                                             vs. $/lb.) and the reference for                        represents 75 percent of a vehicle’s curb             cost curves. Several mass reduction
                                             percentage improvements (glider vs.                     weight is not the same as the cost for                studies have used either a mid-size
                                             curb weight).                                           removing 20 percent of the glider weight              passenger car or a full-size pickup truck
                                                NHTSA calculates the cost of mass                    when the glider represents 50 percent of              as an exemplar vehicle to demonstrate
                                             reduction on a glider weight basis so                   the vehicle’s curb weight. For example,               the technical and cost feasibility of mass
                                             that the weight of each powertrain                      the glider share of 79 percent of a 3,000-            reduction. While the findings of these
                                             configuration can be directly and                       pound curb weight vehicle is 2,370 lbs.,              studies may not apply directly to
                                             separately accounted for. This approach                 while the glider share of 50 percent of               different vehicle classes, the cost
                                             provides the true cost of mass reduction                a 3,000-pound curb weight vehicle is                  estimates derived for the mass reduction
                                             without conflating the mass change and                  1,500 lbs., and the glider share of 71                technologies identified in these studies
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                                             costs associated with downsizing a                      percent of a 3,000-pound curb weight                  can be useful for formulating general
                                             powertrain or adding additional                         vehicle is 2,130 lbs. The mass change                 estimates of costs. As discussed further
                                             advanced powertrain technologies.                       associated with 20 percent mass                       below, the mass reduction cost curves
                                             Hence, the mass reduction costs in this                 reduction is 474 lbs. for 79 percent                  developed for this analysis are based on
                                             final rule reflect the cost of mass                     glider share (= [3,000 lbs. × 79% ×                   two light-weighting studies, and
                                                                                                                                                                                                        ER02MY22.087</GPH>




                                             reduction in the glider and do not                      20%]), 300 lbs. for 50 percent glider                 NHTSA also updated the curves based


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                                             on more recent studies to better account                 glider weight consisted of 71 percent of             volume production. In order to use this
                                             for the cost of carbon fiber needed for                  the vehicle’s curb weight, and mass                  cost in the CAFE Model it must be put
                                             the highest levels of mass reduction                     reduction as it pertains to achieving                in terms of dollars per pound saved.
                                             technology. The two studies used for                     MR0–MR6 levels would only come from                  Using an average vehicle curb weight of
                                             MR1 through MR4 costs included the                       the glider.                                          4000 lbs., a 71 percent glider share and
                                             teardown of a MY 2011 Honda Accord                          As discussed above, achieving the                 the percent mass savings associated
                                             and a MY 2014 Chevrolet Silverado                        highest levels of mass reduction often               with MR5 and MR6, it is possible to
                                             pickup truck, and the carbon fiber costs                 necessitates extensive use of advanced               calculate the number of pounds to be
                                             required for MR5 and MR6 were                            materials like higher grades of                      removed to attain MR5 and MR6. Also
                                             updated based on the 2021 NAS                            aluminum, magnesium, or carbon fiber.                taken from the NAS study is the
                                             Report.455                                               We provided a survey of information                  assertion that carbon fiber substitution
                                                Both teardown studies are structured                  available regarding carbon fiber costs               for steel in an automotive component
                                             to derive the estimated cost for each of                 based on the Honda Accord and                        results in a 50 percent mass reduction.
                                             the mass reduction technology levels.                    Chevrolet Silverado teardown studies.                Combining all this together, carbon fiber
                                             NHTSA relies on the results of those                     In the Honda Accord study, the                       technology offers weight savings at
                                             studies because they considered an                       estimated cost of carbon fiber was                   $24.60 per pound saved. This dollar per
                                             extensive range of material types,                       $5.37/kg, and the cost of carbon fiber               pound savings figure must also be
                                             material gauge, and component redesign                   used in the Chevy Silverado study was                converted to a retail price equivalent
                                             while taking into account real world                     $15.50/kg. The $15.50 estimate closely               (RPE) to account for various commercial
                                             constraints such as manufacturing and                    matched the cost estimates from a BMW                costs associated with all automotive
                                             assembly methods and complexity,                         i3 teardown analysis,456 the cost figures            components. This is accomplished by
                                             platform-sharing, and maintaining                        provided by Oak Ridge National                       multiplying $24.60 by the factor 1.5.
                                             vehicle utility, functionality and                       Laboratory for a study from the IACMI                This brings the cost per pound saved for
                                             attributes, including safety,                            Composites Institute,457 and from a                  using carbon fiber to $36.90 per pound
                                             performance, payload capacity, towing                    Ducker Worldwide presentation at the                 saved.460 The analysis uses this cost for
                                             capacity, handling, NVH, and other                       CAR Management Briefing Seminar.458                  achieving MR5 and MR6.
                                             characteristics. In addition, NHTSA                         However, for this analysis, NHTSA                   Table III–23 and Table III–24 show
                                             believes that the baseline vehicles and                  relies on the cost estimates for carbon              the cost values (in dollars per pound)
                                             mass reduction technologies assessed in                  fiber construction that NAS detailed in              used in the CAFE Model with MR1–4
                                             the studies are still reasonably                         the 2021 Assessment of Technologies                  costs based on the cost curves
                                             representative of the technologies that                  for Improving Fuel Economy of Light-                 developed from the MY 2011 Honda
                                             may be applied to vehicles in the MY                     Duty Vehicles—Phase 3 recently                       Accord and MY 2014 Chevrolet
                                             2020 analysis fleet to achieve up to MR4                 completed by NAS.459 The study                       Silverado studies, and the updated MR5
                                             level mass reduction in the rulemaking                   indicates that the sum of direct                     and MR6 values that account for the
                                             timeframe. NHTSA adjusted the cost                       materials costs plus manufacturing costs             updated carbon fiber costs from the
                                             estimates derived from the two studies                   for carbon fiber composite automotive                2021 NAS Report. Both tables assume a
                                             to reflect the assumption that a vehicle’s               components is $25.97 per pound in high               71 percent higher glider share.




                                               455 This analysis applied the cost estimates per         456 Singh, Harry, FSV Body Structure Comparison    automotiveanalysts.wildapricot.org/resources/
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                                             pound derived from passenger cars to all passenger       with 2014 BMW i3, Munro and Associates for           Pictures/SAA%20Sumit%20slides%20for%20Abey
                                             car segments, and the cost estimates per pound           World Auto Steel (June 3, 2015).                     %20Abraham%20of%20Ducker.pdf, (accessed:
                                                                                                        457 IACMI Baseline Cost and Energy Metrics
                                             derived from full-size pickup trucks to all light-duty                                                        Feb. 11, 2022).
                                             truck and SUV segments. The cost estimates per           (March 2017), available at https://iacmi.org/wp-       459 2021 NAS Report, at p. 219.
                                                                                                      content/uploads/2016/10/Dale-Brosius-IACMI-1.pdf
                                             pound for carbon fiber (MR5 and MR6) were the                                                                   460 See MR5 and MR6 CFRP Cost Increase
                                                                                                      (accessed Feb. 11, 2022).
                                             same for all segments.                                     458 Ducker Worldwide, The Road Ahead—              Calculator.xlsx in the docket for this action.
                                                                                                                                                                                                            ER02MY22.088</GPH>




                                                                                                      Automotive Materials (2016), https://societyof



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                                               There is a dramatic increase in cost                   NAS Report all included a steep                       a dollar per pound value. The table
                                             going from MR4 to MR5 and MR6 for all                    increase to achieve the highest levels of             shows how the $/lb. value for each mass
                                             classes of vehicles. However, while the                  mass reduction technology.                            reduction level decreases over time
                                             increase in cost going from MR4 to MR5                     Table III–25 provides an example of                 because of cost learning. For a full list
                                             and MR6 is dramatic, the MY 2011                         mass reduction costs in 2018$ over                    of the $/lb. mass reduction costs used in
                                             Honda Accord study, the MY 2014                          select model years for the medium car                 the analysis across all model years, see
                                             Chevrolet Silverado study, and the 2021                  and pickup truck technology classes as                the Technologies file.




                                             BILLING CODE 4910–59–C                                   material expensive, but it makes it more              cost alternative to PAN.466 467 While
                                               NHTSA received comment from the                        expensive to convert to carbon fiber                  lignin is renewable, recyclable,
                                             ACC regarding the costs used in the                      because it takes much longer to pyrolyze              sustainable, and cost effective, there are
                                             analysis for carbon fiber technology and                 the fibers. However, the result is a                  stiffness and cost issues with lignin and
                                             how new precursors will soon be                          consistently stiff and incredibly high-               research into lignin-based carbon fiber
                                             available with high potential to reduce                  strength fiber. Prices today for                      has significantly slowed.468 Similarly,
                                             the cost of dry carbon fibers.461 These                  traditional 3K tow (tow refers to the                 mesophase pitch and TG–PAN are
                                             precursor materials include, lignin,                     width of a strand) PAN-based carbon                   encouraging mass reduction
                                             mesophase pitch and textile-grade                        fiber fall within the $20/kg to $40/kg                technologies; 469 however, based on
                                             polyacrylonitrile (TG–PAN).                              range.463 464 These price levels are
                                             Commenters specifically referenced                       consistent with NHTSA’s understanding                    466 Azarova, M.T., Semakina, N.S., Konkin, A.A.

                                             research conducted into these precursor                  and with the recent 2021 NAS                          Tikhomirova, M.V. ‘‘Carbon Fiber Based on Meso-
                                                                                                                                                            Phase-Pitches,’’ Fiber Chemistry, 1982, pp. 103–
                                             materials conducted at the Carbon Fiber                  Report.465                                            110.
                                             Technology Facility at Oak Ridge                            The commenters mentioned several                      467 Kadla, J.F, et al., ‘‘Lignin-Based Carbon Fibers

                                             National Laboratory.                                     other advancements in carbon fiber                    for Composite Applications,’’ Carbon, Vol. 20, 2002,
                                               Indeed, a factor that dominates the                                                                          pp. 2913–2920.
                                                                                                      technologies that are under                              468 For example, one issue with lignin-based
                                             price of dry carbon fibers is the                        development; however, we do not                       carbon fiber is that the density specific stiffness of
                                             precursor materials from which it is                     believe these materials will be available             fully pyrolyzed lignin-based carbon fiber laminated
                                             made. Dry carbon fibers that are used in                 for use in the rulemaking timeframe.                  in an epoxy matrix (which is a materials property
                                             the mainstream automotive industry                       Lignin, which is an organic substance                 that often dominates mass reduction potential) is
                                                                                                                                                            barely competitive with that of steel. Yet steel costs
                                             today, like those used by BMW,462 are                    found in the cells of plants, has great               about $1/kg—$3/kg. Furthermore, because the
                                             derived from high-molecular weight                       potential to achieve affordable carbon                absolute stiffness of lignin-based carbon fiber
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                                             PAN fibers. The high molecular weight                    fibers and could potentially be a lower-              composite material is low, a component made with
                                                                                                                                                                                                                      ER02MY22.090</GPH>




                                             of these materials not only makes the                                                                          lignin-based carbon fiber composite material will
                                                                                                                                                            require more packaging space than a steel
                                                                                                        463 Schlosser, Andreas, Coskun Baban, Samith,
                                                                                                                                                            component to achieve equivalent component level
                                               461 ACC, at p. 5.                                      and Siedel Phillipp, ‘‘After the Hype: Where is the   stiffness.
                                               462 J. Sloan, ‘‘Carbon Fiber Suppliers Gear up for     Carbon Car?’’ Arthur D. Little, January 2019.            469 Mesophase pitch is made from coal which is
                                                                                                        464 2021 NAS Report, at pp. 218, 219, 419.
                                             Next Generation Growth,’’ compositesworld.com,                                                                 plentiful and therefore low cost, and the material
                                                                                                                                                                                                                      ER02MY22.089</GPH>




                                             February 11, 2020.                                         465 Id.                                                                                          Continued




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                                             their developmental nature we do not                      therefore, be an effective way to reduce             cycle vehicle refresh using restyled
                                             believe they will be available for                        fuel consumption and emissions.                      exterior components and add-on
                                             commercial application in this                               Aerodynamic drag is proportional to               devices. Some examples of potential
                                             rulemaking timeframe. Therefore, we do                    the frontal area (A) of the vehicle and              technologies that a manufacturer could
                                             not believe that the lower costs cited in                 coefficient of drag (Cd), such that                  apply during mid-cycle refresh are
                                             the ORNL studies are representative of                    aerodynamic performance is often                     restyled front and rear fascia, modified
                                             the costs to industry for carbon fiber                    expressed as the product of the two                  front air dams and rear valances,
                                             technology in the rulemaking                              values, CdA, which is also known as the              addition of rear deck lips and
                                             timeframe. We will continue to closely                    drag area of a vehicle. The coefficient of           underbody panels, and low-drag
                                             monitor these new fiber precursor                         drag (Cd) is a dimensionless value that              exterior mirrors. While manufacturers
                                             materials and how they may enable low-                    essentially represents the aerodynamic               may nudge the frontal area of the
                                             cost carbon fiber technology with                         efficiency of the vehicle shape. The                 vehicle during redesigns, large changes
                                             competitive mechanical properties.                        frontal area (A) is the cross-sectional              in the frontal area are typically not
                                                Aside from precursor materials issues,                 area of the vehicle as viewed from the               possible without impacting the utility
                                             how dry carbon fibers are processed into                  front. It acts with the coefficient of drag          and interior space of the vehicle.
                                             usable carbon fiber composite                             as a sort of scaling factor, representing            Similarly, manufacturers may improve
                                             components is also an important cost                      the relative size of the vehicle shape               Cd by changing the frontal shape of the
                                             driver that we do not believe is                          that the coefficient of drag describes.              vehicle or lowering the height of the
                                             represented in the lower cited cost                       The force imposed by aerodynamic drag                vehicle, among other approaches, but
                                             estimates. As an example, the carbon                      increases with the square of vehicle                 the form drag of certain body styles and
                                             fiber composite parts used on the BMW                     velocity, accounting for the largest                 airflow needs for engine cooling often
                                             i3 are manufactured with cycle times                      contribution to road loads at higher                 limit how much manufacturers can
                                             between five and ten minutes,470 while                    speeds.                                              improve Cd.
                                             precise and accurate metallic parts are                      Aerodynamic drag reduction can be
                                                                                                                                                               The following sections discuss the
                                             produced in seconds.                                      achieved via two approaches, either by
                                                                                                                                                            four levels of aerodynamic
                                                Again, we will continue to monitor                     reducing the drag coefficient or
                                                                                                                                                            improvements that we consider in the
                                             composite materials processing                            reducing vehicle frontal area, with two
                                                                                                                                                            CAFE Model, how we assign baseline
                                             technology advances and make cost                         different categories of technologies,
                                                                                                                                                            aerodynamic technology levels to
                                             adjustments in future analysis to reflect                 passive and active aerodynamic
                                                                                                                                                            vehicles in the MY 2020 fleet, the
                                             advances in this field.                                   technologies. Passive aerodynamics
                                                                                                                                                            effectiveness improvements for the
                                                                                                       refers to aerodynamic attributes that are
                                             Aerodynamics                                                                                                   addition of aerodynamic technologies to
                                                                                                       inherent to the shape and size of the
                                                                                                                                                            vehicles, and the costs for adding that
                                               The energy required to overcome                         vehicle, including any components of a
                                                                                                                                                            aerodynamic technology.
                                             aerodynamic drag accounts for a                           fixed nature. Active aerodynamics refers
                                             significant portion of the energy                         to technologies that variably deploy in              (a) Aerodynamic Technologies in the
                                             consumed by a vehicle and can become                      response to driving conditions. These                CAFE Model
                                             the dominant factor for a vehicle’s                       include technologies such as active
                                                                                                       grille shutters, active air dams, and                  We bin aerodynamic improvements
                                             energy consumption at high speeds.
                                                                                                       active ride height adjustment. It is                 into four levels—5, 10, 15, and 20
                                             Reducing aerodynamic drag can,
                                                                                                       important to note that manufacturers                 percent aerodynamic drag improvement
                                             has a density specific stiffness better than steel,       may employ both passive and active                   values over a baseline computed for
                                             aluminum, and magnesium. TG–PAN has a                     aerodynamic technologies to achieve                  each vehicle body style—which
                                             molecular weight that is about half that of
                                                                                                       aerodynamic drag improvements.                       correspond to AERO5, AERO10,
                                             traditional PAN materials used from making carbon                                                              AERO15, and AERO20, respectively.
                                             fiber and consequently requires less time to                 The greatest opportunity for
                                             pyrolyze, thus reducing its costs. In addition, textile   improving aerodynamic performance is                   The aerodynamic improvements
                                             grade PAN is available in much wider tows (≥ 50k)         during a vehicle redesign cycle when                 technology pathway consists of a linear
                                             than traditional PAN which means that more                the manufacturer can make significant                progression, with each level
                                             material can be converted to carbon fiber in less                                                              superseding all previous levels, as seen
                                             time.                                                     changes to the shape and size of the
                                                470 Sloan, Jeff, ‘‘BMW Leipzig: The Epicenter of i3    vehicle. A manufacturer may also make                in Figure III–15.
                                             Production,’’ Composites World, May 31, 2014.             incremental improvements during mid-                 BILLING CODE 4910–59–P
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                                                While the four levels of aerodynamic                   manufacturers may implement different                some aerodynamic improvement
                                             improvements are technology-agnostic,                     combinations of aerodynamic                          technologies across vehicle classes, like
                                             we built a pathway to compliance for                      technologies to achieve a percentage                 active grille shutters (used in the 2015
                                             each level based on aerodynamic data                      improvement over their baseline                      Chevrolet Colorado),473 we determined
                                             from a National Research Council (NRC)                    vehicles.                                            that there are limitations that make it
                                             of Canada-sponsored wind tunnel                             Table III–26 and Table III–27 show                 infeasible for vehicles with some body
                                             testing program. The program included                     the aerodynamic technologies that could              styles to achieve a 20 percent reduction
                                             an extensive review of production                         be used to achieve 5, 10, 15, and 20                 in the coefficient of drag from their
                                             vehicles utilizing these technologies,                    percent improvements in passenger
                                                                                                                                                            baseline. This technology path is an
                                             and industry comments.471 472 Again,                      cars, SUVs, and pickup trucks. As
                                                                                                                                                            example of how a manufacturer could
                                             these technology combinations are                         discussed further in Section III.D.5.c),
                                                                                                                                                            reach each AERO level, but they would
                                             intended to show a potential way for a                    the model does not apply AERO20 to
                                             manufacturer to achieve each                              pickup trucks, which is why there is no              not necessarily be required to use the
                                             aerodynamic improvement level;                            pathway to AERO20 shown in Table III–                technologies.
                                             however, in the real world,                               27. While manufacturers can apply
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                                                471 Larose, G., Belluz, L., Whittal, I., Belzile, M.     472 Larose, Guy & Belluz, Leanna & Whittal, Ian      473 Chevrolet Product Information, available at

                                             et al., ‘‘Evaluation of the Aerodynamics of Drag          & Belzile, Marc & Klomp, Ryan & Schmitt, Andreas.    https://media.chevrolet.com/content/media/us/en/
                                             Reduction Technologies for Light-duty Vehicles—a          (2016). Evaluation of the Aerodynamics of Drag       chevrolet/vehicles/colorado/2015/_jcr_content/
                                             Comprehensive Wind Tunnel Study,’’ SAE Int. J.            Reduction Technologies for Light-duty Vehicles—a     iconrow/textfile/file.res/15-PG-Chevrolet-Colorado-
                                             Passeng. Cars—Mech. Syst. 9(2):772–784, 2016,             Comprehensive Wind Tunnel Study. SAE
                                                                                                                                                            082218.pdf, (accessed: Feb. 11, 2022).
                                             https://doi.org/10.4271/2016-01-1613, (accessed:          International Journal of Passenger Cars—
                                                                                                                                                                                                                  ER02MY22.091</GPH>




                                             Feb. 11, 2022).                                           Mechanical Systems. 9. 10.4271/2016–01–1613.



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                                                As discussed further in Section                      improvements. Auto Innovators                         side view mirrors were no longer
                                             III.D.8, this analysis assumes                          commented that it ‘‘does not                          required by NHTSA and FMVSSs.’’ 474
                                             manufacturers apply off-cycle                           recommend considering additional                        We agree with Auto Innovators that
                                             technology at rates defined in the                      aerodynamic improvements (such as 25                  we should not assume additional
                                             Market Data file. While the AERO levels
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                                                                                                     percent aerodynamic improvements,                     aerodynamics technology adoption. We
                                             in the analysis are technology-agnostic,                etc.). Some additional reductions in
                                                                                                                                                                                                           ER02MY22.093</GPH>




                                                                                                                                                           do not exceed 20 percent aerodynamic
                                             achieving AERO20 improvements does                      aerodynamic forces may be possible if                 improvement for all body styles and 15
                                             assume the use of active grille shutters,
                                             which is an off-cycle technology.
                                                Auto Innovators provided two                                                                                 474 Auto Innovators, Docket No. NHTSA–2021–
                                                                                                                                                                                                           ER02MY22.092</GPH>




                                             comments on aerodynamic                                                                                       0053–1492, at pp. 62, 135.



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                                             percent improvement for the body styles                 the baseline values in the analysis. We               given the form drag of the body style
                                             discussed below.                                        harmonize the Autonomie simulation                    and costed technology, especially given
                                               We also agree with Auto Innovators                    baselines with the analysis fleet                     the need to maintain vehicle
                                             that side view mirrors cause additional                 assignment baselines to the fullest                   functionality and utility, such as
                                             aerodynamic drag. Due to existing                       extent possible.476                                   interior volume, cargo area, and ground
                                             Federal motor vehicle safety regulations,                 We source the drag coefficients for                 clearance. In short, we ‘skipped’
                                             we currently do not consider                            each vehicle in the analysis fleet from               AERO15 for minivan body styles, and
                                             aerodynamic improvements from                           manufacturer specification sheets, when               ‘skipped’ AERO20 for convertible,
                                             removing side view mirrors in the CAFE                  possible. However, manufacturers did                  minivan, pickup, and wagon body
                                             Model analysis.475                                      not consistently publicly report drag                 styles.
                                                                                                     coefficients for MY 2020 vehicles. If we
                                             (b) Aerodynamics Analysis Fleet                                                                                  We also do not allow application of
                                                                                                     could not find a publicly reported drag
                                             Assignments                                                                                                   AERO15 and AERO20 technology to
                                                                                                     coefficient, analyst judgment was
                                                We use a relative performance                        sometimes used to assign an AERO                      vehicles with more than 780
                                             approach to assign an initial level of                  level. If no level was manually assigned,             horsepower. There are two main types
                                             aerodynamic drag reduction technology                   we used the drag coefficient obtained                 of vehicles that informed this threshold:
                                             to each vehicle. Each AERO level                        from manufacturers to build the MY                    Performance internal combustion engine
                                             represents a percent reduction in a                     2016 fleet,477 if available. The MY 2016              (ICE) vehicles and high-power battery
                                             vehicle’s aerodynamic drag coefficient                  drag coefficient values may not                       electric vehicles (BEVs). In the case of
                                             (Cd) from a baseline value for its body                 accurately reflect the current technology             the former, we recognize that
                                             style. For a vehicle to achieve AERO5,                  content of newer vehicles but are, in                 manufacturers tune aerodynamic
                                             the Cd must be at least 5 percent below                 many cases, the most recent data                      features on these vehicles to provide
                                             the baseline for the body style; for                    available.                                            desirable downforce at high speeds and
                                             AERO10, 10 percent below the baseline,                                                                        to provide sufficient cooling for the
                                             and so on. Baseline aerodynamic                         (c) Aerodynamics Adoption Features
                                                                                                                                                           powertrain, rather than reducing drag,
                                             assignment is therefore a three-step                       As already discussed, we use a                     resulting in middling drag coefficients
                                             process: Each vehicle in the fleet is                   relative performance approach to assign               despite advanced aerodynamic features.
                                             assigned a body style, the average drag                 current aerodynamic technology (AERO)                 Therefore, manufacturers may have
                                             coefficient is calculated for each body                 level to a vehicle. For some body styles              limited ability to improve aerodynamic
                                             style, and the drag coefficient for each                with different utility, such as pickup                drag coefficients for high performance
                                             vehicle model is compared to the                        trucks, SUVs and minivans, frontal area               vehicles with internal combustion
                                             average for the body style.                             can vary, and this can affect the overall             engines without reducing horsepower.
                                                We assign every vehicle in the fleet a               aerodynamic drag forces. In order to
                                             body style; available body styles                                                                             1,655 units of sales volume in the
                                                                                                     maintain vehicle utility and
                                             included convertible, coupe, sedan,                                                                           baseline fleet include limited
                                                                                                     functionality related to passenger space
                                             hatchback, wagon, SUV, pickup,                                                                                application of aerodynamic technologies
                                                                                                     and cargo space, we assume all
                                             minivan, and van. These assignments do                  technologies that improve aerodynamic                 because of ICE vehicle performance.478
                                             not necessarily match the body styles                   drag forces do so by reducing Cd while                   In the case of high-power battery
                                             that manufacturers use for marketing                    maintaining frontal area.                             electric vehicles, the 780-horsepower
                                             purposes. Instead, we assign them based                    Technology pathway logic for levels                threshold is set above the highest peak
                                             on analyst judgement, taking into                       of aerodynamic improvement consists of                system horsepower present on a BEV in
                                             account how a vehicle’s AERO and                        a linear progression, with each level                 the 2020 fleet. BEVs have different
                                             vehicle technology class assignments                    superseding all previous ones.                        aerodynamic behavior and
                                             are affected. Different body styles offer               Technology paths for AERO are                         considerations than ICE vehicles,
                                             different utility and have varying levels               illustrated in Figure III–15.                         allowing for features such as flat
                                             of baseline form drag. In addition,                        The model does not consider the                    underbodies that significantly reduce
                                             frontal area is a major factor in                       highest AERO levels for certain body                  drag.479 BEVs are therefore more likely
                                             aerodynamic forces, and the frontal area                styles. In these cases, this means that               to achieve higher AERO levels, so the
                                             varies by vehicle. This analysis                        AERO20, and sometimes AERO15, can                     horsepower threshold is set high enough
                                             considers both frontal area and body                    neither be assigned in the baseline fleet             that it does not restrict AERO15 and
                                             style as utility factors affecting                      nor adopted by the model. For these                   AERO20 application. Note that the
                                             aerodynamic forces; therefore, the                      body styles, there are no commercial                  CAFE Model does not force high levels
                                             analysis assumes all reduction in                       examples of drag coefficients that
                                                                                                                                                           of AERO adoption; rather, higher AERO
                                             aerodynamic drag forces come from                       demonstrate the required AERO15 or
                                                                                                                                                           levels are usually adopted organically
                                             improvement in the drag coefficient.                    AERO20 improvement over baseline
                                                                                                                                                           by BEVs because significant drag
                                                We computed the average drag                         levels. We also deemed the most
                                                                                                                                                           reduction allows for smaller batteries
                                             coefficients for each body style using                  advanced levels of aerodynamic drag
                                             the MY 2015 drag coefficients published                                                                       and, by extension, cost savings. BEVs
                                                                                                     simulated as not technically practicable
                                             by manufacturers, which were used as                                                                          represent 252,023 units of sales volume
                                                                                                        476 See TSD Chapter 2.4.2 for a table of vehicle   in the baseline fleet.480
                                               475 Federal motor vehicle safety standard             attributes used to build the Autonomie baseline
                                                                                                                                                             478 Market Data file.
                                             (FMVSS) No. 111, ‘‘Rear Visibility,’’ currently         vehicle models. That table includes a drag
                                             requires that vehicles be equipped with rearview        coefficient for each vehicle class.                     479 2020 EPA Automotive Trends Report, at p.
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                                             mirrors to provide drivers with a view of objects          477 See 83 FR 42986 (Aug. 24, 2018). The MY
                                                                                                                                                           227.
                                             that are to their side or to their side and rear.       2016 fleet was built to support the 2018 NPRM.          480 Market Data file.




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                                             (d) Aerodynamics Effectiveness                          come from reduction in Cd and not from                   represents the addition of AERO15
                                             Modeling                                                reduction of frontal area, to maintain                   technology (relative to AERO0 level) for
                                                To determine aerodynamic                             vehicle functionality and utility, such as               every technology combination that
                                             effectiveness, the CAFE Model and                       passenger space, ingress/egress                          could select the addition of AERO15. It
                                             Autonomie use individually assigned                     ergonomics, and cargo space.                             must be emphasized that the change in
                                             road load technologies for each vehicle                    The effectiveness values for the                      fuel consumption values between entire
                                             to appropriately assign initial road load               aerodynamic improvement levels                           technology keys is used,481 and not the
                                             levels and appropriately capture                        relative to AERO0, for all ten vehicle                   individual technology effectiveness
                                             benefits of subsequent individual road                  technology classes, are shown in Figure                  values. Using the change between whole
                                             load improving technologies.                            III–16. Each of the effectiveness values                 technology keys captures the
                                                The current analysis included four                   shown is representative of the                           complementary or non-complementary
                                             levels of aerodynamic improvements,                     improvements seen for upgrading only                     interactions among technologies. The
                                             AERO5, AERO10, AERO15, and                              the listed aerodynamic technology level                  box shows the inner quartile range (IQR)
                                             AERO20, representing 5, 10, 15, and 20                  for a given combination of other                         of the effectiveness values and whiskers
                                             percent reduction in drag coefficient                   technologies. In other words, the range                  extend out 1.5 × IQR. The dots outside
                                             (Cd), respectively. We assume that                      of effectiveness values seen for each                    the whiskers show effectiveness values
                                             aerodynamic drag reduction can only                     specific technology (e.g., AERO 15)                      outside those thresholds.




                                             (e) Aerodynamics Costs                                  business information submitted by the                    aerodynamic technologies.484 We
                                                                                                     automotive industry in advance of the                    received no additional comments from
                                                This analysisuses the AERO                           2018 NPRM,483 and on our assessment                      stakeholders regarding the costs
                                             technology costs established in the 2020                of manufacturing costs for specific                      established in the 2018 NPRM, and
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                                             final rule that are based on confidential

                                               481 Technology key is the unique collection of          483 See the PRIA accompanying the 2018 NPRM,

                                             technologies that constitutes a specific vehicle, see   Chapter 6.3.10.1.2.1.2, for a discussion of these cost
                                             TSD Chapter 2.4.7 for more detail.                      estimates.
                                               482 The data used to create this figure can be          484 See the FRIA accompanying the 2020 final
                                                                                                                                                                                                         ER02MY22.094</GPH>




                                             found in the FE_1 Improvements file.                    rule, Chapter VI.C.5.e.



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                                             continued to use the established costs                  most of the improvements can be made                  AERO20 is higher than AERO10 due to
                                             for the 2020 final rule and this analysis.              through body styling changes. The cost                use of both passive and active
                                               Table III–28 shows examples of costs                  to achieve AERO10 is higher than                      aerodynamic technologies. For a full list
                                             for AERO technologies as applied to the                 AERO5, due to the addition of several                 of all absolute aerodynamic technology
                                             medium car and pickup truck vehicle                     passive aerodynamic technologies, and                 costs used in the analysis across all
                                             classes in select model years. The cost                 the cost to achieve AERO15 and                        model years see the Technologies file.
                                             to achieve AERO5 is relatively low, as




                                             Tire Rolling Resistance                                 following the industry developments                   connecting low rolling resistance tires to
                                                                                                     and trends in application of rolling                  accident or fatality rates.
                                                Tire rolling resistance is a road load
                                                                                                     resistance technologies to light duty                    NHTSA conducted tire rolling
                                             force that arises primarily from the
                                                                                                     vehicles. As stated in the NAP special                resistance tests and wet grip index tests
                                             energy dissipated by elastic deformation
                                                                                                     report on Tires and Passenger Vehicle                 on original equipment tires installed on
                                             of a vehicle’s tires as they roll. Tire                 Fuel Economy,485 national crash data
                                             design characteristics (for example,                                                                          new vehicles. The tests showed that
                                                                                                     does not provide data about tire                      there is no degradation in wet grip
                                             materials, construction, and tread                      structural failures specifically related to
                                             design) have a strong influence on the                                                                        index values (i.e., no degradation in
                                                                                                     tire rolling resistance, because the                  traction) for tires with improved rolling
                                             amount and type of deformation and the                  rolling resistance of a tire at a crash
                                             energy the tire dissipates. Designers can                                                                     resistance technology. With better tire
                                                                                                     scene cannot be determined. However,                  design, tire compound formulations and
                                             select these characteristics to minimize                other metrics like brake performance
                                             rolling resistance. However, these                                                                            improved tread design, tire
                                                                                                     compliance test data are helpful to show              manufacturers have tools to balance
                                             characteristics may also influence other                trends like that stopping distance has
                                             performance attributes, such as                                                                               stopping distance and reduced rolling
                                                                                                     not changed in the last ten years,486                 resistance. Tire manufacturers can use
                                             durability, wet and dry traction,                       during which time many manufacturers
                                             handling, and ride comfort.                                                                                   ‘‘higher performance materials in the
                                                                                                     have installed low rolling resistance                 tread compound, more silica as
                                                Lower rolling resistance tires have                  tires in their fleet—meaning that
                                             characteristics that reduce frictional                                                                        reinforcing fillers and advanced tread
                                                                                                     manufacturers were successful in                      design features’’ to mitigate issues
                                             losses associated with the energy                       improving rolling resistance while
                                             dissipated mainly in the deformation of                                                                       related to stopping distance.489
                                                                                                     maintaining stopping distances through
                                             the tires under load, thereby improving                 tire design, tire materials, and/or                      U.S. Tire Manufacturers Association
                                             fuel economy. OEMs increasingly                         braking system improvements. In                       (USTMA) commented on NHTSA’s
                                             specify low rolling resistance tires in                 addition, NHTSA has addressed other                   conclusion that the agency did not
                                             new vehicles, and they are also                         tire-related issues through                           observe any unacceptable tradeoff
                                             increasingly available from aftermarket                 rulemaking,487 and continues to                       between tire rolling resistance and wet
                                             tire vendors. They commonly include                                                                           grip performance, which ‘‘NHTSA
                                                                                                     research tire problems such as blowouts,
                                             attributes such as higher inflation                                                                           correctly recognized is due to advanced
                                                                                                     flat tires, tire or wheel deficiency, tire or
                                             pressure, material changes, tire                                                                              tire design, rubber compounding and
                                                                                                     wheel failure, and tire degradation.488
                                             construction optimized for lower                                                                              manufacturing technologies.’’ However,
                                                                                                     However, there are currently no data
                                             hysteresis, geometry changes (e.g.,                                                                           USTMA cautioned that ‘‘this inverse
                                             reduced aspect ratios), and reduced                       485 Tires and Passenger Vehicle Fuel Economy:       relationship between rolling resistance
                                             sidewall and tread deflection. These                    Informing Consumers, Improving Performance—           and wet grip performance still exists,
                                             changes are commonly accompanied by                     Special Report 286 (2006), available at https://      and as the tire industry continues to
                                                                                                     www.nap.edu/read/11620/chapter/6.                     enhance rolling resistance performance,
                                             additional changes to vehicle                             486 See, e.g., NHTSA Office of Vehicle Safety
                                             suspension tuning and/or suspension                                                                           new and/or enhanced countermeasures
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                                                                                                     Compliance, Compliance Database, https://
                                             design to mitigate any potential impact                 one.nhtsa.gov/cars/problems/comply/index.cfm.         will also need to be developed to assure
                                             on other performance attributes of the                    487 49 CFR 571.138, Tire pressure monitoring

                                             vehicle.                                                systems.                                                 489 Jesse Snyder, A big fuel saver: Easy-rolling
                                                                                                       488 Tire-Related Factors in the Pre-Crash Phase,    tires (but watch braking) (July 21, 2008), https://
                                                We continue to assess the potential                  DOT HS 811 617 (April 2012), available at https://    www.autonews.com/article/20080721/OEM01/
                                             impact of tire rolling resistance changes               crashstats.nhtsa.dot.gov/Api/Public/                  307219960/a-big-fuel-saver-easy-rolling-tires-but-
                                                                                                                                                                                                                 ER02MY22.095</GPH>




                                             on vehicle safety. We have been                         ViewPublication/811617.                               watch-braking. Last visited December 3, 2019.



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                                             no unacceptable impact to wet grip                         As stated in the Joint TSD for the 2012            reduction, and the technology pathway
                                             performance.’’ 490                                      final rule for MY 2017–2025 and 2020                  to ROLL30 for many vehicles remains
                                                The following sections discuss levels                final rule, tire technologies that enable             unclear.’’ 500
                                             of tire rolling resistance technology                   rolling resistance improvements of 10                   We will continue to monitor this issue
                                             considered in the CAFE Model, how the                   and 20 percent have been in existence                 and consider any additional
                                             technology was assigned in the analysis                 for many years.496 Achieving                          advancements in tire rolling resistance
                                             fleet, adoption features specified to                   improvements of up to 20 percent                      technology for future analyses.
                                             maintain performance, effectiveness,                    involves optimizing and integrating                   (b) Tire Rolling Resistance Analysis
                                             and cost.                                               multiple technologies, with a primary                 Fleet Assignments
                                                                                                     contributor being the adoption of a
                                             (a) Tire Rolling Resistance in the CAFE                 silica tread technology. Tire suppliers                  Tire rolling resistance is not a part of
                                             Model                                                   have indicated that additional                        tire manufacturers’ publicly released
                                                                                                     innovations are necessary to achieve the              specifications and thus it is difficult to
                                                We continue to consider two levels of
                                                                                                     next level of low rolling resistance                  assign this technology to the analysis
                                             improvement for low rolling resistance
                                                                                                     technology on a commercial basis, such                fleet. Manufacturers also often offer
                                             tires in the analysis: the first level of                                                                     multiple wheel and tire packages for the
                                             low rolling resistance tires considered                 as improvements in material to retain
                                                                                                     tire pressure, and tread design to                    same nameplates, further increasing the
                                             reduced rolling resistance 10 percent                                                                         complexity of this assignment. We
                                             from an industry-average baseline                       manage both stopping distance and wet
                                                                                                     traction.497                                          employed an approach consistent with
                                             rolling resistance coefficient (RRC)                                                                          previous rulemaking in assigning this
                                             value, while the second level reduced                      The agency believes that the tire
                                                                                                     industry is in the process of moving                  technology. We relied on previously
                                             rolling resistance 20 percent from the                                                                        submitted rolling resistance values that
                                             baseline.491                                            automotive manufacturers towards
                                                                                                     higher levels of rolling resistance                   were supplied by manufacturers in the
                                                We selected the industry-average RRC                 technology in the vehicle fleet.                      process of building older fleets and
                                             baseline of 0.009 based on a                            Importantly, as shown below, the MY                   bolstered it with agency-sponsored tire
                                             CONTROLTEC study prepared for the                       2020 baseline fleet does include a                    rolling resistance testing by Smithers.501
                                             California Air Resources Board,492 in                   higher percentage of vehicles with                       We carried over rolling resistance
                                             addition to confidential business                       ROLL20 technology than the MY 2017                    assignments for nameplates where
                                             information submitted by manufacturers                  fleet. However, we believe that at this               manufacturers had submitted data on
                                             prior to the 2018 NPRM analysis. The                    time, the emerging tire technologies that             the vehicles’ rolling resistance values,
                                             average RRC from the CONTROLTEC                         would achieve 30 percent improvement                  even if the vehicle was redesigned. If
                                             study, which surveyed 1,358 vehicle                     in rolling resistance, like changing tire             Smithers data was available, we
                                             models, was 0.009.493 CONTROLTEC                        profile, stiffening tire walls, or adopting           replaced any older or missing values
                                             also compared the findings of their                     improved tires along with active chassis              with that updated data. Those vehicles
                                             survey with values provided by Rubber                   control,498 among other technologies,                 for which no information was available
                                             Manufacturers Association (renamed                      will not be available for widespread                  from either previous manufacturer
                                             USTMA–U.S. Tire Manufacturers                           commercial adoption in the fleet during               submission or Smithers data were
                                             Association) for original equipment                     the rulemaking timeframe. As a result,                assigned to ROLL0. All vehicles under
                                             tires. The average RRC from the data                    we continue to not to incorporate 30                  the same nameplate were assigned the
                                             provided by RMA was 0.0092,494                          percent reduction in rolling resistance               same rolling resistance technology level
                                             compared to average of 0.009 from                       technology.                                           even if manufacturers do outfit different
                                             CONTROLTEC.                                                USTMA agreed with this assessment,                 trim levels with different wheels and
                                                In past agency actions, commenters                   and commented that ‘‘its members will                 tires.
                                             have argued that based on available data                continue to develop advanced rolling                     The MY 2020 analysis fleet includes
                                             on current vehicle models and the likely                resistance technologies for future                    the following breakdown of rolling
                                             possibility that there would be                         adoption, since vehicle manufacturers                 resistance technology: 44 percent at
                                             additional tire improvements over the                   continue to prioritize rolling resistance             ROLL0, 20 percent at ROLL10, and 36
                                             next decade, we should consider                         as one of the more cost-effective ways to             percent at ROLL20, which shows that
                                             ROLL30 technology, or a 30 percent                      achieve advancements in vehicle fuel                  the majority of the fleet has now
                                             reduction of tire rolling resistance over               economy.’’ 499 Auto Innovators, in their              adopted some form of improved rolling
                                             the baseline.495                                        comments to both NHTSA and EPA,                       resistance technology. The majority of
                                                                                                     also discouraged the addition of 30                   the change from the MY 2017 analysis
                                                490 USTMA, Docket No. NHTSA–2021–0053–               percent tire rolling resistance, stating              fleet has been in implementing ROLL20
                                             1612, at 2.                                             that ‘‘performance neutrality for cold                technology. There is likely more
                                                491 To achieve ROLL10, the tire rolling resistance
                                                                                                     weather traction, hot weather                         proliferation of rolling resistance
                                             must be at least 10 percent better than baseline                                                              technology, but we would need further
                                             (.0081 or better). To achieve ROLL20, the tire
                                                                                                     performance, wet weather traction, load
                                             rolling resistance must be at least 20 percent better   handling (for addition weight of                      information from manufacturers in
                                             than baseline (.0072 or better).                        batteries, for instance), wear and                    order to account for it. Accordingly, we
                                                492 Technical Analysis of Vehicle Load Reduction
                                                                                                     durability, and noise, vibration, and                 made no changes to tire rolling
                                             by CONTROLTEC for California Air Resources              harshness can be challenging to achieve
                                             Board (April 29, 2015).                                                                                         500 Auto Innovators, Docket No. NHTSA–2021–
                                                493 The RRC values used in this study were a
                                                                                                     for 20 [percent] tire rolling resistance
                                                                                                                                                           0053–1492, at 134.
                                             combination of manufacturer information, estimates                                                              501 See memo to Docket No. NHTSA–2021–0053,
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                                                                                                       496 EPA–420–R–12–901, at p. 3–210.
                                             from coast down tests for some vehicles, and                                                                  Evaluation of Rolling Resistance and Wet Grip
                                             application of tire RRC values across other vehicles      497 2011 NAS Report, at p. 103.
                                                                                                                                                           Performance of OEM Stock Tires Obtained from
                                             on the same platform.                                      498 Mohammad Mehdi Davari, Rolling resistance
                                                                                                                                                           NCAP Crash Tested Vehicles Phase One and Two.
                                                494 Technical Analysis of Vehicle Load Reduction     and energy loss in tyres (May 20, 2015), available    NHTSA used tire rolling resistance coefficient
                                             by CONTROLTEC for California Air Resources              at https://www.sveafordon.com/media/42060/            values from this project to assign baseline tire
                                             Board (April 29, 2015) at page 40.                      SVEA-Presentation_Davari_public.pdf. Last visited     rolling resistance technology in the MY 2020
                                                495 Wesley Dyer, Docket No. NHTSA–2018–0067–         December 30, 2019.                                    analysis fleet and is therefore providing the draft
                                             11985, at p. 49.                                           499 USTMA, at 2.                                   project appendices for public review and comment.



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                                             resistance assignments for this final                   (d) Tire Rolling Resistance Effectiveness               non-complementary interactions among
                                             rule.                                                   Modeling                                                technologies. In the graph, the box
                                                                                                        As discussed above, the baseline                     shows the interquartile range (IQR) of
                                             (C) Tire Rolling Resistance Adoption
                                                                                                     rolling resistance value from which                     the effectiveness values and whiskers
                                             Features
                                                                                                     rolling resistance improvements are                     extend out 1.5 × IQR. The dots outside
                                               Rolling resistance technology can be                                                                          of the whiskers show values for
                                                                                                     measured is 0.009, based on a thorough
                                             adopted with either a vehicle refresh or                                                                        effectiveness that are outside these
                                                                                                     review of confidential business
                                             redesign. In some cases, low rolling                                                                            bounds.
                                                                                                     information submitted by industry, and
                                             resistance tires can affect traction,
                                                                                                     a review of other literature. To achieve                   The data points with the highest
                                             which may adversely impact
                                                                                                     ROLL10, the tire rolling resistance must                effectiveness values are almost all
                                             acceleration, braking, and handling
                                                                                                     be at least 10 percent better than                      exclusively BEV and FCV technology
                                             characteristics for some high-
                                                                                                     baseline (.0081 or better). To achieve                  combinations for medium sized
                                             performance vehicles. Similar to past
                                                                                                     ROLL20, the tire rolling resistance must                nonperformance cars. The effectiveness
                                             rulemakings, the agency recognizes that
                                                                                                     be at least 20 percent better than                      for these vehicles, when the low rolling
                                             to maintain performance, braking, and
                                                                                                     baseline (.0072 or better).                             resistance technology is applied, is
                                             handling functionality, some high-                         We determined effectiveness values
                                             performance vehicles would not adopt                                                                            amplified by a complementary effect,
                                                                                                     for rolling resistance technology                       where the lower rolling resistance
                                             low rolling resistance tire technology.                 adoption using Autonomie. Figure III–
                                             For cars and SUVs with more than 405                                                                            reduces road load and allows a smaller
                                                                                                     17 below shows the range of                             battery pack to be used (and still meet
                                             horsepower (hp), the agency restricted                  effectiveness values used for adding tire
                                             the application of ROLL20. For cars and                                                                         range requirements). The smaller battery
                                                                                                     rolling resistance technology to a                      pack reduces the overall weight of the
                                             SUVs with more than 500 hp, the                         vehicle in this analysis. The graph
                                             agency restricted the application of any                                                                        vehicle, further reducing road load, and
                                                                                                     shows the change in fuel consumption                    improving fuel efficiency. This
                                             additional rolling resistance technology                values between entire technology
                                             (ROLL10 or ROLL20). The agency                                                                                  complimentary effect is experienced by
                                                                                                     keys,502 and not the individual                         all the vehicle technology classes, but
                                             developed these cutoffs based on a
                                                                                                     technology effectiveness values. Using                  the strongest effect is on the midsized
                                             review of confidential business
                                                                                                     the change between whole technology                     vehicle non-performance classes and is
                                             information and the distribution of
                                                                                                     keys captures the complementary or                      only captured in the analysis through
                                             rolling resistance values in the fleet. We
                                             received no comments on these                             502 Technology key is the unique collection of
                                                                                                                                                             the use of full vehicle simulations,
                                             adoption features and made no changes                   technologies that constitutes a specific vehicle, see
                                                                                                                                                             demonstrating the full interactions of
                                             for this final rule analysis.                           TSD Chapter 2.4.7 for more information.                 the technologies.
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                                             (e) Tire Rolling Resistance Costs                       NHTSA’s MY 2011 CAFE final rule and                   years, which shows how the learning
                                                For this final rule analysis, we                     the 2006 NAS/NRC report.503 Table III–                rate for ROLL technologies impacts the
                                             continue to use the same DMC values                     29 shows the different levels of tire                 cost. For all ROLL absolute technology
                                             for ROLL technology that were used for                  rolling resistance technology cost for all            costs used in the analysis across all
                                             the 2020 final rule, which are based on                 vehicle classes across select model                   model years see the Technologies file.




                                             7. Other Vehicle Technologies                           of these technologies directly, with                  technologies. Also, applying these
                                                                                                     unique effectiveness values for each                  technologies directly in the CAFE
                                               We included four other vehicle                        technology and for each technology                    Model significantly reduces the required
                                             technologies in the analysis—electric                   class, rather than using Autonomie                    runtime of Autonomie simulations.
                                             power steering (EPS), improved                          effectiveness estimates. We used this                 (a) Electric Power Steering
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                                             accessory devices (IACC), low drag                      methodology in these four cases because
                                                                                                                                                                                                          ER02MY22.097</GPH>




                                             brakes (LDB), and secondary axle                        the effectiveness of these technologies                 Electric power steering reduces fuel
                                             disconnect (SAX). The CAFE Model                        varies little with combinations of other              consumption by reducing load on the
                                             applied the effectiveness values for each                                                                     engine. Specifically, it reduces or
                                               503 ‘‘Tires and Passenger Vehicle Fuel Economy,’’     National Research Council of the National             Academies, 2006, Docket No. EPA–HQ–OAR–2009–
                                                                                                                                                                                                          ER02MY22.096</GPH>




                                             Transportation Research Board Special Report 286,                                                             0472–0146.



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                                             eliminates the parasitic losses                         (EPS) driven by an independent electric               penetration for this analysis,
                                             associated with engine-driven power                     motor, or they may choose to move the                 recognizing that some specialized,
                                             steering pumps, which pump hydraulic                    hydraulic pump from a belt-driven                     unique vehicle types or configurations
                                             fluid continuously through the steering                 configuration to a stand-alone                        still implement hydraulically actuated
                                             actuation system even when no steering                  electrically driven hydraulic pump. The               power steering systems for the baseline
                                             input is present. By selectively                        latter system is commonly referred to as              fleet model year.
                                             powering the electric assist only when                  electro-hydraulic power steering                         The effectiveness of both EPS and
                                             steering input is applied, the power                    (EHPS). As stated in past rulemakings,                EHPS is derived from the decoupling of
                                             consumption of the system is reduced in                 manufacturers have told us that full EPS              the pump from the crankshaft and is
                                             comparison to the traditional ‘‘always-                 systems are being developed for all                   considered to be practically the same for
                                             on’’ hydraulic steering system. Power                   types of light-duty vehicles, as well as              both. Thus, a single effectiveness value
                                             steering may be electrified on light duty               large trucks.                                         is used for both EPS and EHPS. As
                                             vehicles with standard 12V electrical                      We described in past rulemakings                   indicated in the Table III–30, the
                                             systems and is also an enabler for                      that, like low drag brakes, EPS can be                effectiveness of EPS and EHPS varies
                                             vehicle electrification because it                      difficult to observe and assign to the                based on the vehicle technology class it
                                             provides power steering when the                        analysis fleet, however, it is found more             is being applied to. This variance is a
                                             engine is off (or when no combustion                    frequently in publicly available                      direct result of vehicle size and the
                                             engine is present).                                     information than low drag brakes. Based               amount of energy required to turn the
                                                Power steering systems can be                        on comments received during the 2020                  vehicle’s two front wheels about their
                                             electrified in two ways. Manufacturers                  rulemaking, the agency increased EPS                  vertical axis. More simply put, more
                                             may choose to eliminate the hydraulic                   application rate to nearly 90 percent for             energy is required for vehicles that
                                             portion of the steering system and                      the 2020 final rule. The agency is                    weigh more and, typically, have larger
                                             provide electric-only power steering                    maintaining this level of EPS fleet                   tire contact patches.




                                             (b) Improved Accessories                                provide better control of engine cooling.             changes occurring at either a vehicle
                                                                                                     Flow from an electric coolant pump can                refresh or vehicle redesign. This
                                                Engine accessories typically include                 be varied, and the cooling fan can be                 coordination with powertrain changes
                                             the alternator, coolant pump, cooling                   shut off during engine warm-up or cold                enables related design and tooling
                                             fan, and oil pump, and are traditionally                ambient temperature conditions,                       changes to be implemented and systems
                                             mechanically driven via belts, gears, or                reducing warm-up time, fuel                           development, functionality and
                                             directly by other rotating engine                       enrichment requirements, and                          durability testing to be conducted in a
                                             components such as camshafts or the                     ultimately reducing parasitic losses.                 single product change program to
                                             crankshaft. These can be replaced with                    IACC technology is difficult to                     efficiently manage resources and costs.
                                             improved accessories (IACC), which                      observe and therefore there is
                                             may include high efficiency alternators,                                                                         This analysis carries forward work on
                                                                                                     uncertainty in assigning it to the                    the effectiveness of IACC systems
                                             electrically driven (i.e., on-demand)                   analysis fleet. As in the past, we rely on
                                             coolant pumps, electric cooling fans,                                                                         conducted in the Draft TAR and EPA
                                                                                                     industry-provided information and                     Proposed Determination that is
                                             variable geometry oil pumps, and a mild                 comments to assess the level of IACC
                                             regeneration strategy. Replacing lower-                                                                       originally founded in the 2002 NAS
                                                                                                     technology applied in the fleet. We                   Report 504 and confidential
                                             efficiency and/or mechanically driven                   believe there continues to be
                                             components with these improved                                                                                manufacturer data. This work involved
                                                                                                     opportunity for further implementation                gathering information by monitoring
                                             accessories results in a reduction in fuel              of IACC. The analysis has an IACC fleet
                                             consumption, as the improved                                                                                  press reports, holding meetings with
                                                                                                     penetration of approximately eight
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                                             accessories can conserve energy by                                                                            suppliers and OEMs, and attending
                                                                                                     percent compared to the six percent                   industry technical conferences. The
                                             being turned on/off ‘‘on demand’’ in                    value in the MY 2017 analysis fleet used
                                             some cases, driven at partial load as                   for the 2020 final rule analysis.                       504 National Research Council 2002. Effectiveness
                                             needed, or by operating more efficiently.                 The agency believes improved                        and Impact of Corporate Average Fuel Economy
                                                For example, electric coolant pumps                  accessories may be incorporated in                    (CAFE) Standards. Washington, DC: The National
                                                                                                                                                                                                                 ER02MY22.098</GPH>




                                             and electric powertrain cooling fans                    coordination with powertrain related                  Academies Press. https://doi.org/10.17226/10172.



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                                             resulting effectiveness estimates we use                This variance, like EPS, is a direct result           cooling fan required, among other
                                             are shown in Table III–31. As indicated                 of vehicle size as well as the amount of              characteristics and it directed related to
                                             in this table, the effectiveness values of              energy generated by the alternator, the               a vehicle size and mass.
                                             IACC varies based on the vehicle                        size of the coolant pump to the cool the
                                             technology class it is being applied to.                necessary systems, the size of the




                                             (c) Low Drag Brakes                                     added that most new vehicles have low-                Determination that the standards
                                                We have defined low drag brakes                      drag brakes.507 The committee                         through 2025 were appropriate.511
                                             (LDB) as brakes that reduce the sliding                 confirmed that the impact over                           In the 2020 final rule, the agencies
                                             friction of disc brake pads on rotors                   conventional brakes may be about a 1                  applied LDB sparingly in the MY 2017
                                             when the brakes are not engaged                         percent reduction of fuel consumption.                analysis fleet using the same cost and
                                             because the brake pads are pulled away                                                                        effectiveness estimates from the 2011
                                                                                                        For the 2012 final rule for MY 2017–
                                             from the rotating disc either by                                                                              Ricardo study, with approximately less
                                                                                                     2025, however, we and EPA updated the                 than 15 percent of vehicles being
                                             mechanical or electric methods since                    effectiveness estimate for LDB to 0.8
                                             2009 for the MY 2011 CAFE rule.505 At                                                                         assigned the technology. In addition, we
                                                                                                     percent based on a 2011 Ricardo study                 noted the existence of zero drag brakes
                                             that time, we estimated the effectiveness               and updated lumped-parameter
                                             of LDB technology to be a range from                                                                          in production for some BEVs, similar to
                                                                                                     model.508 The agencies considered LDB                 the summary in the Draft TAR, but did
                                             0.5–1.0 percent, based on CBI data. We                  technology to be off the learning curve
                                             applied a learning curve to the                                                                               not opine on the existence of zero drag
                                                                                                     (i.e., the DMC does not change year-                  brakes in the fleet. Some stakeholders
                                             estimated cost for LDB, but noted that                  over-year). The 2015 NAS Report
                                             the technology was considered high                                                                            commented to the 2020 rule that other
                                                                                                     continued to use the agencies’ definition             vehicle technologies, including LDB,
                                             volume, mature, and stable.                             for LDB and commented that the 0.8
                                             Confidential manufacturer comments in                                                                         were actually overapplied in the
                                                                                                     percent effectiveness estimate is a                   analysis fleet.
                                             response to the NPRM for MY 2011 (73                    reasonable estimate.509 The 2015 NAS
                                             FR 24352, May 2, 2008) indicated that                                                                            For this analysis, we considered the
                                                                                                     committee did not opine on the                        conflicting statements that LDB were
                                             most passenger cars have already                        application of LDB technology in the
                                             adopted LDB technology, but ladder                                                                            both universally applied in new
                                                                                                     fleet. The agencies used the same                     vehicles and that the new vehicle fleet
                                             frame trucks have not.
                                                We and EPA used the same definition                  definition, cost, and effectiveness                   still had space to improve LDB
                                             for LDB in the MY 2012–2016 joint rule,                 estimates for LDB in the Draft TAR, but               technology. We determined that LDB
                                             with an estimated effectiveness of up to                also noted the existence of zero drag                 technology as previously defined going
                                             1 percent based on CBI data.506 We only                 brake systems which use electrical                    back to the MY 2011 rule (73 FR 24352,
                                             allowed LDB technology to be applied                    actuators that allow brake pads to move               May 2, 2008) was universally applied in
                                             to large car, minivan, medium and large                 farther away from the rotor.510 However,              the MY 2020 fleet. However, we
                                             truck, and SUV classes because the                      the agencies did not include zero drag                determined that zero drag brakes, the
                                             agency determined the technology was                    brake technology in either compliance                 next level of brake technology, was
                                             already largely utilized in most other                  simulation. EPA continued with this                   sparingly applied in the MY 2020
                                             subclasses. The 2011 NAS committee                      approach in its first 2017 Proposed                   analysis fleet. Currently, we do not
                                             also utilized our definition for LDB and                                                                      believe that zero drag brake systems will
                                                                                                                                                           be available for wide scale application
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                                                                                                       507 2011 NAS Report, at 103–104.

                                               505 Final Regulatory Impact Analysis, Corporate         508 Joint Technical Support Document: Final
                                                                                                                                                           in the rulemaking timeframe and we did
                                             Average Fuel Economy for MY 2011 Passenger Cars         Rulemaking for 2017–2025 Light-Duty Vehicle           not include it as a technology for this
                                             and Light Trucks (March 2009), at V–135.                Greenhouse Gas Emission Standards and Corporate
                                               506 Final Regulatory Impact Analysis, Corporate       Average Fuel Economy Standards (August 2012), at      analysis. We sought comment on the
                                             Average Fuel Economy for MY 2012–MY 2016                3–211.                                                issue, including any data on the use
                                                                                                       509 2015 NAS Report, at 231.
                                             Passenger Cars and Light Trucks (March 2010), at
                                                                                                                                                                                                             ER02MY22.099</GPH>




                                             249.                                                      510 Draft TAR, at 5–207.                              511 EPA Proposed Determination TSD, at 2–422.




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                                             advanced LDB systems on current and                     will rotate when the vehicle is in                    technology. All vehicles in the analysis
                                             forthcoming production vehicles, but                    motion. This unnecessary rotation                     fleet with FWD or RWD have SAX
                                             did not receive any comments. We will                   consumes energy,513 and leads to                      skipped since SAX technology is a way
                                             consider how to define a new level of                   increased fuel consumption that could                 to emulate FWD or RWD in AWD and
                                             low drag brake technology that either                   be avoided if the secondary axle                      4WD vehicles, respectively. We did not
                                             encompasses the definition of zero drag                 components were completely                            allow for the application of SAX
                                             brakes or similar technology in future                  disconnected and not rotating.                        technology to FWD or RWD vehicles
                                             rulemakings.                                               Light-duty AWD systems are often                   because they do not have a secondary
                                                                                                     designed to divide variably torque                    driven axle to disconnect.
                                             (d) Secondary Axle Disconnect                           between the front and rear axles in
                                                AWD and 4WD vehicles provide                         normal driving to optimize traction and                  SAX technology can be adopted by
                                             improved traction by delivering torque                  handling in response to driving                       any vehicle in the analysis fleet,
                                             to the front and rear axles, rather than                conditions. However, even when the                    including those with a HEV or BEV
                                             just one axle. When a second axle is                    secondary axle is not necessary for                   powertrain,515 which was identified as
                                             rotating, it tends to consume more                      enhanced traction or handling, in                     having AWD or 4WD. It does not
                                             energy because of additional losses                     traditional AWD systems it typically                  supersede any technology or result in
                                             related to lubricant churning, seal                     remains engaged with the driveline and                any other technology being excluded for
                                             friction, bearing friction, and gear train              continues to generate losses that could               future implementation for that vehicle.
                                             inefficiencies.512 Some of these losses                 be avoided if the axle was instead                    SAX technology can be applied during
                                             may be reduced by providing a                           disconnected. The SAX technology                      any refresh or redesign.
                                             secondary axle disconnect function that                 observed in the marketplace disengages                   This analysis carries forward work on
                                             disconnects one of the axles when                       one axle (typically the rear axle) for                the effectiveness of SAX systems
                                             driving conditions do not call for torque               2WD operation but detects changes in                  conducted in the Draft TAR and EPA
                                             to be delivered to both.                                driving conditions and automatically                  Proposed Determination.516 This work
                                                The terms AWD and 4WD are often                      engages AWD mode when it is                           involved gathering information by
                                             used interchangeably, although they                     necessary. The operation in 2WD can                   monitoring press reports, holding
                                             have also developed a colloquial                        result in reduced fuel consumption. For               meetings with suppliers and OEMs, and
                                             distinction, and are two separate                       example, Chrysler has estimated the                   attending industry technical
                                             systems. The term AWD has come to be                    secondary axle disconnect feature in the              conferences. We did not simulate SAX
                                             associated with light-duty passenger                    Jeep Cherokee reduces friction and drag               effectiveness in the Autonomie
                                             vehicles providing variable operation of                attributable to the secondary axle by 80              modeling because, similar to LDB,
                                             one or both axles on ordinary roads. The                percent when in disconnect mode.514                   IACC, and EFR, the fuel economy
                                             term 4WD is often associated with larger                   Observing SAX technology on actual                 benefits from the technology are not
                                             truck-based vehicle platforms providing                 vehicles is very difficult. Manufacturers             fully captured on the two-cycle test. The
                                             a locked driveline configuration and/or                 do not typically identify the technology              secondary axle disconnect effectiveness
                                             a low range gearing meant primarily for                 on technical specifications or other                  values, for the most part, have been
                                             off-road use.                                           widely available information. We                      accepted as plausible based on the
                                                Many 4WD vehicles provide for a                      employed an approach consistent with                  rulemaking record and absence of
                                             single-axle (or two-wheel) drive mode                   previous rulemaking in assigning this                 contrary comments. As such, the agency
                                             that may be manually selected by the                    technology. Specifically, we assigned                 has prioritized its extensive Autonomie
                                             user. In this mode, a primary axle                      SAX technology based on a combination                 vehicle simulation work toward other
                                             (usually the rear axle) will be powered,                of publicly available information and                 technologies that are emerging or
                                             while the other axle (known as the                      previously submitted confidential                     considered more critical for total system
                                             secondary axle) is not. However, even                   information. In the analysis fleet, 38                effectiveness. Table III–32 shows the
                                             though the secondary axle and                           percent of the vehicles that had AWD or               resulting effectiveness estimates we
                                             associated driveline components are not                 4WD are determined to have SAX                        used in this analysis.
                                             receiving engine power, they are still                     513 Any time a drivetrain component spins it
                                             connected to the non-driven wheels and                  consumes some energy, primarily to overcome
                                                                                                                                                             515 The inefficiencies addressed on ICEs by SAX

                                                                                                     frictional forces.                                    technology may not be similar enough, or even
                                               512 Pilot Systems, ‘‘AWD Component Analysis,’’           514 Brooke, L. ‘‘Systems Engineering a new 4x4     present, in HEVs or BEVs.
                                             Project Report, performed for Transport Canada,         benchmark’’, SAE Automotive Engineering, June 2,        516 Draft TAR, at 5–412; Proposed Determination

                                             Contract T8080–150132, May 31, 2016.                    2014.                                                 TSD, at 2–422.
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                                             (e) Other Vehicle Technology Costs                      values which is founded in the 2002                   across select model years. Note that
                                                                                                     NAS Report.518 The cost values are the                these costs are the same for all vehicle
                                               The cost estimates for EPS, IACC,                     same values that were used for the Draft              technology classes. For all absolute EPS,
                                             SAX, and LDB 517 rely on previous work                  TAR and 2020 final rule, updated to                   IACC, LDB, and SAX technology costs
                                             published as part of past rulemakings                   2018 dollars. Table III–33 shows                      across all model years, see the
                                             with learning applied to those cost                     examples of costs for these technologies              Technologies file.




                                             8. Simulating Air Conditioning                          CAFE program,521 but the FCIVs                        through a notice and comment process,
                                             Efficiency and Off-Cycle Technologies                   increase the reported fuel economy of a               to use an alternative methodology other
                                                Off-cycle and air conditioning (AC)                  manufacturer’s fleet, which is used to                than the menu or 5-cycle methodology
                                             efficiency technologies can provide fuel                determine compliance. EPA applies                     for determining the off-cycle technology
                                             economy benefits in real-world vehicle                  FCIVs during determination of a fleet’s               improvement values.526 For further
                                             operation, but those benefits cannot be                 final average fuel economy reported to                discussion of the AC and off-cycle
                                             fully captured by the traditional 2-cycle               NHTSA.522 In the CAFE Model, we only                  compliance and application process, see
                                             test procedures used to measure fuel                    calculate and apply FCIVs at a fleet                  Section VII.
                                             economy.519 Off-cycle technologies                      level for a manufacturer based on the                    We and EPA have been collecting data
                                             include technologies like high efficiency               volume of the manufacturer’s fleet that               on the application of these technologies
                                             alternators and high efficiency exterior                contain qualifying technologies.523                   since implementing the AC and off-
                                             lighting.520 AC efficiency technologies                    There are three pathways that                      cycle programs.527 528 Most
                                             are technologies that reduce the                        manufacturers can use to determine the                manufacturers are applying AC
                                             operation of or the loads on the                        value of AC efficiency and off-cycle                  efficiency and off-cycle technologies; in
                                             compressor, which pressurizes AC                        adjustments. First, manufacturers can                 MY 2020, 17 manufacturers employed
                                             refrigerant. The less the compressor                    use a predetermined list or ‘‘menu’’ of               AC efficiency technologies and 20
                                             operates or the more efficiently it                     g/mi values that EPA established for                  manufacturers employed off-cycle
                                             operates, the less parasitic load the                   specific off-cycle technologies.524                   technologies, though the level of
                                             compressor places on the engine,                        Second, manufacturers can use 5-cycle                 deployment varies by manufacturer.529
                                             resulting in better fuel efficiency.                    testing to demonstrate off-cycle CO2                     Manufacturers have only recently
                                                Vehicle manufacturers have the                       benefit; 525 the additional tests allow               begun including detailed information on
                                             option to generate credits for off-cycle                emissions benefits to be demonstrated                 off-cycle and AC efficiency technologies
                                             technologies and improved AC systems                    over some elements of real-world                      equipped on vehicles in compliance
                                             under the EPA’s CO2 program and                         driving not captured by the 2-cycle                   reporting data. For this analysis, though,
                                             receive an FCIV equal to the value of the               compliance tests, including high speeds,              such information was not sufficiently
                                             benefit not captured on the 2-cycle test                rapid accelerations, hot temperatures,                complete to support a detailed
                                             under NHTSA’s CAFE program. The                         and cold temperatures. Third,                         representation of the application of off-
                                             FCIV is not a ‘‘credit’’ in the NHTSA                   manufacturers can seek EPA approval,                  cycle technology to specific vehicle
                                                517 Note that because LDB technology is applied         521 Unlike, for example, the statutory                525 See 40 CFR 86.1869–12(c). EPA proposed a

                                             universally as a baseline technology in the MY 2020     overcompliance credits prescribed in 49 U.S.C.        correction for the 5-cycle pathway in a separate
                                             fleet, there is functionally zero costs for this        32903.                                                technical amendments rulemaking. See 83 FR
                                             technology associated with this rulemaking.                522 49 U.S.C. 32904(c)–(e). EPCA granted EPA       49344 (Oct. 1, 2019). EPA is not approving credits
                                                518 National Research Council 2002. Effectiveness    authority to establish fuel economy testing and       based on the 5-cycle pathway pending the
                                                                                                     calculation procedures. See Section VII for more      finalization of the technical amendments rule.
                                             and Impact of Corporate Average Fuel Economy                                                                     526 See 40 CFR 86.1869–12(d).
                                             (CAFE) Standards. Washington, DC: The National          information.
                                                                                                                                                              527 See 77 FR 62832, 62839 (Oct. 15, 2012). EPA
                                                                                                        523 40 CFR 600.510–12(c).
                                             Academies Press. https://doi.org/10.17226/10172.
                                                                                                        524 See 40 CFR 86.1869–12(b). The TSD for the
                                                                                                                                                           introduced AC and off-cycle technology credits for
                                                519 See 49 U.S.C. 32904(c) (‘‘The Administrator
                                                                                                                                                           the CO2 program in the MYs 2012–2016 rule (75 FR
                                             shall measure fuel economy for each model and           2012 final rule for MYs 2017 and beyond provides      25324, May 7, 2010) and revised the program in the
                                             calculate average fuel economy for a manufacturer       technology examples and guidance with respect to      MY 2017–2025 rule (77 FR 62624, Oct. 15, 2012)
                                             under testing and calculation procedures prescribed     the potential pathways to achieve the desired         and NHTSA adopted equivalent provisions for MYs
                                             by the Administrator . . . . the Administrator shall    physical impact of a specific off-cycle technology    2017 and later in the MY 2017–2025 rule.
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                                             use the same procedures for passenger automobiles       from the menu and provides the foundation for the        528 Vehicle and Engine Certification. Compliance

                                             the Administrator used for model year 1975              analysis justifying the credits provided by the       Information for Light-Duty Gas (GHG) Standards.
                                                                                                     menu. The expectation is that manufacturers will      Compliance Information for Light-Duty Greenhouse
                                             (weighted 55 percent urban cycle and 45 percent
                                             highway cycle), or procedures that give comparable
                                                                                                     use the information in the TSD to design and          Gas (GHG) Standards | Certification and Compliance
                                                                                                     implement off-cycle technologies that meet or         for Vehicles and Engines | U.S. EPA. Last accessed
                                             results.’’).
                                                                                                     exceed those expectations in order to achieve the     December 22, 2021.
                                                520 40 CFR 86.1869–12(b)—Credit available for
                                                                                                     real-world benefits of off-cycle technologies from       529 See 2021 EPA Automotive Trends Report, at
                                                                                                                                                                                                                 ER02MY22.101</GPH>




                                             certain off-cycle technologies.                         the menu.                                             90 and 92.



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                                             model/configurations in the MY 2020                     rating to use for a manufacturer’s                    the proposed regulatory cap for a few
                                             fleet. To account for the AC and off-                   compliance value after applying the AC                reasons. First, past EPA Trends Reports
                                             cycle technologies equipped on vehicles                 efficiency and off-cycle FCIVs                        showed that many manufacturers did
                                             and the potential that manufacturers                    designated in the Market Data file. The               not adopt off-cycle technology to their
                                             will apply additional AC and off-cycle                  CAFE Model does this on a year-by-year                passenger car fleets. Next,
                                             technologies in the rulemaking                          basis. The CAFE Model attempts to                     manufacturers limited PC offerings in
                                             timeframe, we specify CAFE Model                        apply technologies and FCIVs in a way                 MY 2020 as compared to historical
                                             inputs for AC efficiency and off-cycle                  that both minimizes cost and allows the               trends. Last, available CBI compliance
                                             FCIVs in grams/mile for each                            manufacturer to meet their standards                  data indicated that PCs adopt a lower
                                             manufacturer’s fleet in each model year.                without over or under complying.                      level of menu item off-cycle
                                             We estimate future potential AC                            To determine how manufacturers                     technologies than LTs. We accordingly
                                             efficiency and off-cycle technology                     might adopt AC efficiency and off-cycle               limit the application of off-cycle FCIVs
                                             application in the CAFE analyses based                  technologies in the rulemaking                        to 10 g/mi for PCs but allow LTs to
                                             on an expectation that manufacturers                    timeframe, we use data from EPA’s 2021                apply 15 g/mi of off-cycle FCIVs starting
                                             already relying heavily on these                        Trends Report for MY 2020 and CBI                     in MY 2023 for the final rule analysis.
                                             adjustments would continue do so, and                   compliance material from                              This decision also aligns with EPA’s
                                             that other manufacturers would, over                    manufacturers.531 532 We use                          treatment of off-cycle adjustments in its
                                             time, also approach the limits on                       manufacturer’s MY 2020 AC efficiency                  final rule. The inputs for AC efficiency
                                             adjustments allowed for such                            and off-cycle FCIVs as a starting point,              technologies are set to 5 g/mi and 7.2 g/
                                             improvements.                                           and then extrapolate values in each                   mi for PCs and LTs, respectively. We
                                                The next sections discuss how the                    model year until MY 2026, for light
                                                                                                                                                           allow AC efficiency technologies to
                                             CAFE Model simulates the effectiveness                  trucks to the proposed regulatory cap,
                                                                                                                                                           reach the regulatory caps by MY 2024,
                                             and cost for AC efficiency and off-cycle                for each manufacturer’s fleets by
                                                                                                                                                           which is the first year of standards
                                             technology adjustments.                                 regulatory class.
                                                                                                        To determine the rate at which to                  assessed in this analysis.
                                             (a) AC and Off-Cycle Effectiveness                      extrapolate the addition of AC and off-                  We apply FCIVs in this way because
                                             Modeling in the CAFE Model                              cycle technology adoption for each                    the AC and off-cycle technologies are
                                                In this analysis, the CAFE Model                     manufacturer, we use historic AC and                  generally more cost-effective than other
                                             applies AC and off-cycle flexibilities to               off-cycle technology applications, each               technologies. The details of this
                                             manufacturer’s CAFE regulatory fleet                    manufacturer’s fleet composition (i.e.,               assessment (and the calculation) are
                                             performance in a similar way to the                     breakdown between passenger cars                      further discussed in the CAFE Model
                                             regulation.530 As the CAFE Model                        (PCs) and light trucks (LTs)), availability           Documentation.533 The AC efficiency
                                             simulates the addition of technology to                 of AC and off-cycle technologies that                 and off-cycle adjustment schedules used
                                             vehicles in a given model year fleet, the               manufacturers could still use, and CBI                in this analysis are shown in TSD
                                             model first applies conventional                        compliance data. Different                            Chapter 3.8 and in the Market Data file’s
                                             technologies to vehicles in an attempt to               manufacturers show different levels of                Credits and Adjustments worksheet.
                                             meet a given standard, and then applies                 historical AC efficiency and off-cycle                Like the NPRM, for this final rule
                                             AC efficiency and off-cycle FCIVs to                    technology adoption; therefore, different             analysis we did not allow some
                                             each regulatory fleet. In other words,                  manufacturers hit the proposed                        manufacturers to reach the AC
                                             first the CAFE Model applies                            regulatory caps for AC efficiency                     efficiency and off-cycle caps to avoid
                                             conventional technologies to each                       technology for both their PC and LT                   over compliance in the rulemaking time
                                             manufacturers’ vehicles in each model                   fleets, and different manufacturers hit               frame. Table III–34 and Table III–35
                                             year to assess the 2-cycle sales weighted               caps for off-cycle technologies in the LT             show the average FCIVs applied to the
                                             harmonic average CAFE rating. Then,                     regulatory class. We do not extrapolate               regulatory fleets for the final rule
                                             the CAFE Model assesses the CAFE                        off-cycle technology adoption for PCs to              analysis.
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                                               530 49 CFR 531.6 and 49 CFR 533.6 Measurement         Compliance Information for Light-Duty Greenhouse        532 49 U.S.C. 32907.

                                             and Calculation procedures.                             Gas (GHG) Standards | Certification and Compliance      533 CAFE Model Documentation, S5.
                                               531 Vehicle and Engine Certification. Compliance      for Vehicles and Engines | U.S. EPA. Last accessed
                                                                                                                                                                                                       ER02MY22.102</GPH>




                                             Information for Light-Duty Gas (GHG) Standards.         May 24, 2021.



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                                                We received limited comments on                      than apply adjustments consistently to                to reflect the 2021 EPA Trends Report,
                                             how we model off-cycle and AC                           the cap for each manufacturer. For                    using the same modeling methodology
                                             efficiency for this rulemaking analysis.                example, if a manufacturer is on a                    as the NPRM. We believe that this
                                             Auto Innovators stated that ‘‘due to the                trajectory to reach the off-cycle                     approach is appropriate to capture the
                                             static nature of the forecasts and input                regulatory cap, then we allow the model               costs and benefits of off-cycle
                                             structure, the NHTSA forecasts on the                   to reach that cap regardless of                       technologies.
                                             quantity of off-cycle credits do not vary               alternatives. On the other hand, if a
                                             by scenario, and this creates material                  manufacturer has historically lagged in               (b) AC and Off-Cycle Costs
                                             distortions in the model outputs. For                   the adoption of off-cycle technology, we                 For this analysis, AC and off-cycle
                                             instance, the projected Central case                    use this historic rate of application                 technologies are applied independently
                                             adoption of off-cycle technologies may                  through the rulemaking time frame. As                 of the decision trees using the
                                             contribute to over-compliance with                      shown in Table III–34 and Table III–35,               extrapolated values shown above, so it
                                             some scenarios, especially low                          on average, the fleet does not reach the              is necessary to account for the costs of
                                             stringency scenarios.’’ 534 On the other                regulatory caps based on our                          those technologies independently. Table
                                             hand, UCS stated that ‘‘NHTSA has not                   extrapolation.                                        III–36 shows the costs used for AC and
                                             acknowledge that its [CAFE Model] does                     We understand UCS’s concern, that                  off-cycle FCIVs in this analysis. The
                                             not consider increased adoption of off-                 because the CAFE Model accounts for                   costs are shown in dollars per gram of
                                             cycle technology to yield any real-world                off-cycle technology at the fleet level,              CO2 per mile ($ per g/mile). The AC
                                             benefit . . . there is supportive evidence              the benefits do not directly appear in                efficiency and off-cycle technology costs
                                             of their real-world benefits, and at any                the vehicle-level benefits analysis.                  are the same costs used in the EPA
                                             rate NHTSA must state explicitly its                    Although further refinement may be                    Proposed Determination and described
                                             rationale for excluding these                           possible for future analyses, at this time            in the EPA Proposed Determination
                                             technologies from the benefits of the                   there are only limited vehicle-level data             TSD.537
                                             rule, as the credits associated with these              available. We agree that some
                                             technologies represent a substantial                    manufacturers have relied on these                       To develop the off-cycle technology
                                             share of the credits accrued for                        flexibilities more so than others, but as             costs, we selected the second generic 3
                                             compliance by manufacturers.’’ UCS                      indicated by the 2021 EPA Trends                      g/mile package estimated to cost $170
                                             also stated that ‘‘NHTSA should correct                 Report many are still lagging in                      (in 2015$) to apply in this analysis in $
                                             the [CAFE Model] to ensure it adjusts a                 adopting these technologies.536 This is               per g/mile. We updated the costs used
                                             vehicle’s fuel economy to account for                   one reason why we declined to apply                   in the Proposed Determination TSD
                                             reductions in emissions and fuel use                    off-cycle benefits up to the cap for each             from 2015$ to 2018$, adjusted the costs
                                             from off-cycle technologies, which will                 vehicle to have those benefits                        for RPE, and applied a relatively flat
                                             yield a more accurate accounting of the                 automatically count in the benefits                   learning rate.
                                             benefits from the CAFE program.’’ 535                   calculations. Based on the ratio of                      Similar to off-cycle technology costs,
                                                In response to comments from Auto                    benefits that manufacturers can expect                we used the cost estimates from EPA
                                             Innovators, we agree that, in theory, the               from on-cycle versus off-cycle                        Proposed Determination TSD for AC
                                             way the CAFE Model is set up to apply                   technology, we believe that the small                 efficiency technologies that relied on
                                             off-cycle benefits statically could create              off-cycle technology benefit that is not              the 2012 rulemaking TSD.538 We
                                             overcompliance for some                                 accounted for in the benefits                         updated these costs to 2018$ and
                                             manufacturers. However, as discussed                    calculations does not make a material                 adjusted for RPE for this analysis and
                                             earlier and in TSD Chapter 3.8, we                      difference to the analysis.                           applied the same mature learning rate
                                             apply off-cycle and other flexibilities                    For the final rule analysis, we                    that we had applied for off-cycle
                                             differently for each manufacturer rather                updated the baseline fleet off-cycle data             technologies.
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                                               534 Auto Innovators, Docket No. NHTSA–2021–             536 2021 EPA Trends Report at 104–106.              ZyPDF.cgi?Dockey=P100Q3L4.pdf. Last accessed
                                             0053–0021 Appendix VII, at 125–126.                       537 EPA PD TSD. EPA–420–R–16–021. November          May 24, 2021.
                                               535 UCS, Docket No. NHTSA–2021–0053–1567, at                                                                  538 Joint NHTSA and EPA 2012 TSD, see Section
                                                                                                     2016. At 2–423–2–245. https://nepis.epa.gov/Exe/
                                                                                                                                                                                                             ER02MY22.103</GPH>




                                             31.                                                                                                           5.1.



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                                                In the NPRM we sought comment on                     described in the EPA Regulatory                       benefits that fall on others, which the
                                             whether our costs were appropriate or if                Impacts Analysis.545                                  agency refers to as ‘‘external’’ costs or
                                             other costs should be used. Overall,                       Separately, none of these commenters               benefits. The following subsections
                                             comments from UCS, Consumer                             provided alternative AC and off-cycle                 describe how NHTSA’s analyzes
                                             Reports, and ICCT stated that our costs                 technology costs in response to our                   consumer responses to changing
                                             for off-cycle technologies were high.539                request that commenters provide any                   vehicles and prices.
                                             Consumer Reports indicated that they                    data or information on which any
                                                                                                     alternative costs are based on. General               1. Assumptions About Macroeconomic
                                             did not investigate the NHTSA                                                                                 Conditions and Consumer Behavior
                                                                                                     statements that costs should be lower,
                                             approach to AC and off-cycle
                                                                                                     without specific data and analysis to                    This final rule includes a
                                             adjustments and costs. However
                                                                                                     support those statements, are not                     comprehensive economic analysis of the
                                             Consumer Reports did find ‘‘that under                  enough to justify a change from the                   impacts of establishing more stringent
                                             the EPA proposal the use of similar                     NPRM values. As one example, the 2021                 CAFE standards, and most of the effects
                                             costs for off-cycle technologies resulted               NAS Report observed an AC efficiency                  it measures are influenced by future
                                             in compliance costs for those                           technology similar to one used by                     macroeconomic conditions that are
                                             technologies that were more than three                  Toyota, and they estimated the cost of                beyond the agency’s influence. For
                                             times the average compliance costs of                   that technology to be $170 in 2025.546 547            example, domestic fuel prices are
                                             all the technology applied to achieve the               However, that was not enough                          mainly determined by global petroleum
                                             Preferred Alternative.’’ 540 ICCT stated                information for us to update our gram                 supply and demand as well as refining
                                             that ‘‘the agencies use an arbitrarily and              per mile cost for all technologies. We                costs, yet they determine how much
                                             unrealistically high estimate of off-cycle              will continue to research this issue for              technology manufacturers will employ
                                             credit cost in their compliance                         future analyses.                                      to improve the fuel economy of cars and
                                             modeling.’’ 541 UCS conducted an                        E. Consumer Responses to Manufacturer                 light trucks produced for the U.S.
                                             analysis of off-cycle costs using the 2020              Compliance Strategies                                 market, how much consumers are
                                             final rule’s CAFE Model and data from                                                                         willing to pay for new vehicles offering
                                                                                                        The previous subsections in Section                different levels of fuel economy, how
                                             the 2021 NAS Report to show that the
                                                                                                     III have so far discussed how                         much new and used cars and light
                                             average costs could be different if the
                                                                                                     manufacturers might respond to changes
                                             agencies used different inputs.542 This                                                                       trucks will be driven, and the value of
                                                                                                     to the standards. While the technology
                                             approach is similar to the one used by                                                                        each gallon saved through higher CAFE
                                                                                                     analysis is informative of the different
                                             EPA in the final rule for MYs 2023–2026                                                                       standards. Similarly, projecting sales of
                                                                                                     compliance strategies available to
                                             in determining the costs of off-cycle.                                                                        new cars and light trucks produced
                                                                                                     manufactures, the tangible costs and
                                                                                                                                                           during the model years subject to the
                                                As we discussed in the NPRM and                      benefits that accrue because of CAFE
                                                                                                                                                           standards this final rule establishes
                                             explained again above, the CAFE Model                   standards also depend on how
                                                                                                                                                           requires robust projections of
                                             was updated from the 2020 final rule                    consumers respond to the decisions
                                                                                                                                                           demographic and macroeconomic
                                             model to better account for costs of AC                 made by manufacturers. Many of the
                                                                                                                                                           variables that span the entire timeframe
                                             and Off-Cycle technologies.543 544 This                 benefits and costs resulting from
                                                                                                                                                           of the analysis, including U.S.
                                             update fixed many of the issues                         changes to CAFE standards are private
                                                                                                                                                           population, Gross Domestic Product
                                             highlighted by the commenters by                        benefits that accrue to the buyers of new
                                                                                                                                                           (GDP), consumer confidence about
                                             baking in the costs per vehicle of the off-             cars and trucks produced in the model
                                                                                                                                                           future economic conditions, and
                                             cycle technology in the baseline vehicle                years subject to this rulemaking. These
                                                                                                                                                           disposable personal income.
                                             and excluding the costs from affecting                  benefits and costs largely flow from the
                                                                                                                                                              To ensure internal consistency within
                                             the new vehicle model output costs. The                 changes to vehicle purchases,
                                                                                                                                                           the agency’s analysis, projections of
                                                                                                     ownership, and operating costs that
                                             CAFE Model used by EPA in their                                                                               most of the economic variables used in
                                                                                                     result from improved fuel economy, as
                                             rulemaking analysis for MYs 2023–2026                                                                         our analysis are obtained from the same
                                                                                                     well as from the costs of the technology
                                             did not have this feature, and they were                                                                      source. The analysis presented here
                                                                                                     required to achieve those
                                             required to re-evaluate the costs as                                                                          relies on forecasts of fuel prices issued
                                                                                                     improvements. In addition, buyers’ and
                                                                                                                                                           by the U.S. Energy Information
                                                                                                     owners’ decisions about the use of their
                                                                                                                                                           Administration (EIA), an agency within
                                                539 Consumer Reports, Docket No. NHTSA–2021–         vehicles can impose costs or create
                                                                                                                                                           the DOE that collects, analyzes, and
                                             0053–1576, at 22; UCS, at 30; ICCT, Docket No.
                                             NHTSA–2021–0053–1581, at 8.                               545 EPA Final Rule for MYs 2023–2026 RIA,           disseminates independent and impartial
                                                                                                                                                           energy data and forecasts to promote
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                                                540 Consumer Reports, at 22–23.                      Chapter 4.1.1.1, Off-Cycle Credit Cost and changes
                                                541 ICCT, at 8.                                      since the Proposed Rule, at p. 4–6.                   sound policymaking, efficient markets,
                                                542 UCS, at 30.
                                                                                                       546 2021 NAS Report, at 68.
                                                                                                                                                           and public understanding of energy and
                                                                                                       547 EPA Decision Document. ‘‘Off-Cycle Credits
                                                543 86 FR 49605 (Sept. 3, 2021).                                                                           its interaction with the economy and the
                                                                                                     for Toyota Motor North America.’’ EPA–420–R–21–
                                                544 ‘‘More accurate accounting for off-cycle
                                                                                                     024. October 2021. https://nepis.epa.gov/Exe/
                                                                                                                                                           environment. EIA uses its National
                                             incremental costs relative to MY 2020 baseline          ZyPDF.cgi?Dockey=P1013CFF.pdf. (Accessed:             Energy Model System (NEMS) to
                                                                                                                                                                                                       ER02MY22.104</GPH>




                                             fleet.’’                                                March 15, 2022)                                       produce its Annual Energy Outlook


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                                             (AEO), which includes forecasts of                         The agency received several                             Commenters also raised concerns
                                             future U.S. macroeconomic growth and                    comments about the macroeconomic                        about the included electricity price
                                             fuel prices among many other energy-                    assumptions used in the analysis. Auto                  forecast. Auto Innovators, for example,
                                             related variables. NHTSA’s main                         Innovators correctly noted that fuel                    proposed electricity rate inputs are too
                                             analysis uses forecasts of fuel prices,                 prices will influence the adoption of                   low in the face of anticipated increases
                                             from the AEO 2021 Reference Case. The                   advanced technologies and the cost and                  in renewable electricity generation and
                                             agency also uses forecasts of the U.S.                  benefits realized under the new                         may therefore overestimate benefits of
                                             population, the number of U.S.                          standards, and commented that EIA’s                     the regulatory action.551 The
                                             households, the Nation’s Gross                          projections may overestimate fuel                       commenters pointed to research from
                                             Domestic product (GDP), disposable                      prices. In support of its claim, Auto                   the National Renewable Energy
                                             personal income, and consumer                           Innovators notes that EIA’s projections                 Laboratory that suggests price increases
                                             confidence to develop its projections of                have historically overestimated fuel                    are possible and noted EPA’s fuel price
                                             new car and light truck sales as well as                prices and speculates that the current                  inputs increase to $0.133 per kWh in
                                             of total light-duty vehicle travel. For the             forecasts could overestimate domestic                   2040 (compared to $0.120 in the
                                             current analysis, NHTSA obtained                        demand if the ‘‘EIA Central Case                        NHTSA’s NPRM). Auto Innovators did
                                             forecasts of these variables from the IHS               gasoline forecast assumes fewer than 50                 not suggest alternative price series and
                                             Markit Global Insight October 2021                      [percent] plug-in vehicles by 2030.’’ 548               NHTSA is wary of varying fuel prices
                                             Macroeconomic Outlook base case,                        In that event, Auto Innovators                          without simultaneously varying
                                             which represents the most likely                        recommended that NHTSA instead rely                     assumptions about electricity grid mix.
                                             scenario from that organization’s most                  on the IHS Markit Global Insight                        Further, the CAFE Model is unable to
                                             current forecast. EIA also relies on the                forecast of fuel prices throughout its                  simulate regional differences in
                                             IHS Markit Global Insight                               main analysis, which as its comment                     electricity generation and fuel prices
                                             Macroeconomic Outlook to develop the                    showed falls considerably below the                     and cannot capture regional differences
                                             macroeconomic and energy price                          AEO 2021 Reference Case forecast after                  in electricity prices, which may arise
                                             forecasts included as part of its Annual                about the year 2030. Auto Innovators                    from heterogeneity in grid mix. The
                                             Energy Outlook. However, the forecasts                  recognized that NHTSA does use the                      agency did include a sensitivity case
                                             EIA presents in its Annual Energy                       Global Insight forecast it recommended                  that varied projections about electricity
                                             Outlook 2021 are based on the IHS                       for the purpose of sensitivity analysis                 supply and included a case with high
                                             Markit Global Insight March 2021                        but encouraged the agency to feature it                 levels of renewable energy generation
                                             Macroeconomic Outlook, rather than the                  more prominently.                                       from EIA. These results are included in
                                             more recent October 2021 Outlook the                       In contrast, Consumer Reports                        FRIA Chapter 7.
                                             agency relies on in this analysis.                      asserted that the AEO 2021 projections                     Another key assumption that has
                                             Because the forecasts of population,                    underestimated how quickly fuel prices                  important ramifications throughout the
                                             GDP, disposable income, and other                       would rebound from the diminished                       agency’s analysis is how much
                                             variables in the March 2021 and October                 demand caused by onset of COVID–19.                     consumers are willing to pay for
                                             2021 Macroeconomic Outlooks are very                    Consumer Reports suggested that the                     improved fuel economy. If buyers fully
                                             similar, the forecasts the agency relies                agency use the AEO 2020 reference case                  value the savings in fuel costs that result
                                             on in this analysis are generally                       instead of that from AEO 2021 to avoid                  from driving (and potentially re-selling)
                                             consistent with those reported in EIA’s                 the potential for fuel prices from                      vehicles with higher fuel economy and
                                                                                                     calendar year 2020 to unduly influence                  manufacturers supply all improvements
                                             AEO 2021. TSD Chapter 4.1 includes a
                                                                                                     the rest of the analysis.549 As discussed               in fuel economy that buyers demand,
                                             more complete discussion of the
                                                                                                     earlier, projections are inherently                     market-determined levels of fuel
                                             macroeconomic assumptions made for
                                                                                                     uncertain and actual prices are likely to               economy would reflect both the cost of
                                             the analysis.
                                                                                                     deviate from those forecast for any given               improving it and the private benefits
                                                While these macroeconomic                                                                                    from doing so.552 In that case,
                                             assumptions are some of the most                        future year, and the accuracy of a multi-
                                                                                                     year forecast should not be judged by its               regulations on fuel economy would only
                                             critical inputs to the analysis, they are                                                                       be necessary to reflect environmental or
                                             also subject to the most uncertainty—                   ability to predict the value realized in a
                                                                                                     single period. In any case, the agency                  other benefits other than to buyers
                                             particularly over the lifetimes of the                                                                          themselves. But if consumers instead
                                             vehicles subject to this final rule, which              determined that the AEO 2021
                                                                                                     projections of fuel prices were more                    undervalue future fuel savings or are
                                             can extend as far as forty years into the                                                                       otherwise unable to purchase their
                                             future. The agency also uses low and                    appropriate for this analysis, because
                                                                                                     they incorporate the potential long-term                optimal levels of fuel economy due to
                                             high economic growth and global oil                                                                             market failures, they will underinvest in
                                             price forecasts issued by EIA as part of                impacts of the COVID–19 pandemic and
                                                                                                     its effects on travel activity, gasoline                fuel economy and manufacturers would
                                             its Annual Energy Outlook as alternative                                                                        spend too little on fuel-saving
                                             cases in its sensitivity analyses. The                  demand, and future fuel prices.550
                                                                                                                                                             technology (or deploy its energy-saving
                                             purpose of these sensitivity analyses,                     548 Auto Innovators, Docket No. NHTSA–2021–          benefits to improve vehicles’ other
                                             which are discussed in greater detail in                0053–0021, at 58–59. The AEO 2021 Reference Case
                                             FRIA Chapters 6 and 7, is not to posit                  forecasts that less than 2 percent of new car and       products would return to its pre-pandemic level,
                                             a more credible future state of the world               light truck sales during 2030 will be plug-in hybrid    other unforeseen factors apparently contributed as
                                             than the central case, which the agency                 models and including projected sales of                 well. This is evidenced by the fact that actual
                                                                                                     conventional hybrid models increases that figure to     gasoline prices during 2021 were well above their
                                             assumes represents the most likely                      somewhat more than 6 percent.                           levels during the pre-pandemic years of 2018 and
                                             future state of the world. Instead, the
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                                                                                                        549 Consumer Reports, Comment Body, Docket           2019, when they averaged $2.81 and $2.69 per
                                             sensitivity analyses are intended to                    No. NHTSA–2021–0053–1576, at 23.                        gallon.
                                             illustrate the degree to which important                   550 EIA reports that actual retail gasoline prices     551 Auto Innovators, A1, at 85.

                                             future outcomes resulting from this final               during 2021 averaged $3.10 per gallon, considerably       552 Besides fuel savings, the private benefits from

                                                                                                     higher than the $2.36 average price projected for       increased fuel economy may also include increased
                                             rule might change under different                       2021 as part of AEO 2021. While part of this            driving range, decreased costs per mile driven, and
                                             assumptions about fuel prices,                          discrepancy probably owes to an overly cautious         refueling benefits such as the experience of not
                                             economic growth, and other factors.                     view of how rapidly global demand for petroleum         having to stop as often to refuel.



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                                             attributes). In that case, more stringent               models offering higher fuel economy.                    economy that appear to offer future
                                             fuel economy standards could lead                       Most recently, Leard and Zhou’s (2021)                  savings exceeding their initial costs is
                                             manufacturers to adopt improvements                     analysis puts the most likely value for                 one example of what is often termed the
                                             in fuel economy that not only reduce                    this figure at slightly above half (54                  ‘‘energy-efficiency gap.’’ The
                                             external costs from producing and                       percent), and Gillingham et al. (2021)                  appearance of a gap between the level
                                             consuming fuel to appropriate levels but                find that ‘‘consumers systematically                    of energy efficiency that would
                                             also improve consumer welfare.                          undervalue fuel economy in vehicle                      minimize consumers’ overall expenses
                                                Increased fuel efficiency offers vehicle             purchases to a larger degree than                       and what they actually purchase is
                                             owners significant potential savings; in                reported by much of the recent                          typically based on engineering
                                             fact, our analysis shows that the value                 literature.’’ 553 554                                   calculations that compare the initial
                                             of prospective fuel savings exceeds                        More circumstantial evidence appears                 cost for providing higher energy
                                             manufacturers’ technology costs to                      to show that consumers do not fully                     efficiency to the discounted present
                                             comply with even the most stringent                     value the expected lifetime fuel savings                value of the resulting savings in future
                                             standards considered for this final rule                from purchasing higher-mpg models.                      energy costs. There has long been an
                                             when both are discounted at a either a                  Although the average fuel economy of                    active debate about why such a gap
                                             3 percent or 7 percent rate. It would                   new vehicles reached an all-time high of                might arise and whether it exists.
                                             seem reasonable to assume that well-                    25.7 MPG in MY 2020, this is still                      Economic theory predicts that
                                             informed vehicle shoppers, if without                   significantly below the fuel economy of                 economically rational individuals will
                                             time constraints or other barriers to                   the fleet’s most efficient vehicles that                purchase more energy-efficient products
                                             rational decision-making, will recognize                are readily available for consumers to                  only if the savings in future energy costs
                                             the full value of fuel savings from                     purchase.555 556 Manufacturers have                     they offer promise to offset their higher
                                             purchasing a model that offers higher                   repeatedly informed the agency that                     initial costs. On the other hand, various
                                             fuel economy, since they would enjoy                    consumers value only 2 to 3 years of the                market failures, including information
                                             an equivalent increase in their                         future fuel savings that higher-mpg cars                asymmetries between consumers,
                                             disposable income and the other                         and light trucks offer when choosing                    dealerships, and manufacturers; market
                                             consumption opportunities it affords                    among available models.                                 power; first-mover disadvantages for
                                             them. If consumers did value the full                      The potential for car buyers to                      both consumers and manufacturers;
                                             amount of fuel savings, more fuel-                      voluntarily forgo improvements in fuel                  split incentives between vehicle
                                             efficient vehicles would functionally be                                                                        purchasers and vehicle drivers; and
                                             less costly for consumers to own when                     553 Busse, M., C. Knittel, and F. Zettelmeyer.
                                                                                                                                                             other failures may prevent consumers
                                             considering both their initial purchase                 2013. ‘‘Are Consumers Myopic? Evidence from New
                                                                                                     and Used Car Purchases.’’ American Economic             from purchasing the optimal level of
                                             prices and subsequent operating costs,                  Review 103(1): 220–56; Allcott, H., and N. Wozny.       fuel economy in an unregulated market.
                                             thus making the models that                             2014. ‘‘Gasoline Prices, Fuel Economy, and the          Furthermore, behavioral economics has
                                             manufacturers are likely to offer under                 Energy Paradox.’’ The Review of Economics and           documented numerous situations in
                                             stricter alternatives more attractive than              Statistics 96(5): 779–95; Sallee, J., S. West, and W.
                                                                                                     Fan. 2016. ‘‘Do Consumers Recognize the Value of        which the decision-making of
                                             those available under the No-Action                     Fuel Economy? Evidence from Used Car Prices and         consumers differs in important ways
                                             Alternative.                                            Gasoline Price Fluctuations.’’ Journal of Public        from the predictions of the model of the
                                                Recent econometric research is                       Economics 135: 61–73; Leard, B., J. Linn, and Y.        fully optimizing consumer (e.g.,
                                             divided between studies concluding                      Zhou. 2021. ‘‘How Much Do Consumers Value Fuel
                                                                                                     Economy and Performance? Evidence from                  Dellavigna, 2009).557
                                             that consumers value most or all of the                 Technology Adoption.’’ The Review of Economics             One explanation for such
                                             potential savings in fuel costs from                    and Statistics: 1–45 (forthcoming); Gillingham, K.T.,   ‘undervaluation’ of the savings from
                                             driving higher-mpg vehicles, and those                  S. Houde, and A. van Bentham, 2021. ‘‘Consumer          purchasing higher-mpg models is
                                             concluding that consumers significantly                 Myopia in Vehicle Purchases: Evidence from a
                                                                                                                                                             myopia or present bias, where
                                             undervalue expected fuel savings. Based                 Natural Experiment.’’ American Economic Journal:
                                                                                                     Economic Policy 13(3): 207–238.                         consumers focus unduly on short-term
                                             on a detailed analysis of changes in                      554 Other research asks the more fundamental          costs while giving insufficient attention
                                             recent sale values of cars and light                    questions of whether consumers are adequately           to long-term benefits.558 This situation
                                             trucks in response to variation in fuel                 informed about and attentive to potential fuel
                                                                                                                                                             could arise because buyers are unsure
                                             prices, Busse et al. (2013) estimated that              savings from buying higher-mpg models when they
                                                                                                     shop for new cars, and again arrives at mixed           whether they will actually realize the
                                             buyers value 54 to 117 percent of fuel                  conclusions. This includes Allcott, H. and C.           fuel savings indicated by test data
                                             savings from purchasing higher-mpg                      Knittel, 2019. ‘‘Are Consumers Poorly Informed          posted on cars’ fuel economy labels
                                             models, with the exact value depending                  about Fuel Economy? Evidence from Two
                                                                                                                                                             under the conditions where they drive,
                                             on the discount rate they apply to future               Experiments’’, AEJ: Economic Policy, 11(1): 1–37,
                                                                                                     and D. Duncan, A. Ku, A. Julian, S. Carley, S.          what future fuel prices will be, how
                                             savings; their estimates for new car                                                                            long they will own a new vehicle, or
                                                                                                     Siddiki, N. Zirogiannis and J. Graham, 2019. ‘‘Most
                                             buyers ranged from 75 to 133 percent of                 Consumers Don’t Buy Hybrids: Is Rational Choice         whether they will drive it enough to
                                             future fuel savings, Using similar                      a Sufficient Explanation?’’, J. of Benefit-Cost
                                                                                                                                                             realize the promised savings. As a
                                             methods and an extremely large sample                   Analysis, 10(1): 1–38. The former analysis
                                                                                                                                                             consequence, they may view choosing
                                             of used vehicle sales, Allcott and Wozny                concludes that consumers appear to be relatively
                                                                                                     well-informed about the value of higher fuel
                                             (2014) estimated a corresponding range                  economy when they shop for new vehicles, while             557 Dellavigna, S., 2009. ‘‘Psychology and
                                             of 55 to 76 percent depending on their                  the latter concludes that some buyers appear            economics: Evidence from the field,’’ Journal of
                                             assumptions about buyers’ discount                      inattentive to savings available from buying higher-    Economic Literature, 47(2), 315–372. Available at
                                             rates and expectations for future fuel                  MPG hybrid versions of certain vehicle models.          https://pubs.aeaweb.org/doi/pdfplus/10.1257/
                                                                                                       555 See EPA 2020 Automotive Trends Report at 6        jel.47.2.315. (Accessed: Mar. 24, 2022).
                                             prices, with a figure of 93 percent for                 and 9, available at https://nepis.epa.gov/Exe/             558 Gillingham et al., 2021, which is an AEJ:
                                             buyers of the newest (1–3 year old) cars
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                                                                                                     ZyPDF.cgi?Dockey=P1010U68.pdf. (Accessed:               Economic Policy paper, just published on consumer
                                             in their sample. Again using similar                    March 15, 2022)                                         myopia in vehicle purchases; a standard reference
                                             methods, Sallee et al. (2016) estimated                   556 Of course, this could simply suggest that the     on present bias generally is O’Donoghue, Ted, and
                                             that car and light truck buyers are                     future savings in fuel costs those models offer—        Matthew Rabin. 2015. ‘‘Present Bias: Lessons
                                                                                                     given potential buyers’ expectations about future       Learned and To Be Learned.’’ American Economic
                                             willing to pay from 60 percent to                       fuel prices—do not justify manufacturers’ costs for     Review: Papers & Proceedings 105(5): 273–79.
                                             perhaps as much as 142 percent of the                   providing them, since those are presumably              Available at https://pubs.aeaweb.org/doi/pdfplus/
                                             value of future fuel savings to purchase                reflected in their higher purchase prices.              10.1257/aer.p20151085. (Accessed: Mar. 30, 2022).



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                                             to purchase a more fuel-efficient vehicle               price and fuel economy that she                         prefer that manufacturers employ newly
                                             as a risky ‘‘bet,’’ and experimental                    previously declined to purchase.                        available technologies that could be
                                             research has shown that when faced                      Further, if fuel economy standards                      used to improve performance or
                                             with a risky choice, some consumers                     increased gradually over a period of                    increase fuel economy to improve
                                             appear to weigh the potential loss from                 years, this would allow time for                        performance, and that manufacturers
                                             an adverse outcome approximately                        consumers to consult other information                  would be likely to do so. NHTSA’s
                                             twice as heavily as the potential gain                  sources and verify that potential fuel                  analysis also suggested that if fuel
                                             from ‘‘winning’’ the bet, leading them to               savings are likely to prove real and of                 economy standards no longer
                                             significantly undervalue that choice                    substantial value.                                      constrained consumers’ choices, due
                                             relative to its probabilistic ‘‘expected’’                 Another alternative explanation for                  either to shifting preferences for fuel
                                             value (e.g., Kahneman and Tversky,                      consumers’ reluctance to purchase more                  economy (for example, in response to
                                             1979; 559 Kahneman, 2011).560 Viewed                    costly models whose lower fuel costs                    changes in the price of gasoline) or to
                                             in the context of a choice to pay more                  would ultimately repay their higher                     changes in buyers’ income levels,
                                             for a higher-mpg car, loss aversion has                 purchase prices is that consumers view                  manufacturers would be likely to use
                                             been shown to have the potential to                     those higher prices in the context of                   new technologies to improve both
                                             cause undervaluation of future fuel                     tradeoffs they make among their                         performance and fuel economy. NHTSA
                                             savings like that reported by                           purchasing decisions. Households must                   then presented trends in new vehicle
                                             manufacturers (Greene, 2011; 561 Greene                 choose how to spread their limited                      fuel economy and performance over
                                             et al., 2013).562                                       incomes over many competing goods                       time and suggested that its theoretical
                                                The ‘‘behavioral’’ model of consumer                 and services, including deciding how                    analysis was consistent with the
                                             choice also holds that consumers’                       much to spend on a new vehicle, or                      historical record, which shows the fuel
                                             decisions are affected by the context of                even whether to opt for another form of                 economy of the new vehicle fleet
                                             choices and its effect on how consumers                 transportation instead. While a                         increases when the price of gasoline
                                             ‘‘frame’’ decisions. From this                          consumer may correctly recognize the                    increases.566 NHTSA solicited
                                             perspective, it is possible that                        cumulative long-term value of fuel                      comments on its theoretical analysis
                                             consumers respond to changes in the                     savings, they may also prefer to spend                  and the potential implications for its
                                             fuel economy new vehicles offer                         the extra cost of buying a car that offers              FRIA, and also sought potential
                                             required by government regulations                      those savings on other items, whether                   approaches for valuing the tradeoff
                                             such as CAFE standards differently than                 other vehicle attributes—more interior                  between performance and fuel economy
                                             they respond to manufacturers                           space and comfort, for example, or a                    when NHTSA’s standards constrain
                                             voluntarily offering buyers the option to               more luxurious trim package—or on                       consumers to choose more fuel-efficient
                                             purchase models featuring the same fuel                 other unrelated goods and services.                     options.
                                             economy levels those regulations would                  Some of the same technologies that
                                                                                                     manufacturers have available to increase                   NHTSA noted in the NPRM that the
                                             require.563 The intuition behind this
                                                                                                     fuel economy can also enable increased                  substantial literature on the topic of
                                             possibility is that if a consumer is                                                                            consumer valuation of fuel economy is
                                             shopping for a new car in an                            vehicle size, power, or weight while
                                                                                                     maintaining fuel economy.564 While                      approximately evenly divided between
                                             unregulated market and considering two                                                                          studies that suggest consumer
                                             models—one that offers higher fuel                      increased fuel efficiency will free up
                                                                                                     disposable income throughout the                        undervalue fuel economy and studies
                                             economy but is more expensive and                                                                               that support valuation at the full
                                             another that does not but is cheaper—                   lifetime of the vehicle (and may
                                                                                                     ultimately exceed the additional upfront                discounted present value (no
                                             she may buy the less fuel efficient                                                                             undervaluation). This potential
                                             version even if choosing the more                       costs to purchase a more expensive but
                                                                                                     more fuel-efficient vehicle), the value of              undervaluation, frequently referred to as
                                             expensive model could save money in                                                                             the ‘‘energy paradox’’ or ‘‘fuel efficiency
                                             the long run. If instead the consumer                   owning a different good sooner may
                                                                                                     provide consumers with even more                        gap,’’ has prompted an extensive
                                             faced the decision to buy a new car or                                                                          exploration of potential behavioral
                                             keep an older one, and all new car                      benefit.565
                                                                                                        NHTSA’s NPRM included an                             explanations why consumers might
                                             models were required to meet fuel                                                                               undervalue fuel economy. NHTSA
                                             economy standards, she may view the                     extensive theoretical discussion of
                                                                                                     consumer valuation of fuel economy,                     explored the possibility that the context
                                             decision differently and elect to                                                                               and framing around consumer decisions
                                             purchase a new model offering the same                  including a detailed theoretical analysis
                                                                                                     of consumer choices between vehicle                     may influence consumer choices—and
                                                559 Kahneman, D. and A. Tversky, 1979.               performance and fuel economy when                       that consumers may value fuel-saving
                                             ‘‘Prospect theory: An analysis of decision making       buyers are constrained by limited                       technology differently when their
                                             under risk,’’ Econometrica, 47, 263–291.                budgets and manufacturers by fuel                       choices are constrained to more fuel-
                                                560 Kahneman, D., 2011. Thinking Fast and Slow.
                                                                                                     economy standards. That analysis                        efficient options. NHTSA also discussed
                                             Farrar, Straus and Giroux, New York.                                                                            how the value consumers place on fuel
                                                561 Greene, D.L., 2011. ‘‘Uncertainty, Loss
                                                                                                     showed that when fuel economy
                                                                                                     standards are binding, consumers might                  economy may change over time, and
                                             Aversion and Markets for Energy Efficiency,’’
                                             Energy Economics, 33, 608–616.                                                                                  that they may come to value the future
                                                562 Greene, D.L., D.H. Evans, and J. Hiestand,          564 Other technologies may simultaneously            stream of fuel savings more once they
                                             2013. ‘‘Survey evidence on the willingness of U.S.      increase both fuel economy and certain                  begin to experience those savings when
                                             consumers to pay for automotive fuel economy,’’         performance attributes.                                 the rule is in place. NHTSA noted that
                                             Energy Policy, 61, 1539–1550. Application of               565 While households have budgets, both
                                             investment under uncertainty will yield similar
                                                                                                                                                             if fuel economy standards lead
                                                                                                     individual vehicle purchasers and the purchasers of
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                                             results as costs may be more certain and up front       large fleets of vehicles may have access to financing   consumers to value fuel economy more
                                             while the fuel savings or benefits of the investment    for vehicle purchases. Given sufficient financing, a    once they experience a savings, the new
                                             may be perceived as more uncertain and farther into     rational consumer could both purchase fuel              higher valuation of fuel economy may
                                             future, thereby reducing investments in fuel saving     economy improvements that will pay for
                                             technologies.
                                                                                                                                                             offset some or all of the negative impact
                                                                                                     themselves over time as well as other desired goods.
                                                563 See NASEM (2021), Ch. 11.3.3, We explain         Failure to do so would seem to indicate either a
                                             this potential differential response more thoroughly    lack of efficient access to financing or some market      566 For additional details, see 86 FR 49723–31

                                             in TSD Chapter 4.2.1.1.                                 failure.                                                (Sept. 3, 2021).



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                                             on sales due to the higher prices of fuel-               would interact with other elements in                willing to pay for fuel economy
                                             efficient vehicles.                                      the analysis. In response, NHTSA                     improvements with a payback period
                                                As explained in more detail in TSD                    received a handful of comments on this               longer than 3 years.571
                                             Chapter 4.2.1.1, the agency’s analyses of                apparent ‘‘energy efficiency gap’’ and                  CBD et al. commented that the agency
                                             the extent to which manufacturers will                   the agency’s assumption about                        is underestimating consumers’
                                             voluntarily improve fuel economy and                     consumers’ willingness to pay. NADA                  willingness to pay by assuming that
                                             of the response of new car and light                     and Auto Innovators agreed with the                  they require a 30-month payback period,
                                             truck sales to higher sales prices assume                agency’s assumption of a 30-month                    but did not explain why it believes this
                                             that potential buyers of new cars and                    payback period, while stressing the                  is the case or suggest an alternative
                                             light trucks value only the undiscounted                 need to account for the utility of other             estimate.572
                                             savings in fuel costs they would expect                  vehicle attributes that might be                        Institute for Policy Integrity at New
                                             to realize over the first 30 months they                 improved in the absence of mandates to               York School of Law (IPI) urged the
                                             own a newly purchased vehicle.                           provide higher fuel economy.568 NADA                 agency consider using different payback
                                             Depending on the discount rate buyers                    commented that consumers are not                     assumptions at different points
                                             are assumed to apply, this amounts to                    myopic, and any appearance that they                 throughout its analysis. Specifically, IPI
                                             25–30 percent of the expected savings in                 are actually reflects their wide range of            commented that NHTSA should use a
                                             fuel costs they (and any subsequent                      preferences for other vehicle attributes,            lower willingness to pay under the
                                             owners) would ultimately realize over                    which also explains their willingness to             baseline scenario to determine how
                                             the vehicle’s entire expected lifetime.                  forgo some fuel savings in favor of                  much manufacturers would voluntarily
                                             However, NHTSA establishes CAFE                          improvements to vehicles’ other                      improve fuel economy in the absence of
                                             standards by comparing vehicles’                         features. NADA asserted that potential               stricter standards, but should assume a
                                             lifetime savings in fuel costs and other                 buyers of new cars and light trucks                  higher willingness to pay when
                                             economic benefits from reducing fuel                     focus on the total lifetime cost of vehicle          analyzing how the standards will affect
                                             consumption to manufacturers’ costs to                   ownership, and by doing so consider the              sales of new vehicles and the turnover
                                             improve fuel economy, which leads the                    cost and value of purchasing models                  of the used vehicle fleet.573 IPI endorsed
                                             agency to set standards that require                     that offer higher levels of not just fuel            the possibility the agency raised in its
                                             much higher levels of fuel economy                       economy, but other desirable features as             proposal that CAFE regulations can
                                             than it assumes buyers are willing to                    well. To support its claim, NADA cited               ameliorate myopia among potential
                                             pay for. Thus, the agency’s analysis does                to data from the 2021 Strategic Vision               buyers or information asymmetries
                                             assume that new car shoppers are                         New Vehicle Efficiency Survey that                   between vehicle manufacturers and
                                             somewhat myopic—and that an ‘‘energy                     found fuel economy ranked as the 12th                buyers, and by doing so lead potential
                                             paradox’’ exists in the case of fuel                     most important attribute to consumers.               buyers to value a larger fraction of
                                             economy—but only at the time they are                    NADA argued that NHTSA needed to                     future fuel savings from choosing a
                                             consider purchasing a new car or light                   examine ‘‘actual sales and lease data or             higher-mpg model. IPI also listed other
                                             truck, and that they ultimately value the                studies assessing how new light-duty                 potential market failures that CAFE
                                             lifetime fuel savings that purchasing a                  vehicle consumers value fuel economy                 regulations could potentially
                                             higher-mpg model provides.567 The                        technology when making purchasing                    mitigate.574
                                             agency also assumes that manufacturers’                                                                          Specifically, IPI suggested that the
                                                                                                      decisions,’’ and implored the agency to
                                             compliance costs will ultimately be                                                                           agency use a 1.7-year payback period to
                                                                                                      account for the ‘‘temporal shifting of
                                             borne by vehicle buyers in the form of                                                                        identify the technologies manufacturers
                                                                                                      consumer preferences.’’ Auto Innovators
                                             higher purchase prices for new cars and                                                                       would adopt and to estimate the
                                                                                                      supported analyzing sensitivity cases
                                             light trucks. This means that the fraction                                                                    resulting increase in fuel economy
                                                                                                      with payback periods ranging from 1 to               under the baseline, but assume that
                                             of savings in future fuel costs buyers are               4 years.569
                                             assumed to take into account at the time                                                                      actual buyers of new cars and light
                                                                                                         EDF commented that the agency
                                             of purchase (again, 25–30 percent) when                                                                       trucks would value fuel savings over the
                                                                                                      should assume a longer repayment
                                             choosing among models would offset                                                                            first 7 years of their lifetimes when
                                                                                                      period and cited as support a Consumer
                                             only that same fraction of the expected                                                                       evaluating whether to scrap a vehicle.
                                                                                                      Reports study showing that 64 percent
                                             increase in new car and light truck                                                                           scrappage rates. However, IPI did not
                                                                                                      of consumers rank fuel economy as
                                             prices.                                                                                                       offer NHTSA a framework for
                                                                                                      extremely or very important, and view
                                                NHTSA sought comment on the                                                                                implementing differing payback
                                                                                                      fuel economy as ‘‘the number one
                                             length of time that should be used for                                                                        periods, or explain whether the
                                                                                                      attribute that has room for
                                             this ‘‘payback period’’ assumption, and                                                                       difference in payback periods was
                                                                                                      improvement.’’ 570 NHTSA notes that
                                             asked commenters to specify the length                                                                        intended to reflect manufacturers
                                                                                                      the same Consumer Report study also
                                             of time they believed it should span,
                                                                                                      polled consumers about how quickly
                                             provide an explanation of why that                                                                               571 Consumer Reports, Consumer Attitudes
                                                                                                      fuel savings would have to offset higher             Towards Fuel Economy’’ 2020 Survey Results (Feb.
                                             period is preferable to the agency’s
                                                                                                      vehicle purchase prices for them to be               2021), page 5, https://
                                             assumption, include reference to any                                                                          advocacy.consumerreports.org/wp-content/
                                             data or information on which an                          willing to pay for increased fuel
                                                                                                                                                           uploads/2021/02/National-Fuel-Economy-Survey-
                                             alternative payback period is based, and                 efficiency. Responses to this question               Report-Feb-2021-FINAL.pdf. (Accessed: March 15,
                                             discuss how changing this assumption                     showed that the average consumer is                  2022).
                                                                                                      willing to pay for only 2–3 years of fuel               572 Center for Biological Diversity, Chesapeake

                                               567 In addition to myopia, other market failures       savings, which aligns well with the                  Bay Foundation, Conservation Law Foundation,
                                                                                                      agency’s estimate of 30 months, and that             Earthjustice, Environmental Law & Policy Center,
                                             may also cause consumers to undervalue fuel
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                                                                                                                                                           Natural Resources Defense Council, Public Citizen,
                                             savings at the time of purchase but still fully value    only 39 percent of consumers are                     Inc., Sierra Club, and Union of Concerned Scientists
                                             the lifetime fuel savings they actually experience,
                                             including information asymmetries, split                                                                      (NHTSA–2021–0053–1572) (CBD et al.), Joint
                                                                                                         568 NADA, Docket No. NHTSA–2021–0053–1471,        Summary Comments, Docket No. NHTSA–2021–
                                             incentives, first-mover effects, and others.
                                             Moreover, it is appropriate in a social cost-benefit     at 8–9.                                              0053–1572, at 6.
                                                                                                         569 Auto Innovators, at 83–84.                       573 IPI, Docket No. NHTSA–2021–0053–1579–A1,
                                             analysis to fully value the resource savings that will
                                             result from the purchase of vehicles with greater           570 Environmental Defense Fund, Docket No.        at 16–17.
                                             fuel economy.                                            NHTSA–2021–0053–1617, at 5.                             574 See generally, id., at 9–14.




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                                             underestimation of buyers’ valuation of                   levels where standards remain                           that IPI’s comment lacks any
                                             fuel economy and if so, why                               unchanged.578 Finally, IPI cited the                    consideration of how much households
                                             manufacturers would do so only under                      conclusion of EPA’s Scientific Advisory                 can afford to spend on vehicle loan
                                             the No-Action Alternative. Nor did IPI                    Board that it found little ‘‘useful                     payments, instead assuming that
                                             specify how long after new standards                      consensus’’ on the subject of the                       households will assume as much debt as
                                             were adopted would be required for                        opportunity cost of other vehicle                       necessary to purchase a vehicle with
                                             consumers to begin to value additional                    attributes 579 and Greene (2018), who                   their preferred bundle of attributes.
                                             fuel economy, or why they would revert                    found extensive variation in                            NADA commented that most
                                             to their original lower valuation once                    willingness-to-pay estimates across the                 households already cannot afford to
                                             new standards took effect and became                      literature.                                             purchase new vehicles, and noted that
                                             the baseline for evaluating further                          NHTSA agrees with IPI that the                       financing does not take into
                                             increases. IPI also commented that if the                 theoretical discussion of constrained                   consideration potential fuel savings but
                                             agency opted not to use differing                         consumer choice under binding fuel                      instead relies on a borrower’s income,
                                             payback assumptions, then the agency                      economy standards has not been tested                   finance amount, and credit
                                             should use a shorter payback period (1.7                  empirically, and for this reason has not                worthiness.580
                                             years) throughout the analysis to avoid                   incorporated an estimate of the                            NHTSA acknowledges that the
                                             overestimating overcompliance in the                      opportunity cost of sacrifices in other                 opportunity cost of regulations on other
                                             baseline,575 and suggested that the                       vehicle attributes in its FRIA. NHTSA                   vehicle attributes is still an under-
                                             agency conduct expert elicitation to                      notes that the alternative explanations                 researched topic and relies heavily on
                                             derive a better estimate.576                              posited by IPI to explain the fuel                      economic theory, and for this reason, we
                                                IPI also commented that NHTSA’s                        efficiency gap also lack an empirical                   are excluding estimates of this
                                             theoretical analysis of constrained                       basis—instead, both the agency’s and                    particular theoretical opportunity cost
                                             consumer choice lacked an empirical                       IPI’s explanations are consistent with                  in its primary analysis. NADA provided
                                             test of its validity and that other                       consumers’ apparent willingness to                      some literature that it believes may
                                             explanations for the historical pattern of                forgo some fuel savings in favor of                     assist the agency in developing an
                                             increases in fuel economy and changes                     improvements to vehicles’ other                         estimate of the opportunity cost of other
                                             to vehicles’ other attributes may be more                 features. However, NHTSA notes that,                    vehicle attributes in the future, but
                                             plausible than that offered by the                        because—as acknowledged later in its                    NHTSA agrees with the EPA’s Scientific
                                             agency. IPI also argued that consumers’                   comment—IPI’s comment overlooks the                     Advisory board that there is little
                                             choices involving higher-mpg models                       theoretical possibility that automakers                 consensus on this issue. For illustrative
                                             cannot be constrained by their budgets                    could at some point run out of                          purposes, NHTSA has included a
                                             because fuel savings compensate                           technologies that could improve                         sensitivity analysis estimating the
                                             consumers for paying the higher upfront                   performance such that the use of a                      theoretical opportunity cost of other
                                             costs (thus enabling buyers to finance                    technology to improve fuel economy                      vehicle attributes in the FRIA, although
                                             those additional costs). IPI argued                       rather than performance would                           as discussed elsewhere, NHTSA is not
                                             further that failures in the market for                   necessarily mean a lack of availability of              confident that the assumptions used to
                                             auto financing that make consumers                        performance enhancements. Even if all                   generate this estimate are sound.
                                             unable to obtain favorable financing to                   available technologies were deployed to                 NHTSA notes that the sensitivity
                                             purchase more fuel-efficient vehicles                     improve fuel economy rather than                        analysis of opportunity costs is a rough,
                                             may constrain consumers’ choices more                     performance, and those technologies                     speculative proxy with multiple
                                             than any budgetary limits. IPI continued                  fully paid for themselves with                          limitations that does not reflect many
                                             that NHTSA’s prior estimates of the                       discounted future fuel savings, then                    other effects that may largely offset such
                                             opportunity cost of other vehicle                         manufacturers would have no remaining                   opportunity costs. The sensitivity
                                             attributes lacked an empirical basis and                  technologies available to meet buyers’                  estimate should be considered as an
                                             ignored potential countervailing effects                  demands for improved performance.                       overestimate of the potential effects, and
                                             such as reduced compliance costs.                         However, no such absolute                               is not sufficiently robust to include in
                                                In contrast, NADA commented that a                     technological constraint has been                       the main analysis. Opportunity cost
                                             consumer’s willingness to purchase                        observed. Furthermore, the agency notes                 from other vehicle attributes, to the
                                             fuel-economy technology must be                                                                                   extent it exists, may be small. NHTSA
                                             viewed in the context of losses in other                     578 Klier, Thomas, and Joshua Linn. 2016. ‘‘The      notes that consideration of such
                                             vehicle attributes like power or safety,                  Effect of Vehicle Fuel Economy Standards on             sensitivity analysis does not change
                                             and argued that consumers are not                         Technology Adoption.’’ Journal of Public                NHTSA’s conclusion that Alternative
                                                                                                       Economics 133, pp. 41–63).                              2.5 is the maximum feasible and most
                                             myopic. In support of its position,                          579 EPA Sci. Advisory Bd., Consideration of the
                                             NADA cited Leard et al.’s (2021) finding                  Scientific and Technical Basis for the EPA’s
                                                                                                                                                               appropriate standard under its statutory
                                             that consumers undervalue fuel                            Proposed Rule Titled The Safer Affordable Fuel-         factors.
                                             economy but place high values on                          Efficient (SAFE) Vehicles Rule for Model Years             NADA also comments that the
                                             performance and other attributes,577 as
                                                                                                       2021–2026 Passenger Cars and Light Trucks, at 2         agency’s assumption that potential
                                                                                                       (Feb. 27, 2020), available at https://sab.epa.gov/      buyers consider their expected future
                                             well as Klier and Linn’s (2016) finding                   ords/sab/f?p=100:18:6529621058907:::RP,18:P18_
                                             that tighter vehicle standards reduce                     ID:2550 (‘‘We concur with the agencies that it is not   fuel savings over some assumed
                                             horsepower and torque relative to their                   yet feasible to quantify the impact on new vehicle      ‘‘payback period’’ when deciding
                                                                                                       sales of additional vehicle characteristics (beyond     whether to purchase models offering
                                                                                                       fuel economy) that are desired by consumers but         higher fuel economy oversimplified
                                               575 Id.
                                                                                                       restrained by federal standards.’’). David Greene et
                                                                                                                                                               buyer’s choices, even if other attributes
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                                               576 Id. at 15.
                                                                                                       al., Consumer Willingness to Pay for Vehicle
                                                577 Leard, B., J. Linn, and Y. Zhou. 2021. ‘‘How       Attributes: What Do We Know?, 118 TRANSP. RES.
                                             Much Do Consumers Value Fuel Economy and                  PART A: POL’Y & PRAC. 258, 264, 273 (2018); see           580 NADA, at 6–7. We note that EPA disagrees and

                                             Performance? Evidence from Technology                     also id. at 274 (finding that, even after trimming      has found that some lenders give discounts for
                                             Adoption.’’ The Review of Economics and                   outliers, ‘‘one standard deviation exceeds the mean     loans to purchase more fuel-efficient vehicles. See
                                             Statistics: 1–45 (forthcoming). Adoption, The             of the [willingness to pay] estimates for most of the   EPA, Revised 2023 and Later Model Year Light-
                                             Review of Economics and Statistics 2021 (Leard, et        attributes’’ and that ‘‘the interquartile range also    Duty Vehicle GHG Emissions Standards: Regulatory
                                             al.).                                                     exceeds the median’’).                                  Impact Analysis at 8–27 and n.87 (2021).



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                                             of models they are comparing are                        would revert to their original shorter                   However, a fleet forecast is unlikely to
                                             closely comparable.581 Specifically,                    terms once those standards took effect,               be representative of a broad set of
                                             NADA argues that both the importance                    or why repeat buyers’ values would                    regulatory alternatives with significant
                                             vehicle shoppers attach to higher fuel                  once again adopt a longer-term                        variation in the cost of new vehicles.
                                             economy and the time horizon over                       perspective when valuing future fuel                  Several commenters on previous
                                             which they evaluate savings in fuel                     savings when standards were once again                regulatory actions and peer reviewers of
                                             costs from buying higher-MPG models                     raised.                                               the CAFE Model encouraged
                                             vary in response to the direction and                      While we will continue to explore                  consideration of the potential impact of
                                             speed of recent movements in fuel                       whether payback periods should differ                 fuel efficiency standards on new vehicle
                                             prices, and that potential buyers appear                between the baseline and regulatory                   prices and sales, the changes to
                                             to make the calculations the agency                     alternatives that would establish higher              compliance strategies that those shifts
                                             assumes only when fuel prices are                       standards, the agency still lacks a clear             could necessitate, and the downstream
                                             increasing rapidly. When fuel prices are                basis for identifying whether, how                    impact on vehicle retirement rates. In
                                             more stable, NADA argues that                           much, or how quickly future changes in                particular, the continued growth of the
                                             consumers appear to focus on vehicles’                  CAFE standards could alter consumer                   utility vehicle segment causes changes
                                             other attributes, and at current fuel                   perceptions of fuel economy and its                   within some manufacturers’ fleets as
                                             prices NADA asserts that buyers are                     value. In addition, neither the agency                sales volumes shift from one region of
                                             unlikely to demand more fuel-efficient                  nor commenters has identified a                       the footprint curve to another, or as
                                             cars and light trucks, particularly as                  satisfactory explanation for why once                 mass is added to increase the ride height
                                             their preferences continue to evolve                    having adapted to the presence of higher              of a vehicle on a sedan platform to
                                             toward SUV and CUV models.                              fuel economy standards by lengthening                 create a crossover utility vehicle, which
                                                On these points, NADA does not offer                 the time horizon over which they value                exists on the same place of the footprint
                                             specific recommendations about how                      fuel savings, consumers would revert to               curve as the sedan upon which it might
                                             the agency could represent its                          their former lower values once those                  be based.
                                             interpretation of buyers’ choice process,               new standards became the reference                       The analysis now dynamically
                                             and the agency’s interpretation is that                 point for evaluating further increases in             simulates changes in the vehicle fleet’s
                                             doing so would require it to vary the                   required fuel economy. The agency will                size, composition, and usage as
                                             assumed duration of buyers’ payback                     also re-examine whether a 30-month                    manufacturers and consumers respond
                                             period in response to both the direction                payback period is appropriate to use in               to regulatory alternatives, fuel prices,
                                             and pace of recent changes in fuel                      analyzing future increases in standards,              and macroeconomic conditions. The
                                             prices, lengthening it when fuel prices                 and will consider whether an expert                   analysis of fleet composition comprises
                                             are rising rapidly and shortening it                    elicitation is appropriate.                           two forces, how new vehicle sales—the
                                             when prices are stable or declining.                                                                          flow of new vehicles into the registered
                                                                                                     2. Fleet Composition
                                             While the agency does not believe that                                                                        population—change in response to
                                             this approach is reasonable or practical,                  The composition of the on-road                     regulatory alternatives, and the
                                             it has included sensitivity cases in the                fleet—and how it changes in response to               influence of economic and regulatory
                                             accompanying FRIA that consider both                    CAFE standards—determines many of                     factors on vehicle retirement (otherwise
                                             shorter and longer payback periods than                 the costs and benefits of the final                   known as scrappage).
                                             the 2.5 years assumed in the central                    standards. For example, how much fuel                    While commenters raised specific
                                             analysis, and believes their results                    the light-duty fleet consumes is                      objections to several of the assumptions
                                             should shed useful light on the potential               dependent on the number of new                        within the sales and scrappage
                                             effects of NADA’s recommended                           vehicles sold, how many older (and less               modules—which are described below—
                                             approach.                                               efficient) vehicles are retired, and how              commenters generally were supportive
                                                For several reasons, we decided to                   much vehicles are driven.                             of the agency’s approach to modeling
                                             retain our 30-month payback                                Until recently, all previous CAFE                  fleet turnover. We did receive one
                                             assumption for evaluating the                           rulemaking analyses used static fleet                 comment from IPI suggesting that we
                                             alternatives we considered for the final                forecasts that were based on a                        should consider returning to a static
                                             rule. First, there was no consensus                     combination of manufacturer                           fleet model if we were unable to correct
                                             among commenters about a more                           compliance data, public data sources,                 what they perceived as modeling flaws.
                                             appropriate payback period;                             and proprietary forecasts (or product                 We disagree with IPI’s assessment,
                                             approximately equal numbers of                          plans submitted by manufacturers).                    because it is widely acknowledged that
                                             commenters urged the agency to                          When simulating compliance with                       CAFE standards and other regulations
                                             lengthen, maintain, and shorten the                     regulatory alternatives, those analyses               on new vehicles can influence
                                             duration of its assumed payback period.                 projected identical sales and retirements             consumers’ decisions about both
                                             Second, none of the commenters who                      across the alternatives, for each                     purchasing new vehicles and retiring
                                             urged the agency to change the duration                 manufacturer down to the make/model                   used ones, so to assume that the
                                             of its assumed payback period provided                  level—where the exact same number of                  composition of the vehicle fleet is
                                             any additional evidence to support                      each model variant was assumed to be                  unaffected by regulations would ignore
                                             doing so, and thus NHTSA continues to                   sold in a given model year under both                 these well documented impacts. The
                                             believe that the information on which                   the least stringent alternative (typically            agency feels that it is important to
                                             the payback decision is based is                        the baseline) and the most stringent                  provide policymakers with the most
                                             reasonable and appropriate. Finally,                    alternative considered (intended to                   comprehensive and complete analysis of
                                             none provided plausible explanations                    represent ‘‘maximum technology’’                      the regulations, which includes
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                                             for why adopting fuel economy                           scenarios in some cases). To the extent               understanding how CAFE standards
                                             standards should change vehicle buyers’                 that an alternative matched the                       will affect fleet turnover.
                                             time perspectives on future fuel savings,               assumptions made in the production of                    Below are brief descriptions that of
                                             why their longer-term perspectives                      the proprietary forecast, using a static              how the agency models sales and
                                                                                                     fleet based upon those assumptions may                scrappage. For a full explanation, refer
                                               581 NADA, at 9.                                       have been warranted.                                  to TSD Chapter 4.2.


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                                             (a) Sales                                               long-run estimate is more appropriate                   vehicle produces a four percent
                                                For the purposes of regulatory                       because consumers replace vehicles in                   decrease in total sales—for the final
                                             evaluation, the relevant sales metric is                the long run as they age and because it                 rule. The price change to which this
                                             the difference in sales between                         more closely matches the timeline of                    elasticity is applied is calculated as the
                                             alternatives rather than the absolute                   this agency action in which fuel                        per-vehicle average of manufacturers’
                                             number of sales in any of the                           economy standards apply years into the                  estimated costs to meet higher CAFE
                                             alternatives. As such, the sales response               future. They also argued that a ‘‘more                  standards, net of the fraction of vehicles
                                             model currently contains three parts: A                 reasonable’’ price elasticity estimate                  expected lifetime fuel savings that new
                                             nominal forecast that provides the level                would likely lead to greater projected                  vehicle buyers are assumed to value (2.5
                                             of sales in the baseline (based upon                    increases in employment than already                    years or 25–30 percent of lifetime
                                             macroeconomic inputs, exclusively), a                   estimated in the proposed rule.                         savings, as discussed in Section III.E.1.
                                             price elasticity that creates sales                        Dr. Mark Jacobsen commented that                     above). NADA commented that it
                                             differences relative to that baseline in                the demand elasticity that the agency                   believed the agency’s sales model was
                                             each year, and a fleet share model that                 used in the proposal is the improper                    not appropriately applying the sales
                                             produces differences in the passenger                   measurement. Dr. Jacobsen argued that                   elasticity to the assumed price increase
                                             car and light truck market share in each                NHTSA should instead employ a                           and thus underestimated the likely
                                             alternative. The nominal forecast does                  ‘‘policy elasticity’’ since CAFE                        decline in sales.587 However, the agency
                                             not include price and is merely a                       regulations will influence not only new                 notes that NADA’s rough sales estimates
                                             (continuous) function of several                        vehicles prices but also used vehicle                   excluded any value of future fuel
                                             macroeconomic variables that are                        prices, since the two are substitutes.584               savings, and that this omission was
                                             provided to the model as inputs. The                    Because used vehicle prices are                         likely to have caused the divergence
                                             price elasticity is also specified as an                anticipated to increase, the change in                  between NADA’s and NHTSA’s
                                             input. In the proposal, the agency                      sales in response to increasing CAFE                    estimates of changes in sales.
                                             assumed a price elasticity of sales of                  standards will be less than what would                     The current baseline sales module
                                             –1.0 and sought comment on this                         be anticipated if only new vehicle prices               reflects the idea that total new vehicle
                                             assumption.                                             were affected. Dr. Jacobsen suggested                   sales are primarily driven by conditions
                                                Many commenters argued that                          the policy elasticity ranges from –0.5 in               in the economy that are exogenous to
                                             NHTSA’s unit elastic response                           the short-run to –0.28 in the long-run.                 the automobile industry. Over time, new
                                             assumption of –1.0 is inaccurate. The                      In contrast, NADA expressed support                  vehicle sales have followed
                                             California Attorney General et al., IPI,                for a sales elasticity of –1.0.585                      macroeconomic cycles closely, rising
                                             ICCT, UCS, CBD et al., CARB and Dr.                        While evaluating the concerns raised                 when prevailing economic conditions
                                             Kenneth Gillingham, all commented                       by commenters, NHTSA identified an                      are positive (periods of growth) and
                                             that –1.0 is too large and unsupported                  error in the CARs report that the agency                falling during periods of economic
                                             by the evidence.582 CBD et al. and the                  relied upon as a key source for selecting               contraction. While the kinds of changes
                                             California Attorney General noted that                  –1.0. The CARs report erroneously                       to vehicle offerings that occur because
                                             recent literature suggests a much lower                 reported the own-price elasticity of cars               of manufacturers’ compliance actions
                                             figure, with California’s Attorney                      (–0.79) and trucks (–0.85) instead of the               exert some influence on the total
                                             General suggesting using the estimate                   long-run elasticity of all light-duty                   volume of new vehicle sales, their
                                             from Leard (2021) of –0.34 and the CBD                  vehicles (–0.39) for Fischer (2007).                    effects on new vehicle sales are
                                             et al. suggesting between –0.2 or –0.4 (or              When considering the actual long-run                    secondary to those of overall economic
                                             lower). IPI suggested reducing the figure               elasticity in Fischer (2007), the totality              conditions. Instead, they drive the kinds
                                             to at least –0.4, the figure used by EPA                of the evidence presented in the CARs                   of marginal differences between
                                             in a recent sensitivity analysis. ICCT                  report no longer supports an elasticity of              regulatory alternatives that the current
                                             suggested that NHTSA use –0.5, and                      –1.0. In addition, after the publication of             sales module is designed to simulate—
                                             further recommended that NHTSA                          NHTSA’s proposed rule, EPA issued a                     making vehicles more expensive
                                             consider using different elasticity                     new report exploring the effects of                     generally reduces total sales, although
                                             estimates for different vehicle classes.                changes in vehicle prices that arise from               only modestly.
                                                IPI and CBD et al. supported their                                                                              The first component of the sales
                                                                                                     due to fuel efficiency regulations on
                                             suggested estimates by arguing that                                                                             response model is a nominal forecast,
                                                                                                     vehicle sales. Since that report was
                                             NHTSA should utilize a long-run                                                                                 which is a statistical model (using a
                                                                                                     authored by Dr. Jacobsen, it
                                             elasticity estimate, not a short-run                                                                            small set of inputs) that projects the size
                                                                                                     unsurprisingly echoed his comments
                                             elasticity estimate.583 IPI explained that                                                                      of the new vehicle market in each
                                                                                                     summarized above, and recommended
                                             long-run price elasticity of demand for                                                                         calendar year in the analysis period
                                                                                                     that the agency reduce the magnitude of
                                             vehicles tends to be much lower than                                                                            under the baseline (No-Action
                                                                                                     the sales price elasticity it uses in its               Alternative). Past reviewers expressed
                                             short run elasticity, because, due to the               analysis to the range suggested above.586
                                             limited substitution options for personal                                                                       concerns about the possibility of
                                                                                                        For these reasons, NHTSA has elected                 econometrically estimating an industry
                                             vehicles, consumers will delay                          to use a price elasticity of sales equal to             average price elasticity in a way that
                                             purchases when prices increase but are                  –0.4—meaning that a ten percent                         isolates the causal effect of new vehicle
                                             likely to still purchase a vehicle down                 increase in the average price of a new                  prices on new vehicle sales (and
                                             the road. CBD et al. noted that that a
                                                                                                        584 Dr. Mark Jacobsen, Docket No. NHTSA–2021–
                                                                                                                                                             properly addresses the issue of
                                               582 California Attorney General et al., Docket No.    0053–1586, at 2.                                        endogeneity between sales and price).
                                                                                                                                                             However, the agency’s current nominal
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                                             NHTSA–2021–0053–1499, Appendix A, at 32; IPI,              585 NADA, at 11.

                                             A1, at 26–28; ICCT, Docket No. NHTSA–2021–                 586 Chapter 4.3.2 of the FRIA accompanying this      forecast model does not include prices
                                             0053–1581, at 3, 14, 19; UCS Docket No. NHTSA–          final rule includes a detailed discussion of the        and is not intended for statistical
                                             2021–0053–1567, at 29; CBD et al., Joint Summary        interactions between new and used vehicle markets
                                             Comments, at 3–4, 6; CARB, Docket No. NHTSA–
                                                                                                                                                             inference around the question of price
                                                                                                     identified in Dr. Jacobsen’s report to EPA and their
                                             2021–0053–1542, Attachment 2, at 3.                     implications for the sensitivity of new vehicle sales   response in the new vehicle market;
                                               583 IPI, at 26; CBD et al., Joint Summary             and retirement of used vehicles to higher sales
                                             Comments, at 6.                                         prices.                                                  587 NADA, at 12.




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                                             instead, it is intended to simulate the                 conventional passenger car body-styles                styles of vehicles are determined in the
                                             general trajectory of the market for light              continue to lose market share. For                    aggregate (at the industry level), but that
                                             duty vehicles. As discussed in more                     instance, in the 2012 final rule, the                 manufacturers’ sales shares of those
                                             detail in Section III below, the current                agencies projected fleet shares based on              body styles are consistent with MY 2020
                                             economic climate and the economy’s                      the continuation of the baseline                      sales. Within a given body style, a
                                             performance during the continuing                       standards (MYs 2012–2016) and a fuel                  manufacturer’s sales shares of
                                             pandemic has created unusually                          price forecast that was much higher                   individual models are also assumed to
                                             extreme uncertainty about this year-to-                 than the realized prices since that time.             be constant over time. This approach
                                             year forecast. Particularly in the near-                As a result, that analysis assumed                    implicitly assumes that manufacturers
                                             term, there is significant uncertainty                  passenger car body-styles would                       are currently pricing individual vehicle
                                             about the pace at which the market for                  comprise about 70 percent of the new                  models within market segments in a
                                             automobiles will recover—and the scale                  vehicle market by 2025, which was                     way that maximizes their profit.
                                             and timing of the recovery’s peak—                      internally consistent. The reality,                   Without more information about each
                                             before the market returns to its long-                  however, has been quite different: In                 OEM’s true cost of production and
                                             term trend.                                             MY 2020, light truck models accounted                 operation, fixed and variables costs, and
                                                The second component of the sales                    for 57 percent of new light-duty vehicle              both desired and achievable profit
                                             response model captures how price                       sales.589 The CAFE Model includes the                 margins on individual vehicle models,
                                             changes affect the number of vehicles                   DFS model in an attempt to address                    there is no basis to assume that strategic
                                             sold, by applying an assumed price                      these market realities. The DFS                       shifts within a manufacturer’s portfolio
                                             elasticity to the percentage change in                  distributes the total industry sales                  will occur in response to standards.
                                             average price (in each future year) to                  across two different body-types: ‘‘cars’’                The DFS model shows passenger car
                                             determine the percent change in sales                   and ‘‘light trucks.’’ While there are                 styles gaining share with higher fuel
                                             from its projected baseline value. This                 specific definitions of ‘‘passenger cars’’            prices and losing them when prices are
                                             price change does not represent an                      and ‘‘light trucks’’ that determine a                 decline. Similarly, as fuel economy
                                             increase/decrease over the last observed                vehicle’s regulatory class, the                       increases in light truck models, which
                                             year, but rather the percentage                         distinction used in this phase of the                 offer consumers other desirable
                                             difference under each regulatory                        analysis is more simplistic. All body-                attributes beyond fuel economy (ride
                                             alternative relative to the estimated                   styles that are obviously cars—sedans,                height or interior volume, for example)
                                             baseline price during that year. In the                 coupes, convertibles, hatchbacks, and                 their relative share increases. However,
                                             baseline, the average price is defined as               station wagons—are defined as ‘‘cars’’                this approach does not suggest that
                                             the observed new vehicle price in 2019                  for the purpose of determining fleet                  consumers dislike fuel economy in
                                             (the last historical year before the                    share. Everything else—SUVs, smaller                  passenger cars, but merely recognizes
                                             simulation begins) plus the average                     SUVs (crossovers), vans, and pickup                   the fact that fuel economy has
                                             regulatory cost associated with the No-                 trucks—are defined as ‘‘light trucks’’—               diminishing returns in terms of fuel
                                             Action Alternative.588 The central                      even though they may not be treated as                savings. As the fuel economy of light
                                             analysis in this final rule simulates                   such for compliance purposes. The DFS                 trucks increases, the tradeoff between
                                             multiple programs simultaneously                        uses two functions from the National                  passenger car and light truck purchases
                                             (CAFE final standards, EPA final                        Energy Modeling System (NEMS) used                    increasingly involves a consideration of
                                             greenhouse gas standards, ZEV, and the                  in the 2017 AEO to independently                      other attributes. The coefficients also
                                             California Framework Agreements), and                   estimate the share of passenger cars and              show a relatively stronger preference for
                                             the regulatory cost includes both                       light trucks, respectively, given average             power improvements in cars than light
                                             technology costs and civil penalties                    new market attributes (fuel economy,                  trucks because that is an attribute where
                                             paid for non-compliance (with CAFE                      horsepower, and curb weight) for each                 trucks have typically outperformed cars,
                                             standards) in a model year. Because the                 group and current fuel prices, as well as             just as cars have outperformed trucks for
                                             elasticity assumes no perceived change                  the prior year’s market share and prior               fuel economy.
                                             in the quality of the product, and the                                                                           NHTSA received a several comments
                                                                                                     year’s attributes. The two independently
                                             vehicles produced under different                                                                             about the dynamic fleet share model.
                                                                                                     estimated shares are then normalized to
                                             regulatory scenarios have inherently                                                                          ICCT commented that the coefficient for
                                                                                                     ensure that they sum to one. These
                                             different operating costs, the price                                                                          horsepower for passenger cars was
                                                                                                     shares are applied to the total industry
                                             metric must account for this difference.                                                                      negative, implying that passenger cars
                                                                                                     sales derived in the first stage of the
                                             The price to which the elasticity is                                                                          with lower fuel economy and less power
                                                                                                     sales response. This produces total
                                             applied in this analysis represents the                                                                       are more attractive to consumers.590
                                                                                                     industry volumes of car and light truck
                                             residual price change between scenarios                 body styles. Individual model sales are               Both ICCT and IPI also noted the
                                             after accounting for 2.5 years’ worth of                then determined from there based on                   counterintuitive sign for fuel economy,
                                             fuel savings to the new vehicle buyer.                  the following sequence: (1) Individual                and suggested that the model was
                                                The third and final component of the                 manufacturer shares of each body style                inadequate because it estimates the
                                             sales model is the dynamic fleet share                  (either car or light truck) times the total           share of cars and trucks independently
                                             module (DFS). Some commenters to                        industry sales of that body style, then               and fails to consider other vehicle
                                             previous rules noted that the market                    (2) each vehicle within a manufacturer’s              attributes such as sales prices.591
                                             share of SUVs continues to grow, while                  volume of that body-style is given the                Neither IPI nor ICCT suggested revisions
                                                                                                     same percentage of sales as appear in                 to the current DFS model structure that
                                               588 The CAFE Model currently operates as if all
                                                                                                     the 2020 fleet. This implicitly assumes               would address these concerns.
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                                             costs incurred by the manufacturer as a
                                                                                                     that consumer preferences for particular              Alternative approaches such as the
                                             consequence of meeting regulatory requirements,                                                               simplified discrete choice model of
                                             whether those are the cost of additional technology
                                             applied to vehicles in order to improve fleetwide          589 Calculated from summary data tables
                                                                                                                                                           market share suggested by ICCT or
                                             fuel economy or civil penalties paid when fleets fail   accompanying EPA Automotive Trends Report,
                                                                                                                                                             590 ICCT, Appendix: Additional Comments, at 14.
                                             to achieve their standard, are ‘‘passed through’’ to    2021 edition, https://www.epa.gov/automotive-
                                             buyers of new vehicles in the form of price             trends/explore-automotive-trends-                       591 ICCT, Appendix: Additional Comments, at 14,

                                             increases.                                              data#SummaryData. (Accessed: March 15, 2022).         20; IPI, at 29.



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                                             assuming that fleet shares remain                          Over the course of past rulemakings,                because it is difficult to incorporate
                                             constant could be readily implemented,                   many commenters have encouraged the                   factors such as the introduction of new
                                             although both have potentially                           agency to consider vehicle attributes                 model offerings—particularly those
                                             important drawbacks.                                     beyond price and fuel economy when                    utilizing advances in technology or
                                                The agency agrees with ICCT that a                    estimating a sales response to fuel                   vehicle design—or shifts in
                                             discrete choice model calibrated to                      economy standards. Some have                          manufacturers’ pricing strategies into
                                             aggregate market share data may avoid                    suggested that a more detailed                        their representations of choices and
                                             some of the challenges of discrete                       representation of the new vehicle                     forecasts of future sales or market
                                             choice modeling using data on                            market would enable the agency to                     shares. For these reasons, most vehicle
                                             individual buyers’ choices but notes                     incorporate the effect of additional                  choice models have been better suited
                                             that other impediments to using it                       vehicle attributes on buyers’ choices                 for analysis of the determinants of
                                             would undoubtedly still arise—for                        among competing models, reflect                       historical variation in sales patterns
                                             example, accounting for future changes                   consumers’ differing preferences for                  than to forecasting future sales volumes
                                             in the classification of some individual                 specific vehicle attributes, and provide              and market shares of particular
                                             vehicle models, or for shifts in buyers’                 the capability to simulate responses                  categories.
                                             preferences toward car or truck-based                    such as strategic pricing strategies by                 Although these challenges have so far
                                             designs. The agency also believes that                   manufacturers intended to alter the mix               precluded the agency from employing a
                                             assuming fixed fleet shares is clearly an                of models they sell and enable them to                discrete choice model in its regulatory
                                             unsatisfactory approach in light of both                 comply with new CAFE standards. For                   analyses, we believe they are not
                                             gradual longer-term changes in buyers’                   these purposes, nearly all of those                   insurmountable and recognize the
                                             apparent preferences and the very rapid                  commenters have suggested that the                    considerable advantages such a model
                                             recent shifts in market shares for cars                  agency develop a disaggregate model of                could offer.595 Thus, the agency intends
                                             and light trucks.                                        buyers’ vehicle choices.594                           to continue its attempts to develop some
                                                NHTSA agrees that a dynamic fleet                       A correctly specified choice model                  suitable variant of such a model for use
                                             share model that includes the attributes                 with parameters estimated from                        in future fuel economy rulemakings.
                                             identified by commenters, such as IPI,                   characteristics of individual shoppers
                                             would be preferable. In fact, the agency                 (or households) and their choices among               (b) Scrappage
                                             developed a number of simplified                         vehicle models—including decisions by                    New and used vehicles are
                                             market share models for potential use in                 some not to purchase new vehicles—                    substitutes. When the price of a good’s
                                             this analysis, each of which estimated                   offers the potential to produce                       substitute increases (decreases), the
                                             the shares of cars and light trucks jointly              consistent forecasts of total sales of new            demand curve for that good shifts
                                             using different combinations of                          vehicles and the shares represented by                upwards (downwards) and the
                                             attributes buyers are likely to consider                 cars and light trucks (as well as specific            equilibrium price and quantity supplied
                                             when choosing among competing                            body styles and potentially even                      also increases (decreases). Thus,
                                             models. We also attempted to                             individual models). Developing such a                 increasing the quality-adjusted price of
                                             incorporate vehicle prices and develop                   model would also provide estimates of                 new vehicles will result in an increase
                                             specifications that would produce                        the value buyers attach to improved fuel              in equilibrium price and quantity of
                                             logically consistent coefficients for each               economy and other vehicle attributes                  used vehicles. Since, by definition, used
                                             variable they included. The agency was                   that were consistent with and reflected               vehicles are not being ‘‘produced’’ but
                                             unable to produce a model that met all                   in its forecasts of total sales and market            rather ‘‘supplied’’ from the existing
                                             three criteria—including vehicle prices                  shares for individual vehicle types. For              fleet, the increase in quantity must come
                                             proved particularly troublesome—and                      these reasons, the agency has invested                via a reduction in their scrappage rates.
                                             these alternative models each suffered                   considerable resources in developing                  Practically, when new vehicles become
                                             from their own limitations.592 For two                   such a discrete choice model of the new               more expensive, demand for used
                                             main reasons, the agency ultimately                      automobile market, although those                     vehicles increases (and they become
                                             decided to retain the DFS used in the                    investments have not yet produced a                   more expensive). Because used vehicles
                                             proposal instead of employing one of                     satisfactory and operational model.                   are more valuable in such
                                             the newer models it developed: First,                      The agency’s experience partly                      circumstances, they are scrapped at a
                                             the alternative models did not clearly                   reflects the fact that discrete choice                lower rate, and just as rising new
                                             meet the criteria we established to be                   models are highly sensitive to their data             vehicle prices push marginal
                                             considered a better model. Second, the                   inputs and estimation procedures, and                 prospective buyers into the used vehicle
                                             agency feels that the DFS used in the                    even versions that fit well when                      market, rising used vehicle prices force
                                             proposal produced logically consistent                   calibrated to data from a single period—              marginal prospective buyers of used
                                             results among the alternatives it                        usually a cross-section of vehicles and               vehicles to acquire older vehicles or
                                             considered in this analysis. As noted                    shoppers or actual buyers—often                       vehicles with fewer desired attributes.
                                             elsewhere in this rule, isolating the                    produce unreliable forecasts for future               The effect of fuel economy standards on
                                             impact of alternatives is more an art of                 periods, which the agency’s regulatory                scrappage is partially dependent on how
                                             internal precision within the model                      analyses invariably require. This occurs              consumers value future fuel savings and
                                             than an exercise in ‘‘external validity’’                because they are often unresponsive to                our assumption that consumers value
                                             or accuracy. The agency will continue to                 relevant shifts in economic conditions                only the first 30 months of fuel savings.
                                             explore alternative DFS models for                       or consumer preferences, and also                        Many competing factors influence the
                                             future rulemakings.593                                                                                         decision to scrap a vehicle, including
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                                                                                                      overestimated emissions of the regulatory             the cost to maintain and operate it, the
                                               592 See ‘‘Exploration of alternate fleet share         alternatives included in this analysis.
                                             module’’ in Docket No. NHTSA–2021–0053.                     594 Comments to this effect on the proposed rule
                                                                                                                                                            household’s demand for VMT, the cost
                                               593 As with all aspects of this analysis,              were infrequent, and the only example generally       of alternative means of transportation,
                                             uncertainty abounds. If NHTSA’s current approach         cited much more detailed applications or
                                             to modeling fleet share inaccurately overestimates       advantages of discrete choice models; see Auto          595 For an additional overview of the challenges

                                             the future fleet’s proportion of light trucks, then      Innovators, Docket No. NHTSA–2021–0053–1492,          of employing a discrete choice model, see TSD
                                             NHTSA may have underestimated fuel savings and           at 56.                                                Section 4.2.1.



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                                             and the value that can be attained                      influenced by cyclical market trends,                    discussed previously) is also included
                                             through reselling or scrapping the                      which the model captures using                           in the model, which produces differing
                                             vehicle for parts. A car owner will                     forecasts of GDP and fuel prices.                        scrappage rates across regulatory
                                             decide to scrap a vehicle when the value                   Vehicle scrappage follows a roughly                   alternatives since each one includes
                                             of the vehicle is less than the value of                ‘‘S-shaped’’ pattern with increasing                     different estimates of technology costs
                                             the vehicle as scrap metal, plus the cost               age—that is, when a model year (or                       and fuel savings. Finally, the model also
                                             to maintain or repair the vehicle. In                   ‘‘vintage’’) is relatively new few vehicles              includes year-to-year differences in U.S.
                                             other words, the owner gets more value                  of its age are scrapped; progressively                   GDP (to capture the effects of
                                             from scrapping the vehicle than                         more are retired as they age and                         macroeconomic cycles on owners’
                                             continuing to drive it, or from selling it.             accumulate use, but after some age                       decisions to keep older vehicles in use),
                                             Typically, the owner that scraps the                    retirements again slow. Although fewer                   fuel prices, and fuel costs for used
                                             vehicle is not the first owner.                         and fewer of the vehicles originally                     vehicles of each age, as well as the share
                                                While scrappage decisions are made                   produced during a model year remain                      of vehicles originally produced during
                                             at the household level, the agency is                   on the road as they age, the annual rate                 each model year remaining in use.
                                             unaware of sufficient household data to                 at which they are retired typically                         In addition to the variables included
                                             capture scrappage at that level. Instead,               reaches a peak sometime around age 20                    in the scrappage model, the agency
                                             the agency uses aggregate data measures                 and declines gradually after that.597 The                considered several other variables that
                                             that capture broader market trends.                     agency’s model employs a logistic                        may influence scrappage in the real
                                             Additionally, the aggregate results are                 function to capture this relationship of                 world including, maintenance and
                                             consistent with the rest of the CAFE                    vehicle scrappage rates to age.                          repair costs, the value of scrapped
                                             Model as the model does not attempt to                     Historical registration data show that                metal, vehicle characteristics, the
                                             model how manufacturers will price                      vehicles produced during more recent                     quantity of new vehicles purchased,
                                             new vehicles; the model instead                         model years generally last longer than                   higher interest rates, and
                                             assumes that all regulatory costs to                    those from earlier vintages, indicating                  unemployment. These variables were
                                             make a particular vehicle compliant are                 that the durability of successive model                  excluded from the model either because
                                             passed onto the purchaser who buys the                  years has improved over time, although                   of a lack of underlying data or modeling
                                             vehicle. It is more likely that                         there are occasional exceptions to this                  constraints. Their exclusion from the
                                             manufacturers will defray a portion of                  broader pattern. Annual scrappage rates                  model is not intended to reflect their
                                             the increased regulatory cost across its                for vehicles produced during more                        unimportance, but rather highlights the
                                             vehicles or to other manufacturers’                     recent model years are also observed to                  practical constraints of modeling
                                             buyers through the sale of credits.                     be lower than those of earlier vintages                  intricate decisions like scrappage.
                                                The most predictive element of                       up to a certain age, but are necessarily                    The agency received some comments
                                             vehicle scrappage is ‘‘engineering                      higher after that age to account for the                 on modeling approaches that could
                                             scrappage.’’ This source of scrappage is                fact that the share of original vehicles                 explicitly represent interactions
                                             largely determined by the age of a                      remaining in use ultimately converges                    between the new and used vehicle
                                             vehicle and the durability of a specific                toward the minimal share (zero, in the                   markets, such as the influence of prices
                                             model year vintage. The agency uses                     extreme) observed for earlier                            for new models on demand for used
                                             proprietary vehicle registration data                   vintages.598                                             vehicles (and the reverse), and the
                                             from IHS/Polk to compute vehicle age                       The agency includes indicator                         relationship between scrappage rates
                                             and durability for each model year or                   variables for each model year in its                     and consumers’ decisions about
                                             vintage. Other factors affecting                        scrappage model to capture these                         replacing retired vehicles (e.g., Jacobsen
                                             scrappage include fuel economy and                      historical improvements in vehicles’                     as discussed in Section III.E.2.a) and
                                             new vehicle prices. For historical data                 durability over successive model years.                  FRIA Chapter 4.3.2). On scrappage rates
                                             on new vehicle transaction prices, the                  Additionally, to ensure that vehicles                    specifically, the American Fuel &
                                             agency uses National Automobile                         approaching the end of their assumed                     Petrochemical Manufacturers (AFPM)
                                             Dealers Association (NADA) data.596                     40-year service life are retired, the                    cautioned the agency against
                                             These data consist of the average                       agency applies a decay function to the                   overestimating scrappage rates,
                                             transaction price of all light-duty                     number remaining in use after they                       highlighting the effect of current
                                             vehicles; since the transaction prices are              reach age 30. Retirement rates for                       macroeconomic conditions on new and
                                             not broken-down by body style, the                      individual model years are modeled                       used car prices and thus on owners’
                                             model may miss unique trends within a                   primarily as a polynomial function of                    decision to retire used vehicles.599
                                             particular vehicle body style. The                      age to capture the non-linear shape                      While we agree with the assertion of
                                             transaction prices are the amount                       described above. The effective change in                 AFPM that scrappage rates are
                                             consumers paid for new vehicles and                     new vehicle prices projected in the                      important in accurately representing
                                             exclude any trade-in value credited                     model (defined as technology costs                       fleet turnover and the resulting
                                             towards the purchase. This may be                       minus 30 months of fuel savings, as                      composition of the light duty vehicle
                                             particularly relevant for pickup trucks,                                                                         fleet, the agency found it difficult to
                                             which have experienced considerable                       597 The retirement rate is usually measured by the     quantitatively isolate the effect of
                                             changes in average price as luxury and                  number of vehicles originally produced during a          economic conditions on short-term
                                                                                                     model year that are retired during a subsequent          scrappage decisions from longer term
                                             high-end options entered the market                     (calendar) year, expressed as a fraction of the
                                             over the past decade. Future models                     number that remained in use at its outset.
                                                                                                                                                              trends in vehicle durability and other
                                             will further consider incorporating price                 598 Examples of why durability may have changed        factors affecting retirement rates when
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                                             series that represent the price trends for              are new automakers entering the market or general        developing its scrappage model. For this
                                             cars, SUVs and vans, and pickups                        changes to manufacturing practices like switching        reason, NHTSA has elected to maintain
                                                                                                     some models from a car chassis to a truck chassis.       the existing treatment of scrappage for
                                             separately. Vehicle scrappage is also                   The agency caps model years’ lifetimes at 40 years
                                                                                                     in its accounting; by that age a slightly larger share   this rule, but will continue to monitor
                                               596 The data can be obtained from NADA. For           of each successive model year tends to remain in
                                             reference, the data for MY 2020 may be found at         use, although this share so far remains below 2             599 AFPM, Docket No. NHTSA–2021–0053–1530,

                                             https://www.nada.org/nadadata/.                         percent of those originally produced.                    at 18.



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                                             research related to both short- and long-                  Thus, accounting properly for the                  efficiency to estimate total consumption
                                             term scrappage patterns in the vehicle                  effects of vehicle use on the costs and               of each fuel. Finally, the model applies
                                             fleet.                                                  benefits from establishing higher CAFE                per-mile and per-gallon emission rates
                                                                                                     standards requires estimates of VMT in                to estimate total emissions accounted
                                             Changes in Vehicle Miles Traveled
                                                                                                     each future calendar year accounted for               for vehicles of each type and age during
                                             (VMT)
                                                                                                     by vehicles of different types and                    future calendar years. For more
                                                The anticipated level of future vehicle              original model years (which determines                aggregate reporting of costs and benefits,
                                             use, usually measured by the number of                  their current age during that year). The              the agency sums these estimates to
                                             vehicle-miles driven annually (VMT),                    agency estimates VMT by vehicles of                   obtain total vehicle use, fuel
                                             directly influences most of the effects of              different types and ages during future                consumption, emissions, and other
                                             raising fuel economy standards that                     calendar years as the product of the                  measures by vehicle type in each
                                             decision-makers consider in                             number of vehicles of each type and age               calendar year, as well as lifetime travel,
                                             determining what standards to establish.                in service during that year and their                 fuel use, emissions, etc. for vehicles of
                                             Most important, the amount and value                    average annual use. Because vehicles’                 each type and model year.
                                             of fuel saved by requiring new cars and                 annual use throughout their lifetimes is                 NHTSA’s perspective is that total
                                             light trucks to achieve higher fuel                     influenced by their fuel economy—                     demand for car and light truck travel
                                             economy both depend on the number of                    through its effect on the cost of driving             should not vary significantly among the
                                             miles they are driven each year over                    each mile—the VMT accounted for by                    regulatory alternatives it considers,
                                             their lifetimes, as well as of course on                vehicles of each body type and model                  since the basic travel demands of a
                                             how much raising CAFE standards                         year will vary among regulatory                       typical household are unlikely to be
                                             improves their fuel economy and on                      alternatives that require larger increases            influenced much by the differences in
                                             future fuel prices. Similarly, critical                 in fuel economy from its baseline level.              vehicle prices or driving costs likely to
                                             indirect impacts from raising fuel                         To develop estimates of average                    be associated with different CAFE
                                             economy standards such as changes in                    vehicle use by body type and model                    standards. However, the method the
                                             emissions of criteria air pollutants and                year for future calendar years, the                   CAFE Model uses to calculate total VMT
                                             greenhouse gases, potential increases in                agency used odometer readings                         described above (and in more detail in
                                             fatalities and injuries, and congestion                 collected at different dates for a very               TSD Chapter 4.3), can create modest
                                             levels also depend directly on the                      large sample of vehicles to estimate                  differences in total VMT across the
                                             consequences of higher standards for                    average annual use at each age for cars               range of regulatory alternatives, even
                                             vehicle use.                                            and light trucks of different body types              without considering the potential effect
                                                NHTSA’s CAFE Model estimates total                   (automobiles, SUVs/vans, and pickups).                of fuel economy differences among
                                             yearly VMT as the product of average                    These initial ‘‘mileage accumulation                  those alternatives no vehicle use. These
                                             annual usage per vehicle and the                        schedules’’ summarize how much                        arise from the effects of differences in
                                             number of vehicles making up each                       vehicles of each body type and age were               new vehicle sales and retirement rates
                                             future year’s fleet, which itself depends               driven during 2016, and provide a basis               for used vehicles among alternatives on
                                             on new vehicle sales during the current                 to estimate how much vehicles                         the composition of the vehicle fleet—its
                                             and previous years and owners’                          produced during future model years                    makeup by vehicle type and age or
                                             decisions about when to retire used                     will be driven at each age throughout                 original model year—during future
                                             vehicles. Since cars and light trucks of                their lifetimes. As described in detail in            years. Although small, these differences
                                             different model years (or ‘‘vintages’’)                 TSD Chapter 4.3, these initial schedules              in the representation of vehicle types
                                             and body styles will experience                         are adjusted to incorporate the effects of            and model years in the future fleet can
                                             different cost increases and varying                    both differences in fuel prices between               have significant impacts on the
                                             increases in their fuel economy when                    2016 and future calendar years, and                   incremental costs and benefits of
                                             CAFE standards are raised—particularly                  differences in the fuel economy of                    different regulatory alternatives when
                                             when standards increase over a                          vehicles of each age during 2016 and                  those are measured against the baseline.
                                             succession of model years—the costs                     those that will be of that same during                   To prevent the estimated effects of our
                                             necessary to achieve their required fuel                each future calendar years.                           standards from having unrealistic
                                             economy levels as well as the resulting                    The agency’s CAFE Model uses the                   implications for household vehicle
                                             fuel savings and indirect benefits will                 estimates of future sales of new cars and             ownership or travel demand, the agency
                                             differ. Vehicles originally produced                    light trucks and annual retirement rates              sought in this analysis to ensure that the
                                             during a model year are gradually                       for used vehicles of different ages                   fuel consumption, emissions, safety,
                                             retired and the usage of those remaining                constructed as described previously to                and other impacts it reports for different
                                             in service tends to decline as they age                 project the number of vehicles of each                regulatory alternatives reflect only
                                             (at least on average), so fuel savings and              type and age that will be in use during               differences in total vehicle use that are
                                             other benefits from requiring them to                   each future calendar year it analyzes. It             specifically attributable to their differing
                                             achieve higher fuel economy also                        combines these with the estimates of                  fuel economy requirements, and do not
                                             decline gradually over their lifetimes. In              average vehicle use at each age for                   incorporate differences in the number of
                                             any future calendar year, the                           different vehicle types to calculate their            cars and light trucks in use under each
                                             contributions of progressively older                    total VMT and uses the shares operating               alternative. To do this the CAFE Model
                                             model years to total benefits will also                 on different fuels (gasoline, diesel, and             constrains the level of future vehicle use
                                             decline gradually, since fewer will                     electricity) and their on-road fuel                   under each regulatory alternative before
                                             remain in use and those that do will be                                                                       applying the fuel economy rebound
                                                                                                                                                           effect to match values projected using
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                                             driven less, although this pattern will                 in which it was originally produced (and assumed
                                             also be affected by the increases in fuel               to be sold); for example, model year 2020 cars and    the Federal Highway Administration’s
                                             economy required for earlier model                      light trucks will be 10 or 11 years old during        VMT forecasting model. In future years
                                                                                                     calendar year 2030, depending on whether they         where this total ‘‘pre-rebound effect’’
                                             years.600                                               were considered to be 0 or 1 year old during 2020.
                                                                                                     (The agency’s analysis uses the former convention,
                                                                                                                                                           VMT calculated internally by the CAFE
                                                600 A vehicle’s age during a future calendar year    so as an illustration, model year 2010 vehicles are   Model differs from the FHWA forecast,
                                             is equal to that calendar year minus the model year     considered to be 11 years old during 2020.)           each model year cohort’s average VMT


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                                             is adjusted up or down so that the two                  monthly travel volumes during 2021, it                 commenters argued that an even lower
                                             estimates match. This process ensures                   was not captured in the VMT estimates                  value such as 5 percent should be used
                                             that any differences in total VMT among                 produced internally by NHTSA’s CAFE                    instead.604 While Auto Innovators did
                                             regulatory alternatives is attributable to              Model because those rely on vehicle use                not comment directly on the agency’s
                                             the fuel economy rebound effect. It also                and registration estimates that could not              choice of 15 percent, it argued that the
                                             ensures that the forecasts of total VMT                 readily be adjusted to account for                     agency’s estimate of rebound did not
                                             for future years constructed using the                  sharply reduced commuting, shopping,                   take into consideration of ‘‘attribute
                                             ‘‘bottom up’’ process of estimating VMT                 and recreational travel or for restrictions            substitution,’’ whereby a household will
                                             separately for each vehicle type and age                on vehicle use that were imposed in                    buy a less fuel efficient vehicle as their
                                             and summing the results, as described                   some locations. To avoid the problems                  second vehicle and will make a decision
                                             immediately above, are consistent with                  that relying on the models’ internally                 on which vehicle to use depending on
                                             forecasts of aggregate VMT that are                     generated forecasts for 2020 and 2021                  the purpose for any particular trip.605
                                             based on an underlying theory of                        would have caused, the agency’s                        The agency notes that Auto Innovators
                                             household travel demand and                             analysis for this final rule relied on                 did not provide any guidance on the
                                             independent forecasts of its                            FHWA’s published estimate of light-                    likely direction of this ‘‘attribute
                                             demographic and economic                                duty VMT for 2020 and extrapolated the                 substitution’’ effect—which is not clear
                                             determinants.                                           volumes reported in that agency’s                      a priori—in its comment, nor provide
                                                The agency’s analysis of this final rule             monthly travel updates through October                 any suggestions for how to account for
                                             begins with the year 2020 and relies on                 of 2021 to develop an estimate of annual               it in the analysis.
                                             actual data rather than forecasts for that              VMT for 2021.                                             ICCT commented in general support
                                             year wherever possible. The elements of                    The fuel economy rebound effect—a                   of the methodology used to construct
                                             the analysis that rely most heavily on                  specific example of the well-                          the vehicle mileage accumulation
                                             macroeconomic inputs—aggregate                          documented energy efficiency rebound                   schedules, but suggested that the agency
                                             demand for VMT, new vehicle sales,                      effect for energy-consuming capital                    could further improve them by
                                             and used vehicle retirement rates—all                   goods—refers to the tendency of motor                  considering how increased durability of
                                             reflect the economy’s unexpectedly                      vehicles’ use to increase when their fuel              successive models could cause newer
                                             rapid return to pre-pandemic levels of                  economy is improved and the fuel cost                  vehicles to be driven more as they age
                                             activity and expected future growth, and                to drive each mile declines as a result.               than their older counterparts.606 The
                                             these conditions prevail under each of                  A regulatory alternative that establishes              agency notes that ICCT is correct that
                                             the regulatory alternatives considered.                 more stringent CAFE standards than                     increased durability can increase VMT.
                                             The Federal Highway Administration                      those assumed to prevail under the                     NHTSA captures this possibility in the
                                             (FHWA) publishes annual estimates of                    baseline scenario will increase the fuel               scrappage model, where more recent
                                             VMT for the light-duty vehicle fleet;                   economy of new cars and light trucks,                  model years tend to be retained in
                                             while FHWA’s definition of light-duty                   thereby reducing their pre-mile fuel                   service longer, and also in its
                                             vehicles differs slightly from those                    consumption and fuel costs and                         application of the fuel economy
                                             subject to CAFE standards, over the                     increasing the number of miles they are                rebound effect, where vehicles featuring
                                             period from 2016 through 2019 FHWA’s                    driven annually over their lifetimes. The              higher fuel economy are assumed to be
                                             estimates of VMT have agreed closely                    assumed magnitude of this fuel                         used more intensively throughout their
                                             with those generated internally by                      economy rebound effect influences the                  lifetimes. The agency notes that the data
                                             NHTSA’s CAFE Model.601 602 In 2020,                     overall costs and benefits associated                  and methods it used to develop the
                                             however, the effects of the COVID                       with each regulatory alternative                       mileage accumulation schedules capture
                                             pandemic—including sharply reduced                      considered, as well as the estimates of                the increasing durability of recent
                                             demand for travel and mandated travel                   its effects on fatalities and other safety             model year to some extent, because as
                                             restrictions—reduced light-duty VMT                     measures. Thus, its value—together                     described in detail in TSD Chapter 4.3
                                             significantly from its 2019 level, and                                                                         those data include a range of model
                                                                                                     with fuel prices, technology costs, and
                                             this decline persisted through much of                                                                         years observed over several decades,
                                                                                                     other analytical inputs—is part of the
                                             2021.                                                                                                          and increased durability is not a recent
                                                Although this downturn in travel                     body of information that agency
                                                                                                                                                            phenomenon. Treating model years as a
                                             activity was accurately reflected in                    decision-makers have considered in
                                                                                                                                                            ‘‘panel’’ when estimating the pattern of
                                             FHWA’s published estimates of light-                    selecting the CAFE standards this final
                                                                                                                                                            vehicle use with age explicitly accounts
                                             duty vehicle travel for the year 2020 and               rule establishes. By magnifying the
                                                                                                                                                            for both increases in the fraction of
                                                                                                     effect of higher fuel economy on vehicle
                                                                                                                                                            vehicles produced during successive
                                                                                                     use, larger values of the fuel economy
                                               601 See Highway Statistics 2017, Table VM–1,
                                                                                                                                                            model years that remain in use at each
                                             available at https://www.fhwa.dot.gov/                  rebound effect also reduce the economic
                                                                                                                                                            age and any accompanying increase in
                                             policyinformation/statistics/2017/vm1.cfm.              and environmental benefits associated                  the average use of vehicles of different
                                             (Accessed: March 15, 2022) FHWA’s estimates of          with increased fuel efficiency.
                                             VMT include travel by light-duty trucks up to                                                                  ages.
                                             10,000 lbs. GVW, while the CAFE program excludes           The agency received a number of                        Several of the commenters also
                                             trucks with GVWs exceeding 8,500 lbs. FHWA              comments on the value of the rebound                   seemed to suggest that we should not
                                             reported light-duty VMT of 2.86 trillion for calendar   effect. Most commenters argued that the                consider the impacts of rebound driving
                                             year 2016, while NHTSA’s model generated an             agency rebound selection of 15 percent
                                             internal estimate of 2.85 trillion VMT by vehicles                                                             at all since they are freely chosen.607 We
                                             subject to CAFE standards. The two estimates did        was too high and suggested that the                    note that rebound driving is an expected
                                             not compare as closely for subsequent years, but        literature supported a rebound
                                             never differed by more than 2 percent.                  magnitude ranging from 5 to 10 percent;
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                                               602 NHTSA’s estimates of total VMT rely on
                                                                                                                                                            A1, at 14; Lucid, Docket No. NHTSA–2021–0053–
                                                                                                     most commenters supported using a                      1584–A1, at 6; IPI, at 35–37; and CARB, Docket No
                                             estimates of average annual mileage for light-duty
                                             vehicles at each age, calibrated to 2016 data,          rebound of 10 percent.603 A few                        NHTSA–2021–0053–1521–A2, at 2–3.
                                                                                                                                                              604 See e.g., CFA, Docket No. NHTSA–2021–
                                             together with the number of registered light-duty
                                             vehicles at each age. Chapter 4 of the TSD                603 See California Attorney General et al., Docket   0053–1535, at 4–5.
                                                                                                                                                              605 Auto Innovators, at 93–94.
                                             accompanying this rulemaking describes these data       No. NHTSA–2021–0053–1526–A1, at 2; UCS,
                                                                                                                                                              606 ICCT, at 22–23.
                                             and the process NHTSA uses to estimate total VMT        Docket No. NHTSA–2021–0053–1567–A1, at 32;
                                             in detail.                                              CBD et al., Joint Summary Comments, at 2–3; ICCT,        607 See, e.g., CBD et al., at 17.




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                                             result of this final rule, and that                     and incorporating the rebound effect,                   do not control for potential increases in
                                             understanding how increased fuel                        noting that while still in progress, their              vehicles’ purchase prices and
                                             efficiency will affect additional mobility              recent research shows that by raising                   accompanying depreciation costs. As a
                                             deserves consideration even if there is                 prices for new cars and light trucks,                   consequence, the association between
                                             an offsetting mobility benefit. In                      higher CAFE standards increase the                      higher fuel economy (or lower per-mile
                                             addition, the question of whether and                   depreciation cost their owners incur in                 fuel costs) and higher per-mile
                                             how to consider the rebound effect and                  driving each mile.608 They assert that                  depreciation is likely to be incorporated
                                             its consequences is an aspect of the                    the response of vehicle use to higher                   to some extent in estimates the rebound
                                             agency’s determination of what standard                 per-mile depreciations costs outweighs                  effect, in which case they can be
                                             represents the ‘‘maximum feasible,’’                    its response to the reduction in fuel                   interpreted as the combined or net effect
                                             which is a separate question from the                   costs from required increases in their                  of these countervailing changes on
                                             more technical issue of what the                        fuel economy, although they do not                      vehicle use.
                                             appropriate value for the rebound effect                report empirical results demonstrating
                                                                                                                                                             4. Changes to Fuel Consumption
                                             should be in the analysis.                              this effect. These commenters also argue
                                                As described in detail in TSD Chapter                that the reduction in sales of new                         The agency combines modeled fuel
                                             4.3.5, the agency conducted a thorough                  vehicles in response to higher new car                  economy levels with age and body-style
                                             and detailed review of recent research                  and light truck prices will reinforce this              VMT estimates to determine changes in
                                             on the fuel economy rebound effect,                     effect, because households owning                       fuel consumption over time and across
                                             which includes several new estimates it                 fewer vehicles will drive less in total as              alternatives. The agency computes the
                                             had not previously considered and also                  complementarity between the number of                   amount of fuel consumed by dividing
                                             incorporates statistical uncertainty                    vehicles households own and their trip-                 expected total travel by predicted MPG
                                             surrounding different estimates. The                    making frequency operates in reverse.                   at the vehicle level and then aggregates
                                             agency’s updated review shows that                      They argue that as these two effects                    to produce estimates of total fuel
                                             research measuring the response of                      interact with the usual fuel economy                    consumed in each alternative.610
                                             vehicle use to fuel economy itself                      rebound effect, higher CAFE standards                   F. Simulating Environmental Impacts of
                                             suggests a rebound effect ranging from                  will reduce average vehicle use on                      Regulatory Alternatives
                                             5 to 15 percent, while studies examining                balance rather than increasing it as the
                                             the association of vehicle use to fuel                  agency estimates.609                                       In estimating the environmental
                                             costs of driving suggest that the rebound                  The agency agrees that higher per-                   impacts of each regulatory alternative
                                             effect is most likely to lie in the range               mile depreciation costs are likely by                   we considered, the agency accounted for
                                             from 10 to 20 percent.                                  themselves to reduce vehicle use but                    the projected application of many fuel-
                                                Based on this updated analysis, the                  notes that only some fraction of                        saving technologies to vehicles that
                                             agency selected a rebound effect of 10                  vehicles’ total depreciation costs owes                 could continue to use only gasoline or
                                             percent for this analysis, because it was               to their usage, with the remainder                      diesel fuel (including hybrid electric
                                             well-supported by the totality of the                   attributable to the passage of time and                 vehicles that do not require external
                                             evidence and aligned closely with the                   technological progress in new vehicle                   charging), as well as the projected
                                             response of total vehicle use to fuel                   designs and utility. Empirical estimates                increased application of plug-in hybrid
                                             costs incorporated in FHWA’s                            of this breakdown are scarce, so it is                  electric vehicles and, with some
                                             forecasting model (approximately 14                     difficult to assess how large the increase              analytical constraints, battery electric
                                             percent). This value is also consistent                 in per-mile depreciation costs                          vehicles.611 By reducing overall energy
                                             with the value used in EPA’s recent                     associated with a given increase in new                 consumption and the production and
                                             final rule. To recognizing the wide range               vehicles’ prices might be. We also note                 use of petroleum-based fuels, the
                                             of uncertainty surrounding the true                     that increasing durability of new cars                  alternatives the agency considered
                                             value of the fuel economy rebound                       and light trucks over time tends to                     would thus have important
                                             effect, we also examine the sensitivity of              reduce the depreciation costs associated                consequences for the environment and
                                             estimated impacts to values ranging                     with their use, simply because their                    public health. These occur because each
                                             from 5 to 20 percent.                                   lifetime use-related depreciation is                    alternative would reduce tailpipe
                                                To calculate levels of total light-duty              distributed over a larger number of                     emissions of both GHGs and criteria air
                                             that incorporate the fuel economy                       miles. The agency notes further that the                pollutants during vehicle operation, as
                                             rebound effect, the CAFE Model                          increases in new car and light truck                    well as ‘‘upstream’’ emissions that occur
                                             interprets the assumed magnitude of the                 prices it estimates will occur as                       during petroleum extraction,
                                             rebound effect as an elasticity of average              consequences of the alternatives it                     transportation, and refining to produce
                                             vehicle use with respect to fuel cost per               considered for this analysis are quite                  fuel, as well as during the
                                             mile, and applies this to changes in fuel               modest, particularly after they are                     transportation, storage, and distribution
                                             costs resulting from the higher fuel                    adjusted to reflect their buyers’ assumed               of refined fuel. In turn, reduced
                                             economy levels each regulatory                          valuation of the higher fuel economy                    emissions of GHGs and air pollutants
                                             alternative requires. It then adds the                  they provide. Combined with their                       would improve environmental quality,
                                             resulting proportional increases in                     increased durability and the fact that                  reduce the health consequences of
                                             average vehicle use to their values                     only a fraction of their higher prices is
                                             under the No-Action Alternative, as                     reflected in increased use-related                         610 Total value of fuel consumed is computed

                                             previously adjusted to reconcile the                                                                            across all fuel types and draws fuel price values
                                                                                                     depreciation, the implied increases in                  (e.g., retail prices for gasoline and electricity) from
                                             CAFE Model’s estimate of total VMT                      their per-mile depreciation costs are                   the set of model inputs.
                                             with that produced by FHWA’s travel
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                                                                                                     likely to be extremely small. Finally, we                  611 This document and FRIA do not consider the
                                             forecasting model. TSD Chapter 4.3                      also note that empirical estimates of the               potential for manufacturers to respond to new
                                             provides an extensive discussion of how                 fuel economy rebound effect generally                   standards for MYs 2024–2026 by introducing new
                                             the agency calculates changes in VMT to                                                                         BEV models in MYs 2024–2026. However, the
                                                                                                                                                             accompanying Supplemental Environmental Impact
                                             account for the rebound effect.                           608 Jacobsen and Liao, NHTSA–2021–0053–0065,
                                                                                                                                                             Analysis (SEIS) does account for such potential
                                                Jacobsen and Liao commented on the                   at 1.                                                   introductions of new BEV models in these model
                                             agency’s procedures for estimating VMT                    609 Jacobsen and Liao, at 2.                          years.



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                                             exposure to air pollution (whether                      from the volume or energy content of                  pollutants. Chapter 5 of the TSD
                                             climate-exacerbated or not), and                        fuel supplied and consumed by cars and                accompanying this final rule includes a
                                             mitigate economic damages attributable                  light trucks, together with factors that              detailed discussion of the procedures
                                             to changes in the global climate and air                express emissions of air pollutants and               we used to simulate the environmental
                                             pollution levels.                                       GHGs in mass per unit of fuel volume                  impacts of the different regulatory
                                                This section provides an overview of                 (usually grams per gallon) or fuel energy             alternatives that were considered, and
                                             how we develop the assumptions and                      (e.g., grams per million Btu) supplied.               the implementation of these procedures
                                             parameters used to estimate emissions                   Total upstream emissions of each                      within the CAFE Model is discussed in
                                             of criteria air pollutants, greenhouse                  pollutant are estimated as the product of             detail in the supporting Model
                                             gases, and air toxics. It also describes                the number of gallons of fuel supplied                Documentation. Further discussion of
                                             how we develop and apply estimates of                   and the relevant per-gallon emission                  how the health impacts of upstream and
                                             the air quality and climate-related                     factor, or as the product of total energy             tailpipe emissions of criteria air
                                             impacts of these emissions and their                    supplied and emissions per unit of                    pollutants have been monetized and the
                                             consequences for human health,                          energy produced and delivered.                        resulting values used in this analysis
                                             focusing particularly on the rule’s                        For this rule, vehicle tailpipe                    can be found in Section III.G.2.b)(2).
                                             effects on emissions of criteria air                    (sometimes called ‘‘downstream’’) and                 The Final SEIS accompanying this
                                             pollutants that cause poor air quality                  upstream emission factors as well as                  analysis also includes a detailed
                                             and can damage human health. The                        estimates of total emissions from both                discussion of both criteria pollutant and
                                             agency’s analysis utilizes the ‘‘emissions              sources were developed independently                  GHG emissions and their impacts on
                                             inventory’’ approach to estimate these                  using separate data sources. Tailpipe                 human health as well as on the natural
                                             impacts. Vehicle-related emissions                      emission factors are estimated from the               environment.
                                             inventories are often described as three-               highway emissions model developed for
                                             legged stools, since they depend on                     use in regulatory analysis by the U.S.                1. Activity Levels Used To Calculate
                                             measures of vehicle activity (i.e., miles               Environmental Protection Agency’s                     Emissions Impacts
                                             traveled, hours operated, or gallons of                 (EPA) National Vehicle and Fuel                          The CAFE Model estimates the annual
                                             fuel burned), the number of vehicles in                 Emissions Laboratory, known as the                    number of miles driven (VMT) for each
                                             use, and emission factors per unit of                   Motor Vehicle Emission Simulator                      individual car and light truck model
                                             vehicle activity.                                       (MOVES). Upstream emission factors                    produced in every future model year at
                                                An emissions factor is a rate that                   are estimated from a lifecycle emissions              each age over their lifetimes, which
                                             measures the quantity of a pollutant                    model developed by the U.S.                           extend for a maximum of 40 years.
                                             released to the atmosphere per unit of                  Department of Energy’s (DOE) Argonne                  Since a vehicle’s age is equal to the
                                             vehicle activity.612 This analysis relies               National Laboratory, the Greenhouse                   current calendar year minus the model
                                             on vehicle-miles traveled (VMT) as its                  Gases, Regulated Emissions, and Energy                year in which it was originally
                                             measure of vehicle activity, and                        Use in Transportation (GREET)                         produced, the age span of each vehicle
                                             emission rates are measured by                          Model.613 For this final rule, we                     model’s lifetime corresponds to a
                                             emissions (in mass units) per vehicle-                  updated the CAFE Model to utilize data                sequence of 40 calendar years beginning
                                             mile; the vehicle-related or ‘‘tailpipe’’               from the most current versions of each                in the calendar year corresponding to
                                             emission inventory for most pollutants                  model, MOVES 3 and GREET 2021.                        the model year it was produced.614
                                             is the product of their per-mile                           Adverse human health outcomes                      These estimates reflect the gradual
                                             emissions factor and the appropriate                    caused by exposure to harmful                         decline in the fraction of each car and
                                             estimate of the number of miles                         accumulations of criteria air pollutants,             light truck model’s original model year
                                             traveled. Exceptions include tailpipe                   such as asthma episodes and respiratory               production volume that is expected to
                                             emissions of sulfur oxides (SOX) and                    or cardiovascular distress requiring                  remain in service during each year of its
                                             carbon dioxide (CO2), which are                         hospitalization, are generally reported               lifetime, as well as the well-documented
                                             estimated by applying emissions factors                 as incidences per ton of emissions of                 decline in their typical use as they age.
                                             per gallon of fuel consumed derived                     each pollutant (or its chemical                       Using this relationship, the CAFE Model
                                             from the chemical properties of different               precursors). The incidence per ton                    calculates total VMT for cars and light
                                             fuels to the appropriate values of fuel                 values used to estimate changes in                    trucks in service during each calendar
                                             consumption in gallons. Vehicle activity                health impacts were developed using                   year spanned in this analysis.
                                             levels—both the number of miles                         several EPA studies and recently                         Based on these estimates, the model
                                             traveled and the number of gallons of                   updated to better account for the                     also calculates quantities of each type of
                                             fuel consumed—are generated by the                      specific sources of emissions estimated
                                             CAFE Model (as described in Sections                                                                          fuel or energy, including gasoline,
                                                                                                     by the CAFE Model. Finally, EPA also                  diesel, and electricity, consumed in
                                             III.E.3. and 4. above), while the per-mile              applies estimates of the affected
                                             and per-gallon emission factors have                                                                          each calendar year. By combining these
                                                                                                     population’s willingness to pay to avoid              with estimates of each model’s fuel or
                                             been extracted from other models                        each incidence of these adverse health
                                             developed by other Federal agencies. In                                                                       energy efficiency, the model also
                                                                                                     impacts and sums the results to obtain                estimates the quantity and energy
                                             this rulemaking, vehicle-related                        estimates of the economic cost of air
                                             emissions also include those that occur                                                                       content of each type of fuel consumed
                                                                                                     pollutant emissions in dollars per ton,               (including gasoline, diesel, and
                                             throughout the process of supplying fuel                which can be interpreted as estimates of
                                             and other forms of vehicle energy (such                                                                       electricity) by cars and light trucks at
                                                                                                     the economic benefit from reducing
                                             as electric power), and these are termed                each ton of emissions of different                      614 In practice, many vehicle models bearing a
                                             upstream emissions. The agency
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                                                                                                                                                           given model year designation become available for
                                             estimates these upstream emissions                        613 U.S. Department of Energy, Argonne National     sale in the preceding calendar year, and their sales
                                                                                                     Laboratory, Greenhouse gases, Regulated Emissions,    can extend through the calendar year following
                                               612 U.S. EPA, Basics Information of Air Emissions     and Energy use in Transportation (GREET) Model,       their designated model year as well. However, the
                                             Factors and Quantification, https://www.epa.gov/        Last Update: 11 Oct. 2021, https://greet.es.          CAFE Model does not attempt to distinguish
                                             air-emissions-factors-and-quantification/basic-         anl.gov/. (Accessed: March 15, 2022) Upstream         between model years and calendar years; vehicles
                                             information-air-emissions-factors-and-                  emission factors for criteria air pollutants may be   bearing a model year designation are assumed to be
                                             quantification. (Accessed: March 15, 2022)              undercounted, but are nonetheless important.          produced and sold in that same calendar year.



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                                             each age, or viewed another way, during                 2. Simulating Upstream Emissions                         The upstream gasoline and diesel
                                             each calendar year of their lifetimes. As               Impacts                                               emissions factors are aggregated in the
                                             with the accounting of VMT, these                          Building on the methodology for                    CAFE Model based on the share of fuel
                                             estimates of annual fuel or energy                      simulating upstream emissions impacts                 savings leading to reduced domestic oil
                                             consumption for each vehicle model                                                                            fuel refining and the share of reduced
                                                                                                     used in prior CAFE rules, this final rule
                                             and model year combination are                                                                                domestic refining from domestic crude
                                                                                                     analysis uses emissions factors
                                             combined to calculate the total volume                                                                        oil.620 The CAFE Model applies a fuel
                                                                                                     developed with the U.S. Department of
                                             of each type of fuel or energy consumed                                                                       savings adjustment factor to the
                                                                                                     Energy’s Greenhouse gases, Regulated
                                             during each calendar year, as well as its                                                                     petroleum refining process and a
                                                                                                     Emissions, and Energy use in
                                                                                                                                                           combined fuel savings and reduced
                                             aggregate energy content.                               Transportation (GREET) Model,
                                                                                                                                                           domestic refining adjustment to both the
                                                The procedures the CAFE Model uses                   specifically GREET 2021.616 The
                                                                                                                                                           petroleum extraction and petroleum
                                             to estimate annual VMT for individual                   analysis includes emissions impacts
                                                                                                                                                           transportation processes for both
                                             car and light truck models produced                     estimates for regulated criteria
                                                                                                                                                           gasoline and diesel fuels and for each
                                             during each model year over their                       pollutants,617 greenhouse gases,618 and
                                                                                                                                                           pollutant. These adjustments are
                                             lifetimes and to combine these into                     air toxics.619
                                                                                                                                                           consistent across fuel types, analysis
                                                                                                        The upstream emissions factors                     years, and pollutants, and are
                                             estimates of annual fleet-wide travel
                                                                                                     included in the CAFE Model input files                unchanged from the previous CAFE
                                             during each future calendar year,
                                                                                                     include parameters for 2020 through                   analyses. Additional discussion of the
                                             together with the sources of its estimates              2050 in five-year intervals (e.g., 2020,
                                             of their survival rates and average use at                                                                    methodology for estimating the share of
                                                                                                     2025, 2030, and so on). For gasoline and              fuel savings leading to reduced
                                             each age, are described in detail in                    diesel fuels, each analysis year includes
                                             Section III.E.2. The data and procedures                                                                      domestic oil refining is located in
                                                                                                     upstream emissions factors for the four               Chapter 6.2.4.4 of the TSD.
                                             it employs to convert these estimates of                following upstream emissions                             Upstream electricity emissions factors
                                             VMT to fuel and energy consumption by                   processes: Petroleum extraction,                      are also calculated using GREET 2021.
                                             individual model, and to aggregate the                  petroleum transportation, petroleum                   GREET 2021 projects a national default
                                             results to calculate total consumption                  refining, and fuel transportation,                    electricity generation mix for
                                             and energy content of each fuel type                    storage, and distribution (TS&D). In                  transportation use from the latest
                                             during future calendar years, are also                  contrast, the upstream electricity                    Annual Energy Outlook (AEO) data.621
                                             described in detail in that same section.               emissions factor is only a single value               As discussed above, the CAFE Model
                                                The model documentation                              per analysis year. We briefly discuss the             uses a single upstream electricity factor
                                             accompanying this final rule also                       components included in each upstream                  for each analysis year.
                                             describes these procedures in detail.615                emissions factor here, and a more                        The Environmental Defense Fund
                                             The quantities of travel and fuel                       detailed discussion is included in                    (EDF) submitted comments to the Draft
                                             consumption estimated for the cross                     Chapter 5 of the TSD accompanying this                SEIS docket stating that NHTSA’s
                                                                                                     rule and the CAFE Model                               estimates of reductions in global GHG
                                             section of model years and calendar
                                                                                                     Documentation.                                        emissions associated with lower
                                             years constitutes a set of ‘‘activity
                                                                                                        The first step in the process for                  domestic consumption of gasoline and
                                             levels’’ based on which the model                       calculating upstream emissions includes               diesel and its consequences for U.S.
                                             calculates emissions. The model does so                 any emissions related to the extraction,              imports of crude petroleum should
                                             by multiplying activity levels by                       recovery, and production of petroleum-                incorporate empirical estimates of the
                                             emission factors. As indicated in the                   based feedstocks, namely conventional                 specific sources of U.S. imports that
                                             previous section, the resulting estimates               crude oil, oil sands, and shale oils.                 would be reduced and the rates of GHG
                                             of vehicle use (VMT), fuel consumption,                 Then, the petroleum transportation                    emissions associated with producing
                                             and fuel energy content are combined                    process accounts for the transport                    crude petroleum at each of those
                                             with emission factors drawn from                        processes of crude feedstocks sent for                sources and transporting it to the U.S.
                                             various sources to estimate emissions of                domestic refining. The petroleum                      for refining.622
                                             GHGs, criteria air pollutants, and                      refining calculations are based on the                   We do not have the detailed
                                             airborne toxic compounds that occur                     aggregation of fuel blendstock processes              production and supply modeling
                                             throughout the fuel supply and                          rather than the crude feedstock                       capability that would be necessary to
                                             distribution process, as well as during                 processes, like the petroleum extraction              estimate reductions in U.S. imports of
                                             vehicle operation, storage, and                         and petroleum transportation                          crude petroleum from specific sources,
                                             refueling. Emission factors measure the                 calculations. The final upstream process              and the global nature of the market for
                                             mass of each GHG, or criteria pollutant                 after refining is the transportation,                 crude petroleum suggests that those
                                             emitted per vehicle-mile of travel,                     storage, and distribution (TS&D) of the               reductions are unlikely to be
                                             gallon of fuel consumed, or unit of fuel                finished fuel product.                                proportional to the volumes currently
                                             energy content. The following sections                                                                        imported from different sources, as EDF
                                                                                                       616 U.S. Department of Energy, Argonne National
                                             identifies the sources of these emission
                                                                                                     Laboratory, Greenhouse gases, Regulated Emissions,       620 Upstream emissions are underestimated to the
                                             factors and explains in detail how the                  and Energy use in Transportation (GREET) Model,       extent that they do not account for any toxic
                                             CAFE Model applies them to its                          Last Update: 11 Oct. 2021, https://greet.es.          pollutants (like mercury) and criteria pollutants
                                             estimates of vehicle travel, fuel use, and              anl.gov/.                                             (i.e., from refining/production in Mexico/Canada, as
                                                                                                       617 Carbon monoxide (CO), volatile organic          such pollutants can cross boundaries), as well as
                                             fuel energy consumption to estimate
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                                                                                                     compounds (VOCs), nitrogen oxides (NOX), sulfur       certain greenhouse gas emissions, that originate
                                             total annual emissions of each GHG,                     oxides (SOX), and particulate matter with 2.5-        outside the borders of the United States and are
                                             criteria pollutant, and airborne toxic.                 micron (mm) diameters or less (PM2.5).                attributable to changes in gasoline consumption as
                                                                                                       618 Carbon dioxide (CO ), methane (CH ), and
                                                                                                                              2                4           a result of these standards.
                                                                                                     nitrous oxide (N2O).                                     621 For this CAFE analysis, this was AEO 2021,
                                               615 CAFE Model documentation is available at            619 Acetaldehyde, acrolein, benzene, butadiene,     released February 3, 2021, https://www.eia.gov/
                                             https://www.nhtsa.gov/corporate-average-fuel-           formaldehyde, diesel particulate matter with 10-      outlooks/archive/aeo21.
                                             economy/compliance-and-effects-modeling-system.         micron (mm) diameters or less (PM10).                    622 EDF, NHTSA–2021–0054–0016, at pp. 4–5.




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                                             appears to assume. The global nature of                 petroleum imports. In effect, it assumes              miles traveled from the 2020 final rule.
                                             the market for crude petroleum also                     that transportation modes and shipment                In order to avoid double-counting
                                             means that reductions in U.S. purchases                 distances for moving crude petroleum                  effects from the previous rulemaking in
                                             from specific sources would not                         from U.S. coastal ports to domestic                   the current rulemaking, the tailpipe
                                             necessarily be met by corresponding                     refineries are similar to those for moving            baseline backs out 1.5 percent year-over-
                                             reductions in petroleum production and                  domestically extracted crude petroleum                year stringency increases in fuel
                                             associated GHG emissions at those                       from oilfields or other domestic                      economy, and 0.3 percent VMT
                                             locations, since those producers’                       petroleum production facilities to U.S.               increases assumed each year (20 percent
                                             reduced exports to the U.S. might                       refineries. Thus, some reductions in                  rebound on the 1.5 percent
                                             simply be redirected to supply other                    emissions that occur during                           improvements in stringency). Note that
                                             purchasers.                                             transportation of imported crude                      the MOVES3 data do not cover all the
                                                In light of this situation, we believe               petroleum within U.S. coastal and                     model years and ages required by the
                                             the most reasonable assumption to use                   interior areas are included in the                    CAFE Model; MOVES only generates
                                             for estimating reductions in global GHG                 agency’s estimates of total reductions in             emissions data for vehicles made in the
                                             emissions associated with lower U.S.                    domestic emissions of criteria pollutants             last 30 model years for each calendar
                                             petroleum imports and global                            attributable to reduced U.S. petroleum                year being run. This means emissions
                                             production is to apply the emission                     imports. The agency believes this                     data for some calendar year and vehicle
                                             factors associated with crude petroleum                 approach provides a satisfactory                      age combinations are missing. To
                                             production at different global locations                substitute for detailed estimation of                 remedy this, we take the last vehicle age
                                             and with current transportation                         movement distances and shipment                       that has emissions data and forward fill
                                             patterns, weighted by each location’s                   modes for carrying imported crude                     those data for the following vehicle
                                             projected contribution to future global                 petroleum from ports to refineries. This              ages. Due to incomplete available data
                                             production. This is in fact the                         is discussed further in TSD Chapter 5.2               for years prior to MY 2020, tailpipe
                                             assumption implicitly reflected in the                  and TSD Chapter 6.2.4.2.                              emission factors for MY 2019 and earlier
                                             agency’s reliance on GHG emission                                                                             have not been modified and continue to
                                             factors for crude petroleum                             3. Simulating Tailpipe Emissions
                                                                                                                                                           utilize MOVES2014 data.
                                             transportation and distribution derived                 Impacts                                                  For tailpipe CO2 emissions, these
                                             using GREET. Even this assumption is                       Tailpipe emission factors are                      factors are defined based on the fraction
                                             likely to lead to an overestimate of the                generated using a regulatory model for                of each fuel type’s mass that represents
                                             reduction in global GHG emissions,                      on-road emission inventories from the                 carbon (the carbon content) along with
                                             since it implies that the estimated                     U.S. Environmental Protection Agency,                 the mass density per unit of the specific
                                             decline in U.S. imports will be fully                   the Motor Vehicle Emission Simulator                  type of fuel. To obtain the emission
                                             reflected in an overall reduction in                    (MOVES3), November 2020 release.                      factors associated with each fuel, the
                                             global petroleum production, rather                     MOVES3 is a state-of-the-science,                     carbon content is then multiplied by the
                                             than being partly or fully absorbed by                  mobile-source emissions inventory                     mass density of a particular fuel as well
                                             other oil-consuming nations. We have                    model for regulatory applications.623                 as by the ratio of the molecular weight
                                             therefore elected to retain this                        MOVES3 tailpipe emission factors have                 of carbon dioxide to that of elemental
                                             assumption and its current procedure                    been incorporated into the CAFE                       carbon. This ratio, a constant value of
                                             for estimating reduced GHG emissions                    parameters, and these updates                         44/12, measures the mass of carbon
                                             from petroleum production. These                        supersede tailpipe data previously                    dioxide that is produced by complete
                                             assumptions are discussed in further                    provided by EPA from MOVES2014 for                    combustion of mass of carbon contained
                                             detail in Section 0.                                    past CAFE analyses. MOVES3 accounts                   in each unit of fuel. The resulting value
                                                EDF also commented that that                         for a variety of processes related to                 defines the emission factor attributed to
                                             NHTSA’s estimates of reductions in                      emissions impacts from vehicle use,                   CO2 as the amount of grams of CO2
                                             domestic emissions of criteria air                      examples include exhaust and                          emitted during vehicle operation from
                                             pollutants resulting from lower U.S.                    evaporative processes, among others.624               each type of fuel. This calculation is
                                             production and consumption of                              The CAFE Model uses tailpipe                       repeated for gasoline, E85, diesel, and
                                             transportation fuels and its assumed                    emissions factors for all model years                 compressed natural gas (CNG) fuel
                                             effect on U.S. petroleum imports should                 from 2020 to 2060 for criteria pollutants             types. In the case of CNG, the mass
                                             include reductions in emissions that                    and air toxics. To maintain continuity in             density and the calculated CO2 emission
                                             occur during the transportation of                      the historical inventories, only emission             factor are denoted as grams per standard
                                             imported petroleum ‘‘. . . on U.S. soil                 factors for MYs 2020 and after were                   cubic feet (scf), while for the remainder
                                             or within established distances from our                updated; all emission factors prior to                of fuels, these are defined as grams per
                                             borders where emissions still affect U.S.               MY 2020 were unchanged from                           gallon of the given fuel source. Since
                                             ambient air quality.’’ This would                       previous CAFE rulemakings. In                         electricity and hydrogen fuel types do
                                             include emissions by tanker ships                       addition, the updated tailpipe data in                not cause CO2 emissions to be emitted
                                             operating within U.S. Emission Control                  the current CAFE reference case no                    during vehicle operation, the carbon
                                             Areas (ECAs, which can extend as far as                 longer account for any fuel economy                   content, and the CO2 emission factors
                                             200 miles from U.S. shores), including                  improvements or changes in vehicle                    for these two fuel types are assumed to
                                             those to which petroleum is transferred                                                                       be zero. The mass density, carbon
                                                                                                       623 U.S. Environmental Protection Agency, Office
                                             when large oceangoing tankers cannot                                                                          content, and CO2 emission factors for
                                                                                                     of Transportation and Air Quality, Motor Vehicle
                                             enter some U.S. ports, as well as                       Emission Simulator (MOVES), Last Updated:
                                                                                                                                                           each fuel type are defined in the
                                             emissions by petroleum-carrying barges,
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                                                                                                     September 2021, https://www.epa.gov/moves/latest-     Parameters file.
                                             rail tank cars, and pipelines operating                 version-motor-vehicle-emission-simulator-moves.         The CAFE Model calculates CO2
                                             within U.S. borders.                                    For the CAFE analysis, MOVES 3.0.1 was used to        tailpipe emissions associated with
                                                In fact, our analysis does include                   generate the emission factors.                        vehicle operation of the surviving on-
                                                                                                       624 For CAFE modeling, the post-processing of
                                             emissions that occur during                             emission factors for PM2.5 included exhaust
                                                                                                                                                           road fleet by multiplying the number of
                                             transportation of crude petroleum as                    processes (running, start, crankcase running, and     gallons (or scf for CNG) of a specific fuel
                                             domestic emissions associated with                      crankcase start) and excluded brake and tire wear.    consumed by the CO2 emissions factor


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                                             for the associated fuel type. More                      throughout the U.S., and that the FRIA                computation of health impacts from
                                             specifically, the amount of gallons or scf              involves sensitivity analysis spanning a              criteria pollutant emissions.
                                             of a particular fuel are multiplied by the              range of model inputs, many of which                    Despite efforts to be as consistent as
                                             carbon content and the mass density per                 impact estimates of future emissions                  possible between the upstream
                                             unit of that fuel type, and then the                    from passenger cars and light trucks.                 emissions sectors utilized in the CAFE
                                             model applies the ratio of carbon                       Chapter 6 of the FRIA includes a                      Model with the 2018 EPA source
                                             dioxide emissions generated per unit of                 discussion of overall changes in health               apportionment TSD, the need to use up-
                                             carbon consumed during the                              impacts associated with criteria                      to-date sources based on newer air
                                             combustion process.625                                  pollutant changes across the different                quality modeling updates led to the use
                                                                                                     rulemaking scenarios.                                 of multiple papers. In addition to the
                                             4. Estimating Health Impacts From                                                                             2018 EPA source apportionment TSD
                                             Changes in Criteria Pollutant Emissions                    In previous rulemakings, health                    used in the 2020 final rule, we used
                                                The CAFE Model computes select                       impacts were split into two categories                additional EPA sources and
                                             health impacts resulting from three                     based on whether they arose from                      conversations with EPA staff to
                                             criteria pollutants: NOX, SOX,626 and                   upstream emissions or tailpipe                        appropriately map health incidence per
                                             PM2.5. Out of the six criteria pollutants               emissions. In the current analysis, these             ton values to the appropriate CAFE
                                             currently regulated, NOX, SOX, and                      health incidence per ton values have                  Model emissions source category. Very
                                             PM2.5 are known to be emitted regularly                 been updated to reflect the differences               recently, EPA updated its approach to
                                             from mobile sources and have the most                   in health impacts arising from each                   estimating the benefits of changes in
                                             adverse effects to human health. These                  emission source sector, according to the              PM2.5 and ozone,631 632 as well as the
                                             health impacts include several different                latest publicly available EPA reports                 associated changes in health impacts
                                             morbidity measures, as well as a                        that appropriately correspond to these                per ton. These updates were based on
                                             mortality estimate, and are measured by                 sectors. Five different upstream                      information drawn from the recent 2019
                                             the number of instances predicted to                    emission source sectors (petroleum                    PM2.5 and 2020 Ozone Integrated
                                             occur per ton of emitted pollutant.627                  extraction, petroleum transportation,                 Science Assessments (ISAs), which
                                             The model reports total health impacts                  refineries, fuel transportation, storage              were reviewed by the Clean Air Science
                                             by multiplying the estimated tons of                    and distribution, and electricity                     Advisory Committee (CASAC) and the
                                             each criteria pollutant by the                          generation) are now represented. The                  public.633 634 EPA has not updated its
                                             corresponding health incidence per ton                  tailpipe source sector is now                         health incidence estimates for mobile
                                             value. The inputs that inform the                       disaggregated based on fuel and vehicle               sources to reflect these updates in time
                                             calculation of the total tons of emissions              type. As the health incidences for the                for this analysis. Instead, based on the
                                             resulting from criteria pollutants are                  different source sectors are all based on             recommendation of EPA staff, we use
                                             discussed above. This section discusses                 the emission of one ton of the same                   the same PM2.5 BPT estimates and
                                             how the health incidence per ton values                 pollutants, NOX, SOX, and PM2.5, the                  health incidence values that we used in
                                             were obtained. See Section III.G.2.b)(2)                differences in the incidence per ton                  the NPRM, to ensure consistency
                                             and Chapter 6.2.2 of the TSD                            values arise from differences in the                  between the values corresponding to
                                             accompanying this notice for                            geographic distribution of the                        different source sectors. The estimates
                                             information regarding the monetized                     pollutants, a factor which affects the                used are based on the review of the 2009
                                             damages arising from these health                       number of people impacted by the                      PM ISA 635 and 2012 p.m. ISA
                                             impacts.                                                pollutants.628                                        Provisional Assessment 636 and include
                                                The Final SEIS associated with this
                                             document also includes a detailed                          The CAFE Model health impacts                        631 U.S. Environmental Protection Agency (U.S.

                                             discussion of the criteria pollutants and               inputs are based partially on the                     EPA). 2021a. Regulatory Impact Analysis for the
                                             air toxics analyzed and their potential                 structure of EPA’s 2018 TSD, Estimating               Final Revised Cross-State Air Pollution Rule
                                                                                                     the Benefit per Ton of Reducing PM2.5                 (CSAPR) Update for the 2008 Ozone NAAQS. EPA–
                                             health effects. Consistent with past                                                                          452/R–21–002. March.
                                             analyses, we have performed full-scale                  Precursors from 17 Sectors (referred to                 632 U.S. Environmental Protection Agency (U.S.

                                             photochemical air quality modeling and                  here as the 2018 EPA source                           EPA). 2021b. Estimating PM2.5- and Ozone-
                                             presented those results in the Final                    apportionment TSD),629 which reported                 Attributable Health Benefits. Technical Support
                                                                                                     benefit per ton values for the years 2016,            Document (TSD) for the Final Revised Cross-State
                                             SEIS. That analysis provides additional                                                                       Air Pollution Rule Update for the 2008 Ozone
                                             assessment of the human health impacts                  2020, 2025, and 2030.630 For the years                Season NAAQS. EPA–HQ–OAR–2020–0272. March.
                                             from changes in PM2.5 and ozone                         in between the source years used in the                 633 U.S. Environmental Protection Agency (U.S.

                                             associated with this rule. We note that                 input structure, the CAFE Model applies               EPA). 2019a. Integrated Science Assessment (ISA)
                                             compliance with CAFE standards is                       values from the closest source year. For              for Particulate Matter (Final Report, 2019). U.S.
                                                                                                                                                           Environmental Protection Agency, Washington, DC,
                                             based on the average performance of                     instance, 2020 values are applied for                 EPA/600/R–19/188, 2019.
                                             manufacturers’ production for sale                      2020–2022, and 2025 values are applied                  634 U.S. Environmental Protection Agency (U.S.
                                                                                                     for 2023–2027. For further details, see               EPA). 2019a. Integrated Science Assessment (ISA)
                                                625 Chapter 3, Section 4 of the CAFE Model           the CAFE Model documentation, which                   for Ozone and Related Photochemical Oxidants
                                             Documentation provides additional description for       contains a description of the model’s                 (Final Report). U.S. Environmental Protection
                                             calculation of CO2 tailpipe emissions with the                                                                Agency, Washington, DC, EPA/600/R–20/012, 2020.
                                             model.                                                                                                          635 U.S. Environmental Protection Agency (U.S.
                                                                                                        628 See Environmental Protection Agency (EPA).
                                                626 Any reference to SO in this section refers to
                                                                        X                                                                                  EPA). 2009. Integrated Science Assessment for
                                             the sum of sulfur dioxide (SO2) and sulfate             2018. Estimating the Benefit per Ton of Reducing      Particulate Matter (Final Report). EPA–600–R–08–
                                             particulate matter (pSO4) emissions, following the      PM2.5 Precursors from 17 Sectors. https://            139F. National Center for Environmental
                                             methodology of the EPA papers cited.                    www.epa.gov/sites/production/files/2018-02/           Assessment-RTP Division, Research Triangle Park,
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                                                627 The complete list of morbidity impacts           documents/sourceapportionmentbpttsd_2018.pdf.         NC. December. Available at: http://cfpub.epa.gov/
                                                                                                        629 Environmental Protection Agency (EPA). 2018.   ncea/cfm/recordisplay.cfm?deid=216546.
                                             estimated in the CAFE Model is as follows: acute
                                             bronchitis, asthma exacerbation, cardiovascular         Estimating the Benefit per Ton of Reducing PM2.5        636 U.S. Environmental Protection Agency (U.S.

                                             hospital admissions, lower respiratory symptoms,        Precursors from 17 Sectors. https://www.epa.gov/      EPA). 2012. Provisional Assessment of Recent
                                             minor restricted activity days, non-fatal heart         sites/production/files/2018-02/documents/             Studies on Health Effect of Particulate Matter
                                             attacks, respiratory emergency hospital admissions,     sourceapportionmentbpttsd_2018.pdf.                   Exposure. EPA/600/R–12/056F. National Center for
                                             respiratory emergency room visits, upper                   630 As the year 2016 is not included in this       Environmental Assessment-RTP Division, Research
                                             respiratory symptoms, and work loss days.               analysis, the 2016 values were not used.                                                      Continued




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                                             a mortality risk estimate derived from                   with the authors of the EPA paper, we                  apportionment TSD,645 and a 2019
                                             the Krewski et al. (2009) 637 analysis of                determined that these are the best                     mobile source sectors paper (Wolfe et
                                             the American Cancer Society (ACS)                        available estimates for the petroleum                  al.) 646 to generate these values. The
                                             cohort and nonfatal illnesses consistent                 extraction sector, notwithstanding this                health incidence per ton values
                                             with benefits analyses performed for the                 difference. Specific health incidences                 associated with the refineries sector and
                                             analysis of the final Tier 3 Vehicle Rule                per pollutant were not reported in the                 electricity generation sector are drawn
                                             (79 FR 23414, April 28, 2014),638 the                    paper, so EPA staff sent BenMAP health                 solely from the 2018 EPA source
                                             final 2012 p.m. NAAQS Revision (78 FR                    incidence files for the oil and natural                apportionment TSD.
                                             3154, Jan. 15, 2013),639 and the final                   gas sector upon request. DOT staff then                   IPI expressed concern that the
                                             2017–2025 Light-duty Vehicle GHG                         calculated per ton values based on these               agency’s domestic fuel refining share
                                             Rule (77 FR 62624, Oct. 15, 2012).640                    files and the tons reported in the Fann                assumptions cause an underestimate in
                                             We expect this lag in updating our                       et al. paper.642 The only available health             the health effects counted in this
                                             health incidence and BPT estimates to                    impacts corresponded to the year 2025.                 analysis.647 For discussion of NHTSA’s
                                             have only a minimal impact on total PM                   Rather than trying to extrapolate, these               domestic fuel refining assumptions, see
                                             benefits, since the underlying mortality                 2025 values were used for all the years                Section III.G.2.b)(3), TSD Chapter 5.2,
                                             risk estimate based on the Krewski                       in the CAFE Model structure: 2020,                     and TSD Chapter 6.2.
                                             study is identical to an updated PM2.5                                                                             The CAFE Model follows a similar
                                                                                                      2025, and 2030.643 This simplification
                                             morality risk estimate derived from an                                                                          process for computing health impacts
                                                                                                      implies an overestimate of damages in
                                             expanded analysis of the same ACS                                                                               resulting from tailpipe emissions as it
                                                                                                      2020 and an underestimate in 2030.644
                                             cohort. We are aware of EPA’s work to                                                                           does for calculating health impacts from
                                             update its mobile source BPT and health                     We understand that uncertainty exists               upstream emissions. Previous
                                             incidence estimates to reflect these                     around the contribution of VOCs to                     rulemakings used the 2018 EPA source
                                             recent updates for use in future                         PM2.5 formation in the modeled health                  apportionment TSD as the source for the
                                             rulemaking analyses, and we will work                    impacts from the petroleum extraction                  health incidence per ton, matching the
                                             further with EPA in future rulemakings                   sector; however, based on feedback to                  CAFE Model tailpipe emissions
                                             to update and synchronize approaches.                    the 2020 final rule, we believe that the               inventory to the ‘‘on-road mobile
                                                The basis for the health impacts from                 updated health incidence values                        sources sector’’ in the TSD. However, a
                                             the petroleum extraction sector is a 2018                specific to petroleum extraction sector                more recent EPA paper from 2019
                                             oil and natural gas sector paper written                 emissions may provide a more                           (Wolfe et al.) 648 computes monetized
                                             by EPA staff (Fann et al.), which                        appropriate estimate of potential health               damage costs per ton values at a more
                                             estimates health impacts for this sector                 impacts from that sector’s emissions                   disaggregated level, separating on-road
                                             in the year 2025.641 This paper defines                  than the previous approach of applying                 mobile sources into multiple categories
                                             the oil and gas sector’s emissions not                   refinery sector emissions impacts to the               based on vehicle type and fuel type.
                                             only as arising from petroleum                           petroleum extraction sector. For further               Wolfe et al. did not report incidences
                                             extraction but also from transportation                  discussion of the BPT estimates                        per ton, but that information was
                                             to refineries, while the CAFE/GREET                      corresponding to the health effects                    obtained through communications with
                                             component is composed of only                            discussed in this section, see Section                 EPA staff. The Center for Biological
                                             petroleum extraction. After consultation                 III.G.2.b)(2).                                         Diversity, Chesapeake Bay Foundation,
                                                                                                                                                             Conservation Law Foundation,
                                                                                                         The petroleum transportation sector
                                             Triangle Park, NC. December. Available at: https://                                                             Earthjustice, Environmental Law &
                                                                                                      and fuel TS&D sector do not correspond
                                             cfpub.epa.gov/ncea/isa/                                                                                         Policy Center, Natural Resources
                                             recordisplay.cfm?deid=247132.                            to any one EPA source sector in the                    Defense Council, Public Citizen, Inc.,
                                                637 Krewski D., M. Jerrett, R.T. Burnett, R. Ma, E.   2018 EPA source apportionment TSD,                     Sierra Club, and Union of Concerned
                                             Hughes, Y. Shi, et al. 2009. Extended Follow-Up          so we use a weighted average of                        Scientists, in their joint summary
                                             and Spatial Analysis of the American Cancer              multiple different EPA sectors to
                                             Society Study Linking Particulate Air Pollution and                                                             comments, stated that the estimates of
                                             Mortality. HEI Research Report, 140, Health Effects      determine the health impact per ton                    the benefits of PM2.5 reductions have
                                             Institute, Boston, MA.                                   values for those sectors. We use a                     been improved with the addition of the
                                                638 U.S. Environmental Protection Agency (2014).      combination of different EPA mobile                    Wolfe et al. paper.649 We agree, and
                                             Control of Air Pollution from Motor Vehicles: Tier       source sectors from two different
                                             3 Motor Vehicle Emission and Fuel Standards Final                                                               continue to use these sources in the
                                             Rule: Regulatory Impact Analysis, Assessment and
                                                                                                      papers, the 2018 EPA source                            final rulemaking analysis as the
                                             Standards Division, Office of Transportation and                                                                categories are more expansive and
                                             Air Quality, EPA–420–R–14–005, March 2014.                  642 Nitrate-related health incidents were divided
                                                                                                                                                             specific than the original 2018 source.
                                             Available on the internet: http://www3.epa.gov/          by the total tons of NOX projected to be emitted in
                                             otaq/documents/tier3/420r14005.pdf.
                                                                                                                                                                The Wisconsin Department of Natural
                                                                                                      2025, sulfate-related health incidents were divided
                                                639 U.S. Environmental Protection Agency. (2012).     by the total tons of projected SOX, and EC/OC          Resources (WDNR) stated that ‘‘NHTSA
                                             Regulatory Impact Analysis for the Final Revisions       (elemental carbon and organic carbon) related
                                             to the National Ambient Air Quality Standards for        health incidents were divided by the total tons of        645 Environmental Protection Agency (EPA). 2018.

                                             Particulate Matter, Health and Environmental             projected EC/OC. Both Fann et al. and the 2018 EPA     Estimating the Benefit per Ton of Reducing PM2.5
                                             Impacts Division, Office of Air Quality Planning         source apportionment TSD define primary PM2.5 as       Precursors from 17 Sectors. https://www.epa.gov/
                                             and Standards, EPA–452–R–12–005, December                being composed of elemental carbon, organic            sites/production/files/2018-02/documents/
                                             2012. Available on the internet: http://                 carbon, and small amounts of crustal material.         sourceapportionmentbpttsd_2018.pdf.
                                             www3.epa.gov/ttnecas1/regdata/RIAs/finalria.pdf.         Thus, the EC/OC BenMAP file was used for the              646 Wolfe et al. 2019. Monetized health benefits
                                                640 U.S. Environmental Protection Agency (U.S.        calculation of the incidents per ton attributable to   attributable to mobile source emissions reductions
                                             EPA). (2012). Regulatory Impact Analysis: Final          PM2.5.                                                 across the United States in 2025. https://
                                             Rulemaking for 2017–2025 Light-Duty Vehicle                 643 These three years are used in the CAFE Model    pubmed.ncbi.nlm.nih.gov/30296769/.
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                                             Greenhouse Gas Emission Standards and Corporate          structure because it was originally based on the          647 IPI, Docket No. NHTSA–2021–0053–1579, at

                                             Average Fuel Economy.                                    estimate provided in the 2018 EPA source               39.
                                                641 Fann, N., Baker, K. R., Chan, E., Eyth, A.,       apportionment TSD.                                        648 Wolfe et al. 2019. Monetized health benefits

                                             Macpherson, A., Miller, E., & Snyder, J. (2018).            644 See EPA. 2018. Estimating the Benefit per Ton   attributable to mobile source emissions reductions
                                             Assessing Human Health PM2.5 and Ozone Impacts           of Reducing PM2.5 Precursors from 17 Sectors.          across the United States in 2025. https://
                                             from U.S. Oil and Natural Gas Sector Emissions in        https://www.epa.gov/sites/production/files/2018-       pubmed.ncbi.nlm.nih.gov/30296769/.
                                             2025. Environmental science & technology, 52(15),        02/documents/sourceapportionmentbpttsd_                   649 CBD et al., Docket No. NHTSA–2021–0053–

                                             8095–8103 (hereinafter, Fann et al.).                    2018.pdf, p. 9.                                        1572, at 5.



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                                             should work with EPA to offset any                      Dec. 30, 2021),653 NAAQS are set with                 behavior is likely to respond in complex
                                             increases in sulfur dioxide emissions                   an ‘‘adequate margin of safety’’ but this             ways to the level of CAFE standards that
                                             associated with the rule’’ and that                     ‘‘does not represent a zero-risk                      DOT establishes for future model years.
                                             ‘‘NHTSA should work with EPA to                         standard.’’ As such, it is important to                  It is important to report the benefits
                                             offset any short-term increases in NOX                  count health benefits from reductions in              and costs of this final rule in a format
                                             and VOC emissions associated with the                   criteria pollutants, regardless of whether            that conveys useful information about
                                             rule,’’ specifically citing the on-road                 they occur in nonattainment areas or                  how those impacts are generated and
                                             emissions that contribute to ozone                      not. Furthermore, the relative                        also distinguishes the impacts of those
                                             formation in Wisconsin. Furthermore,                    magnitude of the health benefits in our               economic consequences for private
                                             they state that ‘‘NHTSA’s analysis                      analysis is minimal compared to the                   businesses and households from the
                                             should be updated to reflect EPA’s                      other costs and benefits and does not                 effects on the remainder of the U.S.
                                             revised area designations for the 2015                  significantly change net benefits.                    economy. A reporting format will
                                             ozone NAAQs.’’ 650                                         We are aware of other limitations of               accomplish this objective to the extent
                                                                                                     using national values of health                       that it clarifies who incurs the benefits
                                                While this final rulemaking will result              incidences per ton associated with the                and costs of the final rule, and shows
                                             in small short-term increases in criteria               BPT approach, which we discuss                        how the economy-wide or ‘‘social’’
                                             pollutants, the number of vehicle re-                   extensively in prior rules, the NPRM,                 benefits and costs of the final rule are
                                             fueling events and emissions of certain                 and Chapter 5 of the TSD. That said, we               composed of its direct effects on vehicle
                                             criteria pollutants and precursors the                  believe that the BPT approach provides                producers, buyers, and users, plus the
                                             emissions impact will vary from area to                 a reasonable estimate of how different                indirect or ‘‘external’’ benefits and costs
                                             area depending on factors such as the                   levels of CAFE standards may impact                   it creates for the general public.
                                             composition of the local vehicle fleet                  public health.                                           Table III–37 and Table III–38 present
                                             and the amount of gasoline produced in                     The methodology for generating                     the incremental economic benefits and
                                             the area. As discussed further in the                   values for each emissions category in                 costs of the final rule and the
                                             Final SEIS, criteria pollutant impacts                  the CAFE Model is discussed in further                alternatives (described in detail in
                                             are by their nature diffuse and                         detail in Chapter 5 of the TSD. The                   Section IV) to increase CAFE standards
                                             indeterminate, which makes the                          Parameters file contains all of the health            for MYs 2024–26 at three percent and
                                             assessment of any potential mitigation                  impact per ton of emissions values used               seven percent discount rates in a format
                                             measures difficult; however, NHTSA                      in this final rule.                                   that is intended to meet these objectives.
                                             does not have jurisdiction to regulate                                                                        The tables include costs that are
                                             criteria and air toxic pollutant                        G. Simulating Economic Impacts of
                                                                                                     Regulatory Alternatives                               transfers between different economic
                                             emissions. However, as discussed                                                                              actors—these will appear as both a cost
                                             further in the Final SEIS, NHTSA did                       This section summarizes the agency’s               and a benefit in equal amounts (to
                                             update the Final SEIS analysis to reflect               approach for measuring the economic                   separate affected parties). Societal cost
                                             EPA’s revised area designations for the                 costs and benefits that will result from              and benefit values shown elsewhere in
                                             2015 ozone NAAQS, including                             establishing alternative CAFE standards               this document do not show costs that
                                             nonattainment area designations in                      for future model years. The benefit and               are transfers for the sake of simplicity
                                             Wisconsin and the Chicago area.                         cost measures the agency uses are                     but report the same net societal costs
                                                The Alliance for Automotive                          important considerations, because as                  and benefits. The final rule and the
                                             Innovation and CEI expressed the                        Office of Management and Budget                       alternatives would increase costs to
                                             concern that the analysis overstates                    (OMB) Circular A–4 states, benefits and               manufacturers for adding technology
                                             health effects. The Alliance argued that                costs reported in regulatory analyses                 necessary to enable new cars and light
                                             reductions in PM2.5 emissions ‘‘will not                must be defined and measured                          trucks to comply with fuel economy and
                                             provide public health benefits that are                 consistently with economic theory, and                emission regulations. It may also
                                             additive to the emissions reductions                    should also reflect how alternative                   increase fine payments by
                                             accomplished by EPA’s mobile-source                     regulations are anticipated to change the             manufacturers who would have
                                             and stationary-source programs for                      behavior of producers and consumers                   achieved compliance with the less
                                             criteria air pollutants.’’ 651 CEI objected             from a baseline scenario.654 For CAFE                 demanding baseline standards.
                                             to counting benefits from a reduction in                standards, those include vehicle                      Manufacturers are assumed to transfer
                                             PM emissions in areas that are not                      manufacturers, buyers of new cars and                 these costs on to buyers by charging
                                             classified as nonattainment areas.652 As                light trucks, owners of used vehicles,                higher prices; although this reduces
                                             EPA stated in their recent GHG final                    and suppliers of fuel, all of whose                   their revenues, on balance, the increase
                                             rule for MYs 2023–2026 (86 FR 74434,                      653 EPA. Revised 2023 and Later Model Year
                                                                                                                                                           in compliance costs and higher sales
                                                                                                     Light-Duty Vehicle Greenhouse Gas Emissions
                                                                                                                                                           revenue leaves them financially
                                               655 Average SC–GHG values are constructed using
                                                                                                     Standards: Response to Comments (EPA–420–R–           unaffected. Since the analysis assumes
                                             a 3 percent discount rate and are discounted back       21–027, December 2021) pp. 15–31.                     that manufacturers are left in the same
                                             to present value using a 3 percent discount rate.         654 White House Office of Management and
                                                                                                                                                           economic position regardless of the
                                               656 OMB Circular A–4, at 37–38.
                                                                                                     Budget, Circular A–4: Regulatory Analysis,            standards, they are excluded from the
                                               657 CBD et al., Appendix, Docket No. NHTSA–           September 17, 2003 (https://
                                             2021–0053–1572, at 31.                                  obamawhitehouse.archives.gov/omb/circulars_           tables.
                                               658 IPI, at 30; Jacobsen and Liao, at 2.              a004_a-4/), Section E.                                BILLING CODE 4910–59–P
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                                               655 Average SC–GHG values are constructed using

                                             a 3 percent discount rate and are discounted back
                                                                                                                                                                                               ER02MY22.105</GPH>




                                             to present value using a 3 percent discount rate.



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                                             BILLING CODE 4910–59–C                                  In effect, this will transfer some driving            consumer valuation of fuel efficiency
                                                Compared to the baseline standards,                  that would have been done in newer                    and an assumption that more fuel-
                                             the analysis shows that buyers of new                   vehicles under the baseline scenario to               efficient vehicles are less preferable to
                                             cars and light trucks will incur higher                 older models within the legacy fleet,                 consumers than their total cost to
                                             purchasing prices and financing costs,                  thus increasing costs for injuries (both              improve fuel economy. The agency
                                             which will lead to some buyers                          fatal and less severe) and property                   examines alternate assumptions
                                             dropping out of the new vehicle market.                 damages sustained in motor vehicle                    regarding consumer valuation, as well
                                             Drivers of new vehicles will also                       crashes. This stems from the fact that                as other assumptions that influence our
                                             experience a slight uptick in the risk of               cars and light trucks have become                     safety impact estimates in a sensitivity
                                             being injured in a crash because of mass                progressively more protective in crashes              analysis that can be found in the
                                             reduction technologies employed to                      over time (and also slightly less prone               accompanying FRIA.
                                             meet the increased standards. While this                to certain types of crashes, such as                     In exchange for these costs,
                                             effect is not statistically significant,                rollovers). Thus, shifting some travel                consumers will benefit from new cars
                                             NHTSA provides these results for                        from newer to older models would                      and light trucks with better fuel
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                                             transparency, and to demonstrate that                   increase injuries and damages sustained               economy. Drivers will experience lower
                                             their inclusion does not affect NHTSA’s                 by drivers and passengers because they                costs as a consequence of new vehicles’
                                             policy decision. Because of the                         are traveling in less safe vehicles and               decreased fuel consumption, and from
                                             increasing price of new vehicles, some                  not because it changes the risk profiles              fewer refueling stops required because
                                             owners may delay retiring and replacing                 of drivers themselves. These costs are                of their increased driving range. They
                                                                                                                                                                                                       ER02MY22.106</GPH>




                                             their older vehicles with newer models.                 largely driven by assumptions regarding               will experience mobility benefits as they


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                                             use newly purchased cars and light                      The following subsections will briefly                operation under more stringent
                                             trucks more in response to their lower                  describe the economic costs and                       regulatory alternatives, as discussed in
                                             operating costs. On balance, consumers                  benefits considered by the agency. For                Section III.G.1.b)(3). The surpluses
                                             of new cars and light trucks produced                   a complete discussion of the                          associated with sales and additional
                                             during the model years subject to this                  methodology employed and the results,                 mobility are inextricably linked as they
                                             final rule will experience significant                  see TSD Chapter 6 and FRIA Chapter 6,                 capture the direct costs and benefits
                                             economic benefits.                                      respectively. The safety implications of              accrued by purchasers of new vehicles.
                                                Table III–37 and Table III–38 also                   the final rule—including the monetary                 The sales surplus captures the welfare
                                             show that the changes in fuel                           impacts—are addressed in Section III.H.               loss to consumers when they forgo a
                                             consumption and vehicle use resulting                                                                         new vehicle purchase in the presence of
                                             from this final rule will in turn generate              1. Private Costs and Benefits                         higher prices and the additional
                                             both benefits and costs to society writ                 (a) Costs to Consumers                                mobility measures the benefit increased
                                             large. These impacts are ‘‘external,’’ in                                                                     mobility under lower operating
                                                                                                     (1) Technology Costs
                                             the sense that they are by-products of                                                                        expenses.
                                             decisions by private firms and                            The final rule and the alternatives                    The agency estimates the loss of sales
                                             individuals that alter vehicle use and                  would increase costs to manufacturers                 surplus based on the change in quantity
                                             fuel consumption but are experienced                    for adding technology necessary to                    of vehicles projected to be sold after
                                             broadly throughout society rather than                  enable new cars and light trucks to                   adjusting for quality improvements
                                             by the firms and individuals who                        comply with fuel economy and                          attributable to fuel economy. For
                                             indirectly cause them. In terms of costs,               emission regulations. Manufacturers are               additional information about consumer
                                             additional driving by consumers of new                  assumed to transfer these costs on to                 sales surplus, see TSD Chapter 6.1.2.
                                             vehicles in response to their lower                     buyers by charging higher prices. See
                                                                                                     Section III.C.6 and TSD Chapter 2.6.                  (3) Ancillary Costs of Higher Vehicle
                                             operating costs will increase the
                                                                                                                                                           Prices
                                             external costs associated with their                    (2) Consumer Sales Surplus
                                             contributions to traffic delays and noise                                                                        Some costs of purchasing and owning
                                             levels in urban areas, and these                          Buyers who would have purchased a                   a new or used vehicle scale with the
                                             additional costs will be experienced                    new vehicle with the baseline standards               value of the vehicle. Where fuel
                                             throughout much of the society. While                   in effect but decide not to do so in                  economy standards increase the
                                             most of the risk of additional driving or               response to the changes in new vehicles’              transaction price of vehicles, they will
                                             delaying purchasing a newer vehicle are                 prices due to more stringent standards                affect both the absolute amount paid in
                                             internalized by those who make those                    in place will experience a decrease in                sales tax and the average amount of
                                             decisions, a portion of the costs are                   welfare. The collective welfare loss to               financing required to purchase the
                                             borne by other road users. Finally, since               those ‘‘potential’’ new vehicle buyers is             vehicle. Further, where they increase
                                             owners of new vehicles will be                          measured by the forgone consumer                      the MSRP, they increase the appraised
                                             consuming less fuel, they will pay less                 surplus they would have received from                 value upon which both value-related
                                             in fuel taxes.                                          their purchase of a new vehicle in the                registration fees and a portion of
                                                Society will also benefit from more                  baseline.                                             insurance premiums are based. The
                                             stringent standards. Increased fuel                       Consumer surplus is a fundamental                   analysis assumes that the transaction
                                             efficiency will reduce the amount of                    economic concept and represents the                   price is a set share of the MSRP, which
                                             petroleum-based fuel consumed and                       net value (or net benefit) a good or                  allows calculation of these factors as
                                             refined domestically, which will                        service provides to consumers. It is                  shares of MSRP.
                                             decrease the emissions of carbon                        measured as the difference between                       For this final rule, NHTSA has revised
                                             dioxide and other greenhouse gases that                 what a consumer is willing to pay for a               its estimates of these ancillary costs to
                                             contribute to climate change, and, as a                 good or service and the market price.                 correct some mistakes in their
                                             result, the U.S. (and the rest of world)                OMB Circular A–4 explicitly identifies                accounting. First, NHTSA excludes
                                             will avoid some of the economic                         consumer surplus as a benefit that                    financing costs from the per-vehicle
                                             damages from future changes in the                      should be accounted for in cost-benefit               analysis. The availability of vehicle
                                             global climate. Similarly, reduced fuel                 analysis. For instance, OMB Circular                  financing is, if anything, a benefit to
                                             production and use will decrease                        A–4 states the ‘‘net reduction in total               consumers that would lower the cost to
                                             emissions of more localized air                         surplus (consumer plus producer) is a                 consumers of fuel-economy technology
                                             pollutants (or their chemical                           real cost to society,’’ and elsewhere                 by spreading out the costs over time.
                                             precursors), and the resulting decrease                 elaborates that consumer surplus values               Second, NHTSA has reduced its
                                             in the U.S. population’s exposure to                    be monetized ‘‘when they are                          estimate of insurance costs to avoid a
                                             harmful levels of these pollutants will                 significant.’’ 656                                    double-counting issue it identified.
                                             lead to lower costs from its adverse                      Accounting for the portion of fuel                  Specifically, a portion of the insurance
                                             effects on health. Decreasing                           savings that the average new vehicle                  premium goes to covering replacement
                                             consumption and imports of crude                        buyer demands, and holding all else                   vehicles and including that portion of
                                             petroleum for refining lower volumes of                 equal, higher average prices should                   the insurance cost would be duplicative
                                             gasoline and diesel will also create some               depress new vehicle sales and by                      with estimates of the upfront technology
                                             benefits throughout the U.S., in                        extension reduce consumer surplus. The                cost on the replacement vehicle (which
                                             potential gains in energy security as                   inclusion of consumer surplus is not                  is already captured in the analysis and
                                             businesses and households that are                      only consistent with OMB guidance, but                discussed above). For a detailed
                                             dependent on fuel are less subject to                   with other parts of the regulatory                    explanation of how the agency estimates
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                                             sudden and sharp changes in energy                      analysis. For instance, we calculate the              these costs, see TSD Chapter 6.1.1.
                                             prices.                                                 increase in consumer surplus associated                  These costs are included in the
                                                On balance, Table III–37 and Table                   with increased driving that results from              consumer per-vehicle cost-benefit
                                             III–38 show that both consumers and                     the decrease in the cost per mile of                  analysis but are not included in the
                                             society as a whole will experience net                                                                        societal cost-benefit analysis because
                                             economic benefits from the final rule.                    656 OMB Circular A–4, at 37–38.                     they are assumed to be transfers from


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                                             consumers to governments, financial                     decreasing demand.657 The agency                      (3) Additional Mobility
                                             institutions, and insurance companies.                  acknowledges that if fuel prices do                      Any increase in travel demand
                                                                                                     decrease as a result of this rule, the                provides benefits that reflect the value
                                             (b) Benefits to Consumers
                                                                                                     analysis could understate the amount of               to drivers and other vehicle occupants
                                             (1) Fuel Savings                                        fuel savings. However, given how                      of the added—or more desirable—social
                                                                                                     pervasive fuel price projections are                  and economic opportunities that
                                               The primary benefit to consumers of                   within the analysis, other estimates
                                             increasing CAFE standards are the                                                                             become accessible with additional
                                                                                                     would be incorrect as well. For                       travel. Under the alternatives in this
                                             additional fuel savings that accrue to
                                                                                                     example, our model assumes that                       analysis, the fuel cost per mile of
                                             new vehicle owners. Fuel savings are
                                                                                                     manufacturers will apply technology if                driving would decrease as a
                                             calculated by multiplying avoided fuel
                                                                                                     the fuel savings in the first 30 months               consequence of the higher fuel economy
                                             consumption by fuel prices. Each
                                                                                                     exceeds the technology costs. If prices               levels they require, thus increasing the
                                             vehicle of a given body style is assumed
                                                                                                     drop as a result of better fuel economy,              number of miles that buyers of new cars
                                             to be driven the same as all the others
                                                                                                     our standards would have a larger,                    and light trucks would drive as a
                                             of a comparable age and body style in
                                                                                                     negative impact on sales as fewer                     consequence of the well-documented
                                             each calendar year. The ratio of that
                                             cohort’s VMT to its fuel efficiency                     technology costs are ‘worth it’ in the                fuel economy rebound effect.
                                             produces an estimate of fuel                            eyes of consumers. It is not readily                     The fact that drivers and their
                                             consumption. The difference between                     apparent, then, whether holding fuel                  passengers elect to make more frequent
                                             fuel consumption in the baseline, and in                prices constant across alternatives                   or longer trips to gain access to these
                                             each alternative, represents the gallons                would increase or decrease the net                    opportunities when the cost of driving
                                             (or energy) saved. Under this                           benefits attributable to the standards.               declines demonstrates that the benefits
                                             assumption, our estimates of fuel                       Modeling fuel prices that respond                     they gain by doing so exceed the costs
                                             consumption from increasing the fuel                    dynamically is currently outside the                  they incur. At a minimum, the benefits
                                             economy of each individual model                        ability of the model. Furthermore, since              must equal the cost of the fuel
                                             depend only on how much its fuel                        fuel prices are influenced by many                    consumed to travel the additional miles
                                             economy is increased, and do not reflect                different factors—many of which are                   (or they would not have occurred). The
                                             whether its actual use differs from other               outside the purview of United States—                 cost of that energy is subsumed in the
                                             models of the same body type. Neither                   it’s not clear if modeling gas prices                 simulated fuel expenditures, so it is
                                             do our estimates of fuel consumption                    dynamically would enhance the                         necessary to account for the benefits
                                             account for variation in how much                       agency’s analysis.                                    associated with those miles traveled
                                             vehicles of the same body type and age                                                                        here. But the benefits must also offset
                                                                                                     (2) Refueling Benefit                                 the economic value of their (and their
                                             are driven each year, which appears to
                                             be significant (see TSD Chapter 4.3.2).                    Increasing CAFE standards, all else                passengers’) travel time, other vehicle
                                             Consumers save money on fuel                            being equal, affects the amount of time               operating costs, and the economic cost
                                             expenditures at the average retail fuel                 drivers spend refueling their vehicles in             of safety risks due to the increase in
                                             price (fuel price assumptions are                       several ways. First, they increase the                exposure that occurs with additional
                                             discussed in detail in TSD Chapter                      fuel economy of ICE vehicles produced                 travel. The amount by which the
                                             4.1.2), which includes all taxes and                    in the future, which increases vehicle                benefits of this additional travel exceeds
                                             represents an average across octane                     range and decreases the number of                     its economic costs measures the net
                                             blends. For gasoline and diesel, the                                                                          benefits drivers and their passengers
                                                                                                     refueling events for those vehicles.
                                             included taxes reflect both the Federal                                                                       experience, usually referred to as
                                                                                                     Conversely, to the extent that more
                                             tax and a calculated average state fuel                                                                       increased consumer surplus.
                                                                                                     stringent standards increase the
                                             tax. Expenditures on alternative fuels                                                                           TSD Chapter 6.1.5 explains the
                                                                                                     purchase price of new vehicles, they
                                             (E85 and electricity, primarily) are also                                                                     agency’s methodology for calculating
                                                                                                     may reduce sales of new vehicles and
                                             included in the calculation of fuel                                                                           additional mobility. The benefit of
                                                                                                     scrappage of existing ones, causing more              additional mobility over and above its
                                             expenditures, on which fuel savings are                 VMT to be driven by older and less
                                             based. And while the included taxes net                                                                       costs is measured by the change in
                                                                                                     efficient vehicles, which require more                consumers’ surplus. This is calculated
                                             out of the social benefit cost analysis (as             refueling events for the same amount of
                                             they are a transfer), consumers value                                                                         using the rule of one-half, and is equal
                                                                                                     VMT driven. Finally, sufficiently                     to one-half of the change in fuel cost per
                                             each gallon saved at retail fuel prices                 stringent standards may also change the
                                             including any additional fees such as                                                                         mile times the increase in vehicle miles
                                                                                                     number of electric vehicles that are                  traveled due to the rebound effect.
                                             taxes. See TSD Chapter 6.1.3 for                        produced, and shift refueling to occur at                In contrast to the societal cost-benefit
                                             additional details. In the TSD, the                     a charging station or at a residence,                 analysis, calculation of average costs
                                             agency considers the possibility that                   rather than at the pump—changing per-                 and benefits to consumers is done on a
                                             several of the assumptions made about                   vehicle lifetime expected refueling                   per-vehicle basis and is intended to
                                             vehicle use could lead to imprecision in                costs.                                                describe how alternative standards
                                             projecting fuel savings. The agency
                                                                                                        We estimate these savings by                       affect the costs and benefits of owning
                                             notes that these simplifying
                                                                                                     calculating the amount of refueling time              vehicles from the consumers’
                                             assumptions are necessary to model fuel
                                                                                                     avoided—including the time it takes to                perspective. The mobility costs and
                                             savings and likely have minimal impact
                                                                                                     find, refuel, and pay—and multiplying                 benefits per vehicle are affected by the
                                             to the accuracy of this analysis.
                                                                                                     it by DOT’s value of time of travel                   assumption that total VMT before
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                                               CBD et al. commented that NHTSA                       savings estimate. For a full description              adding the rebound effect will be the
                                             underestimates the fuel savings in the                  of the methodology, refer to TSD                      same in the baseline and all alternative
                                             analysis. CBD et al. argued that NHTSA                  Chapter 6.1.4.                                        cases (See TSD Chapter 4.3.1). Because
                                             needs to account for any fuel savings                                                                         the standards affect vehicle sales and
                                             that may be achieved if CAFE standards                    657 CBD et al., Appendix, Docket No. NHTSA–         scrappage which changes the number of
                                             cause gasoline prices to fall due to                    2021–0053–1572, at 31.                                vehicles in the alternative cases, the


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                                             CAFE Model changes VMT per vehicle                       changes in fuel economy create these                  approximate the change in the
                                             in the alternative cases to maintain a                   costs. Thus, unlike changes in the fuel               incremental contribution to congestion
                                             constant total non-rebounded VMT.                        costs drivers incur or the safety risks               and delays caused by additional car and
                                             When vehicle sales decrease in the                       they assume when they decide to travel                light truck use. For example, CARB
                                             alternative cases, VMT per vehicle                       more, changes in congestion and noise                 argued the revised values led the
                                             increases. IPI and Drs. Jacobsen and                     costs are not offset by corresponding                 analysis to overestimate congestion
                                             Liao of the University of California at                  changes in the benefits drivers                       costs. CARB claimed that the
                                             San Diego (UCSD) commented that                          experience by making more frequent                    miscalculation arises from the scaling of
                                             changes in the size and age composition                  trips or traveling to more distant                    vehicles per lane ‘‘because (1) it
                                             of the vehicle stock will change total                   destinations.                                         compares a figure for passenger cars to
                                             VMT.658 IPI suggested VMT will change                       While largely external to individual               a figure for light-duty vehicles that
                                             only ‘‘slightly,’’ while the UCSD                        drivers, congestion costs are limited to              includes sport-utility vehicles and vans,
                                             commenters suggest reallocating only 50                  road users as a whole; since road users               and (2) it is limited to interstate
                                             percent of the difference in non-                        include a significant fraction of the U.S.
                                                                                                                                                            highways instead of all roads.’’ 659
                                             rebounded VMT between the baseline                       population, however, we treat changes
                                                                                                                                                            CARB further argued that the revised
                                             and alternative cases. We recognize that                 in congestion costs as part of this rule’s
                                                                                                                                                            numbers do not account for changes in
                                             the assumption of constant non-                          broader economic impacts on society
                                                                                                      instead of as a private cost to those                 average speeds and improved road
                                             rebounded VMT is an approximation,
                                                                                                      whose choices impose it. Costs resulting              designs. California Attorney General et
                                             and we may consider the possibility of
                                                                                                      from road and highway noise are even                  al. concurred with CARB’s comment
                                             refining this method in the future.
                                                When the size of the vehicle stock                    more widely dispersed, because they are               and suggested using the 1997 estimates
                                             decreases in the alternative cases, VMT                  borne partly by surrounding residents,                updated only for inflation.660
                                             and fuel cost per vehicle increase.                      pedestrians, and other non-road users,                   The agency disagrees with CARB’s
                                             Because maintaining constant non-                        and for this reason are also considered               argument for several reasons. First, the
                                             rebounded VMT assumes consumers are                      as a cost to the society as a whole.                  agency’s scaling of vehicle-miles per
                                             willing to pay the full cost of the                         To estimate the economic costs                     lane-mile uses figures that include all
                                             reallocated vehicle miles, we offset the                 associated with changes in congestion                 vehicle classes rather than those for
                                             increase in fuel cost per vehicle by                     and noise caused by differences in miles              light-duty vehicles alone. SUVs had
                                             adding the product of the reallocated                    driven for the proposal, NHTSA                        only begun to enter the fleet in 1997;
                                             VMT and fuel cost per mile to the                        updated FHWA’s 1997 Highway Cost                      since then, they have increasingly
                                             mobility value. This corrects an error in                Allocation Study’s estimates of marginal              substituted for passenger cars, and
                                             the NPRM per vehicle analysis, which                     congestion costs to reflect changes in                travel by both cars and SUVs is
                                             included the fuel cost per vehicle of                    three factors that affect them: The time              included in the figures that the agency
                                             reallocated miles but not the mobility                   delays caused by the contribution of                  compares for 1997 and more recent
                                             benefit per vehicle. Because we do not                   additional travel to congestion,                      years.661 Today’s SUVs are used
                                             estimate other changes in cost per                       increases in typical vehicle occupancy,
                                                                                                                                                            interchangeably with passenger cars,
                                             vehicle that could result from the                       and the hourly value of each occupant’s
                                                                                                                                                            and it is more than reasonable to assume
                                             reallocated miles (e.g., maintenance,                    time. The agency assumed that delay
                                                                                                                                                            that an additional SUV mile will
                                             depreciation, etc.) we do not estimate                   per additional mile driven by cars and
                                                                                                                                                            produce the same marginal increase in
                                             the portion of the transferred mobility                  light trucks has increased in proportion
                                                                                                                                                            congestion costs as an additional
                                             benefits that would correspond to                        to growth in annual vehicle travel per
                                                                                                      lane-mile of road and highway capacity                passenger car mile.
                                             consumers’ willingness to pay for those
                                             costs. We do not estimate the                            in urban areas (where virtually all                      Second, the original 1997 FHWA
                                             consumers’ surplus associated with the                   congestion occurs) since the date of the              estimate of congestion costs and the
                                             reallocated miles because there is no                    original FHWA study. Noise costs per                  scaling that NHTSA used to update it
                                             change in total non-rebounded VMT                        additional mile driven were assumed to                both apply to all roads and highways,
                                             and thus no change in consumers’                         remain constant at their levels originally            and this comparison is consistent with
                                             surplus per consumer.                                    estimated by the FHWA study. Both                     the approach NHTSA has taken across
                                                                                                      congestion and noise costs were also                  the last 5 rulemakings. Third, the
                                             2. External Costs and Benefits                           updated to reflect changes in the                     comment did not explain the expected
                                             (a) Costs                                                economy-wide price level since their                  direction of changes in speed or provide
                                                                                                      original publication and make them                    support for the commenter’s claim that
                                             (1) Congestion and Noise                                 comparable to other economic values                   better road design has mitigated the
                                                Increased vehicle use associated with                 used in this analysis. The agency                     effect of increased traffic volumes on
                                             the rebound effect also contributes to                   previously relied on this study in its                travel speeds. Further, the commenter’s
                                             increased traffic congestion and                         2010 (75 FR 25324, May 7, 2010), 2011                 claims are difficult to reconcile: If we
                                             highway noise. Although drivers                          (76 FR 57106, Sept. 15, 2011), and 2012               assume that better roads enable higher
                                             obviously experience these impacts                       (77 FR 62624, Oct. 15, 2012) final rules,             speeds despite increased traffic
                                             themselves, they do not fully value the                  and, like the estimates used in the                   volumes, more frequent (and possibly
                                             costs these impacts impose on other                      proposal, a revised version for the 2020              more severe) crashes would result, and
                                             road users and surrounding residents,                    final rule (85 FR 24174, April 30, 2020).
                                             just as they do not fully value the                      Updating the individual underlying                      659 CARB, Attachment 2, NHTSA–2021–0053–
                                             emissions impacts of their own driving.                  components for congestion costs in this
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                                                                                                                                                            1521, at 13.
                                             Congestion and noise costs are largely                   analysis improves their currency and                    660 California Attorney General et al., Detailed

                                             ‘‘external’’ to the vehicle owners whose                 internal consistency with the rest of the             Comments, NHTSA–2021–0053–1499, at 32.
                                                                                                                                                              661 See, e.g., Tom Voelk, Rise of S.U.V.s: Leaving
                                             decisions about how much, where, and                     analysis.
                                                                                                                                                            Cars in Their Dust, With No Signs of Slowing, N.Y.
                                             when to drive more in response to                           Some commenters objected to the                    Times, May 21, 2020, available at https://
                                                                                                      agency’s use of increases in vehicle                  www.nytimes.com/2020/05/21/business/suv-sales-
                                               658 IPI, at 30; Jacobsen and Liao, at 2.               volumes per mile of roadway to                        best-sellers.html.



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                                             incidents are an important contributor                  the potential impact on government                    reductions in emissions of CO2, CH4,
                                             to congestion.662                                       agencies that rely on fuel tax revenue to             and N2O expected to result from this
                                                In response to these comments, the                   support the activities they fund.664                  rule using the SC–GHG estimates
                                             agency also analyzed changes in                            CFA erroneously commented that lost                presented in ‘‘Technical Support
                                             estimates of congestion delays reported                 gasoline taxes were improperly                        Document: Social Cost of Carbon,
                                             by the Texas Transportation Institute                   included—for the first time—as a cost of              Methane, and Nitrous Oxide Interim
                                             (TTI), which are widely cited, use well-                the rule.665 Not only have both EPA and               Estimates under Executive Order
                                             documented methods, and offer the only                  NHTSA previously reported changes in                  13990’’ (‘‘February 2021 TSD’’). These
                                             available measure of long-term trends in                gasoline tax payments by consumers                    SC–GHG estimates are interim global
                                             the economic costs of traffic congestion                and in revenues to government agencies,               values developed pursuant to E.O.
                                             and delays.663 TTI’s estimates of                       but NHTSA’s proposal explains in                      13990 for use in benefit-cost analysis.
                                             congestion delays are derived using                     multiple places that gasoline taxes are
                                                                                                     considered a transfer—a cost to                          The SC–GHG estimates used in our
                                             well-established patterns of travel
                                                                                                     governments and an identical benefit to               analysis were developed over many
                                             throughout the day and relationships
                                                                                                     consumers that has already been                       years, using a transparent process, peer-
                                             between vehicle travel volumes and
                                                                                                     accounted for in reported fuel savings—               reviewed methodologies, and input
                                             travel speeds for major roads and
                                                                                                     and has no impact on net benefits. In                 from the public. Specifically, in 2009,
                                             highways, and more recently on highly
                                                                                                     contrast, Walter Kreucher commented                   an interagency working group (IWG)
                                             detailed measures of actual hourly
                                                                                                     that billions in gasoline tax revenue                 that included experts from the DOT and
                                             travel speeds and vehicle volumes. The
                                                                                                     would be lost if we finalized stricter                other executive branch agencies and
                                             agency’s calculations using TTI’s
                                                                                                     standards.666 As indicated above,                     offices was established to support
                                             detailed historical database show that
                                                                                                     however, any reduction in tax revenue                 agencies in using the most
                                             from 1997 (the date of the original
                                                                                                     received by governments that levy taxes               comprehensive available science and to
                                             FHWA study) through 2017 (the end
                                                                                                     on fuel is exactly offset by lower fuel tax           promote consistency in the SC–GHG
                                             year used in the agency’s update),
                                                                                                     payments by consumers, so from an                     values used across agencies. The IWG
                                             person-hours of delay per vehicle-mile
                                                                                                     economy-wide standpoint reductions in                 published SCC estimates in 2010 that
                                             traveled increased 57 percent in the
                                                                                                     gasoline tax revenues are simply a                    were developed using three peer-
                                             Nation’s 100 largest urban areas and 52
                                                                                                     transfer of economic resources and has                reviewed Integrated Assessment Models
                                             percent in all (nearly 500) U.S. urban
                                                                                                     no effect on net benefits.                            relating CO2 and other GHG emissions
                                             areas. More suggestively, incremental
                                                                                                                                                           to climate change and its potential
                                             hours of delay per additional vehicle-                  (b) Benefits                                          economic impacts, and updated these
                                             mile traveled—a more direct measure of
                                                                                                     (1) Reduced Climate Damages                           estimates in 2013 using new versions of
                                             the impact of additional travel on
                                                                                                        Extracting and transporting crude                  each IAM. In August 2016, the IWG
                                             congestion delays and one more
                                                                                                     petroleum, refining it to produce                     published estimates of the social cost of
                                             comparable to that reported in the 1997
                                                                                                     transportation fuels, and distributing                methane (SC–CH4) and nitrous oxide
                                             FHWA study—grew by 86 percent in the
                                                                                                     fuel all generate additional emissions of             (SC–N2O) using methodologies
                                             largest areas and by 131 percent in all
                                                                                                     GHGs and criteria air pollutants beyond               consistent with the underlying the SCC
                                             U.S. urban areas over that same period.
                                                                                                     those from cars’ and light trucks’ use of             estimates. E.O. 13990 (issued on January
                                             These calculations suggest that the 58
                                                                                                     fuel. By reducing the volume of                       20, 2021) re-established an IWG, and
                                             percent increase in person-hours of
                                                                                                     petroleum-based fuel produced and                     directed it to publish interim SC–GHG
                                             delay per additional vehicle-mile of
                                                                                                     consumed, adopting higher CAFE                        values for CO2, CH4, and N2O within
                                             travel reflected in the agency’s updated
                                                                                                     standards will thus mitigate global                   thirty days. Furthermore, the E.O.
                                             estimate of incremental congestion costs
                                                                                                     climate-related economic damages                      tasked the IWG with updating the
                                             is reasonable, so the agency has elected
                                                                                                     caused by accumulation of GHGs in the                 methodologies used in calculating these
                                             to retain its earlier estimate.
                                                                                                     atmosphere, as well as the more                       SC–GHG values. The E.O. instructed the
                                             (2) Fuel Tax Revenue                                    immediate and localized health                        IWG to utilize ‘‘the best available
                                                As discussed previously in                           damages caused by exposure to criteria                economics and science,’’ and
                                             III.G.1.b)(1), a significant fraction of the            pollutants. Because they fall broadly on              incorporate principles of ‘‘climate risk,
                                             fuel savings experienced by consumers                   the U.S. population—and globally, in                  environmental justice, and
                                             includes avoided fuel taxes, which                      the case of climate damages—reducing                  intergenerational equity.’’ 667 The E.O.
                                             average nearly $0.50 per gallon when                    them represents an external benefit from              also instructed the IWG to take into
                                             Federal, state, and local excise and sales              requiring higher fuel economy. The                    account the recommendations from the
                                             taxes levied on gasoline are included.                  following subsections discuss the values              NAS committee convened on this topic
                                             Fuel taxes are treated as a transfer                    used to estimate the economic                         published in 2017.668 The February
                                             within the agency’s analysis, which                     consequences associated with climate                  2021 TSD provides a complete
                                             includes an offsetting loss in revenue to               damages and the discount rates applied                discussion of the IWG’s initial review
                                             government agencies as a cost of raising                to those benefits.                                    conducted under E.O. 13990, and
                                             CAFE standards, and thus do not affect                  (a) Valuation of the Social Cost of                      667 Executive Order on Protecting Public Health
                                             net benefits from this rule; the agency                 Greenhouse Gases                                      and the Environment and Restoring Science to
                                             reports this offsetting loss to illustrate                                                                    Tackle the Climate Crisis. (2021). Available at
                                                                                                        In the proposal, NHTSA estimated the
                                                                                                                                                           https://www.whitehouse.gov/briefing-room/
                                               662 See, e.g., https://safety.fhwa.dot.gov/           global social benefits from the                       presidential-actions/2021/01/20/executive-order-
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                                             speedmgt/ref_mats/fhwasa1304/Resources3/08%20                                                                 protecting-public-health-and-environment-and-
                                             -%20The%20Relation%20Between%20Speed%20                    664 See OMB Circular A–4 for more information      restoring-science-to-tackle-climate-crisis/.
                                             and%20Crashes.pdf. The agency also notes that if        on transfer payments, and how they should be             668 National Academy of Sciences (NAS). (2017).
                                             the average speed has increased, then our safety        accounted for in regulatory analysis.                 Valuing Climate Damage: Updating Estimation of
                                             costs would require adjustment as well.                    665 CFA, Docket No. NHTSA–2021–0053–1535, at       the Social Cost of Carbon Dioxide. Available at
                                               663 For an overview and links to detailed reports     5.                                                    https://www.nap.edu/catalog/24651/valuing-
                                             and documentation, see https://mobility.tamu.edu/          666 Walt Kreucher, Docket No. NHTSA–2021–          climate-damages-updating-estimation-of-the-social-
                                             umr/.                                                   0053–0013, at 14.                                     cost-of.



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                                             NHTSA incorporates that discussion by                   doing so. The recommended 3 percent                      guidance on discount rates spanning
                                             reference into this preamble.                           discount rate was chosen to represent                    displacement of investments and/or
                                               NHTSA is using the IWG’s interim                      the ‘‘consumption rate of interest’’                     consumption, and given the
                                             values, published in February 2021 in a                 approach, which discounts future costs                   considerations that climate damages are
                                             technical support document, for this                    and benefits to their present values                     modeled in consumption equivalent
                                             CAFE analysis.669 As a member of the                    using the rate at which consumers                        units and intergenerational equity, the
                                             IWG, DOT has thoroughly reviewed the                    appear to make tradeoffs between                         use of consumption based discount rates
                                             inputs and methodological choices for                   current consumption and equal                            is superior for estimating SC–GHG.
                                             these estimates, and DOT affirms that,                  consumption opportunities deferred to                       As the IWG states, ‘‘GHG emissions
                                             in its expert judgment, the Interim                     the future. OMB Circular A–4 reports an                  are stock pollutants, where damages are
                                             Estimates reflect the best available                    inflation-adjusted or ‘‘real’’ rate of                   associated with what has accumulated
                                             science and economics and are the most                  return on 10-year Treasury notes of 3.1                  in the atmosphere over time, and they
                                             appropriate values to use in the analysis               percent between 1973 and its 2003                        are long lived such that subsequent
                                             of this rule. This use of the IWG                       publication date and interprets this as                  damages resulting from emissions today
                                             estimates is the same approach as that                  approximating the rate at which society                  occur over many decades or centuries
                                             taken in DOT regulatory analyses                        is indifferent between consumption                       depending on the specific greenhouse
                                             between 2009 and 2016, and is                           today and in the future.                                 gas under consideration.’’ 675 OMB
                                             consistent with the proposal.                              The 7 percent rate reflects the                       Circular A–4 states that impacts
                                               NHTSA indicated in the NPRM that if                   opportunity cost of capital approach to                  occurring over such intergenerational
                                             the Interagency Working Group issued                    discounting, where the discount rate                     time horizons require special treatment:
                                             revised estimates of climate damages in                 approximates the forgone return on
                                                                                                                                                                Special ethical considerations arise when
                                             time for NHTSA to evaluate whether to                   private investment if the regulation                     comparing benefits and costs across
                                             incorporate them into this final rule,                  were to divert resources from capital                    generations. Although most people
                                             NHTSA would consider using them.                        formation.671 OMB Circular A–4 cites                     demonstrate time preference in their own
                                             The IWG has not issued revised                          pre-tax rates of return on capital as part               consumption behavior, it may not be
                                             estimates.                                              of its selection of the 7 percent rate.672               appropriate for society to demonstrate a
                                               The following section provides                        The IWG rejected the use of the                          similar preference when deciding between
                                             further discussion of the discount rates                opportunity cost of capital approach to                  the well-being of current and future
                                                                                                     discounting reductions in climate-                       generations. Future citizens who are affected
                                             that NHTSA uses in its regulatory                                                                                by such choices cannot take part in making
                                             analysis. For a full discussion of the                  related damages, concluding that the
                                                                                                                                                              them, and today’s society must act with some
                                             agency’s quantification of GHGs, see                    ‘‘consumption rate of interest is the                    consideration of their interest.676
                                             TSD Chapter 6.2.1 and the FRIA.                         correct discounting concept to use when
                                                                                                     future damages from elevated                                Furthermore, NHTSA notes that in
                                             (b) Discount Rates for Climate Related                  temperatures are estimated in                            2015, OMB—along with the rest of the
                                             Benefits                                                consumption-equivalent units as is done                  IWG—articulated that ‘‘Circular A–4 is
                                               A standard function of regulatory                     in the IAMs used to estimate the SC–                     a living document, which may be
                                             analysis is to evaluate tradeoffs between               GHG (National Academies 2017).’’ 673 In                  updated as appropriate to reflect new
                                             impacts that occur at different points in               fact, Circular A–4 indicates that                        developments and unforeseen issues,’’
                                             time. Many Federal regulations involve                  discounting at the consumption rate of                   and that ‘‘the use of 7 percent is not
                                             costly upfront investments that generate                interest is the ‘‘analytically preferred                 considered appropriate for
                                             future benefits in the form of reductions               method’’ when effects are presented in                   intergenerational discounting. There is
                                             in health, safety, or environmental                     consumption-equivalent units.674 DOT                     wide support for this view in the
                                             damages. To evaluate these tradeoffs,                   concurs that in light of Circular A–4’s                  academic literature, and it is recognized
                                             the analysis must account for the social                                                                         in Circular A–4 itself.’’ 677 Following
                                             rate of time preference—the broadly                       671 As the IWG explained, use of the 7 percent         this statement from OMB, and in light
                                             observed social preference for benefits                 opportunity cost of capital approach in fact ‘‘at best   of the need to weigh welfare to current
                                                                                                     creat[es] a lower bound on the estimate of net           and future generations, it would be
                                             that occur sooner versus those that                     benefits that would only be met in an extreme case
                                             occur further in the future.670 This is                 where regulatory costs fully displace investment.’’
                                                                                                                                                              inappropriate to apply an opportunity
                                             accomplished by discounting impacts                     Interagency Working Group on Social Cost of              cost of capital rate to estimate SC–GHG.
                                             that occur further in the future more                   Greenhouse Gases, United States Government,                 In addition to the ethical
                                                                                                     Technical Support Document: Social Cost of               considerations, Circular A–4 also
                                             than impacts that occur sooner.                         Carbon, Methane, and Nitrous Oxide, Interim
                                               OMB Circular A–4 affirmed the                         Estimates under Executive Order 13990, February
                                                                                                                                                              identifies uncertainty in long-run
                                             appropriateness of accounting for the                   2021. NHTSA agrees and observes that this rule           interest rates as another reason why it
                                             social rate of time preference in                       does not represent such an ‘‘extreme case.’’             is appropriate to use lower rates to
                                                                                                     NHTSA’s analysis assumes that most of the rule’s         discount intergenerational impacts,
                                             regulatory analyses and recommended                     costs and benefits, including technology costs
                                             discount rates of 3 and 7 percent for                   passed through to consumers, will affect
                                                                                                                                                              since recognizing such uncertainty
                                                                                                     consumption choices. The focus on consumption            causes the appropriate discount rate to
                                                669 Interagency Working Group on Social Cost of      rates is therefore especially appropriate.               decline gradually over progressively
                                             Greenhouse Gases, United States Government.               672 OMB Circular A–4.
                                                                                                                                                              longer time horizons. Circular A–4 also
                                             (2021). Technical Support Document: Social Cost of        673 Interagency Working Group on Social Cost of
                                                                                                                                                              acknowledges the difficulty in
                                             Carbon, Methane, and Nitrous Oxide Interim              Greenhouse Gases, United States Government,
                                             Estimates under Executive Order 13990, available at     Technical Support Document: Social Cost of
                                                                                                                                                              estimating appropriate discount rates for
                                             https://www.whitehouse.gov/wp-content/uploads/          Carbon, Methane, and Nitrous Oxide, Interim
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                                                                                                                                                                675 Ibid.
                                             2021/02/TechnicalSupportDocument_                       Estimates under Executive Order 13990, February
                                             SocialCostofCarbonMethaneNitrousOxide.pdf.              2021.                                                      676 OMB Circular A–4.
                                                670 This preference is observed in many market         674 OMB, Circular A–4. See also Declaration of           677 Interagency Working Group on the Social Cost

                                             transactions, including by savers that expect a         Dominic J. Mancini. Submitted in Support of              of Carbon, United States Government, Response to
                                             return on their investments in stocks, bonds, and       Defendants’ Motion for a Stay Pending Appeal,            Comments: Social Cost of Carbon for Regulatory
                                             other equities; firms that expect positive rates of     Louisiana v. Biden, Case No. 2:21–cv–01074–JDC–          Impact Analysis under Executive Order 12866, July
                                             return on major capital investments; and banks that     KK (W.D. La., filed Feb. 19, 2022) (confirming the       2015. Note that OMB, as a co-chair of the IWG,
                                             demand positive interest rates in lending markets.      appropriateness of this approach to discounting).        published the request for comments.



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                                             ‘‘intergenerational’’ time horizons,                    investments in climate mitigation are                 believed at the time this approach
                                             noting that ‘‘[p]rivate market rates                    negatively correlated with the overall market         represented an appropriate treatment of
                                             provide a reliable reference for                        rate of return. Use of this lower value was           the intergenerational issues presented
                                             determining how society values time                     also deemed responsive to certain judgments
                                                                                                                                                           by emissions that result in climate-
                                                                                                     based on the prescriptive or normative
                                             within a generation, but for extremely                  approach for selecting a discount rate and to         related damages over a very-long time
                                             long time periods no comparable private                 related ethical objections that have been             horizon, and was within scope of the
                                             rates exist.’’ 678 The social costs of                  raised about rates of 3 percent or higher.            IWG’s Technical Support Document:
                                             distant future climate damages—and by                                                                         Social Cost of Carbon, Methane, and
                                             implication, the value of reducing them                    Because the certainty-equivalent
                                                                                                                                                           Nitrous Oxide that recommends
                                             by lowering emissions of GHGs—are                       discount rate will lie progressively
                                                                                                                                                           discounting future climate damages at
                                             highly sensitive to the discount rate,                  farther below the best estimate of the
                                                                                                                                                           rates of 2.5, 3, and 5 percent.681
                                             and the present value of reducing future                current rate as the time horizon when
                                                                                                     future impacts occur is extended, the                    In addition, NHTSA emphasized the
                                             climate damages grows at an increasing                                                                        importance and value of considering the
                                             rate as the discount rate used in the                   IWG’s recent guidance also suggests that
                                                                                                     it may be appropriate to use a discount               benefits calculated using all four SC–
                                             analysis declines. This ‘‘non-linearity’’                                                                     GHG estimates for each of three
                                             means that even if uncertainty about the                rate that declines over time to account
                                                                                                     for interest rate uncertainty, as has been            greenhouse gases. NHTSA included the
                                             exact value of the long-run interest rate                                                                     social costs of CO2, CH4, and N2O
                                             is equally distributed between values                   recommended by NAS and EPA’s
                                                                                                     Science Advisory Board.679 The IWG                    calculated using the four different
                                             above and below the 3 percent                                                                                 estimates recommended in the February
                                             consumption rate of interest, the                       noted that it will consider these
                                                                                                     recommendations and the relevant                      2021 TSD (model average at 2.5 percent,
                                             probability-weighted (or ‘‘expected’’)                                                                        3 percent, and 5 percent discount rates;
                                             present value of a unit reduction in                    academic literature on declining rates in
                                                                                                     developing its final guidance on the                  95th percentile at 3 percent discount
                                             climate damages will be higher than the                                                                       rate) in the FRIA.
                                             value calculated using a 3 percent                      social cost of greenhouse gases.
                                                                                                        The IWG 2021 interim guidance also                    The IWG TSD does not address the
                                             discount rate. The effect of such                                                                             question of how agencies should
                                             uncertainty about the correct discount                  presented new evidence on the
                                                                                                     consumption-based discount rate                       combine its estimates of benefits from
                                             rate can be accounted for by using a                                                                          reducing GHG emissions that reflect
                                             lower ‘‘certainty-equivalent’’ rate to                  suggesting that a rate lower than 3
                                                                                                     percent may be appropriate. For                       these alternative discount rates with the
                                             discount distant future damages,                                                                              discount rates for nearer-term benefits
                                             defined as the rate that produces the                   example, the IWG replicated OMB
                                                                                                     Circular A–4’s original 2003                          and costs prescribed in OMB Circular
                                             expected present value of a reduction in                                                                      A–4. However, the February 2021 TSD
                                             future damages implied by the                           methodology for estimating the
                                                                                                     consumption rate using the average                    identifies 2.5 percent as the ‘‘average
                                             distribution of possible discount rates                                                                       certainty-equivalent rate using the
                                             around what is believed to be the most                  return on 10-year Treasury notes over
                                                                                                     the last 30 years and found a discount                mean-reverting and random walk
                                             likely single value.                                                                                          approaches from Newell and Pizer
                                                The IWG identifies ‘‘a plausible range               rate close to 2 percent. They also
                                                                                                     presented rates over a longer time                    (2003) starting at a discount rate of 3
                                             of certainty-equivalent constant
                                                                                                     horizon, finding an average rate of 2.3               percent.’’ 682 As such, NHTSA believed
                                             consumption discount rates: 2.5, 3, and
                                                                                                     percent from 1962 to the present.                     using a 2.5 percent discount rate for
                                             5 percent per year,’’ each intended to
                                                                                                     Finally, they summarized results from                 climate-related damages was consistent
                                             reflect the effect of uncertainty
                                                                                                     surveys of experts on the topic and                   with the IWG TSD.
                                             surrounding alternative estimates of the
                                             correct discount rate. The IWG’s                        found a ‘‘surprising degree of                           As indicated above, NHTSA’s PRIA
                                             justification for its selection of these                consensus’’ for using a 2 percent                     presented cost and benefit estimates
                                             rates is summarized in this excerpt from                consumption rate of interest to discount              using a 2.5 percent discount rate for
                                             its 2021 guidance:                                      future climate-related impacts.680                    reductions in climate-related damages
                                                                                                        NHTSA notes that the primary                       and 3 percent for non-climate related
                                                The 3 percent value was included as                  analysis of the NPRM estimated benefits               impacts. NHTSA also presented cost
                                             consistent with estimates provided in OMB’s
                                                                                                     from reducing emissions of CO2 and                    and benefits estimates using a 3 percent
                                             Circular A–4 (OMB 2003) guidance for the
                                             consumption rate of interest. . . . The upper           other GHGs using per-ton values of                    discount rate for reductions in climate-
                                             value of 5 percent was included to represent            reducing their emissions that                         related damages alongside estimates of
                                             the possibility that climate-related damages            incorporated a 2.5 percent discount rate              non-climate related impacts discounted
                                             are positively correlated with market returns,          for distant future climate damages,                   at 7 percent. This latter pairing of a 3
                                             which would imply a certainty equivalent                while it discounted costs and non-                    percent rate for discounting benefits
                                             value higher than the consumption rate of               climate related benefits using a 3                    from reducing climate-related damages
                                             interest. The low value, 2.5 percent, was                                                                     with a 7 percent discount rate for non-
                                                                                                     percent rate. NHTSA also presented cost
                                             included to incorporate the concern that
                                             interest rates are highly uncertain over time.          and benefits estimates in the primary                 climate related impacts is consistent
                                             It represents the average certainty-equivalent          analysis that reflected unit values of                with NHTSA’s past practice.683
                                             rate using the mean-reverting and random                reducing GHG emissions constructed                    However, NHTSA’s pairing in the PRIA
                                             walk approaches from Newell and Pizer                   using a 3 percent discount rate for                   of 2.5 percent for climate-related
                                             (2003) starting at a discount rate of 3 percent.        reductions in climate-related damages,                damage reductions with 3 percent for
                                             Using this approach, the certainty equivalent           while discounting costs and non-climate               non-climate related impacts was novel.
                                             is about 2.2 percent using the random walk              related benefits at 7 percent. NHTSA
                                             model and 2.8 percent using the mean
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                                                                                                                                                             681 Interagency Working Group on Social Cost of
                                             reverting approach. Without giving                        679 Interagency Working Group on Social Cost of     Greenhouse Gases, United States Government,
                                             preference to a particular model, the average                                                                 Technical Support Document: Social Cost of
                                                                                                     Greenhouse Gases, United States Government,
                                             of the two rates is 2.5 percent. Additionally,                                                                Carbon, Methane, and Nitrous Oxide, Interim
                                                                                                     Technical Support Document: Social Cost of
                                             a rate below the consumption rate of interest           Carbon, Methane, and Nitrous Oxide, Interim           Estimates under Executive Order 13990, February
                                             would also be justified if the return to                Estimates under Executive Order 13990, February       2021.
                                                                                                     2021.                                                   682 Ibid.
                                               678 Ibid.                                               680 Ibid.                                             683 See, e.g., the 2012 and 2020 final CAFE rules.




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                                                In this final rule, NHTSA has not                    unconstitutional because it treats them               global warming mitigation projected by
                                             selected a primary discount rate for the                ‘‘as less valuable or not equal under the             NHTSA is too small to generate climate
                                             social cost of greenhouse gases and                     eyes of the law when it comes to life,                benefits valued at the scale valued by
                                             instead presents non-GHG related                        liberty, personal security and a climate              NHTSA using the IWG Interim
                                             impacts of the final rule discounted at                 system that sustains human life, among                Estimates. CEI also argued that the 7
                                             3 and 7 percent alongside estimates of                  other unalienable rights.’’ AFPM argued               percent discount rate is the appropriate
                                             the social cost of greenhouse gases                     that we should discount the benefit of                discount rate for climate damage
                                             reflecting each of the three discount                   reduced climate-related costs at the                  reduction benefits and that using a
                                             rates presented by the IWG. This                        same rate as is used to discount other                lower rate would justify mitigation
                                             approach was selected because, as                       costs and benefits.685                                projects with a lower rate of return than
                                             NHTSA pointed out in the NPRM, the                         As noted above, NHTSA presented                    could be found in private markets. CEI’s
                                             IWG does not specify which of the                       and considered a range of discount                    rationale was that investing in higher
                                             discount rates it recommends should be                  rates, including 2.5 percent and 5                    rate of return projects today would pass
                                             considered the agency’s primary                         percent. The above discussion also                    along more wealth to future generations,
                                             estimate. The agency’s analysis showing                 explained why it is important to adjust               making them better able to overcome the
                                             our primary non-GHG impacts at 3 and                    the discounting approach in the context               adversity posed by potential climate
                                             7 percent alongside climate-related                     of intergenerational effects and                      change. They argued that the SC–GHG
                                             benefits discounted at each rate                        uncertainty about long-run interest                   is highly sensitive to the time horizon
                                             recommended by the IWG may be found                     rates. NHTSA disagrees, however, with                 of the analysis and that the SC–GHG
                                             in FRIA Chapter 6.5.6. For the sake of                  the argument that the use of discounting              drops significantly if the time horizon
                                             simplicity, most tables throughout this                 where there are intergenerational effects             for estimating climate damages is
                                             analysis pair both the 3 percent and the                is a violation of the Constitution. The               shortened from 300 years to 150 years,
                                             7 percent discount rates with the social                impacts on future generations are                     and suggested that the outer years of the
                                             costs of greenhouse gases discounted at                 reflected in the estimates used in this               300-year time-horizon were speculative.
                                             a 3 percent rate. To calculate the present              analysis.                                             CEI also argued that the IWG uses an
                                             value of climate benefits, we also use                     IPI et al. commented in general                    outdated equilibrium climate sensitivity
                                             the same discount rate as the rate used                 support of the agency’s approach to                   distribution and that more recent
                                             to discount the value of damages from                   estimating SC–GHG. They argued that                   studies present distributions with lower
                                             future GHG emissions, for internal                      the agency should acknowledge that the                modal and central values. They argued
                                             consistency.684 We believe that this                    IWG’s estimates are appropriate but may               that CO2 emissions have important
                                             approach provides policymakers with a                   underestimate the effects of climate                  benefits to agriculture and plant growth
                                             range of costs and benefits associated                  change,686 and that the transparent and               through carbon fertilization, which
                                             with the rule using a reasonable range                  rigorous methodology employed by IWG                  increases internal plant water use
                                             of discounting approaches and                           was based on the available science                    efficiency. Finally, they argued that the
                                             associated climate benefits, as well as                 which adds credibility to their                       IWG’s assumptions regarding human
                                             the 95th percentile value that illustrates              estimates.687 Their comment continued                 adaptation mitigating the costs of
                                             the potential for climate change to cause               by arguing that the agency should                     climate change and projected baseline
                                             damages that are much higher than the                   continue to use a global estimate of                  carbon emissions were unduly
                                             ‘‘best guess’’ damage estimates. This                   SCC–GHG because doing so is                           pessimistic.
                                             approach is also consistent with the                    supported by science and a domestic                      Estimating the social costs of future
                                             options outlined by NAS’s 2017                          estimate would understate U.S.                        climate damages caused by emissions of
                                             recommendations on how SC–GHG                           extraterritorial interests, damages such              greenhouse gases, or SC–GHG, requires
                                             estimates can ‘‘be combined in RIAs                     as security threats and transboundary                 analysts to make a number of
                                             with other cost and benefits estimates                  damages that spillover into the U.S., and             projections that necessarily involve
                                             that may use different discount rates.’’                harm U.S. citizens and assets that are                uncertainty—for example, about the
                                             NAS reviewed ‘‘several options,’’                       extraterritorial.688 Finally, IPI et al.              likely future pattern of global emissions
                                             including ‘‘presenting all discount rate                commented that the agency’s approach                  of GHGs—and to model multifaceted
                                             combinations of other costs and benefits                to discounting climate-related benefits               scientific phenomena, including the
                                             with [SC–GHG] estimates.’’                              was appropriate, but argued that the                  effect of cumulative emissions and
                                                                                                                                                           atmospheric concentrations of GHGs on
                                             (c) Comments and Responses About the                    agency should consider aligning with
                                                                                                                                                           climate measures including global
                                             Agency’s Choice of Social Cost of                       EPA’s methodology of reporting climate
                                                                                                                                                           surface temperatures and precipitation
                                             Carbon Estimates and Discount Rates                     benefits at 3 percent for the majority of
                                                                                                                                                           patterns. Each of these entail critical
                                                California Attorney General et al.                   the tables and include a sensitivity
                                                                                                                                                           judgements about complex scientific
                                             commented that the 3 percent discount                   analysis at a 2 percent discount rate.689
                                                                                                                                                           and modeling questions. Doing so
                                             rate was too high, referencing the                      Many of the points raised by IPI et al.
                                                                                                                                                           requires specialized technical expertise,
                                             discussion in the IWG’s interim                         are aligned with the agency’s approach
                                                                                                                                                           accumulated experience, and expert
                                             guidance showing rates on 10-year                       in both the proposal and final rule.
                                                                                                                                                           judgment, and highly trained,
                                             Treasury notes hovering around 2                           Competitive Enterprise Institute
                                                                                                                                                           experienced, and informed analysts can
                                             percent over the last 30 years. Our                     recommended against the agency’s use
                                                                                                                                                           reasonably differ in their judgements.
                                             Children’s Trust commented that the                     of the Interagency Working Group’s                       CEI’s comments raise questions about
                                             use of any discount rate on reductions                  Interim Estimates of the social cost of               the IWG’s selection of the specific
                                             in future climate damages is                            carbon. CEI argued that the degree of                 assumptions and parameter values it
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                                                                                                       685 AFPM, NHTSA–2021–0053–1530, at 19–21.
                                                                                                                                                           used to produce the estimates of the
                                                684 This approach follows the same approach that
                                                                                                       686 IPI et al., Docket No. NHTSA–2021–0053–
                                                                                                                                                           social costs of various GHGs that
                                             the IWG’s February 2021 TSD recommended ‘‘to                                                                  NHTSA relies on in this regulatory
                                             ensure internal consistency—i.e., future damages        1547, at 4–7.
                                             from climate change using the SC–GHG at 2.5
                                                                                                       687 Id. at 31–41.                                   analysis, and contends that using
                                             percent should be discounted to the base year of the      688 Id. at 7–14.                                    alternative assumptions and values
                                             analysis using the same 2.5 percent rate.’’               689 Id. at 14–31.                                   would reduce the IWG’s recommended


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                                             values significantly. However, the                      perspectives presented outside of the                    distribution it uses for simulating the
                                             agency notes that the IWG’s                             full context of the IWG’s significantly                  equilibrium climate sensitivity in a
                                             membership includes experts in climate                  technical and multifaceted assessments.                  future forthcoming update, it is clear
                                             science, estimation of climate-related                  Furthermore, these alternative estimates                 that the distribution used for the interim
                                             damages, and economic valuation of                      are reliant on the commenters’ specific                  values is reasonable and scientifically
                                             those impacts, and that these members                   set of assumptions of the future being                   defensible.
                                             applied their collective expertise to                   correct.690 The IWG’s analysis                              CEI also commented that we should
                                             review and evaluate available empirical                 considered the possibility that its                      use an SC–GHG in our main analysis
                                             evidence and alternative projections of                 assumptions were either too                              that only reflects damages to the United
                                             important measures affecting the                        conservative or extreme, and based its                   States. As an initial matter, such an
                                             magnitude and cost of such damages.                     guidance on a robust review of potential                 estimate would undermine the many
                                             The agency also notes that the IWG                      outcomes.                                                rationales for a global estimate
                                             members employed a collaborative,                         CEI commented that the probability                     articulated by the IWG, which
                                             consensus-based process to arrive at                    distribution function the IWG uses to                    emphasizes the value of a global
                                             their collective judgements about the                   simulate the equilibrium climate                         analysis to sufficiently and
                                             most reliable assumptions and                           sensitivity is outdated and that more                    comprehensively estimate climate
                                             parameter values. In addition, the IWG                  recent empirical work suggests the                       damages. NHTSA believes that
                                             uses its consensus assumptions and                      distribution should have a lower central                 continued reliance on the IWG’s
                                             estimates in conjunction with three                     tendency. However, CEI’s comment                         recommendations in this respect
                                             different widely recognized, peer-                      overlooked the seminal work published                    remains appropriate for all of the
                                             reviewed models of climate economic                     in 2021 by the Intergovernmental Panel                   reasons outlined above, which
                                             impacts, and its recommended values                     on Climate Change (IPCC)—an                              underscore the reasonableness of the
                                             represent a synthesis of the costs each                 organization of expert scientists with                   IWG’s consensus-based approach.
                                             one estimates on the basis of that                      195 members chartered by the United                         However, even beyond the
                                             common set of inputs. Finally, DOT                      Nation and the World Meteorological                      recommendations of the IWG, NHTSA
                                             uses its own judgment in applying the                   Organization that reviews the scientific                 agrees with the IWG that climate change
                                             estimates in this analysis.                             work of thousands of contributors all                    is a global problem and that the global
                                                                                                     over the world and provides a                            SC–GHG values are appropriate for this
                                               Thus, the agency believes that the SC–                                                                         analysis. Emitting greenhouse gases
                                             GHG estimates developed by the IWG                      comprehensive summary ‘‘about what is
                                                                                                     known about the drivers of climate                       creates a global externality, in that GHG
                                             have two important advantages over                                                                               emitted in one country mix uniformly
                                             other available estimates: First, they are              change, its impacts and future risks, and
                                                                                                     how adaptation and mitigation can                        with other gases in the atmosphere and
                                             the product of consensus estimates of                                                                            the consequences of the resulting
                                             the critical inputs necessary to estimate               reduce those risks.’’ 691 This work was
                                                                                                                                                              increased concentration of GHG are felt
                                             damage costs for GHGs; and second,                      subjected to a transparent review by
                                                                                                                                                              all over the world.
                                             they synthesize the results of multiple                 experts and governments all around the                      The effects of climate change are
                                             estimation methods represented in                       world to ‘‘ensure an objective and                       global and affect the United States
                                             different widely regarded models. As a                  complete assessment and to reflect a                     through many different pathways. These
                                             consequence, NHTSA views the IWG’s                      diverse range of views and                               include through destabilization that
                                             recommended values as the most                          expertise.’’ 692 The IPCC’s most recent                  affects our national security, economic
                                             reliable among those that were available                report states that ‘‘[i]mproved                          impacts due to interlinked global
                                             for it to use in its analysis. While the                knowledge of climate processes,                          economies, in danger and risk to U.S.
                                             agency acknowledges that—as CEI                         paleoclimate evidence and the response                   military assets abroad, harm to soldiers
                                             notes—selecting certain input                           of the climate system to increasing                      stationed outside the United States,
                                             assumptions and parameter estimates                     radiative forcing gives a best estimate of               increased migration to the United States
                                             different from those the IWG chose                      equilibrium climate sensitivity of 3                     due to climate events like drought, the
                                             could reduce those values, it also agrees               degrees Celsius.’’ 693 This is the same                  provision of disaster aid in response to
                                             with the IWG that equally and perhaps                   value the IWG’s probability distribution                 disasters caused by climate change,
                                             more plausible assumptions and                          function uses as the median estimate of                  interruptions to supply chains from
                                             parameter values would have resulted                    equilibrium climate sensitivity. While                   extreme weather events, and in many
                                             in estimated SC–GHG values that were                    the IWG may choose to revisit the                        other ways. Given methodological
                                             far higher than those the group                                                                                  challenges, it has not yet been possible
                                                                                                       690 For example, CEI argued that the IWG
                                             ultimately recommended. Furthermore,                                                                             to derive a robust social cost estimate
                                                                                                     estimates ‘‘err[ed] on the side of alarm and
                                             due to omitted damage categories,                       regulatory ambition.’’ However, if CEI is being          that isolates impacts to the United
                                             NHTSA concurs with the IWG that its                     overly optimistic about how mankind can deal with        States and its inhabitants and, in many
                                             estimates are likely conservative                       a changing climate or the possibility that carbon        respects, such an estimate represents an
                                             underestimates. Unlike the IWG’s work,                  may have some benefits on agriculture, IWG’s             artificial distinction that fails to account
                                                                                                     estimate could be an accurate—or even
                                             we feel that CEI, Children’s Trust, and                 underestimate—of the SC–GHG.                             for the comingling of interests
                                             the other commenters did not address                      691 Intergovernmental Panel on Climate Change          throughout the world. The models used
                                             the inherent uncertainty in estimating                  website, https://www.ipcc.ch/about/.                     both for the Interim Estimates and for
                                             the SC–GHG. Specifically, we note that                    692 Ibid.
                                                                                                                                                              the 2020 rule’s SC–GHG value do not
                                                                                                       693 IPCC, 2021: Summary for Policymakers. In:
                                             any alternative model that attempts to                                                                           organize all of the relevant economic
                                                                                                     Climate Change 2021: The Physical Science Basis.
                                             project the costs of GHGs over the                                                                               and welfare impacts by country, and as
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                                                                                                     Contribution of Working Group I to the Sixth
                                             coming decades—and centuries—will                       Assessment Report of the Intergovernmental Panel         such, it is not possible to develop robust
                                             be subject to the same uncertainty and                  on Climate Change [Masson-Delmotte, V., P. Zhai,         estimates of U.S.-specific damages. As
                                             criticisms raised by commenters.                        A. Pirani, S.L. Connors, C. Péan, S. Berger, N. Caud,   the Government Accountability Office
                                                                                                     Y. Chen, L. Goldfarb, M. I. Gomis, M. Huang, K.
                                             Commenters essentially ask NHTSA to                     Leitzell, E. Lonnoy, J.B.R. Matthews, T.K. Maycock,
                                                                                                                                                              concluded in a June 2020 report
                                             replace this working group’s expertise                  T. Waterfield, O. Yelekçi, R. Yu and B. Zhou (eds.)].   examining the SC–GHG values used in
                                             in favor of specific alternative                        Cambridge University Press. In Press. SPM–13.            the 2020 rule, the models ‘‘were not


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                                             premised or calibrated to provide                       reduce emissions. The only way to                     billion. Moreover, these figures—like
                                             estimates of the social cost of carbon                  achieve an efficient allocation of                    any cost-benefit analysis results in a
                                             based on domestic damages.’’ 694                        resources for emissions reduction on a                CAFE rulemaking—offered only one
                                             Further, the report noted that NAS                      global basis—and so benefit the United                informative data point in addition to the
                                             found that country-specific social costs                States and its citizens—is for all                    host of considerations that NHTSA must
                                             of carbon estimates were ‘‘limited by                   countries to base their policies on global            balance by statute when determining
                                             existing methodologies, which focus                     estimates of damages.                                 maximum feasible standards. Even
                                             primarily on global estimates and do not                   Further, in practice, data and                     taking the severely reduced climate
                                             model all relevant interactions among                   modeling limitations naturally restrain               benefit estimates into account, the
                                             regions.’’ 695 It is also important to note             the ability of estimates of SC–GHG to                 overall balance of other significant
                                             that the 2020 rule’s SC–GHG values                      include all of the important physical,                qualitative and quantitative
                                             were never peer reviewed, and when                      ecological, and economic impacts of                   considerations and factors support the
                                             their use in a specific regulatory action               climate change, such that the estimates               selection of the preferred alternative, as
                                             was challenged, a Federal court                         are a partial accounting of climate                   described at length throughout this final
                                             determined that use of a U.S.-only value                change impacts and will therefore tend                rule. Accordingly, even the limited
                                             had been ‘‘soundly rejected by                          to be underestimates of the marginal                  perspective of impacts urged by
                                             economists as improper and                              benefits of abatement. As an empirical                commenters such as CEI would not alter
                                             unsupported by science,’’ and that the                  matter, the development of a U.S.-                    the standards necessitated in this
                                             values themselves omitted key U.S.-                     specific SC–GHG is greatly complicated                rulemaking.
                                             specific damages including to supply                    by the relatively few region- or country-               NHTSA believes that the three issues
                                             chains, U.S. assets and companies, and                  specific estimates of the SC–GHG in the               raised by CEI and specifically addressed
                                             geopolitical security. California v.                    literature.                                           in this section on the IWG’s interim
                                             Bernhardt, 472 F.Supp.3d 573, 613–14                       Importantly, due to methodological                 values—regarding the use of
                                             (N.D. Cal. 2020).                                       constraints, NHTSA is not aware of a                  opportunity cost of capital discounting,
                                                Furthermore, the United States cannot                robust analysis that isolates damages to              the use of global values for the social
                                             address the domestic consequences of                    the United States. Due to these                       costs of greenhouse gases, and the
                                             climate change for the United States by                 constraints, the SC–GHG value used in                 probability distribution function of
                                             itself. Instead, we need other nations to               the 2020 final rule is an underestimate               equilibrium climate sensitivity—are
                                             take action to reduce their own                         of damages to the United States, and as               representative of their comments overall
                                             domestic emissions and to consider the                  such is inappropriately low for purposes              in that they choose to highlight areas of
                                             benefits of their emission reductions to                of informing the current analysis.                    uncertainty and dynamics that would
                                             the United States. In order to ensure                   However, NHTSA explored an analysis                   tend to reduce the social cost of carbon.
                                             other nations take similar actions to                   incorporating a U.S.-specific social cost             In each case, CEI has chosen to ignore
                                             reduce GHG emissions, the United                        of carbon as promoted by commenters                   sources of uncertainty and dynamics
                                             States is actively involved in developing               such as CEI in order to comply with a                 that may increase the social cost of
                                             and implementing international                          preliminary injunction issued by the                  carbon and asserts scientific authority
                                             commitments to secure reductions in                     United States District Court for the                  only where the cited papers or
                                             GHG emissions. If the United States fails               Western District of Louisiana on                      dynamics would tend to reduce it.
                                                                                                     February 11, 2022, that enjoined                        Contrary to the position put forward
                                             to consider the benefits (and harms) of
                                                                                                     NHTSA from, among other activities,                   by Children’s Trust that it is unlawful
                                             its actions to other countries, our
                                                                                                     ‘‘[a]dopting, employing, treating as                  to discount the estimated costs of SC–
                                             bargaining position is significantly
                                                                                                     binding, or relying upon any [SC–GHG]                 GHG, we also believe that discounting
                                             weakened. It is hard to argue that a large                                                                    the SC–GHG estimate to develop a
                                             emitter like China, for example, should                 estimates based on global effects,’’ as
                                                                                                     well as from ‘‘adopting, employing,                   present value of the benefits of reducing
                                             consider the global consequences of its                                                                       GHG emissions is consistent with the
                                             actions—including to the United                         treating as binding, or relying upon the
                                                                                                     work product of the [IWG].’’ 696 When                 law, and that the discounting approach
                                             States—if the United States fails to do                                                                       used by the IWG is reasonable.
                                             so. As a result, the United States may                  NHTSA considered that analysis, the
                                                                                                     agency determined that the selected                   Unsurprisingly, when the cost-benefit
                                             fail to secure sufficient emission                                                                            analysis is the predominant basis for an
                                             reduction commitments from its                          standards continue to remain maximum
                                                                                                     feasible.                                             agency’s decision, courts have
                                             counterpart s to reduce adverse                                                                               previously reviewed and affirmed rules
                                             consequences from climate change that                      Even with the underestimate of
                                                                                                     climate benefits, the analysis still                  that discount climate-related costs.698
                                             will affect the United States if it were to                                                                   Courts have likewise advised agencies
                                             use U.S.-specific values for the SC–                    contained numerous quantitative
                                                                                                     indicia that the new standards remained               to approach cost-benefit analyses with
                                             GHG. A wide range of scientific and                                                                           impartiality, to ensure that important
                                             economic experts have emphasized the                    appropriate. For instance, fuel savings
                                                                                                     for the preferred alternative still                   factors are captured in the analysis,
                                             issue of reciprocity as support for                                                                           including climate benefits,699 and to
                                             considering global damages of GHG                       exceeded the price increase due to the
                                                                                                     rule by $290.697 Likewise, a calendar                 ensure that the decision rests ‘‘on a
                                             emissions. Using a global estimate of                                                                         consideration of the relevant
                                             damages in U.S. analyses of regulatory                  year accounting using a 3 percent
                                                                                                     discount rate still revealed a net benefit            factors.’’ 700 NHTSA has followed these
                                             actions allows the United States to                                                                           principles here.
                                             continue to actively encourage other                    for the preferred alternative of $28.1
                                                                                                                                                             For these reasons, NHTSA believes
                                             nations, including emerging major                                                                             that the Interim Estimates employed in
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                                                                                                       696 Louisiana v. Biden, Order, No. 2:21–CV–
                                             economies, to take significant steps to                 01074, ECF No. 99 (W.D. La. Feb. 11, 2022). That
                                                                                                     injunction was subsequently stayed. Louisiana v.        698 See, e.g., E.P.A. v. EME Homer City
                                               694 GAO, Social Cost of Carbon: Identifying a         Biden, Order, No. 22–30087, Doc. No. 00516242341      Generation, L.P., 572 U.S. 489 (2015).
                                             Federal Entity to Address the National Academies’       (5th Cir. Mar. 16, 2022).                               699 CBD v. NHTSA, 538 F.3d 1172, 1197 (9th Cir.

                                             Recommendations Could Strengthen Regulatory               697 This final rule is estimated to increase the    2008).
                                             Analysis, GAO–20–254 (June 2020) at 29.                 price of model year 2029 vehicles by $1,087 and         700 State Farm, 463 U.S. 29, 43 (1983) (internal
                                               695 Id. at 26.                                        save consumer $1,387.                                 quotation marks omitted).



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                                             this analysis and the results they                      values to use as inputs in the CAFE                    ton,’’ since they describe these estimates
                                             produce are the most reliable estimates                 Model. Like the estimates associated                   in terms of emissions avoided. In the
                                             of what are inherently uncertain values                 with health incidences per ton of                      CAFE Model input structure, these are
                                             it could have selected, and that the                    criteria pollutant emissions, we use                   generally referred to as monetized
                                             range of values used to examine the                     multiple EPA papers and conversations                  health impacts or damage costs
                                             sensitivity of its results adequately                   with EPA staff to appropriately account                associated with pollutants emitted, not
                                             incorporate the range of uncertainty                    for monetized damages for each                         avoided, unless the context states
                                             surrounding the values used in its                      pollutant associated with the source                   otherwise.
                                             central analysis.                                       sectors included in the CAFE Model,                      The Competitive Enterprise Institute
                                                                                                     based on which papers contain the most                 questioned the use of the specific EPA
                                             (2) Reduced Health Damages                              up-to-date data corresponding to the                   studies that inform the BPT values that
                                                The CAFE Model estimates monetized                   relevant source sectors.702 The various                NHTSA uses, namely the Six Cities
                                             health effects associated with emissions                emission source sectors included in the                Study.707 We report only one BPT
                                             from three criteria pollutants: NOX,                    EPA papers do not always correspond                    estimate in this final rule, based on the
                                             SOX, and PM2.5. As discussed in Section                 exactly to the emission source categories              Krewski et al. study, to be consistent
                                             III.F above, although other criteria                    used in the CAFE Model.703 In those                    with EPA in their final GHG rule. We
                                             pollutants are currently regulated, we                  cases, we map multiple EPA sectors to                  consulted with EPA staff at the Office of
                                             only calculate impacts from these three                 a single CAFE source category and                      Air Quality Planning and Standards
                                             pollutants since they are known to be                   compute a weighted average of the                      (OAQPS) on the most appropriate
                                             emitted regularly from mobile sources,                  health impact per ton values.                          benefit per ton values to use for the
                                             have the most adverse effects to human                     CBD et al. stated that the estimates of             various upstream and tailpipe emission
                                             health, and are based on EPA papers                     the benefits of PM2.5 reductions were                  categories. EPA bases its benefits
                                             that estimate the benefits per ton of                   improved by the addition of the Wolfe                  analyses on peer-reviewed studies of air
                                             reducing these pollutants.                              et al. paper to the sources used by                    quality and health effects and peer-
                                                CBD et al. stated that NHTSA                         NHTSA.704 We agree, and continue to                    reviewed studies of the monetary values
                                             improved the monetization of PM2.5                      use these sources in the final                         of public health and welfare
                                             attributable to fuel economy standards                  rulemaking analysis as they allow us to                improvements. Very recently, EPA
                                             (discussed further below); however, the                 map sectors to categories that are more                updated its approach to estimating the
                                             commenters also argued that NHTSA                       expansive and specific than the original               benefits of changes in PM2.5 and
                                             should monetize benefits from                           2018 source.                                           ozone.708 709 These updates were based
                                             reductions in ozone and air toxics.701                     EPA uses the value of a statistical life            on information drawn from the recent
                                                As we discussed in the proposal,                     (VSL) to estimate premature mortality                  2019 PM2.5 and 2020 Ozone Integrated
                                             other pollutants, especially those that                 impacts, and a combination of                          Science Assessments (ISAs), which
                                             are precursors to ozone, are difficult to               willingness to pay estimates and costs of              were reviewed by the Clean Air Science
                                             model due to the complexity of their                    treating the health impact for estimating              Advisory Committee (CASAC) and the
                                             formation in the atmosphere, and EPA                    the morbidity impacts.705 EPA’s 2018                   public.710 711 EPA has not updated its
                                             does not calculate benefit-per-ton                      TSD, ‘‘Estimating the Benefit per Ton of               mobile source BPT estimates to reflect
                                             estimates for these. We will continue to                Reducing PM2.5 Precursors from 17                      these updates in time for this analysis.
                                             explore this concept for future analyses.               Sectors,’’ 706 (referred to here as the                Instead, based on the recommendation
                                             Chapter 5.4 of the TSD includes a                       2018 EPA source apportionment TSD)                     of EPA staff, we use the same PM2.5 BPT
                                             section on uncertainty related to                       contains a more detailed account of how                estimates that we used in the NPRM to
                                             monetizing health impacts. The Final                    health incidences are monetized. It is                 ensure consistency between the values
                                             SEIS also includes a section describing                 important to note that the EPA sources                 corresponding to different source
                                             the health effects of ozone and air toxics              cited frequently refer to these monetized              sectors. The BPT estimates used are
                                             (see Section 4.1.1.2).                                  health impacts per ton as ‘‘benefits per               based on the review of the 2009 PM
                                                The CAFE Model computes the                                                                                 ISA 712 and 2012 PM ISA Provisional
                                                                                                        702 Environmental Protection Agency (EPA). 2018.
                                             monetized impacts associated with
                                                                                                     Estimating the Benefit per Ton of Reducing PM2.5
                                             health damages from each pollutant by                   Precursors from 17 Sectors. https://www.epa.gov/
                                                                                                                                                              707 Competitive Enterprise Institute, Docket No.

                                             multiplying monetized health impact                     sites/production/files/2018-02/documents/              NHTSA–2021–0053–1546, at 3.
                                             per ton values by the total tons of these               sourceapportionmentbpttsd_2018.pdf; Wolfe et al.         708 U.S. Environmental Protection Agency (U.S.

                                             pollutants, which are emitted from both                 2019. Monetized health benefits attributable to        EPA). 2021a. Regulatory Impact Analysis for the
                                                                                                     mobile source emissions reductions across the          Final Revised Cross-State Air Pollution Rule
                                             upstream and tailpipe sources. Chapter                  United States in 2025. https://                        (CSAPR) Update for the 2008 Ozone NAAQS. EPA–
                                             5 of the TSD accompanying this final                    pubmed.ncbi.nlm.nih.gov/30296769/; Fann et al.         452/R–21–002. March.
                                             rule includes a detailed description of                 2018. Assessing Human Health PM2.5 and Ozone             709 U.S. Environmental Protection Agency (U.S.

                                             the emission factors that inform the                    Impacts from U.S. Oil and Natural Gas Sector           EPA). 2021b. Estimating PM2.5- and Ozone-
                                                                                                     Emissions in 2025. https://www.ncbi.nlm.nih.gov/       Attributable Health Benefits. Technical Support
                                             CAFE Model’s calculation of the total                   pmc/articles/PMC6718951/.                              Document (TSD) for the Final Revised Cross-State
                                             tons of each pollutant associated with                     703 The CAFE Model’s emission source sectors        Air Pollution Rule Update for the 2008 Ozone
                                             upstream and tailpipe emissions.                        follow a similar structure to the inputs from GREET.   Season NAAQS. EPA–HQ–OAR–2020–0272. March.
                                                These monetized health impacts per                   See Chapter 5.2 of the TSD accompanying this             710 U.S. Environmental Protection Agency (U.S.

                                             ton values are closely related to the                   notice for further information.                        EPA). 2019a. Integrated Science Assessment (ISA)
                                                                                                        704 CBD et al., at 5.                               for Particulate Matter (Final Report, 2019). U.S.
                                             health incidence per ton values                            705 Although EPA and DOT’s VSL values differ,       Environmental Protection Agency, Washington, DC,
                                             described above in Section III.F and in                 DOT staff determined that using EPA’s VSL was          EPA/600/R–19/188, 2019.
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                                             detail in Chapter 5.4 of the TSD. We use                appropriate here, since it was already included in       711 U.S. Environmental Protection Agency (U.S.

                                             the same EPA sources that provide                       these monetized health impact values, which were       EPA). 2019a. Integrated Science Assessment (ISA)
                                                                                                     best suited for the purposes of the CAFE Model.        for Ozone and Related Photochemical Oxidants
                                             health incidence values to determine                       706 See Environmental Protection Agency (EPA).      (Final Report). U.S. Environmental Protection
                                             which monetized health impacts per ton                  2018. Estimating the Benefit per Ton of Reducing       Agency, Washington, DC, EPA/600/R–20/012, 2020.
                                                                                                     PM2.5 Precursors from 17 Sectors. https://               712 U.S. Environmental Protection Agency (U.S.
                                               701 CBD et al., Docket No. NHTSA–2021–0053–           www.epa.gov/sites/production/files/2018-02/            EPA). 2009. Integrated Science Assessment for
                                             1572, at 5.                                             documents/sourceapportionmentbpttsd_2018.pdf.                                                   Continued




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                                             Assessment 713 and include a mortality                  include other BPT values in one health                2020, 2025, and 2030. For the years in
                                             risk estimate derived from the Krewski                  effects sensitivity case described in                 between the source years used in the
                                             et al. (2009) 714 analysis of the American              Chapter 7 of the FRIA. Further                        input structure, the CAFE Model applies
                                             Cancer Society (ACS) cohort and                         sensitivity cases were not deemed                     values from the closest source year. For
                                             nonfatal illnesses consistent with                      necessary for the purposes of this                    instance, the model applies 2020
                                             benefits analyses performed for the                     analysis, since criteria pollutant health             monetized health impact per ton values
                                             analysis of the final Tier 3 Vehicle                    impacts make up a very small portion of               for calendar years 2020–2022 and
                                             Rule,715 the final 2012 PM NAAQS                        overall benefits.                                     applies 2025 values for calendar years
                                             Revision,716 and the final 2017–2025                       Our Children’s Trust objected to using             2023–2027. For some of the monetized
                                             Light-duty Vehicle GHG Rule.717 We                      discount rates when monetizing health                 health damage values, in order to match
                                             expect this lag in updating our BPT                     benefits, stating that ‘‘to apply a                   the structure of other impacts costs, we
                                             estimates to have only a minimal impact                 discount rate to monetized health                     developed proxies for 7 percent
                                             on total PM benefits, since the                         impacts is also completely                            discounted values for specific source
                                             underlying mortality risk estimate based                inappropriate and unlawful and                        sectors by using the ratio between a
                                             on the Krewski study is identical to an                 discriminates against children.’’ 719 The             comparable sector’s 3 and 7 percent
                                             updated PM2.5 morality risk estimate                    health impacts of exposure to criteria                discounted values. In addition, we used
                                             derived from an expanded analysis of                    pollutants occur well after exposure to               implicit price deflators from the Bureau
                                             the same ACS cohort. We are aware of                    air pollution (i.e., the impacts have long            of Economic Analysis (BEA) to convert
                                             EPA’s work to update its mobile source                  ‘‘latency periods’’), and therefore it is             different monetized estimates to 2018
                                             BPT estimates to reflect these recent                   appropriate to reflect some difference in             dollars, to be consistent with the rest of
                                             updates for use in future rulemaking                    timing (through discounting) in the                   the CAFE Model inputs.
                                             analyses, and will work further with                    monetized values.                                       This process is described in more
                                             EPA in future rulemakings to update                        We disagree with Our Children’s                    detail in Chapter 6.2.2 of the TSD
                                             and synchronize approaches to BPT                       Trust’s assertion that applying a                     accompanying this final rule. In
                                             estimates.                                              discount rate to health benefits is illegal.          addition, the CAFE Model
                                                Auto Innovators also suggested                       Our Children’s Trust did not provide                  documentation contains more details of
                                             additional sensitivity analysis of BPT                  any specific laws that we were allegedly              the model’s computation of monetized
                                             inputs, citing the EPA Science Advisory                 violating, nor are we aware of any such               health impacts. All resulting emissions
                                             Board’s ‘‘recommended sensitivity                       law. Guidance from OMB Circular A–4                   damage costs for criteria pollutants are
                                             analyses of alternative values of the                   recommends using discount rates of 3                  located in the Criteria Emissions Cost
                                             dose-response function, differential                    and 7 percent in benefit-cost analyses                worksheet of the Parameters file.
                                             toxicity by type of particle, and                       and has been used for regulatory                      (3) Reduction in Petroleum Market
                                             spatially-dependent VSL values.’’ 718 We                analyses for decades, including in the                Externalities
                                                                                                     evaluation of regulations with health                    By amending existing standards, this
                                             Particulate Matter (Final Report). EPA–600–R–08–        impacts similar to those of this final
                                             139F. National Center for Environmental                                                                       action will reduce domestic
                                             Assessment—RTP Division, Research Triangle Park,
                                                                                                     rule.                                                 consumption of gasoline, producing a
                                             NC. December. Available at: http://cfpub.epa.gov/          However, OMB Circular A–4 also                     corresponding decrease in the Nation’s
                                             ncea/cfm/recordisplay.cfm?deid=216546.                  acknowledges the ethical considerations               demand for crude petroleum, a
                                               713 U.S. Environmental Protection Agency (U.S.
                                                                                                     involved in analyzing impacts occurring               commodity that is traded actively in a
                                             EPA). 2012. Provisional Assessment of Recent            over intergenerational time horizons:
                                             Studies on Health Effect of Particulate Matter                                                                worldwide market. U.S. consumption
                                             Exposure. EPA/600/R–12/056F. National Center for        Special ethical considerations arise when             and imports of petroleum products have
                                             Environmental Assessment—RTP Division,                  comparing benefits and costs across                   three potential effects on the domestic
                                             Research Triangle Park, NC. December. Available at:     generations. Although most people
                                             https://cfpub.epa.gov/ncea/isa/
                                                                                                                                                           economy that are often referred to
                                                                                                     demonstrate time preference in their own              collectively as ‘‘energy security
                                             recordisplay.cfm?deid=247132.
                                                                                                     consumption behavior, it may not be
                                               714 Krewski D., M. Jerrett, R.T. Burnett, R. Ma, E.                                                         externalities.’’ Increases in their
                                                                                                     appropriate for society to demonstrate a
                                             Hughes, Y. Shi, et al. 2009. Extended Follow-Up
                                                                                                     similar preference when deciding between
                                                                                                                                                           magnitude are sometimes cited as
                                             and Spatial Analysis of the American Cancer                                                                   possible social costs of increased U.S.
                                             Society Study Linking Particulate Air Pollution and     the well-being of current and future
                                             Mortality. HEI Research Report, 140, Health Effects     generations. Future citizens who are affected         demand for petroleum, and analogously,
                                             Institute, Boston, MA.                                  by such choices cannot take part in making            any reduction in their value in response
                                               715 U.S. Environmental Protection Agency (2014).      them, and today’s society must act with some          to lower U.S. consumption or imports of
                                             Control of Air Pollution from Motor Vehicles: Tier      consideration of their interest.720                   petroleum represent potential economic
                                             3 Motor Vehicle Emission and Fuel Standards Final
                                             Rule: Regulatory Impact Analysis, Assessment and        Factoring in competing social interests               benefits.
                                             Standards Division, Office of Transportation and        presents additional difficulties in                      First, the U.S. accounts for a
                                             Air Quality, EPA–420–R–14–005, March 2014.              weighing these ethical considerations.                sufficiently large (although declining)
                                             Available on the internet: http://www3.epa.gov/
                                                                                                     As of this time, we include health                    share of global petroleum demand such
                                             otaq/documents/tier3/420r14005.pdf.                                                                           that changes in domestic consumption
                                               716 U.S. Environmental Protection Agency. (2012).     benefits at the 3 percent as well as 7
                                             Regulatory Impact Analysis for the Final Revisions      percent discount rate and will consider               of petroleum products can affect global
                                             to the National Ambient Air Quality Standards for       the question of lower discount rates for              petroleum prices. Any increase in global
                                             Particulate Matter, Health and Environmental
                                                                                                     health benefits in future analyses.                   petroleum prices that results from
                                             Impacts Division, Office of Air Quality Planning                                                              higher U.S. gasoline demand will cause
                                             and Standards, EPA–452–R–12–005, December                  The CAFE Model health impacts
                                             2012. Available on the internet: http://                inputs are based partially on the                     a transfer of revenue from consumers of
                                                                                                                                                           petroleum to oil suppliers worldwide,
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                                             www3.epa.gov/ttnecas1/regdata/RIAs/finalria.pdf.        structure of the 2018 EPA source
                                               717 U.S. Environmental Protection Agency (U.S.
                                                                                                     apportionment TSD, which reports                      because consumers throughout the
                                             EPA). (2012). Regulatory Impact Analysis: Final
                                                                                                     benefits per ton values for the years                 world are ultimately subject to the
                                             Rulemaking for 2017–2025 Light-Duty Vehicle                                                                   higher global price that results.
                                             Greenhouse Gas Emission Standards and Corporate
                                             Average Fuel Economy.                                     719 Our Children’s Trust, Docket No. NHTSA–         Although this transfer is simply a shift
                                               718 Auto Innovators, Docket No. NHTSA–2021–           2021–0053–1587, at 3.                                 of resources that produces no change in
                                             0053–1492, at 92.                                         720 OMB Circular A–4.                               global economic welfare, the financial


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                                             drain it produces on the U.S. economy                   external cost of increased U.S.                          As one illustration of the comments
                                             is sometimes cited as an external cost of               consumption of petroleum products.                    that the agency received on this issue,
                                             increased U.S. petroleum consumption                    Conversely, reducing domestic                         the Applied Economics Clinic (AEC)
                                             because consumers of petroleum                          consumption of refined products                       argued on behalf of the California
                                             products are unlikely to consider it.                   reduces exposure to supply disruptions                Attorney General and the CARB that the
                                             Similarly, a decline in U.S.                            or rapid price changes and petroleum                  expert assessment of the likelihood of
                                             consumption of petroleum-derived                        users’ costs for adjusting rapidly to                 petroleum supply disruptions
                                             transportation fuel will reduce global                  them, which will reduce the external                  underlying the agency’s estimate of
                                             petroleum demand and exert some                         economic costs associated with                        macroeconomic disruption costs
                                             downward pressure on worldwide                          domestic petroleum consumption.                       estimated disruption probabilities that
                                             prices. Although the resulting savings to               When U.S. oil consumption is linked to                were far too low to be consistent with
                                             worldwide consumers of petroleum                        the globalized and tightly                            recent experience, causing the agency’s
                                             products is again a transfer—this time                  interconnected oil market, as it is now,              cost estimate to be unrealistically low.
                                             from oil producers to consumers—it                      the only means of reducing the exposure               AEC also noted that NHTSA’s estimates
                                             may reduce the financial drain on the                   of U.S. consumers to global oil shocks                were presented as a single value without
                                             U.S. economy caused by domestic oil                     is to reduce their consumption. Thus                  acknowledging the range of uncertainty
                                             production and imports.                                 the reduction in oil consumption driven               customarily estimated to surround it,
                                                As the U.S. approaches self-                         by fuel economy standards creates an                  and that other estimates reported in the
                                             sufficiency in petroleum production                     energy security benefit.                              same source on which NHTSA relies for
                                             (the Nation became a net exporter of                       This benefit is the original purpose               its disruption costs are significantly
                                             petroleum in 2020), any effect of                       behind the CAFE standards. Oil prices                 higher. AEC argued that the agency
                                             reduced domestic demand on global                       are inherently volatile, in part because              should return to using the estimates of
                                             petroleum prices increasingly results in                geopolitical risk affects prices.                     disruption probabilities and expected
                                             a transfer from U.S. petroleum                          International conflicts, sanctions, civil             costs from Oak Ridge National
                                             producers to domestic consumers of                      conflicts targeting oil production                    Laboratories (ORNL) that it had relied
                                             refined products.721 Thus not only does                 infrastructure, pandemic-related                      on in previous analyses, whose central
                                             it leave net U.S. welfare unaffected, it                economic upheaval, and cartels have all               value it estimated at more than twice
                                             also ceases even to be a financial burden               had dramatic and sudden effects on oil                the figure the agency used to analyze its
                                             on the U.S. economy. In fact, as the U.S.               prices in recent years. U.S. net exporter             proposed rule. However, the agency
                                             becomes a larger net petroleum                          status does not insulate U.S. drivers                 notes that both ORNL’s estimates of
                                             exporter, any transfer from global                      from higher gas prices, because those                 supply disruption costs and the
                                             consumers to petroleum producers                        prices are currently largely determined               alternative estimates presented in the
                                             would become a financial benefit to the                 by oil prices set in the globally                     source NHTSA relies on use exactly the
                                             U.S. economy, although uncertainty in                   integrated market. Given these                        same type of expert elicitation of the
                                             the Nation’s long-term import-export                    dynamics, the effective policies to                   probabilities and magnitudes of
                                             balance makes it difficult to project                   protect consumers from oil price spikes               disruptions used in the study from
                                             precisely how these effects might                       are those that reduce the oil-intensity of            which NHTSA’s cost estimates were
                                             change in response to increased                         the economy, including fuel economy                   derived, and also reflect less up to date
                                             consumption.                                            standards.                                            assumptions about other factors such as
                                                Higher U.S. petroleum consumption                       Finally, some analysts argue that                  petroleum prices and global petroleum
                                             also increases domestic consumers’                      domestic demand for imported                          supply elasticities that affect its cost
                                             exposure to oil price shocks and by                     petroleum may also influence U.S.                     estimates. For these reasons, the
                                             doing so impose potential costs on all                  military spending. Because the                        agency’s analysis of this final rule
                                             U.S. petroleum users (including those                   increased cost of military activities                 continues to rely on its earlier estimates.
                                             outside the light duty vehicle sector,                  would not be reflected in the prices                     In addition, AEC argues that net
                                             whose consumption would be                              drivers pay at the gas pump, increased                financial transfers between U.S.
                                             unaffected by this final rule) from                     military spending to secure oil imports               suppliers and consumers of petroleum
                                             possible interruptions in the global                    is often represented as a third category              products are unlikely to be zero in any
                                             supply of petroleum or rapid                            of external costs form increased U.S.                 single year because of year-to-year
                                             fluctuations in global oil prices. These                petroleum consumption. NHTSA has                      variation in U.S. gross imports and
                                             potential costs arise from petroleum                    received extensive comments to past                   exports of petroleum, and that the
                                             users’ need to pay more for oil-based                   actions on this topic.                                agency’s analysis should explicitly
                                             products, to switch energy sources, or                     Each of these three factors would be               account for forecast variation in these
                                             adjust production methods rapidly in                    expected to decrease—albeit by a                      volumes. The agency notes that this
                                             response to reduced supplies or higher                  limited magnitude—as a consequence of                 would force it to rely on inherently
                                             prices, which they cannot recover once                  decreasing U.S. petroleum consumption                 uncertain forecasts of U.S. and global
                                             supplies are restored or prices return to               resulting from more stringent CAFE                    petroleum production and demand, and
                                             pre-disruption levels, and from losses in               standards. TSD Chapter 6.2.4 provides a               in any case, would be unlikely to
                                             economic output while supplies are                      comprehensive explanation of the                      produce a significantly different
                                                                                                     agency’s analysis of these three impacts              outcome from the analysis presented
                                             disrupted. Because users of petroleum
                                                                                                     and explains how it values potential                  here because AEC’s assumption
                                             products are unlikely to consider the
                                                                                                     economic benefits from reducing each                  depends primarily on the Nation’s net
                                             effect of their increased purchases on
                                                                                                     one. The agency’s proposed rule also
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                                             the risk of these effects, their                                                                              imports over the entire period it spans.
                                                                                                     presented this same explanation and                   Discounting of net transfers projected to
                                             probability-weighted (or ‘‘expected’’)
                                                                                                     drew numerous comments, most                          occur in distant future years would also
                                             economic value is often cited as an
                                                                                                     asserting that the value the agency                   reduce their present values, particularly
                                               721 See https://www.eia.gov/energyexplained/oil-      attached to reducing the expected                     or distant future years.
                                             and-petroleum-products/imports-and-exports.php          economic costs of oil supply disruptions                 Finally, AEC also argues that even if
                                             (accessed March 17, 2022).                              and price volatility was too low.                     net dollar-valued revenue transfers


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                                             between U.S. consumers and suppliers                    than they would have at lower prices. If              production elsewhere should be
                                             are zero, their net welfare impacts will                manufacturers produce fewer vehicles                  studied.724 As discussed above,
                                             not necessarily be neutral and should be                as a consequence of lower demand,                     NHTSA’s labor utilization analysis is
                                             accounted for. The agency notes that                    manufacturers may need less labor to                  intentionally narrow in focus and all
                                             while this assertion is correct,                        produce their fleet and dealers may                   effects are reported at a national level.
                                             accounting for the true welfare rather                  need less labor to sell the vehicles.                 While we appreciate the benefits of
                                             than the financial consequences of                      Conversely, as manufacturers add                      identifying how employment may shift
                                             revenue transfers would require detailed                equipment to each new vehicle, the                    between geographic areas as different
                                             information on the income distributions                 industry will require labor resources to              suites of technologies are employed,
                                             of U.S. consumers of petroleum                          develop, sell, and produce additional                 identifying where to deploy resources
                                             products and of equity holders (and                     fuel-saving technologies.723 We also                  and trainings within the Nation is
                                             other investors) in domestically based                  account for the possibility that new                  outside the scope of this rulemaking.
                                             oil companies, as well as estimates of                  standards could shift the relative shares             We may consider expanding the scope
                                             the marginal utility of income and its                  of passenger cars and light trucks in the             of the labor utilization analysis or
                                             variation over the income spectrum.                     overall fleet. Since the production of                reporting subnational results in future
                                             This level of detail is well beyond the                 different vehicles involves different                 rulemaking analyses.
                                             scope of the agency’s analyses of other,                amounts of labor, this shift impacts the                 All labor effects are estimated and
                                             much more significant economic                          quantity of estimated labor.                          reported at a national level, in person-
                                             impacts of this final rule, and                           The analysis considers the direct                   years, assuming 2,000 hours of labor per
                                             employing it would complicate the                       labor effects that the CAFE standards                 person-year.725 These labor hours are
                                             analysis and its interpretation                         have across the automotive sector. The                not converted into monetized values
                                             enormously without a commensurate                       facets include (1) dealership labor                   because we assume that the labor costs
                                             improvement in its usefulness to                        related to new light-duty vehicle unit                are included into a new vehicle’s
                                             decision-makers or the public.                          sales; (2) assembly labor for vehicles,               purchasing price. The analysis estimates
                                                In the proposal, the agency reviewed                 engines, and transmissions related to                 labor effects from the forecasted CAFE
                                             its previous assumption that 90 percent                 new vehicle unit sales; and (3) labor                 Model technology costs and from review
                                             of any reduction in domestic petroleum                  related to mandated additional fuel                   of automotive labor for the MY 2020
                                             refining to produce gasoline that results               savings technologies, accounting for                  fleet. The agency uses information about
                                             from the proposal would reduce U.S.                     new vehicle unit sales. The labor                     the locations of vehicle assembly,
                                             petroleum imports, with the remaining                   utilization analysis is intentionally                 engine assembly, and transmission
                                             10 percent reducing domestic                            narrow in its focus and does not                      assembly, and the percent of U.S.
                                             production. The California Attorney                     represent an attempt to quantify the                  content of vehicles collected from
                                             General requested that we revisit this                  overall labor or economic effects of this             American Automotive Labeling Act
                                             assumption, asserting that only a small                 rulemaking because adjacent                           (AALA) submissions for each vehicle in
                                             portion of U.S. gasoline demand is                      employment factors and consumer                       the reference fleet.726 The analysis
                                             supplied by foreign-refined oils today.                 spending factors for other goods and                  assumes the portion of parts that are
                                             The agency neglected to make this                       services are uncertain and difficult to               made in the U.S. will remain constant
                                             change in the analysis supporting the                   predict. We do not consider how direct                for each vehicle as manufacturers add
                                             proposal, and has refrained from                        labor changes may affect the macro                    fuel-savings technologies. This should
                                             revising the analysis for the final rule.               economy and potentially change                        not be misconstrued as a prediction that
                                             While we believe that there remains a                   employment in adjacent industries. For                the percentage of U.S.-made parts—and
                                             strong case to assume that any reduction                instance, we do not consider possible                 by extension U.S. labor—will remain
                                             in refining of crude petroleum to                       labor changes in vehicle maintenance                  constant, but rather that the agency does
                                             produce gasoline would reduce U.S. oil                  and repair, nor changes in labor at retail            not have a clear basis to project where
                                             imports, rather than changing U.S.                      gas stations. We also do not consider                 future productions may shift. The
                                             petroleum output, we are going to                       possible labor changes due to raw                     analysis also uses data from the 2016
                                             continue to evaluate assumption given                   material production, such as production               National Automotive Dealers
                                             the concerns raised by the California                   of aluminum, steel, copper, and lithium,              Association (NADA) annual report to
                                             Attorney General. In the interim, we                    nor does the agency consider possible                 derive dealership labor estimates. We
                                             will continue to assume that 90 percent                 labor impacts due to changes in                       considered using data from NADA’s
                                             of any reduction in domestic petroleum                  production of oil and gas, ethanol, and               2020 report but concluded that 2020
                                             refining to produce gasoline that results               electricity.                                          was too affected by COVID–19 to be an
                                             from the proposal would reduce U.S.                       Auto Innovators recommended                         appropriate basis to project future
                                             petroleum imports, with the remaining                   NHTSA consider the geographic                         dealership labor values.
                                             10 percent reducing domestic                            differences in employment losses and                     In sum, the analysis shows that the
                                             production. We conducted a sensitivity                  gains in its labor analysis and present               increased labor from production of new
                                             analysis to scope the difference between                additional results based on such                      technologies used to meet the Preferred
                                             the two assumptions and observed that                   regional differences. Auto Innovators                 Alternative will outweigh any decreases
                                             the difference in estimated total and net               pointed out that the impacts of BEVs on               attributable to the change in new
                                             benefits is less than 0.1 percent when                  U.S. employment, specifically in                      vehicle sales. For a full description of
                                             viewed from either the model year or                    gasoline engine and transmission plants               the process the agency uses to estimate
                                             calendar year perspective and                           and supply chains, as well as in the                  labor impacts, see TSD Chapter 6.2.5.
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                                             discounted at either 3 or 7 percent.722                 petroleum and biofuels sector, may
                                             (4) Changes in Labor                                    differ based on region. They also noted                 724 Auto Innovators, at 122.
                                                                                                     that the employment impacts of BEV                       725 The agencies recognize a few local production
                                               As vehicle prices rise, we expect                                                                           facilities may contribute meaningfully to local
                                             consumers to purchase fewer vehicles                      723 For the purposes of this analysis, DOT          economies, but the analysis reports only on national
                                                                                                     assumes a linear relationship between labor and       effects.
                                               722 See FRIA Chapter 7.                               production volumes.                                      726 49 CFR part 583.




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                                             3. Costs and Benefits not Quantified                    with those attributes. Similarly, if                  were ‘‘of little use for informing policy
                                                In addition to the costs and benefits                manufacturers could use the same                      decisions.’’ 729
                                             described above, Table III–37 and Table                 technology to either improve efficiency                  As noted above, an analysis of
                                             III–38 each include two line-items                      or improve performance relative to                    opportunity costs optimally would need
                                             without values. The first is maintenance                current attributes, and choose to use the             to assess compliance with these
                                             and repair costs. Many of the                           technology only to improve efficiency,                standards while allowing manufacturers
                                             technologies manufacturers apply to                     the consumer may not experience the                   to adjust vehicle attributes. This
                                             vehicles to meet CAFE standards are                     performance enhancement. Of course,                   requires detailed information about how
                                             sophisticated and costly. The                                                                                 much different consumers value various
                                                                                                     unless automakers reach an absolute
                                             technology costs capture only the initial                                                                     vehicle attributes, which is not
                                                                                                     technology limit, which has not been
                                             or ‘‘upfront’’ costs to incorporate this                                                                      currently available. Such an analysis
                                                                                                     observed, and unless there is a technical             could show lower compliance costs for
                                             equipment into new vehicles; however,                   or engineering constraint that makes it
                                             if the equipment is costlier to maintain                                                                      the standards, but could identify any
                                                                                                     impossible or much more expensive to                  opportunity costs where consumers
                                             or repair—which is likely either because                add additional performance features
                                             the materials used to produce the                                                                             value other vehicle attributes that are
                                                                                                     after increasing fuel economy, they can               not incorporated into the vehicle they
                                             equipment are more expensive or the                     still improve other vehicle attributes
                                             equipment is significantly more                                                                               purchase.
                                                                                                     while improving fuel economy—as is                       Still, there is some evidence that
                                             complex than less fuel efficient
                                                                                                     always the case, those improvements                   consumers are myopic with respect to
                                             alternatives and requires more time and
                                                                                                     would come at a cost, but that cost                   future savings well beyond any attribute
                                             labor—then consumers will also
                                                                                                     would be borne only by consumers who                  tradeoff. Gillingham et al. (2021) use an
                                             experience increased costs throughout
                                                                                                     value the attribute improvement more                  error in fuel efficiency marketing and
                                             the lifetime of the vehicle to keep it
                                                                                                     than its cost. Because fuel efficiency                subsequent change in the market
                                             operational. The agency does not
                                                                                                     improvements can save consumers                       equilibrium price for the vehicles in
                                             calculate the additional cost of repair
                                                                                                     money on net by reducing fuel                         question to assess the willingness to pay
                                             and maintenance currently because it
                                                                                                     expenditures, assuming consumers are                  for fuel efficiency and find that
                                             lacks a basis for estimating the
                                                                                                     completely financing their vehicle                    consumers are only willing to pay
                                             incremental change attributable to the
                                                                                                                                                           $0.16–0.39 per discounted value of a
                                             standards. NHTSA sought comment on                      purchases, the fuel economy
                                                                                                                                                           dollar of fuel savings. The intriguing
                                             how to estimate these costs from the                    improvements can only reduce a
                                                                                                                                                           feature of this study is that it uses
                                             public but did not receive any                          consumer’s ‘‘budget’’ for other vehicle               identical cars made by Hyundia and
                                             suggestions.                                            attributes to the extent that the monthly             Kia, which means the features of the car
                                                The second item is the potential                     car payment increases due to the                      with and without the reported fuel
                                             tradeoff with other vehicle attributes                  improvements by more than the fuel                    savings are identical and the discount
                                             that could create an opportunity cost for               savings the technologies deliver.                     paid for future fuel saving cannot be
                                             some consumers. In addition to fuel
                                                                                                        The agency has previously attempted                attributed to an omitted feature.
                                             economy, potential buyers of new cars
                                                                                                     to model the potential opportunity cost               Therefore, the undervaluation observed
                                             and light trucks value other features
                                                                                                     associated with changes in other vehicle              in this study is not due to consumers
                                             such as their seating and cargo-carrying
                                                                                                     attributes in sensitivity analyses. In                valuing other vehicle attributes more
                                             capacity, ride comfort, safety, and
                                                                                                     those other rulemakings, the agency                   than fuel economy. The findings of this
                                             performance. Changing some of these
                                                                                                     acknowledged that it is extremely                     paper are consistent with consumers
                                             other features, however, can sometimes
                                                                                                     difficult to quantify the potential                   displaying myopia—a term they use to
                                             affect vehicles’ fuel economy, so
                                                                                                     changes to other vehicle attributes. To               ‘‘describe a range of behavioral
                                             manufacturers will carefully consider
                                                                                                     accurately do so requires extensive                   phenomena that could cause
                                             any tradeoffs among them when
                                                                                                     projections about which and how much                  undervaluation.’’
                                             deciding how to comply with stricter
                                                                                                                                                              In comments to the NPRM, IPI
                                             CAFE standards. Currently the analysis                  of other attributes will be altered and a
                                                                                                                                                           provided extensive comments on this
                                             assumes that these vehicle attributes                   detailed accounting of how much value                 topic. IPI cited the 2019 EPA
                                             will not change as a result of these                    consumers assigned to those attributes.               Automotive Trends Report as showing
                                             rules,727 but in practice manufacturers                 The agency modeled the opportunity                    that horsepower and fuel economy have
                                             may make practical design changes to                    cost associated with changes in other                 both steadily improved since 2008, and
                                             meet the standards and minimize their                   vehicle attributes using published                    cited EPA’s finding in the Midterm
                                             compliance costs.                                       empirical estimates of tradeoffs between              Evaluation that simultaneous
                                                If manufacturers do so, they may                     higher fuel economy and improvements                  improvements in fuel economy and
                                             lower compliance costs relative to those                to other attributes, together with                    other vehicle attributes likely indicates
                                             estimated here,728 but the change to                    estimates of the values buyers attach to              that any historical trade-off between the
                                             other attributes could in theory involve
                                                                                                     those attributes. The agency does not                 two is far less likely to be present in the
                                             an opportunity cost to consumers who
                                                                                                     believe this is an appropriate                        context of advanced vehicle engines. IPI
                                             value specific attributes, if those
                                                                                                     methodology since there is considerable               also stated that many technologies that
                                             consumers cannot purchase a vehicle
                                                                                                     uncertainty in the literature about how               improve fuel economy also improve
                                               727 See TSD Chapter 2.4.5.                            much fuel economy consumers are                       other vehicle attributes, and those
                                               728 See Kate S. Whitefoot et al., Compliance by       willing to pay for and how consumers                  benefits would offset any opportunity
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                                             Design: Influence of Acceleration Trade-Offs on CO2     value other vehicle attributes. We note,              costs. Further, IPI stated that:
                                             Emissions and Costs of Fuel Economy and                 for example, a recent EPA-                            Economic research has long recognized the
                                             Greenhouse Gas Regulations, 51 Env’t Sci. & Tech.
                                             10,307 (2018); Gloria Helfand & Reid Dorsey-            commissioned study that ‘‘found very                  various implicit subsidies and externalities
                                             Palmateer, The Energy Efficiency Gap in EPA’s           little useful consensus’’ regarding
                                             Benefit-Cost Analysis of Vehicle Greenhouse Gas         ‘‘estimates of the values of various                    729 EPA, Consumer Willingness to Pay for Vehicle

                                             Regulations: A Case Study, 6 J. Benefit Cost                                                                  Attributes: What is the Current State of Knowledge?
                                             Analysis 432 (2015).                                    vehicle attributes,’’ which ultimately                (2018).



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                                             imposed on society by vehicles. These                   consequences when establishing CAFE                   extensive efforts to allocate the
                                             include: Accidents, road congestion, road               standards.                                            differences in safety outcomes between
                                             and parking construction and maintenance                  This safety analysis includes the                   the three factors. Fatalities expected
                                             costs, the space used for parking, and
                                                                                                     comprehensive measure of safety                       during future years under each
                                             pollution. Drivers with higher horsepower
                                             vehicles are much more likely to speed—by               impacts from three factors:                           alternative are projected by deriving a
                                             10 miles per hour or more—increasing the                   1. Changes in Vehicle Mass. Similar to             fleet-wide fatality rate (fatalities per
                                             risk of accidents, damages, and fatalities.             previous analyses, we calculate the safety            vehicle mile of travel) that incorporates
                                             Vehicles with features that allow faster                impact of changes in vehicle mass made to             the effects of differences in each of the
                                             acceleration also cause a greater number of             reduce fuel consumption and comply with               three factors from baseline conditions
                                             and more consequential accidents. Vehicles              the standards. Statistical analysis of                and multiplying it by that alternative’s
                                             with internal combustion engines are more               historical crash data indicates reducing mass         expected VMT. Fatalities are converted
                                             dangerous than those with electric engines              in heavier vehicles generally improves safety,        into a societal cost by multiplying
                                             due to the latter’s additional crumple space.           while reducing mass in lighter vehicles
                                             Heavier vehicles also increase the cost of                                                                    fatalities with the DOT-recommended
                                                                                                     generally reduces safety. Our crash                   value of a statistical life (VSL)
                                             road maintenance and repair. Vehicles with              simulation modeling of vehicle design
                                             greater acceleration also may be driven in              concepts for reducing mass revealed similar
                                                                                                                                                           supplemented by economic impacts that
                                             ways that consume more fuel and so emit                 effects. These observations align with the role       are external to VSL measurements.
                                             more pollution. And as discussed below,                 of mass disparity in crashes; when vehicles           Traffic injuries and property damage are
                                             certain status features like horsepower                 of different masses collide, the smaller              also modeled directly using the same
                                             impose negative positional externalities on             vehicle will experience a larger change in            process and valued using costs that are
                                             other drivers.730                                       velocity (and, by extension, force), which            specific to each injury severity level.
                                                IPI further states that these negative               increases the risk to its occupants. As                  All three factors influence predicted
                                             externalities associated with other                     discussed below, in our analysis, any effect          fatalities, but only two of them—
                                             vehicle attributes would also offset                    of changes in mass on vehicle safety was not          changes in vehicle mass and in the
                                             opportunity costs associated with                       sufficiently precisely estimated to distinguish       composition of the light-duty fleet in
                                                                                                     it from zero statistically.
                                             reduced deployment of these attributes                                                                        response to changes in vehicle prices—
                                                                                                        2. Impacts of Vehicle Prices on Fleet
                                             where valued by consumers.                              Turnover. Vehicles have become safer over             impose increased risks on drivers and
                                                CFA commented that the agency                        time through a combination of new safety              passengers that are not compensated for
                                             should include a $.90 macroeconomic                     regulations and voluntary safety                      by accompanying benefits. In contrast,
                                             stimulus for every dollar of net                        improvements. We expect this trend to                 increased driving associated with the
                                             reduction in driving expenses.731 CFA                   continue as emerging technologies, such as            rebound effect is a consumer choice that
                                             did not provide any details or support                  advanced driver assistance systems, are               reveals the benefit of additional travel.
                                             for their claim, nor did it describe how                incorporated into new vehicles. Safety                Consumers who choose to drive more
                                             to handle factors like up-front costs. We               improvements will likely continue regardless          have apparently concluded that the
                                                                                                     of changes to CAFE standards. As discussed
                                             find CFA’s argument without support.                                                                          utility of additional driving exceeds the
                                                                                                     in Section III.E.2, technologies added to
                                                A number of commenters argued that                                                                         additional costs for doing so, including
                                                                                                     comply with fuel economy standards have an
                                             the agency should include the ancillary                 impact on vehicle prices, therefore slowing           the crash risk that they perceive
                                             costs of electric vehicles, such as                     the acquisition of newer vehicles and                 additional driving involves. As
                                             building additional charging stations,732               retirement of older ones. The delay in fleet          discussed in Chapter 7 of the
                                             improving the grid,733 and potential tax                turnover caused by the effect of new vehicle          accompanying TSD, the benefits of
                                             credits given to individuals that                       prices affects safety by slowing the                  rebound driving are accounted for by
                                             purchase electric vehicles.734 As noted                 penetration of new safety technologies into           offsetting a portion of the added safety
                                             elsewhere in this rule and within many                  the fleet.                                            costs.
                                             of the same comments, many of these                        The standards also influence the                      We categorize safety outcome through
                                                                                                     composition of the light-duty fleet. As the
                                             issues are already being addressed by                                                                         three measures of light-duty vehicle
                                                                                                     safety provided by light trucks, SUVs and
                                             government at the Federal and state-                    passenger cars responds differently to                safety: Fatalities to occupants occurring
                                             level. Counting those costs here would                  technology that manufacturers employ to               in crashes, serious injuries sustained by
                                             be duplicative to include those costs in                meet the standards—particularly mass                  occupants, and the number of vehicles
                                             this rulemaking.                                        reduction—fleets with different compositions          involved in crashes that cause property
                                                                                                     of body styles will have varying numbers of           damage but no injuries. Counts of
                                             H. Simulating Safety Effects of                         fatalities, so changing the share of each type        fatalities to occupants of automobiles
                                             Regulatory Alternatives                                 of light-duty vehicle in the projected future         and light trucks are obtained from the
                                               The primary objective of CAFE                         fleet impacts safety outcomes.                        Fatal Accident Reporting System
                                             standards is to achieve maximum                            3. Increased driving because of better fuel
                                                                                                                                                           (FARS). Estimates of the number of
                                             feasible fuel economy, thereby reducing                 economy. The ‘‘rebound effect’’ predicts
                                                                                                     consumers will drive more when the cost of            serious injuries to drivers and
                                             fuel consumption. In setting standards                                                                        passengers of light-duty vehicles are
                                                                                                     driving declines. More stringent standards
                                             to achieve this intended effect, the                    reduce vehicle operating costs, and in                tabulated from the General Estimates
                                             potential of the standards to affect                    response, some consumers may choose to                System (GES), an annual sampling of
                                             vehicle safety is also considered. As a                 drive more. Additional driving increases              motor vehicle crashes occurring
                                             safety agency, we have long considered                  exposure to risks associated with motor               throughout the U.S. Weights for
                                             the potential for adverse safety                        vehicle travel, and this added exposure               different types of crashes were used to
                                                                                                     translates into higher fatalities and injuries.       expand the samples of each type to
                                                730 IPI, Docket No. NHTSA–2021–0053–1579–A1,
                                                                                                        The contributions of the three factors
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                                             at 22.
                                                731 CFA, Docket No. NHTSA–2021–0053–1535, at         described above generate the differences              performance, we are discussing the intrinsic safety
                                                                                                     in safety outcomes among regulatory                   of a vehicle based on its design and features, while
                                             5.                                                                                                            safety outcome is used to describe whether a
                                                732 See, e.g., NATSO and SIGMA, NHTSA–2021–          alternatives.735 Our analysis makes                   vehicle has been involved in an accident and the
                                             0053–1570, at 10.                                                                                             severity of the accident. While safety performance
                                                733 Walter Kreucher, NHTSA–2021–0053–0013, at          735 The terms safety performance and safety         influences safety outcomes, other factors such as
                                             14.                                                     outcome are related but represent different           environmental and behavioral characteristics also
                                                734 Id. At 14.                                       concepts. When we use the term safety                 play a significant role.



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                                             estimates of the total number of crashes                standards, to build smaller and lighter               beneficial to the occupants of the
                                             occurring during each year. Finally,                    vehicles. In cases where fuel economy                 heavier vehicles.
                                             estimates of the number of automobiles                  improvements were achieved through                       To accurately capture the differing
                                             and light trucks involved in property                   reductions in vehicle size and mass, the              effect on lighter and heavier vehicles,
                                             damage-only (PDO) crashes each year                     smaller, lighter vehicles did not fare as             we split vehicles into lighter and
                                             were also developed using GES.                          well in crashes as larger, heavier                    heavier vehicle classifications in the
                                             1. Changes in Vehicle Mass                              vehicles, on average. We now, however,                analysis. However, this poses a
                                                                                                     use attribute-based standards, in part to             challenge of producing statistically
                                                Similar to previous analyses, we                     reduce or eliminate the incentive to                  meaningful results. There are limited
                                             calculate the safety impact of changes in               downsize vehicles to comply with CAFE                 relevant crash data to use for the
                                             vehicle mass made to reduce fuel                        standards, but we must continue to be                 analysis. Each partition of the data
                                             consumption and comply with the                         mindful of the possibility of related                 reduces the number of observations per
                                             standards. While reduction in mass                      safety trade-offs.                                    vehicle classification and crash type,
                                             should have a beneficial safety effect                                                                        and thus reduces the statistical
                                             overall by reducing average fleet mass,                    For this final rule, we employed the
                                                                                                     modeling technique developed in the                   robustness of the results. The
                                             a statistical analysis of historical crash                                                                    methodology we employed was
                                             data indicates that reducing mass in                    2016 Puckett and Kindelberger report to
                                                                                                                                                           designed to balance these competing
                                             heavier vehicles generally improves                     analyze the updated crash and exposure
                                                                                                                                                           forces as an optimal trade-off to
                                             safety, while reducing mass in lighter                  data by examining the cross sections of
                                                                                                                                                           accurately capture the impact of mass-
                                             vehicles generally reduces safety. Our                  the societal fatality rate per billion
                                                                                                                                                           reduction across vehicle curb weights
                                             crash simulation modeling of vehicle                    vehicle miles of travel (VMT) by mass
                                                                                                                                                           and crash types while preserving the
                                             design concepts for reducing mass                       and footprint, while controlling for
                                                                                                                                                           potential to identify robust estimates.
                                             revealed similar effects. These                         driver age, gender, and other factors, in
                                                                                                                                                              The boundary between ‘‘lighter’’ and
                                             observations align with the role of mass                separate logistic regressions for five
                                                                                                                                                           ‘‘heavier’’ cars is 3,201 pounds (which
                                             disparity in crashes: When vehicles of                  vehicle groups and nine crash types.736
                                                                                                                                                           is the median mass of MY 2004–2011
                                             different masses collide, the smaller                   We utilized the relationships between
                                                                                                                                                           cars in fatal crashes in CY 2006–2012,
                                             vehicle will experience a larger change                 weight and safety from this analysis,
                                                                                                                                                           up from 3,106 pounds for MY 2000–
                                             in velocity (and, by extension, force),                 expressed as percentage increases in                  2007 cars in CY 2002–2008 in the 2012
                                             which increases the risk to its                         fatalities per 100-pound weight                       NHTSA safety database, and up from
                                             occupants. As discussed below, while                    reduction (which is how mass reduction                3,197 pounds for MY 2003–2010 cars in
                                             NHTSA’s current analysis did not find                   is applied in the technology analysis;                CY 2005–2011 in the 2016 NHTSA
                                             a statistically significant relationship                see Section III.D.4, to examine the                   safety database). Likewise, for truck-
                                             between mass and safety, it did find                    weight impacts applied in this CAFE                   based LTVs, curb weight is a two-piece
                                             results that are directionally consistent               analysis. The effects of mass reduction               linear variable with the boundary at
                                             with previous NHTSA and other                           on safety were estimated relative to                  5,014 pounds (again, the MY 2004–2011
                                             studies, illustrating a common pattern                  (incremental to) the regulatory baseline              median, higher than the median of 4,594
                                             across all studies is that changes in mass              in the CAFE analysis, across all vehicles
                                             disparity are associated with changes in                                                                      pounds for MY 2000–2007 LTVs in CY
                                                                                                     for MY 2021 and beyond.                               2002–2008 and the median of 4,947
                                             motor vehicle safety: Increased disparity
                                                                                                        In computing the impact of changes in              pounds for MY 2003–2010 LTVs in CY
                                             increases fatality risk, while decreased
                                             disparity decreases risk. The historical                mass on safety, we are faced with                     2005–2011). CUVs and minivans are
                                             relationship may be changing, however,                  competing challenges. Research has                    grouped together in a single group
                                             and merits ongoing study, which                         consistently shown that mass reduction                covering all curb weights of those
                                             NHTSA is pursuing.                                      affects ‘‘lighter’’ and ‘‘heavier’’ vehicles          vehicles; as a result, curb weight is
                                                                                                     differently across crash types. The 2016              formulated as a simple linear variable
                                             2. Mass Reduction Impacts                               Puckett and Kindelberger report found                 for CUVs and minivans. Historically,
                                                Vehicle mass reduction can be one of                 mass reduction concentrated among the                 CUVs and minivans have accounted for
                                             the more cost-effective means of                        heaviest vehicles is likely to have a                 a relatively small share of new-vehicle
                                             improving fuel economy, particularly                    beneficial effect on overall societal                 sales over the range of the data,
                                             for makes and models not already built                  fatalities, while mass reduction                      resulting in fewer crash data available
                                             with much high-strength steel or                        concentrated among the lightest                       than for cars or truck-based LTVs. In
                                             aluminum closures or low-mass                           vehicles is likely to have a detrimental              sum, vehicles are distributed into five
                                             components. Manufacturers have stated                   effect on fatalities. This represents a               groups by class and curb weights:
                                             that they will continue to reduce vehicle               relationship between the dispersion of                Passenger cars <3,201 pounds;
                                             mass to meet more stringent standards,                  mass across vehicles in the fleet and                 passenger cars 3,201 pounds or greater;
                                             and therefore, this expectation is                      societal fatalities: Decreasing dispersion            truck-based LTVs <5,014 pounds; truck-
                                             incorporated into the modeling analysis                 is associated with a decrease in                      based LTVs 5,014 pounds or greater;
                                             supporting the standards. Safety trade-                 fatalities. Mass reduction in heavier                 and all CUVs and minivans.
                                             offs associated with mass-reduction                     vehicles is more beneficial to the                       Table III–39 presents the estimated
                                             have occurred in the past, particularly                 occupants of lighter vehicles than it is              percent increase in U.S. societal fatality
                                             before CAFE standards were attribute-                   harmful to the occupants of the heavier               risk per ten billion VMT for each 100-
                                             based; past safety trade-offs may have                  vehicles. Mass reduction in lighter                   pound reduction in vehicle mass, while
                                             occurred because manufacturers chose                    vehicles is more harmful to the                       holding footprint constant, for each of
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                                             at the time, in response to CAFE                        occupants of lighter vehicles than it is              the five vehicle classes.



                                               736 Puckett, S.M. and Kindelberger, J.C. (2016,       and Footprint in Model Year 2003–2010 Passenger       2016–0068). Washington, DC: National Highway
                                             June). Relationships between Fatality Risk, Mass,       Cars and LTVs—Preliminary Report. (Docket No.         Traffic Safety Administration.



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                                                Techniques developed in the 2011                     reducing mass disparity in the fleet) will            on vehicle safety was not sufficiently
                                             (preliminary) and 2012 (final) Kahane                   reduce societal fatalities, while making              precisely estimated to distinguish it
                                             reports have been retained to test                      the lightest vehicles lighter (i.e.,                  from zero at all standard confidence
                                             statistical significance and to estimate                increasing mass disparity) will increase              levels used in the scientific literature.
                                             95 percent confidence bounds (sampling                  societal fatalities. IPI commented that                  Multiple commenters proposed that,
                                             error) for mass effects and to estimate                 we ‘‘should give additional weight to                 due to the limited statistical significance
                                             the combined annual effect of removing                  externalities such as pedestrian fatalities           of the estimates, it would be more
                                             100 pounds of mass from every vehicle                   and the impact of increased weight                    appropriate to assume that changes in
                                             (or of removing different amounts of                    distribution between vehicles.’’ 737                  vehicle mass in response to CAFE
                                             mass from the various classes of                        Pedestrian fatalities are weighted within             standards will have no effect on societal
                                             vehicles), while holding footprint                      the above analysis directly proportional              fatalities.739 NHTSA’s current analysis
                                             constant. Confidence bounds estimate                    to their frequency among all societal                 did not find a statistically significant
                                             only the sampling error internal to the                 fatalities involving light-duty vehicles.             relationship between mass and safety.
                                             data used in the specific analysis that                 Any change to the weighting of                        This may reflect the effects of a
                                             generated the point estimate. Point                     pedestrian fatalities would thus involve              decreased sample size (the current study
                                             estimates are also sensitive to the                     valuing the societal cost of a pedestrian             was based on 32 percent fewer fatal
                                             modification of components of the                       fatality as being worth a different                   cases than the Kahane 2012 study), as
                                             analysis, as discussed at the end of this               amount from other fatalities involving                well as possible mitigating effects from
                                             section. However, this degree of                        light-duty vehicle crashes. IPI did not               newer safety technologies or vehicle
                                             uncertainty is methodological in nature                 provide a basis to support their proposal             designs. While not finding statistical
                                             rather than statistical.                                to value fatalities based on occupancy                significance, NHTSA’s current study did
                                                None of the estimated effects has 95-                status differently. We are confident that             find results that are directionally
                                             percent confidence bounds that exclude                  the current (and historical) specification            consistent with previous NHTSA
                                             zero, and thus are not statistically                    of relationships among vehicle curb                   studies and a fleet simulation study by
                                             significant at the 95-percent confidence                weights and societal fatality risk                    George Washington University.740 The
                                             level. We have evaluated these results                  represents the role of mass disparity in              common pattern across all studies is
                                             and provided them for the purposes of                   societal fatality risk appropriately, by              that changes in mass disparity are
                                             transparency. Sensitivity analyses have                 scaling societal fatality risk as a positive          associated with changes in motor
                                             confirmed that the exclusion of these                   function of mass disparity through the                vehicle safety: Increased disparity
                                                                                                     intuitive coefficients for the lightest and           increases fatality risk, while decreased
                                             statistically insignificant results would
                                                                                                     heaviest vehicles (and through muted                  disparity decreases risk. The agency will
                                             not affect our policy determination,
                                             because the net effects of mass                         coefficients for vehicles with mass
                                                                                                                                                              739 IPI, at 30–1; Consumer Reports, Docket No.
                                             reduction on safety costs are small                     closer to the median).
                                                                                                        The ACC commented that groups                      NHTSA–2021–0053–1576, Appendix 9, at 17–8;
                                             relative to predominant estimated                                                                             CARB, Docket No. NHTSA–2021–0053–1537,
                                             benefit and cost impacts. Among the                     including NAS/NASEM have noted that                   Appendix 11, at 269; CBD et al., Docket No.
                                             estimated effects, the most important                   future improvements in vehicle design                 NHTSA–2021–0053–1572, Appendix 2, at 20; CBD
                                             effects of mass reduction are, as                       could weaken the relationship between                 et al., Appendix 1, at 4.
                                                                                                                                                              740 In response to questions of whether designs
                                             expected, concentrated among the                        mass disparity and societal fatality rates
                                                                                                                                                           and materials of more recent model year vehicles
                                             lightest and heaviest vehicles. Societal                over time.738 We acknowledge this                     may have weakened the historical statistical
                                             fatality risk is estimated to: (1) Increase             view, and remain confident that our                   relationship between mass, size, and safety, NHTSA
                                             by 1.2 percent if mass is reduced by 100                approach is the best available                        updated its public database for statistical analysis
                                                                                                     representation of the relationship                    consisting of crash data. The database incorporates
                                             pounds in the lighter cars; and (2)                                                                           the full range of real-world crash types. NHTSA
                                             decrease by 0.61 percent if mass is                     between mass disparity and societal                   also sponsored a study conducted by George
                                             reduced by 100 pounds in the heavier                    fatality rates subject to the data available          Washington University to develop a fleet simulation
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                                             truck-based LTVs. These estimates align                 for analysis, and note again that in our              model and study the impact and relationship of
                                                                                                     analysis, any effect of changes in mass               light-weighted vehicle design with crash injuries
                                             with the predominant view regarding                                                                           and fatalities. That study is discussed in detail in
                                             the relationship between mass disparity                                                                       Chapter 7.1.5 of the TSD. The study focused on
                                                                                                        737 IPI, Docket No. NHTSA–2021–0053–1579, at
                                                                                                                                                           vehicles from MY 2001 to MY 2011, as discussed
                                             in the vehicle fleet and societal                       3, 22.                                                in the TSD, and found results that are directionally
                                             fatalities: All else being equal, making                   738 ACC, Docket No. NHTSA–2021–0053–1564–          consistent with NHTSA’s statistical analyses of
                                                                                                                                                                                                                  ER02MY22.107</GPH>




                                             the heaviest vehicles lighter (i.e.,                    A1, at 7.                                             vehicle mass and fatality risk.



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                                             continue to conduct research on the                     passenger cars with the rest of the                   be less safe than newer vehicles.741
                                             effects of mass disparity on vehicle                    sample by including cars that are                     Similarly, the sales response slows the
                                             safety in an effort to identify the impacts             equipped with AWD. In previous                        rate at which newer vehicles, and their
                                             of evolving vehicle fleets.                             analyses, passenger cars with AWD                     associated safety improvements, enter
                                                We have assessed whether the                         were excluded from the analysis                       the on-road population. The sales
                                             inclusion of these results would affect                 because they represented a sufficiently               response also influences the mix of
                                             the overall analysis. Because the                       low share of the vehicle fleet that                   vehicles on the road—with more
                                             impacts are very small, we concluded                    statistical relationships between AWD                 stringent CAFE standards leading to a
                                             that it does not have a significant effect              status and societal fatality risk were                higher share of light trucks sold in the
                                             on the analysis or any effect on the                    highly prone to being conflated with                  new vehicle market, assuming all else is
                                             choice of standards. Given this                         other factors associated with AWD                     equal. This occurs because there is
                                             conclusion, we maintain that it is                      status (e.g., location, luxury vehicle                diminishing value to marginal
                                             reasonable for the analysis to use the                  status). However, the share of AWD                    improvements in fuel economy (there
                                             best available estimates of the impacts                                                                       are fewer gallons to be saved), and as
                                                                                                     passenger cars in the fleet has grown.
                                             of mass reduction that results from                                                                           the difference in consumption between
                                                                                                     Approximately one-quarter of the
                                             changes in mass disparities on crash                                                                          light trucks and passenger cars
                                                                                                     passenger cars in the database have
                                             fatalities, even if the estimates are not                                                                     diminishes, the other attributes of the
                                             statistically significant at the 95-percent             AWD, compared to an approximately
                                                                                                                                                           trucks will likely lead to increases in
                                             confidence level. The estimated                         five-percent share in the MY 2000–2007
                                                                                                                                                           their market share—especially under
                                             statistical significance is limited, but the            database. Furthermore, all other vehicle
                                                                                                                                                           lower gas prices. Light trucks have
                                             results offer some evidence that the                    types in the analysis include AWD as an               higher rates of fatal crashes when
                                             relevant point estimates are                            explanatory variable. Thus, we find                   interacting with passenger cars and, as
                                             meaningfully different from zero (e.g.,                 expanding the sample size to include a                earlier discussed, different directional
                                             approximately five to six times more                    considerable portion of the real-world                responses to mass reduction technology
                                             likely to be non-zero than zero). They                  fleet (i.e., passenger cars with AWD) to              based on the existing mass and body
                                             are also consistent with a time series of               be a meaningful consideration.                        style of the vehicle.
                                             estimates that represent a relationship                    Including passenger cars with AWD                     Any effects on fleet turnover (either
                                             that is consistent with predominant                     in the analysis has little effect on the              from delayed vehicle retirement or
                                             views regarding mass disparity. We                      point estimate for lighter passenger cars             deferred sales of new vehicles) will
                                             believe it would be inappropriate to                    (increase in societal fatality rates of               affect the distribution of both ages and
                                             ignore these data or to use values of zero              approximately 1.1 percent per 100-                    model years present in the on-road fleet.
                                             for the rulemaking analysis.                            pound mass reduction, versus 1.2                      Because each of these vintages carries
                                             Specifically, negative point estimates for              percent in the central analysis).                     with it inherent rates of fatal crashes,
                                             heavier LTVs and positive point                         However, this revision has a strong                   and newer vintages are generally safer
                                             estimates for lighter passenger cars have               effect on the point estimate for heavier              than older ones, changing that
                                             been found consistently across prior                    passenger cars (increase in societal                  distribution will change the total
                                             rulemakings. Smaller estimates                          fatality rates of between 0.84 and 0.89               number of on-road fatalities under each
                                             corresponding to vehicles near the                      percent per 100-pound mass reduction,                 regulatory alternative. Similarly, the
                                             median of the fleet curb weight                                                                               dynamic fleet share model captures the
                                                                                                     versus 0.42 percent in the central
                                             distribution are likely to be less                                                                            changes in the fleet’s composition of
                                                                                                     analysis). This result supports a
                                             informative due to both statistical (i.e.,                                                                    cars and trucks. As cars and trucks have
                                                                                                     hypothesis that, after taking AWD status
                                             small coefficients are less likely to be                                                                      different fatality rates, differences in
                                             statistically significant for a given level             into account, mass reduction in heavier               fleet composition across the alternatives
                                             of sampling error) and physical (i.e., a                passenger cars is a more important                    will affect fatalities.
                                             given change in mass will have a                        driver of societal fatality rates than                   At the highest level, the agency
                                             smaller effect on societal fatalities for               previously estimated. Although this                   calculates the impact of the sales and
                                             vehicles near the median mass)                          result could be spurious, estimated 95-               scrappage effects by multiplying the
                                             concerns.                                               percent confidence bounds (from ¥0.57                 VMT of a vehicle by the fatality risk of
                                                An additional factor supporting                      to 2.80 percent for lighter passenger                 that vehicle. For this analysis,
                                             continuing to quantify the safety                       cars, and from ¥0.14 to 1.82 percent for              calculating VMT is rather simple: The
                                             impacts related to changes in mass is                   heavier passenger cars for the CYs                    agency uses the distribution of miles
                                             the sensitivity analysis including                      evaluated in the sensitivity analysis)                calculated in TSD Chapter 4.3. The
                                             passenger cars with AWD summarized                      indicate that accounting for AWD status               trickier aspect of the analysis is creating
                                             below; when including cars with AWD,                    reduces uncertainty in the point                      fatality rate coefficients. The fatality risk
                                             the estimated coefficients are likewise                 estimate.                                             measures the likelihood that a vehicle
                                             consistent with previous NHTSA                             A more detailed description of the                 will be involved in a fatal accident per
                                             analyses and have statistical                           mass-safety analysis can be found in                  mile driven. The agency calculates the
                                             significance near the 95-percent                        Chapter 7 of the accompanying TSD.                    fatality risk of a vehicle based on the
                                             confidence level. Chapter 5 of the FRIA                                                                       vehicle’s model year, age, and style,
                                             discusses four sensitivity analyses that                3. Sales/Scrappage Impacts                            while controlling for factors which are
                                             were presented for public comment in
                                             the NPRM. We did not identify any                         The sales and scrappage responses to                  741 See Passenger Vehicle Occupant Injury

                                             comments on the alternative                             higher vehicle prices discussed in                    Severity by Vehicle Age and Model Year in Fatal
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                                                                                                     Section III.E.2 have important safety                 Crashes, Traffic Safety Facts Research Note, DOT–
                                             approaches; in turn, we will defer the                                                                        HS–812–528, National Highway Traffic Safety
                                             decision whether to incorporate the                     consequences and influence safety                     Administration, April 2018, and The Relationship
                                             results into the CAFE Model to                          through the same basic mechanism, fleet               Between Passenger Vehicle Occupant Injury
                                             subsequent rulemakings. The relevant                    turnover. In the case of the scrappage                Outcomes and Vehicle Age or Model Year in Police-
                                                                                                     response, delaying fleet turnover keeps               Reported Crashes, Traffic Safety Facts Research
                                             alternative with respect to statistical                                                                       Note, DOT–HS–812–937, National Highway Traffic
                                             significance centers on aligning                        drivers in older vehicles which tend to               Safety Administration, March, 2020.



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                                             independent of the intrinsic nature of                     Securing America’s Future Energy                   2010 through 2015. This produced the
                                             the vehicle, such as behavioral                         commented that our analysis should                    MAIS based injury profile. This profile
                                             characteristics. Using this same                        account for improvements in safety over               was used to weight nonfatal injury unit
                                             approach, the agency designed separate                  time as crash-avoidance technologies                  costs derived from Blincoe et al.,
                                             models for fatalities, non-fatal injuries,              become more prevalent in the vehicle                  adjusted to 2018 economics and
                                             and property damaged vehicles.                          fleet.743 We agree with this approach,                updated to reflect the official DOT
                                                The fatality risk projections described              and have accounted for this expected                  guidance on the value of a statistical
                                             above capture the historical evolution of               effect in this and the previous                       life. Property-damaged vehicle costs
                                             safety. Given that modern technologies                  rulemaking by projecting baseline                     were also taken from Blincoe et al. and
                                             are proliferating faster than ever and                  fatality and injury rates to decrease as a            adjusted to 2018 economics. VSL does
                                             offer greater safety benefits than                      function of the adoption of crash-                    not affect property damage. This gives
                                             traditional safety improvements, the                    avoidance technologies.                               societal values of $10.8 million for each
                                             agency augmented the fatality risk                                                                            fatality, $132,000 for each nonfatal
                                             projections with knowledge about                        4. Rebound Effect Impacts
                                                                                                                                                           injury, and $7,100 for each property
                                             forthcoming safety improvements. The                       The additional VMT resulting from                  damaged vehicle.
                                             agency applied detailed empirical                       the rebound effect is accompanied by                     Multiple commenters proposed that
                                             estimates of the market uptake and                      more exposure to risk, though rebound                 we should focus on how the policy
                                             improving effectiveness of crash                        miles are not imposed on consumers by                 alternatives affect fatality rates rather
                                             avoidance technologies to estimate their                regulation. They are a freely chosen                  than total fatalities, reflecting concerns
                                             effect on the fleet-wide fatality rate,                 activity resulting from reduced vehicle               that fatalities occurring in incremental
                                             including explicitly incorporating both                 operational costs and reflect the                     travel due to improved fuel economy
                                             the direct effect of those technologies on              perceived benefit of additional travel.               (i.e., the rebound effect) should not be
                                             the crash involvement rates of new                      Consumers who choose to drive more                    represented as a safety impact
                                             vehicles equipped with them, as well as                 have concluded that the utility of                    associated with a given change in fuel
                                             the ‘‘spillover’’ effect of those                       additional driving exceeds the                        economy standards.744 As discussed
                                             technologies on improving the safety of                 additional costs for doing so, including              above, we agree that consumers who
                                             occupants of vehicles that are not                      the crash risk that they perceive                     choose to drive more are doing so
                                             equipped with these technologies.742                    additional driving involves. As such, we              because they value the benefit of
                                                The agency’s approach to measuring                   believe a large portion of the safety risks           increased driving more than the
                                             these impacts is to derive effectiveness                associated with additional driving are                associated costs. We also agree that
                                             rates for these advanced crash-                         offset by the benefits drivers gain from              effects on the fatality rate is a useful
                                             avoidance technologies from safety                      added driving. The level of risk                      method for assessing a policy change.
                                             technology literature. The agency then                  internalized by drivers is uncertain.                 However, the numerical projection of
                                             applies these effectiveness rates to                    This analysis assumes that consumers                  changes to fatalities is needed for the
                                             specific crash target populations for                   internalize 90 percent of this risk, which            purpose of conducting a cost-benefit
                                             which the crash avoidance technology is                 mostly offsets the societal impact of any             analysis and Circular A–4. As
                                             designed to mitigate and adjusted to                    added fatalities from this voluntary                  summarized above, we have already
                                             reflect the current pace of adoption of                 consumer choice. A more detailed                      acknowledged the differential roles of
                                             the technology, including the public                    discussion of the rebound effect is                   direct changes in safety (i.e., changes in
                                             commitment by manufactures to install                   contained in TSD Chapter 7.4.                         fatality rates that are independent of the
                                             these technologies. The products of                                                                           volume of incremental VMT) and
                                             these factors, combined across all 6                    5. Value of Safety Impacts                            changes in safety outcomes (i.e.,
                                             advanced technologies, produce a                           Fatalities, nonfatal injuries, and                 changes in fatalities influenced by
                                             fatality rate reduction percentage that is              property damage crashes are valued as                 incremental VMT) by offsetting 90
                                             applied to the fatality rate trend model                a societal cost within the CAFE Model’s               percent of the safety costs associated
                                             discussed above, which projects both                    cost and benefit accounting. Their value              with rebound VMT.
                                             vehicle and non-vehicle safety trends.                  is based on the comprehensive value of                   Walter Kreucher commented broadly
                                             The combined model produces a                           a fatality, which includes lost quality of            on EV battery safety, mentioning vehicle
                                             projection of impacts of changes in                     life and is quantified in the value of a              recalls due to battery fire risks and
                                             vehicle safety technology as well as                    statistical life (VSL) as well as economic            Tesla’s BEV fire mitigation
                                             behavioral and infrastructural trends. A                consequences such as medical and                      guidelines.745 Mr. Kreucher did not
                                             much more detailed discussion of the                    emergency care, insurance                             address whether he felt this was an
                                             methods and inputs used to make these                   administrative costs, legal costs, and                issue that warranted inclusion in our
                                             projections of safety impacts from                      other economic impacts not captured in                analysis, nor did he offer any empirical
                                             advanced technologies is included in                    the VSL alone. These values were                      research concerning the potential fire
                                             Chapter 7 of the accompanying TSD.                      derived from data in Blincoe et al.                   risk of BEVs. Conversely, Tesla
                                                                                                     (2015), adjusted to 2018 dollars, and                 commented that BEVs are safer than
                                                742 These technologies included Forward
                                                                                                     updated to reflect the official DOT                   their ICE counterparts and will improve
                                             Collision Warning (FCW), Crash Imminent Braking                                                               safety because of ‘‘[t]he basic
                                             (CIB), Dynamic Brake Support (DBS), Pedestrian
                                                                                                     guidance on the value of a statistical
                                             AEB (PAEB), Rear Automatic Braking, Semi-               life. Nonfatal injury costs, which differ             characteristics of EV design, including
                                             automatic Headlamp Beam Switching, Lane                 by severity, were weighted according to               small or no motors in front, large crush
                                             Departure Warning (LDW), Lane Keep Assist (LKA),        the relative incidence of injuries across             space for energy absorption, lack of
                                             and Blind Spot Detection (BSD). While                                                                         combustible fuel, and low centered
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                                             Autonomous vehicles offer the possibility of            the Abbreviated Injury Scale (AIS). To
                                             significantly reducing or eventually even               determine this incidence, the agency
                                                                                                                                                              744 Office of the California Attorney General, et
                                             eliminating the effect of human error in crash          applied a KABCO/MAIS translator to
                                             causation, a contributing factor in roughly 94                                                                al., Docket No. NHTSA–2021–0053–1499, at 2–3;
                                             percent of all crashes, there is insufficient
                                                                                                     GES KABCO based injury counts from                    CBD et al., Docket No. NHTSA–2021–0053–1572, at
                                             information and certainty regarding autonomous                                                                3.
                                             vehicles eventual impact to include them in this         743 Securing America’s Future Energy, Docket No.        745 Walter Kreucher, Docket No. NHTSA–2021–

                                             analysis.                                               NHTSA–2021–0053–1513–A1, at 14–15.                    0053–0015, at 9.



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                                             batteries that result in extremely low                  collect and analyze data, perform                     vehicles (including passenger cars and
                                             center of gravity and nearly perfect                    research, develop standards and                       light trucks). Economic impacts are
                                             weight distribution.’’ 746 Tesla did not                guidelines, and work with other Federal               shown separately under both 3 and 7
                                             provide any empirical or engineering                    partners to investigate and understand                percent discount rates. Model years
                                             research to support its claim.                          causes of fire due to safety defect.                  1981 through 2029 were examined
                                                While it may be true that the safety                 NHTSA is conducting research on high-                 because they represent the model years
                                             risks associated with BEVs and ICE                      voltage battery safety, including                     that might be affected by shifts in fleet
                                             vehicles are different, at this point we                expanded research into battery                        composition due to the impact of higher
                                             lack empirical evidence in the record                   prognostics and diagnostics systems that              new vehicle prices on sales of new
                                             that one technology is safer.                           can detect issues before fires begin. At              vehicles and retention of older vehicles.
                                             Furthermore, there is an insufficient                   the same time, NHTSA is working                       Earlier years will be affected by slower
                                             sample size of crashes involving BEVs                   closely with industry, EMS groups, and                scrappage rates and we expect the
                                             in our database to identify differences in              other government agencies to enhance                  impacts of these standards will be fully
                                             safety effects. As such, we treat the                   battery safety during a crash and                     realized in vehicle designs by MY 2029.
                                             different powertrain technologies                       develop best practices for emergency                  We note again that the results described
                                             equally for the purposes of CAFE. We                    responders.                                           below for mass changes are based on a
                                             recognize that commenters’ concerns are                                                                       statistical analysis of the relationship
                                                                                                     6. Impacts of the Final Standards on
                                             relevant and note that NHTSA is                                                                               between changes in mass and safety that
                                                                                                     Safety
                                             establishing a Battery Safety                                                                                 could not be estimated with sufficient
                                             Initiative.747 This effort will continue to               Table III–40 through Table III–42                   precision to distinguish it from zero at
                                                                                                     summarize the projected impacts of the                standard confidence levels used in the
                                               746 Tesla, Docket No. NHTSA–2021–0053–1480–
                                                                                                     standards on safety broken down by                    scientific literature. As such, the fatality
                                             A1, at 10.                                              factor. These impacts are summarized                  numbers presented below could in
                                               747 https://www.nhtsa.gov/battery-safety-             over the lifetimes of MY 1981 through                 reality be zero, or negative.
                                             initiative#research.                                    2029 vehicles for all light passenger                 BILLING CODE 4910–59–P
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                                                As seen in the tables, all three safety              impacts of their actions to those of a                   The different regulatory alternatives
                                             factors—changes in mass, fleet turnover,                reasonable range of alternatives.                     are defined in terms of percent-increases
                                             and rebound—increase as the standards                   Executive Orders 12866 and 13563, as                  in CAFE stringency from year to year.
                                             become more stringent. As expected,                     well as OMB Circular A–4, also request                Readers should recognize that those
                                             rebound fatalities grow at a constant rate              that agencies to evaluate regulatory                  year-over-year changes in stringency are
                                             as vehicles become more fuel efficient                  alternatives in their rulemaking                      not measured in terms of mile per gallon
                                             and are used more frequently. Mass                      analyses.                                             differences (as in, 1 percent more
                                             reduction has a relatively minimal                         Alternatives analysis begins with a                stringent than 30 miles per gallon in one
                                             impact on safety. This may point to the                 ‘‘No-Action’’ Alternative, typically                  year equals 30.3 miles per gallon in the
                                             fleet becoming more homogeneous and                     described as what would occur in the                  following year), but rather in terms of
                                             hence less mass disparate in crashes, or                absence of any regulatory action. This                shifts in the footprint functions that
                                             the use of new materials in vehicle                     notice includes a No-Action Alternative,              form the basis for the actual CAFE
                                             construction. Alternatively, the model                  described below, and four ‘‘action                    standards (as in, on a gallon per mile
                                             may be capturing that there is little                   alternatives.’’ The new standards may,                basis, the CAFE standards change by a
                                             room for more mass reductions in                        in places, be referred to as the                      given percentage from one model year to
                                             particular models. The slowing of fleet                 ‘‘Preferred Alternative,’’ which is NEPA              the next). The rate of change can be the
                                             turnover due to higher vehicle prices                   parlance, but NHTSA intends ‘‘new                     same or different from year to year, and
                                             has the largest impact of the three                     standards,’’ ‘‘final standards,’’ and                 the rate of change can be different for
                                             factors on fatalities.                                  ‘‘Preferred Alternative’’ to be used                  cars and for trucks. For this final rule,
                                                FRIA Chapter 5.6 discusses the results               interchangeably for purposes of this                  NHTSA believes that the alternatives
                                             of the analysis in more detail and FRIA                 rulemaking.                                           considered here represent a reasonable
                                             Chapter 5.7 provides an overview of                        Regulations regarding implementation               range of possible final agency actions.
                                             sensitivity analyses performed to isolate               of NEPA require agencies to ‘‘rigorously
                                             the uncertainty parameters of each of                                                                         B. Regulatory Alternatives and Final
                                                                                                     explore and objectively evaluate all                  CAFE Standards for MYs 2024–2026
                                             the three safety impacts.                               reasonable alternatives, and for
                                             IV. Regulatory Alternatives Considered                  alternatives which were eliminated from                 The regulatory alternatives considered
                                             in This Final Rule                                      detailed study, briefly discuss the                   by the agency are presented here as the
                                                                                                     reasons for their having been                         percent-increases-per-year that they
                                             A. Basis for Alternatives Considered                    eliminated.’’ This does not amount to a               represent. The sections that follow will
                                                Agencies typically consider regulatory               requirement that agencies evaluate the                present the alternatives as the literal
                                             alternatives as a way of evaluating the                 widest conceivable spectrum of                        coefficients which define standards
                                             comparative effects of different potential              alternatives. Rather, the range of                    curves increasing at the given
                                             ways of accomplishing their desired                     alternatives must be reasonable and                   percentage rates and will also further
                                             goal. NEPA requires agencies to                         consistent with the purpose and need of               explain the basis for the alternatives
                                             compare the potential environmental                     the action.                                           selected.




                                               As for past rulemaking analyses,                      cost, and effectiveness of fuel-saving                shows that if battery costs decline as
                                             NHTSA has analyzed each of the                          technologies. The analysis sometimes                  projected while fuel prices increase as
                                             regulatory alternatives in a manner that                shows that specific manufacturers could               projected, BEVs should become
                                             estimates manufacturers’ potential                      increase CAFE levels beyond                           increasingly attractive on this basis,
                                             application of technology in response to                requirements in ways estimated to ‘‘pay               such that the modeled application of
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                                             the corresponding CAFE requirements                     buyers back’’ very quickly (i.e., within              BEVs (and some other technologies)
                                             and the estimated market demand for                     30 months) for the corresponding                      clearly outstrips regulatory
                                             fuel economy, considering estimated                     additional costs to purchase new                      requirements after the mid-2030s.
                                             fuel prices, estimated product                          vehicles through avoided fuel outlays.                   The analysis accompanying the 2020
                                             development cadence, and the                            Consistent with the analysis published                final rule presented such results for
                                                                                                                                                                                                       ER02MY22.111</GPH>




                                             estimated availability, applicability,                  with the 2020 final rule, this analysis               CAFE standards as well as—


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                                             separately—CO2 standards. New in this                   CAFE Model to account for the                            What new PHEVs or BEVs do I need
                                             rulemaking, DOT has modified the                        ‘‘Framework’’ agreements California has               to build in order to satisfy the ZEV
                                             CAFE Model to account for the                           reached with BMW, Ford, Honda,                        mandates?
                                             combined effect of both CAFE and CO2                    Volkswagen, and Volvo, and for the ZEV                   What further technology, if any, could
                                             standards, simulating technology                        mandate that California and the                       I apply that would enable buyers to
                                             application decisions each manufacturer                 ‘‘Section 177’’ states have adopted. The              recoup additional costs within 30
                                             could possibly make when faced with                     TSD elaborates on these model                         months after buying new vehicles?
                                             both CAFE standards and CO2 standards                   capabilities. Generally speaking, the
                                                                                                                                                              What additional technology, if any,
                                             (and also estimated market demand for                   model treats each manufacturer as
                                                                                                     applying the following logic when                     should I apply in order to respond to
                                             fuel economy). This capacity was                                                                              CAFE and CO2 standards?
                                                                                                     making technology decisions:
                                             exercised in order to account for CO2                      What do I need to carry over from last                All of the regulatory alternatives
                                             standards applicable under the baseline                 year?                                                 considered here include, for passenger
                                             National Program (i.e., the CO2                            What should I apply more widely in                 cars, the following coefficients defining
                                             standards in place when the current                     order to continue sharing (of, e.g.,                  the combination of baseline Federal CO2
                                             rulemaking was initiated). Also, for this               engines) across different vehicle                     standards and the California Framework
                                             final rule, DOT has further modified the                models?                                               Agreements.




                                               Coefficients a, b, c, d, e, and f define              linear portion of the CO2 target function,            reached with California. Beyond 2026,
                                             the baseline Federal CO2 standards for                  and coefficients e and f bound the                    the MY 2026 Federal standards apply to
                                             passenger cars. Analogous to                            region within which CO2 targets are                   all manufacturers, including these five
                                             coefficients defining CAFE standards,                   defined by this linear form. Coefficients             manufacturers. The coefficients shown
                                             coefficients a and b specify minimum                    g, h, i, and j define the CO2 targets                 in Table IV–3 define the corresponding
                                             and maximum passenger car CO2 targets                   applicable to BMW, Ford, Honda,                       CO2 standards for light trucks.
                                             in each model year. Coefficients c and                  Volkswagen, and Volvo, pursuant to the
                                             d specify the slope and intercept of the                agreements these manufacturers have
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                                               All of the regulatory alternatives                    estimates force the model to convert                    (i.e., beyond PHEV and BEV production
                                             considered here also include NHTSA’s                    specific vehicle model/configurations to                through MY 2020) comprise the
                                             estimates of ways each manufacturer                     either a BEV200, BEV300, or BEV400 at                   following shares of manufacturers’ MY
                                             could introduce new PHEVs and BEVs                      the earliest estimated redesign. These                  2020 production for the U.S. market as
                                             in response to ZEV mandates. As                         ‘‘ZEV Candidates’’ define an                            shown in Table IV–4.
                                             discussed in greater detail below, these                incremental response to ZEV mandates




                                             BILLING CODE 4910–59–C                                  costs and benefits attributable to the                  alternative-fueled vehicle
                                                For example, while Tesla obviously                   new CAFE standards and other action                     organizations 750 supporting their
                                             need not introduce additional BEVs to                   alternatives. In the proposal preceding                 inclusion, and other automaker
                                             comply with ZEV mandates, our                           this document, NHTSA sought comment                     commenters,751 NADA,752 AVE,753 and
                                             analysis indicates Nissan could need to                 broadly on its approach to developing                   Mr. Kreucher 754 opposing their
                                             increase BEV offerings modestly to do                   the No-Action Alternative for the final                 inclusion. NCAT, for example, stated
                                             so, and Mazda and some other                            rule, and also specifically sought                      that ‘‘[i]t would be an absurd
                                             manufacturers may need to do                            comment on whether and how to add to                    interpretation of EPCA to find that the
                                             considerably more than Nissan to                        the No-Action Alternative for the final                 agency should create a fictional baseline
                                             introduce new BEV offerings.                            rule an estimation of GHG standards                     that does not reflect the alternative fuel
                                                This representation of CO2 standards                 that California and the Section 177                     vehicles that are already being sold and
                                             and ZEV mandates applies equally to all                 states might separately enforce if                      those that will be required to be sold
                                             regulatory alternatives, and NHTSA’s                    California’s waiver of CAA preemption                   under ZEV mandates and GHG
                                             analysis applies the CAFE Model to                      was re-established.                                     emissions standards in the future, in
                                             examine each alternative treating each                     Comments were mixed regarding                        particular as alternative fuel vehicles are
                                             manufacturer as responding jointly to                   whether commenters agreed that it was                   an increasingly substantial part of the
                                             the entire set of requirements. This is                 appropriate for NHTSA to account for                    U.S. market.’’ 755 NCAT argued that
                                             distinct from model application of BEVs                 State ZEV standards as part of the No-
                                             for compliance purposes under the                       Action Alternative, with state and local
                                                                                                                                                                750 NCAT, Docket No. NHTSA–2021–0053–1508,

                                             compliance simulations of the different                                                                         at 2, 6–7.
                                                                                                     government commenters,748 electric                         751 Auto Innovators, Docket No. NHTSA–2021–
                                             action alternatives which inform                        vehicle manufacturers,749 and                           0053–1492, at 45–46; Stellantis, Docket No.
                                             decision-makers regarding potential                                                                             NHTSA–2021–0053–1527, at 12; Kia, Docket No.
                                             effects of the standards.
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                                                                                                        748 California Attorney General et al., Docket No.   NHTSA–2021–0053–1525, at 2.
                                                Chapter 1 of the TSD contains                        NHTSA–2021–0053–1499, at 3; CARB, Docket No.
                                                                                                                                                                752 NADA, Docket No. NHTSA–2021–0053–1471,

                                             extensive discussion of the development                 NHTSA–2021–0053–1521, at 9; South Coast AQMD,           at 4–5.
                                                                                                                                                                753 AVE, Docket No. NHTSA–2021–0053–1488–
                                             of the No-Action Alternative and                        Docket No. NHTSA–2021–0053–1477, at 2.
                                                                                                        749 Lucid, Docket No. NHTSA–2021–0053–1584,          A1, at 5.
                                             explains the reasons for and effect of                  at 5; Rivian, Docket No. NHTSA–2021–0053–1562,             754 Walt Kreucher, Docket No. NHTSA–2021–
                                             apparent ‘‘over-compliance’’ with the                   at 2; Tesla, Docket No. NHTSA–2021–0053–1480–           0053–0013, at 3.
                                                                                                                                                                                                              ER02MY22.114</GPH>




                                             No-Action Alternative, which reduces                    A1, at 8.                                                  755 NCAT, at 2.




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                                             there was no conflict between the                         programs in its analytical baseline, that               that it would be an absurd result to
                                             statutory prohibition in 49 U.S.C.                        would violate the statutory construction                build a fictional baseline that pretended
                                             32902(h) on considering the fuel                          rule of generalia specialibus non                       as though these standards, and the
                                             economy of dedicated alternative fueled                   derogant (generally, a specific statutory               vehicles produced in response to them,
                                             vehicles and the statutory requirement                    provision prevails over a more general                  were not real. Agency decision-makers
                                             in 49 U.S.C. 32902(f) to consider ‘‘other                 one, if in conflict). NHTSA is not                      would not be well-informed as to the
                                             motor vehicle standards of the                            relying on the ‘‘other motor vehicle                    consequences of different regulatory
                                             Government,’’ because ‘‘ZEV mandates                      standards of the Government’’ factor as                 actions with a baseline that ignored
                                             or vehicle GHG emissions standards                        a basis for accounting for ZEV programs                 these non-NHTSA standards.
                                             . . . do not involve consideration of                     in the baseline. Rather, NHTSA is                          Nor does NHTSA agree that reflecting
                                             ‘fuel economy . . .’ ’’ 756 NCAT went so                  including other relevant legal                          ZEV mandates in the baseline somehow
                                             far as to argue that NHTSA had                            requirements that automakers will meet                  ‘‘thwarts Congress’ intent’’ in providing
                                             overstated costs for all of the regulatory                during the regulatory timeframe in order                compliance boosts for dedicated and
                                             alternatives by not including more ZEV                    to reflect the state of the world without               dual-fueled alternative fuel vehicles.
                                             penetration in its baseline.757 CARB,                     the CAFE standards. Unless the baseline                 ZEVs produced in response to ZEV
                                             California Attorney General et al., and                   accurately reflects the world without the               mandates are not produced to comply
                                             South Coast Air Quality Management                        CAFE standards, the regulatory analysis                 with CAFE standards, even if they
                                             District (South Coast (South Coast                        will not identify the effects of the CAFE               improve manufacturers’ compliance
                                             AQMD) all agreed that if EPA reinstated                   standards. It is perfectly possible to give             with CAFE standards, because those
                                             the waiver for California’s programs                      meaningful effect 760 to the 49 U.S.C.                  vehicles are going to be produced
                                             prior to NHTSA finalizing these                           32902(h) prohibition by not allowing                    anyway to comply with the ZEV
                                             standards, then including those                           the CAFE Model to rely on ZEV (or                       mandates. Manufacturers get the full
                                             standards in the baseline would be                        other dedicated alternative fuel)                       compliance benefit of these vehicles in
                                             reasonable. As California Attorney                        technology during the rulemaking time                   the CAFE program.
                                             General et al. put it, ‘‘It is plainly                    frame, while still acknowledging the                       It thus seems both reasonable and
                                             reasonable for an agency to include the                   clear reality that the state ZEV programs               preferable to try to give meaningful
                                             preexisting legal obligations of regulated                exist, and manufacturers are complying                  effect to Section 32902(h), while
                                             parties in No Action baselines, since                     with them, just like the agency                         meaningfully informing decision-
                                             these baselines aim to capture, as                        acknowledges that electric vehicles exist               makers about the effects of their
                                             accurately as possible, how regulated                     in the fleet independent of the ZEV                     decision. We also note that in the
                                             parties would behave but for the                          program. EPA issued a notice to                         sensitivity analyses for this final rule,
                                             regulatory changes under                                  reconsider its SAFE 1 (SAFE 1 rule; 84                  NHTSA ran a case in which ZEV
                                             consideration.’’ 758 Rivian urged NHTSA                   FR 51310, Sept. 27, 2019) actions that                  compliance was not reflected in the
                                             to expand its analysis by including                       included the waiver withdrawal of                       baseline. As documented in the FRIA,
                                             Minnesota, Nevada, and Virginia as                        California’s ZEV sales mandate and                      not accounting for ZEV mandates would
                                             additional ‘‘Section 177’’ states.759                     greenhouse gas emission standards in                    have increased estimated incremental
                                             Commenters opposing NHTSA’s                               April 2021.761 EPA has since published                  benefits and costs attributable to new
                                             inclusion of the ZEV program in the                       its final decision regarding the                        CAFE standards by about 3 percent.764
                                             baseline generally argued that it was                     reconsideration of its SAFE 1 actions                   Chapter 7 of the FRIA discusses this
                                             contrary to the prohibition in 49 U.S.C.                  with the result that the waiver issued in               finding in more detail. These small
                                             32902(h) against considering the fuel                     2013 for the ZEV sales mandate and                      differences were not dispositive for
                                             economy of dedicated alternative fueled                   greenhouse gas emission standards is                    NHTSA in choosing the Preferred
                                             vehicles in determining maximum                           back in force.762 NHTSA withdrew its                    Alternative; nor would removing ZEV
                                             feasible standards.                                       SAFE 1 rule on December 29, 2021.763                    from the baseline in the main analysis
                                                NHTSA has kept the ZEV program in                      California, and the Section 177 states                  have led NHTSA to reach a different
                                             the No-Action Alternative for the                         (subject to the criteria in Section 177),               conclusion regarding maximum feasible
                                             analysis supporting this final rule. We                   are free to enforce the ZEV mandate,                    CAFE standards.
                                             disagree with comments from Auto                          and manufacturers are building ZEVs in                     Some commenters also addressed
                                             Innovators and others that 32902(h)                       response to it. These standards are real                NHTSA’s question of whether to
                                             prohibits inclusion of ZEVs in the                        and would be in force whether or not                    include state GHG standards in the
                                             analytical baseline. Section 32902(h)                     NHTSA increased the stringency of the                   baseline. Arguments for and against
                                             states that in setting standards,                         CAFE standards. By accounting for them                  including state GHG standards in the
                                             including ‘‘[w]hen deciding maximum                       in the baseline, NHTSA acknowledges                     baseline were fairly similar to those
                                             feasible fuel economy,’’ NHTSA ‘‘may                      this reality; by withholding ZEV                        regarding ZEV mandates. Tesla,
                                             not consider the fuel economy of                          technology as a model option during the                 however, argued that because
                                             dedicated automobiles.’’ The baseline is                  rulemaking timeframe, NHTSA respects                    ‘‘California and the Section 177 states
                                             supposed to reflect the world in the                      the 49 U.S.C. 32902(h) prohibition. This                have written the GHG standards into
                                             absence of further CAFE standards. The                    is how we give effect to Section                        their EPA approved SIPs,’’ . . .‘‘these
                                             baseline is not itself the decision on                    32902(h). NHTSA agrees with NCAT                        more stringent standards have remained
                                             what standards are maximum feasible.                                                                              in place and [are] enforceable while the
                                             Auto Innovators also commented that if                      760 The reason that NHTSA knows this effect is        waiver gets reinstated because EPA
                                             NHTSA relied on the ‘‘other motor                         meaningful is because compliance with all               never compelled any of these SIPs to be
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                                             vehicle standards of the Government’’                     regulatory alternatives is more cost-effective under
                                                                                                       the ‘‘unconstrained’’ or ‘‘EIS’’ model runs, in which     764 While Rivian encouraged NHTSA to add
                                             factor as a basis for accounting for ZEV                  NHTSA allows the model to build BEVs, than under        Minnesota, Nevada, and Virginia to the list of ZEV
                                                                                                       the ‘‘standard-setting’’ runs, in which NHTSA           states, NHTSA believes that accounting for these
                                               756 Id.                                                 implements the 32902(h) restrictions.                   States’ recent adoption of ZEV mandates would
                                               757 Id., at 8.                                            761 86 FR 22421 (Apr. 28, 2021).
                                                                                                                                                               only have slightly impacted the 3 percent
                                               758 California State Attorney General et al., at 3.       762 87 FR 14332 (Mar. 14, 2022).
                                                                                                                                                               difference, and also would not have impacted
                                               759 Rivian, at 2.                                         763 86 FR 74236 (Dec. 29, 2021).                      NHTSA’s conclusions.



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                                             amended or revised to remove the                            2020 final rule would have required.                  standards, i.e., that there is no real-
                                             purportedly preempted standards.’’ 765                      Rivian 767 and NCAT agreed that                       world market-driven increase in fuel
                                               As explained in the NPRM, NHTSA                           including the Framework Agreements                    economy (regardless of fuel price) that
                                             does not currently have the capability to                   was appropriate. For example, NCAT                    could or should be reflected in
                                             model a sub-national fleet concurrently                     commented that it was reasonable to                   NHTSA’s analysis.770 NHTSA has
                                             with a national fleet and remains                           consider the Framework Agreements,                    carefully considered these comments,
                                             concerned about potentially important                       because the five manufacturers involved               and finds that the comments conflict
                                             differences between the Section 177                         represent a significant portion of the                with the historical record showing
                                             states that would complicate finding a                      market, and the agreements are                        manufacturers sometimes achieving
                                             workable approach to doing so. NHTSA                        contractual.768 NADA argued, in                       CAFE levels beyond those required by
                                             thus has not reflected the state GHG                        contrast, that ‘‘The OEMs that entered                CAFE standards. Historical record aside,
                                             standards in this final rule analysis,                      those agreements represent only about a               NHTSA recognizes that future fuel
                                             despite Tesla’s recommendation. That                        third of U.S. vehicle sales,’’ and that               prices cannot be predicted with
                                             said, noting that all of the vehicles that                  ‘‘their actions should not be                         certainty yet will almost certainly
                                             manufacturers ultimately sell in these                      incorporated into the baseline for any                impact manufacturers’ and buyers’
                                             States will be among those vehicles that                    revised CAFE standards with which all                 future decisions. The aforementioned
                                             manufacturers produce for sale in the                       OEMs must comply,’’ because ‘‘That                    comments imply an approach that
                                             United States, NHTSA anticipates that if                    OEMs representing the other two-thirds                would not respond at all to fuel prices,
                                             California and other States enforce                         of U.S. vehicle sales did not enter                   such that manufacturers’ estimated
                                             requirements regarding the average CO2                      similar agreements is telling and raises              application of technology would be the
                                             performance of vehicles sold in these                       significant questions as to whether the               same if gasoline costs more than $7 per
                                             States, and NHTSA concurrently                              ‘framework’ standards are reasonable                  gallon as if gasoline costs less than $2
                                             enforces requirements regarding the                         and appropriate.’’ 769                                per gallon. Under NHTSA’s analytical
                                             average fuel economy levels of vehicles                        In response, NHTSA reiterates that                 approach, fuel economy increases
                                             produced for sales nationwide,                              the purpose of a baseline is to reflect the           beyond requirements grow as fuel prices
                                             manufacturers will be able to meet the                      world in the absence of further                       increase, and the sensitivity analysis
                                             State-level requirements by selling                         regulatory action by NHTSA, so that                   documented in the FRIA accompanying
                                             different proportions of vehicles in                        NHTSA can then attempt to evaluate the                this document suggests that to ignore
                                             states with GHG requirements than in                        effects of taking different regulatory                this response would have led NHTSA to
                                             states that lack them. Manufacturers                        actions. Only the Framework-Agreement                 overstate significantly the incremental
                                             could sell a higher proportion of                           manufacturers were reflected in the                   benefits and costs of new CAFE
                                             vehicles (such as the BEVs and PHEVs                        baseline, not the fleet as a whole.                   standards. Commenters have provided
                                             some of these States also encourage                         Because those agreements were                         no basis for predicting with confidence
                                             through ZEV mandates) with CO2 levels                       contractual, NHTSA found it reasonable                how manufacturers and buyers will act
                                             well below corresponding CO2 targets in                     to assume that automakers would meet                  in the future, or any logical basis to
                                             these States than in the rest of the                        their terms and that this approach                    assume that fuel prices will not impact
                                             country, and by selling a smaller                           would best reflect the state of the world             their decisions. NHTSA maintains that
                                             proportion of vehicles (such as some                        in the absence of further regulatory                  fuel prices are almost certain to play a
                                             performance and luxury models, and                          action by NHTSA, and therefore                        role, and that it remains reasonable to
                                             some sport-utility vehicles) that perform                   included them in the baseline for this                NHTSA to assume that having met fuel
                                             especially poorly relative to CO2                           analysis. NADA’s comment more likely                  economy requirements, manufacturers
                                             targets.766                                                 pertains to the feasibility of standards              may apply additional fuel-saving
                                               A few commenters addressed                                that would require similar (or higher)                technologies that pay back within the
                                             NHTSA’s inclusion in the baseline of                        levels of fuel economy improvement                    first 30 months of vehicle ownership.
                                             the California Framework Agreements                         from all manufacturers. The feasibility
                                                                                                         of different alternatives will be                     1. No-Action Alternative
                                             with BMW, Ford, Honda, Volkswagen,
                                             and Volvo, binding those companies to                       discussed in Section VI of this                          The No-Action Alternative (also
                                             more stringent GHG standards than the                       preamble.                                             referred to as ‘‘Alternative 0’’) applies
                                                                                                            Other commenters indicated that                    the CAFE target curves set in 2020 for
                                               765 Tesla, at 8.                                          NHTSA should, in effect, assume that                  MYs 2024–2026, which raised
                                               766 Examples of such vehicles can be identified in
                                                                                                         manufacturers would never increase                    stringency by 1.5 percent per year for
                                             the published vehicle-level model results (in the           CAFE beyond levels required by CAFE                   both passenger cars and light trucks.
                                             archive posted at https://www.nhtsa.gov/corporate-
                                             average-fuel-economy/cafe-compliance-and-effects-                                                                 BILLING CODE 4910–59–P
                                                                                                           767 Rivian, at 2.
                                             modeling-system’’) (accessed: March 15, 2022) by
                                                                                                           768 NCAT, at 7–8.
                                             comparing ‘‘CO2 Rated’’ and ‘‘CO2 Target’’ values                                                                   770 See, e.g., UCS, Docket No. NHTSA–2021–

                                             for specific vehicle model/configurations.                    769 NADA, at 4–5.                                   0053–1567, at 25–29.
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                                               These equations are presented                         vehicle footprint and the y-axis                      fuel economy for smaller footprint
                                             graphically in Figure IV–1 and Figure                   represents fuel economy, showing that                 vehicles and lower for larger footprint
                                             IV–2, where the x-axis represents                       in ‘‘CAFE space,’’ targets are higher in              vehicles.
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                                                                                                                                                                                                     ER02MY22.116</GPH>
                                                                                                                                                                                                     ER02MY22.115</GPH>




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                                                                                                                                                                                               ER02MY22.117</GPH>




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                                               NHTSA must also set a minimum                         establishes or changes a passenger car                purposes of the No-Action Alternative,
                                             standard for domestically manufactured                  standard for a model year, the MDPCS                  the MDPCS is as it was established in
                                             passenger cars, which is often referred                 must also be evaluated or re-evaluated                the 2020 final rule, as shown in Table
                                             to as the ‘‘MDPCS.’’ Any time NHTSA                     and established accordingly, but for                  IV–7.




                                                As the baseline against which the                    and BMW, Ford, Honda, VWA, and                        agreements, but treating only these five
                                             Action Alternatives are measured, the                   Volvo, because these agreements by                    manufacturers as subject to these more
                                             No-Action Alternative includes several                  their terms are contracts, even though                stringent target functions. As in past
                                             policies and agreements already in                      they were entered into voluntarily.771                analyses, NHTSA’s analysis further
                                             effect as well as manufacturer choices                  NHTSA did so by including EPA’s                       assumes that, beyond any technology
                                             that NHTSA believes will occur absent                                                                         applied in response to CAFE standards,
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                                                                                                     baseline (i.e., 2020) GHG standards in its
                                             the revised CAFE standards. First, as                   analysis, and then introducing more                   EPA GHG standards, California/OEM
                                                                                                                                                                                                      ER02MY22.119</GPH>




                                             discussed extensively above, NHTSA                      stringent GHG target functions during                 agreements, and ZEV mandates
                                             has included California’s ZEV mandate                   MYs 2022–2026 consistent with those                   applicable in California and the Section
                                             as part of the No-Action Alternative.                                                                         177 states, manufacturers will also make
                                             Second, NHTSA has included the                            771 See https://ww2.arb.ca.gov/news/framework-      any additional fuel economy
                                                                                                                                                                                                      ER02MY22.118</GPH>




                                             agreements made between California                      agreements-clean-cars.                                improvements estimated to reduce


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                                             owners’ estimated average fuel outlays                  Compliance with CAFE standards                           actions to comply with these other
                                             during the first 30 months of vehicle                   Compliance with GHG standards                            obligations or voluntarily that will at
                                             operation by more than the estimated                       applicable to all manufacturers                       times affect fuel economy even in the
                                             increase in new vehicle price.                          Compliance with alternative GHG                          absence of new CAFE standards, and
                                                NHTSA accomplished much of this                         standards applicable to a subset of                   that costs and benefits attributable to
                                             through expansion of the CAFE Model                        manufacturers                                         those actions are therefore not
                                             after the prior rulemaking. The previous                Compliance with ZEV mandates
                                                                                                                                                              attributable to CAFE standards.
                                             version of the model had been extended                  Further fuel economy improvements
                                             to apply to GHG standards as well as                       applied if sufficiently cost-effective                2. Alternative 1
                                             CAFE standards but had not been                            for buyers
                                             published in a form that simulated                         As explained in the NPRM, the                            Alternative 1 would increase CAFE
                                             simultaneous compliance with both sets                  impacts of all the alternatives evaluated                stringency for MY 2024 by 9.14 percent
                                             of standards. As discussed at greater                   here are against the backdrop of these                   for passenger cars and 11.02 percent for
                                             length in the current CAFE Model                        other obligations applicable to and                      light trucks and increase stringency in
                                             documentation, the updated version of                   voluntary actions taken by automakers.                   MYs 2025 and 2026 by 3.26 percent per
                                             the model simulates all the following                   This is important to remember, because                   year for both passenger cars and light
                                             simultaneously:                                         it means that automakers will be taking                  trucks.772




                                               These equations are represented
                                             graphically in Figure IV–3 and Figure
                                             IV–4.
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                                                                                                                                                                                                                       ER02MY22.121</GPH>




                                               772 Increases of MY 2024 stringencies as                 773 For this and other action alternatives, readers   finalized. Considering the question again for this
                                             compared to MY 2023 are based on computed               may note that the cutpoint for large trucks is further   action, NHTSA believes that moving the cutpoint to
                                             averages of manufacturers’ required CAFE levels.        to the right than in the 2020 final rule. The 2020       the right for large trucks (consistent with the intent
                                             Increases of MYs 2025 and 2026 stringencies are         final rule (and its preceding NPRM) did not contain      and requirements in 2012) is reasonable, given the
                                             based on mathematical progression of coefficients       an adjustment to the right cutpoint that had been        rate of increase in stringency for this action.
                                                                                                     finalized in 2012. Because comments were not             NHTSA did not receive any comments addressing
                                             defining applicable fuel economy targets.
                                                                                                                                                                                                                       ER02MY22.120</GPH>




                                                                                                     received to the NPRM, the lack of adjustment was         this change.



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                                                                                                                                                                                                 ER02MY22.122</GPH>




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                                               Under this alternative, the MDPCS is
                                             as shown in Table IV–10.




                                             3. Alternative 2
                                                Alternative 2 would increase CAFE
                                             stringency at 8 percent per year.774
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                                                                                                                                                                                               ER02MY22.124</GPH>
                                                                                                                                                                                               ER02MY22.123</GPH>




                                               774 Increases of MY 2024–2026 stringencies are

                                             based on mathematical progression of coefficients
                                             defining applicable fuel economy targets.

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                                               Under this alternative, the MDPCS is
                                             as shown in Table IV–13.




                                             4. Alternative 2.5                                      possible modification to Alternative 2,               rather than by 8 percent. Shown
                                                                                                     which would have increased the                        graphically, this possibility appeared as
                                               In the proposal preceding this final                  stringency of CAFE standards by 10                    shown in Figure IV–5.
                                             rule, NHTSA sought comment on a                         percent between MYs 2025 and 2026,




                                                                                                                                                                                                       ER02MY22.127</GPH>
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                                                                                                                                                                                                       ER02MY22.125</GPH>




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                                                The coefficients associated with this
                                             alternative have been determined as
                                             follows:




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                                                                                                                                                                                               ER02MY22.129</GPH>
                                                                                                                                                                                               ER02MY22.128</GPH>




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                                               These equations are represented
                                             graphically in Figure IV–6 and Figure
                                             IV–7.
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                                                                                                                                                                                                 ER02MY22.131</GPH>




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                                               Under the alternative, the MDPCS is
                                             as follows in Table IV–16.




                                               NHTSA considered this alternative as                  similar to the standards announced in                 savings from vehicles produced during
                                             a way to evaluate the effects of CAFE                   2012.                                                 MYs 2021–2029 similar to total lifetime
                                             standards that could be considered a                    5. Alternative 3                                      fuel savings that would have occurred if
                                             middle ground between Alternative 2                                                                           NHTSA had promulgated final CAFE
                                             and Alternative 3 allowing for a slower                    Alternative 3 would increase CAFE                  standards for MYs 2021–2025 at the
                                             ramp in stringency than Alternative 3                   stringency at 10 percent per year.775 In              augural levels announced in 2012. In
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                                             but providing additional lead time to                   the NPRM preceding this document,                     addition, Alternative 3 contemplated
                                                                                                                                                                                                      ER02MY22.133</GPH>




                                             return to a fuel consumption trajectory                 NHTSA calculated that Alternative 3                   capturing fuel savings as if NHTSA had
                                                                                                     would result in total lifetime fuel
                                                                                                                                                                                                      ER02MY22.132</GPH>




                                               775 Increases of MY 2024–2026 stringencies are

                                             based on mathematical progression of coefficients
                                             defining applicable fuel economy targets.
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                                             also promulgated MY 2026 standards                      percent for passenger cars and 4.54
                                             that reflected a continuation of that                   percent for light trucks).
                                             average rate of stringency increase (4.48




                                               These equations are represented                       IV–9. For this final rule, NHTSA
                                             graphically in Figure IV–8 and Figure                   retained this definition of Alternative 3.
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                                                                                                                                                                                                 ER02MY22.135</GPH>
                                                                                                                                                                                                 ER02MY22.134</GPH>




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                                                                                                                                                                                               ER02MY22.136</GPH>




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                                               Under this alternative, the MDPCS is
                                             as follows in Table IV–19.




                                                NHTSA considered this alternative as                 alternatives more stringent than                        occur given reference case fuel price
                                             a way to evaluate the effects of CAFE                   Alternative 3. CEI, for example, argued                 projections, NHTSA concludes that
                                             standards that would return to a fuel                   that less stringent alternatives would                  alternatives less stringent than the No-
                                             consumption trajectory similar to the                   result in better safety outcomes, and that              Action Alternative would clearly have
                                             standards announced in 2012.                            not including such alternatives was                     fallen short of the maximum feasible, as
                                                Besides the aforementioned                           arbitrary and capricious, such that                     cost-effective technology to address
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                                             alternatives, some commenters                           NHTSA must commence a new                               even modest energy-related economic
                                                                                                                                                                                                        ER02MY22.138</GPH>




                                             indicated that NHTSA should also                        rulemaking.776 Noting the considerable                  externalities would have been forgone.
                                             consider action alternatives less                       overcompliance estimated to potentially                 Considering such alternatives would not
                                             stringent than the No-Action                                                                                    have been a fruitful use of agency
                                             Alternative, while others indicated that                  776 CEI, Docket No. NHTSA–2021–0053–1546, at          resources in this rulemaking. Moreover,
                                                                                                                                                                                                        ER02MY22.137</GPH>




                                             NHTSA should also consider action                       2, 8.                                                   NHTSA has accounted for safety


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                                             considerations as part of its                           less than two years, and that designs                 compared to the standards set in 2020.
                                             determination of which standards                        and contractual arrangements (e.g., with              To estimate the potential impacts of
                                             would be maximum feasible, as                           suppliers) for many MY 2026 vehicles                  each of these alternatives, NHTSA has,
                                             discussed in Section VI.                                are likely already somewhat firmly                    as for all recent rulemakings, assumed
                                                On the other hand, Securing                          established, such that alternatives more              that standards would continue
                                             America’s Future Energy commented                       aggressive than Alternative 3 would                   unchanged after the last model year (in
                                             that NHTSA should explore more                          likely not be economically practicable.               this case, 2026) to be covered by newly
                                             stringent alternatives ‘‘if the analysis                NHTSA also does not believe it likely                 issued standards. NHTSA recognizes
                                             indicates that it will achieve greater fuel             has authority to establish a specific                 that it is possible that the size and
                                             economy and there is no obvious                         ZEV-mandate-type standard as                          composition of the fleet (i.e., in terms of
                                             obstacle to automakers meeting the                      requested by Elders Climate Action,                   distribution across the range of vehicle
                                             more stringent standard.’’ 777 Our                      given the restrictions in 49 U.S.C.                   footprints) could change over time,
                                             Children’s Trust and Elders Climate                     32902(h). With regard to the request that             affecting the average fuel economy
                                             Action both asked NHTSA to consider                     NHTSA create and consider an                          requirements under both the passenger
                                             alternatives that led to greater ZEV                    alternative ‘‘that is aligned with putting            car and light truck standards, and for
                                             penetration. Our Children’s Trust asked                 the United States transportation system               the overall fleet. If fleet changes
                                             specifically for ‘‘at least one alternative             vehicle fleet on an emission reductions
                                                                                                                                                           ultimately differ from NHTSA’s
                                             tiered to a fully electric fleet by 2030’’              pathway consistent with <350 ppm CO2
                                                                                                                                                           projections, average requirements could,
                                             and also ‘‘at least one alternative that is             by 2100,’’ in this action, NHTSA is
                                                                                                                                                           therefore, also differ from NHTSA’s
                                             aligned with putting the United States                  regulating only the fuel economy of new
                                                                                                                                                           projections.
                                             transportation system vehicle fleet on an               light-duty vehicles. NHTSA does not
                                             emission reductions pathway consistent                  have an integrated model of global                       Following are both the proposed and
                                             with <350 ppm CO2 by 2100.’’ 778 Elders                 emissions with which we could assess                  final estimated required average fuel
                                             Climate Action asked that the                           precisely what emissions reduction                    economy values for the passenger car,
                                             rulemaking be reopened for MY 2026 in                   pathway for the entire U.S.                           light truck, and total fleets for each
                                             order to consider an alternative that                   transportation system (and then, the                  regulatory alternative that the agency
                                             would impose a zero emission vehicle                    new light-duty fleet in particular) would             considered. Overall, the estimated
                                             standard that would be fully phased in                  need to be on in order to achieve this                required fuel economy values are
                                             by 2030, beginning with 30 percent ZEV                  goal. NHTSA will discuss this question                generally the same as the proposal,
                                             in MY 2026.779                                          further with relevant interagency                     although for some years the values have
                                                In response, while NHTSA                             partners and consider whether it can be               changed minimally. These minimal
                                             appreciates these comments, NHTSA                       better answered as part of a subsequent               changes result from the final rule
                                             notes that under Alternative 3, average                 rulemaking.                                           modeling input revisions, where
                                             CAFE requirements would increase by                     V. Effects of the Regulatory Alternatives             technology assumptions and costs
                                             nearly 30 percent over a three-year                                                                           influence the estimated capabilities of
                                             period. While developing circumstances                  A. Effects on Vehicle Manufacturers                   the fleet to attain the required values.
                                             may warrant consideration of even more                    Each of the regulatory alternatives                 We note that in the case of every fleet,
                                             aggressive regulatory alternatives in                   NHTSA considered for this final action                the final MY 2029 values did not change
                                             future CAFE rulemakings, NHTSA                          would increase the stringency of both                 from the proposal to the final estimated
                                             cannot ignore that manufacturers will                   passenger car and light truck CAFE                    values.
                                             begin producing MY 2024 vehicles in                     standards in each of MYs 2024–2026 as                 BILLING CODE 4910–59–P
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                                              777 Securing America’s Future Energy, Docket No.         778 Our Children’s Trust, Docket No. NHTSA–           779 Elders Climate Action, Docket No. NHTSA–
                                                                                                                                                                                                            ER02MY22.139</GPH>




                                             NHTSA–2021–0053–1513, at 8.                             2021–0053–1587, at 4.                                 2021–0053–1589, at 2–3.



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                                                Manufacturers do not always comply                   shortfall. As discussed in the                        respond to each regulatory alternative.
                                             exactly with each CAFE standard in                      accompanying FRIA and TSD, NHTSA                      For this final rule, NHTSA estimates
                                             each model year. To date, some                          simulates manufacturers’ responses to                 that manufacturers’ responses to
                                             manufacturers have tended to regularly                  each alternative given a wide range of                standards defining each alternative
                                             exceed one or both requirements. Many                   input estimates (e.g., technology cost                could lead average fuel economy levels
                                             manufacturers make use of EPCA’s                        and efficacy, fuel prices), and, per EPCA             to increase through MY 2029 as shown
                                             provisions allowing CAFE compliance                     requirements, setting aside the potential             in the following tables. Changes are
                                             credits to be applied when a fleet’s                    that any manufacturer would respond to                shown to occur in MY 2023 even though
                                             CAFE level falls short of the                           CAFE standards in MYs 2024–2026 by                    NHTSA is not explicitly proposing to
                                             corresponding requirement in a given                    applying CAFE compliance credits or                   regulate that model year because
                                             model year. Some manufacturers have                     introducing new models of alternative                 NHTSA anticipates that manufacturers
                                             paid civil penalties (i.e., fines) required             fuel vehicles. Many of these inputs are               could potentially make changes as early
                                             under EPCA when a fleet falls short of                  subject to uncertainty and, in any event,             as that model year to affect future
                                             a standard in a given model year and the                as in all CAFE rulemakings, NHTSA’s                   compliance positions (i.e., multi-year
                                             manufacturer lacks compliance credits                   analysis merely illustrates one set of                planning) for the model years being
                                             sufficient to address the compliance                    ways manufacturers could potentially                  regulated.
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                                                While these increases in average fuel                   At the time of the proposal, NHTSA                 manufacturers shift toward
                                             economy reflect currently estimated                     estimated that manufacturers’                         electrification (which includes
                                             changes in the composition of the fleet                 application of advanced gasoline                      hybridization). Based on the updated
                                             (i.e., the relative shares of passenger cars            engines (i.e., gasoline engines with                  analysis used for the final rule, these
                                             and light trucks), they result almost                   cylinder deactivation, turbocharging,                 trends continue to mirror the trends
                                             wholly from the projected application of                high or variable compression ratios)                  identified in the proposal, but at more
                                             fuel-saving technology. As mentioned                    could increase through MY 2029 under                  aggressive rates. Overall, advanced
                                             above, NHTSA’s analysis merely                          the No-Action Alternative and through                 gasoline engine penetration rates
                                             illustrates one set of ways                             at least MY 2024 under each of the                    increase. Under Alternatives 2, 2.5, and
                                             manufacturers could potentially                         action alternatives. However, NHTSA                   3, the shift to electrification appears to
                                             respond to each regulatory alternative.                 also estimated that in MY 2024, reliance              continue, notably for both passenger
                                             Manufacturers’ actual responses will                    on advanced gasoline engines could                    cars and light trucks under Alternative
                                             almost assuredly differ from NHTSA’s                    begin to decline under the more                       3.
                                             current estimates.                                      stringent action alternatives, as                     BILLING CODE 4910–59–P




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                                                As in the NPRM, the aforementioned                   HEVs and ‘‘strong’’ P2 and Power-Split                slightly higher rate than light trucks;
                                             estimated shift to electrification under                HEVs) for the total fleet under the final             this is most likely a result of the
                                             the more stringent regulatory                           rule analysis, which may be a result of               adjustments to off-cycle credit caps
                                             alternatives is the most pronounced for                 the reduction in strong hybrid costs.                 analyzed for the final rule.
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                                             hybrid-electric vehicles (i.e., ‘‘mild’’ ISG            Passenger cars adopt hybridization at a
                                                                                                                                                                                                      ER02MY22.154</GPH>
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                                                As in the NPRM, under the more                       electric vehicles (PHEVs) well over                   from the previously mentioned cost
                                             stringent action alternatives, NHTSA                    current rates. The PHEV rates decrease                reductions for that technology.
                                             estimates that manufacturers could                      for the final rule resulting from the
                                             increase production of plug-in hybrid                   increase in SHEVs, which in turn result




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                                                For this notice and accompanying                     analysis does consider the potential that             manufacturers to introduce new BEV
                                             FRIA, NHTSA’s analysis excludes the                     manufacturers might respond to CAFE                   models even during MYs 2024–2026.
                                             introduction of new dedicated                           standards by introducing new BEV                      Also accounting for shifts in fleet mix,
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                                             alternative fuel vehicle (AFV) models                   models outside of MYs 2024–2026, and                  NHTSA projects increased production
                                                                                                                                                                                                      ER02MY22.166</GPH>




                                             during MYs 2024–2026 as a response to                   NHTSA’s analysis does account for the                 of BEVs through MY 2029. As shown in
                                             CAFE standards.780 However, NHTSA’s                     potential that ZEV mandates could lead                the following tables, there is a slight
                                                                                                                                                                                                      ER02MY22.165</GPH>




                                               780 The Final SEIS does not make this analytical

                                             exclusion.


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                                             reduction in estimated BEV penetration                  estimated cost reductions for those
                                             rates, which, again, is attributable to an              technologies.
                                             increase in SHEV rates resulting from




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                                                The FRIA provides a wider-ranging                    for CAFE standards, CO2 standards, and                elect to pay rather than achieving full
                                             summary of NHTSA’s estimates of                         ZEV mandates increasing through MY                    compliance with CAFE standards in
                                             manufacturers’ potential application of                 2029, and (logically) increasing more                 some model years. The table below
                                             fuel-saving technologies (including                     under the more stringent alternatives.                shows how these costs are estimated to
                                             other types of technologies, such as                    NHTSA estimates that relative to the                  vary among manufacturers, accounting
                                             advanced transmissions, aerodynamic                     continued application of MY 2020                      for differences in the quantities of
                                             improvements, and reduced vehicle                       technologies, manufacturers’ cumulative               vehicles produced for sale in the U.S.
                                             mass) in response to each regulatory                    costs during MYs 2023–2029 could total                Appendices I and II of the
                                             alternative. Appendices I and II of the                 $137b under the No-Action Alternative,                accompanying FRIA present results
                                             accompanying FRIA provide much more                     and $179b, $224b, $237b, and $268b                    separately for each manufacturer’s
                                             detailed and comprehensive results, and                 under alternatives 1, 2, 2.5 and 3,                   passenger car and light truck fleets in
                                             the underlying CAFE Model output files                  respectively, when accounting for fuel-               each model year under each regulatory
                                             provide all information, including the                  saving technologies estimated to be                   alternative, and the underlying CAFE
                                             specific combination of technologies                    added under each regulatory alternative               Model output files also show results
                                             estimated to be applied to every specific               (including air conditioning                           specific to manufacturers’ domestic and
                                             vehicle model/configuration in each of                  improvements and other off-cycle                      imported car fleets. For the final rule
                                             MYs 2020–2050.                                          technologies), and also accounting for                analysis, in nearly all cases, the total
                                                As with the NPRM, NHTSA’s analysis                   CAFE civil penalties that NHTSA                       costs are lower than those estimated in
                                             shows manufacturers’ regulatory costs                   estimates some manufacturers could                    the NPRM.
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                                               As discussed in the TSD, these                        other words, if costs to manufacturers                could increase through MY 2029 as
                                             estimates reflect technology cost inputs                are reflected in vehicle price increases              summarized in Table V–39 through
                                             that, in turn, reflect a ‘‘markup’’ factor              as in the past, NHTSA estimates that the              Table V–44.
                                             that includes manufacturers’ profits. In                average costs to new vehicle purchasers




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                                               Table V–45 shows how these costs                      decrease as the stringency of standards
                                             could vary among manufacturers,                         increases.
                                             suggesting that disparities could




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                                                NHTSA estimates that although                        stringent alternatives. The magnitude of              effects could differ. For example, in the
                                             projected fuel savings under the more                   these fuel savings and vehicle price                  case of the ‘‘unconstrained’’ Final SEIS
                                             stringent regulatory alternatives could                 increases depends on manufacturer                     results, manufacturer costs across
                                             tend to increase new vehicle sales, this                compliance decisions, especially                      alternatives are lower. As the graphs
                                             tendency could be outweighed by the                     technology application. In the event that             indicate, the difference between the
                                             opposing response to higher prices,                     manufacturers select technologies with                regulatory alternatives in terms of sales
                                             such that new vehicle sales could                       lower prices and/or higher fuel                       effects decreased between the NPRM
                                             decline slightly under the more                         economy improvements, vehicle sales                   and final rule.
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                                               The TSD discusses NHTSA’s                             projected automobile industry labor,                  under each of the four regulatory
                                             approach to estimating new vehicle                      NHTSA estimates that the cost increases               alternatives. As the graphs indicate, the
                                             sales, including NHTSA’s estimate that                  could reflect an underlying increase in               difference between the regulatory
                                             new vehicle sales could recover from                    employment to produce additional fuel-                alternatives in terms of employment
                                             2020’s aberrantly low levels.                           saving technology, such that automobile               effects increased slightly between the
                                               While these slight reductions in new                  industry labor could about the same                   NPRM and final rule.
                                             vehicle sales tend to slightly reduce
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                                               The accompanying TSD discusses                        and increase more quickly under each of               Table V–48 report sales-weighted MSRP
                                             NHTSA’s approach to estimating                          the action alternatives than under the                values for the No-Action Alternative
                                             automobile industry employment, and                     No-Action Alternative. On one hand,                   and relative increases in MSRP for the
                                             the accompanying FRIA (and its                          buyers could realize the benefits of                  three regulatory alternatives. The
                                             Appendices I and II) and CAFE Model                     increased fuel economy: Spending less                 estimates for the final action suggest
                                             output files provide more detailed                      on fuel. On the other, buyers could pay               slightly larger MSRP increases for light
                                             results of NHTSA’s analysis.                            more for new vehicles, and for some                   trucks and smaller increases for
                                             B. Effects on New Car and Truck Buyers                  costs tied directly to vehicle value (e.g.,           passenger cars in the final rule
                                               As discussed above, NHTSA estimates                   sales taxes and collision insurance). The             compared to the proposal (comparing
                                             that the average fuel economy and                       tables that follow present metrics for                Alt. 2 in MY 2029). Alternative 2.5
                                             purchase cost of new vehicles could                     new car and truck buyers for both the                 raises MSRP increases to just over
                                             increase between MYs 2020 and 2029                      proposed and final rule. Table V–47 and               $1,000 by MY 2029.
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                                                Table V–49 through Table V–54                        in greater detail, and more detailed                    purchases 783 account for most of the
                                             present projected consumer costs and                    tables and underlying results are                       projected incremental benefits to
                                             benefits along with net benefits for MYs                contained in Appendix I and the CAFE                    consumers, and increases in the cost to
                                             2029 and 2039 781 vehicles for each                     Model output files. Comparisons of per-                 purchase new vehicles account for most
                                             alternative in both the proposal and                    vehicle consumer effects between                        of the projected incremental costs. For
                                             final rule. Results are shown in 2018                   proposal and final rule are best done at                MY 2029, consumer costs increase
                                             dollars, without discounting and with                   the row level, as the final rule includes               slightly between the proposal’s
                                             benefits and costs discounted at annual                 an additional category accounting for                   Alternative 2 and final rule’s Alternative
                                             rates of 3 and 7 percent. The TSD and                   reallocated vehicle miles and excludes                  2.5. Consumer benefits, especially the
                                             FRIA accompanying this rule discuss                     financing costs.782 For all of the action               estimates of retail fuel outlay, also
                                             underlying methods, inputs, and results                 alternatives, avoided outlays for fuel                  increase.
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                                                                                                                                                                                                                  ER02MY22.190</GPH>




                                               781 By 2039, technology costs have been learned         782 The rationale for adjusting this calculation is   expenditure relative to the No-Action Alternative.
                                             down, and fuel prices better reflect longer-term        discussed in TSD Chapter 6.1.5, Benefits of             These decreases in expenditure are considered a
                                             levels.                                                 Additional Mobility.                                    benefit and are hence included as a positive value
                                                                                                       783 Negative ‘‘retail fuel outlay’’ values in the
                                                                                                                                                             in the calculation of total consumer benefits.
                                                                                                                                                                                                                  ER02MY22.189</GPH>




                                                                                                     table denote decreases in consumer fuel



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                                             C. Effects on Society                                   decisions in the marketplace, they do                 their vehicle (higher fuel economy
                                                                                                     not contribute to the calculation of net              reduces the per-mile cost of travel) and
                                                Table V–55 describes the costs and                   benefits (and are omitted from the tables             fewer refueling events. The additional
                                             benefits of increasing CAFE standards in                below).                                               travel occurs as drivers take advantage
                                             each alternative, as well as the party to                  While incremental maintenance and                  of lower operating costs to increase
                                             which they accrue. Manufacturers are                    repair costs would accrue to buyers of                mobility, and this generates benefits to
                                             directly regulated under the program                    new cars and trucks affected by more                  those drivers—equivalent to the cost of
                                             and incur additional production costs                   stringent CAFE standards, we do not                   operating their vehicles to travel those
                                             when they apply technology to their                     carry these costs in the analysis. They               miles, the consumer surplus, and the
                                             vehicle offerings in order to improve                   are difficult to estimate for emerging                offsetting benefit that represents 90
                                             their fuel economy. In this analysis, we                technologies but represent real costs                 percent of the additional safety risk
                                             assume that those costs are fully passed                (and benefits in the case of alternative              from travel.
                                             through to new car and truck buyers, in                 fuel vehicles that may require less
                                             the form of higher prices. Other                        frequent maintenance events). They may                   In addition to private benefits and
                                             assumptions are possible, but we do not                 be included in future analyses as data                costs, there are purely external benefits
                                             currently have data to support                          become available to evaluate lifetime                 and costs that can be attributed to
                                             attempting to model cross-subsidization.                maintenance costs. This analysis                      increases in CAFE standards. These are
                                             We also assume that any civil                           assumes that drivers of new vehicles                  benefits and costs that accrue to society
                                             penalties—paid by manufacturers for                     internalize 90 percent of the risk                    more generally, rather than to the
                                             failing to comply with their CAFE                       associated with increased exposure to                 specific individuals who purchase a
                                             standards—are passed through to new                     crashes when they engage in additional                new vehicle that was produced under
                                             car and truck buyers and are included                   travel (as a consequence of the rebound               more stringent CAFE standards. Of the
                                             in the sales price. However, those civil                effect).                                              external costs, the largest is the loss in
                                             penalties are paid to the U.S. Treasury,                   Private benefits are dominated by the              fuel tax revenue that occurs as a result
                                             where they currently fund the general                   value of fuel savings, which accrue to                of falling fuel consumption. While
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                                             business of government. As such, they                   new car and truck buyers at retail fuel               drivers of new vehicles (purchased in
                                             are a transfer from new vehicle buyers                  prices (inclusive of Federal and state                years where CAFE stringency is
                                             to all U.S. citizens, who then benefit                  taxes). In addition to saving money on                increasing) save fuel costs at retail
                                             from the additional Federal revenue.                    fuel purchases, new vehicle buyers also               prices, the rest of U.S. road users
                                             While they are calculated in the                        benefit from the increased mobility that              experience a welfare loss, in two ways.
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                                             analysis, and do influence consumer                     results from the lower cost of driving                First, the revenue generated by fuel


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                                             taxes helps to maintain roads and                       emissions. Table V–55 shows these                     private costs and benefits that accrue to
                                             bridges, and improve infrastructure                     reduced climate damages, assuming                     buyers of new cars and trucks, rather
                                             more generally, and that loss in fuel tax               different SC–GHG discount rates. The                  than external welfare changes that affect
                                             revenue is a social cost. And second, the               associated benefits related to reduced                society more generally. This has been
                                             additional driving that occurs as new                   health damages from conventional                      consistently true in CAFE rulemakings.
                                             vehicle buyers take advantage of lower                  pollutants and the benefit of improved
                                                                                                                                                             The choice of discount rate affects the
                                             per-mile fuel costs is a benefit to those               energy security are both significantly
                                                                                                     smaller than the associated change in                 magnitude of the resulting benefits and
                                             drivers, but the congestion (and road
                                             noise) created by the additional travel                 GHG damages across alternatives.                      costs, as shown in Table V–55. Many
                                             impose a social cost to all road users.                 Benefits from improved energy security                benefits of the regulatory alternatives,
                                               Among the purely external benefits                    are, however, very difficult to quantify              but especially Alternative 3, are
                                             created when CAFE standards are                         and are likely understated. As the table              concentrated in later years where a
                                             increased, the largest is the reduction in              also illustrates, the overwhelming                    higher discount rate has a greater
                                             damages resulting from greenhouse gas                   majority of both costs and benefits are               contracting effect.
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                                                The following tables show the costs                  damages (Table V–60 and Table V–61),                  the costs and benefits by model year
                                             and benefits associated with external                   and reduced petroleum market                          (1981–2029), in contrast to the tables
                                             effects to society. As seen in Table V–                 externalities (Table V–64). The external              above, which present incremental and
                                             55, the external benefits are composed                  costs to society include congestion and               net costs and benefits over the lifetimes
                                             of reduced climate damages (Table V–56                  noise costs (Table V–62 and Table V–63)               of the entire fleet produced through
                                             through Table V–59), reduced health                     and safety costs (Table V–65). We show                2029, beginning with MY 1981.




                                               Table V–56 through Table V–59                         Chapter 6.2.1 of the TSD accompanying                 alternatives, decreasing across all model
                                             present the total costs of GHGs in                      this notice for discussion of the SC–                 years, with the largest reductions
                                             Alternative 0 and the incremental costs                 GHG discount rates. Negative                          associated with 2026–2029 model years.
                                             relative to Alternative 0 in the other                  incremental values indicate a decrease                The magnitude of CO2 emissions is
                                             three alternatives. Each table presents                 in social costs of GHGs, while positive               much higher than the magnitudes of
                                             GHG costs using different SC–GHG                        incremental values indicate an increase               CH4 and N2O emissions, which is why
                                             values (discounted at 2.5 percent, 3                    in costs relative to the baseline for the             the total costs are so much larger for
                                             percent, 5 percent, and the 95th                        given model year. The GHG costs follow                CO2.
                                             percentile values at 3 percent). See                    a similar pattern in all three
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                                               The CAFE Model calculates health                      The following section of the preamble,                incremental terms relative to Alternative
                                             costs attributed to criteria pollutant                  Section V.D, discusses the changes in                 0. The changes across alternatives
                                             emissions of NOX, SOX, and PM2.5,                       tons of emissions themselves across                   relative to the baseline are relatively
                                             shown in Table V–60 and Table V–61.                     rulemaking alternatives, while the                    minor, although some impacts in later
                                             These costs are directly related to the                 current section focuses on the changes                model years are more significant (e.g.,
                                             tons of each pollutant emitted from                     in social costs associated with those                 the decreases in PM2.5 in 2028 under
                                             various upstream and downstream                         emissions.                                            Alternative 3). Since the health cost
                                             sources, including on-road vehicles,                      Criteria pollutant health costs                     value per ton of emissions differs by
                                             electricity generation, fuel refining, and              (presented in Table V–60 and Table V–
                                                                                                                                                           pollutant, the pollutants that incur the
                                             fuel transportation and distribution. See               61) increase slightly in earlier model
                                                                                                                                                           highest costs are not necessarily those
                                             Chapter 4 of the Final SEIS and Chapter                 years (1981–2023), but those cost
                                                                                                                                                           with the largest amount of emissions
                                             5.4 of the TSD for further information                  increases are offset by the decrease in
                                             regarding the calculations used to                      health costs in later model years. In                 (see Section V.D for discussion of
                                             estimate health impacts, and more                       Table V–60 and Table V–61, the costs in               physical effects).
                                             details about the types of health effects.              Alternatives 1 through 3 are shown in
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                                                NHTSA estimates social costs of                      noise costs increase relative to the                  noise costs are relatively small when
                                             congestion and noise across regulatory                  baseline across all alternatives, but                 compared to the total congestion and
                                             alternatives, throughout the lifetimes of               viewed from a model year perspective,                 noise costs in Alternative 0. For further
                                             MYs 1981–2029. Congestion and noise                     the congestion and noise costs in some                details regarding congestion and noise
                                             are functions of VMT and fleet mix, and                 model years, particularly in Alternatives             costs, see Chapter 6.2.3 of the TSD and
                                             the differences between alternatives are                2.5 and 3, are negative relative to                   Chapter 6.5 of the FRIA.
                                             due mainly to differences in VMT (see                   Alternative 0. It is important to note that
                                             Section V.D). Overall, congestion and                   the overall increases in congestion and
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                                                                                                                                                                                                       ER02MY22.205</GPH>
                                                                                                                                                                                                       ER02MY22.204</GPH>




                                               784 The values in the following tables have been

                                             rounded to two significant figures.


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                                               The CAFE Model accounts for                           consumers of large swings in gasoline                 externality costs. Petroleum market
                                             benefits of increased energy security by                prices that can occur as a result of global           externality costs decrease relative to the
                                             computing changes in social costs of                    unrest and other shocks to the                        baseline under all alternatives,
                                             petroleum market externalities. These                   petroleum market. These swings can be                 regardless of the discount rate used.
                                             social costs represent the risk to the U.S.             very difficult for consumers, especially              This pattern occurs due to the decrease
                                             economy incurred by exposure to price                   low-income consumers, to bear.                        in gallons of fuel consumed (see Section
                                             shocks in the global petroleum market                   Reducing reliance on energy through                   V.D) as the stringency of alternatives
                                             that are not accounted for by oil prices                more stringent fuel economy standards                 increases. Only the earlier model year
                                             and are a direct function of gallons of                 provides a direct benefit to consumers.               cohorts (1981–2023) contribute to slight
                                             fuel consumed. The computation does                     Chapter 6.2.4 of the accompanying TSD                 increases in petroleum market
                                             not include other potential benefits,                   describes the inputs involved in                      externality costs, but these are offset by
                                             including the reduction in impact to                    calculating these petroleum market                    the decreases from later model years.




                                                NHTSA estimates various monetized                    damage costs. Table V–65 presents the                 FRIA accompanying this notice (see
                                             safety impacts across regulatory                        changes in these social costs across                  Chapter 5 of the FRIA).
                                             alternatives, including costs of fatalities,            alternatives and discount rates. Safety
                                             non-fatal crash costs, and property                     effects are discussed at length in the
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                                             D. Physical and Environmental Effects                   fuel and electricity consumption, tons of               In terms of fuel and electricity usage,
                                                                                                                                                                                                        ER02MY22.207</GPH>




                                                                                                     greenhouse gas (GHG) emissions and                    NHTSA estimates that the new
                                                NHTSA calculates estimates for the                   criteria pollutants reduced, and health               standards could save about 60 billion
                                             various physical and environmental                      and safety impacts.                                   gallons of gasoline and increase
                                             effects associated with the new                                                                               electricity consumption by about 180
                                                                                                                                                                                                        ER02MY22.206</GPH>




                                             standards. These include quantities of


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                                             TWh over the lives of vehicles produced                 fuel by the entire on-road fleet from                 of which shows projections for the No-
                                             prior to MY 2030, relative to the                       calendar year 2020 through calendar                   Action Alternative (Alternative 0, i.e.,
                                             baseline standards (i.e., the No-Action                 year 2050. On this basis, gasoline and                the baseline), Alternative 1, Alternative
                                             Alternative). From a calendar year                      electricity consumption by the U.S.                   2, Alternative 2.5 (the final standards),
                                             perspective, NHTSA’s analysis also                      light-duty vehicle fleet evolves as                   and Alternative 3.
                                             estimates total annual consumption of                   shown in the following two graphs, each
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                                                NHTSA estimates the greenhouse gas                   could reduce greenhouse gases by about                from these three GHGs could evolve
                                             emissions (GHGs) attributable to the                    605 million metric tons of carbon                     over the years. Note that these graphs
                                             light-duty on-road fleet, from both                     dioxide (CO2), about 730 thousand                     include emissions from both vehicle
                                             vehicles and upstream energy sector                     metric tons of methane (CH4), and about               and upstream processes. All three GHG
                                             processes (e.g., petroleum refining, fuel               17 thousand metric tons of N2O. The                   emissions follow similar trends in the
                                             transportation and distribution,                        following three graphs (Figure V–7,                   years between 2020–2050.
                                             electricity generation). Overall, NHTSA                 Figure V–8, and Figure V–9) present
                                             estimates that the revised standards                    NHTSA’s estimate of how emissions
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                                                The figures presented here are not the               of the criteria pollutants for which EPA              on-road fleet could increase modestly
                                             only estimates NHTSA has calculated                     has issued National Ambient Air                       under the action alternatives, because,
                                             regarding projected GHG emissions in                    Quality Standards. Under each                         as discussed above, NHTSA projects
                                             future years. As discussed in Section II,               regulatory alternative, NHTSA projects a              that each of the action alternatives could
                                             the accompanying Final SEIS uses an                     dramatic decline in annual emissions of               lead to greater use of electricity (for
                                             ‘‘unconstrained’’ analysis as opposed to                carbon monoxide (CO), volatile organic                PHEVs and BEVs). The adoption of
                                             the ‘‘standard setting’’ analysis                       compounds (VOC), nitrogen oxide                       actions—such as actions prompted by
                                             presented in this final rule and FRIA.                  (NOX), and fine particulate matter                    President Biden’s Executive orders
                                             For more information regarding                          (PM2.5) attributable to the light-duty on-            regarding Federal clean electricity,
                                             projected GHG emissions, as well as                     road fleet between 2020 and 2050. As
                                                                                                                                                           vehicle procurement, and
                                             model-based estimates of corresponding                  exemplified in Figure V–10, emissions
                                                                                                                                                           sustainability—to reduce electricity
                                             impacts on several measures of global                   in any given year could be very nearly
                                             climate change, see the Final SEIS.                     the same under each regulatory                        generation emission rates beyond
                                                NHTSA also estimates criteria                        alternative.                                          projections underlying NHTSA’s
                                             pollutant emissions resulting from                         On the other hand, as discussed in the             analysis (discussed in the TSD) could
                                             vehicle and upstream processes                          FRIA and Final SEIS accompanying this                 dramatically reduce SO2 emissions
                                             attributable to the light-duty on-road                  notice, NHTSA projects that annual SO2                under all regulatory alternatives
                                             fleet. NHTSA includes estimates for all                 emissions attributable to the light-duty              considered here.785
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                                               785 See https://www.whitehouse.gov/briefing-          abroad/, accessed June 17, 2021. See also https://    clean-energy-industries-and-jobs-through-federal-
                                             room/presidential-actions/2021/01/27/executive-         www.whitehouse.gov/briefing-room/presidential-        sustainability/, accessed January 18, 2022.
                                                                                                                                                                                                               ER02MY22.212</GPH>




                                             order-on-tackling-the-climate-crisis-at-home-and-       actions/2021/12/08/executive-order-on-catalyzing-



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                                               The following two figures show                        alternatives and between years 2020–                  shown in Figure V–6. See Chapter 6.6 of
                                             NHTSA’s estimates of the projected                      2050. The differences in SO2 emissions                the FRIA for a detailed discussion of
                                             decreases in PM2.5 emissions and slight                 across alternatives are due mainly to the             changes in criteria pollutant emissions
                                             increases in SO2 emissions, for all                     various projections of electricity usage              in the different alternatives.
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                                               Health impacts quantified by the                      Figure V–13 shows the differences in                  2050. The magnitude of the differences
                                             CAFE Model include various instances                    select health impacts relative to the                 relates directly to the changes in tons of
                                             of hospital visits due to respiratory                   baseline, across Alternatives 1 through               criteria pollutants emitted. See Chapter
                                             problems, minor restricted activity days,               3. These changes are split between                    5.4 of the TSD for information regarding
                                             non-fatal heart attacks, acute bronchitis,              calendar year decades, with the largest               how the CAFE Model calculates these
                                             premature mortality, and other effects of               differences between the baseline and                  health impacts.
                                             criteria pollutant emissions on health.                 alternatives occurring between 2041–
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                                               Lastly, NHTSA also quantifies safety                  inputs are uncertain, and some inputs                 related to technology applicability and
                                             impacts in its analysis. These include                  are very uncertain. Of those uncertain                cost, economic conditions, consumer
                                             estimated counts of fatalities, non-fatal               inputs, some are likely to exert                      preferences, externality values, and
                                             injuries, and property damage crashes                   considerable influence over specific                  safety assumptions, among others.786 A
                                             occurring over the lifetimes of the light-              types of estimated impacts, and some                  sensitivity analysis can identify two
                                             duty on-road vehicles considered in the                 are likely to do so for the bulk of the               critical pieces of information: How big
                                             analysis. Chapter 5 of the FRIA                         analysis. Yet making assumptions in the               an influence does each parameter exert
                                             accompanying this notice contains an                    face of that uncertainty is necessary                 on the analysis, and how sensitive are
                                             in-depth discussion on the effects of the               when analyzing possible future events                 the model results to that assumption?
                                             various alternatives on these safety                    (e.g., consumer and industry responses                   That said, influence is different from
                                             measures, and TSD Chapter 7 contains                    to fuel efficiency regulation). To better             likelihood. NHTSA does not mean to
                                             information regarding the construction                  understand the effect that these                      suggest that any one of the sensitivity
                                             of the safety estimates.                                assumptions have on the analytical                    cases presented here is inherently more
                                             E. Sensitivity Analysis                                 findings, we conducted additional                     likely than the collection of
                                                                                                     model runs with alternative
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                                               The analysis conducted to support                     assumptions. These additional runs                      786 In contrast to an uncertainty analysis, where

                                             this rule consists of data, estimates, and              were specified in an effort to explore a              many assumptions are varied simultaneously, the
                                             assumptions, all applied within an                      range of potential inputs and the                     sensitivity analyses included here vary a single
                                                                                                                                                           assumption and provide information about the
                                             analytical framework, the CAFE Model.                   sensitivity of estimated impacts to                   influence of each individual factor, rather than
                                             Just like in all past CAFE rulemakings,                 changes in model inputs. Sensitivity                  suggesting that an alternative assumption would
                                                                                                                                                                                                                 ER02MY22.216</GPH>




                                             NHTSA recognizes that many analytical                   cases in this analysis span assumptions               have justified a different Preferred Alternative.



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                                             assumptions that represent the reference                deviations in observed and predicted                  Rather, the analysis simply provides an
                                             case in the figures and tables that                     fuel prices are nearly a given), there will           indication of which assumptions are
                                             follow. Nor is this sensitivity analysis                be collections of assumptions, rather                 most critical, and the extent to which
                                             intended to suggest that only one of the                than individual parameters, that                      future deviations from central analysis
                                             many assumptions made is likely to                      simultaneously require updating. For                  assumptions could affect costs and
                                             prove off-base with the passage of time                 this reason, we do not interpret the                  benefits of the rule.
                                             or new observations. It is more likely                  sensitivity analysis as necessarily                     Table V–66 lists and briefly describes
                                             that, when assumptions are eventually                   providing justification for alternative               the cases that we examined in the
                                             contradicted by future observation (e.g.,               regulatory scenarios to be preferred.                 sensitivity analysis.
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                                                                                                                                                                                                 ER02MY22.218</GPH>




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                                               Complete results for the sensitivity                  readers are available on NHTSA’s                      effect of selected inputs on the costs and
                                             cases are summarized in Chapter 7 of                    website.787 For purposes of this                      benefits estimated for this final rule.
                                             the accompanying FRIA, and detailed                     preamble, Figure V–14 below illustrates
                                             model inputs and outputs for curious                    the relative change of the sensitivity
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                                                                                                                                                                                                        ER02MY22.219</GPH>




                                               787 https://www.nhtsa.gov/laws-regulations/

                                             corporate-average-fuel-economy.


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                                                While Figure V–14 does not show                      in the modeling appears to have a                     the rebound effect or the sales-scrappage
                                             precise values, it gives us a sense of                  (relatively) very large effect on costs, but          response, appear to cause only relatively
                                             which inputs are ones for which a                       this is to some extent an artifact of the             small changes in net benefits across the
                                             different assumption would have a                       ‘‘standard setting’’ runs used for the                range of analyzed input values. Chapter
                                             much different effect on analytical                     preamble and FRIA analysis, where                     7 of the FRIA provides a much fuller
                                             findings, and which ones would not                      electrification is limited due to statutory           discussion of these findings, and
                                             have much effect. Assuming a different                  restrictions (i.e., high levels of mass               presents net benefits estimated under
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                                             oil price trajectory would have a                       reduction are being applied more                      each of the cases included in the
                                             relatively large effect, as would                       widely in instances when electrification              sensitivity analysis, including the subset
                                             doubling the assumed ‘‘payback                          limits are reached). On the other hand,               for which impacts are summarized in
                                             period.’’ Making very high levels of                    assumptions about which there has been                Figure V–15.
                                             mass reduction available to all vehicles                significant disagreement in the past, like
                                                                                                                                                                                                        ER02MY22.220</GPH>




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                                                The results presented in the earlier                 standards is to conserve energy, while                considerations like costs to consumers,
                                             subsections of Section V and discussed                  taking into account the statutory factors             the national balance of payments,
                                             in Section VI reflect the agency’s best                 set forth at 49 U.S.C. 32902(f), as                   environmental implications like climate
                                             judgments regarding many different                      discussed below.                                      and smog effects, and foreign policy
                                             factors, and the sensitivity analysis                      Section 32902(f) of 49 U.S.C. states               effects such as the likelihood that U.S.
                                             discussed here is simply to illustrate the              that when setting maximum feasible                    military and other expenditures could
                                             obvious, that differences in assumptions                CAFE standards for new passenger cars                 change as a result of more or less oil
                                             can lead to differences in analytical                   and light trucks, the Secretary of                    consumed by the U.S. vehicle fleet.
                                             outcomes, some of which can be large                    Transportation 789 ‘‘shall consider                   Besides the factors specified in 32902(f),
                                             and some of which may be smaller than                   technological feasibility, economic                   NHTSA has also historically considered
                                             expected. Policymaking in the face of                   practicability, the effect of other motor             the safety effects of potential CAFE
                                             future uncertainty is inherently                        vehicle standards of the Government on                standards, and additionally considers
                                             complex. Section VI explains how                        fuel economy, and the need of the                     relevant case law. These elements are
                                             NHTSA balances the statutory factors in                 United States to conserve energy.’’ In                discussed in detail throughout this
                                             light of the analytical findings, the                   previous rulemakings, including both                  analysis.
                                             uncertainty that we know exists, and                    the 2012 final rule and the recent 2020                  As will be explained in greater detail
                                             our Nation’s policy goals, to determine                 final rule, NHTSA considered                          below, NHTSA continues to consider all
                                             the CAFE standards that NHTSA                           technological feasibility, including the              of the same factors in establishing
                                             concludes are maximum feasible for                      availability of various fuel-economy-                 revised CAFE standards for MYs 2024–
                                             MYs 2024–2026.                                          improving technologies to be applied to               2026 that it considered in previous
                                                                                                     new vehicles in the timeframe of the                  rulemakings. Importantly, however, the
                                             VI. Basis for NHTSA’s Conclusion That                   standards depending on the ultimate                   agency’s balancing of those factors has
                                             the Final Standards are Maximum                         stringency levels, and also considered                shifted, and NHTSA is therefore
                                             Feasible                                                economic practicability, including the                choosing to set CAFE standards at a
                                               In this section, NHTSA discusses the                  differences between a range of                        different level from what both the 2012
                                             factors, data, and analysis that the                    regulatory alternatives in terms of                   final rule and the 2020 final rule set
                                             agency has considered in the selection                  effects on per-vehicle costs, the ability             forth. Consideration of public comments
                                             of the final CAFE standards for MYs                     of both the industry and individual                   and further analysis by the agency has
                                             2024–2026. The primary purpose of                       manufacturers to comply with standards                also indicated that the proposed
                                             EPCA, as amended by EISA, and                           at various levels, as well as effects on              standards were not maximum feasible,
                                             codified at 49 U.S.C. chapter 329, is                   vehicle sales, industry employment, and               and that the selected (more stringent)
                                             energy conservation, and fuel economy                   consumer demand. NHTSA also                           standards are, in fact, maximum feasible
                                             standards help to conserve energy by                    considered how compliance with other                  for MYs 2024–2026, as discussed further
                                             requiring automakers to make new                        motor vehicle standards of the                        below.
                                             vehicles travel a certain distance on a                 Government might affect manufacturers’                   NHTSA and EPA have coordinated in
                                             gallon of fuel.788 The goal of the CAFE                 ability to meet CAFE standards                        setting our respective final standards,
                                                                                                     represented by a range of regulatory                  and many of the factors that NHTSA
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                                               788 While individual vehicles need not meet any       alternatives, and how the need of the                 considers to set maximum feasible
                                             particular mpg level, as discussed elsewhere in this    U.S. to conserve energy could be more                 standards complement factors that EPA
                                             preamble, fuel economy standards do require             or less addressed under a range of                    considers under the Clean Air Act. The
                                             vehicle manufacturers’ fleets to meet certain
                                             compliance obligations based on fuel economy            regulatory alternatives, in terms of                  balancing of different factors by both
                                             levels target curves set forth by NHTSA in                                                                    EPA and NHTSA are consistent with
                                                                                                                                                                                                        ER02MY22.221</GPH>




                                             regulation.                                               789 By delegation, the NHTSA Administrator.         each agency’s statutory authority and


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                                             recognize the statutory obligations the                  raising their stringency considerably, is              before the beginning of each model
                                             Supreme Court pointed to in                              both appropriate and reasonable.                       year.797 For amendments to existing
                                             Massachusetts v. EPA. NHTSA also                           The following sections discuss in                    standards (as this rule establishes),
                                             considers the Ninth Circuit’s decision in                more detail the statutory requirements                 EPCA requires that if the amendments
                                             Center for Biological Diversity v.                       and considerations involved in                         make an average fuel economy standard
                                             NHTSA, which remanded NHTSA’s                            NHTSA’s determination of maximum                       more stringent, at least 18 months of
                                             2006 final rule (71 FR 17566, April 6,                   feasible CAFE standards, and NHTSA’s                   lead time must be provided.798 Thus, if
                                             2006) establishing standards for MY                      explanation of its balancing of factors                the first year for which NHTSA is
                                             2008–2011 light trucks and underscored                   for this determination.                                amending standards in this rule is MY
                                             that ‘‘the overarching purpose of EPCA                   A. EPCA, as Amended by EISA                            2024, NHTSA interprets this provision
                                             is energy conservation.’’ 790                                                                                   as requiring the agency to issue a final
                                                This final rule contains a range of                      EPCA, as amended by EISA, contains                  rule covering MY 2024 standards no
                                             regulatory alternatives for MYs 2024–                    a number of provisions regarding how                   later than April 2022. Commenters who
                                             2026, from retaining the 1.5 percent                     NHTSA must set CAFE standards. DOT                     raised the issue of lead time nearly
                                             annual increases set in 2020, up to a                    (by delegation, NHTSA) 791 must                        universally did so in the context of
                                             stringency increase of 10 percent                        establish separate CAFE standards for                  economic practicability; those
                                             annually. The agency evaluated this                      passenger cars and light trucks 792 for                comments have been summarized and
                                             range of alternatives based on factors                   each model year,793 and each standard                  addressed in that section below.
                                             relevant to NHTSA’s exercise of its                      must be the maximum feasible that the
                                             32902(f) authority, such as fuel saved                   Secretary (again, by delegation, NHTSA)                2. Separate Standards for Cars and
                                             and emissions reduced, the technologies                  believes the manufacturers can achieve                 Trucks, and Minimum Standards for
                                             available to meet the standards, the                     in that model year.794 In determining                  Domestic Passenger Cars
                                             costs of compliance for automakers and                   the maximum feasible levels of CAFE                       As mentioned above, EPCA requires
                                             their abilities to comply by applying                    standards, EPCA requires that NHTSA                    NHTSA to set separate standards for
                                             technologies, the impact on consumers                    consider four statutory factors:                       passenger cars and light trucks for each
                                             with respect to cost, fuel savings, and                  Technological feasibility, economic                    model year.799 Based on the plain
                                             vehicle choice, and effects on safety,                   practicability, the effect of other motor              language of the statute, NHTSA has long
                                             among other things. Several commenters                   vehicle standards of the Government on                 interpreted this requirement as
                                             suggested that the agency consider                       fuel economy, and the need of the                      preventing the agency from setting a
                                             analyzing either more stringent or less                  United States to conserve energy.795 In                single combined CAFE standard for cars
                                             stringent alternatives as part of this final             addition, NHTSA has the authority to                   and trucks together. Congress originally
                                             rule; those comments are addressed in                    consider (and typically does consider)                 required separate CAFE standards for
                                             Section IV.                                              other relevant factors, such as the effect             cars and trucks to reflect the different
                                                After consideration of the factors                    of CAFE standards on motor vehicle                     fuel economy capabilities of those
                                             described below and information in the                   safety and consumer preferences. The                   different types of vehicles, and over the
                                             administrative record for this action,                   ultimate determination of what                         history of the CAFE program, has never
                                             including public comments, NHTSA has                     standards can be considered maximum                    revised this requirement. Even as many
                                             concluded that standards that increase                   feasible involves a weighing and                       cars and trucks have come to resemble
                                             at a rate of 8 percent, 8 percent, and 10                balancing of factors, and the balance                  each other more closely over time—
                                             percent in stringency for MYs 2024,                      may shift depending on the information                 many crossover and sport-utility
                                             2025, and 2026, respectively                             before NHTSA about the expected                        models, for example, come in versions
                                             (Alternative 2.5 of this analysis) are                   circumstances in the model years                       today that may be subject to either the
                                             maximum feasible. NHTSA has                              covered by the rulemaking. The                         car standards or the truck standards
                                             determined that the need of the United                   agency’s decision must also be guided                  depending on their characteristics—it is
                                             States to conserve energy compels more                   by the overarching purpose of EPCA,                    still accurate to say that vehicles with
                                             stringent standards if they appear                       energy conservation, while balancing                   truck-like characteristics such as 4-
                                             consistent with the other factors that                   these factors.796                                      wheel drive, cargo-carrying capability,
                                             NHTSA must consider, particularly in                        Besides the requirement that the                    etc., currently consume more fuel per
                                             light of introduction by industry of                     standards be maximum feasible for the                  mile than vehicles without these
                                             many new vehicles with significant fuel                  fleet in question and the model year in                characteristics.
                                             economy improvements independent of                      question, EPCA/EISA also contain                          EPCA, as amended by EISA, also
                                             this or any other agency action. NHTSA                   several other requirements, as follow.                 requires another separate standard to be
                                             has determined that Alternative 2.5 is                                                                          set for domestically manufactured 800
                                             technologically feasible, economically                   1. Lead Time
                                                                                                                                                             passenger cars. Unlike the generally
                                             practicable (based on manageable                            EPCA requires that NHTSA prescribe                  applicable standards for passenger cars
                                             average per-vehicle cost increases,                      new CAFE standards at least 18 months                  and light trucks described above, the
                                             significant consumer benefits, minimal
                                             effects on sales, and estimated increases                   791 EPCA and EISA direct the Secretary of             797 49 U.S.C. 32902(a) (2007).

                                             in employment, among other things),                      Transportation to develop, implement, and enforce        798 49 U.S.C. 32902(g)(2) (2007).
                                                                                                      fuel economy standards (see 49 U.S.C. 32901 et
                                             and complementary to other motor                         seq.), which authority the Secretary has delegated
                                                                                                                                                               799 49 U.S.C. 32902(b)(1) (2007).

                                             vehicle standards of the Government                      to NHTSA at 49 CFR 1.95(a).
                                                                                                                                                               800 In the CAFE program, ‘‘domestically

                                             that are simultaneously applicable, as                      792 49 U.S.C. 32902(b)(1) (2007).                   manufactured’’ is defined by Congress in 49 U.S.C.
                                                                                                                                                             32904(b). The definition roughly provides that a
                                             described below. Despite only two years
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                                                                                                         793 49 U.S.C. 32902(a) (2007).
                                                                                                                                                             passenger car is ‘‘domestically manufactured’’ as
                                             having passed since the 2020 final rule,                    794 Id.
                                                                                                                                                             long as at least 75 percent of the cost to the
                                                                                                         795 49 U.S.C. 32902(f) (2007).
                                             enough has changed in the U.S. and the                                                                          manufacturer is attributable to value added in the
                                                                                                         796 Center for Biological Diversity v. NHTSA, 538   United States, Canada, or Mexico, unless the
                                             world that revisiting the CAFE
                                                                                                      F.3d 1172, 1197 (9th Cir. 2008) (‘‘Whatever method     assembly of the vehicle is completed in Canada or
                                             standards for MYs 2024–2026, and                         it uses, NHTSA cannot set fuel economy standards       Mexico and the vehicle is imported into the United
                                                                                                      that are contrary to Congress’s purpose in enacting    States more than 30 days after the end of the model
                                               790 538 F.3d 1172 (9th Cir. 2008).                     the EPCA—energy conservation.’’).                      year.



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                                             compliance obligation of the minimum                    Federal Register. Thus, any time                      greater fuel economy) on manufacturers’
                                             domestic passenger car standard                         NHTSA establishes or changes a                        ability to comply with the MDPCS and
                                             (MDPCS for brevity) is identical for all                passenger car standard for a model year,              in particular, manufacturers that
                                             manufacturers. The statute clearly states               the MDPCS must also be evaluated or                   produce larger passenger cars
                                             that any manufacturer’s domestically                    re-evaluated and established                          domestically. Some of the largest civil
                                             manufactured passenger car fleet must                   accordingly.                                          penalties for noncompliance in the
                                             meet the greater of either 27.5 mpg on                     As in the 2020 final rule, NHTSA                   history of the CAFE program have been
                                             average, or ‘‘92 percent of the average                 recognizes industry concerns that actual              paid for noncompliance with the
                                             fuel economy projected by the Secretary                 total passenger car fleet standards have              MDPCS. NHTSA also expressed concern
                                             for the combined domestic and non-                      differed significantly from past                      at that time that consumer demand may
                                             domestic passenger automobile fleets                    projections, perhaps more so when the                 shift even more in the direction of larger
                                             manufactured for sale in the United                     agency has projected significantly into               passenger cars if fuel prices continue to
                                             States by all manufacturers in the model                the future. In that final rule, because the           remain low. Sustained low oil prices
                                             year, which projection shall be                         compliance data showed that the                       can be expected to have real effects on
                                             published in the Federal Register when                  standards projected in 2012 were                      consumer demand for additional fuel
                                             the standard for that model year is                     consistently more stringent than the                  economy, and if that occurs, consumers
                                             promulgated in accordance with [49                      actual standards, by an average of 1.9                may foreseeably be even more interested
                                             U.S.C. 32902(b)].’’ 801                                 percent. NHTSA stated that this                       in 2WD crossovers and passenger-car-
                                                The organization Securing America’s                  difference indicated that in rulemakings              fleet SUVs (and less interested in
                                             Future Energy commented that the                        conducted in 2009 through 2012,                       smaller passenger cars) than they are at
                                             structure of the CAFE program is overly                 NHTSA’s and EPA’s projections of                      present.
                                             complex, with separate standards for                    passenger car vehicle footprints and                     Therefore, in the 2020 final rule, to
                                             passenger cars and light trucks, and the                production volumes, in retrospect,                    help avoid similar outcomes in the
                                             MDPCS. Securing America’s Future                        underestimated the production of larger               2021–2026 timeframe to what had
                                             Energy stated that while credit                         passenger cars over the MYs 2011 to
                                                                                                                                                           happened with the MDPCS over the
                                             mechanisms implemented with the                         2018 period.803
                                                                                                                                                           preceding model years, NHTSA
                                             passage of EISA ‘‘allow automakers to                      Unlike the passenger car standards
                                                                                                     and light truck standards which are                   determined that it was reasonable and
                                             achieve the same level of fuel                                                                                appropriate to consider the recent
                                             consumption at a lower cost,’’ the                      vehicle-attribute-based and
                                                                                                     automatically adjust with changes in                  projection errors as part of estimating
                                             ‘‘mechanisms . . . remain                                                                                     the total passenger car fleet fuel
                                             cumbersome.’’ 802 NHTSA agrees that                     consumer demand, the MDPCS are not
                                                                                                     attribute-based, and therefore do not                 economy for MYs 2021–2026. NHTSA
                                             the CAFE program has these attributes,                                                                        therefore projected the total passenger
                                             but notes that the aspects of the program               adjust with changes in consumer
                                                                                                     demand and production. They are                       car fleet fuel economy using the central
                                             identified by the commenter are                                                                               analysis value in each model year, and
                                             statutory, and thus beyond the agency’s                 instead fixed standards that are
                                                                                                     established at the time of the                        applied an offset based on the historical
                                             power to address.                                                                                             1.9 percent difference identified for
                                                With regard to the MDPCS in                          rulemaking. As a result, by assuming a
                                                                                                     smaller-footprint fleet, on average, than             MYs 2011–2018.
                                             particular, since that requirement was                                                                           In the proposal, NHTSA proposed to
                                             promulgated, the ‘‘92 percent’’ has                     what ended up being produced, the MY
                                                                                                     2011–2018 MDPCS ended up being                        retain the 1.9 percent offset for the
                                             always been greater than 27.5 mpg, and                                                                        MDPCS for MYs 2024–2026, on the
                                             foreseeably will continue to be so in the               more stringent and placing a greater
                                                                                                     burden on manufacturers of domestic                   basis that the proposal would increase
                                             future. While NHTSA published                                                                                 stringency considerably over the
                                             MDPCSs for MYs 2024–2026 at 49 CFR                      passenger cars than was projected and
                                                                                                     expected at the time of the rulemakings               baseline standards and that civil
                                             531.5(d) as part of the 2020 final rule,                                                                      penalties have also recently increased,
                                             the statutory language is clear that the                that established those standards. In the
                                                                                                     2020 final rule, therefore, NHTSA                     so that the MDPCS may continue to
                                             MDPCS must be determined at the time                                                                          pose a significant challenge to certain
                                             that an overall passenger car standard is               agreed with industry concerns over the
                                                                                                     impact of changes in consumer demand                  manufacturers. Table VI–1 shows the
                                             promulgated and published in the                                                                              calculation values used to determine the
                                                                                                     (as compared to what was assumed in
                                               801 49 U.S.C. 32902(b)(4) (2007).                     2012 about future consumer demand for                 total passenger car fleet fuel economy
                                              802 Securing America’s Future Energy, Docket No.                                                             value for each model year for the
                                             NHTSA–2021–0053–1513, at 18.                              803 See 85 FR 25127 (Apr. 30, 2020).                proposal.
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                                               Using this approach, the MDPCS                        considered in the proposal was thus as
                                             under each regulatory alternative                       shown in Table VI–2.




                                               NHTSA sought comment on another                       footprint data, to 2020 indicated a clear             0.1206 square feet annually over the
                                             approach to offsetting the MDPCS,                       and statistically significant trend of                2008–2020 period. The estimated
                                             which attempted to project explicitly                   gradually increasing average footprint                average increase was statistically
                                             how passenger car footprints might                      (Figure VI–1). The average annual                     significant at the 0.000001 level, with a
                                             change in the future. NHTSA stated that                 increase in passenger car footprint,                  95 percent confidence interval of
                                             examination of the average footprints of                estimated by ordinary least squares,                  (0.0929, 0.1483).
                                             passenger cars sold in the U.S. from                    indicated that the passenger car
                                             2008, when EPA began reporting                          footprints increased by an average of
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                                                                                                                                                                                                       ER02MY22.223</GPH>
                                                                                                                                                                                                       ER02MY22.222</GPH>




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                                               The alternate method for calculating                    • Calculate the estimated fuel                      Secretary’s projected passenger car fuel
                                             an offset to the MDPCS was described                    economy of passenger cars using the                   economy numbers.’’
                                             as consisting of three steps, as follows:               average projected footprint numbers                     • Apply the 92 percent factor to
                                               • Starting from the average footprint                 calculated in step 1 and the footprint                calculate the MDPCS for 2024, 2025,
                                             of passenger cars in 2020 as reported by                functions that are the passenger car                  and 2026.
                                             EPA, add 0.1206 square feet per year                    standards for the corresponding model                   The results of this approach are
                                             through 2026.                                           year, which then become ‘‘the                         shown in Table VI–3.




                                               Comparing all of these, Table VI–4                    proposed 1.9 percent-offset MDPCS for                 approach offset MDPCS for MYs 2024–
                                             shows (1) the unadjusted 92 percent                     MYs 2024–2026, and (3) the alternate                  2026.
                                             MDPCS for MYs 2024–2026, (2) the
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                                                                                                                                                                                                      ER02MY22.225</GPH>
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                                             BILLING CODE 4910–59–C                                  [MDPCS].’’ 805 A coalition of                           drastically either offset differs from the
                                                While the CAFE Model analysis                        environmental group commenters stated                   values found in its central analysis
                                             underlying the proposal, the PRIA, and                  that the adjustment was unlawful,806                    underpinning the rule.’’ 809 UCS further
                                             the Draft SEIS did not reflect an offset                and UCS provided additional separate                    argued that it was unreasonable to
                                             to the unadjusted 92 percent MDPCS,                     comments arguing that ‘‘NHTSA must                      assume that the adjustment could only
                                             separate analysis that did reflect the                  base the MDPCS on NHTSA’s passenger                     go in one direction, because it was
                                             change demonstrated that doing so did                   car footprint projections in the central                entirely possible that passenger car
                                             not change estimated impacts of any of                  analysis of the rule, as is legally                     footprints could shift smaller depending
                                             the regulatory alternatives under                       required.’’ 807 UCS commented that ‘‘[i]t               on future fuel prices.810
                                             consideration, despite the mpg values                   is patently arbitrary to conduct the                       For the final rule, NHTSA is
                                             being slightly different as shown in                    analysis for CAFE standards using a                     continuing to employ the 1.9 percent
                                             Table VI–4.                                             certain set of projections, and then,                   offset for the MDPCS. NHTSA disagrees
                                                                                                     when setting other standards in the                     that EISA requires the agency to base
                                                NHTSA sought comment on the                                                                                  the MDPCS specifically on the
                                             discussion above, and also on whether                   same rulemaking, state that the
                                                                                                     projections in the main analysis are                    passenger car footprint projections for
                                             to apply the MDPCS without any                                                                                  the central analysis, because 49 U.S.C.
                                             modifier.                                               wrong. The agency either has
                                                                                                     confidence in the projections in the                    32902 simply states ‘‘92 percent of the
                                                Comments on the MDPCS were                                                                                   average fuel economy projected by the
                                                                                                     central analysis or they do not; and if
                                             mixed. Industry commenters generally                                                                            Secretary’’ (emphasis added) for the
                                                                                                     they do not, they should change
                                             supported the proposal to continue to                                                                           combined passenger car fleet for the
                                                                                                     them.’’ 808 Regarding the alternative
                                             adjust the MDPCS downward.804 Other                                                                             model year(s) in question. NHTSA
                                                                                                     approach to offsetting the MDPCS on
                                             commenters disagreed with the proposal                                                                          agrees with both industry commenters
                                                                                                     which NHTSA sought comment, UCS
                                             to continue to adjust the MDPCS. The                                                                            and UCS that it is difficult to predict
                                                                                                     stated that it was fundamentally similar
                                             UAW expressed concern that                                                                                      passenger car footprint trends in
                                                                                                     to the proposed approach to offsetting,
                                             automakers’ strategies for complying                                                                            advance, which means that, as various
                                                                                                     and ‘‘[t]he agency shows no substantial
                                             with the MDPCS might involve ‘‘gaming                                                                           commenters have consistently noted,
                                                                                                     benefit to this alternative approach, and
                                             the system,’’ and stated that ‘‘. . .                                                                           the MDPCS may turn out quite different
                                                                                                     instead finds quite clearly just how
                                             regulations and laws should be                                                                                  from 92 percent of the ultimate average
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                                             structured to incentivize the production                                                                        passenger car standard once a model
                                                                                                       805 UAW, Docket No. NHTSA–2021–0053–0931,
                                             of a diverse domestic fleet and not                                                                             year is complete. Nevertheless, NHTSA
                                                                                                     at 4.
                                             weaken the intended purpose of the                        806 CBD et al., Docket No. NHTSA–2021–0053–           is setting the MDPCS as part of this
                                                                                                     1572, at 9.                                             rulemaking, consistent with the statute,
                                               804 See, e.g., Auto Innovators, Docket No.              807 UCS, Docket No. NHTSA–2021–0053–1567, at

                                             NHTSA–2021–0053–1492, at 15, 55–56; Ford,               23–24.                                                    809 Id.
                                                                                                                                                                                                          ER02MY22.226</GPH>




                                             Docket No. NHTSA–2021–0053–1545, at 2.                    808 Id. at 21.                                          810 Id. at 24.




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                                             recognizing that it will not adjust in                   in response to similar comments, the                  insurance outweigh potential impacts [on]
                                             response to those footprint trends unless                MDPCS ‘‘was intended to act as a                      consumer choice that could occur by heading
                                             and until NHTSA conducts a new                           ‘backstop,’ ensuring that domestically-               down the road that Congress rejected when
                                             rulemaking. NHTSA is also concerned,                     manufactured passenger cars reached a                 it required CAFE standards to be attribute-
                                                                                                                                                            based. If we determined that backstops for
                                             as the UAW commenters suggested, that                    given mpg level even if the market                    imported passenger cars and light trucks
                                             automakers struggling to meet the                        shifted in ways likely to reduce overall              were necessary, it would be because
                                             unadjusted MDPCS may choose to                           fleet mpg. Congress was silent as to                  consumers are choosing different (likely
                                             import their passenger cars rather than                  whether the agency could or should                    larger) vehicles in the future than the
                                             producing them domestically. Given the                   develop similar backstop standards for                agencies assumed in this rulemaking
                                             stringency of the overall standards and                  imported passenger cars and light                     analysis. Imposing additional backstop
                                             the increase in the civil penalty rate,                  trucks. NHTSA has struggled with this                 standards for those fleets would require
                                             NHTSA continues to believe that this                     question since EISA was enacted.’’ 815                manufacturers to build vehicles which the
                                             adjustment is appropriate, reasonable,                                                                         majority of consumers (under this scenario)
                                                                                                      Even in the 2010 final rule (75 FR
                                                                                                                                                            would presumably not want. Vehicles that
                                             and consistent with Congress’ intent.                    25324, May 7, 2010), NHTSA                            cannot be sold are the essence of economic
                                             3. Attribute-Based and Defined by a                      considered this question and declined                 impracticability, and vehicles that do not sell
                                             Mathematical Function                                    to enact additional minimum standards                 cannot save fuel or reduce emissions,
                                                                                                      for imported passenger cars and light                 because they are not on the roads, and thus
                                                EISA requires NHTSA to set CAFE                       trucks, out of concern about the                      do not meet the need of the nation to
                                             standards that are ‘‘based on 1 or more                  possibility of such standards imposing                conserve fuel.
                                             attributes related to fuel economy and                   inequitable regulatory burdens of the                 On the other hand, based on the assumptions
                                             express[ed] . . . in the form of a                       kind that attribute-based standards                   underlying the analysis for this rulemaking,
                                             mathematical function.’’ 811 Historically,               sought to avoid. NHTSA stated that:                   consumers will experience significant
                                             NHTSA has based standards on vehicle                                                                           benefits as a result of buying the vehicles
                                                                                                      Unless the backstop was at a very weak level,         manufactured to meet these standards. We
                                             footprint, and proposed to continue to
                                                                                                      above the high end of this range, then some           have no reason to expect that consumers will
                                             do so for MYs 2024–2026. As in                           percentage of manufacturers would be above
                                             previous rulemakings, NHTSA proposed                                                                           turn a blind eye to these benefits, and recent
                                                                                                      the backstop even if the performance of the           trends indicate that fuel economy is rising in
                                             to define the standards in the form of a                 entire industry remains fully consistent with         importance as a factor in vehicle purchasing
                                             constrained linear function that                         the emissions and fuel economy levels                 decisions. We thus conclude, for purposes of
                                             generally sets higher (more stringent)                   projected for the final standards. For these          this final rule, that imposing additional
                                             targets for smaller-footprint vehicles and               manufacturers and any other manufacturers             backstop standards for imported passenger
                                             lower (less stringent) targets for larger-               who were above the backstop, the objectives           cars and light trucks would be premature. As
                                                                                                      of an attribute-based standard would be
                                             footprint vehicles. NHTSA sought                                                                               stated in the NPRM, NHTSA will continue to
                                                                                                      compromised and unnecessary costs would
                                             comment both on the continued use of                                                                           monitor vehicle sales trends and
                                                                                                      be imposed. This could directionally impose
                                             footprint as the relevant attribute and on                                                                     manufacturers’ response to the standards,
                                                                                                      increased costs for some manufacturers. It
                                             the continued use of the constrained                                                                           and we will revisit this issue as part of the
                                                                                                      would be difficult if not impossible to
                                                                                                                                                            future rulemaking to develop final standards
                                             linear curve shapes. Comments received                   establish the level of a backstop standard
                                                                                                                                                            for MYs 2022–2025.817
                                             on those topics are addressed and                        such that costs are likely to be imposed on
                                             responded to in Section III.B of the                     manufacturers only when there is a failure to            It appears that this question has
                                             preamble.                                                achieve the projected reductions across the           ripened. Looking at the EPA Automotive
                                                A coalition of environmental group                    industry as a whole. An example of this kind          Trends Report for 2021, there has been
                                                                                                      of industry-wide situation could be when
                                             commenters urged NHTSA to set a                                                                                growth in vehicle size and mix shifts
                                                                                                      there is a significant shift to larger vehicles
                                             ‘‘backstop,’’ or ‘‘minimum standard                      across the industry as a whole, or if there is        from cars to trucks and SUVs over time:
                                             below which the actual performance of                    a general market shift from cars to trucks.           Between MY 2008 and 2020, fuel economy
                                             the fleet may not fall.’’ 812 The                        The problem the agenc[y is] concerned about           and footprint increased within each of the
                                             commenters stated that, ‘‘[f]or example,                 in those circumstances is not with respect to         five vehicle types, and horsepower increased
                                             in MY 2019, the most recent year for                     any single manufacturer, but rather is based          in four. Weight decreased within each of the
                                             which information is available, the fleet                on concerns over shifts across the fleet as a         vehicle types. These trends within vehicle
                                             mix of sedans and station wagons had                     whole, as compared to shifts in one                   types are largely attributable to design and
                                                                                                      manufacturer’s fleet that may be more than            technology changes over that time span. In
                                             shifted to only 33 percent of the fleet,
                                                                                                      offset by shifts the other way in another             addition to technology changes, the market
                                             compared to 80 percent in MY 1975. As                    manufacturer’s fleet. However, in this                shifted towards car and truck SUVs, which
                                             a result of mix shift changes like this,                 respect, a traditional backstop acts as a             are often larger, heavier, more powerful, and
                                             real-world fuel economy has been lower                   manufacturer-specific standard.816                    less fuel efficient than sedan/wagons they
                                             than NHTSA has previously                                                                                      replaced. These market changes increased the
                                                                                                        In the 2012 final rule, NHTSA stated
                                             projected.’’ 813 The commenters argued                                                                         overall horsepower and footprint of the
                                                                                                      that:
                                             that ‘‘NHTSA should explain why it                                                                             average new vehicle, compared to
                                             failed to propose a backstop in this                     We continue to agree with the environmental           technology-driven changes alone. The trend
                                             rulemaking and should commit to doing                    and consumer group commenters that we                 towards larger, heavier, and more powerful
                                             so in its next rulemaking.’’ 814                         have authority to adopt additional backstop           vehicles has also offset some of the fleetwide
                                                In response, finalizing a backstop as                 standards if we deem it appropriate to do so.         fuel economy and CO2 emission benefits that
                                                                                                      However, we also continue to conclude that            otherwise would have been achieved through
                                             part of this rulemaking is not within                    insufficient time has passed in which                 improving technology. Market trends led to
                                             scope, because (as commenters note)                      manufacturers have been subject to the                an increase in the weight of a new average
                                             NHTSA did not propose a backstop nor                     attribute-based standards to assess whether           vehicle, even as weight fell within each
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                                             discuss one in the NPRM. However, as                     or not backstops would in fact help ensure            vehicle type.818
                                             NHTSA explained in the 2012 final rule                   that fuel savings anticipated by the agency at
                                                                                                      the time of the final rule are met, and even            817 77 FR 63022 (Oct. 15, 2012).
                                               811 49 U.S.C. 32902(b)(3)(A) (2007).                   if they did, whether the benefits of that               818 EPA Automotive Trends Report, 2021,
                                               812 CBD, et al., at 9–10.
                                                                                                                                                            Highlights. Available at https://www.epa.gov/
                                               813 Id.                                                  815 77 FR 63020 (Oct. 15, 2012).
                                                                                                                                                            automotive-trends/highlights-automotive-trends-
                                               814 Id.                                                  816 75 FR 25324, 25369 (May 7, 2010).               report. (Accessed: March 15, 2022)



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                                               EPA goes on to note, however, that                    plain language of the statute. No                     standards (even fairly distant standards)
                                             most manufacturers have improved fuel                   comments were received on this                        entirely on such technologies.’’ 823
                                             economy and reduced CO2 emissions                       statutory requirement.                                   NHTSA further stated that ‘‘as the
                                             over the MY 2015–2020 time frame,                                                                             ‘maximum feasible’ balancing may vary
                                                                                                     5. Maximum Feasible Standards
                                             explaining that most increases in
                                                                                                        As discussed above, EPCA requires                  depending on the circumstances at hand
                                             emissions/reductions in fuel economy at
                                                                                                     NHTSA to consider four factors in                     for the model year in which the
                                             a manufacturer level occur because (as
                                             commenters suggested) the                               determining what levels of CAFE                       standards are set, the extent to which
                                             manufacturers are producing more SUV/                   standards would be maximum feasible.                  technological feasibility is simply met
                                             trucks and fewer sedan/wagons.819                       NHTSA presents in the sections below                  or plays a more dynamic role may also
                                             Fleetwide, emissions and fuel economy                   its understanding of the meanings of                  shift.’’ 824 In the proposal, NHTSA
                                             are still the best they have ever been,                 those four factors.                                   stated that for purposes of MYs 2024–
                                             and continue to improve.                                                                                      2026, NHTSA was certain that sufficient
                                                                                                     (a) Technological Feasibility
                                               At the industry-wide and individual-                                                                        technology exists to meet the
                                             manufacturer level, then, to the extent                    ‘‘Technological feasibility’’ refers to            standards—even for the most stringent
                                             that ‘‘backsliding’’ is occurring, it                   whether a particular method of                        regulatory alternative. NHTSA further
                                             appears to be the result of trucks and                  improving fuel economy is available for               explained that for the proposal, the
                                             SUVs increasing their share of the                      deployment in commercial application                  question was more likely rather, given
                                             market, and sedans and station wagons                   in the model year for which a standard
                                                                                                                                                           that the technology exists, how much of
                                             decreasing theirs. It is not clear to                   is being established. Thus, NHTSA is
                                                                                                                                                           it should be required to be added to new
                                             NHTSA at this time that setting                         not limited in determining the level of
                                                                                                     new standards to technology that is                   cars and trucks in order to conserve
                                             minimum standards for imported                                                                                more energy, and how to balance that
                                             passenger cars and light trucks                         already being applied commercially at
                                                                                                     the time of the rulemaking. For both the              objective against the additional cost of
                                             comparable to the MDPCS would
                                                                                                     proposal and for this final rule, NHTSA               adding that technology.
                                             meaningfully change this market trend.
                                             Looking forward, as discussed further                   has considered a wide range of                           Most commenters addressing the
                                             below, manufacturers themselves may                     technologies that improve fuel                        question of technological feasibility
                                             be improving this situation by offering                 economy, while considering the need to                supported the agency’s interpretation of
                                             more and more higher-fuel-economy                       account for which technologies have                   the factor and agreed that all of the
                                             vehicles in a variety of segments. If                   already been applied to which vehicle                 regulatory alternatives considered in the
                                             American consumers continue to seek                     model/configuration, as well as the need              proposal were likely technologically
                                             out pickups, automakers are                             to estimate realistically the cost and fuel           feasible. Supplier organizations such as
                                             increasingly responding with advanced                   economy impacts of each technology as                 Manufacturers of Emission Controls
                                             technology, higher-fuel-economy                         applied to different vehicle models/
                                                                                                                                                           Association (MECA) and Motor &
                                             offerings, even in that segment.                        configurations. NHTSA has not,
                                                                                                                                                           Equipment Manufacturers Association
                                             Moreover, recognizing that not all                      however, attempted to account for every
                                                                                                     technology that might conceivably be                  (MEMA) agreed that the proposal would
                                             consumers will want these specific                                                                            encourage broad deployment of a
                                             technology vehicles, NHTSA still                        applied to improve fuel economy, nor
                                                                                                     does NHTSA believe it is necessary to                 variety of available technologies for
                                             believes that setting stringent attribute-                                                                    compliance, while encouraging
                                             based standards, as NHTSA is doing in                   do so given that many technologies
                                                                                                     address fuel economy in similar                       innovation, with MEMA stating that the
                                             this rulemaking, will require
                                                                                                     ways.821                                              proposed targets were achievable with
                                             manufacturers to keep improving all
                                             their vehicles. NHTSA thus concludes                       NHTSA notes that the technological                 currently available technology resulting
                                             that additional minimum standards for                   feasibility factor allows NHTSA to set                from long-term supplier commitments
                                             imported passenger cars and light                       standards that force the development                  and investments.825 CARB stated that
                                             trucks, besides being out of scope for                  and application of new fuel-efficient                 Alternative 3 was technologically
                                             this final rule, are not warranted at this              technologies, but this factor does not                feasible.826 EDF stated that ‘‘more
                                             time. If evidence surfaces that                         require NHTSA to do so.822 In the 2012                protective standards’’ (i.e., than those
                                             manufacturers are, in fact, letting ICE                 final rule, NHTSA stated that ‘‘[i]t is               set in the 2020 final rule) were
                                             vehicle fuel economy languish while                     important to remember that                            technologically feasible because NHTSA
                                                                                                     technological feasibility must also be                had previously found that more
                                             complying solely (or heavily) with BEV
                                                                                                     balanced with the other of the four                   stringent alternatives were
                                             technology, NHTSA would consider this
                                                                                                     statutory factors. Thus, while
                                             an equity issue and would reevaluate                                                                          technologically feasible, both in the
                                                                                                     ‘technological feasibility’ can drive
                                             our position on additional minimum                                                                            2012 final rule and in the 2016 Draft
                                                                                                     standards higher by assuming the use of
                                             standards.                                                                                                    TAR, because the California Framework
                                                                                                     technologies that are not yet
                                             4. Number of Model Years for Which                      commercial, ‘maximum feasible’ is also                Agreements had occurred, and ‘‘[t]he
                                             Standards May Be Set at a Time                          defined in terms of economic                          technological feasibility of stronger
                                                                                                     practicability, for example, which might              standards is also supported by the fact
                                                EISA also states that NHTSA shall                                                                          that many manufacturers, after the
                                             ‘‘issue regulations under this title                    caution the agency against basing
                                                                                                                                                           SAFE2 rule, did not change
                                             prescribing average fuel economy                          821 For example, NHTSA has not considered high-     ‘significantly’ from product plans
                                             standards for at least 1, but not more                  speed flywheels as potential energy storage devices
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                                             than 5, model years.’’ 820 In this rule,                for hybrid vehicles; while such flywheels have been     823 Id.
                                             NHTSA is setting CAFE standards for                     demonstrated in the laboratory and even tested in
                                                                                                                                                             824 Id.
                                             three model years, MYs 2024–2026.                       concept vehicles, commercially available hybrid
                                                                                                                                                              825 MECA, Docket No. NHTSA–2021–0053–1113,
                                                                                                     vehicles currently known to NHTSA use chemical
                                             This action fits squarely within the                    batteries as energy storage devices, and the agency   at 2; MEMA, Docket No. NHTSA–2021–0053–1528,
                                                                                                     has considered a range of hybrid vehicle              at 3, 5.
                                               819 Id.                                               technologies that do so.                                 826 CARB, Docket No. NHTSA–2021–0053–1521,
                                               820 49 U.S.C. 32902(b)(3)(B) (2007).                    822 See 77 FR 63015 (Oct. 12, 2012).                at 2.



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                                             established in response to the 2012                     evaluation of technological feasibility               And consumers are responding with
                                             standards.’’ 827                                        should naturally include an evaluation                increasing purchases of these vehicles.
                                                AFPM, in contrast, argued that the                   of technology beyond those currently in               If the announcements could not be
                                             proposed standards were beyond                          commercial use, including advanced or                 trusted, then the vehicles would not be
                                             technologically feasible because OEMs                   cutting-edge vehicle technologies.’’ 833              appearing for reservation and sale—and
                                             are currently relying on credits to meet                   In response, NHTSA continues to                    yet the vehicles are beginning to appear
                                             the existing standards. AFPM argued                     believe, consistent with most comments,               for reservation and sale. Additionally,
                                             that ‘‘[r]ather than presenting existing                that all of the regulatory alternatives               these vehicles are, for the most part,
                                             data in its Proposal, NHTSA apparently                  considered in the proposal and in this                based on existing fuel-economy-
                                             relies on aspirational press releases from              final rule are technologically feasible,              improving technologies, even if they
                                             automakers . . . . Aspiration does not                  because the technology to meet them                   represent improvements on those
                                             equate to technological feasibility, not                exists already. NHTSA agrees that the                 technologies. Moreover, the stock
                                             have previous aspirational statements                   technological feasibility factor can be               market would stop rewarding OEMs
                                             proved accurate. . . . NHTSA is relying                 technology-forcing, as NHTSA has been                 who backtrack repeatedly on
                                             on a major increase in EVs in order for                 saying since the 2012 final rule. To the              announcements, which would
                                             OEMs to comply, when it should be                       extent that one interprets ‘‘technology-              foreseeably discourage such
                                             setting standards that can feasibly be                  forcing’’ as ‘‘requiring the introduction             backtracking. In short, announcements,
                                             met with gasoline and diesel vehicles                   of more existing technology than                      combined with emerging evidence from
                                             only.’’ 828 AFPM argued that because the                consumers might otherwise request in                  consumers and the stock market
                                             proposed standards were beyond                          the absence of new standards,’’ then                  confirming that most announcements,
                                             technologically feasible, they were                     NHTSA agrees that the final standards                 particularly from major automakers,
                                             therefore contrary to law.829                           are technology-forcing in that respect,               reflect reality, makes NHTSA
                                                With regard to NHTSA’s                               but they do not compel the introduction               comfortable that reliance—in part—on
                                             interpretation of the technological                     of yet-unproven technologies.                         the announcements is justified.
                                             feasibility factor, California Attorney                    Thus, technological feasibility is one
                                             General et al. agreed with NHTSA’s                      factor considered in the context of the               (b) Economic Practicability
                                             definition and analysis, stating that                   others—as such, NHTSA does not agree                     ‘‘Economic practicability’’ has
                                             ‘‘[t]he technology needed to meet the                   with South Coast AQMD that NHTSA is                   consistently referred to whether a
                                             Proposed Standards already exists, and                  ‘‘double-counting’’ economic                          standard is one ‘‘within the financial
                                             those standards are therefore                           practicability. NHTSA is simply                       capability of the industry, but not so
                                             achievable.’’ South Coast AQMD                          balancing the factors together by                     stringent as to’’ lead to ‘‘adverse
                                             commented that every regulatory                         concluding that ‘‘if enough technology                economic consequences, such as a
                                             alternative was technologically feasible,               exists to meet standards represented by               significant loss of jobs or unreasonable
                                             and argued that by reframing the                        each regulatory alternative, then                     elimination of consumer choice.’’ 834 In
                                             technological feasibility factor in the                 technological feasibility is not at issue;            evaluating economic practicability,
                                             context of the other factors, NHTSA                     the next question is one of economic                  NHTSA considers the uncertainty
                                             sought to ‘‘double count’’ ‘‘the                        practicability, and how much                          surrounding future market conditions
                                             constraints imposed by the economic                     technology can be applied before costs                and consumer demand for fuel economy
                                             practicability factor and ignore the                    become too high for the market to bear?’’             alongside consumer demand for other
                                             implications of how technology today                       With regard to the comments from                   vehicle attributes. There is not
                                             supports even the most stringent                        AFPM, NHTSA first wishes to clarify                   necessarily a bright-line test for whether
                                             alternative standard in the most distant                that the agency’s decision of maximum                 a regulatory alternative is economically
                                             year.’’ 830 South Coast AQMD concluded                  feasible standards does not rely on                   practicable, but there are several metrics
                                             that ‘‘[t]his factor should thus weigh in               future manufacturer electrification, as               that we discuss below that we find can
                                             favor of more stringent standards, given                the analysis supporting this rule shows
                                             the Congressional purpose to conserve                                                                         be useful for making this assessment. In
                                                                                                     a path toward achieving compliance                    determining whether standards may or
                                             energy even through forcing technology                  with the final standards without
                                             beyond what the market would derive                                                                           may not be economically practicable,
                                                                                                     increasing reliance on electrification.               NHTSA considers:
                                             independently.’’ 831 EDF cited Center for               The agency is simply noting that if
                                             Auto Safety in its comments and stated                                                                           Application rate of technologies—
                                                                                                     companies want to choose a different
                                             that Congress intended for the                                                                                whether it appears that a regulatory
                                                                                                     technology path from the one we
                                             technological feasibility factor to be                                                                        alternative would impose undue burden
                                                                                                     present in our modeling, which they
                                             technology forcing when NHTSA was                                                                             on manufacturers in either or both the
                                                                                                     seem to be indicating they are likely to
                                             determining maximum feasible                                                                                  near and long term in terms of how
                                                                                                     do, then compliance with the final
                                             standards, and that NHTSA was not                                                                             much and which technologies might be
                                                                                                     standards may be even more cost-
                                             limited by the technology available at                                                                        required. This metric connects to the
                                                                                                     effective.
                                             the time of the rulemaking.832 Tesla                       The agency also disagrees that                     next two metrics, as well.
                                             similarly commented that because                        product announcements are poor                           Other technology-related
                                             courts have described EPCA as                           evidence of future manufacturer intent,               considerations—related to the
                                             technology forcing, ‘‘[t]hus, NHTSA’s                   particularly from established                         application rate of technologies,
                                                                                                     manufacturers, and particularly given                 whether it appears that the burden on
                                               827 EDF, Docket No. NHTSA–2021–0053–1617, at
                                                                                                     evidence that in addition to the                      several or more manufacturers might
                                             3–4.                                                                                                          cause them to respond to the standards
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                                                                                                     announcements, manufacturers have
                                                828 AFPM, Docket No. NHTSA–2021–0053–1530,
                                                                                                     already introduced a number of new                    in ways that compromise, for example,
                                             at 4–5.                                                                                                       vehicle safety, or other aspects of
                                                829 Id., at 5.                                       highly fuel efficient models in addition
                                                830 South Coast AQMD, Docket No. NHTSA–              to planned and announced rollouts.                    performance that may be important to
                                             2021–0053–1477, at 4.                                                                                         consumer acceptance of new products.
                                                831 Id., at 3–4.                                      833 Tesla, Docket No. NHTSA–2021–0053–1480–
                                                832 EDF, at 3.                                       A1, at 4.                                               834 67 FR 77015, 77021 (Dec. 16, 2002).




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                                                Cost of meeting the standards—even                   conservation, NHTSA believes that it is               that per-vehicle costs, at least, are
                                             if the technology exists and it appears                 reasonable to expect that maximum                     manageable for consumers and
                                             that manufacturers can apply it                         feasible standards may be harder for                  automakers;
                                             consistent with their product cadence, if               some automakers than for others, and                     • changes in sales may affect
                                             meeting the standards will raise per-                   that they need not be keyed to the                    employment in the auto sector, but auto
                                             vehicle cost more than we believe                       capabilities of the least capable                     sector employment may also be affected
                                             consumers are likely to accept, which                   manufacturer. Indeed, keying standards                by increasing technology application on
                                             could negatively impact sales and                       to the least capable manufacturer may                 new vehicles.
                                             employment in this sector, the                          disincentivize innovation by rewarding                   This causal chain is simpler than
                                             standards may not be economically                       laggard performance.                                  what occurs in real life, and as we
                                             practicable. While consumer acceptance                     NHTSA has also sought to account for               discuss the different considerations
                                             of additional new vehicle cost                          economic practicability by applying                   below, we highlight where we believe it
                                             associated with more stringent CAFE                     marginal cost-benefit analysis since the              is reasonable to expect that real life may
                                             standards is uncertain, NHTSA still                     first rulemakings establishing attribute-             diverge from what our analysis shows,
                                             finds this metric useful for evaluating                 based standards, considering both                     although we will retain the limitations
                                             economic practicability.                                overall societal impacts and overall                  on the agency’s decision-making
                                                Sales and employment responses—as                    consumer impacts. Whether the                         required by EPCA/EISA.
                                             discussed above, sales and employment                   standards maximize net benefits has
                                                                                                                                                           Application Rate of Technologies, Per-
                                             responses have historically been key to                 thus been a significant, but not
                                                                                                                                                           Vehicle Costs, and Lead Time
                                             NHTSA’s understanding of economic                       dispositive, factor in the past for
                                             practicability.                                         NHTSA’s consideration of economic                       On the topic of application rate of
                                                Uncertainty and consumer                             practicability. Executive Order 12866, as             technologies, comments to the proposal
                                             acceptance 835 of technologies—                         amended by Executive Order 13563,                     were, in many cases, different from
                                             considerations not accounted for                        states that agencies should ‘‘select, in              comments received on earlier
                                             expressly in our modeling analysis, but                 choosing among alternative regulatory                 rulemakings. Some commenters still
                                             important to an assessment of economic                  approaches, those approaches that                     focused on specific application rates of
                                             practicability given the timeframe of                   maximize net benefits . . .’’ In practice,            specific technologies shown in the
                                             this rulemaking. Consumer acceptance                    however, agencies, including NHTSA,                   analysis for the proposal, often
                                             can involve consideration of anticipated                must acknowledge that the modeling of                 suggesting that greater application of
                                             consumer responses not just to                          net benefits does not capture all                     those technologies was possible in the
                                             increased vehicle cost and consumer                     considerations relevant to economic                   rulemaking time frame.836 Industry
                                             valuation of fuel economy, but also the                 practicability. Therefore, as in past                 commenters tended to comment about
                                             way manufacturers may change vehicle                    rulemakings, NHTSA is considering net                 their extensive electrification plans for
                                             models and vehicle sales mix in                         societal impacts, net consumer impacts,               the future, and then to argue that
                                             response to CAFE standards.                             and other related elements in the                     NHTSA cannot consider electrification
                                                Over time, NHTSA has tried different                 consideration of economic                             in setting maximum feasible CAFE
                                             methods to account for economic                         practicability. That said, it is well                 standards (as will be discussed further
                                             practicability. Many years ago, prior to                within the agency’s discretion to deviate             in Section VI.A.5.e)), and then to
                                             the MY 2005–2007 rulemaking (68 FR                      from the level at which modeled net                   suggest that they would prefer not to
                                             16868, April 7, 2003) under the non-                    benefits are maximized if the agency                  continue improving the fuel economy of
                                             attribute-based (fixed value) CAFE                      concludes that the level would not                    their ICE vehicles because they intend
                                             standards, NHTSA sought to ensure the                   represent the maximum feasible level                  to focus instead on electrifying certain
                                             economic practicability of standards in                 for future CAFE standards. Economic                   vehicles in their fleets, and that effort
                                             part by setting them at or near the                     practicability is complex, and like the               will consume their available capital
                                             capability of the ‘‘least capable                       other factors must be considered in the               resources.837
                                             manufacturer’’ with a significant share                 context of the overall balancing and
                                             of the market, i.e., typically the                      EPCA’s overarching purpose of energy                     836 Section III.D.1 contains examples of such

                                             manufacturer whose fleet mix was, on                    conservation.                                         comments and NHTSA’s responses.
                                             average, the largest and heaviest,                         For purposes of this final rule, a way                837 For example, Auto Innovators commented that

                                             generally having the highest capacity                                                                         NHTSA’s proposed standards would require more
                                                                                                     to organize the different economic                    technology, which ‘‘would effectively negate EPA’s
                                             and capability so as not to limit the                   practicability considerations is as                   proposed policy actions to incentivize greater
                                             availability of those types of vehicles to              follows: CAFE standards (represented                  production of electric vehicles,’’ and therefore
                                             consumers. NHTSA rejected the ‘‘least                   by the different regulatory alternatives)             NHTSA should ‘‘. . . adopt [less stringent] final
                                             capable manufacturer’’ approach several                                                                       standards that do not require additional technology
                                                                                                     require automakers to add technology to               adoption beyond the pending GHG standards and
                                             rulemakings ago and no longer believes                  their new vehicles:                                   that preserve incentives intended to encourage the
                                             that it is consistent with our root                        • adding technology can potentially                production of EVs’’ (emphasis added), Auto
                                             interpretation of economic                              make those new vehicles more                          Innovators, Docket No. NHTSA–2021–0053–1492,
                                             practicability. Economic practicability                 expensive (and if that technology has to              at 32; Stellantis commented that ‘‘Stellantis believes
                                                                                                                                                           NHTSA has overestimated the potential for ICE
                                             focuses on the capability of the industry               be added faster than or outside of                    improvements on a [manufacturer] pathway that is
                                             and seeks to avoid adverse                              normal product cycles (i.e., the lead                 focused on significant EV growth. . . . So, even if
                                             consequences such as (inter alia) a                     time consideration), it can be even more              manufacturers could achieve these proposed MY
                                             significant loss of jobs or unreasonable                expensive);                                           2024–2026 CAFE standards with conventional ICE
                                                                                                                                                           technology, it would make little economic sense to
                                             elimination of consumer choice. If the                     • U.S. consumers may potentially
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                                                                                                                                                           pursue a duplicate ICE investment path only to
                                             overarching purpose of EPCA is energy                   object to either higher per-vehicle costs             abandon it a few short years later to meet 2030
                                                                                                     or to technology with which they are                  electrification goals.’’ Stellantis, Document No.
                                               835 See, e.g., Center for Auto Safety v. NHTSA
                                                                                                     less familiar, possibly affecting sales,              NHTSA–2021–0053–1527, at 12; Kia commented
                                             (CAS), 793 F.2d 1322 (D.C. Cir. 1986)                                                                         that ‘‘[w]hile it is beneficial to drive further
                                             (Administrator’s consideration of market demand as
                                                                                                     but consumer benefits from fuel savings               improvements to ICEs to meet higher CAFE targets,
                                             component of economic practicability found to be        high enough to offset these costs and                 capital diversion away from electrification will
                                             reasonable).                                            even provide net savings may suggest                                                              Continued




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                                                In response, NHTSA again finds itself                   That said, NHTSA recognizes that in                to doing), but also is compelled by our
                                             in a place of some cognitive dissonance:                the 2012 final rule, NHTSA determined                 statutory mandate. And if manufacturers
                                             Automakers are saying that NHTSA                        that enough technology application had                determine that electric vehicles are the
                                             cannot consider the technology on                       been required for compliance with the                 most cost-effective path toward
                                             which they intend to focus their efforts                MY 2012–2016 standards, that a slightly               achieving compliance, the CAFE
                                             in the coming years, but that NHTSA                     slower rate of increase in standard                   program also accommodates that
                                             must consider that they plan to focus all               stringency was appropriate for MYs                    approach, as the statute and regulations
                                             their efforts on that technology and                    2017–2021—in effect, that available                   provide clear rules on how electric and
                                             therefore intend to make no further                     technology had been depleted                          other alternative fuel vehicles are
                                             progress on the rest of their fleets. All               somewhat, and industry needed time to                 accounted for in determining
                                             available capital, according to these                   catch up.838 We know now that MYs                     compliance even while we don’t
                                             commenters, is tied up by a technology                  2017–2020 did turn out to be                          consider them in establishing the
                                             that NHTSA cannot consider—in which                     challenging for industry compliance,                  standards.
                                             case, perhaps NHTSA cannot consider                     but NHTSA does not believe that this                     On the topic of per-vehicle costs,
                                             that that technology is tying up that                   was due to unavailability of technology,              Consumer Reports commented that
                                             capital. These outcomes do not seem                     so much as consumer demand over                       based on their regular purchases of new
                                             reasonable. A different legal                           those model years for vehicles with                   vehicles for testing, Consumer Reports
                                             interpretation must be found, one that                  lower fuel economy than anticipated in                estimated that vehicle prices adjusted
                                             allows us to continue to meet our                       the 2012 final rule. The technology                   for inflation have not increased
                                             statutory purpose while respecting the                  remains available, even if the vehicles               significantly over the last decade.841
                                             restrictions Congress placed on us, in                  sold during those model years had less                Consumer Reports stated that given that
                                             the most reasonable way possible.                       of it.                                                CAFE standards have been increasing
                                                                                                        NHTSA also continues to believe that               concurrently, CAFE standards must not
                                                Section VI.A.5.e) will discuss this in               the less-stringent-than-originally-
                                             more detail below, but NHTSA                                                                                  be adding significant cost to new
                                                                                                     anticipated standards for MYs 2021–                   vehicles.842 MECA commented that ‘‘the
                                             continues to believe that 49 U.S.C.                     2023 will provide automakers with at
                                             32902(h) can be reasonably read to                                                                            costs of the technologies needed to
                                                                                                     least a short grace period during which               comply with the proposed standards
                                             require NHTSA to exclude dedicated                      they have the opportunity to shift their
                                             alternative fuel vehicles like BEVs from                                                                      have remained approximately consistent
                                                                                                     focus back to more rapidly increasing                 or have declined since . . . 2012.’’ 843
                                             application in the analysis during the                  stringency. Indeed, we are seeing that
                                             rulemaking time frame, but while still                                                                        Ceres stated that strong standards would
                                                                                                     shift in focus in the frequent                        spur cost learning and decrease
                                             being aware of their existence in the                   announcements and rollouts of new
                                             world as a compliance option.                                                                                 manufacturer costs over time.844
                                                                                                     high-fuel-economy models, as discussed
                                             Moreover, while NHTSA absolutely                                                                                 AFPM argued that the proposal relied
                                                                                                     further in the NPRM and below.
                                             agrees that capital constraints are a                      However, as NHTSA also said in the                 on electric vehicles, which cost more
                                             relevant consideration in determining                   2012 final rule, we realize that                      than comparable ICE vehicles, and
                                             economic practicability, NHTSA does                     automakers will likely be putting quite               which could become even more
                                             not agree that CAFE standards for MYs                   a lot of technology into meeting the                  expensive if mineral supply chain
                                             2024–2026 could be maximum feasible                     baseline during MYs 2024–2025 (and,                   issues are exacerbated.845 AFPM stated
                                             if they required no investments to                      implicitly, 2026), and this                           that NHTSA had not accounted for the
                                             improve the fuel economy of ICE                         understanding makes us cautious about                 extent to which manufacturers cross-
                                             vehicles. It does not require ‘‘consider                choosing the most stringent                           subsidize EVs by increasing the prices
                                             [ation of] the fuel economy of dedicated                alternative.839 But at the same time, fuel            of ICE vehicles.846 AFPM also stated
                                             automobiles’’ to acknowledge that, even                 economy-improving technology was less                 that many sources show that lifetime
                                             if automakers did make 50 percent of                    developed in 2012, and NHTSA                          ownership costs for EVs are higher than
                                             their light-duty fleets BEV in a given                  suggested in that rule that there was a               for ICE vehicles.847
                                             model year, technologies would still                    difference in terms of capital between                   Auto Innovators commented that the
                                             exist that could increase the fuel                      adding technology to a few vehicles and               differences between the EPA and
                                             economy of the remaining ICE vehicles.                  spreading it throughout a fleet.840                   NHTSA programs ‘‘. . . make[ ]
                                             These vehicles will remain on the road                  NHTSA continues to believe that that                  compliance with the NHTSA CAFE
                                             for many years after their purchase. If                 difference is important. The auto                     program more difficult and, at
                                             the overarching purpose of EPCA is                      industry has submitted comments                       minimum, add complexity to product
                                             energy conservation, then it is neither a               expressing their preference to                        plans. These differences add costs, and
                                             reasonable nor appropriate                              concentrate their investments solely on               . . . [w]e recommend that NHTSA
                                             interpretation of our statutory                         electrification (which they say NHTSA                 consider these differences to the EPA
                                             obligations to set standards for this                   cannot consider), but our analysis does               program and their impacts on regulatory
                                             timeframe that require no further                       not suggest that the additional                       costs as part of its evaluation of the
                                             technology application on half or more                  investment that could be required by the              economic practicability of CAFE
                                             of the new vehicle fleet. Electrification               final CAFE standards would be, on                     standards.’’ 848
                                             is certainly a way to reduce fuel use, but              average, economically impracticable.
                                                                                                                                                              841 Consumer Reports, Docket No. NHTSA–2021–
                                             not at the expense of additional, feasible              NHTSA believes that improving the fuel
                                                                                                                                                           0053–1576–A9, at 10–15.
                                             overall energy conservation, and                        efficiency of ICE vehicles will not only                 842 Id.
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                                             NHTSA’s analysis for the final rule                     result in additional energy conservation                 843 MECA, at 2.
                                             demonstrates that compliance is                         while automakers work toward a fully                     844 Ceres, Docket No. NHTSA–2021–0053–0076,
                                             achievable.                                             electric future (as many have committed               at 2.
                                                                                                                                                              845 AFPM, at 6–8.
                                                                                                       838 77 FR 63043 (Oct 15, 2012).                        846 Id.
                                             delay cost parity objectives that are critical’’ to
                                                                                                       839 Id. at 63046.                                      847 Id., at 9.
                                             meeting future electrification targets. Kia, Docket
                                             No. NHTSA–2021–0053–1525, at 10.                          840 Id.                                                848 Auto Innovators, at 32.




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                                                In response, NHTSA does not believe                  are understated, because the analytical                 note that it is considerably less than the
                                             that per-vehicle costs associated with                  baseline for this rulemaking includes                   additional $1,407 per vehicle estimated
                                             any of the regulatory alternatives are                  more technology application, and thus                   to be required under Alternative 3. It is
                                             significantly greater than per-vehicle                  cost accrues in the baseline that NHTSA                 also considerably less than the
                                             costs considered economically                           is effectively saying does not ‘‘count’’                additional per-vehicle costs the agency
                                             practicable over the last several                       for purposes of the CAFE standards.                     considered to be economically
                                             rulemakings. As compared to the                         NHTSA discusses in Sections IV.B and                    practicable in 2012, when the industry
                                             baseline (i.e., retention of the SAFE rule              VI.A.5.e) why NHTSA believes that it is                 was still recovering from the Great
                                             and an indefinite extension of that rule’s              reasonable and appropriate for the                      Recession. Although today’s supply
                                             MY 2026 standards), Alternative 1                       analytical baseline to reflect several                  chain issues pose a new challenge to the
                                             would require, on average, an additional                manufacturers’ voluntary commitment                     industry, NHTSA considers it uncertain
                                             $432 for MY 2029; Alternative 2, an                     to higher (than finalized in 2020) GHG                  whether these will necessarily persist
                                             additional $938 for MY 2029;                            emissions reductions during the                         through the rulemaking time frame, and
                                             Alternative 2.5, an additional $1,087 for               rulemaking time frame, and all                          believes that they are uncertain enough
                                             MY 2029; and Alternative 3, an                          manufacturers’ anticipated compliance                   that they should not be presumed.
                                             additional $1,407 for MY 2029. Costs                    with ZEV mandates in California and                     NHTSA also notes that the industry is
                                             differ by manufacturer and by fleet (all                the Section 177 states. The inclusion of                far healthier today financially than it
                                             in 2018 dollars), but these averages are                these measures in the baseline reflects                 was a decade ago.
                                             illuminating.                                           the reality of the market, a reality                      Related to per-vehicle costs (and
                                                NHTSA is aware that cross-                           NHTSA is required to reflect in order to                arguably to sales), Auto Innovators
                                             subsidization happens across models                     assess the effects of its standards.                    commented that the payback period
                                             and vehicle types, as AFPM noted, but                   NHTSA agrees that automakers will                       associated with many technologies
                                             assumes in this analysis (and all those                 apply technology in response to both of                 modeled for compliance with
                                             preceding it) that costs for all                        those, and that doing so will add cost to               Alternatives 2 and 3 was longer than
                                             technology are passed directly through                  new vehicles, and that some of that                     NHTSA seemed to believe consumers
                                             to consumers. NHTSA lacks reliable                      technology will ultimately make CAFE                    would accept.849 Noting that NHTSA
                                             information about cross-subsidization to                compliance easier. However, the CAFE                    uses a 30-month payback for
                                             estimate those effects more precisely;                  program is not the but-for cause of that                manufacturers’ voluntary application of
                                             but nevertheless believes that the                      technology application and those costs.                 fuel-economy-improving technologies,
                                             current approach is reasonable and                      NHTSA therefore disagrees that NHTSA                    Auto Innovators stated that:
                                             provides useful information about                       must ‘‘own’’ those costs when                           The Central Case NHTSA analysis forecasts
                                             average effects to decision-makers.                     determining what CAFE standards                         that, for Alternative 2, 27.4 [percent] of MY
                                             Additional levels of detail would likely                would be economically practicable or                    2026 vehicles adopt fuel-saving technologies
                                             be necessary if NHTSA were attempting                   technologically feasible. NHTSA, like                   that take 8 or more years to pay back, and
                                             to develop and run a consumer choice                    the automakers, is aware that the                       nearly 1 in 8 vehicles adopts technology that
                                             model, but by itself, such a model                      automakers are making technology                        will not pay back in 16 or more years (if at
                                             would only address the potential                        application decisions with reference to                 all). For Alternative 3, with the Global Insight
                                             demand-side response to any cross-                      many different things, including                        fuel price projections, 1 in 4 vehicles will
                                             subsidization. Estimating cross-                        multiple regulatory regimes and non-                    take at least 12 years to pay back the cost of
                                                                                                                                                             fuel-saving technologies, and over 40
                                             subsidization would likely involve                      regulatory commitments. The additional                  [percent] of the fleet will include fuel-saving
                                             estimating manufacturers’ respective                    costs that CAFE compliance would                        technologies that do not return investment
                                             approaches to vehicle prices and                        require is the question that belongs to                 until at least the 8th year of ownership and
                                             incentives, and possibly even                           NHTSA.                                                  use. For Alternative 3, with the Global
                                             manufacturers’ respective approaches to                    With that in mind, NHTSA                             Insight fuel price forecast, 1 in 5 vehicles
                                             distributing costs and earnings across                  acknowledges the comment from Auto                      built in MY 2026 includes technology that
                                             global regions and business units, and                  Innovators that compliance flexibility                  will not pay back in the first 15 years of
                                             among customers, employees, and                         and other programmatic differences                      ownership and operation. If consumers are
                                             investors. NHTSA currently lacks                        between NHTSA and EPA can make                          reluctant to adopt these technologies, the
                                                                                                     compliance with NHTSA’s standards                       policy objectives of the higher stringency
                                             appropriate information that would be
                                                                                                                                                             alternatives may not be fully realized.850
                                             needed to account for all of these                      more binding (and thus, more costly) for
                                             degrees of freedom and corresponding                    some manufacturers in some model                           NHTSA fully agrees that if consumers
                                             highly proprietary (and doubtlessly                     years. We understand that                               are reluctant to adopt these
                                             fluid) corporate strategies. Analogous to               manufacturers would rather spend less                   technologies, the policy objectives of the
                                             considering the potential for                           money than more in complying with                       standards may not be fully realized.
                                             manufacturers to apply technology in a                  their various regulatory obligations, but               Having updated some aspects of its
                                             manner that holds vehicle performance                   manufacturers who plan to meet the                      analysis, NHTSA currently estimates
                                             and utility approximately constant, the                 most binding standards, whichever ones                  that fuel-saving technology added in
                                             agency considers it reasonable and                      they are, will foreseeably be in a good                 response to the new CAFE standards in
                                             appropriate to consider the potential                   compliance position with all other                      MY 2026 could take 5.5–7.5 years to pay
                                             that the industry could continue to                     application standards. Moreover, we                     off (depending on whether taxes, fees,
                                             follow long-standing average practices                  continue to believe that an additional                  financing, and insurance are accounted
                                             in passing along additional costs.                      average $1,087 per vehicle as compared                  for), but that by MY 2029, this
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                                                Some commenters have argued that                     to the No-Action Alternative standards                  technology could pay off in 4.5–5.5
                                             the per-vehicle costs for all alternatives              is economically practicable, and we                     years:



                                               849 Auto Innovators, at 15.                             850 Id., at 52.




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                                                Setting aside taxes, fees, financing,                above are nearing (or somewhat                        selling EVs consistently over the past
                                             and insurance, NHTSA finds that under                   exceeding, if taxes, fees, financing, and             several model years.851
                                             alternative 2.5, payback periods are all                insurance are considered) the term of                    Securing America’s Future Energy
                                             within the estimated vehicle age (6                     the average new vehicle loan, the                     stated that their analysis showed that
                                             years) at which vehicles are first sold to              current economic forecast informing                   ‘‘each of the top 15 vehicle programs
                                             used vehicle buyers, and even within                    NHTSA’s analysis indicates buyers’                    produced in the United States are
                                             the estimated average new vehicle loan                  wealth will likely continue to increase               expected to transition to a new program
                                             term (5.75 years).                                      over time, with per-capita real                       before 2030. In fact, . . . most of the
                                                That said, NHTSA disagrees that there                disposable income increasing by 20                    conventional vehicles that will be
                                             is an inherent conflict between                         percent between 2022 and 2030. In that                produced in the United States in 2030
                                             NHTSA’s analytical assumption for                       case, buyers will be better able to afford            are part of programs that are early
                                             purposes of the baseline that                           the additional up-front costs resulting               enough in their production cycles that
                                             manufacturers can reasonably be                         from this rule, and drivers (if not                   the automakers can transition the
                                             expected to improve fuel economy                        necessarily initial buyers) will continue             program to electric platforms without
                                             voluntarily if the technology pays for                  to realize significant fuel savings long              stranding investment.’’ 852
                                             itself in 30 months, and the possibility                after recouping those up-front costs.
                                             in the real world that consumers will                   Finally, when new car buyers do get                      Our Children’s Trust commented that
                                             still buy vehicles with improved fuel                   ready to sell their cars into the used car            18 months (as required by statute for
                                             economy that take considerably longer                   market, they should be able to recoup                 new standards) was plenty of lead time,
                                             to pay back in fuel savings. As we                      some of the cost of the fuel economy                  and NHTSA should ‘‘[p]ut the industry
                                             explained above, the assumption about                   technologies.                                         on notice today that it needs to move to
                                             voluntary payback may be less valid                                                                           a 100 [percent] electric or clean fleet by
                                                                                                        A number of commenters addressed
                                             when all vehicles are subject to fuel                                                                         2030.’’ 853 South Coast AQMD similarly
                                                                                                     lead time—the extent to which
                                             economy regulations. Moreover, for                                                                            cited EPCA’s 18 month lead time
                                             decades, manufacturers have included                    standards may or may not be
                                                                                                                                                           requirement as adequate even for
                                             catalytic converters that offer owners no               economically practicable based on how
                                                                                                                                                           Alternative 3, and like Tesla argued
                                             direct financial benefit at all (and that,              long they give manufacturers to make
                                                                                                                                                           essentially that industry had been on
                                             conversely, can be expensive to                         necessary changes to their vehicles.
                                                                                                                                                           notice since the 2012 final rule that
                                             replace), and consumers have continued                  Tesla commented that lead time is not
                                                                                                                                                           standards as stringent as Alternative 3
                                             to buy new vehicles. Manufacturers                      a problem for several reasons: First,
                                                                                                                                                           were possible.854 South Coast AQMD
                                             have made significant quality                           because credit trading and banking
                                                                                                     builds in flexibility; second, because the            further commented that ‘‘the technology
                                             improvements in new vehicles over the                                                                         to meet [Alternative 3] exists today, and
                                             past decades, and consumers are                         majority of the industry signed on to the
                                                                                                     2012 standards with commitment                        the current trend of manufacturers daily
                                             retaining vehicles longer than ever                                                                           adding to the announcements of
                                             before, meaning that many consumers                     letters, so the industry has been on
                                                                                                     notice of the possibility of more                     increasing investment all allow NHTSA
                                             will experience more of the lifetime fuel
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                                                                                                     stringent standards; third, that because              confidence that there is not a lead time
                                             savings from their new vehicles than
                                             they may have experienced previously,                   manufacturers are following the
                                                                                                                                                             851 Tesla, A1, at 7–8.
                                             and be more willing to shoulder                         California and Section 177 states’ GHG
                                                                                                                                                             852 Securing America’s Future Energy, at 7–8.
                                             additional up-front costs in order to                   standards, they have had plenty of lead                 853 Our Children’s Trust, Docket No. NHTSA–
                                             obtain those fuel savings over time.                    time to meet stricter CAFE standards;                 2021–0053–1587, at 1–2.
                                                                                                     and fourth, because Tesla has been
                                                                                                                                                                                                             ER02MY22.227</GPH>




                                             Although the payback periods shown                                                                              854 South Coast AQMD, at 4.




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                                             concern with the ability to meet                           stringency over MYs 2021–2023                         the U.S. auto industry has been
                                             Alternative 3 standards.’’ 855                             represented any kind of ‘‘break,’’ and                generally aware since 2012 of potential
                                                In contrast, Kia stated that ‘‘[f]our                   commented that the proposal showed                    stringency levels in the rulemaking time
                                             years is a short time for vehicle                          Alternative 2 requiring ‘‘significant                 frame that would have been even higher
                                             redesigns and extremely short for full                     technology additions as soon as MY                    than those that NHTSA is now
                                             engine and powertrain redesigns. . . .                     2023 (including large numbers of EVs)                 finalizing. Automakers in 2012 were
                                             it is unlikely that [more fuel-efficient                   to support compliance in MYs 2024–                    planning to achieve these levels; what
                                             engine/powertrain architectures] would                     2026, despite MY 2023 potentially                     happened in the interim was lower
                                             permeate our entire fleet at the levels                    beginning as soon as two months from                  gasoline prices than anticipated and the
                                             NHTSA suggests. Thus, the engineering                      now for some vehicle models, and more                 continuing trend of U.S. consumers
                                             burden would fall on a combination of                      generally about nine months from now                  generally choosing new vehicles with
                                             changes to the smaller set of vehicles                     for most.’’ 859 Auto Innovators                       lower fuel economy rather than higher
                                             that could be redesigned in time, and                      continued that ‘‘While NHTSA may                      fuel economy (perhaps encouraged by
                                             potential fleet mix changes where those                    technically be providing the statutorily              advertising campaigns touting larger
                                             other actions fall short.’’ 856 Stellantis                 required 18-month lead time for                       vehicles, which generally produce larger
                                             similarly commented that ‘‘[i]t takes the                  increasing standards, the actual lead                 profit margins for manufacturers).
                                             automotive industry (and Stellantis) 2 to                  time to achieve the improvements
                                             4 years to introduce a new                                                                                       Manufacturers who petitioned the
                                                                                                        modeled by NHTSA is much less.’’ 860                  Federal Government to reconsider the
                                             product. . . . OEMs have historically                         In response, while lead time is not an
                                             justified powertrain business cases over                                                                         EPA 2018 Final Determination may
                                                                                                        express factor for NHTSA under EPCA                   have been hoping for less stringent
                                             at least a ten-year time horizon. . . . To                 as it is for EPA under the CAA, NHTSA
                                             achieve [zero emissions], focus must                                                                             standards that reflected the vehicles
                                                                                                        still believes lead time is appropriately             they were actually selling in high
                                             remain on transformational                                 considered as part of economic
                                             electrification investments, starting now                                                                        volumes, rather than the vehicles they
                                                                                                        practicability. NHTSA has long
                                             in order to minimize the time and                                                                                were developing with an eye toward
                                                                                                        recognized that the statutory 18-month
                                             maximize the success of this                                                                                     future CAFE/GHG/ZEV stringency
                                                                                                        lead time is shorter than manufacturer
                                             transition.’’ 857 Stellantis noted that the                                                                      increases, and NHTSA set lower
                                                                                                        product cycles, while also recognizing
                                             2020 EPA Automotive Trends Report                                                                                standards in 2020 for MYs 2021–2026 in
                                                                                                        that it is the minimum amount of lead
                                             showed that ‘‘11 of 14 major                                                                                     response to that petition.
                                                                                                        time that Congress required for new or
                                             manufacturers underperformed their                                                                               Technologically, NHTSA does not
                                                                                                        amended (more stringent) standards.
                                             MY2019 standard and relied on the use                      NHTSA understands that more lead                      believe that automakers ever really got
                                             of banked or purchased credits,’’ stating                  time is always preferable from an                     that far ‘‘off track’’ from the original
                                             that ‘‘[t]his is a clear indication that the               industry perspective. Lead time has                   intent of the 2012 standards, or they
                                             additional time afforded in the proposed                   factored into our maximum feasible                    would not be in a position today to be
                                             rule is needed to grow the market                          analysis by increasing the stringency of              constantly announcing and rolling out
                                             demand for more efficient electric                         the standards in the last MY of our rule              new higher-fuel-economy vehicle
                                             vehicles, before even more stringent                       so that manufacturers will have close to              models. Shifting back to the perspective
                                             standards, requiring higher rates of                       four years to achieve the highest                     of lead time, the question may be less
                                             electrification, can be implemented.’’ 858                 stringency.                                           about whether automakers have enough
                                                Auto Innovators disagreed with                                                                                time to make technological changes in
                                                                                                           That said, NHTSA continues to
                                             NHTSA’s suggestion in the proposal                                                                               their fleets, and more, as Kia suggested,
                                                                                                        believe that the lead time for the final
                                             that the 1.5 percent increases in CAFE                                                                           whether automakers have enough time
                                                                                                        standards is adequate. NHTSA agrees
                                               855 Id.                                                  with some commenters’ suggestions that                to spread technology they already have
                                               856 Kia, at 3.
                                                                                                                                                              throughout enough of their fleets so that
                                               857 Stellantis, at 15.                                     859 Auto Innovators, at 15.                         their average fuel economy tracks their
                                               858 Id., at 14.                                            860 Id., at 53–54.                                  anticipated compliance obligations.
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                                                Table VI–5 summarizes the fleetwide                  rate increase applies across the entire               vehicles, and stated that ‘‘[a] 2020
                                             penetration rates for certain                           industry, during a time frame in which                nationally representative survey . . .
                                             technologies from MYs 2020 through                      plenty of vehicles will be redesigned                 found that 73 [percent] of respondents
                                             2026. While the regulatory alternatives                 and a new transmission or powertrain                  said the federal government should
                                             considered in this final rule require not-              could reasonably be incorporated. Mild                continue to increase fuel economy
                                             insignificant application of additional                 hybrids are estimated to increase from                standards.’’ 861 EDF echoed these points,
                                             technology, particularly the more                       barely 2 percent to roughly 4 percent.                stating that ‘‘64 [percent] of consumers
                                             stringent alternatives, all of these                    Strong hybrids and high levels of                     rank fuel economy as extremely
                                             technologies exist in the fleet today. The              aerodynamic improvements require                      important or very important in
                                             first two rows—turbocharging with                       more extensive architectural changes to               considering what car to purchase,’’ and
                                             cylinder deactivation and ten-speed                     vehicles, and may be more challenging                 that ‘‘research has shown that
                                             transmissions (the highest number of                    than the other listed technologies to                 consumers are willing to pay more for
                                             speeds modeled)—are ICE-improvement                     apply more widely during the                          improvements to fuel economy than for
                                             technologies already available on                       rulemaking time frame, but again, this is             improvements to acceleration or
                                             vehicles today. The model estimates                     industry-wide; many redesigns will                    premium trim.’’ 862 Consumer Reports
                                                                                                     occur during these model years; and                   argued further that ‘‘[t]here is inherent
                                             that the average rate of application for
                                                                                                     manufacturers are always free to chart                inequity in the car marketplace as
                                             turbocharging with cylinder
                                                                                                     their own technology paths to                         Consumer Reports’ research has found
                                             deactivation could increase from
                                                                                                     compliance. Standards may be                          that new car buyers are predominantly
                                             roughly 2 percent in MY 2020 to over
                                                                                                     challenging without being economically                wealthier, whiter, and older, and they
                                             20 percent on average across the                        impracticable, and NHTSA believes that
                                             industry in MY 2026 in response to                                                                            determine what vehicles end up on the
                                                                                                     that is the case here.                                used car market. Expanding consumers’
                                             Alternatives 2.5 and 3, but this is still
                                             adding an existing ICE technology to                    Consumer Demand, Electrification, Net                 choices of fuel-efficient vehicles will
                                             just over 20 percent of vehicles. The                   Benefits                                              also benefit those that cannot afford to
                                             model estimates that the average rate of                                                                      enter the new car market.’’ 863
                                                                                                       With regard to uncertainty regarding                   Some commenters stated that strong
                                             application for ten-speed transmissions                 consumer acceptance (considered
                                             could increase from roughly 10 percent                                                                        standards would themselves create
                                                                                                     through the lens of economic                          demand: Securing America’s Future
                                             in MY 2020 to nearly 40 percent on                      practicability, which is concerned in
                                             average across the industry in MY 2026                                                                        Energy commented that automakers
                                                                                                     part with automakers’ ability to sell the
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                                             in response to Alternatives 2.5 and 3.                                                                        ‘‘cannot [be expected] to make cars for
                                                                                                     vehicles called for by the standards),
                                             While this penetration rate may seem                    some commenters expressed optimism                      861 Consumer Reports, Public Hearing Comments,
                                             high, it is much lower than previous                    that consumers will respond favorably.                at 1.
                                             expectations about advanced                             Consumer Reports stated that their                      862 EDF, at 5.
                                             transmission penetration rates in prior                 research suggests that consumers would                  863 Consumer Reports: Public Hearing Comments,
                                                                                                                                                                                                              ER02MY22.228</GPH>




                                             rulemakings, and again, is the projected                prefer higher fuel economy in their next              at 1.



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                                             which there is not a promising market,’’                experience, CAFE standards have a                     levels quickly, and that this would not
                                             but that ‘‘the power of the government’s                major impact on the automotive choices                be economically impracticable.878
                                             regulatory authority . . . can be used to               available to consumers and on the                        In response, NHTSA points again to
                                             shape the market. This rulemaking                       purchase prices of various models. . . .              case law finding it reasonable to
                                             offers the federal government a valuable                especially . . . when fuel prices are                 consider consumer demand as a
                                             opportunity to exercise its regulatory                  relatively low, because low-priced                    component of economic
                                             authority to accelerate the growth of that              gasoline forces many carmakers to                     practicability.879 Uncertainty about
                                             market.’’ 864 South Coast AQMD                          adjust prices and model availability so               consumer demand is still a reasonable
                                             commented that DOE’s ‘‘technology                       that new car purchases produce a sales                consideration within economic
                                             targets for battery costs and electric                  mix that complies with CAFE.’’ 871 Mr.                practicability, albeit one that is getting
                                             drive technologies,’’ ‘‘the commitment                  Kreucher pointed to recent cuts in                    somewhat more complicated to parse as
                                             of the federal government to purchase                   Ford’s passenger car lineup as evidence               industry and government head toward
                                             ZEVs for government fleets,’’ and                       that CAFE standards reduce consumer                   higher and higher levels of fleet fuel
                                             ‘‘President Biden’s target of 50 [percent]              choice and argued that ‘‘it is likely that            economy requirements.
                                             of new vehicles being ZEVs by 2030’’                    our car-buying choices would be even                     NHTSA agrees that automakers have
                                             will all drive demand, in addition to                   broader, and car prices would be even                 been relying more heavily on banked
                                             California’s announcement of the 100                    lower, if the agencies adopted standards              credits for compliance over the last few
                                             percent ZEV target for 2035.865                         that were even more lenient than what                 model years. NHTSA also agrees with
                                                Some commenters argued that strong                   they chose in the proposed rule.’’ 872                the observation that American
                                             standards would enhance U.S.                               Mr. Douglas disagreed that consumer                consumers purchased larger and heavier
                                             automakers’ global competitiveness:                     acceptance should even be a                           vehicles, on average, than previously
                                             ACEEE commented that strong                             consideration, stating that ‘‘[e]conomic              expected. This is evident in the
                                             standards ‘‘provid[e] consumers a wider                 practicability and economic desirability              compliance data for both the CAFE and
                                             array of vehicle choices,’’ and improve                 are two different things, and there is                CO2 programs. NHTSA does not agree
                                             U.S. automakers’ global                                 nothing in the relevant governing                     that automakers reducing passenger car
                                             competitiveness.866 Ceres also                          statutes directing [NHTSA] to full                    offerings is necessarily due to CAFE
                                             supported the idea that Alternative 3                   satisfy auto consumers at all cost.’’ 873             stringency, however. The standards
                                             would improve U.S. global                               Mr. Douglas went on to argue that ‘‘[i]t              were designed to enable automakers to
                                             competitiveness.867                                     is unreasonable to set stringency so low              bank compliance credits as a
                                                Other commenters expressed concern                   that the regulatory framework produces                compliance flexibility, and reliance on
                                             about consumer demand for fuel                          slow fuel economy improvements that                   those banks means automakers are using
                                             economy. NADA, for example,                             fail to reduce overall gasoline                       program flexibilities in order to
                                             commented that consumers are ‘‘far                      consumption at an adequate pace,                      optimize their compliance strategies and
                                             from being myopic or inconsistent,’’ and                knowing that we could do much better                  reduce costs. It does not indicate that
                                             will continue to purchase CUVs, SUVs,                   by forcing consumers to moderate their                the standards are infeasible. There is a
                                             and trucks rather than passenger cars as                desires and choose from greener                       chicken and egg question here, in which
                                             long as fuel prices remain low, which                   options.’’ 874 Mr. Douglas commented                  consumers seek out larger and heavier
                                             AEO continues to forecast.868 NADA                      that it is evident in EPCA that Congress              vehicles when gas prices are relatively
                                             argued that ‘‘NHTSA’s current proposal                  intended some consideration of                        low; automakers continue to offer those
                                             is flawed in that, as with the 2012 joint               consumer choice, as through the setting
                                                                                                                                                           vehicles—and indeed, market them
                                             rule, the agency has not adequately                     of separate standards for cars and
                                                                                                                                                           heavily—and (in some cases)
                                             considered critical demand-side                         trucks, the use of attribute-based
                                             marketplace factors, including whether                                                                        discontinue smaller and more fuel-
                                                                                                     standards defined by a mathematical
                                             OEMs will be able to make and deliver                                                                         efficient models going forward; this
                                                                                                     formula, and the low-volume
                                             compliant vehicles that are both                                                                              marketing strategy can and should
                                                                                                     exemption.875 However, he concluded
                                             marketable and affordable.’’ 869 NADA                                                                         adjust to facilitate compliance with
                                                                                                     that the statutory evidence did not
                                             also commented that ‘‘. . .given that                                                                         CAFE standards that were predicated on
                                                                                                     suggest that Congress meant for
                                             many OEMs were unable to comply                                                                               (among other things) the potential to
                                                                                                     consumer demand to be a brake on
                                             with pre-SAFE Rule CAFE standards                                                                             offer smaller and more fuel-efficient
                                                                                                     stringency,876 stating that ‘‘[i]t is
                                             since at least MY 2016 (but for the                     economically practicable to disappoint                models, even when controlling for the
                                             application of credits), serious questions              consumers somewhat, and there are less                effects of the footprint-based standards
                                             exist regarding their ability to meet the               desirable vehicle options that would                  and separate standards for passenger
                                             standards NHTSA has proposed in a                       significantly reduce the technological                cars and light trucks. Meanwhile,
                                             cost effective, economically practicable                barriers that are preventing meaningful               automakers also continue to roll out
                                             manner sufficient to bring to market                    fuel economy improvements. These                      very high-fuel-efficiency models, some
                                             light duty vehicles that preserve                       feasibility barriers are not written in               of which are very popular with
                                             consumer choice and feature                             stone.’’ 877 Mr. Douglas suggested that               consumers, even while other groups of
                                             preferences.’’ 870                                      automakers could easily shift their fleet             consumers continue to buy the large,
                                                Mr. Kreucher similarly commented                     mixes or reduce vehicle weight or                     heavy, more traditional ICE models.
                                             that ‘‘[b]ased on [his] professional                    horsepower to increase fuel economy                   American consumers today do have
                                                                                                                                                           quite a wide array of light-duty vehicle
                                               864 Securing America’s Future Energy, at 2–3.           871 Walter Kreucher, Docket No. NHTSA 2021–         options, many of them with higher fuel
                                               865 South Coast AQMD, at 5.                           0053–0013, at 13.                                     economy than ever before, along with
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                                                866 ACEEE, Docket No. NHTSA–2021–0053–0074,            872 Id., at 12.                                     other attributes that they value. This is
                                             at 1–2.                                                   873 Peter Douglas, Docket No. NHTSA–2021–
                                                867 Ceres, at 1.                                     0053–0085, at 4.                                        878 Id.
                                                868 NADA, Docket No. NHTSA–2021–0053–1471,             874 Id., at 5.
                                                                                                                                                             879 CAS, 793 F.2d 1322 (D.C. Cir. 1986)
                                             at 8–9.                                                   875 Id., at 21.
                                                                                                                                                           (Administrator’s consideration of market demand as
                                                869 Id., at 5–6.                                       876 Id.
                                                                                                                                                           component of economic practicability found to be
                                                870 Id.                                                877 Id., at 4.                                      reasonable).



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                                             confirmed by recent data from Wards                        affordability is a major concern                     decreasing costs of battery production,
                                             Intelligence, as summarized by the                         generally, but does not find it to be a              the commitments already made by many
                                             Energy Information Administration. EIA                     concern for this rulemaking, as                      automakers to increase electrification
                                             states that ‘‘[s]ales of several existing                  evidenced by the per-vehicle cost                    and technology in their vehicles, and
                                             hybrid, plug-in hybrid, and electric                       discussion above. Moreover, auto                     the incentives for EV purchases in place
                                             models increased in 2021, but a large                      dealers have managed to keep sales                   in several states suggest that Alternative
                                             portion of the sales increase came from                    levels increasing in recent years (again,            3 is economically practicable.’’ 884 Tesla
                                             new manufacturer offerings across                          excluding the years affected by the                  also agreed with NHTSA that industry
                                             different market segments.                                 pandemic) even while the average per-                announcements ‘‘are indicative of
                                             Manufacturers increased the number of                      vehicle price has increased.883 The 2020             broader interest and capabilities in
                                             non-hybrid ICE vehicle models by 49 in                     final rule discussed the phenomenon of               achieving greater fuel economy and that
                                             2021, versus an increase of 126 for                        lengthening loan terms for new vehicles              more stringent standards are
                                             hybrid and electric vehicle models.’’ 880                  and expressed concern about a possible               economically practica[ble].’’ 885 Tesla
                                             EIA also notes that ‘‘Manufacturers of                     bubble, but even with average prices at              further commented that the proposed
                                             hybrid vehicles and plug-in vehicles                       their highest recorded levels, demand is             standards are ‘‘being eclipsed by . . .
                                             have expanded into market segments                         currently still outstripping supply and,             real world [manufacturer] plans,
                                             such as crossovers, vans, and pickups                      as mentioned above, current economic                 capabilities, and consumer-driven
                                             following consumer preference for                          forecasts show real disposable income                investments.’’ 886
                                             larger vehicle. Within each electric or                    continuing to increase between now and                  NCAT noted extensive investment by
                                             hybrid powertrain type, crossover                          2030.                                                its members in electrification
                                             vehicles now account for most                                 Thus, given that per-vehicle cost                 technologies and stated that ‘‘[t]he
                                             sales.’’ 881 While, again, NHTSA does                      increases attributable to CAFE standards             regulations [that have helped spur those
                                             not and is not considering electrification                 do not seem insurmountable during the                investments] and resulting investments
                                             in deciding on the maximum feasible                        rulemaking time frame, the next                      will stimulate technology innovation
                                             fuel economy standards, consistent with                    question is whether the technology itself            and market competition, enable
                                             49 U.S.C. 32902(h), it is crystal clear                    seems likely to reduce consumer                      consumer choice, attract private capital
                                             that these trends are occurring even in                    demand for new vehicles such that auto               investments, and create high quality
                                             the absence of further NHTSA action.                       industry sales and employment fall to                jobs.’’ 887 General Motors Company
                                                The question at the root of uncertainty                 economically impracticable levels.                   (GM) touted its announcements about
                                             about consumer demand is whether the                       Again, NHTSA does not believe that this              and investments in ZEVs, stating that
                                             standards will require automakers to                       is likely during the rulemaking time                 ‘‘[e]ven as we manage short-term
                                             change their vehicles or lineups in ways                   frame. The agency estimates that,                    challenges like COVID–19 and the
                                             that affect sales and employment to                        compared to the No-Action Alternative,               semiconductor shortage, we continue to
                                             such an extent that it makes the                           this rule could involve the increased                accelerate our investment in EVs.’’ 888
                                             standards economically impracticable.                      application of a range of technologies,                 In contrast, Honda stated that ‘‘while
                                             As Mr. Douglas suggested in his                            such as improvements to engine                       commitments are serious, sincere, and
                                             comments, some change is not                               friction, vehicle mass efficiency,                   very much underway, it is important
                                             economically impracticable, because                        aerodynamics, and automatic                          that the agencies not approach such
                                             (other than during the pandemic)                           transmissions; turbocharged or high                  announcements as foregone
                                             vehicle sales have been climbing                           compression ratio engines; as well as                conclusions. Limited market adoption of
                                             steadily since the recession in 2008,882                   some additional deployment of hybrid-                technology necessary for reaching our
                                             a period during which CAFE standards                       electric vehicles. Although dual-clutch              future climate goals presents a
                                             generally have also been rising.                           transmissions clearly did not succeed as             profoundly challenging and still
                                             Consumers have not yet stopped buying                      anticipated in past NHTSA rulemakings,               uncertain industry transition for the
                                             new vehicles because CAFE standards                        most of these other technologies have                automotive industry in the years
                                             have become more stringent, and they                       already enjoyed some level of success in             ahead.’’ 889 Honda further commented
                                             still have many different vehicle options                  the marketplace, and the agency is                   that ‘‘[t]hese challenges are only
                                             from which to choose, and many of                          aware of no indications that the future              amplified by present headwinds; as
                                             those different vehicle options include                    market will not accept such                          widely reported in the media over the
                                             improved fuel economy levels—but not                       technologies in due course. Moreover,                past 18 months, the automobile industry
                                             all.                                                       automakers themselves are steadily                   is facing severe global supply chain
                                                NADA’s comments suggest that as                         announcing higher fuel economy                       issues that continue to disrupt vehicle
                                             standard stringency continues to                           models, and NHTSA continues to                       production volumes, launch dates and
                                             increase, automakers will have a choice                    believe that sophisticated, for-profit               compliance strategies. Should ongoing
                                             between making compliant vehicles,                         companies would not offer, much less                 supply chain issues persist well into the
                                             and vehicles that are marketable and                       tout, vehicles that they do not believe              next year, development schedules and
                                             affordable—in effect, that compliant                       are marketable.                                      profits could be impacted.’’ 890 Kia also
                                             vehicles will not be marketable and                           A number of commenters directly                   noted supply chain issues, and argued
                                             affordable. NHTSA agrees that                              addressed NHTSA’s suggestions in the
                                                                                                        proposal that the proposed standards                   884 Lucid, Docket No. NHTSA–2021–0053–1584,

                                               880 EIA, ‘‘Today in Energy: Electric vehicles and        could be economically practicable based              at 4.
                                                                                                                                                               885 Tesla, at 5.
                                             hybrids surpass 10% of U.S. light-duty vehicle             on automaker announcements and
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                                                                                                                                                               886 Id.
                                             sales,’’ Feb. 9, 2022. Available at https://               commitments regarding forthcoming
                                                                                                                                                               887 NCAT, Docket No. NHTSA–2021–0053–1508,
                                             www.eia.gov/todayinenergy/detail.php?id=51218              higher-fuel-economy vehicle models.
                                             (accessed: March 15, 2022).                                                                                     at 5.
                                                881 Id.
                                                                                                        Among commenters agreeing with                         888 GM, Docket No. NHTSA–2021–0053–1523, at

                                                882 ‘‘Light vehicle retail sales in the United States   NHTSA, Lucid stated that ‘‘the rapidly               2–3.
                                                                                                                                                                889 Honda, Docket No. NHTSA–2021–0053–1501,
                                             from 1976 to 2021,’’ https://www.statista.com/
                                             statistics/199983/us-vehicle-sales-since-1951/               883 https://www.kbb.com/car-news/average-new-      at 8–9.
                                             (accessed March 15, 2022).                                 car-price-tops-47000/, (accessed: March 15, 2022).      890 Id., at 9.




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                                             that accounting for manufacturer                         Framework Agreement[s] and the CAFE                    Agreements will likely be met with
                                             announcements ‘‘without a full-scale                     program, it would be inappropriate for                 some technologies that also improve
                                             cost-benefit analysis may pose gaps that                 NHTSA to assume that a commitment to                   fuel economy, as well as some
                                             have longer-term consequences,’’ stating                 one program suggests a level of                        technologies that are irrelevant to fuel
                                             that ‘‘[i]t is of critical importance that               contentment with the other.’’ 896 Tesla                economy but reduce emissions, and
                                             NHTSA assures that a full impact of the                  argued that it was incomplete for                      some technologies—such as ZEV—that
                                             COVID–19 pandemic has been                               NHTSA to say that the Framework                        NHTSA cannot consider the fuel
                                             incorporated into its model . . . [and]                  Agreements demonstrate manufacturer                    economy of in assessing what is
                                             NHTSA . . . continue[s] to add                           capability of meeting the standards,                   maximum feasible. Nonetheless, the
                                             refinements to this aspect of the model,                 because ‘‘[t]he agency fails to                        Framework Agreements do provide
                                             as the far-reaching supply-chain                         acknowledge that some manufacturers                    information about the economic
                                             implications continue to reveal                          may have entered into the Framework                    practicability of technologies that both
                                             themselves.’’ 891                                        Agreements not because of technology                   improve fuel economy and reduce
                                                Somewhat distinct but also related,                   capabilities, but as an opportunistic                  emissions. Further, the automakers who
                                             several commenters also discussed                        hedge and safe harbor from the more                    did not sign on to the Framework
                                             NHTSA’s statements in the proposal                       rigorous California GHG standards                      Agreements, have made repeated public
                                             that the California Framework                            should the SAFE rule’s rescinding of                   statements and commitments about
                                             Agreements represented evidence of                       California’s Advanced Clean Cars                       enhancing fuel economy. South Coast
                                             economic practicability. Southern                        waiver been found to be illegal.’’ 897                 AQMD commented that while in the
                                             Environmental Law Center (SELC) and                      Honda also disagreed that the                          proposal, NHTSA expressed concern
                                             South Coast AQMD both agreed with                        Framework Agreements were                              that Alternative 3 may not have been
                                             this assessment. SELC stated that                        necessarily evidence of consumer                       economically practicable due to cost,
                                             Alternative 3 could be economically                      demand for fuel economy. Honda stated                  manufacturers have ‘‘repeatedly and
                                             practicable because ‘‘vehicle                            that ‘‘[w]hile market interest is an                   voluntarily doubled-down on investing
                                             manufacturers have taken numerous                        important driver, the role of regulatory               in the very technology that makes these
                                             steps that indicate increased fuel                       requirements cannot be ignored. . . . for              standards achievable.’’ 899 South Coast
                                             economy is both possible and                             many years, Honda and other                            AQMD continued:
                                             profitable,’’ and cited the Framework                    automakers have been communicating
                                                                                                                                                                That manufacturers are already committing
                                             Agreements and new high-fuel-economy                     their views to regulatory agencies about
                                                                                                                                                             to the necessary investments is . . .
                                             product launches as evidence of market                   the disconnect between rapidly                         overwhelming evidence that this investment
                                             interest in fuel economy and changing                    escalating [ZEV] sales mandates and the                is not only well within any reasonable
                                             consumer preferences.892 South Coast                     limited consumer uptake of electric                    definition of practicable, but is preferable to
                                             AQMD agreed that ‘‘no for-profit auto                    vehicles, which currently average about                maximize profits. Even where Alternative 3
                                             manufacturer would voluntarily agree to                  2 percent in the United States.’’ 898                  may require certain manufacturers to
                                             results which were either                                   In response, regardless of what is                  accelerate the rate of deploying technological
                                                                                                      driving manufacturer announcements                     advancements, this would not make
                                             technologically infeasible or
                                                                                                      and voluntary commitments to raising                   Alternative 3 economically impracticable. In
                                             economically impracticable. Thus,                                                                               fact, that would serve the very purpose of the
                                             NHTSA can be confident that the fuel                     their fleet fuel economy levels and
                                                                                                      reducing fleet emissions in the coming                 CAFE standards—to push forward the goal of
                                             economy consequences of these                                                                                   fuel conservation, even faster than the market
                                             emission Agreements would be feasible                    years, the turning of the tide among
                                                                                                                                                             would arrive at otherwise.900
                                             and practicable. But that establishes a                  automakers is still plainly obvious.
                                                                                                      Nearly every manufacturer has made                        NHTSA agrees. For-profit companies
                                             floor, not a ‘maximum feasible’
                                                                                                      repeated public statements and                         cannot make decisions contrary to profit
                                             ceiling.’’ 893
                                                Conversely, NADA argued that ‘‘. . .                  commitments to continue improving                      and survive indefinitely in the
                                             the fact that a select few OEMs entered                  fuel economy in the coming years, and                  marketplace. The logical conclusion
                                             into voluntary agreements with the State                 have also committed to electrification.                must be that the companies believe that
                                             of California regarding GHG emissions                    These statements have been made                        one way or another, they will benefit
                                             mandates moving forward and/or have                      despite uncertainty about Government                   financially from investing in
                                             announced aspirational targets to                        commitments like subsidies and tax                     technologies that improve fuel
                                             become carbon neutral or to aggressively                 credits to facilitate demand for higher-               economy. But NHTSA continues to
                                             market ZEVs should have no bearing on                    fuel-economy vehicles, and in the                      believe that these commitments are not
                                             whether the revised CAFE mandates                        absence of forecasted increases in fuel                idle, and that they are evidence of
                                             NHTSA has proposed will be                               prices that would also improve such                    manufacturers’ belief that higher-fuel-
                                             technologically feasible or economically                 demand.                                                economy vehicles are saleable.
                                             practicable.’’ 894 While Honda agreed                       NHTSA recognizes that the California                   Nevertheless, in the interest of not
                                                                                                      Framework Agreements may not                           adding undue burden to manufacturers
                                             with NHTSA that the Framework
                                                                                                      represent the economic practicability of               seeking to make this transition, and
                                             Agreements made ‘‘good business
                                                                                                      achieving those emissions levels for the               recognizing the ongoing and very real
                                             sense,’’ Honda argued that ‘‘important
                                                                                                      industry as a whole, even if they may                  supply chain issues that are still
                                             flexibilities [are] needed to reach those
                                                                                                      represent a level of economic                          evolving, NHTSA continues to believe
                                             targets.’’ 895 Honda continued that
                                                                                                      practicability for the signatory                       that the most stringent Alternative,
                                             ‘‘Given the significant structural
                                                                                                      companies. NHTSA also recognizes that                  Alternative 3, is likely to be beyond
                                             differences between the California
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                                                                                                      the Framework Agreements are                           economically practicable for the
                                               891 Kia, at 4–5, 9–10.                                 emission reduction commitments, not                    rulemaking time frame. While this will
                                               892 SELC, Docket No. NHTSA–2021–0053–1495,             fuel economy standards, and that the                   be discussed in more detail in Section
                                             at 5.                                                                                                           VI.D below, Alternative 2.5 provides
                                               893 South Coast AQMD, at 3.                              896 Id., at 8.
                                               894 NADA, at 5.                                          897 Tesla, A1, at 8.                                   899 South Coast AQMD, at 4.
                                               895 Honda, at 7–8.                                       898 Honda, at 8.                                       900 Id., at 4–5.




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                                             more lead time and more breathing                           NHTSA should not use cost-benefit                     judge in the Western District of
                                             room in response to the uncertainty                         analysis in its decision-making at all, as            Louisiana enjoined Federal defendants
                                             concerns raised by manufacturer                             ‘‘it favors adults and industry today over            from using the global social cost of
                                             commenters. NHTSA seeks in setting                          the lives of children and whether they                carbon value developed by the IWG.906
                                             these CAFE standards to take advantage                      have a livable planet as they become                  NHTSA revised its analysis to follow
                                             of the clear momentum of industry’s                         adults and live out their lives.’’ 904                the court order, using the values for the
                                             transition to higher levels of fuel                            In response, NHTSA uses cost-benefit               SC–GHG as used in the 2020 final rule,
                                             economy while respecting different                          analysis as one consideration among                   and discounting the 2020 value at both
                                             challenges among different automakers.                      many in determining maximum feasible                  3 percent and 7 percent. The 2020 value
                                                With regard to net benefits, South                       CAFE standards. Regulatory analysis is                is a severe underestimate of actual
                                             Coast AQMD commented that NHTSA                             a tool used to anticipate and evaluate                climate damages, both because it does
                                             had not explained in the NPRM how                           likely consequences of rules. It provides             not reflect global damages and because
                                             negative net benefits for Alternative 3                     a formal way of organizing the evidence               it is not a robust assessment of damage
                                             ‘‘would unreasonably limit consumer                         on the key effects that can be monetized,             to the United States. As such, the
                                             choice or lead to a significant loss of                     positive and negative, of the various                 estimate is inappropriately low for use
                                             jobs.’’ 901 SELC argued that if NHTSA                       regulatory alternatives, and helps to                 in the current analysis. However, using
                                             would switch its cost-benefit analysis                      inform decision-makers some of the
                                                                                                                                                               that severe underestimate of the SC–
                                             approach entirely to CY instead of MY,                      potential consequences of choosing
                                                                                                                                                               GHG, NHTSA found that, under a
                                             it would be very clear that Alternative                     among the considered regulatory paths.
                                                                                                                                                               ‘‘model year’’ accounting approach,
                                             3 has higher societal benefits and would                    NHTSA’s use of cost-benefit analysis as
                                                                                                                                                               resulted in all regulatory alternatives
                                             be economically practicable.902 Ceres                       a tool in CAFE rulemaking has been
                                             commented that their analysis indicated                                                                           indicating net costs in MY 2029, except
                                                                                                         upheld in case law.905
                                             that higher standards led to higher                            As discussed elsewhere in this                     for Alternative 1 at a 3 percent discount
                                             automaker profits, ‘‘assuming high fuel                     preamble, NHTSA updated its analysis                  rate with the SC–GHG also discounted
                                             prices during the regulatory period.’’ 903                  for this final rule. After NHTSA                      at 3 percent, for which NHTSA
                                             Our Children’s Trust commented that                         completed these updates, a Federal                    estimated net benefits of $8.1 billion.
                                                                                                                                                               BILLING CODE 4910–59–P
                                               901 South Coast AQMD, at 5–6.                               904 Our Children’s Trust, at 2.
                                               902 SELC, at 6.                                             905 Center for Biological Diversity v. NHTSA, 538     906 Louisiana v. Biden, Order, No. 2:21–CV–
                                               903 Ceres, at 2.                                          F.3d 1172, 1188 (9th Cir. 2008).                      01074, ECF No. 99 (W.D. La. Feb. 11, 2022).
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                                               Under a ‘‘calendar year’’ accounting                  generally to straddle zero, with net                  discount rate and the 2020 value
                                             approach, net benefits were estimated to                benefits at a 3 percent discount rate and             discounted at 7 percent.
                                             be positive for Alternative 1, and for                  the 2020 value discounted at 3 percent,
                                             Alternatives 2, 2.5, and 3, appear                      and net costs at a 3 or 7 percent
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                                                907 This table uses SC–GHG values from the 2020      monetized values do not include other important       benefits from the reduction of toxic air pollutants
                                             final rule. This value does not fully reflect global    unquantified effects, such as certain climate         and other emissions, among other things.
                                             climate damages and is not a robust assessment of       benefits, certain energy security benefits,
                                                                                                                                                                                                                 ER02MY22.229</GPH>




                                             damage to the United States. Additionally,              distributional effects, and certain air quality



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                                             BILLING CODE 4910–59–C                                  associated with all of the regulatory                 purposes of this final rule, if all
                                                Subsequently, the court of appeals                   alternatives. Net benefits are exactly                alternatives are roughly the same in
                                             stayed the lower court’s order, allowing                that: Net of costs. Some of the benefits              terms of net benefits, it is more likely
                                             NHTSA to return to using Interim
                                                                                                     accrue to the public generally while                  that no alternative is economically
                                             Estimates for the SCC (and other SC–
                                                                                                     some costs are borne directly by private              impracticable on that basis alone. The
                                             GHGs), and discounting them at 3
                                                                                                     actors. NHTSA’s analysis, and the                     2020 final rule also had net benefits that
                                             percent. Using these values (which
                                             NHTSA believes are more accurate and                    balancing of the factors, considers costs             straddled zero, and the agency made a
                                             appropriate) for all regulatory                         and benefits from both perspectives.                  similar conclusion that when net
                                             alternatives appear to be cost-beneficial               While it is true that cost-benefit                    benefits do not vary greatly among
                                             at both 3 percent and 7 percent discount                analysis, and the point at which net                  alternatives, they are likely not
                                             rates, both under a ‘‘model year’’                      benefits are maximized, is informative                dispositive for NHTSA’s decision-
                                             accounting approach and more so under                   regarding the economic practicability of              making.909
                                             a ‘‘calendar year’’ approach. Regardless                different regulatory alternatives, it is
                                             of the values used, while some                          one among many considerations, and an                    908 This table uses SC–GHG values from the 2020

                                             regulatory alternatives have higher net                 alternative having net costs is not                   final rule. This value does not reflect global climate
                                                                                                     inherently economically impracticable.                damages and is not a robust assessment of damage
                                             benefits than others, NHTSA does not                                                                          to the United States. Additionally, monetized
                                             consider this dispositive for                           Further, again, a quantitative cost-                  values do not include other important unquantified
                                             determining maximum feasible fuel                       benefit analysis can only reflect those               effects, such as certain climate benefits, certain
                                             economy, especially, as here, where the                 costs and benefits that can be monetized              energy security benefits, distributional effects, and
                                             net benefits of the different alternatives              or quantified, and therefore generally                certain air quality benefits from the reduction of
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                                                                                                     does not fully capture the statutorily                toxic air pollutants and other emissions, among
                                             do not vary greatly, particularly when
                                                                                                                                                           other things.
                                             compared to the overall benefits                        relevant considerations. Moreover, for                   909 See, e.g., 85 FR 24176 (Apr. 30, 2020).
                                                                                                                                                                                                                    ER02MY22.230</GPH>




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                                                Additionally, consumer costs and                         American workers.’’ 917 Several                         playing a role that cannot be discerned
                                             benefits may be even more relevant to                       commenters supported more stringent                     against the backdrop of much larger
                                             economic practicability, given the                          CAFE standards in order to boost                        forces. For example, the market lost
                                             assumption that regulatory costs are                        employment associated with application                  more than four million units between
                                             passed on to consumers in the form of                       of more/higher-level technology. Ceres,                 2007 and 2008 (due to the Great
                                             higher prices for new vehicles. Even                        for example, stated that ‘‘[s]tronger                   Recession), but subsequently showed
                                             using a MY accounting approach,                             standards would particularly benefit                    gains of more than a million units in
                                             consumers will still experience net                         suppliers, who collectively employ 3.5                  2010, 2012, 2013, and 2015. More
                                             benefits for all regulatory alternatives                    times more Americans than automakers                    recently, although final CAFE
                                             when considering a 3 percent discount                       do,’’ and that ‘‘[g]reater EV production                compliance data for the 2020 model
                                             rate, and relatively small net costs when                   would create strong incentives to build                 year is not yet available, the COVID–19
                                             considering a 7 percent discount rate in                    a domestic EV supply chain that can                     pandemic appears to have caused a
                                             MY 2029, which resolve to net benefits                      operate at higher volumes, helping to                   year-over-year contraction that would be
                                             by MY 2039 (again, for all regulatory                       keep jobs in the U.S. as the global                     the second largest ever recorded, and
                                             alternatives).910                                           industry transitions to cleaner                         shortages of parts such as computer
                                                                                                         technologies.’’ 918 MEMA stated that                    chips are currently limiting the market’s
                                                Sales and employment: On the topic
                                                                                                         ‘‘continu[ing] to emphasize and support                 ability to increase rapidly, despite
                                             of sales, NADA commented that ‘‘. . .                       multiple technological pathways to                      demand for new vehicles.
                                             just under 41 [percent] of U.S.                             meet the targets’’ will ‘‘sustain long-                    With regard to NADA comments
                                             households can afford to buy a new                          term supplier technological                             about most new vehicle sales being
                                             vehicle in today’s market,’’ 911 and that                   investments,’’ and thus employment.919                  financed, and financing officers not
                                             ‘‘more than 90 [percent] of household                       Environmental Law & Policy Center                       considering fuel savings as relevant to
                                             new light duty vehicle acquisitions                         (ELPC) stated as part of its comments                   loan repayment capabilities, as we
                                             involve a credit sale or lease. . . .’’ 912                 offered at the public hearing that strong               discuss in TSD Chapter 6.1.1.2, NHTSA
                                             NADA stated that lenders for new                            fuel economy standards spur adoption                    expects that financing new vehicle
                                             vehicle purchases do not consider the                       of fuel-saving technologies, which                      purchases reduces the cost of fuel
                                             vehicle’s fuel economy in determining                       involve employment.920                                  economy standards to consumers by
                                             whether to make the loan to a                                  UCS noted potential job increases                    allowing them to spread them out over
                                             prospective vehicle purchaser, and                          associated both with additional                         time. We thus calculate financing costs,
                                             consider only ‘‘the total amount                            technology application in response to                   but exclude these from cost and benefit
                                             financed,’’ not the ‘‘potential reductions                  more stringent standards, and ‘‘greater                 accounting. Moreover, NHTSA returns
                                             in vehicle operating costs, such as those                   job growth overall’’ due to ‘‘the                       again to the relatively low average per-
                                             that may result from lower fuel costs,                      economywide impact of those fuel                        vehicle cost increases associated with
                                             because they cannot predict actuarially                     savings,’’ which UCS roughly estimated                  the regulatory alternatives under
                                             whether such cost reductions will be                        at ‘‘up to 67,100 jobs annually over the                consideration. The sales effects we
                                             saved, let alone applied, to a loan or                      2021–2029 period.’’ 921 EDF cited a                     estimate, even with the most stringent
                                             lease.’’ 913 Consequently, NADA argued                      study by Synapse Energy Economics                       regulatory alternatives, are modest. Even
                                             that ‘‘. . . NHTSA’s assertion that fuel                    that projected that ‘‘the augural                       with the pandemic and supply chain
                                             economy performance improvements                            standards would add over 100,000 jobs                   issues, vehicle sales are still somehow
                                             will result in operating cost reductions                    by 2025 and more than 250,000 jobs by                   increasing year over year, even
                                             that mitigate or offset, at least partially,                2035,’’ stating that ‘Synapse’s study                   according to NADA’s own analysis.922
                                             the higher up-front costs necessary to                      confirms that saving consumers money                    As mentioned above, NHTSA projects
                                             buy such performance improvements is                        at the pump, and allowing them to                       that its new standards will impact sales
                                             unsound.’’ 914 NADA stated that ‘‘It is                     spend those dollars elsewhere, will lead                by only about 0.8 percent during MYs
                                             imperative that NHTSA calculate [price                      to net job creation.’’                                  2024–2029. Thus, again, NHTSA does
                                             and sales] impacts properly and fully                          In response, NHTSA’s analysis for                    not believe that sales effects suggest the
                                             account for how consumers are likely to                     this final rule projects that new vehicle               economic impracticability of any of the
                                             behave during the MY 2024–2026                              sales would decrease very slightly—by                   regulatory alternatives considered in
                                             timeframe.’’ 915 NADA and Auto                              70–163 thousand units annually during                   this final rule. NADA exhorts the agency
                                             Innovators both argued that NHTSA’s                         2024–2029—due to our assumption that                    to ‘‘calculate these [price and sales]
                                             sales impact estimates were                                 costs associated with meeting more                      impacts properly and fully account for
                                             insufficiently negative, and that real-life                 stringent CAFE standards are passed                     how consumers are likely to behave
                                             sales impacts would be worse.916                            through to consumers. Because the costs                 during the MY 2024–2026
                                                Related to employment, UAW stated                        associated with meeting more stringent                  timeframe.’’ 923 NHTSA’s analysis
                                             that ‘‘[b]alanced efficiency regulations,                   regulatory alternatives are higher, sales               carefully estimates impacts on new
                                             when combined with policies that                            effects are greater for more stringent                  vehicle costs, accounting for direct
                                             support domestic auto production and                        alternatives, but NHTSA does not                        costs, cost learning effects, and the
                                             quality jobs, must be part of a policy                      believe that they are in any way
                                                                                                                                                                    922 Patrick Manzi, NADA Chief Economist,
                                             approach that ensures the advanced                          significant enough to signal economic
                                                                                                                                                                 ‘‘NADA Issues Analysis of 2021 Auto Sales, 2022
                                             technology vehicles result in family and                    impracticability. By comparison, year-                  Sales Forecast,’’ Jan. 11, 2022, available at https://
                                             community sustaining jobs for                               over-year changes in new light vehicle                  blog.nada.org/2022/01/11/nada-issues-analysis-of-
                                                                                                         sales have historically averaged about 1                2021-auto-sales-2022-sales-forecast/. (Accessed:
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                                               910 See Table VI–6 and Table VI–7 above.                  million units, with Federal standards                   March 15, 2022) Specifically, NADA states that
                                               911 NADA, at 6.                                                                                                   ‘‘2021 came to a close with new-light vehicle sales
                                               912 Id., at 7.                                              917 UAW, at 4.
                                                                                                                                                                 of 14.93 million units, an increase of 3.1 [percent]
                                                                                                                                                                 compared to 2020’s sales volume of 14.47 million
                                               913 Id., at 7–8.                                            918 Ceres, at 1–2.
                                                                                                                                                                 units,’’ and, ‘‘Moving into 2022, NADA anticipates
                                               914 Id., at 9.                                              919 MEMA, at 5.
                                                                                                                                                                 new-vehicle sales of 15.4 million units—an increase
                                               915 Id., at 3.                                              920 ELPC, Public Hearing Comments, at 1.              of 3.4 [percent] from 2021.’’
                                               916 Id., at 12; Auto Innovators, at 130.                    921 UCS, at 10.                                          923 NADA, at 3.




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                                             historically observed relationship                        In other cases, the effect of other                     continued to do all of these things with
                                             between increased costs and increased                   motor vehicle standards of the                            this final rule.
                                             prices. NHTSA’s analysis also estimates                 Government on fuel economy may be                            NHTSA has also considered and
                                             impacts on the new vehicle market                       neutral, or positive. Since the Obama                     accounted for the impacts of California’s
                                             using a sales model that is amply                       administration, NHTSA has considered                      ZEV mandate (and its adoption by the
                                             supported by the historical record.                     the GHG standards set by EPA as ‘‘other                   Section 177 states), incorporating them
                                             Because some key market factors (such                   motor vehicle standards of the                            into the baseline as other regulatory
                                             as manufacturers’ pricing strategies) are               Government.’’ In the 2012 final rule,                     requirements applicable to automakers
                                             proprietary and likely impossible for the               NHTSA stated that ‘‘[t]o the extent the                   during the rulemaking time frame.
                                             agency to predict with confidence,                      GHG standards result in increases in                      Based on our analysis, NHTSA does not
                                             irrefutably ‘‘correct’’ methods to                      fuel economy, they would do so almost                     anticipate that the ZEV mandate will in
                                             estimate impacts on prices and sales are                exclusively as a result of inducing                       any way constrain or otherwise alter
                                             not available, and will likely never be                 manufacturers to install the same types                   NHTSA’s determination of what levels
                                             available.                                              of technologies used by manufacturers                     of CAFE standards are maximum
                                                For employment, while NHTSA                          in complying with the CAFE                                feasible. Section IV.B of this preamble
                                             estimates some loss in employment                       standards.’’ 926 NHTSA concluded in                       discusses NHTSA’s consideration of the
                                             associated with the slight sales                        2012 that ‘‘no further action was                         state ZEV programs and continued
                                             reductions described above, we estimate                 needed’’ because ‘‘the agency had                         technical difficulties with precisely
                                             gains in employment associated with                     already considered EPA’s [action] and                     modeling state GHG standards for the
                                             the new technology that would be                        the harmonization benefits of the                         model years subject to this rulemaking,
                                             required in response to more stringent                  National Program in developing its own                    and NHTSA refers readers to that
                                             CAFE standards. On balance, we                          [action].’’ 927 In the 2020 final rule,                   section for more information on the
                                             estimate that the technology effects                    NHTSA reinforced that conclusion by                       topic. Comments regarding the effect of
                                             outweigh the sales effects and lead to                  explaining that a textual analysis of the                 other motor vehicle standards of the
                                             employment gains relative to the                        statutory language made it clear that                     Government mostly addressed
                                             baseline. Thus, one could argue that                    EPA’s CO2 standards applicable to light-                  harmonization of the CAFE and EPA
                                             more stringent alternatives could be                    duty vehicles are literally ‘‘other motor                 GHG standards, although some
                                             more economically practicable from an                   vehicle standards of the Government,’’                    commenters addressed State standards.
                                             employment perspective, although the                    because they are standards set by a                       California Attorney General et al.
                                             effects are relatively small.                           Federal agency that apply to motor                        discussed the statutory and legislative
                                             (c) The Effect of Other Motor Vehicle                   vehicles. NHTSA and EPA are obligated                     history of the ‘‘other motor vehicle
                                             Standards of the Government on Fuel                     by Congress to exercise their own                         standards of the Government’’ provision
                                             Economy                                                 independent judgment in fulfilling their                  at some length. Notably, California
                                                                                                     statutory missions, even though both                      Attorney General et al. stated that
                                                ‘‘The effect of other motor vehicle                  agencies’ regulations affect both fuel
                                             standards of the Government on fuel                                                                               because the current language of the
                                                                                                     economy and CO2 emissions. There are                      provision was added in 1994 during a
                                             economy’’ involves analysis of the                      differences between the two agencies’
                                             effects of compliance with emission,                                                                              recodification and because Congress
                                                                                                     programs that make NHTSA’s CAFE                           expressly stated in so doing that it did
                                             safety, noise, or damageability standards               standards and EPA’s GHG standards not
                                             on fuel economy capability and thus on                                                                            not intend that the recodification would
                                                                                                     perfectly one-to-one (even besides the                    substantively change the existing law,
                                             average fuel economy. In many past                      fact that EPA regulates other GHGs
                                             CAFE rulemakings, NHTSA has said                                                                                  therefore ‘‘other motor vehicle standards
                                                                                                     besides CO2, EPA’s CO2 standards also                     of the Government’’ meant the same as
                                             that it considers the adverse effects of                differ from NHTSA’s in a variety of
                                             other motor vehicle standards on fuel                                                                             ‘‘other Federal motor vehicle standards’’
                                                                                                     ways, often because NHTSA is bound by                     in the original statute.929 The
                                             economy. It said so because, from the                   statute to a certain aspect of CAFE
                                             CAFE program’s earliest years 924 until                                                                           commenters continued that ‘‘. . . in the
                                                                                                     regulation). NHTSA endeavors to create                    original statute, Congress explicitly
                                             recently, compliance with these other                   standards that meet our statutory
                                             types of standards has had a negative                                                                             defined ‘Federal standards’ to include
                                                                                                     obligations, including through                            California emissions standards that had
                                             effect on fuel economy. For example,
                                                                                                     considering EPA’s standards as other                      received an EPA waiver,’’ and
                                             safety standards that have the effect of
                                                                                                     motor vehicle standards of the                            concluded that ‘‘[b]ecause EPCA
                                             increasing vehicle weight thereby lower
                                                                                                     Government.928 As in 2020, NHTSA has                      specifically included California 209(b)
                                             fuel economy capability, thus
                                             decreasing the level of average fuel                                                                              standards as ‘Federal standards,’
                                                                                                     catalyst to be brought to temperature rapidly, so         California 209(b) standards are included
                                             economy that NHTSA can determine to                     modern vehicles employ cold start strategies that
                                             be feasible. NHTSA has also accounted                   intentionally release fuel energy into the engine         in ‘other Federal motor vehicle
                                             for Federal Tier 3 and California LEV III               exhaust to heat the catalyst to the right temperature     standards’ in the original section
                                             criteria pollutant standards within its                 as quickly as possible. The additional fuel that must     2002(e) and thus ‘other motor vehicle
                                                                                                     be used to heat the catalyst is typically referred to     standards of the Government’ in the
                                             estimates of technology effectiveness in                as a ‘‘cold-start penalty,’’ meaning that the vehicle’s
                                             this rule.925                                           fuel economy (over a test cycle) is reduced because       present-day section 32902(f).’’ 930
                                                                                                     the fuel consumed to heat the catalyst did not go         California Attorney General et al. further
                                                924 43 FR 63184, 63188 (Dec. 15, 1977). See also     toward the goal of moving the vehicle forward. The        commented that ‘‘[t]his language directs
                                             42 FR 33534, 33537 (Jun. 30, 1977).                     Autonomie work employed to develop technology             NHTSA to ask whether manufacturers
                                                925 For most ICE vehicles on the road today, the     effectiveness estimates for this final rule accounts
                                                                                                                                                               can comply with other motor vehicle
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                                             majority of tailpipe NOX, NMOG, and CO emissions        for cold-start penalties, as discussed in the
                                             occur during ‘‘cold start,’’ before the three-way       Autonomie model documentation.                            standards and the new CAFE standard
                                                                                                        926 77 FR 62624, 62669 (Oct. 15, 2012).
                                             catalyst has reached higher exhaust temperatures
                                                                                                        927 Id.                                                   929 California Attorney General et al., Docket No.
                                             (e.g., approximately 300°C) at which point it is able
                                             to convert (through oxidation and reduction                928 Massachusetts v. EPA, 549 U.S. 497, 532            NHTSA–2021–0053–1499 App. A, at 37, citing
                                             reactions) those emissions into less harmful            (2007) (‘‘[T]here is no reason to think that the two      Public Law 103–272, 108 Stat. at 1060, 1378 (Jul.
                                             derivatives. By limiting the amount of those            agencies cannot both administer their obligations         5, 1994).
                                             emissions, tailpipe smog standards require the          and yet avoid inconsistency.’’).                             930 Id., at 40.




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                                             at the same time; essentially, a fuel                       new interpretation of the scope of EPCA                  to compliance and adds unnecessary
                                             economy level is not the ‘maximum                           preemption in this rule. As the CAFE                     costs to a resource-intensive transition
                                             feasible’ if it is achievable only through                  Preemption final rule makes clear,                       to electric vehicles.’’ 940 Ingevity
                                             noncompliance with ‘other motor                             NHTSA is not taking a position on                        Corporation did not address CARB
                                             vehicle standards of the                                    whether or not those programs are                        standards but requested harmonization
                                             Government.’ ’’ 931 The commenters thus                     preempted under EPCA, nor does                           between the EPA GHG standards, the
                                             agreed with including state ZEV                             NHTSA even have authority to make                        NHTSA CAFE standards, and DOE
                                             standards in the CAFE baseline, because                     such determinations with the force of                    research targets.941
                                             doing so is ‘‘consistent with Congress’                     law. Further, NHTSA has not                                 Commenters also addressed the
                                             direction that any compliance pathway                       incorporated the California and 177 ZEV                  specific question of harmonization
                                             modeled for proposed fuel economy                           mandate in the baseline based on a                       between NHTSA CAFE and EPA GHG
                                             standards continues to comply with                          determination that they are other motor                  standards, mostly in the context of
                                             California 209(b) standards as well.’’ 932                  vehicle standards of the Government.                     stringency. Ford, JLR, MEMA, and
                                             NCAT agreed that EPA’s GHG emissions                        Rather, as explained above, NHTSA has                    Arconic all commented that NHTSA’s
                                             standards for light-duty vehicles, along                    incorporated those standards in the                      MY 2026 CAFE standards should be
                                             with ZEV mandates for which a waiver                        baseline because they are legal                          aligned with EPA’s MY 2026 GHG
                                             has been granted under CAA 209(b), are                      obligations applying to automakers                       standards.942 Several commenters
                                             clearly ‘‘ ‘other motor vehicle standards                   during the rulemaking time frame, and                    requested that NHTSA account more
                                             of the Government’ that NHTSA                               are therefore relevant to understanding                  fully for EPA programmatic flexibilities
                                             properly considers . . ., including by                      the state of the world absent any further                when determining CAFE stringency,
                                             modifying NHTSA’s CAFE Model to                             regulatory action by NHTSA. With                         suggesting that CAFE and GHG
                                             account for them.’’ 933 NCAT argued                         regard to the comment from California                    standards are not harmonized unless
                                             further that ‘‘[t]here is no statutory                      Attorney General et al., NHTSA                           CAFE stringency requires no additional
                                             conflict between the statutory                              appreciates the commenters’ close                        effort by automakers beyond what GHG
                                             requirement not to consider the ‘fuel                       reading of the statutory and legislative                 compliance, with its more extensive
                                             economy’ of alternative fuel vehicles                       history. However, this is not a situation                flexibilities, would require. For
                                             and the statutory requirement to                            where consideration of the California                    example, in their comments at the
                                             consider ‘other motor vehicle standards                     ZEV standards and their adoption by                      public hearing, Auto Innovators stated
                                             of the Government’ such as ZEV                              177 states would change NHTSA’s                          that ‘‘[i]n harmonizing NHTSA actions
                                             mandates,’’ because ‘‘ZEV (zero                             analysis or determination of maximum                     with EPA actions, NHTSA should
                                             emission vehicle) mandates are vehicle                      feasible standards, as discussed above. It               account for the differences in the
                                             emissions standards not related to fuel                     is therefore unnecessary for NHTSA to                    treatment of electric vehicles under the
                                             economy because they do not regulate                        decide whether these standards are                       EPA and NHTSA programs. Final
                                             ‘fuel’ or ‘fuel economy’ as those terms                     other motor vehicle standards of the                     NHTSA CAFE and EPA GHG standard
                                             are defined under EPCA, they cannot be                      Government, and as such, NHTSA is not                    should be aligned in stringency such
                                             met through more efficient use of ‘fuel,’                   making that determination.938                            that the CAFE program does not drive
                                             and they are enacted for reasons                               A number of commenters addressed                      additional improvements beyond those
                                             unrelated to fuel economy.’’ 934                            the question of harmonization between                    required under the GHG program, nor
                                                Lucid commented that NHTSA                               the NHTSA CAFE standards and other                       make EPA incentives for higher EV
                                             should ‘‘further explain that California’s                                                                           production moot.’’ 943
                                                                                                         standards, which NHTSA believes is
                                                                                                                                                                     In their written comments, Auto
                                             ZEV mandate is crucial to achieving the                     relevant to consideration of ‘‘other
                                                                                                                                                                  Innovators expanded on this request,
                                             stated goals of EPCA, EISA, and the                         motor vehicle standards of the                           ‘‘. . . recommend[ing] that, at
                                             CAFE regulations, and that the CAFE                         Government’’ insofar as commenters                       minimum, the differences caused by
                                             standards put in place by the                               generally asked NHTSA to set CAFE                        direct AC emissions credits, EV
                                             rulemaking are designed to work                             standards taking into consideration                      compliance calculation differences, and
                                             cooperatively with these ZEV                                automakers’ simultaneous compliance                      EV multipliers be accounted for when
                                             standards.’’ 935 AFPM, in contrast,                         with those other motor vehicle                           final CAFE and GHG standards are set
                                             commented that EPCA preempts ZEV                            standards. Nissan, MECA, Stellantis,                     for MYs 2025–2026.’’ 944 Other cited
                                             and California’s GHG standards, and                         GM, Peter Douglas, and BorgWarner all                    differences included ‘‘statutory
                                             that therefore those standards are                          requested that NHTSA harmonize the                       limitations for credit transfers, the split
                                             invalid regardless of whether a waiver                      CAFE standards with the EPA GHG                          of the passenger car fleet into import
                                             of CAA preemption is granted by                             standards and CARB’s GHG and ZEV                         and domestic fleets, and minimum
                                             EPA.936                                                     standards.939 Stellantis stated that a lack              domestic passenger car standards create
                                                In response, with regard to Lucid’s                      of harmonization between these                           additional unquantified stringency in
                                             and AFPM’s comment, NHTSA’s                                 programs adds ‘‘significant complexity                   the CAFE program relative to the GHG
                                             substantive position on ZEV mandates
                                                                                                                                                                  program,’’ 945 as well as the fact that
                                             has not changed since the CAFE                                 938 NHTSA notes that many commenters offered

                                                                                                         views as to the inclusion of California and 177          CAFE regulations do not adjust credit
                                             Preemption final rule withdrawing the
                                                                                                         standards in the baseline and harmonization of           value when credits are carried forward
                                             SAFE 1 rule that NHTSA published in                         CAFE and California and 177 standards in the             and back, and that NHTSA is bound by
                                             the Federal Register on December 29,                        context of discussing other motor vehicle standards
                                             2021,937 and NHTSA is not offering a                        of the Government. The fact that NHTSA is                  940 Stellantis, at 2.
                                                                                                         responding to these comments in the context in
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                                                                                                                                                                    941 Ingevity Corporation, Docket No. NHTSA–
                                               931 Id.                                                   which they were raised does not alter the fact that
                                                                                                         NHTSA is not making a determination as to                2021–0053–0092, at 5.
                                               932 Id.                                                                                                              942 Ford, at 1; JLR, Docket No. NHTSA–2021–
                                               933 NCAT, at 6.
                                                                                                         whether these standards are other motor vehicle
                                                                                                         standards of the Government.                             0053–1505, at 3; MEMA, at 3; Arconic, Docket No.
                                               934 Id.                                                                                                            NHTSA–2021–0053–1560, at 2.
                                                                                                            939 Nissan, Docket No. NHTSA–2021–0053–0022,
                                               935 Lucid, at 5.                                                                                                     943 Auto Innovators Hearing Comments, at 3.
                                                                                                         at 2, 6; MECA, at 1; Stellantis, at 2; GM, at 3; Peter
                                               936 AFPM, at 11–13.                                                                                                  944 Id., at 37.
                                                                                                         Douglas, at 6, BorgWarner, Docket No. NHTSA–
                                               937 86 FR 74236 (Dec. 29, 2021).                          2021–0053–1473, at 2.                                      945 Id., at 13.




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                                             statute on credit carry-forward duration                   harmonization factors not being                         NHTSA’s CAFE standards. This approach is
                                             while EPA is not.946 Stellantis and                        analyzed here are considered.’’ 954                     also consistent with the Supreme Court’s
                                             Toyota offered similar comments.947                          Some commenters argued that                           assumption that ‘the two agencies can both
                                                                                                                                                                administer their obligations and avoid
                                             Ford, Stellantis, and Auto Innovators                      NHTSA must analyze both CAFE                            inconsistency.’ 959
                                             also specifically requested an explicit                    standards and GHG standards
                                             offset between the CAFE standards and                      simultaneously to ensure that the CAFE                     Volvo Cars (Volvo) commented that
                                             the GHG standards to account for direct                    standards are fully harmonized with the                 NHTSA, EPA, and CARB should work
                                             AC credits that automakers expect to                       GHG standards. Auto Innovators stated                   together to ‘‘reduce reporting
                                             use toward compliance with the GHG                         that ‘‘[d]eveloping . . . harmonized                    requirements by allowing manufacturers
                                             standards.948 Auto Innovators further                      regulations requires the Agencies to                    to demonstrate compliance at the end of
                                             commented that NHTSA’s estimate of                         fully assess their policies in the context              the year for all programs.’’ 960
                                             the specific amount of direct AC leakage                   of the other’s proposal (especially since                  Other commenters simply encouraged
                                             credit that industry would use in the                      there is not a unified rulemaking over                  NHTSA and EPA to go back to working
                                             EPA program might be too low, given                        the covered period due to lead-time                     together to issue joint rules,961 while
                                             passage of the American Innovation and                     constraints).’’ 955 Toyota commented                    some commenters argued there was no
                                             Manufacturing (AIM) Act, EPA                               similarly that NHTSA must analyze                       need for unified proposals or final
                                             regulations implementing it, and                           both programs simultaneously and then                   rules.962 The environmental group
                                             CARB’s stated intent to eliminate high-                    drop its stringency below the proposal,                 commenters ‘‘. . . urge[d] NHTSA to
                                             GWP refrigerants sooner rather than                                                                                finalize its rulemaking as soon as
                                                                                                        because ‘‘[a]ttaining single fleet
                                             later 949—effectively, that manufacturers                                                                          possible, and certainly before April
                                                                                                        compliance with both programs by
                                             will be leaning heavily on direct AC                                                                               2022,’’ stating that ‘‘[c]ommenters
                                                                                                        forcing manufacturers to design for the
                                             leakage credits as part of their GHG                                                                               recognize that given the agencies’
                                                                                                        most stringent elements of both
                                             standards compliance.                                                                                              current pace, EPA may finalize its
                                                                                                        programs does not achieve [the ‘One
                                                Other commenters requesting that                                                                                revised LDV GHG emissions standards
                                                                                                        National Program’] objective consistent
                                             NHTSA harmonize CAFE stringency                                                                                    before NHTSA finalizes this rulemaking.
                                                                                                        with past practice.’’ 956 Rivian and
                                             with EPA GHG effective stringency in                                                                               This serial approach is acceptable as
                                                                                                        Securing America’s Future Energy
                                             light of EPA programmatic flexibilities                                                                            nothing compels the agencies to proceed
                                                                                                        agreed that NHTSA should analyze both
                                             included UAW, Nissan, AVE, Mercedes-                                                                               in tandem.’’ 963 Consumer Federation of
                                                                                                        programs simultaneously, but argued                     America, in contrast, commented that
                                             Benz, Hyundai America Technical                            that NHTSA should do so because the
                                             Center, Inc. (Hyundai), Volkswagen, and                                                                            NHTSA should cede its decision-
                                                                                                        CAFE proposal was less stringent than                   making authority to EPA entirely,
                                             others.950 EDF commented that CAFE                         the GHG proposal, and that therefore
                                             and GHG standard stringency and                                                                                    stating that ‘‘. . . NHTSA’s approach is
                                                                                                        NHTSA should raise CAFE stringency                      so favorable to a small number of
                                             flexibilities should be harmonized, but                    in the final rule.957
                                             by reducing available flexibilities rather                                                                         automakers that we think Congress
                                                                                                          Some commenters also argued that                      should . . . either remove the standard
                                             than by dropping stringency to account                     NHTSA should adopt a ‘‘deemed-to-
                                             for them.951                                                                                                       setting function from NHTSA altogether,
                                                                                                        comply’’ provision, such that                           or it should make NHTSA’s analysis
                                                Some commenters noted that even if                      manufacturers need only comply with
                                             stringencies are aligned, one program                                                                              merely advisory to EPA, who would be
                                                                                                        EPA GHG standards and NHTSA would                       charged with setting the standard.’’ 964
                                             may be more stringent in a given year                      accept that compliance in lieu of actual
                                             for a specific manufacturer than the                                                                                  In response, NHTSA has carefully
                                                                                                        compliance with CAFE standards.958                      considered EPA’s standards, by
                                             other. Honda stated that ‘‘[e]ven if GHG
                                                                                                        GM commented as follows:                                including the baseline (i.e., 2020) CO2
                                             and CAFE topline stringencies were
                                             fully aligned, it would not be                               NHTSA has the statutory authority to                  standards in our analytical baseline for
                                             uncommon for manufacturers to find                         adopt a deemed-to-comply provision as it                the main analysis. Because the EPA and
                                                                                                        considers ‘‘the effect of other motor vehicle           NHTSA programs were developed in
                                             themselves compliant in one agency
                                                                                                        standards of the Government’’—including                 coordination jointly, and stringency
                                             program, while facing meaningful                           EPA’s GHG standards—in determining
                                             compliance challenges in another.’’ 952                                                                            decisions were made in coordination,
                                                                                                        [maximum feasible CAFE standards].                      NHTSA did not incorporate EPA’s only-
                                             Auto Innovators commented                                  NHTSA’s consideration of ’’economic
                                             similarly.953 Toyota stated that ‘‘. . . the               practicability’’ and ‘‘technological
                                                                                                                                                                recently-finalized CO2 standards as part
                                             CAFE program ‘appears’ less stringent                      feasibility’’ should include the economic and           of the analytical baseline for the main
                                             than the GHG program for 2024 MY,                          technical challenges that EV-focused                    analysis. The fact that EPA finalized its
                                             particularly for light trucks, but the                     manufacturers will face from attempting to              rule before NHTSA is an artifact of
                                             stringency gap shrinks when credit                         comply with separate but overlapping                    circumstance only. However, in
                                             transfer limitations and other                             NHTSA, EPA, and California regulatory                   response to comments, NHTSA has also
                                                                                                        regimes. The statute thus permits—and
                                                                                                        arguably requires—that NHTSA consider                      959 GM, Docket No. NHTSA–2021–0053–1523, at
                                               946 Id., at 33.
                                                                                                        how it can best coordinate its CAFE                     6–7. NHTSA disagrees that Paris Agreement
                                               947 Stellantis, at 9–10; Toyota, Docket No.
                                                                                                        standards with EPA’s GHG standards and the              commitments are properly considered as ‘‘other
                                             NHTSA–2021–0053–1568, at 2–3.                                                                                      motor vehicle standards of the Government,’’ even
                                                948 Ford, at 1; Stellantis, at 8; Auto Innovators, at
                                                                                                        nation’s Paris Agreement commitments,
                                                                                                        including (where appropriate) by deeming                if they are broadly relevant to energy conservation
                                             32.                                                                                                                goals, including those of the CAFE program.
                                                949 Auto Innovators, at 37 n.60.                        compliance with EPA’s GHG standards to be                  960 Volvo, Docket No. NHTSA–2021–0053–1565,
                                                950 UAW, at 2, 6; Nissan, at 2; AVE, Docket No.         sufficient to constitute compliance with                at 3.
                                             NHTSA–2021–0053–1488–A1, at 3; Mercedes-Benz,                                                                         961 WDNR, Docket No. NHTSA–2021–0053–0059,
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                                                                                                          954 Toyota, Docket No. NHTSA–2021–0053–1568,
                                             Docket No. NHTSA–2021–0053–0952, at 3;                                                                             at 4; NADA, at 4.
                                             Hyundai, Docket No. NHTSA–2021–0053–1512, at               at 2.                                                      962 CBD et al., Docket No. NHTSA–2021–0053–
                                             5; Volkswagen, Docket No. NHTSA–2021–0053–                   955 Auto Innovators, at 30.
                                                                                                                                                                1572, at 7; Great Lakes and Midwest Environmental
                                             1548, at 3.                                                  956 Toyota, at 4.                                     Organizations, Docket No. NHTSA–2021–0053–
                                                951 EDF, at 1.                                             957 Rivian, Docket No. NHTSA–2021–0053–1562,         1520, at 2; NCAT, at 4.
                                                952 Honda, Docket No. NHTSA–2021–0053–1501,             at 4–5; Securing America’s Future Energy, at 8.            963 CBD et al., at 7.

                                             at 5.                                                         958 See, e.g., Auto Innovators, at 13, 30–31;           964 CFA, Docket No. NHTSA–2021–0053–1482,
                                                953 Auto Innovators, at 31.                             Stellantis, at 8.                                       Appendix A1, at 3.



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                                             conducted a side analysis in which we                   during the model years for which the                  with new CO2 standards than when
                                             analyzed simultaneous compliance with                   agency is issuing new CAFE standards.                 combined with baseline CO2 standards
                                             EPA’s recently finalized CO2 standards                  The agency conducted this side analysis               (i.e., those established in the 2020 final
                                             and the regulatory alternatives                         in this way because NHTSA expects that                rule), but not a shift that is faster than
                                             considered here. This analysis confirms                 the approach followed for the Final                   indicated by many manufacturers’
                                             that complying with the EPA and                         SEIS provides the most realistic and                  announced electrification plans.
                                             NHTSA standards simultaneously is                       internally consistent basis to account for            Additional costs (beyond continued
                                             feasible.                                               interactions between the CAFE and CO2                 reliance on MY 2020 technology) in MY
                                                Unlike the reference case analysis and               standards. Considering industry-wide                  2029 under new CAFE standards are
                                             sensitivity analysis cases discussed                    MY 2029 results summarized in the                     also somewhat higher (by about $700)
                                             elsewhere in this document and FRIA,                    following table, new CAFE standards                   when new CO2 standards are also in
                                             this side analysis applies the modeling                 clearly lead to a more pronounced shift               effect, but only slightly higher (by about
                                             approach used for the Final SEIS; that                  away from conventional gasoline                       $125) than when baseline CAFE
                                             is, without setting aside additional BEV                powertrains—and toward SHEVs,                         standards are continued alongside new
                                             models or the use of compliance credits                 PHEVs, and BEVs—when combined                         CO2 standards.




                                                These results do not, however,                       for EVs based on specified factors.965                implement the same level of direct A/C
                                             demonstrate that new CO2 standards                      Overall, these results suggest that new               system improvements as EPA currently
                                             somehow hinder compliance with new                      CO2 standards will likely interact with               forecasts for those model years, and on the
                                                                                                     new CAFE standards in a manner that                   assumption of PHEV, EV, and FC[E]V
                                             CAFE standards. Rather, for some
                                                                                                     leads to more widespread industry                     penetration at specific levels. If a
                                             manufacturers, especially those that                                                                          manufacturer implements a higher level of
                                             could be expected to continue to avail                  compliance with new CAFE standards,
                                                                                                                                                           direct A/C improvement technology
                                             themselves of EPCA’s civil penalty                      leading NHTSA to conclude that new
                                                                                                                                                           (although EPA predicts 100 [percent] of
                                             provisions, new CO2 standards are                       CO2 standards do not constrain the                    manufacturers will use substitute refrigerants
                                             likely to be binding, because paying                    maximum feasible levels of new CAFE                   by MY 2021, and the GHG standards assume
                                             fines for a failure to comply with CO2                  standards.                                            this rate of substitution) and/or a higher
                                             standards is not a viable option for a                     NHTSA is aware that when multiple                  penetration of PHEVs, EVs, and FC[E]Vs,
                                             manufacturer wishing to sell vehicles in                agencies regulate concurrently in the                 then NHTSA’s standards would effectively be
                                                                                                     same general space, different regulations             more stringent than EPA’s. Conversely, if a
                                             the U.S. This is why, in every case
                                                                                                     may be binding for different regulated                manufacturer implements a lower level of
                                             shown above, the presence of new CO2
                                                                                                     entities at different times. NHTSA                    direct A/C improvement technology and/or a
                                             standards leads all manufacturers to                    agrees that in the 2012 rule, NHTSA and               lower penetration of PHEVs, EVs and
                                             achieve MY 2029 CAFE levels that no                     EPA included in our respective                        FC[E]Vs, then EPA’s proposed [sic] standards
                                             longer necessitate payment of civil                     stringencies an express offset for an                 would effectively be more stringent than
                                             penalties. On the other hand, even with                 assumed amount of direct AC credit and                NHTSA’s. Several manufacturers commented
                                             new CO2 standards, new CAFE                             reliance on EPA incentives for PHEVs                  on this point and suggested that this meant
                                             standards could be binding for some                     EVs, and FCEVs that the agencies                      that the standards were not aligned, because
                                             manufacturers in some model years,                                                                            NHTSA’s standards might be more stringent
                                                                                                     believed, at the time, manufacturers
                                             because in EPCA/EISA, Congress                                                                                in some years than EPA’s. This reflects a
                                                                                                     would employ in meeting the EPA
                                                                                                                                                           misunderstanding of the agencies’ purpose.
                                             expressly required, inter alia, that                    standards, and for which NHTSA could                  The agencies have sought to craft harmonized
                                             manufacturers meet minimum standards                    not give credit toward CAFE                           standards such that manufacturers may build
                                             for domestic cars, that NHTSA limit                     compliance.966 At the time, the agencies
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                                                                                                                                                           a single fleet of vehicles to meet both
                                             transfers of CAFE compliance credits                    stated that:                                          agencies’ requirements. That is the case for
                                             between regulated fleets, and that the                    We note, however, that the alignment is             these final standards. Manufacturers will
                                             fuel economy ratings of electric vehicles               based on the assumption that manufacturers            have to plan their compliance strategies
                                             be determined using a petroleum                                                                               considering both the NHTSA standards and
                                             equivalency factor established by DOE                     965 See 49 U.S.C. 32904(a)(2)(B).                   the EPA standards and assure that they are
                                                                                                                                                           in compliance with both, but they can still
                                                                                                                                                                                                            ER02MY22.231</GPH>




                                                                                                       966 See 77 FR 63054 (Oct. 15, 2012).




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                                             build a single fleet of vehicles to accomplish          CAFE standards or EPA’s and CARB’s                    Stat. 874, 42 U.S.C. 6201(5). The two
                                             that goal.967 (emphasis added)                          GHG emissions (and ZEV) standards.                    obligations may overlap, but there is no
                                                Even in 2012, the agencies anticipated               Moreover, those technological                         reason to think the two agencies cannot
                                             the possibility of this situation and                   improvements that companies like GM                   both administer their obligations and
                                             explained that regardless of which                      are making will, no doubt, facilitate                 yet avoid inconsistency.’’ The converse
                                             agency’s standards are binding given a                  their compliance with CAFE standards,                 must necessarily be true—the fact that
                                             manufacturer’s chosen compliance path,                  even if they are not credited as heavily              EPA sets GHG standards in no way
                                             manufacturers will still have to choose                 as in the GHG program.                                licenses NHTSA to shirk its energy
                                             a path that complies with both                             NHTSA believes that automaker                      conservation responsibilities. Unless
                                             standards, and in doing so, will still be               comments about ‘‘building a single fleet              and until Congress changes EPCA/EISA,
                                             able to build a single fleet of vehicles—               of vehicles’’ and Toyota’s comment                    NHTSA is bound to continue exercising
                                             even if it is not exactly the fleet that the            about ‘‘forcing manufacturers to design               its own independent judgment and
                                             manufacturer might have preferred to                    for the most stringent elements of both               setting CAFE standards and to do so
                                             build. This remains the case today.                     programs’’ have ignored the agencies’                 consistent with statutory directives. Part
                                                In requesting that NHTSA account                     discussion from 2012 excerpted above,                 of setting CAFE standards is considering
                                             precisely for each difference between                   but also miss the broader point that                  EPA’s GHG standards and other motor
                                             the programs and calculate the CAFE                     NHTSA must set maximum feasible                       vehicle standards of the Government
                                             standard accordingly, commenters                        CAFE standards. Manufacturers can                     and how those affect manufacturers’
                                                                                                     absolutely continue to build a single                 ability to comply with potential future
                                             appear to be asking NHTSA to define
                                                                                                     fleet of vehicles to meet all applicable              CAFE standards, but that is only one
                                             ‘‘maximum feasible’’ as ‘‘the fuel
                                                                                                     standards, even if the CAFE standards                 inquiry among several in determining
                                             economy level at which no
                                                                                                     may ultimately require some technology                what levels of CAFE standards would be
                                             manufacturer need ever apply any
                                                                                                     application on at least some vehicles                 maximum feasible.
                                             additional technology or spend any
                                                                                                     that the GHG standards, with their                       Additionally, nothing in EPCA or
                                             additional dollar beyond what EPA’s
                                                                                                     flexibilities, may not require. This                  EISA suggests that compliance with
                                             standards, with their greater
                                                                                                     outcome is not inconsistent with                      GHG or State emissions standards
                                             flexibilities, would require.’’ NHTSA
                                                                                                     NHTSA’s statutory obligation to set                   would be an acceptable basis for CAFE
                                             believes that this takes ‘‘consideration’’
                                                                                                     maximum feasible standards that                       compliance. The calculation provisions
                                             of ‘‘the effect of other motor vehicle                  conserve energy.                                      in 49 U.S.C. 32904 are explicit. The
                                             standards of the Government’’ farther                      Additionally, harmonization can be                 compliance provisions in 49 U.S.C.
                                             than Congress intended for it to go.                    considered and achieved regardless of                 32912 state that automakers must
                                             NHTSA has considered EPA’s standards                    whether NHTSA and EPA (or NHTSA                       comply with applicable fuel economy
                                             in determining the maximum feasible                     and EPA and CARB) take perfectly joint,               standards, and failure to do so is a
                                             CAFE standards for MYs 2024–2026, as                    concurrent action. NHTSA agrees with                  failure to comply. Federal emissions
                                             demonstrated above and throughout the                   the commenters who noted that there is                standards and State emissions standards
                                             analysis that informs this decision.                    no express legal requirement for CAFE                 are not fuel economy standards. NHTSA
                                             NHTSA has also harmonized its                           rulemaking actions to be joint or                     does not agree that a ‘‘deemed to
                                             standards with EPA’s where doing so                     concurrent with other agencies’ actions.              comply’’ option is consistent with the
                                             was consistent with NHTSA’s separate                       With regard to the comments                        statute, nor that it is necessary for
                                             statutory direction. NHTSA disagrees                    encouraging NHTSA to accept                           coordination with and consideration of
                                             that harmonization can only be                          compliance with EPA (or CARB)                         those other standards.
                                             achieved at the very cheapest level, or                 standards in lieu of compliance with
                                             that this would be consistent with                      CAFE standards, and the comment                       (d) The Need of the U.S. to Conserve
                                             NHTSA’s statutory mandate, even                         urging NHTSA to cede its decision-                    Energy
                                             though NHTSA understands that for-                      making authority to EPA, NHTSA does                      NHTSA has consistently interpreted
                                             profit companies would rather spend                     not believe that doing either would be                ‘‘the need of the United States to
                                             less money meeting regulations than                     consistent with the intent of ‘‘the effect            conserve energy’’ to mean ‘‘the
                                             more money, and that automakers have                    of other motor vehicle standards of the               consumer cost, national balance of
                                             committed to major technological                        Government on fuel economy’’                          payments, environmental, and foreign
                                             improvements to their fleets in the                     provision. Congress would not have set                policy implications of our need for large
                                             coming years. With regard to GM’s                       that provision as one factor among four               quantities of petroleum, especially
                                             comment about ‘‘the economic and                        for NHTSA to consider if it intended for              imported petroleum.’’ 968 A number of
                                             technical challenges that EV-focused                    it to control absolutely—instead,                     commenters addressed different aspects
                                             manufacturers will face from attempting                 NHTSA and courts have long held that                  of the need of the United States to
                                             to comply with separate but overlapping                 all factors must be considered together.              conserve energy, as discussed below.
                                             NHTSA, EPA, and California regulatory                   Moreover, Congress delegated to DOT
                                             regimes,’’ NHTSA notes that GM, among                   (and DOT delegated to NHTSA)                          (1) Consumer Costs and Fuel Prices
                                             others, has argued that NHTSA may not                   decision-making authority for the CAFE                  Fuel for vehicles costs money for
                                             consider electrification in standard                    standards program. The Supreme Court                  vehicle owners and operators, so all else
                                             setting, but also notes that these                      said in Massachusetts v. EPA that                     equal, consumers benefit from vehicles
                                             challenges are likely to be transitory,                 because ‘‘DOT sets mileage standards in               that need less fuel to perform the same
                                             albeit genuine during the time frame of                 no way licenses EPA to shirk its                      amount of work. Future fuel prices are
                                             this rulemaking, and NHTSA does                         environmental responsibilities. EPA has               a critical input into the economic
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                                             provide compliance credits for electric                 been charged with protecting the                      analysis of potential CAFE standards
                                             vehicles. Automakers who build only                     public’s ‘health’ and ‘welfare,’ 42 U.S.C.            because they determine the value of fuel
                                             electric vehicles clearly have no                       7521(a)(1), a statutory obligation wholly             savings both to new vehicle buyers and
                                             difficulty complying with NHTSA’s                       independent of DOT’s mandate to                       to society; the amount of fuel economy
                                                                                                     promote energy efficiency. See Energy
                                               967 Id. at 63054–63055.                               Policy and Conservation Act, § 2(5), 89                 968 42 FR 63184, 63188 (Dec. 15, 1977).




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                                             that the new vehicle market is likely to                if NHTSA is prohibited from                             avoided emissions and fuel savings.’’ 972
                                             demand in the absence of regulatory                     considering electrification as a                        This suggests that consumer fuel savings
                                             action; and they inform NHTSA about                     technology during the model years                       associated with increased electrification
                                             the ‘‘consumer cost . . . of our need for               covered by the rulemaking, the                          may be overstated. In response, while
                                             large quantities of petroleum.’’ For this               consumer (and social) cost implications                 NHTSA has examined the possibility of
                                             final rule, NHTSA relied on fuel price                  of manufacturers otherwise switching to                 different VMT schedules for BEVs, we
                                             projections from the U.S. Energy                        electrification may remain relevant to                  have not yet implemented them in our
                                             Information Administration’s (EIA)                      the agency’s considerations.                            analysis. However, at this time and for
                                             Annual Energy Outlook (AEO) for 2021.                      For now, gasoline is still the                       this rulemaking, we do not believe that
                                             Federal Government agencies generally                   dominant fuel used in light-duty                        different VMT schedules would be
                                             use EIA’s price projections in their                    transportation. As such, consumers, and                 significant. Electric miles represent 2.5
                                             assessment of future energy-related                     the economy more broadly, are subject                   percent of total miles (over the lifetimes
                                             policies.                                               to fluctuations in price that impact the                of vehicles considered in this analysis)
                                                In previous CAFE rulemakings,                        cost of travel and, consequently, the                   in the baseline, which rises to only 3.4
                                             discussions of fuel prices have always                  demand for mobility. Over the last                      percent under the Preferred Alternative.
                                             been intended to reflect the price of                   decade, the U.S. has become a                           Penetration rates of BEVs remain quite
                                             motor gasoline. However, a growing set                  stabilizing force in the global oil market              low through MY 2029. Thus, the
                                             of vehicle offerings that rely in part, or              and our reliance on imported petroleum                  additional benefits estimated as a result
                                             entirely, on electricity suggests that                  has decreased steadily. AEO 2021                        of electrification remain an extremely
                                             gasoline prices are no longer the only                  projects the U.S. to be a net exporter of               small portion of overall benefits, and are
                                             fuel prices relevant to evaluations of the              petroleum and other liquids through                     not dispositive for NHTSA’s decision in
                                             effects of different possible CAFE                      2050 in the Reference Case. Over the                    this document.
                                             standards. In the analysis supporting                   last decade, EIA projections of real fuel                  On the topic of equity, California
                                             this final rule, NHTSA considers the                    prices have generally flattened in                      Attorney General et al. argued that ‘‘. . .
                                             energy consumption and resulting                        recognition of the changing dynamics of                 decreasing domestic demand for
                                             emissions from the entire on-road fleet,                the oil market and slower demand                        petroleum would decrease domestic
                                             which already contains a number of                      growth, both in the U.S. and in                         income inequality by reducing oil
                                             plug-in hybrid and fully electric                       developing markets. For example, the                    prices,’’ because ‘‘[h]igher gasoline
                                             vehicles. Higher CAFE standards                         International Energy Agency has                         prices result in significant costs for
                                             encourage manufacturers to improve                      projected that global demand for                        families in the United States,’’ and the
                                             fuel economy; concurrently,                             gasoline is unlikely to ever return to its              ‘‘transfer of revenue from U.S. oil
                                             manufacturers will foreseeably seek to                  2019 level (before the pandemic).970                    producers to U.S. oil consumers could
                                             continue to maximize profit (or                         However, vehicles are long-lived assets,                have substantial benefits for the most
                                             minimize compliance cost), and some                     and the long-term price uncertainty of                  economically disadvantaged, reducing
                                             reliance on electrification is a viable                 petroleum still represents a risk to                    income inequality. . . .’’ 973 ELPC also
                                             strategy for some manufacturers, even                   consumers, albeit one that has                          commented at the public hearing that
                                             though NHTSA does not consider it in                    decreased in the last decade. Continuing                strong fuel economy standards will
                                             determining maximum feasible CAFE                       to reduce the amount of money                           increase equity by saving American
                                             stringency. Under the more stringent                    consumers spend on vehicle fuel thus                    consumers money.974
                                             CAFE alternatives considered for this
                                                                                                     remains an important consideration for                     Environmental Law & Policy Center
                                             final rule, we see a greater reliance on
                                                                                                     the need of the U.S. to conserve energy.                with 15 Great Lakes and Midwest
                                             electrification technologies in the
                                                                                                        Comments received on the consumer                    Partners (Great Lakes and Midwest
                                             analysis in the years following the
                                                                                                     cost aspect of the need of the U.S. to                  Environmental Organizations)
                                             explicitly regulated model years, even
                                                                                                     conserve energy were divided between                    commented that ‘‘[f]uel-efficient cars
                                             though internal combustion engines
                                                                                                     comments relating to future                             save vehicle owners money at the gas
                                             continue to be the most common
                                                                                                     electrification, and comments about                     pump and are especially important for
                                             powertrain across the industry in the
                                                                                                     equity. For the former, Kia commented                   low-income Americans, who spend a
                                             action years of this rulemaking.
                                                While the current national average                   that ‘‘fluctuations in the cost for fueling             greater proportion of their income on
                                             electricity price is significantly higher               EVs should also play into the analysis                  gasoline. Assuring that new cars sold
                                             than that of gasoline, on an energy                     of potential alternatives,’’ given that                 today are as efficient as possible means
                                             equivalent basis ($/MMBtu),969 electric                 NHTSA noted in the preamble that                        that fuel-efficient used cars will be
                                             motors convert energy into propulsion                   fluctuations in fuel prices affect the cost             available in a few years.’’ 975 EDF
                                             much more efficiently than internal                     of travel and thus mobility demand.971                  similarly commented that raising CAFE
                                             combustion engines. This means that,                    NHTSA does account for this by using                    standards will ‘‘give consumers more
                                             even though the energy-equivalent                       electricity prices from AEO 2021 in our                 flexibility when oil prices increase. And
                                             prices of electricity are higher, electric              analysis, as described above.                           it will increasingly benefit low-income
                                             vehicles still produce fuel savings for                    AFPM argued that because a recent                    families as many of the lowest-income
                                             their owners. EIA’s AEO 2021 also                       NBER ‘‘study finds that EVs are driven                  U.S. households spend nearly one-fifth
                                             projects rising real gasoline prices over               just 5,300 miles per year, less than half               of their income on gasoline—three times
                                             the next three decades, while projecting                the average internal combustion engine                  more than the average U.S.
                                             real electricity prices to remain                       vehicle,’’ therefore ‘‘[t]his single                    household.’’ 976 ACEEE offered nearly
                                             relatively flat. As the reliance on                     omission results in the [a]gency
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                                             electricity grows in the light-duty fleet,              arbitrarily doubling any estimated                        972 AFPM, at 18.
                                                                                                                                                               973 California Attorney General et al., Docket No.
                                             NHTSA will continue to monitor the                                                                              NHTSA–2021–0053–1499, Appendix A, at 6.
                                                                                                       970 International Energy Agency, Oil 2021, (p. 30),
                                             trends in electricity prices and their                  https://iea.blob.core.windows.net/assets/1fa45234-        974 ELPC public hearing comments, at 2.
                                             implications for CAFE standards. Even                   bac5-4d89-a532-768960f99d07/Oil_2021-PDF.pdf.             975 Great Lakes and Midwest Environmental

                                                                                                     (Accessed: March 15, 2022)                              Organizations, at 3.
                                               969 Source: AEO 2021, Table 3.                          971 Kia, at 7.                                          976 EDF, at 7.




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                                             identical comments about the burden of                    (2) National Balance of Payments                           in expenditures on foreign oil would
                                             gasoline purchases on low-income                             NHTSA has consistently included                         thus serve to improve the national
                                             families, adding that ‘‘[f]ueling costs can               consideration of the ‘‘national balance                    balance of payments and fulfill the
                                             be a major household expense and can                      of payments’’ as part of the need of the                   statutory purpose.’’ 982
                                             inhibit families from accessing jobs,                     U.S. to conserve energy because of                            Whether or not overall reductions in
                                             educational opportunities, and essential                  concerns that importing large amounts                      oil consumption lead to reductions in
                                             services.’’ 977 Consumer Reports offered                  of oil created a significant wealth                        oil imports specifically, NHTSA agrees
                                             similar comments at the public hearing,                   transfer to oil-exporting countries and                    that the U.S. does continue to rely on oil
                                             stating that ‘‘Lower income households                    left the U.S. economically vulnerable.979                  imports, and NHTSA continues to
                                             spend a higher percentage of their                        As recently as 2009, nearly half the U.S.                  recognize that reducing the
                                             income on energy. This energy burden                      trade deficit was driven by                                vulnerability of the U.S. to possible oil
                                             could be alleviated by having more fuel-                  petroleum,980 yet this concern has been                    price shocks remains important. This
                                             efficient vehicles available on the                       less critical in more recent CAFE
                                             market.’’ 978                                                                                                        final rule aims to improve fleet-wide
                                                                                                       actions, in part because other factors                     fuel efficiency and to help reduce the
                                                NHTSA agrees with commenters that                      besides petroleum consumption have
                                             raising fuel economy standards can                                                                                   amount of petroleum consumed in the
                                                                                                       been playing a bigger role in the U.S.                     U.S., and therefore aims to improve this
                                             reduce consumer costs on fuel—this has                    trade deficit.981 While transportation
                                             long been a major focus of the CAFE                                                                                  part of the U.S. balance of payments.
                                                                                                       demand is expected to increase as the
                                             program, and was one of the driving                       economy recovers from the pandemic, it                     (3) Environmental Implications
                                             considerations for Congress in                            is foreseeable that the trend of trade in
                                             establishing the CAFE program                             consumer goods and services continuing                        Higher fleet fuel economy reduces
                                             originally. Over time, as average VMT                     to dominate the national balance of                        U.S. emissions of CO2 as well as various
                                             has increased and more and more                           payments, as compared to petroleum,                        other pollutants by reducing the amount
                                             Americans have come to live farther and                   will continue during the rulemaking                        of oil that is produced and refined for
                                             farther from their workplaces and                         time frame.                                                the U.S. vehicle fleet, but can also
                                             activities, fuel costs have become even                      California Attorney General et al.                      potentially increase emissions by
                                             more important. Even when gasoline                        agreed with NHTSA that the national                        reducing the cost of driving, which can
                                             prices, for example, are relatively low,                  balance of payments was still a relevant                   result in increased vehicle miles
                                             they can still add up quickly for                         consideration for the need of the United                   traveled (i.e., the rebound effect). Thus,
                                             consumers whose daily commute                             States to conserve energy. They stated,                    the net effect of more stringent CAFE
                                             measures in hours, like many                              however, that ‘‘. . . NHTSA could                          standards on emissions of each
                                             Americans in economically                                 improve its analysis by noting that even                   pollutant depends on the relative
                                             disadvantaged and historically                            as a net exporter last year, the United                    magnitudes of its reduced emissions in
                                             underserved communities. When                             States is still not self-sufficient in                     fuel refining and distribution and
                                             vehicles can go farther on a gallon of                    petroleum production. Rather, the                          increases in its emissions from vehicle
                                             gas, lower income consumers save                          United States’ domestic gross crude oil                    use. Fuel savings from CAFE standards
                                             money, and as commenters note, that                       imports are expected to remain between                     also necessarily result in lower
                                             money may represent a larger                              6.9 and 7.8 million metric barrels per                     emissions of CO2, the main greenhouse
                                             percentage of their income and overall                    day through 2050 without the proposed                      gas emitted as a result of refining,
                                             expenditures than for more-advantaged                     CAFE standard revision. [citing AEO                        distribution, and use of transportation
                                             consumers. Of course, when fuel prices                    2021, Table D.1] Incremental reduction                     fuels.
                                             spike, low income consumers suffer
                                             disproportionately. Thus, clearly, the                       979 For the earliest discussion of this topic, see 42
                                                                                                                                                                     NHTSA has considered
                                             need of the United States to conserve                     FR 63184, 63192 (Dec. 15, 1977) (‘‘A major reason          environmental issues, both within the
                                             energy is well-served by helping                          for this need [to reduce petroleum consumption] is         context of EPCA and the context of the
                                                                                                       that the importation of large quantities of petroleum      National Environmental Policy Act
                                             consumers save money at the gas pump.                     creates serious balance of payments and foreign
                                                NHTSA and the Department of                            policy problems. The United States currently
                                                                                                                                                                  (NEPA), in making decisions about the
                                             Transportation are committed to                           spends approximately $45 billion annually for              setting of standards since the earliest
                                             improving equity in transportation.                       imported petroleum. But for this large expenditure,        days of the CAFE program. As courts of
                                                                                                       the current large U.S. trade deficit would be a            appeal have noted in three decisions
                                             Helping economically disadvantaged                        surplus.’’).
                                             and historically underserved Americans                       980 See, Today in Energy: Recent improvements in
                                                                                                                                                                  stretching over the last 20 years,983
                                             save money on fuel and get where they                     petroleum trade balance mitigate U.S. trade deficit,       NHTSA defined ‘‘the need of the United
                                             need to go is an important piece of this                  U.S. Energy Information Administration (July 21,           States to conserve energy’’ in the late
                                                                                                       2014). Available at https://www.eia.gov/                   1970s as including, among other things,
                                             puzzle, and it also improves energy                       todayinenergy/detail.php?id=17191 (accessed:
                                             conservation, thus implementing                           March 15, 2022) and in the docket for this
                                                                                                                                                                  environmental implications. In 1988,
                                             Congress’ intent in EPCA. All of the                      rulemaking, NHTSA–2021–0053.                               NHTSA included climate change
                                             action alternatives considered in this                       981 Consumer products are the primary drivers of        concepts in its CAFE notices and
                                                                                                       the trade deficit. In 2020, the U.S. imported $2.4         prepared its first environmental
                                             final rule improve fuel economy as                        trillion in consumer goods, versus $116.4 billion of
                                             compared to the baseline standards,                       petroleum, which is the lowest amount since 2002.
                                                                                                                                                                  assessment addressing that subject.984 It
                                             with the most stringent alternatives                      The 2020 goods deficit of $904.9 billion was the           cited concerns about climate change as
                                             saving consumers the most on fuel                         highest on record, while the 2020 petroleum                one of the reasons for limiting the extent
                                                                                                       surplus of $18.1 billion was the first annual surplus
                                             costs. As in the proposal, then, the most                 on record. See U.S. Census Bureau, ‘‘Annual 2020
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                                                                                                                                                                    982 California Attorney General et al., at 25.
                                             stringent alternatives likely best serve                  Press Highlights,’’ at census.gov/foreign-trade/
                                                                                                                                                                     983 CAS, 793 F.2d 1322, 1325 n. 12 (D.C. Cir.
                                             the need of the United States to                          statistics/highlights/AnnualPressHighlights.pdf,
                                                                                                       (accessed: March 15, 2022) and available in the            1986); Public Citizen, 848 F.2d 256, 262–63 n. 27
                                             conserve energy in this respect.                                                                                     (D.C. Cir. 1988) (noting that ‘‘NHTSA itself has
                                                                                                       docket for this rulemaking. While 2020 was an
                                                                                                       unusual year for U.S. transportation demand, given         interpreted the factors it must consider in setting
                                               977 ACEEE, at 1 (citation omitted).                                                                                CAFE standards as including environmental
                                                                                                       the global pandemic, this is consistent with existing
                                               978 Consumer Reports public hearing comments,           trends in which consumer products imports                  effects’’); CBD, 538 F.3d 1172 (9th Cir. 2007).
                                             at 1.                                                     significantly outweigh oil imports.                           984 53 FR 33080, 33096 (Aug. 29, 1988).




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                                             of its reduction of the CAFE standard for                  In terms of exposure to climate                    emission estimates of NOX and PM2.5
                                             MY 1989 passenger cars.985                              change risks, the literature suggests that            from the updated GREET model
                                                NHTSA also considers environmental                   across all climate risks, low-income                  (roughly 5–10 percent decline), as well
                                             justice issues as part of the                           communities, some communities of                      as the lower consumption of electricity
                                             environmental considerations under the                  color, and those facing discrimination                estimated in the final rule analysis. For
                                             need of the U.S. to conserve energy, per                are disproportionately affected by                    SOX, in contrast, the final rule analysis
                                             Executive Order 12898, ‘‘Federal                        climate events. Communities                           shows a similar trend to the NPRM,
                                             Actions to Address Environmental                        overburdened by poor environmental                    with overall emissions rising under the
                                             Justice in Minority Populations’’ 986 and               quality experience increased climate                  three most stringent alternatives, when
                                             DOT Order 5610.2(c), ‘‘U.S. Department                  risk due to a combination of sensitivity              compared to the baseline, while also
                                             of Transportation Actions to Address                    and exposure. Urban populations                       marginally decreasing during a few of
                                             Environmental Justice in Minority                       experiencing inequities and health                    the middle years and then going up in
                                             Populations and Low-Income                              issues have greater susceptibility to                 the latter years for Alternative 1.
                                             Populations.’’ 987 The affected                         climate change, including substantial                    For toxic air pollutant emissions, the
                                             environment for environmental justice                   temperature increases. Some                           EIS runs that are part of the final rule
                                             is nationwide, with a focus on areas that               communities of color facing cumulative                analysis show findings consistent with
                                             could contain minority and low-income                   exposure to multiple pollutants also live             what was shown for the NPRM analysis.
                                             communities who would most likely be                    in areas prone to climate risk.                       Toxic air pollutant emissions across the
                                             exposed to the environmental and                        Indigenous peoples in the United States               action alternatives increase in 2025
                                             health effects of oil production,                       face increased health disparities that                (except for DPM), and generally show
                                             distribution, and consumption, or the                   cause increased sensitivity to extreme                decreases in 2045 and 2050 relative to
                                             impacts of climate change. This                         heat and air pollution. Together, this                the No-Action Alternative for the same
                                             includes areas where oil production and                 information indicates that climate                    reasons as for criteria pollutants. In
                                             refining occur, areas near roadways,                    impacts disproportionately affect                     2025, emissions of acetaldehyde,
                                             coastal flood-prone areas, and urban                    minority and low-income populations                   acrolein, benzene, 1,3-butadiene, and
                                             areas that are subject to the heat island               because of socioeconomic                              formaldehyde would increase under the
                                             effect.                                                 circumstances, histories of                           action alternatives (compared to the No-
                                                Numerous studies have found that                     discrimination, and inequity.                         Action Alternative), with the smallest
                                             some environmental hazards are more                     Furthermore, high temperatures can                    increases occurring under Alternative 1,
                                             prevalent in areas where minority and                   exacerbate poor air quality, further                  and the increases getting larger from
                                             low-income populations represent a                      compounding the risk to overburdened                  Alternative 1 through Alternative 3. In
                                             higher proportion of the population                     communities. Finally, health-related                  2035 and 2050, however, emissions of
                                             compared with the general population.                   sensitivities in low-income and                       all toxic air pollutants would decrease
                                             In terms of effects due to criteria                     minority populations increase risk of                 under the action alternatives as
                                             pollutants and air toxics emissions, the                damaging impacts from poor air quality                compared to the No-Action Alternative.
                                             body of scientific literature points to                 under climate change, underscoring the                In 2035, the largest relative decreases in
                                             disproportionate representation of                      potential benefits of improving air                   emissions would occur for DPM, for
                                             minority and low-income populations                     quality to communities overburdened                   which emissions would decrease by as
                                             in proximity to a range of industrial,                  by poor environmental quality.                        much as 6.1 percent under Alternative
                                             manufacturing, and hazardous waste                         In the Final SEIS, Chapters 3, 4, 5,               3 compared to the No-Action
                                             facilities that are stationary sources of               and 8 discuss the connections between                 Alternative. In 2050, the largest relative
                                             air pollution, although results of                      oil production, distribution, and                     decreases in emissions would occur for
                                             individual studies may vary. While the                  consumption, and their health and                     formaldehyde, for which emissions
                                             scientific literature specific to oil                   environmental impacts.                                would decrease by as much as 10
                                             refineries is limited, disproportionate                    All of the action alternatives                     percent under Alternative 3 compared
                                             exposure of minority and low-income                     considered in this final rule reduce                  to the No-Action Alternative. Percentage
                                                                                                     carbon dioxide emissions and, thus, the               decreases in emissions of acetaldehyde,
                                             populations to air pollution from oil
                                                                                                     effects of climate change, as compared                acrolein, benzene, and 1,3-butadiene
                                             refineries is suggested by other broader
                                                                                                     to the baseline. Effects on criteria                  would be smaller.
                                             studies of racial and socioeconomic
                                                                                                     pollutants and air toxics emissions are                  As discussed above, while the
                                             disparities in proximity to industrial
                                                                                                     slightly more complicated, for a variety              majority of light-duty vehicles will
                                             facilities generally. Studies have also
                                                                                                     of reasons, as discussed in Section VI.C              continue to be powered by internal
                                             consistently demonstrated a
                                                                                                     and Chapter 6.6 of the FRIA, although                 combustion engines in the near- to mid-
                                             disproportionate prevalence of minority
                                                                                                     over time and certainly over the                      term under all regulatory alternatives,
                                             and low-income populations that are
                                                                                                     lifetimes of the vehicles that would be               the more stringent alternatives do
                                             living near mobile sources of pollutants
                                                                                                     subject to this rule, these emissions are             appear in the analysis to lead to greater
                                             (such as roadways) and therefore are                    currently forecast to fall significantly.             electrification in the mid- to longer-
                                             exposed to higher concentrations of                     For example, the final rule analysis                  term. While NHTSA is prohibited from
                                             criteria air pollutants in multiple                     shows that increases in CAFE standards                considering the fuel economy of electric
                                             locations across the United States.                     generally lead to decreases in overall                vehicles in determining maximum
                                             Lower-positioned socioeconomic groups                   emissions of NOX and PM2.5 for all                    feasible CAFE levels, electric vehicles
                                             are also differentially exposed to air                  alternatives evaluated, in contrast to the            (which appear both in the agency’s
                                             pollution and differentially vulnerable                 NPRM analysis in which emissions of                   baseline and which may be produced in
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                                             to effects of exposure.                                 NOX and PM2.5 for the more stringent                  model years following the period of
                                               985 53 FR 39275, 39302 (Oct. 6, 1988).
                                                                                                     alternatives surpassed the baseline (No-              regulation as an indirect effect of more
                                               986 59 FR 629 (Feb. 16, 1994).
                                                                                                     Action Alternative) and Alternative 1 in              stringent standards, or in response to
                                               987 Department of Transportation Updated              most calendar years. The differences                  other standards or to market demand)
                                             Environmental Justice Order 5610.2(c) (May 14,          between the NPRM and final rule are                   produce few to zero tailpipe emissions,
                                             2021).                                                  largely due to changes in the upstream                and thus contribute meaningfully to the


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                                             decarbonization of the transportation                   more weight than it has been given in                   implications of energy conservation,
                                             sector, in addition to having                           the past. . . . it is now many orders of                including effects on climate change. In 1988
                                             environmental, health, and economic                     magnitude greater than it was before.                   the [D.C. Circuit] highlighted that [EPCA]
                                                                                                                                                             contains no statutory command prohibiting
                                             development benefits, although these                    The impending climate atrocity is going
                                                                                                                                                             environmental considerations recognizing
                                             benefits may not yet be equally                         to make the OPEC oil embargo look like                  ‘‘no conflict’’ between considering
                                             distributed across society. They also                   a picnic in the park. Technological and                 ‘‘environmental consequences’’ with ‘‘the
                                             present new environmental (and social)                  economic barriers are not so immovable                  factors NHTSA must weigh under EPCA.’’
                                             questions, like those associated with                   that they cannot give way to the                        [citing Public Citizen, 848 F.2d 256, 263 n.
                                             reduced tailpipe emissions, upstream                    dramatically increased need to improve                  17 (D.C. Cir. 1988)] The court further
                                             electricity production, minerals                        fuel economy.’’ 990 The Great Lakes and                 approved of [DOT’s] interpretation that the
                                             extraction for battery components, and                  Midwest Environmental Organizations                     reference to ‘‘the need of the United States
                                                                                                     commented that ‘‘[w]hile the Clean Air                  to conserve energy’ ‘‘requires consideration
                                             ability to charge an electric vehicle. The
                                                                                                                                                             of . . . environmental . . . implications.’’
                                             upstream environmental effects of                       Act locates authority to regulate tailpipe
                                                                                                                                                             [Id.] More recently, in 2008, the [9th Circuit]
                                             extraction and refining for petroleum                   greenhouse gas emissions from                           indicated that, due to advancements ‘‘in
                                             are well-recognized; minerals extraction                automobiles with the [EPA], NHTSA                       scientific knowledge of climate change and
                                             and refining can also have significant                  can and should still consider the effects               its causes,’’ ‘‘the need of the United States to
                                             downsides. As one example of                            of its automobile fuel efficiency                       conserve energy is even more pressing today
                                             documentation of these effects, the                     standards on reducing the threat of                     than it was at the time of EPCA’s enactment.’’
                                             United Nations Conference on Trade                      climate change and its devastating                      [citing CBD, 538 F.3d 1172, at 1197–98]
                                             and Development issued a report in July                 impacts on the environment,                             Accordingly, the court concluded ‘EPCA
                                                                                                     agriculture, public health, and critical                does not limit NHTSA’s duty . . . to assess
                                             2020 describing acid mine drainage and                                                                          the environmental impacts, including the
                                             uranium-laced dust associated with                      energy and transportation
                                                                                                                                                             impact on climate change, of its rule.’ [Id. at
                                             cobalt mines in the Democratic Republic                 infrastructure.’’ 991 SELC noted that                   1214].’’ 997
                                             of the Congo, along with child labor                    ‘‘NHTSA has always interpreted the
                                                                                                     need to conserve energy to include                         In response, NHTSA agrees that the
                                             concerns; considerable groundwater
                                                                                                     consideration of environmental                          agency has cited climate as a
                                             consumption and dust issues that harm
                                                                                                     implications. The significant                           consideration relevant to the need of the
                                             miners and indigenous communities in
                                                                                                     environmental impacts of improved fuel                  U.S. to conserve energy for several
                                             the Andes; issues with fine particulate
                                                                                                     economy deserve substantial weight in                   decades of CAFE rulemakings, and that
                                             matter causing human health effects and
                                                                                                     this rulemaking since greenhouse gas                    that practice has been upheld in court.
                                             soil contamination in regions near
                                                                                                     emissions from the combustion of fossil                 NHTSA thus considers climate effects as
                                             graphite mines; and so forth.988
                                                                                                     fuels continue to drive climate                         part of its determination of maximum
                                             NHTSA’s Final SEIS discusses these
                                                                                                     change.’’ 992 Our Children’s Trust 993                  feasible standards, although they are
                                             and other effects (such as production
                                                                                                     and Elders Climate Action 994 both                      fairly straightforward—more stringent
                                             and end-of-life issues) in more detail,
                                                                                                     commented that if the final rule did not                standards obviously reduce emissions
                                             and NHTSA will continue to monitor
                                                                                                     explain how it would specifically                       further, and less stringent standards
                                             these issues going forward insofar as
                                                                                                     contribute to getting the United States to              reduce them less. Climate effects will be
                                             CAFE standards may increase
                                                                                                     zero GHG emissions by 2050 or how it                    discussed in more specific detail in
                                             electrification levels even if NHTSA
                                                                                                     would reduce Earth’s energy imbalance                   Section VI.D below.
                                             does not expressly consider                                                                                        On the other hand, while climate
                                             electrification in setting those standards,             to zero, it would be arbitrary and
                                                                                                     capricious. Mr. Kreucher, in contrast,                  effects represent one reason the Nation
                                             because NHTSA does not control what                                                                             needs to conserve energy, there are
                                             technologies manufacturers use to meet                  commented that the climate benefits
                                                                                                     associated with the proposal were                       other reasons, and NHTSA’s approach
                                             those standards, and because NHTSA is                                                                           carefully considers these, as well, in
                                             required to consider the environmental                  extremely small, as noted in the SEIS.995
                                                                                                        Other commenters argued that the                     part by including a range of estimated
                                             effects of its standards under NEPA.                                                                            types of energy-related benefits and
                                                                                                     idea that the ‘‘need of the U.S. to
                                                NHTSA carefully considered the                                                                               costs in the agency’s overall benefit-cost
                                                                                                     conserve energy’’ includes climate
                                             environmental effects of this rule, both                                                                        analysis. Moreover, while some
                                                                                                     considerations has been upheld in case
                                             quantitative and qualitative, as                                                                                commenters cite agreements under the
                                                                                                     law. California Attorney General et al.
                                             discussed in the Final SEIS and in                      stated that NHTSA ‘‘. . . has long                      UNFCCC as necessitating more stringent
                                             Sections VI.C and VI.D.                                 considered environmental impacts as                     CAFE standards, and the U.S. has, for
                                                A number of commenters pointed to                    part of the need of the U.S. to conserve                example, rejoined the ‘‘Paris Accord,’’
                                             the importance of climate change as a                   energy, and this interpretation has been                we note that any commitments the U.S.
                                             consideration of the need of the U.S. to                approved by both the D.C. Circuit and                   has made under the UNFCCC involve
                                             conserve energy as a reason to set                      the Ninth Circuit.’’ 996 IPI et al. similarly           aggregate greenhouse gas emissions, not
                                             stringent standards.989 Mr. Douglas                     commented that:                                         emissions from any specific sector.
                                             stated that ‘‘[t]he need of the United                                                                          NHTSA can consider climate effects as
                                             States to conserve energy now includes                    For decades, courts have affirmed that this
                                                                                                     language does not bar, but in fact compels              an aspect of the need of the United
                                             the need to avert the impending climate                                                                         States to conserve energy, but climate
                                                                                                     NHTSA to consider the environmental
                                             atrocity, and must therefore be given far                                                                       effects are one of a number of aspects
                                               988 UNCTAD, ‘‘Commodities at a Glance: Special
                                                                                                       990 Peter Douglas, at 14, 16–17.
                                                                                                                                                             that the agency considers. NHTSA
                                                                                                       991 Great Lakes and Midwest Environmental
                                             issue on strategic battery raw materials,’’ No. 13,                                                             considers all aspects of the need of the
                                                                                                     Organizations, at 2.
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                                             Geneva, 2020, at 46. Available at https://                992 SELC, at 2.
                                                                                                                                                             United States to conserve energy, and
                                             unctad.org/system/files/official-document/                                                                      then balances those considerations with
                                                                                                       993 Our Children’s Trust, at 6; Elders Climate
                                             ditccom2019d5_en.pdf (accessed: March 15, 2022)
                                             and in the docket for this rulemaking, NHTSA–           Action, Docket No. NHTSA–2021–0053–1589, at 2.          the other factors given to us by statute
                                             2021–0053.                                                994 Elders Climate Action, Docket No. NHTSA–          (and their attendant considerations).
                                                989 See, e.g., Lucid, at 4; CARB, at 15; Bay Area    2021–0053–1589, at 2.
                                                                                                       995 Walter Kreucher, at 10.
                                             Quality Management Air District, NHTSA–2021–                                                                         997 IPI, Docket No. NHTSA–2021–0053–1547, at

                                             0053–1472, at 5.                                          996 California Attorney General et al., at 8–9, 25.   5.



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                                                A number of commenters also noted                    years for Alternative 1. As noted                     significantly. Continuing to improve
                                             environmental justice and equity                        previously, contemporaneous effects to                energy conservation and reduce U.S. oil
                                             concerns. Great Lakes and Midwest                       decarbonize the power sector could                    consumption by raising CAFE standards
                                             Environmental Organizations, ELPC,                      powerfully abate these emissions.                     further has the potential to continue to
                                             SELC, CARB, California Attorney                                                                               help with all of these considerations.
                                                                                                     (4) Foreign Policy Implications
                                             General et al., CBD et al., ACEEE, and                                                                           EDF commented that CAFE standards
                                             Chicago Metropolitan Agency for                            U.S. consumption and imports of
                                                                                                     petroleum products impose costs on the                were crucial for reducing ‘‘all oil
                                             Planning all echoed NHTSA’s                                                                                   consumption, not just foreign imports.
                                             discussion of these topics from the                     domestic economy that are not reflected
                                                                                                     in the market price for crude petroleum               Because oil is a global market,
                                             NPRM.998 California Attorney General et
                                                                                                     or in the prices paid by consumers for                increasing domestic production will not
                                             al. also noted that reducing criteria
                                                                                                     petroleum products such as gasoline.                  insulate Americans from price
                                             pollutants and air toxics ‘‘is crucial to
                                                                                                     These costs include (1) higher prices for             fluctuations.’’ 1001 Securing America’s
                                             improve public health and to assist
                                             States in attaining and maintaining the                 petroleum products resulting from the                 Future Energy and CBD et al. offered
                                             NAAQS. Reductions in criteria                           effect of U.S. oil demand on world oil                similar comments.1002 California
                                             pollutant emissions will also help                      prices; (2) the risk of disruptions to the            Attorney General et al. agreed, and
                                             mitigate some of the impact of climate                  U.S. economy, and the effects of those                suggested that climate change would
                                             change, including poor air quality and                  disruptions on consumers, caused by                   cause more oil price shocks because
                                             other impacts. . . . Moreover, reducing                 sudden increases in the global price of               extreme weather affects supply chains,
                                             these emissions is critical to meeting                  oil and its resulting impact of fuel prices           and that more stringent CAFE standards
                                             our States and Cities’ environmental                    faced by U.S. consumers, (3) expenses                 would mitigate these risks.1003 CARB
                                             justice goals. But we need federal help                 for maintaining the strategic petroleum               suggested ‘‘that NHTSA consider a
                                             to reduce emissions that are outside our                reserve (SPR) to provide a response                   broader range of sectors that can be
                                             control and to meet those goals.’’ 999 The              option should a disruption in                         impacted by oil imports and prices. This
                                             Metropolitan Washington Council of                      commercial oil supplies threaten the                  is expected to more accurately show the
                                             Governments agreed and added that the                   U.S. economy, to allow the U.S. to meet               benefits from stricter standards,
                                             proposed rule would also ‘‘provide                      part of its International Energy Agency               including on the budgets of the federal
                                             considerable support for metropolitan                   obligation to maintain emergency oil                  government and consumers.’’
                                             Washington and communities across the                   stocks, and to provide a national                        NHTSA agrees with these comments,
                                             United States to meet their GHG                         defense fuel reserve, and (4) the threat              and will take CARB’s suggestion under
                                             emissions reduction goals.’’ 1000                       of significant economic disruption, and               advisement for future rulemaking
                                                NHTSA continues to agree that                        the underlying effect on U.S. foreign                 efforts, although this particular exercise
                                             environmental justice, like consumer                    policy, if an oil-exporting country                   may be beyond the scope of the agency’s
                                             fuel costs, are clearly an equity concern               threatens the United States and uses as               expertise. NHTSA looks forward to
                                             for low-income and historically                         part of its threat its power to upend the             seeing scholarship develop further in
                                             disadvantaged communities, and vitally                  U.S. economy. Reducing U.S.                           this area as Brown (2018) describes the
                                             important to consider. Chapter 7 of the                 consumption of crude oil or refined                   need for, above.
                                             Final SEIS discusses NHTSA’s                            petroleum products (by reducing motor
                                                                                                     fuel use) can reduce these external                      AFPM, in contrast, argued that the
                                             consideration of environmental justice
                                             issues in detail. With regard to the                    costs.                                                risks of oil price shocks had decreased
                                             comments about State NAAQS                                 In addition, a 2006 report by the                  substantially since EPCA was passed,
                                             compliance, NHTSA reiterates that the                   Council on Foreign Relations identified               due to increased U.S. energy exports,
                                             final rule analysis shows that increases                six foreign policy costs that it said arose           ‘‘Yet [the NPRM] would ignore these
                                             in CAFE standards generally lead to                     from U.S. consumption of imported oil:                changed circumstances and trade our
                                             decreases in overall emissions of NOX                   (1) The adverse effect that significant               energy independence for a dependence
                                             and PM2.5 for all alternatives evaluated,               disruptions in oil supply will have for               on foreign supply chains for the
                                             in contrast to the NPRM analysis in                     political and economic conditions in the              commodities required to produce EV
                                             which emissions of NOX and PM2.5 for                    U.S. and other importing countries; (2)               batteries.’’ 1004 Valero offered similar
                                             the more stringent alternatives                         the fears that the current international              comments, and added that ‘‘promot[ing]
                                             surpassed the baseline (No-Action                       system is unable to ensure secure oil                 the substantial use of electric vehicle
                                             Alternative) and Alternative 1 in most                  supplies when oil is seemingly scarce                 technology’’ could ‘‘affirmatively
                                             calendar years, and a trend for SOX that                and oil prices are high; (3) political                undermine both energy security
                                             is similar to the trend shown in the                    realignment from dependence on                        objectives and the market for
                                             NPRM, with overall emissions rising                     imported oil that limits U.S. alliances               domestically-produced renewable fuels
                                             under the three most stringent                          and partnerships; (4) the flexibility that            that EISA and the RFS clearly seek to
                                             alternatives, when compared to the                      oil revenues give oil-exporting countries             promote.’’ 1005 The High Octane Low
                                             baseline, while also marginally                         to adopt policies that are contrary to                Carbon Fuel Alliance also argued that
                                             decreasing during a few of the middle                   U.S. interests and values; (5) an                     increasing use of ethanol would
                                             years and then going up in the latter                   undermining of sound governance by                    displace more oil than would be saved
                                                                                                     the revenues from oil and gas exports in              by the NHTSA and EPA CAFE and GHG
                                                998 Great Lakes and Midwest Environmental
                                                                                                     oil-exporting countries; and (6) an                   proposals together and produce ‘‘an oil
                                             Organizations, at 3; ELPC public hearing comments,      increased U.S. military presence in the
                                             at 2; SELC, at 4–5; CARB, at 17–18; California
                                                                                                     Middle East that results from the
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                                                                                                                                                             1001 EDF, at 6–7.
                                             Attorney General et al., at 26; CBD et al., at 9;
                                                                                                                                                              1002 Securing America’s Future Energy, at 1; CBD
                                             ACEEE, at 2; Chicago Metropolitan Agency for            strategic interest associated with oil
                                             Planning, Docket No. NHTSA–2021–0053–0050, at                                                                 et al., at 4.
                                                                                                     consumption.                                             1003 California Attorney General et al., Appendix
                                             2.                                                         CAFE standards over the last few
                                                999 California Attorney General et al., at 17–18.                                                          A, at 6–7.
                                                1000 Metropolitan Washington Council of
                                                                                                     decades have conserved significant                       1004 AFPM, at 13.

                                             Governments, Docket No. NHTSA–2021–0053–                quantities of oil, and the petroleum                     1005 Valero, Docket No. NHTSA–2021–0053–1541,

                                             0048, at 2.                                             intensity of the U.S. fleet has decreased             at 2–3.



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                                             security premium valued at more than                    petroleum, caused by market concerns                  scope of the CAFE program. Flex-fueled
                                             $1 billion per year.’’ 1006                             over both the invasion itself and the                 vehicles capable of running on ethanol
                                                Auto Innovators commented that                       economic sanctions levied against                     are incentivized by EPA’s CAFE
                                             ‘‘energy security benefits are a less                   Russia by the U.S. and many other                     calculation regulations, and generally
                                             compelling rationale for the proposed                   countries. A motor vehicle fleet with                 speaking, the benefit depends on the
                                             standards and for the transition to EVs                 greater fuel economy is better able to                amount of ethanol actually consumed
                                             than they were when the CAFE program                    absorb increased fuel costs, particularly             by the vehicles.
                                             was created in 1975, and even when the                  in the short-term, without those costs                   Regarding climate risks in particular,
                                             Obama-era standards were finalized in                   leading a broader economic crisis, as                 ELPC commented at the public hearing
                                             2012. This, of course, would weigh in                   had occurred in the 1973 and 1979 oil                 that increasing CAFE standards
                                             favor of less stringent CAFE standards                  crises. Thus, the U.S. is able to take                improved national security because
                                             since the primary policy benefit                        certain economic actions in response to               ‘‘The impacts of climate change include
                                             supporting stringent fuel economy                       the invasion that would otherwise be                  impacts on the environment,
                                             standards is the need of the nation to                  unavailable, including the recent                     agriculture, public health, and
                                             conserve energy.’’ 1007 Auto Innovators                 prohibition on Russian petroleum.                     infrastructure, including critical energy
                                             commented that ‘‘. . . GHG and CAFE                     Ensuring that the U.S. fleet is positioned            and transportation infrastructure, that
                                             standards seem unlikely to have any                     to take advantage of the cost-effective               can compromise America’s energy
                                             meaningful impact on imports from                       technology innovations will allow the                 security and national security.’’ 1009
                                             Canada and Mexico because U.S. buyers                   U.S. to continue to base its international            Tesla agreed that reducing climate
                                             can obtain good prices, secure supplies,                activities on foreign policy objectives               impacts can benefit national
                                             and/or long-term contracts from                         that are not limited, at least not                    security.1010 California Attorney General
                                             Canadian and Mexican producers. Since                   completely, by petroleum issues.                      et al. agreed that reducing fuel use can
                                             oil is produced, refined and sold in a                     Further, as explained above, when                  benefit our national security, including
                                             global marketplace, the [a]gencies                      U.S. oil consumption is linked to the                 insofar as the environmental costs of oil
                                             should provide a rigorous analysis of                   globalized and tightly interconnected oil             use are intertwined with the security
                                             which oil producers/refiners in the                     market, as it is now, the only means of               costs of oil use.1011 Elders Climate
                                             world will be adversely impacted by an                  reducing the exposure of U.S.                         Action argued that NHTSA had not
                                             incremental decline in U.S. demand for                  consumers to global oil shocks is to                  enumerated specifically ‘‘what must be
                                             oil. This issue will be even more                       reduce their oil consumption and the                  achieved . . . with respect to emissions
                                             important in future rulemakings insofar                 overall oil-intensity of the U.S.                     reductions to protect the national
                                             as the agencies estimate much larger                    economy. U.S. oil supply does not                     security, what its ‘long-term GHG
                                             reductions in gasoline                                  effectively insulate U.S. drivers from                reduction goals’ are, how it intends to
                                             consumption.’’ 1008                                     higher gas prices (or other price                     achieve them, or whether and how the
                                                While NHTSA agrees that the energy                   increases driven by oil prices), because              current rulemaking contributes to
                                             security picture has changed since the                  those prices are currently largely                    achieving those goals.’’ 1012
                                             1970s, due in no small part to the                      determined by oil prices set in the                      NHTSA agrees that climate effects in
                                             achievements of the CAFE program                        globally integrated market. Given these               turn affect national (and global)
                                             itself in increasing fleetwide fuel                     dynamics, the most effective policies to              security, as also discussed in the NPRM.
                                             economy, as discussed in the NPRM,                      protect consumers from oil price spikes               However, this is a consideration for
                                             NHTSA disagrees that energy security in                 are those that reduce the oil-intensity of            estimating the social cost of carbon.
                                             the petroleum consumption context is                    the economy, including fuel economy                   NHTSA lacks any empirical basis to
                                             no longer of concern. Auto Innovators                   standards. Thus, the reduction in oil                 quantify these potential effects beyond
                                             notes that oil is produced, refined, and                consumption driven by fuel economy                    the point they have already been
                                             sold in a global marketplace, and thus                  standards creates an energy security                  accounted for by the interagency
                                             must realize that the fact that oil can be              benefit.                                              working group (IWG) charged with
                                             obtained from Canada and Mexico does                       This benefit is the original purpose
                                                                                                                                                           estimating the social cost of carbon.
                                             not mean that prices cannot be affected                 behind the CAFE standards. Oil prices
                                                                                                                                                              With regard to military security
                                             by events occurring elsewhere in the                    are inherently volatile, in part because
                                                                                                                                                           specifically, Securing America’s Future
                                             world. Congress’ original concern with                  geopolitical risk affects prices.
                                                                                                                                                           Energy commented that ‘‘[a]ccording to
                                             energy security was the impact of                       International conflicts, sanctions, civil
                                                                                                                                                           [our] Energy Security Leadership
                                             supply shocks on American consumers                     conflicts targeting oil production
                                                                                                                                                           Council . . . member and former
                                             in the event that the U.S.’s foreign                    infrastructure, pandemic-related
                                                                                                                                                           Secretary of the Navy John F. Lehman,
                                             policy objectives lead to conflicts with                economic upheaval, cartels have all had
                                                                                                                                                           ‘more than half the Defense budget is for
                                             oil-producing nations or that global                    dramatic and sudden effects on oil
                                                                                                                                                           the security of Persian Gulf oil.’ And
                                             events more generally lead to fuel                      prices in recent years. For all of these
                                                                                                                                                           ‘defending Persian Gulf oil is a major
                                             disruptions, and improving fuel                         reasons, energy security remains quite
                                                                                                     relevant for NHTSA in determining                     distraction from existential defense
                                             economy and reducing fuel                                                                                     issues. Oil dependency complicates the
                                             consumption still helps with that. The                  maximum feasible CAFE standards.
                                                                                                     There are extremely important energy                  military equation beyond our
                                             world is dealing with these effects at the                                                                    comprehension.’ ’’ 1013 Securing
                                             time this rule is being issued. In                      security benefits associated with raising
                                                                                                     CAFE stringency that are not discussed                America’s Future Energy also
                                             addition to the immediate human                                                                               commented that the U.S. was falling
                                             suffering caused by the Russian                         in TSD Chapter 6.2.4, and which are
                                                                                                     difficult to quantify, but have weighed               behind China on vehicle electrification,
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                                             invasion of Ukraine, there has also been
                                             a significant increase in the price of                  heavily for NHTSA in determining the                    1009 ELPC public hearing comments, at 1–2.
                                                                                                     maximum feasible standards in this                      1010 Tesla, Attachment 1, at 3.
                                               1006 High Octane Low Carbon Fuel Alliance,            final rule.                                              1011 California Attorney General et al., at 7–8

                                             Docket No. NHTSA–2021–0053–1475, at 6.                     Regarding the comments about the                   (citing Brown, 2018).
                                              1007 Auto Innovators, at 21.                           energy security benefits of ethanol use,                 1012 Elders Climate Action, at 11.
                                              1008 Auto Innovators, at 93.                           these are, for the most part, beyond the                 1013 Securing America’s Future Energy, at 9.




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                                             and that losing automotive                                  In response, while NHTSA does not                   electrification is currently enabled by
                                             manufacturing capacity (if this was                       consider the fuel economy of EVs                      lithium-ion batteries. Lithium-ion
                                             allowed to continue) ‘‘would not only                     expressly in determining maximum                      battery global value chains have several
                                             threaten our economy and millions of                      feasible CAFE standards, NHTSA                        phases: Sourcing (mining/extraction);
                                             jobs, but it could also undermine our                     appreciates the comments from                         processing/refining; cell manufacturing;
                                             capacity to innovate, with implications                   Securing America’s Future Energy and                  battery manufacturing; installation in an
                                             extending to the military and defense                     recognizes that reducing global oil                   EV; and recycling.1016 Because lithium-
                                             industry.’’ 1014 Securing America’s                       consumption by raising CAFE standards                 ion battery materials have a wide global
                                             Future Energy therefore argued that                       can improve national security, which                  diversity of origin, accessing them can
                                             ‘‘[u]sing the regulatory powers of the                    may facilitate reduced military                       pose varying geopolitical challenges.1017
                                             federal government is an important tool                   spending. Chapter 6 of the TSD                        The U.S. International Trade
                                             in creating the demand for EVs that are                   discusses these issues in more detail.                Commission recently summarized 2018
                                             the engine of that transition, and . . .                    To the extent that the U.S. light-duty              data from the U.S. Geological Survey on
                                             the fuel economy rule should be                           vehicle fleet toward electrification,                 the production/sourcing of the four key
                                             developed in a manner to accelerate this                  different potential foreign policy                    lithium-ion battery materials, as shown
                                             critical transition.’’ 1015                               implications arise. Most vehicle                      in Table VI–9.




                                               Of these sources, the USITC notes that                  which would make stability there a                    industry from material extraction,
                                             while ‘‘lithium has generally not faced                   larger concern.1021                                   mining and refining, battery materials,
                                             political instability risks,’’ ‘‘[b]ecause of                For materials processing and refining,             cell production, battery systems, reuse,
                                             the [Democratic Republic of Congo’s]                      China is the largest importer of                      and recycling. The United States is
                                             ongoing political instability, as well as                 unprocessed lithium, which it then                    lagging in upstream capacity; although
                                             poor labor conditions, sourcing cobalt                    transforms into processed or refined                  the U.S. has some domestic lithium
                                             faces significant geopolitical                            lithium,1022 the leading producer of                  deposits, it has very little capacity in
                                             challenges.’’ 1019 Nickel is also used                    refined cobalt (with Finland a distant                mining and refining any of the key raw
                                             extensively in stainless steel                            second),1023 one of the leading                       materials. As mentioned elsewhere,
                                             production, and much of what is                           producers of primary nickel products                  however, there can be benefits and
                                             produced in Indonesia and the                             (along with Indonesia, Japan, Russia,                 drawbacks in terms of environmental
                                                                                                       and Canada) and one of the leading                    consequences associated with increased
                                             Philippines is currently exported to
                                                                                                       refiners of nickel into nickel sulfate, the           mining, refining, and battery
                                             China for stainless steel
                                                                                                       chemical compound used for cathodes                   production.
                                             manufacturing.1020 Obtaining graphite
                                                                                                       in lithium-ion batteries,1024 and one of                China and the European Union are
                                             for batteries does not currently pose                     the leading processors of graphite                    also major consumers of lithium-ion
                                             geopolitical obstacles, but the USITC                     intended for use in lithium-ion batteries             batteries, along with Japan, Korea, and
                                             notes that Turkey has great potential to                  as well.1025 In all regions, increasing               others. Lithium-ion batteries are used
                                             become a large graphite producer,                         attention is being given to vertical                  not only in light-duty vehicles, but in
                                                                                                       integration in the lithium-ion battery                many ubiquitous consumer goods, and
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                                               1014 Id. at 5.                                          www.usitc.gov/publications/332/working_papers/          1019 Id. at 8, 9.

                                               1015 Id. at 5.                                          gvc_overview_scott_ireland_508_final_061120.pdf         1020 Id. at 9.

                                               1016 Scott, Sarah, and Robert Ireland, ‘‘Lithium-       and in the docket for this rulemaking, NHTSA–           1021 Id.

                                             Ion Battery Materials for Electric Vehicles and their     2021–0053.                                              1022 Id.
                                                                                                         1017 Id. at 8.                                        1023 Id. at 10.
                                             Global Value Chains,’’ Office of Industries Working
                                             Paper ID–068, U.S. International Trade                      1018 Id., citing U.S. Geological Survey, Mineral      1024 Id.
                                                                                                                                                                                                         ER02MY22.232</GPH>




                                             Commission, June 2020, at 7. Available at https://        Commodity Summaries, Feb. 2019.                         1025 Id.




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                                             are likely to be used eventually in other               This is not the renewed focus on energy                 vehicles—in any model year for which
                                             forms of transportation as well. Thus,                  conservation and security risk reduction that           standards are being set. EPCA
                                             securing sufficient batteries to enable                 NHTSA promises in the proposal.1031                     encourages the production of alternative
                                             large-scale shifts to electrification in the               In contrast, EDF commented that the                  fuel vehicles by specifying that their
                                             U.S. light-duty vehicle fleet may face                  battery supply chain issues were                        fuel economy is to be determined using
                                             new issues as vehicle companies                         improving, that President Biden had                     a special calculation procedure that
                                             compete with other new sectors.                         made increasing domestic supply a                       results in those vehicles being assigned
                                             NHTSA will continue to monitor these                    priority, that industry was responding                  a higher equivalent fuel economy level
                                             issues going forward.                                   by investing domestically and                           than they actually achieve.
                                                President Biden has already issued an                developing battery chemistries whose                       The effect of the prohibitions against
                                             Executive order on ‘‘America’s Supply                   minerals might be easier to source                      considering these statutory flexibilities
                                             Chains,’’ aiming to strengthen the                      reliably, and that perhaps industry                     in setting the CAFE standards is that the
                                             resilience of America’s supply chains,                  would develop greater recycling                         flexibilities remain voluntarily
                                             including those for automotive                          capabilities in the future.1032                         employed measures. If NHTSA were
                                             batteries.1026 Reports are to be                           Another security-related                             instead to assume manufacturer use of
                                             developed within one year of issuance                   consideration of increasing fleet                       those flexibilities in setting new
                                             of the Executive order, and NHTSA will                  electrification is electricity supply.                  standards (as NHTSA does in the ‘‘EIS
                                             monitor these findings as they develop.                 CARB commented that energy security                     analysis,’’ but not the ‘‘standard setting
                                                Securing America’s Future Energy                     considerations change with                              analysis’’), compliance with higher
                                             commented that ‘‘[a]s we navigate the                   electrification, and that ‘‘[w]ith a                    standards would appear more cost-
                                             transition to electrification, we must                  possible large-scale shift to electrify the             effective and, potentially, more feasible,
                                             ensure that we do not swap our current                  transportation sector, any future                       which would thus effectively require
                                             dependence on an unstable oil market                    discussion around energy security                       manufacturers to use those flexibilities
                                             for reliance on China for our future                    would benefit from considering the                      if NHTSA determined that standards
                                             transportation needs.’’ 1027 The UAW                    availability of a sufficient supply or                  should be more stringent. By keeping
                                             similarly commented that ‘‘[i]t is                      availability of electricity as well as                  NHTSA from including them in our
                                             projected that by 2029, 70 percent of                   petroleum.’’ 1033                                       stringency determination, the provision
                                             lithium-ion battery manufacturing                          While NHTSA agrees that all of these                 ensures that those statutory credits
                                             capacity will be in China and another 16                considerations bear ongoing attention,                  remain true compliance flexibilities.
                                             percent will be in Europe. Without                      as discussed in greater detail below, the               However, the flip side of the effect
                                             significant efforts to increase domestic                agency is prohibited from considering                   described above is that preventing
                                             production, the U.S. could be left                      the fuel economy of electric vehicles in                NHTSA from assuming use of dedicated
                                             behind, with just 9 percent of global                   setting the standards. Independent of                   alternative fuel vehicles for compliance
                                             battery production capacity.’’ 1028 Auto                that consideration, we do not believe                   makes it more difficult for the CAFE
                                             Innovators echoed many of the issues                    that this issue is entirely ripe in this                program to facilitate a complete
                                             NHTSA raised in the NPRM regarding                      rulemaking establishing CAFE standards                  transition of the U.S. light-duty fleet to
                                             minerals sourcing and availability.1029                 for MYs 2024–2026 given the low                         full electrification.
                                                AFPM argued that NHTSA ‘‘fails to                    electrification rates, even among the                      In contrast, for the non-statutory fuel
                                             address’’ the fact that ‘‘The current                   most stringent alternatives. As stated                  economy improvement value program
                                             Administration has cancelled mineral                    above, NHTSA will continue to monitor                   that NHTSA developed by regulation,
                                             development projects in the U.S., which                 these issues going forward.                             NHTSA does not consider these fuel
                                             increases U.S. dependence on other                                                                              economy adjustments subject to the 49
                                                                                                     (e) Factors That NHTSA is Prohibited                    U.S.C. 32902(h) prohibition on
                                             countries to supply minerals required to
                                                                                                     From Considering                                        considering flexibilities. The statute is
                                             meet the demand from its policies,
                                             including this rulemaking.’’ 1030 AFPM                     EPCA also provides that in                           very clear as to which flexibilities are
                                             further argued that:                                    determining the level at which it should                not to be considered. When the agency
                                                                                                     set CAFE standards for a particular                     has introduced additional flexibilities
                                                Transportation electrification requires
                                             substantial, foreign-sourced raw and                    model year, NHTSA may not consider                      such as AC efficiency and ‘‘off-cycle’’
                                             processed materials to produce EVs and                  the ability of manufacturers to take                    technology fuel improvement values,
                                             batteries. This proposal, taken to its logical          advantage of several EPCA provisions                    NHTSA has considered those
                                             end, would put the United States into a                 that facilitate compliance with CAFE                    technologies as available in the analysis.
                                             situation resembling the oil embargoes of the           standards and thereby reduce the costs                  Thus, this analysis includes
                                             1970s, where unreliable foreign states whose            of compliance.1034 NHTSA cannot                         assumptions about manufacturers’ use
                                             interests often do not align with the United            consider compliance credits that                        of those technologies, as detailed in
                                             States’, control majorities of the critical raw         manufacturers earn by exceeding the
                                             material supplies used in the manufacturing
                                                                                                                                                             Chapter 3.8 of the accompanying TSD.
                                             of batteries and motor components required              CAFE standards and then use to achieve                     NHTSA notes that one of the
                                             for transportation services . . . . Increasing          compliance in years in which their                      recommendations in the 2021 NAS
                                             dependence on foreign sources of energy and             measured average fuel economy falls                     Report was for Congress to ‘‘amend the
                                             materials cannot be what Congress intended.             below the standards. NHTSA also                         statute to delete the [49 U.S.C. 32902(h)]
                                                                                                     cannot consider the use of alternative                  prohibition on considering the fuel
                                               1026 Executive Order 14017, ‘‘America’s Supply        fuels by dual fueled automobiles, nor                   economy of dedicated alternative fueled
                                             Chains,’’ Feb. 24, 2021. 86 FR 11849 (Mar. 1, 2021).    the fuel economy (i.e., the availability)               vehicles in setting CAFE
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                                               1027 Securing America’s Future Energy, at 2.
                                                                                                     of dedicated alternative fueled                         standards.’’ 1035 Mr. Douglas also
                                               1028 UAW, citing testimony to Congress by

                                             Benchmark Mineral Intelligence in 2020, available
                                                                                                     automobiles—including battery-electric                  commented that new legislation was
                                             at https://www.energy.senate.gov/services/files/                                                                needed to remove this restriction.1036
                                                                                                       1031 Id. at 14.
                                             6A3B3A00-8A72-4DC3-8342-F6A7B9B33FEF.
                                             (Accessed: March 15, 2022)                                1032 EDF, at 7–9.                                       1035 2021 NAS Report, Summary
                                               1029 Auto Innovators, at 108–115.                       1033 CARB, at 11.                                     Recommendation 5.
                                               1030 AFPM, at 15.                                       1034 49 U.S.C. 32902(h).                                1036 Peter Douglas, at 6.




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                                             Recognizing that changing statutory text                compliance purposes, has the exact opposite              economy’ levels.’’ 1048 (emphasis in
                                             is Congress’ affair and not NHTSA’s, the                effect. Rather than disincentivize EVs, at a             original). California Attorney General et
                                             NAS committee further recommended                       minimum, the CAFE program should not                     al. argued that:
                                                                                                     stand as an obstacle to achieving the nation’s
                                             that if Congress does not change the                    electrification goals.1039                                 . . . by excluding increased adoption of
                                             statute, NHTSA should consider adding                                                                            ZEV technology (and credit trading) from its
                                             another attribute to the fuel economy                      Kia commented that ‘‘[d]ue to                         modeling of fuel economy improvements,
                                             standard function, like ‘‘the expected                  NHTSA’s statutory restriction on                         NHTSA ensures that these potential
                                             market share of ZEVs in the total U.S.                  including dedicated EVs in its                           compliance strategies are not essential to
                                             fleet of new light-duty vehicles—such                   evaluation of all technical pathways that                achieving such improvements in the fleet
                                                                                                     can be taken, [Kia] suggests that NHTSA                  average. Thus, NHTSA’s regulatory analysis
                                             that the standards increase as the share                                                                         of the proposed action alternatives remains
                                             of ZEVs in the total U.S. fleet                         should consider re-evaluating its
                                                                                                     stringency levels in this                                focused exclusively on the fuel economy
                                             increases.’’ 1037 NHTSA sought                                                                                   improvements automakers could make to
                                             comment on this recommendation in                       rulemaking.’’ 1040 AFPM offered similar                  their [ICE] vehicles and without trading in
                                             the proposal, but is not pursuing it at                 comments,1041 as did Stellantis.1042 Mr.                 the relevant compliance period.1049
                                             this time, as discussed further in                      Kreucher commented that ‘‘[o]nce
                                                                                                     [dedicated and dual fueled AFVs] are                        Tesla commented that 49 U.S.C.
                                             Section III.B.                                                                                                   32902(h) ‘‘does not prohibit . . . ZEV-
                                                While NHTSA does not consider the                    excluded from consideration, the
                                                                                                     . . .CAFE Model and assumptions                          related considerations such as the effect
                                             prohibited items in its standard-setting                                                                         [that CAFE standards] will have on the
                                             analysis or for making its decision about               demonstrates that the proposed
                                                                                                     standards ARE NOT technologically                        market share of ZEVs and the degree to
                                             what levels of standards would be                                                                                which electrification provides positive
                                             maximum feasible, NHTSA notes that                      feasible.’’ 1043
                                                                                                        Auto Innovators also argued that for                  consumer cost benefits and favorable
                                             they are included in the ‘‘EIS’’ analysis                                                                        automaker compliance strategies.’’ 1050
                                                                                                     NHTSA even to describe vehicle
                                             presented in the FRIA appendix. The                                                                                 With regard to consideration of
                                                                                                     electrification as a policy goal was
                                             EIS analysis does not contain these                                                                              credits in determining maximum
                                                                                                     ‘‘duplicative and confusing’’ because
                                             restrictions, and therefore accounts for                                                                         feasible CAFE standards, AFPM argued
                                                                                                     ‘‘one of the central aims of EPA’s light-
                                             credit availability and usage, and                                                                               that all manufacturers were relying on
                                                                                                     duty greenhouse gas standards is to
                                             manufacturers’ ability to employ                                                                                 credits for compliance with the current
                                                                                                     reduce emissions of those gases to
                                             alternative fueled vehicles, for purpose                address climate change concerns,’’ and                   standards, and stated that ‘‘NHTSA has
                                             of conformance with E.O. 12866 and                      ‘‘[i]t is not the role of NHTSA to pick                  not demonstrated that manufacturers
                                             NEPA regulations. Under the EIS                         technology pathways for reducing                         can meet more stringent standards
                                             analysis, compliance generally appears                  energy use and associated greenhouse                     within the confines of EPCA’s
                                             less costly. For example, this EIS                      gas emissions.’’ 1044 Instead, Auto                      guardrails. In fact, knowing that
                                             analysis shows manufacturers’                           Innovators argued that ‘‘[a]lthough                      manufacturers have been relying on
                                             incremental costs (vs. the No-Action                    reductions in greenhouse gas emissions                   credits to meet the current standard and
                                             Alternative) averaging about $1,000 in                  are an effect of fuel economy                            then proposing to tighten them is
                                             MY 2029 under the final standards, as                   improvements, the primary purposes of                    arbitrary and capricious and contrary to
                                             compared to the $1,087 shown by the                     the CAFE program are to improve                          the explicit statutory prohibition on
                                             standard setting analysis. Again,                       energy efficiency of motor vehicles, and                 considering credits when setting
                                             however, for purposes of determining                    to move the U.S. toward greater energy                   maximum feasible fuel economy
                                             maximum feasible CAFE levels, NHTSA                     independence and security.’’ 1045                        standards.’’ 1051
                                             considers only the standard setting                        With regard to the provision at 49                       In response, NHTSA interprets 49
                                             analysis shown in this final rule,                      U.S.C. 32902(h)(2), Auto Innovators                      U.S.C. 32902(h) as applying to NHTSA’s
                                             consistent with Congress’ direction.                    commented that ‘‘[f]or purposes of the                   determination of what standards are
                                                Auto Innovators commented that ‘‘[i]n                standard-setting analysis, NHTSA                         maximum feasible, and as allowing
                                             order to be faithful to both the text and               should consider only the fuel economy                    NHTSA to reflect the very real existence
                                             the intent of Section 32902(h), NHTSA                   of a PHEV when operating on                              of dedicated and dual-fueled alternative
                                             must completely exclude the sale of                     conventional fuel.’’ 1046 Stellantis                     fueled vehicles in the analytical
                                             BEVs and the electric portion of the                    offered similar comments.1047                            baseline, as discussed in more detail in
                                             operation of PHEVs from its standard-                      In contrast, NCAT agreed that NHTSA                   Section IV above. NHTSA also
                                             setting analyses, unless and until                      cannot consider the fuel economy of                      interprets 32902(h) as not prohibiting
                                             Congress modifies the prohibitions                      alternative fuel vehicles when deciding                  application by the CAFE Model of
                                             against their inclusion in setting                      maximum feasible CAFE standards, and                     vehicles such as EVs in model years
                                             maximum feasible standards.’’ 1038                      stated that ‘‘[t]herefore, NHTSA does                    outside the rulemaking time frame, for
                                             Discussing further their understanding                  not consider the fuel economy of                         example in MYs 2027 and beyond in
                                             of Congress’ intent, Auto Innovators                    alternative fuel vehicles when deciding                  this analysis, because those years are
                                             argued that:                                            how much more fuel efficient passenger                   not the ones for which we are currently
                                                                                                     cars and light trucks should become in                   determining CAFE standards. NHTSA
                                                The structure of EPCA—where by the fuel
                                                                                                     MY 2024–2026 when setting the                            agrees that the intent of 32902(h), when
                                             economy of EVs must be excluded from the
                                             standard setting but are included in a                  ‘maximum feasible average fuel                           combined with the other statutory
                                             manufacturer’s compliance fleet—was                                                                              incentives in EPCA such as those at 49
                                             intentionally crafted by Congress in order to             1039 Id., at 25.                                       U.S.C. 32905 and 32906, was to
                                             incentivize automaker investments in the                  1040 Kia, at 3.                                        encourage production of alternative
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                                             manufacture and sale of such alternative fuel             1041 AFPM, at 2.                                       fueled vehicles. NHTSA disagrees that
                                             vehicles. . . . NHTSA’s inclusion of EVs in               1042 Stellantis, at 2–3.

                                             its standard-setting here, coupled with EPA’s             1043 Walt Kreucher, at 5.                                1048 NCAT, at 9.
                                             different treatment of these vehicles for GHG             1044 Auto Innovators, at 15–16.                          1049 California Attorney General et al., Appendix
                                                                                                       1045 Id.                                               A, at 40.
                                               1037 Id.                                                1046 Id., at 43.                                         1050 Tesla, Attachment 1, at 4.
                                               1038 Auto Innovators, at 47.                            1047 Stellantis, at 2–3.                                 1051 AFPM, at 3–4.




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                                             the approach taken here to modeling the                 electrification beyond what is already                levels represented by the action
                                             current existence of alternative fueled                 expected in the baseline.                             alternatives in this final rule, and that
                                             vehicles (AFVs) and their possible                         In response to the industry comments               manufacturers are ready to begin
                                             application in model years beyond those                 regarding how NHTSA considers the                     applying it, consistent with their public
                                             for which we are setting standards in                   fuel economy of dual-fueled vehicles in               positions about heading toward zero
                                             any way disincentivizes their                           determining maximum feasible CAFE                     emissions fleets. Further, NHTSA does
                                             application or conflicts with EPA or                    standards, NHTSA has held the                         not view the use of banked credits as
                                             Administration electrification goals. As                interpretation since the 2012 final rule              anything other than an indication that
                                             long as the actual compliance treatment                 that it is reasonable and appropriate to              program flexibilities are working as
                                             of AFVs is unchanged, production of                     begin considering the full calculated                 intended to allow automakers to
                                             AFVs is more strongly encouraged by                     fuel economy of dual-fueled vehicles.                 optimize compliance over time and
                                             more stringent standards, irrespective of               Moreover, given that the costs of                     thereby to reduce compliance costs.
                                             the analysis informing decisions about                  hybridization and electrification
                                                                                                     continue to fall, NHTSA continues to                  (f) Other Considerations in Determining
                                             those standards.
                                                NHTSA disagrees that constraints on                  believe that it is foreseeable that                   Maximum Feasible CAFE Standards
                                             its analysis should be applied beyond                   manufacturers will comply with future                    NHTSA has historically considered
                                             the specific model years for which the                  CAFE standards using PHEVs (and                       the potential for adverse safety effects in
                                             agency is issuing new CAFE standards,                   BEVs, for that matter), and if costs                  setting CAFE standards. This practice
                                             and notes that the wider NHTSA applies                  continue on this path, then industry                  has been upheld in case law.1053 South
                                             these constraints, the more it is forced                compliance costs will be even lower                   Coast AQMD commented that ‘‘NHTSA
                                             to divorce its analysis from reality.                   than what we currently estimate. In                   is . . . correct to abandon the SAFE
                                             Nevertheless, noting related comments                   response to these comments, however,                  Rule’s arbitrary focus on non-statutory
                                             discussed above, NHTSA has expanded                     NHTSA conducted a sensitivity                         factors including its flawed theory
                                             its sensitivity analysis to apply these                 analysis, presented in Chapter 7 of the               crediting reduced fuel economy with
                                             constraints throughout MYs 2023–2029.                   FRIA. Findings from that analysis                     fewer fatalities due to consumers
                                             This case, therefore, excludes the                      indicate that even if NHTSA                           choosing to drive less.’’ 1054 While
                                             potential application of compliance                     constrained PHEV applicability in the                 NHTSA agrees that the safety effects of
                                             credits throughout MYs 2023–2029, as                    CAFE Model during the rulemaking                      the different regulatory alternatives are
                                             well as the introduction of new BEV                     time frame, results in MY 2029 would                  in no way dispositive for the agency’s
                                             models beyond those projected to be                     be extremely close to results in the main             decision in this final rule, NHTSA still
                                             introduced in MYs 2021–2022 and/or in                   standard-setting analysis. For                        considers the safety effects, consistent
                                             response to the ZEV mandate. This                       Alternative 2.5, per-vehicle costs are                with case law. The agency’s findings are
                                             sensitivity case shows estimated average                estimated to drop from $1,087 to $1,072;              discussed in Section V of this preamble
                                             incremental costs (including civil                      SHEV adoption industry-wide would                     and in Chapter 5 of the accompanying
                                             penalties) under the Preferred                          increase from 21 to 27 percent; BEV                   FRIA, and NHTSA discusses its
                                             Alternative increasing from $240–                       adoption industry-wide would increase                 consideration of these effects in Section
                                             $1,216 per vehicle during MYs 2023–                     from 6.7 percent to just 6.9 percent;                 VI.D.
                                             2029 in the reference case to about                     along with other minor shifts in engine
                                                                                                                                                           B. Administrative Procedure Act
                                             $384–$1,371, with differences varying                   and vehicle technologies. Thus, NHTSA
                                             further between regulatory alternatives                 concludes that even if we had run                       The Administrative Procedure Act
                                             and among manufacturers. Differences                    standard setting with this restriction,               governs agency rulemaking generally
                                             in broader societal impacts (e.g.,                      the extremely small differences in                    and provides the standard of judicial
                                             benefits and costs) are presented above                 results would not have led us to change               review for agency actions. To be upheld
                                             in Section V.                                           our decision about how we are                         under the ‘‘arbitrary and capricious’’
                                                In Massachusetts v. EPA, the Supreme                 balancing the statutory factors or what               standard of judicial review under the
                                             Court suggested that both EPA and                       levels of fuel economy would be                       APA, an agency rule must be rational,
                                             NHTSA could implement their                             maximum feasible in the rulemaking                    based on consideration of the relevant
                                             programs concurrently, and that is what                 time frame. With regard to AFPM’s                     factors, and within the scope of the
                                             NHTSA is doing in this rulemaking. We                   comment that it is arbitrary and                      authority delegated to the agency by
                                             agree that the overarching purpose of                   capricious and a violation of 49 U.S.C.               statute. The agency must examine the
                                             EPCA is energy conservation, and that                   32902(h) for NHTSA to increase CAFE
                                             reducing GHG emissions is an effect of                  stringency when automakers have been                     1053 As courts have recognized, ‘‘NHTSA has

                                             improving fuel economy. Noting                                                                                always examined the safety consequences of the
                                                                                                     using credits in recent years toward                  CAFE standards in its overall consideration of
                                             Administration electrification goals, and               compliance, in order to rely on the fact              relevant factors since its earliest rulemaking under
                                             even aspiring to see the new light-duty                 that automakers have been using credits               the CAFE program.’’ Competitive Enterprise
                                             fleet head in that direction, is not a                  as a basis not to increase CAFE                       Institute v. NHTSA, 901 F.2d 107, 120 n. 11 (DC
                                             violation of 49 U.S.C. 32902(h). It is                                                                        Cir. 1990) (‘‘CEI–I’’) (citing 42 FR 33534, 33551
                                                                                                     stringency, NHTSA would have to                       (Jun. 30, 1977). Courts have consistently upheld
                                             always up to manufacturers what                         consider the availability of credits,                 NHTSA’s implementation of EPCA in this manner.
                                             technology path they take to meet CAFE                  contrary to 32902(h).1052 While NHTSA                 See, e.g., Competitive Enterprise Institute v.
                                             standards, and the CAFE standards do                    is aware that the past several model                  NHTSA, 956 F. 2d 321, 322 (DC Cir. 1992) (‘‘CEI–
                                             not mandate a path that involves                                                                              II’’) (in determining the maximum feasible standard,
                                                                                                     years have been more challenging ones                 ‘‘NHTSA has always taken passenger safety into
                                             electrification even while                              for CAFE compliance for a variety of                  account) (citing CEI–I, 901 F.2d at 120 n. 11);
                                             acknowledging that electric vehicles
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                                                                                                     reasons, as discussed in Section                      Competitive Enterprise Institute v. NHTSA, 45 F.3d
                                             exist in the fleet and may be applied in                VI.A.5.b) above, NHTSA continues to                   481, 482–83 (DC Cir. 1995) (CEI–III) (same); Center
                                             future model years beyond those for                     believe that the technology exists to                 for Biological Diversity v. NHTSA, 538 F.3d 1172,
                                             which we are now setting standards.                                                                           1203–04 (9th Cir. 2008) (upholding NHTSA’s
                                                                                                     raise fuel economy consistent with the                analysis of vehicle safety issues associated with
                                             Moreover, contrary to Mr. Kreucher’s                                                                          weight in connection with the MYs 2008–2011 light
                                             suggestion, NHTSA finds that standards                    1052 This is sometimes described as the ‘‘white     truck CAFE rulemaking).
                                             are maximum feasible without                            bear problem.’’                                          1054 South Coast AQMD, at 2.




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                                             relevant data and articulate a                           display awareness that it is changing                   has evolved; and the updated analysis
                                             satisfactory explanation for its action                  position.’’ 1063 Beyond that, however,                  helps to inform the agency about the
                                             including a ‘‘rational connection                        ‘‘[w]hen an agency changes its existing                 effects of different regulatory actions. As
                                             between the facts found and the choice                   position, it ‘need not always provide a                 explained in the NPRM, to be sure,
                                             made.’’ 1055                                             more detailed justification than what                   providing ‘‘a more detailed
                                                Statutory interpretations included in                 would suffice for a new policy created                  justification’’ is appropriate in some
                                             an agency’s rule are subject to the two-                 on a blank slate.’ ’’ 1064 While the agency             cases. ‘‘Sometimes [the agency] must
                                             step analysis of Chevron, U.S.A. v.                      ‘‘must show that there are good reasons                 [provide a more detailed justification
                                             Natural Resources Defense Council.1056                   for the new policy,’’ the agency ‘‘need                 than what would suffice for a new
                                             Under step one, where a statute ‘‘has                    not demonstrate to a court’s satisfaction               policy created on a blank slate]—when,
                                             directly spoken to the precise question                  that the reasons for the new policy are                 for example, its new policy rests upon
                                             at issue,’’ id. at 842, the court and the                better than the reasons for the old                     factual findings that contradict those
                                             agency ‘‘must give effect to the                         one.’’ 1065 ‘‘[I]t suffices that the new                which underlay its prior policy; or
                                             unambiguously expressed intent of                        policy is permissible under the statute,                when its prior policy has engendered
                                             Congress.’’ 1057 If the statute is silent or             that there are good reasons for it, and                 serious reliance interests that must be
                                             ambiguous regarding the specific                         that the [a]gency believes it to be better,             taken into account.’’ 1070 This preamble,
                                             question, the court proceeds to step two                 which the conscious change of course                    and the accompanying TSD and FRIA,
                                             and asks ‘‘whether the agency’s answer                   adequately indicates.’’ 1066 For instance,              all provide extensive detail on the
                                             is based on a permissible construction                   ‘‘evolving notions’’ about the                          agency’s updated analysis, and Section
                                             of the statute.’’ 1058 The APA also                      appropriate balance of varying policy                   VI.D contains the agency’s explanation
                                             requires that agencies provide notice                    considerations constitute sufficiently                  of how the agency has considered that
                                             and comment to the public when                           good reasons for a change in                            analysis and other relevant information
                                             proposing regulations,1059 as NHTSA                      position.1067 Moreover, it is ‘‘well                    in determining that the final CAFE
                                             did for the proposal that preceded this                  within an [a]gency’s discretion’’ to
                                                                                                                                                              standards are maximum feasible for MY
                                             final rule.                                              change policy course even when no new
                                                NHTSA recognizes that this final rule,                                                                        2024–2026 passenger cars and light
                                                                                                      facts have arisen: Agencies are
                                             like the 2020 final rule, is reconsidering                                                                       trucks.
                                                                                                      permitted to conduct a ‘‘reevaluation of
                                             standards previously promulgated.                        which policy would be better in light of                C. National Environmental Policy Act
                                             NHTSA, like any other Federal agency,                    the facts,’’ without ‘‘rely[ing] on new
                                             is afforded an opportunity to reconsider                 facts.’’ 1068                                              As discussed above, EPCA requires
                                             prior views and, when warranted, to                         Mr. Kreucher commented that                          the agency to determine the level at
                                             adopt new positions. Indeed, as a matter                 NHTSA did not offer ‘‘any new science                   which to set CAFE standards for each
                                             of good governance, agencies should                      that would compel a change in the                       model year by considering the four
                                             revisit their positions when appropriate,                stringency of the CAFE standards . . .,                 factors of technological feasibility,
                                             especially to ensure that their actions                  especially one under ‘unusually                         economic practicability, the effect of
                                             and regulations reflect legally sound                    condensed’ timing. No evidence is                       other motor vehicle standards of the
                                             interpretations of the agency’s authority                presented on technological                              Government on fuel economy, and the
                                             and remain consistent with the agency’s                  breakthroughs in support of the                         need of the United States to conserve
                                             views and practices. As a matter of law,                 proposal[]. The only thing that changed                 energy. The National Environmental
                                             ‘‘an [a]gency is entitled to change its                  [is] the Administrator[ ] of the [agency].              Policy Act (NEPA) directs that
                                             interpretation of a statute.’’ 1060                      Political ideology is not science. The                  environmental considerations be
                                             Nonetheless, ‘‘[w]hen an [a]gency                        will of the Administrators is not a                     integrated into that process.1071 To
                                             adopts a materially changed                              reason for changing a rule. Instituting a               explore the potential environmental
                                             interpretation of a statute, it must in                  rule change (or withdrawing a previous                  consequences of this rulemaking action,
                                             addition provide a ‘reasoned analysis’                   rule) because of political ideology is the              the agency prepared a Draft SEIS for the
                                             supporting its decision to revise its                    definition of arbitrary and capricious                  NPRM and a Final SEIS for the final
                                             interpretation.’’ 1061                                   rulemaking.’’ 1069                                      rule.1072 The purpose of an EIS is to
                                                ‘‘Changing policy does not, on its                       NHTSA disagrees that the basis for                   ‘‘provide full and fair discussion of
                                             own, trigger an especially ‘demanding                    amending the MY 2024–2026 standards                     significant environmental impacts and
                                             burden of justification.’ ’’ 1062 Providing              is political ideology. The agency has                   [to] inform decisionmakers and the
                                             a reasoned explanation ‘‘would                           updated many aspects of the analysis;                   public of the reasonable alternatives
                                             ordinarily demand that [the agency]                      our thinking about the appropriate                      which would avoid or minimize adverse
                                                                                                      balance of various policy considerations                impacts or enhance the quality of the
                                                1055 Burlington Truck Lines, Inc. v. United States,

                                             371 U.S. 156, 168 (1962).                                  1063 FCC v. Fox Television Stations, Inc. 556 U.S.
                                                                                                                                                              human environment.’’ 1073
                                                1056 467 U.S. 837 (1984).
                                                                                                      502, 515 (2009) (emphasis in original) (‘‘An agency        The agency’s overall EIS-related
                                                1057 Id. at 843.
                                                                                                      may not, for example, depart from a prior policy        obligation is to ‘‘take a ‘hard look’ at the
                                                1058 Id.                                              sub silentio or simply disregard rules that are still
                                                1059 5 U.S.C. 553.                                    on the books.’’).
                                                                                                                                                              environmental consequences before
                                                1060 Phoenix Hydro Corp. v. FERC, 775 F.2d 1187,        1064 Encino Motorcars, LLC, 136 S.Ct. at 2125–26

                                             1191 (DC Cir. 1985).                                     (quoting Fox Television Stations, Inc. 556 U.S. at        1070 See Fox Television Stations, Inc., 556 U.S. at

                                                1061 Alabama Educ. Ass’n v. Chao, 455 F.3d 386,       515).                                                   515 (2009).
                                                                                                        1065 Fox Television Stations, Inc., 556 U.S. at 515     1071 NEPA is codified at 42 U.S.C. 4321–47. The
                                             392 (DC Cir. 2006) (quoting Motor Vehicle Mfrs.
                                             Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,   (emphasis in original).                                 Council on Environmental Quality (CEQ) NEPA
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                                                                                                        1066 Id. (emphasis in original).                      implementing regulations are codified at 40 CFR
                                             463 U.S. 29, 57 (1983)); see also Encino Motorcars,
                                             LLC v. Navarro, 136 S.Ct. 2117, 2125 (2016)                1067 N. Am.’s Bldg. Trades Unions v.                  parts 1500–1508.
                                             (‘‘Agencies are free to change their existing policies   Occupational Safety & Health Admin., 878 F.3d             1072 Because this final rule revises CAFE

                                             as long as they provide a reasoned explanation for       271, 303 (DC Cir. 2017) (quoting the agency’s rule).    standards established in the 2020 final rule, NHTSA
                                             the change.’’) (citations omitted).                        1068 Nat’l Ass’n of Home Builders v. EPA, 682         chose to prepare a SEIS to inform that amendment
                                                1062 See Mingo Logan Coal Co. v. EPA, 829 F.3d        F.3d 1032, 1037–38 (DC Cir. 2012).                      of the MYs 2024–2026 standards. See the SEIS for
                                             710, 718 (DC Cir. 2016) (quoting Ark Initiative v.         1069 Walt Kreucher, Docket No. NHTSA–2021–            more details.
                                             Tidwell, 816 F.3d 119, 127 (DC Cir. 2016)).              0053–0013, at 14.                                         1073 40 CFR 1502.1.




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                                             taking a major action.’’ 1074                           standards for passenger cars and light                  MYs 2025–2026. Alternative 2 would
                                             Significantly, ‘‘[i]f the adverse                       trucks.                                                 require an 8.0 percent average annual
                                             environmental effects of the proposed                      To derive the direct and indirect                    fleet-wide increase in fuel economy for
                                             action are adequately identified and                    impacts of the action alternatives, the                 both passenger cars and light trucks for
                                             evaluated, the agency is not constrained                agency compared each action alternative                 MYs 2024–2026. Alternative 2.5 would
                                             by NEPA from deciding that other                        to the No-Action Alternative, which                     require an 8.0 percent average annual
                                             values outweigh the environmental                       reflects baseline trends that would be                  fleet-wide increase in fuel economy for
                                             costs.’’ 1075 The agency must identify the              expected in the absence of any further                  both passenger cars and light trucks for
                                             ‘‘environmentally preferable’’                          regulatory action. More specifically, the               MYs 2024 and 2025, and a 10.0 percent
                                             alternative but need not adopt it.1076                  No-Action Alternative in the Draft SEIS                 average annual fleet-wide increase in
                                             ‘‘Congress in enacting NEPA . . . did                   and Final SEIS assumed that the CAFE                    fuel economy for both passenger cars
                                             not require agencies to elevate                         standards set in the 2020 final rule for                and light trucks for MY 2026.
                                             environmental concerns over other                       MY 2021–2026 passenger cars and light                   Alternative 3 would require a 10.0
                                             appropriate considerations.’’ 1077                      trucks would remain in effect. In                       percent average annual fleet-wide
                                             Instead, NEPA requires an agency to                     addition, the No-Action Alternative                     increase in fuel economy for both
                                             develop and consider alternatives to the                assumes that the MY 2026 SAFE rule                      passenger cars and light trucks for MYs
                                             proposed action in preparing an EIS.1078                standards continue to apply for MY                      2024–2026. The primary differences
                                             The statute and implementing                            2027 and beyond, for both NHTSA and                     between the action alternatives
                                             regulations do not command the agency                   EPA. Like all of the Action Alternatives,               considered for the Draft SEIS and the
                                             to favor an environmentally preferable                  the No-Action Alternative also includes                 Final SEIS is that the Final SEIS added
                                             course of action, only that it make its                 other legal requirements and automaker                  an alternative, Alternative 2.5. Both of
                                             decision to proceed with the action after               commitments that will be in place                       the ranges of action alternatives, as well
                                             taking a hard look at the potential                     during the rulemaking time frame, as                    as the No-Action Alternative, in the
                                             environmental consequences and                          discussed in more detail in Section IV                  Draft SEIS and Final SEIS encompassed
                                             consider the relevant factors in making                 above: (1) California’s ZEV mandate                     a spectrum of possible standards the
                                             a decision among alternatives.1079                      (and its adoption by 177 states); (2) the               agency could determine was maximum
                                                The agency received many comments                    ‘‘Framework Agreements’’ between                        feasible based on the different ways the
                                             on the Draft SEIS. Among the comments                   California and BMW, Ford, Honda,                        agency could weigh EPCA’s four
                                             received, many commenters stated that                   VWA, and Volvo, which the agency                        statutory factors. Throughout the Final
                                             the Preferred Alternative was not                       implemented by including EPA’s                          SEIS, estimated impacts were shown for
                                             stringent enough and argued that either                 baseline GHG standards (i.e., those set                 all of these action alternatives, as well
                                             the environmental benefits of the                       in the 2020 final rule) and introducing                 as for the No-Action Alternative. For a
                                             proposal were (1) insufficient or (2)                   more stringent GHG target functions for                 more detailed discussion of the
                                             incorrectly assessed in a variety of ways.              those manufacturers; and (3) the                        environmental impacts associated with
                                             Comments regarding the environmental                    assumption that manufacturers will also                 the alternatives, see Chapters 3–8 of the
                                             analyses presented in this preamble are                 make any additional fuel economy                        Final SEIS, as well as Section VIII.D of
                                             addressed in Section VIII.D, while those                improvements estimated to reduce                        this preamble.
                                             regarding the Draft SEIS are addressed                  owners’ estimated average fuel outlays                     The agency’s Final SEIS describes
                                             in Chapter 10 of the Final SEIS.                        during the first 30 months of vehicle                   potential environmental impacts to a
                                                                                                     operation by more than the estimated                    variety of resources, including fuel and
                                                When preparing an EIS, NEPA
                                                                                                     increase in new vehicle price. The No-                  energy use, air quality, climate, land use
                                             requires an agency to compare the
                                                                                                     Action Alternative provides a baseline                  and development, hazardous materials
                                             potential environmental impacts of its
                                                                                                     (i.e., an illustration of what would be                 and regulated wastes, historical and
                                             proposed action and a reasonable range
                                                                                                     occurring in the world in the absence of                cultural resources, noise, and
                                             of alternatives. In the Draft SEIS,
                                                                                                     new Federal regulations) against which                  environmental justice. The Final SEIS
                                             NHTSA analyzed a No-Action
                                                                                                     to compare the environmental impacts                    also describes how climate change
                                             Alternative and three action
                                                                                                     of other alternatives presented in the                  resulting from global greenhouse gas
                                             alternatives. In the Final SEIS, the
                                                                                                     Draft SEIS and Final SEIS.1080                          emissions (including CO2 emissions
                                             agency analyzed a No-Action
                                                                                                        For the Final SEIS, the agency                       attributable to the U.S. light-duty
                                             Alternative and four action alternatives.
                                                                                                     analyzed four action alternatives,                      transportation sector under the
                                             The alternatives represent a range of
                                                                                                     Alternatives 1, 2, 2.5, and 3. Alternative              alternatives considered) could affect
                                             potential actions the agency could take,
                                                                                                     1 would require a 10.5 percent annual                   certain key natural and human
                                             and they are described more fully in
                                                                                                     increase for MY 2024 over MY 2023 and                   resources. Resource areas are assessed
                                             Section IV of this preamble, Chapter 1
                                                                                                     a 3.26 percent annual average annual                    qualitatively and quantitatively, as
                                             of the TSD, and Chapter 2 of the FRIA.
                                                                                                     fleet-wide increase in fuel economy for                 appropriate, in the Final SEIS, and the
                                             The environmental impacts of these
                                                                                                     both passenger cars and light trucks for                findings of that analysis are summarized
                                             alternatives, in turn, represent a range of
                                                                                                                                                             here.1081
                                             potential environmental impacts that                       1080 See 40 CFR 1502.2(e), 1502.14(d). CEQ has
                                             could result from the agency’s setting                  explained that ‘‘[T]he regulations require the             1081 The impacts described in this section come
                                             maximum feasible fuel economy                           analysis of the No-Action Alternative even if the       from NHTSA’s Final SEIS, which is being publicly
                                                                                                     agency is under a court order or legislative            issued simultaneously with this Final Rule. As
                                               1074 Baltimore Gas & Elec. Co. v. Natural             command to act. This analysis provides a                described above, the SEIS is based on
                                             Resources Defense Council, Inc., 462 U.S. 87, 97        benchmark, enabling decision makers to compare          ‘‘unconstrained’’ modeling rather than ‘‘standard
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                                             (1983).                                                 the magnitude of environmental effects of the action    setting’’ modeling. NHTSA conducts modeling both
                                               1075 Robertson v. Methow Valley Citizens Council,     alternatives [See 40 CFR 1502.14(c).] . . . Inclusion   ways in order to reflect the various statutory
                                                                                                     of such an analysis in the EIS is necessary to inform   requirements of EPCA/EISA and NEPA. The
                                             490 U.S. 332, 350 (1989).
                                               1076 40 CFR 1505.2(b).
                                                                                                     Congress, the public, and the President as intended     preamble employs the ‘‘standard setting’’ modeling
                                                                                                     by NEPA. [See 40 CFR 1500.1(a).]’’ Forty Most           in order to aid the decision-maker in avoiding
                                               1077 Baltimore Gas, 462 U.S. at 97.
                                                                                                     Asked Questions Concerning CEQ’s National               consideration of the prohibited items in 49 U.S.C.
                                               1078 42 U.S.C. 4332(2)(C)(iii).
                                                                                                     Environmental Policy Act Regulations, 46 FR 18026       32902(h) in determining maximum feasible
                                               1079 40 CFR 1505.2(b).                                (Mar. 23, 1981).                                        standards, but as a result, the impacts reported here



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                                                As the stringency of the alternatives                increases generally get larger (although              Alternative, decreases in emissions
                                             increases, total U.S. passenger car and                 they are still small) from Alternative 1              would occur for all toxic air pollutants
                                             light truck fuel consumption for the                    through Alternative 3 (the most                       with the more stringent alternatives
                                             period of 2020 to 2050 decreases. Total                 stringent alternative in terms of required            having the largest decreases. The largest
                                             light-duty vehicle fuel consumption                     miles per gallon). This temporary                     relative decreases in emissions would
                                             from 2020 to 2050 under the No-Action                   increase is largely due to new vehicle                occur for formaldehyde, for which
                                             Alternative is projected to be 3,559                    prices increasing in the short-term,                  emissions would decrease by as much
                                             billion gasoline gallon equivalents                     which slightly slows new-vehicle sales                as 10.3 percent. Percentage decreases in
                                             (GGE). Light-duty vehicle fuel                          and encourages consumers to buy used                  emissions of acetaldehyde, acrolein,
                                             consumption from 2020 to 2050 under                     vehicles instead or retain existing                   benzene, 1,3-butadiene, and DPM would
                                             the action alternatives is projected to                 vehicles for longer. As the analysis                  be less.
                                             range from 3,471 billion GGE under                      timeframe progresses, the new, higher                    The air quality analysis identified the
                                             Alternative 1 to 3,321 billion GGE under                fuel-economy vehicles become used                     following health impacts:
                                             Alternative 3. Under Alternative 2,                     vehicles, and the impacts of the                         In 2025, all action alternatives would
                                             light-duty vehicle fuel consumption                     standards change direction. In 2025,                  result in decreases in adverse health
                                             from 2020 to 2050 is projected to be                    across all criteria pollutants and action             impacts (mortality, acute bronchitis,
                                             3,391 billion GGE. Under Alternative                    alternatives, the smallest increase in                respiratory emergency room visits, and
                                             2.5, light-duty vehicle fuel consumption                emissions is .03 percent for NOX under                other health effects) nationwide
                                             from 2020 to 2050 is projected to be                    Alternative 1; The largest increase is 0.6            compared to the No-Action Alternative,
                                             3,371 billion GGE. All of the action                    percent and occurs for SO2 under                      primarily as a result of decreases in
                                             alternatives would decrease fuel                        Alternative 3. We underscore that these               emissions of PM2.5. Decreases in adverse
                                             consumption compared to the No-                         are fractions of a single percent.                    health impacts would be largest for
                                             Action Alternative, with fuel                              In 2035 and 2050, emissions of CO,                 Alternative 1, smaller for Alternative 3,
                                             consumption decreases that range from                   NOX, PM2.5, and VOCs decrease under                   still smaller for Alternative 2, and
                                             88 billion GGE under Alternative 1 to                   the action alternatives compared to the               smallest for Alternative 2.5 relative to
                                             238 billion GGE under Alternative 3.                    No-Action Alternative with the more                   the No-Action Alternative. However, the
                                                The relationship between stringency                  stringent alternatives having the largest             differences among the action
                                             and criteria and air toxics pollutant                   decreases). SO2 emissions generally                   alternatives are small. These decreases
                                             emissions is less straightforward,                      increase under the action alternatives                result from projected decreases in
                                             reflecting the complex interactions                     compared to the No-Action Alternative                 emissions of PM2.5 under all action
                                             among the tailpipe emissions rates of                   (except in 2035 under Alternative 1),                 alternatives, which is in turn
                                             the various vehicle types (passenger cars               with the more stringent alternatives                  attributable to shifts in modeled
                                             and light trucks, ICE vehicles and Evs,                 having the largest increases. SO2                     technology adoption from the baseline
                                             older and newer vehicles, etc.), the                    increases are largely due to higher                   and to where the rebound effect would
                                             technologies assumed to be                              upstream emissions associated with                    be offset by upstream emissions
                                             incorporated by manufacturers in                        electricity use by greater numbers of                 reductions due to decreases in fuel
                                             response to CAFE standards, upstream                    electrified vehicles being produced in                usage. Again, in the short-term, these
                                             emissions rates, the relative proportions               response to the standards. In 2035 and                slight changes in health impacts are
                                             of gasoline, diesel, and electricity in                 2050, across all criteria pollutants and              projected under the action alternatives
                                             total fuel consumption, and changes in                  action alternatives, the smallest                     as the result of increases in the prices
                                             VMT from the rebound effect. In                         decrease in emissions is 0.1 percent and              of new vehicles slightly delaying sales
                                             general, emissions of criteria and toxic                occurs for CO and SO2 under                           of new vehicles and encouraging more
                                             air pollutants increase very slightly in                Alternative 1; the largest decrease is                VMT in older vehicles instead, but this
                                             the short term, and then decrease                       12.0 percent and occurs for VOCs under                trend shifts over time as higher fuel-
                                             dramatically in the longer term, across                 Alternative 3. The smallest increase in               economy new vehicles become used
                                             all action alternatives, with some                      emissions is 0.03 percent and occurs for              vehicles and older vehicles are removed
                                             exceptions. In addition, the action                     NOX under Alternative 1; the largest                  from the fleet.
                                             alternatives would result in decreased                  increase is 7.4 percent and occurs for                   In 2035 and 2050, all action
                                             incidence of PM2.5-related health                       SO2 under Alternative 3.                              alternatives would result in decreased
                                             impacts in most years and alternatives                     The air quality analysis identified the            adverse health impacts nationwide
                                             due to the emissions decreases.                         following impacts on toxic air                        compared to the No-Action Alternative
                                             Decreases in adverse health outcomes                    pollutants:                                           as a result of general decreases in
                                             include decreased incidences of                            Under each action alternative in 2025              emissions of NOX and PM2.5. The
                                             premature mortality, acute bronchitis,                  compared to the No-Action Alternative,                decreases in adverse health impacts get
                                             respiratory emergency room visits, and                  increases in emissions would occur for                larger from Alternative 1 to Alternative
                                             work-loss days.                                         acetaldehyde, acrolein, benzene, and                  3 in 2035 and 2050, except that for some
                                                The air quality analysis in the Final                1,3-butadiene by up to about 0.2                      health impacts in 2035 and 2050 the
                                             SEIS identified the following impacts on                percent, and for formaldehyde by 0.1                  decreases are smaller for Alternative 2.5
                                             criteria air pollutants:                                percent. DPM emissions would decrease                 than for Alternative 2. These decreases
                                                For CO, NOX, and SO2 in 2025,                        by as much as 0.7 percent. For 2025, the              reflect the generally increasing
                                             emissions increase slightly under the                   largest relative increases in emissions               stringency of the action alternatives as
                                             action alternatives compared to the No-                 would occur for 1,3-butadiene, for                    they become implemented.
                                             Action Alternative. The emission                        which emissions would increase by as                     The alternatives would have the
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                                                                                                     much as 0.23 percent. Percentage                      following impacts related to Climate:
                                             may differ from those reported elsewhere in this        increases in emissions of acetaldehyde,                  In terms of climate effects, all action
                                             preamble. However, NHTSA considers the impacts          acrolein, and formaldehyde would be                   alternatives would decrease U.S.
                                             reported in the SEIS, in addition to the other
                                             information presented in this preamble, the TSD,        lower.                                                passenger car and light truck fuel
                                             and the FRIA, as part of its decision-making               Under each action alternative in 2035              consumption compared with the No-
                                             process.                                                and 2050 compared to the No-\Action                   Action Alternative, resulting in


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                                             reductions in the anticipated increases                 and ocean pH. For the analysis of direct              projected under the No-Action
                                             in global CO2 concentrations,                           and indirect impacts, the agency used                 Alternative compared to a decrease
                                             temperature, precipitation, and sea                     the Global Change Assessment Model                    under Alternative 1 of 0.03 centimeter
                                             level, and increases in ocean pH that                   Reference (GCAMReference) scenario                    (0.01 inch) compared with the No-
                                             would otherwise occur. The impacts of                   and SSP3–7.0 scenario to represent the                Action Alternative. Projected sea-level
                                             the action alternatives on global mean                  Reference Case emissions scenario (i.e.,              rise in 2100 under the SSP3–7.0
                                             surface temperature, precipitation, sea                 future global emissions assuming no                   scenario ranges from a high of 78.53
                                             level, and ocean pH would be small in                   comprehensive global actions to                       centimeters (30.92 inches) under the
                                             relation to global emissions trajectories.              mitigate GHG emissions). NHTSA                        No-Action Alternative to a low of 78.43
                                             Although these effects are small, they                  selected the GCAMReference and SSP3–                  centimeters (30.88 inches) under
                                             occur on a global scale and are long                    7.0 scenarios for their incorporation of              Alternative 3. Alternative 3 would result
                                             lasting; therefore, in aggregate, they can              a comprehensive suite of GHG and                      in a decrease in sea-level rise equal to
                                             have large consequences for health and                  pollutant gas emissions, including                    0.10 centimeter (0.04 inch) by 2100
                                             welfare and can make an important                       carbonaceous aerosols and a global                    compared with the level projected
                                             contribution to reducing the risks                      context of emissions with a full suite of             under the No-Action Alternative.
                                             associated with climate change.                         GHGs and ozone precursors                             Alternative 1 would result in a decrease
                                                The alternatives would have the                         Estimated CO2 concentrations in the                of 0.02 centimeter (0.008 inch)
                                             following impacts related to GHG                        atmosphere for 2100 under the                         compared with the No-Action
                                             emissions:                                              GCAMReference scenario would range                    Alternative.
                                                Passenger cars and light trucks are                  from 788.33 ppm under Alternative 3 to                   Under the GCAMReference scenario,
                                             projected to emit 89,200 million metric                 approximately 789.11 ppm under the                    global mean precipitation is anticipated
                                             tons of carbon dioxide (MMTCO2) from                    No-Action Alternative, indicating a                   to increase by 5.85 percent by 2100
                                             2021 through 2100 under the No-Action                   maximum atmospheric CO2 decrease of                   under the No-Action Alternative. Under
                                             Alternative. Alternative 1 and                          approximately 0.78 ppm compared to                    the action alternatives, this increase in
                                             Alternative 2 would decrease these                      the No-Action Alternative. Atmospheric                precipitation would be reduced by 0.00
                                             emissions by 4 and 7 percent through                    CO2 concentration under Alternative 1                 to 0.01 percent. Under the SSP3–7.0
                                             2100. Alternative 3 would decrease                      would decrease by 0.31 ppm compared                   scenario, global mean precipitation is
                                             these emissions by 10 percent through                   with the No-Action Alternative. The                   anticipated to increase by 6.09 percent
                                             2100. Emissions would be highest under                  CO2 concentrations under the SSP3–7.0                 by 2100 under the No-Action
                                             the No-Action Alternative, and emission                 emissions scenario in 2100 would range                Alternative. Under the action
                                             reductions would increase from                          from 799.57 ppm under Alternative 3 to                alternatives, this increase in
                                             Alternative 1 to Alternative 3. All CO2                 approximately 800.39 ppm under the                    precipitation would be reduced by 0.00
                                             emissions estimates associated with the                 No-Action Alternative, indicating a                   to 0.01 percent.
                                             Proposed Action and alternatives                        maximum atmospheric CO2 decrease of                      Ocean pH in 2100 under the
                                             include upstream emissions.                             approximately 0.82 ppm compared to                    GCAMReference scenario is anticipated
                                                Compared with total projected CO2                    the No-Action Alternative. Alternative 1              to be 8.2180 under Alternative 3, about
                                             emissions of 967 MMTCO2 from all                        would decrease by 0.30 ppm compared                   0.0004 more than the No-Action
                                             passenger cars and light trucks under                   with the No-Action Alternative.                       Alternative. Under Alternative 1, ocean
                                             the No-Action Alternative in the year                      Under the GCAMReference scenario,                  pH in 2100 would be 8.2178, or 0.0002
                                             2100, the action alternatives are                       global mean surface temperature is                    more than the No-Action Alternative.
                                             expected to decrease CO2 emissions                      projected to increase by approximately                Ocean pH in 2100 under the SSP3–7.0
                                             from passenger cars and light trucks in                 3.48°C (6.27 °F) under the No-Action                  scenario is anticipated to be 8.2123
                                             the year 2100 5 percent under                           Alternative by 2100. Implementing the                 under Alternative 3, about 0.0004 more
                                             Alternative 1, 9 percent under                          most stringent alternative (Alternative 3)            than the No-Action Alternative. Under
                                             Alternative 2, 10 percent under                         would decrease this projected                         Alternative 1, ocean pH in 2100 would
                                             Alternative 2.5, and 12 percent under                   temperature rise by 0.003°C (0.006 °F),               be 8.2120, or 0.0002 more than the No-
                                             Alternative 3.                                          while implementing Alternative 1                      Action Alternative.
                                                The emission reductions in 2025                      would decrease projected temperature                     The action alternatives would reduce
                                             compared with emissions under the No-                   rise by 0.001°C (0.002 °F). Under the                 the impacts of climate change that
                                             Action Alternative are approximately                    SSP3–7.0 emissions scenario, global                   would otherwise occur under the No-
                                             equivalent to the annual emissions from                 mean surface temperature is projected to              Action Alternative. Although the
                                             1,143,017 vehicles under Alternative 1,                 increase by approximately 3.56°C                      projected reductions in CO2 and climate
                                             1,613,007 vehicles under Alternative 2,                 (6.41 °F) under the No-Action                         effects are small compared with total
                                             1,763,066 vehicles under Alternative                    Alternative by 2100. Implementing the                 projected future climate change, they
                                             2.5, and 2,379,681 vehicles under                       most stringent alternative (Alternative 3)            are quantifiable and directionally
                                             Alternative 3. For scale, a total of                    would decrease this projected                         consistent and would represent an
                                             253,949,461 passenger cars and light                    temperature rise by 0.004°C (0.007 °F),               important contribution to reducing the
                                             truck vehicles are projected to be on the               while implementing Alternative 1                      risks associated with climate change.
                                             road in 2025 under the No-Action                        would decrease projected temperature                     The alternatives would have the
                                             Alternative.                                            rise by 0.001°C (0.002 °F).                           following impacts related to Health,
                                                The alternatives would have the                         Projected sea-level rise in 2100 under             Societal, and Environmental Impacts of
                                             following impacts related to Carbon                     the GCAMReference scenario ranges                     Climate Change:
                                             Dioxide Concentration, Global Mean                      from a high of 76.28 centimeters (30.03                  The Proposed Action and alternatives
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                                             Surface Temperature, Sea Level,                         inches under the No-Action Alternative                would reduce the impacts of climate
                                             Precipitation, and Ocean pH:                            to a low of 76.22 centimeters (30.01                  change that would otherwise occur
                                                CO2 emissions affect the                             inches) under Alternative 3. Alternative              under the No-Action Alternative. The
                                             concentration of CO2 in the atmosphere,                 3 would result in a decrease in sea-level             magnitude of the changes in climate
                                             which in turn affects global                            rise equal to 0.07 centimeter (0.03 inch)             effects that would be produced by the
                                             temperature, sea level, precipitation,                  by 2100 compared with the level                       most stringent action alternative


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                                             (Alternative 3) using the three degree                  timing of species’ life-cycle events,                 aeroallergens, increases in water and
                                             sensitivity analysis by the year 2100 is                potential extinction of sensitive species             food-borne diseases, increases in mental
                                             between 0.73 ppm and 0.80 ppm lower                     that are unable to adapt to changing                  health issues, and changes in the
                                             concentration of CO2, three thousandths                 conditions, increases in the occurrence               seasonal patterns and range of vector-
                                             of a degree increase in temperature rise,               of forest fires and pest infestations, and            borne diseases. The most disadvantaged
                                             a small percentage change in the rate of                changes in habitat productivity due to                groups such as children, the elderly, the
                                             precipitation increase, between 0.10 and                increased atmospheric concentrations of               sick, those experiencing discrimination,
                                             0.11 centimeter (0.04 inch) decrease in                 CO2.                                                  historically underserved populations,
                                             sea-level rise, and an increase of                         • Impacts on ocean systems, coastal                some communities of color and tribal
                                             between 0.0004 and 0.0005 in ocean pH.                  regions, and low-lying areas are                      and Indigenous communities, and low-
                                             Although the projected reductions in                    projected to include the loss of coastal              income populations are especially
                                             CO2 and climate effects are small                       areas due to inundation, submersion, or               vulnerable and are projected to
                                             compared with total projected future                    erosion from sea-level rise and storm                 experience disproportionate health
                                             climate change, they are quantifiable,                  surge, with increased vulnerability of                impacts.
                                             directionally consistent, and would                     the built environment and associated                     • Impacts on human security are
                                             represent an important contribution to                  economies. Changes in key habitats                    projected to include increased threats in
                                             reducing the risks associated with                      (e.g., increased temperatures, decreased              response to adversely affected
                                             climate change.                                         oxygen, decreased ocean pH, increased                 livelihoods, compromised cultures,
                                                Although the agency does quantify                    salinization) and reductions in key                   increased or restricted migration,
                                             the changes in monetized damages that                   habitats (e.g., coral reefs) are projected            increased risk of armed conflicts,
                                             can be attributable to each action                      to affect the distribution, abundance,                reduction in adequate essential services
                                             alternative, many specific impacts of                   and productivity of many marine                       such as water and energy, and increased
                                             climate change on health, society, and                  species.                                              geopolitical rivalry.
                                             the environment cannot be estimated                        • Impacts on food, fiber, and forestry                In addition to the individual impacts
                                             quantitatively. Therefore, the agency                   are projected to include increasing tree              of climate change on various sectors,
                                             provides a qualitative discussion of                    mortality, forest ecosystem                           compound events may occur more
                                             these impacts by presenting the findings                vulnerability, productivity losses in                 frequently. Compound events consist of
                                             of peer-reviewed panel reports                          crops and livestock, and changes in the               two or more extreme weather events
                                             including those from IPCC, the Global                   nutritional quality of pastures and                   occurring simultaneously or in sequence
                                             Change Research Program, the Climate                    grazing lands in response to fire, insect             when underlying conditions associated
                                             Change Science Program, the National                    infestations, increases in weeds,                     with an initial event amplify subsequent
                                             Research Council, and the Arctic                        drought, disease outbreaks, or extreme                events and, in turn, lead to more
                                             Council, among others. While the action                 weather events. Increased                             extreme impacts. To the extent the
                                             alternatives would decrease growth in                   concentrations of CO2 in the atmosphere               action alternatives would result in
                                             GHG emissions and reduce the impact                     are projected to also stimulate plant                 reductions in projected increases in
                                             of climate change across resources                      growth to some degree, a phenomenon                   global CO2 concentrations, this
                                             relative to the No-Action Alternative,                  known as the CO2 fertilization effect,                rulemaking would contribute to
                                             they would not themselves prevent                       but the impact varies by species and                  reducing the risk of compound events.
                                             climate change and associated impacts.                  location. Many marine fish species are                   In most cases, NHTSA presents the
                                             Long-term climate change impacts                        projected to migrate to deeper or colder              findings of a literature review of
                                             identified in the scientific literature are             water in response to rising ocean                     scientific studies in the Final SEIS, such
                                             briefly summarized below, and vary                      temperatures, and global potential fish               as in Chapter 6, where NHTSA provides
                                             regionally, including in scope, intensity,              catches could decrease. Impacts on food               a literature synthesis focusing on
                                             and directionality (particularly for                    and agriculture, including yields, food               existing credible scientific information
                                             precipitation). While it is difficult to                processing, storage, and transportation,              to evaluate the most significant lifecycle
                                             attribute any particular impact to                      are projected to affect food prices,                  environmental impacts from some of the
                                             emissions that could result from this                   socioeconomic conditions, and food                    fuels, materials, and technologies that
                                             final rule, the following impacts are                   security globally.                                    may be used to comply with the
                                             likely to be beneficially affected to some                 • Impacts on rural and urban areas                 alternatives. In Chapter 7, NHTSA
                                             degree by reduced emissions from the                    are projected to affect water and energy              discusses land use and development,
                                             action alternatives:                                    supplies, wastewater and stormwater                   hazardous materials and regulated
                                                • Impacts on freshwater resources are                systems, transportation,                              waste, historical and cultural resources,
                                             projected to include changes in rainfall                telecommunications, provision of social               noise, and environmental justice.
                                             and streamflow patterns, warming                        services, incomes (especially                         Finally, in Chapter 8, NHTSA discusses
                                             temperatures and reduced snowpack,                      agricultural), air quality, and safety. The           cumulative impacts related to energy,
                                             changes in water availability paired                    impacts are projected to be greater for               air quality, and climate change, and
                                             with increasing water demand for                        vulnerable populations such as lower-                 provides a literature synthesis of the
                                             irrigation and other needs, and                         income populations, historically                      impacts on key natural and human
                                             decreased water quality from increased                  underserved populations, some                         resources of changes in climate change
                                             algal blooms. Inland flood risk is                      communities of color and tribal and                   variables. In these chapters, NHTSA
                                             projected to increase in response to                    Indigenous communities, the elderly,                  concludes that impacts would vary
                                             increasing intensity of precipitation                   those with existing health conditions,                between the action alternatives.
                                             events, drought, changes in sediment                    and young children.                                      Based on the foregoing, NHTSA
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                                             transport, and changes in snowpack and                     • Impacts on human health are                      concludes from the Final SEIS that
                                             the timing of snowmelt.                                 projected to include increases in                     Alternative 3 is the overall
                                                • Impacts on terrestrial and                         mortality and morbidity due to                        environmentally preferable alternative
                                             freshwater ecosystems are projected to                  excessive heat and other extreme                      because, assuming full compliance were
                                             include shifts in the range and seasonal                weather events, increases in respiratory              achieved regardless of the agency’s
                                             migration patterns of species, relative                 conditions due to poor air quality and                assessment of the costs to industry and


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                                             society, it would result in the largest                 fuel economy standards, as all of the                 purpose. . . .’’ 1084 NHTSA agrees that
                                             reductions in fuel use and CO2                          action alternatives considered in this                the agency’s current determination of
                                             emissions among the alternatives                        final rule would do, can also potentially             what CAFE standards are maximum
                                             considered. In addition, Alternative 3                  improve U.S. security. There are                      feasible for MYs 2024–2026 is based on
                                             would result in the lowest overall                      extremely important energy security                   a combination of changed facts and
                                             emissions levels over the long term of                  benefits associated with raising CAFE                 evolved legal interpretations—again,
                                             criteria air pollutants and of the toxic air            stringency that are not discussed in TSD              that a rebalancing of the factors is in
                                             pollutants studied by NHTSA. Impacts                    Chapter 6.2.4, and which are difficult to             order. As discussed in Section VI.B,
                                             on other resources (especially those                    quantify, but have weighed heavily for                agencies are entitled to change their
                                             described qualitatively in the Final                    NHTSA in determining the maximum                      minds, and the record contained in this
                                             SEIS) would be proportional to the                      feasible standards in this final rule.                preamble and the accompanying
                                             impacts on fuel use and emissions, as                                                                         rulemaking documents provides
                                                                                                        Additionally, nearly all auto
                                             further described in the Final SEIS, with                                                                     extensive evidence of why the agency is
                                             Alternative 3 expected to have the                      manufacturers have announced                          making this new determination.
                                             fewest negative impacts. Although the                   forthcoming advanced technology, high-                   NHTSA believes, as we will explain
                                             CEQ regulations require NHTSA to                        fuel-economy vehicle models, and made                 in more detail below, that Alternative
                                             identify the environmentally preferable                 strong public commitments that mirror                 2.5 is the maximum feasible alternative
                                             alternative,1082 the agency need not                    the goals of the Administration, with                 that manufacturers can achieve for MYs
                                             adopt it, as described above. The                       those announcements continuing as the                 2024–2026, based on its significant fuel
                                             following section explains how NHTSA                    economy recovers from the global                      savings benefits to consumers and its
                                             balanced the relevant factors to                        coronavirus pandemic, even despite                    environmental and energy security
                                             determine which alternative represented                 slow-to-resolve supply chain challenges.              benefits relative to all other alternatives
                                             the maximum feasible standards,                         Five major manufacturers voluntarily                  except Alternative 3. Although
                                             including why NHTSA does not believe                    bound themselves to stricter GHG                      Alternative 3 would provide greater fuel
                                             that the environmentally preferable                     national-level requirements as part of                savings benefits, NHTSA estimates that
                                             alternative is maximum feasible.                        the California Framework Agreements,                  Alternative 3 would result in a large
                                                NHTSA has considered the discussion                  which were finalized in fall 2020. Many,              average per-vehicle cost increase, which
                                             above and the Final SEIS carefully in                   though not all, of the technologies that              for many automakers could exceed
                                             arriving at its conclusion that                         automakers will use to comply with                    $2,000, compared to the price of
                                             Alternative 2.5 is maximum feasible, as                 those agreements will also improve fuel               vehicles under Alternative 2.5. In
                                             discussed below. The following section                  economy. Importantly, NHTSA’s own                     contrast to Alternative 3, and that it
                                             (Section VI.D) explains how NHTSA                       updated analysis of technological                     comes at a cost we believe the market
                                             balanced the relevant factors to                        feasibility and cost indicates that                   can bear. While Alternative 1 produces
                                             determine which alternative represented                 significant improvements in fuel                      higher net benefits, it also continues to
                                             the maximum feasible standards.                         economy relative to the existing                      allow fuel consumption and
                                                                                                     standards are feasible and economically               accompanying disbenefits that could
                                             D. Evaluating the EPCA Factors and
                                                                                                     practicable. Some facts on the ground                 have been avoided in a cost-beneficial
                                             Other Considerations To Arrive at the
                                                                                                     remain similar to what was before                     manner. And while Alternative 3
                                             Final Standards
                                                                                                     NHTSA in the prior analysis—gas prices                achieves greater reductions in fuel
                                                Despite only two years having passed                 have risen recently but remain                        consumption than Alternative 2, it
                                             since the 2020 final rule, enough has                   forecasted to stay relatively low in the              shows lower net benefits under a 7
                                             changed in the United States and in the                 mid- to longer-term according to AEO                  percent discount rate. Alternative 3 also,
                                             world that revisiting the CAFE                          2021,1083 for example, and light-duty                 as detailed above, adds technology costs
                                             standards for MYs 2024–2026 is                          vehicle sales since 2020 have struggled               of over $2,000 per vehicle for more
                                             reasonable and appropriate. The agency                  to recover from the effects of the                    manufacturers as compared to the
                                             has determined that the standards                       pandemic. The vehicles that did sell                  baseline, while Alternative 2.5 has
                                             should be revised to emphasize the                                                                            somewhat lower costs and greater lead
                                                                                                     have tended to be, on average, larger,
                                             purpose of the program: Energy                                                                                time for the largest increase in standards
                                                                                                     heavier, and more powerful, all factors
                                             conservation. NHTSA continues to                                                                              for MY 2026. Regardless of net benefits,
                                                                                                     which increase fuel consumption. Yet
                                             believe that strong fuel economy                                                                              NHTSA would still conclude that
                                                                                                     overall fleet fuel economy still achieved
                                             standards function as an important                                                                            Alternative 2.5 is economically
                                                                                                     a record high according to the 2021 EPA
                                             insurance policy against oil price                                                                            practicable, based on per-vehicle costs,
                                             volatility, particularly to protect                     Automotive Trends Report—thus, again,
                                                                                                     enough has changed that a rebalancing                 technology levels estimated to be
                                             consumers even as the U.S. has                                                                                required to meet the standards, and the
                                             improved its energy independence over                   of the EPCA factors is appropriate for
                                                                                                     MYs 2024–2026. South Coast AQMD                       slight additional lead time provided as
                                             time. The only way to continue to                                                                             compared to Alternative 3.
                                             insulate consumers and the U.S.                         commented that ‘‘NHTSA . . . should
                                                                                                     be forthright that the balancing of                      Additionally, these standards
                                             economy further against the negative                                                                          represent some of the largest year over
                                             effects of swings in oil prices is to                   statutory factors is changed not merely
                                                                                                     because of new facts, but because the                 year increases in CAFE stringency that
                                             continue to improve fleet fuel economy                                                                        NHTSA has ever required, so we believe
                                             and take other steps to reduce the oil-                 SAFE rule took an unprecedented
                                                                                                     approach of elevating non-statutory                   that providing maximum lead time for
                                             intensity of the economy. Moreover, as                                                                        the biggest increase of 10 percent for
                                             climate change progresses, the U.S. may                 factors above Congress’ express
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                                                                                                     directives and overriding                             MY 2026 is reasonable and appropriate,
                                             face new energy-related security risks if                                                                     particularly given the ongoing rapid
                                             climate effects exacerbate geopolitical                                                                       changes in the auto industry. Choosing
                                                                                                       1083 Even AEO 2022 continues to reflect gasoline
                                             tensions and destabilization. Thus,                                                                           Alternative 3 would require industry to
                                                                                                     retail prices that are well below $4/gallon through
                                             mitigating climate effects by increasing                2050. See https://www.eia.gov/outlooks/aeo/pdf/
                                                                                                     AEO2022_ChartLibrary_Petroleum.pdf (accessed:           1084 South Coast AQMD, Docket No. NHTSA–
                                               1082 40 CFR 1505.2(b).                                Mar. 24, 2022).                                       2021–0053–1477, at 1.



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                                             ramp up even faster, and thus provide                   overarching purpose of energy                         argued that it is reasonable to conclude
                                             less lead time, with consequences for                   conservation must guide us. The                       that manufacturers (who are all for-
                                             economic practicability. With relatively                discussion below seeks to untangle the                profit companies) would not be
                                             small estimated sales effects and                       issues so that the statutory factors and              announcing plans to offer these types of
                                             actually positive estimated effects on                  their relationship to each other can be               vehicles if they did not expect to be able
                                             employment, we are confident that                       evaluated, while still avoiding the                   to sell them,1088 and thus that
                                             Alternative 2.5 is feasible, and that                   prohibited considerations, while still                manufacturers are more sanguine about
                                             industry can meet these standards.                      being aware of and informed by reality.               consumer demand for fuel efficiency
                                                In re-evaluating all of the factors that                In the 2020 final rule, NHTSA                      going forward than they have been
                                             NHTSA considers in determining                          interpreted the need of the U.S. to                   previously.
                                             maximum feasible CAFE standards, the                    conserve energy as less important than                   Additionally, NHTSA no longer
                                             agency was compelled to balance what                    in previous rulemakings. This was in                  believes that it is reasonable or
                                             we believe is a credible case for                       part because of structural changes in                 appropriate to focus only on ‘‘avoiding
                                             choosing Alternative 3 as opposed to                    global oil markets as a result of shale oil           waste’’ in evaluating the need of the
                                             Alternative 2.5. In doing so, NHTSA                     drilling in the U.S., but also because in             U.S. to conserve energy. EPCA’s
                                             must balance the four statutory factors.                the context of environmental effects,                 overarching purpose is energy
                                             Alternative 2.5 and Alternative 3 each                  NHTSA narrowly interpreted EPCA/                      conservation. The need of the U.S. to
                                             produce significant reductions in fuel                  EISA as not requiring the agency to                   conserve energy may be reasonably
                                             use, and while Alternative 3 is                         ‘‘single-mindedly address carbon                      interpreted as continuing to push the
                                             estimated to result in more savings, it                 emissions at the expense of all other                 balancing toward greater stringency.
                                             could require significant additional                    considerations.’’ 1085 Focusing heavily               Recent events have further reinforced
                                             technology application. Alternative 3                   on the ‘‘very small’’ ‘‘impacts on global             the enduring importance of reducing
                                             also appears to be slightly beyond the                  mean surface temperature resulting from               Americans’ exposure to volatility in
                                             level of economic practicability for the                this action,’’ NHTSA concluded then                   globalized oil markets through
                                             model years addressed by this rule,                     that ‘‘[t]aking climate change into                   improved fuel economy. There are
                                             when considering per-vehicle costs,                     account elevates the importance of the                extremely important energy security
                                             technology application rates, and lead                  ‘need of the United States to conserve                benefits associated with raising CAFE
                                             time. Even though Alternative 3                         energy’ criterion in NHTSA’s                          stringency that are not discussed in TSD
                                             maximizes energy conservation, and                      balancing,’’ and stated that, ‘‘[h]owever,            Chapter 6.2.4, and which are difficult to
                                             NHTSA believes it is technologically                    in light of the limits in what the agency             quantify, but have weighed heavily for
                                             feasible, economic practicability tips the              can achieve, the potential offsetting                 NHTSA in determining the maximum
                                             balance for the agency to Alternative                   impacts to the environment, and the                   feasible standards in this final rule.
                                             2.5. Alternative 2.5 is an ambitious but                statutory requirement to consider other                  The following text will walk through
                                             achievable set of standards that NHTSA                  factors, the impacts of carbon emissions              the four statutory factors in more detail
                                             has concluded represents the right                      alone cannot drive the outcome of                     and discuss NHTSA’s decision-making
                                             balancing for MYs 2024–2026—it is                       NHTSA’s decision-making.’’ 1086                       process more thoroughly. To be clear at
                                             technologically feasible; it continues to                  One of those other factors was                     the outset, however, the fundamental
                                             push fuel economy improvements,                         consumer demand for vehicles with                     balancing of factors for this final rule is
                                             bolstering the industry’s trajectory                    higher fuel economy levels, which is                  different from the 2020 final rule
                                             toward higher future standards by                       relevant to the economic practicability               because NHTSA reconsidered how to
                                             keeping stringency high in the mid-                     of potential CAFE standards—if                        balance its relevant statutory obligations
                                             term. It meets the need of the U.S. to                  industry’s response to standards is to                under EPCA, and interprets the need of
                                             conserve energy, creating important (if                 make vehicles that consumers refuse to                the U.S. to conserve energy as weighing
                                             unquantifiable) energy security benefits,               purchase, then the standards may not be               more heavily than it did at the time of
                                             but in our estimation, not beyond the                   economically practicable.1087 In the                  the 2020 final rule. As noted earlier in
                                             point of economic practicability; and we                2020 final rule, NHTSA expressed                      this preamble NHTSA, like any other
                                             believe that it is complementary to other               concern that low gasoline prices and                  Federal agency, is afforded an
                                             motor vehicle standards of the                          apparent consumer preferences for                     opportunity to reconsider prior views
                                             Government. For these reasons, NHTSA                    larger, heavier, more powerful vehicles               and, when warranted, to adopt new
                                             concludes that Alternative 2.5 is                       would make it exceedingly difficult for               positions. The evidence also suggests
                                             maximum feasible for MYs 2024–2026.                     manufacturers to achieve higher                       that higher standards are economically
                                                NHTSA notes that the issues raised by
                                                                                                     standards without negative                            practicable, as well as being
                                             commenters and with which the agency
                                                                                                     consequences to sales and jobs, and                   technologically feasible and feasible in
                                             is grappling have become more
                                                                                                     would cause consumer welfare losses.                  the context of (and complementary of)
                                             intertwined over time. Increasingly, the
                                                                                                     Since then, however, more and more                    the effects of other motor vehicle
                                             issues do not parse neatly into the
                                                                                                     manufacturers are announcing more and                 standards of the Government on fuel
                                             separate considerations that Congress
                                             directs NHTSA to evaluate in                            more vehicle models with advanced                     economy. In order to be maximum
                                             determining what CAFE standards are                     engines and varying levels of                         feasible in the rulemaking time frame,
                                             maximum feasible. Factors that                          electrification. In the NPRM, NHTSA                   CAFE standards need to be set at levels
                                             Congress directs NHTSA not to consider                                                                        that reflect all of that evidence.
                                                                                                       1085 85 FR 25173 (Apr. 30, 2020).
                                             are, in many ways, also intertwined                       1086 Id.                                               1088 To the extent that manufacturers are offering
                                             with the factors that NHTSA must
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                                                                                                       1087 Mr. Douglas commented that ‘‘[w]hen            these vehicles in response to expected regulations,
                                             consider. Yet NHTSA is still required to                automakers argue that they cannot feasibly increase   NHTSA still believes that they would not do so
                                             set CAFE standards for cars and trucks,                 fuel economy any further, what they are really        before any required standards had been announced
                                             for each model year, at the maximum                     saying is that they cannot possibly increase fuel     if they believed the vehicles were unsaleable or
                                                                                                     economy any further while continuing to produce       unmanageably detrimental to profits. Vehicle
                                             feasible level, and if the evidence                     the vehicles that consumers demand.’’ Peter           manufacturers are sophisticated corporate entities
                                             suggests that more stringent standards                  Douglas, Docket No. NHTSA–2021–0053–0085, at          well able to communicate their views to regulatory
                                             are maximum feasible, then EPCA’s                       20.                                                   agencies.



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                                                Again, for context and for the reader’s              chosen maximum feasible CAFE                           stringency increase over the required
                                             reference, here are the regulatory                      standards for MYs 2024–2026,                           levels in MY 2023:
                                             alternatives among which NHTSA has                      representing different annual rates of




                                                In evaluating the statutory factors to               gasoline prices are at this time linked to             Transportation Association (ZETA),1096
                                             determine maximum feasible standards,                   global oil prices. Continuing to reduce                ACEEE,1097 Great Lakes and Midwest
                                             we may begin with the need of the U.S.                  the amount of money consumers spend                    Environmental Organizations,1098
                                             to conserve energy, which is being                      on vehicle fuel thus remains an                        National Parks Conservation
                                             considered more holistically in this                    important consideration for the need of                Association,1099 roughly 17,000 citizen-
                                             final rule as compared to in the 2020                   the U.S. to conserve energy.                           members of UCS,1100 and 24,700
                                             final rule. According to the analysis                      As discussed in Section VI.A, many                  citizens who signed a petition from
                                             presented in Section V and in the                       commenters agreed that Alternative 3                   Consumer Reports.1101 NRDC submitted
                                             accompanying FRIA and Final SEIS,                       likely best met the need of the U.S. to                over 27,000 letters from citizen-
                                             Alternative 3 would save consumers the                  conserve energy, because it maximized                  members asking NHTSA to set
                                             most in fuel costs, and would achieve                   fuel conservation, with attendant energy               standards at least as stringent as EPA’s
                                             the greatest reductions in climate                      security benefits from reduced                         Alternative 2 and to reduce compliance
                                             change-causing CO2 emissions.                           petroleum use, more fuel savings for                   flexibilities, to ‘‘put us on the road to
                                             Alternative 3 would also maximize fuel                  consumers, and the most positive                       the goal of reaching 100 [percent] net-
                                             consumption reductions, better                          impacts on the climate. Tens of                        zero vehicle sales by 2035.’’ 1102 Sierra
                                             protecting consumers from international                 thousands of commenters thus urged                     Club members also submitted over 4,000
                                             oil market instability and price spikes.                NHTSA to choose Alternative 3.1089                     letters asking NHTSA to set stringent
                                             Alternative 2.5 saves somewhat less fuel                Commenters arguing that Alternative 3                  fuel economy standards.1103
                                             (and thus, saves consumers somewhat                     was maximum feasible and also that                        Other commenters focused on the
                                             less on fuel costs and reduces CO2                      compliance flexibilities should be                     need to maximize fuel savings because
                                             emissions by somewhat less), but still                  curtailed (in order to maximize real-                  Congress directs NHTSA to set
                                             saves more fuel (and thus fuel cost and                 world fuel savings and emissions                       maximum feasible CAFE standards.
                                             CO2 emissions) than Alternatives 1 and                  reductions) included the Climate                       California Attorney General et al. stated
                                             2. For now, gasoline is still the                       Group,1090 ELPC,1091 American Lung                     that ‘‘Congress’ purpose in drafting this
                                             dominant fuel used in light-duty                        Mid-Atlantic,1092 Sierra Club,1093                     language—and specifically, in requiring
                                             transportation. As such, consumers, and                 UCS,1094 SELC,1095 Zero Emission                       NHTSA to establish ‘maximum feasible’
                                             the economy more broadly, are subject                                                                          standards—is clear. Congress intended
                                             to fluctuations in gasoline price that                     1089 See, e.g., CFA, Docket No. NHTSA–2021–
                                                                                                                                                            the agency to conserve fuel, and thereby
                                                                                                     0053–1482–Al, at 1; Peter Douglas, Docket No.          save consumers money, insulate the
                                             impact the cost of travel and,                          NHTSA–2021–0053–0085, at 1; Ceres, Docket No.
                                             consequently, the demand for mobility.                  NHTSA–2021–0053–0076, at 1; many individual
                                                                                                                                                              1096 ZETA, Docket No. NHTSA–2021–0053–1510,
                                             Vehicles are long-lived assets and the                  citizen commenters who submitted form letters to
                                                                                                     the docket beginning with ‘‘As a person of faith and   at 1.
                                             long-term price uncertainty and                                                                                   1097 ACEEE, Docket No. NHTSA–2021–0053–
                                                                                                     conscience . . .’’; and many individual citizen
                                             volatility of petroleum still represents a              commenters at the public hearing.                      0074, at 6.
                                             risk to consumers. By increasing the fuel                  1090 Climate Group, Docket No. NHTSA–2021–             1098 Great Lakes and Midwest Environmental

                                             economy of vehicles in the marketplace,                 0053–0052, at 1.                                       Organizations, Docket No. NHTSA–2021–0053–
                                             more stringent CAFE standards better                       1091 ELPC public hearing comments, Docket No.       1520, at 1.
                                                                                                     NHTSA–2021–0053–0060, at 1.                               1099 National Parks Conservation Association,
                                             insulate consumers against these risks                     1092 American Lung Mid-Atlantic, Docket No.         Docket No. NHTSA–2021–0053–1569, at 2.
                                             over longer periods of time, even when
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                                                                                                     NHTSA–2021–0053–0067, at 3.                               1100 UCS citizen-member letters, Docket No.

                                             accounting for the increased upfront                       1093 Sierra Club public hearing comments, Docket    NHTSA–2021–0053–1583, at 1.
                                             technology costs. Fuel economy                          No. NHTSA–2021–0053–0562, throughout.                     1101 Consumer Reports, Docket No. NHTSA–

                                             improvements that reduce demand for                        1094 UCS public hearing comments, Docket No.        2021–0053–1576–A7, at 1.
                                                                                                     NHTSA–2021–0053–1085, at 1–2, and UCS, Docket             1102 NRDC, Docket No. NHTSA–2021–0053–1594,
                                             oil are a more effective hedging strategy               No. NHTSA–2021–0053–1567, at 3–4.                      at 1.
                                             against price volatility than increasing                   1095 SELC, Docket No. NHTSA–2021–0053–1495,            1103 Sierra Club, Docket No. NHTSA–2021–0053–
                                                                                                                                                                                                               ER02MY22.233</GPH>




                                             U.S. energy production, because                         at 1–2.                                                1611, at 1.



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                                             United States from global oil price                      that the statute-set purpose of EPCA to              health benefits and achieve health
                                             instabilities, and reduce the impact of                  conserve energy necessarily requires                 equity nationwide.1111 The Carbon Fuel
                                             oil consumption on the                                   affording that statutory factor great                Alliance also commented that
                                             environment.’’ 1104 ACEEE similarly                      weight in setting fuel economy                       Alternative 3 was best for meeting
                                             commented that maximum feasible                          standards, and the agency lacks                      health and environmental concerns,1112
                                             ‘‘means that NHTSA is empowered and                      authority to alter the relative priorities           and Bay Area Air Quality Management
                                             required to push efficiency as far as                    set by Congress.’’ 1108 Mr. Douglas                  District and the Mid-Atlantic Regional
                                             technically feasible. Maximizing fuel                    commented that ‘‘[t]he agency is                     Council Air Quality Forum both
                                             savings would deliver the greatest fuel                  explicitly directed [by statute] to                  commented that Alternative 3 was best
                                             cost savings to consumers and greatest                   maximize fuel economy, not economic                  for climate, air quality, and equity.1113
                                             benefits to public health and national                   prosperity. Nor is the agency directed to
                                                                                                                                                              NHTSA continues to believe, as many
                                             security.’’ 1105 EDF similarly commented                 maximize the ease by which automakers
                                                                                                                                                           commenters agreed, that Alternative 3
                                             that ‘‘maximum feasible’’ means                          might overcome technological barriers
                                             prioritizing energy conservation.1106                    while still remaining profitable.’’ 1109             best meets the need of the U.S. to
                                             EDF thus stated that the statutory factors               Other commenters argued that choosing                conserve energy of the regulatory
                                             were balanced appropriately in the                       Alternative 3 would represent the best               alternatives considered, because it saves
                                             proposal because ‘‘NHTSA recognize[d]                    balancing of all statutory factors, and              the most fuel, which means that it
                                             that the need of the U.S. to conserve                    also would be optimal for energy                     maximizes consumer savings on fuel
                                             energy must include serious                              conservation and its attendant                       costs, reduces climate emissions by the
                                             consideration of the energy security                     effects.1110                                         greatest amount, and reduces U.S.
                                             risks of continuing to consume oil,                         With regard to another subset of                  participation in global oil markets, with
                                             which more stringent fuel economy                        considerations under the need of the                 attendant benefits to energy security and
                                             standards can reduce.’’ 1107 South Coast                 U.S. to conserve energy, a coalition of              the national balance of payments. The
                                             AQMD stated that the 2020 final rule                     health-oriented organizations                        table below shows, among other things,
                                             had interpreted the need of the U.S. to                  commented that NHTSA should finalize                 NHTSA’s estimated quantified private
                                             conserve energy incorrectly, and argued                  standards at least as stringent as                   and social benefits associated with the
                                             that ‘‘NHTSA should make unequivocal                     Alternative 3 to maximize long-term                  need of the U.S. to conserve energy.

                                                1104 California Attorney General et al., Docket No.     1108 South Coast AQMD, Docket No. NHTSA–             1111 American Lung Association, Docket No.

                                             NHTSA–2021–0053–1530, at 22.                             2021–0053–1477, at 2.                                NHTSA–2021–0053–1502, at 1.
                                                1105 ACEEE, Docket No. NHTSA–2021–0053–                 1109 Peter Douglas, Docket No. NHTSA–2021–           1112 Carbon Fuel Alliance, Docket No. NHTSA–

                                             0074, at 4.                                              0053–0085, at 14.                                    2021–0053–1475, at 2.
                                                1106 EDF, Docket No. NHTSA–2021–0053–1617,              1110 See, e.g., South Coast AQMD, Docket No.         1113 Bay Area Quality Management Air District,

                                             at 2.                                                    NHTSA–2021–0053–1477, at 6; WDNR, Docket No.         Docket No. NHTSA–2021–0053–1472, at 2–4; Mid-
                                                1107 EDF, Docket No. NHTSA–2021–0053–1617,            NHTSA–2021–0053–0059, at 2; Ceres, Docket No.        Atlantic Regional Council Air Quality Forum,
                                             at 6.                                                    NHTSA–2021–0053–0076, at 1.                          Docket No. NHTSA–2021–0053–1470, at 1.
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                                               Saving money on fuel and reducing                     Executive order, and to maximize                      projected to decrease nationwide under
                                             CO2 and other pollutant emissions by                    climate equity concerns.                              each of the action alternatives.
                                             reducing fuel consumption are also                         The Final SEIS finds that overall,                   While NHTSA recognizes the
                                             important equity goals. NHTSA                           projected changes in both upstream and                comments discussed above in Section
                                             recognizes the comments discussed in                    downstream emissions of criteria and                  VI.A suggesting that eventual fleet
                                             Section VI.A which suggested that fuel                  toxic air pollutants are generally                    electrification could create new energy
                                             expenditures are a more significant                     beneficial but still mixed, with                      security questions, the CAFE standards
                                             budget item for citizens who are part of                emissions of some pollutants remaining                in this time frame are not the but-for
                                             lower-income and disadvantaged                          constant or increasing and emissions of               cause of those questions. NHTSA will
                                             communities. Part of our goal in                        some pollutants decreasing. These                     continue to monitor these questions
                                             determining maximum feasible CAFE                       increases are associated with both                    going forward.
                                             standards is trying to improve fuel                     upstream and downstream sources, and                    On that note, however, many
                                             savings across the fleet as a whole,                    therefore, may disproportionately affect              comments received to the NPRM
                                             rather than for a handful of new vehicle                minority and low-income populations                   discussed vehicle electrification. These
                                             buyers. By maximizing fuel savings to                   that reside in proximity to these                     comments are part of why the issues are
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                                             consumers, CAFE standards can help to                   sources. However, the magnitude of the                increasingly intertwined, because these
                                             improve equity. By maximizing CO2                       change in emissions relative to the No-               commenters believe electrification
                                             reductions, the U.S. is able to achieve                 Action Alternative is minor for all                   touches at least three and possibly all of
                                             the most toward reaching our goals                      action alternatives, and would not be                 the statutory factors simultaneously—
                                             under the Paris Climate Agreements,                     characterized as high or adverse; over                technological feasibility (to some
                                                                                                                                                                                                        ER02MY22.234</GPH>




                                             President Biden’s goals as set forth via                time, adverse health impacts are                      extent), economic practicability (to a


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                                             greater extent), the effect of other motor               goals.1116 Many industry comments                        significant government assistance would
                                             vehicle standards of the Government on                   expressed commitment to electrification                  be necessary regardless.1119 Other
                                             fuel economy (also to a greater extent),                 and climate goals, but concurrently                      comments (often from the same
                                             and the need of the United States to                     argued that the proposed standards                       commenters) insisted that NHTSA must
                                             conserve energy (also to a greater extent,               would require too much                                   attend to the levels of electrification
                                             as discussed already). Some comments                     electrification 1117 and that in order to                being deployed (in order to avoid
                                             mentioned it in terms of whether                         meet those stated commitments to                         requiring further investments in
                                             industry was committed to                                electrification and climate goals, no                    improving ICE-technology vehicles),
                                             electrification 1114 or insufficiently                   further improvements on the remaining                    while concurrently noting that Congress
                                             committed to electrification,1115 or                     ICE vehicles should be required,1118 and
                                                                                                                                                               prohibited consideration of the fuel
                                             whether the CAFE standards would                            1116 See, e.g., ICCT, Docket No. NHTSA–2021–
                                                                                                                                                               economy of BEVs in determining
                                             result in sufficient levels of                           0053–1581, at 13 (‘‘The proposed CAFE standards          maximum feasible fuel economy.1120
                                             electrification in order to meet climate                 may not ensure even the modeled 14.4 [percent]
                                                                                                      market share of electric vehicles, as conventional
                                                1114 See, e.g., Auto Innovators, Docket No.
                                                                                                      technology could be implemented at much higher
                                                                                                      rates than modeled for the proposed rule instead of
                                             NHTSA–2021–0053–1492, at 11–12 (stating that the                                                                  improvements to ICE vehicles ‘‘will be marginal,
                                                                                                      increasing electric vehicle share to 14.4 [percent].
                                             same day as President Biden’s announcement of the                                                                 and will come at high cost. Ford requests that the
                                                                                                      Without the additional stringency of Alternative 3,
                                             Executive order establishing the electrification         the standards for years 2027–2030 will have to be        agencies . . . ensure that resources and investment
                                             target for 2030, ‘‘. . . multiple automobile             that much more ambitious in order to meet the            are not diverted from our primary objective:
                                             manufacturers announced a shared aspiration to           target set by the President and achieve fuel             Fulfilling President Biden’s goal of achieving 40–50
                                             achieve sales of 40–50 [percent] of annual U.S.          consumption reductions that are clearly feasible         [percent] ZEV sales by 2030.’’); GM, Docket No.
                                             volumes of EVs by 2030 to move the nation closer         and consistent with NHTSA’s statutory mandate.’’);       NHTSA–2021–0053–1523, at 2, 4 (stating that ‘‘The
                                             to a zero-emissions future consistent with Paris         Securing America’s Future Energy, Docket No.             standards should not force industry to split its
                                             climate goals. Other automobile manufacturers            NHTSA–2021–0053–1513, at 7 (stating that the             resources between investments in legacy propulsion
                                             made similar commitments leading up to and               NPRM had not established that automakers were            technologies and electric vehicles, as this will slow
                                             following the signing of E.O. 14037. Collectively,       incapable of meeting Alternative 3, and that ‘‘For       down the nation’s progress toward its climate
                                             automakers have committed to investing more than         there to be any possibility of EV sales approaching      commitments’’ and that ‘‘Every dollar spent
                                             $330 billion to transforming cars and trucks to an       President Biden’s goal, NHTSA must consider a            propping up legacy engines is a dollar not spent on
                                             exciting, electrified future, and are on pace to debut   more stringent standard.’’); Tesla, Docket No.
                                                                                                                                                               the investments necessary for future battery electric
                                             almost 100 BEV models by the end of 2024.’’). See        NHTSA–2021–0053–1480–A1, at 4 (stating that
                                             also Volvo, Docket No. NHTSA–2021–0053–1565,                                                                      vehicles.’’); Stellantis, Docket No. NHTSA–2021–
                                                                                                      Alternative 3 would result in more electrification
                                             at 2 (‘‘Volvo Cars is committed to electrification and   and be consistent with the President’s call for more     0053–1527, at 12 (arguing that even if
                                             every new Volvo motor launched since 2019 has            fleet electrification.); Rivian, Docket No. NHTSA–       manufacturers could meet the proposed MYs 2024–
                                             had an electric motor. Over the next four years,         2021–0053–1562, at 3 (Alternative 2 would be             2026 standards with conventional ICE technology,
                                             Volvo Cars is launching a fully electric car every       ‘‘inconsistent with the . . . Biden Administration’s     ‘‘it would make little economic sense to pursue a
                                             year and our aim is to make all-electric cars 50         stated goals and priorities . . . .’’); Our Children’s   duplicate ICE investment path only to abandon it
                                             [percent] of global sales by 2025, with the rest         Trust, Docket No. NHTSA–2021–0053–1587, at 2             a few short years later to meet 2030 electrification
                                             hybrids.’’); Stellantis, Docket No. NHTSA–2021–          (‘‘Many studies have shown that the U.S. vehicle         goals.’’); ZETA, Docket No. NHTSA–2021–0053–
                                             0053–1527, at 1 (stating that it planned ‘‘to spend      fleet to be regulated by this CAFE standard can and      1510, at 2 (‘‘More stringent standards will
                                             over $35 billion to support a targeted 40 [percent]      should be 100 [percent] electric by 2030,’’ and          incentivize all auto manufacturers to produce more
                                             electric vehicle mix—consisting of plug-in hybrid        ‘‘This rule should be on track to require the            EVs—rather than strive to make inherently
                                             and battery electric vehicles—in the U.S. by 2030.       industry to do so.’’).                                   inefficient ICEVs marginally more efficient.’’); AVE,
                                                                                                         1117 See, e.g., Nissan, Docket No NHTSA–2021–
                                             This includes investments in developing four all-                                                                 Docket No. NHTSA–2021–0053–1488–A1, at 5
                                             new electric platforms.’’); Nissan, Docket No.           0053–0022, at 7 (stating that the proposed standards     (stating that the NPRM had cited automaker
                                             NHTSA–2021–0053–0022, at 3 (stating that ‘‘As            would actually require more electrification than
                                                                                                                                                               announcements about electrification but ‘‘NHTSA
                                             part of its corporate sustainability efforts, . . . In   NHTSA estimated, and that because ‘‘the level of
                                                                                                      EV market development and implementation of              does not, however, cite recent announcements that
                                             January 2021 . . . Nissan announced that every all-                                                               indicate several OEMs would not be making new
                                             new Nissan vehicle offered in Japan, China, Europe,      critical EV market policies remains uncertain,
                                                                                                      considering more stringent standards than those          investments in ICE architectures. NHTSA should
                                             and the U.S. will be electrified by the early 2030s.
                                                                                                      proposed is premature during this rulemaking time        account for the impact these decisions could have
                                             Further, in August 2021, Nissan set an ambitious
                                                                                                      period.’’); Stellantis, Docket No. NHTSA–2021–           on overall fuel economy performance.’’).
                                             target that 40 percent of its U.S. vehicle sales by
                                             2030 will be fully electric, with even more to be        0053–1527, at 13 (stating that to meet even                 1119 See, e.g., Auto Innovators, Docket No.

                                             electrified.’’).                                         Alternative 2, ‘‘significant market penetration of       NHTSA–2021–0053–1492, at 12 (stating that in
                                                1115 See, e.g., Tesla, Docket No. NHTSA–2021–
                                                                                                      strong electrification (e.g., hybrid, PHEV, or FCEV)     order to ‘‘grow EV sales through MY 2026 and
                                                                                                      is needed,’’ because 8 percent year over year            significantly expand those sales beyond MY 2026,’’
                                             0053–1480–A1, at 6 (commenting that ‘‘NHTSA              increases ‘‘significantly outpaces historical
                                             should set standards that are technology forcing’’                                                                the United States would need (1) significant
                                                                                                      improvements achieved with internal combustion
                                             and that ‘‘this technology forcing component                                                                      investments in refueling infrastructure, (2)
                                                                                                      engine technology’’ and ‘‘Eleven of fourteen major
                                             compels NHTSA to adopt Alternative 3 with                                                                         consumer purchase incentives from the
                                                                                                      automakers have fallen behind EPA’s MY2019
                                             additional stringency to set the country on a            standards as they have been adding technology            government, (3) government requirements that
                                             pathway to encourage widespread deployment of            since 2012.’’); Kia, Docket No. NHTSA–2021–0052–         private and commercial fleets adopt electric
                                             ZEVs.’’); Lucid, Docket No. NHTSA–2021–0053–             1525, at 3 (stating that 8 percent increases were        vehicles, (4) government development of domestic
                                             1584, at 4 (stating that ‘‘Alternative 3 would meet      ‘‘unprecedented’’ and ‘‘with virtually no lead-time      supply chains, (5) a nationwide low carbon fuel
                                             the statutory requirement to set fuel efficiency         and without the inclusion of all vehicle types           standard, (6) government creation of a battery and
                                             standards at the maximum feasible level, push the        (specifically, dedicated EV platforms)—will be a         vehicle component recycling system, (7)
                                             automobile industry away from continued reliance         challenge to meet at a manageable price for all          government investment in R&D, (8) government
                                             on ICE vehicles, and ensure its focus remains on         consumers.’’); AFPM, Docket No. NHTSA–2021–              education of consumers, (9) government efforts to
                                             increasing electrification,’’ and pointing to            0053–1530, at 1–2 (stating that the proposal would       improve the availability, variety, and affordability
                                             NHTSA’s conclusions in the NPRM that Alternative         have set CAFE standards ‘‘at a level that is not         of EVs, and (10) for all parties to ‘‘hold ourselves
                                             3 likely best met the need of the U.S. to conserve       feasibly achievable by ICEVs, effectively                collectively accountable to metrics and milestones
                                             energy.); Rivian, Docket No. NHTSA–2021–0053–            establishing a partial EV mandate.’’). Mr. Kreucher      that align with state and nationwide targets of
                                             1562, at 7 (stating that current EV sales trajectories   also commented that electric vehicles do not pay         EVs.’’); UAW, Docket No. NHTSA–2021–0053–
                                             indicated that much more electrification was             back in fuel savings over their lifetimes, and do not    0931, at 2–3 (stating that ‘‘The achievability of these
                                             possible, stating that ‘‘The industry is ready to meet   result in genuine climate benefits. Walter Kreucher,
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                                                                                                                                                               standards and their impact on the U.S. auto
                                             new challenges, and this is a moment for doubling        Docket No. NHTSA–2021–0053–0013, at 12.
                                                                                                                                                               industry will depend on additional [government
                                             down on the ambition of our fuel economy                    1118 See, e.g., Ford, Docket No. NHTSA–2021–
                                                                                                                                                               intervention and] policies that promote domestic
                                             standards.’’).                                           0053–1545, at 1 (stating that further fuel efficiency
                                                                                                                                                               manufacturing and support quality jobs.’’).
                                                                                                                                                                  1120 See comments discussed and responded to in

                                                                                                                                                               Section VI.A.5.e).




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                                             Many comments, as discussed                             by a regulatory alternative under                     that significant technology changes will
                                             elsewhere,1121 either agreed or                         consideration may not be economically                 be implemented during vehicle
                                             disagreed with NHTSA’s inclusion of                     practicable. Even though NHTSA                        redesigns—as they historically have
                                             State ZEV requirements in the analytical                recognizes that the amount of lead time               been. Once applied, a technology will
                                             baseline. Many comments also either                     available before MY 2024 is less than                 be carried forward to future model years
                                             agreed or disagreed with NHTSA’s                        what was provided in the 2012 rule, as                until superseded by a more advanced
                                             statements in the NPRM that                             will be discussed further below, NHTSA                technology. NHTSA does not consider
                                             manufacturer announcements about                        believes that the evidence suggests that              model years in isolation in the analysis,
                                             future electrification or corporate zero-               the final standards are still                         because doing so would be inconsistent
                                             emissions targets, or actual rollout of                 economically practicable, even though                 with how industry responds to
                                             new electric vehicle models, were                       they will be more challenging for some                standards, and thus would not
                                             evidence of manufacturer capability to                  portions of the industry than others.                 accurately reflect practicability. If
                                             raise fuel economy levels in a way that                 CAFE standards can also help support                  manufacturers are already applying
                                             seemed likely to be economically                        industry in their intention to transition             technology widely and intensively to
                                             practicable.1122                                        to a higher-fuel-economy fleet by                     meet standards in earlier years,
                                                In response, NHTSA has grappled                      requiring ongoing improvements even if                requiring them to add yet more
                                             extensively with how to consider these                  demand for more fuel economy flags                    technology in the model years subject to
                                             comments as we consider what levels of                  unexpectedly.                                         the rulemaking may be less
                                             CAFE standards would be maximum                            We underscore again, as throughout                 economically practicable; conversely, if
                                             feasible in MYs 2024–2026. Recognizing                  this preamble, that the modeling                      the preceding model years require less
                                             the 49 U.S.C. 32902(h) prohibition,                     analysis does not dictate the ‘‘answer,’’             technology, more technology during the
                                             NHTSA has limited electrification as a                  it is merely one source of information                rulemaking time frame may be more
                                             technology option in our analysis of                    among others that aids the agency’s                   economically practicable. The tables
                                             how manufacturers might respond to                      balancing of the standards. We similarly              below illustrate how the agency has
                                             the different regulatory alternatives                   underscore that there is no single bright             modeled that process of manufacturers
                                             during the rulemaking time frame.                       line beyond which standards might be                  applying technologies to comply with
                                             NHTSA therefore does not consider the                   economically impracticable, and that                  different alternative standards. The TSD
                                             fuel economy of electric vehicles in                    these metrics are not intended to suggest             accompanying this document described
                                             setting maximum feasible CAFE                           one; they are simply ways to think about              the technologies and corresponding
                                             standards, consistent with Congress’                    the information before us.                            input estimates (of, e.g., efficacy and
                                             direction. However, it remains a                           One way that economic practicability               cost) in detail in Chapters 2 and 3. The
                                             compliance option that many                             may be evaluated is in terms of how                   accompanying FRIA and appendices
                                             automakers are pursuing, and moreover,                  much technology manufacturers would                   provide extensive detail regarding the
                                             it would seem absurd to ignore the fact                 have to apply to meet a given regulatory              estimated application of specific
                                             that NHTSA is setting these CAFE                        alternative. Technology application can               technologies to each manufacturers’
                                             standards in the context of a much                      be considered as ‘‘which technologies,                fleets of passenger cars and light trucks
                                             larger conversation about the future of                 and when’’—both the technologies that                 in each model year. Finally, the
                                             the U.S. light-duty vehicle fleet, and for              NHTSA’s analysis suggests would be                    underlying model outputs available on
                                             that matter, because of the nexus to                    used, and how that application occurs                 NHTSA’s website provide estimates of
                                             climate change, the future of the planet                given manufacturers’ product lifecycles.              the potential to apply specific
                                             and its inhabitants.                                    NHTSA agrees with commenters who                      technologies to specific vehicle model/
                                                We acknowledge the comments from                     suggested that the need of the U.S. to                configurations in each model year. In
                                             industry about what additional                          conserve energy may encourage the                     response to the commenters who stated
                                             government support (such as                             agency to be more technology-forcing in               that the proposed standards would
                                             infrastructure improvements and                         its balancing, and finds, as discussed in             require more electrification (i.e., in
                                             consumer purchase incentives for                        Section VI.A, that technological                      particular, BEVs) than the NPRM
                                             electric vehicles) would be desirable in                feasibility is not limiting in this                   showed, that is not what NHTSA’s
                                             their efforts to reach those goals, but of              rulemaking time frame given the state of              analysis finds. The following two tables
                                             course many of those requests are                       technology in the industry. That said,                show average incremental application
                                             outside of NHTSA’s authority, and                       regulatory alternatives that can only be              rates—that is, levels beyond those
                                             outside the scope of this final rule.                   achieved by the extensive application of              projected under the No-Action
                                                With regard to the economic                          advanced technologies (that may have                  Alternative—by regulatory alternative
                                             practicability factor, the agency attempts              known or unknown consumer                             for selected technologies, including
                                             to evaluate where the tipping point in                  acceptance issues) may not be                         electrification technologies. For
                                             the balancing of factors might be                       economically practicable in this time                 example, our analysis indicates that
                                             through a variety of metrics, examined                  frame, and may thus be beyond                         under the proposed standards
                                             in more detail below. If the amounts of                 maximum feasible.1123                                 (Alternative 2), the application of strong
                                             technology or per-vehicle cost increases                   In terms of the levels of technology               HEVs (HEVs) to passenger cars in MY
                                             required to meet the standards appeared                 required and which technologies those                 2026 could increase by 10 percent (of
                                             to be beyond what we believe the                        may be, NHTSA’s analysis estimates                    total passenger car production)
                                             market could bear; or sales and                         manufacturers’ product ‘‘cadence,’’                   compared to the levels projected to
                                             employment appear to be unduly                          representing them in terms of estimated               occur under the No-Action Alternative,
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                                             impacted, the agency could have                         schedules for redesigning and                         and by 14 and 17 percent, respectively,
                                             decided that the standards represented                  ‘‘freshening’’ vehicles, and assuming                 under Alternative 2.5 and Alternative 3:
                                               1121 See Sections IV.B and VI.A.                        1123 NHTSA does not mean to preclude the            anticipate that, among other things, consumer
                                               1122 See Section VI.A.                                possibility that future fuel economy standards may    acceptance toward advanced fuel economy-
                                                                                                     be even more technology-forcing than the ones         improving technologies will continue to grow, as it
                                                                                                     promulgated in this final rule, because we            is clearly doing at the present time.



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                                               For light trucks, increases in                        additional 17 percent of the overall light            most stringent regulatory alternative
                                             estimated SHEV application show                         truck market by MY 2026 under the                     considered here:
                                             broadly similar trends, impacting an
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                                               The estimated increases in technology                 other States. The effects of this baseline            accounting would be informative
                                             application shown in the preceding two                  application of technology are not                     toward the decisions regarding
                                             tables are all computed relative to the                 attributable to this action, and NHTSA                tomorrow’s fuel economy standards.
                                             No-Action Alternative, under which                      has therefore excluded these from the                 Nevertheless, within its context, which
                                             considerable fuel-saving technology is                  agency’s estimates of the incremental                 starts with the MY 2020 fleet, our
                                             applied beyond that already present on                  benefits and costs that could result from             analysis does account for technology
                                             the MY 2020 fleet used as the baseline                  each Action alternative considered here.              present in the MY 2020 fleet, and any
                                             for this analysis. As discussed above                   Some manufacturers and other                          additional technology estimated to
                                             and in the FRIA and TSD accompanying                    stakeholders have called for NHTSA to                 potentially be applied under the No-
                                             this document, the No-Action                            consider the accumulated impacts of
                                                                                                                                                           Action Alternative. Including this
                                             Alternative includes fuel-saving                        successive actions, logically implying
                                                                                                                                                           technology results in the estimated
                                             technology applied in response to                       that NHTSA should be reporting on
                                             baseline (set in 2020) CAFE and CO2                     technologies deployed since DOT first                 technology market shares (also referred
                                             standards, fuel prices, agreements some                 imposed fuel economy standards in the                 to as technology [market] penetration
                                             manufacturers have reached with                         late 1970s, such as front-wheel drive                 rates) summarized in the following two
                                             California regarding national CO2 levels                configurations, unibody construction,                 tables:
                                             to be achieved through MY 2026, and                     and 4-speed automatic transmissions.                  BILLING CODE 4910–59–P
                                             ZEV mandates in place in California and                 NHTSA disagrees that such an
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                                             BILLING CODE 4910–59–C                                  However, importantly, the aggressive                  penetration rates between alternatives 2
                                               As the tables illustrate, Alternative 2,              application that is simulated to occur                and 3, PHEVs and BEVs are (logically)
                                             Alternative 2.5, and Alternative 3                      between MY 2020 (which NHTSA                          limited—but in response to the
                                             appear to require rapid deployment of                   observed and is the starting point of this            comments about the standards requiring
                                             fuel efficiency technology across a                     analysis) and MY 2023 occurs in all of                too much electrification, widespread
                                             variety of vehicle systems—body                         the alternatives, for both cars and light             compliance can be achieved with
                                             improvements due to weight reduction                    trucks. This reflects technology                      minimal further application of PHEVs or
                                             and improved aerodynamic drag, engine                   application by manufacturers                          BEVs for any of the regulatory
                                             advancements, and electrification.1124                  participating in the California                       alternatives considered in this final rule.
                                                                                                     Framework Agreements and existing                     SHEV may still have plenty of room to
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                                                1124 While these technology pathways reflect         compliance positions (in some fleets)                 grow in the market to reach the levels
                                             NHTSA’s statutory restrictions under EPCA/EISA, it      across the industry to improve fuel                   suggested by the analysis, but hybrid
                                             is worth noting again that they represent only one      economy in the near-term.                             offerings have been increasing rapidly
                                             possible solution. In the simulations that support
                                             the Final SEIS, PHEV market share grows by less,
                                                                                                       As the results summarized above                     in number and variety, and some new
                                             and is mostly offset by an increase in BEV market       showed, while NHTSA’s analysis                        offerings have been so popular that
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                                             share.                                                  suggests some increase in SHEV                        manufacturers cannot keep up with


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                                             demand,1125 which seems to bode well                    NHTSA believes it is consistent with the              through the explicit consideration of
                                             for future growth opportunities.                        need of the U.S. to conserve energy for               vehicle components (like powertrains)
                                                Of course, CAFE standards are                        standards to encourage new vehicles                   and technologies (like platforms based
                                             performance-based, and NHTSA does                       across the fleet to continue improving,               on advanced materials) that are shared
                                             not dictate specific technology paths for               and that it is particularly consistent                by models throughout a manufacturer’s
                                             meeting them, so it is entirely possible                with equity concerns for consumers                    portfolio. NHTSA is aware that there is
                                             (even entirely foreseeable) that                        who purchase any vehicle to be able to                a significant difference in the level of
                                             individual manufacturers and industry                   benefit from the reduced fuel costs that              capital and resources required to
                                             as a whole will take a different path                   more stringent CAFE standards could                   implement one or more new
                                             from the one that NHTSA presents here.                  facilitate, even if they are not yet willing          technologies on a single vehicle model,
                                             Nonetheless, this is a path toward                      or able to purchase a BEV. Moreover,                  and the level of capital and resources
                                             compliance, relying on known, existing                  improving the fuel efficiency of new                  required to implement those same
                                             technology, that may (if used) address                  vehicles has effects over time, not just              technologies across the entire vehicle
                                             some of the consumer acceptance                         at point of first sale, on consumer fuel              fleet. NHTSA realizes that it would not
                                             concerns raised by industry commenters                  savings. Somewhat-more-expensive-but-                 be economically practicable to expand
                                             about the future levels of electrification              more-efficient new vehicles eventually                some of the most advanced technologies
                                             to which they are all committing.                       become more-efficient used vehicles,                  to every vehicle in the fleet within the
                                             However, if automakers would prefer to                  which may be purchased by consumers                   rulemaking time frame, although it
                                             rely more heavily on BEVs, for example,                 who may be put off by higher new                      should be possible to increase the
                                             for CAFE compliance, and less heavily                   vehicle prices. The benefits have the                 application of advanced technologies
                                             on the SHEVs that we show in this                       potential to continue across the fleet                across the fleet in a progression that
                                             analysis, they are free to do so.                       and over time, for all consumers                      accounts for those resource constraints.
                                                NHTSA also recognizes the industry                   regardless of their current purchasing                That is what NHTSA’s analysis tries to
                                             comments suggesting that further                        power.                                                do and what our selection of Alternative
                                             investments in improving vehicle fuel                      We are also cautiously optimistic that             2.5 reflects. While the tables above do
                                             economy with ICE technologies are not                   if automakers do continue to improve                  not provide information at sufficient
                                             investments in electrification. Other                   the fuel economy of their non-BEV                     granularity, the per-vehicle cost tables
                                             comments suggested that ICE                             vehicles, that it may actually improve                that follow help to illustrate that
                                             technologies still had room to improve                  fleetwide fuel consumption over time,                 technology is added at redesigns (as
                                             and could be added cost-effectively                     given that the evidence suggests that ICE             evidenced by increases in per-vehicle
                                             during the rulemaking time frame.1126                   VMT has been than BEV VMT on                          cost from one model year to the next for
                                             As the tables above showed,                             average thus far. Many higher-fuel-                   individual manufacturers), which helps
                                             Alternatives 2, 2.5, and 3 are all                      economy ICEs (with or without SHEVs)                  ensure the practicability of the
                                             estimated to require fairly widespread                  may save more fuel as they drive                      technology changes. Further, as always,
                                             deployment of advanced AERO and                         through their lifetimes, than relatively              manufacturers remain free to meet the
                                             MR4 (although particularly in the case                  fewer higher-fuel-economy ICEs and                    standards using whatever technologies
                                             of MR4, this may be an artifact of the                  relatively few BEVs. Thus, although                   they choose. Thus, a decision to invest
                                             statutory restrictions reflected in the                 (again) CAFE standards are                            available research and development
                                                                                                     performance-based and NHTSA does                      capital in BEV technology instead of
                                             ‘‘standard-setting’’ modeling runs), as
                                                                                                     not dictate a technology path, there may
                                             well as additional application of SHEVs.                                                                      advanced ICE technologies (or vice
                                                                                                     be energy conservation benefits beyond
                                             While, again, CAFE standards are                                                                              versa) is a compliance choice, not a
                                                                                                     just the average fuel economy level from
                                             performance-based and manufacturer                                                                            requirement of this rule.
                                                                                                     setting standards that lead to more
                                             technology solutions to meet the                                                                                 Hundreds of billions of dollars are
                                                                                                     technology applied to more vehicles
                                             standards will certainly be different                                                                         large sums, but they are the collective
                                                                                                     across the fleets.
                                             from what NHTSA presents here,                             Another facet of automaker comments                effect of many decisions about per-
                                             NHTSA believes that these levels of                     about their intent to invest in                       vehicle costs. Another consideration for
                                             vehicle technology and strong hybrid                    electrification rather than improving the             economic practicability is the extent to
                                             penetration are reasonable in the                       fuel economy of non-electric models is                which new standards could increase the
                                             rulemaking time frame. NHTSA                            simply the capital investments and R&D                average cost to acquire new vehicles,
                                             absolutely disagrees that these                         dollars expected to be directed to                    because even insofar as the underlying
                                             investments in improving vehicle                        electrification—and thus, commenters                  application of technology leads to
                                             technologies and hybrids, if actually                   suggested, unavailable for other uses.                reduced outlays for fuel over the useful
                                             made, would be ‘‘wasted,’’ as some                      For example, Auto Innovators stated                   lives of the affected vehicles, these per-
                                             comments suggest. Even if 50 percent of                 that its members had collectively                     vehicle cost increases provide both a
                                             the new vehicle fleet was BEV, 50                       committed to spending $330 billion                    measure of the degree of effort faced by
                                             percent of that same fleet would still not              toward reaching the 2030 electrification              manufacturers, and also the degree of
                                             be BEV, and much higher percentages of                  goals, as part of arguing that CAFE                   adjustment, in the form of potential
                                             the on-road fleet as a whole would                      standards should require no further                   vehicle price increases, that will
                                             continue not to be BEV for some time.                   investment in improving the fuel                      ultimately be required of vehicle
                                                                                                     economy of the rest of the new vehicle                purchasers. Table VI–16, Table VI–17,
                                               1125 See, e.g., https://www.reuters.com/business/
                                                                                                     fleet.                                                and Table VI–18 show the agency’s
                                             autos-transportation/ford-cut-orders-hybrid-pick-
                                                                                                        In response, NHTSA’s analysis seeks                estimates of average cost increase under
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                                             up-maverick-wsj-2022-01-24/ (accessed: March 15,
                                             2022).                                                  to account for manufacturers’ capital                 the Preferred Alternative for passenger
                                               1126 See, e.g., ICCT, Docket No. NHTSA–2021–          and resource constraints in several                   cars and light trucks, respectively.
                                             0053–1581, at 12–13. While NHTSA discusses              ways—through the restriction of                       Because our analysis includes estimates
                                             ICCT’s comments on this topic in more detail in
                                             Section III above, NHTSA agrees with the basic
                                                                                                     technology application to refreshes and               of manufacturers’ indirect costs and
                                             principle that non-electric fuel economy may still      redesigns, through the phase-in caps                  profits, as well as civil penalties that
                                             be improved.                                            applied to certain technologies, and                  some manufacturers (as allowed under


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                                             EPCA/EISA) might elect to pay in lieu                   causing those increases are                           the 2020 final rule, NHTSA expressed
                                             of achieving compliance with CAFE                       economically practicable.                             concern about what appeared to be a
                                             standards, we report cost increases as                     Relative to the vehicles that will be              growing trend of consumers finding
                                             estimated average increases in vehicle                  built anyway in the absence of further                themselves upside down on their auto
                                             price (as MSRP). These are average                      regulatory action by NHTSA, NHTSA                     loans, but as vehicle residual value
                                             values, and the agency does not expect                  judges these cost increases to be                     continues to rise, NHTSA believes this
                                             that the prices of every vehicle would                  possible for the market to bear.                      may be less of an issue going forward
                                             increase by the same amount; rather, the                Moreover, cost increases will be offset               unless vehicle prices collapse
                                             agency’s underlying analysis shows unit                 by fuel savings, which consumers will
                                                                                                                                                           unexpectedly, which seems unlikely.
                                             costs varying widely between different                  experience over the lifetime of the
                                                                                                                                                           Some of this is a function of limited
                                             vehicle models. For example, a small                    vehicle, if not concurrent with the
                                                                                                     upfront increase in purchase price.                   vehicle supply, but even in that context,
                                             SUV that replaces an advanced internal
                                             combustion engine with a plug-in                        Further, as discussed above, the time                 as discussed previously, nearly every
                                             hybrid system may incur additional                      period during which these technology                  manufacturer has already indicated
                                             production costs in excess of $10,000,                  costs would be paid off through reduced               their intent to continue introducing
                                             while a comparable SUV that replaces a                  fuel expenditures aligns well with                    advanced technology vehicles between
                                             basic engine with an advanced internal                  average vehicle financing periods,                    now and MY 2026. Again, NHTSA
                                             combustion engine incurs a cost closer                  indicating that many consumers will                   believes that manufacturers introduce
                                             to $2,000. While we recognize that                      experience the net fuel economy savings               new vehicles (and technologies)
                                             manufacturers will distribute regulatory                immediately. NADA commented that                      expecting that there is a market for
                                             costs throughout their fleet to maximize                eventual fuel savings are not relevant to             them—if not immediately, then in the
                                             profit, we have not attempted to                        auto lending decisions, and thus do not               near future, because for-profit
                                             estimate strategic pricing, having                      improve vehicle affordability, but again,             companies cannot afford to lose money
                                             insufficient data (which would likely be                NHTSA believes that the additional cost               indefinitely—and dealers currently
                                             confidential business information (CBI))                attributable to the CAFE standards is                 seem able to accommodate consumers
                                             on which to base such an attempt.                       feasible, particularly given the potential            despite considerable price increases, so
                                             Additionally, even recognizing that                     for fuel expenditure savings to accrue                perhaps the situation is not as dire as
                                             manufacturers will distribute regulatory                during vehicle financing periods, and                 NADA argued in its comments. This
                                             costs throughout their fleet, NHTSA still               notes that even with average MSRPs at                 trend suggests that manufacturers
                                             believes that average per-vehicle cost is               historically high levels,1127 vehicles are            believe that at least some cost increases
                                             illustrative of the affordability                       still selling, often with dealer ‘‘market             should be manageable for consumers.
                                             implications of new standards, as raised                adjustments’’ that push the vehicle
                                             by NADA and other commenters. If the                    prices well over MSRP.1128 Whereas in                    The tables below show additional
                                             per-vehicle cost increases seem                                                                               technology costs estimated to be
                                             consistent with those previously found                    1127 https://www.kbb.com/car-news/average-new-      incurred under each action alternative
                                             to be economically practicable, given                   car-sales-price-now-over-46000/ (accessed March       as compared to the No-Action
                                                                                                     15, 2022).                                            Alternative.
                                             what we estimate about conditions                         1128 https://www.forbes.com/wheels/news/car-
                                             during the rulemaking time frame, it                    buying-advice-navigate-shortage/ (accessed March      BILLING CODE 4910–59–P
                                             will seem more likely that the standards                15, 2022).
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                                             BILLING CODE 4910–59–C                                  costs appear to increase beyond $2,000                believes that more stringent standards
                                                While it is clear from the tables that               per vehicle increases noticeably                      would be economically impracticable,
                                             results vary by manufacturer, by year,                  between Alternatives 2.5 and 3.                       and thus, beyond maximum feasible.
                                             and by fleet,1129 the average results are                  The table also illustrates that, in some
                                             still informative. Average per-vehicle                                                                           The estimated price increases shown
                                                                                                     respects, economic practicability points
                                             cost increases for MY 2024, for all                                                                           in the preceding three tables are all
                                                                                                     in the opposite direction than the need
                                             alternatives, are well under $1,000; for                of the U.S. to conserve energy. Weighing              computed relative to the No-Action
                                             MY 2025, there appears to be a                          the competing considerations, NHTSA                   Alternative, under which considerable
                                             significant inflection point between                    believes that the large increase in the               fuel-saving technology is applied
                                             Alternatives 2.5 and 3; and for MY 2026,                average per-vehicle cost between                      beyond that already present on the MY
                                             that inflection point remains, and seems                Alternatives 1 and 2 is worth the energy              2020 fleet, using this analysis as a
                                             especially pronounced for light trucks.                 conservation benefits of choosing higher              starting point. Nevertheless, within its
                                             As discussed in Section VI.A, while                     standards. The average per-vehicle cost               context, which starts with the MY 2020
                                             NHTSA has no bright-line rule                           increase between Alternatives 2 and 2.5               fleet, our analysis does provide
                                             regarding the point at which per-vehicle                is smaller, and thus still worth the                  estimates of impacts attributable to
                                             cost becomes economically                               increased energy conservation benefits.               technology applied in the baseline—that
                                             impracticable, while the difference in                  The per-vehicle cost increase between                 is, technology beyond that present in
                                             cost between Alternatives 2 and 2.5 may                 Alternative 2.5 and 3, however, does not              the MY 2020 fleet. For new vehicle
                                             be manageable, the difference between                   seem economically practicable in the                  prices, doing so results in the following
                                             Alternatives 2 and 3 is more than 50–                   rulemaking time frame, and it is within               estimated average price increases
                                             60 percent, and the number of cases in                  NHTSA’s discretion to forgo additional                relative to the continued reliance on MY
                                             which manufacturers’ average MY 2026                    energy conservation benefits if NHTSA                 2020 technologies:
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                                                1129 Honda commented to the NPRM that NHTSA          thus have more difficulty passing forward             higher in some years for passenger cars as compared
                                             should consider a slower rate of increase in            regulatory costs), and market share had declined in   to light trucks, the burden seems to even out by MY
                                             stringency for passenger cars rather than light         recent years. Honda, Docket No. NHTSA–2021–           2026. NHTSA does not believe that the evidence
                                             trucks, because the regulatory burden on passenger      0053–1501, at 7. In response, while per-vehicle       suggests that a slower rate of increase for passenger
                                                                                                                                                                                                                   ER02MY22.241</GPH>




                                             cars was higher, the MSRP tended to be lower (and       costs for all action alternatives look somewhat       cars is necessary at this time.



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                                                With regard to timing of technology                  standards put in place by the last                      that ‘‘[s]etting stringency to maximize
                                             application, as discussed in Section                    administration.’’ 1131 JLR stated that                  fuel savings can also help us reach the
                                             VI.A, some commenters also disagreed                    Alternative 2.5 was not viable for them,                fuel savings we would have reached if
                                             with NHTSA’s suggestion in the NPRM                     because their product plans were                        the 2012 Final Rule were fully
                                             that while the MY 2024 standards                        already set through MY 2026 and they                    implemented.’’ 1134
                                             provide less lead time for an increase in               had been planning for, at most, the 2012                  NHTSA cannot and does not consider
                                             stringency than was provided by the                     targets.1132                                            the availability of credits in determining
                                             standards set in 2012, the less-stringent                  However, other commenters argued                     what levels of standards would be
                                             CAFE standards for MYs 2021–2023                        that the less-stringent CAFE standards                  maximum feasible, so NHTSA does not
                                             should provide a relative ‘‘break’’ for                 for MYs 2021–2023 would provide                         mean to say that NHTSA believes that
                                             compliance purposes. In the context of                  automakers, especially those who had                    Alternative 2.5 is feasible for MYs 2024–
                                             determining how to balance the                          not deviated from planning to meet the                  2026 because manufacturers will be
                                             statutory factors, UAW argued that                      standards set forth in 2012 or those who                earning overcompliance credits in CAFE
                                             Alternative 2 represented a ‘‘significant               had signed onto the California                          space during MYs 2021–2023. It is
                                             and more rapid increase in stringency                   Framework Agreements, an opportunity                    important, however, to consider the
                                             levels over the term of the regulations,                to over-comply in CAFE space to ease                    following facts (and would be absurd
                                             particularly in comparison to current                   future compliance obligations.                          not to do so). First, in a world in which
                                             standards,’’ so UAW opposed                             Consumer Reports commented that                         we are only considering CAFE
                                             ‘‘alternative proposals that would                      ‘‘[a]utomakers had agreed to [the                       standards, if the standards in the years
                                             increase stringency levels beyond those                 Obama] levels of stringency in 2012 and                 immediately preceding the rulemaking
                                             proposed in Alternative 2, including the                had plans in place to meet them as                      time frame do not require significant
                                             proposal to increase the stringency of                  recently as last year. With extra credits               additional technology application, then
                                             Alternative 2 in 2026 by an additional                  earned under the weak SAFE rule, they                   more technology should theoretically be
                                             2 [percent] [i.e., Alternative 2.5].’’ 1130             should easily be able to catch up.                      available for meeting the standards
                                                                                                     NHTSA should set the stringency in                      during the rulemaking time frame.
                                             UAW stated that ‘‘[a] drastic increase in
                                                                                                     2026 at least as strong as their                        Second, if we reasonably believe that
                                             standards for MY 2026 could undermine
                                                                                                     Alternative 3. The U.S. is behind the                   manufacturers’ public statements
                                             the overall achievability of regulations,
                                                                                                     curve on our climate commitments, and                   indicate that they will be applying at
                                             discount the lead time required for
                                                                                                     only setting aggressive CAFE targets will
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                                             automotive product planning, and fail to                                                                        least some of that technology regardless
                                                                                                     allow us to catch up.’’ 1133 ACEEE agree                of the stringency of MY 2021–2023
                                             acknowledge the industry disruptions of
                                             recent years. After all, automakers are                      1131 Id.
                                                                                                                                                             CAFE standards, those manufacturers
                                             currently operating under the SAFE                           1132 JLR, Docket No. NHTSA–2021–0053–1505, at      should be better positioned to comply
                                                                                                     4.
                                               1130 UAW, Docket No. NHTSA–2021–0053–0931,              1133 Consumer Reports, Docket No. NHTSA–                1134 ACEEE, Docket No. NHTSA–2021–0053–
                                                                                                                                                                                                          ER02MY22.242</GPH>




                                             at 2.                                                   2021–0053–1576–A9, at 5.                                0074, at 4–5.



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                                             with the MY 2024–2026 standards—not                     industry are nonetheless making                       that a handful of advanced technology
                                             because they have credits in the bank,                  announcement after announcement of                    vehicles do not inadvertently allow
                                             but because their vehicles already have                 new forthcoming advanced technology,                  backsliding in the majority of the fleet
                                             more technology on them, and their                      high-fuel-economy vehicle models, and                 that will continue to be powered by
                                             fleet fuel economy is simply higher than                does not believe that they would be                   internal combustion for likely the next
                                             it would otherwise have been. This is                   doing so if they thought there was no                 5–10 years. CAFE standards that
                                             what reassures NHTSA that the lead                      market at all for them. As discussed                  increase steadily may help industry
                                             time for these standards is adequate. As                above, many industry comments                         make this transition more smoothly.
                                             discussed in Section VI.A, while                        trumpeted their own commitments and                      Moreover, the standards represented
                                             automakers may have recently been                       announcements while simultaneously                    by Alternative 2.5 actually give industry
                                             selling relatively larger, heavier, lower-              expressing concern and uncertainty                    slightly more lead time to meet targets
                                             fuel-economy vehicles, we do not think                  about consumer demand for the vehicles                equivalent to those set forth in 2012.
                                             that from a technology perspective, they                being committed to and announced.                     The figures below show when several of
                                             really left the path laid out in 2012.                  Perhaps some of the introductions are                 the different regulatory alternatives
                                             JLR’s comment above supports this                       driven by industry perceptions of future              considered in this final rule would
                                             idea—their product plans are set and                    regulation, but the fact remains that the             reach parity with the targets set forth in
                                             they had been planning for, at most, the                introductions are happening even in the               2012. As shown, Alternative 1 would
                                             2012 targets.                                           face of that uncertainty, and uncertainty             never reach the levels set forth in 2012,
                                                NHTSA recognizes that lead time here                 about future government assistance with               while Alternatives 2 and 2.5 would get
                                             is less than past rulemakings have                      that transition. CAFE standards can help              there with slightly extra lead time for
                                             provided, and that the economy and the                  to buttress this momentum by                          passenger cars and slightly more extra
                                             country are in the process of recovering                continuing to require the fleets as a                 lead time for light trucks, and
                                             from a global pandemic. NHTSA also                      whole to improve their fuel economy                   Alternative 3 would get there early as
                                             recognizes that at least parts of the                   levels steadily over the coming years, so             compared to 2012.
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                                                If manufacturers were planning their                 voluntarily toward more stringent                     fuel economy, and is thus relevant to
                                             fleets from a technology perspective to                 standards.                                            NHTSA’s assessment of technological
                                             meet the 2012 targets for MY 2025, but                     Many industry and other commenters                 feasibility and economic practicability.
                                             feel that they ‘‘got off track’’ in                     objected to NHTSA suggesting in the                   NHTSA interprets these agreements as
                                             compliance terms by selling larger,                     NPRM that the California Framework                    binding because they are contracts, but
                                             heavier, lower-fuel-economy vehicles                    Agreements or automakers’ public                      also as evidence that the participating
                                             over the last several model years relative              commitments to electrification,                       companies believe that applying that
                                             to what the 2012 rule expected them to                  decarbonization, and higher fuel                      additional technology is practicable,
                                                                                                     economy vehicles were relevant to                     because for-profit companies can
                                             sell, then the figures above are
                                                                                                     economic practicability, as discussed in              reasonably be relied upon to make
                                             instructive. As mentioned above, while
                                                                                                     Section VI.A, and thus how NHTSA                      decisions that maximize their profit.
                                             Alternative 3 would reach parity with                   considered them in determining
                                             the 2012 targets ‘‘early’’—for passenger                                                                      Companies who did not agree with
                                                                                                     maximum feasible standards. Yet at the
                                             cars and light trucks, Alternatives 2 and                                                                     CARB to meet higher emission
                                                                                                     same time, many of those commenters
                                             2.5 actually provide slightly more lead                                                                       reduction targets may apply equivalent
                                                                                                     vaunted these commitments in their
                                             time for trucks—Alternative 2 would                     comments to the NPRM, as noted above.                 technology during MYs 2021–2023, but
                                             reach parity with the 2012 targets ‘‘on                    Manufacturers that agreed with CARB                they, too, will get the relative ‘‘break’’ in
                                             time,’’ in 2025, for passenger cars, and                to increase their emissions performance               CAFE obligations mentioned above, and
                                             in 2026 for light trucks, while                         during those model years are                          have additional time to plan for the
                                             Alternative 2.5 pushes trucks just                      contractually bound to apply sufficient               higher stringency increases in
                                             slightly faster. Alternative 2.5 thus                   technology to meet those higher levels,               subsequent years. Those manufacturers
                                             acknowledges industry concerns about                    and specifically, electrification                     can opt to employ more modest
                                                                                                     technology which NHTSA does not                       technologies to improve fuel economy
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                                             lead time, because Alternative 2.5
                                             provides more time to reach the 2012                    model as part of its standard-setting                 (beyond their legal requirements) to be
                                             targets, but also helps to reconcile those              analysis, due to the 49 U.S.C. 32902(h)               in a stronger fuel economy position
                                             expressed concerns with evidence that                   restrictions for MYs 2024–2026. As                    heading into more challenging years, or
                                             companies have planned for 2012                         noted above, however, some, though not                concentrate their research and
                                                                                                     all, of the non-electrification technology            development resources on the next
                                             targets and appear to be moving
                                                                                                                                                                                                           ER02MY22.246</GPH>




                                                                                                     will both reduce emissions and improve                generation of higher fuel economy


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                                             vehicles that will be needed to meet the                relevant to the need of the United States                E.O. 12866 and Circular A–4 also direct
                                             proposed standards in MYs 2024–2026                     to conserve energy, and NHTSA                            agencies to consider maximizing net
                                             (and beyond), rather investing in more                  believes that consumers themselves                       benefits in rulemakings whenever
                                             modest improvements in the near-term.                   weigh expected fuel savings against                      possible and consistent with applicable
                                             As always, the CAFE program leaves it                   increases in purchase price for vehicles                 law. Thus, because it can be relevant to
                                             to automakers to determine how they                     with higher fuel economy. Fuel costs (or                 balancing the statutory factors and
                                             wish to achieve compliance.                             savings) continue to be the largest                      because it is directed by E.O. 12866 and
                                               Changes in costs for new vehicles are                 source of benefits for CAFE standards,                   OMB guidance, NHTSA also considers
                                             not the only costs that NHTSA                           and GHG reduction benefits, which are                    the net benefits attributable to the
                                             considers in balancing the statutory                    also part of the need of the U.S. to                     different regulatory alternatives, as
                                             factors—fuel costs for consumers are                    conserve energy, are also increasing.                    shown in Table VI–20.




                                             BILLING CODE 4910–59–C                                  that if fuel prices were overstated, it                  benefits estimates are underestimates.
                                                Section VI.A discussed a number of                   could ‘‘entirely negate the stated $1                    Thus, given the uncertainties associated
                                             comments received on net benefits and                   billion net benefit,’’ and that ‘‘minor                  with many aspects of this analysis,
                                             whether it was a valid consideration in                 changes to [fuel prices, vehicle miles                   NHTSA does not rely solely on net
                                             determining maximum feasible                            traveled, scrappage rate, and/or the                     benefit maximization, and instead
                                             standards, along with the agency’s                      social cost of carbon] could push the
                                             response. South Coast AQMD argued                                                                                considers it as one piece of information
                                                                                                     Proposal from a small net benefit to a                   that contributes to how we balance the
                                             that it was unreasonable for NHTSA to                   large net cost.’’ 1138 Other commenters
                                             balance the factors in the NPRM by                                                                               statutory factors, in our discretionary
                                                                                                     suggested that analytical changes (that                  judgment. NHTSA recognizes that the
                                             stating that ‘‘it is reasonable to consider             would lead to changes in the point at
                                             choosing the regulatory alternative that                                                                         need of the U.S. to conserve fuel weighs
                                                                                                     which net benefits were maximized)                       importantly in the overall balancing of
                                             produces the largest reduction in fuel                  would make it clear in the final rule that
                                             consumption, while remaining net                                                                                 factors, and thus believes that it is
                                                                                                     Alternative 3 was net beneficial and                     reasonable to at least consider choosing
                                             beneficial,’’ because that approach                     therefore maximum feasible.1139
                                             elevated economic practicability as the                                                                          the regulatory alternative that produces
                                                                                                        While maximizing net benefits is a                    the largest reduction in fuel
                                             decisive factor and rested on a cost-
                                                                                                     valid decision criterion for choosing                    consumption, while remaining net
                                             benefit analysis that ‘‘is riddled with
                                                                                                     among alternatives, provided that                        beneficial. Of course, the benefit-cost
                                             uncertainty.’’ 1135 Mr. Douglas also
                                                                                                     appropriate consideration is given to
                                             argued that NHTSA relied too heavily in                                                                          analysis is not the sole factor that
                                                                                                     impacts that cannot be monetized, we
                                             the proposal on its cost-benefit analysis                                                                        NHTSA considers in determining the
                                                                                                     agree it is not the only reasonable
                                             and quantitative approaches, ‘‘which                                                                             maximum feasible stringency, though it
                                                                                                     decision perspective, and that what we
                                             attempt to determine the maximum                                                                                 informs NHTSA’s conclusion that
                                                                                                     include in our cost-benefit analysis
                                             feasible level of stringency by focusing                                                                         Alternative 2.5 is the maximum feasible
                                                                                                     affects our estimates of net benefits. At
                                             almost exclusively on the precise extent                the outset, we note that the net benefits                stringency. While Alternative 1
                                             of technological and economic                           for the alternatives under consideration                 produces higher net benefits, it also
                                             barriers,’’ 1136 and stated that ‘‘cost-                here do not vary greatly amongst                         continues to allow fuel consumption
                                             benefit analysis is a useless quantitative              themselves, as was also the case in the                  and accompanying disbenefits that
                                             approach unless we assign an                            2020 final rule, particularly given the                  could have been avoided in a cost-
                                             extraordinarily high value to the social                overall costs and benefits associated                    beneficial manner. And while
                                             cost of carbon,’’ because otherwise too                 with those regulatory alternatives. We                   Alternative 3 achieves greater
                                             little value is placed on ‘‘unquantifiable,             also note that important benefits cannot                 reductions in fuel consumption than
                                             extraordinarily precious benefits that                  be monetized—including the full health                   Alternative 2, it shows lower net
                                             are the fundamental goals of                            and welfare benefits of reducing climate                 benefits under a 7 percent discount rate.
                                             environmental preservation . . . .’’ 1137               and other pollution, which means the                     Alternative 3 also, as detailed above,
                                             AFPM also argued with the validity of                                                                            adds technology costs of over $2,000 per
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                                             the cost-benefit analysis, but by noting                   1138 AFPM, Docket No. NHTSA–2021–0053–1530,           vehicle for more manufacturers as
                                                                                                     at 16–17.                                                compared to the baseline, while
                                               1135 South Coast AQMD, Docket No. NHTSA–                 1139 See, e.g., California Attorney General et al.,
                                                                                                                                                              Alternative 2.5 has somewhat lower
                                             2021–0053–1477, at 6.                                   Docket No. NHTSA–2021–0053–1499, at 2; CBD et
                                               1136 Peter Douglas, Docket No. NHTSA–2021–
                                                                                                     al., Docket No. NHTSA–2021–0053–1572, at 1;
                                                                                                                                                              costs and greater lead time for the
                                             0053–0085, at 3.                                        CARB, Docket No. NHTSA–2021–0053–1521, at 2–             largest increase in standards for MY
                                                                                                                                                                                                          ER02MY22.247</GPH>




                                               1137 Id. at 19.                                       3.                                                       2026.


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                                                Below, NHTSA discusses the                           net benefits—where higher and lower                   influencing the benefits and costs that
                                             sensitivity analysis presented in the                   prices not only determine the dollar                  accrue to new car buyers: The social
                                             FRIA, which demonstrates the effect                     value of each gallon saved, but also how              cost of damages attributable to
                                             that different assumptions would have                   market demand responds to higher                      greenhouse gas emissions. The central
                                             on the costs and benefits associated                    levels of fuel economy in vehicle                     analysis uses a SC–GHG cost based on
                                             with the standards.                                     offerings. For Alternative 2.5, under the             the 3 percent discount rate for both the
                                                As also discussed in Section VI.A,                   low case, at 3 percent SC–GHG DR, net                 3 percent and the 7 percent social
                                             NHTSA estimates that Alternative 2.5                    benefits become negative and exceed                   discount rate cases. Of course, the
                                             will result in significant additional                   $14 billion, but increase to almost                   magnitude of the SC–GHG estimate used
                                             technology application while producing                  (positive) $60 billion in the high case               affects the monetization of the benefits
                                             only a slight decline (of about 1 percent               (the largest increase among any                       of reducing greenhouse gas emissions.
                                             over the entire period covered by MYs                   sensitivity cases run for this final rule).           Using the highest SC–GHG, based on the
                                             2020–2026) in new vehicle sales as                      This suggests that the net benefits                   95th percentile estimate, pushes net
                                             compared to the No-Action Alternative,                  resulting from this final rule are                    benefits above $70 billion under
                                             as a consequence of the higher retail                   dependent upon the future price of                    Alternative 2.5 at a 3 percent social
                                             prices that result from that additional                 gasoline being at least as high as the                discount rate and to approximately $60
                                             technology application. NHTSA does                      AEO 2021 Reference Case projects.                     billion at a 7 percent social discount
                                             not believe that this very minor                           Another critical uncertainty that                  rate. The 95th percentile estimate,
                                             estimated change in new vehicle sales                   affects private benefits is the future cost           drawn from the possible climate impact
                                             over the period covered by the rule is                  of advanced electrification technologies,             outcomes in the underlying modeling,
                                             a persuasive reason to choose another                   specifically batteries. These emerging                helps decision-makers understand the
                                             regulatory alternative. Similarly, the                  technologies provide both the greatest                value of reducing greenhouse gas
                                             estimated labor impacts within the                      fuel savings to new car buyers and                    emissions if the damages caused by
                                             automotive industry provide no                          impose the highest technology costs (at               climate change are in reality
                                             evidence that another alternative should                the moment). While the costs to produce               significantly higher than the ‘‘best
                                             be preferred, and in fact, employment                   large vehicle batteries have been                     guess’’ projections of those damages.
                                             increases with alternative stringency                   declining, they are still expensive                      Other sensitivity cases examine
                                             according to the final rule analysis.1140               relative to advancements in internal                  inputs that have also engendered much
                                                As with any analysis of sufficient                   combustion engines and transmissions.                 discussion over the past several rounds
                                             complexity, there are a number of                       However, the analysis projects                        of rulemaking. Varying the rebound
                                             critical assumptions here that introduce                continued cost learning over time and                 effect, for example, from five to 15
                                             uncertainty about manufacturer                          shows battery electric vehicles reaching              percent around the reference case value
                                             compliance pathways, consumer                           price parity with conventional vehicles               of 10 percent resulted in net costs
                                             responses to fuel economy                               in the 2030s for most market segments—                ranging from $3 billion (five percent
                                             improvements and higher vehicle                         after which market adoption of BEVs                   rebound) to $12 billion (15 percent
                                             prices, and future valuations of the                    accelerates—although other estimates                  rebound). Altering the price elasticity of
                                             consequences from higher CAFE                           show price parity occurring sooner.                   demand that influences the sales and
                                             standards. While NHTSA considers                        Electrification is also a viable                      scrappage responses had a similarly
                                             dozens of sensitivity cases to measure                  compliance strategy, as partially or fully            small effect on net benefits; a price
                                             the influence of specific parametric                    electric vehicles benefit from generous               elasticity of ¥0.1 produced a net cost
                                             assumptions and model relationships,                    compliance incentives that improve                    estimate of $2 billion, while increasing
                                             only a small number of them                             their estimated fuel economy relative to              this elasticity parameter to ¥0.5
                                             demonstrate meaningful impacts to net                   measured energy consumption. As such,                 resulted in net costs of $9 billion. With
                                             benefits under the final standards.                     the assumption about future battery                   battery costs, despite the extensive
                                                Looking at these cases more closely,                 costs has the ability to influence                    discussion and uncertainty over these
                                             the majority of both costs and benefits                 compliance costs to manufacturers and                 values, they do not exert a level of
                                             that occur under the standards accrue to                prices to consumers, the rate of electric             influence in the analysis that
                                             buyers of new cars and trucks, rather                   vehicle adoption in the market, and thus              significantly alters the analytical
                                             than society in general (assuming that                  the emissions associated with their                   findings. Regardless of net benefits,
                                             technology costs are passed down to                     operation. NHTSA considered two                       NHTSA would still conclude that
                                             consumers as higher prices, as we do in                 different mechanisms to affect battery                Alternative 2.5 is economically
                                             our analysis). It then follows that the                 costs: Higher/lower direct costs, and                 practicable, based on per-vehicle costs,
                                             assumptions that exert the greatest                     faster/slower cost learning rates. The                technology levels estimated to be
                                             influence over private costs and benefits               two mechanisms that reduce cost                       required to meet the standards, and the
                                             also exert the greatest influence over net              (whether by faster cost learning or lower             slight additional lead time provided as
                                             benefits—chief among these is the                       direct costs) both increase net benefits              compared to Alternative 3.
                                             assumed trajectory of future fuel prices,               relative to the central case, though                     As also discussed in Section VI.A,
                                             specifically gasoline. NHTSA considers                  lowering initial direct costs by 20                   many commenters raised the issue of
                                             the ‘‘High Oil Price’’ and ‘‘Low Oil                    percent had a greater effect than                     harmonization. Many industry
                                             Price’’ cases from AEO 2021 as                          increasing the learning rate by 20                    commenters suggested that CAFE
                                             bounding cases, though they are                         percent. Increasing cost (though either               standards would not be economically
                                             asymmetrical (while the low case is                     mechanism) by 20 percent produced a                   practicable, and thus would be beyond
                                             only about 25 percent lower than the                                                                          maximum feasible, if they required any
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                                                                                                     similar effect, but in the opposite
                                             Reference case on average, the high case                direction (reducing net benefits).                    technology investments beyond what
                                             is almost 50 percent higher on average).                However, none of those cases exerted a                EPA’s recently finalized GHG standards
                                             The sensitivity cases suggest that fuel                 level of influence that compares to                   for MYs 2024–2026 would require.
                                             prices exert considerable influence on                  alternative fuel price assumptions.                   Consequently, these commenters
                                                                                                        There is one assumption that                       suggested that Alternative 3 was beyond
                                               1140 See FRIA Chapter 6.3.3, Table 6–1.               significantly affects the analysis without            maximum feasible, and even Alternative


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                                             2 was beyond maximum feasible,                          maximum feasible determination.                       motor vehicle standards of the
                                             because its stringency was not                          Pursuant to this directive, NHTSA has                 Government’’ and their effect on fuel
                                             uniformly below EPA’s stringency when                   evaluated the feasibility of complying                economy in assessing what is maximum
                                             all EPA flexibilities and NHTSA                         with the revised CAFE standards in the                feasible. If compliance with other motor
                                             statutory restrictions on flexibilities                 context of EPA’s standards, and                       vehicle standards of the Government
                                             were accounted for.1141 Some of these                   concluded that complying with both                    made certain fuel economy-improving
                                             commenters, as described above, further                 standards is feasible. As discussed                   technologies infeasible or less effective,
                                             argued that because Alternatives 2 and                  above, even when the standards of the                 for example, then NHTSA would be
                                             higher were ‘‘too stringent’’ compared to               two programs are coordinated closely, it              obligated to take that into account in
                                             EPA’s standards, that they would                        is still foreseeable that there could be
                                                                                                                                                           determining what CAFE standards were
                                             require application of additional electric              situations in which different agencies’
                                                                                                                                                           maximum feasible. NHTSA has
                                             vehicles beyond what EPA’s standards                    programs could be binding for different
                                                                                                     manufacturers in different model years.               conducted the required weighing of the
                                             would require.1142
                                                These commenters also generally                      This was true for the 2012 final rule and             statutory factors, and in doing so the
                                             objected to inclusion of State ZEV                      it is true for the revised programs.                  agency has concluded that Alternative
                                             standards in NHTSA’s analytical                         Regardless of which agency’s standards                2.5 is maximum feasible. In drawing
                                             baseline, as discussed in Sections IV.B                 are binding given a manufacturer’s                    this conclusion, NHTSA has considered
                                             and VI.A. Conversely, California                        chosen compliance path, manufacturers                 other motor vehicle standards of the
                                             Attorney General et al. argued that they                will choose a path that complies with                 Government and concluded they will
                                             did not believe that NHTSA having                       both standards, and in doing so, will                 not make compliance with Alternative
                                             added California’s ZEV standards in the                 still be able to build a single fleet of              2.5 infeasible.
                                             baseline was inherently dispositive for                 vehicles—even if it is not exactly the                   Thus, again, in re-evaluating all of the
                                             NHTSA’s determination of maximum                        fleet that the manufacturer might have                factors that NHTSA considers in
                                             feasible standards, because ‘‘The                       preferred to build. This remains the case             determining maximum feasible CAFE
                                             technological feasibility, economic                     today.                                                standards, the agency was compelled to
                                             practicability, and energy conservation                    NHTSA does not believe that it is a
                                                                                                     reasonable interpretation of Congress’                balance what we believe is a credible
                                             factors . . . strongly favor NHTSA’s
                                                                                                     direction to set ‘‘maximum feasible’’                 case for choosing Alternative 3 as
                                             proposed standards’’ already.1143
                                                                                                     standards at ‘‘the fuel economy level at              opposed to Alternative 2.5. In doing so,
                                             California Attorney General et al. noted
                                                                                                     which no manufacturer need ever apply                 NHTSA must balance the four statutory
                                             that simply ‘‘by including California’s
                                             ZEV standards in the . . . baseline,                    any additional technology or spend any                factors. Alternative 2.5 and Alternative
                                             NHTSA has already demonstrated that                     additional dollar beyond what EPA’s                   3 each produce significant reductions in
                                             the proposed changes to the CAFE                        standards, with their many flexibilities,             fuel use, and while Alternative 3 is
                                             standards and the California ZEV                        would require.’’ NHTSA disagrees that                 estimated to result in more savings, it
                                             standards will not interfere with each                  avoiding inconsistency with EPA’s                     could require technology application
                                             other and that it is entirely feasible for              programs requires NHTSA standards to                  well beyond what EPA’s GHG standards
                                             automakers to comply with both.’’ 1144                  impose zero additional costs. Rather,                 and State ZEV standards will require.
                                                In response, as discussed in Section                 NHTSA must fulfill its statutory                      Alternative 3 is less economically
                                             VI.A, NHTSA has carefully considered                    mandate to set maximum feasible fuel                  practicable for the model years
                                             the effect of State ZEV standards as                    economy standards. NHTSA evaluated                    addressed by this rule, when
                                             other legal requirements facing                         whether it would be feasible for                      considering per-vehicle costs,
                                             automakers during the rulemaking time                   manufacturers complying with EPA’s                    technology application rates, and lead
                                             frame and agrees with California                        standards to achieve the level of fuel                time. Even though Alternative 3
                                             Attorney General et al. that it appears to              economy that NHTSA has identified as                  maximizes energy conservation, and
                                             be feasible for automakers to comply                    maximum feasible, and has determined
                                                                                                                                                           NHTSA believes it is technologically
                                             with both. NHTSA has carefully                          that it is. Further, the technological
                                                                                                                                                           feasible, economic practicability tips the
                                             considered the EPA GHG standards, and                   improvements to which automakers
                                                                                                     have committed in the coming years                    balance for the agency to Alternative
                                             disagrees that CAFE standards must                                                                            2.5. Alternative 2.5 is an aggressive but
                                             account precisely for each and every                    will, no doubt, facilitate their
                                                                                                     compliance with CAFE standards, even                  achievable set of standards that NHTSA
                                             difference between the two programs                                                                           has concluded represents the right
                                             and be calculated to avoid any                          if they are not credited as heavily as in
                                                                                                     the GHG program.                                      balancing for MYs 2024–2026—it is
                                             additional need for technology outlay
                                                                                                        NHTSA interprets ‘‘maximum                         technologically feasible; and it
                                             whatsoever. As explained in Section
                                                                                                     feasible’’ instead, as it has done                    continues to push fuel economy
                                             VI.A, NHTSA’s statutory mandate is to
                                             set maximum feasible standards,                         previously, as requiring a balancing of               improvements, bolstering the industry’s
                                             considering the four statutory factors. In              the relevant factors, rather than letting             trajectory toward higher future
                                                                                                     a single factor drive the decision                    standards by keeping stringency high in
                                             considering the effect of other motor
                                                                                                     entirely. The purpose of EPCA is energy               the mid-term. It meets the need of the
                                             vehicle standards of the Government on
                                                                                                     conservation, and NHTSA is                            U.S. to conserve energy, but in our
                                             fuel economy, NHTSA considers
                                                                                                     interpreting the need to conserve energy              estimation, not beyond the point of
                                             whether any of those effects affect the
                                                                                                     to be largely driven by fuel savings,                 economic practicability; and we believe
                                               1141 See, e.g., Auto Innovators, Docket No.
                                                                                                     energy security, and environmental                    that it is complementary to other motor
                                                                                                     concerns. Therefore, it makes sense to
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                                             NHTSA–2021–0053–1492, at 15, 32, 51; Stellantis,                                                              vehicle standards of the Government
                                             Docket No. NHTSA–2021–0053–1527, at 2;                  interpret EPCA’s factors as asking the
                                                                                                                                                           and feasible to achieve in the context of
                                             Hyundai, Docket No. NHTSA–2021–0053–1512, at            agency to push stringency as far as
                                             5–6; Mercedes-Benz, Docket No. NHTSA–2021–                                                                    those other standards. For these reasons,
                                                                                                     possible before it appears that standards
                                             0053–0952, at 3; AVE, Docket No. NHTSA–2021–
                                                                                                     may not be economically practicable or                NHTSA concludes that Alternative 2.5
                                             0053–1488–A1, at 3.                                                                                           is maximum feasible for MYs 2024–
                                               1142 See, e.g., Stellantis, Docket No. NHTSA–         technologically feasible. NHTSA is also
                                             2021–0053–1527, at 3.                                   directed by statute to consider ‘‘other               2026.



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                                             VII. Compliance and Enforcement                         finalizing incentives in these areas                  NHTSA receives CAFE reports from
                                                                                                     increasing the benefits manufacturers                 manufacturers and evaluates the
                                             A. Complying With the NHTSA CAFE
                                                                                                     can claim for off-cycle menu                          information in these reports. NHTSA
                                             Program
                                                                                                     technologies from 10 g/mile to 15 g/mile              uses compliance data in part to identify
                                             1. Overview                                             and adding definitions for technologies               industry trends for policy makers as
                                                NHTSA’s CAFE enforcement program                     on the menu. Also, NHTSA is                           discussed above, then to conduct
                                             is largely established by statute, EPCA,                reinstituting previously deleted                      verification testing and audits and
                                             as amended by EISA, and is very                         compliance incentives for advance full                finally to provide aggregated reporting
                                             prescriptive with regard to enforcement.                sized pickup trucks to start again in MY              to uphold its commitment for public
                                             EPCA and EISA also clearly specify a                    2023, and extend through MY 2024. In                  transparency. For this final rule,
                                             number of flexibilities that are available              addition, NHTSA is also finalizing                    NHTSA is releasing aggregated CAFE
                                             to manufacturers to help them comply                    several administrative processes to its               compliance data for model years 2011
                                             with the CAFE standards. Some of those                  off-cycle program including deadlines
                                                                                                                                                           through 2021 using final compliance
                                             flexibilities are constrained by statute—               and greater oversight to ensure timely
                                                                                                                                                           data for MYs 2011 through 2017,1146
                                             for example, while Congress required                    accounting of these incentives for CAFE
                                                                                                     compliance. Finally, NHTSA is                         projections from end-of-the-model year
                                             that NHTSA allow manufacturers to                                                                             reports submitted by manufacturers for
                                             transfer credits earned for over-                       providing clarifications to its criteria for
                                                                                                     classifying light trucks in the CAFE                  MYs 2018 and 2019,1147 and projections
                                             compliance from their car fleet to their
                                                                                                     program to be added to its upcoming                   from manufacturers’ mid model year
                                             truck fleet and vice versa, Congress also
                                             limited the amount by which                             compliance test procedure.                            reports for MY 2020 and 2021.1148
                                             manufacturers could increase their                         To help explain how the compliance                 Projections from the mid-year and end-
                                             CAFE levels using those transfers.                      changes being finalized affect the CAFE               of-the-model year reports may differ
                                             NHTSA believes Congress balanced the                    program, the following sections outline               from EPA-verified final CAFE values
                                             energy-saving purposes of the statute                   how NHTSA determines how                              either because of differing test results or
                                             against the benefits of certain                         manufacturers comply with CAFE                        final sales-volume figures. MY 2011 was
                                             flexibilities and incentives and                        standards for each model year, and how                selected as the start of the data because
                                             intentionally placed some limits on                     manufacturers may use compliance                      it represents the first compliance model
                                             certain statutory flexibilities and                     flexibilities, or alternatively, address              year for which manufacturers were
                                             incentives. With that goal in mind, of                  noncompliance through civil penalties.                permitted to trade and transfer
                                             maximizing compliance flexibility                       Moreover, it explains how                             credits.1149 The data go up to MY 2021,
                                             while also implementing EPCA/EISA’s                     manufacturers submit data and                         because this was the most recent year
                                             overarching purpose of energy                           information to the agency for                         compliance reports have been accessed
                                             conservation as fully as possible,                      compliance purposes. This includes a                  for their completeness. Figure VII–1
                                             NHTSA has crafted the credit transfer                   detailed discussion of NHTSA’s                        through Figure VII–4 provide a
                                             and trading regulations authorized by                   standardized CAFE reporting and credit                graphical overview of the actual and
                                             EISA to ensure that total fuel savings are              transactions templates and its                        projected compliance data for MYs
                                             preserved when manufacturers exercise                   requirements for manufacturers to
                                                                                                                                                           2011–2021.1150
                                             their statutorily provided compliance                   provide information and the
                                             flexibilities.                                          documentation associated with credit                     In the figures, an overview is
                                                In addition, NHTSA and EPA have                      trades. These reporting templates and                 provided for the total fuel economy
                                             previously developed other compliance                   requirements were adopted as a part of                performance of the industry (the
                                             flexibilities and incentives for the CAFE               the 2020 final rule and revised in the                combination of all passenger cars and
                                             program consistent with the statutory                   proposals for the 2021 NPRM.1145 In                   light trucks produced for sale during the
                                             provisions regarding EPA’s calculation                  this rulemaking, NHTSA is finalizing                  model year) as a single fleet, and for
                                             of manufacturers’ fuel economy levels.                  the changes to its reporting and credit               each of the three CAFE compliance
                                             As discussed in the following sections,                 templates and issuing a new template to               fleets: Domestic passenger car, import
                                             NHTSA is finalizing requirements for                    clarify the required costing information              passenger car, and light truck fleets.
                                             this final rule under EPA’s program to                  for credit trades. These new
                                             be applied as fuel economy                              requirements are intended to streamline                 1146 Final compliance data have been verified by
                                             ‘‘adjustments’’ or ‘‘improvement values’’               reporting and data collection from
                                                                                                                                                           EPA and are published on the NHTSA’s Public
                                             for the CAFE program. These include:                    manufacturers, in addition to helping                 Information Center (PIC) site. MY 2017 is currently
                                             (1) Technologies that cannot be                         the agency use the best available data to             the most-recent model year verified by EPA.
                                             measured or cannot be fully measured                    inform CAFE program decision makers                     1147 MY 2018 data come from information
                                             on the 2-cycle test procedure, i.e., ‘‘off-             for future rulemakings, and when                      received in manufacturers’ final reports submitted
                                             cycle’’ technologies; (2) AC efficiency                 considering additional or revised                     to EPA according to 40 CFR 600.512–12.
                                             improvements that also improve fuel                     flexibilities and incentives.                           1148 Manufacturers’ mid-model year CAFE reports

                                             economy but cannot be measured on the                                                                         are submitted to NHTSA in accordance with 49 CFR
                                             2-cycle test procedure, and; (3) full-size              2. Light Duty CAFE Compliance Data for                part 537. At the time of the analysis, end of the
                                             pickup trucks, such as hybridization, or                MYs 2011–2021                                         model year data had not yet been submitted for MY
                                             full-size pickup trucks that overperform                                                                      2020 or 2021.
                                                                                                        As the first step to understanding                   1149 49 CFR 535.6(c).
                                             their fuel economy stringency target                    compliance with the CAFE program,                       1150 As mentioned previously, the figures include
                                             values by greater than a specified
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                                                                                                                                                           estimated values for certain model years based on
                                             amount. More specifically, NHTSA is                       1145 86 FR 49602 (Sept. 3, 2021).
                                                                                                                                                           the most up to date information provided to
                                                                                                                                                           NHTSA from manufacturers.




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                                             For each of the graphs, a sale-                          they were earned or applied                          represent these credits for the actual
                                             production weighting is applied to                       retroactively to the previous 3 model                value that would likely exist if the
                                             determine the average total or fleet Base                years, it is impossible to know the final            credits were applied for compliance
                                             CAFE performances.1151 1152 1153 The                     application of credits for MY 2020 until             purposes. Without adjusting the banked
                                             graphs do not include adjustments for                    MY 2023 compliance data are finalized.               credits, our analysis would provide an
                                             full-size pickup trucks because                          Instead of attempting to project how                 unrealistic value of the true worth of
                                             manufactures have yet to reach the                       credits would be generated and used,                 these credits when used for compliance.
                                             required market threshold to utilize the                 the agency opted to value each credit                For MYs 2018–2021, the mpg value of
                                             incentive.                                               based on its actual value when earned,               the remaining banked credits is shown
                                               The figures also show how many                         by estimating the value when applied                 slightly differently where the value
                                             credits remain in the market each model                  assuming it was applied to the overall               represents the difference between the
                                             year. One complicating factor for                        average fleet and across all vehicles. In            adjusted credits carried forward from
                                             presenting credits is that the mpg-value                 the figures, two different approaches                previous model years (minus expiring
                                             of a credit is contingent where it was                   were used to represent the mpg value of              credits) and the projected earned credits
                                             earned and applied. Therefore, the                       credits used to offset shortages (shown              minus any expected credit shortages.
                                             actual use of the credits for MY 2018                    as CAFE after credit allocation in the               Since all the credits in these model
                                             and beyond will be uncertain until                       figures). The mpg shortages for MYs                  years were adjusted using the same
                                             compliance for those model years is                      2011–2017 are based upon actual                      approach it was possible to subtract the
                                             completed. Also, since credits can be                    compliance values from EPA and the                   credit amounts. However, readers are
                                             retained for up to six model years after                 credit allocations or fines manufacturers            reminded that for MYs 2018–2021 since
                                                                                                      instructed NHTSA to adjust and apply                 the final CAFE reports have yet to be
                                                1151 In the figures, the label ‘‘2-Cycle CAFE’’       to resolve compliance shortages. For                 issued, the credit allocation process has
                                             represents the maximum increase each year in the         MYs 2018–2021, NHTSA used a                          not started, and the data shown in the
                                             average fuel economy set to the limitation ‘‘cap’’ for   different approach for representing the
                                             manufacturers attributable to dual-fueled                                                                     graphs are a projection of potential
                                                                                                      mpg shortages, deriving them from
                                             automobiles as prescribed in 49 U.S.C. 32906. The                                                             overall compliance. Consequently, the
                                             label ‘‘AC/OC contribution’’ represents the increase     projected estimates adjusted for fuel
                                                                                                                                                           credits included for MYs 2018–2021 are
                                             in the average fuel economy adjusted for AC and          savings calculated from the projected
                                                                                                                                                           separated from earlier model years by a
                                             off-cycle FCIVs as prescribed by 40 CFR 600.510–         fleet average performances and
                                             12.                                                                                                           dashed line to highlight that there is a
                                                                                                      standards for each model year and fleet.
                                                1152 Consistent with applicable law, NHTSA
                                                                                                      To represent the mpg value of                        margin of uncertainty in the estimated
                                             established provisions starting in MY 2017 allowing                                                           values. Projecting how and where
                                             manufacturers to increase compliance performance         manufacturers’ remaining banked
                                             based on fuel consumption benefits gained by             credits in the figures (shown as Credits             credits will be used is difficult for a
                                             technologies not accounted for during normal 2-          in the Market) the same weighting                    number of reasons, such as not knowing
                                             cycle EPA compliance testing (called ‘‘off-cycle         approach was also applied to these                   which flexibilities manufacturers will
                                             technologies’’ for technologies such as stop-start                                                            utilize and the fact that credits are not
                                             systems) as well as for AC systems with improved         credits based upon the fleet averages.
                                             efficiencies and for hybrid or electric full-size        For MYs 2011–2017, the remaining                     valued the same across different fleets.
                                             pickup trucks.                                           banked credits include those currently               As such, the agency reminds readers
                                                1153 Adjustments for earned credits include those
                                                                                                      existing in manufacturers’ credit                    that the projections may not align with
                                             that have been adjusted for fuel saving using the
                                                                                                      accounts adjusted for fuel savings and               how manufacturers will actually
                                             manufacturers CAFE values for the model years in                                                              approach compliance for these years.
                                             which they were earned and adjusted to the average       subtracting any expired credits for each
                                             CAFE values for the fleets they exist within.            year. This approach was taken to                     BILLING CODE 4910–59–P
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                                             BILLING CODE 4910–59–C                                  relying solely on Base CAFE                           addressing compliance shortfalls.1156 As
                                                Table VII–1 provides the numerical                   performance. Prior to this timeframe,                 mentioned, MY 2017 is the last model
                                             CAFE performance values and standards                   passenger car manufacturers especially                year for which CAFE compliance
                                             for MYs 2011–2021 as shown in the                       those building domestic fleets could and              determinations are completed, and
                                             figures.                                                did exceed CAFE standards. MY 2016                    credit application and civil penalty
                                                As shown in Figure VII–1,
                                                                                                     marked the first time in the history of               payment determinations finalized. As
                                             manufacturers’ fuel economy
                                                                                                     the CAFE program where compliance                     shown in the figure, for MYs 2011–
                                             performance (2-cycle CAFE plus AMFA)
                                                                                                     for passenger car manufacturers fell                  2015, manufacturers generally resolved
                                             for the total fleet was better than the
                                                                                                     below standards thereby increasing                    credit shortfalls by carrying forward
                                             fleet-wide target through MY 2015. On
                                                                                                     shortfalls and forcing manufacturers to               earned credits from previous years.
                                             average, the total fleet exceeded the
                                                                                                     rely heavily upon credit flexibilities.               However, since 2011, the rise in
                                             standards by approximately 0.9 mpg for
                                             MYs 2011 to 2015. As shown in Figure                    Despite higher shortfalls, domestic                   manufacturers executing credit trades
                                             VII–2 through Figure VII–4, domestic                    passenger car manufacturers have                      has become increasingly common and,
                                             and import passenger cars exceeded                      continued to generate credits and                     in MY 2017, credit trades were the most
                                             standards on average by 2.1 mpg and 2.3                 increase their total credit holdings. The             frequently used flexibility for achieving
                                             mpg, respectively. By contrast, light                   projections show that for MYs 2018–                   compliance. Credit transfers have also
                                             truck manufacturers on average fell                     2021, domestic passenger car fleets will              become increasingly more prevalent for
                                             below the standards by 0.3 mpg over the                 transition from generating to using                   manufacturers. As a note to readers,
                                             same time period.                                       credits but will maintain sizable                     credit trades in the figures can also
                                                For MYs 2016 through 2021, Figure                    amounts of banked credits sufficient to               involve credit transfers but are
                                             VII–1 shows that the total fleet Base                   sustain compliance shortfalls in other                aggregated in the figure as credit trades
                                             CAFE (including 2-Cycle CAFE plus AC                    regulatory fleets within statutory                    to simplify results. In MY 2016, credit
                                             and OC benefits) falls below and                        requirements. Figure VII–3 shows                      transfers constituted the highest
                                             appears to remain below the fleet CAFE                  residual available banked credits even                contributor to credit flexibilities but are
                                             standards for these model years.1154 The                as far as MY 2021. Domestic passenger                 starting to decline, signifying that
                                             projected compliance shortfall (i.e., the               car credits and their off-cycle credits               manufacturers are currently exhausting
                                             difference between CAFE performance                     will play an important role in sustaining             credit transfers within their own fleets.
                                             values and the standards) remains                       manufacturers in complying with CAFE                  Manufacturers only occasionally carry
                                             constant and reaches its greatest                       standards.                                            back credits to resolve performance
                                             difference between MYs 2019 and 2021.                                                                         shortfalls. NHTSA believes that trading
                                                                                                        From the projections, it appears that              credits between manufacturers and to
                                             Compliance becomes even more                            based on the number of remaining
                                             complex when observing individual                                                                             some degree transferring traded credit
                                                                                                     domestic passenger credits in the                     across fleets will be the most commonly
                                             compliance fleets over these years. Only                market and the rate at which they are
                                             domestic passenger car fleets                                                                                 used flexibility in complying with
                                                                                                     being used, there will be insufficient                future CAFE standards as started in MY
                                             collectively appear to exceed CAFE                      credits to cover the shortfalls in other
                                             standards while import passenger car                                                                          2017.
                                                                                                     compliance fleets in years following MY                  Credit trading has generally replaced
                                             fleets appear to have the greatest                      2020. Figure VII–1 shows that the total
                                             compliance shortages. In MY 2020, the                                                                         civil penalty payments as a compliance
                                                                                                     remaining combined credits for the                    mechanism. Only a handful of
                                             import passenger car fleet appear to                    industry is expected to decline starting
                                             reach its highest compliance shortfall                                                                        manufacturers have made civil penalty
                                                                                                     in MY 2018. Import passenger cars and                 payments since the implementation of
                                             equal to 3.9 mpg.                                       light truck fleets will play a major role
                                                The graphs provide an overall                                                                              the credit trading program. As
                                                                                                     in the decline and possible depletion of              previously shown, NHTSA believes that
                                             representation of the average values for                all available credits to resolve shortfalls
                                             each fleet, although they are less helpful                                                                    manufacturers have sufficient credits to
                                                                                                     after MY 2020. Several factors exist that             resolve any import passenger car and
                                             for evaluating compliance with the                      could produce this outcome. First,
                                             minimum domestic passenger car                                                                                light truck performance shortfalls
                                                                                                     increasing credit shortages are occurring             expected through MY 2020. There were
                                             standards given statutory prohibitions                  in the import passenger car and light
                                             on manufacturers using traded or                                                                              two fine payments made in MY 2016
                                                                                                     truck fleets especially since the                     and 2017 which fit this exact case. By
                                             transferred credits to meet those                       reduction and then termination of
                                             standards.1155 NHTSA notes that several                                                                       statute, manufacturers cannot use traded
                                                                                                     AMFA incentives in MY 2019 (a major                   or transferred credits to address
                                             manufacturers have already reported                     contributor for light trucks). Next,
                                             insufficient earned credits and may                                                                           performance shortfalls for failing to
                                                                                                     residual banked credits for the light                 meet the minimum domestic passenger
                                             have to make fine payments if they fail                 truck fleet are expected to be exhausted
                                             to reach the minimum domestic                                                                                 car standards. Because of this limitation,
                                                                                                     starting in MY 2018 and for import                    the fine payments made in MY 2016 and
                                             passenger car standards.                                passenger cars in MY 2020. Finally, the
                                                In summary, MY 2016 is the last                                                                            2017 came from one manufacturer that
                                                                                                     use of AC/OC benefits for import                      had exhausted all of its earned domestic
                                             compliance model year that passenger
                                                                                                     passenger cars and lights trucks is not               passenger credits and could not
                                             cars complied with CAFE standards
                                                                                                     a significant factor for these fleets in              carryback future credits. NHTSA
                                                1154 Until MY 2023 compliance, the last year
                                                                                                     complying with CAFE standards.                        calculates that there will be 11 instances
                                             where earned credits can be retroactively applied to    Manufacturers will need to change their               of MDPCS between 2018 and 2021
                                             MY 2020, NHTSA will be unable to make a                 production strategies or introduce                    where substantial civil penalty
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                                             determination about the fleet’s overall compliance      substantially more fuel saving
                                             over this timespan.                                                                                           payments will have to be made.
                                                1155 In accordance with 49 CFR 536.9(c),
                                                                                                     technologies to sustain compliance in
                                             transferred or traded credits may not be used,          the future.                                             1156 Figure VII–5 includes all credits

                                             pursuant to 49 U.S.C. 32903(g)(4) and (f)(2), to meet      Figure VII–5 provides a historical                 manufacturers have used in credit transactions to
                                             the domestically manufactured passenger                                                                       date. Credits contained in carryback plans yet to be
                                             automobile minimum standard specified in 49
                                                                                                     overview of the industry’s use of CAFE                executed or in pending enforcement actions are not
                                             U.S.C. 32902(b)(4) and in 49 CFR 531.5(d).              credit flexibilities and fine payments for            included in Figure VII–5.



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                                                In Figure VII–6, additional                          manufacturers used carrying forward                   equivalent of 2,952,856 gallons of fuel
                                             information is provided on the credit                   credits most often to resolve shortfalls.             by carrying forward credits in 2017 and
                                             flexibilities exercised and fine payments               Credit trades were the second leading                 583,720 gallons of fuel by trading
                                             made by manufacturers for MYs 2011–                     benefit to manufacturers in using credit              credits in 2017.
                                             2017. The figure includes the GGE for                   flexibilities and then followed by credit             BILLING CODE 4910–59–P
                                             these credit flexibilities or for paying                transfers. In summary, manufacturers
                                             civil penalties. The figure shows that                  used these flexibilities amounting to the
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                                                1157 For Figure VII–6; in each year, some

                                             flexibilities were not utilized by manufacturers. For
                                             example, carry backed credits were not utilized in
                                             2011, 2013, 2014, 2015, 2016, or 2017. Transfer
                                             credits were not used in 2011, 2012 or 2013. No
                                                                                                                                                                                                     ER02MY22.253</GPH>




                                             civil penalties were paid in 2015.



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                                             BILLING CODE 4910–59–C                                    To implement these reporting                           If a manufacturer wishes to request
                                             (a) Manufacturers Reports to NHTSA                      requirements, NHTSA issued 49 CFR                     confidential treatment for a CAFE
                                                                                                     part 537, ‘‘Automotive Fuel Economy                   report, it must submit both a
                                               EPCA, as amended by EISA, in 49                       Reports,’’ which specifies three types of             confidential and redacted version of the
                                             U.S.C. 32907, requires manufacturers to                 CAFE reports that manufacturers must                  report to NHTSA. CAFE reports
                                             submit projections reports to the                       submit.1161 A manufacturer must first                 submitted to NHTSA contain estimated
                                             Secretary of Transportation explaining                  submit a pre-model year (PMY) report                  sales production information, which
                                             how they will comply with the CAFE                      containing the manufacturer’s projected               may be protected as confidential until
                                             standards in advance of the model year                  compliance information for that                       the termination of the production period
                                             for which the report is made; the actions               upcoming model year. By regulation,                   for that model year.1165 NHTSA protects
                                             a manufacturer has taken or intends to                  the PMY report must be submitted in                   each manufacturer’s competitive sales
                                             take to comply with the standard; and                   December of the calendar year prior to                production strategies for 12 months, but
                                             other information the Secretary requires                the corresponding model year.1162                     does not permanently exclude sales
                                                                                                     Manufacturers must then submit a mid-                 production information from public
                                             by regulation.1158 A manufacturer must
                                                                                                     model year (MMY) report containing                    disclosure. Sales production volumes
                                             submit a report containing this
                                                                                                     updated information from                              are part of the information NHTSA
                                             information during the 30-day period                                                                          routinely makes publicly available
                                             before the beginning of each model year,                manufacturers based upon actual and
                                                                                                     projected information known midway                    through the CAFE PIC.
                                             and during the 30-day period beginning                                                                           The manufacturer reports provide
                                                                                                     through the model year. By regulation,
                                             the 180th day of the model year.1159                                                                          information on light-duty automobiles
                                                                                                     the MMY report must be submitted by
                                             When a manufacturer determines it is                                                                          such as projected and actual fuel
                                                                                                     the end of July for the applicable model
                                             unlikely to comply with a CAFE                          year.1163 Finally, manufacturers must                 economy standards, fuel economy
                                             standard, the manufacturer must report                  submit a supplementary report to                      performance, and production volumes,
                                             additional actions it intends to take to                supplement or correct previously                      as well as information on vehicle design
                                             comply and include a statement about
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                                                                                                     submitted information, as specified in                features (e.g., engine displacement and
                                             whether those actions are sufficient to                 NHTSA’s regulation.1164                               transmission class) and other vehicle
                                             ensure compliance.1160                                                                                        attribute characteristics (e.g., track
                                                                                                       1161 See 47 FR 34986 (Aug. 12, 1982).               width, wheelbase, and other off-road
                                               1158 49 U.S.C. 32907(a).                                1162 49 CFR 537.5(b).                               features for light trucks). Beginning with
                                               1159 Id.                                                1163 Id.
                                                                                                                                                                                                         ER02MY22.254</GPH>




                                               1160 Id.                                                1164 49 CFR 537.8.                                    1165 49 CFR part 512, appx. B(2).




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                                             MY 2017, to obtain credit for fuel                      accounting for NHTSA and EPA testing,                  generate the required confidential
                                             economy improvement values                              and subsequently forwards the final                    versions of CAFE reports specified in 49
                                             attributable to additional technologies,                verified data to NHTSA.                                CFR part 537 and to automatically
                                             manufacturers must also provide                                                                                produce the required non-confidential
                                                                                                     (b) New CAFE Reporting Templates
                                             information regarding AC systems with                                                                          versions by clicking a button within the
                                             improved efficiency, off-cycle                          (1) CAFE Reporting Templates Adopted                   template. In the 2020 final rule, NHTSA
                                             technologies (e.g., stop-start systems,                 in 2020 Final Rule and Revised in the                  established that manufacturers are
                                             high-efficiency lighting, active engine                 2021 NPRM                                              required to use the projections template
                                             warm-up), and full-size pickup trucks                      NHTSA adopted changes to its CAFE                   for all PMY, MMY, and supplementary
                                             with hybrid technologies or with fuel                   reporting requirements in the 2020 final               CAFE reports starting in MY 2023.
                                             economy performance that is better than                 rule with the intent of streamlining data              NHTSA made both the credit
                                             footprint-based targets by specified                    collection and reporting for                           transactions and projections templates
                                             amounts. This includes identifying the                  manufacturers while helping the agency                 available for download through the
                                             makes and model types equipped with                     obtain the best available data to inform               NHTSA PIC website and DOT docket for
                                             each technology, the compliance                         CAFE program decision-makers. We                       interested parties to evaluate prior to
                                             category those vehicles belong to, and                  adopted two new standardized reporting                 their mandatory dates.
                                             the associated fuel economy                             templates for manufacturers. NHTSA’s                      In the 2020 final rule, NHTSA also
                                             improvement value for each                              goal was to adopt standardized                         adopted provisions for manufacturers to
                                             technology.1166 In some cases, NHTSA                    templates to assist manufacturers in                   report confidential information on the
                                             may require manufacturers to provide                    providing the agency with all the                      cost of credit trades and all the
                                             supplementary information to justify or                 necessary data to ensure they comply                   supporting trade documents. The
                                             explain the benefits of these                           with CAFE regulations.                                 agency established that manufacturers
                                             technologies and their impact on fuel                      The first template was designed to                  were to report this information starting
                                             consumption or to evaluate the safety                   simplify reporting CAFE credit                         January 1, 2021. NHTSA intended for
                                             implication of the technologies. These                  transactions. The template’s purpose                   the information to be used to establish
                                             details are necessary to facilitate                     was to reduce the burden on credit                     the true cost of compliance for all
                                             NHTSA’s technical analyses and to                       account holders, encourage compliance,                 manufacturers which will be used by
                                             ensure the agency can perform                           and facilitate quicker NHTSA credit                    agency decisions makers in developing
                                             enforcement audits as appropriate.                      transaction approval. Before the                       new rulemakings. Additionally, as a
                                                NHTSA uses manufacturer submitted                    template, manufacturers would                          long-term goal, NHTSA hoped to use the
                                             PMY, MMY, and supplementary reports                     inconsistently submit information                      information as a part of new reports to
                                             to assist in auditing manufacturer                      required by 49 CFR 536.8, creating                     be release to the public.
                                                                                                     difficulties in processing credit                         Since then, manufacturers have
                                             compliance data and identifying
                                                                                                     transactions. Using the template                       downloaded the templates and met with
                                             potential compliance issues as early as
                                                                                                     simplifies CAFE compliance aspects of                  NHTSA to share recommendations for
                                             possible. Additionally, as part of its
                                                                                                     the credit trading process and helps to                changes, such as allowing the PMY and
                                             footprint validation program, NHTSA
                                                                                                     ensure that trading parties follow the                 MMY reporting templates to
                                             conducts vehicle testing throughout the
                                                                                                     requirements for a credit transaction in               accommodate different types of
                                             model year to confirm the accuracy of
                                                                                                     49 CFR 536.8(a).1168                                   alternative fueled vehicles and to clarify
                                             the track width and wheelbase
                                                                                                        The second template was designed to                 and correct the methods for calculating
                                             measurements submitted in the
                                                                                                     standardize reporting for CAFE PMY                     CAFE values. As a part of the 2021
                                             reports.1167 These tests help the agency
                                                                                                     and MMY information, as specified in                   NPRM,1169 NHTSA released several
                                             better understand how manufacturers
                                             may adjust vehicle characteristics to                   49 CFR 537.7(b) and (c), as well as                    draft changes to the previous templates
                                             change a vehicle’s footprint                            supplementary information required by                  and added a new template for the
                                             measurement, and ultimately its fuel                    49 CFR 537.8. The template organizes                   monetary and non-monetary costs and
                                             economy target. NHTSA also includes a                   the required data in a manner consistent               terms associated with CAFE credit
                                             summary of manufacturers’ PMY and                       with NHTSA and EPA regulations and                     trades. The following sections will
                                             MMY data in an annual fuel economy                      simplifies the reporting process by                    describe the comments received to the
                                             performance report made publicly                        incorporating standardized responses                   three templates and the final changes
                                             available on its PIC.                                   consistent with those provided to EPA.                 enacted by this final rule.
                                                As mentioned, NHTSA uses EPA-                        The template collects the relevant data,               (2) Changes to the CAFE Projections
                                             verified final-model year (FMY) data to                 calculates intermediate and final values               Reporting Template
                                             evaluate manufacturers’ compliance                      in accordance with EPA and NHTSA
                                                                                                     methodologies, and aggregates all the                    Along with the 2021 NPRM,1170
                                             with CAFE program requirements and                                                                             NHTSA released version 2.21 of the
                                             draw conclusions about the                              final values required by NHTSA
                                                                                                     regulations in a single summary                        CAFE Projections Reporting Template.
                                             performance of the industry as well as                                                                         Version 2.21 included several general
                                             to conduct verification testing and                     worksheet.
                                                                                                        NHTSA believes that the projections                 improvements made to simplify the use
                                             audits. After manufacturers submit their                                                                       and the effectiveness for manufacturers.
                                             FMY data, EPA verifies the information,                 reporting template benefits both the
                                                                                                     agency and manufacturers by helping to                 The changes included, but were not
                                               1166 NHTSA collects model type information            avoid reporting errors, such as data                   limited to; wording changes, corrections
                                             based upon the EPA definition for ‘‘model type’’ in     omissions and miscalculations, and will                to calculations and codes, and auto-
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                                             40 CFR 600.002.                                         ultimately simplify and streamline                     populating fields previously requiring
                                               1167 U.S. Department of Transportation, NHTSA,
                                                                                                     reporting. The template also allows                    manual entry. With this final rule we
                                             Laboratory Test Procedure for 49 CFR part 537,                                                                 will be releasing version 2.25 of the
                                             Automobile Fuel Economy Attribute Measurements          manufacturers to enter information to
                                             (Mar. 30, 2009), available at http://www.nhtsa.gov/
                                                                                                                                                            CAFE Projections Reporting Template,
                                             DOT/NHTSA/Vehicle%20Safety/                                1168 Submitting a properly completed template
                                                                                                                                                             1169 86 FR 49602 (Sept. 3, 2021).
                                             Test%20Procedures/Associated%20Files/TP-537-            and accompanying transaction letter will satisfy the
                                             01.pdf (accessed: March 15, 2022).                      trading requirements in 49 CFR part 536.                1170 86 FR 49602 (Sept. 3, 2021).




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                                             which addresses and fixes many of the                   technologies. The changes aligned the                 due for each current model year during
                                             concerns raised in the comments,                        format of the data with the EPA off-                  the month of December which makes it
                                             below.                                                  cycle database system. For example,                   not valuable enough for modeling since
                                                More specifically, NHTSA modified                    manufacturers report to EPA high                      attributes like paint colors or lighting
                                             the CAFE Reporting Template in the                      efficiency lighting as combination                    packages, that are currently required
                                             proposal by adding filters and sorting                  packages, so NHTSA changed the                        information in the proposed reporting
                                             functions to help manufacturers connect                 template to reflect the same level of                 template (for off-cycle technologies)
                                             the data definitions to the location of                 information.                                          until after the end of the model year
                                             each of the required data fields in the                    NHTSA will make version 2.25 of the                when manufacturers submit their final
                                             template. Additional information from                   template available on NHTSA’s PIC site                reports to the EPA.
                                             other parts of the CAFE Reporting                       for download concurrent with the final                   NHTSA understands manufacturers
                                             Template would be pulled forward to                     rule being published.                                 concerns with the early production
                                             display on the summary tab. For the                        In response to the 2021 NPRM,1171                  limitations for vehicles and technologies
                                             information required pursuant to 49                     multiple manufacturers commented in                   which can prevent manufacturers from
                                             CFR 537.7(b)(2), areas were also                        support of the revised template.                      having data available for the PMY and
                                             included for manufacturers to compare                   Mercedes Benz, Ford, Hyundai,                         MMY template. Consequently, NHTSA
                                             the values the template calculates to                   Stellantis, and Lucid, support the use of             is changing the requirements for the
                                             their own internally calculated CAFE                    a standardized template for CAFE                      CAFE projections template for the final
                                             values. Additionally, NHTSA expanded                    reporting.1172 Ford appreciates NHTSA                 rule; manufacturers will only be
                                             the CAFE Reporting Template to                          is aligning with some of the existing                 required to provide actual information
                                             include more of the required                            EPA reporting data elements but                       on vehicles and technologies in
                                             information regarding vehicle                           believes that additional improvements                 production at the time the PMY and
                                             classification, and eased manufacturers                 can be made, particularly regarding the               MMY model year reports are required.
                                             reporting burden by having them report                  format of data collected. NHTSA will                  Manufacturers should attempt not to
                                             only the data used for each vehicle’s                   continue to work with EPA to determine                omit data, which should only be the
                                             qualification pathway ignoring other                    areas where reporting can be further                  case for products pending production
                                             possible light truck classification                     aligned for future rulemakings.                       and with unknown information at the
                                             information.                                               Nissan suggested streamlining the                  time CAFE reports are prepared.
                                                NHTSA also combined the footprint                    template by eliminating unnecessary                      Hyundai and Auto Innovators
                                             attribute information and model type                    details in the template.1173 They believe             commented that they were concerned
                                             subconfiguration data. NHTSA uses this                  that the amount of detail requested in                that the agency was going to publish
                                             information to match test data directly                                                                       confidential business data in its public
                                                                                                     the CAFE Reporting Template is
                                             to fuel economy footprint values for the                                                                      forecast volume reports or to use the
                                                                                                     extensive and substantially increases
                                             purposes of modeling fuel economy                                                                             data in such a manner that could be
                                                                                                     the resources required in the data
                                             standards. Features were also added to                                                                        reversed engineered.1177 NHTSA has
                                                                                                     preparation process. Mercedes Benz
                                             auto-populate redundant information                                                                           further reduced this possibility by
                                                                                                     shared a similar view and added that
                                             from one worksheet to another. The data                                                                       hiding the ‘‘total credits’’ columns in
                                                                                                     time periods for preparing PMY and
                                             gathered and the formulas coded within                                                                        the public report to prevent any back
                                                                                                     MMY reports could be troublesome
                                             the worksheets were also updated to                                                                           calculation. The public report will be
                                                                                                     since some of the information requested
                                             correct fuel economy calculations based                                                                       generated by pressing the ‘generate
                                                                                                     is not yet available for submission, and
                                             on 40 CFR 600.510–12. The changes                                                                             public report’ button on the general info
                                                                                                     can only be confirmed at the conclusion
                                             allowed the data to more accurately                                                                           tab and will no longer contain enough
                                             represent the fuel economy of electric                  of the MY.1174 Ford recommends that                   information for back calculations to
                                             and other vehicles using alternative                    less detailed data be required for the                occur. NHTSA will not publish any
                                             fuels. NHTSA considers this                             pre-model year reports compared to the                PMY/MMY data, or any data that can be
                                             information critically important to                     mid-model year reports. It believes this              reversed engineered to reveal
                                             forming a more complete picture of the                  is appropriate because higher level                   confidential business information.
                                             performances of dual fuel and                           planning projections are used in the pre-             Confidential business data will only be
                                             alternative fuel vehicles.                              model year reports, whereas substantial               used by NHTSA for internal modeling
                                                We also made several corrections so                  production data is normally used for the              and analysis.
                                             that manufacturers would submit CAFE                    mid-model year report.1175 Auto                          Mercedes Benz requested that NHTSA
                                             data at each of the different levels they               Innovators requested that NHTSA align                 eliminate MMY reports to relieve the
                                             test and combine the stages of CO2 and                  its data requirements more closely with               burden on manufacturers.1178 However,
                                             fuel economy test results. As                           the data that are available to                        NHTSA is unable to eliminate the MMY
                                             mentioned, manufacturers test                           manufacturers at the time pre- and mid-               report because these reports are
                                             approximately 90-percent of their                       model year reports are prepared.1176                  mandated by Congress in EPCA.1179 In
                                             vehicles within each model type. Each                   Auto Innovators stated that the pre-                  addition, there is information contained
                                             subconfiguration variant within a model                 model year report is largely a projection             in the PMY and MMY reports that is not
                                             type may have a unique CO2 and CAFE                                                                           in the EPA reports such as vehicle
                                                                                                       1171 86 FR 49602 (Sept. 3, 2021).
                                             value. Manufacturers combine at the                        1172 Mercedes-Benz, NHTSA–2021–0053–0952–
                                                                                                                                                           classification information that is critical
                                             configuration, base level and then                      A1, at p3; Ford, NHTSA–2021–0053–1545–A1, at
                                                                                                                                                           to NHTSA’s compliance program. The
                                             finally at the model type level for                     p4; Hyundai, NHTSA–2021–0053–1512–A1, at page         MMY reports also provide a near final
                                             determining CAFE performance.                                                                                 estimate of all the values. Most
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                                                                                                     8.; Stellantis, NHTSA–2021–0053–1527, at page 30;
                                             NHTSA determined that this level of                     Lucid, NHTSA–2021–0053–1584, at 6.
                                                                                                        1173 Nissan, NHTSA–2021–0053–0022, at 9.              1177 Hyundai, NHTSA–2021–0053–1512–A1, page
                                             data was needed to verify manufacturers                    1174 Mercedes-Benz, NHTSA–2021–0053–0952–
                                                                                                                                                           8; Auto Innovators, NHTSA–2021–0053–1492, at
                                             reported CAFE values.                                   A1 at p. 3.                                           page 77.
                                                Finally, NHTSA made corrections to                      1175 Ford, NHTSA–2021–0053–0952–A1, at p. 4.          1178 Mercedes-Benz, NHTSA–2021–0053–0952–
                                             the CAFE Reporting Template to better                      1176 Auto Innovators, NHTSA–2021–0053–1492,        A1, at p. 3.
                                             collect information on off-cycle                        at page 77.                                              1179 49 U.S.C. 32907(a)(2).




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                                             manufacturers are close to completing                   dual fuel equation.1183 For the final                 This column is intended to calculate
                                             production for the model year when                      rule, NHTSA has fixed this error in the               either the MPGe or MPG, depending on
                                             MMY reports are required.                               template. Alternative dual fuel will only             the input. For alternative fuel
                                                Auto Innovators also requested                       be calculated on the summary tab if                   calculating the MPGe involves
                                             several technical corrections to the                    there is alternative dual fuel identified             converting the fuel economy to MPGe,
                                             reporting template to align with                        in the fleet.                                         for conventional gasoline this simply
                                             industry and EPA testing and data                          • Identified an issue regarding                    involves multiplying the MPG by one to
                                             reporting uses. Summarized in the                       Equivalent Test Weight. It stated that, in            get MPGe. The MPGe is then used in
                                             following paragraphs are those requests                 column ‘‘AY’’ and field ‘‘ETW,’’ it                   calculating the combined fuel economy.
                                             and NHTSA’s responses and changes for                   appears as if test weight is calculated               NHTSA disagrees with Auto Innovators
                                             the final rule.                                         automatically from curb weight.1184                   suggestions and for the final rule will
                                                • Clarification on which fields are                  NHTSA sees how base level can cross                   keep this column as proposed since it
                                             mandatory and which are optional.1180                   two ranges for the ETW based upon                     accurately reflects the content of the
                                             No changes were made to the template                    historic regulations. For the final rule,             data. NHTSA believes the current
                                             for the final rule in response to this                  NHTSA has developed a user manual                     content of the data is appropriate and
                                             request. Generally, the data fields                     for the template to give guidance on                  not complicated to understand its usage.
                                             colored in white are mandatory.                         how to handle a situation where two                      • Questioned why production
                                             Manufacturers should only consider a                    ranges are covered as well as providing               volumes are user inputted, as opposed
                                                                                                     clarifications on other data uses in the              to automatically calculated for the
                                             white data field optional if it does not
                                                                                                     template. As defined in the manual,                   Production Volume fields on the
                                             produce vehicles requiring the
                                                                                                     manufacturers will have to create two                 configuration, base level, and model
                                             information in that area. Manufacturers
                                                                                                     base levels one for each range covered.               type worksheet tabs. Explained that
                                             are responsible for determining if any
                                                                                                     NHTSA have conferred with EPA, and                    once production volume is entered for
                                             vehicles in their fleet fit the
                                                                                                     they have informed us that this is how                each carline on a subconfiguration level,
                                             requirements of the data field and must
                                                                                                     they currently handle this issue with                 the values should be carried over
                                             be reported. NHTSA will consider
                                                                                                     ETW ranges.                                           wherever carlines and their
                                             methods to further improve the template                    • Raised concerns about how data                   corresponding production volumes are
                                             in future rulemakings if further                        were collected at the subconfiguration                present in each of the higher-level tabs
                                             guidance is needed.                                     level. Auto Innovators is concerned that              such as configuration, base level, and
                                                • Asked NHTSA to further harmonize                   these data are being collected on the                 model type. For the final rule, NHTSA
                                             reporting requirements with EPA. For                    subconfiguration level that is not                    will not make changes in response to
                                             example, Auto Innovators stated that                    aligned with the EPA definition. The                  this request. The spreadsheet is
                                             NHTSA has seven values for Fuel                         carline class is unique for each model                structured in such a way that automatic
                                             System and EPA has eleven. Similarly,                   type and so collecting this data on a                 calculations would not be possible for
                                             NHTSA has three values for Drive                        subconfiguration level is very repetitive             these production volumes.
                                             System/Mode and EPA has five values.                    and inefficient. Auto Innovators                         • Recommended that footprint data
                                             Auto Innovators recommended that                        believes it would be more efficient for               be required on the carline level, which
                                             NHTSA modify their template to use                      NHTSA to collect this and other data in               is part of a model type definition, and
                                             EPA values as input values and if                       a manner better aligned with the                      aligned with the submission format
                                             NHTSA needs alternate values for their                  definitions. It recommend that NHTSA                  required by EPA. It explained that the
                                             internal analysis, then the template                    update its template to collect model                  NHTSA template proposes to combine
                                             could provide that translation. Auto                    type level data on the model type                     the footprint attribute information and
                                             Innovators request that EPA and                         worksheets.1185 For the final rule,                   model type subconfiguration data for
                                             NHTSA align their reporting values                      NHTSA has updated the reporting                       the purposes of matching test data
                                             before manufacturers have to redesign                   template to collect carline class                     directly to fuel economy footprint
                                             their information technology systems to                 information on the Model Type level                   values for modeling fuel economy
                                             accommodate the new NHTSA                               instead of the subconfiguration level.                standards. Auto Innovators believes that
                                             template.1181 NHTSA agrees with Auto                       • Requested that NHTSA change the                  the subconfiguration and footprint data
                                             Innovators’ recommendations and has                     name of cell AM16 in the Footprint and                should not be combined. A
                                             updated the drop-down menus in the                      Subconfig tab from ‘‘Auxiliary Emission               subconfiguration can only have a single
                                             template to reflect those provided by                   Control Devices’’ (AECD) to ‘‘Emission                fuel economy value and yet may contain
                                             EPA for the final rule.                                 Control Devices’’. NHTSA agrees that                  multiple footprints/wheelbases because
                                                • Eliminate the reporting requirement                this is a more appropriate term for this              subconfigurations are largely based on
                                             for Basic Vehicle Frontal Area that has                 column and has changed the name in                    powertrain, weight, and road load
                                             been replaced with GVWRs.1182 The                       the reporting template for the final rule.            attributes. In 49 CFR part 537, it
                                             agency recognizes this legacy reporting                    • Commented the Footprint and                      requires footprint data for each unique
                                             field is no longer applicable to the                    SubConfig tab in columns ‘‘BU, BV, BW,                model type and footprint combination
                                             current fuel economy calculations and                   BY, BZ, CA, CB, CE, CI’’ under the Base               and NHTSA has defined that the base
                                             thus agrees with Auto Innovators. For                   and Alternative Fuel field that when                  (standard) tire is to be used for footprint
                                             the final rule, NHTSA has removed the                   conventional gasoline is selected under               data. However, footprint data on the
                                             field for Basic Vehicle Frontal Area from               base fuel in column BI and no                         template are required to be provided on
                                             the reporting template.                                 alternative fuel input is done. It                    a subconfiguration level. A
                                                                                                                                                           manufacturer can have hundreds of
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                                                • Identified a problem on the                        recommends that the columns should
                                             summary tab with the rollup alternative                 not display any MPGe values when                      subconfigurations in a single fleet. Auto
                                                                                                     ‘‘conventional gasoline’’ is selected.                Innovators contends it is not efficient
                                                1180 Auto Innovators, NHTSA–2021–0053–1492,                                                                nor beneficial to either keep repeating
                                             at pp. 77–81.                                             1183 Id.                                            the same footprint data across a
                                                1181 Id.                                               1184 Id.                                            subconfiguration or to further subdivide
                                                1182 Id.                                               1185 Id.                                            a subconfiguration by the multiple


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                                             wheelbases in them. It will not help                    were a combination of style and                       NHTSA and manufacturers, in the
                                             NHTSA to find the applicable footprint                  clarifications to the template.                       future, to accommodate, changes in
                                             record for a physical vehicle that’s been                  • Auto Innovators requested changes                technologies, vehicles and
                                             obtained as part of the footprint                       under the ‘‘Vehicle Classification’’                  programmatic requirements.
                                             validation program to have repeating                    worksheet tab, under columns ‘‘AC’’                      Finally, Ford and Auto Innovators
                                             values in the template. NHTSA has                       and ‘‘AD.’’ Per 49 CFR                                requested that NHTSA update part 537
                                             considered Auto Innovators’ concerns                    537.7(c)(4)(xvi)(B)(2), only cargo volume             to allow submission of confidential
                                             and decided for the final rule not to                   is required to be reported, thus cargo                reporting of the template by email rather
                                             make any changes to this data                           bed width and length is not required.                 than requiring submissions on CD–
                                             collection. The agency’s need to support                Auto Innovators requested that NHTSA                  ROM.1186 NHTSA agrees that
                                             our data analysis and modeling compels                  remove ‘‘Cargo bed width and length’’—                submission sent by email are effective
                                             retaining the format as proposed and                    as cargo volume is already requested.                 and resolves problems with delayed or
                                             repeated values will have no impact on                  Auto Innovators believes this is an                   lost CAFE reports. Therefore, for the
                                             compliance testing.                                     unnecessary extra burden that could                   final rule, NHTSA has updated its
                                                • Clarify that NHTSA states each                     result in conflicting data. However,                  provisions in part 537 to accommodate
                                             subconfiguration variant within a model                 NHTSA disagrees with Auto Innovators                  electronic reporting.
                                             type has a unique CO2 and CAFE value.                   and our regulations specifically require
                                                                                                                                                           (3) Credit Transactions Reporting
                                             Manufacturers combine other vehicles                    the length of cargo beds to be reported
                                                                                                                                                           Template
                                             at the configuration, base level and then               for vehicle classification and is also
                                                                                                     used for verifying full size pickup trucks               NHTSA released a new version of its
                                             finally at the model type level for
                                                                                                     for the incentive NHTSA uses in 40 CFR                CAFE credit transactions template,
                                             determining CAFE performance. Auto
                                                                                                     86.1870–12. Therefore, NHTSA will not                 fixing several calculation errors as a part
                                             Innovators would like to clarify that
                                                                                                     be removing this requirement.                         of the 2021 NPRM,1187 and released the
                                             each subconfiguration variant may or
                                             may not have a unique CO2 and CAFE                         • Auto Innovators contended that the               template for download on the NHTSA
                                                                                                     Fuel Economy Base Level Tab—In                        PIC. In the previous 2020 final rule,
                                             value as some subconfiguration variants                                                                       NHTSA had established using the credit
                                                                                                     column AI, under 40 CFR 600.208–
                                             are untested. NHTSA understands Auto                                                                          template as the sole source for executing
                                                                                                     12(a)(4) and (5), the Combined (CMB)
                                             Innovators’ concerns and has added to                                                                         CAFE credit transactions starting
                                                                                                     formula is incorrect and suggested that
                                             the preamble text for the final rule that                                                                     January 1, 2022. However, as a result of
                                                                                                     NHTSA use a harmonic average for the
                                             there may or may not be a unique CO2                                                                          these errors the effective date for the
                                                                                                     CMB formula. The current 55:45 ratio is
                                             and CAFE value represented.                                                                                   Credit Transaction Reporting Template
                                                                                                     used only for vehicle configuration
                                                • Clarify what is meant by ‘‘other                   calculation. Additionally, it prefers a               will now be September 1, 2022.
                                             vehicles’’ from different nameplates                    direct user input, rather than automatic                 In response to the NPRM, Stellantis
                                             may be combined at the                                  calculation. Additionally, Auto                       commented that it supports the
                                             subconfiguration, configuration, and                    Innovators believes that the automatic                proposed transaction template and finds
                                             base level because these are defined by                 calculation is not necessary. It requests             the joint trade instruction document it
                                             attributes like powertrain, weight, and                 that ‘‘direct input’’ is used, rather than            generates helpful.1188 Although in its
                                             total road load horsepower but not at                   an automatic calculation for the CMB.                 views, Stellantis believes the current
                                             the model type level. A model type is                   Because 45/55 is only found in the                    template is unworkable because it
                                             defined by carline and so ‘‘other                       calculation for configuration level,                  requires a manufacturer to share the
                                             vehicles’’ wouldn’t apply in this                       when calculating at the base level you                planned use of credits which may not be
                                             context. NHTSA agrees with Auto                         need to roll up the configuration level               known with precision. Stellantis stated
                                             Innovators’ concerns and for the final                  calculation. For the final rule, NHTSA                that the transaction types are not
                                             rule has removed ‘model type’ from the                  will retain the proposed CMB formulas.                defined in the data definitions, nor in 49
                                             sentence in the preamble text.                          The method used in the template was                   CFR 536.8 as referenced. NHTSA has
                                                • Auto Innovators requested several                  confirmed with the approach used by                   updated the user guide with the data
                                             small changes to the language and                       EPA for determining CAFE values.                      definitions for the final rule.
                                             rounding in the template. Under the                        • Requested additional columns be                     A comment received from Auto
                                             ‘‘Data Definitions’’ tab, in row 66, it                 added to the Air Conditioning                         Innovators also identified an error
                                             says, ‘‘Type of Overdrive/Torque                        Efficiency tab to allow for additional                message that ASTM Rounding Module
                                             converter’’, but in ‘‘Footprint &                       approved technologies. In the Air                     is not supported in older versions of
                                             SubConfig’’ tab, it is asking for                       Conditioning Efficiency tab, under                    Excel.1189 Due to the functions of VBA
                                             ‘‘Presence of over drive (Y/N). We                      column AC for the Advanced                            coding used in the templates, NHTSA
                                             respectfully request you change the data                Technology Compressor, it requests that               cannot create a template that works with
                                             definition description from ‘‘Type’’ to                 NHTSA allow additional input columns                  all older versions of Excel. As for those
                                             ‘‘Presence’’ of Overdrive to match Col O                for both existing and approved                        manufacturers who experienced an
                                             in Footprint & Sub Conf tabs.’’                         technologies. This is to ensure that                  ASTM Rounding Module error, NHTSA
                                             Additionally, in the ‘‘Data Definitions’’               future technologies are accounted for as              recommends these manufacturers
                                             tab, cells F99, F100, F172, and F173, the               they come to market and are applicable                should update to a newer version of
                                             total drive ratio min & max descriptions                under the credit program. NHTSA                       Microsoft Excel that will work with
                                             should have only 1 decimal place (##.#)                 understands that these additional                     VBA coding. NHTSA notes that this
                                             to match input in Footprint and                         columns may be needed in a future                     should not impose any additional cost
                                             SubConfig tabs. NHTSA is adopting the                   version when additional technologies                  or burden on manufacturers because
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                                             changes requested by Auto Innovators                    are approved. Therefore, for the final
                                                                                                                                                              1186 Ford, NHTSA–2021–0053–0952–A1, at p. 4;
                                             for the final rule, but note that the                   rule, NHTSA has added several
                                                                                                                                                           Auto Innovators, pp. 77–81.
                                             information manufacturers will be                       additional columns to the template and                   1187 86 FR 49602 (Sept. 3, 2021).
                                             required to submit will remain                          will continue to add additional columns                  1188 Stellantis, NHTSA–2021–0053–1527, at p. 30.
                                             unchanged from the proposal. The                        as needed. This template will continue                   1189 Auto Innovators, NHTSA–2021–0053–1492,

                                             changes requested by Auto Innovators                    to undergo other changes as needed by                 at p. 82.



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                                             those with access to Microsoft Excel are                agreements with their own competitors.                be publicly shared. Both Stellantis 1199
                                             offered upgrades to versions with VBA                   Credit transactions can be an offshoot of             and Auto Innovators 1200 opposed
                                             at no additional cost.1190                              these broader relationships, and                      greater public transparency for these
                                                In addition, NHTSA is changing in                    difficult to price separately and                     reasons. Stellantis stated that the release
                                             this final rule the effective date for its              independently.                                        of public information would likely
                                             credit transactions template from                          In an effort to assist manufacturers               require manufacturers to disclose details
                                             January 1, 2022, to September 1, 2022.                  with understanding and complying with                 from confidential negotiations and
                                             This date provides manufacturers                        the requirements promulgated in the                   agreements, likely covered by non-
                                             additional implementation time and                      2020 final rule, NHTSA identified a                   disclosure agreements (NDAs). Auto
                                             coordinates the implementation start                    series of non-monetary factors that it                Innovators raised similar concerns
                                             date of the credit template.                            believed to be important to the costs                 contending that confidentiality concerns
                                                                                                     associated with credit trading in the                 exists whether NHTSA intends to
                                             (4) Monetary and Non-Monetary Credit                                                                          disclose the data to the public. It stated
                                             Trade Information                                       CAFE program that manufacturers
                                                                                                     should be reporting.1195 NHTSA                        that requiring highly sensitive
                                                Credit trading became permissible                    developed and proposed a new CAFE                     confidential information is simply not
                                             starting with MY 2011.1191 As discussed                 Credit Value Reporting Template (Form                 necessary, and the risks of a breach in
                                             earlier, NHTSA maintains an online                      1621) for capturing the monetary and                  confidentiality outweighs what little
                                             CAFE database with manufacturer and                     non-monetary terms of credit trading                  value NHTSA may derive from such
                                             fleetwide compliance information that                   contracts. NHTSA proposed that                        data. Stellantis offered a
                                             includes year-by-year accounting of                     manufacturers start using the new                     counterproposal for NHTSA to provide
                                             credit balances for each credit holder.                 template starting September 1, 2022.                  additional public credit trading
                                             While NHTSA maintains this database,                    The draft template was made available                 information aligned with the EPA GHG
                                             the agency’s regulations currently state                for download from the NHTSA PIC site.                 program (i.e., credit vintage, credit
                                             that it will not publish information on                                                                       amounts transferred, and fleet category).
                                                                                                        Mercedes Benz, Stellantis, and Auto                   Other comments offered by Stellantis
                                             individual transactions, and NHTSA has
                                                                                                     Innovators opposed reporting monetary                 and Auto Innovators focused on the lack
                                             not previously required trading entities
                                                                                                     and non-monetary terms associated with                of necessity or relevance for the
                                             to submit information regarding the
                                                                                                     credit trades for various reason.1196                 information required by the credit value
                                             compensation (whether financial, or
                                                                                                     Volvo strongly supported more                         template.1201 Stellantis commented that
                                             other terms of value) exchanged for
                                                                                                     transparency so that buyers and sellers               providing the true value of a credit trade
                                             credits.1192 1193
                                                                                                     can achieve fair and reasonable                       is unknown when credits are banked
                                                In 2020 final rulemaking, NHTSA
                                                                                                     deals.1197 Mercedes,1198 requested that               because the adjustment factor for
                                             adopted requirements in 49 CFR
                                                                                                     NHTSA refrain from making its value                   preserving ‘‘equivalent gallons’’ is
                                             536.5(c)(5) to submit all credit trade
                                                                                                     template mandatory for submitting                     applied only at the time a credit is used
                                             contracts, including cost and
                                                                                                     credit transactions. Mercedes                         to resolve a future shortfall.1202 They
                                             transactional information, to the agency
                                                                                                     commented that in the event such                      argued that only the cost per credit from
                                             starting January 2021. NHTSA also
                                                                                                     information is ever released to the                   the credit user’s perspective would help
                                             adopted requirements allowing
                                                                                                     public, it would have a deleterious                   NHTSA understand how market pricing
                                             manufacturers to submit the information
                                                                                                     effect upon OEMs. It stated that credit               compares to the civil penalty price
                                             confidentially, in accordance with 49
                                                                                                     transactions arise from compliance                    ceiling. They argued that the delayed
                                             CFR part 512.1194 In the NPRM, we
                                                                                                     strategies for manufacturers, which                   understanding of value, coupled with
                                             proposed adding a credit reporting
                                                                                                     typically occur over multi-MY time                    the additional reporting burden has
                                             template for monetary and non-
                                                                                                     frames. In the event such information                 questionable public benefit, and could
                                             monetary credit terms.
                                                                                                     was ever released to the public,                      violate the terms of NDAs. Auto
                                                Manufacturers continued to argue that
                                                                                                     Mercedes argued it would have a                       Innovators stated that the credit value
                                             disclosing trading terms may not be as
                                                                                                     harmful effect on those OEMs whose                    template fails to achieve its intended
                                             simple as a spot purchase at a given
                                                                                                     strategy is released, in particular those             objectives, is unnecessary to the
                                             price. As stated in the 2020 final rule,
                                                                                                     OEMs who are dependent on credits in                  administration of the CAFE program,
                                             manufacturers contended a number of
                                                                                                     order to achieve compliance.                          and is overly burdensome to
                                             transactions for both CAFE and CO2
                                                                                                     Additionally, Mercedes believes                       manufacturers.1203 Auto Innovators
                                             credits involve a range of complexities
                                                                                                     releasing this information to the public              argued that non-monetary
                                             due to numerous factors that are
                                                                                                     may have an unintended, detrimental                   considerations are likely not
                                             reflective of the marketplace, such as
                                                                                                     consequence to the future credit market,              straightforward or clear, requiring
                                             the volume of credits, compliance
                                                                                                     putting OEMs who use credits as part of               significant research and numerous
                                             category, credit expiration date, a
                                                                                                     their compliance strategy at a                        meetings with coworkers to derive an
                                             seller’s compliance strategy, and even
                                                                                                     competitive disadvantage. Other                       equivalent monetary value. Further, it
                                             the CAFE penalty rate in effect at that
                                                                                                     opposing views from manufacturers also                believes the requirements exceed
                                             time. In addition, automakers have a
                                                                                                     centered around the unintended                        NHTSA’s statutory authority. Auto
                                             range of partnerships and cooperative
                                                                                                     consequences that might occur if                      Innovators contended that NHTSA has
                                               1190 For assistance with updating Excel, please       confidential credit information were to               authority to require reports necessary
                                             reach out to Microsoft support.
                                               1191 49 CFR 536.6(c).                                    1195 UCS, Detailed Comments, NHTSA–2018–              1199 Stellantis, NHTSA–2021–0053–1527, at p. 29;
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                                               1192 49 CFR 536.5(e)(1).                              0067–12039; Jason Schwartz, Detailed Comments,        Auto Innovators, NHTSA–2021–0053–1492, at pp.
                                               1193 NHTSA understands that not all credits are       NHTSA–2018–0067–12162.                                72–77.
                                                                                                        1196 Mercedes-Benz, NHTSA–2021–0053–0952–             1200 Mercedes Benz, at p. 4.
                                             exchanged for monetary compensation. The
                                             proposal that NHTSA is adopting in this final rule      A1, at p. 4; Stellantis, NHTSA–2021–0053–1527, at        1201 Stellantis, NHTSA–2021–0053–1527, at p. 29.

                                             requires entities to report compensation exchanged      p. 29; Auto Innovators, NHTSA–2021–0053–1492,            1202 The adjustment factor is defined in 49 CFR

                                             for credits and is not limited to reporting monetary    at pp. 72–77.                                         536.4(c).
                                             compensation.                                              1197 Volvo, NHTSA–2021–0053–1565, at p. 4.            1203 Auto Innovators, NHTSA–2021–0053–1492,
                                               1194 See also 49 U.S.C. 32910(c).                        1198 Mercedes-Benz, at p. 4.                       at pp. 72–77.



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                                             for it to carry out the CAFE, but the                   relationships manufacturers may have                  and responses. In regard to concerns
                                             required template exceeds what is                       with other companies. There is no                     about non-disclosure agreements
                                             necessary to carry out the CAFE                         possible ‘‘template’’ that can adequately             (NDAs), NDAs are not intended to be
                                             program. Auto Innovators also                           cover the entire range of possible                    legal mechanisms to circumvent duly
                                             contended that for the purposes of                      monetary and non-monetary exchanges                   promulgated laws and regulations.
                                             future rulemaking, in determining                       between manufacturers. Trying to                      NHTSA notes that many NDAs contain
                                             maximum feasible standards, NHTSA is                    categorize complex contracts, business                language exempting disclosures
                                             prohibited from considering the trading,                relationships, production arrangements,               required by law to avoid creating an
                                             transferring, or availability of                        and exchanges of technology into                      unenforceable promise. NHTSA has
                                             credits.1204 Therefore, data in the Credit              simple topics such as ‘‘chassis                       faith that manufacturers will be able to
                                             Value Reporting Template is not                         technology’’ or ‘‘off-cycle technology’’ is           draft NDAs in a manner consistent with
                                             informative to the standard-setting                     simply not possible and provides                      our regulations. We also note that
                                             process. It further explained that                      virtually no value to the administration              existing NDAs should not be impacted
                                             requiring non-standardized data and                     of the CAFE program. This is especially               by this change; 49 CFR 536.8(d)
                                             unquantifiable contractual terms is                     true when credits may be generated by                 precludes manufacturers from entering
                                             clearly unnecessary for the                             new market entrants, and value may be                 into agreements for credits not currently
                                             determination of manufacturer                           in the form of options, equity interest,              possessed—we call this a restriction on
                                             compliance with the CAFE program,                       royalties, real estate, or other assets.              forward sales—hence manufacturers
                                             and their use in rulemaking is limited                     Auto Innovators closed its arguments               cannot have already entered into long-
                                             at best with other, better options, such                stating that NHTSA’s concerns for                     term sales and NDA agreements for
                                             as estimates, sensitivity analyses based                greater oversight are not served by the               future credits.
                                             on the CAFE civil penalty rate, or                      data requirements of the Credit Value                    Manufacturers are also concerned the
                                             comparisons of model runs with                          Reporting Template.1207 NHTSA cited                   information in the templates, if released
                                             manufacturers separated and aggregated,                 protection against fraud, manipulation,               to the public or other manufacturers,
                                             available.                                              market power, and abuse. Auto                         could cause potential harm to multi-
                                                Auto Innovators stated that despite                  Innovators believes NHTSA’s views                     year compliance strategies by adversely
                                             NHTSA’s views, manufacturers have no                    seem to be more hypothetical than real,               placing certain companies at a
                                             need to make the cost of credit trade                   and more importantly, that NHTSA fails                competitive disadvantage. As stated in
                                             information publicly available to                       to describe how the desired information               the 2020 final rule, NHTSA will attempt
                                             facilitate credit trading.1205 Automobile               will aid in preventing or addressing its              to limit the disclosure of confidential
                                             manufacturers wishing to engage in                      intended goals.                                       information—including aggregating data
                                             credit trading generally negotiate terms                   Volvo stated the credit value template             wherever possible—which
                                             through direct contact. Auto Innovators                 provides more transparency so that                    manufacturers identified as harmful in
                                             stated that there is no mystery or                      buyers and sellers can achieve fair and               their comments, and will attempt to
                                             confusion to be resolved through                        reasonable deals especially considering               work with manufacturers before
                                             government intervention. Stellantis                     the changing landscape of future                      publishing potentially sensitive
                                             supports Auto Innovators’ position and                  regulations leading to greater                        information. The agency also notes that
                                             reiterated that NHTSA already knows                     electrification in the market.1208 Volvo              much of the data necessary to discern
                                             the price ceiling is the CAFE civil                     believes adopting electrification in the              which manufacturers are buying and
                                             penalties logically as no manufacturer                  vehicle fleet will impact the current                 selling credits is already public domain,
                                             would pay more for credits.                             trading market where technology                       as credit balances and fuel economy
                                                Additional comments from Auto                        exchange as part of a trade will be less              data can be used to reverse engineer
                                             Innovators were also received on the                    likely to occur and therefore, the price              manufacturers credit transactions.
                                             adequacy of the credit value template                   of a credit in a trade will be more                   However, NHTSA remains sensitive to
                                             for the public and for NHTSA and on its                 accurately reflected. Volvo also                      manufacturers confidentiality concerns.
                                             burden to manufacturers.1206 First, Auto                commented that one reason why some                    In fact, 49 CFR 536.5(e)(1) also already
                                             Innovators believes the template would                  automobile manufacturers suggest that                 includes requirements which precludes
                                             have little practical (or even academic)                the proposed reporting associated with                NHTSA from publicly disclosing
                                             value to the public given that credit                   the credit value template under the                   individual transactions and responding
                                             transactions likely have a wide range of                NPRM is unnecessary is that the current               to individual requests for updated
                                             values depending on market forces                       trading market has been ‘‘functioning                 balances from any party other than the
                                             (relative supply and demand) at the                     properly’’ but also in a now dated                    account holder. Consequently, NHTSA
                                             time a trade is made and regulatory                     marketplace consisting primarily of                   would likely find no reason to disclose
                                             compliance considerations applicable to                 traditional internal combustion engine                the costing information involved in a
                                             the specific traded credits, which can                  regulations. Once the regulations are                 manufacturer’s individual credit
                                             vary based on credit vintage, source,                   modified for electric vehicles the                    transaction.
                                             and anticipated future use of the credit                balance between monetary and non-                        As for manufacturers’ contentions
                                             for the purchasing party. Second, it                    monetary trades may change. Therefore,                questioning the relevance or necessity
                                             believes that the template would not be                 Volvo Cars supports NHTSA’s proposal                  for NHTSA receiving information on the
                                             helpful to NHTSA because non-                           to require use of the NHTSA ‘‘Credit                  value of credit trades, there is a
                                             monetary valuations are nearly                          Value Reporting Template’’ (Form 1621)                fundamental misunderstanding of what
                                             impossible to quantify and use as a                     when a credit trade is executed is to                 the agency was proposing in this
                                                                                                                                                           rulemaking. We were not proposing that
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                                             meaningful point of comparison                          help ensure that the future electrified
                                             underestimates the complicated                          trading market also functions properly.               manufacturers submit additional
                                             commercial and manufacturing                               NHTSA has reviewed the comments                    information. The templates were
                                                                                                     received and offers several clarifications            intended to clarify and streamline the
                                               1204 Id.                                                                                                    information that manufacturers are
                                               1205 Id.                                                1207 Id.                                            already required to submit pursuant to
                                               1206 Id.                                                1208 Volvo, NHTSA–2021–0053–1565, at p. 4.          49 CFR 536.5. We believe that


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                                             templates—like the draft templates—can                  3. What compliance flexibilities and                      restrictions. Manufacturers with excess
                                             assist both manufacturers and the                       incentives are currently available under                  credits in their accounts can also trade
                                             agency with identifying the key that                    the CAFE program and how do                               credits to other manufacturers, who may
                                             need to be reported. Some                               manufacturers use them?                                   use those credits to resolve a shortfall
                                             manufacturers seemed to be under the                       Generating, trading, transferring, and                 currently or in a future model year. A
                                             impression that the templates would                     applying CAFE credits is governed by                      credit may also be cancelled before its
                                             require credit trade disclosures and                    statute.1209 Program credits are                          expiration date if the credit holder so
                                             raised their concern that NHTSA might                   generated when a vehicle                                  chooses. Traded and transferred credits
                                             misuse the information from its Credit                  manufacturer’s fleet over-complies with                   are subject to an ‘‘adjustment factor’’ to
                                             Value template for the purposes of                      its standard for a given model year,                      ensure total oil savings are
                                             influencing the maximum feasible                        meaning its vehicle fleet achieved a                      preserved.1212
                                             standards for future CAFE rulemaking.                   higher corporate average fuel economy                        Credit ‘‘carryback’’ means that
                                                                                                     value than the amount required by the                     manufacturers are able to use recently
                                             We note that these comments were
                                                                                                     CAFE program for that fleet in that                       earned credits to offset a deficit that had
                                             outside the scope of the rulemaking as
                                                                                                     model year. Conversely, if the fleet                      accrued in a prior model year, while
                                             manufacturers are already required to                                                                             credit ‘‘carry-forward’’ means that
                                             provide that information. Furthermore,                  average CAFE level does not meet the
                                                                                                     standard, the fleet incurs debits (also                   manufacturers can bank credits and use
                                             collecting these data from                                                                                        them towards compliance in future
                                             manufacturers does not cause a material                 referred to as a shortfall or deficit). A
                                                                                                     manufacturer whose fleet generates a                      model years. EPCA, as amended by
                                             harm to manufacturers as the data do                                                                              EISA, allows manufacturers to carryback
                                             not impose stricter fuel economy                        credit shortfall in a given model year
                                                                                                     can resolve its shortfall using any one or                credits for up to three model years, and
                                             standards. If commenters feel that we                                                                             to carry-forward credits for up to five
                                             have used the data inappropriately in                   combination of several credit
                                                                                                     flexibilities, including credit carryback,                model years.1213 Credits expire the
                                             future rulemakings, they should                                                                                   model year after which the credits may
                                                                                                     credit carry-forward, credit transfers,
                                             comment to that effect.                                                                                           no longer be used to achieve compliance
                                                                                                     and credit trades, and if all credit
                                                As mentioned previously, it is                       flexibilities have been exhausted, then                   with fuel economy regulations.1214
                                             NHTSA mission to oversee the CAFE                       the manufacturer must resolve its                         Manufacturers seeking to use carryback
                                             program and understand all the aspects                  shortfall by making civil penalty                         credits must submit a carryback plan to
                                             involving how manufacturers comply.                     payments.1210                                             NHTSA, for NHTSA’s review and
                                             We view this as including the true value                   NHTSA has also promulgated                             approval, demonstrating their ability to
                                                                                                     compliance flexibilities and incentives                   earn sufficient credits in future MYs
                                             of banked credits applied to future
                                                                                                     consistent with EPCA’s provisions                         that can be carried back to resolve the
                                             credit shortfalls and the non-monetary
                                                                                                     regarding calculation of fuel economy                     current MY’s credit shortfall.
                                             terms associated with credit trades.
                                                                                                     levels for individual vehicles and for                       Credit ‘‘trading’’ refers to the ability of
                                             Manufacturers labeled this information                                                                            manufacturers or persons to sell credits
                                             as burdensome and unnecessary to                        fleets.1211 These compliance flexibilities
                                                                                                     and incentives, which were first                          to, or purchase credits from, one another
                                             administer the CAFE program. NHTSA                                                                                while credit ‘‘transfer’’ means the ability
                                             disagrees and it is for these types of                  adopted in the 2012 rule for MYs 2017
                                                                                                     and later, include AC efficiency                          to transfer credit between a
                                             unknown factors NHTSA now seeks to                                                                                manufacturer’s compliance fleets to
                                             acquire the information in its new                      improvement and off-cycle adjustments,
                                                                                                     and adjustments for advanced                              resolve a credit shortfall. EISA gave
                                             template. As NHTSA stated, these                                                                                  NHTSA discretion to establish by
                                                                                                     technologies in full-size pickup trucks,
                                             factors must be known to fully                                                                                    regulation a CAFE credit trading
                                                                                                     including adjustments for mild and
                                             understand the true cost of compliance.                                                                           program, to allow credits to be traded
                                                                                                     strong hybrid electric full-size pickup
                                             Furthermore, NHTSA plans to release                                                                               between vehicle manufacturers, now
                                                                                                     trucks and performance-based
                                             additional templates in the future to                   incentives in full-size pickup trucks.                    codified at 49 CFR part 536.1215 EISA
                                             collect supplemental costing                            The fuel consumption improvement                          prohibits manufacturers from using
                                             information on technologies used for                    benefits of these technologies measured                   traded credits to meet the minimum
                                             complying with its off-cycle program to                 by various testing methods can be used                    domestic passenger car CAFE
                                             improve its derived costs for generating                by manufacturers to increase the CAFE                     standard.1216
                                             earned credits. NHTSA will attempt to                   performance of their fleets.                              (b) Fuel Savings Adjustment Factor
                                             discuss these plans with manufacturers
                                             prior to the next CAFE rulemaking.                      (a) Available Credit Flexibilities                           Under NHTSA’s credit trading
                                                                                                        Under NHTSA regulations, credit                        regulations, a fuel savings adjustment
                                                NHTSA agrees with manufacturers                                                                                factor is applied when trading occurs
                                             that non-monetary valuations will be                    holders (including, but not limited to
                                                                                                     manufacturers) have credit accounts                       between manufacturers and those
                                             difficult to quantify and that future                                                                             credits are used, or when a
                                             changes may be needed to refine the                     with NHTSA where they can, hold
                                                                                                     credits, and use them to achieve                          manufacturer transfers credits between
                                             template. For these reasons, NHTSA                                                                                its compliance fleets and those credits
                                                                                                     compliance with CAFE standards, by
                                             will delay requiring the new templates                                                                            are used, but not when a manufacturer
                                                                                                     carrying forward, carrying back, or
                                             until a later date. However, we strongly                                                                          carries credits forward or backwards
                                                                                                     transferring credits across compliance
                                             encourage manufacturers to use the new                  categories, subject to several                            within the same fleet.1217
                                             revised draft templates. If the agency
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                                             finds the new templates as satisfactory,                  1209 49 U.S.C. 32903.
                                                                                                                                                                 1212 See Section VII.B.3.(b) for details.
                                                                                                                                                                 1213 49 U.S.C. 32903(a).
                                             we may be able to more narrowly tailor                    1210 Manufacturers may elect to pay civil
                                                                                                                                                                 1214 49 CFR 536.3(b).
                                             the reporting requirements of 49 CFR                    penalties rather than utilizing credit flexibilities at
                                                                                                                                                                 1215 49 U.S.C. 32903(f).
                                                                                                     their discretion. For purposes of the analysis, we
                                             536.5 to include only the information                   assume that manufacturers will only pay penalties           1216 49 U.S.C. 32903(f)(2).
                                             requested in the template.                              when all flexibilities have been exhausted.                 1217 See Section VII.A.3.(a) for details about carry
                                                                                                       1211 49 U.S.C. 32904.                                   forward and back credits.



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                                                NHTSA proposed in the 2021 NPRM                      the measurement methodology for dual-                 vehicles can have significant impact on
                                             to restore certain definitions that were a              fueled vehicles at 49 U.S.C. 32905(b)                 the overall light-duty fleet fuel use and
                                             part of the adjustment factor equation                  and (d) expired after MY 2019. In the                 GHG emissions. NHTSA believes that
                                             that had been inadvertently deleted in                  2012 final rule, NHTSA and EPA                        offering incentives could encourage the
                                             the 2020 final rule. The 2020 final rule                concluded that it would be                            deployment of technologies that can
                                             had intended to add a sentence to the                   inappropriate and contrary to the intent              significantly improve the efficiency of
                                             adjustment factor term in 49 CFR                        of EPCA/EISA to measure duel-fueled                   these vehicles and that also will foster
                                             536.4(c), simply to make clear that the                 vehicles’ fuel economy like that of                   production of those technologies at
                                             figure should be rounded to four                        conventional gasoline vehicles with no                levels that will help achieve economies
                                             decimal places. While the 2020 final                    recognition of their alternative fuel                 of scale, would promote greater fuel
                                             rule implemented this change, the                       capability. The agencies determined that              savings overall and make these
                                             amendatory instruction for doing so                     for MY 2020 and later vehicles, the                   technologies more cost effective and
                                             unintentionally deleted several other                   general statutory provisions authorizing              available in the future model years to
                                             definitions from that paragraph. NHTSA                  EPA to establish testing and calculation              assist in compliance with CAFE
                                             had not intended to modify or delete                    procedures provide discretion to set the              standards.
                                             those definitions, so NHTSA is now                      CAFE calculation procedures for those                    EPA and NHTSA also established
                                             simply adding the language back into                    vehicles. The methodology for EPA’s                   limits on the eligibility for these pickup
                                             the paragraph for this final rule.                      approach is outlined in the 2012 final                trucks to qualify for incentives.
                                                                                                     rule for MYs 2017 and later at 77 FR                  According to the 2012 final rule a truck
                                             (c) VMT Estimates for Fuel Savings                                                                            was required to meet minimum criteria
                                             Adjustment Factor                                       63128 (Oct. 15, 2012).
                                                                                                                                                           for bed size and towing or payload
                                                NHTSA uses VMT estimates as part of                  (e) Flexibilities for Air-Conditioning                capacities and meet minimum
                                             its fuel savings adjustment equation.                   Efficiency, Off-Cycle Technologies, and               production thresholds (in terms of a
                                             Including VMT is important, as fuel                     Full-Size Pickup Trucks                               percentage of a manufacturer’s full-size
                                             consumption is directly related to                      (1) Incentives for Advanced                           pickup truck fleet) in order to qualify for
                                             vehicle use and, in order to ensure                     Technologies in Full-Size Pickup                      these incentives. Under the provisions,
                                             trading credits between fleets preserves                Trucks                                                Mild HEVs are eligible for a per-vehicle
                                             oil savings, VMT must be                                                                                      CO2 credit of 10 g/mi (equivalent to
                                             considered.1218 For MYs 2017 and later,                   Under its EPCA authority for CAFE                   0.0011 gallon/mile for a gasoline-fueled
                                             NHTSA finalized VMT values of                           and under its CAA authority for GHGs,                 truck) during MYs 2017–2021. To be
                                             195,264 miles for passenger car credits,                in the 2021 Final Rule EPA and NHTSA                  eligible a manufacturer would have to
                                             and 225,865 miles for light truck                       established FCIVs for manufacturers                   show that the Mild HEV technology is
                                             credits.1219                                            that hybridize a significant quantity of              utilized in a specified portion of its
                                                                                                     their full-size pickup trucks, or that use            truck fleet beginning with at least 20
                                             (d) Fuel Economy Calculations for Dual                  other technologies that significantly                 percent of a company’s full-size pickup
                                             and Alternative Fueled Vehicles                         reduce fuel consumption by these full-                production in MY 2017 and ramping up
                                                As discussed at length in prior                      sized pickup trucks. More specifically,               to at least 80 percent in MY 2021.
                                             rulemakings, EPCA, as amended by                        CAFE FCIVs were made available to                     Strong HEV pickup trucks are eligible
                                             EISA, encouraged manufacturers to                       manufacturers that produce full-size                  for a 20 g/mi credit (0.0023 gallon/mile)
                                             build alternative-fueled and dual- (or                  pickup trucks with Mild HEV or Strong                 during MYs 2017–2021, if the
                                             flexible-) fueled vehicles by providing                 HEV technology, provided the                          technology is used on at least 10 percent
                                             special fuel economy calculations for                   percentage of production with the                     of a company’s full-size pickups in that
                                             ‘‘dedicated’’ (that is, 100 percent)                    technology is greater than specified                  model year. EPA and NHTSA also
                                             alternative fueled vehicles and ‘‘dual-                 percentages.1220 In addition, CAFE                    adopted specific definitions for Mild
                                             fueled’’ (that is, capable of running on                FCIVs were made available for                         and Strong HEV pickup trucks, based on
                                             either the alternative fuel or gasoline/                manufacturers that produce full-size                  energy flow to the high-voltage battery
                                             diesel) vehicles.                                       pickups with other technologies that                  during testing. In the NPRM, NHTSA
                                                Dedicated alternative-fuel                           enable full-size pickup trucks to exceed              proposed extending these incentives to
                                             automobiles include electric, fuel cell,                their CAFE targets based on footprints                2026.
                                             and compressed natural gas vehicles,                    by specified amounts (i.e., electric                     Furthermore, to incentivize other
                                             among others. The statutory provisions                  vehicles and other electric                           technologies that can provide significant
                                             for dedicated alternative fuel vehicles in              components).1221 These performance-                   reductions in GHG emissions and fuel
                                             49 U.S.C. 32905(a) state that the fuel                  based incentives create a technology-                 consumption for full-size pickup trucks,
                                             economy of any dedicated automobile                     neutral path (as opposed to the other                 EPA also adopted a performance-based
                                             manufactured after MY 1992 shall be                     technology-encouraging path) to achieve               FCIV for full-size pickup trucks. Eligible
                                             measured ‘‘based on the fuel content of                 the CAFE FCIVs, which would                           pickup trucks certified as performing 15
                                             the alternative fuel used to operate the                encourage the development and                         percent better than their applicable CO2
                                             automobile. A gallon of liquid                          application of new technological                      target receive a 10 g/mi credit (0.0011
                                             alternative fuel used to operate a                      approaches.                                           gallon/mile), and those certified as
                                             dedicated automobile is deemed to                         Large pickup trucks represent a                     performing 20 percent better than their
                                             contain 0.15 gallon of fuel.’’ There are                significant portion of the overall light              target receive a 20 g/mi credit (0.0023
                                             no limits or phase-out for this special                 duty vehicle fleet and generally have                 gallon/mile). The 10 g/mi performance-
                                                                                                                                                           based credit was available for MYs 2017
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                                             fuel economy calculation within the                     higher levels of fuel consumption and
                                             statute.                                                GHG emissions than most other light                   to 2021 and, once qualifying; a vehicle
                                                EPCA’s statutory incentive for dual-                 duty vehicles. Improvements in the fuel               model would continue to receive the
                                             fueled vehicles at 49 U.S.C. 32906 and                  economy and GHG emissions of these                    credit through MY 2021, provided its
                                                                                                                                                           CO2 emissions level does not increase.
                                               1218 See 49 CFR 536.4(c).                               1220 77 FR 62624, 62651 (Oct. 15, 2012).            To be eligible a manufacturer would
                                               1219 77 FR 63130 (Oct. 15, 2012).                       1221 Id.                                            have to show that the technology is


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                                             utilized in a specified portion of its                     Since the 2020 final rule, many                    incentivize fuel consumption and CO2
                                             truck fleet beginning with at least 20                  manufacturers have publicly announced                 emissions reductions.
                                             percent of a company’s full-size pickup                 several new model types of full-size                     The American Council for an Energy
                                             production in MY 2017 and ramping up                    electric pickup trucks starting in MY                 Efficient Economy (ACEEE) commented
                                             to at least 80 percent in MY 2021. The                  2022. NHTSA notes that historically it                that it does not support the full-size
                                             20 g/mi performance-based credit was                    has always encouraged manufacturers to                pickup truck incentive.1225 ACEEE
                                             available for a vehicle model for a                     equip emerging technologies that could                stated that this incentive is another
                                             maximum of 5 years within the 2017 to                   lead to significant increases in the fleet’s          example of awarding credit in excess of
                                             2021 model year period. In the 2021                     fuel efficiency. For this reason, even                actual emission reductions, which
                                             NPRM NHTSA proposed extending                           given the discontinuation in MY 2019 of               reduces the stringency of the standards.
                                             these incentives through MY 2026,                       AMFA incentives for dual fueled                       It believes this specific incentive is also
                                             provided its CO2 emissions level does                   vehicles, NHTSA retained its benefits                 problematic because the incentive could
                                             not increase. To be eligible, the                       for alternative dedicated fueled vehicles             encourage the production of full-sized
                                             technology must be applied to at least                  given the growth of electric vehicles in              pickup trucks at the expense of smaller
                                             10 percent of a company’s full-size                     the market. Therefore, after the careful              vehicles. ACEEE estimates that this
                                             pickups in for the model year.                          consideration of this new information                 provision alone could reduce fuel
                                               The agencies designed a definition for                and the potential role incentives could               savings by up to 2 percent for the entire
                                             full-size pickup truck based on                         play in increasing the production of                  period of the rule, if all full-sized pick-
                                             minimum bed size and hauling                            these technologies, and the associated                up trucks qualify for the credit by MY
                                             capability, as detailed in 40 CFR                       beneficial impacts on fuel consumption,               2026.
                                             86.1866–12(e). This definition ensured                  the agency proposed in the 2021 NPRM                     MECA supported NHTSA’s proposal
                                             that the larger pickup trucks, which                    to extend the full-size pickup truck                  to reinstate the original 2012 rule’s full-
                                             provide significant utility with respect                incentive through MY 2026 for strong                  size pick-up truck incentives for strong
                                             to bed access and payload and towing                    hybrids and for full-size pickup trucks               (full) hybrids or similar over performing
                                             capacities, are captured by the                         performing 20-percent better than their               technologies.1226 Pick-up trucks, which
                                             definition, while smaller pickup trucks                 target.1222 Also, understanding the                   are the second most popular light-duty
                                             with more limited capacities are not                    importance of electric vehicles in the                vehicle segment in the North American
                                             covered. A full-size pickup truck is                    market, NHTSA proposed to allow                       market, are often identified as a greater
                                             defined as meeting requirements (1) and                 manufacturers to combine both the                     technical and consumer acceptance
                                             (2) below, as well as either requirement                incentives for alternative fueled vehicles            challenge to higher efficiency standards.
                                             (3) or (4) below.                                       and full-size pickup trucks FCIVs when                The presence of electric, full hybrid and
                                               (1) Bed Width—The vehicle must                        complying with the CAFE program.                      other advanced technology vehicle
                                             have an open cargo box with a                              NHTSA received various comments                    options in this segment is clearly
                                             minimum width between the                               concerning its proposed changes to the                beneficial to consumers, the
                                             wheelhouses of 48 inches. And—                          full-sized pickup truck incentive. Many               environment and energy conservation
                                                                                                     of the same commenters also submitted                 goals.
                                               (2) Bed Length—The length of the
                                                                                                     responses to EPA for consideration in its                MECA further stated that the FCIVs
                                             open cargo box must be at least 60
                                                                                                     GHG final rule.1223 The ITB Group, Ltd.               for full-size pickups with HEV or other
                                             inches. And—
                                                                                                     (ITB Group) submitted comments                        over performing technologies should
                                               (3) Towing Capability—the gross
                                                                                                     supporting reinstatement of the                       require the use of additional advanced
                                             combined weight rating (GCWR) minus
                                                                                                     incentives for full-sized pickup strong               technologies that over perform targets
                                             the gross vehicle weight rating (GVWR)
                                                                                                     hybrids with a 20 percent improvement                 by 20 percent. MECA feels the
                                             must be at least 5,000 pounds. Or—
                                                                                                     in performance.1224 The ITB Group                     incentives are reasonable given that on
                                               (4) Payload Capability—the GVWR
                                                                                                     agrees with the justification for                     average, pick-up trucks consume far
                                             minus the curb weight (as defined in 40
                                                                                                     reinstating the full-size pickup truck                greater amounts of fuel per year and are
                                             CFR 86.1803) must be at least 1,700
                                                                                                     credits since full-size pick-up truck                 almost twice as likely to reach 200,000
                                             pounds.
                                                                                                     technologies are ‘‘particularly                       miles compared to vehicles in other
                                               Both agencies ended the incentives
                                                                                                     challenging due to the need to preserve               LDV segments. MECA further stated that
                                             for full-size pickup trucks after the end
                                                                                                     the towing and hauling capabilities of                given that large SUVs also commonly
                                             of model year 2021 believing expanded
                                                                                                     the vehicles.’’ It commented that one                 utilize the same chassis and powertrains
                                             incentives would likely not result in any
                                                                                                     improvement in the rule would be to                   as pick-up trucks, it believes that
                                             further emissions benefits or fuel
                                                                                                     provide a combined penetration                        NHTSA should consider extending
                                             economy improvements since an
                                                                                                     requirement rather than an independent                these advanced technology pick-up
                                             increase in sales volume was not
                                                                                                     10 percent requirements for multiple                  truck credits to similar large SUVs as
                                             anticipated. At the time, no
                                                                                                     types of technologies. This would mean                well.
                                             manufacturer had qualified to use the
                                                                                                     that any combination of strong hybrid                    BorgWarner commented that it
                                             full-size pickup truck incentives since
                                                                                                     and other 20 percent better performance               ‘‘supports NHTSA’s [FCIVs] for full-size
                                             they went into effect in MY 2017. One
                                                                                                     technologies would fall under one cap.                pick-up strong hybrids or similar
                                             vehicle manufacturer introduced a mild
                                                                                                     They suggest that this is an important                overperforming technologies and gave
                                             hybrid pickup truck in MY 2019 but
                                                                                                     technology-agnostic requirement, since                recognition to EPA’s flexibilities.
                                             was ineligible for the FCIV because it
                                                                                                     it is not clear that the market will be               NHTSA’s proposal is ambitious and will
                                             did not meet the minimum production
                                                                                                     receptive to a specific technology. As far            require flexibilities to encourage
                                             threshold. Other manufacturers had
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                                                                                                     as possible, the standards should be                  technology development and
                                             announced potential collaborations or
                                                                                                     flexible and technology-agnostic to                   adoption.’’ 1227 BorgWarner suggested
                                             started designing future hybrid or
                                             electric models, but none were expected                   1222 86 FR 49602 (Sept. 3, 2021).                     1225 ACEEE, NHTSA–2021–0053–0074, at page 4.
                                             to meet production requirements within                    1223 See 86 FR 74434 (Dec. 30, 2021).                 1226 MECA, NHTSA–2021–0053–1113, at page 3.
                                             the time period of eligibility for these                  1224 ITB Group, NHTSA–2021–0053–0019–A1, at           1227 BorgWarner, NHTSA–2021–0053–1473, at

                                             incentives.                                             page 6.                                               page 2.



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                                             that NHTSA should consider extending                     need to be conducted in coordination                  without providing a windfall for
                                             the advanced technology pick-up truck                    with EPA. The additional FCIV would                   technologies already saturating the
                                             credits to similar large SUVs since large                help to incentive a broader suite of                  marketplace. Also, given that the
                                             SUVs utilize the same chassis and                        highly fuel efficient or electrified                  agencies are reducing the effective
                                             propulsion systems as pick-up trucks.                    vehicles extending upon the basis of                  model years for the incentives to only be
                                             Hybrid trucks offer a significant                        that used for full-size pick-ups.                     effective for MYs 2023–2024, NHTSA is
                                             opportunity for fuel consumption                            UCS recommended that NHTSA                         finalizing its proposal to allow
                                             improvements due to their high sales                     should eliminate flexibilities in the                 manufacturers to combine both the
                                             volume and relative fuel consumption.                    proposal that will undermine the                      incentives for alternative fueled vehicles
                                             The existing credits have not achieved                   effectiveness of the CAFE program.1230                and full-size pickup trucks FCIVs when
                                             their goal of significantly increasing                   These include reining in the off-cycle                complying with the CAFE program for
                                             hybridization of trucks. The conditions                  credit program, which has led to a                    these model years.
                                             necessary to earn these credits are                      significant over-crediting of fuel
                                                                                                      consumption reduction, and eliminating                (2) Flexibilities for Air Conditioning
                                             stringent. Eliminating the volume                                                                              Efficiency
                                             requirement and awarding credits based                   full-size pick-up incentives, which
                                             on a sliding scale that relates the fuel                 reward status quo compliance strategies.                 AC systems are virtually standard
                                             economy of a hybrid vehicle to the same                     EPA decided to finalize a more                     automotive accessories, and more than
                                             non-hybrid vehicle would provide a                       limited time period for its full-size                 95 percent of new cars and light trucks
                                             better incentive for hybridization in                    pickup incentives. The EPA incentive                  sold in the U.S. are equipped with
                                             proportion to the value of the                           will only be effective for MYs 2023–                  mobile AC systems. AC system usage
                                             technology.                                              2024. EPA decided not to finalize the                 places a load on an engine, which
                                                Tesla stated that, like EPA, NHTSA                    proposed incentives for MYs 2022 or                   results in additional fuel consumption;
                                             proposes to re-establish an additional                   2025 because it believed a shorter                    the high penetration rate of AC systems
                                             credit incentive for full size pickups and               effective period balances the need for                throughout the light-duty vehicle fleet
                                             underestimates the potential use of the                  flexibility in the near-term with the                 means that more efficient systems can
                                             credit.1228 Tesla explained that                         overall emissions reduction goals of its              significantly impact the total energy
                                             electrification technology has become                    program. EPA stated that this more                    consumed. AC systems also have non-
                                             widely available and represents the                      targeted approach to full-size pickup                 CO2 emissions associated with
                                             best-in-class efficiency and emission                    truck credits is appropriate to further               refrigerant leakage.1231 Manufacturers
                                             reduction technology. Just as NHTSA                      incentivize advanced technologies in                  can improve the efficiency of AC
                                             acknowledges recent manufacturer                         this segment, which continues to be                   systems though redesigned and refined
                                             announcements on electrification in its                  particularly challenging given the need               AC system components and
                                             proposal, the agency should recognize                    to preserve the towing and hauling                    controls.1232 That said, such
                                             the increasing announcements around                      capabilities while addressing cost and                improvements are not measurable or
                                             full electric pick-up trucks. While the                  consumer acceptance challenges. EPA                   recognized using 2-cycle test procedures
                                             original rationale for credits was to                    also retained the production thresholds               since AC is turned off during 2-cycle
                                             incentivize technology development for                   to ensure that manufacturers taking                   testing. Any AC system efficiency
                                             this class of vehicles, that has now been                advantage of the flexibility must sell a              improvements that reduce load on the
                                             accomplished and that rationale no                       significant number of qualifying                      engine and improve fuel economy is
                                             longer exists. In short, Tesla believes the              vehicles to do so. While this flexibility             therefore not measurable on those tests.
                                             technology is available to be deployed                   is more narrowly focused, since not all                  The CAFE program includes
                                             for MY 2024–2026 vehicles, including                     manufacturers produce full-size                       flexibilities to account for the real-world
                                             pickups—and simply does not justify                      pickups, it represents another avenue                 fuel economy improvements associated
                                             diluting the proposed standards’                         for credits that may help manufacturers               with improved AC systems and to
                                             compliance stringency. Continuing                        meet the near-term standards, in                      include the improvements for
                                             multiplier incentive is unnecessary and                  addition to the other flexibilities                   compliance.1233 The total AC efficiency
                                             after a decade of being an element in                    included in EPA’s GHG program.                        credits is calculated by summing the
                                                                                                         In the interest of maintaining                     individual credit values for each
                                             standards proposals now threatens to
                                                                                                      harmonization with the EPA GHG                        efficiency improving technology used
                                             further institutionalize a compliance
                                                                                                      program, NHTSA is adopting the same
                                             crutch for manufacturers to deliver a
                                                                                                      proposal as EPA and will be extending                    1231 Notably, manufacturers cannot claim CAFE-
                                             limited number of compliance vehicles
                                                                                                      the CAFE full-size pickup truck                       related benefits for reducing AC leakage or
                                             to maximize credit accumulation with                     incentives for MYs 2023 and 2024.                     switching to an AC refrigerant with a lower global
                                             no incentive to deliver more wide-                       NHTSA believes that maintaining a
                                                                                                                                                            warming potential. While these improvements
                                             spread innovation and actual                                                                                   reduce GHG emissions consistent with the purpose
                                                                                                      single compliance approach for the                    of the CAA, they generally do not impact fuel
                                             deployment and the accompanying                          industry is the most effective way to                 economy and, thus, are not relevant to the CAFE
                                             emission benefits.                                       allow this joint incentive to be                      program.
                                                Volkswagen requested that NHTSA                                                                                1232 The approach for recognizing potential AC
                                                                                                      implemented and maintained by EPA
                                             consider extending the applicability of                                                                        efficiency gains is to utilize, in most cases, existing
                                                                                                      and NHTSA. Further, NHTSA believes                    vehicle technology/componentry, but with
                                             high efficient vehicle FCIV factors to
                                                                                                      that there is merit to incentivizing the              improved energy efficiency of the technology
                                             vehicles other than just full-size pick-up                                                                     designs and operation. For example, most of the
                                                                                                      production of electric pickup trucks
                                             trucks.1229 Volkswagen recognizes that                                                                         additional AC-related load on an engine is because
                                                                                                      which have historically lagged behind
                                             such an extension would require                                                                                of the compressor, which pumps the refrigerant
                                                                                                      other vehicle classes. We believe that
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                                             modification by EPA to part 600                                                                                around the system loop. The less the compressor
                                                                                                      extending the incentive for a short time              operates, the less load the compressor places on the
                                             regulations, and that this effort would                                                                        engine resulting in less fuel consumption. Thus,
                                                                                                      frame strikes a balance between
                                                                                                                                                            optimizing compressor operation with cabin
                                                  1228 Tesla, NHTSA–2021–0053–1480–A1, at page
                                                                                                      incentivizing innovation and quicker                  demand using more sophisticated sensors, controls,
                                             9.                                                       adoption of advance technology,                       and control strategies is one path to improving the
                                               1229 Volkswagen, NHTSA–2021–0053–1548, at                                                                    efficiency of the AC system.
                                             page 21.                                                   1230 UCS, NHTSA–2021–0053–1567, at page 3.             1233 See 40 CFR 86.1868–12.




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                                             on a vehicle, as specified in the AC                    manufacturer’s CAFE compliance values                       For off-cycle technologies not on the
                                             credit menu. The total AC efficiency                    for each fleet instead of treating them as               pre-defined technology list, EPA created
                                             credit sum for each vehicle is capped at                separate credits as for the EPA GHG                      a second pathway which allows
                                             5.0 grams/mile for cars and 7.2 grams/                  program.                                                 manufacturers to use 5-cycle testing to
                                             mile for trucks. Additionally, the off-                    For determining benefits, EPA created                 demonstrate off-cycle
                                             cycle credit program contains credit                    three compliance pathways for the off-                   improvements.1239 Starting in MY 2008,
                                             earning opportunities for technologies                  cycle program. The first approach                        EPA developed the ‘‘five-cycle’’ test
                                             that reduce the thermal loads on a                      allows manufacturers to gain credits                     methodology to measure fuel economy
                                             vehicle from environmental conditions                   using a predetermined approach or                        for the purpose of improving new car
                                             (solar loads or parked interior air                     ‘‘menu’’ of credit values for specific off-              window stickers (labels) and giving
                                             temperature).1234 These technologies are                cycle technologies which became                          consumers better information about the
                                             listed on a thermal control menu that                   effective starting in MY 2014 for                        fuel economy they could expect under
                                             provides a predefined improvement                       EPA.1235 1236 This pathway allows                        real-world driving conditions.1240 As
                                             value for each technology. If a vehicle                 manufacturers to use credit values                       learned through development of the
                                             has more than one thermal load                          established by EPA for a wide range of                   ‘‘five-cycle’’ methodology and prior
                                             improvement technology, the                             off-cycle technologies, with minimal or                  rulemakings, there are technologies that
                                             improvement values are added together,                  no data submittal or testing                             provide real-world fuel consumption
                                             but subject to a cap of 3.0 grams/mile for              requirements.1237 Specifically, EPA                      improvements, but those improvements
                                             cars and 4.3 grams/mile for trucks.                     established a menu with a number of                      are not fully reflected on the ‘‘two-
                                             Under its EPCA authority for CAFE,                      technologies that have real-world fuel                   cycle’’ test. EPA established this
                                             EPA calculates equivalent FCIVs and                     consumption benefits not measured, or                    alternative for a manufacturer to
                                             applies them for the calculation of                     not fully measured, by the two-cycle test                demonstrate the benefits of off-cycle
                                             manufacturer’s fleet CAFE values.                       procedures, and those benefits were                      technologies using 5-cycle testing. The
                                             Manufacturers seeking credits beyond                    reasonably quantified by the agencies at                 additional emissions test allows
                                             the regulated caps must request the                     that time. For each of the pre-approved                  emission benefits to be demonstrated
                                             added benefit for AC technology under                   technologies on the menu, EPA                            over some elements of real-world
                                             the off-cycle program discussed in the                  established a menu value or approach
                                                                                                                                                              driving not captured by the two-cycle
                                             next section. The agency did not                        that is available without testing
                                                                                                                                                              CO2 compliance tests including high
                                             propose any changes its AC efficiency                   verifications. Manufacturers must
                                             flexibility and therefore will retain its                                                                        speeds, rapid accelerations, hot
                                                                                                     demonstrate that they are in fact using
                                             provisions in its current form.                                                                                  temperatures, and cold temperatures.
                                                                                                     the menu technology, but not required
                                                                                                                                                              Under this pathway, manufacturers
                                             (3) Flexibilities for Off-Cycle                         to submit test results to EPA to quantify
                                                                                                                                                              submit test data to EPA, and EPA
                                             Technologies                                            the technology’s effects, unless they
                                                                                                                                                              determines whether there is sufficient
                                                                                                     wish to receive a credit larger than the
                                                ‘‘Off-cycle’’ technologies are those                                                                          technical basis to approve the off-cycle
                                                                                                     default value. The default values for
                                             that reduce vehicle fuel consumption in                                                                          credits. No public comment period is
                                                                                                     these off-cycle credits were largely
                                             the real world, but for which the fuel                                                                           required for manufacturers seeking
                                                                                                     determined from research, analysis, and
                                             consumption reduction benefits cannot                                                                            credits using the EPA menu or using 5-
                                                                                                     simulations, rather than from full
                                             be fully measured under the 2-cycle test                                                                         cycle testing.
                                                                                                     vehicle testing, which would have been
                                             procedures (city, highway or                            both cost and time prohibitive. EPA                         The third pathway allows
                                             correspondingly FTP, HFET) used to                      generally used conservative predefined                   manufacturers to seek EPA review,
                                             determine compliance with the fleet                     estimates to avoid any potential credit                  through a notice and comment process,
                                             average standards. The cycles are                       windfall.1238                                            to use an alternative methodology other
                                             effective in measuring improvements in                                                                           than the menu or 5-cycle methodology
                                             most fuel economy improving                               1235 See 40 CFR 86.1869–12(b). The first approach      for determining the off-cycle technology
                                             technologies; however, they are unable                  requires some technologies to derive their pre-          CO2 credits.1241 Manufacturers must
                                             to measure or underrepresent certain                    determined credit values through EPA’s established       provide supporting data on a case-by-
                                             fuel economy improving technologies                     testing. For example, waste heat recovery
                                                                                                     technologies require manufacturers to use 5-cycle        case basis demonstrating the benefits of
                                             because of limitations in the test cycles.              testing to determine the electrical load reduction of    the off-cycle technology on their vehicle
                                             For example, off-cycle technologies that                the waste heat recovery system.                          models. Manufacturers may also use the
                                             improve emissions and fuel economy at                     1236 EPA implemented its off-cycle GHG program
                                                                                                                                                              third pathway to apply for credits and
                                             idle (such as ‘‘stop start’’ systems) and               starting in MY 2012.
                                                                                                                                                              FCIVs for menu technologies where the
                                                                                                       1237 The Technical Support Document (TSD) for
                                             those technologies that improve fuel                                                                             manufacturer is able to demonstrate
                                                                                                     the 2012 final rule for MYs 2017 and beyond
                                             economy to the greatest extent at                       provides technology. examples and guidance with          credits and FCIVs greater than those
                                             highway speeds (such as active grille                   respect to the potential pathways to achieve the         provided by the menu.
                                             shutters which improve aerodynamics)                    desired physical impact of a specific off-cycle
                                             receive less than their real-world                      technology from the menu and provides the
                                                                                                     foundation for the analysis justifying the credits       for larger vehicles, since this value is already
                                             benefits in the 2-cycle compliance tests.               provided by the menu. The expectation is that            balanced by smaller vehicles in the fleet. The
                                                In the CAFE rulemaking for MYs                       manufacturers will use the information in the TSD        agencies take these matters into consideration when
                                             2017–2025, EPA, in coordination with                    to design and implement off-cycle technologies that      applications are submitted for credits beyond those
                                                                                                     meet or exceed those expectations in order to            provided on the menu.
                                             NHTSA, established regulations                                                                                      1239 See 40 CFR 86.1869–12(c). EPA proposed a
                                                                                                     achieve the real-world benefits of off-cycle
                                             extending the off-cycle technology                      technologies from the menu.                              correction for the 5-cycle pathway in a separate
                                             flexibility to the CAFE program starting
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                                                                                                       1238 While many of the assumptions made for the        technical amendments rulemaking. See 83 FR
                                             with MY 2017. For the CAFE program,                     analysis were conservative, others were ‘‘central.’’     49344 (Oct. 1, 2019). EPA is not approving credits
                                             EPA calculates off-cycle FCIVs that are                 For example, in some cases, an average vehicle was       based on the 5-cycle pathway pending the
                                                                                                     selected on which the analysis was conducted. In         finalization of the technical amendments rule.
                                             equivalent to the EPA CO2 credit values                                                                             1240 https://www.epa.gov/vehicle-and-fuel-
                                                                                                     that case, a smaller vehicle may presumably deserve
                                             and applies them in the calculation of                  fewer credits whereas a larger vehicle may deserve       emissions-testing/dynamometer-drive-schedules.
                                                                                                     more. Where the estimates are central, it would be       (Accessed: March 15, 2022)
                                               1234 See 40 CFR 86.1869–12(b).                        inappropriate for the agencies to grant greater credit      1241 See 40 CFR 86.1869–12(d).




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                                             (a) The Off-Cycle Approval/Denial                       overview of the technology concept and                testing and analytical errors after the
                                             Process                                                 planned model types for their off-cycle               fact. Consequently, EPA’s goal is to
                                                In meetings with EPA and                             technologies as a part of annual pre-                 provide approvals for manufacturers as
                                             manufacturers, NHTSA examined the                       certification meetings with EPA.                      early as possible to ensure timely
                                             processes for bringing off-cycle                        Manufacturers typical hold their pre-                 processing of their credit requests.
                                             technologies into market. Two distinct                  certification meetings with EPA                       NHTSA shares the same goals and views
                                             processes were identified: (1) The                      somewhere between September through                   as EPA for manufacturers submissions
                                             manufacturer’s off-cycle pre-production                 November two years in advance of each                 but to-date neither agency has created
                                             process, and; (2) the manufacturer’s                    model year. These meetings are                        any required deadlines for these
                                             regulatory compliance process. During                   designed to give EPA a holistic                       reviews. For NHTSA, its only
                                             the pre-production process, the off-cycle               overview of manufacturers planned                     requirement is for manufacturers to
                                             program for most manufacturers begins                   product offerings for the upcoming                    submit copies of all information sent to
                                             as early as four to 6 years in advance of               compliance model year and since 2012                  EPA at the same time.
                                                                                                     information on the AC and off-cycle                     The next step in the credit review
                                             the given model year. Manufacturers’
                                                                                                     programs. Thus, a manufacturer                        process is for manufacturers to submit
                                             design teams or suppliers identify
                                                                                                     complying in the 2023 compliance                      an analytical plan defining the required
                                             technologies to develop capable of
                                                                                                     model year would arrange its pre-                     testing to derive the exact benefit of a
                                             qualifying for off-cycle credits after
                                                                                                     certification meeting with EPA in                     non-menu off-cycle technology before
                                             careful consideration of the possible
                                                                                                     September 2021 and would be required                  the model year begins and then to start
                                             benefits. Manufacturer then identify the
                                                                                                     to share information on the AC and off-               testing. It is noted that some
                                             opportunities for the technologies                                                                            manufacturers failed to seek EPA’s early
                                                                                                     cycle technologies its plans to equip
                                             finding the most optimal condition for                                                                        reviews which delayed finalizing their
                                                                                                     during the model year. After this,
                                             equipping the technology given the                                                                            analytical plans and then the start of
                                                                                                     manufacturers report projected
                                             availability in the production cycle of                                                                       their testing. These delays had greater
                                                                                                     information on off-cycle technologies as
                                             either new or multiple platforms                                                                              impacts depending upon the required
                                                                                                     a part of their CAFE reports to NHTSA
                                             capitalizing on any commonalities to                                                                          testing for the technology. For example,
                                                                                                     in accordance with 49 CFR part 537
                                             increase sales volumes and reduce costs.                                                                      some manufacturers were required to
                                                                                                     CAFE due by December 31st before the
                                             After establishing their new or series                  end of the model year.                                conduct a four-season testing
                                             platform development plans,                                According to EPA and NHTSA                         methodology lasting almost a year to
                                             manufacturers have two processes for                    regulations, eligibility to gain benefits             evaluate the performance of a
                                             off-cycle technologies on the pre-                      for off-cycle technologies only require               technology during all environmental
                                             defined menu list or using 5-cycle                      manufacturers to reporting information                conditions.
                                             testing and for those for which benefits                in advance of the model year notifying                  After completing testing,
                                             are sought using the alternative                        the agencies of a manufacturer’s intent               manufacturers are required to prepare
                                             approval methodology. For those on the                  to claim credits. More specifically,                  an official application requesting a
                                             menu list or 5-cycle testing,                           manufacturers must notify EPA in their                certain amount of off-cycle credits for
                                             technologies whose credit amounts are                   pre-model year reports, and in their                  the technology. In accordance with EPA
                                             defined by EPA regulation,                              applications for certification, of their              regulations, the official application
                                             manufacturers confirm that: (1) New                     intention to generate any AC and off-                 request must include final testing data,
                                             candidate technologies meet regulatory                  cycle credits before the model year,                  details on the methodology used to
                                             definitions; and (2) for qualifying                     regardless of the methodology for                     determine the off-cycle credit value, and
                                             technologies, there is real fuel economy                generating credits. Similarly, for                    the official benefit value requested. EPA
                                             (FE) benefit based on good engineering                  NHTSA, manufacturers are also                         anticipated that these submissions
                                             judgement and/or testing. For these                     required to provide data in their pre-                would be made prior to the end of the
                                             technologies, manufacturers conduct                     model year reports required by 49 CFR                 model year where the off-cycle
                                             research and testing independently                      part 537 including projected                          technology was applied.
                                             without communicating with EPA or                       information on AC, off-cycle, and full-                 Each manufacturers’ application to
                                             NHTSA. For non-menu technologies,                       size pickup truck incentives. These                   EPA must then undergo a public notice
                                             those not defined by regulation,                        regulations require manufacturers to                  and comment process if the
                                             manufacturers pre-production processes                  report information on factors such as the             manufacturer uses a methodology to
                                             include: (1) Determining the credit                     approach for determining the benefit of               derive the benefit of a technology not
                                             amounts based on the effectiveness of                   the technology, projected production                  previously approved by EPA. Once a
                                             the technologies; (2) developing suitable               information and the planned model                     methodology for a specific off-cycle
                                             test procedures; (3) identifying any                    types for equipping the off-cycle                     technology has gone through the public
                                             necessary studies to support                            technology.                                           notice and comment process and is
                                             effectiveness; (4) and identifying the                     If a manufacturer is pursuing credits              approved for one manufacturer, other
                                             necessary equipment or vehicle testing                  for a non-menu off-cycle technology,                  manufacturers may follow the same
                                             using good engineer judgement to                        EPA also encourages manufacturers to                  methodology to collect data on which to
                                             confirm the vehicle platform benefits of                seek early reviews for the eligibility of             base their off-cycle credits. Other
                                             the technology.                                         a technology, the test procedure, and the             manufacturers are only required to
                                                While for the regulatory compliance                  model types for testing in advance of the             submit applications citing the approved
                                             process, the first step for manufacturers               model year. EPA emphasizes the critical               methodology, but those manufacturers
                                             begins by providing EPA with early                      importance for manufacturers to seek                  must provide their own necessary test
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                                             notification in their pre-model year                    these reviews prior to conducting                     data, modeling, and calculations of
                                             GHG reports (e.g., 2025MY Pre-GHG are                   testing or any analytical work. Yet, some             credit value specific to their vehicles,
                                             due in 2023CY) of their intention to                    manufacturers have decided not to seek                and any other vehicle-specific details
                                             generate any off-cycle credits in                       EPA’s early reviews which resulted in                 pursuant to that methodology, to assess
                                             accordance with 40 CFR 600.514–12.                      significant delays in the process as EPA              an appropriate credit value. This is
                                             Next, manufacturers present a brief                     has had to identify and correct multiple              similar to what occurred with the


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                                             advanced AC compressor, where one                       corrections to resolve inadvertent errors                Until EPA verifies final compliance
                                             manufacturer applied for credits with                   during or after the model year.                       numbers, manufacturers are uncertain
                                             data collected through bench testing and                   Both EPA and NHTSA regulations fail                about either how many credits they
                                             vehicle testing, and subsequent to the                  to include specific deadlines for                     have available to trade or, conversely,
                                             first manufacturer being approved, other                manufacturers to meet in finalizing their             how many credits are necessary for
                                             manufacturers applied for credits                       off-cycle analytical plans or the official            them to cover any shortfalls. Therefore,
                                             following the same methodology by                       applications to the agencies. The                     these late reports amount to more than
                                             submitting test data specific for their                 agencies believed that enforcing the                  just a mere accounting nuisance for the
                                             vehicle models. Consequently, as long                   existing submission requirements would                agencies; they are actively chilling the
                                             as the testing is conducted using the                   be the most efficient approach to                     credit market.
                                             previously approved methodology, EPA                                                                             For MY 2017, NHTSA will void
                                                                                                     expedite approvals and set aside adding
                                             will evaluate the credit application and                                                                      manufacturers previous credit trades
                                                                                                     any new regulatory deadlines or
                                             issue a decision with no additional                                                                           pending the revised final calculations.
                                                                                                     additional requirements in the previous
                                             notice and comment, since the first                                                                           Second, until late requests are
                                                                                                     rulemaking. There were also concerns to
                                             application that established the                                                                              approved, credit sellers are unable to
                                                                                                     provide manufacturers with maximum
                                             methodology was subject to notice and                                                                         make trades with buyers having pending
                                                                                                     flexibility and due to the uncertainties
                                             comment. EPA issues a decision                                                                                approvals or credits are sold whereas
                                                                                                     existing with the non-menu off-cycle
                                             document regarding the manufacturer’s                                                                         the final balance of credits is unknown.
                                                                                                     process. However, the agencies                        Because credit trades and transfers must
                                             official application upon resolution of
                                                                                                     anticipated that any timeliness                       be adjusted for fuel savings anytime a
                                             any public comments to its Federal
                                                                                                     problems would resolve themselves as                  change occurs in a manufacturer’s CAFE
                                             Register notice and after consultation
                                                                                                     the off-cycle program reached maturity                values, the resulting earned or
                                             with NHTSA. Finally, manufacturers
                                                                                                     and more manufacturers began                          purchased credits must be recalculated.
                                             submit information after the model year
                                                                                                     requesting benefits for previously                    These recalculations are significantly
                                             ends on off-cycle technologies and the
                                                                                                     approved off-cycle technologies.                      burdensome on the government to
                                             equipped vehicles in their final CAFE
                                             reports due by March 30th and then in                      Despite the agencies’ expectations, the            administer and places an undue risk on
                                             their final GHG AB&T reports due to                     lack of deadlines for test results or the             manufacturers involved in CAFE credit
                                             EPA by April 30th.                                      official application has significantly                trade transactions.
                                                During the 2020 rulemaking, the                      delayed approvals for non-menu off-                      NHTSA met with EPA and
                                             agencies and manufacturers both agreed                  cycle requests. In many cases, EPA has                manufacturers to better understand the
                                             that responding to petitions before the                 received off-cycle non-menu application               process for reviewing off-cycle non-
                                             end of a model year is beneficial to                    requests either late in the model year or             menu technologies. From these
                                             manufacturers and the government. It                    after the model year. This falls outside              discussions, NHTSA identified several
                                             allows manufacturers to have a better                   the agencies planned strategy for the off-            issues that may be influencing late
                                             idea of what credits they will earn, and                cycle non-menu review process whereas                 submissions. First, non-menu requests
                                             for the government, a timely and less                   manufacturers would seek approval and                 are becoming more complex and are
                                             burdensome completion of                                submit their official application requests            requiring unique reviews. Previously
                                             manufacturers’ end-of-the-year final                    either in advance of the model year or                approved technologies are also
                                             compliance processes. EPA structured                    early enough in the model year to allow               becoming more complex and are
                                             the AC and off-cycle programs to make                   the agency to approve a manufacturer’s                requiring either new testing, test
                                             it possible to complete the processes by                credits before the end of the model year.             procedures or have evolved beyond the
                                             the end of the model year so                                                                                  definitions which at one time
                                             manufacturers could submit their final                  (b) Changes to the NHTSA Off-Cycle                    previously qualified them. Next,
                                             reports within the required deadline—                   Program                                               manufacturers identified the lack of
                                             90 days after the calendar year, when                   (i) Review Process                                    standardized test procedures approved
                                             CAFE final reports are due from                                                                               by EPA or certainty from EPA on which
                                             manufacturers.1242                                         The current review process for off-                model types need to be tested as major
                                                However, at the time of the previous                 cycle technologies is causing significant             sources for delays in submitting their
                                             rulemaking, manufacturers were                          challenges in finalizing end-of-the-year              analytical plans. In addition,
                                             submitting retroactive off-cycle petitions              compliance processes for the agencies.                manufacturers claimed there is
                                             for review causing significant delays to                The backlog of retro-active and pending               significant uncertainty surrounding the
                                             review and approval of novel                            late off-cycle requests have delayed EPA              necessary data sources to substantiate
                                             technologies and issuances of Federal                   from recalculating NHTSA’s MY 2017                    the benefit of the technology. For
                                             Register notices seeking public                         finals and from completing those for                  example, the data sources necessary to
                                             comments, where applicable. As a                        MYs 2018 and 2019. Fifty-four off-cycle               substantiate the usage rates certain
                                             result, the agencies set a one-time                     non-menu requests have been submitted                 technologies in the market. Testing or
                                             allowance that ended in May 2020 for                    to EPA to date. Nineteen of the requests              extrapolating test results for variations
                                             manufacturers to ask for retroactive                    were submitted late and another seven                 in model types can also be difficult and
                                             credits or FCIVs for off-cycle                          apply retroactively to previous model                 a source of delay. Manufacturers are
                                             technologies equipped on previously                     years starting as early as model year                 typically uncertain as to what
                                             manufactured vehicles after the model                   2015. Since these requests represent                  configurations within a model type
                                             year had ended. After that time, the                    potential credits or adjustments that                 must be tested and believe further
                                             agencies denied manufacturers’ late                     will influence compliance figures, CAFE               guidance may be needed by EPA.
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                                             submissions requesting retroactive                      final results cannot be finalized until all           Manufacturers further claim that it is
                                             credits. However, manufacturers who                     off-cycle requests have been decided.                 challenging to coordinate the required
                                             properly submitted information ahead                    These factors have so far delayed MY                  testing identified by EPA for off-cycle in
                                             of time were allowed to make                            2017 final CAFE compliance by 28                      coordination with other required
                                                                                                     months, MY 2018 by 15 months, and                     certification and emissions testing.
                                               1242 40 CFR 600.512–12.                               MY 2019 by 4 months.                                  Several of these issues were addressed


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                                             in the 2020 final rule. In that                         their final official technology credit                due to the uncertainty of when (or if)
                                             rulemaking, the agencies stated that                    requests by September during the model                credit will ever be granted.
                                             developing a standardized test                          year. It was also proposed for                           Auto Innovators further explained
                                             procedure ‘‘toolbox’’ may not be                        manufacturers to meet the proposed                    that EPA is required to review an
                                             possible due to the development of new                  deadlines or be subject an enforcement                application for completeness and to
                                             and emerging technologies, and                          action unless an extension was granted                notify the submitting manufacturer if
                                             manufacturers’ different approaches for                 by NHTSA for good cause. Otherwise, a                 additional information is required
                                             evaluating the benefits of the                          manufacturer would be precluded from                  within 30 days. Subsequent to
                                             technologies. However, the agencies                     claiming any off-menu items not timely                determining an application is complete,
                                             committed to considering additional                     submitted. Failure to request extensions              EPA is required to make the application
                                             guidance, if feasible, as the programs                  or meet negotiated deadlines would be                 available to the public for comment
                                             further matures in the review process of                subject to enforcement action in                      within 60 days. These two processes
                                             technologies and, if possible, identify                 compliance with 49 U.S.C. 32912(a).                   should collectively take a maximum of
                                             consistent methodologies that may help                     To further streamline the process of               90 days. Thus far in 2021, three
                                             manufacturers analyze off-cycle                         reviews, NHTSA also proposed to work                  applications that reached publication in
                                             technologies.                                           with EPA to create a quicker process for              the Federal Register took 111, 290, and
                                                Part of the issue is that the review                 adding off-cycle technologies to the                  342 days. Other applications are still
                                             process begins significantly later than                 predetermined menu list if widely                     pending review or publication for
                                             the development of technology.                          approved for multiple manufacturers.                  public comment. Auto Innovators urged
                                             Typically, EPA only learns about a new                  For example, the agencies added high-                 EPA to follow its regulations by
                                             off-cycle technology during                             efficiency alternators and advanced AC                providing an initial response on the
                                             manufacturers’ precertification                         compressors to the menu allowing                      completeness of credit applications
                                             meetings, months or even years after                    manufacturers to select the menu credit               within 30 days and to make complete
                                             manufacturers started to develop the                    rather than continuing to seek credits                applications available for public
                                             technology. In the proposal, NHTSA                      through the public approval process.                  comment within 60 days. Auto
                                             sought comments on whether                              High-efficiency alternators were added                Innovators commented that once the
                                             opportunities exist during the initial                  to the off-cycle credits menu, and                    public comment period closes, the EPA
                                             development of off-cycle technologies                   advanced AC compressors with a                        decision process is also frequently
                                             for manufacturers to start discussions                  variable crankcase valve were added to                lengthy. For example, Auto Innovators
                                             with the agencies to identify suitable                  the menu for AC efficiency credits. The               claimed EPA published off-cycle credit
                                             test procedures or approval of the initial              credit levels are based on data                       applications for public comment from
                                             concept of a new technology. After                      previously submitted by multiple                      Toyota in April 2020 and in October
                                             certification meetings, NHTSA also                      manufacturers through the off-cycle                   2020, Nissan in February 2021, and
                                             identified that in many cases,                          credits application process. The high                 from Stellantis in April 2021, and as of
                                             manufacturers do not communicate                        efficiency alternator credit is scalable              their comment submission, all three
                                             with EPA seeking approvals for their                    with efficiency, providing an increasing              were still pending a decision.
                                             test procedures, test vehicles or credit                credit value of 0.16 grams/mile CO2 per                  NHTSA is also proposing to impose
                                             calculations until anywhere from 3–6                    percent improvement as the efficiency                 new deadlines associated with off-cycle
                                             months after the initial development of                 of the alternator increases above a                   technology FCIVs applied for under the
                                             the technology. Delays in approving a                   baseline level of 67 percent efficiency.              ‘‘alternative method’’ pathway.
                                             suitable test procedure extends the                     The advanced AC compressor credit                     Although, Auto Innovators agrees that
                                             manufacturers ability to perform testing                value is 1.1 grams/mile for both cars and             implementation of the alternative
                                             or to submit its formal request for                     light trucks.1243                                     method pathway has been time-
                                             benefits until after the model year has                    Several comments were received in                  consuming and has not met the
                                             ended. As mentioned, testing can take                   response to the NPRM. Commenters                      expectations of the agencies, automobile
                                             up to 12 months after a suitable test                   included several trade and                            manufacturers, and suppliers, it is
                                             procedure and identifying which                         environmental groups including Auto                   unclear if the imposition of additional
                                             subconfigurations must be tested.                       Innovators, ACEEE, the ITB Group and                  deadlines will result in improvements,
                                                One manufacturer also stated that set                NADA as well as vehicle manufacturers                 or simply add additional administrative
                                             submission deadlines are impossible,                    including Ford, Hyundai and Stellantis.               burden to an already cumbersome
                                             agency approvals are variable based on                     Auto Innovators commented that time                process. Auto Innovators stated that the
                                             OEM need and reply timing is driven by                  is of the essence when a manufacturer                 agencies already took steps to improve
                                             the EPA. When questioned whether any                    submits an off-cycle credit application               the timeliness of the process in the 2020
                                             deadlines could be imposed                              for review. Lengthy delays in processing              SAFE rule and that NHTSA should
                                             manufacturers responded believing that                  applications and in reviews subsequent                allow these process improvements to
                                             any deadlines would need to be                          to the public notice and comment                      play out before imposing additional,
                                             negotiated between the manufacturer                     process introduce uncertainty into                    unilateral deadlines.
                                             and the government. NHTSA asked                         compliance planning and reporting for                    American Council for an Energy
                                             manufacturers to comment on any                         manufacturers. Delays also affect timely              Efficient Economy (ACEEE) commented
                                             drawbacks associated with negotiating                   determinations of compliance and                      it supports adding a firm time limit on
                                             and enforcing possible off-cycle process                valuation of credit trades and transfers.             automaker applications to the non-menu
                                             deadlines as a part of the proposal.                    They also discourage further                          off-cycle credit program. They claim
                                                NHTSA also proposed to modify the                    investments in off-cycle technologies                 that this program has long been plagued
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                                             eligibility requirements for non-menu                                                                         by automaker applications for
                                             off-cycle technologies in the CAFE                        1243 For additional details regarding the           technologies implemented on old
                                             program starting in model year 2024.                    derivation of these credits, see EPA’s Memorandum     vehicle models. These retroactive
                                                                                                     to Docket EPA–HQ–OAR–2018–0283 (‘‘Potential
                                             NHTSA proposed for manufacturers to                     Off-cycle Menu Credit Levels and Definitions for
                                                                                                                                                           requests have no bearing on current
                                             finalize their analytical plans by                      High Efficiency Alternators and Advanced Air          OEM technology decisions and cost a
                                             December before the model years and                     Conditioning Compressors’’).                          significant amount of time to process.


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                                             Lastly, they make setting future                           Hyundai is one of several auto                     on-road vehicle information under
                                             standards difficult, as actual                          manufacturers who have long-pending                   different weather conditions to prove-
                                             contemporary compliance is not set in                   applications, some from 2020. Speedy                  out an applied technology’s real-world
                                             stone. Requiring automakers to submit                   reviews are critical to automakers to                 benefits. In some cases, the proposed
                                             their requests for off-cycle credits in a               ensure that investments in technologies               September delivery target precludes a
                                             timely manner would improve the                         are implemented in a timely manner.                   full year of data collection. For example,
                                             effectiveness of the off-cycle program.                 Long application review and approval                  a 2022 model year vehicle could begin
                                             For these reasons ACEEE supports                        timelines for technologies using the                  production in June 2022 and require
                                             NHTSA in its proposed time limit on                     alternative process cause uncertainty                 data to be submitted in September 2022,
                                             application for non-menu off cycle                      about the number of credits                           just three months after production
                                             credit applications.                                    manufacturers earned for each model                   begins. In this example, it is not
                                                The ITB Group also supported                         due to unresolved applications.                       possible to provide a full 12 months of
                                             NHTSA efforts for streamlining the off-                 Manufacturers may not know if they                    fleet level supporting data. Hyundai
                                             cycle credit approval process. The ITB                  will be in a position to buy or to sell               requests that the agency clarify how
                                             Group agreed with NHTSA that the off-                   credits until all applications are                    they would accommodate this type of
                                             cycle credit approval process can be                    resolved. Manufacturers may also need                 situation and structure the process to
                                             improved. NHTSA proposed setting                        to resubmit final model year reports                  allow auto manufacturers to fulfill all of
                                             deadlines for OEM submissions, and the                  once extended approval processes are                  the agencies’ requirements within the
                                             ITB Group suggests that there should                    resolved. This is inefficient and creates             newly proposed application deadline.
                                             also be deadlines for the agencies (EPA/                additional work for both the agency and                  Hyundai also responded to NHTSA’s
                                             NHTSA) to respond to off-cycle credit                   the automakers.                                       other comment request on drawbacks
                                             request submissions for the off-menu                       In its comments to the EPA on their                associated with enforcing strict
                                             approval pathways. The ITB Group also                   GHG NPRM, Hyundai called on both                      deadlines for off-cycle applications.
                                             recommends the development of a                         auto manufacturers and the agency to be               Hyundai stated while it recognizes and
                                             formal process for adding technologies                  held to timing requirements.                          shares the agencies frustration that the
                                             to the menus and adjusting menu                         Automakers should submit off-cycle                    off-cycle approval process can be
                                             credits when necessary.                                 applications in a timely manner.                      protracted, we caution that strict
                                                The National Automobile Dealers                      Similarly, the EPA should make                        enforcement will lead some automakers
                                                                                                     applications available for a 30-day                   to reduce investment in off-cycle credit
                                             Association (NADA) commented
                                                                                                     public comment period within 90 days                  technologies. If manufacturers are
                                             sharing the same concerns expressed by
                                                                                                     of the manufacturers’ submission and                  uncertain that they will receive proper
                                             Auto Innovators regarding the changes
                                                                                                     then establish a reasonable timeline to               credit for the inclusion of these fuel
                                             proposed by NHTSA.
                                                                                                     issue a decision on the applications.
                                                Ford submitted comments supporting                                                                         saving technologies, they may decide
                                                                                                     Hyundai recommends 60 days for the
                                             NHTSA’s goal for more timely                                                                                  they cannot justify the investment in
                                                                                                     agency to review after the public
                                             resolution of ‘‘Demonstration’’ off-cycle                                                                     research and development of new
                                                                                                     comment period closes. This would
                                             credit applications. Ford commented                                                                           technologies resulting in lost real-world
                                                                                                     result in a maximum review period of
                                             that EPA already codified requirements                                                                        fuel efficiency improvements. Hyundai
                                                                                                     180 days which would be timelier than
                                             in 40 CFR 86.1869–12 for manufacturers                                                                        requested that NHTSA develop an
                                                                                                     the approval length for some current
                                             to submit a detailed analytical plan                                                                          extension process to facilitate the
                                                                                                     applications.
                                             prior to the model year in which a                         Further Hyundai responded to                       inherent flux of the development
                                             manufacturer intends to seek these                      NHTSA’s request for comment on                        process for these advanced technologies.
                                             credits and for EPA to make the                         whether there are opportunities to                       Stellantis commented that the agency
                                             demonstration applications available for                engage earlier in the off-cycle                       is proposing to remove menu credit for
                                             public review within 60 days of                         technology development process with                   technologies that impact OEMs as soon
                                             receiving a completed application. Ford                 manufacturers. Hyundai stated it                      as MY2023. Recovering this lost credit
                                             believed that NHTSA can make the most                   welcomes the opportunity to improve                   outside of the menu is infeasible since
                                             meaningful impact to improve the                        the approval process by discussing                    the alternative methodology off-cycle
                                             process through internal review with                    technology and test procedures with the               application submission process can take
                                             EPA rather than imposing additional                     agency earlier, however this is only                  a year or longer with uncertain outcome.
                                             deadlines on manufacturers.                             possible once the development process                 There are a large number of off-cycle
                                                Hyundai commented that the off-cycle                 has progressed to a point where the                   industry applications awaiting action by
                                             alternative process involves testing and                technology has reached a certain                      agency staff. While some of this is
                                             assessment of new and novel                             maturity, thus having these                           certainly due to COVID–19 challenges,
                                             technologies which reduce fuel                          conversations earlier may not be                      the overall lack of movement is
                                             consumption. While this process                         possible in all cases.                                concerning. OEMs have yet to be asked
                                             remains complicated, Hyundai                               Furthermore, Hyundai stated that in                technical questions on many
                                             recognized that some improvements                       some off-cycle technology testing                     applications, and, when responses have
                                             were made to the off-cycle credit                       NHTSA’s new timing proposal includes                  been requested and supplied, it is
                                             approval process in the 2020                            a requirement that automakers deliver                 unclear of what happens next.
                                             rulemaking to address procedural                        analytical plans to the agency by                        Stellantis commented that one
                                             issues. And Hyundai appreciated that                    December before the model year and                    improvement that would certainly help
                                             the agencies continue to pursue                         deliver the final official technology                 would be to set up a system to make the
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                                             improvements, such as ‘‘considering                     credit request by September during the                alternative methodology application
                                             additional guidance’’ and to, ‘‘if                      model year may not be suitable. For                   process more transparent. It would be
                                             possible, identify consistent                           some applications, the agency may need                useful if the agencies could report the
                                             methodologies that may help                             a full year (12 months) of fleet-level data           non-confidential status of all off-cycle
                                             manufacturers analyze off-cycle                         to support the technology credit request.             alternative methodology applications on
                                             technologies.’’                                         This full year of data provides extensive             a quarterly basis to industry.


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                                                Stellantis also proposed that a notice                  At present, the agencies share an                  under different weather conditions),
                                             of availability be published in the                     unofficial simplified spreadsheet for                 which may extend beyond NHTSA’s
                                             Federal Register for all off-cycle                      tracking off-cycle requests which is                  September deadline, NHTSA requests
                                             alternative methodology applications                    discussed during each joint biweekly                  automakers to consider submitting these
                                             after 90 days if the agency has not yet                 meeting. Consequently, we do believe                  off-cycle applications ahead of time.
                                             completed the review of the application                 manufacturers concerns have some                      NHTSA will track manufacturer
                                             for completeness, and if applicable,                    legitimacy concerning the timing in                   submissions, and should the
                                             notify the applicant of additional                      issuing Federal Register notices.                     manufacturers fail to meet NHTSA’s
                                             information being required. This review                 However, it was for these reasons EPA                 deadline requirements, manufacturers
                                             and communication back to the                           adopted changes in their 2020 SAFE                    will need to provide sufficient
                                             applicant is required to happen within                  rule allowing them to forgo issuing                   documentation explaining their missed
                                             30 days of submission. Automatically                    Federal Register notices for                          deadline in order to request an
                                             publishing the application after 90 days                technologies that have been previously                extension.
                                             (three times the length of the required                 approved. In addition, we note that
                                                                                                                                                           (ii) Safety Assessment
                                             review period) will allow the public                    these delays exist, as noted by
                                             comment period to begin and will help                   commenters, because the agencies                         In the 2016 heavy-duty fuel economy
                                             this process function as intended.                      allowed manufacturers to claim                        rule (81 FR 73478, Oct. 25, 2016),
                                                Stellantis suggested that NHTSA work                 retroactive off-cycle credits until May               NHTSA adopted provisions preventing
                                             to align all off-cycle reporting processes              2020, which has created a backlog of                  manufacturers from receiving off-cycle
                                             with EPA and not introduce additional                   requests drastically delaying processing              credits for technologies that impair
                                             burdens on timing with different                        other requests. As indicated by Auto                  safety—whether due to a defect,
                                                                                                     Innovators, the agencies are allowing                 negatively affecting a FMVSS, or other
                                             reporting timelines or new safety
                                                                                                     these retroactive requests to play out                safety reasons.1244 Additionally,
                                             considerations upon the system that is
                                                                                                     before imposing additional actions such               NHTSA clarified that technologies that
                                             already constrained.
                                                                                                     as possible cut-off dates.                            do not provide fuel savings as intended
                                                Stellantis is willing to solicit industry                                                                  will also be stripped of credits. To
                                                                                                        In the future, NHTSA is considering
                                             to partner with the agencies to help                                                                          harmonize the light-duty and heavy-
                                                                                                     adding additional requirements to help
                                             identify and implement process                                                                                duty off-cycle programs, NHTSA
                                                                                                     resolve delays in the requirement for
                                             improvements to evaluate and decision                                                                         proposed to adopt these provisions for
                                                                                                     EPA to notify manufacturers of its
                                             applications more quickly.                                                                                    the light-duty CAFE program as a part
                                                                                                     decision within 60 days of receiving a
                                                For industry awareness, NHTSA                        complete application as required in 40                of its 2021 NPRM.1245 While the agency
                                             meets with EPA on a biweekly basis to                   CFR 86.1869–12(e)(4)(i). NHTSA has                    encourages fuel economy innovations,
                                             consult on non-menu off-cycle requests                  identified that some manufacturers have               safety remains NHTSA’s primary
                                             from manufacturers. Based upon our                      significant delays in responding back to              mission and any technology applied for
                                             interactions and knowledge of potential                 EPA after requests for additional                     CAFE-purposes should not impair
                                             barriers learned to date, NHTSA has                     information have been made. Rarely                    safety. Furthermore, adopting these
                                             decided for its final rule to retain its                does EPA receive all the information it               requirements for the light-duty fleet will
                                             deadlines and enforcement actions                       needs to complete the manufacturers                   harmonize it with regulations for heavy-
                                             proposed in the NPRM and to add                         application and make its decision                     duty vehicles.
                                             additional internal administrative                      within 60 days. In some instances,                       In response to the proposal, Auto
                                             processes to better facilitate the off-cycle            manufacturers have even failed to                     Innovators commented opposing
                                             program. More specifically, NHTSA                       respond to EPA for over a month,                      NHTSA’s new processes for reviewing
                                             plans to implement the same monitoring                  cutting considerably into the 60-day                  applications for off-cycle fuel economy
                                             processes it uses for its safety                        response timeline. NHTSA is                           improvement credits in order to assess
                                             enforcement programs. This involves                     considered adding a deadline                          the safety of the proposed technology
                                             creating a public case file, which is the               requirement in the future for responding              and to remove credits if a safety defect
                                             official record of all communication and                back to the agencies which would serve                is identified. Auto Innovators
                                             records between an entity and the                       as criteria for denying a manufacturer’s              understands that NHTSA’s primary
                                             government. NHTSA will use these case                   request, although as requested by                     mission is safety and applauds the
                                             files for evaluating any extension                      Stellantis, we believe more transparency              agency’s commitment to ensuring that
                                             requests from manufacturers and as the                  and better official tracking between the              technology intended to enhance fuel
                                             basis for any process changes to its off-               government and manufacturers is a                     efficiency does not impair safety.
                                             cycle program in future rulemakings.                    more feasible approach at this time.                  However, it explained that NHTSA’s
                                             We believe this administrative process                     We will also attempt to develop a                  proposal goes too far—a technology can
                                             will also help to identify any delays in                public report to track approved or                    be ‘‘defective’’ for reasons unrelated to
                                             complying with 40 CFR 86.1869–                          disapproved off-cycle requests on the                 safety or fuel economy. NHTSA’s
                                             12(e)(3)(i) and (iii), which Auto                       NHTSA PIC site and will host at least                 criterion ‘‘identified as a part of
                                             Innovators and Stellantis commented                     one compliance meeting annually with                  NHTSA’s safety defects program’’ is
                                             collectively should take a maximum of                   interested parties to share our case files            unclear, as is the context of ‘‘performing
                                             90 days but to date have taken far                      and discuss other potential                           as intended.’’ The proposal to require
                                             longer. Although not officially                         improvements to the off-cycle processes.              manufacturers applying for off-cycle
                                             documented, we are aware that                           NHTSA and EPA will also take steps to                 credits to state that each vehicle
                                             notifying manufacturers for additional                  explore formal processes for adding
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                                                                                                                                                           equipped with the off-cycle technology
                                             information within 30 days is a longer                  technologies to the menus and adjusting               will comply with all applicable Federal
                                             process because usually several requests                menu credits when necessary. Finally,                 Motor Vehicle Safety Standards
                                             are needed before all the required                      since some requests need a full year (12              (FMVSS) is unnecessary, and it is
                                             information is obtained by EPA to                       months) of fleet-level data to support
                                             determine that an application is                        the technology credit request (such as                  1244 See 49 CFR 535.7(f)(2)(iii).

                                             complete.                                               extensive on-road vehicle information                   1245 86 FR 49602 (Sept. 3, 2021).




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                                             unclear how the requirement to describe                 fuel savings. Otherwise, the credits will             technologies are added to the menu.1246
                                             fail-safe provisions will work as a                     be removed or adjusted to the number                  Stellantis contends that the increased
                                             practical manner.                                       of remedied vehicles. NHTSA believes                  credit cap will further incentivize the
                                                The National Automobile Dealers                      that that these provisions will ensure                industry to adopt these technologies
                                             Association (NADA) commented                            that emphasis remains on protecting the               across fleets and that these technologies
                                             sharing its support for Auto Innovators’                safety of vehicle occupants for both the              have a real benefit to fuel economy.
                                             opposition to NHTSA’s proposed safety                   Government and for motor vehicle                      ACEEE, Tesla, and Lucid oppose the
                                             provisions.                                             manufacturers.                                        increase to the menu credit cap.1247
                                                Hyundai commented that NHTSA’s                                                                             Tesla stated that the off-cycle program
                                             provisions are not necessary because                    (iii) Menu Credit Cap
                                                                                                                                                           creates an asymmetry in the regulations
                                             every vehicle sold in the United States                    In the NPRM, NHTSA proposed a                      which favor internal combustion
                                             is already designed with safety in mind                 temporary increase in the off-cycle                   engines and effectually diverts R&D
                                             and complies with all applicable                        menu credit cap from 10 to 15 g/mile                  resources to the creation and
                                             FMVSS safety rules. Further, there are                  from MY 2023 through 2026 to align                    improvement of legacy ICE technologies
                                             processes in place to address any                       with the EPA GHG program. Coinciding                  that are less efficient than electrified
                                             component failures that may impact                      with the increased menu cap, NHTSA                    powertrains. Additionally, these
                                             safety.                                                 proposed adopting revised definitions                 organizations state that increasing the
                                                Lucid commented stating that it                      for certain off-cycle menu technologies               menu credit cap adds additional
                                             supports NHTSA’s proposal to rescind                    in order to better capture real-world                 compliance flexibilities with
                                             credits for off-cycle technologies that are             GHG emission improvements of specific                 questionable improvements to real
                                             found to be defective or otherwise                      menu technologies.                                    world efficiency.
                                             impair vehicle safety, as is NHTSA’s                       Due to the uncertainties associated
                                                                                                                                                              NHTSA appreciates the feedback from
                                             practice in the heavy-duty context. This                with combining menu technologies and
                                                                                                                                                           the manufacturers and industry
                                             proposal recognizes and puts into                       the fact that some uncertainty is
                                                                                                                                                           stakeholders. NHTSA disagrees that the
                                             practice NHTSA’s mission of preserving                  introduced because off-cycle credits are
                                                                                                                                                           off-cycle program provides an
                                             vehicle safety and ensures that                         provided based on a general assessment
                                                                                                                                                           asymmetrical benefit to internal
                                             manufacturers are not unduly rewarded                   of off-cycle performance, as opposed to
                                                                                                                                                           combustion manufacturers. Off-cycle
                                             for innovations that ultimately make                    testing on the individual vehicle
                                                                                                                                                           credits are designed to reward real-
                                             their vehicles less safe.                               models, NHTSA and EPA established
                                                In response to Auto Innovators’ and                                                                        world emissions reductions missed
                                                                                                     caps that limit the amount of credits a
                                             NADA’s concerns, we note that the new                                                                         through 2-cycle testing and the agency
                                                                                                     manufacturer may generate using the
                                             requirement does not change the                         off-cycle menu list. Historically EPA                 has a duty to honor the most accurate
                                             certification process or awarding of OC                 and NHTSA have capped off-cycle                       fuel economy performances from each
                                             credits. As noted in the proposal, this                 menu technologies at 10 grams/mile per                manufacturer in order to issue final
                                             new provision would only take effect                    year on a combined car and truck fleet-               compliance to Federal fuel economy
                                             after a safety defect was discovered. We                wide average basis. In its most recent                standards. We believe that off-cycle is a
                                             also note that OC technologies are                      rulemaking for MYs 2023–2026 GHG                      viable route to achieving fuel economy
                                             intended to improve fuel economy, and                   standards, EPA finalized the increase in              improvements, and if there are any
                                             that awarding defective technology that                 the off-cycle menu cap from 10 grams                  incongruities between awarded credits
                                             does not improve off-cycle fuel                         CO2/mile to 15 grams CO2/mile                         and technology efficacy, then the
                                             efficiency undermines the program.                      beginning with MY 2023. EPA also                      solution should be to address the source
                                             NHTSA experience with its heavy-duty                    revised the definitions for passive cabin             of the discrepancy rather than scrapping
                                             program has proven that manufacturers                   ventilation and active engine and                     the program.
                                             can comply with these provisions.                       transmission warm-up beginning in MY                     NHTSA acknowledges that certain
                                             Addressing safety is just as critical to                2023, as discussed in the next following              credits and flexibilities may be more
                                             manufacturers as it is to NHTSA and all                 sections. EPA did not retroactively                   beneficial to certain technologies but
                                             manufacturers had fail-safe designs                     adopt these provisions for MY 2020–                   does not believe that this warrants the
                                             which they identified with their heavy-                 2022 as originally proposed in their                  elimination of the off-cycle program at
                                             duty application requests. We plan to                   GHG NPRM. NHTSA is aligning with                      this time. NHTSA further notes that
                                             use our existing enforcement processes                  the EPA GHG program and adopting the                  commenters who asked the agency to
                                             administered by the Office of Defects                   same provision to increase the off-cycle              lower or eliminate off-cycle credits
                                             Investigations and the Office of Vehicle                menu technology cap to 15 g/mile and                  because it ‘favored’ ICE simultaneously
                                             Safety Compliance to identify                           adopting the new definitions of active                supported providing more incentives for
                                             potentially or existing safety concerns                 transmission warm-up and passive                      electric pathways. The objective of
                                             with fuel efficiency technologies. For                  cabin ventilation for MYs 2023–2026.                  CAFE is to reduce the Nation’s
                                             example, NHTSA will search through                      Credits established under the 5-cycle                 dependency on oil, not to promote a
                                             vehicle owner complaints,                               and petitioning pathways do not count                 particular technology pathway.
                                             manufacturer’s warranty claims,                         against the menu cap.                                 Manufacturers are free to set their
                                             internet information and part 573 recalls                  The agency received comments in                    compliance pathways and can chose to
                                             submitted by manufacturers for safety                   support and opposition to the increase                invest in technologies other than off-
                                             related problems involving incentivized                 of the menu credit cap to 15g/mile.
                                                                                                                                                              1246 Toyota, NHTSA–2021–0053–1568, at page 20;
                                             fuel efficiency technologies. Should a                  Some manufacturers and suppliers
                                                                                                                                                           Nissan, NHTSA–2021–0053–0022–A1 at page 7;
                                             recall result or exist, it will be necessary            supported the increase, while others
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                                                                                                                                                           Stellantis, NHTSA–2021–0053–1527, at page 32;
                                             for the manufacturer to remedying all                   expressed opposition. Toyota, Nissan,                 ITB Group, at NHTSA–2021–0053–0019–A1, at
                                             the defective or non-compliant                          Stellantis, the ITB Group, Auto                       page 7; Auto Innovators, NHTSA–2021–0053–1492,
                                             equipment in order to maintain its fuel                 Innovators, MECA, and Borg Warner all                 at page 124.; MECA, NHTSA–2021–0053–1113 at
                                                                                                                                                           page 3; BorgWarner, at page 2.
                                             efficiency credits for an off-cycle                     agreed with the agency’s direction to                    1247 ACEEE, NHTSA–2021–0053–0074, at page 6.;
                                             technology regardless of whether the                    increase the cap, stating the credit cap              Tesla, NHTSA–2021–0053–1480–A1, at page 10;
                                             safety problem has a direct bearing on                  should continue to increase as new                    Lucid, NHTSA–2021–0052–1584 at page 6.



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                                             cycle technologies. ICE vehicles sold                   ambient air to enter the cabin. The                      In response to the agency’s proposal
                                             during the years covered by this final                  modifications that NREL performed on                  to redefine passive cabin ventilation off-
                                             rule will remain on the road for decades                the vehicle reduced the flow restrictions             cycle menu technology, industry stake
                                             to come and creating an incentive to                    for both heated cabin air to exit the                 holders provided feedback in support
                                             have manufacturers making those                         vehicle and cooler ambient air to enter               and opposition to the proposed change.
                                             vehicles more fuel efficient is beneficial              the vehicle, creating a convective                    The ITB Group and the Union of
                                             to consumers—including those who                        airflow path through the vehicle cabin.               Concerned Scientists both wrote in
                                             may purchase the vehicle a decade or                       As noted in the Joint TSD for the 2012             support of the change to the Passive
                                             later after the vehicle was                             final rule:                                           Cabin Ventilation definition, stating that
                                             manufactured—and reduces the                              For passive ventilation technologies, such
                                                                                                                                                           menu definitions should be supported
                                             Nation’s carbon emissions.                              as opening of windows and/or sunroofs and             by representative data.1251 Stellantis,
                                                For the final rule, NHTSA is adopting                use of floor vents to supply fresh air to the         Nissan, Auto Innovators, and JLR all
                                             provisions that align with the EPA’s                    cabin (which enhances convective airflow),            argued against the agency’s plan to
                                             program in terms of increasing the off-                 (1.7 g/mile for light-duty vehicles and 2.3 g/        change the passive cabin ventilation
                                             cycle menu cap to 15 g/mile in MY 2023                  mile for light-duty trucks) a cabin air               definition stating that the timing of this
                                             and extending through MY 2026. Off-                     temperature reduction of 5.7 °C can be                definition change would prevent
                                             cycle technologies are often more cost                  realized.1250                                         manufacturers from gaining credits for
                                             effective than other available                             The passive cabin ventilation credit               technology already installed on
                                             technologies that reduce vehicle GHG                    values were based on achieving the                    vehicles.1252 Auto Innovators, Stellantis,
                                             emissions over the 2-cycle tests and                    5.7 °C cabin temperature reduction.                   Nissan, and Toyota all stated the lead-
                                             manufacturers use of the program                           Some manufacturers have claimed the                time for the adoption of the new passive
                                             continues to grow. Off-cycle credits                    passive cabin ventilation credits based               cabin ventilation was a concern.1253
                                             reduce program costs and provide                        on the addition of software logic to their            Commenters stated that to effectively
                                             additional flexibility in terms of                      HVAC system that sets the interior                    meet the new definition, vehicles would
                                             technology choices to manufacturers                     climate control outside air/recirculation             need to be redesigned which would take
                                             which has resulted in many                              vent to the open position when the                    years to implement, thus offsetting
                                             manufacturers using the program.                        power to vehicle is turned off at higher              manufacturers’ compliance strategies for
                                             Multiple manufacturers were at or                       ambient temperatures. The                             several years to come. Several
                                             approaching the 10 g/mile credit cap in                 manufacturers have claimed that the                   commenters, including JLR, stated that
                                             MY 2019.1248 Also, in the SAFE rule,                    opening of the vent allows for the flow               the agency should consider some off-
                                             EPA added menu credits for high                         of ambient temperature air into the                   cycle credit for those vehicles that meet
                                             efficiency alternators but did not                                                                            the passive cabin ventilation as
                                                                                                     cabin. While opening the vent may
                                             increase the credit cap for the reasons                                                                       previously written, since technologies
                                                                                                     ensure that the interior of the vehicle is
                                             noted above.1249 While adding the                                                                             already installed on vehicles provide
                                                                                                     open for flow into the cabin, no other
                                             technology to the menu has the                                                                                some level of real-world fuel efficiency
                                                                                                     action is taken to improve the flow of
                                             potential to reduce the burden                                                                                benefits and should be considered for
                                                                                                     heated air out of the vehicle. This
                                             associated with the credits for both                                                                          menu credit. The ITB Group identified
                                                                                                     technology relies on the pressure in the
                                             manufacturers and the agencies, it                                                                            a risk in adopting a new technology
                                                                                                     cabin to reach a sufficient level for the
                                             further exacerbates the credit cap issue                                                                      definition, as some manufacturers may
                                                                                                     heated air in the interior to flow out
                                             for some manufacturers. Increasing the                                                                        decide to remove passive cabin
                                                                                                     through body leaks or the body
                                             cap provides an additional optional                                                                           ventilation technologies currently
                                             flexibility and also an opportunity for                 exhausters to open and vent heated air
                                                                                                                                                           applied to fleets; technologies that
                                             manufacturers to earn more menu                         out of the cabin.
                                                                                                                                                           provide some real-world benefits but do
                                             credits by applying additional menu                        Analytical studies performed by
                                                                                                                                                           not meet the new technology definition,
                                             technologies that will improve fuel                     manufacturers evaluating the
                                                                                                                                                           thus increasing fleet emissions.
                                             efficiency.                                             performance of the open dash vent                        The agency appreciates the comments
                                                                                                     demonstrate that while the dash vent                  provided by industry stakeholders and
                                             (iv) Definitions                                        may allow for additional airflow of                   understands the strain this definition
                                             (a) Passive Cabin Ventilation                           ambient temperature air entering the                  change will put on manufacturers who
                                                                                                     cabin, it does not reduce the existing                currently do not meet the standards of
                                                In the NPRM, the agency proposed a                   restrictions on heated cabin air exiting
                                             revision to the passive cabin ventilation                                                                     the new definition. NHTSA disagrees
                                                                                                     the vehicle, particularly in the target               with comments that the agency should
                                             definition to make it consistent with the
                                                                                                     areas of the occupant’s upper torso. That             continue to allow the use of the
                                             technology used to generate the credit
                                                                                                     hotter air generally must escape through              unrevised definitions and menu credits
                                             value. The credits for passive cabin
                                                                                                     restrictive (by design to prevent water               for several model years into the future.
                                             ventilation were originally determined
                                                                                                     and exhaust fumes from entering the                   Allowing manufacturers to claim fuel
                                             based on an NREL study that
                                                                                                     cabin) body leaks and occasional                      economy off cycle credit for a
                                             strategically opened a sunroof where hot
                                                                                                     venting of the heated cabin air through               technology that does not produce real-
                                             air collects to allow for the unrestricted
                                                                                                     the body exhausters. While this may                   world benefits at the level prescribed in
                                             flow of heated air to exit the interior of
                                                                                                     provide some minimal reduction in                     the menu of off-cycle technologies
                                             the vehicle while combined with
                                                                                                     cabin temperatures, this open dash vent               effectively reduces the stringency of the
                                             additional floor openings to provide a
                                             minimally restricted entry for cooler                   technology is not as effective as the                 standard and inequitably benefits those
                                                                                                     combination of vents used by the NREL
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                                               1248 In MY 2019, Ford, FCA, and JLR reached the       researchers to allow additional ambient                  1251 ITB Group, at NHTSA–2021–0053–0019–A1,

                                             10 g/mile cap and three other manufacturers were        temperature air to enter the cabin and                at p. 3; UCS, NHTSA–2021–0053–1567, at p. 14.
                                                                                                                                                              1252 Stellantis, NHTSA–2021–0053–1527, at p. 32;
                                             within 3 g/mile of the cap. See ‘‘The 2020 EPA          also to reduce the restriction of heated
                                             Automotive Trends Report, Greenhouse Gas                                                                      Nissan, NHTSA–2021–0053–0022–A1, at p. 8; Auto
                                             Emissions, Fuel Economy, and Technology since
                                                                                                     air exiting the cabin.                                Innovators, NHTSA–2021–0053–1492, at p. 59; JLR,
                                             1975,’’ EPA–420–R–21–003 January 2021.                                                                        NHTSA–2021–0053–1505, at pp. 7–8.
                                               1249 85 FR 25236 (Apr. 30, 2020).                       1250 2012 TSD at 584.                                  1253 Toyota, NHTSA–2021–0053–1568, at p. 22.




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                                             manufacturers who apply technology                      atmosphere. In the 2012 final rule,1255               engine and transmission components
                                             that does not meet the intent of the rule.              the agency revised the definitions for                are warming up, the engine coolant and
                                             For example, when establishing the                      active engine and transmission warm-up                transmission oil typically do not have
                                             passive cabin ventilation credit, EPA                   by replacing exhaust waste heat with                  any ‘‘waste’’ heat available for warming
                                             envisioned air flow consistent with                     the waste heat from the vehicle. The                  up anything else on the vehicle since
                                             windows and/or sunroof being open for                   agencies concluded that other methods,                they are both absorbing any heat from
                                             a period of time to allow hot air to                    in addition to waste heat from the                    combustion cylinder walls or from
                                             escape the cabin through convective air                 exhaust, that could provide similar                   friction between moving parts in order
                                             flow. Under the original definitions,                   performance—such as coolant loops or                  to achieve normal operating
                                             manufacturers are generating a sizeable                 direct heating elements—may prove to                  temperatures. During engine and
                                             credit for simply opening the interior                  be a more effective alternative to direct             transmission warm-up, the only waste
                                             vents when the vehicle is keyed off.                    exhaust heat. Therefore, the agencies                 heat source in a vehicle with an internal
                                             With respect to the comments received                   expanded the definition in the 2012                   combustion engine is the engine
                                             on the application timing of this                       final rule.                                           exhaust, as the transmission and coolant
                                             definition, the agency has provided                        All agency analysis regarding active               have not reached warmed-up operating
                                             more than the statutorily mandated                      engine and transmission warm-up                       temperature and therefore do not have
                                             minimum of 18 months lead time. The                     through the 2012 final rule was                       any heat to share.1258
                                             agency believes that 18 months is                       performed assuming the waste heat                        In the NPRM, NHTSA proposed
                                             sufficient lead time for manufacturers to               utilized for these technologies would be              revising the menu definition to align
                                             reconfigure their compliance plans.                     obtained directly from the exhaust prior              with the EPA definition of active engine
                                                NHTSA is finalizing revisions to the                 to being released into the atmosphere                 and transmission warm-up to no longer
                                             passive cabin ventilation definition with               and not from any engine-coolant-related               allow systems that capture heat from the
                                             clarifying edits to make it consistent                  loops. At this time, many of the systems              coolant circulating in the engine block
                                             with the technology used to generate the                in use are engine-coolant-loop-based                  to qualify for the Active Engine and
                                             credit value. The agency continues to                   and are taking heat from the coolant to               Active Transmission warm-up menu
                                             allow for innovation as the definition                  warm-up the engine oil and                            credits.
                                             includes demonstrating equivalence to                   transmission fluid.                                      In response to the NPRM, NHTSA
                                                                                                        We provided additional clarification               received comments with respect to the
                                             the methods described in the Joint TSD.
                                                                                                     on the use of waste heat from the engine              proposed new definition. The Union of
                                             As proposed, NHTSA is revising the
                                                                                                     coolant in preamble to SAFE rule.1256                 Concerned Scientists commented in
                                             definition of passive cabin ventilation to
                                                                                                     We focused on systems using heat from                 support of updating the definition,
                                             include only methods that create and
                                                                                                     the exhaust as a primary source of waste              stating the technologies,1259 as currently
                                             maintain convective airflow through the
                                                                                                     heat because that heat would be                       defined, allow manufacturers to claim
                                             body’s cabin by opening windows or a
                                                                                                     available quickly and also would be                   undue credit for technologies that
                                             sunroof, or equivalent means of creating
                                                                                                     exhausted by the vehicle and otherwise                produce real-world fuel efficiency
                                             and maintaining convective airflow,
                                                                                                     unused.1257 Heat from the engine                      benefits less than the menu credit
                                             when the vehicle is parked outside in
                                                                                                     coolant already may be used by design                 amount. Auto Innovators, Nissan,
                                             direct sunlight. Current systems
                                                                                                     to warm up the internal engine oil and                Stellantis, and JLR wrote in opposition
                                             claiming the passive ventilation credit
                                                                                                     components. That heat is traditionally                to the proposed definition change,
                                             by opening the dash vent do not meet
                                                                                                     not considered ‘‘waste heat’’ until the               stating the lead time as one of the
                                             the updated definition. Manufacturers
                                                                                                     engine reaches normal operating                       reasons to not adopt the change.1260
                                             seeking to claim credits for the open
                                                                                                     temperature and subsequently requires                 Commentors stated that this change
                                             dash vent system will be eligible to
                                                                                                     it to be cooled in the radiator or other              leaves less than 1 year to implement a
                                             petition the agency for credits for this
                                                                                                     heat exchanger.                                       design change to satisfy the new
                                             technology using the alternative EPA                       We allowed for the possible use of
                                             approved method outlined in 40 CFR                                                                            definition which is not reasonable. The
                                                                                                     other sources of heat such as engine                  ITB Group commented that the new
                                             86.1869–12(d).                                          coolant circuits, as the basis for the                definition should not be limited to only
                                             (b) Active Engine and Transmission                      credits as long as those methods would                exhaust waste heat but include any
                                             Warmup                                                  ‘‘provide similar performance’’ as                    technology that can rapidly warm an
                                                                                                     extracting the heat directly from the                 engine, including a zero-coolant flow
                                                As proposed in 2021 NPRM, NHTSA                      exhaust system and would not
                                             is revising the menu credit definition of                                                                     program to result in rapid warm-up.1261
                                                                                                     compromise how the engine systems                     Nissan stated that redefining the menu
                                             active engine and transmission warmup                   would heat up normally absent the
                                             to no longer allow systems that capture                                                                       technology will increase the number of
                                                                                                     added heat source. However, the SAFE                  alternative methodology off-cycle
                                             heat from the coolant circulating in the                rule also allowed us to require
                                             engine block prior to the opening of the                                                                      requests for lesser amounts of fuel
                                                                                                     manufacturers to demonstrate that the                 economy credit. Nissan, JLR, the ITB
                                             thermostat to qualify for the Active                    system is based on ‘‘waste heat’’ or heat
                                             Engine and Active Transmission warm-                                                                          Group, The Alliance, Stellantis, and
                                                                                                     that is not being preferentially used by              Toyota 1262 recommended the agency
                                             up menu credits.                                        the engine or other systems to warm up
                                                In the NPRM for the 2012 final                                                                             honor some lesser fuel economy credit
                                                                                                     other areas like engine oil or the interior
                                             rule,1254 EPA proposed capturing waste                  cabin. Systems using waste heat from                    1258 85 FR 25240 (Apr. 30, 2020).
                                             heat from the exhaust and using that                    the coolant do not qualify for credits if               1259 UCS, NHTSA–2021–0053–1567, at p. 14.
                                             heat to actively warm up targeted parts
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                                                                                                     their operation depends on, and is                       1260 Auto Innovators, NHTSA–2021–0053–1492,
                                             of the engine and the transmission fluid.               delayed by, engine oil temperature or                 at p. 59.; Nissan, NHTSA–2021–0053–0022–A1, at
                                             The exhaust waste heat from an internal                 interior cabin temperature. As the
                                                                                                                                                           p. 8; Stellantis, NHTSA–2021–0053–1527, at p. 32;
                                             combustion engine is heat that is not                                                                         JLR, NHTSA–2021–0053–1505, at pp. 7–8.
                                                                                                                                                              1261 ITB Group, at NHTSA–2021–0053–0019–A1,
                                             being used as it is exhausted to the                      1255 77 FR 62624 (Oct. 15, 2012).
                                                                                                                                                           at p. 3.
                                                                                                       1256 85 FR 24174 (Apr. 30, 2020).                      1262 Nissan; JLR; ITB Group; Auto Innovators;
                                               1254 See 2011 NPRM, 76 FR 74854 (Dec. 1, 2011).         1257 85 FR 25240 (Apr. 30, 2020).                   Stellantis; Toyota.



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                                             amount for technologies that meet the                   that these technologies will be less                     Vehicles are designated as either
                                             current definition.1263 Toyota                          effective than those that capture and                 passenger automobiles or non-passenger
                                             recognized the agency’s rationale for                   utilize exhaust waste heat.                           automobiles. Vehicles ‘‘capable of off-
                                             updating the technology definitions but                                                                       highway operation’’ are, by statute, non-
                                                                                                     (4) Other Credits Suggested by
                                             requested that an application date for                                                                        passenger automobiles.1265 Determining
                                                                                                     Commenters
                                             new definitions be delayed until the                                                                          ‘‘off-highway operation’’ was left to
                                             2025 MY in order to implement new                          Securing America’s Future Energy                   NHTSA, and currently is a two-part
                                             vehicle designs.                                        provided comments stating that it                     inquiry: first, does the vehicle either
                                                NHTSA appreciates the feedback from                  believes that connected and automated                 have 4-wheel drive or over 6,000
                                             the industry and stake holders. NHTSA                   vehicles (CAVs) have tremendous                       pounds gross vehicle weight rating
                                             disagrees with extending the definition                 potential to increase efficiencies and                (GVWR), and second, does the vehicle
                                             to include technologies that do not rely                save fuel.1264 Securing America’s Future              have a significant feature designed for
                                             on waste exhaust heat; the lack of                      Energy encouraged NHTSA and EPA to                    off-highway operation.1266 NHTSA’s
                                             specific text requiring exhaust heat                    update the approach to off-cycle credits,             regulation on vehicle classification
                                             recovery resulted in many                               while considering several potential                   contain requirements for vehicles to be
                                             manufacturers utilizing extended                        improvements tailored to accommodate                  classified as light trucks either on the
                                             coolant pathways which did not result                   truly innovative technologies. Securing               basis of off-highway capability or on the
                                             in real-world benefits commensurate                     America’s Future Energy commented                     basis of having ‘‘truck-like
                                             with the intent of the technology or                    most of savings of these CAVs are                     characteristics.’’ 1267 Over time, NHTSA
                                             menu credits, real-world benefits which                 additive with other efficiency                        has refined the light truck vehicle
                                             are lesser than recovering exhaust heat.                technologies and, together identify the               classification by revising its regulations
                                                As proposed in the NPRM, NHTSA is                    potential to reduce fuel consumption by               and issuing legal interpretations.
                                             revising the menu definition to align                   18 to 25 percent if deployed throughout               However, based on the increase in
                                             with the EPA definition of active engine                the fleet, according to its 2018 research             crossover SUVs and advancements in
                                             and transmission warm-up to no longer                   report, ‘‘Using Fuel Efficiency                       vehicle design trends, NHTSA became
                                             allow systems that capture heat from the                                                                      aware of vehicle designs that complicate
                                                                                                     Regulations to Conserve Fuel and Save
                                             coolant circulating in the engine block                                                                       classification determinations for the
                                                                                                     Lives by Accelerating Industry
                                             to qualify for the Active Engine and                                                                          CAFE program. Throughout the past
                                                                                                     Investment in Autonomous and
                                             Active Transmission warm-up menu                                                                              decade, NHTSA identified these
                                                                                                     Connected Vehicles.’’ In general,
                                             credits. NHTSA will allow credit for                                                                          changes in compliance testing, data
                                                                                                     Securing America’s Future Energy
                                             coolant systems that capture heat from                                                                        analysis, and has discussed the trend in
                                                                                                     believes that CAVs can improve
                                             a liquid-cooled exhaust manifold if the                                                                       rulemakings, publications, and with
                                                                                                     efficiency by lowering the amount of
                                             system is segregated from the coolant                                                                         stakeholders.
                                                                                                     accidents, lowering congestion, and
                                             loop in the engine block until the engine                                                                        In the SAFE 1 and SAFE 2 rules,
                                                                                                     allowing for smarter navigation,
                                             has reached fully warmed-up operation.                                                                        NHTSA stated it continues to believe
                                             The agency will also allow system                       amongst other benefits.
                                                                                                                                                           that an objective procedure for
                                             design that captures and routes waste                      In response to Securing America’s                  classifying vehicles is paramount to the
                                             heat from the exhaust to the engine or                  Future Energy’s suggestion, NHTSA                     agency’s continued oversight of the
                                             transmission, as this was the basis for                 reiterates as mentioned in the 2012 final             CAFE program. When there is
                                             these two credits as originally proposed                rule that our policy is to consider any               uncertainty as to how vehicles should
                                             in the proposal for the 2012 rule. The                  fuel efficiency benefits for autonomous               be classified, inconsistency in
                                             approach NHTSA and EPA have                             vehicles and advanced driver assistance               determining manufacturers’ compliance
                                             finalized will help ensure that the level               systems (ADAS) as part of the regulatory              obligations can result, which is
                                             of menu credits is consistent with the                  process for its safety programs. At                   detrimental to the predictability and
                                             technology design envisioned by the                     present, a number of these technologies               fairness of the program. In the 2020 final
                                             agencies when it established the credit                 are included in several Congressional                 rule, NHTSA attempted to resolve
                                             in the 2012 rule. This revision to the                  bills that may mandate the adoption of                several classification issues and
                                             technology definition will apply starting               new safety requirements or regulations                committed to continuing research to
                                             in MY 2023.                                             in these areas. NHTSA will consider                   resolve others. NHTSA notified the
                                                Manufacturers seeking to utilize their               how to address the fuel efficiency                    public of its plans to develop a
                                             existing systems that capture coolant                   benefits of these technologies as a part              compliance test procedure for verifying
                                             heat before the engine is fully warmed-                 of its subsequent Congressional                       manufacturers’ submitted classification
                                             up and transfer this heat to the engine                 rulemakings.                                          data. An objective standard would help
                                             oil and transmission fluid would remain                                                                       avoid manufacturers having to reclassify
                                                                                                     B. Vehicle Classification and
                                             eligible to seek credits through the                                                                          their vehicles, improve consistency and
                                                                                                     Compliance Validation Testing
                                             alternative method application process                                                                        fairness across the industry, and
                                             outlined in 40 CFR 86.1869–12(d). We                      Vehicle classification, for purposes of             introduce areas within the criteria
                                             expect that these technologies may                      the light-duty CAFE program, refers to                where uncertainties existed, and
                                             provide some benefit, though not the                    whether an automobile qualifies as a                  research could be conducted in the near
                                             level of credits included in the menu.                  passenger automobile (car) or a non-                  future to resolve.
                                             But, as noted above, since these system                 passenger automobile (light truck).                      In 2021 NPRM rulemaking,1268
                                             designs remove heat that is needed to                   Passenger cars and light trucks are                   NHTSA provided additional
                                             warm-up the engine the agency expects
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                                                                                                     subject to different fuel economy                     classification, guidance and sought
                                                                                                     standards as required by EPCA/EISA                    comments on several unknown aspects
                                                1263 Nissan, NHTSA–2021–0053–0022–A1, at p.
                                                                                                     and consistent with their different
                                             8; JLR, NHTSA–2021–0053–1505, at pp. 7–8; ITB           capabilities.                                           1265 49 U.S.C. 32901(a)(18).
                                             Group, at NHTSA–2021–0053–0019–A1, at p. 3;
                                                                                                                                                             1266 49 CFR 523.5(b).
                                             Auto Innovators; Stellantis, NHTSA–2021–0053–
                                                                                                                                                             1267 49 CFR 523.5(a).
                                             1527, at p. 32; Toyota, NHTSA–2021–0053–1568, at          1264 Securing America’s Future Energy, NHTSA–

                                             p. 22.                                                  2021–0053–1513, at pp. 12–17.                           1268 86 FR 49602 (Sept. 3, 2021).




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                                             needed to develop its compliance test                   met with manufacturers to reinforce the               setting for vehicles with adjustable
                                             procedure. In this final rule, NHTSA is                 use of production measurements and to                 suspensions.
                                             adding additional clarifications for                    reduce reporting burdens to NHTSA.                       In response to the NPRM, NHTSA
                                             testing production measurements for                     For example, NHTSA clarified that                     received several comments about
                                             vehicles with adjustable suspensions                    manufacturers should only report                      defining the mode most commonly used
                                             and clarifying its intent to collect                    classification information for those                  for any adjustable suspensions and, for
                                             information from manufacturers for                      physical measurements used for                        the test procedure, whether it is more
                                             defining current axle and running                       qualification and can omit other                      appropriate to allow manufacturers to
                                             clearance dimensions for light trucks.                  measurements.                                         define the mode setting for vehicles
                                             NHTSA is also clarifying a safety                          In the previous rulemaking, NHTSA                  with adjustable suspensions. Comments
                                             concern with its definition for                         also identified that certain vehicle                  were received from Auto Innovators,1270
                                             classifying MPVs in 49 CFR 571.3 and                    designs incorporated rigid (i.e.,                     Stellantis,1271 JLR,1272 and Ford.1273 In
                                             its long-term plans to use requirements                 inflexible) air dams, valance panels,                 general, comments stated that
                                             in its CAFE program to address the                      exhaust pipes, and other components,                  manufacturers believe they should be
                                             problem. In addition, NHTSA plans to                    equipped as manufacturers’ standard or                able to define the setting for vehicles
                                             release its draft test procedure later this             optional equipment (e.g., running                     with adjustable suspension based on the
                                             year based upon the requirements                        boards and towing hitches), that likely               manufacturer recommended setting for
                                             finalized in this document. We note that                violate a vehicles 20-centimeter running              off-road use.
                                             we are not changing our current                         clearance. Despite these rigid features,                 For example, Auto Innovators
                                             regulations on vehicle classification in                some manufacturers were not taking                    provided detailed comments explaining
                                             this final rule.                                        these components into consideration                   how that they believe manufacturers
                                                                                                     when making classification decisions.                 should be able to define the setting for
                                             1. Clarifications for Classifications                   Additionally, other manufacturers                     vehicles with adjustable suspension
                                             Based Upon ‘‘Off-Road Capability’’                      provided dimensions for their base                    based on the manufacturer
                                                For a vehicle to qualify as off-highway              vehicles without considering optional or              recommended setting for off-road
                                             (off-road) capable, in addition to either               various trim level components that may                use.1274 However, they also found
                                             having 4WD or a GVWR more than                          reduce the vehicle’s ground clearance.                through subsequent research and
                                             6,000 pounds. The vehicle must have                     Consistent with our approach to other                 submitted to NHTSA that the most
                                             four out of five characteristics indicative             measurements, NHTSA clarifies that                    commonly used mode is not necessarily
                                             of off-highway operation. These                         ground clearance, as well as all the                  suited to off-road use given the
                                             characteristics are:                                    other off-highway criteria for a light                relatively low frequency of such use.
                                             • An approach angle of not less than 28                 truck determination, should use the                   Auto Innovators stated that given the
                                                degrees                                              measurements from vehicles with all                   multitude of settings that a modern
                                             • A breakover angle of not less than 14                 standard and optional equipment                       vehicle has, it should generally be the
                                                degrees                                              installed, at the time vehicles are                   selection that provides the greatest
                                             • A departure angle of not less than 20                 shipped to dealerships. These views                   ground clearance. Such settings are
                                                degrees                                              were shared by manufacturers in                       design features intended to further
                                             • A running clearance of not less than                  response to the previous CAFE                         enable off-road operation. For vehicles
                                                20 centimeters                                       rulemaking.                                           with driver-selectable suspension
                                             • Front and rear axle clearances of not                    The agency reiterates that the                     settings, Auto Innovators recommends
                                                less than 18 centimeters each.                       characteristics listed in 49 CFR                      that the classification of off-road
                                                                                                     523.5(b)(2) are characteristics indicative            capabilities be determined on the
                                             (a) Production Measurements
                                                                                                     of off-highway capability. A fixed                    dimensional characteristics using the
                                                NHTSA’s regulations require                          feature—such as an air dam that does                  highest ride height setting
                                             manufacturers to measure vehicle                        not flex and return to its original state             recommended for off-road use.
                                             characteristics when a vehicle is at its                or an exhaust that could detach—                         JLR agrees with Auto Innovators that
                                             curb weight, on a level surface, with the               inherently interferes with the off-                   an off-road mode, if available, should be
                                             front wheels parallel to the automobile’s               highway capability of these vehicles. If              used assessing the vehicle compliance
                                             longitudinal centerline, and the tires                  manufacturers seek to classify vehicles               to the off-road requirements.1275
                                             inflated to the manufacturer’s                          as light trucks under 49 CFR 523.5(b)(2)              Further, if more than one off-road mode
                                             recommended cold inflation                              and the vehicles have a production                    is available, the mode that achieves the
                                             pressure.1269 NHTSA clarified in the                    feature that does not meet the four                   highest ride height as this would be
                                             2020 final rule that 49 CFR part 537                    remaining characteristics to demonstrate              optimized for rock-crawling where the
                                             requires manufacturers to classify                      off-highway capability, they must be                  greatest ground clearance is needed. JLR
                                             vehicles for CAFE based upon their                      classified as passenger cars. NHTSA                   believes that manufacturers should
                                             physical production characteristics. The                also clarifies that vehicles that have                always define the mode used for
                                             agency verifies reported values by                      adjustable ride height, such as air                   determination of classification because
                                             measuring production vehicles.                          suspension, and permit variable on-road               one mode will be most suited to off-road
                                             Manufacturers must also use physical                    or off-road running clearances should be              use, and this would be highlighted to
                                             vehicle measurements as the basis for                   classified based upon the mode most                   the owner. JLR states the most
                                             values reported to the agency for                       commonly used or the off-road mode for
                                             purposes of vehicle classification. It                  those with this feature. NHTSA sought                    1270 Auto Innovators, NHTSA–2021–0053–1492,

                                             may be possible for certain vehicles                    comments in the NPRM on how to                        at page 66.
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                                                                                                                                                              1271 Stellantis, NHTSA–2021–0053–1527, at page
                                             within a model type to qualify as light                 define the mode most commonly used
                                                                                                                                                           29
                                             trucks while others would not because                   for any adjustable suspensions. NHTSA                    1272 JLR, NHTSA–2021–0053–1505–A, at p. 5.
                                             of their production differences. Since                  also asked, in developing its planned                    1273 Ford, NHTSA–2021–0053–1545–A1, at p. 2.
                                             issuing the 2020 final rule, NHTSA has                  test procedure expected later in MY                      1274 Auto Innovators, NHTSA–2021–0053–1492,
                                                                                                     2022, would it be more appropriate to                 at page 66.
                                               1269 49 CFR 523.5(b)(2).                              allow manufacturers to define the mode                   1275 JLR, NHTSA–2021–0053–1505–A1, at p. 5.




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                                             commonly used mode will not likely be                   proliferation of SUVs and crossovers—                 plant, equipment, and vehicle
                                             the one to use for off-road, as most                    the majority of which will never be used              manufacturing processes. These
                                             vehicles will be predominantly used on-                 for off-road purposes—we believe that                 variances mainly result from stack
                                             road. It would be inappropriate to use                  we will need to reevaluate what features              tolerances produced from a combination
                                             a mode not intended for off-road use,                   are indicative of off-road purposes in                of manufacturing and production
                                             simply because it was used most often.                  the near future. Upon completion of                   tolerances which are not fully
                                             Stellantis agrees with Auto Innovators                  NHTSA’s CAFE vehicle classification                   accounted for in CAD drawings. Thus,
                                             and JLR in relation to the suggestion                   testing program, the agency will send its             CAD would not be a valid tool for
                                             that for the test procedure, it would be                annual compliance questions to                        representing vehicle production
                                             more appropriate to allow                               manufacturers as a part of its normal                 dimensions. However, NHTSA will
                                             manufacturers to define the mode                        compliance questionnaires to collect                  continue to discuss the errors that may
                                             setting for vehicles with adjustable                    more information on all AWD/4WD                       exist in using CAD for classifying
                                             suspensions.                                            vehicles with adjustable suspensions                  vehicles with manufacturers for
                                                Ford supported NHTSA’s proposal to                   and to identify the available adjustable              consideration in future rulemakings.
                                             conduct audits of vehicle measurements                  ride height settings of these vehicles.
                                             and vehicle classification.1276 They state                                                                    (b) Testing for Approach, Breakover,
                                                                                                     Furthermore, any vehicle tested will be               and Departure Angles
                                             it is critical that vehicles are properly               required to specify all available off-road
                                             categorized to maintain the integrity of                features as discussed above as                           Approach angle, breakover angle, and
                                             the CAFE program and to ensure a level                  information in response to NHTSA’s                    departure angle are relevant to
                                             playing field for all automobile                        testing specification request forms.1277              determine off-highway capability. Large
                                             manufacturers. Ford supports convening                     The agency wants to remind                         approach and departure angles ensure
                                             a group of expert stakeholders,                         manufacturers that a vehicle’s CAFE                   the front and rear bumpers and valance
                                             including NHTSA and automobile                          classification is not dispositive of a                panels have sufficient clearance for
                                             manufacturers, to develop vehicle                       vehicle’s classification for our safety               obstacle avoidance while driving off-
                                             measurement processes and procedures                    regulations. Vehicles classified as non-              road. The breakover angle ensures
                                             in a future rulemaking. Ford                            automobiles for CAFE may be                           sufficient body clearance from rocks and
                                             recommended that manufacturers have                     considered passenger cars for our safety              other objects located between the front
                                             the option to use Computer Aided                        regulations.                                          and rear wheels while traversing rough
                                             Design (CAD) data for dimensional                          Furthermore, consistent with our                   terrain. Both the approach and
                                             reporting. They stated the use of CAD                   approach to other measurements,                       departure angles are derived from a line
                                             data supports the timing and logistical                 NHTSA is reaffirming for its final rule               tangent to the front (or rear) tire static
                                             requirements and allows all buildable                   that manufacturers must measure                       loaded radius arc extending from the
                                             combinations of vehicles, including                     ground clearances, as well as all the                 ground near the center of the tire patch
                                             optional equipment, to be assessed.                     other off-highway criteria for a light                to the lowest contact point on the front
                                             Ford stated automobile manufacturers                    truck determination, using vehicles with              or rear of the vehicle. The term ‘‘static
                                             are ultimately responsible for ensuring                 all standard and optional equipment                   loaded radius arc’’ is based upon the
                                             that their vehicles are built according to              installed, at the time vehicles are                   definitions in SAE J1100 and J1544.1278
                                             their specifications and that all vehicles              shipped to dealerships. These views                   The term is defined as the distance from
                                             are properly categorized.                               were shared by manufacturers in                       wheel axis of rotation to the supporting
                                                NHTSA agrees that auditing                           response to the previous CAFE                         surface (ground) at a given load of the
                                             manufacturers’ classification criteria                  rulemaking. By using measurements                     vehicle and stated inflation pressure of
                                             will be necessary to create uniformity                  from vehicles with all standard and                   the tire (manufacturer’s recommended
                                             among vehicles classified as light                      optional equipment installed, at the                  cold inflation pressure).
                                             trucks. NHTSA plans to use its                          time vehicles are shipped to                             The static loaded radius arc is easy to
                                             upcoming compliance test procedure to                   dealerships, NHTSA can ensure that                    measure for computer simulations, but
                                             collect more information on vehicles                    vehicles are properly classified.                     the imaginary line tangent to the static
                                             with adjustable suspensions. The                           Finally, NHTSA does not agree with                 loaded radius arc is difficult to ascertain
                                             questions in the 2021 NPRM attempted                    Ford’s recommendation that                            in the field. The approach and departure
                                             to clarify the correct height adjustment                manufacturers should use Computer                     angles are the angles between the line
                                             settings for of vehicles with adjustable                Aided Design (CAD) data for off-road                  tangent to the static loaded radius arc
                                             suspension to determine if they meet                    dimensional reporting. CAD data have                  and the level ground on which the test
                                             the criteria in 49 CFR part 523 to be                   been shown in the past to be ineffective              vehicle rests. For the compliance test
                                             classified as light trucks. The agency                  in providing accurate dimensions for                  procedure, a substitute measurement
                                             thanks the industry for their feedback                  production vehicles. Vehicles on dealer               will be used. A measurement that
                                             and will take it under advisement in                    lots have shown high variance in terms                provides a good approximation of the
                                             future rulemakings and test procedures.                 of dimensions from region to region,                  approach and departure angles involve
                                             While we are not changing our                           across the country and in different                   using a line tangent to the outside
                                             classification regulations in this rule, we             markets. This is highly evident through               diameter or perimeter of the tire and
                                             want to note that we are still weighing                 numerous recalls under 49 CFR part 573                extends to the lowest contact point on
                                             whether it is appropriate to allow                      filed with NHTSA which identify                       the front or rear of the vehicle. This
                                             manufacturers to choose the height used                 variance in production plant as a cause               approach provides an angle slightly
                                             to determine CAFE compliance for                        for non-compliances or defects. In the                greater than the angle derived from the
                                             vehicles with adjustable suspensions.
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                                                                                                     vast majority of recalls, it shows that the           true static loaded radius arc. The
                                             The purpose for our previous flexibility                population of vehicles affected are                   approach also has the advantage to
                                             was to afford maximum leniency for                      highly dependent on manufacturing                     allow measurements to be made quickly
                                             vehicles necessary for off-road work                                                                          for measuring angles in the field to
                                             purposes. However, given the vast                        1277 See https://www.nhtsa.gov/vehicle-

                                                                                                     manufacturers/test-specification-forms. (Accessed:      1278 See SAE J1100 published on May 26, 2012
                                               1276 Ford, NHTSA–2021–0053–1545–A1, at p. 2.          March 15, 2022)                                       and SAE J1544 published on Oct 25, 2011.



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                                             verify data submitted by the                            these requirements, NHTSA previously                  clearance requirement along its entire
                                             manufacturers used to determine light                   issued a letter of interpretation stating             underside’’.
                                             truck classification decisions. In order                that certain parts of a vehicle—such as                  NHTSA agrees with Stellantis that the
                                             to comply, the vehicle measurement                      tire aero deflectors that are made of                 20 cm clearance requirement is for
                                             must be equal to or greater than the                    flexible plastic, bend without breaking,              sprung components as per NHTSA’s
                                             required measurements to be considered                  and return to their original position—                regulations and prior interpretations.
                                             as compliant and if not, the reported                   would not count against the 20-                          In response to Hyundai, NHTSA
                                             value will require an investigation                     centimeter running clearance                          reiterates that the 20-centimeter
                                             which could lead to the manufacturer’s                  requirement.1280 The agency explained                 clearance is required for all sprung
                                             vehicle becoming reclassified as a                      that this does not mean a vehicle with                weight components. This is not related
                                             passenger car.                                          less than 20 centimeters running                      to unsprung weight components such as
                                                NHTSA plans to start developmental                   clearance could be elevated by an                     axles. Unsprung weight includes the
                                             testing for its test vehicle classification             upward force that bends the deflectors                components (e.g., suspension, wheels,
                                             test procedures. We agree with Ford that                and still be considered compliant with                axles, and other components directly
                                             opening discussions with expert                         the running clearance criterion, as it                connected to the wheels and axles) that
                                             stakeholders, including NHTSA and                       would be inconsistent with the                        are connected and translate with the
                                             automobile manufacturers, to develop                    conditions listed in the introductory                 wheels. Sprung weight, on the other
                                             vehicle measurement processes and                       paragraph of 49 CFR 523.5(b)(2).                      hand, includes all components fixed
                                             procedures is a worthy goal especially                  Further, NHTSA explained that without                 underneath the vehicle that translate
                                             during our fabrication of a device to                   a flexible component installed, the                   with the vehicle body (e.g., mufflers and
                                             measure approach, breakover and                         vehicle must meet the 20-centimeter                   subframes). For its compliance test
                                             departure angles. We reiterate that                     running clearance requirement along its               procedure, NHTSA will include a list of
                                             manufacturers should determine their                    entire underside. This 20-centimeter                  the all the components under the
                                             vehicle classifications using off-road                  clearance is required for all sprung                  vehicle considered as unsprung
                                             angles based on a line tangent to the                   weight components. For its compliance                 components. NHTSA will update the
                                             front (or rear) tire static loaded radius               test procedure, NHTSA will include a                  list of unsprung components as the need
                                             arc. However, for developmental testing,                list of the all the components under the              arises.
                                             NHTSA will evaluate the differences in                  vehicle considered as unsprung                        (d) Front and Rear Axle Clearance
                                             angle measurements between those                        components. NHTSA will update the
                                             using its substitute approach (a line                                                                            NHTSA regulations state that front
                                                                                                     list of unsprung components as the need               and rear axle clearances of not less than
                                             tangent to the outside diameter or                      arises.
                                             perimeter of the tire and extends to the                                                                      18 centimeters are another criterion that
                                                                                                        NHTSA received several comments in                 can be used for designating a vehicle as
                                             lowest contact point on the front or rear               relation to defining ‘‘running clearance’’
                                             of the vehicle) and the true angle based                                                                      off-highway capable.1283 The agency
                                                                                                     as per regulations. Comments were                     defines ‘‘axle clearance’’ as the vertical
                                             on the static loaded radius arc. We will                received from Stellantis 1281 and
                                             share the results with manufacturers to                                                                       distance from the level surface on which
                                                                                                     Hyundai.1282 Stellantis provided                      an automobile is standing to the lowest
                                             establish the variations in the                         comments stating they agree that the 20
                                             measurements and to identify any                                                                              point on the axle differential of the
                                                                                                     cm clearance is for all sprung                        automobile.
                                             complications. Depending upon the                       components. They also appreciate the
                                             outcome of comparisons and                                                                                       The agency believes this definition
                                                                                                     agency re-affirming its interpretation                may be outdated because of vehicle
                                             developments for a suitable test device
                                                                                                     that flexible components that return to               design changes, including axle system
                                             using the static loaded radius arc, a
                                                                                                     their original position without breaking              components and independent front and
                                             simple and repeatable apparatus, the
                                                                                                     are not to be included in the assessment.             rear suspension components which
                                             agency may forgo establishing a device
                                                                                                     Hyundai provided comments requesting                  hang lower than the differential. In the
                                             for its alternative angle measurement
                                                                                                     NHTSA to clarify that vehicles                        past, traditional light trucks with 4WD
                                             approach for compliance testing.
                                                                                                     classified for off-road use according to              systems had solid rear axles with center-
                                             NHTSA will start reaching out to
                                                                                                     the physical production characteristic of             mounted differential on the axle. For
                                             interested parties in the next couple of
                                                                                                     ground clearance should meet a                        these trucks, the rear axle differential
                                             months to start researching approaches
                                                                                                     minimum value whereby higher values                   was closer to the ground than any other
                                             for developing test devices.
                                                                                                     are acceptable. Hyundai stated NHTSA                  axle or suspension system components.
                                             (c) Running Clearance                                   provides requirements for a variety of                This traditional axle design still exists
                                                NHTSA regulations define ‘‘running                   criteria where a minimum or maximum                   today for some trucks with a solid
                                             clearance’’ as ‘‘the distance from the                  value is appropriate. They state, for                 chassis (also known as body-on-frame
                                             surface on which an automobile is                       example, ‘‘NHTSA regulations state that               configuration). Today, however, many
                                             standing to the lowest point on the                     front and rear axle clearances of not less            SUVs and CUVs that qualify as light
                                             automobile, excluding unsprung                          than 18 centimeters are another                       trucks are constructed with a unibody
                                             weight.’’ 1279 Unsprung weight includes                 criterion that can be used for                        frame and have unsprung (e.g., control
                                             the components (e.g., suspension,                       designating a vehicle as off-highway                  arms, tie rods, ball joints, struts, shocks,
                                             wheels, axles, and other components                     capable’’. Hyundai continued ‘‘NHTSA                  etc.) and sprung components (e.g., the
                                             directly connected to the wheels and                    explained that without a flexible                     axle subframes) connected together as a
                                             axles) that are connected and translate                 component installed, the vehicle must                 part of the axle assembly. These
                                             with the wheels. Sprung weight, on the                  meet the 20-centimeter running                        unsprung and sprung components are
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                                             other hand, includes all components                                                                           located under the axles, making them
                                                                                                       1280 See https://www.nhtsa.gov/interpretations/
                                             fixed underneath the vehicle that                                                                             lower to the ground than the axles and
                                                                                                     11-000612-medie-part-523 (accessed Mar. 29, 2022).
                                             translate with the vehicle body (e.g.,                    1281 Stellantis, NHTSA–2021–0053–1527, at page
                                                                                                                                                           the differential, and were not
                                             mufflers and subframes). To clarify                     29.                                                   contemplated when NHTSA established
                                                                                                       1282 Hyundai, NHTSA–2021–0053–1512–A1, at
                                               1279 49 CFR 523.2.                                    page 8.                                                 1283 49 CFR 523.5(b)(2).




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                                             the definition and the allowable                        Innovators believed only then should                  capable. Vehicles with axle components
                                             clearance for axles. The definition also                NHTSA consider formally proposing                     that are low enough to interfere with the
                                             did not originally account for 2WD                      appropriate additional off-road                       vehicle’s ability to perform off-road
                                             vehicles with GVWRs greater than 6,000                  characteristics for 49 CFR 523.5(b)(2) to             would seem inconsistent with the
                                             pounds that had one axle without a                      address such components. They stated if               regulation’s intent of ensuring off-
                                             differential, such as the model year 2018               NHTSA modified the definition of ‘‘axle               highway capability. Both Auto
                                             Ford Expedition. Vehicles with axle                     clearance’’ or changes its interpretation             Innovators and Stellantis assume that
                                             components that are low enough to                       of the definition, through test                       suspension components closer to the
                                             interfere with the vehicle’s ability to                 procedures or otherwise, to include                   tire are not likely to: (1) Hit the ground
                                             perform off-road would seem                             components or locations other than the                due to proximity to the tire, and (2) are
                                             inconsistent with the regulation’s intent               bottom of the differential, it should not             much more likely to tolerate the
                                             of ensuring off-highway capability.                     reclassify vehicles on the basis of such              occasional contact in an off-road
                                                In light of these issues, for the                    changes until MY 2027 at the earliest,                situation. However, we are uncertain if
                                             compliance test procedure, in the 2020                  and the footprint-based target curves                 commenters considered the possibility
                                             final rule, NHTSA stated it would                       should be reassessed.                                 of debris or obstacles encountered off-
                                             request manufacturers to identify those                    Additionally, Stellantis provided                  road that could significantly damage
                                             axle components that are sprung or                      comments stating suspension                           these components. While differentials
                                             unsprung and provide sufficient                         components, both on a solid axle truck                are significant components of an off-
                                             justification as a part of the testing setup            or independent suspension have the                    road vehicles ability to traverse off-road
                                             request forms sent to manufacturers in                  possibility of being closer to the ground,            terrains so are other suspension
                                             support of its compliance testing                       but this is generally closer to the tire              components and any ridged components
                                             program. In addition, for vehicles                      where the ground clearance need is least              attached to the vehicle that are lower
                                             without a differential, NHTSA would                     as the tire will lift the vehicle and                 than the differential. There are a
                                             request the location each manufacturer                  nearby suspension components over an                  multitude of scenarios where these
                                             used to establish its axle clearance                    obstacle, versus a differential that might            unsprung and sprung components could
                                             qualification. NHTSA would validate                     make contact if a driver chooses to                   be damaged significantly decreasing the
                                             the location specified by the                           straddle an obstacle.1287 Further, they               off-road ability of a vehicle. We need to
                                             manufacturer but would challenge any                    believe, suspension components are                    assess these factors as the agency works
                                             location on the vehicle’s axle found to                 unlikely to be damaged by light or                    with manufacturers to develop a new
                                             be located at a lower elevation to the                  incidental contact and therefore don’t                requirement as Auto Innovators and
                                             ground than the designed location of its                need the same clearance protection as a               Stellantis suggested. NHTSA’s current
                                             axle clearance measurement. NHTSA                       differential. Lastly, they believe, the               intent presently is not to modify the
                                             reiterated this approach in the 2021                    suspension components essentially                     definition of ‘‘axle clearance’’ or adopt
                                             NPRM and committed to adding the                        prevent ground contact to half shafts so              changes through its test procedure but
                                             approach in its upcoming vehicle                        they are similarly not vulnerable to                  rather to continue collecting
                                             classification test procedure.1284                      contact. Stellantis does not believe a                information through communication
                                                In response to the NPRM, NHTSA                       change is needed to the axle clearance                with the industry and then in
                                             received several comments in relation to                requirement. If a change is needed,                   subsequent rulemaking consider
                                             defining ‘‘Front and Rear Axle                          Stellantis requested that the agency                  changes to its definitions. NHTSA also
                                             Clearance’’ as per NHTSA regulations.                   work with manufacturers to develop a                  agrees with Auto Innovators and
                                             Comments were received from Auto                        new requirement. They stated                          Stellantis that the agency should also
                                             Innovators 1285 and Stellantis.1286 Auto                regardless, any change to this                        work with industry to understand
                                             Innovators provided comments stating                    requirement demands ample lead-time                   which vehicles would become part of
                                             they believe the current definition is                  for manufacturers to incorporate into a               the passenger car fleet and reassess the
                                             sufficient as the differential is the                   redesign. They believe anything less                  footprint stringency lines for both fleets.
                                             vulnerable component. They expressed                    would result in a de facto stringency
                                                                                                                                                           (e) 49 CFR 571.3 MPV Definition
                                             that other suspension components                        change in the rule as some number of
                                                                                                     vehicles would presumably be                             As discussed in the previous sections,
                                             closer to the tire are not likely to: (1) Hit
                                                                                                     reclassified as passenger cars. Stellantis            NHTSA asked commenters to provide
                                             the ground due to proximity to the tire,
                                                                                                     stated this has not been considered and               some feedback to assist in the creation
                                             and (2) are much more likely to tolerate
                                                                                                     is not likely to be trivial. Stellantis               of test procedures. While ‘‘multi-
                                             the occasional contact in a 4-low/off-
                                                                                                     believed if this change is adopted, then              purpose vehicles’’ (MPVs) is not a
                                             road situation. Auto Innovators stated if
                                                                                                     the agency should also work with                      vehicle classification for CAFE
                                             NHTSA believes addressing suspension                                                                          purposes, we took the opportunity to
                                             or axle components in independent                       industry to understand which vehicles
                                                                                                     would become part of the passenger car                seek comment on our definition of MPV
                                             suspension systems is necessary, it                                                                           in the proposal as it touches upon many
                                             should engage with SAE International to                 fleet, and then reassess the footprint
                                                                                                     stringency lines for both fleets.                     of the same issues discussed above. In
                                             develop a procedure for measuring the                                                                         the proposal, NHTSA questioned
                                             clearances of such components,                             We thank the industry for their input,
                                                                                                     and will take it into consideration as we             whether to link the definition of MPV in
                                             determine typical clearances in vehicles                                                                      49 CFR 571.3 (as it relates to special
                                             classified as light trucks based on other               consider CAFE vehicle classifications in
                                                                                                     the future. The comments raised further               features for occasional off-road
                                             off-road capability criteria, and seek                                                                        operation) to 49 CFR 523.5(b)(2). It also
                                             input from automobile manufacturers                     questions. Our regulations state that
                                                                                                                                                           asked what drawbacks exist in linking
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                                             and off-road user groups. Auto                          front and rear axle clearances of not less
                                                                                                     than 18 centimeters are another                       both provisions. Another question
                                               1284 86 FR 49602 (Sept. 3, 2021).                     criterion that can be used for                        raised was whether using the
                                                1285 Auto Innovators, NHTSA–2021–0053–1492,          designating a vehicle as off-highway                  longstanding off-road features for fuel
                                             at page 69.                                                                                                   economy provides could clarify the
                                                1286 Stellantis, NHTSA–2021–0053–1527, at page         1287 Stellantis, NHTSA–2021–0053–1527, at page      means for certifying that a vehicle meets
                                             29.                                                     29.                                                   the definition for MPV in § 571.3 when


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                                             manufacturers may otherwise be                          Safer Affordable Fuel-Efficient (SAFE)                 ROD simultaneously pursuant to 49
                                             uncertain as to how to classify a vehicle.              Vehicles Rule for Model Years 2021–                    U.S.C. 304a(b) and U.S. Department of
                                                In response to the NPRM, NHTSA                       2026 Passenger Cars and Light Trucks’’                 Transportation, Office of Transportation
                                             received several comments in relation to                (the 2020 final rule) by July 2021. The                Policy, Guidance on the Use of
                                             linking the definition of MPV in 49 CFR                 Executive order directed that ‘‘[i]n                   Combined Final Environmental Impact
                                             571.3, as it relates to special features for            considering whether to propose                         Statements/Records of Decision and
                                             occasional off-road operation, to the one               suspending, revising, or rescinding that               Errata Sheets in National
                                             in 49 CFR 523.5(b)(2). Comments were                    rule, the agency [i.e., NHTSA] should                  Environmental Policy Act Reviews
                                             received from Auto Innovators,1288                      consider the views of representatives                  (April 25, 2019).1293 NHTSA has
                                             Ford,1289 Hyundai,1290 and JLR.1291 In                  from labor unions, States, and                         determined that neither the statutory
                                             general, comments opposed linking the                   industry.’’                                            criteria nor practicability considerations
                                             two standards, but failed to define other                  This final rule follows the review                  preclude simultaneous issuance.
                                             special features to qualify for occasional              directed in this Executive order.                         As required by the CEQ
                                             off-road operation. We will use the                     Promulgated under NHTSA’s statutory                    regulations,1294 this final rule (as the
                                             feedback from manufacturers in the                      authorities, it finalizes new CAFE                     ROD) sets forth the following in
                                             future when we consider safety vehicle                  standards for the model years covered                  Sections IV, V, and VI above (1) the
                                             classification.                                         by the 2020 final rule for which there is              agency’s decision (2) alternatives
                                                                                                     still available lead time to change, and               considered by NHTSA in reaching its
                                             VIII. Regulatory Notices and Analyses                   it accounts for the views provided by                  decision, including the environmentally
                                             A. Executive Order 12866, Executive                     labor unions, States, and industry.                    preferable alternative; (3) the factors
                                             Order 13563                                                                                                    balanced by NHTSA in making its
                                                                                                     D. Environmental Considerations
                                                                                                                                                            decision, including essential
                                               Executive Order 12866, ‘‘Regulatory                   1. National Environmental Policy Act                   considerations of national policy
                                             Planning and Review’’ (58 FR 51735,                     (NEPA)                                                 (Section VIII.B above); (4) how these
                                             Oct. 4, 1993), as amended by Executive
                                                                                                        Concurrently with this final rule, the              factors and considerations entered into
                                             Order 13563, ‘‘Improving Regulation
                                                                                                     agency is releasing a Final SEIS,                      its decision; and (5) the agency’s
                                             and Regulatory Review’’ (76 FR 3821,
                                                                                                     pursuant to the National Environmental                 preferences among alternatives based on
                                             Jan. 21, 2011), provides for making
                                                                                                     Policy Act, 42 U.S.C. 4321 through                     relevant factors, including economic
                                             determinations whether a regulatory
                                                                                                     4347, and implementing regulations                     and technical considerations and agency
                                             action is ‘‘significant’’ and therefore
                                                                                                     issued by the Council on Environmental                 statutory missions. The following
                                             subject to the Office of Management and
                                                                                                     Quality (CEQ), 40 CFR part 1500, and                   sections discuss comments received on
                                             Budget (OMB) review process and to the
                                                                                                     NHTSA, 49 CFR part 520. The agency                     the Draft SEIS, NHTSA’s range of
                                             requirements of the Executive order.
                                                                                                     prepared the Final SEIS to analyze and                 alternatives, and other factors used in
                                             Under these Executive orders, this
                                                                                                     disclose the potential environmental                   the decision-making process. This
                                             action is an ‘‘economically significant
                                                                                                     impacts of the proposed CAFE                           section also briefly addresses
                                             regulatory action’’ because it is likely to
                                                                                                     standards and a range of alternatives.                 mitigation1295 and whether all
                                             have an annual effect on the economy
                                                                                                     The Final SEIS analyzes direct, indirect,              practicable means to avoid or minimize
                                             of $100 million or more. Accordingly,
                                                                                                     and cumulative impacts and analyzes                    environmental harm from the
                                             NHTSA submitted this action to OMB
                                                                                                     impacts in proportion to their                         alternative selected have been adopted.
                                             for review and any changes made in                                                                                One commenter, the WDNR, stated
                                             response to OMB recommendations                         significance. It describes potential
                                                                                                     environmental impacts to a variety of                  that NHTSA should collaborate more
                                             have been documented in the docket for                                                                         with EPA, especially when it comes to
                                             this action. The benefits and costs of                  resources, including fuel and energy
                                                                                                     use, air quality, climate, land use and                addressing any collateral impacts on
                                             this final rule are described above and                                                                        criteria pollutant emissions, since both
                                                                                                     development, hazardous materials and
                                             in the FRIA, which is located in the                                                                           agencies have rulemakings related to
                                                                                                     regulated wastes, historical and cultural
                                             docket and on NHTSA’s website.                                                                                 analyses of anticipated GHG and criteria
                                                                                                     resources, noise, and environmental
                                             B. DOT Regulatory Policies and                          justice. The Final SEIS also describes                 pollutant emissions impacts. NHTSA
                                             Procedures                                              how climate change resulting from                      believes that it properly coordinates
                                                                                                     global carbon dioxide emissions                        with EPA and that differences in the
                                               This final rule is also significant
                                                                                                     (including CO2 emissions attributable to               respective rules are due to each
                                             within the meaning of the Department
                                                                                                     the U.S. light duty transportation sector              agencies’ authority. EPA is a
                                             of Transportation’s Regulatory Policies
                                                                                                     under the alternatives considered) could               Cooperating Agency on the Final SEIS,
                                             and Procedures. The benefits and costs
                                                                                                     affect certain key natural and human                   and as such, NHTSA coordinated with
                                             of the final rule are described above and
                                                                                                     resources. Resource areas are assessed                 EPA to review and comment on the
                                             in the FRIA, which is located in the
                                                                                                     qualitatively and quantitatively, as                   Draft and Final SEISs prior to
                                             docket and on NHTSA’s website.
                                                                                                     appropriate, in the Final SEIS.                        publication. Separately, as discussed
                                             C. Executive Order 13990                                   The agency has considered the                       further below and in the Final SEIS, the
                                               Executive Order 13990, ‘‘Protecting                   information contained in the Final SEIS                agency’s authority to promulgate fuel
                                             Public Health and the Environment and                   in making the final decision described                 economy standards does not allow it to
                                             Restoring Science to Tackle the Climate                 in this final rule.1292 This preamble and              regulate criteria pollutants from vehicles
                                             Crisis’’ (86 FR 7037, Jan. 25, 2021),                   final rule constitute the agency’s Record
                                             directed the immediate review of ‘‘The                  of Decision (ROD) under 40 CFR 1505.2                     1293 The guidance is available at https://
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                                                                                                     for its promulgation of CAFE standards                 www.transportation.gov/sites/dot.gov/files/docs/
                                                                                                                                                            mission/transportation-policy/permittingcenter/
                                                1288 Auto Innovators, NHTSA–2021–0053–1492,          for MYs 2024–2026. The agency has                      337371/feis-rod-guidance-final-04302019.pdf
                                             at pp. 70–71.                                           authority to issue its Final SEIS and                  (accessed: February 10, 2022).
                                                1289 Ford, NHTSA–2021–0053–1545–A1, at p. 2.                                                                   1294 40 CFR 1505.2.
                                                1290 Hyundai, NHTSA–2021–0053–1512–A1, at p.           1292 The Final SEIS is available for review in the      1295 See 40 CFR 1508.1(s) (‘‘Mitigation includes
                                             8.                                                      public docket for this action and in Docket No.        . . . [m]inimizing impacts by limiting the degree or
                                                1291 JLR, NHTSA–2021–0053–1505–A, at p. 1.           NHTSA–2021–0054.                                       magnitude of the action and its implementation.’’).



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                                             or refineries (nor can NHTSA regulate                   and light trucks for MYs 2024–2026),                    driving from fifteen to ten percent. A
                                             other factors affecting those emissions,                which were the standards the agency                     full list of changes for the final rule
                                             such as driving habits); however, EPA                   proposed in the NPRM. In the Final                      analysis and the basis for those changes
                                             still retains the ability to regulate                   SEIS, the Preferred Alternative was                     is discussed throughout the preamble
                                             NAAQS under the Clean Air Act.                          identified as Alternative 2.5. As the                   and in the relevant portions of the TSD.
                                                Some commenters agreed that that the                 Final SEIS notes, under the Preferred                      NHTSA performed a national-scale
                                             range of alternatives presented in                      Alternative, on an mpg basis, the                       photochemical air quality modeling and
                                             NHTSA’s Proposal and accompanying                       estimated annual increases in the                       health benefit assessment for the Final
                                             Draft SEIS represented a reasonable                     average required fuel economy levels                    SEIS; it is included as Appendix D. The
                                             range of final agency actions. However,                 between MYs 2024 and 2025 is 8.0                        purpose of this assessment was to use
                                             some commenters advocated for the                       percent for both passenger cars and light               air quality modeling and health-related
                                             finalization of standards more stringent                trucks and for MY 2026, annual                          benefits analysis tools to examine the
                                             than Alternative 2 to better advance                    increases in average require fuel                       potential air quality-related
                                             NHTSA’s statutory purposes of                           economy levels is 10.0 percent for both                 consequences of the alternatives
                                             maximizing fuel economy considering                     passenger cars and light trucks.1296                    considered in the Draft SEIS. As
                                             the environmental, heath, and security                  After carefully reviewing and analyzing                 provided for prior rulemakings and for
                                             needs of the United States to conserve                  all of the information in the public                    the scoping notice for this EIS, NHTSA
                                             energy. Some commenters stated that                     record, comments submitted on the                       also announced that, due to the
                                             NHTSA needs to implement more                           Draft SEIS, and the Final SEIS, NHTSA                   substantial lead time required, the
                                             stringent standards in order to improve                 decided to finalize the Preferred                       analysis would be based on the
                                             public health, to help mitigate some of                 Alternative described in the Final SEIS                 modeling of the alternatives presented
                                             the impacts of climate change, including                for the reasons described in this ROD.                  in the Draft SEIS, not of the alternatives
                                             poor air quality, to assist States in                      Some commenters agreed with the                      as presented in the Final SEIS.
                                             attaining and maintaining the National                  underlying CAFE Model assumptions                       Furthermore, while photochemical
                                             Ambient Air Quality Standards                           that affected the environmental                         modeling provides spatial and temporal
                                             (NAAQS), and to meet environmental                      modeling in the SEIS, like including the                detail for estimating changes in ambient
                                             justice goals. NHTSA agrees that                        California’s ZEV standards in the                       levels of air pollutants and their
                                             increasing the fuel economy of the                      baseline for this final rule. Other                     associated impacts on human health
                                             passenger car and light-truck fleet                     commenters disagreed with some                          and welfare for the alternatives
                                             would result in public health and                       assumptions, such as rebound rate and                   considered, the analysis affirms the
                                             climate benefits, which are analyzed in                 import share assumptions, and                           estimates that appear in the SEIS and
                                             the Final SEIS, the TSD, and the FRIA.                  identified the impact of those                          does not provide significant new
                                                As described in the Final SEIS,                      assumptions on VMT. Another                             information for the decisionmaker or the
                                             Chapter 1, Purpose and Need for the                     commenter noted that NHTSA used                         public.
                                             Action, NHTSA must consider the                         outdated CAFE Model input                                  The Sierra Club stated that NHTSA’s
                                             requirements of EPCA, which sets forth                  assumptions that inform the analyses                    Draft SEIS presents ‘‘an erroneous
                                             the four factors the agency must balance                presented in the SEIS and do not reflect                picture of the GHG emissions impacts of
                                             when determining ‘‘maximum feasible’’                   the best available evidence. The agency                 battery electric vehicles (EVs)’’ and
                                             standards. NHTSA’s explanation for                      addresses the comments regarding the                    relies on ‘‘stale data.’’ 1297 The
                                             how it arrived at the range of                          CAFE Model above in Section III of the                  commenter stated that ‘‘when more
                                             alternatives under consideration is in                  preamble. NHTSA has considered and                      current data are used, the results are
                                             Section IV and VI and incorporated by                   accounted for California’s ZEV                          dramatically different and show that
                                             reference in the SEIS. NHTSA must                       standards in developing the baseline for                EVs are already superior to internal
                                             consider all the statutory factors when                 this final rule and agrees that it is                   combustion engine (ICE) vehicles from a
                                             considering which standards are                         reasonable to include these standards in                GHG emissions perspective across
                                             maximum feasible, and cannot consider                   the baseline for this final rule as they                almost the entire country, and trends in
                                             some to the exclusion of others, as                     are other legal requirements affecting                  power generation will cause EVs to
                                             described at length in Section VI of this               automakers. To the extent that                          further outpace ICE vehicles on
                                             preamble. NHTSA agrees with                             commenters are concerned about CAFE                     emission reductions in the coming
                                             commenters that the range of                            Model input assumptions that inform                     years.’’ NHTSA has updated the Final
                                             alternatives under consideration in the                 the analyses presented in the Draft and                 SEIS Section 6.2.3.1, Charging
                                             SEIS is reasonable, in light of the factors             Final SEIS, as discussed further in                     Locations, to use more appropriate and
                                             it must balance. All of the action                      preamble Section II.C, Changes in Light                 current emission factors to assess the
                                             alternatives NHTSA evaluated for the                    of Public Comments and New                              CO2 impacts from electric vehicle (EV)
                                             SEIS would result in substantial fuel                   Information, NHTSA did update the                       charging locations and behaviors, and
                                             savings and associated GHG emissions                    analysis for the final rule. Some of these              NHTSA updated Section 6.2.1, Diesel
                                             reductions, as well as many of the other                updates include updates to assumptions                  and Gasoline, in the Final SEIS to
                                             benefits highlighted by the commenters.                 mentioned by the commenter, e.g.,                       discuss transporting oil sands crude by
                                             NHTSA also believes that considering                    adjusting the measure of rebound                        pipeline and rail.
                                             more aggressive standards beyond what                                                                              NHTSA considered environmental
                                             the agency has modeled for the action                     1296 Because the standards are attribute-based,
                                                                                                                                                             considerations as part of its balancing of
                                             alternatives would exceed maximum                       average required fuel economy levels, and therefore
                                                                                                     rates of increase in those average mpg values,
                                             feasibility.
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                                                                                                                                                                1297 NHTSA acknowledged but did not address
                                                                                                     depend on the future composition of the fleet,
                                                In the Draft SEIS and in the Final                   which is uncertain and subject to change. When          this limitation in the Draft SEIS. Draft SEIS at 6–
                                             SEIS, the agency identified a Preferred                 NHTSA describes a percent increase in stringency,       16 (‘‘The U.S. grid mix has changed significantly
                                             Alternative. In the Draft SEIS, the                     we mean in terms of shifts in the footprint functions   over the past decade, and this means that older
                                                                                                     that form the basis for the actual CAFE standards       [life-cycle assessments] based on different grid mix
                                             Preferred Alternative was identified as                 (as in, on a gallon per mile basis, the CAFE            assumptions might not be comparable with findings
                                             Alternative 2 (8.0 percent average                      standards change by a given percentage from one         in Chapters 4 and 5, which are based on more
                                             annual increase for both passenger cars                 model year to the next).                                recent grid mix forecasts.’’).



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                                             the statutory factors to set maximum                    required to develop and implement a                       The CAFE standards and associated
                                             feasible fuel economy standards. As a                   State Implementation Plan (SIP)                         program activities are not developed,
                                             result, the agency has limited the degree               documenting how the region will reach                   funded, or approved under title 23 or
                                             or magnitude of the action as                           attainment levels within time periods                   chapter 53 of title 49, United States
                                             appropriate in light of its statutory                   specified in the CAA. For maintenance                   Code. Accordingly, this action and
                                             responsibilities. The agency’s authority                areas, the SIP must document how the                    associated program activities are not
                                             to promulgate fuel economy standards                    State intends to maintain compliance                    subject to transportation conformity.
                                             does not allow it to regulate criteria                  with the NAAQS. When EPA revises a                      Under the General Conformity Rule, a
                                             pollutants from vehicles or refineries,                 NAAQS, each State must revise its SIP                   conformity determination is required
                                             nor can NHTSA regulate other factors                    to address how it plans to attain the new               where a Federal action would result in
                                             affecting those emissions, such as                      standard.                                               total direct and indirect emissions of a
                                             driving habits. Consequently, NHTSA                        No Federal agency may ‘‘engage in,                   criteria pollutant or precursor
                                             must set CAFE standards but is unable                   support in any way or provide financial                 originating in nonattainment or
                                             to take further steps to mitigate the                   assistance for, license or permit, or                   maintenance areas equaling or
                                             impacts of these standards. Chapter 9 of                approve’’ any activity that does not                    exceeding the rates specified in 40 CFR
                                             the Final SEIS provides a further                       ‘‘conform’’ to a SIP or Federal                         93.153(b)(1) and (2). As explained
                                             discussion of mitigation measures in the                Implementation Plan after EPA has                       below, the agency’s action results in
                                             context of NEPA.                                        approved or promulgated it.1298 Further,                neither direct nor indirect emissions as
                                                                                                     no Federal agency may ‘‘approve,                        defined in 40 CFR 93.152.
                                             2. Clean Air Act (CAA) as Applied to                                                                              The General Conformity Rule defines
                                             NHTSA’s Final Rule                                      accept, or fund’’ any transportation
                                                                                                     plan, program, or project developed                     direct emissions as ‘‘those emissions of
                                                The CAA (42 U.S.C. 7401 et seq.) is                  pursuant to title 23 or chapter 53 of title             a criteria pollutant or its precursors that
                                             the primary Federal legislation that                    49, U.S.C., unless the plan, program, or                are caused or initiated by the Federal
                                             addresses air quality. Under the                        project has been found to ‘‘conform’’ to                action and originate in a nonattainment
                                             authority of the CAA and subsequent                     any applicable implementation plan in                   or maintenance area and occur at the
                                             amendments, EPA has established                         effect.1299 The purpose of these                        same time and place as the action and
                                             National Ambient Air Quality Standards                  conformity requirements is to ensure                    are reasonably foreseeable.’’ 1303 The
                                             (NAAQS) for six criteria pollutants,                    that Federally sponsored or conducted                   agency’s action would set fuel economy
                                             which are relatively commonplace                        activities do not interfere with meeting                standards for light duty vehicles. It
                                             pollutants that can accumulate in the                                                                           therefore would not cause or initiate
                                                                                                     the emissions targets in SIPs, do not
                                             atmosphere as a result of human                                                                                 direct emissions consistent with the
                                                                                                     cause or contribute to new violations of
                                             activity. EPA is required to review each                                                                        meaning of the General Conformity
                                                                                                     the NAAQS, and do not impede the
                                             NAAQS every five years and to revise                                                                            Rule.1304 Indeed, the agency’s action in
                                                                                                     ability of a State to attain or maintain
                                             those standards as may be appropriate                                                                           aggregate reduces emissions, and to the
                                                                                                     the NAAQS or delay any interim
                                             considering new scientific information.                                                                         degree the model predicts small (and
                                                The air quality of a geographic region               milestones. EPA has issued two sets of
                                                                                                     regulations to implement the conformity                 time-limited) increases, these increases
                                             is usually assessed by comparing the                                                                            are based on a theoretical response by
                                             levels of criteria air pollutants found in              requirements:
                                                                                                        (1) The Transportation Conformity                    individuals to fuel economy prices and
                                             the ambient air to the levels established                                                                       savings, which are at best indirect.
                                             by the NAAQS (taking into account, as                   Rule 1300 applies to transportation plans,
                                                                                                                                                             Indirect emissions under the General
                                             well, the other elements of a NAAQS:                    programs, and projects that are
                                                                                                                                                             Conformity Rule are those emissions of
                                             Averaging time, form, and indicator).                   developed, funded, or approved under
                                                                                                                                                             a criteria pollutant or its precursors (1)
                                             Concentrations of criteria pollutants                   title 23 or chapter 53 of title 49, U.S.C.
                                                                                                                                                             that are caused or initiated by the
                                             within the air mass of a region are                        (2) The General Conformity Rule 1301
                                                                                                                                                             Federal action and originate in the same
                                             measured in parts of a pollutant per                    applies to all other Federal actions not
                                                                                                                                                             nonattainment or maintenance area but
                                             million parts (ppm) of air or in                        covered under transportation
                                                                                                                                                             occur at a different time or place as the
                                             micrograms of a pollutant per cubic                     conformity. The General Conformity
                                                                                                                                                             action; (2) that are reasonably
                                             meter (mg/m3) of air present in repeated                Rule establishes emissions thresholds,
                                                                                                                                                             foreseeable; (3) that the agency can
                                             air samples taken at designated                         or de minimis levels, for use in
                                                                                                                                                             practically control; and (4) for which the
                                             monitoring locations using specified                    evaluating the conformity of an action                  agency has continuing program
                                             types of monitors. These ambient                        that results in emissions increases.1302 If             responsibility.1305 Each element of the
                                             concentrations of each criteria pollutant               the net increases of direct and indirect                definition must be met to qualify as
                                             are compared to the levels, averaging                   emissions exceed any of these                           indirect emissions. NHTSA has
                                             time, and form specified by the NAAQS                   thresholds, and the action is not                       determined that, for purposes of general
                                             in order to assess whether the region’s                 otherwise exempt, then a conformity                     conformity, emissions (if any) that may
                                             air quality is in attainment with the                   determination is required. The                          result from its final fuel economy
                                             NAAQS.                                                  conformity determination can entail air                 standards would not be caused by the
                                                When the measured concentrations of                  quality modeling studies, consultation                  agency’s action, but rather would occur
                                             a criteria pollutant within a geographic                with EPA and state air quality agencies,                because of subsequent activities the
                                             region are below those permitted by the                 and commitments to revise the SIP or to
                                             NAAQS, EPA designates the region as                     implement measures to mitigate air                        1303 40 CFR 93.152.

                                             an attainment area for that pollutant,                  quality impacts.                                          1304 Dep’t of Transp. v. Pub. Citizen, 541 U.S. at

                                             while regions where concentrations of                                                                           772 (‘‘[T]he emissions from the Mexican trucks are
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                                                                                                       1298 42 U.S.C. 7506(c)(1).                            not ‘direct’ because they will not occur at the same
                                             criteria pollutants exceed Federal                                                                              time or at the same place as the promulgation of the
                                                                                                       1299 42 U.S.C. 7506(c)(2).
                                             standards are called nonattainment                        1300 40 CFR part 51, subpart T, and part 93,
                                                                                                                                                             regulations.’’). NHTSA’s action is to establish fuel
                                             areas. Former nonattainment areas that                                                                          economy standards for MY 2021–2026 passenger
                                                                                                     subpart A.                                              car and light trucks; any emissions increases would
                                             are now in compliance with the NAAQS                      1301 40 CFR part 51, subpart W, and part 93,          occur in a different place and well after
                                             are designated as maintenance areas.                    subpart B.                                              promulgation of the final rule.
                                             Each State with a nonattainment area is                   1302 40 CFR 93.153(b).                                  1305 40 CFR 93.152.




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                                             agency cannot practically control.                        continuing program responsibility.                   zone resources. Under the statute, States
                                             ‘‘[E]ven if a Federal licensing,                          Therefore, the final CAFE standards and              are provided with funds and technical
                                             rulemaking or other approving action is                   alternative standards considered by                  assistance in developing coastal zone
                                             a required initial step for a subsequent                  NHTSA would not cause indirect                       management programs. Each
                                             activity that causes emissions, such                      emissions under the General Conformity               participating State must submit its
                                             initial steps do not mean that a Federal                  Rule, and a general conformity                       program to the Secretary of Commerce
                                             agency can practically control any                        determination is not required.                       for approval. Once the program has been
                                             resulting emissions.’’ 1306                                                                                    approved, any activity of a Federal
                                                                                                       3. National Historic Preservation Act                agency, either within or outside of the
                                                As the CAFE program uses
                                                                                                       (NHPA)                                               coastal zone, that affects any land or
                                             performance-based standards, NHTSA
                                             cannot control the technologies vehicle                     The NHPA (54 U.S.C. 300101 et seq.)                water use or natural resource of the
                                             manufacturers use to improve the fuel                     sets forth Government policy and                     coastal zone must be carried out in a
                                             economy of passenger cars and light                       procedures regarding ‘‘historic                      manner that is consistent, to the
                                             trucks. Furthermore, NHTSA cannot                         properties’’—that is, districts, sites,              maximum extent practicable, with the
                                             control consumer purchasing (which                        buildings, structures, and objects                   enforceable policies of the State’s
                                             affects average achieved fleetwide fuel                   included on or eligible for the National             program.1309
                                             economy) and driving behavior (i.e.,                      Register of Historic Places. Section 106                NHTSA concludes that the CZMA
                                             operation of motor vehicles, as                           of the NHPA requires Federal agencies                does not apply to this rulemaking
                                             measured by VMT). It is the                               to ‘‘take into account’’ the effects of              because it does not involve an activity
                                             combination of fuel economy                               their actions on historic properties.1308            within, or outside of, the Nation’s
                                             technologies, consumer purchasing, and                    The agency concludes that the NHPA is                coastal zones that affects any land or
                                             driving behavior that results in criteria                 not applicable to this rulemaking                    water use or natural resource of the
                                             pollutant or precursor emissions. For                     because the promulgation of CAFE                     coastal zone.
                                             purposes of analyzing the                                 standards for light duty vehicles is not                The Center for Biological Diversity
                                             environmental impacts of the                              the type of activity that has the potential          (CBD) commented that sea-level rise
                                             alternatives considered under NEPA,                       to cause effects on historic properties.             driven by climate change is accelerating
                                             NHTSA has made assumptions                                However, NHTSA includes a brief,                     and threatening many coastal species,
                                             regarding all of these factors. The                       qualitative discussion of the impacts of             including citing research results ‘‘that
                                             agency’s Final SEIS projects that                         the alternatives on historical and                   sea level rise resulting from climate
                                             increases in air toxic and criteria                       cultural resources in the Final SEIS.                change, and the inadequacy of existing
                                             pollutants would occur in some                                                                                 regulatory mechanisms to address
                                                                                                       4. Fish and Wildlife Conservation Act                climate change, are primary threats
                                             nonattainment areas under certain                         (FWCA)                                               endangering these species,’’ including
                                             alternatives in the near term, although
                                                                                                         The FWCA (16 U.S.C. 2901 et seq.)                  the loggerhead turtle, and that ‘‘sea level
                                             over the longer term, all action
                                                                                                       provides financial and technical                     rise will be much more extreme without
                                             alternatives see improvements.
                                                                                                       assistance to States for the development,            strong action to reduce greenhouse gas
                                             However, the standards and alternatives
                                                                                                       revision, and implementation of                      pollution.’’ Therefore, CBD claimed that
                                             do not mandate specific manufacturer
                                                                                                       conservation plans and programs for                  ‘‘finalizing the Rule is likely to result in
                                             decisions, consumer purchasing, or
                                                                                                       nongame fish and wildlife. In addition,              a significant increase of CO2 emissions
                                             driver behavior, and NHTSA cannot
                                                                                                       the Act encourages all Federal                       and worsen sea-level rise’’ and ‘‘triggers
                                             practically control any of them.1307
                                                                                                       departments and agencies to utilize                  NHTSA’s legal duty under the ESA to
                                                One commenter, the WDNR, stated
                                                                                                       their statutory and administrative                   consult on how continued habitat loss
                                             that ‘‘NHTSA should work with EPA to                                                                           due to sea-level rise will adversely affect
                                             offset any short-term increases in NOX                    authorities to conserve and to promote
                                                                                                       conservation of nongame fish and                     the loggerhead sea turtle and other
                                             and VOC emissions associated with the                                                                          listed species threatened by sea-level
                                             rule’’ and suggested that NHTSA is                        wildlife and their habitats. The agency
                                                                                                       concludes that the FWCA does not                     rise.’’ In the Final SEIS, NHTSA
                                             ‘‘largely plac[ing] the burden of                                                                              estimates that the sea-level rise in 2100
                                             implementing any measures on state                        apply to this final rule because it does
                                                                                                       not involve the conservation of                      associated with Preferred Alternative
                                             and local agencies’’ by not taking certain                                                                     would be 0.05 centimeter. Such a level
                                             actions to offset criteria pollutant                      nongame fish and wildlife and their
                                                                                                       habitats. However, NHTSA conducted a                 is too small to have any meaningful
                                             increases. NHTSA disagrees, as it is not                                                                       impact on land or water use or a natural
                                             within NHTSA’s jurisdiction to                            qualitative review in its Final SEIS of
                                                                                                       the related direct, indirect, and                    resource of the coastal zone.
                                             implement such measures and lacks the                                                                          Furthermore, as this final rule amends
                                             expertise to conduct a full-scale analysis                cumulative impacts, positive or
                                                                                                                                                            CAFE standards that increase each year
                                             of their efficacy.                                        negative, of the alternatives on
                                                                                                                                                            for MYs 2024–2026, this action will
                                                In addition, NHTSA does not have the                   potentially affected resources, including
                                                                                                                                                            result in reductions in sea-level rise
                                             statutory authority to control the actual                 nongame fish and wildlife and their
                                                                                                                                                            resulting from climate change compared
                                             VMT by drivers. As the extent of                          habitats.
                                                                                                                                                            to the sea-level rise that would result
                                             emissions is directly dependent on the                    5. Coastal Zone Management Act                       from the 2020 final rule standards.
                                             operation of motor vehicles, changes in                   (CZMA)                                               NHTSA continues to conclude that the
                                             any emissions that result from the                                                                             CZMA is not applicable to this
                                             agency’s CAFE standards are not                             The Coastal Zone Management Act
                                                                                                       (16 U.S.C. 1451 et seq.) provides for the            rulemaking.
                                             changes the agency can practically                                                                                NHTSA has, however, conducted a
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                                             control or for which the agency has                       preservation, protection, development,
                                                                                                       and (where possible) restoration and                 qualitative review in the Final SEIS of
                                                                                                       enhancement of the Nation’s coastal                  the related direct, indirect, and
                                               1306 40 CFR 93.152.
                                               1307 See, e.g., Dep’t of Transp. v. Pub. Citizen, 541
                                                                                                                                                            cumulative impacts, positive or
                                             U.S. 752, 772–73 (2004); S. Coast Air Quality Mgmt.         1308 Section 106 is now codified at 54 U.S.C.      negative, of the alternatives on
                                             Dist. v. Fed. Energy Regulatory Comm’n, 621 F.3d          306108. Implementing regulations for the Section
                                             1085, 1101 (9th Cir. 2010).                               106 process are located at 36 CFR part 800.            1309 16 U.S.C. 1456(c)(1)(A).




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                                             potentially affected resources, including                    ‘‘but for’’ causation to mean ‘‘that the                 considerations into its assessments of
                                             coastal zones.                                               consequence in question would not                        potential effects.1318
                                                                                                          occur if the proposed action did not go                     The Services have previously
                                             6. Endangered Species Act (ESA)                                                                                       provided legal and technical guidance
                                                                                                          forward. . . . In other words, if the
                                                Under Section 7(a)(2) of the                              agency fails to take the proposed action                 about whether CO2 emissions associated
                                             Endangered Species Act (ESA), Federal                        and the activity would still occur, there                with a specific proposed Federal action
                                             agencies must ensure that actions they                       is no ‘but for’ causation. In that event,                trigger ESA Section 7(a)(2) consultation.
                                             authorize, fund, or carry out are ‘‘not                      the activity would not be considered an                  NHTSA analyzed the Services’ history
                                             likely to jeopardize the continued                           effect of the action under                               of actions, analysis, and guidance in
                                             existence’’ of any federally listed                          consultation.’’ 1316                                     Appendix G of the MY 2012–2016 CAFE
                                             threatened or endangered species                                                                                      standards EIS and now incorporate by
                                                                                                             The ESA regulations also provide a
                                             (collectively, ‘‘listed species’’) or result                                                                          reference that appendix in this
                                                                                                          framework for determining whether
                                             in the destruction or adverse                                                                                         preamble.1319 In that appendix, NHTSA
                                             modification of the designated critical                      consequences are caused by a proposed
                                                                                                          action and are therefore ‘‘effects’’ that                looked at the history of the Polar Bear
                                             habitat of these species.1310 If a Federal                                                                            Special Rule (73 FR 76249, Dec. 16,
                                             agency determines that an agency action                      may trigger consultation. The
                                                                                                                                                                   2008) and several guidance memoranda
                                             may affect a listed species or designated                    regulations provide in part:
                                                                                                                                                                   provided by FWS and the U.S.
                                             critical habitat, it must initiate                              To be considered an effect of a                       Geological Survey. Ultimately, DOI
                                             consultation with the appropriate                            proposed action, a consequence must be                   concluded that a causal link could not
                                             Service—the U.S. Fish and Wildlife                           caused by the proposed action (i.e., the                 be made between CO2 emissions
                                             Service (FWS) of the Department of the                       consequence would not occur but for                      associated with a proposed Federal
                                             Interior (DOI) or the National Oceanic                       the proposed action and is reasonably                    action and specific effects on listed
                                             and Atmospheric Administration’s                             certain to occur). A conclusion of                       species; therefore, no Section 7(a)(2)
                                             National Marine Fisheries Service of the                     reasonably certain to occur must be                      consultation would be required.
                                             Department of Commerce (together, ‘‘the                      based on clear and substantial                              Subsequent to the publication of that
                                             Services’’) or both, depending on the                        information, using the best scientific                   appendix, a court vacated the Polar Bear
                                             species involved—in order to ensure                          and commercial data available.                           Special Rule on NEPA grounds, though
                                             that the action is not likely to jeopardize                  Considerations for determining that a                    it upheld the ESA analysis as having a
                                             the species or destroy or adversely                          consequence to the species or critical                   rational basis.1320 FWS then issued a
                                             modify designated critical habitat.1311                      habitat is not caused by the proposed                    revised final special rule for the Polar
                                             Under this standard, the Federal agency                      action include, but are not limited to:                  Bear.1321 In that final rule, FWS
                                             taking action evaluates the possible                            (1) The consequence is so remote in                   provided that for ESA Section 7, the
                                             effects of its action and determines                         time from the action under consultation                  determination of whether consultation
                                             whether to initiate consultation.1312                        that it is not reasonably certain to occur;              is triggered is narrow and focused on
                                                The Section 7(a)(2) implementing                          or                                                       the discrete effect of the proposed
                                             regulations require consultation if a                                                                                 agency action. FWS wrote, ‘‘[T]he
                                             Federal agency determines its action                            (2) The consequence is so
                                                                                                                                                                   consultation requirement is triggered
                                             ‘‘may affect’’ listed species or critical                    geographically remote from the
                                                                                                                                                                   only if there is a causal connection
                                             habitat.1313 The regulations define                          immediate area involved in the action
                                                                                                                                                                   between the proposed action and a
                                             ‘‘effects of the action’’ as ‘‘all                           that it is not reasonably certain to occur;
                                                                                                                                                                   discernible effect to the species or
                                             consequences to listed species or critical                   or
                                                                                                                                                                   critical habitat that is reasonably certain
                                             habitat that are caused by the proposed                         (3) The consequence is only reached                   to occur. One must be able to ‘connect
                                             action, including the consequences of                        through a lengthy causal chain that                      the dots’ between an effect of a
                                             other activities that are caused by the                      involves so many steps as to make the                    proposed action and an impact to the
                                             proposed action. A consequence is                            consequence not reasonably certain to                    species and there must be a reasonable
                                             caused by the proposed action if it                          occur.1317                                               certainty that the effect will occur.’’ 1322
                                             would not occur but for the proposed                            The regulations go on to make clear                   The statement in the revised final
                                             action and it is reasonably certain to                       that the action agency must factor these                 special rule is consistent with the prior
                                             occur.’’ 1314 The definition makes                                                                                    guidance published by FWS and
                                             explicit a ‘‘but for’’ test and the concept                  and indirect effects of an action on the species or      remains valid today.1323 Likewise, the
                                             of ‘‘reasonably certain to occur’’ for all                   critical habitat, together with the effects of other     current regulations identify remoteness
                                             effects.1315 The Services have defined                       activities that are interrelated or interdependent       in time, geography, and the causal chain
                                                                                                          with that action, that will be added to the              as factors to be considered in assessing
                                               1310 16 U.S.C. 1536(a)(2).
                                                                                                          environmental baseline.’’ 50 CFR 402.02 (as in
                                                                                                          effect prior to Oct. 28, 2019). Indirect effects were
                                               1311 See 50 CFR 402.14.                                                                                                1318 50 CFR 402.17(c) (‘‘The provisions in
                                                                                                          defined as ‘‘those that are caused by the proposed
                                               1312 See 50 CFR 402.14(a) (‘‘Each Federal agency
                                                                                                          action and are later in time, but still are reasonably   paragraphs (a) and (b) of this section must be
                                             shall review its actions at the earliest possible time       certain to occur.’’ Id.                                  considered by the action agency and the Services.’’).
                                             to determine whether any action may affect listed               1316 84 FR 44977 (Aug. 27, 2019) (‘‘As discussed         1319 Available on NHTSA’s Corporate Average

                                             species or critical habitat.’’).                             in the proposed rule, the Services have applied the      Fuel Economy website at https://one.nhtsa.gov/
                                                1313 50 CFR 402.14(a). The recently issued final
                                                                                                          ‘but for’ test to determine causation for decades.       Laws-&-Regulations/CAFE-%E2%80%93-Fuel-
                                             rule revising the regulations governing the ESA              That is, we have looked at the consequences of an        Economy/Final-EIS-for-CAFE-Passenger-Cars-and-
                                             Section 7 consultation process. 84 FR 44976 (Aug.            action and used the causation standard of ‘but for’      Light-Trucks,-Model-Years-2012%E2%80%932016.
                                             27, 2019). The effective date of the new regulations                                                                     1320 In re: Polar Bear Endangered Species Act
                                                                                                          plus an element of foreseeability (i.e., reasonably
                                             was subsequently delayed to October 28, 2019. 84             certain to occur) to determine whether the               Listing and Section 4(D) Rule Litigation, 818
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                                             FR 50333 (Sept. 25, 2019). As discussed in the text          consequence was caused by the action under               F.Supp.2d 214 (D.D.C. Oct. 17, 2011).
                                             that follows, NHTSA believes that the conclusion             consultation.’’). We note that as the Services do not       1321 78 FR 11766 (Feb. 20, 2013).

                                             would be the same under both the current and prior           consider this to be a change in their longstanding          1322 78 FR 11784–11785 (Feb. 20, 2013).
                                             regulations.                                                 application of the ESA, this interpretation applies         1323 See DOI Solicitor’s Opinion No. M–37017,
                                                1314 50 CFR 402.02 (emphasis added), as amended           equally under the prior regulations (which were          ‘‘Guidance on the Applicability of the Endangered
                                             by 84 FR 44976, 45016 (Aug. 27, 2019).                       effective through October 28, 2019), and the current     Species Act Consultation Requirements to Proposed
                                                1315 The Services’ prior regulations defined              regulations.                                             Actions Involving the Emissions of Greenhouse
                                             ‘‘effects of the action’’ in relevant part as ‘‘the direct      1317 50 CFR 402.17(b).                                Gases’’ (Oct. 3, 2008).



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                                             whether a consequence is ‘‘reasonably                   manufacturers to avoid or delay                           second, as discussed above, the
                                             certain to occur.’’ If the consequence is               producing vehicles that would reduce                      determination of whether an action will
                                             not reasonably certain to occur, it is not              their emissions.’’ CBD concluded that                     have an effect is subject to longstanding
                                             an ‘‘effect of a proposed action’’ and                  by undergoing consultation under the                      interpretation of the Services’
                                             does not trigger the consultation                       ESA, NHTSA could make discretionary                       regulations, including a ‘‘but-for’’ test.
                                             requirement.                                            decisions, such as regarding stringency                   Again, the Services have defined ‘‘but
                                                In the NPRM for this action, NHTSA                   levels and uses of credits and other                      for’’ causation to mean ‘‘that the
                                             stated that pursuant to Section 7(a)(2) of              flexibilities, that mitigate these effects.               consequence in question would not
                                             the ESA, the agency considered the                         Second, CBD stated that NHTSA’s                        occur if the proposed action did not go
                                             effects of the proposed standards and                   adoption of the rule is an ‘‘action’’                     forward. . . . In other words, if the
                                             reviewed applicable ESA regulations,                    under the ESA, that ‘‘may affect’’                        agency fails to take the proposed action
                                             case law, and guidance to determine                     endangered species or their habitat. CBD                  and the activity would still occur, there
                                             what, if any, impact there might be to                  stated that the ‘‘may affect’’ standard                   is no ‘but for’ causation. In that event,
                                             listed species or designated critical                   includes ‘‘[a]ny possible effect, whether                 the activity would not be considered an
                                             habitat. NHTSA considered issues                        beneficial, benign, adverse or of an                      effect of the action under
                                             related to emissions of CO2 and other                   undetermined character’’, citing the                      consultation.’’ 1329
                                             GHGs, and issues related to non-GHG                     1986 final rule on interagency                               NHTSA is not able to make a causal
                                             emissions. NHTSA stated that based on                   cooperation under the ESA. CBD stated                     link for purposes of Section 7(a)(2) that
                                             this assessment, the agency determined                  that ‘‘the increases in greenhouse gas                    would ‘‘connect the dots’’ between this
                                             that the action of setting CAFE                         and criteria emissions—associated with                    action, vehicle emissions from motor
                                             standards does not require consultation                 the agency decisions described above—                     vehicles affected by this action, climate
                                             under Section 7(a)(2) of the ESA.                       may impact the hundreds of federally                      change and criteria pollutant emissions,
                                             NHTSA received one comment on its                       protected species and their critical                      and particular impacts to listed species
                                             analysis of obligations under the ESA,                  habitats that are imperiled due                           or critical habitats. The purpose of
                                             which is summarized below.                              specifically to exacerbated climate                       Section 7(a)(2) consultation is to ensure
                                                The Center for Biological Diversity                  change, nitrogen deposition, and greater                  that Federal agencies are not
                                             (CBD) provided two reasons why they                     levels of particular air pollutants from                  undertaking, funding, permitting, or
                                             believe the rule ‘‘triggers NHTSA’s                     vehicle emissions.’’                                      authorizing actions that are likely to
                                             procedural duty to undergo Section 7                       NHTSA has again reviewed                               jeopardize the continued existence of
                                             consultation.’’ 1324 First, CBD stated that             applicable ESA regulations, case law,                     listed species or destroy or adversely
                                             NHTSA’s adoption of the proposed                        guidance, and rulings in assessing the                    modify designated critical habitat.1330
                                             alternative is discretionary and if ‘‘an                potential for impacts on threatened and                   With this final rule, NHTSA is not
                                             agency has any statutory discretion over                endangered species from the final CAFE                    requiring, authorizing, funding, or
                                             the action in question, that agency has                 standards. NHTSA disagrees that the                       carrying out the production or refining
                                             the authority, and thus the                             agency’s discretion to select an                          of fuel (i.e., a proximate cause of
                                             responsibility, to comply with the                      alternative under EPCA/EISA means                         upstream emissions),1331 the operation
                                             ESA.’’ 1325 CBD argued that NHTSA, in                   that the agency is required to undertake                  of motor vehicles, both in regards to
                                             its discretion to adopt less stringent                  ESA consultation. That a statute gives                    vehicle miles traveled and driving
                                             standards than the strongest alternative                an agency discretion does not by itself                   location (i.e., the proximate cause of
                                             analyzed, or even a stronger alternative                bring an agency action under the ESA’s
                                             than the most stringent alternative                     consultation requirements; again,                         agency by its enabling act.’’) (emphasis in original)
                                             analyzed, directly ties NHTSA’s action                  Section 7 imposes a duty to consult                       (internal citation and quotations omitted);
                                             to harm to listed species and critical                  with the Services ‘‘before engaging in                    American Forest & Paper Ass’n v. EPA, 137 F.3d
                                                                                                     any discretionary action that may affect                  291, 299 (5th Cir. 1998): (The ESA ‘‘serves not as
                                             habitat. CBD stated that although the                                                                             a font of new authority, but as something far more
                                             rule would reduce the total amount of                   a listed species or critical habitat.’’ 1326              modest: A directive to agencies to channel their
                                             greenhouse gas and other emissions                      First, ‘‘to trigger the ESA consultation                  existing authority in a particular direction.’’)).
                                             compared to the baseline (i.e., the 2020                requirement, the discretionary control                       1329 84 FR 44977 (Aug. 27, 2019) (‘‘As discussed

                                                                                                     retained by the federal agency also must                  in the proposed rule, the Services have applied the
                                             final rule), NHTSA’s decision to finalize                                                                         ‘but for’ test to determine causation for decades.
                                             this rule would nonetheless allow cars                  have the capacity to inure to the benefit                 That is, we have looked at the consequences of an
                                             and light trucks to emit millions of                    of a protected species.’’ 1327 1328 And                   action and used the causation standard of ‘but for’
                                                                                                                                                               plus an element of foreseeability (i.e., reasonably
                                             metric tons of greenhouse gases and tens                   1326 Karuk Tribe of California v. U.S. Forest Serv.,   certain to occur) to determine whether the
                                             of thousands of tons of criteria                        681 F.3d 1006, 1020 (9th Cir. 2012).                      consequence was caused by the action under
                                             pollutants. CBD stated that the increases                  1327 Id. See also Sierra Club v. Babbitt, 65 F.3d      consultation.’’). We note that as the Services do not
                                             in greenhouse gas emissions between                     1502, 1509 (9th Cir. 1995).                               consider this to be a change in their longstanding
                                                                                                                                                               application of the ESA, this interpretation applies
                                             alternatives, specifically between the                     1328 CBD cites the D.C. Circuit for the proposition
                                                                                                                                                               equally under the prior regulations (which were
                                             proposal’s alternative 2 and alternative                that if ‘‘an agency has any statutory discretion over
                                                                                                     the action in question, that agency has the               effective through October 28, 2019), and the current
                                             3, are not insignificant, and they can be               authority, and thus the responsibility, to comply         regulations.
                                             directly tied to harm to species or                     with the ESA.’’ However, the D.C. Circuit’s                  1330 16 U.S.C. 1536.
                                                                                                                                                                  1331 NHTSA notes that upstream emissions
                                             critical habitat, such as to precise losses             summary of an agency’s obligation under the ESA
                                                                                                     is not so pointed; rather ‘‘Under the ESA,                sources, such as oil extraction sites and fuel
                                             of sea ice and sea ice days in the Arctic.                                                                        refineries, remain subject to the ESA. As future non-
                                                                                                     government agencies are obligated to protect
                                             CBD also stated that NHTSA is ‘‘making                  endangered and threatened species to the extent           Federal activities become reasonably certain,
                                             the discretionary decision to include a                 that their governing statutes provide them the            Section 7 and/or other sections of the ESA may
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                                             number of different regulatory                          discretion to do so.’’ See Am. Rivers v. U.S. Army        provide protection for listed species and designated
                                                                                                     Corps of Engineers, 271 F. Supp. 2d 230, 251              critical habitats. For example, new oil exploration
                                             flexibilities and credits, which allow                  (D.D.C. 2003) (citing Platte River Whooping Crane         or extraction activity may result in permitting or
                                                                                                     Critical Habitat Maintenance Trust v. Federal             construction activities that would trigger
                                               1324 Docket No. NHTSA–2021–0053–1549.
                                                                                                     Energy Regulatory Comm’n, 962 F.2d 27, 34 (D.C.           consultation or other activities for the protection of
                                               1325 NHTSA–2021–0053–1549, at 4 (citing Am.           Cir. 1992) (The ESA ‘‘directs agencies to ‘utilize        listed species or designated critical habitat, as
                                             Rivers v. United States Army Corps of Eng’rs, 271       their authorities’ to carry out the ESA’s objectives;     impacts may be more direct and more certain to
                                             F.Supp.2d 230, 251 (D.D.C. 2003)).                      it does not expand the powers conferred on an             occur.



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                                             downstream emissions), the use of land                  NHTSA is required to undertake Section                   In addition, Congress provided
                                             that is critical habitat for any purpose,               7(a)(2) consultation. Again, ‘‘to trigger             several flexibilities in EPCA/EISA that
                                             or the taking of any listed species or                  the ESA consultation requirement, the                 influence how manufacturers produce
                                             other activity that may affect any listed               discretionary control retained by the                 vehicles for sale in a model year.
                                             species. There is a complex and lengthy                 federal agency also must have the                     Manufacturers can trade and apply
                                             chain of causality between NHTSA’s                      capacity to inure to the benefit of a                 credits that have been earned from over-
                                             action of setting standards and the listed              protected species.’’ 1333 If NHTSA does               compliance in lieu of meeting the
                                             actions, which is highly dependent on                   not set standards, vehicle-related                    applicable standards for a particular
                                             (1) both manufacturer’s and consumer’s                  upstream and downstream emissions                     model year, and in fact manufacturers
                                             behavior, and (2) the nature of climate                 will still occur; if NHTSA sets more or               have planned to rely on credits to
                                             change and criteria pollutant emissions,                less stringent standards than those                   comply with the standards for the
                                             which makes any impacts of this action                  finalized in this action, emissions will              model years regulated by this action.
                                             uncertain. Regardless of the level of                   still occur. Moreover, NHTSA disagrees                Furthermore, the program allows
                                             stringency at which NHTSA sets CAFE                     that the differences in emissions                     manufacturers to pay civil penalties to
                                             standards, criteria pollutant and CO2                   between Alternative 2 and Alternative 3               cover any shortfall in compliance,
                                             emissions from these upstream and                       can be directly tied to harm to species               further offsetting potential
                                             downstream emissions sources will                       or critical habitat. There is no way to               improvements in fuel economy (and,
                                             change to a greater or lesser degree                    meaningfully differentiate between the                therefore, changes in air pollutant and
                                             because of several independent factors,                 alternatives (or an unanalyzed                        CO2 emissions). Importantly, NHTSA
                                             including those which are explicitly                    alternative more stringent than                       does not have discretion to limit either
                                             authorized by EPCA/EISA.                                Alternative 3) in terms of outcomes for               of these program flexibilities, contrary
                                                This leads NHTSA to the same                         listed species and designated critical                to CBD’s comment, as they both are
                                             conclusion as the proposal: The                         habitat. At most, NHTSA can only posit                prescribed by Congress. Both
                                             resulting impacts of this action to listed              that more stringent standards                         flexibilities could offset any changes in
                                             species or critical habitat does not                    hypothetically could lead to better                   emissions that would result from the
                                             satisfy the ‘‘but for’’ test and impacts are            outcomes. But where to draw the line in               final decision.
                                             not ‘‘reasonably certain to occur.’’                    terms of impacts to species and habitats
                                             Because NHTSA concludes there are                       is an impossible exercise.                               Consumers also play a role in which
                                             ‘‘no effects,’’ Section 7(a)(2)                                                                               vehicles are sold and how those
                                                                                                        In addition, as outlined below, the
                                             consultation is not required.                                                                                 vehicles are driven. Vehicle
                                                                                                     causal chain between NHTSA’s action
                                                                                                                                                           manufacturers can choose to apply
                                             (a) NHTSA’s Action Does Not Give the                    of setting standards and vehicle
                                                                                                     emissions is broken by actions from                   different fuel-economy-improving
                                             Agency Discretionary Control Over                                                                             technologies to their vehicles that result
                                             Emissions, Nor Does It Satisfy the                      third parties at several steps, and
                                                                                                     similarly with the chain between                      in different fuel economy and CO2 and
                                             Services’ ‘‘But-for’’ Test for Effects                                                                        criteria pollutant emissions, and they do
                                             Under the ESA                                           vehicle emissions and impacts to listed
                                                                                                     species or threatened habitats. This                  in part based on consumer demand.
                                                NHTSA is statutorily obligated to set                means that NHTSA’s action does not                    NHTSA carries forward sales
                                             attribute-based CAFE standards for each                 meet the Services’ tests for ‘‘but for’’              projections for each vehicle in the
                                             model year at the levels it determines                  causation.                                            analysis based on historic data;
                                             are ‘‘maximum feasible.’’ 1332                                                                                however, the agency cannot control the
                                                                                                        First, NHTSA’s action here is to
                                             ‘‘Maximum feasible’’ involves the                                                                             fleet mix that a manufacturer ultimately
                                                                                                     codify for each model year coefficients
                                             balancing of four factors—technological                                                                       sells. Moreover, while NHTSA makes
                                                                                                     that manufacturers input to a
                                             feasibility, economic practicability, the                                                                     projections about much consumers may
                                                                                                     mathematical formula to determine their
                                             effect of other motor vehicle standards                                                                       choose to drive vehicles for purposes of
                                                                                                     corporate average fuel economy
                                             of the government on fuel economy, and                                                                        setting standards, based on data that
                                                                                                     standard based on their vehicles’
                                             the need of the United States to                                                                              includes odometer readings, economic
                                                                                                     footprints and sales volumes. The
                                             conserve energy—while also                              footprint-based standards approach,                   data, and other factors, NHTSA does not
                                             considering EPCA’s primary purpose:                     dictated by EPCA/EISA, gives                          have any control over the drivers’ actual
                                             Energy conservation. NHTSA selects a                    manufacturers significant discretion to               VMT. While VMT is affected by the cost
                                             range of alternatives to consider when                  design, produce, and sell motor vehicles              of driving associated with fuel economy
                                             setting standards in each regulatory                    to meet different objectives. Because                 (i.e., the rebound effect), it is also
                                             action, and that range encompasses a                    manufacturers could choose to produce                 affected by several factors, such as
                                             spectrum of possible standards NHTSA                    more vehicles with larger footprints                  economic conditions, that are beyond
                                             could determine is maximum feasible                     (and therefore less stringent standards),             NHTSA’s control.
                                             based on the different ways the agency                  fleet-average CO2 emissions could                        The fact that CO2 and criteria
                                             could weigh EPCA’s four statutory                       increase to some extent year-over-year                pollutant emissions will continue after
                                             factors.                                                independently of where NHTSA sets                     NHTSA’s action on standards cannot,
                                                First, NHTSA disagrees with CBD that                 standards. Or the opposite may be true,               alone, trigger Section 7(a)(2)
                                             simply because EPCA/EISA gives the                      and a shift in consumer preferences                   consultation.1334 Again, consultation is
                                             agency discretion to set standards then                 could lead to increased production of                 not required where an agency lacks
                                               1332 See 49 U.S.C. 32902(a) (‘‘At least 18 months
                                                                                                     vehicles with smaller footprints (and                 discretion to take action that will inure
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                                             before the beginning of each model year, the            therefore more stringent standards),
                                             Secretary of Transportation shall prescribe by          resulting in overall declines in CO2                    1334 National Ass’n of Home Builders v. Defenders

                                             regulation average fuel economy standards for           emissions in the future compared to                   of Wildlife, 551 U.S. 644, 673 (2007) (‘‘Applying
                                             automobiles manufactured by a manufacturer in           what NHTSA is forecasting.                            Chevron, we defer to the [a]gency’s reasonable
                                             that model year. Each standard shall be the                                                                   interpretation of ESA [section] 7(a)(2) as applying
                                             maximum feasible average fuel economy level that                                                              only to ‘actions in which there is discretionary
                                             the Secretary decides the manufacturers can               1333 Id. See also Sierra Club v. Babbitt, 65 F.3d   Federal involvement or control.’ ’’ (quoting 50 CFR
                                             achieve in that model year.’’).                         1502, 1509 (9th Cir. 1995).                           402.03)).



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                                             to the benefit of listed species.1335                    there is no degree of certainty, using                 therefore are not ‘‘effects’’ for purposes
                                             Ultimately, the relevant decisions that                  available data or tools, that this action              of consultation under Section 7(a)(2),
                                             result in emissions are taken by third                   (as distinct from any other source of CO2              and this action has not triggered ESA
                                             parties, and any on-the-ground activities                emissions) would be the cause of any                   consultation. Accordingly, NHTSA has
                                             to implement and carry out those                         particular impact to listed species or                 concluded its review of this action
                                             decisions are undertaken by such third                   critical habitats.1336                                 under Section 7 of the ESA.
                                             parties. This means that emissions will                     The chain of causality between this
                                                                                                      action and specific impacts from criteria              7. Floodplain Management (Executive
                                             never uniformly increase or decrease for
                                                                                                      pollutant emissions on listed species or               Order 11988 and DOT Order 5650.2)
                                             all future model years, across all
                                             regulated pollutants, and in all locations               designated critical habitat is similarly                  These orders require Federal agencies
                                             throughout the country. The only factor                  attenuated. Emissions of upstream and                  to avoid the long- and short-term
                                             that NHTSA has control over is what                      tailpipe criteria pollutant emissions are              adverse impacts associated with the
                                             level of stringency to set in each model                 determined by similar manufacturer and                 occupancy and modification of
                                             year.                                                    driver controls as discussed above,1337                floodplains, and to restore and preserve
                                                                                                      meaning that the impacts of CAFE                       the natural and beneficial values served
                                             (a) NHTSA Cannot Control Greenhouse                      standards on criteria pollutants is                    by floodplains. Executive Order 11988
                                             Gas and Criteria Pollutant Emissions                     indirect. As shown in the preamble and                 also directs agencies to minimize the
                                             From Motor Vehicle Impacts to Listed                     Final SEIS, the impacts of all                         impacts of floods on human safety,
                                             Species or Critical Habitat                              alternatives on the emissions of criteria              health and welfare, and to restore and
                                                The mechanics of climate change and                   pollutants are small,1338 and they                     preserve the natural and beneficial
                                             both upstream and downstream criteria                    increase and decrease based on                         values served by floodplains through
                                             air pollutant emissions further break the                pollutant and emissions type (i.e.,                    evaluating the potential effects of any
                                             chain of causality between NHTSA’s                       upstream or downstream). However,                      actions the agency may take in a
                                             action and specific effects on listed                    while small in magnitude, net impacts                  floodplain and ensuring that its program
                                             species or designated critical habitat.                  could also vary among different                        planning and budget requests reflect
                                                Climate change is a global                            geographic areas depending on the                      consideration of flood hazards and
                                             phenomenon, impacted by greenhouse                       locations of upstream emission sources                 floodplain management. DOT Order
                                             gas emissions that could occur                           and where changes in highway travel                    5650.2 sets forth DOT policies and
                                             anywhere throughout the world. As                        occur. NHTSA has no way of knowing,                    procedures for implementing Executive
                                             these gases accumulate in the                            with reasonable certainty, where these                 Order 11988. The DOT Order requires
                                             atmosphere, radiative forcing increases,                 impacts would occur. Current modeling                  that the agency determine if a proposed
                                             resulting in various potential impacts to                tools available are not designed to trace              action is within the limits of a base
                                             the global climate system (e.g., warming                 fluctuations in ambient concentration                  floodplain, meaning it is encroaching on
                                             temperatures, droughts, and changes in                   levels of criteria and toxic air pollutants            the floodplain, and whether this
                                             ocean pH) over long time scales. These                   to potential impacts on particular                     encroachment is significant. If
                                             changes could directly or indirectly                     endangered species. NHTSA therefore                    significant, the agency is required to
                                             impact listed species and/or designated                  cannot conclude that impacts related to                conduct further analysis of the proposed
                                             critical habitat over time. Although this                the emissions of criteria air pollutants               action and any practicable alternatives.
                                             is a simplified explanation of a complex                 from fuel processes or vehicles are                    If a practicable alternative avoids
                                             phenomenon subject to a significant                      ‘‘reasonably certain to occur’’ to listed              floodplain encroachment, then the
                                             degree of scientific study, it illustrates               species or critical habitat.1339                       agency is required to implement it.
                                             that the potential climate change-related                   For these reasons, NHTSA concludes                     In this final rule, NHTSA is not
                                             consequences of this rulemaking on                       that any consequence to specific listed                occupying, modifying, and/or
                                             listed species and designated critical                   species or designated critical habitats                encroaching on floodplains. NHTSA
                                             habitat are not ‘‘reasonably certain to                  from climate change or other air                       therefore concludes that the Orders do
                                             occur’’ under any of the three tests in                  pollutant emissions is too remote and                  not apply to this final rule. NHTSA has,
                                             the ESA regulations and listed above.                    uncertain to be attributable to this                   however, conducted a review of the
                                             Not only are the consequences to listed                  action. The consequences of this action                alternatives on potentially affected
                                             species or designated critical habitat                                                                          resources, including floodplains, in its
                                             geographically and temporally remote                        1336 See 50 CFR 402.17(b) (‘‘A conclusion of        Final SEIS.
                                             from the emissions that result from                      reasonably certain to occur must be based on clear
                                             regulated vehicles, the chain of                         and substantial information, using the best            8. Preservation of the Nation’s Wetlands
                                             causality is simply too lengthy and                      scientific and commercial data available.’’).          (Executive Order 11990 and DOT Order
                                             complex. Because impacts to listed
                                                                                                         1337 In addition to the factors discussed above,
                                                                                                                                                             5660.1a)
                                                                                                      vehicles produced in the model years covered by
                                             species and designated critical habitat                  this action are subject to EPA’s tailpipe emissions       These orders require Federal agencies
                                             result from climate shifts that, in and of               standards, and these standards are expected to         to avoid, to the extent possible,
                                             themselves, result from the                              become increasingly stringent over the timeframe       undertaking or providing assistance for
                                                                                                      covered by this rulemaking. However, the
                                             accumulation over time of greenhouse                     technologies used to increase fuel economy are not
                                                                                                                                                             new construction located in wetlands
                                             gas emissions from anywhere in the                       the same technologies that are used to decrease        unless the agency head finds that there
                                             world, NHTSA cannot ‘‘connect the                        tailpipe emissions, so an increase in the first will   is no practicable alternative to such
                                             dots’’ between the emissions from a                      not necessarily result in a decrease in the latter.    construction and that the final action
                                                                                                      That said, as discussed in the preamble above and
                                             regulated vehicle and those impacts.                     further in the Final SEIS, total emissions from
                                                                                                                                                             includes all practicable measures to
                                             While the potential impacts of climate                                                                          minimize harms to wetlands that may
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                                                                                                      vehicles have declined dramatically since 1970 due
                                             change have been well-documented,                        to EPA regulation of vehicles and fuels.               result from such use. Executive Order
                                                                                                         1338 For more information, see Chapter 4 of the
                                                                                                                                                             11990 also directs agencies to take
                                               1335 Id.; Sierra Club v. Babbitt, 65 F.3d 1502, 1509   Final SEIS.                                            action to minimize the destruction, loss,
                                                                                                         1339 See 50 CFR 402.17 (‘‘A conclusion of
                                             (9th Cir. 1995) (ESA Section 7(a)(2) consultation is                                                            or degradation of wetlands in
                                             not required where an agency lacks discretion to         reasonably certain to occur must be based on clear
                                             influence private conduct in a manner that will          and substantial information, using the best            ‘‘conducting Federal activities and
                                             inure to the benefit of listed species).                 scientific and commercial data available’’).           programs affecting land use, including


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                                             but not limited to water and related land               303), as amended, is designed to                         Additionally, the 2021 DOT Order
                                             resources planning, regulating, and                     preserve publicly owned park and                      5610.2(c), ‘‘U.S. Department of
                                             licensing activities.’’ DOT Order 5660.1a               recreation lands, waterfowl and wildlife              Transportation Actions to Address
                                             sets forth DOT policy for interpreting                  refuges, and historic sites. Specifically,            Environmental Justice in Minority
                                             Executive Order 11990 and requires that                 Section 4(f) provides that DOT agencies               Populations and Low-Income
                                             transportation projects ‘‘located in or                 cannot approve a transportation                       Populations’’ (May 14, 2021), describes
                                             having an impact on wetlands’’ should                   program or project that requires the use              the process for DOT agencies to
                                             be conducted to assure protection of the                of any publicly owned land from a                     incorporate environmental justice
                                             Nation’s wetlands. If a project does have               public park, recreation area, or wildlife             principles in programs, policies, and
                                             a significant impact on wetlands, an EIS                or waterfowl refuge of national, State, or            activities. The DOT’s Environmental
                                             must be prepared.                                       local significance, unless a                          Justice Strategy specifies that
                                                NHTSA is not undertaking or                          determination is made that:                           environmental justice and fair treatment
                                             providing assistance for new                               (1) There is no feasible and prudent               of all people means that no population
                                             construction located in wetlands.                       alternative to the use of land, and                   be forced to bear a disproportionate
                                             NHTSA therefore concludes that these                       (2) The program or project includes                burden due to transportation decisions,
                                             Orders do not apply to this final rule.                 all possible planning to minimize harm                programs, and policies. It also defines
                                             NHTSA has, however, conducted a                         to the property resulting from the use.               the term minority and low-income in the
                                             review of the alternatives on potentially                  These requirements may be satisfied if             context of DOT’s environmental justice
                                             affected resources, including wetlands,                 the transportation use of a Section 4(f)              analyses. Minority is defined as a person
                                             in its Final SEIS.                                      property results in a de minimis impact               who is Black, Hispanic or Latino, Asian
                                             9. Migratory Bird Treaty Act (MBTA),                    on the area.                                          American, American Indian or Alaskan
                                             Bald and Golden Eagle Protection Act                       NHTSA concludes that Section 4(f)                  Native, or Native Hawaiian or other
                                             (BGEPA), Executive Order 13186                          does not apply to this final rule because             Pacific Islander. Low-income is defined
                                                                                                     this rulemaking is not an approval of a               as a person whose household income is
                                                The MBTA (16 U.S.C. 703–712)                                                                               at or below the Department of Health
                                                                                                     transportation program nor project that
                                             provides for the protection of certain                                                                        and Human Services poverty guidelines.
                                                                                                     requires the use of any publicly owned
                                             migratory birds by making it illegal for                                                                      Low-income and minority populations
                                                                                                     land.
                                             anyone to ‘‘pursue, hunt, take, capture,                                                                      may live in geographic proximity or be
                                             kill, attempt to take, capture, or kill,                11. Executive Order 12898: ‘‘Federal                  geographically dispersed/transient. In
                                             possess, offer for sale, sell, offer for                Actions To Address Environmental                      2021, DOT reviewed and updated its
                                             barter, barter, offer to purchase,                      Justice in Minority Populations and                   environmental justice strategy to ensure
                                             purchase, deliver for shipment, ship,                   Low-Income Populations’’                              that it continues to reflect its
                                             export, import, cause to be shipped,                                                                          commitment to environmental justice
                                                                                                        Executive Order 12898, ‘‘Federal
                                             exported, or imported, deliver for                                                                            principles and integrating those
                                                                                                     Actions to Address Environmental
                                             transportation, carry or cause to be                                                                          principles into DOT programs, policies,
                                                                                                     Justice in Minority Populations and
                                             carried, or receive for shipment,                                                                             and activities.
                                                                                                     Low-Income Populations’’ (Feb. 16,
                                             transportation, carriage, or export’’ any
                                                                                                     1994), directs Federal agencies to                       NHTSA’s Draft SEIS provided a
                                             migratory bird covered under the
                                                                                                     ‘‘promote nondiscrimination in federal                qualitative analysis of the affected
                                             statute.1340
                                                The BGEPA (16 U.S.C. 668–668d)                       programs substantially affecting human                environment for environmental justice
                                             makes it illegal to ‘‘take, possess, sell,              health and the environment, and                       and the environmental consequences for
                                             purchase, barter, offer to sell, purchase               provide minority and low-income                       impacted communities. Specifically,
                                             or barter, transport, export or import’’                communities access to public                          NHTSA identified that minority and
                                             any bald or golden eagles.1341 Executive                information on, and an opportunity for                low-income communities near where oil
                                             Order 13186, ‘‘Responsibilities of                      public participation in, matters relating             production and refining occur, areas
                                             Federal Agencies to Protect Migratory                   to human health or the environment.’’                 near roadways, coastal flood-prone
                                             Birds,’’ helps to further the purposes of               E.O. 12898 also directs agencies to                   areas, and urban heat islands subject to
                                             the MBTA by requiring a Federal agency                  identify and consider any                             the head island effect would most likely
                                             to develop a Memorandum of                              disproportionately high and adverse                   be exposed to the environmental and
                                             Understanding (MOU) with FWS when                       human health or environmental effects                 health effects of oil production,
                                             it is taking an action that has (or is likely           that their actions might have on                      distribution, and consumption, or the
                                             to have) a measurable negative impact                   minority and low-income communities                   impacts of climate change. NHTSA
                                             on migratory bird populations.                          and provide opportunities for                         described several ways in which
                                                NHTSA concludes that the MBTA,                       community input in the NEPA process.                  environmental justice communities may
                                             BGEPA, and Executive Order 13186 do                     CEQ has provided agencies with general                be disproportionately impacted by these
                                             not apply to this final rule because there              guidance on how to meet the                           activities. However, NHTSA concluded
                                             is no disturbance, take, measurable                     requirements of the E.O. as it relates to             that the magnitude of changes in
                                             negative impact, or other covered                       NEPA. A White House Environmental                     upstream air pollutant emissions would
                                             activity involving migratory birds or                   Justice Interagency Council established               not be characterized as high and
                                             bald or golden eagles involved in this                  under E.O. 14008, ‘‘Tackling the Climate              adverse, and similarly that the changes
                                             rulemaking.                                             Crisis at Home and Abroad,’’ is expected              in exposure to downstream emissions
                                                                                                     to advise CEQ on ways to update E.O.                  would be small in comparison to
                                             10. Department of Transportation Act                    12898, including the expansion of                     existing conditions. NHTSA also
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                                             (Section 4(f))                                          environmental justice advice and                      described how climate change could
                                               Section 4(f) of the Department of                     recommendations. The White House                      disproportionately affect minority and
                                             Transportation Act of 1966 (49 U.S.C.                   Environmental Justice Interagency                     low-income communities; the agency
                                                                                                     Council will advise on increasing                     concluded that even though the impacts
                                               1340 16 U.S.C. 703(a).                                environmental justice monitoring and                  of this action on minority and low-
                                               1341 16 U.S.C. 668(a).                                enforcement.                                          income communities would be


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                                             attenuated by a lengthy causal chain,                   due to PM2.5 and differential                         12. Executive Order 13045: ‘‘Protection
                                             the changes to climate values would be                  vulnerabilities due to climate change.                of Children From Environmental Health
                                             very small and incremental compared to                     Based on the analysis presented in the             Risks and Safety Risks’’
                                             expected changes associated with future                 Final SEIS, the agency has determined                    This action is subject to Executive
                                             global emissions trajectories. NHTSA                    that this rulemaking (and alternatives                Order 13045 (62 FR 19885, Apr. 23,
                                             concluded that the alternatives                         considered) would not result in                       1997) because it is an economically
                                             considered in the proposal and Draft                    disproportionately high and adverse                   significant regulatory action as defined
                                             SEIS would not result in                                human health or environmental effects                 by E.O. 12866, and NHTSA has reason
                                             disproportionately high and adverse                     on minority or low-income populations.                to believe that the environmental health
                                             human health effects or environmental                   To the extent that minority and low-                  and safety risks related to this action,
                                             effects on minority or low-income                       income populations live closer to oil                 although small, may have a
                                             populations. This is because the rule                   refining facilities, these populations                disproportionate effect on children.
                                             sets standards nationwide, and although                 may be more likely to be adversely                    Specifically, children are more
                                             minority and low-income populations                     affected by the emissions of the                      vulnerable to adverse health effects
                                             may experience some disproportionate                    Proposed Action and alternatives. As                  related to mobile source emissions, as
                                             effects or face inequities in receiving                 noted, a correlation between proximity                well as to the potential long-term
                                             some benefits, impacts of the                           to oil refineries and the prevalence of               impacts of climate change. Pursuant to
                                             alternatives on human health and the                    minority and low-income populations is                E.O. 13045, NHTSA must prepare an
                                             environment would not be high and                       suggested in the scientific literature.               evaluation of the environmental health
                                             adverse.                                                However, the magnitude of the change
                                                Several commenters, including the                                                                          or safety effects of the planned
                                                                                                     in emissions relative to the baseline is              regulation on children and an
                                             California Department of Justice, Office                minor and would not be characterized
                                             of the Attorney General et al., the                                                                           explanation of why the planned
                                                                                                     as high and adverse. To the extent that               regulation is preferable to other
                                             American Lung Association, the                          minority and low-income populations
                                             Environmental Law & Policy Center, the                                                                        potentially effect and reasonably
                                                                                                     disproportionately live or attend schools             feasible alternatives considered by
                                             Alliance of Nurses for Healthy                          near major roadways, these populations
                                             Environments, the Asthma and Allergy                                                                          NHTSA. Further, this analysis may be
                                                                                                     may be more likely to be adversely                    included as part of any other required
                                             Foundation of America, Greenlatinos,                    affected by the Proposed Action and
                                             New Mexico Interfaith Power and Light,                                                                        analysis.
                                                                                                     alternatives. However, the change in the                 All of the action alternatives would
                                             National Parks Conservation                             level of exposure would be small in
                                             Association, and the National Religious                                                                       reduce CO2 emissions relative to the
                                                                                                     comparison to the existing conditions in              baseline and thus have positive effects
                                             Partnership for the Environment stated                  these areas.
                                             that the projected impacts of NHTSA’s                                                                         on mitigating global climate change, and
                                                                                                        NHTSA’s Final SEIS finds that all                  thus environmental and health effects
                                             proposed standards are likely to be
                                                                                                     action alternatives would bring benefits              associated with climate change. While
                                             magnified in communities with higher
                                                                                                     to air quality and human health by                    environmental and health effects
                                             percentages of Black, Asian American,
                                                                                                     reducing air-quality-related adverse                  associated with criteria pollutant and
                                             and Latinx residents because refineries
                                                                                                     health impacts nationwide by 2025,                    toxic air pollutant emissions vary over
                                             and major roadways are
                                                                                                     2035, and 2050. In general, Alternative               time and across alternatives, negative
                                             disproportionately located in those
                                             communities. More specifically, the                     1 provides the largest decrease in                    effects, when estimated, are extremely
                                             California Department of Justice, Office                adverse health impacts by 2025, while                 small. This preamble and the agency’s
                                             of the Attorney General et al. stated that              Alternative 3 would provide the largest               Final SEIS discuss air quality, climate
                                             ‘‘improvements in air quality                           decrease by 2035 and 2050. In all                     change, and their related environmental
                                             anticipated by the proposal will serve                  alternatives, adverse health impacts                  and health effects, noting where these
                                             [our States and Cities’] environmental                  would decrease over time due to                       would disproportionately affect
                                             justice goals, by improving air quality in              increasing stringency as action                       children. In addition, Section VI of this
                                             communities historically impacted by                    alternatives are implemented.                         preamble explains why NHTSA believes
                                             greater pollution.’’ Other commenters                      Finally, any impacts of this                       that the final standards are preferable to
                                             urged NHTSA to consider more                            rulemaking on low-income and minority                 other alternatives considered. Together,
                                             stringent alternatives to combat the                    communities due to climate change                     this preamble and Final SEIS satisfy
                                             economic effects to lower-income                        would be attenuated by a lengthy causal               NHTSA’s responsibilities under E.O.
                                             households as well as the                               chain; but if one could attempt to draw               13045.
                                             environmental justice effects from                      those links, the changes to climate
                                                                                                     values would be very small and                        13. Executive Order 13211: ‘‘Energy
                                             changes to criteria and toxic pollution.                                                                      Effects’’
                                                NHTSA agrees that minority and low-                  incremental compared to the expected
                                             income populations are                                  changes associated with the future                       Executive Order 13211, ‘‘Energy
                                             disproportionately affected by changes                  global emissions trajectories.                        Effects’’, requires agencies prepare a
                                             in criteria and air toxic pollutant                        This rulemaking would set standards                Statement of Energy Effects that
                                             emissions, as noted by numerous                         nationwide, and although minority and                 describes the effects of certain
                                             commenters. Based on comments and                       low-income populations may                            regulatory actions on energy supply,
                                             additional information available since                  experience some disproportionate                      distribution, and use. This action is not
                                             the Draft SEIS, NHTSA updated its                       effects, in particular locations, the                 a ‘‘significant energy action’’ under the
                                             qualitative discussion of environmental                 overall impacts on human health and                   Executive order because it is not likely
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                                             justice impacts in the Final SEIS to                    the environment would not be ‘‘high                   to have a significant adverse effect on
                                             incorporate peer-reviewed sources and                   and adverse’’ under E.O. 12898. Section               the supply, distribution, or use of
                                             additional data points on public health                 VI and the Final SEIS contain further                 energy. We have outlined the energy
                                             and vulnerable populations. In addition,                discussion of NHTSA’s consideration of                effects in Table I–3 above and elsewhere
                                             the Final SEIS incorporates new                         environmental justice issues associated               in this preamble and associated FRIA,
                                             information from EPA on health effects                  with this action.                                     and those results are briefly summarized


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                                             here. This action reduces fuel use for                  entities (i.e., small businesses, small               Classification System (NAICS) code.1342
                                             passenger cars and light trucks under                   organizations, and small governmental                 One of the criteria for determining size
                                             revised fuel economy standards, which                   jurisdictions). No regulatory flexibility             is the number of employees in the firm.
                                             will result in significant reductions of                analysis is required if the head of an                For establishments primarily engaged in
                                             the consumption of petroleum, will                      agency certifies the rule will not have a             manufacturing or assembling
                                             achieve energy security benefits, and                   significant economic impact on a                      automobiles, as well as light duty
                                             have no adverse energy effects. Because                 substantial number of small entities.                 trucks, the firm must have less than
                                             our final fuel economy standards result                 SBREFA amended the Regulatory                         1,500 employees to be classified as a
                                             in significant fuel savings, this rule                  Flexibility Act to require Federal                    small business. This rule would affect
                                             encourages more efficient use of fuels.                 agencies to provide a statement of the                motor vehicle manufacturers. As shown
                                             We estimate that the final standards will               factual basis for certifying that a rule              in Table VIII–1, the agency has
                                             save approximately 234 billion gallons                  will not have a significant economic                  identified 14 small manufacturers of
                                             of gasoline through 2050.                               impact on a substantial number of small
                                                                                                                                                           passenger cars, light trucks, and SUVs of
                                                                                                     entities.
                                             E. Regulatory Flexibility Act                              We have considered the impacts of                  electric, hybrid, and internal
                                                Pursuant to the Regulatory Flexibility               this final rule under the Regulatory                  combustion engines. We acknowledge
                                             Act (5 U.S.C. 601 et seq., as amended by                Flexibility Act and certify that this final           that some newer manufacturers may not
                                             the Small Business Regulatory                           rule will not have a significant                      be listed. However, many of those new
                                             Enforcement Fairness Act (SBREFA) of                    economic impact on a substantial                      manufacturers tend to have
                                             1996), whenever an agency is required                   number of small entities. The following               transportation products that are not part
                                             to publish a notice of proposed                         is NHTSA’s statement providing the                    of the light-duty vehicle fleet and have
                                             rulemaking or final rule, it must prepare               factual basis for this certification                  yet to start production of light-duty
                                             and make available for public comment                   pursuant to 5 U.S.C. 605(b).                          vehicles. Moreover, we do not believe
                                             a regulatory flexibility analysis that                     Small businesses are defined based on              that there are a ‘‘substantial number’’ of
                                             describes the effect of the rule on small               the North American Industry                           these newer companies.1343
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                                               1342 Classified in NAICS under Subsector 336—         (336112), and Heavy Duty Truck Manufacturing            1343 5 U.S.C. 605(b).

                                             Transportation Equipment Manufacturing for              (336120). https://www.sba.gov/document/support--
                                                                                                                                                                                                        ER02MY22.255</GPH>




                                             Automobile Manufacturing (336111), Light Truck          table-size-standards (accessed: February 10, 2022).



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                                                We believe that thefinal rulemaking                  Similar to the CAFE preemption final                  G. Executive Order 12988 (Civil Justice
                                             would not have a significant economic                   rule,1347 NHTSA does not believe that                 Reform)
                                             impact on small vehicle manufacturers                   this final rule implicates E.O. 13132,                   Pursuant to Executive Order 12988,
                                             because under 49 CFR part 525,                          because it neither imposes substantial                ‘‘Civil Justice Reform’’ (61 FR 4729, Feb.
                                             passenger vehicle manufacturers                         direct compliance costs on State, local,              7, 1996), NHTSA has considered
                                             building fewer than 10,000 vehicles per                 or Tribal governments, nor does it                    whether this rulemaking would have
                                             year can petition NHTSA to have                         preempt State law. Thus, this final rule              any retroactive effect. This final rule
                                             alternative standards set for those                     does not implicate the consultation                   does not have any retroactive effect.
                                             manufacturers. Listed manufacturers                     procedures that E.O. 13132 imposes on
                                             producing ICE vehicles do not currently                                                                       H. Executive Order 13175 (Consultation
                                                                                                     agency regulations that would either
                                             meet the standard and must already                                                                            and Coordination With Indian Tribal
                                                                                                     preempt State law or impose substantial
                                             petition the agency for relief. If the                                                                        Governments)
                                             standard is raised, it has no meaningful                direct compliance costs on State, local,
                                                                                                     or Tribal governments, because the only                 This final rule does not have tribal
                                             impact on these manufacturers—they                                                                            implications, as specified in Executive
                                             still must go through the same process                  entities subject to this final rule are
                                                                                                     vehicle manufacturers. Nevertheless,                  Order 13175 (65 FR 67249, Nov. 9,
                                             and petition for relief. Given there                                                                          2000). This final rule will be
                                             already is a mechanism for relieving                    NHTSA has complied with the Order’s
                                                                                                     requirements and consulted directly                   implemented at the Federal level and
                                             burden on small businesses, which is                                                                          will impose compliance costs only on
                                             the purpose of the Regulatory Flexibility               with the California Air Resources Board
                                                                                                                                                           vehicle manufacturers. Thus, Executive
                                             Act, a regulatory flexibility analysis was              in developing a number of elements of
                                                                                                                                                           Order 13175, which requires
                                             not prepared.                                           this final rule.
                                                                                                                                                           consultation with Tribal officials when
                                                Further, small manufacturers of                         NHTSA received several comments                    agencies are developing policies that
                                             electric vehicles would not face a                      on CAFE preemption under 49 U.S.C.                    have ‘‘substantial direct effects’’ on
                                             significant economic impact. The
                                                                                                     32919: Some stating that State                        Tribes and Tribal interests, does not
                                             method for earning credits applies
                                                                                                     regulations like California’s were                    apply to this final rule.
                                             equally across manufacturers and does
                                             not place small entities at a significant               preempted, and others urging NHTSA to
                                                                                                                                                           I. Unfunded Mandates Reform Act
                                             competitive disadvantage. In any event,                 take a substantive stance beyond what
                                                                                                     the preemption final rule set forth. With                Section 202 of the Unfunded
                                             even if the rule had a ‘‘significant                                                                          Mandates Reform Act of 1995 (UMRA)
                                             economic impact’’ on these small EV                     regard to the federalism implications of
                                                                                                     the final rule, NHTSA has spoken to this              requires Federal agencies to prepare a
                                             manufacturers, the amount of these                                                                            written assessment of the costs, benefits,
                                             companies is not ‘‘a substantial                        issue separately at 86 FR 74236 (Dec. 29,
                                                                                                     2021), ‘‘Corporate Average Fuel                       and other effects of a proposed or final
                                             number.’’1346 For these reasons, their
                                                                                                                                                           rule that includes a Federal mandate
                                             existence does not alter the agency’s                   Economy (CAFE) Preemption’’ final
                                                                                                                                                           likely to result in the expenditure by
                                             analysis of the applicability of the                    rule. NHTSA is taking no positions on
                                                                                                                                                           State, local, or Tribal governments, in
                                             Regulatory Flexibility Act.                             EPCA preemption in this final rule
                                                                                                                                                           the aggregate, or by the private sector, of
                                             F. Executive Order 13132 (Federalism)                   beyond those already expressed in that                more than $100 million in any one year
                                                                                                     separate preemption final rule.                       (adjusted for inflation with base year of
                                                Executive Order 13132 requires                       Moreover, to the extent that any analysis
                                             Federal agencies to develop an                                                                                1995). Adjusting this amount by the
                                                                                                     in this final rule discusses State                    implicit gross domestic product price
                                             accountable process to ensure
                                                                                                     regulatory programs, including any from               deflator for 2018 results in $153 million
                                             ‘‘meaningful and timely input by State
                                                                                                     California under Section 209 of the                   (110.296/71.868 = 1.53).1349 Before
                                             and local officials in the development of
                                             regulatory policies that have federalism                Clean Air Act or other states under                   promulgating a rule for which a written
                                             implications. The order defines the term                Section 177 of the Clean Air Act, such                statement is needed, section 205 of
                                             ‘‘[p]olicies that have federalism                       analysis also does not implicate E.O.                 UMRA generally requires NHTSA to
                                             implications’’ to include regulations                   13132. As explained previously herein                 identify and consider a reasonable
                                             that have ‘‘substantial direct effects on               in response to commenters, this final                 number of regulatory alternatives and
                                             the States, on the relationship between                 rule does not entail a legal                          adopt the least costly, most cost-
                                             the national government and the States,                 determination of the validity of such                 effective, or least burdensome
                                             or on the distribution of power and                     programs, including any assessment of                 alternative that achieves the objective of
                                             responsibilities among the various                      how or whether any such programs may                  the rule. The provisions of section 205
                                             levels of government.’’ Under the order,                be affected by 49 U.S.C. 32919. In fact,              do not apply when they are inconsistent
                                             agencies may not issue a regulation that                as NHTSA recently explained in the                    with applicable law. Moreover, section
                                             has federalism implications, that                       CAFE preemption final rule, NHTSA                     205 allows NHTSA to adopt an
                                             imposes substantial direct compliance                   lacks the legal authority to legally                  alternative other than the least costly,
                                             costs, unless the Federal Government                    dictate the scope of EPCA preemption in               most cost-effective, or least burdensome
                                             provides the funds necessary to pay the                 this manner and, instead, the legal                   alternative if the agency publishes with
                                             direct compliance costs incurred by the                 status of any such programs is more                   the rule an explanation of why that
                                             State and local governments, or the                                                                           alternative was not adopted.
                                                                                                     appropriately adjudicated in a judicial
                                             agencies consult with State and local                                                                            This final rule will not result in the
                                                                                                     forum.1348
                                             officials early in the process of                                                                             expenditure by State, local, or Tribal
                                             developing the proposed regulation.                                                                           governments, in the aggregate, of more
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                                                                                                       1347 See 86 FR 74236, 74365 (Dec. 29, 2021).
                                                                                                                                                           than $153 million annually, but it will
                                                                                                        1348 Id. at 74238. As a result, NHTSA determined
                                               1344 Estimated number of employees as of June

                                             2021, source: Linkedin.com and other websites           in the CAFE preemption final rule that ‘‘While this     1349 Bureau of Economic Analysis, National
                                             reporting company profiles.                             final rule concerns matters of preemption, it does    Income and Product Accounts (NIPA), Table 1.1.9
                                               1345 Rough estimate of light duty vehicle             not entail either type of regulation covered by       Implicit Price Deflators for Gross Domestic Product.
                                             production for MY 2020.                                 Executive Order 13132’s consultation                  https://bea.gov/iTable/index_nipa.cfm (accessed:
                                               1346 5 U.S.C. 605.                                    requirements.’’ Id. at 74265.                         February 10, 2022).



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                                             result in the expenditure of that                       L. Department of Energy Review                        reports and the remaining 2 hours are a
                                             magnitude by vehicle manufacturers                        In accordance with 49 U.S.C.                        result of correcting calculations errors
                                             and/or their suppliers. In developing                   32902(j)(2), NHTSA submitted this rule                from the prior ICR. While NHTSA did
                                             this final rule, we considered a range of               to the Department of Energy for review.               not receive any comments about its
                                             alternative fuel economy standards. As                                                                        burden estimates, NHTSA did receive
                                             explained in detail in Section VI of the                M. Paperwork Reduction Act                            comments on the proposed changes to
                                             preamble, NHTSA believes that our                          Under the procedures established by                the templates. NHTSA discusses these
                                             selected alternative is the maximum                     the Paperwork Reduction Act of 1995                   comments and the agency’s response in
                                             feasible alternative that achieves the                  (PRA), a person is not required to                    the relevant sections above ((See Section
                                             objectives of this rulemaking, as                       respond to a collection of information                VII.A.2.b).1–4). After reviewing the
                                             required by EPCA/EISA.                                  by a Federal agency unless the                        comments, NHTSA is revising the
                                                                                                     collection displays a valid Office of                 templates to address comments, as
                                             J. Regulation Identifier Number                                                                               discussed above. However, NHTSA
                                                                                                     Management and Budget (OMB) control
                                                                                                     number. This final rule modifies                      determined that no changes to the
                                                The Department of Transportation
                                                                                                     NHTSA’s existing information                          information collection are warranted.
                                             assigns a regulation identifier number
                                                                                                     collection request (ICR) for its Corporate            Accordingly, NHTSA is finalizing the
                                             (RIN) to each regulatory action listed in
                                                                                                     Average Fuel Economy (CAFE) program                   burden estimates for the reporting
                                             the Unified Agenda of Federal                                                                                 requirements that were proposed in the
                                             Regulations. The Regulatory Information                 (OMB control number 2127–0019).
                                                                                                     NHTSA sought comment on its                           NPRM. For additional information, see
                                             Service Center publishes the Unified                                                                          the supporting documentation for this
                                             Agenda in April and October of each                     intention to seek approval from OMB for
                                                                                                     this modification in the proposal and                 information collection request that is
                                             year. The RIN contained in the heading                                                                        posted to the docket.1351
                                             at the beginning of this document may                   forwarded the ICR to the Office of
                                             be used to find this action in the Unified              Management and Budget (OMB) for                       List of Subjects in 49 CFR Parts 531,
                                             Agenda.                                                 approval. OMB deferred approval of this               533, 536, and 537
                                                                                                     ICR and instructed NHTSA to resubmit
                                             K. National Technology Transfer and                     the ICR with publication of the final                   Fuel economy, Reporting and
                                             Advancement Act                                         rule. NHTSA is now resubmitting its                   recordkeeping requirements.
                                                                                                     request for revision of its existing CAFE               For the reasons discussed in the
                                                Section 12(d) of the National                        information collection.                               preamble, the National Highway Traffic
                                             Technology Transfer and Advancement                        NHTSA’s ICR describes the nature of                Safety Administration amends 49 CFR
                                             Act (NTTAA) requires NHTSA evaluate                     the information collections for the CAFE              chapter V as follows:
                                             and use existing voluntary consensus                    program and their expected burden. As                 ■ 1. Revise part 531 to read as follows:
                                             standards in its regulatory activities                  described in the NPRM, the ICR covers
                                             unless doing so would be inconsistent                   requirements for manufacturers to                     PART 531—PASSENGER
                                             with applicable law (e.g., the statutory                submit information on CAFE standards,                 AUTOMOBILE AVERAGE FUEL
                                             provisions regarding NHTSA’s vehicle                    exemptions, vehicles, technologies, and               ECONOMY STANDARDS
                                             safety authority) or otherwise                          CAFE compliance test results.
                                                                                                                                                           Sec.
                                             impractical.1350                                        Manufacturers also provide information                531.1 Scope.
                                                Voluntary consensus standards are                    on any of the flexibilities and incentives            531.2 Purpose.
                                             technical standards developed or                        they use during the model year to                     531.3 Applicability.
                                             adopted by voluntary consensus                          comply with CAFE standards. These                     531.4 Definitions.
                                             standards bodies. Technical standards                   reporting requirements are necessary to               531.5 Fuel economy standards.
                                                                                                     ensure compliance with its CAFE                       531.6 Measurement and calculation
                                             are defined by the NTTAA as                                                                                        procedures.
                                             ‘‘performance-based or design-specific                  program.
                                                                                                        In the NPRM, NHTSA proposed                        Appendix A to Part 531—Example of
                                             technical specification and related                                                                                Calculating Compliance Under § 531.5(c)
                                             management systems practices.’’ They                    changes to the CAFE program’s
                                                                                                     standardized reporting templates for                    Authority: 49 U.S.C. 32902; delegation of
                                             pertain to ‘‘products and processes,                                                                          authority at 49 CFR 1.95.
                                             such as size, strength, or technical                    manufacturers to submit information to
                                             performance of a product, process or                    NHTSA on their vehicle production and                 § 531.1    Scope.
                                             material.’’                                             CAFE credits used to comply with the
                                                                                                     CAFE standards. NHTSA proposed                          This part establishes average fuel
                                                Examples of organizations generally                  making changes to its reporting template              economy standards pursuant to section
                                             regarded as voluntary consensus                         for PMY and MMY reports. As noted in                  502(a) and (c) of the Motor Vehicle
                                             standards bodies include the ASTM                       the NPRM, these changes are expected                  Information and Cost Savings Act, as
                                             International, the Society of Automotive                to result in additional burden hours to               amended, for passenger automobiles.
                                             Engineers (SAE), and the American                       respondents.                                          § 531.2    Purpose.
                                             National Standards Institute (ANSI). If                    NHTSA estimates the total burden of
                                             NHTSA does not use available and                                                                                The purpose of this part is to increase
                                                                                                     this ICR is 4,861 hours and $0. This is               the fuel economy of passenger
                                             potentially applicable voluntary                        a change of 843 hours and $0 (from
                                             consensus standards, it is required by                                                                        automobiles by establishing minimum
                                                                                                     4,018 hours and $0). Most of this burden              levels of average fuel economy for those
                                             the Act to provide Congress, through                    is a result of the correction of 550 hours            vehicles.
                                             OMB, an explanation of the reasons for                  for NHTSA’s CAFE Credit Value
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                                             not using such standards. There are                     Reporting Requirement. An additional                  § 531.3    Applicability.
                                             currently no consensus standards that                   268 hours are a result of increased trade               This part applies to manufacturers of
                                             NHTSA administers relevant to these                     contracts received by NHTSA since the                 passenger automobiles.
                                             final CAFE standards.                                   last PRA. Five of the hours are a result
                                                                                                     of additional information to be collected               1351 This information is forwarded to OMB with
                                               1350 15 U.S.C. 272.                                   in new data fields in the PMY and MMY                 the ICR.



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                                             § 531.4       Definitions.                                                  § 531.5       Fuel economy standards.                               TABLE 1 TO § 531.5(a)—Continued
                                               (a) Statutory terms. (1) The terms                                           (a) Except as provided in paragraph (f)
                                             average fuel economy, manufacture,                                          of this section, each manufacturer of                                                                       Average fuel
                                                                                                                         passenger automobiles shall comply                                          Model year                    economy standard
                                             manufacturer, and model year are used                                                                                                                                                 (miles per gallon)
                                                                                                                         with the fleet average fuel economy
                                             as defined in section 501 of the Act.
                                                                                                                         standards in Table 1 to this paragraph                            1984 ................................                  27.0
                                               (2) The terms automobile and                                              (a), expressed in miles per gallon, in the                        1985 ................................                  27.5
                                             passenger automobile are used as                                            model year specified as applicable:                               1986 ................................                  26.0
                                             defined in section 501 of the Act and in                                                                                                      1987 ................................                  26.0
                                             accordance with the determination in                                                       TABLE 1 TO § 531.5(a)                              1988 ................................                  26.0
                                             part 523 of this chapter.                                                                                                                     1989 ................................                  26.5
                                                                                                                                                                        Average fuel       1990–2010 ......................                       27.5
                                               (b) Other terms. As used in this part,                                               Model year                        economy standard
                                             unless otherwise required by the                                                                                         (miles per gallon)      (b) For model year 2011, a
                                             context—                                                                                                                                      manufacturer’s passenger automobile
                                                                                                                         1978 ................................                      18.0
                                               (1) Act means the Motor Vehicle                                           1979 ................................                      19.0
                                                                                                                                                                                           fleet shall comply with the fleet average
                                             Information and Cost Savings Act, as                                        1980 ................................                      20.0   fuel economy level calculated for that
                                             amended by Public Law 94–163.                                               1981 ................................                      22.0   model year according to Figure 1 to this
                                               (2) [Reserved]                                                            1982 ................................                      24.0   paragraph (b) and the appropriate values
                                                                                                                         1983 ................................                      26.0   in Table 2 to this paragraph (b).




                                             Where:                                                                             determined according to the following                      Where:
                                             N is the total number (sum) of passenger                                           formula, rounded to the nearest                            Parameters a, b, c, and d are defined in Table
                                                  automobiles produced by a                                                     hundredth:                                                      2 to this paragraph (b);
                                                  manufacturer;                                                                                                                            e = 2.718; and
                                             Ni is the number (sum) of the ith passenger                                                                                                   x = footprint (in square feet, rounded to the
                                                  automobile model produced by the
                                                                                                                                                                                                nearest tenth) of the vehicle model.
                                                  manufacturer; and
                                             Ti is the fuel economy target of the ith model
                                                  passenger automobile, which is

                                                                 TABLE 2 TO § 531.5(b)—PARAMETERS FOR THE PASSENGER AUTOMOBILE FUEL ECONOMY TARGETS
                                                                                                                                                                                                    Parameters
                                                                                               Model year
                                                                                                                                                                          a (mpg)          b (mpg)               c (gal/mi/ft2)          d (gal/mi)

                                             2011 .................................................................................................................        31.20             24.00                    51.41                1.91



                                                (c) For model years 2012–2026, a                                         fuel economy level calculated for that                            to this paragraph (c) and the appropriate
                                             manufacturer’s passenger automobile                                         model year (MY) according to Figure 2                             values in Table 3 to this paragraph (c).
                                             fleet shall comply with the fleet average


                                                                                                                                                                                                                                                         ER02MY22.259</GPH>




                                             Where:                                                                          represents automobiles that share a                              designation, i.e., which share the same
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                                             CAFErequired is the fleet average fuel economy                                  unique model type and footprint within                           model type and footprint; and
                                                                                                                                                                                                                                                         ER02MY22.257</GPH>




                                                 standard for a given fleet (domestic                                        the applicable fleet, either domestic                         TARGETi is the fuel economy target in miles
                                                 passenger automobiles or import                                             passenger automobiles or import                                  per gallon (mpg) applicable to the
                                                 passenger automobiles);                                                     passenger automobiles;                                           footprint of passenger automobiles
                                             Subscript i is a designation of multiple                                    Productioni is the number of passenger                               within each ith designation, i.e., which
                                                 groups of automobiles, where each                                           automobiles produced for sale in the                             share the same model type and footprint,
                                                                                                                                                                                                                                                         ER02MY22.256</GPH>




                                                 group’s designation, i.e., i = 1, 2, 3, etc.,                               United States within each ith                                    calculated according to Figure 3 to this



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                                                   paragraph (c) and rounded to the nearest                                    mpg, and the summations in the                                     performed over all models in the fleet in
                                                   hundredth of a mpg, i.e., 35.455 = 35.46                                    numerator and denominator are both                                 question.




                                             Where:                                                                     Parameters a, b, c, and d are defined in Table                      The MIN and MAX functions take the
                                             TARGET is the fuel economy target (in mpg)                                     3 to this paragraph (c); and                                        minimum and maximum, respectively,
                                                applicable to vehicles of a given                                                                                                               of the included values.
                                                footprint (FOOTPRINT, in square feet);

                                                                TABLE 3 TO § 531.5(c)—PARAMETERS FOR THE PASSENGER AUTOMOBILE FUEL ECONOMY TARGETS
                                                                                                                                              [MYs 2012–2026]

                                                                                                                                                                                            Parameters
                                                                                   Model year                                                           a                             b                          c                              d
                                                                                                                                                      (mpg)                         (mpg)                   (gal/mi/ft2)                     (gal/mi)

                                             2012 .........................................................................................                     35.95                       27.95                 0.0005308                       0.006057
                                             2013 .........................................................................................                     36.80                       28.46                 0.0005308                       0.005410
                                             2014 .........................................................................................                     37.75                       29.03                 0.0005308                       0.004725
                                             2015 .........................................................................................                     39.24                       29.90                 0.0005308                       0.003719
                                             2016 .........................................................................................                     41.09                       30.96                 0.0005308                       0.002573
                                             2017 .........................................................................................                     43.61                       32.65                 0.0005131                       0.001896
                                             2018 .........................................................................................                     45.21                       33.84                 0.0004954                       0.001811
                                             2019 .........................................................................................                     46.87                       35.07                 0.0004783                       0.001729
                                             2020 .........................................................................................                     48.74                       36.47                 0.0004603                       0.001643
                                             2021 .........................................................................................                     49.48                       37.02                  0.000453                        0.00162
                                             2022 .........................................................................................                     50.24                       37.59                  0.000447                        0.00159
                                             2023 .........................................................................................                     51.00                       38.16                  0.000440                        0.00157
                                             2024 .........................................................................................                     55.44                       41.48                  0.000405                        0.00144
                                             2025 .........................................................................................                     60.26                       45.08                  0.000372                        0.00133
                                             2026 .........................................................................................                     66.95                       50.09                  0.000335                        0.00120



                                               (d) In addition to the requirements of                                       TABLE 4 TO § 531.5(d)—MINIMUM                                    TABLE 5 TO § 531.5(e)(1)—AVERAGE
                                             paragraphs (b) and (c) of this section,                                        FUEL ECONOMY STANDARDS FOR                                           FUEL ECONOMY STANDARDS
                                             each manufacturer shall also meet the                                          DOMESTICALLY       MANUFACTURED
                                             minimum fleet standard for                                                     PASSENGER AUTOMOBILES—Contin-                                                                                         Miles per
                                                                                                                                                                                                             Model year
                                             domestically manufactured passenger                                                                                                                                                                   gallon
                                             automobiles expressed in Table 4 to this
                                                                                                                            ued
                                             paragraph (d):                                                                                   [MYs 2011–2026]                               1978 ..............................................         16.1
                                                                                                                                                                                            1979 ..............................................         14.5
                                                                                                                                                                                Minimum     1980 ..............................................         15.8
                                                 TABLE 4 TO § 531.5(d)—MINIMUM                                                            Model year                            standard    1981 ..............................................         18.2
                                                 FUEL ECONOMY STANDARDS FOR                                                                                                                 1982 ..............................................         18.2
                                                 DOMESTICALLY       MANUFACTURED                                        2022 ..............................................          40.6   1983 ..............................................         16.9
                                                 PASSENGER AUTOMOBILES                                                  2023 ..............................................          41.1   1984 ..............................................         16.9
                                                                                                                        2024 ..............................................          44.3   1985 ..............................................         16.9
                                                                   [MYs 2011–2026]
                                                                                                                        2025 ..............................................          48.1
                                                                                                      Minimum           2026 ..............................................          53.5      (2) Rolls-Royce Motors, Inc.
                                                              Model year                              standard
                                                                                                                          (e) The following manufacturers shall                              TABLE 6 TO § 531.5(e)(2)—AVERAGE
                                             2011 ..............................................              27.8                                                                               FUEL ECONOMY STANDARDS
                                                                                                                        comply with the standards indicated in
                                             2012 ..............................................              30.7
                                             2013 ..............................................              31.4      paragraphs (e)(1) through (15) of this
                                                                                                                                                                                                                                                  Miles per
                                             2014 ..............................................              32.1      section for the specified model years:                                               Model year                            gallon
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                                             2015 ..............................................              33.3        (1) Avanti Motor Corporation.
                                             2016 ..............................................              34.7                                                                          1978 ..............................................         10.7
                                             2017 ..............................................              36.7                                                                          1979 ..............................................         10.8
                                             2018 ..............................................              38.0                                                                          1980 ..............................................         11.1
                                             2019 ..............................................              39.4                                                                          1981 ..............................................         10.7
                                             2020 ..............................................              40.9                                                                          1982 ..............................................         10.6
                                                                                                                                                                                                                                                               ER02MY22.260</GPH>




                                             2021 ..............................................              39.9                                                                          1983 ..............................................          9.9



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                                               TABLE 6 TO § 531.5(e)(2)—AVERAGE                                  TABLE 10 TO § 531.5(e)(6)—AVERAGE                                     TABLE 15 TO § 531.5(e)(11)—AVER-
                                                FUEL ECONOMY STANDARDS—Con-                                          FUEL ECONOMY STANDARDS                                             AGE FUEL ECONOMY STANDARD—
                                                tinued                                                                                                                                  Continued
                                                                                                                                                                         Miles per
                                                                                                                                  Model year
                                                                                                   Miles per                                                              gallon                                                           Miles per
                                                              Model year                                                                                                                              Model year
                                                                                                    gallon                                                                                                                                  gallon
                                                                                                                 1994 ..............................................          24.2
                                             1984 ..............................................          10.0   1995 ..............................................          23.3   1995 ..............................................        17.0
                                             1985 ..............................................          10.0
                                             1986 ..............................................          11.0        (7) Officine Alfieri Maserati, S.p.A.                             (12) MedNet, Inc.
                                             1987 ..............................................          11.2
                                             1988 ..............................................          11.2   TABLE 11 TO § 531.5(e)(7)—AVERAGE                                      TABLE 16 TO § 531.5(e)(12)—
                                             1989 ..............................................          11.2        FUEL ECONOMY STANDARD
                                             1990 ..............................................          12.7
                                                                                                                                                                                      AVERAGE FUEL ECONOMY STANDARD
                                             1991 ..............................................          12.7                                                           Miles per
                                                                                                                                  Model year                                                                                                Average
                                             1992 ..............................................          13.8                                                            gallon                                                               fuel
                                             1993 ..............................................          13.8                                                                                                                              economy
                                             1994 ..............................................          13.8   1978 ..............................................          12.5                    Model year                            standard
                                             1995 ..............................................          14.6   1979 ..............................................          12.5                                                         (miles per
                                             1996 ..............................................          14.6   1980 ..............................................           9.5                                                           gallon)
                                             1997 ..............................................          15.1   1984 ..............................................          17.9
                                             1998 ..............................................          16.3   1985 ..............................................          16.8   1996 ..............................................        17.0
                                             1999 ..............................................          16.3                                                                       1997 ..............................................        17.0
                                                                                                                      (8) Lamborghini of North America.                              1998 ..............................................        17.0
                                                (3) Checker Motors Corporation.                                                                                                         (13) Vector Aeromotive Corporation.
                                                                                                                 TABLE 12 TO § 531.5(e)(8)—AVERAGE
                                              TABLE 7 TO § 531.5(e)(3)—AVERAGE                                        FUEL ECONOMY STANDARD                                             TABLE 17 TO § 531.5(e)(13)—
                                                  FUEL ECONOMY STANDARDS                                                                                                              AVERAGE FUEL ECONOMY STANDARD
                                                                                                                                                                         Miles per
                                                                                                                                  Model year
                                                                                                   Miles per                                                              gallon
                                                              Model year                                                                                                                                                                   Miles per
                                                                                                    gallon                                                                                            Model year
                                                                                                                 1983 ..............................................          13.7                                                          gallon
                                             1978 ..............................................          17.6   1984 ..............................................          13.7
                                                                                                                                                                                     1998 ..............................................        12.1
                                             1979 ..............................................          16.5
                                             1980 ..............................................          18.5        (9) LondonCoach Co., Inc.
                                             1981 ..............................................          18.3
                                                                                                                                                                                        (14) Qvale Automotive Group Srl.
                                             1982 ..............................................          18.4   TABLE 13 TO § 531.5(e)(9)—AVERAGE
                                                                                                                      FUEL ECONOMY STANDARD                                             TABLE 18 TO § 531.5(e)(14)—
                                                (4) Aston Martin Lagonda, Inc.
                                                                                                                                                                                      AVERAGE FUEL ECONOMY STANDARD
                                                                                                                                                                         Miles per
                                                                                                                                  Model year                                                                                               Miles per
                                                                                                                                                                          gallon                      Model year
                                              TABLE 8 TO § 531.5(e)(4)—AVERAGE                                                                                                                                                              gallon
                                                  FUEL ECONOMY STANDARDS                                         1985 ..............................................          21.0
                                                                                                                 1986 ..............................................          21.0   2000 ..............................................        22.0
                                                                                                   Miles per     1987 ..............................................          21.0   2001 ..............................................        22.0
                                                              Model year                            gallon
                                                                                                                   (10) Automobili Lamborghini S.p.A./                                  (15) Spyker Automobielen B.V.
                                             1979 ..............................................          11.5   Vector Aeromotive Corporation.
                                             1980 ..............................................          12.1                                                                          TABLE 19 TO § 531.5(e)(15)—
                                             1981 ..............................................          12.2
                                             1982 ..............................................          12.2     TABLE 14 § 531.5(e)(10)—AVERAGE                                    AVERAGE FUEL ECONOMY STANDARD
                                             1983 ..............................................          11.3         FUEL ECONOMY STANDARD
                                             1984 ..............................................          11.3                                                                                                                             Miles per
                                                                                                                                                                                                      Model year                            gallon
                                             1985 ..............................................          11.4                                                           Miles per
                                                                                                                                  Model year                              gallon
                                                                                                                                                                                     2006 ..............................................        18.9
                                                (5) Excalibur Automobile Corporation.                            1995 ..............................................          12.8   2007 ..............................................        18.9
                                                                                                                 1996 ..............................................          12.6
                                              TABLE 9 TO § 531.5(e)(5)—AVERAGE                                   1997 ..............................................          12.5   § 531.6 Measurement and calculation
                                                  FUEL ECONOMY STANDARDS                                                                                                             procedures.
                                                                                                                      (11) Dutcher Motors, Inc.                                        (a) The fleet average fuel economy
                                                                                                   Miles per                                                                         performance of all passenger
                                                              Model year                            gallon          TABLE 15 TO § 531.5(e)(11)—                                      automobiles that are manufactured by a
                                             1978 ..............................................          11.5
                                                                                                                  AVERAGE FUEL ECONOMY STANDARD                                      manufacturer in a model year shall be
                                             1979 ..............................................          11.5                                                                       determined in accordance with
                                             1980 ..............................................          16.2                                                           Miles per   procedures established by the
                                                                                                                                  Model year                              gallon     Administrator of the Environmental
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                                             1981 ..............................................          17.9
                                             1982 ..............................................          17.9   1986 ..............................................          16.0   Protection Agency (EPA) under 49
                                             1983 ..............................................          16.6   1987 ..............................................          16.0   U.S.C. 32904 and set forth in 40 CFR
                                             1984 ..............................................          16.6   1988 ..............................................          16.0   part 600.
                                             1985 ..............................................          16.6   1992 ..............................................          17.0     (b) For model years 2017 and later, a
                                                                                                                 1993 ..............................................          17.0   manufacturer is eligible to increase the
                                                (6) Lotus Cars Ltd.                                              1994 ..............................................          17.0   fuel economy performance of passenger


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                                             cars in accordance with procedures                               off-cycle technology, if prior to the                           (B) Whether the technology is related
                                             established by the EPA set forth in 40                           applicable model year, the                                   to crash-avoidance technologies, safety
                                             CFR part 600, subpart F, including any                           manufacturers submits to EPA a                               critical systems or systems affecting
                                             adjustments to fuel economy the EPA                              detailed analytical plan and is approved                     safety-critical functions, or technologies
                                             allows, such as for fuel consumption                             (i.e., for its planned test procedure and                    designed for the purpose of reducing the
                                             improvements related to air                                      model types for demonstration) in                            frequency of vehicle crashes;
                                             conditioning efficiency and off-cycle                            accordance with 40 CFR 86.1869–12(d).                           (C) Information from any assessments
                                             technologies. Manufacturers must                                    (B) A manufacturer seeking to                             conducted by the EPA related to the
                                             provide reporting on these technologies                          increase its CAFE program fuel                               application, the technology and/or
                                             as specified in § 537.7 of this chapter by                       economy performance using the                                related technologies; and
                                             the required deadlines.                                          alternative methodology for an off-cycle                        (D) Any other relevant factors.
                                                (1) Efficient air conditioning                                technology must also submit an official                         (iii) Safety. (A) Technologies found to
                                             technologies. A manufacturer that seeks                          credit application to EPA and obtain                         be defective or non-compliant, subject
                                             to increase its fleet average fuel                               approval in accordance with 40 CFR                           to recall pursuant to part 573 of this
                                             economy performance through the use                              86.1869–12(e) prior to September of the                      chapter, due to a risk to motor vehicle
                                             of technologies that improve the                                 given model year.                                            safety, will have the values of approved
                                             efficiency of air conditioning systems                              (C) A manufacturer’s plans,                               off-cycle credits removed from the
                                             must follow the requirements in 40 CFR                           applications and requests approved by                        manufacturer’s credit balance or
                                             86.1868–12. Fuel consumption                                     the EPA must be made in consultation                         adjusted to the population of vehicles
                                             improvement values resulting from the                            with the National Highway Traffic                            the manufacturer remedies as required
                                             use of those air conditioning systems                            Safety Administration (NHTSA). To                            by 49 U.S.C. Chapter 301. NHTSA will
                                             must be determined in accordance with                            expedite NHTSA’s consultation with the                       consult with the manufacturer to
                                             40 CFR 600.510–12(c)(3)(i).                                      EPA, a manufacturer must concurrently                        determine the amount of the
                                                (2) Off-cycle technologies on EPA’s
                                                                                                              submit its application to NHTSA if the                       adjustment.
                                             predefined list or using 5-cycle testing.
                                                                                                              manufacturer is seeking off-cycle fuel                          (B) Approval granted for innovative
                                             A manufacturer that seeks to increase its
                                                                                                              economy improvement values under the                         and off-cycle technology credits under
                                             fleet average fuel economy performance
                                                                                                              CAFE program for those technologies.                         NHTSA’s fuel efficiency program does
                                             through the use of off-cycle technologies
                                                                                                              For off-cycle technologies that are                          not affect or relieve the obligation to
                                             must follow the requirements in 40 CFR
                                                                                                              covered under 40 CFR 86.1869–12(d),                          comply with the Vehicle Safety Act (49
                                             86.1869–12. A manufacturer is eligible
                                             to gain fuel consumption improvements                            NHTSA will consult with the EPA                              U.S.C. Chapter 301), including the
                                             for predefined off-cycle technologies in                         regarding NHTSA’s evaluation of the                          ‘‘make inoperative’’ prohibition (49
                                             accordance with 40 CFR 86.1869–12(b)                             specific off-cycle technology to ensure                      U.S.C. 30122), and all applicable
                                             or for technologies tested using the                             its impact on fuel economy and the                           Federal motor vehicle safety standards
                                             EPA’s 5-cycle methodology in                                     suitability of using the off-cycle                           (FMVSSs) issued thereunder (part 571
                                             accordance with 40 CFR 86.1869–12(c).                            technology to adjust the fuel economy                        of this chapter). In order to generate off-
                                             The fuel consumption improvement is                              performance.                                                 cycle or innovative technology credits
                                             determined in accordance with 40 CFR                                (D) A manufacturer may request an                         manufacturers must state—
                                             600.510–12(c)(3)(ii).                                            extension from NHTSA for more time to                           (1) That each vehicle equipped with
                                                (3) Off-cycle technologies using the                          obtain an EPA approval. Manufacturers                        the technology for which they are
                                             alternative EPA-approved methodology.                            should submit their requests 30 days                         seeking credits will comply with all
                                             A manufacturer is eligible to increase its                       before the deadlines in paragraphs                           applicable FMVSS(s); and
                                             fuel economy performance through use                             (b)(3)(i)(A) through (C) of this section.                       (2) Whether or not the technology has
                                             of an off-cycle technology requiring an                          Requests should be submitted to                              a fail-safe provision. If no fail-safe
                                             application request made to the EPA in                           NHTSA’s Director of the Office of                            provision exists, the manufacturer must
                                             accordance with 40 CFR 86.1869–12(d).                            Vehicle Safety Compliance at cafe@                           explain why not and whether a failure
                                                (i) Eligibility under the corporate                           dot.gov.                                                     of the innovative technology would
                                             average fuel economy (CAFE) program                                 (ii) Review and approval process.                         affect the safety of the vehicle.
                                             requires compliance with paragraphs                              NHTSA will provide to EPA its views
                                                                                                              on the suitability of using the off-cycle                    Appendix A to Part 531—Example of
                                             (b)(3)(i)(A) through (C) of this section.
                                                                                                              technology to adjust vehicle fuel                            Calculating Compliance Under
                                             Paragraphs (b)(3)(i)(A), (B), and (D) of
                                                                                                              economy performance. NHTSA’s                                 § 531.5(c)
                                             this section apply starting in model year
                                             2024.                                                            evaluation and review will consider:                           Assume a hypothetical manufacturer
                                                (A) A manufacturer seeking to                                    (A) Whether the technology has a                          (Manufacturer X) produces a fleet of
                                             increase its fuel economy performance                            direct impact upon improving fuel                            domestic passenger automobiles in MY
                                             using the alternative methodology for an                         economy performance;                                         2012 as follows:

                                                                                                                          APPENDIX A—TABLE I
                                                                                              Model type                                                                                         Actual
                                                                                                                                                                                              measured fuel
                                                                                                                                                                  Description                                 Volume
                                                                                                              Basic engine       Transmission                                                   economy
                                                   Group                          Carline name                     (L)               class                                                       (mpg)
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                                             1 .....................     PC A FWD .........................               1.8   A5 ..................   2-door sedan ......................            34.0       1,500
                                             2 .....................     PC A FWD .........................               1.8   M6 ..................   2-door sedan ......................            34.6       2,000
                                             3 .....................     PC A FWD .........................               2.5   A6 ..................   4-door wagon .....................             33.8       2,000
                                             4 .....................     PC A AWD .........................               1.8   A6 ..................   4-door wagon .....................             34.4       1,000
                                             5 .....................     PC A AWD .........................               2.5   M6 ..................   2-door hatchback ...............               32.9       3,000
                                             6 .....................     PC B RWD .........................               2.5   A6 ..................   4-door wagon .....................             32.2       8,000



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                                                                                                                                       APPENDIX A—TABLE I—Continued
                                                                                                         Model type                                                                                                                                         Actual
                                                                                                                                                                                                                                                         measured fuel
                                                                                                                                                                                                                 Description                                                              Volume
                                                                                                                                  Basic engine                  Transmission                                                                               economy
                                                    Group                               Carline name                                   (L)                          class                                                                                   (mpg)

                                             7 .....................       PC B RWD .........................                                        2.5       A7 ..................          4-door sedan ......................                                             33.1                 2,000
                                             8 .....................       PC C AWD .........................                                        3.2       A7 ..................          4-door sedan ......................                                             30.6                 5,000
                                             9 .....................       PC C FWD .........................                                        3.2       M6 ..................          2-door coupe ......................                                             28.5                 3,000

                                                    Total ........         .............................................        ........................       ........................       .............................................              ........................                27,500
                                               Note to Table I to this appendix: Manufacturer X’s required fleet average fuel economy standard level would first be calculated by deter-
                                             mining the fuel economy targets applicable to each unique model type and footprint combination for model type groups 1–9 as illustrated in
                                             Table II to this appendix.
                                               Manufacturer X calculates a fuel economy target standard for each unique model type and footprint combination.

                                                                                                                                                     APPENDIX A—TABLE II
                                                                                      Model type                                                                                                                                         Track                                                   Fuel
                                                                                                                                                                                                                     Wheel-              width                                                economy
                                                                                                                                                                                            Base tire                                                       Footprint
                                                                                                         Basic                                              Description                                               base               F&R                                    Volume          target
                                                                                                                           Transmission                                                       size                                                            (ft2)
                                                    Group                  Carline name                 engine                                                                                                      (inches)           average                                                standard
                                                                                                                               class
                                                                                                          (L)                                                                                                                          (inches)                                                 (mpg)

                                             1 .......................    PC A FWD ......                       1.8      A5 ....................     2-door sedan ............              205/75R14                     99.8                61.2                 42.4               1,500          35.01
                                             2 .......................    PC A FWD ......                       1.8      M6 ...................      2-door sedan ............              215/70R15                     99.8                60.9                 42.2               2,000          35.14
                                             3 .......................    PC A FWD ......                       2.5      A6 ....................     4-door wagon ...........               215/70R15                    100.0                60.9                 42.3               2,000          35.08
                                             4 .......................    PC A AWD ......                       1.8      A6 ....................     4-door wagon ...........               235/60R15                    100.0                61.2                 42.5               1,000          35.95
                                             5 .......................    PC A AWD ......                       2.5      M6 ...................      2-door hatchback .....                 225/65R16                     99.6                59.5                 41.2               3,000          35.81
                                             6 .......................    PC B RWD ......                       2.5      A6 ....................     4-door wagon ...........               265/55R18                    109.2                66.8                 50.7               8,000          30.33
                                             7 .......................    PC B RWD ......                       2.5      A7 ....................     4-door sedan ............              235/65R17                    109.2                67.8                 51.4               2,000          29.99
                                             8 .......................    PC C AWD ......                       3.2      A7 ....................     4-door sedan ............              265/55R18                    111.3                67.8                 52.4               5,000          29.52
                                             9 .......................    PC C FWD ......                       3.2      M6 ...................      2-door coupe ............              225/65R16                    111.3                67.2                 51.9               3,000          29.76

                                                   Total .........        .........................   ................   .........................   ..................................   ....................     ................   ................     ................          27,500   ................
                                               Note to Table II to this appendix: With the appropriate fuel economy targets determined for each unique model type and footprint combination, Manufacturer X’s
                                             required fleet average fuel economy standard would be calculated as illustrated in Figure 1 to this appendix.


                                             BILLING CODE 4910–59–P
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                                             BILLING CODE 4910–59–C                                  § 533.2    Purpose.                                   domestically manufactured but which is
                                             Note to Figure 2 to this appendix: Since                  The purpose of this part is to increase             imported in the 1980 model year or
                                             the actual fleet average fuel economy                   the fuel economy of light trucks by                   thereafter by a manufacturer whose
                                             performance of Manufacturer X’s fleet is                establishing minimum levels of average                principal place of business is in the
                                             32.0 mpg, as compared to its required                   fuel economy for those vehicles.                      United States.
                                             fleet fuel economy standard of 31.6                     § 533.3    Applicability.                               (4) 4-wheel drive general utility
                                             mpg, Manufacturer X complied with the                                                                         vehicle means a 4-wheel drive, general
                                                                                                        This part applies to manufacturers of
                                             CAFE standard for MY 2012 as set forth                                                                        purpose automobile capable of off-
                                                                                                     light trucks.
                                             in § 531.5(c).                                                                                                highway operation that has a wheelbase
                                                                                                     § 533.4    Definitions.                               of not more than 280 centimeters, and
                                             ■ 2. Revise part 533 to read as follows:                                                                      that has a body shape similar to 1977
                                                                                                       (a) Statutory terms. (1) The terms
                                                                                                     average fuel economy, average fuel                    Jeep CJ–5 or CJ–7, or the 1977 Toyota
                                             PART 533—LIGHT TRUCK FUEL                                                                                     Land Cruiser.
                                                                                                     economy standard, fuel economy,
                                             ECONOMY STANDARDS
                                                                                                     import, manufacture, manufacturer, and                  (5) Basic engine means a unique
                                             Sec.                                                    model year are used as defined in                     combination of manufacturer, engine
                                             533.1 Scope.                                            section 501 of the Act.                               displacement, number of cylinders, fuel
                                             533.2 Purpose.                                            (2) The term automobile is used as                  system (as distinguished by number of
                                             533.3 Applicability.                                    defined in section 501 of the Act and in              carburetor barrels or use of fuel
                                             533.4 Definitions.                                      accordance with the determinations in                 injection), and catalyst usage.
                                             533.5 Requirements.                                     part 523 of this chapter.
                                                                                                       (3) The term domestically                             (6) Limited product line light truck
                                             533.6 Measurement and calculation                                                                             means a light truck manufactured by a
                                                  procedures.                                        manufactured is used as defined in
                                                                                                     section 503(b)(2)(E) of the Act.                      manufacturer whose light truck fleet is
                                             Appendix A to Part 533—Example of
                                                                                                       (b) Other terms. As used in this part,              powered exclusively by basic engines
                                                  Calculating Compliance Under § 533.5(i)
                                                                                                     unless otherwise required by the                      which are not also used in passenger
                                               Authority: 49 U.S.C. 32902; delegation of                                                                   automobiles.
                                                                                                     context—
                                             authority at 49 CFR 1.95.                                 (1) Act means the Motor Vehicle                     § 533.5    Requirements.
                                             § 533.1   Scope.                                        Information Cost Savings Act, as
                                                                                                     amended by Public Law 94–163.                           (a) Each manufacturer of light trucks
                                                This part establishes average fuel                     (2) Light truck is used in accordance               shall comply with the following fleet
                                             economy standards pursuant to section                   with the determinations in part 523 of                average fuel economy standards,
                                             502(b) of the Motor Vehicle Information                 this chapter.                                         expressed in miles per gallon, in the
                                             and Cost Savings Act, as amended, for                     (3) Captive import means with respect               model year (MY) specified as
                                             light trucks.                                           to a light truck, one which is not                    applicable:
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                                                                                                                                                                                                     ER02MY22.262</GPH>




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                                                                                                                                        TABLE 1 TO § 533.5(a)
                                                                                                                                                                                     2-wheel drive light            4-wheel drive light                   Limited
                                                                                                                                                                                          trucks                         trucks                           product
                                                                                                     Model year                                                                                                                                          line light
                                                                                                                                                                                    Captive                        Captive
                                                                                                                                                                                                  Other                                Other               trucks
                                                                                                                                                                                    imports                        imports

                                             1979 .............................................................................................................................          17.2          15.8      ................   ................    ................
                                             1980 .............................................................................................................................          16.0          16.0               14.0               14.0                14.0
                                             1981 .............................................................................................................................          16.7          16.7               15.0               15.0                14.5


                                                                                                                                        TABLE 2 TO § 533.5(a)
                                                                                                                                                                 Combined standard                2-wheel drive light                 4-wheel drive light
                                                                                                                                                                                                       trucks                              trucks
                                                                                           Model year                                                            Captive             Others      Captive                             Captive
                                                                                                                                                                 imports                                           Others                                 Others
                                                                                                                                                                                                 imports                             imports

                                             1982 .........................................................................................................             17.5             17.5          18.0               18.0                16.0              16.0
                                             1983 .........................................................................................................             19.0             19.0          19.5               19.5                17.5              17.5
                                             1984 .........................................................................................................             20.0             20.0          20.3               20.3                18.5              18.5
                                             1985 .........................................................................................................             19.5             19.5          19.7               19.7                18.9              18.9
                                             1986 .........................................................................................................             20.0             20.0          20.5               20.5                19.5              19.5
                                             1987 .........................................................................................................             20.5             20.5          21.0               21.0                19.5              19.5
                                             1988 .........................................................................................................             20.5             20.5          21.0               21.0                19.5              19.5
                                             1989 .........................................................................................................             20.5             20.5          21.5               21.5                19.0              19.0
                                             1990 .........................................................................................................             20.0             20.0          20.5               20.5                19.0              19.0
                                             1991 .........................................................................................................             20.2             20.2          20.7               20.7                19.1              19.1


                                                            TABLE 3 TO § 533.5(a)                                                       TABLE 4 TO § 533.5(a)                                     TABLE 4 TO § 533.5(a)—Continued
                                                                                    Combined standard                                  Model year                                 Standard                   Model year                                Standard
                                                     Model year                     Captive                              2001 ......................................                     20.7   2008 ......................................                     22.5
                                                                                                         Other
                                                                                    imports                              2002 ......................................                     20.7   2009 ......................................                     23.1
                                                                                                                         2003 ......................................                     20.7   2010 ......................................                     23.5
                                             1992 ..........................               20.2               20.2
                                                                                                                         2004 ......................................                     20.7
                                             1993 ..........................               20.4               20.4
                                             1994 ..........................               20.5               20.5       2005 ......................................                     21.0
                                             1995 ..........................               20.6               20.6       2006 ......................................                     21.6
                                                                                                                         2007 ......................................                     22.2




                                             Where:                                                                      Ni is the number (sum) of the ith light truck                          Ti is the fuel economy target of the ith light
                                             N is the total number (sum) of light trucks                                      model type produced by a manufacturer;                                 truck model type, which is determined
                                                  produced by a manufacturer;                                                 and                                                                    according to the following formula,
                                                                                                                                                                                                     rounded to the nearest hundredth:




                                             Where:                                                                      Parameters a, b, c, and d are defined in Table                         x = footprint (in square feet, rounded to the
                                                                                                                              5 to this paragraph (a);
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                                                                                                                                                                                                     nearest tenth) of the model type.
                                                                                                                         e = 2.718; and
                                                                                                                                                                                                                                                                           ER02MY22.264</GPH>
                                                                                                                                                                                                                                                                           ER02MY22.263</GPH>




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                                                                  TABLE 5 TO § 533.5(a)—PARAMETERS FOR THE LIGHT TRUCK FUEL ECONOMY TARGETS FOR MYS
                                                                                                                                                      [2008–2011]

                                                                                                                                                                                         Parameters
                                                                                       Model year                                                             a                    b                      c                d
                                                                                                                                                            (mpg)                (mpg)               (gal/mi/ft2)       (gal/mi)

                                             2008 .................................................................................................                 28.56                19.99                49.30                5.58
                                             2009 .................................................................................................                 30.07                20.87                48.00                5.81
                                             2010 .................................................................................................                 29.96                21.20                48.49                5.50
                                             2011 .................................................................................................                 27.10                21.10                56.41                4.28




                                             Where:                                                                     Productioni is the number of light trucks                          model type and footprint, calculated
                                             CAFErequired is the fleet average fuel economy                                 produced for sale in the United States                         according to either Figure 3 or 4 to this
                                                 standard for a given light truck fleet;                                    within each ith designation, i.e., which                       paragraph (a), as appropriate, and
                                             Subscript i is a designation of multiple                                       share the same model type and footprint;                       rounded to the nearest hundredth of a
                                                 groups of light trucks, where each                                         and                                                            mpg, i.e., 35.455 = 35.46 mpg, and the
                                                 group’s designation, i.e., i = 1, 2, 3, etc.,                          TARGETi is the fuel economy target in miles                        summations in the numerator and
                                                represents light trucks that share a                                        per gallon (mpg) applicable to the                             denominator are both performed over all
                                                unique model type and footprint within                                      footprint of light trucks within each ith
                                                                                                                                                                                           models in the fleet in question.
                                                the applicable fleet;                                                       designation, i.e., which share the same




                                             Where:                                                                     Parameters a, b, c, and d are defined in Table               The MIN and MAX functions take the
                                             TARGET is the fuel economy target (in mpg)                                     6 to this paragraph (a); and                                 minimum and maximum, respectively,
                                                applicable to vehicles of a given                                                                                                        of the included values.
                                                footprint (FOOTPRINT, in square feet);

                                                                 TABLE 6 FOR § 533.5(a)—PARAMETERS FOR THE LIGHT TRUCK FUEL ECONOMY TARGETS FOR MYS
                                                                                                                                                      [2012–2016]

                                                                                                                                                                                         Parameters
                                                                                       Model year                                                             a                    b                      c                d
                                                                                                                                                            (mpg)                (mpg)               (gal/mi/ft2)       (gal/mi)

                                             2012 .................................................................................................                 29.82                22.27            0.0004546        0.014900
                                             2013 .................................................................................................                 30.67                22.74            0.0004546        0.013968
                                             2014 .................................................................................................                 31.38                23.13            0.0004546        0.013225
                                             2015 .................................................................................................                 32.72                23.85            0.0004546        0.011920
                                             2016 .................................................................................................                 34.42                24.74            0.0004546        0.010413
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                                             Where:                                                      Parameters a, b, c, d, e, f, g, and h are defined        The MIN and MAX functions take the
                                             TARGET is the fuel economy target (in mpg)                      in Table 7 to this paragraph (a); and                    minimum and maximum, respectively,
                                                applicable to vehicles of a given                                                                                     of the included values.
                                                footprint (FOOTPRINT, in square feet);

                                                                TABLE 7 TO § 533.5(a)—PARAMETERS FOR THE LIGHT TRUCK FUEL ECONOMY TARGETS FOR MYS
                                                                                                                             [2017–2026]

                                                                                                                                             Parameters
                                                       Model year                        a               b                c                d                e              f              g            h
                                                                                       (mpg)           (mpg)         (gal/mi/ft2)       (gal/mi)          (mpg)          (mpg)       (gal/mi/ft2)   (gal/mi)

                                             2017 .................................       36.26            25.09      0.0005484          0.005097            35.10          25.09     0.0004546     0.009851
                                             2018 .................................       37.36            25.20      0.0005358          0.004797            35.31          25.20     0.0004546     0.009682
                                             2019 .................................       38.16            25.25      0.0005265          0.004623            35.41          25.25     0.0004546     0.009603
                                             2020 .................................       39.11            25.25      0.0005140          0.004494            35.41          25.25     0.0004546     0.009603
                                             2021 .................................       39.71            25.63       0.000506           0.00443              NA             NA             NA           NA
                                             2022 .................................       40.31            26.02       0.000499           0.00436              NA             NA             NA           NA
                                             2023 .................................       40.93            26.42       0.000491           0.00429              NA             NA             NA           NA
                                             2024 .................................       44.48            26.74       0.000452           0.00395              NA             NA             NA           NA
                                             2025 .................................       48.35            29.07       0.000416           0.00364              NA             NA             NA           NA
                                             2026 .................................       53.73            32.30       0.000374           0.00327              NA             NA             NA           NA



                                                (b)(1) For model year 1979, each                            (1) Combine its 2- and 4-wheel drive                  paragraph (a) of this section, with said
                                             manufacturer may:                                           light trucks (segregating captive import                 option being irrevocably chosen for that
                                                (i) Combine its 2- and 4-wheel drive                     and other light trucks) and comply with                  model year and reported as specified in
                                             light trucks and comply with the                            the combined average fuel economy                        § 537.8 of this chapter.
                                             average fuel economy standard in                            standard specified in paragraph (a) of                      (h) For model year 2011, a
                                             paragraph (a) of this section for 2-wheel                   this section; or                                         manufacturer’s light truck fleet shall
                                             drive light trucks; or                                         (2) Comply separately with the 2-
                                                (ii) Comply separately with the two                                                                               comply with the fleet average fuel
                                                                                                         wheel drive standards and the 4-wheel
                                             standards specified in paragraph (a) of                     drive standards (segregating captive                     economy standard calculated for that
                                             this section.                                               import and other light trucks) specified                 model year according to Figure 1 to
                                                (2) For model year 1979, the standard                    in paragraph (a) of this section.                        paragraph (a) of this section and the
                                             specified in paragraph (a) of this section                     (e) For model year 1992, each                         appropriate values in Table 5 to
                                             for 4-wheel drive light trucks applies                      manufacturer shall comply with the                       paragraph (a) of this section.
                                             only to 4-wheel drive general utility                       average fuel economy standard specified                     (i) For model years 2012–2016, a
                                             vehicles. All other 4-wheel drive light                     in paragraph (a) of this section                         manufacturer’s light truck fleet shall
                                             trucks in that model year shall be                          (segregating captive import and other                    comply with the fleet average fuel
                                             included in the 2-wheel drive category                      light trucks).                                           economy standard calculated for that
                                             for compliance purposes.                                       (f) For each model year 1996 and                      model year according to Figures 2 and
                                                (c) For model years 1980 and 1981,                       thereafter, each manufacturer shall                      3 to paragraph (a) of this section and the
                                             manufacturers of limited product line                       combine its captive imports with its                     appropriate values in Table 6 to
                                             light trucks may:                                           other light trucks and comply with the                   paragraph (a) of this section.
                                                (1) Comply with the separate standard                    fleet average fuel economy standard in
                                             for limited product line light trucks in                    paragraph (a) of this section.                              (j) For model years 2017–2026, a
                                             Table 1 to paragraph (a) of this section;                      (g) For model years 2008–2010, at a                   manufacturer’s light truck fleet shall
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                                             or                                                          manufacturer’s option, a manufacturer’s                  comply with the fleet average fuel
                                                (2) Comply with the other standards                      light truck fleet may comply with the                    economy standard calculated for that
                                             specified in paragraph (a) of this                          fuel economy standard calculated for                     model year according to Figures 2 and
                                             section, as applicable.                                     each model year according to Figure 1                    4 to paragraph (a) of this section and the
                                                (d) For model years 1982–91, each                        to paragraph (a) of this section and the                 appropriate values in Table 7 to
                                                                                                                                                                                                               ER02MY22.267</GPH>




                                             manufacturer may:                                           appropriate values in Table 5 to                         paragraph (a) of this section.


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                                             § 533.6 Measurement and calculation                     86.1870–12 and the fuel consumption                   For off-cycle technologies that are
                                             procedures.                                             improvement of these full-size pickup                 covered under 40 CFR 86.1869–12(d),
                                                (a) Any reference to a class of light                truck technologies must be determined                 NHTSA will consult with the EPA
                                             trucks manufactured by a manufacturer                   in accordance with 40 CFR 600.510–                    regarding NHTSA’s evaluation of the
                                             shall be deemed—                                        12(c)(3)(iii). Manufacturers may also                 specific off-cycle technology to ensure
                                                (1) To include all light trucks in that              combine incentives for full size pickups              its impact on fuel economy and the
                                             class manufactured by persons who                       and dedicated alternative fueled                      suitability of using the off-cycle
                                             control, are controlled by, or are under                vehicles when calculating fuel economy                technology to adjust the fuel economy
                                             common control with, such                               performance values in 40 CFR 600.510–                 performance.
                                             manufacturer;                                           12.                                                      (D) A manufacturer may request an
                                                (2) To include only light trucks which                  (3) Off-cycle technologies on EPA’s                extension from NHTSA for more time to
                                             qualify as non-passenger vehicles in                    predefined list or using 5-cycle testing.             obtain an EPA approval. Manufacturers
                                             accordance with § 523.5 of this chapter                 A manufacturer that seeks to increase its             should submit their requests 30 days
                                             based upon the production                               fleet average fuel economy performance                before the deadlines in paragraphs
                                             measurements of the vehicles as sold to                 through the use of off-cycle technologies             (c)(4)(i)(A) through (C) of this section.
                                             dealerships; and                                        must follow the requirements in 40 CFR                Requests should be submitted to
                                                (3) To exclude all light trucks in that              86.1869–12. A manufacturer is eligible                NHTSA’s Director of the Office of
                                             class manufactured (within the meaning                  to gain fuel consumption improvements                 Vehicle Safety Compliance at cafe@
                                             of paragraph (a)(1) of this section)                    for predefined off-cycle technologies in              dot.gov.
                                             during a model year by such                             accordance with 40 CFR 86.1869–12(b)                     (ii) Review and approval process.
                                             manufacturer which are exported prior                   or for technologies tested using the                  NHTSA will provide to EPA its views
                                             to the expiration of 30 days following                  EPA’s 5-cycle methodology in                          on the suitability of using the off-cycle
                                             the end of such model year.                             accordance with 40 CFR 86.1869–12(c).
                                                (b) The fleet average fuel economy                                                                         technology to adjust vehicle fuel
                                                                                                     The fuel consumption improvement is                   economy performance. NHTSA’s
                                             performance of all light trucks that are                determined in accordance with 40 CFR
                                             manufactured by a manufacturer in a                                                                           evaluation and review will consider:
                                                                                                     600.510–12(c)(3)(ii).                                    (A) Whether the technology has a
                                             model year shall be determined in                          (4) Off-cycle technologies using the
                                             accordance with procedures established                                                                        direct impact upon improving fuel
                                                                                                     alternative EPA-approved methodology.
                                             by the Administrator of the                                                                                   economy performance;
                                                                                                     A manufacturer is eligible to increase its
                                             Environmental Protection Agency (EPA)                                                                            (B) Whether the technology is related
                                                                                                     fuel economy performance through use
                                             under 49 U.S.C. 32904 and set forth in                                                                        to crash-avoidance technologies, safety
                                                                                                     of an off-cycle technology requiring an
                                             40 CFR part 600.                                                                                              critical systems or systems affecting
                                                                                                     application request made to the EPA in
                                                (c) For model years 2017 and later, a                accordance with 40 CFR 86.1869–12(d).                 safety-critical functions, or technologies
                                             manufacturer is eligible to increase the                   (i) Eligibility under the corporate                designed for the purpose of reducing the
                                             fuel economy performance of light                       average fuel economy (CAFE) program                   frequency of vehicle crashes;
                                             trucks in accordance with procedures                    requires compliance with paragraphs                      (C) Information from any assessments
                                             established by the EPA set forth in 40                  (c)(4)(i)(A) through (C) of this section.             conducted by the EPA related to the
                                             CFR part 600, subpart F, including any                  Paragraphs (c)(4)(i)(A), (B), and (D) of              application, the technology and/or
                                             adjustments to fuel economy the EPA                     this section apply starting in model year             related technologies; and
                                             allows, such as for fuel consumption                    2024.                                                    (D) Any other relevant factors.
                                             improvements related to air                                (A) A manufacturer seeking to                         (E) NHTSA will collaborate to host
                                             conditioning efficiency, off-cycle                      increase its fuel economy performance                 annual meetings with EPA at least once
                                             technologies, and hybridization and                     using the alternative methodology for an              by July 30th before the model year
                                             other performance-based technologies                    off-cycle technology, if prior to the                 begins to provide general guidance to
                                             for full-size pickup trucks that meet the               applicable model year, the                            the industry on past off-cycle approvals.
                                             requirements specified in 40 CFR                        manufacturers submits to EPA a                           (iii) Safety. (A) Technologies found to
                                             86.1803. Manufacturers must provide                     detailed analytical plan and is approved              be defective or non-compliant, subject
                                             reporting on these technologies as                      (i.e., for its planned test procedure and             to recall pursuant to part 573 of this
                                             specified in § 537.7 of this chapter by                 model types for demonstration) in                     chapter, due to a risk to motor vehicle
                                             the required deadlines.                                 accordance with 40 CFR 86.1869–12(d).                 safety, will have the values of approved
                                                (1) Efficient air conditioning                          (B) A manufacturer seeking to                      off-cycle credits removed from the
                                             technologies. A manufacturer that seeks                 increase its fuel economy performance                 manufacturer’s credit balance or
                                             to increase its fleet average fuel                      using the alternative methodology for an              adjusted to the population of vehicles
                                             economy performance through the use                     off-cycle technology must also submit                 the manufacturer remedies as required
                                             of technologies that improve the                        an official credit application to EPA and             by 49 U.S.C. Chapter 301. NHTSA will
                                             efficiency of air conditioning systems                  obtain approval in accordance with 40                 consult with the manufacturer to
                                             must follow the requirements in 40 CFR                  CFR 86.1869–12(e) prior to September                  determine the amount of the
                                             86.1868–12. Fuel consumption                            of the given model year.                              adjustment.
                                             improvement values resulting from the                      (C) A manufacturer’s plans,                           (B) Approval granted for innovative
                                             use of those air conditioning systems                   applications and requests approved by                 and off-cycle technology credits under
                                             must be determined in accordance with                   the EPA must be made in consultation                  NHTSA’s fuel efficiency program does
                                             40 CFR 600.510–12(c)(3)(i).                             with the National Highway Traffic                     not affect or relieve the obligation to
                                                (2) Incentives for advanced full-size                Safety Administration (NHTSA). To                     comply with the Vehicle Safety Act (49
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                                             light-duty pickup trucks. For model year                expedite NHTSA’s consultation with the                U.S.C. Chapter 301), including the
                                             2023 and 2024, the eligibility of a                     EPA, a manufacturer must concurrently                 ‘‘make inoperative’’ prohibition (49
                                             manufacturer to increase its fuel                       submit its application to NHTSA if the                U.S.C. 30122), and all applicable
                                             economy using hybridized and other                      manufacturer is seeking off-cycle fuel                Federal motor vehicle safety standards
                                             performance-based technologies for full-                economy improvement values under the                  issued thereunder (FMVSSs) (part 571
                                             size pickup trucks must follow 40 CFR                   CAFE program for those technologies.                  of this chapter). In order to generate off-


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                                             cycle or innovative technology credits                                                   (2) Whether or not the technology has                                                 Appendix A to Part 533—Example of
                                             manufacturers must state—                                                             a fail-safe provision. If no fail-safe                                                   Calculating Compliance Under
                                               (1) That each vehicle equipped with                                                 provision exists, the manufacturer must                                                  § 533.5(i)
                                             the technology for which they are                                                     explain why not and whether a failure                                                       Assume a hypothetical manufacturer
                                             seeking credits will comply with all                                                  of the innovative technology would                                                       (Manufacturer X) produces a fleet of
                                             applicable FMVSS(s); and                                                              affect the safety of the vehicle.                                                        light trucks in MY 2012 as follows:
                                                                                                                                                     APPENDIX A—TABLE I
                                                                                                         Model type                                                                                                                                       Actual meas-
                                                                                                                                                                                                                                                            ured fuel
                                                                                                                                                                                                                 Description                                                             Volume
                                                                                                                                   Basic engine                  Transmission                                                                              economy
                                                    Group                                Carline name                                   (L)                          class                                                                                   (mpg)

                                             1 .....................        Pickup A 2WD ....................                                          4       A5 ..................          Reg cab, MB ......................                                              27.1                  800
                                             2 .....................        Pickup B 2WD ....................                                          4       M5 ..................          Reg cab, MB ......................                                              27.6                  200
                                             3 .....................        Pickup C 2WD ....................                                        4.5       A5 ..................          Reg cab, LB .......................                                             23.9                  300
                                             4 .....................        Pickup C 2WD ....................                                          4       M5 ..................          Ext cab, MB ........................                                            23.7                  400
                                             5 .....................        Pickup C 4WD ....................                                        4.5       A5 ..................          Crew cab, SB .....................                                              23.5                  400
                                             6 .....................        Pickup D 2WD ....................                                        4.5       A6 ..................          Crew cab, SB .....................                                              23.6                  400
                                             7 .....................        Pickup E 2WD ....................                                          5       A6 ..................          Ext cab, LB .........................                                           22.7                  500
                                             8 .....................        Pickup E 2WD ....................                                          5       A6 ..................          Crew cab, MB ....................                                               22.5                  500
                                             9 .....................        Pickup F 2WD ....................                                        4.5       A5 ..................          Reg cab, LB .......................                                             22.5                1,600
                                             10 ...................         Pickup F 4WD ....................                                        4.5       A5 ..................          Ext cab, MB ........................                                            22.3                  800
                                             11 ...................         Pickup F 4WD ....................                                        4.5       A5 ..................          Crew cab, SB .....................                                              22.2                  800

                                                    Total ........          .............................................        ........................       ........................      .............................................              ........................                 6,700
                                               Note to Table I to this appendix: Manufacturer X’s required fleet average fuel economy standard level would first be calculated by deter-
                                             mining the fuel economy targets applicable to each unique model type and footprint combination for model type groups 1–11 as illustrated in
                                             Table II to this appendix.
                                               Manufacturer X calculates a fuel economy target standard for each unique model type and footprint combination.

                                                                                                                                                     APPENDIX A—TABLE II
                                                                                       Model type                                                                                                                                        Track                                                  Fuel
                                                                                                                                                                                                                     Wheel-              width                                               economy
                                                                                                                                                                                            Base tire                                                       Footprint
                                                                                                         Basic                                               Description                                              base               F&R                                    Volume         target
                                                                                                                           Transmission                                                       size                                                            (ft2)
                                                    Group                   Carline name                engine                                                                                                      (inches)           average                                               standard
                                                                                                                               class
                                                                                                          (L)                                                                                                                          (inches)                                                (mpg)

                                             1 .......................    Pickup A 2WD                              4    A5 ....................     Reg cab, MB ............               235/75R15                     100.0                68.8                 47.8               800          27.30
                                             2 .......................    Pickup B 2WD                              4    M5 ...................      Reg cab, MB ............               235/75R15                     100.0                68.2                 47.4               200          27.44
                                             3 .......................    Pickup C 2WD                           4.5     A5 ....................     Reg cab, LB .............              255/70R17                     125.0                68.8                 59.7               300          23.79
                                             4 .......................    Pickup C 2WD                              4    M5 ...................      Ext cab, MB .............              255/70R17                     125.0                68.8                 59.7               400          23.79
                                             5 .......................    Pickup C 4WD                           4.5     A5 ....................     Crew cab, SB ...........               275/70R17                     150.0                69.0                 71.9               400          22.27
                                             6 .......................    Pickup D 2WD                           4.5     A6 ....................     Crew cab, SB ...........               255/70R17                     125.0                68.8                 59.7               400          23.79
                                             7 .......................    Pickup E 2WD                              5    A6 ....................     Ext cab, LB ..............             255/70R17                     125.0                68.8                 59.7               500          23.79
                                             8 .......................    Pickup E 2WD                              5    A6 ....................     Crew cab, MB ..........                285/70R17                     125.0                69.2                 60.1               500          23.68
                                             9 .......................    Pickup F 2WD                           4.5     A5 ....................     Reg cab, LB .............              255/70R17                     125.0                68.9                 59.8             1,600          23.76
                                             10 .....................     Pickup F 4WD                           4.5     A5 ....................     Ext cab, MB .............              275/70R17                     150.0                69.0                 71.9               800          22.27
                                             11 .....................     Pickup F 4WD                           4.5     A5 ....................     Crew cab, SB ...........               285/70R17                     150.0                69.2                 72.1               800          22.27
                                                   Total .........        .........................   ................   .........................   ..................................   ....................     ................   ................     ................          6,700   ................
                                               Note to Table II to this appendix: With the appropriate fuel economy targets determined for each unique model type and footprint combination, Manufacturer X’s
                                             required fleet average fuel economy standard would be calculated as illustrated in Figure 1 to this appendix:


                                             BILLING CODE 4910–59–P
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                                             BILLING CODE 4910–59–C                                                                                        536.9 Use of credits with regard to the
                                                                                                     PART 536—TRANSFER AND TRADING
                                                                                                     OF FUEL ECONOMY CREDITS                                   domestically manufactured passenger
                                             Note to Figure 2 to this appendix: Since                                                                          automobile minimum standard.
                                             the actual fleet average fuel economy                                                                         536.10 Treatment of dual-fuel and
                                                                                                     Sec.
                                             performance of Manufacturer X’s fleet is                536.1 Scope.                                              alternative fuel vehicles—consistency
                                             23.3 mpg, as compared to its required                   536.2 Application.                                        with 49 CFR part 538.
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                                             fleet fuel economy standard of 23.7                     536.3 Definitions.                                      Authority: 49 U.S.C. 32903; delegation of
                                             mpg, Manufacturer X did not comply
                                                                                                                                                                                                         ER02MY22.269</GPH>




                                                                                                     536.4 Credits.                                        authority at 49 CFR 1.95.
                                             with the CAFE standard for MY 2012 as                   536.5 Trading infrastructure.
                                                                                                     536.6 Treatment of credits earned prior to            § 536.1    Scope.
                                             set forth in § 533.5(i).
                                                                                                          model year 2011.                                   This part establishes regulations
                                             ■ 3. Revise part 536 to read as follows:                536.7 Treatment of carryback credits.                 governing the use and application of
                                                                                                                                                                                                         ER02MY22.268</GPH>




                                                                                                     536.8 Conditions for trading of credits.              corporate average fuel economy (CAFE)


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                                             credits up to three model years before                  economy of the vehicles in that category              32901(a)(17), and as ‘‘light truck,’’ as
                                             and five model years after the model                    and the required average fuel economy.                that term is defined at § 523.5 of this
                                             year in which the credit was earned. It                 A manufacturer achieves compliance for                chapter.
                                             also specifies requirements for                         its fleet if the conditions in paragraph                 (11) Originating manufacturer means
                                             manufacturers wishing to transfer fuel                  (b)(4)(i) of this section or this paragraph           the manufacturer that originally earned
                                             economy credits between their fleets                    (b)(4)(ii) are simultaneously met for all             a particular credit. Each credit earned
                                             and for manufacturers and other persons                 compliance categories.                                will be identified with the name of the
                                             wishing to trade fuel economy credits to                   (5) Compliance category means any of               originating manufacturer.
                                             achieve compliance with prescribed fuel                 three categories of automobiles subject                  (12) Trade means the receipt by the
                                             economy standards.                                      to Federal fuel economy regulations in                National Highway Traffic
                                                                                                     this chapter. The three compliance                    Administration (NHTSA) of an
                                             § 536.2   Application.                                  categories recognized by 49 U.S.C.                    instruction from a credit holder to place
                                               This part applies to all credits earned               32903(g)(6) are domestically                          one of its credits in the account of
                                             (and transferable and tradable) for                     manufactured passenger automobiles,                   another credit holder. A credit that has
                                             exceeding applicable average fuel                       imported passenger automobiles, and                   been traded can be identified because
                                             economy standards in a given model                      non-passenger automobiles (‘‘light                    the originating manufacturer will be a
                                             year for domestically manufactured                      trucks’’).                                            different party than the current credit
                                             passenger cars, imported passenger cars,                   (6) Credit holder (or holder) means a              holder. Traded credits are moved from
                                             and light trucks.                                       legal person that has valid possession of             one credit holder to the recipient credit
                                                                                                     credits, either because they are a                    holder within the same compliance
                                             § 536.3   Definitions.                                  manufacturer who has earned credits by                category for which the credits were
                                                (a) Statutory terms. All terms defined               exceeding an applicable fuel economy                  originally earned. If a credit has been
                                             in 49 U.S.C. 32901(a) are used pursuant                 standard in this chapter, or because they             traded to another credit holder and is
                                             to their statutory meaning.                             are a designated recipient who has                    subsequently traded back to the
                                                (b) Other terms. (1) Above standard                  received credits from another holder.                 originating manufacturer, it will be
                                             fuel economy means, with respect to a                   Credit holders need not be                            deemed not to have been traded for
                                             compliance category, that the                           manufacturers, although all                           compliance purposes.
                                             automobiles manufactured by a                           manufacturers may be credit holders.                     (13) Transfer means the application
                                             manufacturer in that compliance                            (7) Credits (or fuel economy credits)              by a manufacturer of credits earned by
                                             category in a particular model year have                means an earned or purchased                          that manufacturer in one compliance
                                             greater average fuel economy (calculated                allowance recognizing that the average                category or credits acquired be trade
                                             in a manner that reflects the incentives                fuel economy of a particular                          (and originally earned by another
                                             for alternative fuel automobiles per 49                 manufacturer’s vehicles within a                      manufacturer in that category) to
                                             U.S.C. 32905) than that manufacturer’s                  particular compliance category and                    achieve compliance with fuel economy
                                             fuel economy standard for that                          model year exceeds that manufacturer’s                standards with respect to a different
                                             compliance category and model year.                     fuel economy standard for that                        compliance category. For example, a
                                                (2) Adjustment factor means a factor                 compliance category and model year.                   manufacturer may purchase light truck
                                             used to adjust the value of a traded or                 One credit is equal to 1⁄10 of a mile per             credits from another manufacturer, and
                                             transferred credit for compliance                       gallon above the fuel economy standard                transfer them to achieve compliance in
                                             purposes to ensure that the compliance                  per one vehicle within a compliance                   the manufacturer’s domestically
                                             value of the credit when used reflects                  category. Credits are denominated                     manufactured passenger car fleet.
                                             the total volume of oil saved when the                  according to model year in which they                 Subject to the credit transfer limitations
                                             credit was earned.                                      are earned (vintage), originating                     of 49 U.S.C. 32903(g)(3), credits can also
                                                (3) Below standard fuel economy                      manufacturer, and compliance category.                be transferred across compliance
                                             means, with respect to a compliance                        (8) Expiry date means the model year               categories and banked or saved in that
                                             category, that the automobiles                          after which fuel economy credits may                  category to be carried forward or
                                             manufactured by a manufacturer in that                  no longer be used to achieve compliance               backwards later to address a credit
                                             compliance category in a particular                     with fuel economy regulations in this                 shortfall.
                                             model year have lower average fuel                      chapter. Expiry dates are calculated in                  (14) Vintage means, with respect to a
                                             economy (calculated in a manner that                    terms of model years: For example, if a               credit, the model year in which the
                                             reflects the incentives for alternative                 manufacturer earns credits for model                  credit was earned.
                                             fuel automobiles per 49 U.S.C. 32905)                   year 2011, these credits may be used for
                                             than that manufacturer’s fuel economy                   compliance in model years 2008–2016.                  § 536.4    Credits.
                                             standard for that compliance category                      (9) Fleet means all automobiles that                 (a) Type and vintage. All credits are
                                             and model year.                                         are manufactured by a manufacturer in                 identified and distinguished in the
                                                (4) Compliance means a manufacturer                  a particular model year and are subject               accounts by originating manufacturer,
                                             achieves compliance in a particular                     to fuel economy standards under parts                 compliance category, and model year of
                                             compliance category when:                               531 and 533 of this chapter. For the                  origin (vintage).
                                                (i) The average fuel economy of the                  purposes of this part, a manufacturer’s                 (b) Application of credits. All credits
                                             vehicles in that category exceed or meet                fleet means all domestically                          earned and applied are calculated, per
                                             the fuel economy standard for that                      manufactured and imported passenger                   49 U.S.C. 32903(c), in tenths of a mile
                                             category; or                                            automobiles and non-passenger                         per gallon by which the average fuel
                                                (ii) The average fuel economy of the                 automobiles (‘‘light trucks’’). ‘‘Work                economy of vehicles in a particular
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                                             vehicles in that category do not meet the               trucks’’ and medium and heavy trucks                  compliance category manufactured by a
                                             fuel economy standard for that category,                are not included in this definition for               manufacturer in the model year in
                                             but the manufacturer proffers a                         purposes of this part.                                which the credits are earned exceeds the
                                             sufficient number of valid credits,                        (10) Light truck means the same as                 applicable average fuel economy
                                             adjusted for total oil savings, to cover                ‘‘non-passenger automobile,’’ as that                 standard, multiplied by the number of
                                             the gap between the average fuel                        term is defined in 49 U.S.C.                          vehicles sold in that compliance


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                                             category. However, credits that have                                 (c) Adjustment factor. When traded or              the user of credits must multiply the
                                             been traded between credit holders or                             transferred and used, fuel economy                    calculated adjustment factor by the
                                             transferred between compliance                                    credits are adjusted to ensure fuel oil               number of shortfall credits it plans to
                                             categories are valued for compliance                              savings is preserved. For traded credits,             offset in order to determine the number
                                             purposes using the adjustment factor                              the user (or buyer) must multiply the                 of equivalent credits to transfer from the
                                             specified in paragraph (c) of this                                calculated adjustment factor by the                   compliance category holding the
                                             section, pursuant to the ‘‘total oil                              number of shortfall credits it plans to               available credits. The adjustment factor
                                             savings’’ requirement of 49 U.S.C.                                offset in order to determine the number               is calculated according to the following
                                             32903(f)(1).                                                      of equivalent credits to acquire from the             formula in figure 1 to this paragraph (c):
                                                                                                               earner (or seller). For transferred credits,




                                             Where:                                                               paragraph (c) for the model year and               MPGsu = Required fuel economy standard for
                                             A = Adjustment factor applied to traded and                          compliance category in which the credit               the user (buying) manufacturer,
                                                 transferred credits. The quotient shall be                       is used for compliance;                               compliance category, and model year in
                                                 rounded to 4 decimal places;                                  MPGse = Required fuel economy standard for               which the credit is used for compliance;
                                             VMTe = Lifetime vehicle miles traveled as                            the originating (earning) manufacturer,               and
                                                 provided in the following Table 1 to this                        compliance category, and model year in             MPGau = Actual fuel economy for the user
                                                 paragraph (c) for the model year and                             which the credit was earned;
                                                                                                                                                                        manufacturer, compliance category, and
                                                 compliance category in which the credit                       MPGae = Actual fuel economy for the
                                                 was earned;                                                      originating manufacturer, compliance                  model year in which the credit is used
                                             VMTu = Lifetime vehicle miles traveled as                            category, and model year in which the                 for compliance.
                                                 provided in the following Table 1 to this                        credit was earned;

                                                                                                TABLE 1 TO § 536.4(c)—LIFETIME VEHICLE MILES TRAVELED
                                                                                                                                      [VMT]

                                                                                                                                                 Lifetime vehicle miles traveled
                                                                                                                                                             (VMT)
                                                                  Model year
                                                                                                               2012               2013                  2014           2015            2016         2017–2026

                                             Passenger Cars .......................................              177,238            177,366              178,652         180,497         182,134        195,264
                                             Light Trucks .............................................          208,471            208,537              209,974         212,040         213,954        225,865



                                             § 536.5      Trading infrastructure.                              identification number or Social Security                (iii) The recipient credit account(s) for
                                                (a) Accounts. NHTSA maintains                                  number;                                               banking or applying the originating
                                                                                                                  (2) NHTSA does not grant a request to              credits described by the compliance
                                             ‘‘accounts’’ for each credit holder. The                          open a new account by any party other                 category(ies), model year(s), and if
                                             account consists of a balance of credits                          than a party designated as a recipient of             applicable the adjusted credit amount(s)
                                             in each compliance category and vintage                           credits by a credit holder; and                       and adjustment factor(s).
                                             held by the holder.                                                  (3) NHTSA maintains accounts with                    (iv) For trades, a contract authorizing
                                                (b) Who may hold credits. Every                                zero balances for a period of time, but               the trade signed by the manufacturers or
                                             manufacturer subject to fuel economy                              reserves the right to close accounts that             credit holders or by managers legally
                                             standards under part 531 or 533 of this                           have had zero balances for more than
                                                                                                                                                                     authorized to obligate the sale and
                                             chapter is automatically an account                               one year.
                                                                                                                                                                     purchase of the traded credits.
                                             holder. If the manufacturer earns credits                            (c) Automatic debits and credits of
                                                                                                               accounts. (1) To carry credits forward,                 (2) Upon receipt of a credit
                                             pursuant to this part, or receives credits
                                                                                                               backward, transfer credits, or trade                  instruction from an existing credit
                                             from another party, so that the
                                                                                                               credits into other credit accounts, a                 holder, NHTSA verifies the presence of
                                             manufacturer’s account has a non-zero
                                                                                                               manufacturer or credit holder must                    sufficient credits in the account(s) of the
                                             balance, then the manufacturer is also a
                                                                                                               submit a credit instruction to NHTSA. A               credit holder(s) involved as applicable
                                             credit holder. Any party designated as a                                                                                and notifies the credit holder(s) that the
                                             recipient of credits by a current credit                          credit instruction must detail and
                                                                                                                                                                     credits will be debited from and/or
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                                             holder will receive an account from                               include:
                                                                                                                  (i) The credit holder(s) involved in the           credited to the accounts involved, as
                                             NHTSA and become a credit holder,                                                                                       specified in the credit instruction.
                                                                                                               transaction.
                                             subject to the following conditions:                                 (ii) The originating credits described             NHTSA determines if the credits can be
                                                (1) A designated recipient must                                by the amount of the credits,                         debited or credited based upon the
                                             provide name, address, contacting                                 compliance category and the vintage of                amount of available credits, accurate
                                                                                                                                                                                                                   ER02MY22.270</GPH>




                                             information, and a valid taxpayer                                 the credits.                                          application of any adjustment factors


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                                             and the credit requirements prescribed                  download on the CAFE Public                           to NHTSA. NHTSA will approve the
                                             by this part that are applicable at the                 Information Center website.                           credit allocation plan unless it finds that
                                             time the transaction is requested.                      Manufacturers must submit the cost                    the proposed credits are unavailable or
                                                (3) After notifying the credit holder(s),            information to NHTSA in a PDF                         that it is unlikely that the plan will
                                             all accounts involved are either credited               document along with the Credit                        result in the manufacturer earning
                                             or debited, as appropriate, in line with                Template through the CAFE email,                      sufficient credits to offset the subject
                                             the credit instruction. Traded credits                  cafe@dot.gov. NHTSA reserves the right                credit shortfall. If the plan is approved,
                                             identified by a specific compliance                     to request additional information from                NHTSA will revise the respective
                                             category are deposited into the                         the parties regarding the terms of the                manufacturer’s credit account
                                             recipient’s account in that same                        trade.                                                accordingly. If the plan is rejected,
                                             compliance category and model year. If                     (d) Compliance. (1) NHTSA assesses                 NHTSA will notify the respective
                                             a recipient of credits as identified in a               compliance with fuel economy                          manufacturer and request a revised plan
                                             credit instruction is not a current                     standards each year, utilizing the                    or payment of the appropriate fine.
                                             account holder, NHTSA establishes the                   certified and reported CAFE data                         (e) Reporting. (1) NHTSA periodically
                                             credit recipient’s account, subject to the              provided by the Environmental                         publishes the names and credit holdings
                                             conditions described in paragraph (b) of                Protection Agency (EPA) for                           of all credit holders. NHTSA does not
                                             this section, and adds the credits to the               enforcement of the CAFE program                       publish individual transactions, nor
                                             newly-opened account.                                   pursuant to 49 U.S.C. 32904(e). Credit                respond to individual requests for
                                                (4) NHTSA will automatically delete                  values are calculated based on the CAFE               updated balances from any party other
                                             unused credits from holders’ accounts                   data from the EPA. If a particular                    than the account holder.
                                             when those credits reach their expiry                   compliance category within a                             (2) NHTSA issues an annual credit
                                             date.                                                   manufacturer’s fleet has above standard               status letter to each party that is a credit
                                                (5) Starting January 1, 2022, all parties            fuel economy, NHTSA adds credits to                   holder at that time. The letter to a credit
                                             trading credits must also provide                       the manufacturer’s account for that                   holder includes a credit accounting
                                             NHTSA the price paid for the credits                    compliance category and vintage in the                record that identifies the credit status of
                                             including a description of any other                    appropriate amount by which the                       the credit holder including any activity
                                             monetary or non-monetary terms                          manufacturer has exceeded the                         (earned, expired, transferred, traded,
                                             affecting the price of the traded credits,              applicable standard.                                  carry-forward and carry-back credit
                                             such as any technology exchanged or                        (2) If a manufacturer’s vehicles in a              transactions/allocations) that took place
                                             shared in exchange for the credits, any                 particular compliance category have                   during the identified activity period.
                                             other non-monetary payment for the                      below standard fuel economy, NHTSA
                                             credits, or any other agreements related                will provide written notification to the              § 536.6 Treatment of credits earned prior
                                             to the trade.                                           manufacturer that it has failed to meet               to model year 2011.
                                                (6) Starting September 1, 2022,                      a particular fleet target standard. The                 (a) Credits earned in a compliance
                                             manufacturers or credit holders issuing                 manufacturer will be required to                      category before model year 2008 may be
                                             credit instructions or providing credit                 confirm the shortfall and must either:                applied by the manufacturer that earned
                                             allocation plans as specified in                        submit a plan indicating how it will                  them to carryback plans for that
                                             paragraph (d) of this section, must use                 allocate existing credits or earn, transfer           compliance category approved up to
                                             and submit the NHTSA Credit Template                    and/or acquire credits; or pay the                    three model years prior to the year in
                                             fillable form (Office of Management and                 appropriate civil penalty. The                        which the credits were earned, or may
                                             Budget (OMB) Control No. 2127–0019,                     manufacturer must submit a plan or                    be applied to compliance in that
                                             NHTSA Form 1475). In the case of a                      payment within 60 days of receiving                   compliance category for up to three
                                             trade, manufacturers or credit holders                  agency notification.                                  model years after the year in which the
                                             buying traded credits must use the                         (3) Credits used to offset shortfalls are          credits were earned.
                                             credit transactions template to submit                  subject to the three- and five-year                     (b) Credits earned in a compliance
                                             trade instructions to NHTSA.                            limitations as described in § 536.6.                  category during and after model year
                                             Manufacturers or credit holders selling                    (4) Transferred credits are subject to             2008 may be applied by the
                                             credits are not required to submit trade                the limitations specified by 49 U.S.C.                manufacturer that earned them to
                                             instructions. The NHTSA Credit                          32903(g)(3) and this part.                            carryback plans for that compliance
                                             Template must be signed by managers                        (5) The value, when used for                       category approved up to three years
                                             legally authorized to obligate the sale                 compliance, of any credits received via               prior to the year in which the credits
                                             and/or purchase of the traded credits                   trade or transfer is adjusted, using the              were earned, or may be held or applied
                                             from both parties to the trade. The                     adjustment factor described in                        for up to five model years after the year
                                             NHTSA Credit Template signed by both                    § 536.4(c), pursuant to 49 U.S.C.                     in which the credits were earned.
                                             parties to the trade serves as an                       32903(f)(1).                                            (c) Credits earned in a compliance
                                             acknowledgement that the parties have                      (6) Credit allocation plans received               category prior to model year 2011 may
                                             agreed to trade a certain amount of                     from a manufacturer will be reviewed                  not be transferred or traded.
                                             credits, and does not dictate terms,                    and approved by NHTSA. Starting in
                                             conditions, or other business obligations               model year 2022, credit holders must                  § 536.7    Treatment of carryback credits.
                                             of the parties.                                         use the NHTSA Credit Template (OMB                      (a) Carryback credits earned in a
                                                (7) NHTSA will consider claims that                  Control No. 2127–0019, NHTSA Forms                    compliance category in any model year
                                             information submitted to the agency                     1475) to record the credit transactions.              may be used in carryback plans
                                             under this section is entitled to                       The template is a fillable form that has              approved by NHTSA, pursuant to 49
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                                             confidential treatment under 5 U.S.C.                   an option for recording and calculating               U.S.C. 32903(b), for up to three model
                                             552(b) and under the provisions of part                 credit transactions for credit allocation             years prior to the year in which the
                                             512 of this chapter if the information is               plans. The template calculates the                    credit was earned.
                                             submitted in accordance with the                        required adjustments to the credits. The                (b) For purposes of this part, NHTSA
                                             procedures of part 512. The NHTSA                       credit allocation plan and the completed              will treat the use of future credits for
                                             Credit Template is available for                        transaction templates must be submitted               compliance, as through a carryback


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                                             plan, as a deferral of penalties for non-               obligations within the same compliance                manufacturer has been credited, through
                                             compliance with an applicable fuel                      category.                                             error or fraud, with earning credits,
                                             economy standard.                                          (2) Once a manufacturer acquires by                NHTSA will cancel those credits if
                                               (c) If NHTSA receives and approves a                  trade credits originally earned by                    possible. If the manufacturer credited
                                             manufacturer’s carryback plan to earn                   another manufacturer in a particular                  with having earned those credits has
                                             future credits within the following three               compliance category, the manufacturer                 already traded them when the error or
                                             model years in order to comply with                     may transfer the credits to satisfy its               fraud is discovered, NHTSA will hold
                                             current regulatory obligations, NHTSA                   compliance obligations in a different                 the receiving manufacturer responsible
                                             will defer levying fines for non-                       compliance category, but only to the                  for returning the same or equivalent
                                             compliance until the date(s) when the                   extent that the CAFE increase                         credits to NHTSA for cancellation.
                                             manufacturer’s approved plan indicates                  attributable to the transferred credits                  (g) Error or fraud in trading. In
                                             that credits will be earned or acquired                 does not exceed the limits in 49 U.S.C.               general, all trades are final and
                                             to achieve compliance, and upon                         32903(g)(3). For any compliance                       irrevocable once executed, and may
                                             receiving confirmed CAFE data from                      category, the sum of a manufacturer’s                 only be reversed by a new, mutually-
                                             EPA. If the manufacturer fails to acquire               transferred credits earned by that                    agreed transaction. If NHTSA executes
                                             or earn sufficient credits by the plan                  manufacturer and transferred credits                  an erroneous instruction to trade credits
                                             dates, NHTSA will initiate compliance                   obtained by that manufacturer through                 from one holder to another through
                                             proceedings.                                            trade must not exceed that limit.                     error or fraud, NHTSA will reverse the
                                                                                                        (c) Changes in corporate ownership                 transaction if possible. If those credits
                                               (d) In the event that NHTSA fails to
                                                                                                     and control. Manufacturers must inform                have been traded away, the recipient
                                             receive or approve a plan for a non-
                                                                                                     NHTSA of corporate relationship                       holder is responsible for obtaining the
                                             compliant manufacturer, NHTSA will
                                                                                                     changes to ensure that credit accounts                same or equivalent credits for return to
                                             levy fines pursuant to statute. If within
                                                                                                     are identified correctly and credits are              the previous holder.
                                             three years, the non-compliant
                                                                                                     assigned and allocated properly.
                                             manufacturer earns or acquires
                                                                                                        (1) In general, if two manufacturers               § 536.9 Use of credits with regard to the
                                             additional credits to reduce or eliminate                                                                     domestically manufactured passenger
                                                                                                     merge in any way, they must inform
                                             the non-compliance, NHTSA will                                                                                automobile minimum standard.
                                                                                                     NHTSA how they plan to merge their
                                             reduce any fines owed, or repay fines to                                                                         (a) Each manufacturer is responsible
                                                                                                     credit accounts. NHTSA will
                                             the extent that credits received reduce                                                                       for compliance with both the minimum
                                                                                                     subsequently assess corporate fuel
                                             the non-compliance.                                                                                           standard and the attribute-based
                                                                                                     economy and compliance status of the
                                               (e) No credits from any source                        merged fleet instead of the original                  standard set out in the chapter.
                                             (earned, transferred and/or traded) will                separate fleets.                                         (b) In any particular model year, the
                                             be accepted in lieu of compliance if                       (2) If a manufacturer divides or                   domestically manufactured passenger
                                             those credits are not identified as                     divests itself of a portion of its                    automobile compliance category credit
                                             originating within one of the three                     automobile manufacturing business, it                 excess or shortfall is determined by
                                             model years after the model year of the                 must inform NHTSA how it plans to                     comparing the actual CAFE value
                                             confirmed shortfall.                                    divide the manufacturer’s credit                      against either the required standard
                                             § 536.8   Conditions for trading of credits.            holdings into two or more accounts.                   value or the minimum standard value,
                                                                                                     NHTSA will subsequently distribute                    whichever is larger.
                                                (a) Trading of credits. If a credit                  holdings as directed by the                              (c) Transferred or traded credits may
                                             holder wishes to trade credits to another               manufacturer, subject to provision for                not be used, pursuant to 49 U.S.C.
                                             party, the current credit holder and the                reasonably anticipated compliance                     32903(g)(4) and (f)(2), to meet the
                                             receiving party must jointly issue an                   obligations.                                          domestically manufactured passenger
                                             instruction to NHTSA, identifying the                      (3) If a manufacturer is a successor to            automobile minimum standard
                                             quantity, vintage, compliance category,                 another manufacturer’s business, it must              specified in 49 U.S.C. 32902(b)(4) and in
                                             and originator of the credits to be                     inform NHTSA how it plans to allocate                 49 CFR 531.5(d).
                                             traded. If the recipient is not a current               credits and resolve liabilities per part                 (d) If a manufacturer’s average fuel
                                             account holder, the recipient must                      534 of this chapter.                                  economy level for domestically
                                             provide sufficient information for                         (d) No short or forward sales. NHTSA               manufactured passenger automobiles is
                                             NHTSA to establish an account for the                   will not honor any instructions to trade              lower than the attribute-based standard,
                                             recipient. Once an account has been                     or transfer more credits than are                     but higher than the minimum standard,
                                             established or identified for the                       currently held in any account. NHTSA                  then the manufacturer may achieve
                                             recipient, NHTSA completes the trade                    will not honor instructions to trade or               compliance with the attribute-based
                                             by debiting the transferor’s account and                transfer credits from any future vintage              standard by applying credits.
                                             crediting the recipient’s account.                      (i.e., credits not yet earned). NHTSA                    (e) If a manufacturer’s average fuel
                                             NHTSA will track the quantity, vintage,                 will not participate in or facilitate                 economy level for domestically
                                             compliance category, and originator of                  contingent trades.                                    manufactured passenger automobiles is
                                             all credits held or traded by all account-                 (e) Cancellation of credits. A credit              lower than the minimum standard, then
                                             holders.                                                holder may instruct NHTSA to cancel                   the difference between the minimum
                                                (b) Trading between and within                       its currently held credits, specifying the            standard and the manufacturer’s actual
                                             compliance categories. For credits                      originating manufacturer, vintage, and                fuel economy level may only be relieved
                                             earned in model year 2011 or thereafter,                compliance category of the credits to be              by the use of credits earned by that
                                             and used to satisfy compliance                          cancelled. These credits will be                      manufacturer within the domestic
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                                             obligations for model year 2011 or                      permanently null and void; NHTSA will                 passenger car compliance category
                                             thereafter:                                             remove the specific credits from the                  which have not been transferred or
                                                (1) Manufacturers may use credits                    credit holder’s account, and will not                 traded. If the manufacturer does not
                                             originally earned by another                            reissue them to any other party.                      have available earned credits to offset a
                                             manufacturer in a particular compliance                    (f) Errors or fraud in earning credits.            credit shortage below the minimum
                                             category to satisfy compliance                          If NHTSA determines that a                            standard then the manufacturer can


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                                             submit a carry-back plan that indicates                 537.7 Pre-model year and mid-model year                  (4) The terms approach angle, axle
                                             sufficient future credits will be earned                    reports.                                          clearance, brakeover angle, cargo
                                             in its domestic passenger car                           537.8 Supplementary reports.                          carrying volume, departure angle,
                                             compliance category or will be subject                  537.9 Determination of fuel economy values            passenger carrying volume, running
                                                                                                         and average fuel economy.
                                             to penalties.                                           537.10 Incorporation by reference by
                                                                                                                                                           clearance, and temporary living quarters
                                                                                                         manufacturers.                                    are used as defined in part 523 of this
                                             § 536.10 Treatment of dual-fuel and                                                                           chapter.
                                             alternative fuel vehicles—consistency with              537.11 Public inspection of information.
                                             49 CFR part 538.                                        537.12 Confidential information.                         (5) The term incomplete automobile
                                                                                                       Authority: 49 U.S.C. 32907; delegation of           manufacturer is used as defined in part
                                                (a) Statutory alternative fuel and dual-
                                                                                                     authority at 49 CFR 1.95.                             529 of this chapter.
                                             fuel vehicle fuel economy calculations
                                                                                                                                                              (6) As used in this part, unless
                                             are treated as a change in the underlying               § 537.1    Scope.                                     otherwise required by the context:
                                             fuel economy of the vehicle for
                                             purposes of this part, not as a credit that                This part establishes requirements for                (i) Act means the Motor Vehicle
                                             may be transferred or traded.                           automobile manufacturers to submit                    Information and Cost Savings Act (Pub.
                                             Improvements in alternative fuel or dual                reports to the National Highway Traffic               L. 92–513), as amended by the Energy
                                             fuel vehicle fuel economy as calculated                 Safety Administration regarding their                 Policy and Conservation Act (Pub. L.
                                             pursuant to 49 U.S.C. 32905 and limited                 efforts to improve automotive fuel                    94–163).
                                             by 49 U.S.C. 32906 are therefore                        economy.                                                 (ii) Administrator means the
                                             attributable only to the particular                                                                           Administrator of the National Highway
                                                                                                     § 537.2    Purpose.
                                             compliance category and model year to                                                                         Traffic Safety Administration (NHTSA)
                                                                                                       The purpose of this part is to obtain               or the Administrator’s delegate.
                                             which the alternative or dual-fuel                      information to aid the National Highway
                                             vehicle belongs.                                                                                                 (iii) Current model year means:
                                                                                                     Traffic Safety Administration in                         (A) In the case of a pre-model year
                                                (b) If a manufacturer’s calculated fuel              valuating automobile manufacturers’
                                             economy for a particular compliance                                                                           report, the full model year immediately
                                                                                                     plans for complying with average fuel                 following the period during which that
                                             category, including any statutorily-                    economy standards and in preparing an
                                             required calculations for alternative fuel                                                                    report is required by § 537.5(b) to be
                                                                                                     annual review of the average fuel                     submitted.
                                             and dual fuel vehicles, is higher or                    economy standards.
                                             lower than the applicable fuel economy                                                                           (B) In the case of a mid-model year
                                             standard, manufacturers will earn                       § 537.3    Applicability.                             report, the model year during which
                                             credits or must apply credits or pay civil                This part applies to automobile                     that report is required by § 537.5(b) to be
                                             penalties equal to the difference                       manufacturers, except for manufacturers               submitted.
                                             between the calculated fuel economy                     subject to an alternate fuel economy                     (iv) Average means a production-
                                             level in that compliance category and                   standard under section 502(c) of the                  weighted harmonic average.
                                             the applicable standard. Credits earned                 Act.                                                     (v) Total drive ratio means the ratio of
                                             are the same as any other credits, and                                                                        an automobile’s engine rotational speed
                                             may be held, transferred, or traded by                  § 537.4    Definitions.                               (in revolutions per minute) to the
                                             the manufacturer subject to the                           (a) Statutory terms. (1) The terms                  automobile’s forward speed (in miles
                                             limitations of the statute and this part.               average fuel economy standard, fuel,                  per hour).
                                                (c) For model years up to and                        manufacture, and model year are used
                                                                                                                                                           § 537.5    General requirements for reports.
                                             including MY 2019, if a manufacturer                    as defined in section 501 of the Act.
                                             builds enough dual fuel vehicles (except                  (2) The term manufacturer is used as                  (a) For each current model year, each
                                             plug-in hybrid electric vehicles) to                    defined in section 501 of the Act and in              manufacturer shall submit a pre-model
                                             improve the calculated fuel economy in                  accordance with part 529 of this                      year report, a mid-model year report,
                                             a particular compliance category by                     chapter.                                              and, as required by § 537.8,
                                             more than the limits set forth in 49                      (3) The terms average fuel economy,                 supplementary reports.
                                             U.S.C. 32906(a), the improvement in                     fuel economy, and model type are used                   (b)(1) The pre-model year report
                                             fuel economy for compliance purposes                    as defined in subpart A of 40 CFR part                required by this part for each current
                                             is restricted to the statutory limit.                   600.                                                  model year must be submitted during
                                             Manufacturers may not earn credits nor                    (4) The terms automobile, automobile                the month of December (e.g., the pre-
                                             reduce the application of credits or fines              capable of off-highway operation, and                 model year report for the 1983 model
                                             for calculated improvements in fuel                     passenger automobile are used as                      year must be submitted during
                                             economy based on dual fuel vehicles                     defined in section 501 of the Act and in              December 1982).
                                             beyond the statutory limit.                             accordance with the determinations in                   (2) The mid-model year report
                                                (d) For model years 2020 and beyond,                 part 523 of this chapter.                             required by this part for each current
                                             a manufacturer must calculate the fuel                    (b) Other terms. (1) The term loaded                model year must be submitted during
                                             economy of dual fueled vehicles in                      vehicle weight is used as defined in                  the month of July (e.g., the mid-model
                                             accordance with 40 CFR 600.510–12(c).                   subpart A of 40 CFR part 86.                          year report for the 1983 model year
                                             ■ 4. Revise part 537 to read as follows:                  (2) The terms axle ratio, base level,               must be submitted during July 1983).
                                                                                                     body style, car line, combined fuel                     (3) Each supplementary report must
                                             PART 537—AUTOMOTIVE FUEL                                economy, engine code, equivalent test                 be submitted in accordance with
                                             ECONOMY REPORTS                                         weight, gross vehicle weight, inertia                 § 537.8(c).
                                                                                                     weight, transmission class, and vehicle                 (c) Each report required by this part
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                                             Sec.                                                                                                          must:
                                                                                                     configuration are used as defined in
                                             537.1   Scope.
                                             537.2   Purpose.                                        subpart A of 40 CFR part 600.                           (1) Identify the report as a pre-model
                                             537.3   Applicability.                                    (3) The term light truck is used as                 year report, mid-model year report, or
                                             537.4   Definitions.                                    defined in part 523 of this chapter and               supplementary report as appropriate;
                                             537.5   General requirements for reports.               in accordance with determinations in                    (2) Identify the manufacturer
                                             537.6   General content of reports.                     part 523.                                             submitting the report;


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                                                (3) State the full name, title, and                     (C) Specify the period during which                and 15 U.S.C. 2005(d)(1). In accordance,
                                             address of the official responsible for                 the item must be withheld to avoid that               the manufacturer must:
                                             preparing the report;                                   damage; and                                             (i) Show that the item is within the
                                                (4) Be submitted electronically to                      (D) Show that earlier disclosure                   scope of sections 552(b)(4) and
                                             cafe@dot.gov. For each report,                          would result in that damage.                          2005(d)(1);
                                             manufacturers should submit a                              (d) Beginning with model year 2023,                  (ii) Show that disclosure of the item
                                             confidential version and a non-                         each manufacturer shall generate reports              would result in significant competitive
                                             confidential (i.e., redacted) version. The              required by this part using the NHTSA                 damage;
                                             confidential report should be                           CAFE Projections Reporting Template                     (iii) Specify the period during which
                                             accompanied by a request letter that                    (Office of Management and Budget                      the item must be withheld to avoid that
                                             contains supporting information,                        (OMB) Control No. 2127–0019, NHTSA                    damage; and
                                             pursuant to § 512.8 of this chapter. Your               Form 1474). The template is a fillable                  (iv) Show that earlier disclosure
                                             request must also include a certificate,                form.                                                 would result in that damage.
                                             pursuant to § 512.4(b) of this chapter                     (1) Manufacturers must select the                    (e) Each report required by this part
                                             and part 512, appendix A, of this                       option to identify the report as a pre-               must be based upon all information and
                                             chapter. The word ‘‘CONFIDENTIAL’’                      model year report, mid-model year                     data available to the manufacturer 30
                                             must appear on the top of each page                     report, or supplementary report as                    days before the report is submitted to
                                             containing information claimed to be                    appropriate.                                          the Administrator.
                                             confidential. If an entire page is claimed                 (2) Manufacturers must complete all                § 537.6    General content of reports.
                                             to be confidential, the submitter must                  required information for the
                                             indicate clearly that the entire page is                                                                         (a) Pre-model year and mid-model
                                                                                                     manufacturer and for all vehicles
                                             claimed to be confidential. If the                                                                            year reports. Except as provided in
                                                                                                     produced for the current model year
                                             information for which confidentiality is                                                                      paragraph (c) of this section, each pre-
                                                                                                     required to comply with corporate
                                             being requested is contained within a                                                                         model year report and the mid-model
                                                                                                     average fuel economy (CAFE) standards.
                                             page, the submitter shall enclose each                                                                        year report for each model year must
                                                                                                     The manufacturer must identify the
                                             item of information that is claimed to be                                                                     contain the information required by
                                                                                                     manufacturer submitting the report,
                                             confidential within brackets: ‘‘[ ].’’                                                                        § 537.7(a).
                                                                                                     including the full name, title, and
                                             Confidential portions of electronic files                                                                        (b) Supplementary report. Except as
                                                                                                     address of the official responsible for
                                             submitted in other than their original                                                                        provided in paragraph (c) of this
                                                                                                     preparing the report and a point of
                                             format must be marked ‘‘Confidential                                                                          section, each supplementary report for
                                                                                                     contact to answer questions concerning
                                             Business Information’’ or ‘‘Entire Page                                                                       each model year must contain the
                                                                                                     the report.
                                             Confidential Business Information’’ at                                                                        information required by § 537.7(a)(1)
                                                                                                        (3) Manufacturers must use the
                                             the top of each page. If only a portion                                                                       and (2), as appropriate for the vehicle
                                                                                                     template to generate confidential and
                                             of a page is claimed to be confidential,                                                                      fleets produced by the manufacturer, in
                                                                                                     non-confidential reports for all the
                                             that portion shall be designated by                                                                           accordance with § 537.8(b)(1) through
                                                                                                     domestic and import passenger cars and
                                             brackets. Files submitted in their                                                                            (4) as appropriate.
                                                                                                     light truck fleet produced by the                        (c) Exceptions. The pre-model year
                                             original format that cannot be marked as                manufacturer for the current model                    report, mid-model year report, and
                                             described above must, to the extent                     year. Manufacturers must submit a                     supplementary report(s) submitted by
                                             practicable, identify confidential                      request for confidentiality in accordance             an incomplete automobile manufacturer
                                             information by alternative markings                     with part 512 of this chapter to                      for any model year are not required to
                                             using existing attributes within the file               withhold projected production sales                   contain the information specified in
                                             or means that are accessible through use                volume estimates from public                          § 537.7(c)(4)(xv) through (xviii) and
                                             of the file’s associated program. A                     disclosure. If the request is granted,                (c)(5). The information provided by the
                                             representative from NHTSA’s Office of                   NHTSA will withhold the projected                     incomplete automobile manufacturer
                                             Chief Counsel, as designated by                         production sales volume estimates from                under § 537.7(c) shall be according to
                                             NHTSA, should be copied on any                          public disclose until all the vehicles                base level instead of model type or
                                             submissions with confidential business                  produced by the manufacturer have                     carline.
                                             information;                                            been made available for sale (usually
                                                (5) Identify the current model year;                 one year after the current model year).               § 537.7 Pre-model year and mid-model
                                                (6) Be written in the English language;                 (4) Manufacturers must submit                      year reports.
                                             and                                                     confidential reports and requests for                    (a) Report submission requirements.
                                                (7)(i) Specify any part of the                       confidentiality to NHTSA on CD–ROM                    (1) Manufacturers must provide a report
                                             information or data in the report that the              in accordance with § 537.12. Email                    with the information required by
                                             manufacturer believes should be                         copies of non-confidential (i.e.,                     paragraphs (b) and (c) of this section for
                                             withheld from public disclosure as trade                redacted) reports to NHTSA’s secure                   each domestic and import passenger
                                             secret or other confidential business                   email address: cafe@dot.gov. Requests                 automobile fleet, as specified in part 531
                                             information.                                            for confidentiality must be submitted in              of this chapter, for the current model
                                                (ii) With respect to each item of                    a PDF or MS Word format. Submit 2                     year.
                                             information or data requested by the                    copies of the CD–ROM to:                                 (2) Manufacturers must provide a
                                             manufacturer to be withheld under 5                     Administrator, National Highway                       report with the information required by
                                             U.S.C. 552(b)(4) and 15 U.S.C.                          Traffic Administration, 1200 New Jersey               paragraphs (b) and (c) of this section for
                                             2005(d)(1), the manufacturer shall:                     Avenue SE, Washington, DC 20590, and                  each light truck fleet, as specified in
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                                                (A) Show that the item is within the                 submit emailed reports electronically to              part 533 of this chapter, for the current
                                             scope of sections 552(b)(4) and                         the following secure email address:                   model year.
                                             2005(d)(1);                                             cafe@dot.gov.                                            (3) For model year 2023 and later, for
                                                (B) Show that disclosure of the item                    (5) Manufacturers can withhold                     passenger cars specified in part 531 and
                                             would result in significant competitive                 information on projected production                   light trucks specified in part 533 of this
                                             damage;                                                 sales volumes under 5 U.S.C. 552(b)(4)                chapter, manufacturers must provide


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                                             the information for pre-model and mid-                  paragraphs (b)(3)(i) and (ii) of this                 for the insufficiency and the specific
                                             model year reports in accordance with                   section in accordance with the CAFE                   additional testing or derivation of fuel
                                             the NHTSA CAFE Projections Reporting                    Projections Reporting Template (OMB                   economy values by analytical methods
                                             Template (OMB Control No. 2127–0019,                    Control No. 2127–0019, NHTSA Form                     believed by the manufacturer necessary
                                             NHTSA Form 1474). The required                          1474).                                                to eliminate the insufficiency and any
                                             reporting template can be downloaded                       (i) In the case of passenger                       plans of the manufacturer to undertake
                                             from NHTSA’s website.                                   automobiles, manufacturers must report                that testing or derivation voluntarily
                                                (i) Manufacturers are only required to               the following:                                        and submit the resulting data to the EPA
                                             provide the actual information on                          (A) Beginning model year 2013, base                under 40 CFR 600.509–12.
                                             vehicles and technologies in production                 tire as defined in § 523.2 of this chapter;              (c) Model type and configuration fuel
                                             at the time the pre- and mid-model year                    (B) Beginning model year 2013, front               economy and technical information. (1)
                                             reports are required. Otherwise,                        axle, rear axle, and average track width              For each model type of the
                                             manufacturers must provide reasonable                   as defined in § 523.2 of this chapter;                manufacturer’s automobiles, the
                                             estimates or updated estimates where                       (C) Beginning model year 2013,                     manufacturers must provide the
                                             possible for pre-and mid-model year                     wheelbase as defined in § 523.2 of this               information specified in paragraph (c)(2)
                                             reports.                                                chapter;                                              of this section in tabular form. List the
                                                (ii) Manufacturers should attempt not                   (D) Beginning model year 2013,                     model types in order of increasing
                                             to omit data which should only be the                   footprint as defined in § 523.2 of this               average inertia weight from top to
                                             done for products pending production                    chapter; and                                          bottom down the left side of the table
                                             and with unknown information at the                        (E) The fuel economy target value for              and list the information categories in the
                                             time CAFE reports are prepared.                         each unique model type and footprint                  order specified in paragraph (c)(2) of
                                                (b) Projected average and required                   entry listed in accordance with the                   this section from left to right across the
                                             fuel economy. (1) Manufacturers must                    equation provided in part 531 of this                 top of the table. For model year 2023
                                             state the projected average fuel economy                chapter.                                              and later, CAFE reports required by this
                                             for the manufacturer’s automobiles                         (ii) In the case of light trucks,                  part, shall for each model type of the
                                             determined in accordance with § 537.9                   manufacturers must report the                         manufacturer’s automobiles, provide the
                                             and based upon the fuel economy                         following:                                            information in specified in paragraph
                                             values and projected sales figures                         (A) Beginning model year 2013, base                (c)(2) of this section in accordance with
                                             provided under paragraph (c)(2) of this                 tire as defined in § 523.2 of this chapter;           the NHTSA CAFE Projections Reporting
                                             section.                                                   (B) Beginning model year 2013, front
                                                                                                                                                           Template (OMB Control No. 2127–0019,
                                                (2) Manufacturers must state the                     axle, rear axle, and average track width
                                                                                                                                                           NHTSA Form 1474) and list the model
                                             projected final average fuel economy                    as defined in § 523.2 of this chapter;
                                                                                                                                                           types in order of increasing average
                                             that the manufacturer anticipates having                   (C) Beginning model year 2013,
                                                                                                                                                           inertia weight from top to bottom.
                                             if changes implemented during the                       wheelbase as defined in § 523.2 of this
                                                                                                                                                              (2)(i) Combined fuel economy; and
                                             model year will cause that average to be                chapter;                                                 (ii) Projected sales for the current
                                             different from the average fuel economy                    (D) Beginning model year 2013,
                                                                                                                                                           model year and total sales of all model
                                             projected under paragraph (b)(1) of this                footprint as defined in § 523.2 of this
                                                                                                                                                           types.
                                             section.                                                chapter; and                                             (3) For pre-model year reports only
                                                (3) Manufacturers must state the                        (E) The fuel economy target value for
                                                                                                                                                           through model year 2022, for each
                                             projected required fuel economy for the                 each unique model type and footprint
                                                                                                                                                           vehicle configuration whose fuel
                                             manufacturer’s passenger automobiles                    entry listed in accordance with the
                                                                                                                                                           economy was used to calculate the fuel
                                             and light trucks determined in                          equation provided in part 533 of this
                                             accordance with §§ 531.5(c) and 533.5                                                                         economy values for a model type under
                                                                                                     chapter.
                                             of this chapter and based upon the                                                                            paragraph (c)(2) of this section,
                                                                                                        (4) Manufacturers must state the
                                             projected sales figures provided under                                                                        manufacturers must provide the
                                                                                                     projected final required fuel economy
                                             paragraph (c)(2) of this section. For each                                                                    information specified in paragraph (c)(4)
                                                                                                     that the manufacturer anticipates having
                                             unique model type and footprint                                                                               of this section in accordance with the
                                                                                                     if changes implemented during the
                                             combination of the manufacturer’s                                                                             NHTSA CAFE Projections Reporting
                                                                                                     model year will cause the targets to be
                                             automobiles, the manufacturer must                                                                            Template (OMB Control No. 2127–0019,
                                                                                                     different from the target fuel economy
                                             provide the information specified in                                                                          NHTSA Form 1474).
                                                                                                     projected under paragraph (b)(3) of this
                                                                                                                                                              (4)(i) Loaded vehicle weight;
                                             paragraphs (b)(3)(i) and (ii) of this                   section.
                                                                                                                                                              (ii) Equivalent test weight;
                                             section in tabular form. The                               (5) Manufacturers must state whether
                                                                                                                                                              (iii) Engine displacement, liters;
                                             manufacturer must list the model types                  the manufacturer believes that the                       (iv) Society of Automotive Engineers
                                             in order of increasing average inertia                  projections it provides under paragraphs              (SAE) net rated power, kilowatts;
                                             weight from top to bottom down the left                 (b)(2) and (4) of this section, or if it does            (v) SAE net horsepower;
                                             side of the table and list the information              not provide an average or target under                   (vi) Engine code;
                                             categories in the order specified in                    paragraphs (b)(2) and (4), the projections               (vii) Fuel system (number of
                                             paragraphs (b)(3)(i) and (ii) of this                   it provides under paragraphs (b)(1) and               carburetor barrels or, if fuel injection is
                                             section from left to right across the top               (3) of this section, sufficiently represent           used, so indicate);
                                             of the table. Other formats, such as those              the manufacturer’s average and target                    (viii) Emission control system;
                                             accepted by the Environmental                           fuel economy for the current model year                  (ix) Transmission class;
                                             Protection Agency (EPA), which contain                  for purposes of the Act. In the case of                  (x) Number of forward speeds;
                                             all the information in a readily                        a manufacturer that believes that the
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                                                                                                                                                              (xi) Existence of overdrive (indicate
                                             identifiable format are also acceptable.                projections are not sufficiently                      yes or no);
                                             For model year 2023 and later, for each                 representative for the purpose of                        (xii) Total drive ratio (N/V);
                                             unique model type and footprint                         determining the projected average fuel                   (xiii) Axle ratio;
                                             combination of the manufacturer’s                       economy for the manufacturer’s                           (xiv) Combined fuel economy;
                                             automobiles, the manufacturer must                      automobiles, the manufacturers must                      (xv) Projected sales for the current
                                             provide the information specified in                    state the specific nature of any reason               model year;


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                                                (xvi)(A) In the case of passenger                    those seats to the rear of the                        gallons/mile in accordance with the
                                             automobiles:                                            automobile’s interior; or                             equation specified in 40 CFR 600.510–
                                                (1) Interior volume index, determined                   (2) For non-passenger automobiles                  12(c)(3)(i).
                                             in accordance with subpart D of 40 CFR                  manufactured in model year 2008 and                     (ii) Manufacturers must provide a list
                                             part 600; and                                           beyond, for vehicles equipped with at                 of off-cycle efficiency improvement
                                                (2) Body style;                                      least 3 rows of designated seating                    technologies utilized in its fleet(s) of
                                                (B) In the case of light trucks:                     positions as standard equipment, permit               vehicles for each model year that is
                                                (1) Passenger-carrying volume; and                   expanded use of the automobile for                    pending or approved by the EPA. For
                                                (2) Cargo-carrying volume;                           cargo-carrying purposes or other                      each technology, manufacturers must
                                                (xvii) Frontal area;                                 nonpassenger-carrying purposes                        identify vehicles by make and model
                                                (xviii) Road load power at 50 miles                  through the removal or stowing of                     types that have the technology, which
                                             per hour, if determined by the                          foldable or pivoting seats so as to create            compliance category those vehicles
                                             manufacturer for purposes other than                    a flat, leveled cargo surface extending               belong to, the number of vehicles for
                                             compliance with this part to differ from                from the forward-most point of                        each model equipped with the
                                             the road load setting prescribed in 40                  installation of those seats to the rear of            technology, and the associated off-cycle
                                             CFR 86.177–11(d); and                                   the automobile’s interior.                            credits (grams/mile) available for each
                                                (xix) Optional equipment that the                       (ii) For an automobile capable of off-             technology. For each compliance
                                             manufacturer is required under 40 CFR                   highway operation, identify which of                  category (domestic passenger car,
                                             parts 86 and 600 to have actually                       the features in paragraphs (c)(5)(ii)(A)              import passenger car, and light truck),
                                             installed on the vehicle configuration,                 through (C) of this section qualify the               manufacturers must calculate the fleet
                                             or the weight of which must be included                 vehicle as off-road in accordance with                off-cycle fuel consumption
                                             in the curb weight computation for the                  § 523.5(b) of this chapter and quantify               improvement value in gallons/mile in
                                             vehicle configuration, for fuel economy                 the values of each feature:                           accordance with the equation specified
                                             testing purposes.                                          (A) 4-wheel drive; or                              in 40 CFR 600.510–12(c)(3)(ii).
                                                (5) For each model type of automobile                   (B) A rating of more than 6,000                      (iii) Manufacturers must provide a list
                                             which is classified as a non-passenger                  pounds gross vehicle weight; and                      of full-size pickup trucks in its fleet that
                                             vehicle (light truck) under part 523 of                    (C) Has at least four of the following             meet the mild and strong hybrid vehicle
                                             this chapter, manufacturers must                        characteristics calculated when the                   definitions in 40 CFR 86.1803–01. For
                                             provide the following data:                             automobile is at curb weight, on a level              each mild and strong hybrid type,
                                                (i) For an automobile designed to                    surface, with the front wheels parallel to            manufacturers must identify vehicles by
                                             perform at least one of the following                   the automobile’s longitudinal                         make and model types that have the
                                             functions in accordance with § 523.5(a)                 centerline, and the tires inflated to the             technology, the number of vehicles
                                             of this chapter, indicate (by ‘‘yes’’ or                manufacturer’s recommended pressure.                  produced for each model equipped with
                                             ‘‘no’’ for each function) whether the                   The exact value of each feature should                the technology, the total number of full-
                                             vehicle can:                                            be quantified:                                        size pickup trucks produced with and
                                                (A) Transport more than 10 persons (if                  (1) Approach angle of not less than 28             without the technology, the calculated
                                             yes, provide actual designated seating                  degrees.                                              percentage of hybrid vehicles relative to
                                             positions);                                                (2) Breakover angle of not less than 14            the total number of vehicles produced,
                                                (B) Provide temporary living quarters                degrees.                                              and the associated full-size pickup truck
                                             (if yes, provide applicable conveniences                   (3) Departure angle of not less than 20            credits (grams/mile) available for each
                                             as defined in § 523.2 of this chapter);                 degrees.                                              technology. For the light truck
                                                (C) Transport property on an open bed                   (4) Running clearance of not less than             compliance category, manufacturers
                                             (if yes, provide bed size width and                     20 centimeters.                                       must calculate the fleet pickup truck
                                             length);                                                   (5) Front and rear axle clearances of              fuel consumption improvement value in
                                                (D) Provide, as sold to the first retail             not less than 18 centimeters each.                    gallons/mile in accordance with the
                                             purchaser, greater cargo-carrying than                     (6) Manufacturers must determine the               equation specified in 40 CFR 600.510–
                                             passenger-carrying volume, such as in a                 fuel economy values provided under                    12(c)(3)(iii).
                                             cargo van and quantify the value which                  paragraphs (c)(2) and (4) of this section
                                             should be the difference between the                    in accordance with § 537.9.                           § 537.8    Supplementary reports.
                                             values provided in paragraphs                              (7) Manufacturers must identify any                   (a)(1) Except as provided in paragraph
                                             (c)(4)(xvi)(B)(1) and (2) of this section; if           air-conditioning (AC), off-cycle and full-            (d) of this section, each manufacturer
                                             a vehicle is sold with a second-row seat,               size pick-up truck technologies used                  whose most recently submitted mid-
                                             its cargo-carrying volume is determined                 each model year to calculate the average              model year report contained an average
                                             with that seat installed, regardless of                 fuel economy specified in 40 CFR                      fuel economy projection under
                                             whether the manufacturer has described                  600.510–12.                                           § 537.7(b)(2) or, if no average fuel
                                             that seat as optional; or                                  (i) Provide a list of each air                     economy was projected under that
                                                (E) Permit expanded use of the                       conditioning efficiency improvement                   section, under § 537.7(b)(1), that was not
                                             automobile for cargo-carrying purposes                  technology utilized in your fleet(s) of               less than the applicable average fuel
                                             or other non-passenger-carrying                         vehicles for each model year. For each                economy standard in this chapter and
                                             purposes through:                                       technology identify vehicles by make                  who now projects an average fuel
                                                (1) For non-passenger automobiles                    and model types that have the                         economy which is less than the
                                             manufactured prior to model year 2012,                  technology, which compliance category                 applicable standard in this chapter shall
                                             the removal of seats by means of                        those vehicles belong to and the number               file a supplementary report containing
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                                             uninstalling by the automobile’s                        of vehicles for each model equipped                   the information specified in paragraph
                                             manufacturer or by uninstalling with                    with the technology. For each                         (b)(1) of this section.
                                             simple tools, such as screwdrivers and                  compliance category (domestic                            (2) Except as provided in paragraph
                                             wrenches, so as to create a flat, floor                 passenger car, import passenger car, and              (d) of this section, each manufacturer
                                             level, surface extending from the                       light truck), report the air conditioning             that determines that its average fuel
                                             forward-most point of installation of                   fuel consumption improvement value in                 economy for the current model year as


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                                             projected under § 537.7(b)(2) or, if no                   (ii) Such revisions of and additions to             approved under 40 CFR part 600, does
                                             average fuel economy was projected                      the information submitted by the                      not exist, but for which a fuel economy
                                             under § 537.7(b)(2), as projected under                 manufacturer in its mid-model year                    value determined under 40 CFR part
                                             § 537.7(b)(1), is less representative than              report regarding the automobiles                      600 exists, the manufacturer shall
                                             the manufacturer previously reported it                 produced during the current model year                submit that fuel economy value.
                                             to be under § 537.7(b)(3), this section, or             as are necessary to reflect the                          (3) For each vehicle subconfiguration
                                             both, shall file a supplementary report                 information provided under paragraph                  specified in paragraph (a)(1) of this
                                             containing the information specified in                 (b)(3)(i) of this section.                            section for which a fuel economy value
                                             paragraph (b)(2) of this section.                         (4) The supplementary report required               has been neither determined nor
                                                (3) For model years through 2022,                    by paragraph (a)(4) of this section must              approved under 40 CFR part 600, the
                                             each manufacturer whose mid-model                       contain:                                              manufacturer shall submit a fuel
                                             year report omits any of the information                  (i) All information omitted from the                economy value based on tests or
                                             specified in § 537.7(b) or (c) shall file a             mid-model year reports under                          analyses comparable to those prescribed
                                             supplementary report containing the                     § 537.6(c)(2); and                                    or permitted under 40 CFR part 600 and
                                             information specified in paragraph                        (ii) Such revisions of and additions to             a description of the test procedures or
                                             (b)(3) of this section.                                 the information submitted by the                      analytical methods used.
                                                (4) Starting model year 2023, each                   manufacturer in its pre-model or mid-                    (4) For each vehicle configuration for
                                             manufacturer whose mid-model year                       model year reports regarding the                      which a fuel economy value is required
                                             report omits any of the information shall               automobiles produced during the                       under paragraph (c) of this section and
                                             resubmit the information with other                     current model year as are necessary to                has been determined and approved
                                             information required in accordance with                 reflect the information provided under                under 40 CFR part 600, the
                                             the NHTSA CAFE Projections Reporting                    paragraph (b)(4)(i) of this section.                  manufacturer shall submit that fuel
                                             Template (OMB Control No. 2127–0019,                      (c)(1) Each report required by                      economy value.
                                             NHTSA Form 1474).                                       paragraph (a)(1), (2), (3), or (4) of this               (b) Base level and model type fuel
                                                (b)(1) The supplementary report                      section must be submitted in                          economy values. For each base level and
                                             required by paragraph (a)(1) of this                    accordance with § 537.5(c) not more                   model type, the manufacturer shall
                                             section must contain:                                   than 45 days after the date on which the              submit a fuel economy value based on
                                                (i) Such revisions of and additions to               manufacturer determined, or could have                the values submitted under paragraph
                                             the information previously submitted by                 determined with reasonable diligence,                 (a) of this section and calculated in the
                                             the manufacturer under this part                        that the report was required.                         same manner as base level and model
                                             regarding the automobiles whose                           (2) [Reserved]                                      type fuel economy values are calculated
                                             projected average fuel economy has                        (d) A supplementary report is not                   for use under subpart F of 40 CFR part
                                             decreased as specified in paragraph                     required to be submitted by the                       600.
                                             (a)(1) of this section as are necessary—                manufacturer under paragraph (a)(1) or                   (c) Average fuel economy. Average
                                                (A) To reflect the change and its                    (2) of this section:                                  fuel economy must be based upon fuel
                                             cause; and                                                (1) With respect to information                     economy values calculated under
                                                (B) To indicate a new projected                      submitted under this part before the                  paragraph (b) of this section for each
                                             average fuel economy based upon these                   most recent mid-model year report                     model type and must be calculated in
                                             additional measures.                                    submitted by the manufacturer under                   accordance with subpart F of 40 CFR
                                                (ii) An explanation of the cause of the              this part; or                                         part 600, except that fuel economy
                                             decrease in average fuel economy that                     (2) When the date specified in                      values for running changes and for new
                                             led to the manufacturer’s having to                     paragraph (c) of this section occurs after            base levels are required only for those
                                             submit the supplementary report                         the day by which the pre-model year                   changes made or base levels added
                                             required by paragraph (a)(1) of this                    report for the model year immediately                 before the average fuel economy is
                                             section.                                                following the current model year must                 required to be submitted under this part.
                                                (2) The supplementary report required                be submitted by the manufacturer under
                                             by paragraph (a)(2) of this section must                this part.                                            § 537.10 Incorporation by reference by
                                             contain:                                                  (e) For model years 2008, 2009, and                 manufacturers.
                                                (i) A statement of the specific nature               2010, each manufacturer of light trucks,                (a) A manufacturer may incorporate
                                             of and reason for the insufficiency in the              as that term is defined in § 523.5 of this            by reference in a report required by this
                                             representativeness of the projected                     chapter, shall submit a report, not later             part any document other than a report,
                                             average fuel economy;                                   than 45 days following the end of the                 petition, or application, or portion
                                                (ii) A statement of specific additional              model year, indicating whether the                    thereof submitted to any Federal
                                             testing or derivation of fuel economy                   manufacturer is opting to comply with                 department or agency more than two
                                             values by analytical methods believed                   § 533.5(f) or (g) of this chapter.                    model years before the current model
                                             by the manufacturer necessary to                                                                              year.
                                             eliminate the insufficiency; and                        § 537.9 Determination of fuel economy                   (b) A manufacturer that incorporates
                                                (iii) A description of any plans of the              values and average fuel economy.                      by references a document not previously
                                             manufacturer to undertake that testing                    (a) Vehicle subconfiguration fuel                   submitted to the National Highway
                                             or derivation voluntarily and submit the                economy values. (1) For each vehicle                  Traffic Safety Administration shall
                                             resulting data to the Environmental                     subconfiguration for which a fuel                     append that document to the report.
                                             Protection Agency under 40 CFR                          economy value is required under                         (c) A manufacturer that incorporates
                                                                                                     paragraph (c) of this section and has                 by reference a document shall clearly
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                                             600.509–12.
                                                (3) The supplementary report required                been determined and approved under                    identify the document and, in the case
                                             by paragraph (a)(3) of this section must                40 CFR part 600, the manufacturer shall               of a document previously submitted to
                                             contain:                                                submit that fuel economy value.                       the National Highway Traffic Safety
                                                (i) All of the information omitted from                (2) For each vehicle subconfiguration               Administration, indicate the date on
                                             the mid-model year report under                         specified in paragraph (a)(1) of this                 which and the person by whom the
                                             § 537.6(c)(2); and                                      section for which a fuel economy value                document was submitted to this agency.


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                                             § 537.11   Public inspection of information.            § 537.5(c)(7), is granted in accordance               to a manufacturer and allowing ten
                                               Except as provided in § 537.12, any                   with section 505 of the Act and 5 U.S.C.              days, when feasible, for the
                                             person may inspect the information and                  552(b) and is not subsequently released               manufacturer to respond, the
                                             data submitted by a manufacturer under                  under paragraph (c) of this section in                Administrator may make available for
                                             this part in the docket section of the                  accordance with section 505 of the Act.               public inspection any information
                                             National Highway Traffic Safety                           (b) Denial of confidential treatment.               submitted under this part that is
                                             Administration. Any person may obtain                   When the Administrator denies a                       relevant to a proceeding under the Act,
                                             copies of the information available for                 manufacturer’s request under                          including information that was granted
                                             inspection under this section in                        § 537.5(c)(7) for confidential treatment              confidential treatment by the
                                             accordance with the regulations of the                  of information, the Administrator gives               Administrator pursuant to a request by
                                             Secretary of Transportation in part 7 of                the manufacturer written notice of the                the manufacturer under § 537.5(c)(7).
                                             this title.                                             denial and reasons for it. Public                       Issued on March 31, 2022, in Washington,
                                             § 537.12   Confidential information.                    disclosure of the information is not                  DC, under authority delegated in 49 CFR
                                                                                                     made until after the ten-day period                   1.95.
                                               (a) Treatment of confidential
                                             information. Information made available                 immediately following the giving of the               Steven S. Cliff,
                                             under § 537.11 for public inspection                    notice.                                               Deputy Administrator.
                                             does not include information for which                    (c) Release of confidential                         [FR Doc. 2022–07200 Filed 4–19–22; 11:15 am]
                                             confidentiality is requested under                      information. After giving written notice              BILLING CODE 4910–59–P
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